                          Case 08-13141-BLS    Doc 17-1      Filed 12/08/08   Page 1 of 800
10-20 MEDIA INC                       100 BLACK MEN OF LONG ISLAND, INC         100 BUSH CORPORATION
16005 FREDERICK ROAD                  NINE CENTRE ST                            RE: SAN FRANCISCO 100 BUSH ST
WOODBINE MD 21797                     HEMPSTEAD NY 11550                        100 BUSH STREET
                                                                                SUITE 218
                                                                                SAN FRANCISCO CA 94104


100 BUSH CORPORATION                  10K WIZARD TECHNOLOGY LLC                 10K WIZARD TECHNOLOGY LLC
100 BUSH ST   NO. 218                 1950 STEMMONS STE 3014                    3232 MCKINNEY AVENUE STE 750
SAN FRANCISCO CA 94104                DALLAS TX 75207                           DALLAS TX 75397-5302




10K WIZARD TECHNOLOGY LLC             1100 REMINGTON LLC                        111-113 WEST 154TH LLC
PO BOX 975302                         RE: SCHAUMBURG 1100 REMINGTON             C/O LEE & ASSOCIATES ASSET MANAGEMENT
DALLAS TX 75397-5302                  1731 N. MARCEY ST., SUITE 520             8755 WEST HIGGINS ROAD STE 1000
                                      CHICAGO IL 60614                          CHICAGO IL 60631-2748



1425 MARKET LLC                       1425 MARKET LLC                           1425 MARKET, LLC
RE: DENVER 1425 MARKET ST.            ATTN: RON GLENN                           RE: DENVER 1425 MARKET ST.
ATTN: VALERIE LEX                     1425 MARKET STREET SUITE 100              1425 MARKET STREET
1425 MARKET STREET SUITE 200          DENVER CO 80202                           DENVER CO 80202
DENVER CO 80202


150 AMERICAS CENTER LLC               150 AMERICAS CENTER LLC                   150 AMERICAS CENTER, LLC
150 SOUTHEAST 2ND AVE   STE 1300      2700 SOUTHEAST 2ND AVE STE 1300           RE: MIAMI 150 S.E. 2ND AVE
MIAMI FL 33131                        MIAMI FL 33131                            150 S.E. 2ND AVENUE
                                                                                SUITE 1300
                                                                                MIAMI FL 33131


151 NEW PARK OFFICE LLC               151 NEW PARK OFFICE LLC                   1670 BROADWAY INVESTORS LLC
& CONFERENCE CENTER                   C/O HAMLEY DYSON MANANGEMENT INC          1670 BROADWAY
HAMLEY DYSON MANAGEMENT               415 BOSTON TURNPIKE STE 214               SUITE 800
151 NEW PARK AVE                      SHREWSBURY MA 01545                       DENVER CO 80202
HARTFORD CT 06106


1670 BROADWAY INVESTORS LLC           1920 COLORADO INC                         1920 COLORADO INC
LLC REI 3262                          RE: SANTA MONICA 1920 COLORAD             PLATINUM REALTY MANAGEMENT
PO BOX 841576                         PLATINUM REALTY MANAGEMENT                201 WILSHIRE BLVD STE A28
DALLAS TX 75284-1576                  201 WILSHIRE BLVD STE A28                 SANTA MONICA CA 90401
                                      SANTA MONICA CA 90401


1920 COLORADO, INC.                   1920 COLORADO, INC.                       1936 UNIVERSITY BRIDGE LLC
RE: SANTA MONICA 1920 COLORAD         RE: SANTA MONICA 1920 COLORAD             RE: LISLE TRIBUNE
100 WILSHIRE BLVD.                    201 WILSHIRE BOULDEVARD                   C/O BRIDGE DEVELOPMENT PARTNERS, LLC
SUITE 1230                            SUITE A28                                 700 COMMERCE DRIVE
SANTA MONICA CA 90401                 SANTA MONICA CA 90401                     OAKBROOK IL 60523


1SOURCE SAFETY AND HEALTH             1ST - 1 INC                               1ST PLACE AWARDS
140 SOUTH VILLAGE AVE  STE 130        PO BOX 329                                1332 LANG AVE
EXTON PA 19341                        LAKEVILLE CT 06039                        ORLANDO FL 32803




1ST QUALITY CIRCULATION CORP          1X2 WISHIRE LLC                           20 CHURCH ST LLC
2128 HITCHING POST W                  1200 W 7TH ST SUITE L2 240                C/O HAMPSHIRE COMPANY
SCHAUMBURG IL 60194                   LOS ANGELES CA 90017                      PO BOX 3101
                                                                                HICKSVILLE NY 11802




                                          Page 1 of 2387
                            Case 08-13141-BLS   Doc 17-1       Filed 12/08/08    Page 2 of 800
20 CHURCH ST LLC                        20 CHURCH ST., LLC                         20 CHURCH STREET, LLC
C/O HAMPSHIRE COMPANY                   RE: HARTFORD ONE CORPORATE CE              RE: HARTFORD ONE CORPORATE CE
PO BOX 9020                             P.O. BOX 3101                              P.O. BOX 156
HICKSVILLE NY 11802                     HICKSVILLE NY 11802                        HARTFORD CT 06103



20 CHURCH STREET, LLC                   200 GREENWICH AVENUE LLC                   212 IMAGES INC
RE: HARTFORD WTIC-TV ONE CORP           67 MASON ST                                102 ALLEN ST
P.O. BOX 156                            GREENWICH CT 06830                         NEW YORK NY 10002
HARTFORD CT 06103



2121 CAPITAL ASSOCIATES LLC             2121 CAPITAL ASSOCIATES LLC                213EJ LLC
C/O STOLADI PROPERTY GRP                C/O STOLADI PROPERTY GRP                   109 E JARRETTSVILLE RD
1636 CONNECTICUT AVE NW 4TH FLR         1636 CONNECTICUT AVE NW                    FOREST HILL MD 21050
WASHINGTON DC 20009                     WASHINGTON DC 20009



220 EAST NEWSTAND, INC                  220 NEWS LLC C/O THE WITKOFF GROUP LLC     23252 VIA CAMPO VERDE
220 E 42ND ST                           RE: NEW YORK 220 E 42 ST                   RE: LAGUNA HILLS 23253 VIA CA
NEW YORK NY 10017                       156 WILLIAM STREET                         11661 SAN VINCENTE BLVD. NO. 609
                                        NEW YORK NY 10038                          LOS ANGELES CA 90049



23252 VIA CAMPO VERDE LLC               23252 VIA CAMPO VERDE LLC                  23252 VIA CAMPO VERDE LLC
RE: LAGUNA HILLS 23253 VIA CA           11661 SAN VICENTE BLVD NO.609              C/O ESSEX REALTY MANAGEMENT
C/O ESSEX REALTY MANAGEMENT             LOS ANGELES CA 90049                       ATTN KATHY BEEZLEY
18102 SKY PARK CIRCLE, SUITE 200                                                   18012 SKY PARK CIRCLE STE 200
IRVINE CA 92614-6429                                                               IRVINE CA 92614-6429


23252 VIA CAMPO VERDE LLC               23252 VIA CAMPO VERDE LLC                  233 BROADCAST LLC
C/O SOUTHPARK COMPANY                   C/O SOUTHPARK COMPANY                      233 S WACKER LLC
PO BOX 15416                            4 UPPER NEWPORT PLAZA STE 100              PO BOX 3085
IRVINE CA 92623-5416                    NEWPORT BEACH CA 92660                     HICKSVILLE NY 11802-3085



233 BROADCAST LLC                       233 BROADCAST LLC                          233 BROADCAST LLC
404-5TH AVE     4TH FLR                 PO BOX 79                                  PO BOX 8000
NEW YORK NY 10018                       ACCT NO.2744061421                         DEPT 622
                                        LAUREL NY 11948-0079                       BUFFALO NY 14267



24 7 INTOUCH INC                        24 HRS INC                                 24/7 REAL MEDIA INC
335 MAXWELL CRESCENT                    138 E EDNA PL                              132 WEST 31ST ST 9TH FL
REGINA SK S4N 5X9                       COVINA CA 91723                            NEW YORK NY 10001




250 MILLER REP LLC                      27TH HOUR PRODUCTIONS                      2K MARKETING
C/O RECHLER EQUITY                      13220 OTSEGO ST                            3006 CHURCHVILLE RD
225 BROADHOLLOW RD STE 184 W            SHERMAN OAKS CA 91423                      CHURCHVILLE MD 21028
MELVILLE NY 11747



2ND STREET HOLDINGS INC                 3 D MASONRY                                3-D CONVENTION SERVICES INC
2924 2ND ST NORTH                       345 N WALNUT ST                            6825 SW 21 COURT NO.4
ARLINGTON VA 22201                      DALLASTOWN PA 17313                        DAVIE FL 33317




                                            Page 2 of 2387
                           Case 08-13141-BLS   Doc 17-1       Filed 12/08/08   Page 3 of 800
315 TRUMBALL STREET ASSOCIATES, LLC    315 TRUMBALL STREET ASSOCIATES, LLC       315 TRUMBULL STREET ASSOCIATES, LLC
RE: HARTFORD 315 TRUMBULL STR          RE: HARTFORD 315 TRUMBULL STR             914 HARTFORD TURNPIKE
ATTN: GENERAL MANAGER                  C/O WATERFORD HOTEL GROUP                 WATERFORD CT 06355
315 TRUMBALL STREET                    ATTN:JASON LEISER, 914 HARTFORD
HARTFORD CT 06103                      WATERFORD CT 06385


315 TRUMBULL STREET ASSOCIATES, LLC    315 TRUMBULL STREET ASSOCIATES, LLC       333 GLEN STREET ASSOCIATES LLC
914 HARTFORD TURNPIKE                  HARTFORD HILTON                           C/O MERLIN DEVELOPMENT CO
WATERFORD CT 06385                     315 TRUMBULL ST                           333 GLEN STREET 1ST FLOOR
                                       HARTFORD CT 06103                         GLEN FALLS NY 12801



34TH STREET PARTNERSHIP INC            365 MEDIA USA LLC                         3CS COMMUNICATIONS
500 5TH AVE                            30 WINTER ST                              3234 CHARLES ST
NEW YORK NY 10110-1100                 BOSTON MA 02108-4720                      FALLSTON MD 21047




3PAR INC                               3R MANUFACTURING                          3RD DIMENSION INC
4209 TECHNOLOGY DR                     7741 ALABAMA AVE UNIT 5                   201 W 52ND ST   3RD FLR
FREMONT CA 94538                       CANOGA PARK CA 91304                      NEW YORK NY 10019




3S SERVICES INC                        4 SALE REALTY INC                         4-H DELIVERY INC
PO BOX 428                             1335 LOCUST CT                            RAY HOBERG
LAKE VILLA IL 60046-0428               GRAYSLAKE IL 60030                        6899 ORCHARD LANE
                                                                                 32180
                                                                                 HANOVER PARK IL 60133


40 CLUBHOUSE LLC                       40 CLUBHOUSE, LLC                         40 CLUBHOUSE, LLC
300 CLUBHOUSE RD                       RE: HUNT VALLEY 300 CLUBHOUSE             RE: HUNT VALLEY 300 CLUBHOUSE
HUNT VALLEY MD 21031                   300 CLUBHOUSE LANE                        CLUBHOUSE CENTER
                                       HUNT VALLEY MD 21031                      300 CLUBHOUSE RD.
                                                                                 HUNT VALLEY MD 21031


401KSTORE COM INC                      41 PLAZA PARTNERS                         41 PLAZA PARTNERS
4940 WASHINGTON AVE                    3119 S AUSTIN AVE                         3119 S AUSTIN AVE
ST LOUIS MO 63108                      C/O CJ SAPORITO PLATING                   CICERO IL 60804
                                       CICERO IL 60804



41 PLAZA PARTNERS,                     45 NORTHWEST DR, LLC                      45 NORTHWEST DRIVE LLC
C/O CHARLES SAPORITO, JR.              RE: PLAINVILLE 45 NORTHWEST D             28 ROUND HILL RD
RE: WESTMONT 41 E PLAZA DR.            PO BOX 948                                PO BOX 948
3131 SOUTH AUSTIN AVENUE               FARMINGTON CT 06034-0948                  FARMINGTON CT 06034
CICERO IL 60804


45 NORTHWEST DRIVE, LLC                4ESTER GROUP CONSULTING LLC               50 PLUS DIGITAL LLC
RE: PLAINVILLE 45 NORTHWEST D          3143 MELODY LN                            2601 SIMPSON ST
C/O DOUGLAS MARGISON                   SIMI VALLEY CA 93063                      EVANSTON IL 60201-2134
28 ROUND HILL ROAD
FARMINGTON CT 06032


5051 COMMERCE, LLC                     570 CORP                                  600 WEST JOHN LLC
RE: BALDWIN PARK 5051 COMMERC          1150 PORTION RD STE 16                    RE: HICKSVILLE 600 W. JOHN ST
PO BOX 92467                           HOLTSVILLE NY 11742                       575 UNDERHILL BLVD.
LONG BEACH CA 90809                                                              SUITE 125
                                                                                 SYOSSET NY 11791




                                           Page 3 of 2387
                           Case 08-13141-BLS   Doc 17-1         Filed 12/08/08   Page 4 of 800
602 COMMUNICATIONS                     602 COMMUNICATIONS                          602 COMMUNICATIONS
3339 E WICKIEUP LANE                   4757 E GREENWAY                             5707 DEER FLAG DR
PHOENIX AZ 85050                       STE 103-82                                  LAKELAND FL 33811
                                       PHOENIX AZ 85032



602 COMMUNICATIONS                     615 MUSIC PRODUCTIONS INC                   62 SPORTS GROUP
KELLY BOWERS                           1030 16TH AVENUE S                          4521 HEDGE RD
4004 CROSSWINDS DR                     NASHVILLE TN 37212                          ROXANA IL 62084
ROCKY MOUNT NC 27803



7 ELEVEN F O A S C SCHOLARSHIP FUND    7 ELEVEN F O A S C SCHOLARSHIP FUND         7 ELEVEN F O A S C SCHOLARSHIP FUND
11145 TAMPA AVE      STE 12B           11145 TAMPA AVE STE 12B                     11835 HIGHWATER ROAD
NORTHIRIDGE CA 91328                   NORTHRIDGE CA 91326                         GRANADA HILLS CA 91344




7 ELEVEN INC                           7 ELEVEN INC                                7-ELEVEN
2711 NORTH HASKELL AVE                 PO BOX 139081                               601-A W LAKE ST
DALLAS TX 75204-2906                   DALLAS TX 75221                             ADDISON IL 60101




7-ELEVEN                               711 NEW YORK PAINTING AND DECORATING        757 ASSOCIATES LLC
ATTN MARY SCALLORN                     41-12 24TH ST                               623 EDMONDSON AVE
700 E BUTTERFIELD RD SUITE 300         LONG ISLAND NY 11101                        CATONSVILLE MD 21228
LOMBARD IL 60148



757 ASSOCIATES LLC                     7D PRODUCTIONS, LLC                         7TH ON SIXTH
C/O SECURE MEDIA PRODUCTS              911 N ORANGE AVE NO.245                     304 PARK AVE S NO. 1002
2529 WASHINGTON BLVD                   ORLANDO FL 32801                            NEW YORK NY 10010
BALTIMORE MD 21230



7TH ON SIXTH                           7TH ON SIXTH                                80-02 LEASEHOLD CO LP
304 PARK AVE SOUTH       8TH FLR       1360 E NINTH ST NO.100                      80-02 KEW GARDENS RD
NEW YORK NY 10010                      CLEVELAND OH 44114                          KEW GARDENS NY 11415




80-02 LEASEHOLD CO LP                  80-02 LEASEHOLD CO LP                       80-02 LEASEHOLD LLC
ATTN: MANAGEMENT OFFICE                PO BOX 5745                                 RE: KEW GARDENS 80-02 LEASEHO
80-02 KEW GARDENS RD                   HICKSVILLE NY 11802                         80-02 KEW GARDENS ROAD
KEW GARDENS NY 11415                                                               KEW GARDENS NY 11415



801/807 ST JOHNS LLC                   899 S PLYMOUTH COURT                        9 WEST COURTLAND STREET LLC
633 SKOKIE BLVD NO.400                 CONDOMINIUM ASSOCIATION                     RE: BEL AIR 9 W COURTLAND ST
NORTHBROOK IL 60062                    VENTERRA SALES & MANAGEMENT                 TURNER PROPERTIES
                                       6571 NORTH AVONDALE                         4685 MILLENNIUM DRIVE
                                       CHICAGO IL 60631                            BELCAMP MD 21017


9090 ENTERPRISES                       9090 ENTERPRISES                            9090 ENTERPRISES
RE: LOS ANGELES 1900 E 15TH S          RE: LOS ANGELES 1900 E 15TH S               VERNON ASSOCIATES
2271 LINDA FLORA DR.                   VERNON ASSOCIATES                           2271 LINDA FLORA DR
LOS ANGELES CA 90077-1410              2271 LINDA FLORA DRIVE                      LOS ANGELES CA 90077
                                       LOS ANGELES CA 90077




                                           Page 4 of 2387
                            Case 08-13141-BLS      Doc 17-1       Filed 12/08/08   Page 5 of 800
911 INTERACTIVE MEDIA INC                 911 WILDLIFE LLC                           99 DEPOT
PO BOX 2074                               2220 COIT RD     NO.480-220                ABRAHAM SOLIMAN
WYLIE TX 75088-2074                       PLANO TX 75075                             533 W ARROW HWY
                                                                                     SAN DIMAS CA 91773



A & A ENTERPRISES                         A & D IRON WORKS INC                       A & D MAINTENANCE INC
4515 OCEAN VIEW BLVD SUITE 150            305 24TH ST                                118 WYANDANCH AVE
LA CANADA CA 91011-1420                   BROOKLYN NY 11232                          WYANDANCH NY 11798




A & H LOCKSMITH                           A & J GROB INC                             A & L PRODUCTS LLC
6550 GENERALD AVENUE                      2020 LINCOLN PARK WEST                     2044 KNOTTY PINE DRIVE
VAN NUYS CA 91406                         CHICAGO IL 60614                           ABINGDON MD 21009




A & R BOX AND PACKAGING                   A 1 BINGO SUPPLY & GAMES LLC               A 1 SPOTWELDER REPAIR SERVICE
1160 N ARMANDO ST                         827 BRIDGE ST NW                           3870 LA SIERRA AVE
ANAHEIM CA 92806                          GRAND RAPIDS MI 49504                      PMB 345
                                                                                     RIVERSIDE CA 92505



A AVILA, JORGE E                          A BET A SWEEPING                           A BET A SWEEPING
4130 HANCOCK HILL COURT                   5555 E ONTARIO MILLA PKWY                  RANDY E TENNEY
ORLANDO FL 32822                          ONTARIO CA 91764                           PO BOX 4852
                                                                                     COVINA CA 91723



A BETTA DISTRIBUTION INC                  A C FONDA ENTERPRISE                       A C FONDA ENTERPRISE
78-08 162ND ST                            C/O ALTER AND SHERWOOD LLC                 C/O ANITA MORRISON
FLUSHING NY 11366                         PO BOX 1420                                47 WOODBRIDGE AVE
                                          GLASTONBURY CT 06033-6620                  E HARTFORD CT 06108



A C FONDA ENTERPRISE                      A CORPORATION FOR ARTS & COMMERCE          A D S SYSTEMS
7 OCEAN VIEW HWY                          755 WASHINGTON ST                          2816 KINGSTON ST     STE C
WATCH HILL RI 02891                       NEW YORK NY 10014                          KENNER LA 70062




A D S SYSTEMS                             A ENRIQUE VALENTIN                         A FOLDING MACHINE SERVICE INC
30 VETERANS MEMORIAL BLVD                 90 NW 106 STREET                           PO BOX 194
KENNER LA 70062                           MIAMI SHORES FL 33150                      GILBERTS IL 60136




A J FONDA ENTERPRISE C/O ANITA MORRISON   A LIFT ABOVE                               A LIFT ABOVE
RE: MIDDLETOWN 373 E. MAIN ST             3N446 WILSON                               699 WALNUT UNIT B
7 OCEAN VIEW HIGHWAY                      ELMHURST IL 60126                          ELMHURST IL 60126
WATCH HILL RI 02891



A LIGHTING MAINT CORP                     A LITTLE EXTRA, INC.                       A MARKETING RESOURCE
PO BOX 39594                              2412 AUTUMN VIEW WAY                       1185 N CONCORD NO.200
FORT LAUDERDALE FL 33339                  BALTIMORE MD 21234                         SOUTH SAINT PAUL MN 55075




                                              Page 5 of 2387
                            Case 08-13141-BLS   Doc 17-1       Filed 12/08/08   Page 6 of 800
A MARKETING RESOURCE                    A MARKETING RESOURCE                      A MARKETING RESOURCE
1185 N CONCORD ST   STE 300             PO BOX 641                                1185 NORTH CONCORD ST, SUITE 228
SOUTH SAINT PAUL MN 55075               SOUTH SAINT PAUL MN 55075                 SOUTH ST PAUL MN 55075




A MARKETING RESOURCE, INC.              A MICHAEL HILL                            A MIRACLE PRODUCTION LLC
1185 N. CONCORD ST., STE. 228           7 HARVEST RD                              700 N PEAR ST   STE 910
SOUTH ST. PAUL MN 55075                 BALTIMORE MD 21210                        DALLAS TX 75201




A MOBILE SUBSCRIPTION SERVICES          A NAVAS PARTY PRODUCTION                  A RENT-A-BIN
9511 MONTE VISTA ST                     12248 SW 133RD CT                         132 E WHITTIER BLVD
ALTA LOMA CA 91701                      MIAMI FL 33186                            MONTEBELLO CA 90640




A RENT-A-BIN                            A TASTE OF THE SOUTH                      A TASTE OF THE SOUTH
901 S MAPLE AVE                         2203 CALLE JALAPA                         6242 BRECKINRIDGE LANE
MONTEBELLO CA 90640-5411                WEST COVINA CA 91792                      CHINO CA 91710




A TO Z GLASS & MIRROR                   A WAYNE LAWLESS                           A WIEST ENTERTAINMENT GROUP INC
5821 E BEVERLY BLVD                     14306 S. FIRMONA AVENUE                   271 BREAD & CHEESE HOLLOW RD
LOS ANGELES CA 90022                    #3                                        FORT SALONGA NY 11768-2609
                                        LAWNDALE CA 90260



A WILLIAM BRUNKALLA                     A&B PHOTO & PRINT                         A&C COMMUNICATIONS LTD INC
820 GARDNER ROAD                        218 N JEFFERSON STE LL NO.2               12148 NW 52 CT
WESTCHESTER IL 60154                    CHICAGO IL 60661                          CORAL SPRINGS FL 33076




A&D JANITORIAL QUALITY SERVICE          A&D JANITORIAL QUALITY SERVICE            A&G LUMBER CO
1400 JUNEWOOD WAY                       PO BOX 1709                               5942 WASHINGTON BLVD
OXNARD CA 93030                         CAMARILLO CA 93011                        CULVER CITY CA 90232




A&H BINDERY                             A&L CONTRACTORS INCORPORATION             A&M SERVICES LLC
2600 LEXINGTON ST                       14011 SOUTH KOSTNER AVENUE                2882 NW 118 DR
BROADVIEW IL 60155                      CRESTWOOD IL 60445                        CORAL SPRINGS FL 33065




A&R MAILING MACHINE INC                 A&R NEWS                                  A-ARNOLDS BACKFLOW
757 GOODWIN ST                          LINDA YANDERS                             1292 MAPLEWOOD LANE
E HARTFORD CT 06108-1202                P O BOX 328                               REDLANDS CA 92373
                                        HOOPESTON IL 60942



A-ARNOLDS BACKFLOW                      A-BET-A SWEEPING SERVICE                  A-FILMS LLC
PO BOX 2092                             PO BOX 4852                               105 BARRINGER CT
REDLANDS CA 92373                       COVINA CA 91723                           WEST ORANGE NJ 07052




                                            Page 6 of 2387
                              Case 08-13141-BLS   Doc 17-1       Filed 12/08/08   Page 7 of 800
A. CHRIS SANO INC                         A.E.P. WALL                               A.J. PLUNKETT
99 AMHERST ROAD                           17953 INDIANA COURT                       115 GLENN CIRCLE
VALLEY STREAM NY 11581                    ORLAND PARK IL 60467                      WILLIAMSBURG VA 23185




A1 ENGINE SERVICE CO INC                  A1 FIRE PROTECTION INC                    AA CIRCULAR DISTRIBUTORS
3921 WESLEY TERRACE                       8655 MIRAMAR PL                           1801 COURTYARD CIRCLE
SCHILLER PARK IL 60176-2131               SAN DIEGO CA 92121-2532                   BALTIMORE MD 21208




AA SALES INC                              AA SALES INC                              AA SIGN LINES
4527-29 E 10TH LANE                       4529 E. 10 LANE                           5601 N POWERLINE RD    STE 405
HIALEAH FL 33013                          ATTN: LARRY                               FT LAUDERDALE FL 33309
                                          HIALEAH FL 33013



AAA ANTENNA SERVICES INC                  AAA BUILDING MAINTENANCE INC              AAA BUILDING MAINTENANCE INC
5601 SOUTHWEST 2ND CT                     9440 NW 33RD MANOR                        PO BOX 450414
PLANTATION FL 33317                       SUNRISE FL 33351                          SUNRISE FL 33345




AAA DELIVERY SERVICES INC                 AAA FLAG AND BANNER MFG CO INC            AAA FLAG AND BANNER MFG CO INC
3641 OAKS CLUB HOUSE DR                   8955 NATIONAL BLVD                        791 NW 167TH STREET
NO.103                                    LOS ANGELES CA 90034                      MIAMI FL 33169
POMPANO BEACH FL 33069



AAJ TECHNOLOGIES                          AAL DISTRIBUTORS LLC                      AAMER MADHANI
6301 NW 5TH WAY    STE 1700               13451 FALLINGSTAR CT                      1202 P STREET NW
FT LAUDERDALE FL 33309                    CORONA CA 92880                           APT. #2
                                                                                    WASHINGTON DC 20005



AARDSMA, DAVID                            AARO ROLLER CORPORATION                   AARON ADKINS
123 MAIN ST                               4338 11TH ST                              3402 WEST 84TH STREET
THE WOODLANDS TX 77380                    ROCKFORD IL 61109                         CHICAGO IL 60652




AARON BAILOT                              AARON BARLIP                              AARON BASKERVILLE
P.O. BOX 771661                           608 HANOVER AVENUE                        2401 HAPPY HALLOW ROAD
CORAL SPRINGS FL 33077                    ALLENTOWN PA 18109                        GLENVIEW IL 60026




AARON BYCOFFE                             AARON COOPER                              AARON COX
266 FERDINAND CIRCLE                      2240 N. HALSTEAD                          4205 WOLCOTT DR.
VIRGINIA BEACH VA 23462                   APT. #2                                   PLAINFIELD IN 46168
                                          CHICAGO IL 60614



AARON CRONE                               AARON CURTISS                             AARON DAVIS
6088 SAW MILL DR.                         12444 HUSTON STREET                       210 E HAWTHORNE DR
NOBLESVILLE IN 46062                      VALLEY VILLAGE CA 91607                   ONTARIO CA 91764




                                              Page 7 of 2387
                         Case 08-13141-BLS    Doc 17-1      Filed 12/08/08   Page 8 of 800
AARON DESLATTE                       AARON DOYLE                               AARON FALLON PHOTOGRAPHY
822 CHERRY ST.                       8 SKIPPER HILL LN                         2431 ABBOT KINNEY BLVD
TALLAHASSEE FL 32303                 MALTA NY 12020                            VENICE CA 90291




AARON FALZERANO                      AARON FERSHTMAN                           AARON FRAZIER
P.O. BOX 75                          31 YOUNGS HILL RD                         14 WILLIAMS STREET
NORTH RIVER NY 12856                 HUNTINGTON NY 11743                       BEL AIR MD 21014




AARON GOODMAN STUDIOS INC            AARON GREEN                               AARON JACKSON
448 WEST 37TH ST                     6276 HARBOR BEND                          5517 SW 6TH STREET
NEW YORK NY 10018                    MARGATE FL 33063                          MARGATE FL 33068




AARON KORDELEWSKI                    AARON LEVINE                              AARON LIBURD
6824 29TH PLACE                      2801 WESTERN AVENUE                       75 BARCLAY STREET
BERWYN IL 60402                      APT# 1019                                 NORTH BABYLON NY 11703
                                     SEATTLE WA 98121



AARON PFELTZ                         AARON QUIDORT                             AARON SAGERS
1921 MILLINGTON SQUARE               517 W 20TH STREET                         104-40 QUEENS BOULEVARD
BEL AIR MD 21015                     # 501                                     APT. 16E
                                     NORFOLK VA 23517                          FOREST HILLS NY 11375



AARON SMITH                          AARON SOROKA                              AARON SPANGLER
4322 SOUTH YANK STREET               8 CHERRY DRIVE                            4003 SOUTH ODESSA STREET
MORRISON CO 80465                    PLAINVIEW NY 11803                        AURORA CO 80013




AARON STRADER                        AARON WHITE                               AARON WIDER & HTFC CORPORATION
457 E 1200 N CR                      1654 CANDLEWOOD COURT                     C/O RAYMOND S VOULO, ESQ
ROACHDALE IN 46172                   EDGEWOOD MD 21040                         145 WILLIS AVE
                                                                               MINEOLA NY 11501



AARON ZITNER                         AARON, DAX C                              AARON, ELIZABETH
7408 HADDINGTON PLACE                130 NW 70TH STREET NO. 202                130 NW 70TH STREET NO.202
BETHESDA MD 20817                    BOCA RATON FL 33487                       BOCA RATON FL 33487




AARON, HENRY                         AARONS, GARTH O                           AARTHI RAO
2101 CONNECTICUT AVENUE NW NO. 41    71 SUTTON PLACE                           3705 NORTH PAULINA STREET
WASHINGTON DC 20008-1756             BLOOMFIELD CT 06002                       #2
                                                                               CHICAGO IL 60613



AASAN GODWIN                         AASFE                                     AASFE
436 EAST MOSSER STREET               C/O ORLANDO SENTINEL                      435 N MICHIGAN AVE 5TH FLOOR
ALLENTOWN PA 18109                   KIM MARCUM                                CHICAGO TRIBUNE
                                     633 N ORANGE AVE                          CHICAGO IL 60611
                                     ORLANDO FL 32802




                                         Page 8 of 2387
                           Case 08-13141-BLS   Doc 17-1      Filed 12/08/08   Page 9 of 800
AASFE                                  AASFE                                    AASFE
1117 JOURNALISM BUILDING               C/O PENNY BENDER FUCHS                   COLLEGE OF JOURNALISM
ROOM 4113                              COLLEGE OF JOURNALISM                    UNIVERSITY OF MARYLAND
C/O PENNY BENDER FUCHS                 1117 JOURNALISM BLDG RM 4113             1117 JOURNALISM BLDG
COLLEGE PARK MD 20742                  COLLEGE PARK MD 20742-7111               COLLEGE PARK MD 20742-1661


AASFE                                  AASFE                                    AASFE
PHILLIP MERRILL COLL OF JOURNALISM     C/O NYT REGIONAL NEWSPAPER GROUP         ATTN: MELISSA SEGREST
ROOM 1117                              ANN MALONEY                              C/O AUSTIN AMERICAN STATESMAN
UNIVERSITY OF MARYLAND                 229 W 43RD ST 9TH FLR                    P O BOX 670
COLLEGE PARK MD 20742-7111             NEW YORK NY 10036                        AUSTIN TX 78767


AASFE                                  AASFE                                    AASFE
C/O NANCY HERNANDEZ                    TEXAS LIVING EDITOR                      C/O MARY NAHAN
HOUSTON CHRONICLE                      THE DALLAS MORNING NEWS                  1921 GALLOWS ROAD
P O BOX 4260                           508 YOUNG ST                             SUITE 600
HOUSTON TX 77210                       DALLAS TX 75202                          VIENNA VA 22182-3900


AAT COMMUNICATIONS CORPORATION         AAT COMMUNICATIONS CORPORATION           ABACA US
PO BOX 933547                          PO BOX 952448                            262 W 38TH ST STE 1706
ATLANTA GA 31193-3547                  ST LOUIS MO 63195-2448                   NEW YORK NY 10018




ABANI, CHRIS                           ABAR HUTTON MEDIA                        ABARCA, RICARDO
422 S OGDEN ST                         6190 GROVEDALE CT   STE 200              7000 SW 10TH CT
LOS ANGELES CA 90037                   ALEXANDRIA VA 22310                      PEMBROKE PINES FL 33023




ABATECOLA,NICHOLAS,J                   ABBAS, HASSAN                            ABBEY FINK
5243 NW 51ST COURT                     131 WALNUT STREET                        47 JENKINS STREET
COCONUT CREEK FL 33073                 LEND OF MONTHINSTER MA 01453             N. MERRICK NY 11566




ABBIE ECTON                            ABBOTT REISS & ALLEN P C                 ABBOTT TRUE ELECTRIC INC
9509 ORBITAN COURT                     309 W PARK AVE                           635 WILMER AVE
PARKVILLE MD 21234                     LONG BEACH NY 11561                      ORLANDO FL 32808




ABBOTT VALENCIA VENTURES II            ABBOTT, CHARLOTTE                        ABBOTT, MELANIE B
RE: VALENCIA 27525 NEWHALL RA          149 ST MARKS AVENUE                      14 FOREST ST
ATTN:FRANK W. ABBOTT, JR.-MANAGING     BROOKLYN NY 11238                        BRANFORD CT 06405
GENERAL PARTNER, PO BOX 117519
BURLINGAME CA 94011-7519


ABBOTT, RICHARD                        ABBY DAWKINS                             ABBY KAHN
325 N AVE 51                           1327 S. WESTGATE AVE.                    28 DOGWOOD COURT
LOS ANGELES CA 90042                   107                                      JAMESBURG NJ 08831
                                       WEST LOS ANGELES CA 90025



ABBY OFFICE CENTERS TANGLEWOOD         ABBY OFFICE CENTERS TANGLEWOOD           ABBY OFFICE CENTERS, TANGLEWOOD, LTD.
RE: HOUSTON 5850 SAN FELIPE            5850 SAN FELIPE STE 500                  RE: HOUSTON 5850 SAN FELIPE
5850 SAN FELIPE, STE 500               HOUSTON TX 77057                         5850 SAN FELIPE
HOUSTON TX 77057                                                                HOUSTON TX 77057




                                           Page 9 of 2387
                        Case 08-13141-BLS        Doc 17-1        Filed 12/08/08     Page 10 of 800
ABBY POLONSKY MAEIR                       ABBY SHELLENBERGER                          ABC AUDIT BUREAU OF CIRCULATIONS
3515 GROVE STREET                         249 BELLEVUE ROAD                           135 S. LASALLE
EVANSTON IL 60203                         RED LION PA 17356                           DEPT 1884
                                                                                      CHICAGO IL 60674-1884



ABC AUDIT BUREAU OF CIRCULATIONS          ABC AUDIT BUREAU OF CIRCULATIONS            ABC AUDIT BUREAU OF CIRCULATIONS
135 SOUTH LASALLE, DEPT 2057              1884 PAYSPHERE CIRCLE                       2057 PAYSHERE LLC
CHICAGO IL 60674-2057                     CHICAGO IL 60674                            CHICAGO IL 60674




ABC AUDIT BUREAU OF CIRCULATIONS          ABC INC                                     ABC INC
900 NORTH MEACHAM RD                      KSPN AM RADIO                               1501 HIGHWOODS BLVD    STE 200-B
SCHAUMBURG IL 60173-4968                  3321 LA CIENEGA BLVD                        GREENSBORO NC 27410
                                          LOS ANGELES CA 90016



ABC INC                                   ABC INC                                     ABC INC
CAROLINA NEWS LINK                        WTVD TV                                     WPVI TV 6
PO BOX 2009                               411 LIBERTY ST                              4100 CITY LINE AVENUE
DURHAM NC 27702                           DURHAM NC 27701                             ATTN ACCOUNTS RECEIVABLE
                                                                                      PHILADELPHIA PA 19131


ABC INTERNATIONAL CLEANING SERVICES INC   ABC INTERNATIONAL CLEANING SERVICES INC     ABC MADRID
6601 SHERIDAN ST                          PO BOX 327224                               JUAN IGNACIO LUCA DE TENA 7
HOLLYWOOD FL 33024                        FORT LAUDERDALE FL 33332                    MADRID 28027




ABC MAJOR METRO                           ABC MAJOR METRO                             ABC MAJOR METRO
72 MARIETTA ST NW                         1729 GRAND BLVD                             THE KANSAS CITY STAR
ATLANTA GA 30303                          KANSAS CITY MO 64108                        1729 GRAND BLVD
                                                                                      KANSAS CITY MO 64108



ABC ROOFERS                               ABC ROOFERS                                 ABC TELEVISION AFFILIATES ASSOCIATION
86440 YUMA TR                             ERNESTO GAMBOA                              PO BOX 905
YUCCA VALLEY CA 92284                     56440 YUMA TR                               RALEIGH NC 27602
                                          YUCCA VALLEY CA 92284



ABC WINDOW CLEANING COMPANY INC           ABDAN, JACK YAACOV                          ABDUL FAROOQI
2053 W FULLERTON AVENUE                   7527 E SIERRA DR                            14 PONDER LANE
CHICAGO IL 60647                          BOCA RATON FL 33433-3385                    DEER PARK NY 11729




ABDULAZIZ, MUSTAFAH J                     ABECK MEATS INC                             ABECK MEATS INC
47 DEERFIELD WAY                          16 THRUSH CT                                250 MILLER PL
SCOTRUN PA 18355                          E NORTHPORT NY 11731-3914                   HICKSVILLE NY 11801




ABED, JAMIEL                              ABEKAS INC                                  ABEL LUPERCIO
14001 STONEGATE LANE                      1090 O'BRIEN DR                             18646 DUELL ST.
ORLAND PARK IL 60467                      MENLO PARK CA 94025                         AZUSA CA 91702




                                              Page 10 of 2387
                          Case 08-13141-BLS       Doc 17-1      Filed 12/08/08   Page 11 of 800
ABEL MENDEZ                               ABEL MENDEZ                              ABEL NOTARY & MESSENGER SERVICE LLC
2447 RICHELIEU AVENUE                     12950 5TH STREET                         250 S HARRISON ST
LOS ANGELES CA 90032                      APT 9                                    YORK PA 17403
                                          CHINO CA 91710



ABEL REME                                 ABEL RIOS                                ABEL URIBE
4060 NW 30TH TERRACE                      3340 VALLEY LEE SOUTH                    2324 S. CENTRAL PARK AVE.
APT 2                                     LAUREL MD 20724                          CHICAGO IL 60623
LAUDERDALE LAKES FL 33309



ABEL V BITOLAS                            ABEL, GREG                               ABELARD, JEAN
1300 N PATE #115-A                        2413 BRAMBLETON RD                       6735 NW 69TH COURT
CARLSBAD NM 88220                         BALTIMORE MD 21209                       TAMARAC FL 33321




ABELE, ROBERT                             ABELORE SAINT LOUIS                      ABELS, JOSHUA
1411 N HAYWORTH AVE NO.18                 5619 PGA BLVD                            7902 W 103RD ST    APT 1W
WEST HOLLYWOOD CA 90046                   APT 1222                                 PALOS HILLS IL 60465
                                          ORLANDO FL 32839



ABENNETT, AHMED                           ABERCROMBIA, GREGORY                     ABERDEEN AMERICAN NEWS
9250 REDBRIDGE CT                         6222 S LANGLEY AVE NO.2                  124 S SECOND, BOX 4430
LAUREL MD 20723                           CHICAGO IL 60637                         ABERDEEN SD 57401




ABES LIMO AND CAB SERVICE INC             ABHINAV KUMAR                            ABIDEMI OGUNJIMI
PO BOX 1030                               18 E ELM ST                              15117 BEACHVIEW TERRACE
SECAUCUS NJ 07094                         APT #514                                 DOLTON IL 60419
                                          CHICAGO IL 60611



ABIGAIL DOUTHAT                           ABIGAIL GOLDMAN                          ABIGAIL LOPEZ
3811 CANTERBURY ROAD                      1196 COLDWATER CANYON DRIVE              214 LEWIS AVENUE
808                                       BEVERLY HILLS CA 90210                   WESTBURY NY 11590
BALTIMORE MD 21218



ABIGAIL MOSS                              ABIGAIL REED                             ABIGAIL RUSINEK
11459 LITTLE BEAR DRIVE                   3327 N SHEFFIELD AVE APT GDN             227 WILLOW AVENUE
BOCA RATON FL 33428                       CHICAGO IL 60657-2229                    APT. 1R
                                                                                   HOBOKEN NJ 07030



ABITIBI CONSOLIDATED                      ABITIBI CONSOLIDATED SALES CORP          ABITIBI CONSOLIDATED SALES CORP
(ABITIBI BOWATER INC.)                    1228 PAYSPHERE CIRCLE                    135 SOUTH LASALLE ST
ATTN: DAVID J PATERSON, PRESIDENT & CEO   CHICAGO IL 60674                         DEPT 1228
1155 METCALFE STREET, SUITE 800                                                    CHICAGO IL 60674-1228
MONTREAL QC H3B 5H2


ABITIBI CONSOLIDATED SALES CORP           ABITIBI CONSOLIDATED SALES CORP          ABITIBI CONSOLIDATED SALES CORP
1 CHASE MANHATTAN PLAZA                   4 GANETT DR                              4 GANNETT DR
NEW YORK NY 10081                         WHITE PLAINS NY 10604-3408               WHITE PLAINS NY 10604




                                              Page 11 of 2387
                             Case 08-13141-BLS   Doc 17-1        Filed 12/08/08   Page 12 of 800
ABITIBI CONSOLIDATED SALES CORP           ABITZ, JENNIFER                           ABJ COMMUNITY SERVICES INC
4 MANHATTANVILLE RD                       525 GREENBRIAR                            1507 E 53RD ST   PMB 336
PURCHASE NY 10577-2126                    FOND DU LAC WI 54935                      CHICAGO IL 60615




ABLE LOCK SHOP INC                        ABLEST INC                                ABLEST INC
1100 JERICHO TURNPIKE                     DBA SELECT STAFFING                       1901 ULMERTON RD STE 300
NEW HYDE PARK NY 11040                    PO BOX 60607                              CLEARWATER FL 33762
                                          LOS ANGELES CA 90060



ABLEST INC                                ABLEST INC                                ABLEST INC
PO BOX 116295                             DBA SELECT STAFFING                       DBA SELECT STAFFING
ATLANTA GA 30368-6295                     PO BOX 116295                             24223 NETWORK PL
                                          ATLANTA GA 30368                          CHICAGO IL 60673



ABM OFFICE EQUIPMENT                      ABM OFFICE EQUIPMENT                      ABM OFFICE EQUIPMENT
1820 ELMHURST RD                          3100 DUNDEE RD NO.704                     5951 N ELSTON AVENUE
ELK GROVE VILLAGE IL 60007                NORTHBROOK IL 60062                       CHICAGO IL 60646




ABNER BOY SHEPARD HOLY GHOST              ABNEY, KEVIN EDWARD                       ABOOD, MAUREEN
ABNER BOY SHEPARD, PRO SE                 2938 COUNTY RD 526                        2444 N SEMINARY AVE     NO.2
THE FOUNDATION SBIH                       STE 5716                                  CHICAGO IL 60614
PO BOX 1653                               SUMTERVILLE FL 33585
DEERFIELD BEACH FL 33443


ABOUD, RAFAEL                             ABOUD, RAFAEL                             ABOWITZ, RICHARD S
40-40 77TH ST                             PO BOX 770026                             251 SOUTH GREEN VALLEY PARKWAY UNIT
ELMHURST NY 11373                         WOODSIDE NY 11377                         HENDERSON NV 89012




ABRAHAM , KEITH                           ABRAHAM ADLER                             ABRAHAM FIGUEROA
8121 S PHILLIPS                           23 JONATHAN DR                            650 PARK AVE.
CHICAGO IL 60617                          EDISON NJ 08820                           ORANGE CITY FL 32763




ABRAHAM JOHNSON                           ABRAHAM RAMIREZ                           ABRAHAM SHIFFMAN
118 SUFFOLK AVENUE                        7721 KENWOOD STREET                       7101 TRAVERTINE DRIVE
BRENTWOOD NY 11717                        COMMERCE CITY CO 80022                    UNIT 307
                                                                                    BALTIMORE MD 21209



ABRAHAM, ANTHONY                          ABRAHAM, RANDY                            ABRAHAM, SCOTT
2859 EDGEMONT DR                          501 N 13TH AV                             23 HILLSIDE PL
ALLENTOWN PA 18103                        HOLLYWOOD FL 33019                        KUNKLETOWN PA 18058




ABRAM N APODACA                           ABRAMIAN - MOTT, ALEXANDRIA               ABRAMOWITZ, MORTON
20467 SUMATRA COURT                       4158 MENTONE AVE                          800 25TH ST NW
PERRIS CA 92570                           CULVER CITY CA 90232                      WASHINGTON DC 20037




                                              Page 12 of 2387
                          Case 08-13141-BLS   Doc 17-1       Filed 12/08/08   Page 13 of 800
ABRAMS, ADAM                           ABRAMS, JESSICA                          ABRAMS, LEE
16026 TEMPLE DR                        101 S EAGLEVILLE RD APT 7B               435 N MICHIGAN AVE
MINNETONKA MN 55345                    MANSFIELD CT 06768                       CHICAGO IL 60611




ABRAMS, SOPHIA                         ABRAMSON, NADIA                          ABRATT, DANIELA
1716 PIAZZA PLACE                      716 NW 100 TERRACE                       1044 LAVENDER CIRCLE
HAMPTON VA 23666                       PLANTATION FL 33324                      WESTON FL 33327




ABRIELLE WILLIS                        ABSOLUTE DISTRIBUTION INC                ABSTRACT GRAPHICS
2707 LAKELAND DRIVE                    PO BOX 20056                             214 OAK ST
FALLSTON MD 21047                      PENN AVE @ SPRUCE ST                     NAZARETH PA 18064
                                       SCRANTON PA 18502



ABT, ANTHONY                           ABU HASSAN, SYAHRUL S                    ABU NIMER, MOHAMMED
3009 LOCHARY RD                        3060 WEST BLVD APT A                     1029 POPLAR DR
BEL AIR MD 21015                       BETHLEHEM PA 18017                       FALLS CHURCH VA 22046




ABU OLOTO                              ABUKANAN, LUAI OMAR                      ABUNDA, JANNETA
2211 BRUNT STREET                      2430 LIBERTY HEIGHTS AVENUE              1064 MCLEAN AVE APT 2
BALTIMORE MD 21217                     BALTIMORE MD 21215                       YONKERS NY 10704




ABUSHANAB, RASHAD                      ABUYOUNIS, JAFAR                         ABYZUD, ARAFHA
4963 NW 10 ST.                         1436 W CONGRESS ST                       6847 BELCLARE RD
COCONUT CREEK FL 33063                 ALLENTOWN PA 18103                       DUNDALK MD 21222




AC ELECTRIC CORP                       AC ELECTRIC CORP                         AC ELECTRIC OF ORLANDO INC
PO BOX 520                             237 SHERYL DRIVE                         237 SHERYL DRIVE
POWAY CA 92074                         ATTN: CHUCK MILLER                       ATTN: CHUCK MILLER
                                       DELTONA FL 32738                         DELTONA FL 32738



AC TALENT AGENCY LLC                   ACACIA MEDIA TECHNOLOGIES                ACADEMY OF TELEVISION ARTS &
930 PALM AVE NO.217                    500 NEWPORT CENTER DR STE 700            5220 LANKERSHIM BLVD
WEST HOLLYWOOD CA 90069                NEWPORT NEWS CA 92660                    NORTH HOLLYWOOD CA 91601




ACAMPORA, RALPH                        ACCELERA ROMAR INC                       ACCELERA ROMAR INC
111-25 76TH AVE                        300 E LOMBARD ST STE 1610                10001 WOODLOCH FOREST DR STE 450
FOREST HILLS NY 11375                  BALTIMORE MD 21202                       THE WOODLANDS TX 77500




ACCENT ENERGY CALIFORNIA               ACCENT ENERGY CALIFORNIA LLC             ACCENT ENERGY CALIFORNIA LLC
6065 MEMORIAL DR                       ACCT NO. 1192306005                      ACCT NO. 1882024009
DUBLIN OH 43017-8218                   6065 MEMORIAL DRIVE                      6065 MEMORIAL DRIVE
                                       DUBLIN OH 43017                          DUBLIN OH 43017




                                           Page 13 of 2387
                             Case 08-13141-BLS    Doc 17-1         Filed 12/08/08   Page 14 of 800
ACCENT ENERGY CALIFORNIA LLC              ACCENT OFFICE PRODUCTS                      ACCENTURE BP AMOCO
ACCT NO. 4778534002                       2500 W HIGGINS RD                           PO BOX 277380
6065 MEMORIAL DRIVE                       SUITE 1146                                  COCO ACCTG, BP PROD NORTH AMERICA INC
DUBLIN OH 43017                           HOFFMAN ESTATES IL 60169                    BOA ACCT 2816310
                                                                                      ATLANTA GA 30384


ACCESS CAPITAL INC                        ACCESS CAPITAL INC                          ACCESS COURIER
405 PARK AV                               PICTUREHOUSE INC                            1300 HANLEY IND CT
NEW YORK NY 10022                         437 W 16TH ST                               ST LOUIS MO 63144
                                          NEW YORK NY 10011



ACCESS COURIER                            ACCESS COURIER                              ACCESS DIRECT SYSTEMS
PO BOX 140195                             PO BOX 6828                                 80 RULAND RD
ST LOUIS MO 63114                         ST LOUIS MO 63144                           MELVILLE NY 11747-4206




ACCESS DIRECT SYSTEMS                     ACCESS MEDIA GROUP                          ACCESSWEATHER.COM INC
91 EXECUTIVE BLVD                         1776 JAMI LEE CT                            510 WATER ST
FARMINGDALE NY 11735                      SUITE NO.218                                CELEBRATION FL 34741
                                          SAN LUIS OBISPO CA 93401



ACCIUS, DIOMENE                           ACCOUNTEMPS                                 ACCOUNTEMPS
211 NW 19 STREET                          515 S. FIGUEROA                             5720 STONERIDGE DRIVE
POMPANO BEACH FL 33060                    SUITE 650                                   PLEASANTON CA 94588-2700
                                          LOS ANGELES CA 90071



ACCOUNTEMPS                               ACCOUNTEMPS                                 ACCOUNTEMPS
FILE 73484                                PO BOX 60000                                12400 COLLECTIONS CENTER DR
PO BOX 600000                             FILE 73484                                  CHICAGO IL 60693
SAN FRANCISCO CA 94160-3484               SAN FRANCISCO CA 94160-3484



ACCOUNTEMPS                               ACCOUNTEMPS                                 ACCOUNTING PRINCIPALS
P O BOX 6248                              PO BOX 7370                                 1 INDEPENDENT DRIVE
CAROL STREAM IL 60197-6248                METAIRIE LA 70010-7370                      JACKSONVILLE FL 32202




ACCOUNTING PRINCIPALS                     ACCOUNTS RECEIVABLE MANAGEMENT              ACCRAPLY INC
PO BOX 1023540                            SERVICE                                     PO BOX 95635
ATLANTA GA 30368                          PO BOX 149323                               CHICAGO IL 60694-5635
                                          ORLANDO FL 32814



ACCRAPLY INC                              ACCU BOND CORPORATION                       ACCU BOND CORPORATION
3580 HOLLY LANE NORTH                     460 ACORN LN                                460 ACORN LN
PLYMOUTH MN 55447                         DOWNINGTON PA 19335-3075                    DOWNINGTOWN PA 19335-3075




ACCU SORT SYSTEMS INC                     ACCU SORT SYSTEMS INC                       ACCU TECH ELECTRIC INC
13029 COLLECTIONS CENTER DR               511 SCHOOL HOUSE RD                         2609 W 90TH ST
CHICAGO IL 60683                          TELFORD PA 18969-1196                       EVERGREEN PARK IL 60642




                                              Page 14 of 2387
                         Case 08-13141-BLS     Doc 17-1       Filed 12/08/08   Page 15 of 800
ACCU TECH ELECTRIC INC                  ACCU WEATHER INC                         ACCU WEATHER INC
7550 ARCHER RD                          385 SCIENCE PARK ROAD                    619 W COLLEGE AVE
JUSTICE IL 60458                        STATE COLLEGE PA 16803-2215              STATE COLLEGE PA 16801




ACCURATE DOCUMENT DESTRUCTION INC       ACCURATE DOCUMENT DESTRUCTION INC        ACCURATE SCALE & EQUIPMENT
1759 ELMHURST RD                        PO BOX 91957                             3370 N HAYDEN RD NO.123 PMB 172
ELK GROVE VILLAGE IL 60007              ELK GROVE VILLAGE IL 60009-1957          SCOTTSDALE AZ 85251




ACCURO HEALTHCARE SOLUTIONS INC         ACE AMERICAN INSURANCE COMPANY           ACE AMERICAN INSURANCE COMPANY
PO BOX 974608                           436 WALNUT STREET                        ACE USA PROFESSIONAL RISK
DALLAS TX 75997-4608                    PO BOX 1000                              ATTENTION: CHIEF UNDERWRITINTG OFFICER
                                        PHILADELPHIA PA 19106                    140 BROADWAY, 41ST FLOOR
                                                                                 NEW YORK NY 10005


ACE AMERICAN INSURANCE COMPANY          ACE AMERICAN INSURANCE COMPANY           ACE ELECTRIC SEWER
ATTENTION: CHIEF UNDERWRITING OFFICER   ROUTING 1275                             55 CLIFFMOUNT DR
140 BROADWAY, 41ST FLOOR                ONE BEAVER VALLEY ROAD                   BLOOMFIELD CT 06002
NEW YORK NY 10005                       2 WEST
                                        WILMINGTON DE 19803


ACE PARKING MANAGEMENT                  ACE PARKING MANAGEMENT                   ACE PRINTERY INC
645 ASH ST                              2017 YOUNG STREET                        41 WALNUT ST
SAN DIEGO CA 92101                      DALLAS TX 75201                          HARTFORD CT 06120




ACE RELOCATION SYSTEM                   ACE SANDBLASTING COMPANY                 ACE USA EXCESS CASUALTY BINDER
PO BOX 221075                           4601 W ROSCOE STREET                     CHICAGO REGIONAL OFFICE
SAN DIEGO CA 92192                      CHICAGO IL 60641-4484                    525 WEST MONROE
                                                                                 SUITE 400
                                                                                 CHICAGO IL 60661


ACE USA, PROFESSIONAL RISK              ACE ZAKEN                                ACEVEDO, KETZAIDA GUZMAN
ATTENTION: CLAIMS UNIT                  844 CATALPA AVENUE                       79 DILLION RD
140 BROADWAY, 40TH FLOOR                TEANECK NJ 07666                         HARTFORD CT 06112
NEW YORK NY 10005



ACEVEDO, NIDIA                          ACEY DECY EQUIPMENT CO INC               ACEY DECY EQUIPMENT CO INC
7873 MANOR FOREST LN                    200 PARKSIDE DR                          5420 VINELAND AVENUE
BOYNTON BEACH FL 33436                  SAN FERNANDO CA 91340                    N HOLLYWOOD CA 91601




ACEY, VICKI E                           ACHCAR, CAIO                             ACHEAMPONG, FESTUS
6094 BELLE FOREST                       4530 CONCORD LANDING DR NO.204           490 TOLLAND ST     APT B-11
MEMPHIS TN 38115                        ORLANDO FL 32839                         EAST HARTFORD CT 06108




ACHIEVEMENT CENTERS FOR CHILDREN        ACHINTA DUTTA                            ACI
& FAMILIES FOUNDATION                   41 FITCHBURG STREET                      445 PARK AVENUE 20TH FL
555 NW 4TH ST                           BAY SHORE NY 11706                       NEW YORK NY 10022
DELRAY BEACH FL 33445




                                            Page 15 of 2387
                           Case 08-13141-BLS    Doc 17-1       Filed 12/08/08   Page 16 of 800
ACI                                     ACI                                       ACI
6100 WILSHIRE BLVD.                     1501 W WARDLOW RD                         ADVERTISING CONSULTANT INC
LOS ANGELES CA 90048                    LONG BEACH CA 90810                       3245 E 59TH ST
                                                                                  LONG BEACH CA 90805



ACI                                     ACIERTO, MIREYA                           ACKERMAN, ANGEL R
ADVERTISING CONSULTANT INC              4122 N HERMITAGE                          1861 FERRY ST
ATN: MICHAEL SOMERS                     CHICAGO IL 60613                          EASTON PA 18042
3245 E 59TH ST
LONG BEACH CA 90805


ACKERMAN, BRUCE                         ACKERMAN, DAVID G                         ACKLEY ADVERTISING
C/O YALE LAW SCHOOL                     1841 4TH STREET                           401 CHESTNUT ST SUITE 201
P O BOX 208215                          BETHLEHEM PA 18020                        EMMAUS PA 18049
NEW HAVEN CT 06520-8215



ACKLEY ADVERTISING                      ACKLEY ADVERTISING                        ACKLEY ADVERTISING
48 NORTH SEVENTH ST                     6799 KERNSVILLE RD                        PO BOX 779
ALLENTOWN PA 18101                      OREFIELD PA 18069                         EMMAUS PA 18049-0779




ACKLEY, KATIE                           ACKMAN, SCOTT                             ACME SCALE SYSTEMS
5830 SW 120TH AVE                       5137 N OAKLEY                             1100 N VILLA AVE
COOPER CITY FL 33330                    CHICAGO IL 60625                          VILLA PARK IL 60181




ACOM                                    ACOPIAN INCORPORATION                     ACOPIAN INCORPORATION
1501 W WARDLOW RD                       PO BOX 638                                PO BOX 638
LONG BEACH CA 90810                     EASTON PA 18042                           EASTON PA 18044




ACORACI, GERALDINE                      ACORD INC                                 ACOSTA, ANGEL L
7625 TAHITI LAKE BLDG 33 APT 203        8 FAIRFIELD BLVD                          17 MARTIN ST NO.D
LAKE WORTH FL 33467                     WALLINGFORD CT 06492                      HARTFORD CT 06120




ACOSTA, FRANCISCO ANTONIO               ACOSTA, OSMAR CONTRERAS                   ACOSTA, SEBASTIAN
C/PRIVADA NO.71 BARRIO LA PAZ           3116 MARIA CIRCLE                         445 LANCERS DRIVE
BONAO                                   WEST PALM BEACH FL 33417                  WINTER SPRINGS FL 32708




ACOSTA, SEGUNDO                         ACOSTA, VILMA                             ACOSTA, VILMA
31-49 84TH ST                           31-49 84TH ST                             31-49 84TH ST
EAST ELMHURST NY 11370                  EAST ELMHURST NY 11365                    EAST ELMHURST NY 11370




ACP PEACHTREE CENTER LLC                ACP PEACHTREE CENTER LLC                  ACP PEACHTREE CENTER LLC
RE: ATLANTA 229 PEACHTREE               444 BRICKELL AVENUE, SUITE 900            C/O CITY NATIONAL BANK
C/O CITY NATIONAL BANK                  MIAMI FL 33131                            PO BOX 01-9988
PO BOX 01-9988                                                                    MIAMI FL 33101-9988
MIAMI FL 33101-9988




                                            Page 16 of 2387
                          Case 08-13141-BLS    Doc 17-1         Filed 12/08/08   Page 17 of 800
ACPT                                   ACQUAYE, LUCINDA                            ACQUIRE MEDIA VENTURES INC
15503 STEVENS AVE                      17 WARREN CT                                3 BECKER FARM ROAD SUITE 204
BELLFLOWER CA 90706                    FARMINGVILLE NY 11738                       ROSELAND NJ 07068




ACQUIRE MEDIA VENTURES INC             ACRES, MARY L                               ACS
PO BOX 30745                           1222 BALLY SHANNON PKWY                     7303 SE LAKE RD
NEW YORK NY 10087-0745                 ORLANDO FL 32328                            PORTLAND OR 97267




ACS/SUSICO CO                          ACTION CAMERAS INC                          ACTION CLEANING SERVICE
3649 CHASE AVENUE                      5375 PINTAIL ST                             191 WILLOWBROOK AVE
SKOKIE IL 60076-4007                   LA VERNE CA 91750                           STAMFORD CT 06902




ACTION CLEANING SERVICE                ACTION DOOR REPAIR CORPORATION              ACTION DOOR REPAIR CORPORATION
191 WILLOWBROOK AVE                    215 S NINTH AVE                             5420 MALABAR STREET
STAMFORD CT 06903                      CITY OF INDUSTRY CA 91746                   HUNTINGTON PARK CA 90255




ACTION GOLF CAR RENTALS                ACTION LONG ISLAND                          ACTIVA GLOBAL SPORTS & ENTERTAINMENT
3057 N NORFOLK ST                      945 WALT WHITMAN RD                         27 HUBBLE DRIVE
MESA AZ 85215                          MELVILLE NY 11747                           IRVINE CA 92618




ACTIVE ELECTRICAL SUPPLY CO.           ACTIVE MEDIA SERVICES                       ACTORS LA AGENCY
4240 W LAWRENCE AVE                    ONE BLUE HILL PLAZA STE 520                 12435 OXNARD ST
STEVE POKOIK                           PEARL RIVER NY 10512                        NORTH HOLLYWOOD CA 91606
CHICAGO IL 60630



ACTS OF WILL INC                       ACUNA, CRISTIAN                             ACUNA, ERNEST
1709 IDAHO AVENUE                      13237 HEATHER MOSS DR      APT 1001         13 SEA SWALLOW TERRACE
SANTA MONICA CA 90403                  ORLANDO FL 32837                            ORMOND BEACH FL 32176




ACUTECH LLC                            ACXIOM CORPORATION                          ACXIOM CORPORATION
25831 PIERINA DR                       15084 COLLECTIONS CENTER DRIVE              4057 COLLECTIONS CENTER DR
ELKHART IN 46514                       CHICAGO IL 60693                            CHICAGO IL 60693




ACXIOM CORPORATION                     ACXIOM CORPORATION                          ACYS OFFICE EQUIPMENT
ACXIOM/ INFOBASE                       PO BOX 954010                               3000 DAVID DRIVE
4090 COLLECTION CENTER DRIVE           ST LOUIS MO 63195-4010                      METAIRIE LA 70003
CHICAGO IL 60693



AD CARS INC                            AD CARS INC                                 AD DIMENSIONS INC
1124 TUTHILL RD                        679 BEAVER CT C/O TONI WRIGHT               18 E SUNRISE HWY
C/O TONI WRIGHT                        NAPERVILLE IL 60563                         FREEPORT NY 11520
NAPERVILLE IL 60563




                                           Page 17 of 2387
                            Case 08-13141-BLS    Doc 17-1        Filed 12/08/08   Page 18 of 800
AD LOOKS INC                             AD PRO MARK INC                            ADA CHAN
4300 ANTHONY CT     STE H                6206 OKLAHOMA ROAD                         17 DOUGLAS AVE
LOCKLIN CA 95677                         SYKESVILLE MD 21784                        GLENS FALLS NY 12801




ADA D'ANNA                               ADA NAZARIO                                ADA, SOLIVAN
1844 S. MICHIGAN                         14684-D CANALVIEW DRIVE                    8 LEWIS ST
#102                                     DELRAY BEACH FL 33484                      PLAINVILLE CT 06062
CHICAGO IL 60616



ADAAWE                                   ADAAWE                                     ADAIR, MARK
5810 SATURN ST                           PO BOX 2217                                2832 E DUNBAR DR
LOS ANGELES CA 90019                     VENICE CA 90294                            PHOENIX AZ 85042




ADALBERTO, ELIAS-BRITO                   ADAM ABRAMSON                              ADAM BARKER
813 NW 24 CT NO.REAR                     3624 192ND STREET                          4830 BAKMAN AVE
MIAMI FL 33125                           FLUSHING NY 11358                          APT#202
                                                                                    NORTH HOLLYWOOD CA 91601



ADAM BART                                ADAM BARTELS                               ADAM BEDNAR
5706 CROSSBRIDGE ROAD                    8285 SOBAX DRIVE                           2810 ST. PAUL STREET
AVON IN 46123                            INDIANAPOLIS IN 46268                      BALTIMORE MD 21218




ADAM BIANCOSINO                          ADAM BISCHOFF                              ADAM BRYER
9 JUNIPER COURT                          8321 11TH AVENUE NW                        1231 LANDWEHR RD
EDISON NJ 08820                          SEATTLE WA 98117                           NORTHBROOK IL 60062




ADAM BULGER                              ADAM CALDARELLI                            ADAM CHARLES
155 KENYON STREET                        1658 N MOHAWK STREET                       1087 COMMONWEALTH BLVD.
3RD FLOOR                                #3                                         READING PA 19607
HARTFORD CT 06105                        CHICAGO IL 60614



ADAM CLICK                               ADAM COLLOPY                               ADAM DEBACKER
10764 OAK POINTE DR                      1460 N. SANDBURG TER.                      48 NORTH MENARD
ST. LOUIS MO 63074                       UNIT #1407                                 APT# 3A
                                         CHICAGO IL 60610                           CHICAGO IL 60644



ADAM DEL-RADIO                           ADAM EISENBERG                             ADAM ERIC KULAWIK
2442 N. ASHLAND                          2671 NE 17TH STREET                        5319 N MCVICKER AVE.
APT # 1F                                 POMPANO BEACH FL 33062                     CHICAGO IL 60630
CHICAGO IL 60615



ADAM GOOD                                ADAM HERIG                                 ADAM HISSEY
810 WEST HAMPTON DRIVE                   176 SO. 12TH STREET                        4386 SHELDON DRIVE
INDIANAPOLIS IN 46208                    LINDENHURST NY 11757                       LA MESA CA 91941




                                             Page 18 of 2387
                           Case 08-13141-BLS    Doc 17-1        Filed 12/08/08   Page 19 of 800
ADAM JAFFE                              ADAM KERKE                                 ADAM KIRSCHNER
9600 BEVERLYWOOD STREET                 5322 SOUTH BROADWAY CIRCLE                 141 SW 96TH AVENUE
LOS ANGELES CA 90034                    APT. 11-303                                PLANTATION FL 33324
                                        ENGLEWOOD CO 80113



ADAM KULAWIK                            ADAM LAZAR                                 ADAM LEE
323 TERRA SPRING CIRCLE                 207 ELMWOOD ST                             5212 1/2 HAYTER AVE
VOLO IL 60020                           VALLEY STREAM NY 11581                     LAKEWOOD CA 90712




ADAM LEVINE                             ADAM LOVE                                  ADAM MARTIN
8831 SONOMA LAKE                        845 W SHERIDAN #3                          5615 24TH AVENUE NE
BOCA RATON FL 33434                     CHICAGO IL 60613-3095                      TACOMA WA 98422




ADAM MARTON                             ADAM MORGAN                                ADAM MOROSCHAN
9846 ROBINSON BLVD                      2106 ROCKEFELLER LANE                      1732 W. RASCHER AVENUE
LAUREL MD 20723                         UNIT#C                                     APT. #2
                                        REDONDO BEACH CA 90278                     CHICAGO IL 60640



ADAM NELSON                             ADAM NORRIS                                ADAM PERI
55 W 84 ST                              429 GREENMOUNT DRIVE                       2650 LAKEVIEW
APT. 6                                  METAIRIE LA 70005                          APT 808
NEW YORK NY 10024                                                                  CHICAGO IL 60614



ADAM PHILLIPS                           ADAM RITTENHOUSE                           ADAM RONIS
451 E. WATER ST.                        48 GRAND AVENUE                            64-27 SPRINGFIELD BLVD
KANKAKEE IL 60901                       LINDENHURST NY 11757                       OAKLAND GARDENS NY 11364




ADAM ROTHBERG                           ADAM ROUFF                                 ADAM SAPIRO
1133 N DEARBORN                         1800 PARK AVENUE                           81 COURT STREET
CHICAGO IL 60610                        EAST MEADOW NY 11554                       CROMWELL CT 06416




ADAM SHAPIRO                            ADAM SHELNUT                               ADAM SHIVER
808 BROADWAY                            4112 DOCK LANDING ROAD                     1612 BILOXI COURT
4K                                      CHESAPEAKE VA 23321                        ORLANDO FL 32818
NEW YORK NY 10003



ADAM SOLOP                              ADAM SOMERFELD                             ADAM THEIS
120 AVON DALE DRIVE                     5001 CORINGA DRIVE                         105 SPIER FALLS ROAD
CENTEREACH NY 11720                     LOS ANGELES CA 90042-1069                  GANSEVOORT NY 12831




ADAM TOMCZYK                            ADAM TOURTELLOT                            ADAM TROEGER
7055 RFD                                23 RED OAK LANE                            211-10 73RD. AVE
LONG GROVE IL 60060-4218                BALLSTON SPA NY 12020                      #2A
                                                                                   BAYSIDE NY 11364




                                            Page 19 of 2387
                          Case 08-13141-BLS    Doc 17-1       Filed 12/08/08   Page 20 of 800
ADAM TROMBLEY                          ADAM TSCHORN                              ADAM UPPERMANN
19 TEE HILL ROAD                       6310 MARYLAND DRIVE                       3137 TWITCHELL ISLAND ROAD
QUEENSBURY NY 12804                    LOS ANGELES CA 90048                      WEST SACRAMENTO CA 95691




ADAM VALUCKAS                          ADAM VETOCK                               ADAM WALKER
8 A SILVERLEAF COURT                   72 CROSSWIND DRIVE                        1329 MEDINAH COURT
COCKEYSVILLE MD 21030                  SHREWSBURY PA 17361                       WINTER PARK FL 32792




ADAM WATKINS                           ADAM WELIKSON                             ADAM WINEGAR
16411 OLD ORCHARD RD                   59 BELMONT AVENUE                         1135 BROADWAY
SILVER SPRING MD 20905                 WEST BABYLON NY 11704                     #807
                                                                                 DENVER CO 80203



ADAM WISNESKI                          ADAM ZOLL                                 ADAM, MICHAEL
2314 JOHNSON STREET                    8922 N. EWING AVE.                        751 C POTENZA DRIVE
APT 4                                  EVANSTON IL 60203                         CHARLOTTE NC 28262
HOLLYWOOD FL 33020



ADAME, DAVID                           ADAMES, JEANNETTE                         ADAMES, SUGEINY
6250 SW 38TH ST                        1065 REGAL POINTE TER NO.209              1015 REGAL POINTE TERRACE
MIAMI FL 33155                         LAKE MARY FL 32746                        LAKE MARY FL 32746




ADAMS NATIONAL BANK                    ADAMS OUTDOOR ADVERTISING                 ADAMS OUTDOOR ADVERTISING
RE: WASHINGTON 1025 F STREET           PO BOX 50631                              PO BOX 60451
1130 CONNECTICUT AVE, NW NO. 200       KALAMAZOO MI 49005-0631                   CHARLOTTE NC 28260-0451
ACCT: 0060358901
WASHINGTON DC 20036


ADAMS OUTDOOR ADVERTISING              ADAMS OUTDOOR ADVERTISING                 ADAMS OUTDOOR ADVERTISING
PO BOX 20110                           US RT 209                                 PO BOX 12829
LEHIGH VALLEY PA 18002                 RR5 BOX 5197                              NORFOLK VA 23541
                                       EAST STROUDSBURG PA 18201



ADAMS, BRENNA                          ADAMS, BRIAN                              ADAMS, BRIAN G
39975 CEDAR BLVD NO.236                8917 BREINIG RUN CIR                      319 KIWANIS PL
NEWARK CA 94560                        BREINIGSVILLE PA 18031                    BISHOPVILLE SC 29010




ADAMS, DELICIA M                       ADAMS, ERIC                               ADAMS, FRANCIS V
3201 NW 35TH WAY                       820 STAFFORD AVE UNIT 17                  650 FIRST AVENUE 7TH FLR
LAUDERDALE LAKES FL 33309              BRISTOL CT 06010                          NEW YORK NY 10016




ADAMS, GORDON                          ADAMS, GORDON                             ADAMS, ISABEL P
2000 GLEN ROSS ROAD                    2000 GLEN ROSS ROAD                       821 E ANGELENO AVENUE
SILVER SPRING MD 20910                 SILVER SPRINGS MD 20910                   BURBANK CA 91501-1416




                                           Page 20 of 2387
                           Case 08-13141-BLS   Doc 17-1       Filed 12/08/08   Page 21 of 800
ADAMS, JANA C                           ADAMS, JANE MEREDITH                     ADAMS, JILL U
95 HOCKANUM BLVD UNIT 4301              3011 HILLEGASS AVE                       11 PALMER AVE
VERNON CT 06066                         BERKELEY CA 94705-2513                   DELMAR NY 12054




ADAMS, JOE                              ADAMS, JOSEPH                            ADAMS, JOSEPH H
4593 ARROW WIND LN                      31 SLEEPY HOLLOW RD                      31 SLEEPY HOLLOW RD
JACKSONVILLE FL 32258                   NEWINGTON CT 06111-1035                  NEWINGTON CT 06111




ADAMS, MICHAEL R                        ADAMS, RUSSELL F                         ADAMS, SAM
217 OAK AVE.                            P. O. BOX 1103                           4626 CEDAR AVE
PIKESVILLE MD 21208                     SANTA MONICA CA 90406                    PHILADELPHIA PA 19143




ADAMS, TAMMY LYNN                       ADAMS, VERNON FRANKLIN                   ADAMS,PRISCILLA
333 SOUTH GLEBE ROAD NO.106             8 CLAY DR                                10736 NW 40 ST
ARLINGTON VA 22204                      NEWPORT NEWS VA 23606                    SUNRISE FL 33351




ADAMS-PITTS, ANGELA                     ADAMS-SCOTT INC                          ADAMSON, DAPHNE
3615 RIVER HILLS CT                     ON YOUR MARK STUDIOS                     67 BROOK ST
ELLENWOOD GA 30294                      13425 VENTURA BLVD NO.200                EAST HARTFORD CT 06108
                                        SHERMAN OAKS CA 91423



ADAMSON, FLORENCE                       ADAMSON, LYNNE ANNE                      ADAMYAN, KARREN
4420 GEORGIA                            6102 N. SHERIDAN                         13615 VICTORY BLVD STE 217
KANSAS CITY KS 66104                    403                                      VAN NUYS CA 91401
                                        CHICAGO IL 60660



ADAN HERNANDEZ                          ADAPTIVE COMMUNICATIONS                  ADASHI, JUDAH
7235 MIAMI LAKES DRIVE                  2575 NE KATHRYN ST  STE 17               123 E MONTGOMERY ST
UNIT C1                                 HILLSBORO OR 97124                       BALTIMORE MD 21230
MIAMI LAKES FL 33014



ADCO ELECTRICAL CORPORATION             ADCOCK, SYLVIA                           ADCOM PUBLISHING INC
201 EDWARD CURRY AVE                    1706 DARE ST                             14742 BEACH BLVD    NO.409
STATEN ISLAND NY 10314                  RALEIGH NC 27608                         LA MIRADA CA 90638-4259




ADCRAFT CLUB OF DETROIT                 ADDERLY, JAMIE                           ADDIE KNIGHT
3011 WEST GRAND BOULEVARD               6358 PINESTEAD DRIVE NO.1210             5415 CLARCONA BLVD.
SUITE 1715                              LAKE WORTH FL 33463                      # 214
DETROIT MI 48202-3000                                                            ORLANDO FL 32810



ADDISON SEARCH LLC                      ADDLY DOSTALY                            ADEBAYO AKINDE
222 S RIVERSIDE PLAZA    STE 1710       701 NE 51ST COURT                        787 NORTH ASCAN ST
CHICAGO IL 60606                        DEERFIELD BEACH FL 33064                 ELMONT NY 11003




                                            Page 21 of 2387
                            Case 08-13141-BLS   Doc 17-1        Filed 12/08/08   Page 22 of 800
ADELE ANGLE                              ADELE FASS                                ADELE STEIGER
87 GARFIELD ROAD                         530 SECOND AVENUE                         4329 S.E. 15TH AVE.
WEST HARTFORD CT 06107                   3H                                        PORTLAND OR 97202
                                         NEW YORK NY 10016



ADELHARDT CONSTRUCTION CORP              ADELINE A KENEFICK                        ADELIRIS DEL VALLE
241 WEST 30TH ST                         271 WATSON AVE                            P.O. BOX 592447
NEW YORK NY 10001                        COATESVILLE PA 19320                      ORLANDO FL 32859




ADELMAN, EMMA                            ADELORINA PATAL                           ADER, ANDREA B
6125 NW 23 TERRACE                       611 SOUTH NORMANDIE AVENUE                284 CARPENTER ROAD
BOCA RATON FL 33496                      APT.# 52                                  COVENTRY CT 06238
                                         LOS ANGELES CA 90005



ADFARE                                   ADIL ASGHAR                               ADINA GENN INC
3541 OLD CONEJO RD NO.104                2273 JENNAH CIRCLE                        31 MILL POND ROAD
NEWSBURY PARK CA 91320                   EUSTIS FL 32726                           PORT WASHINGTON NY 11050




ADINA LOOCHKARTT                         ADINA MONTGOMERY                          ADIRIAN REED
1213 NE FIFTH STREEAAT                   8555 INDEPENDENCE AVENUE                  8439 S WOLCOTT
POMPANO BEACH FL 33060                   APT. #110                                 CHICAGO IL 60620
                                         CANOGA PARK CA 91304



ADIRONDACK BALLOON FESTIVAL              ADIRONDACK RUNNERS                        ADISSON, PIERRE
BOX 883                                  PO BOX 2245                               6093 SW 40TH COURT
GLENS FALLS NY 12801-3590                GLEN FALLS NY 12801                       MIRAMAR FL 33023




ADITHAM, KIRAN K                         ADITYA JOSEPH                             ADJEI, BEATRICE
3006 JOHNSON CIRCLE                      435 EAST FRANKFORD STREET                 2042 RESHING CREEK DR
BRIDGEWATER NJ 08807                     BETHLEHEM PA 18018                        DECATUR GA 30035




ADK WATER MANAGEMENT                     ADK WATER MANAGEMENT                      ADKINS JR, JOHN I
186 MICHIGAN AV                          7 PHEASANT HILL                           5111 S DREXEL BOULEVARD
HOLYOKE MA 01040                         GRANBY MA 01033                           3F
                                                                                   CHICAGO IL 60615



ADKINS, DEBRA                            ADKINS, TANISHA A                         ADKINS, TIM
140 GOODWIN ST                           250 VAN BUSKIRK ROAD                      1103 1/2 8TH ST
BRISTOL CT 06010                         TEANECK NJ 07666                          HUNTINGTON WV 25701




ADKINS, TIM                              ADKINS-WARD, ANDRE                        ADKINSON VAYO, ROCHELLE
PO BOX 391                               1153 SCHOOLSIDE DR                        2244 W ROSCOE ST NO.2
LAVALETTE WV 25535                       LITHONIA GA 30058                         CHICAGO IL 60618




                                             Page 22 of 2387
                           Case 08-13141-BLS    Doc 17-1      Filed 12/08/08   Page 23 of 800
ADLEMAN, ANDREA                         ADLER, JANE                              ADLER, REID
1536 W 25TH ST NO 230                   524 KIN CT                               2821 SW 73RD WAY   APT 1816
SAN PEDRO CA 90732                      WILMETTE IL 60091                        DAVIE FL 33314




ADLER, RICHARD                          ADLER, TONY                              ADLER, TONY
255 LIMONEIRA AVE                       814 MONROE ST                            DBA ACME COMMUNICATIONS INC
VENTURA CA 93003                        EVANSTON IL 60202                        1121 FLORENCE AVE
                                                                                 EVANSTON IL 60202



ADLEY ZAPOTRE                           ADLINK CABLE ADVERTISING LLC             ADMAX TELEVISION INC
4851 NW 1ST STREET                      11150 SANTA MONICA BLVD STE 1000         1435 WALNUT ST 4TH FLR
PLANTATION FL 33317                     LOS ANGELES CA 90025                     PHILADELPHIA PA 19102




ADMINISTRATIVE SERV CO OP               ADMINSTAFF SERVICES LP                   ADMIRAL MECHANICAL SERVICES, INC
2129 W ROSECRANS AVENUE                 19001 CRESCENT SPRINGS DRIVE             4150 LITT DRIVE
GARDENA CA 90249                        KINGWOOD TX 77339                        HILLSIDE IL 60162




ADMIRAL POINTE APARTMENTS LP            ADMIRAL VALVE COMPANY                    ADMISSION CORPORATION
201 B 73RD STREET                       1461 WEST GRAND AVENUE                   3000 EXECUTIVE PARKWAY    STE 150
NEWPORT NEWS VA 23607                   CHICAGO IL 60622                         SAN RAMON CA 94583




ADOLF AND ROSE LEVIS JCC                ADOLFO ABADIA                            ADOLFO COLMENARES
9801 DONNA KLEIN BLVD                   5711 NW 60TH PLACE                       240 LAKEVIEW DRIVE
BOCA RATON FL 33428                     PARKLAND FL 33067                        APT 102
                                                                                 WESTON FL 33326



ADOLFO ROMERO                           ADOLPH GARCIA                            ADOLPH MORGAN
2808 FREDERICK ST.                      301 EAST FOOTHILL BLVD                   3007 HOLLINS FERRY ROAD
LOS ANGELES CA 90065                    SPACE 68                                 BALTIMORE MD 21230
                                        POMONA CA 91767



ADONE, VINCENT                          ADONIS, MARHINO                          ADORACION DELGADO
2475 HOUGHTON LEAN                      1201 SW 68TH AVE                         24 E COUNTRY CLUB DRIVE
MACUNGIE PA 18062                       PLANTATION FL 33317                      NORTHLAKE IL 60164




ADP INC                                 ADP INC                                  ADREANE LYNN
PO BOX 78415                            PO BOX 9001006                           842 WEST TIOGA STREET
PHOENIX AZ 85062-8415                   LOUISVILLE KY 40290-1006                 ALLENTOWN PA 18103




ADREANNE MCKENZIE                       ADRENALINE TV/PRH PRODUCTIONS            ADRIA ALI
105 BROOKLINE AVENUE                    4599 FORESTVIEW DR.                      5007 122NS STREET SE
BLOOMFIELD CT 06002                     NORTHBROOK IL 60062                      EVERETT WA 98208




                                            Page 23 of 2387
                            Case 08-13141-BLS    Doc 17-1         Filed 12/08/08   Page 24 of 800
ADRIA GODON-BYNUM                        ADRIAN ANGLIN                               ADRIAN CORTIO
3753 N FREMONT ST                        1401 R N WIELAND ST                         94 CATHERINE STREET
APT #3S                                  CHICAGO IL 60610                            FORT ANN NY 12827
CHICAGO IL 60613



ADRIAN GUIDARA                           ADRIAN HOULLI                               ADRIAN KRUEGER
523 CAMDON CIRCLE                        4025 N NOB HILL RD                          38 ALL POINTS TERRACE
BARTLETT IL 60103                        APT 201                                     HOLBROOK NY 11741
                                         SUNRISE FL 33351



ADRIAN MARIN                             ADRIAN PERACCHIO                            ADRIAN PONCE
121 CROMWELL STREET                      206 VINEYARD RD                             830 AZUSA AVENUE
HARTFORD CT 06114                        HUNTINGTON NY 11743                         SP 29
                                                                                     AZUSA CA 91702



ADRIAN PROVOST                           ADRIAN RAMIREZ                              ADRIAN RAMIREZ
227 WASHINGTON AVENUE                    7449 NE 122ND STREET                        15130 SEPTO STREET
AMITYVILLE NY 11701                      KIRKLAND WA 98034                           MISSION HILLS CA 91345




ADRIAN SEAY                              ADRIAN THOMAS                               ADRIAN URIBARRI
1315 WOODCREST DRIVE                     115-40 117TH STREET                         501 W OLD US HIGHWAY 441
HAMPTON VA 23669                         OZONE PARK NY 11420                         APT 403
                                                                                     MOUNT DORA FL 32757



ADRIANA COLLADO                          ADRIANA GAVRILOVIC                          ADRIANA GUADARRAMA
3710 PELICAN LANE                        435 N. MICHIGAN                             212 S. HAROLD
ORLANDO FL 32803                         CHICAGO IL 60611                            NORTHLAKE IL 60164




ADRIANA REYES                            ADRIANA VIGLIOTTI                           ADRIANO GARCIA
1748 1/2 S. MARVIN AVENUE                6507 HICKORY ROAD                           1116 HUDSON STREET
REAR HOUSE                               MACUNGIE PA 18062                           APT 5R
LOS ANGELES CA 90019                                                                 HOBOKEN NJ 07030



ADRIANO, BRIAN JUSTIN                    ADRIAZOLA, ROSARIO                          ADRIENNE ABRAHAM-TERRELL
2550 N ALAFAYA TRL NO.1201               69-46 79TH ST                               1105 EUCLID COURT
ORLANDO FL 32826                         MIDDLE VILLAGE NY 11379                     RICHTON PARK IL 60471




ADRIENNE COLLINS                         ADRIENNE COOK                               ADRIENNE GREEN
5872 NW 122 DRIVE                        20 PINE DRIVE UNIT 125                      12715 GREENWOOD AVENUE
CORAL SPRINGS FL 33076                   PAWLING NY 12564                            FLOOR 1
                                                                                     BLUE ISLAND IL 60406



ADRIENNE LADD                            ADRIENNE LEVIN                              ADRIENNE TUNKE
188 BUTTERMILK FALLS                     1440 HOTEL CIRCLE N                         5320 TOWNSQUARE DRIVE
WEST FORT ANN NY 12827                   466                                         MACUNGIE PA 18062
                                         SAN DIEGO CA 92108




                                             Page 24 of 2387
                            Case 08-13141-BLS   Doc 17-1        Filed 12/08/08   Page 25 of 800
ADRINA CRICHLOW                          ADS ON FEET                               ADSET
757 DEKALB AVENUE                        2001 BEACON STREET SUITE 303              1018 N TUSTIN AVENUE
APT 2                                    BOSTON MA 02135                           ANAHEIM CA 92807
BROOKLYN NY 11216



ADSET                                    ADSET                                     ADSTAR INC
1060 N TUSTIN AVENUE                     57617 OLD MILL RD                         4553 GLENCOE AVE STE 325
ANAHEIM CA 92807                         YUCCA VALLEY CA 92284                     MARINA DEL REY CA 90292




ADSTAR INC                               ADSTAR INC                                ADSTAR INC
4553 GLENCOE AVENUE                      P O BOX 92282                             PO BOX 515326
SUITE 932                                LOS ANGELES CA 90009                      LOS ANGELES CA 90051-6626
ATTN: ORDER DEPT.
MARINA DEL RAY CA 90292


ADSTAR INC                               ADSTAR INC                                ADSTAR INC
PO BOX 60360                             2 ROOSEVELT AVE                           BOX 5300 GPO
LOS ANGELES CA 90060-0360                SYOSSET NY 11791                          NEW YORK NY 10087-5300




ADT SECURITY SERVICES                    ADT SECURITY SERVICES                     ADT SECURITY SERVICES
14200 E EXPOSITION AVE                   10 RESEARCH PRKWAY                        2250 W PINEHURST STE 100
AURORA CO 80013                          WALLINGFORD CT 06492-9786                 ADDISON IL 60101




ADT SECURITY SERVICES                    ADT SECURITY SERVICES                     ADT SECURITY SERVICES
PO BOX 9001076                           4485 NICOLE DRIVE                         6301 STEVENS FOREST ROAD STE 100
LOUISVILLE KY 40290-1076                 LANHAM MD 20706                           COLUMBIA MD 21046




ADT SECURITY SERVICES                    ADT SECURITY SERVICES                     ADT SECURITY SERVICES
ATTN REGINA MARAN                        ATTN: B. COLEMAN                          LONG ISLAND CITY BRANCH
50 REPUBLIC ROAD                         335 W 16TH ST                             47-20 21ST ST
MELVILLE NY 11747                        NEW YORK NY 10011                         LONG ISLAND NY 11101



ADT SECURITY SERVICES                    ADT SECURITY SERVICES                     ADT SECURITY SERVICES
PO BOX 371956                            PO BOX 371967                             PO BOX 650485
PITTSBURGH PA 15250-7956                 PITTSBURGH PA 15250-7967                  DALLAS TX 75265-0485




ADTRUKS                                  ADUHENE, JOSEPH                           ADULT LITERACY CENTER OF
119 N EL CAMINO REAL STE E-116           35 DEERFIELD AVENUE NO.2                  THE LEHIGH VALLEY
ENCINITAS CA 92024                       EAST HARTFORD CT 06108                    801 HAMILTON ST STE 201
                                                                                   ALLENTOWN PA 18101-2420



ADVANCE GLASS SERVICE INC                ADVANCE LOCK & SAFE SERVICE               ADVANCE MAILING SYSTEMS
5112 W IRVING PARK RD                    980 POPPY ST                              505 NORTHWEST AVENUE
CHICAGO IL 60641                         LOS ANGELES CA 90042                      NORTHLAKE IL 60164




                                             Page 25 of 2387
                        Case 08-13141-BLS    Doc 17-1         Filed 12/08/08   Page 26 of 800
ADVANCE RELOCATION AND STORAGE INC   ADVANCE SEARCH INC                          ADVANCED ACCESS CONTROLS
195 SWEET HOLLOW RD                  950 LEE ST     STE 205                      14803 MORRISON ST
OLD BETHPAGE NY 11804                DES PLAINES IL 90016                        SHERMAN OAKS CA 91403




ADVANCED BROADCAST SOLUTIONS         ADVANCED BUSINESS INTEGRATORS INC           ADVANCED CABLE COMMUNICATIONS
8735 S 212TH ST                      4150 FLORIN PERKINS RD STE B                1274 WESTON ROAD
KENT WA 98031                        SACRAMENTO CA 95826                         WESTON FL 33326




ADVANCED CIRCULATION SOLUTIONS LLC   ADVANCED COFFEE SERVICE                     ADVANCED CONTROL TECHNOLOGY
1804 GROVE DR                        16464 136TH AVE                             7050 E COUNTY RD
SHAKOPEE MN 55379                    NUNICA MI 49448                             SHAKOPEE MN 55379




ADVANCED CYLINDER REPAIR             ADVANCED CYLINDER REPAIR                    ADVANCED IMAGE DIRECT
PO BOX 3468                          PO BOX 95                                   1415 S ACACIA AVE
WAQUOIT MA 02536                     CHITTENDEN VT 05737                         FULLERTON CA 92831




ADVANCED MEDIA RESEARCH GROUP        ADVANCED MEDIA RESEARCH GROUP               ADVANCED PUBLICATION DISTRIBUTION
190 QUEEN ANNE AVE NORTH STE 280     C/O DAVID NIU DAVID                         PO BOX 363
SEATTLE WA 98109                     100 W HARRISON ST STE 520 SOUTH             PINE BROOKS NJ 07058
                                     SEATTLE WA 98119



ADVANCED SECURITY TRAINING           ADVANCED SWITCH TECHNOLOGY                  ADVANCED SYSTEMS INC
24 CROFT LANE                        694 FORTUNE CRESCENT                        1415 S 30TH AVENUE
SMITHTOWN NY 11787                   KINGSTON ON K7P 2T3                         HOLLYWOOD FL 33020




ADVANCED SYSTEMS INC                 ADVANCED TECH SECURITY INC                  ADVANCED TECH SECURITY INC
1415 S.30 AVENUE                     27959 SMYTH DR                              6180 LAUREL CANYON BLVD
ATTN: BOB                            VALENCIA CA 91355                           STE 350 - BOX 15
HOLLYWOOD FL 33020                                                               NORTH HOLLYWOOD CA 91606



ADVANCED TECH SECURITY INC           ADVANCED TECH SECURITY INC                  ADVANCED TECHNICAL SOLUTIONS INC
DBA ANDREWS INTERNATIONAL            DBA ANDREWS INTERNATIONAL INC               20 MAIN ST
27959 SMYTH DR                       FILE 51018                                  ACTION MA 01720
VALENCIA CA 91355                    LOS ANGELES CA 90074-1018



ADVANCED TECHNICAL SOLUTIONS INC     ADVANCED TELEVISION COMMITTEE               ADVANCED WELDING & MFG INC
255 BALLARDVALE ST                   1750 K ST NW                                10 W ILLIANA ST
WILMINGTON MA 01887                  STE 800                                     ORLANDO FL 32806
                                     WASHINGTON DC 20006



ADVANCED WELDING & MFG INC           ADVANTAGE CONFERENCE & EXPO                 ADVANTAGE CONFERENCE & EXPO
PO BOX 560068                        5187 RAYNOR AVE                             PO BOX 187
ORLANDO FL 32856                     LINTHICUM MD 21090                          GAMBRILLS MD 21054




                                         Page 26 of 2387
                           Case 08-13141-BLS    Doc 17-1      Filed 12/08/08   Page 27 of 800
ADVANTAGE ELECTRIC                      ADVANTUS CORPORATION                     ADVENT INDUSTRIAL CORP
720 W 20TH ST                           12276 SAN JOSE BLVD STE 115              ONE HAZEN LANE
HOUSTON TX 77008                        JACKSONVILLE FL 32223-8630               CARMEL NY 10512




ADVENT SYSTEMS INC                      ADVENTURE PRODUCTIONS                    ADVERTISING CHECKING BUREAU INC
435 WEST FULLERTON AVE                  7718 BELAIR ROAD                         2881 DIRECTORS COVE
ELMHURST IL 60126-1404                  SUITE 2                                  ATTN: SUE MOORE
                                        BALTIMORE MD 21236                       MEMPHIS TN 38131



ADVERTISING CHECKING BUREAU INC         ADVERTISING CLUB OF NEW ORLEANS          ADVERTISING CLUB OF NEW ORLEANS
PO BOX 1000                             141 ROBERT E LEE BLVD PMB 336            PO BOX 15641
DEPT 288                                NEW ORLEANS LA 70124                     NEW ORLEANS LA 70175
MEMPHIS TN 38148-0288



ADVERTISING CLUB OF NEW YORK            ADVERTISING DATA SCAN                    ADVERTISING DATA SCAN
235 PARK AVENUE SOUTH, 6TH FLOOR        9125 PHILLIPS HIGHWAY                    9125 PHILLIPS HWY
NEW YORK NY 10003                       JACKSONVILLE FL 32256                    JACKSONVILLE FL 32256




ADVERTISING DATABASE INC                ADVERTISING DISTRIBUTORS INC             ADVERTISING INDUSTRY EMERGENCY FUND
12 E 32ND ST  7TH FLR                   PO BOX 11710                             11300 W OLYMPIC BLVD STE 600
NEW YORK NY 10016                       BALTIMORE MD 21206                       LOS ANGELES CA 90064




ADVERTISING INDUSTRY EMERGENCY FUND     ADVERTISING INDUSTRY EMERGENCY FUND      ADVERTISING RESEARCH FOUNDATION
4919 RAMSDELL AVE                       FUND                                     432 PARK AVENUE SOUTH 6TH FLR
LA CRESCENTA CA 91214                   6404 WILSHIRE BLVD NO. 1111              NEW YORK NY 10016
                                        LOS ANGELES CA 90048



ADVIJE BAFTIRI                          ADVISIONS                                ADVOCATE
1080 PINE BLUFF RD.                     21 LOUISE CT                             525 LAFAYETTE ST
MORRIS IL 60450                         RIVERHEAD NY 11901                       BATON ROUGE LA 70802




ADVOCATE                                ADVOCATE FITNESS                         ADVOCATE FITNESS
PO BOX 588                              2025 WINDSOR DR                          205 W TOUHY AVE STE 110
BATON ROUGE LA 70821                    OAK BROOK IL 60523                       PARK RIDGE IL 60068




ADVOCATE FITNESS                        ADVOCATE FITNESS                         ADVOCATE FITNESS
450 WEST HIGHWAY 22                     C/O ADVOCATE OCCUPATIONAL HEALTH         OCCUPATIONAL HEALTH
BARRINGTON IL 60010                     205 W TOUHY STE 104                      PO BOX 70003
                                        PARK RIDGE IL 60068                      CHICAGO IL 60673



ADVOCATE FITNESS                        AEG TELEWORKS                            AEGH
PO BOX 70014                            2740 CALIFORNIA STREET                   PO BOX 460404
CHICAGO IL 60673-0014                   TORRANCE CA 90503                        ESCONDIDO CA 92046




                                            Page 27 of 2387
                             Case 08-13141-BLS    Doc 17-1      Filed 12/08/08   Page 28 of 800
AEGIS SECURITY INSURANCE COMPANY          AEGIS SECURITY INSURANCE COMPANY         AEGON USA REALTY ADVISORS INC
2407 PARK DRIVE                           C/O WILSON GREGORY AGENCY                RE: CHATSWORTH 9301 OAKDALE
HARRISBURG PA 17110                       PO BOX 8                                 PO BOX 905128
                                          CAMP HILL PA 17001                       CHARLOTTE NC 28290-5128



AEGON USA REALTY ADVISORS INC             AEGON USA REALTY ADVISORS INC            AEGON USA REALTY ADVISORS, INC.
ATTN HEIDI KHAW                           PO BOX 905128                            RE: CHATSWORTH 9301 OAKDALE
4333 EDGEWOOD RD NE                       CHARLOTTE NC 28290-5128                  ATTN: ASSET MANAGEMENT
CEDAR RAPIDS IA 52499-5441                                                         4333 EDGEWOOD RD N.E.
                                                                                   CEDAR RAPIDS IA 52499-5553


AERIAL VIDEO SYSTEMS                      AEROLITES                                AERON GARCIA II
712 SOUTH MAIN STREET                     CHRISTOPHER DALE                         8529 COMOLETTE STREET
BURBANK CA 91506                          633 LEMON HILL TERRACE                   DOWNEY CA 90242
                                          FULLERTON CA 92832



AEROPARK LLC                              AETNA                                    AETNA
RE: SUGAR GROVE 1012 AIRPARK              2409 CAMINO RAMON                        ATTN MICHELLE WILSON
1020 AIRPORT DRIVE                        SAN RAMON CA 94583                       10370 COMMERCE CNTR DR STE 230
SUGAR GROVE IL 60554                                                               RANCHO CUCAMONGA CA 91730



AETNA                                     AETNA US HEALTHCARE INC                  AETNA US HEALTHCARE INC
PO BOX 601050                             2409 CAMINO RAMON                        AETNA-MIDDLETOWN
LOS ANGELES CA 90060-1050                 SAN RAMON CA 94583                       PO BOX 601034
                                                                                   LOS ANGELES CA 90060-1034



AETNA US HEALTHCARE INC                   AETNA US HEALTHCARE INC                  AETNA US HEALTHCARE INC
PO BOX 100616                             PO BOX 70966                             AETNA INC
ATTN: NATIONAL ACCOUNTS WEST              AETNA MIDDLETOWN                         PO BOX 13054
PASADENA CA 91189-0616                    CHICAGO IL 60673-0966                    NEWARK NJ 07188



AETNA US HEALTHCARE INC                   AETNA US HEALTHCARE INC                  AETNA US HEALTHCARE INC
PO BOX 1250                               P O BOX 7777-W5805-50                    P O BOX 7777-W7480-74
MIDDLETOWN                                PHILADELPHIA PA 19175-5805               PHILADELPHIA PA 19175-7480
NEWARD NJ 07101-9672



AETNA US HEALTHCARE INC                   AETNA US HEALTHCARE INC                  AETNA US HEALTHCARE INC
P O BOX 7777-W8260-02                     P O BOX 7777-W8260-22                    PO BOX 7247-0233
PHILADELPHIA PA 19175-8260                PHILADELPHIA PA 19175-8260               PHILADELPHIA PA 19170-0233




AETNA US HEALTHCARE INC                   AETNA US HEALTHCARE INC                  AF GRAPHICS
PO BOX 120001                             PO BOX 890859-30                         7 FOX HILL DR
DEPT 0859 TR 30                           DALLAS TX 75389-0859                     STAFFORD SPRINGS CT 06076
DALLAS TX 75312-0859



AF USHERING SERVICES INC                  AF USHERING SERVICES INC                 AFA PROTECTIVE SYSTEMS INC
1550 SPRING RD NO. 305                    1550 SPRING ROAD                         155 MICHAEL DRIVE
OAK BROOK IL 60521                        SUITE 305                                SYOSSET NY 11791
                                          OAK BROOK IL 60521




                                              Page 28 of 2387
                          Case 08-13141-BLS   Doc 17-1         Filed 12/08/08   Page 29 of 800
AFARO, JOSE R                          AFC DISTRIBUTORS INC                       AFFILIATED CONTROL EQUIPMENT CO
430 E CUEYENNE MTN BLVD NO.28          41 OLDE ENGLISH DR                         2630 EAGLE WAY
COLORADO SPRINGS CO 80906              ROMEOVILLE IL 60446                        CHICAGO IL 60678




AFFILIATED CONTROL EQUIPMENT CO        AFFILIATED MEDIA GROUP                     AFFILIATED MEDIA GROUP
640 WHEAT LANE                         2251 SOUTH JOHN'S BLUFF ROAD               2251 ST JOHN BLUFF RD
RYAN/SEAN CONNELY/MARK                 JACKSONVILLE FL 32246                      JACKSONVILLE FL 32246
WOOD DALE IL 60191



AFFILIATED MEDIA GROUP                 AFFILIATED PHYSICIANS                      AFFILLIATED MEDIA GROUP
8133 BAYMEADOWS WAY                    18 E 48TH ST 2ND FL                        8133 BAYMEADOWS WAY
JACKSONVILLE FL 32256                  NEW YORK NY 10017                          JACKSONVILLE FL 32256




AFFINITY BANK                          AFFINITY TELEVISION                        AFFINITY TELEVISION
101 S CHESTNUT ST                      342 MADISON AVENUE                         5 CONCOURSE PLAZA
VENTURA CA 93001                       SUITE 1414                                 SUITE 3100
                                       NEW YORK NY 10173                          ATLANTA GA 30328



AFFLERBACH, DAN                        AFFRUNTI, BRETT                            AFL WEB PRINTING
4860 HILLDALE RD                       487 7TH AVE  APT NO.4                      2 EXECUTIVE DR
SLATINGTON PA 18080                    BROOKLYN NY 11215                          VOORHEES NJ 08043




AFMS JIFFY LUBE                        AFMS JIFFY LUBE                            AFRICARIBE NFP
PO BOX 1610                            PO BOX 620130                              1428 N MAPLEWOOD AVE
2850 N RIDGE RD                        MIDDLETON WI 53562                         CHICAGO IL 60622
#107
ELLICOTT CITY MD 21041-1610


AFRIYIE, ROSE S                        AFRO AMERICAN NEWSAPAPERS                  AFSHAR, PARDISE
1161 BRIDGE ROAD                       2519 N CHARLES ST                          1611 HARBOR SIDE DR
HILLSDALE MI 49242                     BALTIMORE MD 21218                         WESTON FL 33326




AFTER COLLEGE INC                      AFTER THE JUMP LLC                         AFTRA
98 BATTERY ST   STE 502                51 GARY RD                                 ONE EAST ERIE         STE 650
SAN FRANCISCO CA 94111                 SYOSSET NY 11791                           CHICAGO IL 60611




AFTRA                                  AFTRA                                      AFTRA
PENSION AND WELFARE FUNDS              4340 EAST WEST HWY        STE 204          PENSION AND WELFARE FUNDS
307 N MICHIGAN AVE                     BETHESDA MD 20814                          260 MADISON AVE
CHICAGO IL 60601                                                                  NEWARK NJ 07195-0260



AFTRA                                  AFTRA                                      AFTRA
PENSION AND WELFARE FUNDS              PO BOX 19260                               HEALTH FUNDS
PO BOX 13673                           NEWARK NJ 07195-0260                       261 MADISON AVE        8TH FLR
NEWARK NJ 07188-3673                                                              NEW YORK NY 10016




                                           Page 29 of 2387
                             Case 08-13141-BLS   Doc 17-1        Filed 12/08/08   Page 30 of 800
AFTRA                                     AFTRA                                     AFTRA BROADCAST DEPT
NEW YORK LOCAL                            PENSION AND WELFARE FUNDS                 5757 WILSHIRE BOULEVARD
MEMBERSHIP DEPT                           261 MADISON AVE                           9TH FL
260 MADISON AVE                           NEW YORK NY 10016-2495                    LOS ANGELES CA 90036
NEW YORK NY 10016-2401


AFUA OWUSU                                AGATA BONO                                AGATHAKIS, MATTHEW
343 DEERING LANE                          210 50TH ST                               1611 DOMINGUEZ RANCH ROAD
BOLINGBROOK IL 60440                      LINDENHURST NY 11757                      CORONA CA 92882




AGDAY                                     AGEEL, GHADA                              AGEMA, GERALD W
200 FERRY STREET                          FLAT NO.4 68 BELMONT RD                   12630 TIMBERLANE DR.
SUITE C                                   EXETER EX1 2HO                            PALOS PARK IL 60464
LAFAYETTE IN 47901



AGENCE FRANCE PRESSE                      AGENCE FRANCE PRESSE                      AGENCE FRANCE PRESSE
1015 15TH ST NW                           1015 15TH STREET NW                       INTERNATIONAL NEWSPICTURES DIV
WASHINGTON DC 20005                       SUITE 500                                 1015 15TH STREET, NW
                                          WASHINGTON DC 20005                       SUITE 500
                                                                                    WASHINGTON DC 20005


AGENCE FRANCE PRESSE                      AGENCE GLOBAL INC                         AGENCIA MULTIMEDIA DE PRENSA SA DE CV
SOUTHERN RAILWAY BLDG                     2618-A BATTLEGROUND AVE SUITE 201         VITO ALESSIO ROBLES NO.68 PB
1500 K ST NW STE 600                      GREENSBORO NC 27408                       IKAYI, DF 1030
WASHINGTON DC 20005



AGERLID, PATRICIA                         AGFA CORPORATION                          AGFA CORPORATION
8634 BANFF DR                             PO BOX 2123                               PO BOX 75073
DALLAS TX 75243                           CAROL STREAM IL 60132-2123                CHICAGO IL 60675




AGFA CORPORATION                          AGFA CORPORATION                          AGFA CORPORATION
PO BOX 7917                               ATTN: LARRY BEAN                          100 CHALLENGER RD
MT. PROSPECT IL 60056                     200 BALLARDVALE STREET                    MAIL STOP 100-3C
                                          WILMINGTON MA 01887                       RIDGEFIELD PARK NJ 07660-2199



AGFA CORPORATION                          AGFA MONOTYPE CORPORATION                 AGFA MONOTYPE CORPORATION
PO BOX 7247-6207                          80 INDUSTRIAL WAY                         PO BOX 110
PHILADELPHIA PA 19170-6207                ACCT US00004341                           MS 200-2-5P
                                          PHONE 5 - 1 - 2( DIANE/KAREN              WILMINGTON MA 01887
                                          WILMINGTON MA 01887


AGGREGATE KNOWLEDGE INC                   AGILENT TECHNOLOGIES                      AGILENT TECHNOLOGIES
1510 FASHION ISLAND BLVD SUITE 201        PO BOX 4026 - SUPPORT COLLECTIONS         4187 COLLECTIONS CENTER DR
SAN MATEO CA 94404                        ENGLEWOOD CO 80155-4026                   CHICAGO IL 60693




AGILENT TECHNOLOGIES                      AGILENT TECHNOLOGIES                      AGILYSYS INC
75 REMITTANCE DR                          PO BOX 951306                             2171 EXECUTIVE DR
STE 1795                                  DALLAS TX 75395-1306                      SUITE 200
CHICAGO IL 60675-1795                                                               SUSAN/CINDY
                                                                                    ADDISON IL 60101




                                              Page 30 of 2387
                          Case 08-13141-BLS   Doc 17-1        Filed 12/08/08   Page 31 of 800
AGILYSYS INC                           AGMON, LEANNE                             AGNES BAZULA
3914 PAYSHERE CIRC                     1323 NW 102ND WAY                         7026B W. BELDEN AVE
CHICAGO IL 60674                       CORAL SPRINGS FL 33071                    CHICAGO IL 60707




AGNES BOUDAKIAN                        AGNES JACKSON                             AGNES LESNIAK
83-25 VIETOR AVENUE                    908 SHELLEY RD                            12973 BROOKWOOD DRIVE
ELMHURST NY 11373                      TOWSON MD 21286                           HUNTLEY IL 60142




AGNES MACGREGOR                        AGNES MENDOZA                             AGNES RISMAY
8 WATERMILL PLACE                      22707 GULF AVENUE                         207 DUNCASTER ROAD
PALM COAST FL 32164                    CARSON CA 90745                           BLOOMFIELD CT 06002




AGNEW, JAMES R                         AGNIESZKA RYBAK                           AGOSTINHO LAVADO
100 PIERCES CT                         3338 W. 60TH STREET                       43 MEADOWVIEW COURT
WILLIAMSBURG VA 23185                  CHICAGO IL 60629                          NEWINGTON CT 06111




AGOSTO JR, JOSE L                      AGOSTO, MARIAM I                          AGP - AMERIGAS
3932 SW 67TH WAY                       3137 N PALM AIRE DR                       P. O. BOX 965
DAVIE FL 33314                         POMPANO BEACH FL 33069                    VALLEY FORGE PA 19482




AGREST INC                             AGRI MACHINERY INC                        AGUILAR PEREZ, YOVANA
10450 NW 7TH ST APT 102                3489 ALL AMERICAN BLVD                    11 AVON LANE
PEMBROKE PINES FL 33026                ORLANDO FL 32810                          STAMFORD CT 06907




AGUILAR, CYNTHIA                       AGUILAR, KELLY                            AGUILERA , FABIO
361 PUTNAM RD                          2168 N AGATE ST                           218 GLOUCHESTER
UNION NJ 07083                         ORANGE CA 92867                           BOCA RATON FL 33487




AGUILERA, CLAUDIA                      AGUILERA, DORA GPE PICOS                  AGUILERA, LILIAN
1630 NE 46 STREET                      PO BOX 1734                               8311 SANDS POINT BLVD APT R301
POMPANO BEACH FL 33064                 NOGALES AZ 85628                          TAMARAC FL 33321




AGUIRRE JR, FEDERICO                   AGUIRRE JR, LUIS R                        AGUIRRE, CARLA
18433 E GAIILARD ST                    8203 LIVE OAK AVENUE                      11 COVE VIEW DR NO.2N
AZUSA CA 91702                         FONTANA CA 92335                          STAMFORD CT 06902




AGUSTAS MARTIN                         AGUSTIN GURZA                             AGUSTIN MORAN
88 HIGHLAND AVENUE                     2266 COLMENA STREET                       346 CHRISMAN AVENUE
WINDSOR CT 06095                       LA CANADA CA 91011                        VENTURA CA 93001




                                           Page 31 of 2387
                         Case 08-13141-BLS   Doc 17-1         Filed 12/08/08   Page 32 of 800
AGUSTIN PRUDENTE                      AGUSTINA IBARRA                            AH JUN AMERICA CORP
2802 CONCORD AVE                      900 N. KARLOV                              2044 E GLADWICK ST
ALHAMBRA CA 91803                     APT. #1                                    COMPTON CA 90220
                                      CHICAGO IL 60651



AH JUN AMERICA CORP                   AHERN, KAREN                               AHILIA INC
717 W 152ND ST                        2386 HILL RD                               417 MACE BLVD    STE J113
GARDENA CA 90247                      SELLERSVILLE PA 18960                      DAVIS CA 95618




AHLE, DOROTHY                         AHLGRIM, DENNIS                            AHLMAN, LAURI M
8 GRIMSHAW STREET                     359 WASHINGTON AVE                         722 CELTIC ASH CT
MALDEN MA 02148                       BROOKLYN NY 11238                          NAPERVILLE IL 60540




AHMAD-TAREK HAMADA                    AHMED, SEAN                                AHMED, SHAHZAD
4100 N. MARINE                        642 W ALDINE AVE APT 1                     1034 CLOVER CREST RD
APT. 18K                              CHICAGO IL 60657                           STE 2005
CHICAGO IL 60631                                                                 ORLANDO FL 32811



AHMED, SHAHZAD                        AHNA BIDDLE                                AHNER, KAYLA
1034 CLOVERCREST RD                   1248 NORTH SPAULDING AVE                   360 CENTER ST
ORLANDO FL 32811                      WEST HOLLYWOOD CA 90046                    PO BOX 226
                                                                                 PARRYVILLE PA 18244



AHNER, KAYLA                          AICP - FLORIDA                             AIDA GALOUSSIAN
PO BOX 226                            1655 DREXEL AVE STE 203                    9954 NATICK AVE
PARRYVILLE PA 18244                   MIAMI BEACH FL 33139                       MISSION HILLS CA 91345




AIDA GIL                              AIDA RINCON                                AIDA RODRIGUEZ
4512 1/2 HOMER ST                     208 SW 9 CT                                1821 N. 38TH AVE.
LOS ANGELES CA 90031                  DELRAY BEACH FL 33444                      STONE PARK IL 60165




AIELLO, AMY                           AIELLO, HELEN M                            AIFD NORTH CENTRAL CHAPTER
1329 LANCE LN                         66 SENIC VIEW DR                           2719 W MONROE
CAROL STREAM IL 60188                 MIDDLETOWN CT 06457                        C/O ALLISONS FLORAL SCOPE
                                                                                 SPRINGFIELD IL 62704



AIFD NORTH CENTRAL CHAPTER            AIG CASUALTY COMPANY                       AIG CASUALTY COMPANY
C/O LISA BRENNAN AIFD -               70 PINE STREET                             ADMINSTRATIVE OFFICES
RIVERSIDE FLORIST                     NEW YORK NY 10270                          70 PINE STREET
1236 E PACIFIC ST                                                                NEW YORK NY 10270
APPLETON WI 54911


AIG CASUALTY COMPANY                  AIG NATIONAL UNION FIRE INSURANCE          AIGLON, KELLY
ATTN: FINANCIAL LINES UNDERWRITING    COMPANY OF PITTSBURGH PA.                  1112 WISHING WELL LANE
DEPARTMENT                            175 WATER STREET                           NAPERVILLE IL 60564
175 WATER STREET, 19TH FLOOR          NEW YORK NY 10038
NEW YORK NY 10038




                                          Page 32 of 2387
                         Case 08-13141-BLS    Doc 17-1       Filed 12/08/08   Page 33 of 800
AIKEN COMMUNICATION                   AIKENS, FAITH N                           AIKMAN, REBECCA
326 RUTLAND DR                        1921 GUNSTOCK                             87 8TH AVE
AIKEN SC 29801                        STONE MOUNTAIN GA 30087                   APT #2
                                                                                BROOKLYN NY 11215



AILEEN CASEY                          AILEEN FALKENSTEIN                        AILEEN JACOBSON
183 COUNTRY LANE                      2922 WEALD WAY #1014                      3 DUNCAN LA
EAST HARTFORD CT 06118                SACRAMENTO CA 95833                       HUNTINGTON NY 11743




AILEEN TRIEU                          AIM FIELD SERVICE                         AIME, WILLY BIEN
346 QUAIL MEADOWS                     1428 E SEMORAN BLVD NO.101                4404 NW 4TH AVE
IRVINE CA 92603                       APOPKA FL 32703                           POMPANO BEACH FL 33064




AIMEE CHEE                            AIMEE JAMES                               AIMEE PORTER
5223 LUNSFORD DRIVE                   24019 DOUGLAS DRIVE                       206 REDBUD STREET
LOS ANGELES CA 90041                  PLAINFIELD IL 60585                       CELEBRATION FL 34747




AIMEE RICHARDS                        AIMER GARCIA                              AIN JEEM INC
41 KINNEY ROAD                        22 BIRCHGROVE DR                          20434 S SANTA FE AVE NO.194
ARGYLE NY 12809                       CENTRAL ISLIP NY 11722                    LONG BEACH CA 90810




AIN, MERYL                            AINSWORTH, CHRIS                          AINSWORTH, MERLE
85 OLD BROOK RD                       4400 BRANSTETTAR RD                       14 SAINT ANDREWS CIR UNT 2
DIX HILLS NY 11746                    NASHVILLE IN 47448                        WALLINGFORD CT 06492-5389




AIQING LI                             AIR & POWER TOOL SPECIALISTS              AIR 2 WEB INC
4750 N. LOTUS AVE.                    15552 GRAHAM ST                           1230 PEACHTREE STREET NE 12TH FL
2R                                    HUNTINGTON BEACH CA 92649                 ATLANTA GA 30309
CHICAGO IL 60630



AIR ADS INC                           AIR CENTER INC                            AIR CENTER INC
1900 JOE CROSSON DRIVE                6373 WINSIDE DR                           PO BOX 20545
EL CAJON CA 92020                     BETHLEHEM PA 18017                        LEHIGH VALLEY PA 18002




AIR CONTROL INCORPORATION             AIR N ENERGY CONSULTING INC               AIRELINK PRODUCTS CORP
PO BOX 66596                          PO BOX 5158                               2544 E MIRALOMA WY
CHICAGO IL 60666-0596                 TRAVERSE CITY MI 49696                    ANAHEIM CA 92806




AIREY, LISA M                         AIRGAS SAFETY                             AIRGAS SAFETY
1222 CORBETT ROAD                     4007 PARAMOUNT BLVD                       PO BOX 6030
MONKTON MD 21111                      SUITE NO.100                              LAKEWOOD CA 90714-6030
                                      LAKEWOOD CA 90712-4138




                                          Page 33 of 2387
                             Case 08-13141-BLS    Doc 17-1        Filed 12/08/08   Page 34 of 800
AIRGAS SAFETY                             AIRGAS SAFETY                              AIRGAS SOUTHWEST
PO BOX 7423                               PO BOX 78068                               PO BOX 120001
PASADENA CA 91109-7423                    MILWAUKEE WI 53278-0068                    DEPT 0981
                                                                                     DALLAS TX 75312-0981



AIRGAS SOUTHWEST                          AIRGAS SOUTHWEST                           AIRGAS WEST INC
PO BOX 2627                               PO BOX 676031                              4007 PARAMOUNT BLVD STE 100
VICTORIA TX 77902                         DALLAS TX 75267-6031                       LAKEWOOD CA 90712-4138




AIRGAS WEST INC                           AIRHART, DENISE                            AIRLINE HYDRAULICS CORPORATION
PO BOX 7423                               8225 S. PAXTON                             P O BOX 8500 (S-2275)
PASADENA CA 91109-7423                    CHICAGO IL 60617                           PHILADELPHIA PA 19178




AIROYAL DIVISION OF DELTA SALES INC       AIRPATH ENGINEERING PC                     AIRTIME MEDIA
1355 RTE 23                               40-8 OSER AVENUE                           110 WILD DUCK ROAD
BUTLER NJ 07405                           HAUPPAGUE NY 11788                         STANFORD CT 06903




AIRWAYS CLEANING & FIREPROOFING           AISHA KHAN                                 AISHA KHAN
4200 PETERS ROAD                          3311 WEST 3RD STREET                       1706 BOLTON STREET
FT LAUDERDALE FL 33317-4541               APT.# 1-431                                APT 1F
                                          LOS ANGELES CA 90020                       BALTIMORE MD 21217



AIU, RANDALL                              AIYSHA MOORE                               AJALAT POLLEY AYOOB
6759 GREEN ISLAND CIRCLE                  11 PRINCE AVENUE                           500 N BRAND BLVD
LAKE WORTH FL 33463                       FREEPORT NY 11520                          SUITE 1670
                                                                                     GLENDALE CA 91203



AJAX CONSOLIDATED SERVICE CORPORATION     AJAY VIJ                                   AJILON FINANCE
442 SW 12TH AVE                           P.O. BOX 1623                              AJILON PROFESSIONAL STAFFING LLC
DEERFIELD BEACH FL 33442                  HOBOKEN NJ 07030                           DEPT CH 14031
                                                                                     PALATINE IL 60055-4031



AJILON FINANCE                            AJISA AHMETOVIC                            AKANEWICH, SCOTT R
PO BOX 7777                               98 ADELAIDE STREET                         10542 MONTEGO DR
PHILADELPHIA PA 19175-0155                APT. 2W                                    SAN DIEGO CA 92124
                                          HARTFORD CT 06114



AKASH GOYAL                               AKASHIC IMAGING INC                        AKASHIC IMAGING INC
117 EAST 57TH STREET                      505 W JOE ORR ROAD                         932 W 19TH ST STE 1
39E                                       CHICAGO HEIGHTS IL 60411                   CHICAGO IL 60608
NEW YORK NY 10022



AKBAR KHIMANI                             AKE LLC                                    AKE LLC
9517 TERRACE PLACE                        1825 I ST NW, STE 400                      1875 I STREET STE 500
DES PLAINES IL 60016                      WASHINGTON DC 20006                        WASHINGTON DC 20006




                                              Page 34 of 2387
                         Case 08-13141-BLS   Doc 17-1        Filed 12/08/08   Page 35 of 800
AKE LLC                               AKEEM WOODS                               AKEL, SAMI
2985 GORDY PARKWAY                    21 ROBINWOOD STREET                       442 OPENING HILL RD
SUITE 118                             MASTIC NY 11950                           MADISON CT 06443
MARIETTA GA 30066



AKERLUND, SUE C                       AKERS, COREY G                            AKERS, JOHN N
858 NW 45TH STREET                    160 ANNETTE CT APT 42                     226 LOUISIANA RD
POMPANO BEACH FL 33064-1600           NEWPORT NEWS VA 23601                     MONTREAT NC 28757




AKERS, LUELLYN B                      AKHILA ARMSTRONG                          AKHTAR HUSSAIN
3491 WONDER VIEW PLACE                304 QUEENS DRIVE                          20 ALL POINTS DR
HOLLYWOOD CA 90068                    HUDSON FALLS NY 12839                     HOLBROOK NY 11741




AKHTER, JAVEED                        AKI MOORE                                 AKIBA HOWARD
915 MIDWEST CLUB PARKWAY              917 N FULTON AVENUE                       7248 CIRCLE PARKWAY
OAK BROOK IL 60523                    BALTIMORE MD 21217                        SACRAMENTO CA 95823




AKIBA SCHECHTER JEWISH DAY SCHOOL     AKIBA SCHECHTER JEWISH DAY SCHOOL         AKILAH FORTSON
5200 HYDE PARK BLVD                   5235 S CORNELL                            115-44 LINCOLN ST
CHICAGO IL 60615                      CHICAGO IL 60615                          SOUTH OZONE PARK NY 11420




AKILAH JOHNSON                        AKILI RAMSESS                             AKINLOYE, BABATUNDE AA
20111 NE 27TH COURT                   9200 SUMMIT CENTRE WAY                    5233 CHARITON AVE
APT 105                               APT. 304                                  LOS ANGELES CA 90056
MIAMI FL 33180                        ORLANDO FL 32810



AKINS, CLIFFORD D                     AKIRA YAMADA                              AKRON BEACON JOURNAL
255 SISSON AVE    A103                11809 DARLINGTON AVE                      PO BOX 640
HARTFORD CT 06105                     #4                                        AKRON OH 44309-0640
                                      LOS ANGELES CA 90049



AKUA APEA                             AKWIK MESSENGER EXPRESS                   AL LEUDEMANN
242 VERDI COURT                       8053 S HONORE ST                          554 PINE ACRES BLVD
WHEATON IL 60187                      CHICAGO IL 60620                          BRIGHTWATERS NY 11718




AL RAGLIN                             AL SALVADOR                               AL THEURER
658 E. 44TH STREET                    613 CATSKILL AVENUE                       100 S. MARTINE
CHICAGO IL 60653                      LINDENHURST NY 11757                      FANWOOD NJ 07023




AL VONGSARASINH                       AL WARREN OIL CO INC                      ALABAMA CABLE TELECOMMUNICATIONS ASSN
23 KREIGER LANE                       7439 W ARCHER AVE                         PO BOX 20683
APT. B                                CHICAGO IL 60501                          MONTGOMERY AL 36120
GLASTONBURY CT 06033




                                          Page 35 of 2387
                          Case 08-13141-BLS     Doc 17-1      Filed 12/08/08   Page 36 of 800
ALABAMA CABLE TELECOMMUNICATIONS ASSN   ALABAMA DEPT OF CONSERVATION             ALABAMA DEPT OF ENVIRONMENTAL
PO BOX 230666                           & NATURAL RESOURCES                      MANAGEMENT
MONTGOMERY AL 36123                     64 N. UNION STREET                       POST OFFICE BOX 301463
                                        MONTGOMERY AL 36130                      MONTGOMERY AL 36130-1463



ALABAMA DEPT OF ENVIRONMENTAL           ALABAMA DEPT OF REVENUE                  ALABAMA ENVIRONMENTAL AGENCY
PO BOX 301463                           PO BOX 327430                            BIRMINGHAM BRANCH
MONTGOMERY AL 36130                     MONTGOMERY AL 36132-7430                 110 VULCAN ROAD
                                                                                 BIRMINGHAM AL 35209-4702



ALABAMA ENVIRONMENTAL AGENCY            ALABAMA ENVIRONMENTAL AGENCY             ALABAMA ENVIRONMENTAL AGENCY
DECATUR BRANCH                          MOBILE BRANCH                            MOBILE - COASTAL
2715 SANDIN ROAD SW                     2204 PERIMETER ROAD                      4171 COMMANDERS DRIVE
DECATUR AL 35603-1333                   MOBILE AL 36615-1131                     ALABAMA AL 36615-1412



ALACARTE REAL ESTATE SERVICES GROUP     ALAIMO, FRANK                            ALAINA LAREAU
1854-A HENDERSSONVILLE RD NO.131        745 LLEWELLYN AVE                        95 ELLSWORTH BLVD
ASHEVILLE NC 28803                      HIGHLAND PARK IL 60035                   BERLIN CT 06037




ALAINE GRIFFIN                          ALAMBA, SUNDAY                           ALAMEDA COUNTY ENVIRONMENTAL HEALTH
53 RALSTON AVENUE                       NO 5B SECOND AVENUE                      1131 HARBOR BAY PARKWAY
HAMDEN CT 06517                         IKAYI                                    ALAMEDA CA 94502-6577




ALAMY LTD                               ALAN ARTNER                              ALAN AYOUNG
127 MILTON PARK                         161 W BURTON PL                          64 BRENNAN ST
ABINGDON, OXON OX14 4SA                 #1                                       HUNTINGTON NY 11743
                                        CHICAGO IL 60610



ALAN BEYER                              ALAN BLANK                               ALAN BUNAO
6947 W 64TH STREET                      2900 ELESMERE AVE                        14020 GAIN STREET
CHICAGO IL 60638                        COSTA MESA CA 92626                      ARLETA CA 91331




ALAN CHANIEWSKI                         ALAN CHERRY                              ALAN CHIPPS
75 DICKENSON ROAD                       6545 SW 20 CT                            96 HOLLISTER STREET
MARLBOROUGH CT 06447                    PLANTATION FL 33317                      MANCHESTER CT 06040




ALAN COOPERMAN                          ALAN DODGE                               ALAN EDWARD ROTHBAUER
23 CLOVER HILL ROAD                     1385 SPENCER LANE                        9027 HEATHWOODS CIRCLE
MILLINGTON NJ 07946                     BATAVIA IL 60510                         NILES IL 60714




ALAN FALLICK                            ALAN GALLAGHER                           ALAN GARGUILO
14 KLAIBAR LANE                         215 N. PARKWOOD DRIVE                    2 GREENWICH ROAD
EAST NORTHPORT NY 11731                 CLIFTON PARK NY 12065                    SMITHTOWN NY 11787




                                            Page 36 of 2387
                         Case 08-13141-BLS    Doc 17-1         Filed 12/08/08   Page 37 of 800
ALAN GARNER                           ALAN GILBERT PHOTOGRAPHY                    ALAN GOCH
25301 VISTA HERMOSA                   3524 KESWICK RD                             1822 SW 176 AVE
LAKE FOREST CA 92630                  BALTIMORE MD 21211                          MIRAMAR FL 33029




ALAN GRESS                            ALAN HAGMAN                                 ALAN HAHN
516 S NINTH AVENUE                    245 LOMA AVENUE                             43 HALF CIRCLE DRIVE
LA GRANGE IL 60525                    LONG BEACH CA 90803                         HOLBROOK NY 11741




ALAN HEMBERGER                        ALAN HEYMAN                                 ALAN J WAX
2211 CEDAR FALLS                      28 COMMANDER VIC LANE                       3 LINCOLN AVE
KINGWOOD TX 77339                     NESCONSET NY 11767                          DIX HILLS NY 11746




ALAN JULIBER                          ALAN KENNY                                  ALAN L ROSS
309 SECOND STREET                     7428 E. PLANK TRAIL CT                      461 S CANYON RIDGE DR
JUPITER FL 33458                      FRANKFORT IL 60423                          ANAHEIM CA 92807




ALAN LAINO                            ALAN LEVENTHAL                              ALAN MARUMOTO
1 ARNOLD AVE                          269 CORONA AVE                              5348 N. GLENWOOD AVENUE
HICKSVILLE NY 11801                   LONG BEACH CA 90803                         APT. 2E
                                                                                  CHICAGO IL 60640



ALAN MCCOMBS                          ALAN MCLEMORE                               ALAN MILLER
2854 THORNBROOK ROAD                  3144 NW 39 CT                               32295-119-8 MISSION TERRACE
ELLICOTT CITY MD 21042                LAUDERDALE LAKES FL 33309                   LAKE ELSINORE CA 92530




ALAN MILLER                           ALAN MOCCHI                                 ALAN MOGAVERO
5525 DEVON ROAD                       1120 LORDEN COURT                           42 FLORENCE AVE
BETHESDA MD 20814                     CARY IL 60013                               MASSAPEQUA NY 11758




ALAN NESKOROSCHENY                    ALAN OSBORNE                                ALAN OTT
2743 WEST CORTEZ                      4001 ELLINGTON AVE                          2260 ST AUGUSTINE ST
CHICAGO IL 60622                      WESTERN SPRINGS IL 60558-1206               DELTONA FL 32738




ALAN PERRY                            ALAN PETERS                                 ALAN PITCHER
5 W. CLEMENT ST.                      5 N MELANIE COURT                           1020 NORTH CHICAGO AVENUE
BALTIMORE MD 21230                    CRETE IL 60417                              ARLINGTON HEIGHTS IL 60004




ALAN RICHARD GARZA                    ALAN ROCK                                   ALAN SACKS
1428 ADRIEL LANE                      18000 BULL CANYON RD                        89 RICHMOND BOULEVARD
ORLANDO FL 32812                      GRANADA HILLS CA 91344                      RONKONKOMA NY 11779




                                          Page 37 of 2387
                         Case 08-13141-BLS    Doc 17-1      Filed 12/08/08   Page 38 of 800
ALAN SAENZ                            ALAN SCHMADTKE                           ALAN SCHMALL
24451 SADABA                          2204 MISCINDY PLACE                      370 E 12TH STREET
MISSION VIEJO CA 92692                ORLANDO FL 32806                         NORTHAMPTON PA 18067




ALAN SELMAN                           ALAN SOLIS                               ALAN SOLOMON
19 PANTZER ST                         1018 EAST 163 ST                         2131 NORTH CLARK STR
SMITHTOWN NY 11787                    APT 36                                   APT #7
                                      BRONX NY 10459                           CHICAGO IL 60614



ALAN STRAUB                           ALAN SUTTON                              ALAN THOMAS
172 UPPER SHERMAN AVENUE              1080 SUMMIT DRIVE                        623 JASPER STREET
QUEENSBURY NY 12804                   DEERFIELD IL 60015                       BALTIMORE MD 21201




ALAN WOZNICKI                         ALAN YUTTAL                              ALAN ZAREMBO
795 EQUESTRIAN DRIVE                  45 WINTHROP RD                           1457 AVON TERRACE
WHEELING IL 60090                     PLAINVIEW NY 11803                       LOS ANGELES CA 90026




ALANA SEMUELS                         ALANDA BOZEMAN                           ALANNA TONDI
829 3/4 N. FORMOSA AVE                178-38 119TH RD                          300 JUDD RD
LOS ANGELES CA 90046                  ST ALBANS NY 11434                       EASTON CT 06612-1067




ALANS ALLEY VIDEO INC                 ALASKA DEPT OF ENVIRONMENTAL             ALASKA JOURNAL OF COMMERCE
207A 9TH AVENUE                       CONSERVATION                             301 ARCTIC SLOPE AVE STE 350
NEW YORK NY 10011                     410 WILLOUGHBY AVE.                      ANCHORAGE AK 99518
                                      P.O. BOX 111800
                                      JUNEAU AK 99811-1800


ALBA BURGOS                           ALBA VELEZ                               ALBABA, TAREK
124 WILSON STREET                     523 CHEW STREET                          3950 LELAND ST   APT B15
APT. #1                               ALLENTOWN PA 18102                       SAN DIEGO CA 92106
HARTFORD CT 06106



ALBANESE, DEBRA                       ALBANESE, LAURA                          ALBANY OFFICE INTERIORS
124 S BLANK ST                        212 JERUSALEM AVE                        39 KREY BLVD
ALLENTOWN PA 18102                    MASSAPEQUA NY 11758                      RENSSELAER NY 12144




ALBANY PARK COMMUNITY CENTER INC      ALBARELL ELECTRIC INC                    ALBARENGA, RAMON
3403 W LAWRENCE NO.300                901 W LEHIGH ST                          1092 S MILITARY TRAIL APT 104
CHICAGO IL 60625                      P O BOX 799                              DEERFIELD BEACH FL 33442
                                      BETHLEHEM PA 18016-0799



ALBARO ALBANES                        ALBERCA, VICTOR R                        ALBERT BEDNARCZYK
564 N LAMARR STREET                   360 OAKLAND STREET NO.6D                 507 MARTIN ST
RIALTO CA 92376                       MANCHESTER CT 06042                      STEILACOOM WA 98388




                                          Page 38 of 2387
                           Case 08-13141-BLS    Doc 17-1        Filed 12/08/08   Page 39 of 800
ALBERT BLONDEEL-TIMMERMAN               ALBERT CIAMBRIELLO                         ALBERT DALE
13941 TYLER STREET                      395 EAST SHORE RD                          412 EAST VIEW STREET
SYLMAR CA 91342                         LINDENHURST NY 11757                       LOMBARD IL 60148




ALBERT DIAHY                            ALBERT DOAK                                ALBERT E. BROOKE
1915 LAVERS CIRCLE #E104                4 ARNOLD DRIVE                             CARBON COUNTY JAIL
DELRAY BEACH FL 33444                   EAST HARTFORD CT 06108                     331 BROAD STREET
                                                                                   NESQUEHANING PA 18240



ALBERT E. BROOKE                        ALBERT EDWARDS                             ALBERT FIALA
CARBON COUNTY JAIL                      5910 BENT PINE DRIVE                       1411 TWIN RIVERS BLVD.
331 BROAD ST                            #104                                       OVIEDO FL 32766
PRO SE                                  ORLANDO FL 32822
NESQUEHONING PA 18240


ALBERT FUCHS MD INC                     ALBERT HILL                                ALBERT HURT
8500 WILSHIRE BLVD    STE 605           P.O. BOX 512                               6536 S MARYLAND
BEVERLY HILLS CA 90211                  GIG HARBOR WA 98335                        2ND FLOOR
                                                                                   CHICAGO IL 60637



ALBERT IM                               ALBERT J GAYSON                            ALBERT JAVIER
5301 EAST COMMERCE WAY #70101           1760 RIDGE VIEW DR.                        3702 CAPETOWN STREET
SACRAMENTO CA 95835                     AZUSA CA 91702                             LAKEWOOD CA 90712




ALBERT L DELUGACH                       ALBERT LEE                                 ALBERT LEMUS
4313 PRICE                              11438 CORIENDER AVENUE                     15627 BRITNEY DR.
LOS ANGELES CA 90027                    FOUNTAIN VALLEY CA 92708                   FONTANA CA 92336




ALBERT LICCIARDI                        ALBERT MAHER                               ALBERT PACE
2 OLD BROOKVILLE COURT                  70 N. OAK HEIGHTS TRAIL                    2015 DEBRA COURT
MANORVILLE NY 11949                     DELTA PA 17314                             NORTH MERRICK NY 11566




ALBERT PARDILLA                         ALBERT PEARLMAN INC                        ALBERT PIANTADOSI
123 S. PRINCETON                        60 E 42ND ST                               3220 NE 10TH STREET
VILLA PARK IL 60181                     NEW YORK NY 10165                          POMPANO BEACH FL 33064




ALBERT POTTINGER                        ALBERT SAINT JEAN                          ALBERT SANDOW
4349 STEED TERR.                        3191 WINDCHIME CIR. W                      19100 LOS ALIMOS STREET
WINTER PARK FL 32792                    APOPKA FL 32703                            NORTHRIDGE CA 91326




ALBERT SGANGA                           ALBERT SMALL                               ALBERT STAFFORD
66 HOOPER STREET                        5600 NE 7TH AVENUE                         37 TWIN OAKS DR
PORT JEFFERSON NY 11776                 BOCA RATON FL 33487                        KINGS PARK NY 11754




                                            Page 39 of 2387
                          Case 08-13141-BLS   Doc 17-1        Filed 12/08/08   Page 40 of 800
ALBERT V ALCARESE                      ALBERT WAHLBERG                           ALBERT WOEHLKE
5914 WILLET AVE                        25 TIMBER RIDGE DR.                       7535 BALTIMORE-ANNAPOLIS BLVD
BALTIMORE MD 21206                     HOLTSVILLE NY 11742                       GLEN BURNIE MD 21061




ALBERT WRIGHT                          ALBERT YOO                                ALBERT, AMY
432 PEQUONNOCK STREET                  1505 W. CHICAGO AVENUE                    455 N SYCAMORE AVE NO.4
BRIDGEPORT CT 06605                    APT. 3                                    LOS ANGELES CA 90036
                                       CHICAGO IL 60622



ALBERT, DONALD R.                      ALBERT, FELIX                             ALBERT, JOHN
531 LOUISE DR                          120 DOMAN DR                              917 N VENDOME
HINCKLEY IL 60520-9323                 TORRINGTON CT 06790-3492                  LOS ANGELES CA 90026




ALBERT, KAMILA                         ALBERT, SARA ELIZABETH                    ALBERT, STACY WALLACE
831 KAPOK WAY                          450 MASSACHUSETTS AVE NW APT 1310         3023 NORTH CLARK ST APT 315
WESTON FL 33327                        WASHINGTON DC 20001                       CHICAGO IL 60657




ALBERTA FRIMPONG                       ALBERTA PIERCE                            ALBERTA WIGGINS
501 CONSTANT RIDGE COURT               P.O. BOX 1111                             505 SE 18TH COURT
ABINGDON MD 21009                      APT H                                     APT 105
                                       MAYWOOD IL 60153                          FT. LAUDERDALE FL 33326



ALBERTINE SMITH                        ALBERTO DESPAIGNE                         ALBERTO FERREIRA
1732 N HOLLISTON AVE.                  63-36 98TH PLACE                          3855 W. 70TH STREET
PASADENA CA 91104                      APT. 3D                                   CHICAGO IL 60629
                                       REGO PARK NY 11374



ALBERTO HERRERA                        ALBERTO MONTES                            ALBERTO ORTEZ
30916 S. WESTERN AVENUE                1150 DACOTAH STREET                       22 FLORAL AVE
BEECHER IL 60401                       LOS ANGELES CA 90023                      HUNTINGTON NY 11743




ALBERTO RAMOS                          ALBERTO TREVINO                           ALBERTO VAZQUEZ
10 BAKER STREET                        2732 N. WHIPPLE                           3725 S. PAULINA
APT 10A                                CHICAGO IL 60647                          CHICAGO IL 60609
WEST BABYLON NY 11704



ALBERTS, STEVE BRETT                   ALBERTSON'S                               ALBERTSON'S
313 QUIET VALLEY DRIVE                 1421 MANHATTAN AVE                        1701 MARINA BLVD
COPPELL TX 75019                       FULLERTON CA 92831                        SAN LEANDRO CA 94577




ALBERTSON'S                            ALBERTSON'S                               ALBERTSON'S
JEWEL OSCO C/O PREMIERE RETAIL         250 PARK CENTER BLVD                      CORPORATE OFFICE
SERVICES INC                           BOISE ID 83706                            1500 SHORELINE DR
5776 STONERIDGE MALL ROAD SUITE 298                                              BOISE ID 83706
PLEASANTON CA 94558-2838




                                           Page 40 of 2387
                          Case 08-13141-BLS   Doc 17-1       Filed 12/08/08   Page 41 of 800
ALBERTSON'S                            ALBERTSON'S                              ALBERTSON'S
PO BOX 20                              7580 OAK GROVE ROAD                      46400 BENEDICT DR     STE 211
BOISE ID 83726                         FORT WORTH TX 76140                      STERLING VA 20164




ALBI, PATRICK M                        ALBI, PATRICK M                          ALBRA PRAGER
2221A RUHLAND AVE                      2801 OCEAN PARK                          2144 VAILTHORN ROAD
REDONDO BEACH CA 90278-2401            NO.177                                   BALTIMORE MD 21220
                                       SANTA MONICA CA 90405



ALBRECHT, TED                          ALBUQUERQUE PUBLISHING COMPANY           ALBUQUERQUE PUBLISHING COMPANY
1205 CHERRY ST                         7777 JEFFERSON NE                        PO BOX 95777
WINNETKA IL 60093                      ALBUQUERQUE NM 87109                     ALBUQUERQUE NM 87199-5777




ALBUQUERQUE PUBLISHING COMPANY         ALBURY, GEOFFREY                         ALCALA, JADE E
PO DRAWER J                            1258 FERNLEA DR                          824B JOHANNE PLACE
ALBUQUERQUE NM 87103-1136              WEST PALM BEACH FL 33417                 COLORADO SPRINGS CO 80906




ALCALA, JULIO                          ALCHEMY IMAGING                          ALCID CHOISEME, SHERLEY
69 MADISON ST 3RD FLR APT 3NN          4 90 ELOUERA RD                          3921 CRYSTAL LAKE DRIVE, APT NO. 413
HARTFORD CT 06106                      CRONULLA, NSW 2230                       DEERFIELD BEACH FL 33064




ALCORN, JONATHAN                       ALCORN,VICTOR G                          ALCOTT SMITH
209 NORTH VENICE BLVD    NO.1          PO BOX 662                               4101 N. HIATUS RD.
VENICE CA 90291                        MEDFORD NY 11763                         #114
                                                                                SUNRISE FL 33351



ALDAJUSTE, WILSON                      ALDALILA ROSARIO                         ALDAS JASKULIS
4151 NW 62ND COURT                     690 LAKE DOE BLVD.                       3 WOOD OAK CT.
COCONUT CREEK FL 33073                 APOPKA FL 32703                          NOTTINGHAM MD 21236




ALDER, NICHOLAS T                      ALDERMAN WILLIE COCHRAN                  ALDERMAN, JUDITH L
1525 DOXBURY RD                        6357 S COTTAGE GROVE                     11849 HOWEY CROSS RD
TOWSON MD 21286                        CHICAGO IL 60637                         CLERMONT FL 34715




ALDO PROVERA                           ALDOPHE, FITO                            ALDOUPHUS WILLIAMS
94 FRANKLIN AVE                        6173 PLAINS DRIVE                        441 MARTIN ROAD
HARTFORD CT 06114                      LAKE WORTH FL 33463                      MARGATE FL 33068




ALEC EFFRAT                            ALEC HAYWOOD                             ALEC PAYLEITNER
1455 N. MAPLEWOOD AVE                  202 CHARTER OAK PLACE                    629 N. TYLER ROAD
UNIT 1E                                BEL AIR MD 21014                         ST CHARLES IL 60174
CHICAGO IL 60622




                                           Page 41 of 2387
                           Case 08-13141-BLS   Doc 17-1        Filed 12/08/08   Page 42 of 800
ALECSIS CHATYI                          ALEDA M LENNEN                            ALEGRIA, ROCIO A
2008 LEMOYNE STREET                     2560 NW 1ST AVE                           1042 E MAIN ST   NO.2
LOS ANGELES CA 90026                    POMPANO BEACH FL 33064                    STAMFORD CT 06902




ALEJA RIVERA                            ALEJANDRA CERVANTES                       ALEJANDRA VILLA
307 THISTLE DRIVE                       3130 N LAKE SHORE DR                      176 FREEBORN STREET
BOLINGBROOK IL 60490                    APT# 1105                                 STATEN ISLAND NY 10306
                                        CHICAGO IL 60657



ALEJANDRINO, KARINA                     ALEJANDRO ARAGON                          ALEJANDRO ARROYO
8605 W SAMPLE RD APT 211                3607 ALBION PL. N.                        1404 FOX SEDGE TRAIL
CORAL SPRINGS FL 33065                  SEATTLE WA 98103                          WOODSTOCK IL 60098




ALEJANDRO DIAZ                          ALEJANDRO HERNANDEZ                       ALEJANDRO HERNANDEZ
938 E PINE STREET                       16780 MOUNT EDEN CR                       230 S. DEL MAR AVE
COMPTON CA 90221                        FOUNTAIN VALLEY CA 92708                  APT #6
                                                                                  SAN GABRIEL CA 91776



ALEJANDRO LOINAZ                        ALEJANDRO LOPEZ CATTINI                   ALEJANDRO MORA
693 10TH AVENUE                         2118 WILSHIRE BLVD                        530 E. GLADSTONE ST.
3RN                                     APT # 790                                 UNIT 74
NEW YORK NY 10036                       SANTA MONICA CA 90403                     AZUSA CA 91702



ALEJANDRO RIERA                         ALEJANDRO SANDOVAL                        ALEJANDRO SOLORIO
844 W. GUNNISON ST                      437 CANYON VISTA DR                       630 N. FRANKLIN ST.
APT. 2E                                 LOS ANGELES CA 90065                      APT 618
CHICAGO IL 60640                                                                  CHICAGO IL 60610



ALEJANDRO, CLIFFORD                     ALEJANDRO, CLIFFORD                       ALEKSANDAR MARIC
101 KENSINGTON AVE                      228 JEWETT AVENUE                         1200 WHITE FENCE LN
JERSEY CITY NJ 07304                    JERSEY CITY NJ 07304                      ADDISON IL 60101




ALEKSANDR TATARCHUK                     ALEKSANDRA AUGAITIS                       ALEKSEY FREMDERMAN
8463 VIA SERENA                         10705 GIGL DR.                            900 N. LAKESIDE DRIVE
BOCA RATON FL 33433                     ORLAND PARK IL 60462                      APT. # 2C
                                                                                  VERNON HILLS IL 60061



ALENE TCHEKMEDYIAN                      ALESSANDRA VASCONCELOS                    ALESSANDRO SERRA
8812 BAYWOOD DR                         2A BURNING BUSH BLVD                      5800 N. SPAULDING
HUNTINGTON BEACH CA 92646               BALLSTON LAKE NY 12019                    CHICAGO IL 60659




ALESSIO, CAROLYN                        ALEX ALVAREZ                              ALEX BARRERA
821 S RACINE   NO.F                     518 N. HOWARD ST.                         5022 SW 102ND AVENUE
CHICAGO IL 60607                        GLENDALE CA 91206                         MIAMI FL 33165




                                            Page 42 of 2387
                            Case 08-13141-BLS    Doc 17-1       Filed 12/08/08   Page 43 of 800
ALEX CASTRO                              ALEX CLAY INC                             ALEX COLLINS
7162 HAWTHORN AVE.                       2324 WATERBY ST                           18211 FLYNN DRIVE
5                                        WESTLAKE VILLAGE CA 91361                 APT#148
LOS ANGELES CA 90046                                                               CANYON COUNTRY CA 91387



ALEX DOMINGUEZ                           ALEX FABARA                               ALEX GARCIA
1716 PHILLIPS WAY                        32-18 60TH STREET                         414 SOUTH TAYLOR AVENUE
LOS ANGELES CA 90042                     WOODSIDE NY 11370                         OAK PARK IL 60302




ALEX GILLILAND                           ALEX GORRA                                ALEX KABAK
628 ALMOND AVENUE                        5225 W. 53RD PLACE                        4820 W. 154TH STREET
LOS ALTOS CA 94022                       CHICAGO IL 60638                          OAK FOREST IL 60452




ALEX KIMBALL                             ALEX LABIDOU                              ALEX LIMA
1066 HASTINGS RANCH DRIVE                364 MADISON STREET                        576 PONTIAC LANE
PASADENA CA 91107                        BROOKLYN NY 11221                         CAROL STREAM IL 60188




ALEX MCEACHERN                           ALEX MESCHER                              ALEX MORELLI
3818 N SHEFFIELD AVE #1FF                1276 SEAGRAPE CIRCLE                      160-15 13TH AVE
CHICAGO IL 60613-2918                    WESTON FL 33326                           WHITESTONE NY 11357




ALEX NABAUM STUDIO INC                   ALEX NUNEZ                                ALEX PINIERO
795 SHADOW ROCK CT                       11725 HUNNEWELL AVENUE                    3444 ROXBURY AVE
HEBER CITY UT 84032                      LAKEVIEW TERRACE CA 91342                 WANTAGH NY 11793




ALEX RADOW                               ALEX RODRIGUEZ                            ALEX RODRIGUEZ
2810 SWIFT FOX CORNER                    435 N. MICHIGAN AVE.                      1805 CHERYL LANE
MISSOURI CITY TX 77459                   FOREIGN EDITORIAL                         KISSIMMEE FL 34744
                                         CHICAGO IL 60611



ALEX ROSARIO                             ALEX RUFFIN                               ALEX S KANKULA
3301 S. MAPLE                            4328 W. WILCOX                            91 FRANKLIN STREET
BERWYN IL 60402                          CHICAGO IL 60624                          NORTHPORT NY 11768




ALEX SAM                                 ALEX SANCHEZ                              ALEX SCHILDKRET
116-09 208TH STREET                      848 EDGE STREET                           12401 FILMORE ST
CAMBRIA HEIGHTS NY 11411                 ALLENTOWN PA 18102                        APT 304
                                                                                   SYLMAR CA 91342



ALEX TORRES                              ALEXA AGUILAR                             ALEXA BAZANOS
11761 BROWNLEE ROAD                      1215 THORNHILL CT                         3513 NORTH JANSSEN
GARDEN GROVE CA 92840                    GENEVA IL 60134                           CHICAGO IL 60657




                                             Page 43 of 2387
                           Case 08-13141-BLS   Doc 17-1        Filed 12/08/08   Page 44 of 800
ALEXA REXACH                            ALEXANDER BELISLE                         ALEXANDER BORDENS
3301 ROBBIN LANE                        105 RICHMOND AVENUE                       2910 BANYAN BLVD. CIRCLE
MERRICK NY 11566                        WORCESTER MA 01602                        BOCA RATON FL 33431




ALEXANDER CROW                          ALEXANDER CUEVAS                          ALEXANDER CUTRONE
7627 LE BERTHON ST.                     8181 MADISON AVENUE                       78 MIDWOOD AVE
TUJUNGA CA 91042                        SOUTH GATE CA 90280                       NESCONSET NY 11767




ALEXANDER DARSEN                        ALEXANDER DISABATO                        ALEXANDER ENGLISH
8115 DARBY PLACE                        1105 EDGEWATER DR                         3 WHITMAN COURT
RESEDA CA 91335                         NAPERVILLE IL 60540                       #2A
                                                                                  HARTFORD CT 06106



ALEXANDER GALLARDO                      ALEXANDER GLOBAL PROMOTIONS               ALEXANDER GLOBAL PROMOTIONS
2132 HELOISE WAY                        515 116TH AVE NE                          PO BOX 52885
PLACENTIA CA 92870                      STE 110                                   BELLEVUE WA 98015-2885
                                        BELLEVUE WA 98004



ALEXANDER GRACE                         ALEXANDER KRAVTCHOUK                      ALEXANDER LEACH
125 E. 13TH ST.                         682 E. CONSTITUTION DR.                   1324 N WILCOTT
APT. 911                                APT. #4                                   APT 2
CHICAGO IL 60605                        PALATINE IL 60074                         CHICAGO IL 60622



ALEXANDER LOSOYA                        ALEXANDER MC CAW                          ALEXANDER MCDONALD
3830 S SCOLVILLE AVENUE                 1523 GREENPORT AVENUE                     17 CHERYL DRIVE
BERWYN IL 60402                         ROWLAND HEIGHTS CA 91748                  SHOREHAM NY 11786




ALEXANDER MEDINA                        ALEXANDER MENDOZA                         ALEXANDER MIKHALEVITCH
232 EMORY PLACE                         2343 S CALIFORNIA AV                      8473 KIRKWOOD DRIVE
ORLANDO FL 32804                        CHICAGO IL 60608                          LOS ANGELES CA 90046




ALEXANDER PHERSON                       ALEXANDER PICA                            ALEXANDER PICUILLO
20432 LANDER DR                         200 14TH STREET                           3 PAULA STREET
WOODLAND HILLS CA 91364                 WEST BABYLON NY 11704                     EAST NORTHPORT NY 11731




ALEXANDER PUENTE                        ALEXANDER RAIA                            ALEXANDER RUBIN
659 NW 38TH AVE                         128 WELLINGTON RD                         5188 ROCKY MOUNTAIN DRIVE
DEERFIELD BEACH FL 33442                GARDEN CITY NY 11530                      CASTLE ROCK CO 80109




ALEXANDER RUIZ                          ALEXANDER SANN                            ALEXANDER TRENCH
3701 JACKSON STREET                     165 EAST 72ND STREET                      21095 REDWOOD LANE
#410                                    APT. 8K                                   MISSION VIEJO CA 92691
HOLLYWOOD FL 33021                      NEW YORK NY 10021-4342




                                            Page 44 of 2387
                          Case 08-13141-BLS   Doc 17-1        Filed 12/08/08   Page 45 of 800
ALEXANDER TUCKMAN                      ALEXANDER VAZQUEZ                         ALEXANDER WELCH
1761 LAUREL CANYON BLVD                26 RUSSELL STREET                         8113 SAN CARLOS DRIVE
LOS ANGELES CA 90046                   MANORVILLE NY 11949                       SAN DIEGO CA 92119




ALEXANDER, ALONZO                      ALEXANDER, CAROLYN                        ALEXANDER, FRANCES
6625 S MAPLEWOOD AVE                   202 MAPLE DR                              410 FORD ROAD
CHICAGO IL 60629                       MOUNTAIN CITY TX 78610                    HAMPTON VA 23663




ALEXANDER, GARCY                       ALEXANDER, GARVIN D                       ALEXANDER, GREGORY J
636 NW 46TH AVE                        21150 NW 14TH PL   NO.101                 2629 GUILFORD AVE
DELRAY BEACH FL 33445                  MIAMI FL 33169                            BALTIMORE MD 21218




ALEXANDER, GREGORY J                   ALEXANDER, JUELINA                        ALEXANDER, KENNETH
PEN & INK LLC                          732 19TH ST                               1800 N COMMERCE PKWY
2629 GUILFORD AVE                      NEWPORT NEWS VA 23607                     WESTON FL 33326
BALTIMORE MD 21218



ALEXANDER, KYLE                        ALEXANDER, MICHAEL E                      ALEXANDER, SAMANTHA
319 31ST STREET UNIT A                 4586 STARLING WAY                         562 WALNUT ST
MANHATTAN BEACH CA 90266               LOS ANGELES CA 90065                      ACCT NO.1010
                                                                                 CHEBANSE IL 60922



ALEXANDER, SANDRA JEAN                 ALEXANDER, SANDRA M                       ALEXANDER, SHANISE
934 OLMSTEAD ROAD                      67 W GOEPP ST                             924 MODEL CT
PIKESVILLE MD 21208                    BETHLEHEM PA 18018                        STONE MOUNTAIN GA 30088




ALEXANDER, WILLIAM M                   ALEXANDRA CASTILLO                        ALEXANDRA FENWICK
37 RIDGE RD                            6001 NW 47TH PLACE                        169 MASON STREET
CORNWALL NY 12518                      CORAL SPRINGS FL 33067                    APT. 1G
                                                                                 GREENWICH CT 06830



ALEXANDRA FOSTER                       ALEXANDRA HUMPHREYS                       ALEXANDRA JENSEN
797 W 29TH AVE                         1366 YORK AVENUE                          5347 RENAISSANCE AVE
APT 2411                               APT# 3C                                   SAN DIEGO CA 92122
DENVER CO 80202                        NEW YORK NY 10021



ALEXANDRA LEE                          ALEXANDRA LETELLIER                       ALEXANDRA MENDOZA
14356 PRESIDENTS LANDING WAY           1338 N VISTA STREET                       100 NANTICOKE AVENUE
GAINESVILLE VA 20155                   19                                        ENDICOTT NY 13760
                                       LOS ANGELES CA 90046



ALEXANDRA SEGATTI                      ALEXANDRA SHELDON                         ALEXANDRA THORNBER
124 CORNERSTONE PLACE                  10250 SUNSET BLVD                         797 ELM STREET
WHITEHALL PA 18052                     LOS ANGELES CA 90077                      NEW HAVEN CT 06510




                                           Page 45 of 2387
                            Case 08-13141-BLS    Doc 17-1        Filed 12/08/08   Page 46 of 800
ALEXANDRA ZALUPSKI                       ALEXANDRA ZAVIS                            ALEXANDRE DEGAN
16 E. OLD WILLOW ROAD                    942 PALM TERRACE                           3216 ALAMO DRIVE
#533                                     PASADENA CA 91104                          ORLANDO FL 32805
PROSPECT HEIGHTS IL 60070



ALEXANDRE, ALPHONSE                      ALEXANDRE, ESTECAIR                        ALEXANDRE, JOHN
610 NW 7TH AVE APT 54                    110 SW 6TH AVENUE                          110 SW 6TH AVE
POMPANO BEACH FL 33060                   DELRAY BEACH FL 33444                      DELRAY BEACH FL 33444




ALEXANDRE, JUSLIN                        ALEXANDRINA GANEA                          ALEXIA CAMPBELL
110 SW 6TH AVENUE                        15246 GREENLEAF                            840 NE 17TH TERRACE
DELRAY BEACH FL 33444                    SHERMAN OAKS CA 91403                      APT 3
                                                                                    FORT LAUDERDALE FL 33304



ALEXIA ELEJALDE-RUIZ                     ALEXIA NEWBERN                             ALEXIS COLON
2906 N. SEMINARY AVENUE                  1026 W. 14TH PLACE                         7721 NW 35 STREET
APT. 1                                   CHICAGO IL 60608                           DAVIE FL 33024
CHICAGO IL 60657



ALEXIS CRUZ                              ALEXIS INNOVATIVE MARKETING INC            ALEXIS KARTER
1015 EAST 4TH STREET                     501 N ORLANDO AVE NO. 313-128              619 SOUTH HARLEM AVENUE
BETHLEHEM PA 18015                       WINTER PARK FL 32789                       FOREST PARK IL 60130




ALEXIS LAKE                              ALEXIS MINANA                              ALEXIS NIELSEN
16239 DICKENS STREET                     5 COLDSTREAM                               1186 S GROVE AVE
ENCINO CA 91436                          IRVINE CA 92604                            OAK PARK IL 60304




ALEXIS PETERS                            ALEXIS RAMOS                               ALEXIS RHONE
3308 S RUCH STREET                       2433 N HARDING AVE                         36 HURRICANE ST.
WHITEHALL PA 18052                       CHICAGO IL 60647-2231                      MARINA DEL REY CA 90292




ALEXIS, ACE R                            ALEXIS, DENIS                              ALEXIS, DENIS
410 NW 3RD ST                            6575 W OAKLAND PARK BLVD APT 302           6575 W OAKLAND PARK BLVD, APT NO. 302
DELRAY BEACH FL 33444                    FORT LAUDERDALE FL 33313                   LAUDERDALEHILL FL 33313




ALEXIS, HEATHER M                        ALEXIS, NIXON                              ALEYDA TRIGO
8481 SPRINGTREE DR #402                  142 LANCASTER RD                           3829 E. 60TH ST.
SUNRISE FL 33351                         BOYNTON BEACH FL 33426                     HUNTINGTON PARK CA 90255




ALFAQUEST TECHNOLOGIES INC               ALFAQUEST TECHNOLOGIES INC                 ALFAQUEST TECHNOLOGIES INC
2100 GOLF RD                             2100 GOLF ROAD STE 290                     2100 GOLF ROAD SUITE 220
ROLLING MEADOW IL 60008                  ATTN: ORDER DEPARTMENT                     ROLLING MEADOWS IL 60008
                                         ROLLING MEADOWS IL 60008




                                             Page 46 of 2387
                           Case 08-13141-BLS    Doc 17-1       Filed 12/08/08    Page 47 of 800
ALFAQUEST TECHNOLOGIES INC              ALFARO, LYANNE                             ALFARO, RAUL
ATTN: PAM ALIOTTO                       1745 N KEELER                              11387 SW 6TH ST
SUITE 220                               CHICAGO IL 60639                           MIAMI FL 33174
2100 GULF ROAD
ROLLING MEADOWS IL 60008


ALFARO, RAUL                            ALFIE GATPO                                ALFIERI, JANET
11387 SW 6TH ST                         235 S. SIESTA AVE.                         15 BUMPUS ROAD
MIAMI FL 33177                          LA PUENTE CA 91746                         PLYMOUTH MA 02360




ALFONSO BETANCUR                        ALFONSO CASTILLO                           ALFONSO PENA
808 SW 22ND AVENUE                      55 CORNWELL AVENUE                         163 N. EUCLID AVENUE
FORT LAUDERDALE FL 33312                VALLEY STREAM NY 11580                     WESTFIELD NJ 07090




ALFONSO, JAMES                          ALFRED ANDRIA                              ALFRED BANKS
2540 HAYES ST                           110 GREENMEADOW DR                         50 MONROE STREET
HOLLYWOOD FL 33020                      DEER PARK NY 11729                         BRIDGEPORT CT 06605




ALFRED BLACKWOOD                        ALFRED CALLENDER DELIVERY SERVICES INC     ALFRED CASSELL
1260 TERRILL RD                         145-19 223 ST                              P.O BOX 4181
SCOTCH PLAINS NJ 07076                  QUEENS NY 11413                            GAITHERSBURG MD 20885




ALFRED CONIGLIARO                       ALFRED DULD                                ALFRED EUSANIO
1211 SULPHUR SPR RD                     4406 SYBIL DRIVE                           360 LOCUST AVENUE
BALTIMORE MD 21227                      OREFIELD PA 18069                          OAKDALE NY 11769




ALFRED FUTTERLEIB                       ALFRED G HURTADO                           ALFRED GIGLIATI
54 HOLLY ROAD                           5643 BERKSHIRE DR                          68 COLONIAL ROAD
EAST HARTFORD CT 06118                  LOS ANGELES CA 90032                       LINDENHURST NY 11757




ALFRED GILKES                           ALFRED LUSTER                              ALFRED MASTANDUNO
3073 NW 49TH AVE                        3308 W. POTOMAC                            30-66 YOST BLVD
OCALA FL 34482-8310                     #1                                         OCEANSIDE NY 11572
                                        CHICAGO IL 60651



ALFRED MAZUR                            ALFRED MIKULA                              ALFRED MOTIS
5245 S. NEW ENGLAND                     169 N. BERKELEY AVENUE                     2153 LARCH STREET
CHICAGO IL 60638                        PASADENA CA 91107                          WANTAGH NY 11793




ALFRED MULLER                           ALFRED PARKER                              ALFRED PENA
109 SOUTH STRONGS AVENUE                2401 W NORTH AVENUE                        27935 SEINE CIRCLE
COPIAGUE NY 11726                       BALTIMORE MD 21216                         MISSION VIEJO CA 92692




                                            Page 47 of 2387
                             Case 08-13141-BLS    Doc 17-1        Filed 12/08/08   Page 48 of 800
ALFRED SEIB                               ALFRED TORRES                              ALFRED ZACCAGNINI
1601 N CHILCO COURT                       3015 FRESCO WELLS                          42032 DELMONTE STREET
THOUSAND OAKS CA 91360                    KATY TX 77449                              TEMECULA CA 92591




ALFRED, PERPILUS                          ALFREDO BUSTAMANTE                         ALFREDO CALDERON
422 NE 15TH AVE #422                      15236 ACRE STREET                          3735 VITRINA LANE
BOYNTON BEACH FL 33435                    APT B                                      PALMDALE CA 93551
                                          NORTHRIDGE CA 91326



ALFREDO DIAZ                              ALFREDO ESLAVA                             ALFREDO GODINEZ
84 JUNARD DRIVE                           1972 EDEN AVENUE                           4752 S. DAMEN
BAY SHORE NY 11706                        GLENDALE CA 91206                          CHICAGO IL 60609




ALFREDO GUEVARA                           ALFREDO M JIMENEZ                          ALFREDO MADERA
7400 17TH AVE                             29808 DESERT HILLS RD                      143 N 19TH STREET
HYATTSVILLE MD 20783                      SUN CITY CA 92586                          WHEATLEY HEIGHTS NY 11798




ALFREDO MEJIA                             ALFREDO MORALES                            ALFREDO S LANIER
1029 W GLENWOOD PLACE                     445 TOLLAND STREET                         11905 SARA RD
SANTA ANA CA 92707                        EAST HARTFORD CT 06108                     #84-232
                                                                                     LAREDO TX 78045



ALFREDO SERRANO                           ALFREDO SILVA                              ALFREDO TORRES
552 MONTCLAIR AVENUE                      1027 N. WOOD ST                            3816 S. MAPLE
APT 2                                     CHICAGO IL 60622                           BROOKFIELD IL 60513
BETHLEHEM PA 18015



ALFREDO'S PIZZA PASTA                     ALFVEGREN, SKYLAIRE                        ALFYS PIZZA INN INC
4560 W ALGONQUIN                          930 MARTEL AVE NO.104                      6932 EVERGREEN WAY
LAKE IN THE HILLS IL 60156                LOS ANGELES CA 90046                       EVERETT WA 98203




ALG WORLDWIDE LOGISTICS LLC               ALG WORLDWIDE LOGISTICS LLC                ALG WORLDWIDE LOGISTICS LLC
1101 ELLIS                                1101 ELLIS                                 PO BOX 66086
BENSENVILLE IL 60106                      BENSENVILLE IL 60108                       CHICAGO IL 60666-0086




ALGARIN, HENRY                            ALGERINA PERNA                             ALGIRDAS BUGA
9495 EVERGREEN PL APT 301                 714 ANNESLIE RD                            1044 N HOYNE AVENUE
DAVIE FL 33324                            BALTIMORE MD 21212                         CHICAGO IL 60622




ALHAMBRA CHAMBER OF COMMERCE              ALHAMBRA CHAMBER OF COMMERCE               ALI MERCHANT
104 S FIRST ST                            ATTN PINKY CHEN                            157 STONEBRIDGE BLVD
ALHAMBRA CA 91801                         104 S FIRST ST                             2315
                                          ALHAMBRA CA 91801                          EDMOND OK 73013




                                              Page 48 of 2387
                         Case 08-13141-BLS    Doc 17-1        Filed 12/08/08   Page 49 of 800
ALI, TANVEER ISHTIAQ                  ALI, TANVEER ISHTIAQ                       ALI, TARIQ
38 LEXINGTON RD                       1399 OX YOKE DR                            12 GRANGE ROAD
WEST HARTFORD CT 06119                FLINT MI 48532                             LONDON N6 4AP




ALIA MALIK                            ALIANO, CHARLES E                          ALICATA, SEBASTIAN
1440 LEXINGTON PKWY                   3144 CASTLE ROCK CIRCLE                    232 CABIN RD
APOPKA FL 32712                       LAND O LAKES FL 34639                      COLCHESTER CT 06415




ALICE GIBSON                          ALICE GOMBOZ                               ALICE ISKRA
4734 1/2 SOUTH WOODLAWN AVENUE        111 LANTERN LANE                           6236 PARALLEL LANE
APT #1D                               DELAND FL 32780                            COLUMBIA MD 21045
CHICAGO IL 60615



ALICE JAMES                           ALICE LESORAVAGE                           ALICE M BRIDGEFORD
1412 WILLOW LANE                      2345 CENTER STREET                         1518 E HARVARD
APT 1                                 BETHLEHEM PA 18017                         GLENDALE CA 91205
WESTMONT IL 60559



ALICE M COOPER                        ALICE MORRIN                               ALICE NICOLOSI
13756 PASEO ZALDIVAR                  106 GERALD DRIVE                           570 KIME AVE
SAN DIEGO CA 92129                    VERNON CT 06066                            WEST ISLIP NY 11795




ALICE NUNBERG                         ALICE PAGAN                                ALICE SHORT
7326 SHOUP AVENUE                     7757 W. VICTORIA ST.                       3156 COOLIDGE AVENUE
CANOGA PARK CA 91307                  CHICAGO IL 60631-2293                      LOS ANGELES CA 90066




ALICE SINGLETON                       ALICE THOMAS                               ALICE VIDALE
3705-2 WEST ALTGELD STREET            2812 SW 4 COURT                            3372 RIVER VIEW WAY
CHICAGO IL 60647                      FORT LAUDERDALE FL 33312                   WINTER PARK FL 32792




ALICE W MC NICHOL                     ALICE WANG                                 ALICE WATERS
135 S LAMER STREET                    2532 ARDSHEAL DR                           46 REID AVENUE
BURBANK CA 91506                      LA HABRA HEIGHTS CA 90631                  BABYLON NY 11702




ALICE WHEATLEY                        ALICIA ANN CASAS                           ALICIA CARVAJAL
8706 VERNA DR                         2 SEABREEZE DRIVE                          1421 SYDNEY DRIVE
ESCONDIDO CA 92026                    ORMOND BEACH FL 32176                      COMMERCE CA 90040




ALICIA CONNAUGHT                      ALICIA H PACHIS                            ALICIA HORNER
1303 PENN MAR AVENUE                  2479 UNIVERSITY AVE #32                    50 SOUTH STREET EXT.
SO EL MONTE CA 91733                  BRONX NY 10468                             BRISTOL CT 06010




                                          Page 49 of 2387
                         Case 08-13141-BLS    Doc 17-1        Filed 12/08/08   Page 50 of 800
ALICIA JABBOUR                        ALICIA JORGE                               ALICIA KOLMER
330 EDGEWOOD AVENUE                   209 S. LAKEWOOD AVE.                       75 ORCHARD STREET
SMITHTOWN NY 11787                    NORTHLAKE IL 60164                         PLAINVIEW NY 11803




ALICIA LOZANO                         ALICIA LUCIANI                             ALICIA MARIA JOHNSON
18142 WAKECREST DR                    1333 FIFTH STREET                          351 RIVERSIDE DRIVE
MALIBU CA 90265                       WEST BABYLON NY 11704                      DOLTON IL 60419




ALICIA OJEDA                          ALICIA PARADA                              ALICIA PIAZZA
16140 ORANGE CT.                      3 TIPPIN DRIVE                             178 GREENBRIAR ROAD
FONTANA CA 92335                      HUNTINGTON STATION NY 11746                MERIDEN CT 06450




ALICIA SIERADZKI                      ALICIA SLOCUM                              ALICIA VESTAL
3601 W. VERDUGO AVE.                  8977 NW 27TH STREET                        4820 COLDWATER CANYON AVE.
APT#208                               CORAL SPRINGS FL 33065                     APT#101
BURBANK CA 91505                                                                 SHERMAN OAKS CA 91423



ALICIA WITTMEYER                      ALIEN PRODUCTIONS LLC                      ALIETTE DELVA
508 ST. MICHAELS WAY                  10866 WILSHIRE BLVD 10TH FLR               4964 SW 5TH COURT
NEWPORT NEWS VA 23606                 LOS ANGELES CA 90024                       MARGATE FL 33068




ALIETTE JEAN                          ALIFONSO, JOSELINE                         ALINA COURAKOS
651 NW 42ND COURT                     220 W BERKSHIRE CIRCLE SUITE 2603          5013 COBALT COURT
APT 215                               LONGWOOD FL 32779                          GREENACRES FL 33463
POMPANO BEACH FL 33064



ALINE PICCHIONI                       ALISA HAMZIC                               ALISA WHITAKER
38 HOTCHKISS ROAD                     5909 N ARTESIAN                            10020 OLIVE ST
FARMINGTON CT 06032                   CHICAGO IL 60659                           MIRAMAR FL 33025




ALISHA HARRINGTON                     ALISHA HOLLOWAY                            ALISHA WILSON
503 FREMOUNT AVE.                     14474 EAST COLORADO DRIVE                  1335 W.76TH STREET
BALTIMORE MD 21201                    #203                                       APT. #5
                                      AURORA CO 80012                            CHICAGO IL 60620



ALISIA CHAPMAN                        ALISMA-DORVIL, NADINE F                    ALISON BENKOVIC
3 SPRINGTIDE COURT                    2960 NW 7TH ST                             42 CHASE MILL CIRCLE
MIDDLE RIVER MD 21220                 POMPANO BEACH FL 33069                     OWINGS MILLS MD 21117




ALISON BRECKLER                       ALISON DAVIS                               ALISON DINGELDEIN
8253 LAKESIDE DR.                     9135 BAY PORT CIRCLE                       1719 FREMONT AVE.
DOWNERS GROVE IL 60516                INDIANAPOLIS IN 46236                      APT #209
                                                                                 SOUTH PASADENA CA 91030




                                          Page 50 of 2387
                           Case 08-13141-BLS    Doc 17-1        Filed 12/08/08   Page 51 of 800
ALISON FROESCHLE                        ALISON GALLAHER                            ALISON GEISLER
6945 N OTTAWA AVE                       1753 WINONA BLVD                           5 QUEEN ANNE CT
CHICAGO IL 60631                        LOS FELIZ CA 90027                         OLD LYME CT 06371




ALISON HALSTEAD                         ALISON HORN                                ALISON JENSEN
6257 N. GREENVIEW                       7250 FRANKLIN AVENUE                       956 N. LEAVITT
#3                                      UNIT #210                                  #2
CHICAGO IL 60660                        HOLLYWOOD CA 90046                         CHICAGO IL 60622



ALISON LIPSON                           ALISON MORRIS                              ALISON O'BRIEN
630 N FRANKLIN                          6881 BAY DRIVE                             67 GREENTREE LANE
1004                                    APT 7                                      MOUNT BETHEL PA 18343
CHICAGO IL 60610                        MIAMI BEACH FL 33141



ALISON REYNOLDS                         ALISON SCHOLLY                             ALISON SINGER
345 S. CLOVERDALE AVENUE                2137 W. HOMER                              1155 SE 6TH COURT
APT# 407                                CHICAGO IL 60647                           DANIA FL 33004
LOS ANGELES CA 90036



ALISON TULLY                            ALISON WARD                                ALISON ZUBEL
165 S. MERIDITH AVENUE                  5870 FRANKLIN AVENUE                       919 NORTH HERMITAGE AVE
PASADENA CA 91106                       307                                        APT# 1
                                        LOS ANGELES CA 90028                       CHICAGO IL 60622



ALISSA FETNER                           ALISSA INGRAM                              ALISSA KELLY
1132 BATTERY AVENUE                     2318 HOLLY DR.                             2135 SUBURBAN ROAD
APT # 1                                 LOS ANGELES CA 90068                       APT #5
BALTIMORE MD 21230                                                                 YORK PA 17403



ALISSA LIPSON                           ALISSA RUBIN                               ALISSA SWANGO
630 NORTH STATE STREET                  VIENNA BUREAU                              1250 W. VAN BUREN ST.
APT# 1108                               LA TIMES FOREIGN DESK                      APT. #212
CHICAGO IL 60654                        202 W 1ST ST                               CHICAGO IL 60607
                                        LOS ANGELES CA 90053


ALISTAIR HIGHET                         ALKHAL, AMIN                               ALKHAL, JAMIELA
209 FLANDERS RD                         3296 BARKLAY RD                            3296 BARKLAY RD
P.O.BOX 352                             WHITEHALL PA 18052                         WHITEHALL PA 18052
BETHLEHEM CT 06751



ALKON, AMY B                            ALL ABOUT ENTERTAINMENT INC                ALL ABOUT ENTERTAINMENT INC
171 PIER AVENUE NO.280                  1900 N UNIVERSITY DRIVE                    8681 NW 17TH COURT
SANTA MONICA CA 90405                   SUITE 206                                  PEMBROKE PINES FL 33024
                                        PEMBROKE PINES FL 33024



ALL AMERICAN                            ALL AMERICAN                               ALL AMERICAN SPORTS
16115 N.W. 52ND AVENUE                  PO BOX 74836                               340 E 2ND ST SUITE NO.305
MARY ALT                                CHICAGO IL 60694-4836                      LOS ANGELES CA 90012
MIAMI FL 33014




                                            Page 51 of 2387
                         Case 08-13141-BLS   Doc 17-1        Filed 12/08/08   Page 52 of 800
ALL AMERICAN WASTE LLC                ALL AMERICAN WASTE LLC                    ALL AROUND BOUNCE PARTIES
15 MULLEN ROAD                        PO BOX 630                                10549 PASO FINO DR
ENFIELD CT 06082                      EAST WINDSOR CT 06088                     WELLINGTON FL 33449




ALL BROWARD WINDOW CLEANING INC       ALL BROWARD WINDOW CLEANING INC           ALL COMMUNICATION RENTALS INC
PO BOX 772422                         PO BOX 772422                             1402 SW 13TH COURT
CORAL SPRINGS FL 33077                CORAL SPRINGS FL 33084                    POMPANO BEACH FL 33069




ALL DAY & KNIGHT                      ALL DIRECT MAIL SERVICES INC              ALL MEDIA GUIDE LLC
9536 RUDRICK AVE                      15392 COBALT ST                           ATTN: FINANCE DEPT
CHATSWORTH CA 91311                   SYLMAR CA 91342                           1168 OAK VALLEY DR
                                                                                ANN ARBOR MI 48108



ALL PHASE SECURITY INC                ALL PHASE SECURITY INC                    ALL PRINTING & GRAPHICS INC
C/O BFI BUSINESS FINANCE              C/O BFI BUSINESS FINANCE                  1812 W. ROOSEVELT ROAD
851 E HAMILTON AVENUE STE 200         PO BOX 225                                BROADVIEW IL 61155
CAMPBELL CA 95008                     SANTA CLARA CA 95052-0225



ALL STAR BLEACHERS INC                ALL STATE EXTERMINATING CO INC            ALL TERRAIN PRODUCTIONS INC
PO BOX 74361                          54 A HOPE ST P O BOX 2798                 1438 W KINZIE
CLEVELAND OH 44194                    STAMFORD CT 06906-0798                    SUITE 200
                                                                                CHICAGO IL 60622



ALL TEXAS REALTY                      ALL TEXAS REALTY                          ALLA BRADLEY
1330 AQUARENA SPRINGS DR NO.105       PO BOX 1537                               616 LEWIS STREET
SAN MARCOS TX 78666                   SAN MARCOS TX 78667                       HAVRE DE GRACE MD 21078




ALLAIN, DANIELLE                      ALLAN ALVAREZ                             ALLAN BADEKER
8 APACHE TRAIL                        235 E. OLIVE AVE                          1085 MISTY LYNN CIRCLE
FREEHOLD NJ 07728                     MONROVIA CA 91016                         APT. J
                                                                                COCKEYSVILLE MD 21030



ALLAN DUNCAN                          ALLAN GOLDSTEIN                           ALLAN HENRY KROL
2751 NW 87 AVE                        73-50 BELL BOULEVARD                      3224 S. VERNON AVENUE
CORAL SPRINGS FL 33065                APT 4E                                    BROOKFIELD IL 60513
                                      BAYSIDE NY 11364



ALLAN HERRERA                         ALLAN KLEPADLO                            ALLAN KNOX INC
9 FRANKLIN AVE                        8313 N MERRILL                            450 SOUTH 92ND STREET
DEERPARK NY 11729                     NILES IL 60714                            MILWAUKEE WI 53214




ALLAN LONGO                           ALLAN LOPEZ                               ALLAN LU
7 KEELER STREET                       9044 PASSONS BLVD.                        1326 SOUTH SIESTA AVENUE
HUNTINGTON NY 11743                   DOWNEY CA 90240                           WEST COVINA CA 91790




                                          Page 52 of 2387
                           Case 08-13141-BLS    Doc 17-1       Filed 12/08/08   Page 53 of 800
ALLAN PAYAN                             ALLAN POPADOWSKI                          ALLAN REEVES
6032 SW 34TH STREET                     13028 MEADOW VIEW LANE                    P.O. BOX 130103
DAVIE FL 33314                          HOMER GLEN IL 60491                       JAMAICA NY 11413




ALLAN STRACKE                           ALLAN TOLIVER                             ALLAN Y SOKEN
408 SEWARD AVENUE                       524 MACDONOUGH STREET                     520 W. WILSON AVENUE
BALTIMORE MD 21225                      #3                                        #108
                                        BROOKLYN NY 11233                         GLENDALE CA 91203



ALLAN, LATOYA                           ALLARD STUDIOS INC                        ALLARD, CHARLES
2601 NW 207TH ST APT 275                10800 NW 12TH PL                          52 CLARENDON TERRACE
MIAMI GARDENS FL 33056                  PLANTATION FL 33322                       NEWINGTON CT 06111-3608




ALLARD,JOANN                            ALLBUSINESS COM INC                       ALLEEN BARBER
52 CLARENDON TER                        650 TOWNSEND ST STE 675                   85-29 121ST ST
NEWINGTON CT 06111                      SAN FRANCISCO CA 94103                    KEW GARDENS NY 11415




ALLEGRA, TOM                            ALLEN & GOOCH                             ALLEN ALBERT DUNN
178 E. 6TH ST                           SCOTT DAVIS                               4957 RIO BRAVO DRIVE
DEER PARK NY 11729                      ONE LAKEWAY                               BANNING CA 92220
                                        3900 N. CAUSEWAY BLVD., SUITE 1450
                                        METAIRIE LA 70002


ALLEN ALBERTSON                         ALLEN BELL                                ALLEN BELLVIEW
350 BLUE MOUNTAIN DRIVE                 3859 W. AUGUSTA BLVD                      21 JEFFERSON STREET
NEW RINGGOLD PA 17960                   1ST                                       NEW BRITAIN CT 06051
                                        CHICAGO IL 60651



ALLEN BILIK                             ALLEN BUMP                                ALLEN CLARK
1616 SUTTON PL                          52 SKINNER ROAD                           977 KIRKWOOD AVENUE
BOLLINGBROOK IL 60490                   BROAD BROOK CT 06016                      PASADENA CA 91103




ALLEN CONE                              ALLEN FRANCISCO                           ALLEN GARDENGHI
10692 PLAINVIEW CIRCLE                  STAYER & GAINSBERG, P.C.                  6046 MOOREHEAD RD
BOCA RATON FL 33498-6362                JARED B. STAYER                           BALTIMORE MD 21228
                                        120 W MADISON ST, STE 520
                                        CHICAGO IL 60602


ALLEN HAUGER                            ALLEN JR, WAYNE                           ALLEN LI
20860 HOMELAND                          5212 SW 19TH STREET                       25 MCKAY ROAD
MATTESON IL 60443                       HOLLYWOOD FL 33023                        HUNTINGTON STATION NY 11746




ALLEN MATKINS LECK GAMBLE MALLORY LLP   ALLEN MATKINS LECK GAMBLE MALLORY LLP     ALLEN MCCLOAT
1901 AVENUE OF THE STARS STE 1800       515 SOUTH FIGUEROA STREET                 23 SCHNIEDER LANE
LOS ANGELES CA 90067-6050               STE 700                                   HAUPPAUGE NY 11788
                                        LOS ANGELES CA 90071-3398




                                            Page 53 of 2387
                          Case 08-13141-BLS    Doc 17-1       Filed 12/08/08   Page 54 of 800
ALLEN MERRIWEATHER                     ALLEN NARCISSE                            ALLEN OUELLETTE
4676 W. 141ST STREET                   3620 JASMINE AVENUE                       33230 KING AVENUE
HAWTHORNE CA 90250                     APT# 207                                  RUSHMORE MN 56168
                                       LOS ANGELES CA 90034



ALLEN POLAND                           ALLEN RAINS                               ALLEN SCHABEN
116 S RIDGEWOOD DRIVE                  3513 SUPERIOR COURT                       21281 YARMOUTH LANE
POST FALLS ID 83854                    ORLANDO FL 32810                          HUNTINGTON BEACH CA 92646




ALLEN SEEVERS                          ALLEN STAACK                              ALLEN SYSTEMS GROUP INC
4045 PAULA STREET                      13220 JAMES DR.                           P O BOX 862028
LA MESA CA 91941                       ST. JOHN IN 46373                         ORLANDO FL 32886-2028




ALLEN SYSTEMS GROUP INC                ALLEN SYSTEMS GROUP INC                   ALLEN YADEN
135 S LASALLE ST                       P.O. BOX 2197                             10158 HIGHLAND MEADOW CIRCLE
DEPT 4304                              CAROL STREAM IL 60132-2197                #204
CHICAGO IL 60674-4304                                                            PARKER CO 80134



ALLEN, BRIDTY LYNN                     ALLEN, CARLA                              ALLEN, CEDRIC
1236 S RACE ST                         18904 MANOR DRIVE                         9024 CHARLES STREET
ALLENTOWN PA 18103                     INDEPENDENCE MO 64058                     LAKE WORTH FL 33467




ALLEN, CHARLES                         ALLEN, CHARLOTTE                          ALLEN, CRAIG
38 TABOR RD                            1300 FOURTH ST NW                         30 NANCY DRIVE
ENFIELD CT 06082                       WASHINGTON DC 20024                       MONROE CT 06468




ALLEN, DONNETTE                        ALLEN, DONYETTA                           ALLEN, EILEEN
7933 SHALIMAR ST                       5796 WILLIAMSBURG TRCE                    294 S MAIN ST LOT 1
MIRAMAR FL 33023                       ATLANTA GA 30349                          EAST WINDSOR CT 06088-9800




ALLEN, F ASHLEY                        ALLEN, GRENESHIA                          ALLEN, JOHN S
P.O. BOX 533427                        PO BOX 31532                              361 KIWANIS CIR
ORLANDO FL 32853                       PALM BEACH GARDENS FL 33420-1532          SUITE 1029
                                                                                 CHULUOTA FL 32766



ALLEN, JOHN S                          ALLEN, JOY K                              ALLEN, JUDITH C
361 KIWANIS CIRCLE                     1420 GLENMORE DRIVE                       540 MCKENZIE RD
CHULUTA FL 32766                       APOPKA FL 32712                           STE 1029
                                                                                 LAKE HELEN FL 32744



ALLEN, JUDITH C                        ALLEN, KATHLEEN                           ALLEN, KENARD
540 MCKENZIE RD                        3834 APPLETON WAY                         6133 SW 22ND COURT
LAKE HELEN FL 32744                    ORLANDO FL 32806                          MIRAMAR FL 33023




                                           Page 54 of 2387
                           Case 08-13141-BLS   Doc 17-1       Filed 12/08/08   Page 55 of 800
ALLEN, KRISTI                           ALLEN, LASHAWNDA D                       ALLEN, LEON
32862 POINTE STIRLING APT B             8033 S SAWYER AVE                        1828 W WASHINGTON ST
DANA POINT CA 92629                     CHICAGO IL 60652                         ALLENTOWN PA 18104




ALLEN, MICHAEL                          ALLEN, NATALEE NICOLA                    ALLEN, PAUL A
21423 GRAPE LILY CIRCLE NO. 103         6681 NW 28TH ST                          150 NORTHWOOD WAY
NEWHALL CA 91321                        SUNRISE FL 33313                         CAMILLUS NY 13031




ALLEN, SARAH                            ALLEN, STEVE A                           ALLEN, SUSAN
1848 SE HAZEL ST                        2913 SW 161 AVE                          236 FURNACE STREET
PORTLAND OR 97214                       MIRAMAR FL 33027                         EMMAUS PA 18049




ALLEN, TARA                             ALLEN, TATIANA                           ALLEN, TERRY
215 COLONY RD                           2219 FARRAGUT STREET                     43 OLD STATE RD
NEWPORT NEWS VA 23602                   HOLLYWOOD FL 33020                       WAPPERINGS FALLS NY 12590




ALLEN, TERRY                            ALLEN, TORRENCE WINDELL                  ALLEN,NEALE
43 OLD STATE RD                         1846 MIDDLE RIVER DR.                    9525 CAMINO CAPISTRANO LANE
WAPPINGERS FALLS NY 12590               FORT LAUDERDALE FL 33305                 LAS VEGAS NV 89147




ALLEN-REBECCA, AYESHA                   ALLENTOWN ART MUSEUM                     ALLENTOWN CENTRAL CATHOLIC HIGH
4112 INVERRARY BLVD NO.45B              P O BOX 388                              301 NORTH 4TH STREET
LAUDERHILL FL 33319                     ALLENTOWN PA 18105                       ALLENTOWN PA 18102




ALLENTOWN FIREFIGHTERS LOCAL 302        ALLENTOWN FIREFIGHTERS LOCAL 302         ALLENTOWN SCHOOL DISTRICT
723 CHEW ST                             PO BOX 174                               31 SOUTH PENN STREET
ALLENTOWN PA 18102                      ALLENTOWN PA 18105                       P O BOX 328
                                                                                 ALLENTOWN PA 18105



ALLENTOWN SCHOOL DISTRICT               ALLENTOWN SCHOOL DISTRICT                ALLENTOWN SCHOOL DISTRICT
ATTN WILLIAM ALLEN HIGH SCHOOL          CITY OF ALLENTOWN                        MUHLENBERG ELEM SCHOOL FUND
126 N 17TH STREET                       ROOM 110                                 740 N 21ST ST
ALLENTOWN PA 18104                      435 HAMILTON ST                          ALLENTOWN PA 18104-4088
                                        ALLENTOWN PA 18101-1686


ALLEY, MICHAEL T                        ALLEY, ROSEMARY C W                      ALLEYNE, ALICIA
608 GAY ST                              6 SOUTH COURT                            4152 NW 52ND AVENUE
DENTON MD 21629                         PORT WASHINGTON NY 11050                 LAUDERDALE LAKES FL 33319




ALLEYNE, BARRY FRANCIS DECOVERLEY       ALLEYNE, NAKIA                           ALLIANCE AGENCY
31 ROSEMONT AVE                         6834 BROWNS MILL LAKE RD                 2044 KNOTTY PINE DRIVE
WINDSOR CT 06095                        LITHONIA GA 30038                        ABINGDON MD 21009




                                            Page 55 of 2387
                             Case 08-13141-BLS    Doc 17-1         Filed 12/08/08   Page 56 of 800
ALLIANCE DEFENCE FUND INC                 ALLIANCE ENTERPRISES INC                    ALLIANCE MAINTENANCE SERVICES
15100 N 90TH STREET                       4340 N DIXIE HWY                            855 MORSE AVE
SCOTTSDALE AZ 85260                       BOCA RATON FL 33431                         ELK GROVE VILLAGE IL 60007




ALLIANCE OF NEWSPAPER SALES               ALLIANCE ONE LLC                            ALLIANCE PAIN CENTER PC
PO BOX 555                                PO BOX 27345                                1912 E HEBRON PKWY NO.104
BLOOMFIELD HILLS MI 48303                 NEW YORK NY 10087                           CARROLLTON TX 75007




ALLIANCE PRODUCTIONS                      ALLIANCE PRODUCTIONS                        ALLIANCE PRODUCTIONS
11715 RAINWOOD DR                         3200 SOUTH SHACKLEFORD RD STE 4             912 W 6TH STREET
STE A 7                                   LITTLE ROCK AR 72205-6936                   LITTLE ROCK AR 72201-3104
LITTLE ROCK AR 72212



ALLIANT ENERGY                            ALLIE JENKINS                               ALLIE LEE
ACCT NO. 564958-003                       P.O. BOX 550504                             8020 FOUR QUARTER ROAD
P.O. BOX 3068                             ORLANDO FL 32855-0504                       ELLICOTT CITY MD 21043
CEDAR RAPIDS IL 52406-3068



ALLIED BARTON SECURITY SERVICES LLC       ALLIED BARTON SECURITY SERVICES LLC         ALLIED COMMUNICATIONS INC
PO BOX 534265                             PO BOX 828854                               2700 COLORADO AVE.
ATLANTA GA 30353                          PHILADELPHIA PA 18182-8854                  5TH FLOOR
                                                                                      SANTA MONICA CA 90404



ALLIED ELECTRONICS                        ALLIED ELECTRONICS                          ALLIED ELECTRONICS
12235 BEACH BLVD STE NO.30                1225 W 190TH ST NO.420                      15271 NW 60 AVENUE
STANTON CA 90680                          GARDENA CA 90248                            ATTN: DENISE
                                                                                      MIAMI LAKES FL 33014



ALLIED ELECTRONICS                        ALLIED ELECTRONICS                          ALLIED ELECTRONICS
ATTN: ORDER PROCESSING                    11 GRACE AVE.                               305 NORTHERN BLVD
SUITE 327                                 GREAT NECK NY 11021                         SUITE 301
100 E. SYBELIA AVENUE                                                                 GREAT NECK NY 11021-4805
MAITLAND FL 32751


ALLIED ELECTRONICS                        ALLIED ELECTRONICS TRADING INC              ALLIED PERSONNEL SERVICES
ACCTS RECEIVABLE DEPT                     2736 NW 29TH TERRACE                        PO BOX 4009
PO BOX 2325                               FORT LAUDERDALE FL 33311                    BETHLEHEM PA 18018-0009
FORT WORTH TX 76113-2325



ALLIED VAN LINES INC                      ALLIED WASTE                                ALLIED WASTE SERVICES #922
PO BOX 95062                              ACCT. NO. 3-0853-0087965                    GARDENIA DISTRICT 121
CHICAGO IL 60694                          PO BOX 78829                                PO BOX 78038
                                          PHOENIX AZ 85062-8829                       PHOENIX AZ 85062-8030



ALLIED WASTE SERVICES #922                ALLIED WASTE SERVICES #922                  ALLIED WASTE SERVICES #922
PO BOX 78030                              PO BOX 78703                                5050 W LAKE ST
PHOENIX AZ 85062-8030                     WEST HOUSTON COMMERCIAL                     MELROSE PARK IL 60160
                                          PHOENIX AZ 85062-8703




                                              Page 56 of 2387
                        Case 08-13141-BLS    Doc 17-1       Filed 12/08/08   Page 57 of 800
ALLIED WASTE SERVICES #922           ALLIED WASTE SERVICES #922                ALLIED WASTE SERVICES #922
PO BOX 9001154                       PO BOX 9001495                            BFI WASTE SYSTEMS OF NJ
LOUISVILLE KY 40290-1154             SOUTHEAST FLORIDA DISTRICT                P O BOX 8856
                                     LOUISVILLE KY 40290-1495                  BOSTON MA 02266-8856



ALLIED WASTE SERVICES #922           ALLIED WASTE SERVICES #922                ALLIED WASTE SERVICES #922
BROWNING FERRIS INCNO.1435           NOW REPUBLIC SERVICES OF NJ INC           VALLEY FORCE DISTRICT 847
BFI OF PORT RICHMOND INC             MT LAUREL NJ REPUBLIC DIVISION            PO BOX 8887
PO BOX 8828                          P O BOX 8829                              BOSTON MA 02266-8887
BOSTON MA 02266-8828                 BOSTON MA 02266-8829


ALLIED WASTE SERVICES #922           ALLIED WASTE SERVICES #922                ALLIED WASTE SERVICES #922
PO BOX 830111                        PO BOX 830135                             VALLEY FORGE DISTRICT 847
BALTIMORE MD 21283-0111              BALTIMORE MD 21283-0135                   PO BOX 830123
                                                                               BALTIMORE MD 21283-0123



ALLIED WORLD ASSURANCE COMPANY       ALLIED WORLD ASSURANCE COMPANY LTD        ALLIEY, CHRISTOPHER
PO BOX HM3010                        27 RICHMOND ROAD                          14 SILVER MAPLE CT
HAMILTON HM MX                       PEMBROKE HM 08                            MIDDLE RIVER MD 21220




ALLIO, DAVID                         ALLIO, DAVID                              ALLISON ASSOCIATES
1958 HOKULEI PLACE                   1958 HOKULEI PLACE                        PO BOX 339
LIHUE HI 96766                       LIHUR KAUAI HI 96766                      CARLISLE PA 17013




ALLISON BARHAM                       ALLISON BAUMANN                           ALLISON BOURN
10830 GRANDVIEW DRIVE                2400 LAKEVIEW                             1077 RAIN TREE
PALOS PARK IL 60464                  APT. #516                                 BOLINGBROOK IL 60440
                                     CHICAGO IL 60614



ALLISON BRIZGYS                      ALLISON CONNOLLY                          ALLISON CORBETT
1106 W PRATT BLVD                    48 WOODLAND ST                            61 MIDDLE TURNPIKE WEST
APT # 2                              NATICK MA 01760                           MANCHESTER CT 06040
CHICAGO IL 60626



ALLISON COTTONE                      ALLISON CRONKHITE                         ALLISON CUCULICH
11 ALLEN PLACE                       6 DIVISION STREET                         138 N MAYFAIR PLACE
NORTHPORT NY 11768                   GLENS FALLS NY 12801                      CHICAGO HEIGHTS IL 60411




ALLISON GARCIA                       ALLISON HAUNSS                            ALLISON HEIM
5526 N. WINTHROP                     160 EAST 84TH STREET                      6660 N. ELM TREE ROAD
APT 1N                               APT. 10K                                  GLENDALE WI 53217
CHICAGO IL 60640                     NEW YORK NY 10028



ALLISON HONG                         ALLISON HUNTER-WILLIAMS                   ALLISON JACKSON
540 N. MADISON AVE                   7812 S. WOODLAWN AVE.                     2507 WEST 75TH STREET
APT 1                                CHICAGO IL 60619                          LOS ANGELES CA 90043
LOS ANGELES CA 90004




                                         Page 57 of 2387
                            Case 08-13141-BLS    Doc 17-1        Filed 12/08/08   Page 58 of 800
ALLISON KADEN                            ALLISON KAMIN                              ALLISON KIDDER
8 UNION SQUARE SOUTH                     316 5TH STREET                             3615 N. WHIPPLE
APT# 5A                                  APT # 2                                    #1
NEW YORK NY 10003                        JERSEY CITY NJ 07302-2349                  CHICAGO IL 60618



ALLISON KORNBERG                         ALLISON MATUSIN                            ALLISON MCKILLEN
509 NORTH MAPLE DR                       130 CARRINGTON                             2626 LAKEVIEW AVE.
BEVERLY HILLS CA 90210                   MOUNT ZION IL 62549                        CHICAGO IL 60614




ALLISON OTTO                             ALLISON PAPSON                             ALLISON PICKNER
4455 LOS FELIZ BLVD                      272 LITTLE CREEK ROAD                      4250 AURORA AVENUE NORTH
APT#203                                  LANCASTER PA 17601                         APT#A204
LOS ANGELES CA 90027                                                                SEATTLE WA 98103



ALLISON SAUNDERS                         ALLISON SCHLOSS                            ALLISON TACKETTE
1249 APACHE DRIVE                        21 W. CHESTNUT                             709 BLUE OAK DRIVE
GENEVA FL 32732                          701                                        LEWISVILLE TX 75067
                                         CHICAGO IL 60610



ALLISON THOMPSON                         ALLISON, COURTNEY                          ALLISON, GRAHAM
5102 PEMBROKE AVENUE                     310 BAY DR                                 79 JFK ST
BALTIMORE MD 21206                       MASSAPEQUA NY 11758                        CAMBRIDGE MA 02138




ALLMENDINGER, SCOTT                      ALLPORT, CHRISTOPHER                       ALLSOPP, JESSICA
8 DEEPWOOD DR                            500 W AIRPORT BLVD APT 1105                1678 COPPER PENNY DR
AVON CT 06001                            SANFORD FL 32773                           CHULA VISTA CA 91915




ALLSTAR LANDSCAPE SERVICES               ALLSTATE                                   ALLSTATE INSURANCE
1040 WEST LOMITA BOULEVARD               HANLON                                     4764 N LINCOLN MICHAEL J MAHER
HARBOR CITY CA 90710                     1236 ROANOKE AVE                           CHICAGO IL 60625
                                         RIVERHEAD NY 11901



ALLSTATE INSURANCE                       ALLSTATE INSURANCE                         ALLUM, BRENDON
100 MOTOR PRKWAY         STE 140         PO BOX 168288                              8433 FOREST HILLS BLVD, APT 101
HAUPPAUGE NY 11788                       IRVING TX 75016                            CORAL SPRINGS FL 33065




ALLUM, HUNG SING MICHAEL                 ALLYSON MEYERS                             ALLYSON MORAN
8433 FOREST HILLS BLVD  APT 101          1830 SW 10TH AVE                           110 EAST END AVENUE
CORAL SPRINGS FL 33065                   FORT LAUDERDALE FL 33315                   APT 9A
                                                                                    NEW YORK NY 10028



ALLYSON RASOR                            ALLYSON VRIESMAN                           ALMA CASTELLON
850 N. STATE ST.                         5852 APPLEVIEW SE                          14027 OXNARD ST.
APT 16H                                  KENTWOOD MI 49508                          UNIT 28
CHICAGO IL 60610                                                                    VAN NUYS CA 91401




                                             Page 58 of 2387
                             Case 08-13141-BLS   Doc 17-1        Filed 12/08/08   Page 59 of 800
ALMA MARTINEZ                             ALMA PERALLON                             ALMA PEREZ
615 SOUTH PACIFIC AVENUE                  9432 ALDRICH STREET                       9419 LOWER AZUSA ROAD
APT #7                                    PICO RIVERA CA 90660                      TEMPLE CITY CA 91780
GLENDALE CA 91204



ALMADA, JEANETTE                          ALMAJOR, ALLAN                            ALMAN, ISADORA
3411 N ELAINE PLACE UNIT 2                2651 NW 8TH CT APT 5                      917 WALNUT ST
CHICAGO IL 60657                          FT LAUDERDALE FL 33311                    ALAMEDA CA 94501




ALMEIDA, IRIS ANTONIO                     ALMEIDA, NANCY                            ALMEN, NEAL E
4334 NW 9TH AVE BLD 8, APT 1D             59-73 61ST ST                             PO BOX 683
POMPANO BEACH FL 33064                    MASPETH NY 11378                          CHESTERTOWN MD 21620




ALMENDRAL, ERIC                           ALMIRA ALQUITELA                          ALMITO NIEVES
6315 BEN AVE                              3930 DIVISION STREET                      108 WILLIAM STREET
N HOLLYWOOD CA 91606                      LOS ANGELES CA 90065                      APT. 2
                                                                                    FARMINGDALE NY 11735



ALMODOVAR, MARTHA                         ALMODOVAR, MARTHA                         ALMONACID, MANUEL
47-44 49 ST                               762 41ST                                  19115 S STONEBROOK ST
3RD FLOOR                                 BROOKLYN NY 11232                         WESTON FL 33332
WOODSIDE NY 11377



ALMOND HUANG                              ALMOND, STEVE                             ALMONTE, JIELANI
208 BRONZE LEAF COURT                     24 MICHAEL STREET                         4332 CYPRESS BAY CT
APOPKA FL 32703-1315                      ARLINGTON MA 02474                        ORLANDO FL 32822




ALMOST ALWAYS HUNGRY INC                  ALON ALTMARK                              ALONSO MARTINEZ
455 WEST 23RD ST   STE 14B                2917 KATEWOOD COURT                       698 FARMINGTON AVENUE
NEW YORK CITY NY 10011                    BALTIMORE MD 21209                        WEST HARTFORD CT 06119




ALONSO, ARNALDO                           ALONZO CASAS                              ALONZO YARBROUGH
2101 NE 68TH ST NO.103                    3241 WEST 55TH STREET                     229 S. MARIPOSA AVENUE
FORT LAUDERDALE FL 33308                  CHICAGO IL 60632                          APT #5
                                                                                    LOS ANGELES CA 90004



ALONZO, FLOR                              ALONZO, JOHN ANGELO N                     ALONZO, MARIO
6742 S KILBOURN AVE                       2813 S THOMAS BARCLAY DR                  4551 SW 23RD ST.
CHICAGO IL 60629                          CHICAGO IL 60608                          FT. LAUDERDALE FL 33317




ALOSSI, RICHARD AARON                     ALOSSI, RICHARD AARON                     ALPERSTEIN, ELLEN SUE
121 E 6TH STREET NO.104                   141 E 6TH STREET NO.104                   2730 SECOND ST
LOS ANGELES CA 90014                      LOS ANGELES CA 90014                      SANTA MONICA CA 90405




                                              Page 59 of 2387
                            Case 08-13141-BLS    Doc 17-1        Filed 12/08/08   Page 60 of 800
ALPERTO, KAYE                            ALPERTS NEWSPAPER DELIVERY SERVICE INC     ALPHA 1 PROMOTIONS INC
PETTY CASH CUSTODIAN                     5 GREAT JONES STREET                       28-31 46ST NO 1
2000 YORK ROAD    STE 114                NEW YORK NY 10012                          ASTORIA NY 11103
OAK BROOK IL 60523



ALPHA DISTRIBUTORS INC                   ALPHA NEWS AGENCY INC                      ALPHA NEWS AGENCY INC
4700 NORTH RONALD ST                     4707 BELMONT RD                            4707 BELMONT RD
HARWOOD HEIGHTS IL 60706                 ACCT 5300                                  DOWNERS GROVE IL 60515
                                         DOWNERS GROVE IL 60515



ALPHAGRAPHICS                            ALPHONSO ALFORD                            ALPHONSO ECHOLS
99 PRATT STREET                          2920 ROUND ABOUT LANE                      7930 SOUTH LASALLE STREET
FLOOR 3                                  ORLANDO FL 32818                           CHICAGO IL 60620
HARTFORD CT 06103



ALPINE TOWER COMPANY                     ALPINE TOWER COMPANY                       ALRICK CAMPBELL
180 SUMMIT AVE STE 201                   PO BOX 547                                 1470 LAKEVIEW CIRCLE
MONTVALE NJ 07645                        MONTVALE NJ 07645                          CORAL SPRINGS FL 33071




ALS WINDOW CLEANING                      ALS WINDOW CLEANING                        ALSTON BLACK, RUBY
1003 BLUE SPRUCE CIRC                    3265 N 126TH ST STE 100                    4390 SW 23 STREET
HARTLAND WI 53029                        BROOKFIELD WI 53005                        WEST PARK FL 33023




ALSTON RILEY, WANDA                      ALSTON, JACQUELYN                          ALSTON, JOSEPH
18 JANET DR                              12601 S. PAGE ST                           1605 OLYMPIC CIR NORTH APT 7
HAMPTON VA 23666                         CALUMET PARK IL 60827                      WHITEHALL PA 18052




ALSY ACEVEDO                             ALTA ABBOTT                                ALTA ENVIRONMENTAL CORPORATION
419 BAR CT.                              5000 CENTINELA AVENUE                      100 AMSTON ROAD
KISSIMMEE FL 34759                       #114                                       COLCHESTER CT 06415
                                         LOS ANGELES CA 90008



ALTA ENVIRONMENTAL CORPORATION           ALTAGRACE BASTIEN                          ALTAGRACIA RAMIREZ
121 BROADWAY                             887 NW 10TH TERRACE                        64-18 55TH AVE
COLCHESTER CT 06415                      PLANTATION FL 33324                        MASPETH NY 11378




ALTAVILLA, JENNIFER                      ALTEME, CHAVANNE                           ALTER, ETHAN
22 FLAX MILL HOLLOW                      6547 LIGHTHOUSE PLACE                      303 HOYT ST   APT 1
BRANFORD CT 06405                        MARGATE FL 33063                           BROOKLYN NY 11231




ALTER, ETHAN                             ALTER, LESLIE                              ALTERNATIVE BUSINESS SYSTEMS INC
68 STRATFORD RD APT 12                   2222 W BELMONT AVE APT 204                 80 FOUNTAIN ST
BROOKLYN NY 11218                        CHICAGO IL 60618                           FRAMINGHAM MA 01701




                                             Page 60 of 2387
                           Case 08-13141-BLS    Doc 17-1         Filed 12/08/08   Page 61 of 800
ALTERNATIVE MAIL DELIVERY INC           ALTERNATIVE WASTEWATER                      ALTERS, DIANE
6801 EASTERN AENUE                      1111 DELLES RD                              611 NORTH FOOTE AVENUE
BALTIMORE MD 21224                      WHEATON IL 60189                            COLORADO SPRINGS CO 80909




ALTITUDE SPORTS & ENTERTAINMENT         ALTMAN, ELISSA                              ALTMAN, ELISSA
1000 CHOPPER CIRCLE                     13 WEBSTER DRIVE                            13 WEBSTER PLACE
DENVER CO 80204                         NEWTOWN CT 06470                            NEWTOWN CT 06470




ALTMAN, JENNIFER                        ALTMAN, JENNIFER                            ALTMAN, NANCY
331 EAST 71ST ST NO.4B                  331 EAST 71ST ST NO.1F                      5913 SEARL TERRACE
NEW YORK CITY NY 10021                  NEW YORK NY 10021                           BETHESDA MD 20816




ALTMAN, RIKI                            ALTNEU, BETH                                ALTON HILL
809 SW 12 AVE                           18 MISTY CREEK LANE                         10908 CHANERA AVENUE
FORT LAUDERDALE FL 33312                LAGUNA HILLS CA 92653                       INGLEWOOD CA 90303




ALTON L SASS                            ALTON M PERRIN                              ALTSCHULER, GLENN
8166 S. RED CLOUDWAY                    3263 AMETHYST DR                            CORNELL UNIVERSITY
WEST JORDAN UT 84088                    CAMERON PARK CA 95682                       B20 DAY HALL
                                                                                    ITHACA NY 14853



ALU, MARY ELLEN                         ALUMNI VARSITY E CLUB                       ALVA BROWN
2336 WASHINGTON STREET                  209 N 10TH STREET                           209 W. MCCOMAS STREET
ALLENTOWN PA 18104                      EASTON PA 18042                             BALTIMORE MD 21230




ALVA JAMES-JOHNSON                      ALVAN DIAS                                  ALVAN MOTOR FREIGHT INC
7670 NW 29TH STREET                     135-36 ROCKAWAY BOULEVARD                   3600 ALVAN ROAD
MARGATE FL 33063                        OZONE PARK NY 11420                         KALAMAZOO MI 49001




ALVAND ABDOLSALEHI                      ALVARADO, CARLOS A                          ALVARADO, CARLOS A JR
7830 CRESCENT AVE                       4007 N UNIVERSITY DR NO. F110               150 E ROBINSON ST UNIT 627
BUENA PARK CA 90620                     SUNRISE FL 33351                            ORLANDO FL 32801




ALVARADO, EDWIN                         ALVARADO, ROBERTO                           ALVARADO-SANMARTIN, DIANA
6160 MENAHAN AVENUE                     621 VALLEY ST                               32 LILLIAN RD
RIDGEWOOD NY 11385                      WILLIMANTIC CT 06226                        BRISTOL CT 06010




ALVARANGA, JANICE                       ALVARENGA, OMAR E                           ALVAREZ, GABRIELA
20921 NE 2 AVE                          2139 NW 63 AVE.                             11622 NW 36 STREET
N MIAMI BEACH FL 33179                  MARGATE FL 33063                            CORAL SPRINGS FL 33065




                                            Page 61 of 2387
                           Case 08-13141-BLS   Doc 17-1         Filed 12/08/08   Page 62 of 800
ALVAREZ, JESUS                          ALVAREZ, JORGE                             ALVAREZ, KANDY RUSSELL GOMEZ
11614 NW 27TH CT                        3820 SW 31ST COURT                         12150 BOILES RD
CORAL SPRINGS FL 33065                  WEST PARK FL 33023                         MIAMI FL 33170




ALVAREZ, MARIA                          ALVAREZ, RAFAEL                            ALVAREZ, RAFAEL
21 SOUTH END AVE APT 602                627 S MACON ST                             PO BOX 432
NEW YORK NY 10280                       BALTIMORE MD 21224                         LINTHICUM MD 21090




ALVAREZ, TOBIAS                         ALVARO CORREA                              ALVARO GARZA
1315 ISLE OF WATERBRIDGE   APT 106      6 HOOVER AVENUE                            14013 PUTNAM STREET
ORLANDO FL 32837                        STAMFORD CT 06905                          WHITTIER CA 90605




ALVARO JUSTINO                          ALVARO MELGAR                              ALVARO RIET
10 MANOR PLACE                          37 CORLETT PLACE                           12728 MOORPARK ST
SMITHTOWN NY 11787                      HUNTINGTON STATION NY 11746                APT#13
                                                                                   STUDIO CITY CA 91604



ALVARO ROMERO                           ALVARO UCROS                               ALVELO, BRYAN
3020 N. ALBANY                          3873 W. WHITEWATER AVE                     380 LOS ALTOS WAY APT 102
APT #2                                  WESTON FL 33332                            ALTAMONTE SPRINGS FL 32714
CHICAGO IL 60618



ALVERTA E CONYERS                       ALVES, JEVAN                               ALVESTA COOPER
5704 KEY AVE                            3115 CHESTER GROVE RD                      1104 LAURENS ST
BALTIMORE MD 21215                      UPPER MARLBORO MD 20774                    BALTIMORE MD 21217




ALVEZ, MARIA                            ALVIN BESSENT                              ALVIN BOWENS
6017 TRIPHAMMER ROAD                    89 WASHINGTON PL                           4202 LEVELSIDE AVENUE
LAKE WORTH FL 33463                     APT 2J                                     LAKEWOOD CA 90712
                                        NEW YORK NY 10011



ALVIN CHAMBERS                          ALVIN CHODORA                              ALVIN GOOSMAN
251 W. 91ST. STREET                     12700 CEDAR FAL DR                         418 OAK COURT
APT 3C                                  HUNTERSVILLE NC 28078                      BALTIMORE MD 21228
NEW YORK NY 10024



ALVIN GROSS                             ALVIN J WARREN JR                          ALVIN T HUNNINGS JR
3709 SPRINGWOOD AVE                     3309 W 117TH PLACE                         13702 GLEN VALLEY RD
BALTIMORE MD 21206                      INGLEWOOD CA 90303                         GLEN ROCK PA 17327




ALVIN WESTCOTT                          ALVION                                     ALVISO, REBECCA O
906 GRAYSON SQUARE                      2503 DEL PRADO BLVD S                      1576 S GRANDRIDGE AVENUE
BEL AIR MD 21014                        CAPE CORAL FL 33904                        MONTEREY PARK CA 91754




                                            Page 62 of 2387
                            Case 08-13141-BLS   Doc 17-1       Filed 12/08/08   Page 63 of 800
ALWAYS A DREAM FOUNDATION                ALWAYS OPEN                              ALWIN, RONALD
1203 PRESERVATION PARKWAY                5817 LEE ST                              5123 HERMOSA AVE APT 2
103                                      HOLLYWOOD FL 33021                       LOS ANGELES CA 90041
OAKLAND CA 94612



ALWOOD, EDWARD                           ALY, ROMEL                               ALYCIA STANO
QUINNIPIAC UNIVERSITY                    1277 NW 55TH AVE                         422 MAIN STREET
275 MT CARMEL AVE                        LAUDERHILL FL 33313                      FREEMANSBURG PA 18017
HAMDEN CT 06518



ALYSE HAND                               ALYSON GOLD                              ALZHEIMER'S DISEASE AND RELATED
13103 MULBERRY PARK DR.                  931 W LAS OLAS BLVD                      6315 N. CENTER DRIVE SUITE 233
APT. 839                                 COTTAGE                                  NORFOLK VA 23502
ORLANDO FL 32821                         FORT LAUDERDALE FL 33312



ALZHEIMERS ASSOCIATION                   ALZHEIMERS ASSOCIATION                   ALZHEIMERS ASSOCIATION
2911 DIKWELL AVE                         96 OAK ST                                CONNECTICUT CHAPTER
HAMDEN CT 06511                          HARTFORD CT 06114                        279 NEW BRITAIN RD
                                                                                  KENSINGTON CT 06037



ALZHEIMERS ASSOCIATION                   ALZHEIMERS ASSOCIATION                   ALZHEIMERS DISEASE AND RELATED
NORTHERN CT CHAPTER                      S.E.F.C/A.W.A.R.E                        4709 GOLF RD STE 1015
443 FRANKLIN AVE                         8333 W MCNAB ROAD                        SKOKIE IL 60076
HARTFORD CT 06114-2517                   SUITE 210
                                         TAMARAC FL 33321


ALZHEIMERS DISEASE AND RELATED           AM DELIVERY                              AM FM BROADCASTING INC
919 N MICHIGAN AVE                       515 S BELMONT AVE                        3400 W OLIVE AVENUE SUITE 550
STE 1000                                 ARLINGTON HEIGHTS IL 60005               BURBANK CA 91505
CHICAGO IL 60611



AM FM BROADCASTING INC                   AM FM BROADCASTING INC                   AM FM BROADCASTING INC
KBIG FM                                  KHHT FM                                  KLAC AM 570
FILE 56504                               FILE 58496                               FILE 56710
LOS ANGELES CA 90074-6504                LOS ANGELES CA 90074-6496                LOS ANGELES CA 90074-6709



AM FM BROADCASTING INC                   AM FM BROADCASTING INC                   AM LITHOGRAPHY CORPORATION
KOST FM                                  KYSR FM                                  694 CENTER ST
FILE 56711                               FILE 56526                               CHICOPEE MA 01013
LOS ANGELES CA 90074-6711                LOS ANGELES CA 90074-6626



AM NEWS DELIVERY INC                     AMADO MERCADO-REILLO                     AMADOR, FLAVIO
468 BROOKSIDE DR                         33 ARLINGTON STREET                      921 SW 131ST WAY
OSWEGO IL 60543                          HARTFORD CT 06106                        DAVIE FL 33325




AMAL RANGACHARI                          AMALGAMATED METAPHOR INC                 AMALIA C FRANK
41 EAST 8TH STREET                       253 SANTA ROSA LANE                      39133 162ND STREET E
APT #2802                                SANTA BARBARA CA 93108                   PALMDALE CA 93591
CHICAGO IL 60605




                                             Page 63 of 2387
                          Case 08-13141-BLS   Doc 17-1        Filed 12/08/08   Page 64 of 800
AMALIA MARTINEZ                        AMALIA TERRIQUEZ                          AMANA MIYAMAE-MURRAY
13800 OSBORNE STREET                   858 W ASHLAND STREET                      563 HARRISON STREET
ARLETA CA 91331                        ONTARIO CA 91762                          DENVER CO 80206




AMANDA ADKINS                          AMANDA ALLEN                              AMANDA B HARRIS
3012 TURKEY PEN DR                     1544 FOUNTAIN GLEN DRIVE                  315 EAST 70 ST
GREENWOOD IN 46143                     BEL AIR MD 21015                          APT 12N
                                                                                 NEW YORK NY 10021



AMANDA BLUSTEIN                        AMANDA BRENNER                            AMANDA CLARK
30 SIMPSON DRIVE                       711 HOOKERS MILL RD.                      243 AVIATION ROAD
OLD BETHPAGE NY 11804                  ABINGDON MD 21009                         QUEENSBURY NY 12804




AMANDA COTYLO                          AMANDA DILLEY                             AMANDA DIXON
2823 HERKIMER ST                       2241 W. WABANSIA                          4604 WISDOM CREEK COURT
APT#1                                  202                                       FLOWER MOUND TX 75022
LOS ANGELES CA 90039                   CHICAGO IL 60647



AMANDA EISENHARD                       AMANDA FARRISH                            AMANDA GRIFFIN-LAWRENCE
530 HARRISON ST                        423 OLD POST ROAD                         30 WHITTIER AVENUE
ALLENTOWN PA 18103                     TOLLAND CT 06084                          NEWPORT NEWS VA 23606




AMANDA HABER                           AMANDA HABIGHORST                         AMANDA HEICHEL
180 NORTH JEFFERSON                    2831 DANBURY DRIVE                        12987 MALLORY CIRCLE
APT. 605                               NEW ORLEANS LA 70131                      APT. #303
CHICAGO IL 60661                                                                 ORLANDO FL 32828



AMANDA HOUSENICK                       AMANDA JONES                              AMANDA KASCHUBE
731 EAST 9TH STREET                    331 SWEETBRIAR COURT                      1822 W. HURON
HAZLETON PA 18201                      JOPPA MD 21085                            APT. #1F
                                                                                 CHICAGO IL 60622



AMANDA KERR                            AMANDA KROTKI                             AMANDA KULACKI
2905 CARRIAGE HOUSE WAY                1527 DOXBURY ROAD                         328 DREW STREET
WILLIAMSBURG VA 23188                  TOWSON MD 21286                           BALTIMORE MD 21224




AMANDA LEE                             AMANDA MARTIN                             AMANDA MAURER
27000 KAMS CT.                         3409 ROWENA AVE                           7929 KOLMAR AVENUE
APT #2809                              LOS ANGELES CA 90027                      SKOKIE IL 60076
CANYON COUNTRY CA 91387



AMANDA MORRIS                          AMANDA PERKINS                            AMANDA PETERSON
1410 WAKEMAN AVE                       2600 PRESTON RD                           2146 N. DAYTON
WHEATON IL 60187                       APT 807                                   205
                                       PLANO TX 75093                            CHICAGO IL 60614




                                           Page 64 of 2387
                         Case 08-13141-BLS    Doc 17-1        Filed 12/08/08   Page 65 of 800
AMANDA ROBMAN                         AMANDA ROSS                                AMANDA SADY
2901 PARKVIEW DR.                     2080 OTTAWA BEACH ROAD                     160 A RIDGE STREET
THOUSAND OAKS CA 91362                HOLLAND MI 49424                           GLENS FALLS NY 12801




AMANDA SNYDER                         AMANDA TEPEDINO                            AMANDA VAUGHN
2260 HILLSIDE ROAD                    2888 EATON ROAD WEST                       841 S. 12TH STREET
SLATINGTON PA 18080                   WANTAGH NY 11793                           APT. #1
                                                                                 ALLENTOWN PA 18103



AMANDA WALBECK                        AMANDIO SEGURO                             AMANN CHETCUTI, LORI P
65 GEORGE ROAD                        38 BRIDLE PATH                             188 WESTVILLE AVE EXT
PASADENA MD 21122                     NEWINGTON CT 06111                         DANBURY CT 06811




AMANUEL BERAKI                        AMANULLAH, SHAHED                          AMAR, VIKRAN DAVID
2416 S. 118TH STREET                  2008 B HOLLAND AVE                         140 CRAGMONT DR
SEATTLE, WA 98168                     AUSTIN TX 78704                            WALNUT CREEK CA 94598




AMARILIS SARANGO                      AMARILLO GLOBE NEWS                        AMARNATH UPADHYAY
6107 TURNABOUT LANE #4                PO BOX 2091                                68 NICOLETTE AVE
COLUMBIA MD 21044                     AMARILLO TX 79166                          SCHAUMBURG IL 60173




AMARO JR, SAMUEL                      AMARO, JULIA                               AMARO, REGINA C
4316 FORKS CHURCH RD                  13303 SW 31ST ST                           3362 NW 47TH AVE.
EASTON PA 18040                       MIRAMAR FL 33027                           COCONUT CREEK FL 33063




AMATANGELO, AMY                       AMATEUR JAI AL AI LLC                      AMATO, BEN
193 OAK ST UNIT 405E                  24 1/2 THOMPSON CT                         99 TRAFALGAR DR
NEWTON MA 02464                       ENFIELD CT 06082                           SHIRLEY NY 11967-4315




AMATO, BEN                            AMAYA, ANA                                 AMAYA, GUSTAVO
PO BOX 579                            3320 SAN JACINTO CIRCLE SUITE 2603         3320 SAN JACINTO CIRCLE SUITE 2603
SELDEN NY 11784                       SANFORD FL 32771                           SANFORD FL 32771




AMAYA, JOSE                           AMAYA, OSCAR E                             AMAZING EVENTS INC
7300 NW 24TH COURT                    189 LAKEVIEW DRIVE #202                    234 NE 3RD ST    NO.403
MARGATE FL 33063                      WESTON FL 33326                            MIAMI FL 33132




AMAZING GREENS LANDSCAPE INC          AMAZING GREENS LANDSCAPE INC               AMB INST ALLIANCE FUND III LLC
1200 N FT LAUDERDALE NO.504           PO BOX 24473                               RE: LOS ANGELES 5540 W. CENTU
FORT LAUDERDALE FL 33304              FORT LAUDERDALE FL 33307                   PO BOX 6156
                                                                                 HICKSVILLE NY 11802-6156




                                          Page 65 of 2387
                           Case 08-13141-BLS    Doc 17-1        Filed 12/08/08   Page 66 of 800
AMB INST ALLIANCE FUND III LLC          AMB INST ALLIANCE FUND III LLC             AMB INST ALLIANCE FUND III LLC
PO BOX 301112                           PO BOX 6156                                C/O AMB IAC
LOS ANGELES CA 90030-1112               HICKSVILLE NY 11802                        BOX 849091
                                                                                   DALLAS TX 75284-9091



AMBER AVINES                            AMBER HOWE                                 AMBER LYON
1812 MICHELTORENA STREET                2884 LAKE DRIVE SE                         P.O. BOX 2404
LOS ANGELES CA 90026                    GRAND RAPIDS MI 49506                      FORT LAUDERDALE FL 33303




AMBER NETTLES                           AMBER NOIZUMI                              AMBER REILLY
161 SEMPLE FARM ROAD                    1498 SUNSET PLAZA DRIVE                    45 COLLEGE HILLS DRIVE
APT. #10                                LOS ANGELES CA 90069                       FARMINGVILLE NY 11738
HAMPTON VA 23663



AMBER SCHUYLER                          AMBER SMITH                                AMBER THOMPSON
60 WEST NOTRE DAME STREET               7028 WHITAKER AVE                          2419 S. 273RD STREET
GLENS FALLS NY 12801                    VAN NUYS CA 91406                          APT. 146
                                                                                   FEDERAL WAY WA 98003



AMBER TILLETT                           AMBER VAN NAMEE                            AMBER WATSON
936 W. MADISON ST.                      1838 ILLINOIS ST.                          113 BEHLMANN MEADOWS WAY
#2A                                     ORLANDO FL 32803                           FLORISSANT MO 63034
CHICAGO IL 60607



AMBER WOODS                             AMBER WYATT                                AMBERLEAF PARTNERS INC
3740 PROSPECT RD                        1616 MOORES POINT ROAD                     781 S MIDLOTHIAN RD SUITE 308
STREET MD 21154                         SUFFOLK VA 23436                           MUNDELEIN IL 60060




AMBERLEAF PARTNERS INC                  AMBERLY ELLIS                              AMBERSLEY, MICHAEL
4238B N ARLINGTON HEIGHTS RD            4123 HUNTER'S HILL CIRCLE                  3844 LYONS RD NO. 211
SUITE 342                               RANDALLSTOWN MD 21133                      COCONUT CREEK FL 33073
ARLINGTON HEIGHTS IL 60004



AMBI MEHTA                              AMBIENT IMAGES                             AMBOLINO, CHRISTOPHER
15709 PLOWMAN DRIVE                     11600 ROCHESTER AVE         STE 11         4003 PILGRIM RD
LAUREL MD 20707                         LOS ANGELES CA 90025                       PLYMOUTH MEETING PA 19462




AMBROSE VURNIS                          AMBROSINE GREENE                           AMBROSIO, THOMAS
801 NORTH MONROE STREET                 P.O. BOX 115                               PO BOX 2034
425                                     DEER PARK NY 11729                         MONTAUK NY 11954-0902
ARLINGTON VA 22201



AMC THEATERS                            AMC THEATERS                               AMC THEATERS
AMERICAN MULTI CINEMA INC.              AMERICAN MULTI CINEMA INC.                 ATTN GREG VERMILLION
2049 CENTURY PARK EAST                  P O BOX 930456                             920 MAIN ST
SUITE 1020                              KANSAS CITY MO 64193                       KANSAS CITY MO 64105
LOS ANGELES CA 90067




                                            Page 66 of 2387
                              Case 08-13141-BLS    Doc 17-1      Filed 12/08/08   Page 67 of 800
AMCO INDUSTRIES ITASCA                     AMCO INDUSTRIES ITASCA                   AMCO INDUSTRIES ITASCA
3801 N ROSE STREET                         625 DISTRICT DRIVE                       C/O ENCLOSURE SOLUTIONS INC
SCHILLER PARK IL 60176-2190                ITASCA IL 60143-1364                     953D NORTH PLUM GROVE RD
                                                                                    SCHAUMBURG IL 60173



AMCO INDUSTRIES ITASCA                     AMCT NEWS AGENCY INC                     AMEC GEND OF MONTHATRIX INC
PO BOX 95996                               150 S CHURCH ST SUITE A                  2101 WEBSTER ST    12TH FLR
CHICAGO IL 60694                           ADDISON IL 60101                         OAKLAND CA 94612-3066




AMEC GEND OF MONTHATRIX INC                AMEDURI, ROBERT                          AMEENA BROWN
330 W BAY STREET                           3451 BEAR CREEK DR                       108 DOOLITTLE ROAD
SUITE 140                                  NEWBURY PARK CA 91320                    APT. #25
COSTA MESA CA 92627                                                                 HAMPTON VA 23669



AMEET SACHDEV                              AMEGA GROUP                              AMEL RAMIC
4415 N. MALDEN ST.                         1100 MAIN ST                             4905 N. SPRINGFIELD, APT. #1
#1N                                        BUFFALO NY 14209                         CHICAGO IL 60625
CHICAGO IL 60640



AMELIA HODGES                              AMELIA MILES                             AMELIA ZAMUDIO-FICKE
112E DEHAVEN COURT                         1639 E. 83RD STREET                      13015 W SPLIT RAIL CT
WILLIAMSBURG VA 23186                      CHICAGO IL 60617                         HOMER GLEN IL 60491




AMEN CLINICS INC                           AMER, ABED                               AMEREN CILCO
4019 WESTERLY PLACE SUITE 100              2778 E MARINA DR                         ACCT NO. 30208-03059
NEWPORT BEACH CA 92660                     FORT LAUDERDALE FL 33312                 P.O. BOX 668826
                                                                                    ST. LOUIS MO 63166-6826



AMEREN CILCO                               AMEREN CILCO                             AMEREN CILCO
ACCT NO. 67042-72173                       ACCT NO. 72834-34975                     ACCT NO. 86777-43054
P.O. BOX 668826                            P.O. BOX 668826                          P.O. BOX 668826
ST. LOUIS MO 63166-6826                    ST. LOUIS MO 63166-6826                  ST. LOUIS MO 63166-6826



AMEREN CILCO                               AMEREN CILCO                             AMEREN CILCO
ACCT NO. 89530-31210                       P.O. BOX 668826                          P.O. BOX 668825
P.O. BOX 668826                            ST. LOUIS MO 63166-6826                  ST. LOUIS MO 63166-6825
ST. LOUIS MO 63166-6826



AMEREN UE                                  AMEREN UE                                AMEREN UE
ACCT NO. 05071-50002                       ACCT NO. 23030-02004                     ACCT NO. 24100-07510
P.O. BOX 66301                             P.O. BOX 66301                           P.O. BOX 66301
ST. LOUIS MO 63166-6301                    ST. LOUIS MO 63166-6301                  ST. LOUIS MO 63166-6301



AMEREN UE                                  AMERENUE                                 AMERI CLEAN
P.O. BOX 66301                             PO BOX 66301                             PO BOX 716
ST. LOUIS MO 63166-6301                    ST LOUIS MO 63166                        DBA MIDWEST INDUSTRIES
                                                                                    HILLSIDE IL 60162




                                               Page 67 of 2387
                         Case 08-13141-BLS    Doc 17-1       Filed 12/08/08   Page 68 of 800
AMERI CLEAN                            AMERICAN ADVERTISING FEDERATION           AMERICAN ADVERTISING FEDERATION
PO BOX 838                             PO BOX 90096                              PO BOX 7408
LAGRANGE IL 60525                      WASHINGTON DC 20090                       ODESSA TX 79760




AMERICAN AIRLINES INC                  AMERICAN AIRLINES INC                     AMERICAN AIRLINES INC
PO BOX 70536                           4255 AMON CARTER BLVD                     AAIRPASS CUSTOMER SERVICE DEPT
DEPT 00897-5                           AIRPASS CUSTOMER SERVICE                  3050 REGENT BLVD-STE 400
CHICAGO IL 60673-0536                  MD 4106                                   IRVING TX 75063
                                       FT WORTH TX 76155


AMERICAN AIRLINES INC                  AMERICAN AIRLINES INC                     AMERICAN AIRLINES INC
AIRPASS CUSTOMER SVC                   PO BOX 619170                             PO BOX 619616
4200 AMON CARTR BLVD                   AIR PASS CUSTOMER SERVICES                DFW AIRPORT TX 75261-9616
MD 1395                                DALLAS FTWORTH ARPT TX 75261-9170
FT WORTH TX 76155


AMERICAN AIRLINES INC                  AMERICAN ANALYTICAL & ENVIRONMENTAL INC   AMERICAN ARBITRATION ASSOCIATION INC
PO BOX 845305                          738 FRONT ST                              3055 WILSHIRE BLVD 7TH FL
DALLAS TX 75284-5305                   CATASAUQUA PA 18032                       LOS ANGELES CA 90010




AMERICAN ARBITRATION ASSOCIATION INC   AMERICAN ARBITRATION ASSOCIATION INC      AMERICAN ARBITRATION ASSOCIATION INC
6795 N PALM AVE                        2200 CENTURY PKWY STE 300                 225 N MICHIGAN AVE STE 2527
FRESNO CA 93704                        ATLANTA GA 30345                          CHICAGO IL 60601-7601




AMERICAN ARBITRATION ASSOCIATION INC   AMERICAN ARBITRATION ASSOCIATION INC      AMERICAN ARBITRATION ASSOCIATION INC
AMERICAN CENTER BUILDING STE 1150      220 DAVIDSON AVENUE                       1633 BROADWAY
27777 FRANKLIN RD                      SOMERSET NJ 08873-4159                    10TH FL
SOUTHFIELD MI 48034-8208                                                         NEW YORK NY 10019



AMERICAN ARBITRATION ASSOCIATION INC   AMERICAN AUTOGARD CORP                    AMERICAN AUTOGARD CORP
950 WARREN AVE                         35985 EAGLE WAY                           5173 26TH AVENUE
EAST PROVIDENCE RI 02914               CHICAGO IL 60678-1359                     ATTN: DAVE SUTTON
                                                                                 815-633-8488 FAX
                                                                                 ROCKFORD IL 61109


AMERICAN AUTOGARD CORP                 AMERICAN AUTOGARD CORP                    AMERICAN BRAIN TUMOR ASSOCIATION
P O BOX 2116                           BIN 492                                   2720 RIVER RD
ROCKFORD IL 61130                      MILWAUKEE WI 53288-0492                   DES PLAINES IL 60018




AMERICAN BROADCASTING COMPANY          AMERICAN BROADCASTING COMPANY             AMERICAN BROADCASTING COMPANY
4151 PROSPECT AVE                      500 S BUENA VISTA ST                      PO BOX 10481
LOS ANGELES CA 90027                   BURBANK CA 91521-4509                     NEWARK NJ 07193-0481




AMERICAN BROADCASTING COMPANY          AMERICAN BROADCASTING COMPANY             AMERICAN BUILDING MAINTENANCE
77 W 66TH ST                           GPO 5092                                  LOCK BOX NO.91688
NEW YORK NY 10023                      NEW YORK NY 10087-5092                    COLLECTION CENTER DR
                                                                                 CHICAGO IL 60693




                                           Page 68 of 2387
                            Case 08-13141-BLS   Doc 17-1       Filed 12/08/08   Page 69 of 800
AMERICAN BUILDING MAINTENANCE            AMERICAN BUILDING MAINTENANCE            AMERICAN BUILDING MAINTENANCE CO
PO BOX 19459A                            PO BOX 7777-W6830                        5200 S EASTERN AVE
NEWARK NJ 07195-0459                     PHILADELPHIA PA 19175                    LOS ANGELES CA 90040




AMERICAN BUILDING MAINTENANCE CO         AMERICAN BUILDING MAINTENANCE CO         AMERICAN BUILDING MAINTENANCE CO
5200 S EERN AV                           PO BOX 19459A                            PO BOX 7777-W6830
LOS ANGELES CA 90040                     NEWARK NJ 07195-0459                     PHILADELPHIA PA 19175




AMERICAN CANCER SOCIETY                  AMERICAN CANCER SOCIETY                  AMERICAN CANCER SOCIETY
238 W TOWN ST                            372 DANBURY RD                           39 MERIDEN RD
NORWICH CT 06360                         WILTON CT 06897                          WATERBURY CT 06705




AMERICAN CANCER SOCIETY                  AMERICAN CANCER SOCIETY                  AMERICAN CANCER SOCIETY
C/O HIGHLAND PARK MARKET                 PO BOX 1004                              ATTN WEB
317 HIGHLAND ST                          MERIDEN CT 06450                         PO BOX 102454
MANCHESTER CT 06040                                                               ATLANTA GA 30368-2454



AMERICAN CANCER SOCIETY                  AMERICAN CANCER SOCIETY                  AMERICAN CANCER SOCIETY
100 TRI-STATE INT'L SUITE 125            17060 OAK PARK AVE                       1801 MEYERS RD
LINCOLNSHIRE IL 60069                    TINLEY PARK IL 60477                     OAK BROOK TERRACE IL 60181




AMERICAN CANCER SOCIETY                  AMERICAN CANCER SOCIETY                  AMERICAN CANCER SOCIETY
225 N MICHIGAN AVE STE 1210              6720 167TH STREET SUITE 3                77 E MONROE
CHICAGO IL 60601                         TINLEY PARK IL 60477                     13TH FLR
                                                                                  CHICAGO IL 60603



AMERICAN CANCER SOCIETY                  AMERICAN CANCER SOCIETY                  AMERICAN CANCER SOCIETY
820 DAVIS ST STE 340                     820 DAVIS ST SUITE 400                   PO BOX 3163
EVANSTON IL 60201                        EVANSTON IL 60201                        BOSTON MA 02241-3163




AMERICAN CANCER SOCIETY                  AMERICAN CANCER SOCIETY                  AMERICAN CANCER SOCIETY
ATTN JENNY H MCGILL                      1393 PROGRESS WAY STE 908                8219 TOWN CENTER DRIVE
8219 TOWN CENTER DR                      ELDERSBURG MD 21784                      BALTIMORE MD 21236
BALTIMORE MD 21236



AMERICAN CANCER SOCIETY                  AMERICAN CANCER SOCIETY                  AMERICAN CANCER SOCIETY
P.O. BOX 43026                           507 WESTMINSTER AVE                      75 DAVIDS DRIVE
BALTIMORE MD 21236                       ELIZABETH NJ 07208                       HAUPPAUGE NY 11788




AMERICAN CANCER SOCIETY                  AMERICAN CANCER SOCIETY                  AMERICAN CANCER SOCIETY
19 W 56TH ST                             839 NO.WART AVE NASSAU REGION            839 STEWART AVE
NEW YORK NY 10014                        GARDEN CITY NY 11530                     NASSAU REGION
                                                                                  GARDEN CITY NY 11530




                                             Page 69 of 2387
                          Case 08-13141-BLS   Doc 17-1       Filed 12/08/08   Page 70 of 800
AMERICAN CANCER SOCIETY                AMERICAN CANCER SOCIETY                  AMERICAN CANCER SOCIETY
915 COUNTY RT 46                       959 ST RT 9 MT ROYAL PLAZA               2121 CITY LINE RD
FT EDWARD NY 12828                     QUEENSBURY NY 12804                      BETHLEHEM PA 18017




AMERICAN CANCER SOCIETY                AMERICAN CANCER SOCIETY                  AMERICAN CANCER SOCIETY
3893 ADLER PL                          RTE 422 & SITE AVE                       11835 CANON BLVD STE 102
BETHLEHEM PA 18017                     ATTN ED LORD                             NEWPORT NEWS VA 23606
                                       HERSHEY PA 17033



AMERICAN CANCER SOCIETY                AMERICAN CANCER SOCIETY                  AMERICAN CANCER SOCIETY
729 THIMBLE SHOALS BLVD                895 MIDDLE GROUND BLVD                   ATTN SUSIE BRADY
STE 3-C                                STE 154                                  2730 ELLSMERE AVE
NEWPORT NEWS VA 23606                  NEWPORT NEWS VA 23606                    NORFOLK VA 23513



AMERICAN CHECKWRITER CO INC            AMERICAN CHECKWRITER CO INC              AMERICAN CHECKWRITER CO INC
121 WEST 27 STREET SUITE 304           263 W 30TH ST                            761 SIXTH AVE 2ND FLR
NEW YORK NY 10001                      NEW YORK NY 10001-2801                   NEW YORK NY 10010




AMERICAN COLOR GRAPHICS                AMERICAN COLOR GRAPHICS                  AMERICAN COLOR GRAPHICS
5999 AVENIDA ENCINAS NO.100            PO BOX 198344                            PO BOX 409597
CARLSBAD CA 92008                      ATLANTA GA 30384-8344                    ATLANTA GA 30384-9597




AMERICAN COLOR GRAPHICS                AMERICAN COLOR GRAPHICS                  AMERICAN COLOR GRAPHICS
810 S STREET                           13118 COLLECTION CENTER DRIVE            611 W ADAMS
ATTN: CHRIS FULLMER                    CHICAGO IL 60693                         CHICAGO IL 60661
MARENDO IA 52301



AMERICAN COLOR GRAPHICS                AMERICAN COLOR GRAPHICS                  AMERICAN COLOR GRAPHICS
PO BOX 65641                           2500 WALDEN AVE                          PO BOX 841174
CHARLOTTE NC 28265                     BUFFALO NY 14225                         DALLAS TX 75284




AMERICAN COLOR GRAPHICS                AMERICAN COLOR GRAPHICS                  AMERICAN COLOR GRAPHICS
PO BOX 841190                          PO BOX 841281                            PO BOX 841304
DALLAS TX 75284-1190                   DALLAS TX 75284-1281                     DALLAS TX 75284-1304




AMERICAN COMMERCIAL SERVICES INC       AMERICAN COMMERCIAL SERVICES INC         AMERICAN COPY EDITORS SOCIETY
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SAN MARINO CA 91108                    PASADENA CA 91031                        HOFFMAN ESTATES IL 60195-2503




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THE BALTIMORE SUN                      MINNEAPOLIS MN 55488
BALTIMORE MD 21278




                                           Page 70 of 2387
                         Case 08-13141-BLS    Doc 17-1      Filed 12/08/08   Page 71 of 800
AMERICAN COPY EDITORS SOCIETY         AMERICAN COPY EDITORS SOCIETY            AMERICAN COPY EDITORS SOCIETY
803 DOGWOOD                           PO BOX 655237                            38309 GENESEE LAKE RD
C/O JUDY STRATTON                     DALLAS TX 76265                          OCONOMOWOC WI 53066
CEDAR HILL TX 75104



AMERICAN COPY EDITORS SOCIETY         AMERICAN DIABETES ASSOCIATION            AMERICAN DIABETES ASSOCIATION
ATTN: CAROL DEMASTERS ADMINISTRATOR   C/O SOUTH BAY FORD PREMEAUX              DAVID MCDONALD, ANALYST
38309 GENESEE LAKE RD                 PO BOX 15550                             306 INDUSTRIAL PARK RD
OCONOMO WOC WI 53066                  HAWTHORNE CA 90251                       MIDDLETOWN CT 06457



AMERICAN DIABETES ASSOCIATION         AMERICAN DIABETES ASSOCIATION            AMERICAN DIABETES ASSOCIATION
1101 N LAKE DESTINY ROAD              1500 W CYPRESS CREED RD STE 104          3 CORPORATE SQUARE
SUITE 415                             FT LAUDERDALE FL 33309                   STE 120
MAITLAND FL 32751                                                              ATLANTA GA 30329



AMERICAN DIABETES ASSOCIATION         AMERICAN DIABETES ASSOCIATION            AMERICAN DIABETES ASSOCIATION
30 N MICHIGAN AVE  STE 2015           3340 SEVERN AVE                          7 WASHINGTON SQUARE
CHICAGO IL 60602                      STE 360                                  ALBANY NY 12205
                                      METAIRIE LA 70002



AMERICAN DIABETES ASSOCIATION         AMERICAN DIABETES ASSOCIATION            AMERICAN DIABETES ASSOCIATION
2045 W GATE DR                        1701 N BEAUREGARD STREET                 PO BOX 1131
BETHLEHEM PA 18017                    ALEXANDRIA VA 22311-1717                 FAIRFAX VA 22038-1131




AMERICAN DOCUMENTARIES INC            AMERICAN ELECTRONICS RECYCLING           AMERICAN ELECTRONICS RECYCLING
PO BOX 613                            20212 87TH AVE S                         PO BOX 392
WALPOLE NH 03608                      KENT WA 98014                            CARNATION WA 98014




AMERICAN EXPRESS                      AMERICAN EXPRESS                         AMERICAN EXPRESS
2002 NORTH 19TH AVE                   ATTN: CORPORATE REMITTANCE (CPC)         CORPORATE SERVICES
MAIL CODE A-21                        FINANCIAL RESOURCE CTR., BLDG. A, F      PO BOX 53703
PHOENIX AZ 85027                      20002 N. 19TH AVE. A/C 3787-01069-       PHOENIX AZ 85072-3703
                                      PHOENIX AZ 85027


AMERICAN EXPRESS                      AMERICAN EXPRESS                         AMERICAN EXPRESS
FINANCIAL RESOURCE CENTER             PO BOX 53765                             TRAVEL RELATED SERVICES CO INC
PO BOX 53618                          ATTN DISBURSING                          PO BOX 53773
PHOENIX AZ 85072-3618                 PHOENIX AZ 85072                         PHOENIX AZ 85072



AMERICAN EXPRESS                      AMERICAN EXPRESS                         AMERICAN EXPRESS
7TH ST MARKET PLACE                   801 SOUTH GRAND AVE SUITE 500            BOX 0001
LOS ANGELES CA 90017                  LOS ANGELES CA 90017                     LOS ANGELES CA 90096-0001




AMERICAN EXPRESS                      AMERICAN EXPRESS                         AMERICAN EXPRESS
TRAVEL RELATED SERVICES CO, INC.      TRAVELER'S CHEQUES SETTLEMENT            ATTN US PAYMENT FLORIDA
PO BOX 0001                           LOS ANGELES CA 90096                     2965 W CORPORATE LAKE BLVD
LOS ANGELES CA 90096                                                           WESTON FL 33331




                                          Page 71 of 2387
                             Case 08-13141-BLS    Doc 17-1        Filed 12/08/08   Page 72 of 800
AMERICAN EXPRESS                          AMERICAN EXPRESS                           AMERICAN EXPRESS
CPC REMITTANCE PROCESSING                 PO BOX 297879                              PO BOX 5207
PO BOX 329000                             FT LAUDERDALE FL 33329-7879                FT LAUDERDALE FL 33310-5207
WESTON FL 33332-0001



AMERICAN EXPRESS                          AMERICAN EXPRESS                           AMERICAN EXPRESS
TRAVEL RELATED SERVICES CO INC            PO BOX 530001                              1450 PLAINFIELD RD STE NO.4
PO BOX 360001                             ATLANTA GA 30353-0001                      DARIEN IL 60561
FT LAUDERDALE FL 33336-0001



AMERICAN EXPRESS                          AMERICAN EXPRESS                           AMERICAN EXPRESS
300 S RIVERSIDE PL                        605 N MICHIGAN AVE                         625 N MICHIGAN AVENUE
9TH FLOOR SOUTH                           CHICAGO IL 60611                           CHICAGO IL 60611
CHICAGO IL 60606



AMERICAN EXPRESS                          AMERICAN EXPRESS                           AMERICAN EXPRESS
ATTN REMITTANCE PROCESSING CENTER         TRAVEL RELATED SERVICES CO INC             TRAVEL RELATED SERVICES CO INC
300 S RIVERSIDE PLAZA                     STE 0001                                   FEE CENTRAL BILLING
9TH FL SOUTH                              CHICAGO IL 60679-0001                      SUITE 0001
CHICAGO IL 60606                                                                     CHICAGO IL 60679-0001


AMERICAN EXPRESS                          AMERICAN EXPRESS                           AMERICAN EXPRESS
TRAVEL RELATED SERVICES CO INC            TRAVEL RELATED SVCS CO INC                 201 ST CHARLES
SUITE 0005                                SUITE 0001                                 STE 112
CHICAGO IL 60679-0005                     CHICAGO IL 60679                           NEW ORLEANS LA 70170



AMERICAN EXPRESS                          AMERICAN EXPRESS                           AMERICAN EXPRESS
1309 N HIGHWAY DR                         INCENTIVE SERVICES                         PO BOX 114
FENTON MO 63009                           PO BOX 503103                              NEWARK NJ 07101-0114
                                          ST LOUIS MO 63150



AMERICAN EXPRESS                          AMERICAN EXPRESS                           AMERICAN EXPRESS
PO BOX 327                                TRAVEL RELATED SERVICES                    PO BOX 2855
NEWARK NJ 07101-0327                      PO BOX 1270                                NEW YORK NY 10116-2855
                                          NEWARK NJ 07101-1270



AMERICAN EXPRESS                          AMERICAN EXPRESS                           AMERICAN EXPRESS
PO BOX 42010                              PO BOX 630002                              PO BOX 650448
PHILADELPHIA PA 19162-4201                DALLAS TX 75363-0002                       DALLAS TX 75265-0448




AMERICAN EXPRESS                          AMERICAN EXPRESS                           AMERICAN EXPRESS
TRAVEL RELATED SERVICE CO                 CASHIER OPERATIONS                         CASHIER OPERATIONS
PO BOX 630001                             PO BOX 27234                               4315 S 2700 W
DALLAS TX 75363                           SALT LAKE CITY UT 84127-0234               SALT LAKE CITY UT 84184-4030



AMERICAN EXPRESS                          AMERICAN EXPRESS INCENTIVE SERVICES        AMERICAN EXPRESS INCENTIVE SERVICES
TRAVEL RELATED SERVICES COMPANY           1309 N HIGHWAY DR                          1400 SOUTH HIGHWAY DRIVE
PO BOX 31556                              FENTON MO 63099                            ST LOUIS MO 63099
SALT LAKE CITY UT 84131




                                              Page 72 of 2387
                          Case 08-13141-BLS   Doc 17-1       Filed 12/08/08   Page 73 of 800
AMERICAN EXPRESS INCENTIVE SERVICES    AMERICAN EXPRESS INCENTIVE SERVICES      AMERICAN EXPRESS TRAVEL
C/O ENTERPRISE BANK                    PO BOX 66936                             2002 N 19TH AVE
ATTN LOCKBOX DEPT BOX 66936            ST LOUIS MO 63166                        MAIL CODE A 21
1281 N WARSON RD                                                                PHOENIX AZ 85027
ST LOUIS MO 63132


AMERICAN EXPRESS TRAVEL                AMERICAN EXPRESS TRAVEL                  AMERICAN EXPRESS TRAVEL
AR FC WEST                             BOX 0001                                 TRAVEL RELATED SERVICES CO INC
PO BOX 53618                           LOS ANGELES CA 90096-0001                PO BOX 360001
PHOENIX AZ 85072-3618                                                           FT LAUDERDALE FL 33336-0001



AMERICAN EXPRESS TRAVEL                AMERICAN EXPRESS TRAVEL                  AMERICAN FEDERATION OF TELEVISION
PO BOX 804247                          TRAVEL RELATED SVC CO INC NO. 0001       AND RADIO ARTISTS (NEWSPERSONS)
CHICAGO IL 60680-4104                  CHICAGO IL 60679-0001                    5757 WILSHIRE BOULEVARD
                                                                                9TH FLOOR
                                                                                LOS ANGELES CA 90036-3689


AMERICAN FEDERATION OF TELEVISION      AMERICAN FEDERATION OF TELEVISION &      AMERICAN FIRST CHOICE CLEANERS INC
AND RADIO ARTISTS (NEWSPERSONS)        RADIO ARTISTS (NEWSPERSONS)              PO BOX 294
260 MADISON AVENUE                     ONE EAST ERIE                            NAZARETH PA 18064
NEW YORK NY 10016                      SUITE 650
                                       CHICAGO IL 60611


AMERICAN FLUID POWER CO INC            AMERICAN FLUID POWER CO INC              AMERICAN FOOTHILL PUBLISHING CO
12540 HOLIDAY DRIVE                    2743 W. 51ST STREET                      10009 COMMERCE AVE
UNIT D                                 CHICAGO IL 60632                         TUJUNGA CA 91042
ALSIP IL 60803-3234



AMERICAN FRIENDS SERVICES COMMITTEE    AMERICAN GENERAL FINANCE                 AMERICAN GENERAL LIFE INSURANCE
CT AREA OFFICE                         10 N MAIN ST                             NO.1 FRANKLIN SQUARE
56 ARBOR ST                            BEL AIR MD 21014                         SPRINGFIELD IL 62713-0001
HARTFORD CT 06106



AMERICAN GI FORUM OF ILLINOIS          AMERICAN GI FORUM OF ILLINOIS            AMERICAN GIRL PLACE INC
1725 35TH ST APT 2136                  ATTN ALFRED P GALVAN COMMANDER           111 E CHICAGO AVE
OAK BROOK IL 60523                     CHICAGO MIDWEST CHAPTER                  CHICAGO IL 60611
                                       1401 S STEWART
                                       LOMBARD IL 60148


AMERICAN GIRL PLACE INC                AMERICAN HEART ASSOCIATION               AMERICAN HEART ASSOCIATION
737 N MICHIGAN AVE NO.1500             750 LAKE SHORE PARKWAY                   780 NORTH NOGALES ST
CHICAGO IL 60611                       BIRMINGHAM AL 35211                      CITY OF INDUSTRY CA 91748




AMERICAN HEART ASSOCIATION             AMERICAN HEART ASSOCIATION               AMERICAN HEART ASSOCIATION
WESTERN STATES AFFILIATE               1280 S PARKER RD                         5 BROOKSIDE DR
816 S FIGUEROA ST                      DENVER CO 80231                          WALLINGFORD CT 06492
LOS ANGELES CA 90017



AMERICAN HEART ASSOCIATION             AMERICAN HEART ASSOCIATION               AMERICAN HEART ASSOCIATION
1150 CONN AVE NW SUITE 300             237 E MARKS ST                           600 NE SPANISH RIVER BLVD NO.22
WASHINGTON DC 20036                    ORLANDO FL 32803                         ATTN VALERIE PRESTON MERCADO
                                                                                BOCA RATON FL 33431




                                           Page 73 of 2387
                        Case 08-13141-BLS   Doc 17-1       Filed 12/08/08   Page 74 of 800
AMERICAN HEART ASSOCIATION           AMERICAN HEART ASSOCIATION               AMERICAN HEART ASSOCIATION
6430 NW 5TH WAY                      9900 NINTH ST N                          208 S. LASALLE STREET
FT LAUDERDALE FL 33309               ST PETERSBURG FL 33716                   SUITE 900
                                                                              CHICAGO IL 60604



AMERICAN HEART ASSOCIATION           AMERICAN HEART ASSOCIATION               AMERICAN HEART ASSOCIATION
3816 PAYSPHERE CIRCLE                6100 W 96TH ST STE 200                   5375 SW 7TH ST
CHICAGO IL 60674                     INDIANAPOLIS IN 46278                    TOPEKA KS 66606




AMERICAN HEART ASSOCIATION           AMERICAN HEART ASSOCIATION               AMERICAN HEART ASSOCIATION
20 SPEEN ST                          2550 US RTE ONE                          125 E BETHPAGE RD
FRAMINGHAM MA 07101-4688             N BRUNSWICK NJ 08902                     PLAINVIEW NY 11803




AMERICAN HEART ASSOCIATION           AMERICAN HEART ASSOCIATION               AMERICAN HEART ASSOCIATION
301 MANCHESTER RD STE 305            QUEENSBURY REGION                        212 E BROAD ST
POUGHKEEPSIE NY 12603                440 NEW KARNER RD                        P O BOX 1392
                                     ALBANY NY 12205                          BETHLEHEM PA 18016-1392



AMERICAN HEART ASSOCIATION           AMERICAN HEART ASSOCIATION               AMERICAN HEART ASSOCIATION
2997 CAPE HORN ROAD                  625 W RIDGE PIKE  STE A-100              C/O DOROTHY RYDER POOL HEALTH
RED LION PA 17356                    CONSHOHOCKEN PA 19428                    CARE TRUST SUITE 202
                                                                              1050 S CEDAR CREST BLVD
                                                                              ALLENTOWN PA 18103


AMERICAN HEART ASSOCIATION           AMERICAN HEART ASSOCIATION               AMERICAN HEART ASSOCIATION
7272 GREENVILLE AVE                  4217 PARK PLACE COURT                    ATTN: MARCIA MCGILL
NATIONAL CENTER                      GLEN ALLEN VA 23060                      360 SOUTHPORT CIR
DALLAS TX 75231                                                               STE 104
                                                                              VIRGINIA BEACH VA 23452


AMERICAN HEART ASSOCIATION           AMERICAN HEART ASSOCIATION               AMERICAN HELPDESK LLC
2850 DAIRY DR  STE 300               BLAIN SUPPLY INC - ATTN: DOUG KENT       14902 PRESTON ROAD SUITE 404-725
MADISON WI 53718                     PO BOX 391, 3507 E RACINE ST             DALLAS TX 75254
                                     JANESVILLE WI 53547



AMERICAN HERITAGE PROTECTIVE         AMERICAN HERITAGE PROTECTIVE             AMERICAN HERITAGE PROTECTIVE
7000 W 111TH ST NO.101               SERVICES INC                             SERVICES INC
WORTH IL 60482                       PO BOX 42660                             PO BOX 624
                                     EVERGREEN PARK IL 60805                  WORTH IL 60482



AMERICAN INDUSTRIAL CENTER           AMERICAN INDUSTRIAL CENTER               AMERICAN INDUSTRIAL CENTER LTD
RE: LONGWOOD 900 RECYCLING PT        RE: OVIEDO 610 KANE CT.                  200 VIA DE LAGO
830 SOUTH CR 427                     830 SOUTH CR 427                         ALTAMONTE SPRINGS FL 32701
SUITE 162                            SUITE 162
LONGWOOD FL 32750                    LONGWOOD FL 32750


AMERICAN INDUSTRIAL CENTER LTD       AMERICAN INDUSTRIAL CENTER, LTD.         AMERICAN INDUSTRIAL CENTER, LTD.
830 SOUTH CR 427                     RE: LONGWOOD 900 RECYCLING PT            RE: OVIEDO 610 KANE CT.
SUITE 162                            ATTN: DANIEL J. WOODS                    ATTN: DANIEL J. WOODS
LONGWOOD FL 32750                    200 VIA DE LAGO                          200 VIA DE LAGO
                                     ALTAMONTE SPRINGS FL 32701               ALTAMONTE SPRINGS FL 32701




                                         Page 74 of 2387
                             Case 08-13141-BLS   Doc 17-1       Filed 12/08/08   Page 75 of 800
AMERICAN IRELAND FUND                     AMERICAN IRELAND FUND                    AMERICAN IRELAND FUND
1488 36TH AVE                             211 CONGRESS ST                          4701 SANGAMORE RD   STE N212
SAN FRANCISCO CA 94122                    10TH FLOOR                               BETHESDA MA 20816
                                          BOSTON MA 02110



AMERICAN IRELAND FUND                     AMERICAN JEWISH PRESS ASSOCIATION        AMERICAN LEGION POST 38
5910 GLONO.R RD                           1255 NEW HAMPSHIRE AVE NW STE 702        140 MAIN ST
BETHESDA MA 20816                         WASHINGTON DC 20036                      TORRINGTON CT 06790




AMERICAN LIGHTING PRODUCTS                AMERICAN LIGHTING PRODUCTS               AMERICAN LIGHTING PRODUCTS
17716 CHATSWORTH ST                       18781 BRAEMORE RD                        PO BOX 1884
GRANADA HILLS CA 91344                    NORTHRIDGE CA 91326                      THOUSAND OAKS CA 91358




AMERICAN LIST COUNSEL INC                 AMERICAN LIST COUNSEL INC                AMERICAN LITHO INC
PO BOX 32189                              4300 US HIGHWAY 1                        160 E ELK TRAIL
HARTFORD CT 06150-2189                    CN5219                                   CAROL STREAM IL 60188
                                          PRINCETON NY 08843



AMERICAN LITHO INC                        AMERICAN MAINTENANCE DIV OF ACA IND      AMERICAN PACKAGING GROUP INC
PO BOX 4714 DEPT R                        385 W MAIN ST                            5910 WHITEWATER CIRC
CAROL STREAM IL 60197-4714                BABYLON NY 11702                         SALT LAKE CITY UT 84121-1560




AMERICAN PAVILION INC                     AMERICAN PRESS INSTITUTE                 AMERICAN PRESS INSTITUTE
1107 1/2 GLENDON AVE                      11690 SUNRISE VALLEY DRIVE               ATTN: PATRICIA DEFRANCESCO
LOS ANGELES CA 90024                      RESTON VA 22091-1498                     11690 SUNRISE VALLEY DR
                                                                                   RESTON VA 20191-1498



AMERICAN PRESS PARTS                      AMERICAN RED CROSS                       AMERICAN RED CROSS
2620 AUBURN STREET                        2025 EAST ST NW 7TH FLR                  2200 AVENUE A
ROCKFORD IL 61101                         WASHINGTON DC 20006                      BETHLEHEM PA 18017




AMERICAN RED CROSS                        AMERICAN RED CROSS                       AMERICAN RED CROSS
SE PA CHNO.ER 23RD & CHESTNUT STS         GREATER HOUSTON AREA CHAPTER             HAMPTON ROADS CHAPTER
PHILADELPHIA PA 19103                     PO BOX 397                               4915 W MERCURY BLVD
                                          HOUSTON TX 77001-0397                    NEWPORT NEWS VA 23605



AMERICAN RED CROSS                        AMERICAN REPORGRAPHIC COMPANY            AMERICAN REPORGRAPHIC COMPANY
2600 W WISCONSIN AVE                      1740 STANFORD ST                         700 N CENTRAL NO.550
MILWAUKEE WI 53233                        SANTA MONICA CA 90404                    GLENDALE CA 91203




AMERICAN REPORGRAPHIC COMPANY             AMERICAN ROLLER CO                       AMERICAN ROLLER CO
PO BOX 1507                               3697 PAYSPHERE CIRC                      14910 CROSS CREEK IND PK
S PASADENA CA 91031-1507                  CHICAGO IL 60674                         NEWBURY OH 44065




                                              Page 75 of 2387
                          Case 08-13141-BLS     Doc 17-1      Filed 12/08/08    Page 76 of 800
AMERICAN ROLLER CO                      AMERICAN ROLLER CO                        AMERICAN SCHOOL FOR THE DEAF
1123 HARPETH INDUSTRIAL CT              1440 THIRTEENTH AVENUE                    139 N MAIN ST
FRANKLIN TN 37064                       UNION GROVE WI 53182                      WEST HARTFORD CT 06107




AMERICAN SEAFOODS GROUP LLC             AMERICAN SHIPPING COMPANY                 AMERICAN SIGN SHOPS
2025 FIRST AVE STE 900                  6131 SW 156 CT                            3461 N CLARK STREET
SEATTLE WA 98121                        MIAMI FL 33193                            CHICAGO IL 60657




AMERICAN SOCIETY OF NEWSPAPER EDITORS   AMERICAN STUDENT LIST LLC                 AMERICAN SUZUKI AUTOMOTIVE CREDIT INC
FOUNDATION                              330 OLD COUNTRY RD                        PO BOX 6508
11690 B SUNRISE VALLEY DRIVE            MINEOLA NY 11501                          MESA AZ 85216-6508
RESTON VA 20191



AMERICAN SUZUKI AUTOMOTIVE CREDIT INC   AMERICAN TOWER CORPORATION                AMERICAN TOWER CORPORATION
C/O BRAY & SINGLETARY, PA               RE: PHILADELPHIA 310 DOMINO L             RE: PHILADELPHIA 310 DOMINO L
PO BOX 5317                             ATTN: ACCOUNTS RECEIVABLE DEPT.           ATTN: LEGAL COUNSEL
JACKSONVILLE FL 32201                   PO BOX 30000, DEPT. 5305                  690 CANTON ST.
                                        HARTFORD CT 06150-5305                    WESTWOOD MA 02090


AMERICAN TOWER CORPORATION              AMERICAN TOWER CORPORATION                AMERICAN TOWER CORPORATION
RE: PHILADELPHIA 329 DOMINO L           RE: PHILADELPHIA 329 DOMINO L             PO BOX 30000
BROADCAST TOWER GROUP,                  PO BOX 30000, DEPT. 5305                  HARTFORD CT 06150-5305
ATTN: LEGAL COUNSEL, 690 CANTON ST.     HARTFORD CT 06150-5305
WESTWOOD MA 02090


AMERICAN TOWER CORPORATION              AMERICAN TOWER CORPORATION                AMERICAN TOWER CORPORATION
PO BOX 31534                            10 PRESIDENTIAL WAY                       690 CANTON ST
HARTFORD CT 06150-1534                  WOBURN MA 01801                           STE 207
                                                                                  WESTWOOD MA 02090



AMERICAN TOWER CORPORATION - NE         AMERICAN TOWER CORPORATION - NE           AMERICAN UNITED LIFE INS. CO
OFFICE, RE: PHILADELPHIA 310 DOMINO L   OFFICE, RE: PHILADELPHIA 329 DOMINO L     MORTGAGE ACCOUNTING DEPT
ATTN: LEASE ADMINISTRATION              ATTN: LEASE ADMINISTRATION                LOAN NO. 63-20803
116 HUNTINGTON AVENUE                   116 HUNTINGTON AVENUE                     PO BOX 95666
BOSTON MA 02116                         BOSTON MA 02116                           CHICAGO IL 60694


AMERICAN UNITED LIFE INS. CO            AMERICAN UNITED LIFE INSURANCE CO.        AMERICAN WATER (IL AMERICAN WATER)
MORTGAGE LOAN ACCOUNTING                RE: HICKORY HILLS 7715 W 99TH             1410 DISCOVERY PARKWAY
LOAN NO 2080301                         ONE AMERICAN SQUARE                       ALTON IL 62002
5875 RELIABLE PRKWY                     PO BOX 368
CHICAGO IL 60686                        INDIANAPOLIS IN 46206-0368


AMERICAN WOMEN IN RADIO & TELEVISION    AMERICAN WOMEN IN RADIO & TELEVISION      AMERICAN WOMEN IN RADIO & TELEVISION
2351 SUNSET BLVD                        7485 RUSH RIVER DRIVE SUITE 710           PO BOX 254468
SUITE 170, PMBNO.247                    PMB NO.308                                SACRAMENTO CA 95865-4468
ROCKLIN CA 95765                        SACRAMENTO CA 95865-4468



AMERICAN ZURICH INSURANCE COMPANY       AMERICAS CAPITAL PARTNERS LLC             AMERICAS CAPITAL PARTNERS LLC
550 W WASHINGTON                        RE: ATLANTA 229 PEACHTREE                 RE: ATLANTA 229 PEACHTREE
SUITE 1300                              ATTN: PROPERTY MANAGER                    ATTN: PROPERTY MANAGER
CHICAGO IL 60661                        444 BRICKELL AVE. SUITE 900               225 PEACHTREE STREET, SUITE 200
                                        MIAMI FL 33131                            ATLANTA GA 30303




                                            Page 76 of 2387
                         Case 08-13141-BLS   Doc 17-1         Filed 12/08/08   Page 77 of 800
AMERICAS EDUCATION GUIDE INC          AMERICO TORRES                             AMERICO VOLPE
PO BOX 51000                          257 S. 2ND AVENUE                          101 RANDAL AVE
JACKSONVILLE FL 32240                 LA PUENTE CA 91746                         WEST HARTFORD CT 06110




AMERIGAS - GARDENA                    AMERIGAS - GARDENA                         AMERIGAS - GARDENA
16800 S. MAIN STREET                  PO BOX 7155                                PO BOX 79140
GARDENA CA 90248                      PASADENA CA 91109-7155                     CITY OF INDUSTRY CA 91716-9140




AMERIGIVES INC                        AMERIGO MARITANO                           AMERIMARK
2793 SE MONROE ST                     10 FOREST COURT                            405 S ROLLING RD
STUART FL 34997                       TORRINGTON CT 06790                        CATONSVILLE MD 21228




AMERIPRIDE UNIFORM SERVICE            AMERISAFE SAFETY SUPPLIES                  AMERISAFE SAFETY SUPPLIES
5950 ALCOA AVE                        2050 N. 15TH AVENUE                        3990 ENTERPRISE CT
VERNON CA 90058                       MELROSE PARK IL 60160                      AURORA IL 60504




AMERITECH                             AMERITECH                                  AMERITECH
1 N DEARBORN STE 11                   225 WEST RANDOLPH                          BILL PAYMENT CENTER
ATTN GARY                             CHICAGO IL 60606                           CHICAGO IL 60663-0001
CHICAGO IL 60603



AMERITECH                             AMERITECH                                  AMERITECH
ILLINOIS CABS                         PO BOX 4520                                PO BOX 95608
PO BOX 8102                           CAROL STREAM IL 60197-4520                 ADVANCED DATA SERVICES
AURORA IL 60507-8102                                                             CHICAGO IL 60694-6608



AMERITECH                             AMERITECH                                  AMERITOURS
PO BOX 1838                           PO BOX 2356                                6339 W THORNDALE AVE
ADVANCED DATA SERVICES                ASBS                                       CHICAGO IL 60631
SAGINAW MI 48605-1838                 SAGINAW MI 48605-2356



AMES, DAVID WILLIAM                   AMES, LORI                                 AMEZCUA, EFFIE R
10 TEN O'CLOCK LANE                   81 WHALERS COVE                            9931 SW 1ST CT
WESTON CT 06883                       BABYLON NY 11702                           CORAL SPRINGS FL 33071




AMI SAFETY INC                        AMIE BURGHARDT                             AMIE DAVIS
434 OLD COURTHOUSE RD                 853 IRVING DRIVE                           3270 SW 1ST COURT
VIENNA VA 22180                       BURBANK CA 91504                           DEERFIELD BEACH FL 33442




AMIE PRITCHETT                        AMIEL CUETO, PRO SE                        AMINA KHAN
2901 BRIARHURST DRIVE                 7110 WEST MAIN ST                          906 S. MANSFIELD AVE.
APT. #602                             BELLEVILLE IL 62223                        APT. 4
HOUSTON TX 77057                                                                 LOS ANGELES CA 90036




                                          Page 77 of 2387
                             Case 08-13141-BLS    Doc 17-1       Filed 12/08/08   Page 78 of 800
AMIOT, JOHN W                             AMIR KENAN                                AMIR NOORI
4971 RABAMA PL                            8550 CASHIO ST.                           1958 DRACENA DR
ORLANDO FL 32812                          LOS ANGELES CA 90035                      LOS ANGELES CA 90027




AMIR SALEH                                AMIRA RIDA                                AMISH SHAH
5102 WHITMAN WAY                          230 BAY STREET                            305 NORTH KASPAR AVENUE
APT 112                                   APT #11                                   2A
CARLSBAD CA 92008                         SANTA MONICA CA 90405                     ARLINGTON HEIGHTS IL 60005



AMISTAD FOUNDATION                        AMIT GROVER                               AMITIN, SETH
ATTN OLIVIA WHITE                         122 CHESSLEE ROAD                         3035 COUNTRY CLUB DR
600 MAIN STREET                           EAST HARTFORD CT 06108                    GLENDALE CA 91208
HARTFORD CT 06103



AMITYVILLE CHAMBER OF COMMERCE            AMITYVILLE CHAMBER OF COMMERCE            AMLINGS FLOWERLAND INC
PO BOX 885                                PO BOX 985                                540 W OGDEN AVE
AMITYVILLE NY 11701                       AMITYVILLE NY 11701                       HINSDALE IL 60521




AMLINGS FLOWERLAND INC                    AMLINGS FLOWERLAND INC                    AMLINGS FLOWERLAND INC
PO BOX 3219                               PO BOX 3874                               PO BOX 4654
OAK BROOK IL 60521-3219                   OAKBROOK IL 60521-3874                    OAK BROOK IL 60521-4654




AMLINGS FLOWERLAND INC                    AMLINGS INTERIOR LANDSCAPE                AMLINGS INTERIOR LANDSCAPE
PO BOX 88688                              540 W OGDEN AVE                           PO BOX 3219
CAROL STREAM IL 60188-0688                HINSDALE IL 60521                         OAK BROOK IL 60521-3219




AMLINGS INTERIOR LANDSCAPE                AMMERAAL BELTECH                          AMMERAAL BELTECH
PO BOX 88688                              930 MONTEREY PASS RD                      PO BOX 90351
CAROL STREAM IL 60188-0688                MONTEREY PARK CA 91754                    CHICAGO IL 60696-0351




AMMESON, JANE                             AMMONS, NICOLE L                          AMN INFO MARKETING LLC
178 GRAND BOULEVARD                       5440 ALBERT DRIVE                         1869 GRAY COURT
BENTON HARBOR MI 49022                    WINTER PARK FL 32792                      GARDENVILLE NV 89410




AMO PRODUCTIONS INC                       AMO PRODUCTIONS INC                       AMOAKOH, KOJO
1519 ANCONA AV                            5161 COLLINS AVE    APT 516               17 DEERFIELD CT UNIT D
CORAL GABLES FL 33146                     MIAMI BEACH FL 33140                      EAST HARTFORD CT 06108-3425




AMODIO MOVING & STORAGE                   AMOR L CROWE                              AMORIM, KEVIN
ATTN FRANK AMODIO                         313 NEWFIELD RD                           577 GOLDEN BEACH DR
ONE HARTFORD SQUARE                       GLEN BURNIE MD 21061                      GOLDEN BEACH FL 33160
NEW BRITAIN CT 06052




                                              Page 78 of 2387
                           Case 08-13141-BLS    Doc 17-1       Filed 12/08/08   Page 79 of 800
AMOROCHO, LUIS                          AMOROSINO, ALICE                          AMOROSO, NICHOLAS
3308 N OCTAVIA AVE      00250           333 JULIA ST APT 509                      15203 DICKENS ST NO.11
CHICAGO IL 60634                        NEW ORLEANS LA 70130                      SHERMAN OAKS CA 91403




AMORY, SARAH                            AMOS ALONZO STAGG                         AMOS, KAREN S
6288 CENTERVILLE RD                     8015 W 111TH ST                           128 BEECHBANK RD
WILLIAMSBURG VA 23188                   PALOS HILLS IL 60465                      WHITEHALL OH 43213




AMOS, KENNETH                           AMOS, SARAH                               AMPARO ESQUIVEL
833 ROZIE WAY SW                        11810 NW 5 ST                             9511 SUNLAND BOULEVARD
ATLANTA GA 30331                        PLANTATION FL 33325                       SUNLAND CA 91040




AMPCO SYSTEM PARKING                    AMPCO SYSTEM PARKING                      AMPCO SYSTEM PARKING
100 OCEANGATE PARK                      15821 VENTURA BLVD SUITE 462              19000 MACARTHUR BLVD NO.4
SUITE G29                               ENCINO CA 91436-2915                      IRVINE CA 92612
LONG BEACH CA 90802



AMPCO SYSTEM PARKING                    AMPCO SYSTEM PARKING                      AMPCO SYSTEM PARKING
2 EMBARCADERO CENTER LEVEL A            3350 OCEAN PARK BLVD                      3787 UNIVERSITY AVE
SAN FRANCISCO CA 94111                  NO.105                                    RIVERSIDE CA 92501
                                        SANTA MONICA CA 90405



AMPCO SYSTEM PARKING                    AMPCO SYSTEM PARKING                      AMPCO SYSTEM PARKING
388 MARKET ST                           901 CIVIC CENTER                          ACCT 4205-000004
SAN FRANCISCO CA 94111                  SANTA ANA CA 92703-2352                   900 - 13TH ST
                                                                                  SACRAMENTO CA 95814



AMPCO SYSTEM PARKING                    AMPCO SYSTEM PARKING                      AMPCO SYSTEM PARKING
FILE 30602,                             FILE 30636,                               LOCKBOX FILE 50268
PO BOX 60000                            PO BOX 60000                              LOS ANGELES CA 90074-0268
SAN FRANCISCO CA 94160                  SAN FRANCISO CA 94160



AMPCO SYSTEM PARKING                    AMPCO SYSTEM PARKING                      AMPCO SYSTEM PARKING
200 E LAS OLAS BLVD   STE 1640          2980 MCFARLANE RD SUITE 210               PO BOX 1387
FT LAUDERDALE FL 33301                  MIAMI FL 33133                            FT LAUDERDALE FL 33301




AMPCO SYSTEM PARKING                    AMPCO SYSTEM PARKING                      AMS DIRECT INC
ATTN BILL SHEA 7525                     1505 WESTLAKE AVE N                       7020 HIGH GROVE BLVD
300 MILAN ST STE 100                    SEATTLE WA 98109                          BURR RIDGE IL 60527
HOUSTON TX 77002-1619



AMS MECHANICAL SYSTEMS INC              AMS PROFESSIONAL SERVICES CORP            AMSDEN, HARRY A
140 E TOWER DR                          1171 NW 15TH AVE                          72 ROSE PLACE
BURR RIDGE IL 60527                     NO.211                                    CLARENDON HILLS IL 60514
                                        BOCA RATON FL 33486




                                            Page 79 of 2387
                           Case 08-13141-BLS   Doc 17-1       Filed 12/08/08   Page 80 of 800
AMSTER, SUSAN E                         AMTECH ELEVATOR SERVICE                  AMTECH ELEVATOR SERVICE
4328 E RUTH PLACE                       3039 ROSWELL ST                          PO BOX 100736
ORANGE CA 92869                         LOS ANGELES CA 90065                     PASADENA CA 91189-0736




AMTECH ROOFING CONSULTANTS INC          AMTECH ROOFING CONSULTANTS INC           AMTECH SERVICES INC
101 W RENNER RD NO.410                  670 INTERNATIONAL PARKWAY NO.180         6893 S HIGH ST
RICHARDSON TX 75082                     RICHARDSON TX 75081                      CENTENNIAL CO 80122




AMWORK SYSTEMS INC                      AMY ALLEN                                AMY ANDERSON
PO BOX 1926                             308 111TH AVENUE SE                      510 W. MAPLE AVE.
832 N FORDHAM AVE                       BELLEVUE WA 98004                        LOMBARD IL 60148
AURORA IL 60506



AMY ANGARONE                            AMY BARISH                               AMY BERKHOLTZ
8351 NORMAL CT.                         3781 CCOCOPLUM CIRCLE                    4300 MELBOURNE AVENUE
NILES IL 60714                          COCONUT CREEK FL 33063                   LOS ANGELES CA 90027




AMY BULLIS                              AMY CARBRAY                              AMY CARROLL
660 W. WRIGHTWOOD                       16 BEACON STREET                         500 S. KENSINGTON
APT. #501                               NEWINGTON CT 06111                       LA GRANGE IL 60525
CHICAGO IL 60614



AMY CASPARE                             AMY CATELLIER                            AMY CAVARETTA
510 RIVER AVENUE                        39 NOTRE DAME STREET                     4560 NE 2ND AVENUE
PELHAM NY 10803                         HUDSON FALLS NY 12839                    OAKLAND PARK FL 33334




AMY CHOLEWA                             AMY COHEN                                AMY COOPER
1120 ALDER TREE WAY #314                45 EAST HARTSDALE AVENUE                 1554 WESTMEADE DRIVE
SACRAMENTO CA 95831                     APT. #3A                                 CHESTERFIELD MO 63017
                                        HARTSDALE NY 10530



AMY COPELAND                            AMY CRILLY PHOTOGRAPHY                   AMY CURRENT
1724 N. WINNEBAGO                       2329 LAS COLINAS AVE                     4720 N. CAMPBELL AVE
UNIT B                                  LOS ANGELES CA 90041                     CHICAGO IL 60625
CHICAGO IL 60647



AMY DAVIS                               AMY DE LONGIS                            AMY DEL VALLE
6000 READY AVE.                         3839 N. WESTERN AVENUE                   8256 MEADOWWOOD AVE
BALTIMORE MD 21212                      UNIT 203                                 WOODRIDGE IL 60517-7719
                                        CHICAGO IL 60618



AMY DESSON                              AMY DICKINSON                            AMY DUNCAN
4 ANDREW DRIVE                          2100 N LINCOLN PARK WEST                 161 BRACE ROAD
WEATOGUE CT 06089                       #8CS                                     WEST HARTFORD CT 06107
                                        CHICAGO IL 60614




                                            Page 80 of 2387
                           Case 08-13141-BLS   Doc 17-1         Filed 12/08/08   Page 81 of 800
AMY EDWARDS                             AMY ELLIS                                  AMY FAUTH MOON
2161 RIBBON FALLS PKWY.                 33 LAKEWOOD ROAD                           425 SWEET BAY DR.
ORLANDO FL 32824                        EAST HAMPTON CT 06424                      LONGWOOD FL 32779




AMY FORTNER                             AMY FRADENBURGH                            AMY GIBBONS
2941 NE 1ST AVENUE                      7586 GREEN DRIVE                           69 RUSSELL ROAD
POMPANO BEACH FL 33064                  GLOUCESTER POINT VA 23062                  GARDEN CITY NY 11530




AMY GILLIS                              AMY GROWICK                                AMY GRZENIA
8 SPRUCE STREET                         107 SUNSET AVENUE                          904 W. GRACE
HUDSON FALLS NY 12839                   FARMINGDALE NY 11735                       APT. #2
                                                                                   CHICAGO IL 60613



AMY HENDERSON                           AMY HODSON                                 AMY HOUSER
508 MAIN STREET                         1333 RIDGE ROAD                            2437 N. ALBANY
ROSEVILLE CA 95678                      QUEENSBURY NY 12804                        APT # 2
                                                                                   CHICAGO IL 60647



AMY HUBBARD                             AMY JACHINMOWSKI                           AMY JO TURNER-THOLE
5466 WHITEFOX DR                        WAGE ENFORCEMENT AGENT                     828 CADILLAC SE
RANCHO PALOS VERDES CA 90275            200 FOLLY BROOK BLVD                       GRAND RAPIDS MI 49506
                                        WETHERSFIELD CT 06109-1113



AMY JOHNSON                             AMY JONES                                  AMY KALTER
211 HAHN PLACE                          2746 N. RACINE AVENUE                      19 HAMPSHIRE RD
NEWPORT NEWS VA 23602                   CHICAGO IL 60614                           GREAT NECK NY 11023




AMY KECKICH                             AMY KOWAL                                  AMY LARSON
2337 WEST OHIO                          1447 RICHARDSON STREET                     152 MAPLE STREET
UNIT 2R                                 BALTIMORE MD 21230                         BROOKLYN NY 11225
CHICAGO IL 60612



AMY LEIDER                              AMY LUNDY                                  AMY MACHADO
3707 SUMMER WIND DR.                    3 SKYTOP ROAD                              7570 SIMMS STREET
WINTER PARK FL 32792                    WESTPORT CT 06880                          HOLLYWOOD FL 33024




AMY MANN                                AMY MARTIN                                 AMY MATTISON
2 WOODARD STREET                        6110 PINE ROAD                             60 HAWTHORNE AVENUE
GLENS FALLS NY 12801                    QUINTON VA 23141                           HAMDEN CT 06517




AMY PEOPLES                             AMY PINOARGOTE                             AMY POWERS
83-73 CHARLECOTE RIDGE                  2720 NE 8TH TERRACE                        3947 N. PAULINA
JAMAICA ESTATES NY 11432                POMPANO BEACH FL 33064                     CHICAGO IL 60613




                                            Page 81 of 2387
                          Case 08-13141-BLS   Doc 17-1        Filed 12/08/08   Page 82 of 800
AMY RATHBUN                            AMY RAY                                   AMY REILLS
7306 REGENCY PARK NORTH                101 SOUTH STREET                          315 BROOKFIELD CIRCLE
QUEENSBURY NY 12804                    49                                        MACUNGIE PA 18062
                                       VERNON CT 06066



AMY RINE                               AMY ROOD                                  AMY RUEHL
12 MUIRWOOD CT                         2241 N. ROCKWELL ST.                      34 TERRACE DRIVE
CARY IL 60013                          #1                                        POQUOSON VA 23662
                                       CHICAGO IL 60647



AMY SCATTERGOOD                        AMY SIMONS                                AMY SMITH
3647 1/2 HELMS AVENUE                  109 NARAGANSETT CT.                       274 17TH STREET
CULVER CITY CA 90232                   MORTON GROVE IL 60053                     APT 2
                                                                                 BROOKLYN NY 11215



AMY SMITH                              AMY VANCE                                 AMY VAUTOUR
5915 OAKLAND RD.                       1660 SPRINGTIME LOOP                      50 BRETTON ROAD
BALTIMORE MD 21227                     WINTER PARK FL 32792                      WEST HARTFORD CT 06119




AMY VECSI                              AMY WAGNER                                AMY, LIFRANTZSON
16 2ND STREET                          140 ABBOTT DRIVE                          1308 NE 2ND AVE
HIGHLANDS NJ 07732                     HUNTINGTON NY 11743                       FORT LAUDERDALE FL 33304




AMY, MICHELO                           AN ACHIEVABLE DREAM INC                   AN ACHIEVABLE DREAM INC
220 N.E. 23 STREET                     10858 WARWICK BLVD    STE A               THE WARWICK BUILDING
POMPANO BEACH FL 33060                 NEWPORT NEWS VA 23601                     PO BOX 1039
                                                                                 ATN WALTER SEGALOFF
                                                                                 NEWPORT NEWS VA 23601


AN MOONEN                              AN-TONY YOUNG                             ANA ABELLO
1715 CALIFORNIA AVE                    3947 W 109TH STREET                       550 N. FIGUEROA ST
APT #F                                 INGLEWOOD CA 90303                        APT 6023
SANTA MONICA CA 90403                                                            LOS ANGELES CA 90012



ANA BELAVAL-VIHON                      ANA DELIVERY COMPANY                      ANA DRURY
345 E. OHIO ST                         3608 ENDSLEY PLACE                        638 SW 8TH AVE
APT 1009                               UPPER MARLBORO MD 20772                   FORT LAUDERDALE FL 33315
CHICAGO IL 60611



ANA GARCIA                             ANA GUTIERREZ                             ANA LUISA HERRERA
3842 W. HOWARD STREET                  207 SEMINOLE STREET                       4024 CROSSBILL LANE
SKOKIE IL 60076                        RONKONKOMA NY 11779                       WESTON FL 33331




ANA MARIA GUTIERREZ                    ANA MARIA LAZCANO                         ANA MARIA VILLASANA
15211 PARK ROW DR                      4610 E 53RD STREET                        324 E. NORTH AVENUE
923                                    MAYWOOD CA 90270                          ELMHURST IL 60126
HOUSTON TX 77084




                                           Page 82 of 2387
                           Case 08-13141-BLS   Doc 17-1         Filed 12/08/08   Page 83 of 800
ANA MARTINEZ                            ANA MATA                                   ANA MEDINA
133 S. AVENUE 64                        970 NORTH DAMATO DRIVE                     643 N. IOWA AVE.
LOS ANGELES CA 90042                    COVINA CA 91724                            VILLA PARK IL 60181




ANA MURRAY                              ANA OCHOA                                  ANA OSORIO
9310 REGENCY PARK NORTH                 20612 COLLEGEWOOD AVENUE                   2430 HOUSTON ST.
QUEENSBURY NY 12804                     WALNUT CA 91789                            LOS ANGELES CA 90033




ANA ROIG                                ANA ROSAS                                  ANA SOTO
851 VISTA PALMA WAY                     4292 NAFZGER DR                            2135 N. MERRIMAC
ORLANDO FL 32825                        GAHANNA OH 43230                           CHICAGO IL 60639




ANA VIEIRA                              ANA VITERI                                 ANA ZUNIGA
1303 SW 48TH TERRACE                    360 WEST 34TH STREET                       3540 FLETCHER DRIVE
DEERFIELD BEACH FL 33442                NEW YORK NY 10001                          APT. #104
                                                                                   LOS ANGELES CA 90063



ANA, DUQUE                              ANABELL GREGORY                            ANABELLEL CANALES
1305 PARK DR                            2850 NE 14TH STREET                        6517 HARBOUR RD
CASSELBERRY FL 32707                    #109B                                      NORTH LAUDERDALE FL 33068
                                        POMPANO BEACH FL 33062



ANACOMP INC                             ANACOMP INC                                ANACOMP INC
11075 KNOTT AVENUE                      PO BOX 30838                               PO BOX 70368
SUITE B                                 LOS ANGELES CA 90030-0838                  CHICAGO IL 60673-0368
CYPRESS CA 90630



ANACOMP INC                             ANACREON, REGINALDO                        ANAHEIM ARENA MANAGEMENT LLC
PO BOX 905322                           8815 NW 35TH AVENUE ROAD                   2695 KATELLA AVE
CHARLOTTE NC 28290-5322                 MIAMI FL 33147                             ANAHEIM CA 92806




ANAHEIM PUBLIC UTILITIES                ANAHIT BAZIKYAN                            ANAHIT MAGZANYAN
201 S. ANAHEIM BLVD.                    9739 CABANAS AVE.                          6051 VARNA AVENUE
ANAHEIM CA 92805                        TUJUNGA CA 91042                           VAN NUYS CA 91401




ANAKALIA LEE                            ANALISA DIAZ                               ANALYTICS 8 LLC
8514 54TH STREET NW                     755 ADAMS DRIVE                            444 N MICHIGAN AVE      STE 1200
GIG HARBOR WA 98335                     APT 1A                                     CHICAGO IL 60611
                                        NEWPORT NEWS VA 23601



ANAMARIA GUILLEN                        ANAMARIA PEDRAZA                           ANANDA WALDEN
2273 10TH STREET                        230 BERKSHIRE DRIVE                        30 WOODLAND STREET
SACRAMENTO CA 95818                     FARMINGVILLE NY 11738                      9B
                                                                                   HARTFORD CT 06105




                                            Page 83 of 2387
                           Case 08-13141-BLS   Doc 17-1        Filed 12/08/08   Page 84 of 800
ANANIAS LUMPKIN                         ANASTASIA DERBAS                          ANASTASIA KEYS
1901 ELGIN AVE                          1622 N CLEVELAND AVE                      249 LYNWOOD
APT. 421                                CHICAGO IL 60614                          BLOOMINGDALE IL 60108
BALTIMORE MD 21217



ANASTASIA KOSTOFF-MANN                  ANAWALT LUMBER HARDWARE NURSERY           ANCHOR DIRECT INC
7220 OUTPOST COVE DR                    11060 W PICO BLVD                         450 FAIRWAY DRIVE
LOS ANGELES CA 90068                    WEST LOS ANGELES CA 90064                 SUITE 205
                                                                                  DEERFIELD BEACH FL 33441-1837



ANCHOR DIRECT INC                       ANCHOR DIRECT INC                         ANCHOR SERVICES
600 FAIRWAY DR STE 205                  1900 NEW HIGHWAY                          19205 STATE LINE RD
DEERFIELD FL 33441-1804                 FARMINGDALE NY 11735-1509                 LOWELL IN 46356




ANCHOR STAFFING                         ANCHORAGE DAILY NEWS INC                  ANCHORPOINT INC
7173 BALTIMORE ANNAPOLIS BLVD           ATTN PHOTO DIRECTOR                       46 PARK STREET
GLEN BURNIE MD 21061                    1001 NORTHWAY DR                          FRAMINGHAM MA 01702
                                        ANCHORAGE AK 99508



ANDELA KUNKIC                           ANDERSEN JR, JAMES                        ANDERSEN, JOHN
1720 S MICHIGAN AVE                     2935 N NEVA                               24021 SALERO LN
#2514                                   CHICAGO IL 60634                          MISSION VIEJO CA 92691
CHICAGO IL 60616



ANDERSEN, JONNIE MIKEL                  ANDERSON DIRECTORY SALES                  ANDERSON DIRECTORY SALES
322 E 15TH ST                           16748 E SMOKEY HILL ROAD NO.316           4901 E DRY CREEK RD NO.270
SUPERIOR NE 68978                       CENTENNIAL CO 80015                       CENTENNIAL CO 80122




ANDERSON DIRECTORY SALES                ANDERSON DIRECTORY SALES                  ANDERSON SHAH ROOFING INC
5994 S HOLLY STREET NO.216              7172 SOUTH RICHFIELD ST.                  23900 COUNTY FARM RD
GREENWOOD VILLAGE CO 80111              AURORA CO 80016                           JOLIET IL 60431




ANDERSON, ANNE MARGARET                 ANDERSON, BRITTNEE                        ANDERSON, BROOKE
2523 HIGH STREET                        2961-D 2ND ARMY DR                        220 WEST 98TH STREET 5D
BLUE ISLAND IL 60406                    FT MEADE MD 20755                         NEW YORK NY 10025




ANDERSON, CARLENE G                     ANDERSON, CHIQUITA LARHONDA               ANDERSON, DANIEL
468 BRITNIE CT                          1750 N. 17TH COURT NO.102                 310 N CONCEPTION ST APT 3
NEWPORT NEWS VA 23602                   HOLLYWOOD FL 33020                        MOBILE AL 36603




ANDERSON, DEAN                          ANDERSON, DEVON W                         ANDERSON, DUANE E
751 E EVANSTON CIR                      6340 WEDGEWOOD TERRACE                    34021 CALLE ACORDARSE NO.805
FORT LAUDERDALE FL 33312                TAMARAC FL 33321                          SAN JUAN CAPISTRANO CA 92675




                                            Page 84 of 2387
                           Case 08-13141-BLS    Doc 17-1      Filed 12/08/08   Page 85 of 800
ANDERSON, ERROL                         ANDERSON, EVELYN                         ANDERSON, GWENDOLYN
318 GREENE AVE                          70 GREEN ST                              7124 S LAKE PARKWAY
BROOKLYN NY 11238                       HARTFORD CT 06120                        MORROW GA 30260




ANDERSON, JOHN                          ANDERSON, JULIE D                        ANDERSON, KAREN
4703 COLDWATER CANYON                   712 IRONWOOD CT.                         1428 CANTERBURY LN
STUDIO CITY CA 91604                    WINTER SPRINGS FL 32708                  GLENVIEW IL 60025




ANDERSON, KAREN A                       ANDERSON, LAWRENCE                       ANDERSON, LAWRENCE
1428 CANTERBERRY LN                     10401-106 VENICE BLVD STE 206            528 CHANTICLAR COURT
GLENVIEW IL 60025                       LOS ANGELES CA 90034                     NEWPORT NEWS VA 23608




ANDERSON, LINDA                         ANDERSON, LISA                           ANDERSON, LISA
14610 BALLANTYNE LAKE RD                415 EAST 52ND STREET 13 C-C              TWO PARK AVE 8TH FLOOR
APT 806                                 NEW YORK NY 10022                        NEW YORK NY 10016
CHARLOTTE NC 28277



ANDERSON, LUKE                          ANDERSON, LUKE                           ANDERSON, MAURICE
6805 W COMMERCIAL BLVD     NO.107       6805 W COMMERCIAL BLVD    NO.107         450 SPRATLEY CIRCLE
TAMARAC FL 33319                        TAMARAC FL 33321                         NEWPORT NEWS VA 23602




ANDERSON, MEISHA                        ANDERSON, MICHAEL                        ANDERSON, MICHAEL P
54 ADAMS ST                             3400 BENECIA COURT                       1340 SW 75 AVE
HARTFORD CT 06112                       AUSTIN TX 78738                          NORTH LAUDERDALE FL 33068




ANDERSON, MICHELLE                      ANDERSON, NANCY E                        ANDERSON, NICOLE GATES
227 SEABOARD AVE NO.6                   2621 HARTZELL ST                         271 UNION STREET NO.3
HAMPTON VA 23664                        EVANSTON IL 60201-1311                   BROOKLYN NY 11231




ANDERSON, PENELOPE                      ANDERSON, PHILIP                         ANDERSON, PHILIP
114 E. JEFFERSON ST                     23846 NORTHWEST ST HELENS ROAD           23846 NW ST HELENS RD
BENSENVILLE IL 60106                    ROCKY POINT MARINA                       PORTLAND OR 97231
                                        PORTLAND OR 97231



ANDERSON, RICHARD                       ANDERSON, RUTH                           ANDERSON, SCOTT
655 FLATBUSH AVE                        10834 SHARPTOWN RD                       299 WINDING CREEK DRIVE
WEST HARTFORD CT 06110                  MARDELA SPRINGS MD 21837                 NAPERVILLE IL 60565




ANDERSON, SCOTT                         ANDERSON, STACIE                         ANDERSON, STEPHEN R
604 BURNSIDE AVE                        3205 6TH ST NW                           9706 S LEAVITT ST
EAST HARTFORD CT 06108                  GIG HARBOR WA 98335                      CHICAGO IL 60643




                                            Page 85 of 2387
                           Case 08-13141-BLS   Doc 17-1        Filed 12/08/08   Page 86 of 800
ANDERSON, SUSAN D                       ANDERSON, TIMOTHY WILLIAM                 ANDERSON, TODD
5901 CANTERBURY DR NO.19                5034 ROCK ROSE LOOP                       2719 OXFORD ST
CULVER CITY CA 90230                    SANFORD FL 32771                          ORLANDO FL 32803




ANDERSON, VICKIE                        ANDERSON-TURNER, VALERIE K                ANDINO, ROSARIO
250 W MADISON ST                        6333 JENNIFER JEAN DRIVE                  8402 W SAMPLE RD APT 141
EASTON PA 18042                         ORLANDO FL 32818                          CORAL SPRINGS FL 33065




ANDJELIC, ANA                           ANDO MEDIA LLC                            ANDOVER HEBRON MARLBOROUGH YOUTH
360 ATLANTIC AVENUE 2L                  170 WESTMINISTER ST     STE 701           NELLA NO.LYNER
BROOKLYN NY 11217                       PROVIDENCE RI 02903                       25 PENDELTON DR
                                                                                  HEBRON CT 06248



ANDOVER HEBRON MARLBOROUGH YOUTH        ANDRADE, ALBERTO                          ANDRADE, AMALIA
NELLA STELYNER                          41-56 DENMAN ST   APT A4                  956 MOCKING BIRD LANE NO.500
25 PENDELTON DR                         ELMHURST NY 11373                         PLANTATION FL 33324
HEBRON CT 06248



ANDRADE, ANGEL EDUARDO                  ANDRADE, JANETH                           ANDRADE, PATRICK
5945 LEE VISTA BLVD APT 108             32 DONOHUE DR                             60 W 38TH ST APT 24F
ORLANDO FL 32822                        NORWALK CT 06851                          NEW YORK NY 10018-0131




ANDRADES, LUIS ALFREDO                  ANDRAL, CHARLES                           ANDRE ADAMS
URB CORINSA CALLE ARACOA                1400 NW 3RD AVE                           6104 S WOODLAWN 402
CASA NO.51-39                           FORT LAUDERDALE FL 33311                  CHICAGO IL 60637
CAGUAS
EDO ARAGUA


ANDRE CHUNG                             ANDRE DELOATCH                            ANDRE DOZIER
9576 FAREWELL RD                        4923 ROCHESTER COURT                      10032 S. CARPENTER
COLUMBIA MD 21045                       NEWPORT NEWS VA 23607                     CHICAGO IL 60643




ANDRE ELKEY                             ANDRE HAMPTON                             ANDRE JOHNSON
241 MARTIN STREET                       7837 SOUTH MERRILL                        99 TIDE MILL LANE
HARTFORD CT 06120                       CHICAGO IL 60649                          APT. #24
                                                                                  HAMPTON VA 23666



ANDRE LEWIS                             ANDRE LOUIS                               ANDRE MOREAU
1425 MORRIS                             7935 NW 24TH STREET                       243 STATE ST
BERKELEY IL 60163                       MARGATE FL 33063                          WESTBURY NY 11590




ANDRE RADFORD                           ANDRE REED                                ANDRE TAYLOR
3111 CASITAS AVENUE                     12320 ALGONQUIN ROAD                      1270 N. WILCOX AVENUE
ALTADENA CA 91001                       PALOS PARK IL 60464                       #7
                                                                                  LOS ANGELES CA 90038




                                            Page 86 of 2387
                           Case 08-13141-BLS   Doc 17-1        Filed 12/08/08   Page 87 of 800
ANDRE THOMAS                            ANDRE TRIBBLE                             ANDRE WASHINGTON
119-31 230TH STREET                     7321 S. NORMANDIE                         49 FLOYD STREET
CAMBRIA HEIGHTS NY 11411                LOS ANGELES CA 90044                      BRENTWOOD NY 11717




ANDRE WHYTE                             ANDRE WILLIAMS                            ANDRE' ALFORQUE
130-12 178TH PLACE                      1717 HASTINGS ROAD                        2476 W. PENSACOLA AVENUE
JAMAICA NY 11434                        BETHLEHEM PA 18017                        UNIT G
                                                                                  CHICAGO IL 60618



ANDREA ADELSON                          ANDREA ALLISON                            ANDREA ARMSTRONG
322 E. CENTRAL BLVD.                    6211 MAR VISTA DRIVE                      40 SPRINGBROOK WAY
APT. 1207                               HUNTINGTON BEACH CA 92647                 HUDSON FALLS NY 12839
ORLANDO FL 32801



ANDREA BEALL-RIZZO                      ANDREA BERGER                             ANDREA BLOMQUIST
526 S. PROSPECT AVE                     9657 VIA EMILIE                           1049 N. KINGSBURY
PARK RIDGE IL 60068                     BOCA RATON FL 33428                       CHICAGO IL 60610




ANDREA BOWEN                            ANDREA CARLSON                            ANDREA CARRION
1913 S. OCEAN DRIVE                     217 HICKORY AVENUE                        12712 MOORPARK ST
APT 228                                 HARAHAN LA 70123                          APT 201
HALLANDALE BEACH FL 33009                                                         STUDIO CITY CA 91604



ANDREA CHANG                            ANDREA CHICK                              ANDREA COHEN
19756 VICKSBURG DRIVE                   7044 GENTLE SHADE ROAD                    2200 NE 66TH STREET
CUPERTINO CA 95014                      APT: 201                                  1405
                                        COLUMBIA MD 21046                         FT LAUDERDALE FL 33308



ANDREA DARLAS                           ANDREA DUNN                               ANDREA EHLER
15344 ANNE DRIVE                        12 COURT STREET                           175 NE GRANT
ORLAND PARK IL 60462                    CENTEREACH NY 11720                       HILLSBORO OR 97124




ANDREA FELIX                            ANDREA GILKEY                             ANDREA GIRALDO
9842 EAST IDAHO STREET                  2322 W EASTWOOD AVE #2                    2888 NW 99TH TERRACE
DENVER CO 80247                         CHICAGO IL 60625-2019                     SUNRISE FL 33322




ANDREA GREENWALD                        ANDREA HOLT                               ANDREA J MOORE
16 E. HAMBURG STREET                    1353 REGENT ROAD                          3405 AMHERST CIRCLE
BALTIMORE MD 21230                      TOPPING VA 23169                          APT. 120
                                                                                  BEDFORD TX 76021



ANDREA JACKSON                          ANDREA KLEMM                              ANDREA LABARGE PHOTOGRAPHY
291 PARKWAY BLVD                        2510 HILLSBORO BLVD                       4755 KRAFT AVE
WYANDANCH NY 11798                      AURORA IL 60503                           NORTH HOLLYWOOD CA 91602




                                            Page 87 of 2387
                          Case 08-13141-BLS    Doc 17-1       Filed 12/08/08   Page 88 of 800
ANDREA LAURA                           ANDREA LENTZ                              ANDREA LIPOWSKI
14727 KIMBARK                          313 RADEBAUGH DR.                         3 JAMES WAY
DOLTON IL 60419                        LONGWOOD FL 32779                         PORT JEFFERSON NY 11777




ANDREA LONTOC                          ANDREA MANDATO                            ANDREA MASTROROCCO
491 COLLFIELD AVENUE                   4994 DORSEY HALL DR.                      4 HIGHWOOD ROAD
STATEN ISLAND NY 10314                 A4                                        EAST NORWICH NY 11732
                                       ELLICOTT CITY MD 21042



ANDREA MILLER                          ANDREA NERI                               ANDREA NGUYEN
22 JOHNSTON AVENUE                     635 W. GRACE                              3906 RHODES LANE
NORTHPORT NY 11768                     APT # 1510                                PASADENA TX 77505
                                       CHICGAO IL 60613



ANDREA PAPE                            ANDREA PEREZ                              ANDREA PETRINI
88 GOODWIN CIRCLE                      156 EAST CHEW STREET                      5109 GOLDSBORO DRIVE
HARTFORD CT 06105                      ALLENTOWN PA 18109                        APT. #21C
                                                                                 HAMPTON VA 23605



ANDREA PINE                            ANDREA PUDLINER                           ANDREA ROSE
815 S. HARVEY AVE                      245 NORTH STAGECOACH ROAD                 6419 10TH AVENUE
OAK PARK IL 60304                      WEATHERLY PA 18255                        APT#28
                                                                                 LOS ANGELES CA 90043



ANDREA ROSENBERG                       ANDREA ROTHCHILD                          ANDREA SAVASTRA
1644 W. CARMEN                         2848 CLUBHOUSE RD                         37 DOVER ROAD
CHICAGO IL 60640                       MERRICK NY 11566                          NEWINGTON CT 06111




ANDREA SHANER                          ANDREA SIDESINGER                         ANDREA SIEGEL
4775 ALDUN RIDGE NW                    55 PARROTT LANE                           210 NORMANDY DR
COMSTOCK PARK MI 49321                 MANCHESTER PA 17345                       SILVER SPRING MD 20901




ANDREA SIEGEL                          ANDREA SPAGNOLI                           ANDREA STATEN
214 COVENTRY PLACE                     825 EGRET CIRCLE                          1111 HOLLEY COURT
MOUNT PROSPECT IL 60056                APT 503                                   UNIT 215
                                       DELRAY BEACH FL 33444                     OAK PARK IL 60301



ANDREA VERSCHAGE                       ANDREA VIGIL                              ANDREA WALKER
5105 W. DEAN ROAD                      1221 SW 4TH COURT                         1342 CEDARCROFT ROAD
BROWN DEER WI 53223                    FORT LAUDERDALE FL 33312                  BALTIMORE MD 21239




ANDREA WATSON                          ANDREA WHEELER                            ANDREA WIENC
5663 TAYLOR STREET                     901 DRUID PARK LAKE DRIVE                 335 ESSEX CT.
APT #1                                 APT D6                                    WOOD DALE IL 60191
HOLLYWOOD FL 33021                     BALTIMORE MD 21217




                                           Page 88 of 2387
                          Case 08-13141-BLS    Doc 17-1       Filed 12/08/08   Page 89 of 800
ANDREA WOLF                            ANDREA ZITO                               ANDREAS BAKOULAS
40 HERITAGE PLACE SOUTH                27657 CORDOVAN DRIVE                      832 S. PONCA STREET
NESCONSET NY 11767                     CANYON COUNTRY CA 91351                   BALTIMORE MD 21224




ANDREAS CONSTANTINOU                   ANDREAS OBSTFELD                          ANDREAU, JOHN FRANCISCO
25 WATERSIDE AVE                       1710 ORCHARD AVE.                         2800 N FLAGLER DRIVE NO.614
NORTHPORT NY 11768                     GLENDALE CA 91206                         WEST PALM BEACH FL 33407




ANDREE SANQUINI                        ANDREI BLAKELY                            ANDRES BAHENA
3 KURT STREET                          118 NORTH HOWARD STREET                   1618 NORTH LATROBE
SOUTH HUNTINGTON NY 11746              614                                       CHICAGO IL 60639
                                       BALTIMORE MD 21201



ANDRES MEDINA                          ANDRES RAMIREZ                            ANDRES SAAVEDRA
3618 W 56TH ST.                        1726 N KEDVALE                            2 CHERYL LANE NORTH
CHICAGO IL 60629                       APT. 1                                    FARMINGDALE NY 11735
                                       CHICAGO IL 60639



ANDRES VAZQUEZ                         ANDRESA KNIGHT                            ANDREW & JENNIFER FAGGIO/CITY OF NEW
17 BUFALO AVE.                         4997 CASON COVE DR.                       HAVEN/C/O JACOBS GRUDBERG BELT ET AL
68                                     APT. 111                                  EDWARD J MCMANUS
ISLIP NY 11751                         ORLANDO FL 32811                          350 ORANGE ST
                                                                                 NEW HAVEN CT 06503


ANDREW ACERRA                          ANDREW AIELLO                             ANDREW ALLAN
P.O. BOX 476                           PO BOX 504                                11604 NW 37TH STREET
SHOREHAM NY 11786                      CENTER MORICHES NY 11934                  CORAL SPRINGS FL 33065




ANDREW ANKROM                          ANDREW ANTONAWICH                         ANDREW BATER
1515 RICHMOND DRIVE                    117 32ND STREET                           198 SHUNPIKE ROAD
SLIDELL LA 70458                       LINDENHURST NY 11757                      MADISON NJ 07940




ANDREW BENNETT                         ANDREW BERTOLINO                          ANDREW BIDDLE
2229 CHARLESTON ST.                    19 INGOLD DR                              790 BOWMAN COURT
HOLLYWOOD FL 33020                     DIX HILLS NY 11746                        WESTON FL 33326




ANDREW BLANKSTEIN                      ANDREW BLOOM                              ANDREW BRENNAN
3360 LOUGRIDGE AVENUE                  2436 N. FEDERAL HWY                       533 W. OAKDALE AVE.
SHERMAN OAKS CA 91423                  #409                                      2R
                                       LIGHTHOUSE POINT FL 33064                 CHICAGO IL 60657



ANDREW BROMAGE                         ANDREW CALUSINE                           ANDREW CARR
812 ORANGE STREET                      79 CRYSTAL LAKE ROAD                      124 DREXEL DRIVE
#3                                     ELLINGTON CT 06029                        BEL AIR MD 21014
NEW HAVEN CT 06511




                                           Page 89 of 2387
                         Case 08-13141-BLS   Doc 17-1       Filed 12/08/08   Page 90 of 800
ANDREW CARTER                         ANDREW CHIRGWIN                          ANDREW CHUCK
4004 MAGUIRE BLVD.                    20 DORSET PLACE                          2251 BLACK MANGROVE DR.
#6201                                 QUEENSBURY NY 12804                      ORLANDO FL 32828
ORLANDO FL 32803



ANDREW CONRAD                         ANDREW COOPER                            ANDREW CORPORATION
242 MEDWICK GARTH E                   11001 SEVENHILLS DRIVE                   PO BOX 96879
CATONSVILLE MD 21228                  TUJUNGA CA 91042                         CHICAGO IL 60693




ANDREW CUMMINS                        ANDREW D MULE                            ANDREW DALY
3464 N CLARK                          7106 PRIVATEER CT                        36 CRESKILL PLACE
#3R                                   WILMINGTON NC 28405                      HUNTINGTON NY 11743
CHICAGO IL 60657



ANDREW DAVIS                          ANDREW DICKERMAN                         ANDREW DOYLE
4850 N. CENTRAL PARK AVENUE           1120 ARIZONA AVE #7                      3517 N. HERMITAGE AVE
APT. #2                               SANTA MONICA CA 90401                    REAR COACH HOUSE
CHICAGO IL 60625                                                               CHICAGO IL 60657-1217



ANDREW EDELSTEIN                      ANDREW ELLIOTT                           ANDREW EVANS
5 COLONY COURT                        13227 GOLLER AVENUE                      P.O. BOX 394
GREENLAWN NY 11740                    NORWALK CA 90650                         HARTFORD CT 06141




ANDREW FAIRLEY                        ANDREW FAITH                             ANDREW FAULK
9 NORTHFIELD ROAD                     1002 BOGART CIRCLE                       7417 SOUTH LAND PARK #34
ENFIELD CT 06082                      BEL AIR MD 21014                         SACRAMENTO CA 95831




ANDREW FETTER                         ANDREW FLANIGAN                          ANDREW FOMIN
609 WALNUT STREET                     7918 ST CLAIR AVE                        1111 PIERCE AVENUE NE
APT C                                 NORTH HOLLYWOOD CA 91605                 RENTON WA 98056
ANDERSON IN 46012



ANDREW FULLER                         ANDREW GANESH                            ANDREW GAROFALO
818 W DIVERSEY                        73 DESALES PLACE                         46 KING ARTHUR'S COURT NORTH
APT E                                 BROOKLYN NY 11207                        SAINT JAMES NY 11780
CHICAGO IL 60614



ANDREW GAVRILOS                       ANDREW GILCHRIEST                        ANDREW GONZALES
6733 N. KEELER AVE.                   2222 WESTERLAND #43                      4 DURBAN CT, APT. J
LINCOLNWOOD IL 60712                  HOUSTON TX 77063                         BALTIMORE MD 21236




ANDREW GOODWIN                        ANDREW GRAFF                             ANDREW GRAVES
1047 SHINE AVE. N.                    1487 EAST 63 STREET                      3258 S. UNION AVE.
ORLANDO FL 32803                      BROOKLYN NY 11234                        #3F
                                                                               CHICAGO IL 60616




                                          Page 90 of 2387
                           Case 08-13141-BLS    Doc 17-1      Filed 12/08/08   Page 91 of 800
ANDREW GREEN                            ANDREW GREEN                             ANDREW GRIESER
39 BRICKOVEN ROAD                       118 HOPKINS ROAD                         634 W. ROSCOE STREET
QUEENSBURY NY 12804                     BALTIMORE MD 21212                       UNIT 1N
                                                                                 CHICAGO IL 60657



ANDREW HALL                             ANDREW HART                              ANDREW HEINZ
8 TURTLE CREEK LANE                     85 MAY DRIVE                             38 BROWNS PATH
APT. B13                                BAITING HOLLOW NY 11933                  QUEENSBURY NY 12804
EAST HARTFORD CT 06108



ANDREW HELMES                           ANDREW HENRY                             ANDREW HERMANN
61 NORTH TYSON AVENUE                   7820 NW 83RD STREET                      1348 N. CLEAVER ST.
FLORAL PARK NY 11001                    TAMARAC FL 33321                         APT. #2F
                                                                                 CHICAGO IL 60622



ANDREW HERMANN                          ANDREW HIGGINS                           ANDREW HISTAND
1808 RICE STREET                        P. O. BOX 1735                           524 2ND AVENUE
LOS ANGELES CA 90042                    COSTA MESA CA 92628                      1ST FLOOR
                                                                                 BETHLEHEM PA 18018



ANDREW HITZ                             ANDREW INNERARITY                        ANDREW J BRINSKELLE
155 PINE TOP TRAIL                      533 NE 3RD AVE                           7738 W CLARENCE AVE
BETHLEHEM PA 18017                      APT 428                                  CHICAGO IL 60631-1832
                                        FORT LAUDERDALE FL 33301



ANDREW J CARMICHAEL                     ANDREW JOHNSTON                          ANDREW JULIEN
437 COUNTRY CLUB DR                     600 CALLAN AVENUE                        9 CANDLELIGHT DRIVE
#205                                    EVANSTON IL 60202                        GLASTONBURY CT 06033
SIMI VALLEY CA 93065



ANDREW KAKLAMANOS                       ANDREW KANTOLA                           ANDREW KELLY
4647 PICKFORD ST                        13403 KILLION ST                         36 SANLUIS ROAD
LOS ANGELES CA 90019                    SHERMAN OAKS CA 91401                    GANSEVOORT NY 12831




ANDREW KLEIN & ASSOCIATES, INC          ANDREW KNOBEL                            ANDREW KOELTZ
8 SHETLAND CT                           10350 CROSSBEAM CIRCLE                   5255 WOOSENCRAFT DRIVE
DIX HILLS NY 11746                      COLUMBIA MD 21044                        WENTZVILLE MO 63385




ANDREW KONDRAT                          ANDREW KONKOL                            ANDREW KOUVEL
302 N. E. 8TH STREET                    1213 W. ERIE                             18 PERRI PL
FORT LAUDERDALE FL 33301                CHICAGO IL 60622                         DIX HILLS NY 11746




ANDREW KRAUS                            ANDREW KULAS                             ANDREW KURFEES
29 CASTLEWOOD DRIVE                     9426 PARKWAY DRIVE                       P.O. BOX 983
CHALFONT PA 18914                       HIGHLAND IN 46322                        WEST POINT VA 23181




                                            Page 91 of 2387
                          Case 08-13141-BLS    Doc 17-1        Filed 12/08/08   Page 92 of 800
ANDREW LAUGHLAND                       ANDREW LENNIE                              ANDREW LEVENBERG
1817 TRENLEIGH ROAD                    7748 W. TAYLOR ST.                         32 MONETT PLACE
PARKVILLE MD 21234                     FOREST PARK IL 60130                       GREENLAWN NY 11740




ANDREW LISA                            ANDREW LISANTI PHOTOGRAPHY INC             ANDREW MADARANG
108 EAST 38TH STREET                   543 VALLEYVIEW PL                          3417 MENARD STREET
APT 210                                STATEN ISLAND NY 10314                     NATIONAL CITY CA 91950
NEW YORK NY 10016



ANDREW MAIDHOF                         ANDREW MALCOLM                             ANDREW MARTEL
PO BOX 243                             24325 ASTOR RACING COURT                   1050 MICKLEY RUN
KINGS PARK NY 11754                    VALENCIA CA 91354-4918                     APARTMENT A
                                                                                  WHITEHALL PA 18052



ANDREW MCDOWELL                        ANDREW MCGEE                               ANDREW MILLER
1100 W. 40TH PLACE                     2462 DUVAL AVE.                            14234 MARILYN ROAD
LOS ANGELES CA 90037                   DELTONA FL 32738                           NOBLESVILLE IN 46060




ANDREW NITCHMAN                        ANDREW NOWAK                               ANDREW NYSTROM
47 RANCK AVENUE                        2900 CULVER LANE                           2844 ANGUS ST
LANCASTER PA 17602                     WEST CHICAGO IL 60185                      LOS ANGELES CA 90039-2631




ANDREW PARKINSON                       ANDREW PECK                                ANDREW POLONI
2429 NE 12TH COURT                     60 ESSEX STREET                            89 HOLLISTER STREET
FT. LAUDERDALE FL 33304                WEST BABYLON NY 11704                      MANCHESTER CT 06042




ANDREW POMETTI                         ANDREW POOLE                               ANDREW POWDERMAKER
873 WEST BLVD.                         7349 S WOODWORD AVE                        3645 N. SACRAMENTO AVE.
APT. 501                               H 301                                      CHICAGO IL 60618
HARTFORD CT 06105                      WOODRIDGE IL 60517



ANDREW PROKOP                          ANDREW RALLO                               ANDREW RAMOS
1408 ST. FRANCIS ROAD                  157 CONCORD AVENUE                         53 RUTH AVENUE
BEL AIR MD 21014                       OCEANSIDE NY 11572                         CLIFTON NJ 07014




ANDREW RATNER                          ANDREW REID                                ANDREW RODES
210 HAYNES CT                          105 LAUREL WAY                             23 MAPLE ROAD
ABINGDON MD 21009                      ROYAL PALM BEACH FL 33411                  YORK PA 17403




ANDREW ROTH                            ANDREW ROYER                               ANDREW ROZEMA
130 COURTLAND PL                       4392 LEVELSIDE AVE.                        10420 SHANER AVE NE
BEL AIR MD 21014                       LAKEWOOD CA 90712                          ROCKFORD MI 49341




                                           Page 92 of 2387
                           Case 08-13141-BLS   Doc 17-1        Filed 12/08/08   Page 93 of 800
ANDREW SARKADY                          ANDREW SCHAEFER                           ANDREW SCHULMAN
3834 MORTON AVENUE                      4316 HALLFIELD MANOR DRIVE                575 S. OGDEN DRIVE
BROOKFIELD IL 60513                     BALTIMORE MD 21236                        LOS ANGELES CA 90036




ANDREW SHAW                             ANDREW SHPUR                              ANDREW SLAWSON
168 TAFT AVENUE                         19 WESTLAND AVENUE                        72 RICHARD AVE
2ND FLOOR                               QUEENSBURY NY 12804                       ISLIP TERRACE NY 11752
BRIDGEPORT CT 06606



ANDREW SMITH                            ANDREW SMITH                              ANDREW SPARLING
157 BRIXTON ROAD                        36 E. CARVER ST                           253 EASTERN AVENUE SE
GARDEN CITY NY 11530                    HUNTINGTON NY 11743                       #1
                                                                                  GRAND RAPIDS MI 49503



ANDREW STOERMER                         ANDREW STRICKLER                          ANDREW SULLIVAN
10141 KAMUELA DR                        478 PROSPECT PLACE                        132 WOODSIDE GREEN
HUNTINGTON BEACH CA 92646               APT 3F                                    APT. #3C
                                        BROOKLYN NY 11238                         STAMFORD CT 06905



ANDREW SUSSMAN                          ANDREW SUSZKO                             ANDREW THACKRAY
18 GLENWOOD PL                          3527 W. GREENWOOD                         1216 W. WAVELAND AVENUE
FARMINGVILLE NY 11738                   WILMETTE IL 60051                         3
                                                                                  CHICAGO IL 60613



ANDREW TOY                              ANDREW TRAN                               ANDREW VOLLMER
258 W. 23RD PLACE                       1300 SE 1ST STREET                        11730 NATIONAL BVD.
CHICAGO IL 60616                        APT 12                                    APT. #12
                                        FORT LAUDERDALE FL 33301                  LOS ANGELES CA 90064



ANDREW VRYDAGHS                         ANDREW WAHLQUIST                          ANDREW WALTER
694 POCATELLO ROAD                      9250 BROOKSHIRE AVENUE                    928 W. CRESENT
MIDDLETOWN NY 10940                     APT#101                                   PARK RIDGE IL 60068
                                        DOWNEY CA 90240



ANDREW WANG                             ANDREW WERNER                             ANDREW WHALEN
5923 N. WINTHROP ST.                    5639 N. KENMORE AVE.                      9 WENMORE ROAD
APT.# 1S                                UNIT 3                                    COMMACK NY 11725
CHICAGO IL 60660                        CHICAGO IL 60660



ANDREW WHITAKER                         ANDREW WHITE                              ANDREW WITKOWSKI
7816 S EUCLID                           726C NEW BRITAIN AVENUE                   7553 CENTER AVENUE
CHICAGO IL 60649                        APT. C                                    RANCHO CUCAMONGA CA 91730
                                        HARTFORD CT 06106



ANDREW WONG                             ANDREW WONG                               ANDREW YOUNG
1701 SOUTH ATLANTIC BLVD                3556 77TH ST                              1427 EAST VERMONT
APT F                                   APT 2                                     INDIANAPOLIS IN 46201
ALHAMBRA CA 91803                       JACKSON HEIGHTS NY 11372-4599




                                            Page 93 of 2387
                            Case 08-13141-BLS    Doc 17-1       Filed 12/08/08   Page 94 of 800
ANDREW ZAJAC                             ANDREW ZAREMBA                            ANDREW ZOEHRER
1011 ROSWELL DR.                         28 HENSHAW STREET                         PO BOX 7041
SILVER SPRING MD 20901                   CHICOPEE MA 01020                         SAN DIEGO CA 92167




ANDREW, THOMAS                           ANDREW, THOMAS                            ANDREWS EXCAVATING INC
15714 PRINCE                             15714 PRINCE                              93 PINE ST
SOUTH HOLLAND IL 60479                   SOUTH HOLLAND IL 60473-1832               PORT JEFFERSON STATION NY 11776




ANDREWS, ALLEN LEE                       ANDREWS, ANDREA                           ANDREWS, CECIL NATHAN
350 PINE ST.                             60 SONGBIRD LANE                          4324 WIRTH STREET
WEST PALM BEACH FL 33413                 FARMINGTON CT 06032                       ORLANDO FL 32808




ANDREWS, DANIEL H                        ANDREWS, DENZIL D                         ANDREWS, ERIC D
PO BOX 2                                 4186 WINGFOOT CT                          2696 ROLLINGWOOD LANE
SADSBURYVILLE PA 19369                   DECATUR GA 30035                          ATLANTA GA 30316




ANDREWS, JACQUELINE                      ANDREWS, JEFFREY ARTHUR                   ANDREWS, KIM
2665 RIVERLAND DR.                       927 COLLEEN DR                            912 GREEN FAWN CT
FT. LAUDERDALE FL 33312                  NEWPORT NEWS VA 23608                     ABINGDON MD 21009




ANDREWS, LINDA                           ANDREWS, MARK L                           ANDREWS, SUSAN MARIE
6 MAYFAIR TERRACE                        2434 SWEETWATER CC PL DR                  8340 GARDEN GATE PL
COMMACK NY 11725                         APOPKA FL 32712-4019                      BOCA RATON FL 33433




ANDRIES, JOY                             ANDRIY PETRASZ                            ANDROMEDA BLUMENAU
416 CHESTER STREET, APT B                140 W. HARBOR DRIVE                       5025 FOXRUN LANE
BROOKLYN NY 11212                        LAKE ZURICH IL 60047                      WHITEHALL PA 18052




ANDRONICUS TAYLOR                        ANDRONIKIDES, HARRIET                     ANDROS, FLOYD & MILLER, P.C.
7123 FAIRBROOK ROAD                      14 ASTER DRIVE                            RE: AVON 80 DARLING DR.
WINDSOR MILL MD 21244                    HICKSVILLE NY 11801                       ATTN: STEPHEN J. MILLER
                                                                                   864 WETHERSFIELD AVENUE
                                                                                   HARTFORD CT 06114-3184


ANDRUKLEWICZ, KYLE                       ANDRUS, CALVIN E                          ANDY COUNTRYMAN
82 BANTA LN                              7701 LIALANA WAY                          217 ELMHURST AVENUE
DURHAM CT 06422                          CITRUS HEIGHTS CA 95610                   ELMHURST IL 60126




ANDY ITALIANO                            ANDY MARTIN                               ANDY ROBERGE
2168 CAROL VIEW DRIVE                    30 E HURON #446                           16 TANGLEWOOD LANE
# B314                                   CHICAGO IL 60611                          RANCHO SANTA MARGARITA CA 92688
CARDIFF CA 92007




                                             Page 94 of 2387
                           Case 08-13141-BLS   Doc 17-1       Filed 12/08/08   Page 95 of 800
ANDY WILLIAMS                           ANESHA EVANS                             ANEXIL, RENOIS
6817 MERION COURT                       17411 OLD COURT DR                       411 NORTH J ST. NO. 3
NORTH LAUDERDALE FL 33068               TOMBALL TX 77377                         LAKE WORTH FL 33460




ANGARITA, SAMUEL                        ANGARITA, SHARAMY P                      ANGEL COVERS
6865 NW 179TH ST APT 102                9955 WESTVIEW DRIVE APT 224              PO BOX 6891
MIAMI FL 33015                          CORAL SPRINGS FL 33076                   BROOMFIELD CO 80021




ANGEL GOMEZ                             ANGEL LEONARD                            ANGEL MARTINEZ
219 MOUNTAIN ROAD                       2514 NE 24TH ST.                         1409 ALBEMARLE ROAD
EAST HARTLAND CT 06027                  FT. LAUDERDALE FL 33305                  APT 1D
                                                                                 BROOKLYN NY 11226



ANGEL MURRAY                            ANGEL NAVARRO                            ANGEL ORELLANA
140 LAWSON DRIVE                        3204 PARK AVENUE                         4551 W. M L KING JR BLVD
YORKTOWN VA 23693                       APT. 16-B                                APT #255
                                        BRONX NY 10451                           LOS ANGELES CA 90016



ANGEL ORTIZ                             ANGEL ORTIZ                              ANGEL RESTO MARTINEZ
5344 N NORDICA AVE                      1017 MAPLE AVENUE                        72 OAK STREET
CHICAGO IL 60656                        HARTFORD CT 06106                        MANCHESTER CT 06040




ANGEL RICHARDSON                        ANGEL RIVERA                             ANGEL RODGERS
1225 NW 3RD AVENUE                      194 WASHINGTON STREET                    7736 PINEAPPLE DR.
#336                                    APT. 302                                 ORLANDO FL 33835
POMPANO BEACH FL 33060                  HARTFORD CT 06106



ANGEL RODRIGUEZ                         ANGEL SANTIAGO                           ANGEL SOTO
160 GILMAN STREET                       157 JERRY ROAD                           392 NEW BRITAIN AVENUE
HARTFORD CT 06114                       EAST HARTFORD                            APT. 3W
                                        HARTFORD CT 06118                        HARTFORD CT 06106



ANGEL SUTTON                            ANGEL T. HALDEMAN                        ANGEL VELEZ
419 SOUTH TAYLOR                        HEIKES & BOLINGER, P.C.                  3300 NE 10 TERR
BALTIMORE MD 21221                      RANDALL M. BOLINGER, ESQ.                APT 19
                                        5372 DISCOVERY PARK BLVD.                POMPANO BEACH FL 33064
                                        WILLIAMSBURG VA 23188


ANGELA ADOCHIO                          ANGELA BAMBA DACAYANAN                   ANGELA BARTOLONE
10715 S. KEATING                        3706 YOUNG WOLF DRIVE                    8235 NW 94 AVE
APT 2A                                  SIMI VALLEY CA 93065                     TAMARAC FL 33321
OAK LAWN IL 60453



ANGELA BECK                             ANGELA BORNEMANN                         ANGELA BOWMAN
2212 N. CAHUENGA BLVD                   5005 ROSS RD.                            3603 VALLEYVIEW DR
APT 310                                 BALTIMORE MD 21214                       KISSIMMEE FL 34746
LOS ANGELES CA 90068




                                            Page 95 of 2387
                           Case 08-13141-BLS    Doc 17-1       Filed 12/08/08   Page 96 of 800
ANGELA BREEN                            ANGELA BRENNAN                            ANGELA CAPAN
923 GREENWAY LANE                       721 SE 12TH COURT                         114 SEEVUE CT
CASTLE ROCK CO 80108                    UNIT 2                                    B
                                        FORT LAUDERDALE FL 33316                  BEL-AIR MD 21014



ANGELA CARELLA                          ANGELA CUTRONE                            ANGELA DALRYMPLE
92 SHADY LANE                           78 MIDWOOD AVE                            845 W WASHINGTON BLVD
STAMFORD CT 06903                       NESCONSET NY 11767                        APT 3D
                                                                                  OAK PARK IL 60302



ANGELA DEAN                             ANGELA DEMARCO                            ANGELA DIXON
89 PETTENGILL ROAD                      164 SOUTH RIVER ROAD                      150 NE 23 CT
MARLBOROUGH CT 06447                    COVENTRY CT 06238                         POMPANO BEACH FL 33060




ANGELA DOUGHTY                          ANGELA ELDER                              ANGELA FLANNERY
10404 WARWICK BOULEVARD                 345 N. LASALLE                            417 PRESCOTT AVE
APT. #1                                 APT. #1401                                SCRANTON PA 18510
NEWPORT NEWS VA 23601                   CHICAGO IL 60610



ANGELA FLOWERS                          ANGELA GALLUCCI                           ANGELA GANOTE
4210 W. ADAMS BLVD                      19144 WINSLOW TERR                        28 HOLLAWAY BLVD.
APT# 205                                BOCA RATON FL 33434                       BROWNSBURG IN 46112
LOS ANGELES CA 90018



ANGELA GARDNER                          ANGELA GLANTON                            ANGELA GLEIXNER
2501 GLENDALE DRIVE                     2414 CHESTNUT LANDING                     502 50TH ST
ROYAL PALM BEACH FL 33411               ATLANTA GA 30360                          LINDENHURST NY 11757




ANGELA GOMEZ                            ANGELA GONZALEZ                           ANGELA GOZZI
279 28TH STREET                         39 MICHIGAN AVENUE                        88-56 81 ROAD
COPIAGUE NY 11726                       BAY SHORE NY 11706                        GLENDALE NY 11385




ANGELA GRAHAM                           ANGELA HASTINGS                           ANGELA HILL
3622 PIPES O'THE GLENWAY                4903 W. ADAMS                             8017 234TH STREET SW
ORLANDO FL 32808                        CHICAGO IL 60644                          #327
                                                                                  EDMONDS WA 98026



ANGELA HOKANSON                         ANGELA HOLLOWAY                           ANGELA HUNDLEY-FIELDS
4248 24TH ST                            27 BUCHANAN AVENUE                        8127 S. SPAULDING
SAN FRANCISCO CA 94114                  WYANDANCH NY 11798                        CHICAGO IL 60652




ANGELA JAMES                            ANGELA JENNINGS                           ANGELA JONES
1247 W. 95TH ST                         1794 MONTICELLO STREET                    7 ONTARIO ROAD
LOS ANGELES CA 90044                    DELTONA FL 32725                          WEST HEMPSTEAD NY 11552




                                            Page 96 of 2387
                           Case 08-13141-BLS    Doc 17-1         Filed 12/08/08   Page 97 of 800
ANGELA KING                             ANGELA KUHL                                 ANGELA KYE
14030 90TH PLACE NE                     7839 WESTMORELAND AVE                       1010 N. CURSON AVE.
BOTHELL WA 98011                        BALTIMORE MD 21234                          APT#107
                                                                                    WEST HOLLYWOOD CA 90046



ANGELA LAMANNA                          ANGELA LANE                                 ANGELA LAPROCINA
47 REID AVENUE                          402 WEST HARVEST LANE                       2012 MELROSE LANE
PORT WASHINGTON NY 11050                MIDDLETOWN DE 19709                         FOREST HILL MD 21050




ANGELA LARSEN                           ANGELA LE SANE                              ANGELA LECHNER
119 TROUVILLE RD                        5710 LAKESIDE DR                            1070 TEMPLE AVE
COPIAGUE NY 11726                       APT 715                                     APT 204
                                        MARGATE FL 33063                            LONG BEACH CA 90804



ANGELA MARSH                            ANGELA MCGRATH                              ANGELA NAVATTA
1542 ORCHARD GROVE DRIVE                613 SCHILLER ST.                            412 CATHERINE ST.
CHESAPEAKE VA 23320                     ITASCA IL 60143                             SOMERVILLE NJ 08876




ANGELA NIEMI                            ANGELA PETTIS                               ANGELA PHILLIPS
62300 OAK SHADOWS RD                    8600 S 83RD COURT                           24 DANIEL TRACE
LAWTON MI 49065                         HICKORY HILLS IL 60457                      BURLINGTON CT 06013




ANGELA PINDEL                           ANGELA PITCHFORD                            ANGELA POPE
1528 S SUNSET DRIVE                     3226 NORMOUNT AVENUE                        94 GOLFVIEW DRIVE
SCHAUMBURG IL 60193                     BALTIMORE MD 21216                          GLENDALE HEIGHTS IL 60139




ANGELA ROBINSON                         ANGELA ROZAS                                ANGELA RUETTIGER
1936 BEALL DRIVE                        4445 N. WOLCOTT AVENUE                      38W387 TOM'S TRAIL DR
HAMPTON VA 23663                        APT #2S                                     ST CHARLES IL 60175-6077
                                        CHICAGO IL 60640



ANGELA SACHITANO                        ANGELA SANCHEZ                              ANGELA SCHAPIRO
1636 NE 4TH COURT                       935 W. OAKDALE                              1176 S GROVE
FORT LAUDERDALE FL 33301                APT. 1E                                     OAK PARK IL 60304
                                        CHICAGO IL 60657



ANGELA SHRADER                          ANGELA SLOCUM                               ANGELA STANDHARDT
739 MICHELLE DRIVE                      744 S WOODINGTON RD.                        2306 N. HOYNE
NEWPORT NEWS VA 23601                   BALTIMORE MD 21229                          APT. #2-R
                                                                                    CHICAGO IL 60647



ANGELA VANLUE                           ANGELA VIGIL                                ANGELA WALTON
101 W. OLYMPIC PLACE                    3819 BLUE DASHER DR.                        4351 WEST 181ST STREET
SEATTLE WA 98119                        KISSIMMEE FL 34744                          COUNTRY CLUB HILLS IL 60478




                                            Page 97 of 2387
                          Case 08-13141-BLS    Doc 17-1        Filed 12/08/08   Page 98 of 800
ANGELA WAY                             ANGELA WILLIAMS                            ANGELES CREST SERVICE
4322 N. WHIPPLE STREET                 316 CELLO CIRCLE                           PO BOX 11
CHICAGO IL 60618                       WINTER SPRINGS FL 32708                    LARRY LOPEZ
                                                                                  MT WILSON CA 91023



ANGELES PACHECO                        ANGELES VILLALOBOS                         ANGELICA ANDRADE
5614 W. WELLINGTON                     4154 N. KIMBALL                            1517 MERCED AVE
APT. #2E                               CHICAGO IL 60618                           SP. # 12
CHICAGO IL 60634                                                                  SOUTH EL MONTE CA 91733



ANGELICA CARR                          ANGELICA MARTIN                            ANGELICA MEYER
1115 E. 62ND STREET                    3507 N. LEAVITT                            8112 STEWART & GRAY ROAD
APT. #303                              CHICAGO IL 60618                           APT. # 8
CHICAGO IL 60637                                                                  DOWNEY CA 90241



ANGELICA NUNEZ-RUBIO                   ANGELICA SUNGA                             ANGELICA VAZQUEZ
17445 OWEN ST.                         4235 MARY ELLEN AVE                        3357 S. WOOD
FONTANA CA 92335                       #103                                       1ST FL
                                       STUDIO CITY CA 91604                       CHICAGO IL 60608



ANGELICA, CHRISTOPHER                  ANGELIKA SCHUBERT INC                      ANGELIKA SCHUBERT INC
9430 HUNTERS CREEK DR                  1548 16TH STREET                           1666 20TH STREET NO.200B
CINCINNATI OH 45242                    SANTA MONICA CA 90404-3309                 SANTA MONICA CA 90404




ANGELINA CIRIACO                       ANGELINA CRISPO                            ANGELINA DE CORDOVA
620 S. PRIMROSE DRIVE                  637 NO DELAWARE AVE                        1846 EAST GREENVILLE DRIVE
ORLANDO FL 32803                       LINDENHURST NY 11757                       WEST COVINA CA 91791




ANGELINA ECONOMU                       ANGELINA GUZMAN                            ANGELINA LAWS-HILL
2929 SE OCEAN BLVD.                    1717 N. 24TH AVENUE                        31 LINDEN PLACE
APT 125-10                             MELROSE PARK IL 60160                      HEMPSTEAD NY 11550
STUART FL 34996



ANGELINE D HOOPES                      ANGELINE VILARDI                           ANGELIQUE GRANVILLE
4003 WESTAWAY DR.                      P.O. BOX 1118                              150 MAIN ST.
C-8                                    MILLER PLACE NY 11764                      30
LAFAYETTE HILL PA 19444-1539                                                      ISLIP NY 11751



ANGELIQUE WALBROEL                     ANGELISA YOUNG                             ANGELITA G MALDONADO
8600 REDSKIN COURT                     13826 OSPREY NEST LANE                     8633 CALIFORNIA AVE APT 422
ORLANDO FL 32829                       #16                                        SOUTH GATE CA 90280
                                       ORLANDO FL 32837



ANGELO GORDON & CO LP                  ANGELO IPPOLITO                            ANGELO LAISE
ATTN: GAVIN BAIERA                     18 PINE AVENUE                             3321 RED ASH CIRCLE
245 PARK AVENUE                        BETHPAGE NY 11714                          OVIEDO FL 32766
NEW YORK NY 10167




                                           Page 98 of 2387
                        Case 08-13141-BLS   Doc 17-1         Filed 12/08/08   Page 99 of 800
ANGELO SANDERS                       ANGELO SCARPINITO                          ANGELO, JESSE
2224 PASADENA STREET                 200 BELLEVUE RD                            459 STERLING PL NO.3
APT. #302                            OAKDALE NY 11769                           BROOKLYN NY 11238
METAIRIE LA 70001



ANGELS BASEBALL LP                   ANGELS BASEBALL LP                         ANGERT, ALEXANDER
2000 GENE AUTRY WAY                  PO BOX 61078                               440 MONTCLAIR DR
ANAHEIM CA 92806                     ANAHEIM CA 92803-6178                      WESTON FL 33326




ANGIE BODDORF                        ANGIE GOMEZ                                ANGIE MITCHELL
627 EAST BELL AVENUE                 640 UNION STREET                           323 NEW AVENUE
ALTOONA PA 16602                     ALLENTOWN PA 18101                         WYANDANCH NY 11798




ANGILITA CARTAGENA                   ANGLE, CHARLES                             ANGLIN, DINAHMETRIE
1000 SW 8TH STREET                   1748 LYNN AVE                              177 CHICAGO WOODS CIRCLE
HALLANDALE FL 33009                  FRUITLAND PARK FL 34731                    ORLANDO FL 32824




ANGLIN, JAY S                        ANGONOA, JOSE ALBERTO                      ANGRY BEAR PRODUCTIONS
3340 BANKS RD. #701                  BAIGORRI 475                               9 BAINBRIDGE CLOSE GRANGE PARK
MARGATE FL 33063                     CIUDAD DE CORDOBA CP5001                   SWINDON, WILTS SN5 6BD




ANGUS CONTRACTORS INC                ANGUS, ALFORD                              ANGUS, KAREN
PO BOX 569                           165 WESTMINISTER ST                        217 CUMBERLAND ST      2ND FLR
WAYNE IL 60184                       HARTFORD CT 06112-1372                     BROOKLYN NY 11205




ANI AMIRKHANIAN                      ANI HARTOUNIAN                             ANIBAL NIEVES
1935 E. ALPHA ROAD                   18821 HATTERAS                             1155 PENNSYLVANIA AVENUE
APT#214                              APT #6                                     APT 19D
GLENDALE CA 91208                    TARZANA CA 91356                           BROOKLYN NY 11239



ANIBAL NUNEZ                         ANICA BUTLER                               ANIDA DORSAINVIL
237 VICTORIA ROAD                    3121 CRITTENTON PLACE                      200 NE 25TH STREET
HARTFORD CT 06114                    BALTIMORE MD 21211                         POMPANO BEACH FL 33064




ANIJS, MYRNA F N                     ANIKA PALM                                 ANIKIENKO, ERIK
PO BOX 1024                          30 W. HARVARD ST.                          26 OCONNELL
BETHLEHEM PA 18016                   ORLANDO FL 32804                           COLCHESTER CT 06415




ANIL JOY JOSEPH                      ANIL VASWANI                               ANILLO, RANIER
728 N. GENEVA AVENUE                 3063 DEEPWATER WAY                         2650 SW 13TH ST  NO.4
ELMHURST IL 60126                    EDGEWOOD MD 21040-2926                     FT LAUDERDALE FL 33312




                                         Page 99 of 2387
                           Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 100 of 800
ANIMAL RENTALS INCORPORATED             ANIMATED DESIGN GROUP INC                     ANIMATED DESIGN GROUP INC
5742 W GRAND AVENUE                     129 N FORT HARRISON AVE                       16100 FAIRCHILD DR
CHICAGO IL 60639                        CLEARWATER FL 33755                           CLEARWATER FL 33762




ANISCHIK, THOMAS J                      ANITA CERELLIA EWELL                          ANITA DROZ
4 AUSTIN DRIVE                          P.O. BOX 2682                                 1331 BELLEVUE RD LOT 26
TOLLAND CT 06084                        CHINO CA 91708                                GREEN BAY WI 54302




ANITA E BERICHON                        ANITA GRUBE                                   ANITA HARDIN
7639 FAUST AVENUE                       26 HALLOCK AVENUE                             PO BOX 1613
WEST HILLS CA 91304                     SMITHTOWN NY 11787                            EUSTIS FL 32727




ANITA KUPKE                             ANITA MANGUM                                  ANITA SANTIAGO
19749 LK PICKETT RD                     8051 S. HOUSTON AVENUE                        5644 SOUTH NEW ENGLAND AVENUE
ORLANDO FL 32820                        CHICAGO IL 60617                              CHICAGO IL 60638




ANITA SMITH                             ANITA STRONG                                  ANITRA BRYANT
930 SW 2ND COURT                        258 WINDSONG ECHO DR                          2713 BOOKERT DRIVE
FORT LAUDERDALE FL 33312                HENDERSON NV 89012                            BALTIMORE MD 21225




ANIXTER INC                             ANIXTER INC                                   ANIXTER INC
350 NORTH GLENOAKS BLVD                 5055 E LANDON DR                              BOX NO.98908
SUITE 305                               ANAHEIM CA 92807                              LOS ANGELES CA 90074-8908
BURBANK CA 91502-1133



ANIXTER INC                             ANIXTER INC                                   ANIXTER INC
1255 NW 17TH AVE STE 4                  ATTN: CARLOS                                  1471 BUSINESS CENTER DRIVE
DELRAY BEACH FL 33445                   7550 BROKERAGE DRIVE                          FAX 847-390-8181
                                        ORLANDO FL 32809                              MT PROSPECT IL 60056



ANIXTER INC                             ANIXTER INC                                   ANIXTER INC
853 FEEHANVILLE DRIVE                   PO BOX 98908                                  PO BOX 1067
MT PROSPECT IL 60056                    CHICAGO IL 60693-8908                         FILE 98908
                                                                                      CHARLOTTE NC 28201-1067



ANIXTER INC                             ANIXTER INC                                   ANJALI SANT
PO BOX 660441                           PO BOX 847428                                 2943 N. LINCOLN
FILE NO.98908                           DALLAS TX 75284-7428                          206
DALLAS TX 75266-0401                                                                  CHICAGO IL 60657



ANJELA DALE                             ANKE ALDAG-CROCKER                            ANKORI, SHIRA
310 CALLE DE LA MESA                    342 FERRARA COURT                             224 BICKNELL AVE   APT B
NOVATO CA 94949                         KISSIMMEE FL 34758                            SANTA MONICA CA 90405




                                               Page 100 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 101 of 800
ANLYN THRALL                           ANN ACHILLES                                  ANN BABCOCK
2035 HERITAGE DRIVE                    7156 SPRINGSIDE AVENUE                        6 CAMERON AVENUE
BALTIMORE MD 21209                     DOWNERS GROVE IL 60516                        GLENS FALLS NY 12801




ANN BARNES                             ANN BRENOFF                                   ANN BROWN
11846 WINTERLONG WAY                   20644 MEDLEY LANE                             13906 FOX MEADOW DR.
COLUMBIA MD 21044                      TOPANGA CA 90290                              ORLANDO FL 32826




ANN CARPENTER                          ANN CARTER                                    ANN CASEY
1384 YELLOW PINE CT.                   660 NE 57 COURT                               508 ANDERSON DR
WINTER SPRINGS FL 32708                FORT LAUDERDALE FL 33334                      LAKE IN THE HILLS IL 60156




ANN DELAGNES                           ANN E LONERGAN                                ANN EFIMETZ
2756 MARTY WAY                         5701 W. LELAND AVE.                           130 NINA LANE
SACRAMENTO CA 95818                    CHICAGO IL 60630                              WILLIAMSBURG VA 23188




ANN GENDROLIS                          ANN GIVENS                                    ANN HAGUE
126 EUCALYPTUS LANE                    1209 8TH AVENUE                               36 SHERATON LANE
COSTA MESA CA 92627                    APT. 4L                                       QUEENSBURY NY 12804
                                       BROOKLYN NY 11215



ANN HELLMUTH                           ANN HERRING                                   ANN HOSKINSON
10674 WOODCHASE CIRCLE                 13 OLDE COACH ROAD                            4284 CEDAR DRIVE
ORLANDO FL 32836                       QUEENSBURY NY 12804                           SAN BERNARDINO CA 92407




ANN KEENAN                             ANN KOHUT                                     ANN LOLORDO
20006 ARMINTA STREET                   10758 WHARTON COURT                           310 S. RIVERSIDE DRIVE
LOS ANGELES CA 91306                   ORLANDO FL 32821                              CROWNSVILLE MD 21032




ANN LOWY                               ANN M HAJEWSKI                                ANN MARIE GARCIA
3453 SANTEE RD                         12448 HIDDEN VALLEY ROAD                      6555 LIGHTHOUSE PL
BETHLEHEM PA 18017                     GRASS VALLEY CA 95949                         MARGATE FL 33063




ANN MARIE LIPINSKI                     ANN MARIE SAVIANO                             ANN MARIE STEPHENSON
4919 S. WOODLAWN AVE.                  6035 W 59TH ST.                               11 SOUTH EDWARD STREET
CHICAGO IL 60615                       CHICAGO IL 60638                              MOUNT PROSPECT IL 60056




ANN MCCARRICK                          ANN MCVICKER                                  ANN MERFOGEL
21 TOEHEE PLACE                        146-22 BOOTH MEMORIAL AVENUE                  19 AGATHA DR
APT. 2B                                FLUSHING NY 11555                             PLAINVIEW NY 11803
ISLIP NY 11751




                                              Page 101 of 2387
                           Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 102 of 800
ANN MICHELS                             ANN MOORE                                     ANN O'NEILL
1555 N SANDBURG TER                     65 SOUTH WHITNEY ST.                          9709 BRIARCLIFFE LANE
UNIT #411                               HARTFORD CT 06106                             ELLICOTT CITY MD 21042
CHICAGO IL 60610



ANN POWERS                              ANN R LYONS                                   ANN REPP BOOKBINDING
4635 SAN ANDREAS AVENUE                 626 S. HARRISON STREET                        30 W HUBBARD ST NO.3
LOS ANGELES CA 90065                    #A                                            CHICAGO IL 60610
                                        BATAVIA IL 60510-2926



ANN RHINELANDER                         ANN RICHTER                                   ANN SAYEGH
36 BOSTON HILL ROAD                     737 OLYMPIC CIRCLE                            396 MERCEDES AVENUE
ANDOVER CT 06232                        OCOEE FL 34761                                PASADENA CA 91107




ANN SCHUMANN                            ANN SHAFQUAT                                  ANN SILVERBERG
111 E. SEEBOTH STREET                   ONE LOCH LANE                                 19 FRANKLIN CT W.
APT 307                                 RYE BROOK NY 10573                            GARDEN CITY NY 11530
MILWAUKEE WI 53204



ANN SIMMONS                             ANN SMUKLER                                   ANN WELLS
29352 VIA MILAGRO                       600 SHORE ROAD                                1323 N AVENUE 56
SANTA CLARITA CA 91354                  APT. 3F                                       LOS ANGELES CA 90042
                                        LONG BEACH NY 11561



ANN WILLIAMS                            ANN WILSON                                    ANN WLAZELEK
325 EAST LAWN ROAD                      110 VILLA ROAD                                6428 FIR ROAD
NAZARETH PA 18064                       NEWPORT NEWS VA 23601                         ALLENTOWN PA 18104




ANNA ABRAMS                             ANNA AU                                       ANNA BEACH
3765 N. LAKEWOOD AVE.                   2336 19TH AVENUE SOUTH                        2325 NE 17TH TER
CHICAGO IL 60613                        SEATTLE WA 98144                              FORT LAUDERDALE FL 33305




ANNA BERBEKA-JOHNSON                    ANNA BIONDO                                   ANNA BODNAR
4936 N NEW ENGLAND                      12925 SPRINGDALE VILLAGE DRIVE                20 WEST AVENUE
CHICAGO IL 60656                        ST. LOUIS MO 63146                            APT. 1J
                                                                                      NORWALK CT 06854



ANNA CHAN                               ANNA CHENG                                    ANNA CIOLEK
816 SAN ANGELO AVE                      2345 NORTH HOUSTON STREET                     104 N HARDING AVENUE
MONTEBELLO CA 90640                     APT. # 220                                    PEN ARGYL PA 18072
                                        DALLAS TX 75219



ANNA DI BRITA                           ANNA E BRAHM                                  ANNA ERNST
7764 W. SUNNYSIDE AVENUE                7101 CHEERYWOOD LANE                          1229 HAMPTON BLVD
NORRIDGE IL 60706                       SPRING GROVE IL 60081-1020                    NORTH LAUDERDALE FL 33068




                                               Page 102 of 2387
                        Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 103 of 800
ANNA FLEMING                         ANNA FULSE                                    ANNA GONZALEZ
18 DEAN RAY COURT                    174 PROSPECT HILL RD                          27 CUSHING STREET
NEWPORT NEWS VA 23605                WINDSOR CT 06095                              APT. #3
                                                                                   STAMFORD CT 06907



ANNA GOODSON MANAGEMENT              ANNA GORDON                                   ANNA KICYLA
38-10 PLACE DU COMMERCE STE 611      ONE GALLERIA BLVD.                            2426 W SUPERIOR ST
VERDUN QC H3E 1T8                    STE. 850                                      CHICAGO IL 60612
                                     METAIRIE LA 70001



ANNA LANDAVERDE                      ANNA LEON                                     ANNA LIN
102 S. PRIMROSE AVE.                 54 K READING ROAD                             1413 WILLOW OAK DRIVE
ALHAMBRA CA 91801                    EDISON NJ 08817                               FREDERICK MD 21701




ANNA M CUNNINGHAM                    ANNA MACUDZINSKI                              ANNA MAE DEKKER
52 MANASSAS DRIVE                    1021 W. NEWPORT AVENUE                        17384 OAK CREST PARKWAY
MIDDLETOWN DE 19709                  CHICAGO IL 60657                              MAPLE VILLA - D-10
                                                                                   SPRING LAKE MI 49456



ANNA MAJKA                           ANNA MARCANTONIO                              ANNA MARIA PIZZOFERRATO
3002 LINWOOD AVE                     36 E. BOYLSTON STREET                         9352-D SABLE RIDGE CIR
BALTIMORE MD 21234                   GLENS FALLS NY 12801                          BOCA RATON FL 33428




ANNA MARIE SOMMA                     ANNA METCALFE                                 ANNA MOLINA
14 CORINNE DRIVE                     2021 CAMBRIDGE PLACE                          32 DEVINE PLACE
PROSPECT CT 06712                    SOUTH PASADENA CA 91030                       AMITYVILLE NY 11701




ANNA NASSER                          ANNA O'SULLIVAN                               ANNA QUATELA
9118 GRACEMONT STREET                210 DUKE OF YORK LANE                         7 OAK RUN
WHITTIER CA 90602                    COCKEYVILLE MD 21030                          STONY BROOK NY 11790




ANNA ROBERTS                         ANNA SEETO                                    ANNA SMITH
128 HOME AVE                         1763 PATRICIA LANE                            8302 S PAULINA
APT. #1C                             ST. CHARLES IL 60174                          APT. #2N
OAK PARK IL 60302                                                                  CHICAGO IL 60620



ANNA VAYSMAN                         ANNA ZIETAL                                   ANNABEL, DIANE
1420 N. FULLER AVE                   9315 CHAPARRAL ROAD                           1537 HAVERHILL DRIVE
APT 204                              CANOGA PARK CA 91304                          NEW PORT RICHEY FL 34655
LOS ANGELES CA 90046



ANNABELL LOPEZ                       ANNABELLA COULURIS                            ANNABELLE CHICO
91 HALE TERRACE                      54 DORCHESTER RD                              950 W HURON STREET
BRIDGEPORT CT 06610                  SMITHTOWN NY 11787                            APT # 206
                                                                                   CHICAGO IL 60622




                                            Page 103 of 2387
                         Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 104 of 800
ANNABELLE HAVLICEK                    ANNABELLE KERINS                              ANNALEE PENNY
932 SOUTH 11TH                        C/O RM ROSENBERGER ESQ                        289 3RD STREET #3
MILWAUKEE WI 53204                    1 SUMMIT ST                                   WEST SACRAMENTO CA 95605
                                      PHILADELPHIA PA 19118



ANNAMARIA EXARCHOS                    ANNAMARIA KHRISTINA                           ANNAPOLIS WEST LIMITED PARTNERSHIP
448 1/4 N. LAKE STREET                2316 GRAND CENTRAL PKWY UNIT NO.1             RE: ANNAPOLIS 60 WEST ST
LOS ANGELES CA 90026                  ORLANDO FL 32839                              C/O THE LOUGHLIN MANAGEMENT GROUP
                                                                                    60 WEST ST., SUITE 204
                                                                                    ANNAPOLIS MD 21401


ANNASTASIA STAFFORD                   ANNE ALBRACHT                                 ANNE BURGER
6724 HILLPARK DRIVE                   4447 OCEAN VIEW BLVD                          4413 SEDGWICK ROAD
APT 301                               APT 9                                         BALTIMORE MD 21210
LOS ANGELES CA 90068                  MONTROSE CA 91020-1244



ANNE C ALLEN                          ANNE CAPPIELLO                                ANNE COLBY
3859 N NORDICA                        12713 NEWFIELD DR.                            P. O. BOX 446
CHICAGO IL 60634                      ORLANDO FL 32837                              SIERRA MADRE CA 91025




ANNE DELCOURT                         ANNE DERK                                     ANNE DILLON
25 APPLEHOUSE LANE                    1636 N CHILCO COURT                           1034 PEARL STREET
QUEENSBURY NY 12804                   THOUSAND OAKS CA 91360                        APT A
                                                                                    SANTA MONICA CA 90405



ANNE DOHERTY                          ANNE DRAKE                                    ANNE DUCEY
50 E MAPLE STREET                     76 LUDLOW ROAD                                3619 EAST COLORADO STREET
TEANECK NJ 07666                      WINDSOR CT 06095                              LONG BEACH CA 90814




ANNE DUNLAP                           ANNE E HEYL                                   ANNE FERRER
950 MCGREGOR WAY                      350 W. SCHAUMBURG RD #B190                    3598 WINDSONG ST.
MAITLAND FL 32751                     SCHAUMBURG IL 60194-3451                      EL MONTE CA 91732




ANNE GUIGNON                          ANNE HALLIDAY                                 ANNE HARNAGEL
62 TRAILSEND DRIVE                    353 N. ELM STREET                             930 INDIANA AVENUE
CANTON CT 06019                       HINSDALE IL 60521                             SOUTH PASADENA CA 91030




ANNE HUTTER                           ANNE KAOUGH-HILL                              ANNE KELLY
34 RED FOX LANE                       10954 PENNEY AVENUE                           1008 FOSTER ST.
FLAGER BEACH FL 32136                 INGLEWOOD CA 90303                            EVANSTON IL 60201




ANNE L MUNRO                          ANNE LINSKEY                                  ANNE MACHALINSKI
491 CAPRI ISLES COURT                 805 ST. PAUL STREET                           41-42 42ND STREET
PUNTA GORDA FL 33950                  APT. #1                                       APT. 5B
                                      BALTIMORE MD 21202                            SUNNYSIDE NY 11104




                                             Page 104 of 2387
                           Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 105 of 800
ANNE MARIE LONG                         ANNE MARIE REIFENBERG                         ANNE MICHAUD-HARMAN
1069 HILLSBORO MILE                     326 N. MANSFIELD AVENUE                       60 MILL LANE
APT 703                                 LOS ANGELES CA 90036                          HUNTINGTON NY 11743
HILLSBORO BEACH FL 33062



ANNE MILLER                             ANNE MONAGHAN                                 ANNE MOSHER
6111 NORTH CRITTENDEN AVENUE            P.O. BOX 7095                                 4850 NE 8 AVENUE
INDIANAPOLIS IN 46220                   WILLIAMSBURG VA 23188                         FORT LAUDERDALE FL 33334




ANNE MURRIETA                           ANNE NEBENZAHL                                ANNE R FAWCETT
2342 DI FOSS ST.                        21597 KAPOK CIR                               11 CALLE MARTA
LEMON GROVE CA 91945                    BOCA RATON FL 33433                           RANCHO SANTA MARGARITA CA 92688-3500




ANNE RAGO                               ANNE REICH                                    ANNE SARDINA
633 EUCLID                              2039 BROOK LANE                               217 COUNTY RT 42
ELMHURST IL 60126                       SEAFORD NY 11783                              FORT EDWARD NY 12828




ANNE SARGEANT                           ANNE SHERWOOD PHOTOGRAPHY, INC                ANNE SHERWOOD PHOTOGRAPHY, INC
3343 KENMORE AVENUE                     321 EAST MAIN ST NO.326                       607 S 7TH AVE
1FF                                     BOZEMAN MT 59715                              BOZEMAN MT 59715
CHICAGO IL 60657



ANNE SIMMONS                            ANNE SNYDER                                   ANNE SPANOS
4219 MANORVIEW RD.                      660 WILLOW DRIVE                              933 CRAWFORD STREET
GLEN ARM MD 21057                       NORTH CATASAUQUA PA 18032                     BETHLEHEM PA 18017




ANNE TALLENT                            ANNE VANDERMEY                                ANNE VASQUEZ
3709 MONTEREY ROAD                      7 GRANGE DRIVE                                4420 SW 74TH WAY
BALTIMORE MD 21218                      WILLINGTON CT 06279-2214                      DAVIE FL 33314




ANNE WILLAN INC                         ANNE WILLIAMS                                 ANNE-MARIE BRZEZINSKI
PO BOX 14354                            3894 BARBARA COURT                            130 HICKORY LANE
SCOTTSDALE AZ 85267                     SEAFORD NY 11783                              LEVITTOWN NY 11756




ANNE-MARIE O'CONNOR                     ANNECHIARICO, KRISTOFER                       ANNEMARIE MANNION
3368 MOORE STREET                       342 NEWTOWN TPKE                              6158 KNOLLWAY
LOS ANGELES CA 90066                    REDDING CT 06896                              203
                                                                                      WILLOWBROOK IL 60514



ANNEMARIE RIBAUDO                       ANNEMARIE VANI-SALETNIK                       ANNETTE BAKICH
17 CENTRAL ST                           10 EVA LANE                                   24 MILLER RD
GREENLAWN NY 11740                      FARMINGVILLE NY 11738                         FARMINGDALE NY 11735




                                               Page 105 of 2387
                            Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 106 of 800
ANNETTE BROWN                            ANNETTE CONNER                                ANNETTE COUSINS
865 RICH DRIVE                           340 VAN COTT AVENUE                           1663 NORTH 56TH STREET
APT 205                                  FARMINGDALE NY 11735                          PHILADELPHIA PA 19131
DEERFIELD BEACH FL 33441



ANNETTE DADURA                           ANNETTE DESHOTELS                             ANNETTE GASCON
7281 FARRIER ROAD                        710 CASTLEREA LANE                            321 NORTH PALM AVENUE
OREFIELD PA 18069                        DES PLAINES IL 60016                          APT #D
                                                                                       ALHAMBRA CA 91801



ANNETTE GONZALEZ                         ANNETTE HADDAD                                ANNETTE KILFEATHER
3135 N. AUSTIN AVE                       475 CASTANO AVENUE                            5617 NW 109 LN
CHICAGO IL 60634                         PASADENA CA 91107                             CORAL SPRINGS FL 33076




ANNETTE LAFON                            ANNETTE ROBINSON                              ANNETTE RUEDAFLORES
TAX AUDITOR                              3408 WOODRING AVENUE                          138 W AVENUE 30
DEPARTMENT OF REVENUE                    BALTIMORE MD 21234                            LOS ANGELES CA 90031
PO BOX 6417
TALLAHASSEE FL 32314-6417


ANNETTE WILLIS                           ANNI STROH                                    ANNIE ADAMS
3950 INVERRARY DRIVE                     1320 COMSTOCK AVENUE                          6424S. GREENWOOD
LAUDERHILL FL 33319                      LOS ANGELES CA 90024                          #3
                                                                                       CHICAGO IL 60637



ANNIE ALVAREZ                            ANNIE CHEN                                    ANNIE DYER
2845 SPRUCE STREET                       1587 SW 178TH AV                              428 N RIDGEWAY
APT 3                                    BEAVERTON OR 97006                            #02
UNION NJ 07083                                                                         CHICAGO IL 60624



ANNIE FORD                               ANNIE FRANK                                   ANNIE G COMPANIES
217 N LAPORTE AVE                        692 GENESSEE STREET                           1465 BENEDICT CANYON
CHICAGO IL 60644                         ANNAPOLIS MD 21401                            BEVERLY HILLS CA 90210




ANNIE GILBAR                             ANNIE HERNDON                                 ANNIE KIM
1465 BENEDICT CANYON                     11167 MCGEE RIVER CIRCLE                      4080 ROSENDA COURT #206
BEVERLY HILLS CA 90210                   FOUNTAIN VALLEY CA 92708                      SAN DIEGO CA 92122




ANNIE LEVI                               ANNIE MYERS                                   ANNIE SO
1655 S. CENTRAL PARK                     6319 N. SACRAMENTO AVE                        217 E. FOREST AVE.
CHICAGO IL 60623                         #3W                                           ARCADIA CA 91006
                                         CHICAGO IL 60659



ANNIE STANBACK                           ANNIE WALKER                                  ANNIE WANG
2023 S 4TH AVENUE                        3316 ST. AMBROSE AVENUE                       1022 SOUTH HUNT CLUB DRIVE
MAYWOOD IL 60153                         BALTIMORE MD 21215                            MOUNT PROSPECT IL 60056




                                                Page 106 of 2387
                           Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 107 of 800
ANNIE WANG                              ANNIE YAHINIAN                                ANNIN, JUSTIN
2852 TORY COURT                         4681 NE 1ST TER                               5310 LAKECREST DR
LISLE IL 60532                          FORT LAUDERDALE FL 33334                      SHAWNEE KS 66218




ANNLIESE SCOTT                          ANNMARIE COLASCIONE                           ANNQUINETTE BURTON
6120 COLLINSWAY ROAD                    13 DELAMERE PLACE                             1106 W. 78 ST.
CATONSVILLE MD 21228                    DEER PARK NY 11729                            APT. #2W
                                                                                      CHICAGO IL 60620



ANNYSE GROSS                            ANOCOIL CORP                                  ANOCOIL CORP
5272 NW 98 LANE                         60 E MAIN STREET                              60 EAST MAIN STREET
CORAL SPRINGS FL 33076                  PO BOX 1318                                   PO BOX 1318
                                        ROCKVILLE CT 06066-1318                       ROCKVILLE, CONNECTICUT
                                                                                      ATTN: SUE BUTLER CT 06066


ANOSHENKO, BETH A                       ANRITSU COMPANY                               ANRITSU COMPANY
3743 W 114TH PL                         490 JARVIS DR                                 DEPT 01629
CHICAGO IL 60655                        MORGAN HILL CA 95037                          PO BOX 39000
                                                                                      SAN FRANCISO CA 94139-1629



ANSAR HYDER                             ANSEL, EMILY                                  ANSHAW, CAROL
5280 SHOTKOSKI DR                       240 E 13TH STREET APT 28                      4753 N BROADWAY SUITE 910
HOFFMAN ESTATES IL 60192                NEW YORK NY 10003                             CHICAGO IL 60640




ANSHAW, CAROL                           ANSON-STONER INC                              ANSUL, STEVE
ROOM NO.202                             111 E FAIRBANKS AVE                           1419 N HARRISON ST
3139 N LINCOLN                          WINTER PARK FL 32789                          SUITE NO.3
SUITE 224                                                                             WILMINGTON DE 19806
CHICAGO IL 60657


ANSWERS MEDIA LLC                       ANSWERTHINK INC                               ANTANAS PINKUS
400 W ERIE ST    2ND FLR                PO BOX 116525                                 4419 AMBROSE TERRACE
CHICAGO IL 60610                        ATLANTA GA 30368-6525                         LOS ANGELES CA 99927-2708




ANTANAVAGE, EVAN                        ANTARES INFORMATION TECHNOLOGIES INC          ANTCZAK, CARMEN
294 MAPLE STREET                        ATTN: ACCTS RECEIVABLES                       3407 KEHM BLVD ACCT 714
ALBURTIS PA 18011                       1140 MOTOR PARKWAY                            PARK CITY IL 60085
                                        HAUPPAUGE NY 11788



ANTELO, ALEJANDRO                       ANTELOPE VALLEY PRESS                         ANTHEM BLUE CROSS AND BLUE SHIELD
79 ANSONIA STREET                       P O BOX 4050                                  PO BOX 791273
HARTFORD CT 06114                       PALMDALE CA 93590-0880                        BALTIMORE MD 21279




ANTHEM BLUE CROSS AND BLUE SHIELD       ANTHEM MARKETING CORP                         ANTHONY ADOLFO
PO BOX 85101                            117 N JEFFERSON STE 204                       3123 WALLFORD DRIVE
RICHMOND VA 23285-5101                  CHICAGO IL 60661                              BALTIMORE MD 21222




                                               Page 107 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 108 of 800
ANTHONY ANGELES                        ANTHONY B BARNARD                             ANTHONY BARBOZA
9133 CORDOBA LANE                      2186 WARMOUTH                                 1528 E. FIRST ST.
ST. LOUIS MO 63126                     SAN PEDRO CA 90732                            APT. 4
                                                                                     LONG BEACH CA 90802



ANTHONY BEAVER                         ANTHONY BENENATI                              ANTHONY BENNETT
39 BLUEBIRD ROAD                       95 ENGELKE ST                                 9863 NW 24TH PLACE
SOUTH GLENS FALLS NY 12803             PATCHOGUE NY 11772                            SUNRISE FL 33322




ANTHONY BENNETT                        ANTHONY BORGES                                ANTHONY BOSCO
403 N PINE ST.                         107 DONOVAN ROAD                              1623 W. BELMONT
MOUNT PROSPECT IL 60056                NAUGATUCK CT 06770                            CHICAGO IL 60657




ANTHONY BURDELAS                       ANTHONY BURGOS                                ANTHONY BUTERA
8034A STONE HAVEN DR                   15 PROSPECT AVENUE                            595 COAKLEY STREET
GLEN BURNIE MD 21060                   BRENTWOOD NY 11717                            EAST MEADOW NY 11554




ANTHONY BUTLER                         ANTHONY C COLOSIMO                            ANTHONY C. FONDA
6615 CHANTRY ST.                       561 FOREST HILL                               RE: MIDDLETOWN 373 E. MAIN ST
ORLANDO FL 32835                       LAKE FOREST IL 60045                          2 KIDDS WAY
                                                                                     WATCH HILL RI 02891



ANTHONY CALABRO                        ANTHONY CANEROSSI                             ANTHONY CANNELLA
76 LANDERS ROAD                        824 6TH ST. 8TH AVE                           55 HIGHLAND TERRACE
EAST HARTFORD CT 06118                 WEST BABYLON NY 11704                         NEW BRITAIN CT 06053




ANTHONY CAPPELLETTI                    ANTHONY CAPUTO                                ANTHONY CASSETT
69-40C 186TH LANE                      99 JENKINS STREET                             2220 HARCOURT AVENUE
APT. 1B                                MERRICK NY 11566                              LOS ANGELES CA 90019
FRESH MEADOWS NY 11365



ANTHONY CASTELLANETA                   ANTHONY CASTINEIRAS                           ANTHONY CHERNICH
195 109TH AVE                          78 SYCAMORE CIRCLE                            1617 ELDERBERRY LANE
ELMONT NY 11003                        STONY BROOK NY 11790                          LAKE VILLA IL 60046




ANTHONY CHIAPUTTI                      ANTHONY CHIODO                                ANTHONY CICIORA
35 BUTTERNUT DRIVE                     132 LAUREL AVE.                               5725 W. 106TH STREET
GLASTONBURY CT 06033                   LARCHMONT NY 10538                            APT. 1W
                                                                                     CHICAGO RIDGE IL 60415



ANTHONY COCONATE                       ANTHONY COLAROSSI                             ANTHONY CONROY
9201 COUNTRY CLUB TRACE                322 EASTRIDGE DRIVE                           2 DUNMORE ROAD
MARENGO IL 60152                       EUSTIS FL 32726                               CATONSVILLE MD 21228




                                              Page 108 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 109 of 800
ANTHONY CONTE                          ANTHONY CONTE (PRO SE)                        ANTHONY COX
ANTHONY CONTE (PRO SE)                 2 ETHAN ALLEN COURT                           7504 HAYSTACK DR
2 ETHAN ALLEN COURT                    SOURTH SETAUKET NY 11720                      BALTIMORE MD 21244
SOURTH SETAUKET NY 11720



ANTHONY DAVIS                          ANTHONY DEANGELO                              ANTHONY DELAURENTIS
5244 W. RACE                           9480 RIDGE BLVD                               13044 BRAMBLE COURT
CHICAGO IL 60644                       #2G                                           LOCKPORT IL 60441
                                       BROOKLYN NY 11209



ANTHONY DESTEFANO                      ANTHONY DI GIACOMO                            ANTHONY DICICCO
203 JANE ST                            88 GRANT STREET SOUTH                         475 WEST BROADWAY
ENGLEWOOD NJ 07631                     SLOATSBURG NY 10974                           LONG BEACH NY 11561




ANTHONY DIGREGORIO                     ANTHONY DOMINGUEZ                             ANTHONY DONNARUMMA
1443 SW 158TH AVENUE                   22226 ANTHONY DR                              227 ELVERTON AVENUE
PEMBROKE PINES FL 33027                LAKE FOREST CA 92630                          STATEN ISLAND NY 10308




ANTHONY DUKES                          ANTHONY DURAZZO                               ANTHONY FELPO
6425 S. WINCHESTER AVE.                1353 SWEETBRIAR LANE                          13 PINE STREET
CHICAGO IL 60636                       BEL AIR MD 21014                              CENTRAL ISLIP NY 11722




ANTHONY FERRARO                        ANTHONY FLOOK                                 ANTHONY FLOWERS
178 NORTH ELM STREET                   290 BRUCE PARK AVENUE                         1013 S WASHINGTON
NORTH MASSAPEQUA NY 11758              GREENWICH CT 06830                            PARK RIDGE IL 60068




ANTHONY FONTANELLI                     ANTHONY FORHAN                                ANTHONY FOTE'
24 BUTTERNUT DRIVE                     1406 SE RHINE STREET                          205 ST CROIX CT
GLASTONBURY CT 06033                   PORTLAND OR 97202                             OAK PARK CA 91377




ANTHONY FULTH                          ANTHONY GABRIELE                              ANTHONY GARCIA
9151 S. PERRY AVE                      404 LINK RD                                   9108 LEROY ST.
CHICAGO IL 60620                       YORKTOWN VA 23692                             SAN GABRIEL CA 91775




ANTHONY GIANNETTO                      ANTHONY GITTENS                               ANTHONY GIUDICE
23 HOLIDAY PARK DR                     175 MAIN AVENUE                               22 MARLIN DRIVE
CENTEREACH NY 11720                    APT . #102                                    NORWALK CT 06854
                                       WHEATLEY HEIGHTS NY 11798



ANTHONY GLOVER                         ANTHONY GNAU                                  ANTHONY GRAEF
848 JOE YENNI BLVD.                    1733 W. IRVING PARK ROAD                      333 N LOMBARD AVE
APT. #1                                UNIT 217                                      LOMBARD IL 60148
KENNER LA 70065                        CHICAGO IL 60613




                                              Page 109 of 2387
                         Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 110 of 800
ANTHONY GROVE                         ANTHONY GUARINO                               ANTHONY GUCCIARDO
1628 ROBERT ROAD                      333 GRAND AVENUE                              116 SILVER STREET
LANCASTER PA 17601                    MASSAPEQUA PARK NY 11762                      NORTH BABYLON NY 11703




ANTHONY HARRIS                        ANTHONY HOLMES                                ANTHONY INA
1460 FOREST AVENUE                    2805 SCOTT STREET                             209 SOUTH 1ST STREET
BALDWIN NY 11510                      FRANKLIN PARK IL 60131                        4A
                                                                                    BROOKLYN NY 11211



ANTHONY INSOLIA                       ANTHONY IPPOLITO                              ANTHONY ITON
35825 TARPON DRIVE                    111 S. MORGAN ST                              936 N. SHINE AVE.
LEWIS DE 19958                        UNIT 318                                      ORLANDO FL 32803
                                      CHICAGO IL 60607



ANTHONY IWEZE                         ANTHONY J NOCE                                ANTHONY J ZAFFARO
347 WESTMINSTER AVE                   1115 W PARKER DR.                             2807 STRUCKMAN
APT 1                                 SCHAUMBURG IL 60194                           RIVER GROVE IL 60171
LOS ANGELES CA 90020



ANTHONY JACKSON                       ANTHONY JENKINS                               ANTHONY JEROME
1512 RALWORTH ROAD                    124 E 160TH PLACE                             236 SOUTHERN BLVD
BALTIMORE MD 21218                    SOUTH HOLLAND IL 60473                        NESCONSET NY 11767




ANTHONY JORDAN                        ANTHONY KIM                                   ANTHONY KING
95 HOCKANUM BLVD.                     5065 BOXWOOD                                  1409 S. LAMAR
APT. 4204                             IRVINE CA 92612                               APT. # 510
VERNON CT 06066                                                                     DALLAS TX 75215



ANTHONY KING                          ANTHONY KURZWEIL                              ANTHONY LEE PERRY
4254 ROXBURY STREET                   3240 NORTH PERSHING AVE.                      2224 RUNNING SPRING PLAC
SIMI VALLEY CA 93063                  SAN BERNARDINO CA 92405                       ENCINITAS CA 92024




ANTHONY LEMBO                         ANTHONY LEUCK                                 ANTHONY LINCOLN
16 HUNTERS RIDGE, #10                 3845 18TH AVENUE                              12 DALEBROOK DRIVE
UNIONVILLE CT 06085                   APT 6D                                        PHOENIX MD 21131
                                      BROOKLYN NY 11218



ANTHONY LIPANI                        ANTHONY LONG                                  ANTHONY LYTLE
936 HERZEL BOULEVARD                  31 KENSINGTON STREET                          1428 W. SUMMERDALE AVE.
WEST BABYLON NY 11704                 MANCHESTER CT 06040                           APT #1
                                                                                    CHICAGO IL 60640



ANTHONY M SULLA                       ANTHONY MACALUSO                              ANTHONY MAN
1333 S VAIL                           1346 W. DIVERSEY PARKWAY                      185 NE 20TH COURT
ARLINGTON HTS IL 60005                CHICAGO IL 60614                              WILTON MANORS FL 33305




                                             Page 110 of 2387
                         Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 111 of 800
ANTHONY MARCHESE                      ANTHONY MARCUS                                ANTHONY MARTIN
31 MAPLELEAF LANE                     1076 COATES AVE                               50 CHESTNUT RD
NEW HYDE PARK NY 11040                HOLBROOK NY 11741                             AMITYVILLE NY 11701




ANTHONY MARZETT                       ANTHONY MATHIS                                ANTHONY MAURO
322 E 118 STREET                      1851 RONALD REAGAN BLVD                       732 EAST GOEPP STREET
LOS ANGELES CA 90061                  ALTAMONTE SPRINGS FL 32701                    BETHLEHEM PA 18018




ANTHONY MAZZA                         ANTHONY MILLER                                ANTHONY MITCHELL
40 WILSON STREET                      530 NORTH UNION                               4134 RICHARDSON FARM DRIVE NW
PORT JEFFERSON STATION NY 11776       508                                           KENNESAW GA 30152
                                      ST. LOUIS MO 63108



ANTHONY MOBLEY                        ANTHONY MONTALBANO                            ANTHONY MONTANA
3529 VANCE COURT                      8 FACULTY LANE                                25 SALEM STREET
INDIANAPOLIS IN 46268                 FARMINGVILLE NY 11738                         HARTFORD CT 06114




ANTHONY MONTGOMERY                    ANTHONY MORRIS                                ANTHONY NEECE
515 LUELLA AVENUE                     17 BALDWIN RD                                 18200 ROSITA STREET
CALUMET CITY IL 60409                 HEMPSTEAD NY 11550                            TARZANA CA 91356




ANTHONY NIEVES                        ANTHONY NUDO                                  ANTHONY OLIVAS
320 WEST GRAND                        1613 DAKOTA DR.                               22811 W. SOLANO DR.
APT #1                                ELK GROVE IL 60007                            BUCKEYE AZ 85326
ALHAMBRA CA 91801



ANTHONY PADULA                        ANTHONY PARISE                                ANTHONY PARKES
1099 SHORELINE DR.                    6131 S. RICHMOND AVENUE                       22312 GARRISON STREET
PINGREE GROVE IL 60140                WILLOWBROOK IL 60527                          BOCA RATON FL 33428




ANTHONY PATOUX                        ANTHONY PIERCE                                ANTHONY PULIDO
226 PALEN AVENUE                      1317 1/4 N. CATALINA                          732 GREENWOOD CIRCLE
NEWPORT NEWS VA 23601                 LOS ANGELES CA 90027                          APT. 203
                                                                                    NAPERVILLE IL 60563



ANTHONY REGAN                         ANTHONY REID                                  ANTHONY RENEAU
636 W. WAVELAND                       1842 W. PRATT                                 533 BAYBERRY STREET
#3D                                   CHICAGO IL 60626                              PALMDALE CA 93550
CHICAGO IL 60613



ANTHONY RICCIARDI                     ANTHONY RIEBER                                ANTHONY RIVERS
P.O. BOX 222                          24 CENTER TERRACE                             3410 S. MAIN STREET
CALVERTON NY 11933                    STAMFORD CT 06906                             APT#D2
                                                                                    SANTA ANA CA 92707




                                             Page 111 of 2387
                         Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 112 of 800
ANTHONY ROBERT SADOWSKI               ANTHONY ROBINSON                              ANTHONY ROCCO
1218 CREEKWOOD DRIVE                  461 PALACE ST.                                80 MAPLETON STREET
WARMINSTER PA 18974                   AURORA IL 60506                               HARTFORD CT 06114




ANTHONY RODRIGUEZ                     ANTHONY ROMEO                                 ANTHONY ROSAL
4111 S. SEMORAN BLVD                  133 SEQUOIA DRIVE                             P.O. BOX 50006
APT. 17, BLDG 12                      BERLIN NJ 08009                               NEW ORLEANS LA 70150-0006
ORLANDO FL 32822



ANTHONY RUSSO                         ANTHONY SALERNO                               ANTHONY SALVI
3008 TAYLOR AVE                       151 LORRAINE GATE                             504 CENTRE AVE
BALTIMORE MD 21234                    EAST MEADOW NY 11554                          LINDENHURST NY 11757




ANTHONY SANTILLO                      ANTHONY SANTORA                               ANTHONY SCLAFANI
102 OAKLAND STREET                    74 VALLRYVIEW TERR.                           4952-1 COLUMBIA RD.
SANFORD FL 32773                      WAYNE NJ 07470                                COLUMBIA MD 21044




ANTHONY SEROWIK                       ANTHONY SEYMORE                               ANTHONY SKOWRONSKI
4027 BOUNCE DR                        2011 NW 28TH AVENUE                           8640 W. 92ND LN
ORLANDO FL 32812                      FT. LAUDERDALE FL 33311                       SAINT JOHN IN 46373




ANTHONY SOTO                          ANTHONY SPECHT                                ANTHONY SRAMEK
5172 PICKFORD STREET                  14612 ROSECRANS AVENUE                        459 LOUDON ROAD
LOS ANGELES CA 90019                  LA MIRADA CA 90638                            RIVERSIDE IL 60546




ANTHONY STOLTENBERG                   ANTHONY SUMMERS                               ANTHONY TANZI
2157 MONTEREY AVENUE                  2712 RIGGS AVENUE                             2546 EDGEMONT STREET
ONTARIO CA 91761                      BALTIMORE MD 21216                            PHILADELPHIA PA 19125




ANTHONY TAYLOR                        ANTHONY THISSEN                               ANTHONY TORRES
4727 N ARTESIAN AVE #2                61 QUEBEC RD                                  1724 WASHINGTON
CHICAGO IL 60625-2901                 #4                                            EVANSTON IL 60202
                                      ISLAND PARK NY 11558



ANTHONY VASQUEZ                       ANTHONY WALLACE                               ANTHONY WARD
4734 W. BERENICE                      7000 S. CREGIER                               12047 EMELITA ST.
CHICAGO IL 60641                      CHICAGO IL 60649                              #A
                                                                                    NORTH HOLLYWOOD CA 91607



ANTHONY WAYTEKUNAS                    ANTHONY WEITZEL                               ANTHONY WENDEL
4335 FALLS RD.                        1497 MARIGOLD ST                              1012 NEWBERRY LANE
BALTIMORE MD 21211                    UPLAND CA 91784                               MOUNT PROSPECT IL 60056




                                             Page 112 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 113 of 800
ANTHONY WILLIAMS                       ANTHONY WILSON                                ANTHONY WRIGHT
5017 BEVERLEY ROAD                     823 GRAND REGENCY PT                          10404 KINGS GAP WAY
BROOKLYN NY 11203                      #203                                          INDIANAPOLIS IN 46234
                                       ALTERNATE SPRINGS FL 32714



ANTHONY YOUNG JR                       ANTHONY ZINSER                                ANTHONY ZUNIGA
3649 LAKE TREE DR                      24765 CLARINGTON DR                           19221 AMALFI CT.
FALLBROOK CA 92028                     LAGUNA HILLS CA 92653                         WALNUT CA 91789




ANTHONY, DAVID                         ANTHONY, ELYA                                 ANTHONY, JENNIFER
2 E OAK ST NO.2303                     6410 NW 30 STREET                             702 11TH AVE NORTH
CHICAGO IL 60611                       SUNRISE FL 33313                              LAKE WORTH FL 33460




ANTI-CRUELTY SOCIETY                   ANTI-DEFAMATION LEAGUE                        ANTI-DEFAMATION LEAGUE
157 W GRAND                            1952 WHITNEY AVE                              TERRY SIDERA
CHICAGO IL 60610-4205                  NEW HAVEN CT 06511                            1952 WHITNEY AVE
                                                                                     NEW HAVEN CT 06511



ANTI-DEFAMATION LEAGUE                 ANTI-DEFAMATION LEAGUE                        ANTIGONE ROWE
309 W WASHINGTON ST STE 750            823 UNITED NATIONS PLAZA                      341 PARK AVE
CHICAGO IL 60606-3296                  NEW YORK NY 10017                             FREEPORT NY 11520




ANTIONETTE MILLS                       ANTIONETTE WOOTEN                             ANTLE III, WILLIAM JAMES
9106 SOUTH KING DRIVE                  727 NOTTINGHAM ROAD                           9407 LEE HWY
UNIT B                                 BALTIMORE MD 21229                            FAIRFAX VA 22031
CHICAGO IL 60619



ANTLEY, CHARLES                        ANTOINE DURHAM                                ANTOINE VERGLAS INC
675 LINCOLN AVE APT 13U                5611 ST. CHARLES ROAD                         169 HUDSON ST    STE 2S
BROOKLYN NY 11208                      BERKLEY IL 60163                              NEW YORK NY 10013




ANTOINE, CHARLES                       ANTOINE, DUROFSORT                            ANTOINE, JOSIANNE
15 SOUTHERN CROSS CIR. AP 206          4901 NW 2ND ST TERRACE                        320 SW 10TH TERRACE
BOYNTON BEACH FL 33436                 POMPANO BEACH FL 33064                        HALLANDALE BEACH FL 33009




ANTOINE, MADELAINE                     ANTOINE, WAKING                               ANTOINE, YVON
809 SW 8TH AVE                         809 SW 8TH AVENUE                             5604 ENCLAVE LANE
DELRAY BEACH FL 33444                  DELRAY BEACH FL 33444                         LAUDERHILL FL 33319




ANTOINETTE ASHER                       ANTOINETTE BRYAN                              ANTOINETTE EMRICH
7819 CLARKSWORTH PLACE                 P.O BOX 1515                                  14 CHATFIELD TERRACE
BALTIMORE MD 21234                     NEWPORT NEWS VA 23601                         ENFIELD CT 06082




                                              Page 113 of 2387
                            Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 114 of 800
ANTOINETTE GARVEY                        ANTOINETTE J KLOPPMAN                         ANTOINETTE JAMISON JONES
169 DUDLEY ROAD                          10100 S KOSTNER AVE                           7330 S MAY
WETHERSFIELD CT 06109                    OAK LAWN IL 60453                             CHICAGO IL 60621




ANTOINETTE KEYES                         ANTOINETTE MCLOUGHLIN                         ANTOINETTE MERCER
1754 JUDY WAY                            266 RIDER AVE                                 1306 STREAMVIEW CT.
EDGEWOOD MD 21040                        MALVERNE NY 11565                             BEL AIR MD 21015




ANTOINETTE RAMOS                         ANTOINETTE WISE                               ANTOININETTE BELANGER
P.O. BOX 2042                            509 11TH STREET                               4022 HARWOOD C
LONG BEACH CA 90801                      WEST BABYLON NY 11704                         DEERFIELD BEACH FL 33442




ANTOLA, JESSICA                          ANTOLIN RODRIGUEZ                             ANTON VOGEL JR
214 UNION STREET NO.4                    116 SYRACUSE DRIVE                            14724 FAIRVILLA DR
BROOKLYN NY 11231                        EAST HARTFORD CT 06108                        LA MIRADA CA 90638




ANTONA, ROBERT                           ANTONACCI, CHRIS                              ANTONACCI, CHRIS
6 TOGA CT                                7502 LEHIGH AVE   APT 207                     44 PINETREE LN
EAST NORTHPOINT NY 11731                 GLENVIEW IL 60025                             LEVITTOWN NY 11756




ANTONAWICH, ANDREW                       ANTONCZYK, HEYDI                              ANTONE NIELSON
120 S BEDFORD AVE                        3505 NW 94 AVE                                560 SPEUCE AVE
CENTRAL ISLIP NY 11749                   SUNRISE FL 33351                              SAYVILLE NY 11782




ANTONELLI,SANDRA                         ANTONETTE STANTON                             ANTONIA DIAZ-ROMERO
4203 ROYAL SAINT ANNE CT                 45 KRAUSE STREET                              240 N. JACKSON ST.
ST CHARLES IL 60174                      BAY SHORE NY 11706                            #5
                                                                                       GLENDALE CA 91206



ANTONIA ROSALES                          ANTONIA THOMPSON                              ANTONIETTE MANZO
4447 S. CALIFORNIA AVENUE                207 ALTAMONTE BAY CLUB CIRCLE                 11 TARTAN RIDGE DRIVE
CHICAGO IL 60632                         #211                                          BURR RIDGE IL 60527
                                         ALTAMONTE SPRINGS FL 32701



ANTONIK, LUCILLE J                       ANTONIN WOOLLEY                               ANTONINO PINO
5022 N. AUSTIN                           24 REDWOOD CIRCLE                             355 4TH AVENUE
#3H                                      PLANTATION FL 33317                           ST JAMES NY 11780
CHICAGO IL 60630



ANTONIO ALVAREZ                          ANTONIO BENJAMIN                              ANTONIO CARRETO
621 S. SIMMONS AVE                       144-53                                        2334 S. 61ST STREET
LOS ANGELES CA 90022                     230 PLACE                                     CICERO IL 60804
                                         JAMAICA NY 11413




                                                Page 114 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 115 of 800
ANTONIO CROSBY                         ANTONIO CUEVAS                                ANTONIO DODERO
115 ROXBURY STREET                     4122 1/2 FRANKLIN AVENUE                      736 E SUNNY HILLS ROAD
HARTFORD CT 06114                      LOS ANGELES CA 90027                          FULLERTON CA 92835




ANTONIO FINS                           ANTONIO FRANCES                               ANTONIO GONZALEZ
12620 NW 23 ST                         414 COX LANDING                               2284 PRAED STREET
PEMBROKE PINES FL 33028                APT. #A                                       RIVERSIDE CA 92503
                                       NEWPORT NEWS VA 23608



ANTONIO JACKSON                        ANTONIO LANZO                                 ANTONIO MAGALLON
1817 MORNING CANYON ROAD               1225 FRANCIS AVENUE                           1036 S. MASON
DIAMOND BAR CA 91765                   BALTIMORE MD 21227                            CHICAGO IL 60644




ANTONIO MENDOZA                        ANTONIO MERCADO                               ANTONIO OLIVO
4959 N. HARLEM AVE                     219 HAMILTON STREET                           1146 S. HUMPHREY AVE
2                                      HARTFORD CT 06106                             OAK PARK IL 60304
CHICAGO IL 60656



ANTONIO PEREIRA                        ANTONIO PEREZ                                 ANTONIO REYNARES-SOLARI
949 PLEASANT VALLEY ROAD               2729 S EUCLID                                 9701 WESTVIEW DRIVE
UNIT 1-7                               BERWYN IL 60402                               APT 1411
SOUTH WINDSOR CT 06074                                                               CORAL SPRINGS FL 33076



ANTONIO ROSAS-LANDA                    ANTONIO RUIZ                                  ANTONIO SIMONE
4208 W. CULLOM AVE                     50 ELLISON AVENUE                             1201 CABRILLO AVE.
APT. 2                                 WESTBURY NY 11590                             #208
CHICAGO IL 60641                                                                     TORRANCE CA 90501



ANTONIO SORUCO                         ANTONIO TELLEZ                                ANTONIO V SANTOS
1030 ASHLAND AVE                       609 S GARFIELD                                2401 CATALINA DRIVE
WILMETTE IL 60091-1740                 MONTEREY PARK CA 91754                        MESQUITE TX 75150




ANTONIO WILLE                          ANTONIO, ALEXANDER                            ANTONIO, ALEXANDRA SAN
10220 GARFIELD AVENUE                  4118 SANTA BARBARA DRIVE                      22430 SW 107TH CT
SOUTH GATE CA 90280                    DALLAS TX 75214                               MIAMI FL 33170




ANTONIO, JESUS                         ANTONKNEES COMPANY                            ANTONKNEES COMPANY
6141 METRO WEST BLVD APT 22-301        1424 HOLLOWELL ST                             1424 HOLOWELL ST
STE 2709                               ONTARIO CA 91762                              ONTARIO CA 91762
ORLANDO FL 32811



ANTONOVICI, CRISTINA                   ANTONOVICI, CRISTINA                          ANTONY GEORGE
46 RED SPRING LANE                     46 RED SPRING LANE                            296 JUNIPER CIRCLE
APT E12                                GLEN COVE NY 11542                            STREAMWOOD IL 60107
GLEN COVE NY 11542




                                              Page 115 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 116 of 800
ANTONY HEEKIN                          ANTONY HURD                                   ANTONY VU
5474 LOMA VISTA LOOP                   738 E. FAIRMOUNT RD                           19575 VISTA HERMOSA
DAVENPORT FL 33837                     BURBANK CA 91501                              WALNUT CA 91789




ANTOSZ, PAUL                           ANTRIM BECKWITH INC                           ANTWAINE BURRESS
10833 PLAHM COURT                      702 CROWN MEADOW DRIVE                        6903 S. MERRILL
WORTH IL 60482                         GREAT FALLS VA 22066                          3RD FLOOR
                                                                                     CHICAGO IL 60649



ANTWON LANEY                           ANYA PRIMAK                                   ANYTHING TO ANYWHERE
3700 N. CHARLES STREET                 23 SANDFORD RD                                1825 W DRAKE DR
APT. #711                              FAIRLAWN NJ 07410                             TEMPE AZ 85283
BALTIMORE MD 21218



ANZALDI, MICHAEL JAMES                 AOL LLC                                       AOL LLC
610 N OAK PARK AVE                     GENERAL POST OFCE                             22000 AOL WAY
OAK PARK IL 60302                      PO BOX 5696                                   DULLES VA 20166
                                       NEW YORK NY 10087-5696



AOMEGA LLC                             AON (BERMUDA) LTD                             AON RISK SERVICES INC
745 MCCLINTOCK DR STE 235              CUMBERLAND HOUSE                              (FSG POLICY INTAKE FACILITY)
BURR RIDGE IL 60527                    1 VICTORIA STREET                             1000 N MILWAUKEE AVENUE
                                       7TH FLOOR                                     GLENVIEW IL 60025
                                       HAMILTON HM 11


AON RISK SERVICES INCOF IL             AON RISK SERVICES INCOF IL                    AON RISK SERVICES INCOF IL
75 REMITTANCE DRIVE                    ILLINOIS                                      PO BOX 92380
SUITE 1926                             123 N WACKER DRIVE 13TH FLOOR                 CHICAGO IL 60675-2380
CHICAGO IL 60675-1926                  AON AVIATION
                                       CHICAGO IL 60606


AON RISK SERVICES, INC OF ILLINOIS     AON RISK SERVICES, INC OF ILLINOIS            AP WIDE WORLD PHOTOS
200 E RANDOLPH STREET                  200 W RANDOLPH STREET                         PO BOX 414262
CHICAGO IL 60601                       CHICAGO IL 60601                              BOSTON MA 02241-4262




AP WIDEWORLD PHOTOS                    AP WIDEWORLD PHOTOS                           AP WIDEWORLD PHOTOS
450 W 33RD STREET                      50 ROCKEFELLER PLAZA                          PO BOX 4281 GRAND CENTRAL STATION
NEW YORK NY 10001                      NEW YORK NY 10020                             NEW YORK NY 10163




APAC CUSTOMER SERVICES INC             APAC CUSTOMER SERVICES INC                    APAC CUSTOMER SERVICES INC
425 SECOND STREET SE                   3459 SOLUTIONS CENTER                         3567 PAYSPHERE CIRCLE
CEDAR RAPIDS IA 52406-3300             CHICAGO IL 60677-3004                         CHICAGO IL 60674




APAC CUSTOMER SERVICES INC             APARNA GOPALAKRISHNA                          APARTMENT ASSOCIATION
7550 COLLECTIONS CENTER DR.            271 KINNE ROAD                                GREATER ORLANDO
CHICAGO IL 60693                       GLASTONBURY CT 06033                          340 N MAITLAND AVENUE
                                                                                     MAITLAND FL 32751




                                              Page 116 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 117 of 800
APC POSTAL LOGISTICS                   APC POSTAL LOGISTICS                          APC SALES & SERVICE CORP
14300 CHERRY LN CT STE 216-217         PO BOX 388                                    5081 COLLECTIONS CENTER DR
LAUREL MD 20707                        CARLSTADT NJ 07072                            CHICAGO IL 60693-5081




APC SALES & SERVICE CORP               APERTA INC                                    APERTA INC
132 FAIRGROUNDS RD                     ONE MEMORIAL DRIVE STE 1220                   DEPT 77534
WEST KINGSTON RI 02892                 CAMBRIDGE MA 02142-1346                       PO BOX 77000
                                                                                     DETROIT MI 48277-0534



APERTA INC                             APERTURE PROFESSIONAL SUPPLY INC              APES DELIVERY SERVICE INC
155 N FRONT ST                         1330 18TH ST                                  225 ROCKY POINT LANDING RD
SCHUYLKILL HAVEN PA 17972              MIAMI BEACH FL 33139                          ROCKY POINT NY 11778




APES DELIVERY SERVICE INC              APEX CENTRE LLC                               APEX CENTRE LLC
4 LYN LANE                             2222 E HIGHLAND AVE        STE 318            3815 EAST KINGS AVE
BAITING HOLLOW NY 11933                PHOENIX AZ 85016                              PHOENIX AZ 85032




APEX CENTRE LLC                        APEX MEDIA                                    APEX MEDIA
C/O MONTE HESSLER                      14605 NORTH AIRPORT DRIVE                     15849 N 77TH ST
2222 E HIGHLAND AVE    STE 318         SUITE 224                                     SCOTTSDALE AZ 85260
PHOENIX AZ 85016                       AIR COMMERCE BLDG
                                       SCOTTSDALE AZ 85260


APEX MEDIA                             APEX MEDIA                                    APEX PRODUCTIONS INC
11014 27TH ST SE                       13014 VENICE LOOP NE                          4152 W BLUE HERON BLVD NO.103
EVERETT WA 98205                       BAINBRIDGE ISLAND WA 98110                    RIVERIA BEACH FL 33404




APEX PRODUCTIONS INC                   APEX SYSTEMS INC                              APEX SYSTEMS INC
PO BOX 7764                            3750 COLLECTIONS CENTER DRIVE                 4400 COX RD SUITE 200
JUPITER FL 33468                       CHICAGO IL 60693                              GLEN ALLEN VA 23060




APODACA, ROSE                          APOLINAR MATELA                               APOLINAR NUNEZ
2323 KENILWORTH AVE                    79-21 147TH STREET                            57 HUNTGINTON STREET
LOS ANGELES CA 90039                   FLUSHING NY 11367                             2A
                                                                                     HARTFORD CT 06105



APOLLON, GUIRLENE                      APOLLON,JOSEPH                                APOLOSSE, MEDELUS
12910 NE MIAMI CT                      6209 SW 21ST ST                               20 SOUTHERN CROSS CIRCLE     APT 101
NORTH MIAMI FL 33161                   MIRAMAR FL 33023                              BOYNTON BEACH FL 33436




APONTE, ANGEL                          APONTE, CHRISTOPHER                           APONTE, CHRISTOPHER
8311 SANDS POINT BLVD APT R301         227 E MOSSER ST                               DBA CHRIS' CUSTOM CONSTRUCTION
TAMARAC FL 33321                       ALLENTOWN PA 18103                            227 E MOSSER ST
                                                                                     ALLENTOWN PA 18109




                                              Page 117 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 118 of 800
APPEAL-DEMOCRAT                        APPEAL-DEMOCRAT                               APPEL, HEATHER
1530 ELLIS LAKE DRIVE                  PO BOX 431                                    14 E 28 ST APT 1229
MARYSVILLE CA 95901                    MARYSVILLE CA 95901                           NEW YORK NY 10016




APPEL, JACOB M                         APPLE COMPUTER INC                            APPLE COMPUTER INC
140 CLAREMONT AVE NO.3D                1 INFINITE LOOP                               ATTN: MEMBERSHIPS
NEW YORK NY 10027                      CUPERTINO CA 95014                            PO BOX 60-000 FO;E 72436
                                                                                     SAN FRANCISCO CA 94160



APPLE COMPUTER INC                     APPLE COMPUTER INC                            APPLE COMPUTER INC
P O BOX 60000 FILE NO.51926            PO BOX 281877                                 APDA
SAN FRANCISCO CA 94160-1926            ATLANTA GA 30384-1877                         P O BOX 319
                                                                                     BUFFALO NY 14207-0319



APPLE COMPUTER INC                     APPLE ONE EMPLOYMENT                          APPLE ONE EMPLOYMENT
PO BOX 846095                          327 W BROADWAY                                7440 LAGUNA BLVD NO.100
DALLAS TX 75284-6095                   GLENDALE CA 91207                             ELK GROVE CA 95758




APPLE ONE EMPLOYMENT                   APPLE, CHARLES ARTHUR                         APPLEFORD, STEVE
PO BOX 29048                           3113 ROCKWATER WAY                            6646 ETIWANDA AVENUE
GLENDALE CA 91209-9048                 VIRGINIA BEACH VA 23456                       RESEDA CA 91335




APPLEFORD, STEVE                       APPLEGATE & THORNE THOMSEN PC                 APPLEGATE, DEBBY
CASE NO.567475823                      322 S GREEN STREET                            125 LAWRENCE ST
PO BOX 942867                          SUITE 412                                     NEW HAVEN CT 06511
SACRAMENTO CA 94267-0011               CHICAGO IL 60607



APPLEGATE, ROBERT                      APPLEGATE, ROBERT J                           APPLEMAN, TARI
8 BROOKSIDE DR                         3430 GALT OCEAN DRIVE APT 812                 4324 WORTH ST
BATH PA 18014                          FORT LAUDERDALE FL 33308                      ORLANDO FL 32808




APPLETON CREATIVE INC                  APPLETON POST CRESCENT                        APPLETON, JAMES
108 LAKE AVE                           PO BOX 59                                     6 ARNOLD ST
ORLANDO FL 32801                       APPLETON WI 54912                             HICKSVILLE NY 11801




APPLICANT INSIGHT LIMITED INC          APPLICANT INSIGHT LIMITED INC                 APPLICATION SYSTEMS DESIGN
160 SW 12TH AVE STE 103A               PO BOX 458                                    2609 W 159TH ST
DEERFIELD BCH FL 33442                 NEW PORT RICHEY FL 34656-0458                 REDONDO BEACH CA 90278




APPLIED ARTS PUBLISHERS                APPLIED ARTS PUBLISHERS                       APPLIED ARTS PUBLISHERS
21000 STATE RD                         220 N 10TH STREET                             PO BOX 479
LANCASTER PA 17601                     LEBANON PA 17046                              LEBANON PA 17402




                                              Page 118 of 2387
                            Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 119 of 800
APPLIED COMPUTER SOLUTIONS               APPLIED COMPUTER SOLUTIONS                    APPLIED DISCOVERY INC
15461 SPRINGDALE ST                      PO BOX 51839                                  13427 NE 16TH ST  STE 200
HUNTINGTON BEACH CA 92649                LOS ANGELES CA 90051-6139                     BELLEVUE WA 98005




APPLIED ENVIRONMENTAL HEALTH AND         APPLIED INDUSTRIAL TECHNOLOGIES               APPLIED INDUSTRIAL TECHNOLOGIES
1743 WIND DRIFT RD                       P O BOX 100538                                ATTN: CHARLIE NOBLE
ORLANDO FL 32809                         PASADENA CA 91189-0538                        301 WEST GRANT STREET
                                                                                       ORLANDO FL 32806



APPLIED INDUSTRIAL TECHNOLOGIES          APPLIED INDUSTRIAL TECHNOLOGIES               APPLIED INDUSTRIAL TECHNOLOGIES
DIXIE INC                                P.O. BOX 905794                               P O BOX 6337
22510 NETWORK PL                         CHARLOTTE NC 28290                            CLEVELAND OH 44101-2021
CHICAGO IL 60673-1225



APPLIED INDUSTRIAL TECHNOLOGIES          APPLIED INFORMATION MANAGEMENT INC            APPLIED MECHANICAL HVAC
PO BOX 6339                              70 POLO ROAD                                  557 N TOLAND AVE
CLEVELAND OH 44101-1339                  GREAT NECK NY 11023                           COVINA CA 91722




APPLIED MECHANICAL HVAC                  APPLIED MECHANICAL HVAC                       APPOLON, ANDY
PO BOX 2566                              PO BOX 6903                                   9451 N MEADOWS CIR
COVIA CA 91722                           SAN PEDRO CA 90734                            MIRAMAR FL 33025




APPVAULT LLC                             APPVAULT LLC                                  APR MEDIA LTD
1800 PARKWAY PL   STE 1000               200 MANSELL COURT EAST STE 109                41 BRITAIN ST STE 303
MARIETTA GA 30067                        ROSWELL GA 30076                              TORONTO ON M5A 1R7




APR MEDIA LTD                            APRAEZ, KARINA                                APRIL BARTHOLOMEW
468 QUEEN ST EAST STE 300                1607 BROOKSTONE RIDGE                         1542 W WALNUT STREET
TORONTO ON M5A 1T7                       ATLANTA GA 30349                              1ST FLOOR
                                                                                       ALLENTOWN PA 18102



APRIL BAUGH                              APRIL COMBS                                   APRIL CRUZ
223 HARPER AVE                           918 DARLINGTON ROAD                           105 NORTH ELLSWORTH STREET
GLENWOOD IL 60425                        DARLINGTON MD 21034                           APARTMENT 2
                                                                                       ALLENTOWN PA 18109



APRIL DESALVO                            APRIL GONZALES                                APRIL HUNT
3634 S. OCEAN BLVD                       826 JOE YENNI BLVD.                           2862 ROYAL PATH COURT
HIGHLAND BEACH FL 33487                  APT. #6                                       DECATUR GA 30030
                                         KENNER LA 70065



APRIL MEDINA                             APRIL MICKLIN                                 APRIL PARKER
100 W. ROCKWOOD WAY                      50 BEECHWOOD AVE                              17421 S. 70TH AVENUE
WINTER PARK FL 32789                     PORT WASHINGTON NY 11050                      1E
                                                                                       TINLEY PARK IL 60477




                                                Page 119 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 120 of 800
APRIL PULLUM-EADY                      APRIL ROMEO                                   APRIL RYKIEL
144 MARJORIE LANE                      11 SYMPHONY WOODS COURT                       5160 W. PAULING ROAD
MANCHESTER CT 06042                    BALTIMORE MD 21236                            MONEE IL 60449




APRIL STOCKY                           APRILE' BROWN                                 APS HEALTHCARE BETHESDA
234 BELMONT                            132 SHERIDAN STREET N.E.                      8403 COLESVILLE RD STE 1600
MUNSTER IN 46321                       WASHINGTON DC 20011                           SILVER SPRING MD 21044




APS HEALTHCARE BETHESDA                APS MARKETING GROUP                           APTED, MICHAEL
PO BOX 890901                          2233 NOSTRAND AVE                             9100 WILSHIRE BLVD SUITE 305 EAST
CHARLOTTE NC 28289                     BROOKLYN NY 11210                             BEVERLY HILLS CA 90212-3415




APTOS LITTLE LEAGUE                    AQUA ILLINOIS INC.                            AQUARIUM OF THE PACIFIC
C/O ERIC BLOOM                         ACCT NO. 001372354-1028487                    100 AQUARIUM WAY
PO BOX 1416                            762 W. LANCASTER AVE.                         LONG BEACH CA 90802
APTOS CA 95001                         BRYN MAWR PA 19010-3489



AQUARIUM OF THE PACIFIC                AQUARIUM OF THE PACIFIC                       AQUARIUM OF THE PACIFIC
320 GOLDEN SHORE     STE 150           CONSIGNMENT/KATE ULLRICH                      PO BOX 21565
LONG BEACH CA 90805                    PO BOX 25                                     LONG BEACH CA 90801
                                       LONG BEACH CA 90801



AQUENT LLC                             AQUENT LLC                                    AQUENT LLC
90503 COLLECTION CENTER                PO BOX 90503                                  711 BOYLSTON ST
CHICAGO IL 60693                       CHICAGO IL 60696                              BOSTON MA 02216-2616




AQUENT LLC                             AQUILA FITNESS CONSULTING SYSTEM LTD          AQUILA FITNESS CONSULTING SYSTEM LTD
PO BOX 414552                          2555 COLLINS AVE STE 1205                     AQUILA LTD HEALTH FITNESS SOLUTION
BOSTON MA 02241-4552                   MIAMI BEACH FL 33140                          429 LENOX AVENUE STE 4W21
                                                                                     MIAMI BEACH FL 33139



AQUILINA ALFARO                        AQUILINO DEL ORBE                             AQUINO, ALFRED
1351 N. AVERS AVENUE                   100-18 37TH AVENUE                            41 FERN AVE
CHICAGO IL 60651                       3B                                            E ISLIP NY 11730
                                       CORONA NY 11368



AQUINO, EDUARDO                        AR PRINTERS                                   AR SANDRI INC.
30 SEVERANCE DR                        P O BOX 774                                   US ATTORNEY'S OFFICE - NH
STAMFORD CT 06905                      STAMFORD CT 06902                             JOHN B. HUGHES
                                                                                     157 CHURCH ST, 23RD FL
                                                                                     NEW HAVEN CT 06510


AR SANDRI INC.                         ARA ANJARGOLIAN                               ARA CONTENT
US DEPARTMENT OF JUSTICE; ENVIRON. &   310 POWERS STREET                             701 5TH STREET SOUTH
NATRUAL RESOURCES DIV; MARK A.         1A                                            HOPKINS MN 55343
PO BOX 7611                            BROOKLYN NY 11211
WASHINGTON DC 20044




                                              Page 120 of 2387
                         Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 121 of 800
ARACELI ROSALES                       ARACELIS CRESPO                               ARAG GROUP
131 ROSE LANE                         8450 BANYAN BLVD.                             400 LOCUST
MONTEBELLO CA 90640                   ORLANDO FL 32819                              NO.480
                                                                                    DES MOINES IA 50309



ARAGI INC                             ARAGON ENTERTAINMENT CENTER                   ARAM ISKENDERIAN
143 W 27TH NO.4F                      1106 W LAWRENCE                               1033 THORNHILL ROAD
NEW YORK NY 10001                     CHICAGO IL 60640                              LEXINGTON VA 24450




ARAM NALTCHADJIAN                     ARAMARK CORP                                  ARAMARK CORP
309 WEST PULASKI ROAD                 2600 MICHELSON DR                             ARAMARK REGIONAL OFFICE
HUNTINGTON NY 11743                   SUITE 1170                                    2010 MAIN STREET STE 1200
                                      IRVINE CA 92715                               IRVINE CA 92614



ARAMARK CORP                          ARAMARK CORP                                  ARAMARK CORP
C/O LOS ANGELES TIMES                 LOS ANGELES CONVENTION CENTER                 429B HAYDEN STATION RD
145 S SPRING ST                       1201 FIGUEROA ST                              WINDSOR CT 06095
LOS ANGELES CA 90012                  LOS ANGELES CA 90015



ARAMARK CORP                          ARAMARK CORP                                  ARAMARK CORP
C/O P&W                               4 YAWKEY WAY                                  1101 MARKET ST
400 MAIN STREET M/S 124-25            BOSTON MA 02115                               20TH FLOOR
EAST HARTFORD CT 06108                                                              PHILADELPHIA PA 19107



ARAMARK CORPORATION                   ARAMARK CORPORATION                           ARAMARK CORPORATION
1000 ELYSIAN PARK AVE                 2151 BLAKE ST                                 6350 GREENWOOD PLAZA BLVD
LOS ANGELES CA 90012                  COORS FIELD                                   ENGLEWOOD CO 80111
                                      DENVER CO 80205-2010



ARAMARK CORPORATION                   ARAMARK CORPORATION                           ARAMARK CORPORATION
1851 HOWARD ST STE F                  2200 BERNICE ROAD                             3025 HIGHLAND PKWY
ELK GROVE IL 60007                    LANSING IL 60438                              DOWNERS GROVE IL 60515




ARAMARK CORPORATION                   ARAMARK CORPORATION                           ARAMARK CORPORATION
3721 N CLARK ST                       431 LAKEVIEW CT                               6920 N MANNHEIM RD
CHICAGO IL 60613                      STE B                                         ROSEMONT IL 60018
                                      MT PROSPECT IL 60056



ARAMARK CORPORATION                   ARAMARK CORPORATION                           ARAMARK CORPORATION
ARAMARK SPORTS & ENTERTAINMENT        BUSINESS DINING SVC                           777 THIRD AVE
1060 W ADDISON                        2000 SPRING RD                                NEW YORK NY 10017
WRIGLEY FIELD                         # 300
CHICAGO IL 60613                      OAK BROOK IL 60523


ARAMARK REFRESHMENT SERVICES          ARAMARK REFRESHMENT SERVICES                  ARAMARK REFRESHMENT SERVICES
30 LEONARDO DR                        6811 E 32ND STREET                            1506 S ALBERT ST
N HAVEN CT 06473                      INDIANAPOLIS IN 46226                         ALLENTOWN PA 18103




                                             Page 121 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 122 of 800
ARAMARK REFRESHMENT SERVICES           ARAMARK UNIFORM SERVICES INC                  ARAMARK UNIFORM SERVICES INC
1665 TOWNHURST                         P O BOX 922139                                PO BOX 1799
NO.160                                 SYLMAR CA 91342-2139                          PARAMOUNT CA 90723
HOUSTON TX 77043



ARAMARK UNIFORM SERVICES INC           ARAMARK UNIFORM SERVICES INC                  ARAMARK UNIFORM SERVICES INC
PO BOX 540224                          1057 SOLUTION CENTER                          4200 S HALSTED STE 602
OPA LOCKA FL 33054                     CHICAGO IL 60677-1000                         CHICAGO IL 60609




ARAMARK UNIFORM SERVICES INC           ARAMARK UNIFORM SERVICES INC                  ARAMARK UNIFORM SERVICES INC
PO BOX 16704                           1060 GELB AVE                                 P O BOX 5720
GREENSBORO NC 27416                    UNION NJ 07083                                CHERRY HILL NJ 08034-0523




ARAMARK UNIFORM SERVICES INC           ARAMARK UNIFORM SERVICES INC                  ARANGO, DIANA
PO BOX 15166                           PO BOX 828441                                 916 NW 104TH AVE # 102
READING PA 19612-5166                  PHILADELPHIA PA 19182                         PEMBROKE PINES FL 33026




ARANGO, LINA                           ARAPAHOE CLERK                                ARAPAHOE CLERK
1476 MIRAVISTA CIRCLE                  C/O NANCY A DOTY                              PO BOX 9006
WESTON FL 33327                        PO BOX 9011                                   LITTLETON CO 80160
                                       LITTLETON CO 80160-9011



ARAPAHOE CLERK                         ARAPAHOE COUNTY TREASURER                     ARASH ESFANDI
PO BOX 9006 C/O TRACEY K BAKER         PO BOX 571                                    1322 AMHERST AVENUE
LITTLETON CO 80160                     LITTLETON CO 80160-0001                       APT#6
                                                                                     LOS ANGELES CA 90025



ARAUJO, CLAUDIA S                      ARBAUGH, ERIN ALYSSA                          ARBITRON
10141 WINDTREE LANE                    5000 BURLEY HILLS DR                          2538 COLLECTIONS CENTER DRIVE
BOCA RATON FL 33428                    CINCINNATI OH 45243                           CHICAGO IL 60693




ARBITRON                               ARBITRON                                      ARBITRON
PO BOX 3228                            9705 PATUXENT WOOD                            PO BOX 75036
CAROL STREAM IL 60132-3228             COLUMBIA MD 21046-1572                        CHARLOTTE NC 28275




ARBON EQUIPMENT CORP                   ARBON EQUIPMENT CORP                          ARBON EQUIPMENT CORP
1590 SOUTH LEWIS STREET                1620 S SUNKIT ST                              900A RIVER STREET
ANAHEIM CA 92805-6423                  ANAHEIM CA 92806                              WINDSOR CT 06095




ARBON EQUIPMENT CORP                   ARBON EQUIPMENT CORP                          ARBON EQUIPMENT CORP
3346 GRIFFIN ROAD                      ATTN: GREG CLEMENTS                           PO BOX 78196
FT LAUD FL 33312                       SUITE 450                                     MILWAUKEE WI 53278-0196
                                       6901 T.P.C. DRIVE
                                       ORLANDO FL 32822




                                              Page 122 of 2387
                         Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 123 of 800
ARBUTUS BUSINESS & PROFESSIONAL ASSOC   ARC                                         ARC
PO BOX 7357                             50 GLENVILLE ST                             C/O PORRICELLI FOOD MART
ARBUTUS MD 21227                        GREENWICH CT 06831                          26 ARCADIA ROAD
                                                                                    OLD GREENWICH CT 06870



ARC ASSOCIATES LIGHTING INC             ARC HOLDING LTD                             ARC HOLDING LTD
3857 SANDY SHORES DR                    DBA SPORTS ACCESS                           PO BOX 55652
JACKSONVILLE FL 32277                   PO BOX 55652                                LOS ANGELES CA 90074-5652
                                        LOS ANGELES CA 90074-5652



ARC HOLDING LTD                         ARC LIGHT EFX INC                           ARC WORLDWIDE INC
700 ST LOUIS UNION STATION              9338 SAN FERNANDO RD                        13251 COLLECTION CENTER DR
SAINT LOUIS MO 63103                    SAN VALLEY CA 91352                         CHICAGO IL 60693




ARC WORLDWIDE INC                       ARCADIAN CONSTRUCTION CORP                  ARCADIAN CONSTRUCTION CORP
35 W WACKER DRIVE                       110 MIDWAY ST                               PMB NO. 375
CHICAGO IL 60601                        BABYLON NY 11702                            26 RAILROAD AVE
                                                                                    BABYLON NY 11702



ARCC FOUNDATION                         ARCE, JAVIER                                ARCE, MATTHEW
5 WARREN STREET                         3235 W. LEMOYNE                             1718 N 73RD AVE
GLEN FALLS NY 12801                     CHICAGO IL 60651                            ELMWOOD PARK IL 60707




ARCELIA GARCIA                          ARCH COMMUNICATIONS                         ARCH COMMUNICATIONS
1006 N. IRIS AVENUE                     PO BOX 650698                               PO BOX 4308
RIALTO CA 92376                         PHOENIX AZ 85015                            CAROL STREAM IL 60197-4308




ARCH COMMUNICATIONS                     ARCH COMMUNICATIONS                         ARCH COMMUNICATIONS
PO BOX 4326                             PO BOX 4330                                 PO BOX 4376
CAROL STREAM IL 06097-4326              CAROL STREAM IL 60197-4330                  CAROL STREAM IL 60197-4376




ARCH COMMUNICATIONS                     ARCH COMMUNICATIONS                         ARCH COMMUNICATIONS
PO BOX 4392                             PO BOX 6211                                 PO BOX 4062
CAROL STREAM IL 60197-4392              CAROL STREAM IL 60197-6211                  WOBURN MA 01888-4062




ARCH COMMUNICATIONS                     ARCH COMMUNICATIONS                         ARCHER JR, ERROL
PO BOX 660770                           PO BOX 769200                               141 HILLSIDE AVENUE
DALLAS TX 75266-0770                    DALLAS TX 75376                             MOUTN VERNON NY 10553




ARCHER, GARFIELD                        ARCHER, KEVIN G                             ARCHES, REYNOLD
12154 ST ANDREWS PL NO.103              47 PHILIP HENRY CIRCLE                      6 LORRAINE CT
MIRAMAR FL 33025                        WINDSOR CT 06095                            BLOOMFIELD CT 06002-3126




                                             Page 123 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 124 of 800
ARCHIE JR, STEVEN L                    ARCHIE, ROBINSON ANGELA                       ARCHITECTURAL BUILDING SYSTEMS INC
33 PHELPS CIRCLE                       3011 NE 7TH AVE, APT D                        203 LOCUST ST
HAMPTON VA 23663                       POMPANO BEACH FL 33064                        HARTFORD CT 06114




ARCHITECTURAL MILLWORK LLC             ARCHITECTURAL MILLWORK LLC                    ARCHULETA, ROBERT
51 MASELLI RD                          PO BOX 408                                    1970 SECLUSION POINT NO.I
NEWINGTON CT 06111                     BERLIN CT 06037                               COLORADO SPRINGS CO 80918




ARCO ENGINEERING INC.                  ARCO GASPRO PLUS                              ARCO GASPRO PLUS
3317 GILMORE INDUSTRIAL BLVD           PO BOX 11407                                  PO BOX 9033
LOUISVILLE KY 40213                    BIRMINGHAM AL 35246-0924                      CARLSBAD CA 92018




ARCO GASPRO PLUS                       ARCO GASPRO PLUS                              ARCO, PAUL ANTHONY
PO BOX 54385                           PO BOX 70887                                  2621 CLINES FORD DRIVE
NEW ORLEANS LA 70154-4385              CHARLOTTE NC 28272                            BELVIDERE IL 61008




ARCO, PAUL ANTHONY                     ARCUS TICKET COMPANY                          ARDALANI, SARAH
321 W JACKSON                          PO BOX 21483                                  1822 WEST SILVER LAKE DR APT 3
BELVIDERE IL 61008                     LOS ANGELES CA 90021-0483                     LOS ANGELES CA 90026




ARDEN COURT                            ARDILA, DOUGLAS GOMEZ                         ARDITH HILLIARD
5151 HAMILTON BLVD                     4748 WALDEN CIRCLE APT 815                    2870 BIRCHWOOD CIRCLE
ALLENTOWN PA 18106                     ORLANDO FL 32811                              EMMAUS PA 18049




ARDOIN, AARON                          ARDRAIN HAYWOOD                               ARELIS HERNANDEZ
2323 SPAIN ST                          8201 S. GREEN                                 113 CARNIVAL DRIVE
BATON ROUGE LA 70806                   APT 2ND FLR                                   DAYTONA BEACH FL 32124
                                       CHICAGO IL 60620



ARELLANO, GUSTAVO                      ARELLANO, NIMFA A                             ARENA ADVERTISING & PUBLISHING
1043 W ARLINGTON AVE                   812 MILESTONE DR                              1969 S ALAFAYA TRAIL NO.301
ANAHEIM CA 92801                       SILVER SPRING MD 20904                        ORLANDO FL 32828




ARENA OPERATING COMPANY LTD            ARENA OPERATING COMPANY LTD                   ARENEL COMPRESSOR CO
2555 PANTHER PARKWAY                   ATTN FINANCE DEPT                             114 N SUNSET AVE
SUNRISE FL 33323                       ONE PANTHER PARKWAY                           CITY OF INDUSTRY CA 91744
                                       SUNRISE FL 33323



AREVALO, JUAN                          AREVALO, JUAN                                 AREVALO, LUIS
781 SW 173RD LANE                      3224 DANTE DR NO.103                          10416 FIRMONA AVE
PEMBROKE PINES FL 33029                ORLANDO FL 32835                              INGLEWOOD CA 90304




                                              Page 124 of 2387
                         Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 125 of 800
AREVALO, STEPHANIE                    ARGCO INC                                     ARGEROPLOS, DOROTHY
2918 S THROOP                         1212 ST ALBANS LOOP                           103 TILTON DRIVE
CHICAGO IL 60608                      HEATHROW FL 32746                             MOORESVILLE NC 28115




ARGIER, SAMUEL D                      ARGO SYSTEMS                                  ARGYRAKIS, ANDY
37756 MEDWAY ST                       2964 PEACHTREE ROAD         STE 400           215 LYNBROOK DRIVE
INDIO CA 92203                        ATLANTA GA 30305                              BLOOMINGDALE IL 60108




ARI BLOOMEKATZ                        ARI MINTZ                                     ARI PITCHENIK
1440 VETERAN AVE                      301 WEST 108TH ST                             25 AVENUE AT PORT IMPERIAL
APT 604                               APT 4A                                        #424
LOS ANGELES CA 90025                  NEW YORK NY 10025                             WEST NEW YORK NJ 07093



ARI REALTY                            ARIAS MARTINEZ, LUCY B                        ARIAS, ALBERTO J
8539 S REDWOOD RD STE C               6210 GAUNTLET HALL LANE                       260 E CHESTNUT NO.2701
WEST JORDAN UT 84088                  DAVIE FL 33331                                CHICAGO IL 60611




ARIAS, HOOVER H                       ARIAS, JULIA E                                ARIAS, NELSON
15232 QUALMOOR ST                     511 HIGHLAND DRIVE                            8851 WILES RD APT 105-9
WINTER GARDEN FL 34787                CASSELBERRY FL 32707                          CORAL SPRINGS FL 33067




ARIAS, NESTOR                         ARIAS, ROGELIO                                ARIAS, ROGELIO
5164 W HOMER 28700                    1839 S WENONAH AVE                            ACCT NO.0004
CHICAGO IL 60639                      BERWYN IL 60402                               1839 S WENONAH AVE
                                                                                    BERWYN IL 60402



ARIAS, VALERIA                        ARIE HEFTER                                   ARIEL BARROW
128 74TH STREET APT 1                 7 HICKORY ROAD                                9 BKAY PLACE
NORTH BERGEN NJ 07047                 WEST ORANGE NJ 07052                          WHEATLEY HEIGHTS NY 11798




ARIEL CAMACHO GONZALEZ                ARIEL GONZALEZ                                ARIELLA BUDICK
11361 LAMBERT AVE.                    17384 SW 22ND STREET                          275 WEST 96 ST
APT. 5                                MIRAMAR FL 33029                              33E
EL MONTE CA 91732                                                                   NEW YORK NY 10025



ARIELLE LEVIN BECKER                  ARIELS IMPROVEMENTS                           ARIELY, DAN
146 FAIRWAY DRIVE                     PO BOX 662                                    9 WOMBLE CIRCLE
CHESHIRE CT 06410                     TUJUNGA CA 91042                              DURHAM NC 27705




ARIELY, DAN                           ARILLO FOR CONGRESS                           ARIN GENCER
DUKE UNIVERSITY FUQUA                 C/O MARY ELLEN MOYT TREASURER                 2635 ST. PAUL STREET
1 TOWERVIEW ROAD NO.90120             1755 HILLCOCK LANE                            1
DURHAM NC 27708                       YORK PA 17403                                 BALTIMORE MD 21218




                                             Page 125 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 126 of 800
ARIN WILLIAMS                           ARINDY REYES                                 ARIS, IVANILDA CICILIOTI
1645 N. ALEXANDRIA AVE                  165 MEUCCI AVENUE                            13870 ONEIDA DR APT NO. B2
#103                                    COPIAGUE NY 11726                            DELRAY BEACH FL 33446
LOS ANGELES CA 90027



ARISTA BUSINESS TECHNOLOGY              ARISTEO MARTINEZ                             ARISTEU GODOI DELIVERY SERVICE
5153 COMMERCIAL CIRCLE                  5440 S. KOMENSKY                             411 SE 8TH STREET NO. 125
CONCORD CA 94520                        CHICAGO IL 60632                             DEERFIELD BEACH FL 33441




ARISTIDE, BEDFORG                       ARISTIDE, WILSON                             ARISTILDE, MICKED
7704 SW 7TH PL                          4 SOUTHERN CROSS LANE APT. NO. 204           6286 PINESTEAD DR NO.112
N LAUDERDALE FL 33068                   BOYNTON BEACH FL 33436                       LAKE WORTH FL 33463




ARIYANTO, NURMA                         ARIZMENDI, CARLOS                            ARIZONA CABLE TELECOMMUNICATIONS ASSN
2299 POPLAR AVE                         1212 THORNDALE LANE                          3610 N 44TH ST NO.240
BALTIMORE MD 21207                      LAKE ZURICH IL 60047                         PHOENIX AZ 85018




ARIZONA CABLE TELECOMMUNICATIONS ASSN   ARIZONA COIN AND COMMERCIAL                  ARIZONA DAILY STARNET
3875 N 44TH ST NO.300                   LAUNDRY EQUIPMENT                            PO BOX 26807
PHOENIX AZ 85018                        740 W GRANT                                  TUCSON AZ 85726
                                        PHOENIX AZ 85007-3408



ARIZONA DAILY SUN                       ARIZONA DAILY SUN                            ARIZONA DEPT OF
1751 S THOMPSON                         PO BOX 1849-86002                            ENVIRONMENTAL QUALITY
FLAGSTAFF AZ 86001                      FLAGSTAFF AZ 86001                           1110 W. WASHINGTON ST.
                                                                                     PHOENIX AZ 85007



ARIZONA DEPT OF REVENUE                 ARIZONA DIAMONDBACKS                         ARIZONA DIAMONDBACKS
PO BOX 29079                            AZPB LIMITED PARTNERSHIP                     BROADCASTING
PHOENIX AZ 85038-9079                   PO BOX 29379                                 P O BOX 2095
                                        PHOENIX AZ 85038-9379                        ATN KATHY LAUX
                                                                                     PHOENIX AZ 85001


ARIZONA DIAMONDBACKS                    ARIZONA DIAMONDBACKS                         ARIZONA DIAMONDBACKS
PO BOX 29379                            TELECOM DEPT                                 TELECOMMUNICATIONS DEPARTMENT
PHOENIX AZ 85038-9379                   ATTN: KATHY LAUX                             401 E JEFFERSON STREET
                                        401 E JEFFERSON ST                           PHOENIX AZ 85004
                                        PHOENIX AZ 85004


ARIZONA LEAGUE                          ARIZONA LEAGUE                               ARJONA, MAURICIO
910 W MAIN ST NO.351                    PO BOX 1645                                  143 MORNING DEW CIR
BOISE ID 83702                          BOISE ID 83701                               JUPITER FL 33458




ARJOON, KARIMA T                        ARK CHURCH                                   ARKAN, ALI
1701 NW 48TH AVE # 104                  1263 E NORTH AVR                             231 S FULTON ST
LAUDERHILL FL 33313                     BALTIMORE MD 21202                           ALLENTOWN PA 18102




                                              Page 126 of 2387
                         Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 127 of 800
ARKANSAS DEPT OF                      ARKLE, PETER                                  ARLAN NIMROD
ENVIRONMENTAL QUALITY                 25 AVENUE C NO.4C                             4003 CHASE STREET
5301 NORTHSHORE DRIVE                 NEW YORK NY 10009                             WHEAT RIDGE CO 80212
NORTH LITTLE ROCK AR 72118-5317



ARLEEN MONTOYA                        ARLEIGH ERICKSON                              ARLENE AMOROSO
11419 QUINN ST.                       165 MARSCH AVE.                               18 EAST MERRITT ST
SANTA FE SPRINGS CA 90670             MONTGOMERY IL 60538                           LINDENHURST NY 11757




ARLENE BAKER                          ARLENE D'ELIA                                 ARLENE GRANT
3087 BERO ROAD                        16 WEDGEWOOD DRIVE                            1325 EAST 83RD STREET
HALETHORPE MD 21227                   DIX HILLS NY 11746                            BROOKLYN NY 11236




ARLENE HARADEN                        ARLENE KING                                   ARLENE MARTINEZ
117 LAMBERT AVENUE                    37 MELROSE AVENUE                             1021 W. LINDEN ST.
FARMINGDALE NY 11735                  EAST MASSAPEQUA NY 11758                      #3
                                                                                    ALLENTOWN PA 18102



ARLENE OLEKSY                         ARLENE POULOS                                 ARLENE RIENZI
426 FARMINGTON AVE.                   2906 N 77TH COURT                             15 RUTH LANE
APT. B-2                              ELMWOOD PARK IL 60707                         SELDEN NY 11784
NEW BRITAIN CT 06053



ARLENE ROTHENBERG                     ARLENE SATCHELL                               ARLENE WASSERMAN
9761 NW 25TH STREET                   6740 NW 175TH LANE                            59 HIGHLAND AVENUE
SUNRISE FL 33322                      APT E                                         PORT WASHINGTON NY 11050
                                      HIALEAH FL 33015



ARLETTA VAN BUREN                     ARLINDA CRUZ                                  ARLINDO SEGURO
5003 N. DAMEN, APT #2                 106 SOUTHAMPTON DR.                           184 HARDING AVENUE
CHICAGO IL 60625                      KISSIMMEE FL 34744                            NEWINGTON CT 06111




ARLINE ARNOLD                         ARLINGTON FRACK                               ARLINGTON PUBLIC SCHOOLS
601 BIRMINGHAM ROAD                   12 JAY LANE                                   WASHINGTON LEE HIGH SCHOOL
BURBANK CA 91504                      KUTZTOWN PA 19530                             1301 N STAFFORD ST
                                                                                    ARLINGTON VA 22201



ARLINGTON VIEIRA                      ARM SOLUTIONS                                 ARMAN HATSIAN
111-52 169TH ST.                      PO BOX 2929                                   21 TRUMAN WAY
JAMAICA NY 11433                      CAMARILLO CA 93011-2929                       ROCKY HILL CT 06067




ARMAND REGATEIRO CONTRACTOR           ARMAND, MARIE R                               ARMAND, PETUEL
19 CORBIN AVE                         748 DELL PLACE                                56 DAVIS RD
BAYSHORE NY 11706                     UNIONDALE NY 11553                            LAKE WORTH FL 33461




                                             Page 127 of 2387
                        Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 128 of 800
ARMANDO ACAB                         ARMANDO AGUILERA                              ARMANDO CASTANEDA
10831 CATRON ROAD                    1720 S. MICHGAN AVENUE                        4273 NW 66TH DRIVE
PERRY HALL MD 21128                  #2204                                         COCONUT CREEK FL 33073
                                     CHICAGO IL 60616



ARMANDO DURAZO                       ARMANDO RUBIO                                 ARMED FORCES COMMUNICATIONS
701 WEST IMPERIAL HIGHWAY            7859 WEXFORD AVE                              ALLOY INC
APT. #601                            WHITTIER CA 90606                             14878 COLLECTIONS CENTER DR
LA HABRA CA 90631                                                                  CHICAGO IL 60693



ARMED FORCES COMMUNICATIONS          ARMEN MERDJANIAN                              ARMER, TODD A
PO BOX 27693                         14056 STARFLOWER CT                           908 W AGATITE      UNIT GN
NEW YORK NY 10087-7693               CORONA CA 92880                               CHICAGO IL 60640




ARMES PHOTOGRAPHY LLC                ARMITAGE WELDING                              ARMSTEAD, BLISS E
1660 GAYLORD ST APT 4                3212-14 W ARMITAGE                            225 REFLECTION DRIVE
DENVER CO 80206                      CHICAGO IL 60647                              WILLIAMSBURG VA 23188




ARMSTEAD, TANYA                      ARMSTRONG, HENRY L                            ARMSTRONG, HENRY L
1650 ANDERSON MILL ROAD NO.1108      1019 VALMONT                                  5307 TOLER ST
AUSTELL GA 30106                     NEW ORLEANS LA 70115                          HARAHAM LA 70123




ARMSTRONG, MARTIN                    ARMSTRONG, MIKE                               ARNALDO LOPEZ-RODRIGUEZ
2612 NORTH AVE B11                   344 SOUTH HAUSER BLVD        NO.310           941 W CEDAR ST
BRIDGEPORT CT 06604                  LOS ANGELES CA 90036                          ALLENTOWN PA 18102




ARNEL SOLMAYOR                       ARNELLO MAZZA                                 ARNESEN, ERIC
20709 ASPENWOOD COURT                9953 SW 63RD STREET                           6333 N HERMITAGE
WALNUT CA 91789                      OCALA FL 33476                                CHICAGO IL 60660




ARNEST, WILLIAM G                    ARNET, DANIELLE                               ARNETT, LISA
636 NORTH RIVER RD                   2229 MARSTON LANE                             27 W 203 SUNNYSIDE AVE
BOHANNON VA 23021                    FLOSSMOOR IL 60422                            WINFIELD IL 60190




ARNEUS, GUSTAVE                      ARNO DE VOS                                   ARNOLD & PORTER LLP
1928 N. 58 WAY                       1515 E. BROWARD BLVD                          555 TWELFTH ST NW
HOLLYWOOD FL 33021                   #418                                          WASHINGTON DC 20004-1202
                                     FORT LAUDERDALE FL 33301



ARNOLD JIRON                         ARNOLD KLEINER                                ARNOLD LAHTONEN
724 N. BELLEFORTE                    7575 MULLHOLLAND DRIVE                        327 MCCALL AVENUE
OAK PARK IL 60302                    LOS ANGELES CA 90046                          WEST ISLIP NY 11795




                                            Page 128 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 129 of 800
ARNOLD MILLER                          ARNOLD ODOM                                   ARNOLD PARADISE
22 JOHNSON AVENUE                      3930 N. PINE GROVE AVE                        11978 MAYFIELD AVENUE
NORTHPORT NY 11768                     APT. #1910                                    APT. #2
                                       CHICAGO IL 60613                              LOS ANGELES CA 90049



ARNOLD RAMIREZ                         ARNOLD ROSENBERG                              ARNOLD WILLIAMS
4623 RUSSELL AVE.                      164 BELLA VISTA WAY                           24773 MASTER CUP WAY
APT. # 3                               ROYAL PALM BEACH FL 33411-4308                SANTA CLARITA CA 91355
LOS ANGELES CA 90027



ARNOLD, DANIEL                         ARNOLD, DONNA                                 ARNOLD, HENRI
816 8TH AVE NO.3R                      PO BOX 2744                                   5470 GOLF POINTE DR
BROOKLYN NY 11215                      DES PLAINES IL 60017                          SARASOTA FL 34243




ARNOLD, JEFFREY                        ARNOLD, KAREN L                               ARNOLD, MARIALISA
3612 S SHELDON RD                      12213 GREEN SHOOT                             2645 PARK AVE
CANTON MI 48188                        COLUMBIA MD 21044                             BALDWIN NY 11510




ARNOLD, MARK                           ARNOLD, RONNIE JOE                            ARNOTT, CHRISTOPHER
6267 ORELAND CT                        1063 W HAWTHORNE ST                           239 DWIGHT STREET
SLATINGTON PA 18080                    ONTARIO CA 91762                              NEW HAVEN CT 06511




AROMA SENSES LLC                       AROMA SENSES LLC                              ARON, PAUL
201 OAK STREET                         3220 SUMMERTIME CT                            206 GOVERNORS DR
COLUMBUS OH 43236                      COLUMBUS OH 43221                             WILLIAMSBURG VA 23185




ARONICA, MOLLY                         ARONSON, CAROL                                ARONSON, CLAIRE
246 SKYVIEW DRIVE                      324 S STONE                                   722 SAN REMO DR
STAMFORD CT 06902                      LAGRANGE IL 60525                             WESTON FL 33326




ARONWALD, RICHARD                      ARORA, CINDY                                  AROUND THE CLOCK
1327 HIAWATHA COURT                    520 S SANTA ANITA AVE       APT C             184-60 JAMAICA AVE
HIGHLAND PARK IL 60035                 AVACADIA CA 91006                             HOLLIS NY 11423




AROUND THE WORLD FOR FREE LLC          ARPI, JENNY                                   ARRABAL, PETER JOSEPH
8033 SUNSET BLVD NO.179                79 LAIRD ST                                   8929 MT PATAPSCO CT
HOLLYWOOD CA 90046                     BRISTOL CT 06010                              ELLICOTT CITY MD 21042




ARREAZA, MARIA ROSARIO                 ARREDONDO, BERTHA                             ARRESCURRENAGA, JULIO
PO BOX 822091                          3940 LAUREL CANYON BLVD NO.930                655 LEWELING BLVD NO.342
PEMBROKE PINES FL 33082                STUDIO CITY CA 91604                          SAN LEANDRO CA 94579




                                              Page 129 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 130 of 800
ARRINGTON, MARVIN ANDRE                ARRINGTON, MONICA                             ARROSPIDE, PAOLA N
1175 OREGON TRAIL SW                   226 POPLAR AVE                                56 WEST BEACON ST
MARIETTA GA 30008                      NEWPORT NEWS VA 23607                         WEST HARTFORD CT 06119




ARROW MARKETING GROUP INC              ARROW MARKETING GRP, INC                      ARROW MESSENGER SERVICE
101 BRADY CT SUITE B                   101 BRADY COURT SUITE B                       1322 W WALTON STREET
CARY NC 27511                          CARY NC 27511                                 CHICAGO IL 60622




ARROW TURF FARM                        ARROWHEAD MOUNTAIN SPRING WATER               ARROWHEAD MOUNTAIN SPRING WATER
11211 N SWAN RD 91 WEST                PROCESSING CENTER                             PO BOX 856158
MEQUON WI 53097                        PO BOX 52237                                  LOUISVILLE KY 40285-6158
                                       PHOENIX AZ 85072-2237



ARROWSMITH, JESSICA                    ARROYO, MARIANELA                             ARROYO, OLGA
4380 MONTEBELLO SR APT 702             865 BALLARD ST  NO. C                         760 S SHANNON DR
COLORADO SPRINGS CO 80918              ALTAMONTE SPRINGS FL 32701                    ROMEOVILLE IL 60446




ARRUDA GENERAL SERVICES INC            ARSENAULT, KARA                               ARSENEAU III, WILLIAM F
610 JEFFERSON DR SUITE 106             15 ORANGE ST NO.406                           1041 BURNETT ST
DEERFIELD BEACH FL 33442               NEW HAVEN CT 06510                            OVIEDO FL 32765




ARSENEAU, JORDAN JUSTIN                ARSENIO ST. JOHN SANTOS                       ARSHAD SAYEED
7 HARTWELL CT APT D                    177 RIVERSIDE AVE                             2155 W HIGHLAND AVE
SAVOY IL 61874                         NEWPORT BEACH CA 92663                        APT # 1W
                                                                                     CHICAGO IL 60659



ARSLANIAN, LOUIS C                     ART & CREATIVITY FOR HEALING INC              ART & SOUL BODYWORKS INC
225 S TWENTY-FIRST AVENUE              26087 GETTY DR                                639 W WELLINGTON AVE
HOLLYWOOD FL 33020                     LAGUNA NIGUEL CA 92677                        UNIT 12
                                                                                     CHICAGO IL 60657



ART DEPARTMENT                         ART FREEMAN                                   ART HOUSE MANAGEMENT LLC
48 GREENE ST                           3920 PENZANCE PLACE                           81 GREENE ST 4TH FLR
NEW YORK NY 10013                      WILLIAMSBURG VA 23188                         NEW YORK NY 10012




ART LITHO COMPANY                      ART LITHO COMPANY                             ART MIX THE AGENCY INC
3500 MARMENCO COURT                    PO BOX 48036                                  2148 FEDERAL AVE SUITE B
BALTIMORE MD 21230                     NEWARK NJ 07101-4836                          LOS ANGELES CA 90025




ART SANCHEZ                            ART-FLO SHIRT & LETTRING COMPANY              ARTEAGA, JOSH
1291 DORNER DR                         6939 WEST 59TH STREET                         14451 SW 295TH ST
MONTEREY PARK CA 91754                 CHICAGO IL 60638                              HOMESTEAD FL 33033




                                              Page 130 of 2387
                         Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 131 of 800
ARTEAGA, SARA                         ARTEL ELECTRICAL CONTRACTOR INC               ARTEL ELECTRICAL CONTRACTOR INC
239 N 6TH AVE                         76 UNION AV                                   76 UNION AVENUE
BEECH GROVE IN 46107                  RONKONKOMA NY 11779                           RONKONKOMA NY 11779




ARTEMIZA ESPITIA DE HERRERA           ARTHEL NEVILLE                                ARTHELIA CALIBRARO
14227 ANADA ST.                       13636 VENTURA BLVD #423                       110 SOUTH EVERGREEN
BALDWIN PARK CA 91706                 SHERMAN OAKS CA 91423                         #3B
                                                                                    ARLINGTON HTS IL 60005



ARTHUR ACEVEDO                        ARTHUR BARNUM                                 ARTHUR BERMUDEZ
16802 ALWOOD STREET                   89 N PARK ROAD                                4809 BRIGGS AVENUE
VALINDA CA 91744                      LA GRANGE IL 60525                            LA CRESCENTA CA 91214




ARTHUR BERNAL                         ARTHUR BERNICCHI                              ARTHUR BUCKLER
P.O. BOX 1242                         833 W. GREEN STREET                           1055 S CRESCENT HEIGHTS BLVD
NEW YORK NY 10163                     BENSENVILLE IL 60106                          LOS ANGELES CA 90035




ARTHUR BURT IRWIN                     ARTHUR CHI'EN                                 ARTHUR COHEN
11450 SEABROOK WAY                    26 GROVE STREET                               2 SKY EDGE LANE
CYPRESS CA 90630-5476                 APT. 3F                                       BETHEL CT 06801
                                      NEW YORK NY 10014



ARTHUR COIA                           ARTHUR DERDERIAN                              ARTHUR DOLGIN
45 SAUSALITO DR.                      105 COMMONWEALTH AVENUE                       PO BOX 6338
BOYNTON BEACH FL 33436                NEW BRITAIN CT 06053                          WOODLAND PARK CO 80866




ARTHUR E LEVY                         ARTHUR ESPINOSA                               ARTHUR FRAZINE
2097 TIMBER LANE                      4810 S. VINCENT                               5930 CHRISTIE AVE
WHEATON IL 60187                      UNIT #32                                      KENTWOOD MI 49508
                                      COVINA CA 91706



ARTHUR G WILD JR                      ARTHUR GARCIA                                 ARTHUR HARRIS
2402 NIPOMO AVENUE                    3114 EDWARD AVENUE                            P.O. BOX 927
LONG BEACH CA 90815                   LOS ANGELES CA 90065                          WHEATLEY HEIGHTS NY 11798




ARTHUR HENDERSON                      ARTHUR HIRSCH                                 ARTHUR HUNT, CRYSTAL
2553 13TH AVENUE W                    6602 BONNIE RIDGE DRIVE                       1478 N MANGONIA CIRCLE
SEATTLE WA 98119                      #202                                          WEST PALM BEACH FL 33401
                                      BALTIMORE MD 21209



ARTHUR IANAZZI                        ARTHUR JOHNSON                                ARTHUR KEINERT
1417 7TH STREET                       14830 S. CALIFORNIA AVE.                      2038 S AUBREY STREET
WEST BABYLON NY 11704                 POSEN IL 60469                                ALLENTOWN PA 18103




                                             Page 131 of 2387
                           Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 132 of 800
ARTHUR L BALLEW                         ARTHUR L KAYE                                 ARTHUR LATOUR
103 MARINE CIR                          5441 ALCOVE ANUE                              1840 RAMSEY DR
YORKTOWN VA 23692                       NO HOLLYWOOD CA 91607                         LAKE WORTH FL 33461




ARTHUR MARIOTTI                         ARTHUR MIESEMER                               ARTHUR MOJICA
33 PEARSALL ST                          510 HOGAN DRIVE                               12342 E ESSEX STREET
BABYLON NY 11702                        MARTINSBURG WV 25401                          CERRITOS CA 90703




ARTHUR O'CONNOR                         ARTHUR ORSINI                                 ARTHUR R WICKINS
9400 LINCOLN AVE.                       175 CEDAR ROAD                                8313 SHADYSIDE AVENUE
BROOKFIELD IL 60513                     EAST NORTHPORT NY 11731                       WHITTIER CA 90606




ARTHUR REINHARDT                        ARTHUR ROGERS                                 ARTHUR SHELLY
87-25-81 AVENUE                         1531 WHITE PINE DR                            PO BOX 1554
GLENDALE NY 11385                       MORRO BAY CA 93442                            EASTON PA 18044




ARTHUR SIEBELIST                        ARTHUR SINGLETON                              ARTHUR SLOANE
459 PASSAIC AVE                         637 COVE RD                                   105 MOORE STREET
APT 169                                 APT 5D                                        NEW HYDE PARK NY 11040
WEST CALDWELL NJ 07006-7460             STAMFORD CT 06902



ARTHUR STAPLE                           ARTHUR SZCYKALSKI                             ARTHUR TAYLOR
1132 CLINTON STREET                     330 S SPRUCE STREET                           7440 MARINE AVE
APT. 507                                MAPLE SHADE NJ 08052                          RANCHO CUCAMONGA CA 91730
HOBOKEN NJ 07030



ARTHUR TRIVELLI                         ARTHUR TURNBULL                               ARTHUR WADE
21 HARMONY STREET                       460 CIMARRRON DR. EAST                        P.O. BOX 1983
MANORVILLE NY 11949                     AURORA IL 60504                               SAN PEDRO CA 90733




ARTHUR, BETTY                           ARTHUR, FRED                                  ARTHUR, FRED
1120 SOUTH RIDGE ST                     1329 SR 44                                    PO BOX 490791
WEST PALM BEACH FL 33416                LEESBURG FL 34749                             LEESBURG FL 34749




ARTHUR, MICHAEL                         ARTIE JOHNSTON                                ARTIEL SPURLOCK
1319 NW 11TH CT                         1037 CLAIRE DRIVE                             4930 W. MARY COURT
FT. LAUDERDALE FL 33311                 SLIDELL LA 70461                              COUNTRY CLUB HILLS IL 60478




ARTIFACTUALITY CORP                     ARTIFACTUALITY CORP                           ARTIMEZ PICKENS
41 GLENRIDGE AVE SUITE 1L               63 GILLESPIE RD                               3043 W. 19TH STREET
MONTCLAIR NJ 07042                      BLOOMFIELD NJ 07003                           CHICAGO IL 60623




                                               Page 132 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 133 of 800
ARTINI-ZAK CORPORATION, INC.           ARTIS SMITH                                   ARTISAN FOR HIRE INC
STEVEN WARM, ESQ.                      2894 NW 9TH COURT                             216 SOUTH JEFFERSON ST STE 202
BOCA CORPORATE CENTER, SUITE 220       FORT LAUDERDALE FL 33311-6667                 CHICAGO IL 60661-5608
2101 NW CORPORATE BLVD
BOCA RATON FL 33431


ARTISAN FOR HIRE INC                   ARTISAN FOR HIRE INC                          ARTISAN STAGE AND LIGHTING INC
P O BOX 71332                          PO BOX 23875 NETWORK PLACE                    3208 WEST LAKE AVE
CHICAGO IL 60661                       CHICAGO IL 60673-1238                         GLENVIEW IL 60025




ARTIST & IDEA MANAGEMENT, LTD.         ARTIST UNTIED                                 ARTIZANS ENTERTAINMENT INC
1 ASTOR PLACE                          35 STILLMAN ST  STE 104                       11149-65 ST NW
5-S                                    SAN FRANCISCO CA 94107                        EDMONTON AB T5W 4K2
NEW YORK NY 10003



ARTOLA, YOSBEL                         ARTS CLUB OF CHICAGO                          ARTSONS MANUFACTURING CO INC
164 CORAL REEF CIRCLE                  201 E ONTARIO STREET                          4915 CECELIA ST
KISSIMMEE FL 34743                     CHICAGO IL 60611                              CUDAHY CA 90201




ARTURO GACHUPIN                        ARTURO JIMENEZ                                ARTURO MONTILLA
7142 PASEO DEL RIO                     C/O HUNTINGTON COUNTRY INN                    381 E. SHERIDAN STREET
BELL GARDENS CA 90201                  HUNTINGTON STATION NY 11746                   #408
                                                                                     DANIA FL 33004



ARTURO OROZCO JR.                      ARTURO SERRANO                                ARTUSO, KATHLEEN K
5526 ORANGECREST AVE.                  109 BRYN MAWR ROAD                            7590 LIVE OAK DR
AZUSA CA 91702                         CLAREMONT CA 91711                            CORAL SPRING FL 33065




ARTWING STYLE                          ARTWORK SYSTEMS INC                           ARTWORK SYSTEMS INC
611 BROADWAY    STE 718                219A RITTENHOUSE CIRCLE                       PO BOX 8500-92150
NEW YORK NY 10012                      BRISTOL PA 19007-1615                         PHILADELPHIA PA 19178-2150




ARTWORKS MARKETWORKS                   ARTWORKS MARKETWORKS                          ARTZ, ELISA JANE
105 E MAIN ST                          29 E MAIN ST                                  751 KINSBURY PLACE
WESTMINSTER MD 21157                   WESTMINSTER MD 21157                          COLUMBUS OH 43209-2659




ARUNDEL MILLS LP                       ARVADELL NORMAN                               ARVAZQ INC
7000 ARUNDEL MILLS CIRCLE              4035 W. 21ST PLACE                            4191 SW 49TH STREET
HANOVER MD 21076                       CHICAGO IL 60623                              FORT LAUDERDALE FL 33314-5655




ARVIN FAJARDO                          ARVIND PURI                                   ARY MELLO
3458 SOUTH CENTINELA AVENUE            7005 N. VISTA STREET                          9 ROMA DR
APT#10                                 SAN GABRIEL CA 91775                          FARMINGTON CT 06032
LOS ANGELES CA 90066




                                              Page 133 of 2387
                         Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 134 of 800
ARZHANG ATTAR-NASSERI                 ARZOLA, LOIDA                                 ARZOLA, ROBERT L
2417 REMINGTON DRIVE                  7 ARMAND ROAD                                 3223 LOWEL AVE
NAPERVILLE IL 60565                   BRISTOL CT 06010                              LOS ANGELES CA 90032




ARZOLA, ROBERT L                      ARZOLA, ROBERT L                              ASA SALES SYSTEMS LLC
3223 LOWELL AVE                       CASE NO.560397649                             5440 N CUMBERLAND AVE
LOS ANGELES CA 90032                  PO BOX 942867                                 STE A105
                                      SACRAMENTO CA 94267-0011                      CHICAGO IL 60656



ASA, RICHARD W                        ASAEL GOMEZ                                   ASANTE, MICHAEL
516 N WASHINGTON ST                   180 BOND STREET                               119 CANNON RD
WESTMONT IL 60559                     APT. C-8                                      EAST HARTFORD CT 06108
                                      HARTFORD CT 06114



ASAP COURIER SERVICE                  ASAP COURIER SERVICE                          ASAP COURIER SERVICE
5454 HOFFNER AVENUE                   7901 KINGPOINTE PKWY        STE 26            ATTN: PETE
SUITE 106                             ORLANDO FL 32819                              7525 CURRENCY DRIVE
ORLANDO FL 32812                                                                    ORLANDO FL 32802



ASAP COURIER SERVICE                  ASAY, LOIS                                    ASBAREZ NEWS & ADVERTISING
PO BOX 140104                         461 COLUMBUS AVE                              419 W COLORADO ST
ORLANDO FL 32814                      STE 2530                                      GLENDALE CA 91204
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ASBURY PARK PRESS                     ASCA, RAFAEL                                  ASCANIO, JOSE
PO BOX 1550                           1452 119TH ST                                 BARRIO LA LIBERTAD CALLE LA FE NO.24
NEPTUNE NJ 07754-1550                 COLLEGE POINT NY 11356                        ARAGUA
                                                                                    MARACAY



ASCANIO, JUAN L                       ASCAP                                         ASCAP
3401 EMERALD POINTE DR   APT 102A     280 WEKIVA SPRINGS ROAD NO.102                2675 PACES FERRY RD SE STE 350
HOLLYWOOD FL 33021                    .                                             ATLANTA GA 30339
                                      .
                                      LONGWOOD FL 32779


ASCAP                                 ASCAP                                         ASCAP
2690 CUMBERLAND PKWY                  NO. 490 2690 CUMBERLAND PKWY NO. 490          21169 NETWORK PL
STE 490                               ATLANTA GA 30339                              CHICAGO IL 60673-1216
ATLANTA GA 30339



ASCAP                                 ASCENCIO, KATHY                               ASCENT MEDIA
AND PUBLISHERS                        288 NE 117TH STREET                           520 BROADWAY
PO BOX 70547                          NORTH MIAMI FL 33161                          SANTA MONICA CA 90401-2420
CHICAGO IL 60673-0547



ASCENT MEDIA GROUP LLC                ASCH, ANDREW                                  ASCHER WALSH, REBECCA
625 ARIZONA AVE                       1518 E THIRD ST NO.38                         903 PARK AVENUE APT 7C
SANTA MONICA CA 90401                 LONG BEACH CA 90802                           NEW YORK NY 10021




                                             Page 134 of 2387
                           Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 135 of 800
ASCO MARKETING LLC                      ASCO MARKETING LLC                            ASCOM HASLER GE CAP PROGRAM
225 EPISCOPAL RD                        DBA MARKET POINT DIRECT                       P O BOX 828
BERLIN CT 06037                         225 EPISCOPAL ROAD                            DEERFIELD IL 60015-0828
                                        BERLIN CT 06037



ASCOM HASLER GE CAP PROGRAM             ASCOT CATERING                                ASELA LEAL
PO BOX 802585                           136 MAIN ST                                   289 28TH STREET
CHICAGO IL 60680-2585                   WETHERSFIELD CT 06109                         COPIAGUE NY 11726




ASENSIO, ANDREW                         ASGHAR, SYED SHAUKAT                          ASH, JOHN T
232 LAKE DR                             946 COLLEGE BLVD NO.103                       823 MONROE ST
EAST HAMPTON CT 06424                   ADDISON IL 60101                              SANTA ROSA CA 95404




ASH,TIMOTHY                             ASHA DUSBABEK                                 ASHANTI BENTLEY
6 CANTERBURY ROAD                       11452 DONA DOROTEA DRIVE                      1 DOGWOOD CT.
OXFORD OX2 6LU                          STUDIO CITY CA 91604                          CALUMET CITY IL 60409




ASHANTI DAVIS                           ASHBROCK, DAVID                               ASHCHIAN, TINA
300 LAKE DALE WAY                       9695 SYCAMORE TRACE COURT                     586 WOODGATE CIRC
YORKTOWN VA 23693                       CINCINNATI OH 45242                           SUNRISE FL 33326




ASHCRAFT, MICHAEL M                     ASHE III, HARRY J                             ASHER AGENCY INC
6830 ROCK HILL RD                       144 VIEW ST 2ND FLOOR                         535 W WAYNE ST
KANSAS CITY MO 64113                    MERIDEN CT 06450                              FORT WAYNE IN 46801




ASHER, ELISABETH T                      ASHER, MICHAEL D                              ASHER, RYAN
2825 SAGEWOOD DRIVE                     102 COVERIDGE LANE                            3536 FRONTENAC COURT
GLENWOOD MD 21738                       LONGWOOD FL 32779                             AURORA IL 60504




ASHISH PATEL                            ASHISH PEDAPROLU                              ASHLAND INC
2223 RIVER WOODS DR                     PLOT#181, H#37-109/7                          PO BOX 116735
NAPERVILLE IL 60565-6358                SRI COLONY, R.K.PURAM                         ATLANTA GA 30368
                                        SECUNDERABAD
                                        ANDHRA PRADESH 500056


ASHLEY BREEDING                         ASHLEY BROWN                                  ASHLEY BROWNING
1297 CATALINA STREET                    405 E. 56TH ST.                               23025 ATLANTIC CIRCLE
LAGUNA BEACH CA 92657                   APT. 10M                                      BOCA RATON FL 33428
                                        NEW YORK NY 10022



ASHLEY BUSHEY                           ASHLEY CAPITAL, LLC                           ASHLEY CARMICHAEL
655 W. IRVING PARK ROAD                 RE: CHICAGO 1401 E. 95TH ST.                  1900 S OCEAN BLVD
UNIT #3315                              9810 S. DORCHESTER AVE.                       NO. 11-H
CHICAGO IL 60613                        CHICAGO IL 60628                              LAUDERDALE BY THE SEA FL 33062




                                               Page 135 of 2387
                        Case 08-13141-BLS       Doc 17-1        Filed 12/08/08    Page 136 of 800
ASHLEY CROSS                             ASHLEY DOEPP                                ASHLEY DUNHAM
1439 ATLANTIC AVENUE                     P.O. BOX 667                                9410 BRANTFIELD COURT
CHESAPEAKE VA 23324                      EASTPORT NY 11941-0667                      HOUSTON TX 77095




ASHLEY DUNN                              ASHLEY GOLDEN                               ASHLEY HARDIN-HAMMONS
364 NOREN STREET                         1311 N. MAPLEWOOD AVE.                      4112 TALON LANE
LA CANADA CA 91011                       #2 REAR                                     INDIANAPOLIS IN 46234
                                         CHICAGO IL 60622



ASHLEY MARTEN                            ASHLEY MCELROY                              ASHLEY MEADE
2724 MILLER ROAD                         7217 S. SPAULDING                           12C HARTFORD AVE
GENEVA IL 60134                          CHICAGO IL 60629                            GLENS FALLS NY 12801




ASHLEY MERHEB                            ASHLEY MESSINA                              ASHLEY MILLER
924 BELMONT PLACE                        109 WOOTTON OAKS CT                         2828 KEMP LANE
METAIRIE LA 70001                        ROCKVILLE MD 20852                          HAYES VA 23072




ASHLEY MYRICK                            ASHLEY PARKINS                              ASHLEY POWERS
10331 NIGHTMIST COURT                    7 HARRY ST                                  11000 S. EASTERN AVE
COLUMBIA MD 21044                        WYANDANCH NY 11798                          APT 2526
                                                                                     HENDERSON NV 89052



ASHLEY PROCTOR                           ASHLEY SIEGLE                               ASHLEY WRIGHT
15819 NE 83RD COURT                      4018 ST. JOHNS LANE                         1808 NORTH MONROE STREET
REDMOND WA 98052                         ELLICOTT CITY MD 21042                      BALTIMORE MD 21217




ASHLEY ZUBRENIC                          ASHLEY, PAULETTE                            ASHLOCK, LISEL
1946 SCHRAGE AVE                         3089 N OAKLAND FOREST DR APT 203            68 TEN EYCK ST
WHITING IN 46394                         OAKLAND PARK FL 33309                       BROOKLYN NY 11206




ASHLY MORAN                              ASHMAN, BRIAN                               ASHRAF KHALIL
109 4TH STREET                           19128 BROADFORD RD                          202 W. FIRST STREET
SLATINGTON PA 18080                      SAEGERTOWN PA 16433                         LOS ANGELES CA 90012




ASHTON ARNOLD                            ASIA PARKER                                 ASIAN AMERICAN JOURNALISTS ASSOCIATION
1335 W. ROSCOE                           2516 W. NORTHSHORE AVE                      1182 MARKET STREET
APT. 2                                   APT # 2                                     SUITE 320
CHICAGO IL 60657                         CHICAGO IL 60645                            SAN FRANCISCO CA 94102



ASIAN AMERICAN JOURNALISTS ASSOCIATION   ASIAN AMERICAN JOURNALISTS ASSOCIATION      ASIAN AMERICAN JOURNALISTS ASSOCIATION
202 W 1ST STREET                         2245 EAST COLORADO BLVD SUITE 104-353       C/O CHERYL LU LIEN TAN
LOS ANGELES TIMES, BUSINESS COPY         PASADENA CA 91107                           1765 SUTTER ST
LOS ANGELES CA 90012                                                                 SAN FRANCISCO CA 94115




                                             Page 136 of 2387
                         Case 08-13141-BLS      Doc 17-1        Filed 12/08/08    Page 137 of 800
ASIAN AMERICAN JOURNALISTS ASSOCIATION   ASIAN AMERICAN JOURNALISTS ASSOCIATION      ASIAN AMERICAN JOURNALISTS ASSOCIATION
C/O JENNIFER MORITA                      LA CHAPTER                                  LOS ANGELES CHAPTER
SACRAMENTO BEE ROSEVILLE BUREAU          PO BOX 83700                                231 E THIRD ST
2231 DOUGLAS BLVD   STE 100              LOS ANGELES CA 90083-0700                   LOS ANGELES CA 90013-1494
ROSEVILLE CA 95661


ASIAN AMERICAN JOURNALISTS ASSOCIATION   ASIAN AMERICAN JOURNALISTS ASSOCIATION      ASIAN AMERICAN JOURNALISTS ASSOCIATION
SACRAMENTO CHAPTER                       11713 PALMER DR                             AAJA FLORIDA CHAPTER
PO BOX 189034                            TAMPA FL 33624-4545                         CAROL REYNOLDS SROT
SACRAMENTO CA 95818                                                                  1780 SW 56 AVE
                                                                                     PLANTATION FL 33317


ASIAN AMERICAN JOURNALISTS ASSOCIATION   ASIAN AMERICAN JOURNALISTS ASSOCIATION      ASIAN AMERICAN JOURNALISTS ASSOCIATION
ATTN KAREN CODY                          PO BOX 577639                               C/O JEANNIE PARK
PO BOX 13532                             CHICAGO IL 60657-9997                       INSTYLE TIME INC
GAINSVILLE FL 32604                                                                  1271 6TH AVE, 18TH FL
                                                                                     NEW YORK NY 10020


ASIAN AMERICAN JOURNALISTS ASSOCIATION   ASIAN PACIFIC AMERICAN LEGAL CENTER         ASIAN PACIFIC COMMUNITY FUND
1809 7TH AVE                             1145 WILSHIRE BLVD 2ND FLOOR                315 W 9TH ST    STE 301
SUITE 1414                               LOS ANGELES CA 90017                        LOS ANGELES CA 90015
SEATTLE WA 98101



ASIAN PACIFIC COMMUNITY FUND             ASIAN PROFESSIONAL EXCHANGE                 ASIAN PROFESSIONAL EXCHANGE
5318 S CRENSHAW BLVD                     207 E FRANKLIN AVE NO.B                     328 CLOVERDALE NO.106
LOS ANGELES CA 90043                     EL SEGUNDO CA 90245                         LOS ANGELES CA 90036




ASIAN PROFESSIONAL EXCHANGE              ASIM, JABARI                                ASK JEEVES INC
923 SEVENTH STREET                       2905 MT HOLLY ST                            555 12TH STREET, SUITE 500
HERMOSA BEACH CA 90254                   BALTIMORE MD 21216                          OAKLAND CA 94607




ASK JEEVES INC                           ASK JEEVES INC                              ASK PUBLIC STRATEGIES LLC
DEPT 33187                               PO BOX 60000                                730 NORTH FRANKLIN SUITE 404
P O BOX 39000                            SAN FRANCISCO CA 94160                      CHICAGO IL 60610
SAN FRANCISCO CA 94139-3187



ASL BUILDERS INC                         ASL BUILDERS INC                            ASLAN,REZA
2024 GEORGETOWN DR                       PO BOX 77998                                451 SAN VICENTE BLVD., NO.14
CORONA CA 92881                          CORONA CA 92877                             SANTA MONICA CA 90402




ASMA, STEPHEN T                          ASPECT COMMUNICATIONS                       ASPECT COMMUNICATIONS
750 N DEARBORN NO.2209                   6 TECHNOLOGY PARK DR                        PO BOX 83121
CHICAGO IL 60610                         WESTFORD MA 01886                           WESTFORD MA 01813-3121




ASPECT COMMUNICATIONS                    ASPECT COMMUNICATIONS                       ASPEN HELICOPTERS
PO BOX 67000                             PO BOX 7247-7289                            2899 W FIFTH STREET
DETROIT MI 48267-2317                    PHILDELPHIA PA 19170-7289                   OXNARD CA 93030




                                             Page 137 of 2387
                           Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 138 of 800
ASPEN PUBLISHERS INC                    ASPEN PUBLISHERS INC                          ASPEN PUBLISHERS INC
4829 INNOVATION WAY                     ACCOUNTS RECEIVABLE DEPT                      PO BOX 911
CHICAGO IL 60682-0048                   P O BOX 64054                                 FREDERICK MD 21705-0911
                                        BALTIMORE MD 21264-4054



ASPEN PUBLISHERS INC                    ASPEN PUBLISHERS INC                          ASPIAZU, LEONOR
PO BOX 989                              190 SYLVAN                                    9300 SW 61ST WAY APT D
FREDERICK, MD 21701-0989                ENGLEWOOD CLIFFS NJ 07632                     BOCA RATON FL 33428




ASPLID, CHARLES                         ASSAD, RICHARD                                ASSANE DIAKHATE
5838 W LINCOLN CIRCLE                   331 MCHENRY RD NO.5                           3637 WATERWHEEL SQUARE
LAKE WORTH FL 33463                     GLENDALE CA 91206                             RANDALLSTOWN MD 21133




ASSAULT BASEBALL                        ASSAULT BASEBALL                              ASSEMBLY SYSTEMS
1223 STAFFORD RD                        PO BOX 426                                    16595 ENGLEWOOD AVE
DARLINGTON MD 21034                     ABINGDON MD 21009                             LOS GATOS CA 95032




ASSI SECURITY                           ASSISTANCE IN MARKETING                       ASSISTANCE LEAGUE OF INDIANAPOLIS INC
18001 COWAN ST STE A                    101 E CHESAPEAKE AVENUE                       1475 W 86TH ST E
IRVINE CA 92614                         TOWSON MD 21286                               INDIANAPOLIS IN 46260




ASSN FOR WOMEN IN COMMUNICATIONS        ASSN FOR WOMEN IN COMMUNICATIONS              ASSN OF NEWS MEDIA INTERNAL AUDITORS
14819 SE 62ND CT                        PO BOX 472                                    312 WALNUT ST
BELLEVUE WA 98006                       MOUNTLAKE TERRACE WA 98043-0472               STE 2800
                                                                                      CINCINNATI OH 45202



ASSOCIATED BUILDING MANAGEMENT CORP     ASSOCIATED COLLEGES OF ILLINOIS               ASSOCIATED LIBRARY SERVICE
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6121 SUNSET BLVD                        APTRA REGISTRATIONS                           ATTN STEVE LOEPER
C/O LANCE OROZCO                        1041 SNUG HARBOR ST                           221 S FIGUEROA ST SUITE 300
LOS ANGELES CA 90028                    SALINAS CA 93906                              LOS ANGELES CA 90012



ASSOCIATED PRESS                        ASSOCIATED PRESS                              ASSOCIATED PRESS
1444 WAZEE ST                           10 COLUMBUS BLVD 9TH FL                       55 FARMINGTON AVE
STE 130                                 HARTFORD CT 06106-1976                        HARTFORD CT 06105
DENVER CO 80202



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1825 K ST NW                            230 N MICHIGAN AVE                            ATTN TAMARA STARKS
STE 710                                 STE 1400                                      10 S WACKER DR STE 2500
WASHINGTON DC 20006                     CHICAGO IL 60601                              CHICAGO IL 60606




                                               Page 138 of 2387
                             Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 139 of 800
ASSOCIATED PRESS                          ASSOCIATED PRESS                              ASSOCIATED PRESS
251 N ILLINOIS ST STE 1600                PO BOX 787                                    1515 POYDRAS
INDIANAPOLIS IN 46204                     ATTN: BILL FELBER                             STE 2500
                                          MANHATTAN MERCURY                             NEW ORLEANS LA 70112
                                          MANHATTAN KS 66505


ASSOCIATED PRESS                          ASSOCIATED PRESS                              ASSOCIATED PRESS
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ARLINGTON MA 02476                                                                      BOSTON MA 02241-4212



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PO BOX 414189                             218 NORTH ST                                  300 RIVER PLACE STE 2400
BOSTON MA 02241-4189                      SUITE 230                                     DETROIT MI 48207
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PO BOX 19199                              TELEVISION NEWS                               450 W 33RD ST
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                                          NEWARK NJ 07195-0607



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C/O LELO JEDELHAUSER                      ALBANY NY 12211                               P O BOX 11010
NEW YORK NY 10020                                                                       ALBANY NY 12211



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50 ROCKEFELLER PLAZA                      NEW YORK NY 10163                             NEW YORK NY 10163
NEW YORK NY 10020


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                                          HILTON HEAD SC 29938


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INDIANAPOLIS IN 46204                     ASSOCIATED PRESS SPORTS EDITION               RICHMOND VA 23242
                                          HILTON HEAD SC 29938


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                                          LOS ANGELES CA 90024                          LOS ANGELES CA 90024


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ASSOCIATED STUDENTS UCLA                  STUDENT MEDIA                                 UCLA STORE/BOOK ZONE
308 WESTWOOD PLAZA                        118 KERCKHOFF HALL                            308 WESTWOOD PLAZA
ACKERMAN A262A                            308 WESTWOOD PLAZA                            WESTWOOD CA 90024
LOS ANGELES CA 90024                      LOS ANGELES CA 90024




                                                 Page 139 of 2387
                        Case 08-13141-BLS      Doc 17-1         Filed 12/08/08   Page 140 of 800
ASSOCIATED TELEVISION                    ASSOCIATES FOR INTERNATIONAL               ASSOCIATION FOR WOMEN IN
P.O. BOX 4180                            RESEARCH INC                               109 SE 16TH AVE
HOLLYWOOD CA 90010                       1100 MASSACHUSETTS AVE                     FT LAUDERDALE FL 33301
                                         CAMBRIDGE MA 02138



ASSOCIATION FOR WOMEN IN                 ASSOCIATION FOR WOMEN IN                   ASSOCIATION FOR WOMEN IN
1624 NE 16TH AVE                         2000 MBANKS RD SUITE 204                   205 DUNWOODY LANE
FT LAUDERDALE FL 33305                   MARGATE FL 33063                           HOLLY WOOD FL 33021




ASSOCIATION FOR WOMEN IN                 ASSOCIATION FOR WOMEN IN                   ASSOCIATION FOR WOMEN IN
9715 W BROWARD BLVD NO.261               C/O ART AND CULTURE CENTER                 C/O MARCH OF DIMES ROCHELLE DARMAN
PLANTATION FL 33324                      1650 HARRISON ST                           1001 W CYPRESS CREEK RD  STE 110
                                         HOLLYWOOD FL 33020                         FT LAUDERDALE FL 33309



ASSOCIATION FOR WOMEN IN                 ASSOCIATION FOR WOMEN IN SPORTS MEDIA      ASSOCIATION FOR WOMEN IN SPORTS MEDIA
PO BOX 1561                              P O BOX 726                                PO BOX F
FT LAUDERDALE FL 33302                   FARMINGTON CT 06034-0726                   BAYVILLE NJ 08721




ASSOCIATION OF ALTERNATIVE               ASSOCIATION OF ALTERNATIVE                 ASSOCIATION OF CAPITOL REPORTERS
1020 16TH ST NW 4TH FL                   1250 EYE ST   STE 804                      & EDITORS
WASHINGTON DC 20036                      WASHINGTON DC 20005-3922                   2141 ELIOT ST
                                                                                    DENVER CO 80211



ASSOCIATION OF CAPITOL REPORTERS         ASSOCIATION OF COMMUNITY                   ASSOCIATION OF FOOD JOURNALISTS
& EDITORS                                SERVICES OF HOWARD COUNTY                  ATTN CAROL DE MASTERS
PO BOX 541                               10480 LITTLE PATUXENT PARKWAY NO.920       AFJ EXECUTIVE DIRECTOR
ANNAPOLIS MD 21404                       COLUMBIA MD 21044                          7 AVIENDA VISTA GRANDE STE B7 467
                                                                                    SANTA FE NM 87508-9299


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38309 GENESEE LAKE ROAD                  AFJ MEMBERSHIP COORDINATOR                 C/O CAROL DEMASTERS
OCONOMOWOC, WI 53066                     38309 GENESEE LAKE ROAD                    38309 GENESEE LAKE RD
                                         OCONOMOWOC WI 53066                        OCONOMOWOC WI 53066



ASSOCIATION OF GRADUATES OF THE UNITED   ASSOCIATION OF HISPANIC ADVERTISING        ASSOCIATION OF HISPANIC ADVERTISING
STATES MILITARY ACADEMY                  8201 GREENSBORO DR SUITE 300               AGENCIES
BLDG 698 HERBERT HALL                    MCLEAN VA 22102                            8201 GREENSBORO DR
698 MILLS RD                                                                        MCLEAN VA 22102
WEST POINT NY 10996


ASSOCIATION OF HISPANIC ADVERTISING      ASSOCIATION OF PROFESSIONAL BALL           ASSOCIATION OF PROFESSIONAL WOMEN
ASSN OF HIPANIC ADVERTISING              BALL PLAYERS OF AMERICA                    OF WESTON
AGENCIES                                 1820 W ORANGEWOOD AVE                      PO BOX 267754
PO BOX 85080                             #206                                       WESTON FL 33326
RICHMOND VA 23285-4429                   ORANGE CA 92868


ASSOCIATION OF REGIONAL NEWS             ASSOCIATION OF REGIONAL NEWS               ASTECH INTERMEDIA
1708 COLORADO ST                         CHANNELS ATTN JUDY BURK                    999 18TH STREET
AUSTIN TX 78701-1311                     C/O NEWSCHANNEL 8                          SUITE 2740
                                         7600-D BOSTON BOULVARD                     DENVER CO 80202
                                         SPRINGFIELD VA 22153




                                             Page 140 of 2387
                           Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 141 of 800
ASTERISK FEATURES                       ASTISTOV, MARINA                              ASTMANN, DANA E
P O BOX 21132                           636 PROSPECT AVE APT A10                      107 COTTAGE ST
WEST PALM BEACH FL 33416                HARTFORD CT 06105                             APT 3 O
                                                                                      NEW HAVEN CT 06511-2466



ASTOR, LUCIA                            ASTORGA, ALEJANDRO                            ASTREL JEAN
5720 C FOX HOLLOW DR.                   1 ESCUTIA 1912 FRACC                          7188 CATALINA WAY
BOCA RATON FL 33486                     SAN FERNANDO                                  LAKE WORTH FL 33467
                                        ISLAMABAD, SIN



ASTUDILLO, MARIO                        ASTUDILLO, MARIO                              AT & T COMMERCIAL FINANCE CORP.
21355 TOWN LAKES DR NO.1424             21355 TOWN LAKES DR        NO.1424            PO BOX 4366
BATON RATON FL 33486                    BOCA RATON FL 33486                           PORTLAND OR 97208




AT LAST ELECTRONICS INC                 AT LAST ELECTRONICS INC                       AT&D COMMUNICATIONS SERVICES LLC
PO BOX 822695                           315 E HARRISON STREET                         735 E CONGRESS ST
SOUTH FLORIDA FL 33082                  LONG BEACH NY 11561                           ALLENTOWN PA 18109




AT&D COMMUNICATIONS SERVICES LLC        AT&T                                          AT&T
P O BOX 8508                            AT&T - CONSUMER LEASE SERVICES                DCS ACCOUNT
ALLENTOWN PA 18105-8508                 PO BOX 78973                                  PO BOX 78225
                                        PHOENIX AZ 85062-8973                         PHOENIX AZ 85062-8225



AT&T                                    AT&T                                          AT&T
DCS ACCOUNT                             DCS ACCOUNT                                   PO BOX 78045
PO BOX 78522                            PO BOX 78425                                  PHOENIX AZ 85062-8045
PHOENIX AZ 85062-8522                   PHOENIX AZ 85062-8425



AT&T                                    AT&T                                          AT&T
PO BOX 78114                            PO BOX 78152                                  PO BOX 78158
PHOENIX AZ 85062-8114                   PHOENIX AZ 85062-8152                         PHOENIX AZ 85062-8158




AT&T                                    AT&T                                          AT&T
PO BOX 78314                            PO BOX 78355                                  PO BOX 78904
PHOENIX AZ 85062-8314                   PHOENIX AZ 85062-8355                         PHOENIX AZ 85062-8904




AT&T                                    AT&T                                          AT&T
PO BOX 79075                            SDN ACCOUNT                                   UNIVERSAL BILLER
PHOENIX AZ 85062-9075                   PO BOX 78214                                  PO BOX 79112
                                        PHOENIX AZ 85062-8214                         PHOENIX AZ 85062-9112



AT&T                                    AT&T                                          AT&T
271 N CARMELO AVE                       PAYMENT CENTER                                PO BOX 10103
PASADENA CA 91107                       SACRAMENTO CA 95887-0001                      VAN NUYS CA 91410-0103




                                               Page 141 of 2387
                         Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 142 of 800
AT&T                                  AT&T                                          AT&T
PO BOX 10191                          PO BOX 10192                                  PO BOX 514970
VAN NUYS CA 91410-0191                VAN NUYS CA 91410-0192                        LOS ANGELES CA 90051-4970




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PO BOX 173885                         PO BOX 4222                                   PO BOX 30199
DENVER CO 80217-3885                  KIENSINGTON CT 06037-4222                     TAMPA FL 33630-3199




AT&T                                  AT&T                                          AT&T
PO BOX 30247                          PO BOX 600670                                 P O BOX 901
TAMPA FL 33630-3247                   JACKSONVILLE FL 32260-0670                    .
                                                                                    .
                                                                                    JACKSONVILLE FL 32294


AT&T                                  AT&T                                          AT&T
300 N POINT PARKWAY RM 133C04         CS DRAWER 100659                              IPRIS
ALPHARETTA GA 30005                   ATLANTA GA 30384-0659                         PO BOX 100635
                                                                                    ATLANTA GA 30384-0635



AT&T                                  AT&T                                          AT&T
OPUS                                  PO BOX 105262                                 PO BOX 105306
PO BOX 198401                         ATLANTA GA 30348-5262                         ATLANTA GA 30348-5306
ATLANTA GA 30384



AT&T                                  AT&T                                          AT&T
PO BOX 105773                         PO BOX 198072                                 PO BOX 198861
ATLANTA GA 30348-5773                 ATTN AT&T WORLDNET                            ATLANTA GA 30384-8861
                                      ATLANTA GA 03082-8072



AT&T                                  AT&T                                          AT&T
PO BOX 277019                         PO BOX 406553                                 85 ANNEX
ATLANTA GA 30384-7019                 ATLANTA GA 30384-6553                         ATLANTA GA 30385-0001




AT&T                                  AT&T                                          AT&T
P O BOX 740144                        PO BOX 100960                                 PO BOX 105320
ATLANTA GA 30374-0144                 C/O BROWARD COUNTY COMMERCIAL                 ATLANTA GA 30348-5320
                                      ATLANTA GA 30384



AT&T                                  AT&T                                          AT&T
PO BOX 105373                         PO BOX 105503                                 PO BOX 5011
ATLANTA GA 30348                      ATLANTA GA 30348-5503                         CAROL STREAM IL 60197-5011




AT&T                                  AT&T                                          AT&T
7872 COLLECTION CENTER DRIVE          PO BOX 5019                                   PO BOX 8100
CHICAGO IL 60693                      CAROL STREAM IL 60197-5019                    AURORA IL 60507-8100




                                             Page 142 of 2387
                            Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 143 of 800
AT&T                                     AT&T                                          AT&T
PO BOX 8102                              PO BOX 8103                                   PO BOX 8107
AURORA IL 60507-8102                     AURORA IL 60507-8103                          AURORA IL 60507-8107




AT&T                                     AT&T                                          AT&T
PO BOX 8109                              PO BOX 8110                                   PO BOX 8111
AURORA IL 60507-8109                     AURORA IL 60507-8110                          AURORA IL 60507-8111




AT&T                                     AT&T                                          AT&T
PO BOX 8207                              PO BOX 8212                                   PO BOX 8220
FOX VALLEY IL 60572-8207                 AURORA IL 60572-8212                          AURORA IL 60572-8220




AT&T                                     AT&T                                          AT&T
PO BOX 8221                              SBS                                           SBS
AURORA IL 60572-8221                     PO BOX 8108                                   PO BOX 8101
                                         AURORA IL 60507-8101                          AURORA IL 60507-8101



AT&T                                     AT&T                                          AT&T
DCS ACCOUNT                              PO BOX 9001308                                PO BOX 9001310
PO BOX 9001307                           LOUISVILLE KY 40290-1308                      LOUISVILLE KY 40290-1310
LOUISVILLE KY 40290-1307



AT&T                                     AT&T                                          AT&T
TBC ACCT                                 PO BOX 830017                                 PO BOX 830022
PO BOX 9001309                           BALTIMORE MD 21283-0017                       BALTIMORE MD 21283-0022
LOUISVILLE KY 40290-1309



AT&T                                     AT&T                                          AT&T
PO BOX 830120                            P O BOX 5076                                  PO BOX 1567
BALTIMORE MD 21283-0120                  SAGINAW MI 48605-5076                         SAGINAW MI 48605-1567




AT&T                                     AT&T                                          AT&T
PO BOX 1838                              PO BOX 2356                                   AT&T 901/
SAGINAW MI 48608-1838                    SAGINAW MI 48605-2356                         PO BOX 553152
                                                                                       DETROIT MI 48255-3152



AT&T                                     AT&T                                          AT&T
BILL PAYMENT CENTER                      DEPT 0830                                     ATTN MELAYNA NIEUWSMA
SAGINAW MI 48663-0003                    PO BOX 550000                                 901 MARQUETTE AVE
                                         DETROIT MI 48255-0830                         8TH FL
                                                                                       MINNEAPOLIS MN 55402


AT&T                                     AT&T                                          AT&T
PO BOX 27-0520                           PO BOX 27-5843                                PO BOX 27-6380
KANSAS CITY MO 64180-0520                KANSAS CITY MO 64184-5843                     KANSAS CITY MO 64184-6380




                                                Page 143 of 2387
                            Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 144 of 800
AT&T                                     AT&T                                          AT&T
PO BOX 27-680                            PO BOX 27-820                                 PO BOX 27-866
KANSAS CITY MO 64184-0680                KANSAS CITY MO 64184-0820                     KANSAS CITY MO 64184-0866




AT&T                                     AT&T                                          AT&T
PO BOX 70155                             PO BOX 70529                                  PO BOX 1262
CHARLOTTE NC 28272                       CHARLOTTE NC 28279                            CHARLOTTE NC 28201-1262




AT&T                                     AT&T                                          AT&T
PO BOX 33009                             PO BOX 70529                                  PO BOX 70807
CHARLOTTE NC 28243-0001                  CHARLOTTE NC 28272-0529                       CHARLOTTE NC 28272-0807




AT&T                                     AT&T                                          AT&T
PO BOX 2971                              TBC ACCT                                      TELECONFERENCE SERVICES
OMAHA NE 68103-2971                      PO BOX 2969                                   PO BOX 2840
                                         OMAHA NE 68103-2969                           OMAHA NE 68103-2840



AT&T                                     AT&T                                          AT&T
340 MT KEMBLE AVE RM N280E48             PO BOX 10226                                  PO BOX 1200
MORRISTOWN NJ 07962                      NEWARK NJ 07193-0226                          NEWARK NJ 07101-1200




AT&T                                     AT&T                                          AT&T
PO BOX 13128                             PO BOX 13134                                  PO BOX 13140
NEWARK NJ 07101-5628                     NEWARK NJ 07101-5634                          NEWARK NJ 07101-5640




AT&T                                     AT&T                                          AT&T
PO BOX 13146                             PO BOX 13148                                  PO BOX 13150
NEWARK NJ 07101-5646                     NEWARK NJ 07101-5648                          NEWARK NJ 07101-5650




AT&T                                     AT&T                                          AT&T
250 S CLINTON                            BUSINESS LOCAL                                PO BOX 371302
SYRACUSE NY 13201                        PO BOX 2069                                   PITTSBURGH PA 15250-7302
                                         MECHANICSBURG PA 17055-0999



AT&T                                     AT&T                                          AT&T
175 E HOUSTON ST ROOM 8-H-60             P O BOX 1550                                  P O BOX 4699
SAN ANTONIO TX 78205                     HOUSTON TX 77097-0047                         HOUSTON TX 77097-0075




AT&T                                     AT&T                                          AT&T
P O BOX 4842                             P O BOX 4843                                  P O BOX 4844
HOUSTON TX 77097-0077                    HOUSTON TX 77097-0078                         HOUSTON TX 77097-0079




                                                Page 144 of 2387
                        Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 145 of 800
AT&T                                 AT&T                                          AT&T
P O BOX 4845                         P O BOX 630047                                P O BOX 630059
HOUSTON TX 77097-0080                DALLAS TX 75263-0047                          DALLAS TX 75263-0059




AT&T                                 AT&T                                          AT&T
P O BOX 91730                        P O BOX 930170                                P O BOX 940012
DALLAS TX 75393-0170                 DALLAS TX 75393-0190                          DALLAS TX 75394-0012




AT&T                                 AT&T                                          AT&T
PO BOX 3025                          PO BOX 4706                                   PO BOX 4844
HOUSTON TX 77097-0043                HOUSTON TX 77210-4706                         HOUSTON TX 77907-0080




AT&T                                 AT&T                                          AT&T
PO BOX 630017                        PO BOX 630047                                 PO BOX 630069
DALLAS TX 75263-0017                 DALLAS TX 75263                               DALLAS TX 75263




AT&T                                 AT&T                                          AT&T
PO BOX 650502                        PO BOX 650516                                 PO BOX 650661
DALLAS TX 75265-0502                 DALLAS TX 75265-0516                          DALLAS TX 75265




AT&T                                 AT&T                                          AT&T
PO BOX 66001                         PO BOX 930170                                 AT&T LONG DISTANCE
DALLAS TX 75266-0011                 DALLAS TX 75393                               PO BOX 660688
                                                                                   DALLAS TX 75266-0688



AT&T                                 AT&T                                          AT&T
PO BOX 660324                        PO BOX 1027                                   P.O. BOX 78226
DALLAS TX 75266-0324                 VIENNA VA 22183                               PHOENIX AZ 85062-8226




AT&T                                 AT&T                                          AT&T
P.O. BOX 78225                       P.O. BOX 78214                                P.O. BOX 5012
PHOENIX AZ 85062-8225                PHOENIX AZ 85062-8214                         CAROL STREAM IL 60197-5012




AT&T                                 AT&T                                          AT&T
P.O. BOX 13149                       P.O. BOX 8189                                 P.O. BOX 9001310
NEWARK NJ 07101-5649                 AURORA IL 60507-8109                          LOUISVILE KY 40290-1310




AT&T - CONSUMER LEASE SERVICES       AT&T COMMUNICATION SYSTEMS SOUTHEAST          AT&T COMMUNICATION SYSTEMS SOUTHEAST
P O BOX 78973                        500 NORTH ORANGE AVE                          ATTN SCOTTI STRICKLAND
PHOENIX AZ 85062-8973                ORLANDO FL 32801                              500 N ORANGE AVENUE
                                                                                   ORLANDO FL 32801




                                            Page 145 of 2387
                         Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 146 of 800
AT&T COMMUNICATION SYSTEMS SOUTHEAST   AT&T COMMUNICATION SYSTEMS SOUTHEAST         AT&T CORPORATION
PO BOX 79045                           1936 BLUE HILLS DR                           6000 FELDWOOD ROAD
BALTIMORE MD 21279-0045                ROANOKE VA 24012                             COLLEGE PARK GA 30349




AT&T CORPORATION                       AT&T SERVICES INC                            AT&T SERVICES INC
PO BOX 406553                          1010 WILSHIRE BLVD                           16201 RAYMER STREET ROOM 115
ATLANTA GA 30384-6553                  ROOM 1300                                    VAN NUYS CA 91406
                                       LOS ANGELES CA 90017



AT&T SERVICES INC                      AT&T SERVICES INC                            AT&T SERVICES INC
ATTN: WUNMI MOHAMMED                   DEMOCRATIC NATIONAL CONVENTION               INFORMATION SERVICES
6379 CLARK AVENUE                      1010 WILSHIRE BLVD ROOM 1100                 3401 CROW CANYON ROAD
DUBLIN CA 94568                        LOS ANGELES CA 90017                         2010Z
                                                                                    SAN RAMON CA 94583


AT&T SERVICES INC                      AT&T SERVICES INC                            AT&T SERVICES INC
PAYMENT CENTER                         PAYMENT CENTER                               PO BOX 39000
SACRAMENTO CA 95887-0001               VAN NUYS CA 91388-0001                       DEPT. 05716
                                                                                    SAN FRANCISCO CA 94139-5716



AT&T SERVICES INC                      AT&T SERVICES INC                            AT&T SERVICES INC
PO BOX 60347                           AT&T LONG DISTANCE                           PO BOX 1550
SACRAMENTO CA 95860-0347               PO BOX 5017                                  HOUSTON TX 77097-0047
                                       CAROL STREAM IL 60197-5017



AT&T SERVICES INC                      AT&T SERVICES INC                            AT&T SERVICES INC
PO BOX 4699                            PO BOX 650694                                PO BOX 660688
HOUSTON TX 77097-0075                  DALLAS TX 75265                              DALLAS TX 75266-0688




AT&T TELECONFERENCE SERVICES           AT&T TELECONFERENCE SERVICES                 AT&T WIRELESS SERVICES
DEPT 0830                              PAYMENT CENTER                               PO BOX 78110
PO BOX 55000                           PO BOX 5075                                  PHOENIX AZ 85062-8110
DETROIT MI 48255-0830                  SAGINAW MI 48605-5075



AT&T WIRELESS SERVICES                 AT&T WIRELESS SERVICES                       AT&T WIRELESS SERVICES
PO BOX 78224                           PO BOX 79075                                 PO BOX 513316
PHOENIX AZ 85062-8224                  PHOENIX AZ 85062-9075                        LOS ANGELES CA 90051-3316




AT&T WIRELESS SERVICES                 AT&T WIRELESS SERVICES                       AT&T WIRELESS SERVICES
PO BOX 51471                           PO BOX 628065                                PO BOX 8220
LOS ANGELES CA 90051                   ORLANDO FL 32862-8065                        AURORA IL 60572




AT&T WIRELESS SERVICES                 AT&T WIRELESS SERVICES                       AT&T WIRELESS SERVICES
PO BOX 8229                            PO BOX 129                                   PO BOX 35005
AURORA IL 60572-8229                   NEWARK NJ 07101-0129                         NEWARK NJ 07193-5005




                                             Page 146 of 2387
                            Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 147 of 800
AT&T WIRELESS SERVICES                   AT&T WIRELESS SERVICES                        ATANU AHMED
1600 SW 4TH AVE                          PO BOX 650054                                 33 CIDER MILL ROAD
PORTLAND OR 97201                        DALLAS TX 75265-0054                          ANDOVER CT 06232




ATC DISTRIBUTION SERVICES INC            ATC FREIGHTLINER GROUP LLP                    ATC FREIGHTLINER GROUP LLP
10788 NW 83CT                            PO BOX 99787                                  PO BOX 848326
PARKLAND FL 33076                        OKLAHOMA CITY OK 73199-0787                   DALLAS TX 75284-8326




ATC MICROWAVE                            ATCHESON S EXPRESS INC                        ATCHINSON, MICHAEL SCOTT
4606 MARGARET WALLACE RD                 201 E LA PALMA AVE                            114 WHISPERING PINES CT
MATTHEWS NC 28105                        ANAHEIM CA 92801                              SAVANNAH GA 31405




ATEX MEDIA COMMAND INC                   ATEX MEDIA COMMAND INC                        ATEX MEDIA COMMAND INC
3707 W CHERRY ST                         5445 W CYPRESS ST STE 300                     PO BOX 83026
TAMPA FL 33607                           TAMPA FL 33607                                WOBURN MA 01813-3026




ATEX MEDIA SOLUTIONS INC                 ATEX MEDIA SOLUTIONS INC                      ATEX MEDIA SOLUTIONS INC
15 CROSBY DRIVE                          PO BOX 414148                                 PO BOX 83026
ATTN: DOUG EVERETT                       BOSTON MA 02241-4148                          WOBURN MA 01813-3026
BEDFORD MA 01730



ATHAN ATSALES                            ATHANASIADIS, IASON                           ATHENA PRODUCTIONS
21876 JEFFERS LANE                       7 DIMOCHAROUS ST                              1831 GRANT STREET
SAUGUS CA 91350                          ATHENS 11521                                  SUITE 301
                                                                                       SAN FRANCISCO CA 94113



ATHENA VOULGAROPOULOS                    ATHENS BANNER HERALD                          ATHENS BANNER HERALD
561 ASHLEY AVENUE                        ONE PRESS PLACE                               PO BOX 932759
PORT WASHINGTON WI 53074                 PO BOX 912                                    ATLANTA GA 31193-2759
                                         ATHENS GA 30601



ATHENS SERVICES                          ATHLETICO LTD                                 ATHULIA PHILLIPS
PO BOX 60009                             625 ENTERPRISE DR                             279 NE 40TH COURT
CITY OF INDUSTRY CA 91716                OAKBROOK IL 60523                             POMPANO BEACH FL 33064




ATIEH, GEORGES A                         ATILIO MURILLO                                ATIYEH, RODINA
1274 MIDWAY CIRCLE                       15190 BADILLO STREET #E                       1274 MIDWAY CIRC
WHITEHALL PA 18052                       BALDWIN PARK CA 91706                         WHITEHALL PA 18052




ATKIN, HILLARY C                         ATKINS, BARRY                                 ATKINS, BLOSSOM
1227 10TH STREET NO.3                    91 A MAIN ST                                  8050 W. MCNAB ROAD NO.124
SANTA MONICA CA 90401                    STAFFORD SPRINGS CT 06076                     TAMARAC FL 33321




                                                Page 147 of 2387
                         Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 148 of 800
ATKINS, MITCHELL S                    ATKINS, PAMELA                                ATKINSON DYNAMICS
7052 MCLEANSVILLE RD                  11801 S. VINCENNES                            405 ECCLES AVENUE
BROWNS SUMMIT NC 27214                CHICAGO IL 60643                              SOUTH SAN FRANCISCO CA 94080




ATKINSON DYNAMICS                     ATKINSON, DAVID                               ATKINSON, DONALD
7297 COLLECTION CENTER DRIVE          2428 LEGACY ISLAND CIRCLE                     31852 PASEO ALTO PLANO
CHICAGO IL 60693                      HENDERSON NV 89074                            SAN JUAN CAPISTRANO CA 92675




ATKINSON, JENNIFER                    ATKINSON, NATASHA D                           ATKINSON, NATASHA D
309 HILL AVE                          2138 FIESTA COURT                             PO BOX 580235
GLEN ELLYN IL 60137                   ORLANDO FL 32808                              ORLANDO FL 32808




ATLANTA BRAVES                        ATLANTA BRAVES                                ATLANTA JOURNAL CONSTITUTION
755 HANK AARON DR                     PO BOX 4064                                   530 MEANS STREET SUITE 200
ATLANTA GA 30315                      ATLANTA GA 30302                              ATLANTA GA 30318




ATLANTA JOURNAL CONSTITUTION          ATLANTA JOURNAL CONSTITUTION                  ATLANTA JOURNAL CONSTITUTION
6205 PEACHTREE DUNWOODY RD            72 MARIETTA STREET NW                         PO BOX 105126
ATLANTA GA 30328                      ATTN CURTIS FRANKS                            ATLANTA GA 30348-5126
                                      ATLANTA GA 30303



ATLANTA JOURNAL CONSTITUTION          ATLANTIC COUPON REDEMPTION CENTER             ATLANTIC FEATURE
PO BOX 4689                           6 HINCHMAN AVE                                16 SLAYTON RD
CREDIT DEPT 9TH FL                    DENVILLE NJ 07834                             MELROSE MA 02176
ATLANTA GA 30302-4689



ATLANTIC FEATURE SYNDICATE            ATLANTIC HIGH SCHOOL                          ATLANTIC LEAGUE
16 SLAYTON ROAD                       2455 W ATLANTIC AVENUE                        401 N DELAWARE
MELROSE MA 02176                      DELRAY BEACH FL 33445                         CAMDEN NJ 08102




ATLANTIC LEAGUE                       ATLANTIC LIST COMPANY                         ATLANTIC MARKETING GROUP LLC
31 TURNER LANE                        2425 WILSON BLVD STE 500                      11746 PARKLAWN DR
WEST CHESTER PA 19380                 ARLINGTON VA 22201                            ROCKVILLE MD 20852




ATLANTIC MARKETING GROUP LLC          ATLANTIC MONTHLY GROUP INC                    ATLANTIC MONTHLY GROUP INC
57-11 49TH PL                         ATTN ACCOUNTING DEPT                          77 W WASHINGTON ST 5TH FLR
MASPETH NY 11378                      600 NEW HAMPSHIRE AVE NW                      BOSTON MA 02114
                                      WASHINGTON DC 20037



ATLANTIC PRESS INC                    ATLANTIC SYNDICATION                          ATLANTIC SYNDICATION
5501 W 110TH ST                       1970 BARBER RD                                376 INT CT
OAK LAWN IL 60453                     SARASOTA FL 34240                             SARASOTA FL 34240




                                             Page 148 of 2387
                           Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 149 of 800
ATLANTIC SYNDICATION                    ATLANTIC SYNDICATION                          ATLANTIC SYNDICATION
ATTN: ACCOUNTING                        4520 MAIN STREET                              PO BOX 419149
376 INTERSTATE COURT                    KANSAS CITY MO 64111                          KANSAS CITY MO 64141
SARASOTA FL 34240



ATLANTIC TELECOMMUNCATIONS SERVICES     ATLANTIS BUILDING SERVICES INC                ATLAS CHEMICAL CO INC
13 WATER ST                             PO BOX 2281                                   3722 E MICHIGAN ST
HOLLISTON MA 01746                      STUART FL 34995                               INDIANAPOLIS IN 46201




ATLAS CHEMICAL CO INC                   ATLAS VAN LINES INC                           ATLAS VAN LINES INC
PO BOX 11708                            1212 ST GEORGE RD POB 509                     PO BOX 952340
INDIANAPOLIS IN 46201                   EVANSVILLE IN 47703-2222                      ST LOUIS MO 63195-2340




ATLEE, THOMAS                           ATLEE, THOMAS                                 ATMOS ENERGY
207 LAKEMERE                            411 B REINICKE STREET                         PO BOX 9001949
HOUSTON TX 77079                        HOUSTON TX 77007                              LOUISVILLE KY 40290-1949




ATMOS ENERGY                            ATRIA-BETHLEHEM                               ATRIUM CENTRE LLC
P.O. BOX 9001949                        1745 W MACADA RD                              LEHMAN REALTY MANAGEMENT
LOUISVILE KY 40290-1949                 BETHLEHEM PA 18017                            5301 N FEDERAL HWY 190
                                                                                      BOCA RATON FL 33487



ATTARDO, PEGGY                          ATTARDO, PEGGY                                ATTFIELD, PAUL
4 BETTE CIRCLE                          516 DALY RD                                   804-20 ST PATRICK ST
VERNON CT 06066                         COVENTRY CT 06238-2100                        TORONTO ON M5T 2Y4




ATTIC CHILD PRESS INC                   ATTKISSON, RHONDA RENEA                       ATTORNEY REGISTRATION AND
310 E 23RD ST    STE 11J                9 W ROSEVEAR ST                               DISCIPLINARY COMMISSION
NEW YORK NY 10010                       ORLANDO FL 32804                              PO BOX 19436
                                                                                      SPRINGFIELD IL 62794



ATTORNEY REGISTRATION AND               ATTORNEY REGISTRATION AND                     ATTOUN, MARTHA
DISCIPLINARY COMMISSION (ARDC)          DISCIPLINARY COMMISSION (ARDC)                3909 IVY LN
8768 INNOVATION WAY                     135 SOUTH LASALLE                             JOPLIN MO 64804
CHICAGO IL 60682                        DEPARTMENT 8768
                                        CHICAGO IL 60674-1209


ATUSA SUFI                              ATWELL, ALIS                                  ATWELL, JASMINE
516 S DENVIR AVE                        C/O SCOTT NAGELBERG                           9086 TREMEZZO LANE
UNIT #1                                 438 9TH STREET NO.3                           BOYNTON BEACH FL 33437
CHICAGO IL 60612                        BROOKLYN NY 11215



ATX COMMUNICATIONS                      ATX COMMUNICATIONS                            AUBERSON INNOCENT
PO BOX 9257                             PO BOX 57194                                  7961 NW 51ST STREET
UNIONDALE NY 11555-9257                 PHILADELPHIA PA 19111-7194                    LAUDERHILL FL 33351




                                               Page 149 of 2387
                         Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 150 of 800
AUBIN, SAINT                          AUBREY FORNWALT                               AUBREY J JOHNSON
4669 PINE GROVE DR                    400 RENFRO DRIVE                              19821 HALIFAX ROAD
DELRAY BEACH FL 33445                 204                                           CARSON VA 23830
                                      GLEN BURNIE MD 21060



AUBREY KRAH                           AUBREY MUMPOWER                               AUBREY PARKER
497 HAZARD AVENUE                     4206 N. BROADWAY                              4138 DORIS AVENUE
ENFIELD CT 06082                      CHICAGO IL 60613                              BALTIMORE MD 21225




AUBREY WASHINGTON                     AUBURN SERVICES INC                           AUBURN SERVICES INC
245 VINCENT CIRCLE                    15545 S 71ST CT                               PO BOX 476
MIDDLETOWN DE 19709                   ORLAND PARK IL 60462                          PALOS PARK IL 60464




AUCAPINA, JACINTO                     AUCTIONEERS ASSOC OF MARYLAND INC             AUCTIONEERS ASSOC OF MARYLAND INC
5936 60 AVE                           9801 HANSONVILLE ROAD                         ATN: PAUL SOBWICK
MASPETH NY 11378                      FREDERICK MD 21702                            3646 FALLS RD
                                                                                    BALTIMORE MD 21211



AUDACITY (DBA G MUSIC WORKS INC)      AUDAIN,JOSEPH                                 AUDEN LEDAHL
2734 POLK ST NO.B                     3090 CONGRESS PARK DR NO.938                  7915 SOUTH ROME COURT
HOLLYWOOD FL 33020                    LAKE WORTH FL 33461                           AURORA CO 80016




AUDIENCE RESEARCH DEVELOPMENT LLC     AUDIENCE RESEARCH DEVELOPMENT LLC             AUDIO IMPLEMENTS/GKC
2440 LOFTON TERR                      PO BOX 99300                                  1703 PEARL STREET
FT WORTH TX 76109                     FORT WORTH TX 76199-0300                      WAUKESHA WI 53186




AUDIO RENTS INC                       AUDIO SPECIALTIES                             AUDIO SPECIALTIES
1541 N WILCOX AVE                     801 S MAIN ST                                 PO BOX 75012
HOLLYWOOD CA 90028                    BURBANK CA 91506                              CHARLOTTE NC 28275-0012




AUDIO VISUAL LOS ANGELES              AUDIO VISUAL LOS ANGELES                      AUDIO VISUAL ONE LTD
1219 CORONA DR                        4529 SAN FERNANDO RD UNIT B                   4625 N 25TH AVE
GLENDALE CA 91205                     GLENDALE CA 91204                             SCHILLER PARK IL 60176




AUDIO VISUAL ONE LTD                  AUDIOLAB ELECTRONICS                          AUDIOLAB ELECTRONICS
PO BOX 1115                           10620 INDUSTRIAL AVE SUITE 100                5831 ROSEBUD LN, BUILDING
BEDFORD PARK IL 60499-1115            ROSEVILLE CA 95678                            SACRAMENTO CA 95841




AUDIOLAB ELECTRONICS                  AUDIOVISUAL MAINTENANCE SERVICE INC           AUDITEL TELECOMMUNICATIONS CORP
620 COMMERCE DRIVE STE C              10 MANOR LANE                                 31 MERRICK AVE   STE 30
ROSEVILLE CA 95678                    STONY BROOK NY 11790                          MERRICK NY 11566




                                             Page 150 of 2387
                           Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 151 of 800
AUDLEY FLETCHER                         AUDRA ENSIGN                                  AUDRA PURDHAM
PO BOX 320119                           10463 WEST HAMPDEN AVENUE                     4070 SOUTH ATCHISON WAY
HARTFORD CT 06132                       #201                                          APT. 201
                                        LAKEWOOD CO 80227                             AURORA CO 80014



AUDRA SCHUBERT                          AUDREA FULTON                                 AUDREA HUFF
621 FAIRMONT AVENUE                     426 LENOX                                     3309 CHAROW LANE
WHITEHALL PA 18052                      OAK PARK IL 60302                             ORLANDO FL 32806




AUDREY B DURELL                         AUDREY CHO PHOTOGRAPHY                        AUDREY CODDINGTON
8311 AMSTERDAM DR                       2140 W FULTON ST UNIT E                       148 FREDERICK AVENUE
HUNTINGTON BCH CA 92647                 CHICAGO IL 60612                              BABYLON NY 11702




AUDREY DANET                            AUDREY DIRKIN                                 AUDREY FARRINGTON
20905 NE 8TH COURT                      3018 CAMINO CAPISTRANO                        1930 10TH AVENUE
APT 202-36                              SAN CLEMENTE CA 92672                         SACRAMENTO CA 95818
NORTH MIAMI FL 33179



AUDREY GONELLA                          AUDREY KNAGGS                                 AUDREY MCLEAN
242 BRENTWOOD DRIVE                     5216 LUKE ST, LOT 5B                          1094 NUGENT AVE
CHICAGO HEIGHTS IL 60411                CONWAY SC 29527                               BAY SHORE NY 11706




AUDREY MEEKINS                          AUDREY MILLER                                 AUDREY MOULLIET
6511 PARSONS AVENUE, 3B                 144 NORTH HAMILTON DR                         186 QUARTER TRL
BALTIMORE MD 21215                      APT D                                         NEWPORT NEWS VA 23608
                                        BEVERLY HILLS CA 90211



AUDREY OBERMAN                          AUDREY REYNOLDS                               AUDREY TIERNAN
431 S. BURNSIDE                         9 DANIEL DRIVE                                46 NORTH COURT
APT#12A                                 FARMINGDALE NY 11735                          ROSLYN HEIGHTS NY 11577
LOS ANGELES CA 90036



AUDREY WESTLING                         AUDREY YOUNG                                  AUDRI FERGUSON
503 S. MEADOWBROOK LANE                 132 HARRINGTON ROAD                           2637 MONTROSE AVE
WAUNAKEE WI 53597                       NEWPORT NEWS VA 23602                         MONTROSE CA 91020




AUDRIA WILSON                           AUER, MONA ABBOUD                             AUERBACH, LISA ANNE
8222 S. SACRAMENTO                      1925 SLEEPY HOLLOW RD                         2318 W 31ST ST
CHICAGO IL 60652                        SLEEPY HOLLOW IL 60118                        LOS ANGELES CA 90018




AUGAITIS, ALEKSANDRA                    AUGUSMA, DURANEAU                             AUGUST BROWN
10705 GIGI DR                           531 SW 28 DR.                                 2816 SUNSET PLACE
ORLAND PARK IL 60462                    FT. LAUDERDALE FL 33312                       APT#212
                                                                                      LOS ANGELES CA 90005




                                               Page 151 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 152 of 800
AUGUST COSTANZA                        AUGUST DONIECKI                               AUGUST KRAMER
261 N 7TH ST                           49 SALT LAKE CIRCLE                           73 TWIN HILLS DRIVE
LINDENHURST NY 11757                   FAWN GROVE PA 17321                           COVENTRY CT 06238




AUGUST, DEBRA                          AUGUST, EDWARD                                AUGUST, OLIVER
1110 OLD GATE RD                       1110 OLD GATE RD                              10 SHIQUE HUTONG
NORTHAMPTON PA 18067                   NORTHAMPTON PA 18067                          BEIJING 100007




AUGUSTA CHRONICLE                      AUGUSTA CHRONICLE                             AUGUSTAVE, JOVAN
725 BROAD ST                           PO BOX 1928                                   5540 SW 19TH STREET
AUGUSTA GA 30901                       AUGUSTA GA 30903                              WEST PARK FL 33023




AUGUSTE, ENDA                          AUGUSTE, MARCEL                               AUGUSTE, MARIE A
572 EAST RIDGE CIRCLE NORTH            1461 SW 5TH TERRACE                           1461 SW 5TH TERRACE
BOYNTON BEACH FL 33435                 DEERFIELD BEACH FL 33441                      DEERFIELD BEACH FL 33441




AUGUSTIN GARCIA                        AUGUSTIN, ASTRUDE                             AUGUSTIN, AUGUSTE
3945 N PULASKI AVE                     3301 NW 47TH TERRACE NO. 301                  829 SE 3RD AVE
APT #315                               LAUDERDALE LAKES FL 33319                     DELRAY BEACH FL 33483
CHICAGO IL 60641



AUGUSTIN, EXANTE                       AUGUSTIN, JEAN ROBERT                         AUGUSTINE ARAMBULA
186 MARTIN CIRCLE                      7601 HOLLINGTON PL                            3529 W. LYNDALE
ROYAL PALM BEACH FL 33411              LAKE WORTH FL 33467                           CHICAGO IL 60647




AUGUSTINE GARCIA                       AUGUSTINE, EMILLE                             AUGUSTINE, KERMIT
4038 FLORAL DRIVE                      6035 DUVAL STREET NO.06                       1023 LENOX RD  APT NO.3
LOS ANGELES CA 90063                   HOLLYWOOD FL 33024                            BROOKLYN NY 11212




AUGUSTINE, WILLIAM                     AUNDREA PARSONS                               AUQUI, GERMAN
1439 UNION ST                          1715 MONTROSE DRIVE                           111 WILLOWGROOK AVE
ALLENTOWN PA 18102-4473                AURORA IL 60503                               STAMFORD CT 06902




AURAND, DEBRA A                        AUREDY,GUILLAUME                              AURELIA CARRANZA
1017 DEVONSHIRE DR                     6863 TORCH KEY ST                             11586 EMBREE DR.
SYCAMORE IL 60178                      LAKE WORTH FL 33467                           EL MONTE CA 91731




AURELIO BARRERA                        AURELIO DUPITAS                               AURELIO MACIAS
577 SIMMONS AVENUE                     4331 GATEWAY AVE                              13049 AMAR ROAD
LOS ANGELES CA 90022                   APT #1                                        BALDWIN PARK CA 91706
                                       LOS ANGELES CA 90029




                                              Page 152 of 2387
                         Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 153 of 800
AURELIO MACIAS                        AURELIO RANALDI                               AURORA CAHUE
12761 FENTON AVENUE                   170 ARCH ROAD                                 1414 S. 58TH COURT
SYLMAR CA 91342                       AVON CT 06001                                 CICERO IL 60408




AURORA D ROMO                         AURORA MORALES                                AURORA SERRANO
23750 LA VELLA ROAD                   14650 ECTOR ST.                               4 BRIGHTWOOD LANE
TEMECULA CA 92590                     LA PUENTE CA 91744                            *983 NEW BRITAIN AVE/AMES PLZ
                                                                                    WEST HARTFORD CT 06110-1604



AURORA SERRANO                        AUSTERLITZ, SAUL                              AUSTIN AMERICAN STATESMAN
4 BRIGHTWOOD RD                       280 OCEAN PARKWAY NO.1C                       PO BOX 670
*983 NEW BRITAIN AVE/AMES PLZ         BROOKLYN NY 11218                             AUSTIN TX 78767
ELMWOOD CT 06110-1604



AUSTIN BOGUES                         AUSTIN COBBS                                  AUSTIN COUNTY PUBLISHING CO INC
45 FOX GROVE DRIVE                    1089 SMITH ST                                 THE BELLVILLE TIMES
HAMPTON VA 23664                      UNIONDALE NY 11553                            PO BOX 98
                                                                                    BELLVILLE TX 77418-0098



AUSTIN JR, GRAYLAND                   AUSTIN JR, WILLIAM                            AUSTIN, FRANKIE S
969 DILL AVE                          903 LASSITER DR                               4985 BARRINGTON COVE
ATLANTA GA 30310                      NEWPORT NEWS VA 23607                         MEMPHIS TN 38125




AUSTIN, GENE                          AUSTIN, JANICE                                AUSTIN, MICHAEL F
1730 PENLLYN BLUE BELL PIKE           9933 S LOWE AVE                               1832 N LINCOLN AVE NO.2F
BLUE BELL PA 19422                    CHICAGO IL 60628                              CHICAGO IL 60614




AUSTIN, MITCHELL                      AUSTIN, NOAH                                  AUSTIN, ROBIN LYNNE
90 NUTMEG ROAD                        2940 E BROADWAY RD        APT 181             6462 STELLA LUNA DR
BRISTOL CT 06010                      MESA AZ 85204                                 COLORADO SPRINGS CO 80923




AUSTIN, ROGER                         AUSTIN, TONIA                                 AUSTIN, YOLANDA
196 S MAIN ST                         2851 W PROSPECT RD   APT 1107                 P.O. BOX 743273
MARLBOROUGH CT 06447-1505             FORT LAUDERDALE FL 33309                      RIVERDALE GA 30274




AUSTRALIAN BASEBALL FEDERATION        AUTHURS, ANTHONY                              AUTHURS, SHARON
PO BOX 10468                          2080 LINCOLN AVENUE #1                        900 NW 14TH ST
LEVEL 1/7 SHORT ST                    OPA LOCKA FL 33054                            FT LAUDERDALE FL 33304
SOUTHPORT, QLD 4215



AUTOGRAPHICS INC                      AUTOLOGIC INFORMATION                         AUTOLOGIC INFORMATION
2025 INVERNESS AVE                    1050 RANCHO CONEJO BLVD                       INTERNATIONAL
BALTIMORE MD 21236                    THOUSAND OAKS CA 91320                        FILE NO 53353
                                                                                    LOS ANGELES CA 90074-3353




                                             Page 153 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 154 of 800
AUTOLOGIC INFORMATION                  AUTOLOGIC INFORMATION                         AUTOLOGIC INFORMATION
5555 OAKBROOK PARKWAY                  6000 LIVEOAK PARKWAY                          2700 RIVER ROAD SUITE 112
SUITE 240                              SUITE 110                                     DES PLAINES IL 60018
NORCROSS GA 30093                      ATTN: CONTRACTS
                                       NORCROSS GA 30093


AUTOLOGIC INFORMATION                  AUTOLOGIC INFORMATION                         AUTOMATED BUILDING SERVICES
2 FOURTH AVENUE                        200 BALLARDVALE ST                            6502 ALDER
BURLINGTON MA 01803                    WILMINGTON MA 01887                           HOUSTON TX 77081




AUTOMATED BUILDING SERVICES            AUTOMATED CHECK PROCESSING                    AUTOMATED PRESORT INC
PO BOX 36996                           1030 ST GEORGES AVE NO.200                    1400 CENTRE CIRCLE DRIVE
HOUSTON TX 77236                       AVENEL NJ 07001                               DOWNERS GROVE IL 60515-1054




AUTOMATED SOLUTIONS CORPORATION        AUTOMATIC DATA PROCESSING                     AUTOMATIC DATA PROCESSING
3401 BRECKVILLE RD                     PO BOX 78415                                  1400 MONTEFINO AVENUE
RICHFIELD OH 44286                     PHOENIX AZ 85062-8415                         DIAMOND BAR CA 91765




AUTOMATIC DATA PROCESSING              AUTOMATIC DATA PROCESSING                     AUTOMATIC DATA PROCESSING
5680 NEW NORTHSIDE                     5800 WINDWARD PARKWAY                         PO BOX 9001006
ATLANTA GA 30328                       MAIL STOP B-415                               LOUISVILLE KY 40290-1006
                                       ALPHARETTA GA 30005



AUTOMATIC DATA PROCESSING              AUTOMATIC DATA PROCESSING                     AUTOMATIC DATA PROCESSING
1220 WEBBER HILL RD                    FOUR BECKER FARM RD                           SEMINAR REGISTRATION
ST LOUIS MO 63127                      MS533                                         ONE ADP BLVD MS246
                                       ROSELAND NJ 07068                             ROSELAND NJ 07068



AUTOMATIC DATA PROCESSING              AUTOMATIC FIRE CONTROLS INC                   AUTOMATIC POWER INC
PO BOX 7247-0351                       130 ARMORY DRIVE                              P.O. BOX 230738
PHILADELPHIA PA 19170-0351             SOUTH HOLLAND IL 60473-2817                   HOUSTON TX 77223




AUTOMATIC POWER INC                    AUTOMATION EQUIPMENT CO                       AUTOMATION EQUIPMENT CO
PO BOX 4346                            832 E RAND ROAD SUITE 18                      NO.18 832 E RAND RD
DEPT 253                               MOUNT PROSPECT IL 60056-2571                  MOUNT PROSPECT IL 60056-2571
HOUSTON TX 77210-4346



AUTOMATION GRAPHICS INC                AUTOMATION PRINTING                           AUTOMATION PRINTING
460 W 34TH ST 4TH FL                   1230 LONG BEACH AVE                           PO BOX 21329
NEW YORK NY 10001                      LOS ANGELES CA 90021                          LOS ANGELES CA 90021




AUTOTECH TECHNOLOGIES LP               AUTOTECH TECHNOLOGIES LP                      AUTOTECH TECHNOLOGIES LP
1102 MOMENTUM PL                       135 S LASALLE STREET                          343 ST PAUL BLVD
CHICAGO IL 60689-5311                  DEPT 3373                                     CAROL STREAM IL 60188
                                       CHICAGO IL 60674-3373




                                              Page 154 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 155 of 800
AUTOWRITERS ASSOCIATES INC             AUTOWRITERS ASSOCIATES INC                    AUTRY, JACQUELINE
4635 BAILEY DRIVE                      PO BOX 3305                                   328 W. MOUNTAIN VIEW PLACE
WILMINGTON DE 19808                    WILMINGTON DE 19804-0605                      PALM SPRINGS CA 92262




AUTRY, JACQUELINE E.                   AUTUMN ANDRONIS                               AUTUMN DORSEY
328 W. MOUNTAIN VIEW PLACE             15748 SCOTSGLEN ROAD                          3747 NORTONIA ROAD
PALM SPRINGS CA 92262                  ORLAND PARK IL 60462                          BALTIMORE MD 21216




AUTUMN HEEP                            AUVENSHINE, JIM                               AUVENSHINE, JIM
681 JAMESTOWN BLVD                     408 SILVERTONE DR                             408 SILVERTONE DR
#2029                                  ACCT NO.733                                   CARPENTERSVILLE IL 60110
ALTAMONTE SPRINGS FL 32714             CARPENTERSVILLE IL 60110



AUXILIARY BOARD OF NORTHWESTERN        AUXILIARY BOARD OF NORTHWESTERN               AVA COOK
676 N ST CLAIR ST                      750 N LAKE SHORE DR STE 542                   4832 SAN RAFAEL AVENUE
CHICAGO IL 60611                       CHICAGO IL 60611                              LOS ANGELES CA 90042




AVA DALEY                              AVA GERSHON                                   AVA GHOFRANIAN
1000 WOODFIELD ROAD                    2026 BLANCHE LANE                             40 VASSAR AISLE
WEST HEMPSTEAD NY 11552                MERRICK NY 11566                              IRVINE CA 92612




AVALON FILM SERVICES CORP              AVALON GRAPHICS                               AVALON INVESTMENT CO.
300 EAST MAGNOLIA BLVD                 1020 JAMES DR STE H2                          RE: NORTH HOLLYWOOD 11115 VAN
BURBANK CA 91502                       HARTLAND WI 53029                             4525 RESEDA BLVD.
                                                                                     TARZANA CA 91356



AVALON INVESTMENT COMPANY              AVALON INVESTMENT COMPANY                     AVALOS, JESSE JAMES
RE: NORTH HOLLYWOOD 11115 VAN          4525 RESEDA BL                                4120 MAINE ST NO. 1
4525 RESEDA BL                         TARZANA CA 91356                              LAKE WORTH FL 33461
TARZANA CA 91356



AVANI PATEL                            AVANTE LLC                                    AVAYA FINANCIAL SERVICES
828 W. GUNNISON                        1228 W CAPITOL DRIVE                          FINANCE
CHICAGO IL 60640                       ADDISON IL 60101                              PO BOX 93000
                                                                                     CHICAGO IL 60673-3000



AVAYA FINANCIAL SERVICES               AVAYA INC                                     AVAYA INC
PO BOX 5125                            PO BOX 52602                                  PO BOX 10193
CAROL STREAM IL 60197-5125             PHOENIX AZ 85072-2602                         VAN NUYS CA 91410-0193




AVAYA INC                              AVAYA INC                                     AVAYA INC
18649 NW 78 CT                         3795 DATA DR                                  ATTN SANDRA RODRIGUEZ
MIAMI FL 33015                         NORCROSS GA 30092                             2300 CABOT DRIVE
                                                                                     LISLE IL 60532




                                              Page 155 of 2387
                           Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 156 of 800
AVAYA INC                               AVAYA INC                                     AVAYA INC
PO BOX 5125                             PO BOX 73061                                  PO BOX 93000
CAROL STREAM IL 60197-5125              CHICAGO IL 60673-3061                         CHICAGO IL 60673-3000




AVAYA INC                               AVAYA INC                                     AVAYA INC
2855 FRANKLIN ST     STE 600            PO BOX 9001077                                PO BOX 27-850
INDIANAPOLIS IN 46219                   LOUISVILLE KY 40290-1077                      KANSAS CITY MO 64180-0850




AVAYA INC                               AVAYA INC                                     AVAYA INC
1 CIT DRIVE                             PO BOX 5332                                   CUSTOMER CARE CENTER
LIVINGSTON NJ 07039                     NEW YORK NY 10087-5332                        ATTN TISH SMITH
                                                                                      14400 HERTZ QUAIL SPRINGS PKWY
                                                                                      OKLAHOMA CITY OK 73134


AVCO INDUSTRIES INC                     AVCO INDUSTRIES INC                           AVELAR, TONY
120 WINDSOR PLACE                       PO BOX 416                                    971 LIVE OAK DR
CENTRAL ISLIP NY 11722                  HUTINGTON STATION NY 11746                    SANTA CLARA CA 95051




AVENDANO, LUZ                           AVENTURA CONSTRUCTION LLC                     AVENUE ADVISORS LLC
2943 MALLORN WAY                        2910 BRIGHTWATER LN                           ATTN: TRENT SPIRIDELLIS
STE 2709                                ABINGDON MD 21009                             12707 HIGH BLUFF DRIVE, SUITE 200
CASSELBERRY FL 32707                                                                  SAN DIEGO CA 92130



AVENUE LLC                              AVENUE NEWSPAPER GROUP                        AVENUE NEWSPAPER GROUP
14434 S OUTER 40                        442 EASTERN BLVD                              PO BOX 7889
CHESTERFIELD MO 63017                   ESSEX MD 21221                                ESSEX MD 21221




AVENUE PRODUCTIONS                      AVERA TURNER 'EL                              AVERITT EXPRESS INC
2810 E OAKLAND PK BLVD STE 308          3025 MAYFIELD AVENUE                          PO BOX 102159
FT LAUDERDALE FL 33306                  BALTIMORE MD 21213                            ATLANTA GA 30368-2159




AVERITT EXPRESS INC                     AVERY GORDON                                  AVERY, MATT
PO BOX 3145                             1881 NW 63RD AVENUE                           1921 KENBAR CT
COOKEVILLE TN 38502-3145                SUNRISE FL 33313                              MCLEAN VA 22101




AVETISIAN, CHRIS                        AVIATION SYSTEMS INC                          AVID TECHNOLOGY INC
28931 VIA PASATIEMPO                    2510 W 237TH ST                               PO BOX 3197
LAGUNA NIGUEL CA 92677                  TORRANCE CA 90505                             BOSTON MA 02241-3197




AVID TRAVEL MEDIA INC                   AVIDO DIKARI KHAHAIFA                         AVILA LINDO, VIVIANA
PO BOX 17577                            1641 PINE BAY DRIVE                           65 EAST SCOTT APT 10D
ASHEVILLE NC 28816-7577                 LAKE MARY FL 32746                            CHICAGO IL 60610




                                               Page 156 of 2387
                            Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 157 of 800
AVILA REYES, JORGE ELIAS                 AVILA, BLANCA E                               AVILA, JOSE
14773 PEEKSKILL DR                       3640 SOUTH HIGHLAND AVE                       83-17 95TH AVE
WINTER GARDEN FL 34787                   BERWYN IL 60402                               OZONE PARK NY 11416




AVILA, JOSE ALEJANDRO                    AVILA, NILO                                   AVILA, OSCAR
DONA MENCA 2 VEREDA 14 CASA NO.4         286 CAMERON DR                                FOREIGN CORRESPONDENT
MATURIN                                  BRISTOL CT 06010                              3341 N BELL NO.2
EDO MONGAS                                                                             CHICAGO IL 60618



AVILA, ROSA                              AVILES, JONATHAN                              AVILES, JOSE
286 CAMERON DR                           3701 NW 82ND AVE.                             9818 HEATON CT
BRISTOL CT 06010                         CORAL SPRINGS FL 33065                        ORLANDO FL 32817




AVILES, JULIO                            AVILES, LUIS                                  AVILES, SERGIO
3701 NW 82 AVE                           3105 ARCADIA DR                               4619 SAN DARIO AVE NO.196
CORAL SPRINGS FL 33065                   MIRAMAR FL 33023                              LAREDO TX 78041




AVILLO FOR CONGRESS                      AVIS                                          AVIS LEE
C/O MARY ELLEN MOTY - TREASURER          7876 COLLECTIONS CENTER DRIVE                 4733 DEMING
1755 HILLOCK LANE                        CHICAGO IL 60693                              CHICAGO IL 60639-1813
YORK PA 17403



AVISHAI, BERNARD                         AVITABLE, FRANK                               AVIV BLASBALG
344 NH RT 4A                             169 SHAWMUT AVE                               101 OAKLAND DRIVE
WILMOT NH 03287                          NORTH HAVEN CT 06473                          TRUMBULL CT 06611




AVON CHAMBER OF COMMERCE                 AVON PRODUCTS FOUNDATION INC                  AVON PRODUCTS FOUNDATION INC
412 W AVON RD 2ND FL                     135 S LASALLE                                 ATLANTA
AVON CT 06001                            DEPT 7367                                     135 S LASALLE DEPT 4510
                                         CHICAGO IL 60674-7367                         CHICAGO IL 60674-4510



AVON PRODUCTS FOUNDATION INC             AWHP LTD                                      AWHP LTD
ONE AVON PLAZA                           3120 GLENVIEW RD                              501 MILWAUKEE AVE
RYE NY 10580                             GLENVIEW IL 60025                             GLENVIEW IL 60025




AWOLOWO ATIMISE                          AWRT HOUSTON                                  AWRT OF DALLAS/FORT WORTH
63 POIPLAR ROAD                          PO BOX 980908                                 10111 NORTH CENTRAL EXPRESSWAY
AMITYVILLE NY 11701                      HOUSTON TX 77098-0908                         DALLAS TX 75231




AXA EQUITABLE LIFE INS CO                AXA EQUITABLE LIFE INS CO                     AXCERA LLC
SOCIETY                                  BOX 371405                                    ATTN CHRISTY FENNELL
PO BOX 93502                             PITTSBURGH PA 15250-7405                      103 FEEDOM DRIVE
CHICAGO IL 60673                                                                       LAWRENCE PA 15055




                                                Page 157 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 158 of 800
AXCESS FINANCIAL SERVICES INC          AXEL BRAVO                                    AXEL FERDINAND
5155 FINANCIAL WAY                     45 FAIRVIEW STREET                            591 ELM AVENUE
MASON OH 45040                         WEST HARTFORD CT 06119                        RIDGEFIELD NJ 07657




AXIS FINANCIAL INSURANCE SOLUTIONS     AXIS FINANCIAL INSURANCE SOLUTIONS            AXIS FINANCIAL INSURANCE SOLUTIONS
CONNELL CORPORATE PARK                 CONNELL CORPORATE PARK                        CONNELL CORPORATE PARK
300 CONNELL DRIVE                      PO BOX 357                                    THREE CONNELL DRIVE
PO BOX 357                             BERKELEY HEIGHTS NJ 07922-0357                PO BOX 357
BERKELEY HEIGHTS NJ 07922-0357                                                       BERKELEY HEIGHTS NJ 07922-0357


AXIS INSURANCE COMPANY                 AXIS INSURANCE COMPANY                        AXIS INSURANCE COMPANY
CONNELL CORPORATE PARK                 MEDIA PROFESSIONAL INSURANCE                  TWO PERSHING SQUARE, SUITE 800
300 CONNELL DRIVE                      TWO PERSHING SQUARE SUITE 800                 2300 MAIN STREET
PO BOX 357                             2300 MAIN STREET                              KANSAS CITY MO 64108-2404
BERKELEY HEIGHTS NJ 07922-0357         KANSAS CITY MO 64108-2404


AXIS US INSURANCE                      AXIS US INSURANCE                             AXIZ GROUP LLC
ATTN LEGAL DEPARTMENT                  LEGAL DEPARTMENT                              7101 N RIDGEWAY
11680 GREAT OAKS WAY                   11680 GREAT OAKS WAY                          LINCOLNWOOD IL 60712
SUITE 500                              SUITE 500
ALPHARETTA GA 30022                    ALPHARETTA GA 30022


AXRS SMILE CENTER                      AYAL, DANIELLE                                AYALA COHEN
7801 20TH AVE                          27179 SEA VISTA DR                            517 MEEHAN AVENUE
BROOKLYN NY 11214                      MALIBU CA 90265                               FAR ROCKAWAY NY 11691




AYALA, ADELAIDA                        AYALA, AGNES                                  AYALA, DIANA C
12355 SW 18TH ST    APT 204            23 BUELL STREET 2ND FLOOR                     2531 BARKLEY DR W
MIAMI FL 33175                         NEW BRITAIN CT 06051                          WEST PALM BEACH FL 33415




AYALA, JOE                             AYALA, MARILYN                                AYAN ADAN
1115 LANARK STREET                     2801 N 73RD TER                               1325 S. VAN NESS
LOS ANGELES CA 90041                   HOLLYWOOD FL 33024                            LOS ANGELES CA 90019




AYANNA RENAUD                          AYANNA WILLIAMS                               AYERS & AYERS
224-29 93RD AVENUE                     9400 LINCOLN                                  JULIE TEBBETS
QUEENS VILLAGE NY 11428                BROOKFIELD IL 60513                           4205 GATEWAY DR.
                                                                                     SUITE 100
                                                                                     COLLEYVILLE TX 76034


AYERS & AYERS                          AYERS, DANIELLE                               AYISHA MCDONALD
DEANNE AYERS                           6937 SNYDER RD                                11017 WILKIE AVENUE
4205 GATEWAY DR.                       MEMPHIS TN 38141                              INGLEWOOD CA 90303
SUITE 100
COLLEYVILLE TX 76034


AYRES FISHER, ADRIAN                   AYRES, CHRISTOPHER ROSS                       AYRES, IAN
1031 S HOME AVENUE                     2009 EL CERRITO PLACE                         15 LOOMIS PLACE
OAK PARK IL 60304                      LOS ANGELES CA 90068                          NEW HAVEN CT 06511




                                              Page 158 of 2387
                            Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 159 of 800
AYRTON JR, DONALD L                      AYSO 1370                                     AYSO 1370
20 SOUTH PARK ST                         3100 SKY RIDGE LANE                           AMERICAN YOUTH SOCCER ORGANIZATION
WILLIMANTIC CT 06226-3320                HACIENDA HEIGHTS CA 91745                     BURBANK REGION (SP1523)
                                                                                       P O BOX 7209
                                                                                       BURBANK CA 91510


AYSO 1370                                AYSO 1370                                     AYSO 1370
AMERICAN YOUTH SOCCER ORGANIZATION       AMERICAN YOUTH SOCCER ORGANIZATION            AMERICAN YOUTH SOCCER ORGANIZATION
CANYON COUNTRY(SPNO.1511)                REGION 31                                     N ORANGE COUNTY, AREA 11K(SP1500)
28319 KLEVINS CT                         22154 RIM FIRE LN                             18762 MT CIMARRON ST
CANYON COUNTRY CA 91351                  DIAMOND BAR CA 91765                          FOUNTAIN VALLEY CA 92708


AYSO 1370                                AYSO 1370                                     AYSO 1370
AMERICAN YOUTH SOCCER ORGANIZATION       AMERICAN YOUTH SOCCER ORGANIZATION            AMERICAN YOUTH SOCCER ORGANIZATION
HERMOSA BEACH/MANHATTAN (SP1522)         LA MIRADA (SPNO.1515)                         LAKEWOOD/BELLFLOWER (SPNO.1521)
1907 VALLEY PARK AVE                     15735 BIRCHWOOD ST                            PO BOX 310
HERMOSA BEACH CA 90259                   LA MIRADA CA 90638                            LAKEWOOD CA 90714


AYSO 1370                                AYSO 1370                                     AYSO 1370
AMERICAN YOUTH SOCCER ORGANIZATION       AMERICAN YOUTH SOCCER ORGANIZATION            AMERICAN YOUTH SOCCER ORGANIZATION
PALMS MIDDLE REGION (SP1526)             WESTCHESTER (SPNO.1517)                       W LOS ANGELES, STA MONICA (SPNO.1501)
10860 WOODBINE ST                        5639 W 78TH ST                                264 N SALTAIR AVE
LOS ANGELES CA 90034                     LOS ANGELES CA 90045                          LOS ANGELES CA 90049


AYSO 1370                                AYSO 1370                                     AYSO 1370
AMERICAN YOUTH SOCCER ORGANIZATION       AMERICAN YOUTH SOCCER ORGANIZATION            AMERICAN YOUTH SOCCER ORGANIZATION
WESTWOOD REGION 365 (SP1528)             MARVISTA REGION 01 (SP1525                    ATTN KELLY SILVERBERG
10767 W PICO BLVD                        3330 GRANVILLE AVE                            PO BOX 1191
LOS ANGELES CA 90064                     LOS ANGELES CA 90066                          MALIBU CA 90026


AYSO 1370                                AYSO 1370                                     AYSO 1370
AMERICAN YOUTH SOCCER ORGANIZATION       AMERICAN YOUTH SOCCER ORGANIZATION            AMERICAN YOUTH SOCCER ORGANIZATION
SIMI VALLEY REGION 121 (SP1513)          OXNARD REGION (SPNO.1520)                     PACOIMA REGION 19 (SP1524)
15664 LA DEYRE                           1318 MEADOWLARK LANE                          9919 LAUREL CANYON BLVD
MOORPARK CA 93021                        OXNARD CA 93030                               PACOIMA CA 91331


AYSO 1370                                AYSO 1370                                     AYSO 1370
AMERICAN YOUTH SOCCER ORGANIZATION       AMERICAN YOUTH SOCCER ORGANIZATION            AMERICAN YOUTH SOCCER ORGANIZATION
PALMDALE REGION (SP1514)                 REDONDO BEACH (SPNO.1510)                     PALOS VERDES REGION 10 (SP 1527)
P O BOX 903224                           PO BOX 2586                                   11 LARIAT LANE
PALMDALE CA 93550                        REDONDO BEACH CA 90278                        ROLLING HILLS ESTATES CA 90274


AYSO 1370                                AYSO 1370                                     AYSO 1370
AMERICAN YOUTH SOCCER ORGANIZATION       AMERICAN YOUTH SOCCER ORGANIZATION            AMERICAN YOUTH SOCCER ORGANIZATION
SAN DIMAS/LA VERNE (SP1509)              SIMI VALLEY (SPNO.1513)                       STANTON GERION 59 (SP1516)
734 N HATFIELD AVE                       21 E BONITA DR                                11062 GRANT WAY
SAN DIMAS CA 91773                       SIMI VALLEY CA 93065                          STANTON CA 90680


AYSO 1370                                AYSO 1370                                     AYSO 1370
AMERICAN YOUTH SOCCER ORGANIZATION       REGION 88                                     REGION 88
MALIBU REGION 759 (SP1519)               12501 S ISIS AVE                              9049 MARTINDALE AVE
2400 TUNA CANYON ROAD                    HAWTHORNE CA 90250                            LA TUNA CYN CA 91352
TOPANGA CA 90290


AYSO 1370                                AZ PANTRY                                     AZ PANTRY
145 CITRUS PARK CIRCLE                   1500 ELMHURST RD                              1500 N ELMHURST RD
BOYNTON BEACH FL 33436                   MOUNT PROSPECT IL 60056                       MOUNT PROSPECT IL 60056




                                                Page 159 of 2387
                         Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 160 of 800
AZ PRINTERS PLUS INC                  AZADIAN, PATRICK                              AZALEA J DELATORRE
104-3738 N FRASER WAY                 510 N JACKSON ST NO.202                       580 BAY STREET
BURNABY BC V5J 5G7                    GLENDALE CA 91206                             COSTA MESA CA 92627




AZALIA ROLON                          AZAM AHMED                                    AZAR, GEORGE
4333 N GREENVIEW                      435 N. MICHIGAN AVE.                          3195 ADMIRAL STREET
CHICAGO IL 60613                      CHICAGO IL 60611                              SAN DIEGO CA 92123




AZARIAH MCKENZIE                      AZARIGIAN, LAUREN                             AZEVEDO, CLAUDETTE
129-29 133RD ST                       31 ROBIN RD                                   57 BARNWOOD RD
SOUTH OZONE PARK NY 11420             FARMINGTON CT 06032                           MANCHESTER CT 06040




AZFAR, KIRAN                          AZIZ KAMALADIN                                AZIZ, AMIRAN
154 CASTLEWOOD CT                     509 N. ORANGE PRIVADO                         1429 NW 161 AVE
ROSELLE IL 60172                      ONTARIO CA 91764                              PEMBROKE PINES FL 33028




AZIZA ROBERTSON                       AZIZI, SARAH                                  AZMITIA, ROBERT
3155 W. ROSECRAN AVE                  11305 NW 18TH CT                              3402 MCKAY AVE
APT#9                                 PLANTATION FL 33323                           TAMPA FL 33609
HAWTHORNE CA 90250



AZOCAR, MAURICIO                      AZORE, ROOKMIN                                AZORES EXPRESS TOURS INC
11402 BRITHON DR                      5715 DOUGLAS ST.                              211 S MAIN ST
ORLANDO FL 32837-6452                 HOLLYWOOD FL 33021                            FALL RIVER MA 02720




AZUMAH, JERRY                         AZUMANO TRAVEL SERVICE                        AZZARELLO, WILLIAM C
462 W SUPERIOR ST                     320 SW STARK ST   NO.600                      9620 S KOMENSKY AV
CHICAGO IL 60610                      PORTLAND OR 97204                             OAK LAWN IL 60453




AZZARO, SALVATORE                     AZZURRO                                       AZZURRO HD LLC
69 LIBERTY AVE                        260 UNION ST                                  260 UNION STREET
NORTH BABYLON NY 11703                NORTHVALE NJ 07647                            NORTHVALE NJ 07647




B & A NEWS                            B & A NEWS                                    B AND E PRODUCTION FABTICATORS
964 CAMELOT                           964 CAMELOT                                   3927 N CENTRAL PARK AVE
ACCT NO.1747                          PORTAGE IN 46368                              CHICAGO IL 60618
PORTAGE IN 46368



B B NEWS STAND                        B BEAR PRODUCTIONS INC                        B N HOLDINGS
D O 13A STRATFORD SQ MALL             1010 FRANKLIN ST                              1800 ELLIS ST
BLOOMINGDALE IL 60108                 SANTA MONICA CA 90403                         BELLINGHAM WA 98225




                                             Page 160 of 2387
                         Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 161 of 800
B&B DELIVERY SERVICES INC             B&B ELECTRONICS MFG CO INC                    B&B ELECTRONICS MFG CO INC
1450 SW 139TH AVE                     4000 BAKER ROAD                               PO BOX 1040
DAVIE FL 33325                        OTTAWA IL 61350                               OTTAWA IL 61350




B&B ELECTRONICS MFG CO INC            B&B MAINTENANCE                               B&B MAINTENANCE
PO BOX 360400                         6600 NW ANDREWS AVE STE 120                   FLORIDA DIVISION
PITTSBURGH PA 15251-6400              FT LAUDERDALE FL 33309                        6600 NW ANDREWS AVE STE 120
                                                                                    FT LAUDERDALE FL 33309



B&B MAINTENANCE                       B&B MAINTENANCE                               B&D TRANSPORT INC
310 TELSER RD                         537 CAPITAL DR                                103 MEADOW RUE CT
LAKE ZURICH IL 60047                  LAKE ZURICH IL 60047                          WILLIAMSBURG VA 23185




B&D TRANSPORT INC                     B&D TRANSPORT INC                             B&F COFFEE SERVICE
13144 JEFFERSON AVE SUITE C           PO BOX 22568                                  3535 COMMERCIAL AVENUE
NEWPORT NEWS VA 23608                 NEWPORT NEWS VA 23609-2568                    NORTHBROOK IL 60062-1848




B&K ELECTRIC WHOLESALE                B&K ELECTRIC WHOLESALE                        B&R GLASS AND GLAZING INC
16252 ARROW HIGHWAY                   PO BOX 54507                                  1622 NE 12TH TERRACE
IRWINDALE CA 91706                    LOS ANGELES CA 90054-0507                     FT LAUDERDALE FL 33305




BABBS, SHENANE                        BABEETA DHILLON                               BABELCOM
4211 SW 27TH STREET                   10687 RIDGE CANYON RD                         VERY INC
HOLLYWOOD FL 33023                    ALTA LOMA CA 91737                            3372 SW 20 STREET
                                                                                    MIAMI FL 33145



BABIANA STANTON                       BABIN, REX S                                  BABITA PERSAUD
7 PAR PLACE                           2444 PORTOLA WY                               226 SPRING LEAP CIRCLE
E                                     SACRAMENTO CA 95818                           WINTER GARDEN FL 34787
QUEENSBURY NY 12804



BABKEN AVETISIAN                      BABWAH, GRAYSON                               BABY MYINT
1005 HIBISCUS                         414 N. 60TH WAY                               5832 CARLTON WAY
MONTEBELLO CA 90640                   HOLLYWOOD FL 33024                            APT. 4
                                                                                    HOLLYWOOD CA 90028



BACA, JAMES                           BACARA RESORT & SPA                           BACCHAS, SASHOYA
10465 HOYT ST                         8301 HOLLISTER AVE                            1700 NW 11TH
WESTMINSTER CO 80021                  SANTA BARBARA CA 93117                        FT LAUDERDALE FL 33311




BACEVICH, A J                         BACH, RICHARD                                 BACH,DARLENE
8 COURTNEY RD                         PO BOX 641242                                 5-C VILLAGE ST
WALPOLE MA 02081                      KENNER LA 70064                               DEEP RIVER CT 06417




                                             Page 161 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 162 of 800
BACHAN, DIANNA                         BACHKO, YEKATERINA                            BACHMAN, LAURA
1003 MAGRUDER ROAD                     27 BALTUSROL ROAD                             8221 TOWN RIDGE RD
SMITHFIELD VA 23430                    SUMMIT NJ 07901                               MIDDLETOWN CT 06457




BACK BAY SOFTWARE                      BACK BAY SOFTWARE                             BACK BAY SOFTWARE
6 CHELSEA PLACE                        ACCOUNTING SOFTWARE                           CHELSEA PARK
CLIFTON PARK NY 12065                  PO BOX 197                                    6 CHELSEA PL
                                       BURNT HILLS NY 12027                          CLIFTON PARK NY 12065



BACK, WOON                             BACKENHEIMER, MARGARET                        BACKMAN, CHANCE
603 S STATE RD 7 NO.1-1                PO BOX 2570                                   4680 SUMMER OAK ST NO.4106
MARGATE FL 33068                       EUGENE OR 97402                               ORLANDO FL 32835




BACKUP WITHHOLDING VENDOR(FSC ONLY)    BACKUP WITHHOLDING VENDOR(FSC ONLY)           BACKUS, DON J
PO BOX 970030                          ACS                                           49 BRADFIELD DRIVE
SAINT LOUIS MO 63197                   PO BOX 145566                                 SOMERS CT 06071
                                       CINCINNATI OH 45250-9943



BACON, AMANDA CHANTAL                  BACON, DWAINE P                               BACON, JASON
8574 CRESCENT DR                       12000 AUTUMNWOOD LANE                         596 WEST MAIN ST
LOS ANGELES CA 90046                   FT WASHINGTON MD 20744                        NEW BRITAIN CT 06053




BACON, SAMANTHA                        BADALL, DENYSE                                BADDOUR, SHARON
406 S RACE ST                          110 SE 2ND STREET APT 105                     6231 PARK LN
FOUNTAIN CO 80817                      HALLANDALE FL 33009                           DALLAS TX 75225




BADEN, LYNN E                          BADESCH, ROGER                                BADGER PRESS INC
1118 STARFISH LANE                     6917 N OAKLEY                                 100 EAST BLACKHAWK DRIVE
TARPON SPRINGS FL 34689                CHICAGO IL 60645                              FORT ATKINSON WI 53538




BADGER, EMILY                          BADIA, ERIK                                   BADLER, BENJAMIN
825 MONROE DRIVE NE NO.2               44 WILTON ROAD                                C/O BASEBALL AMERICA
ATLANTA GA 30308                       COLD SPRING HARBOR NY 11724                   4319 S ALSTON AVE STE 103
                                                                                     DURHAM NC 27713



BADOWSKI, CHRISTINE                    BAEHR, AMY RUTH                               BAEK, YOUNG
6042 N MAPLEWOOD                       140 WEST END AVE NO.21J                       215 EAST 25TH ST  NO.2A
CHICAGO IL 60659                       NEW YORK NY 10023                             NEW YORK NY 10010




BAER, ADAM                             BAER, ERIN                                    BAER, JAMES E
2050 RODNEY DR APT 11                  116 MIDDLETON AVE NO.2                        C-567 DEFENCE COLONY    1ST FLR
LOS ANGELES CA 90027                   EAST HAMPTON CT 06424                         NEW DELHI 110-0024




                                              Page 162 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 163 of 800
BAER, JAMES E                          BAER, KENNETH                                 BAER, RANDALL R
1566 LINDA ROSA AVE                    3601 CONNECTICUT AVE NW                       2299 BRIARWOOD DR
LOS ANGELES CA 90041                   APT 417                                       COPLAY PA 18037
                                       WASHINGTON DC 20008



BAERG, GREGORY                         BAEZ, DOMINGO                                 BAFTIRI, ADVIJE
1325 S HUDSON AVE                      19201 NW 47 AVENUE                            1345 S DUNTON AVE
LOS ANGELES CA 90019                   OPA LOCKA FL 33055                            ARLINGTON HEIGHTS IL 60005




BAFTJAR MAHMUTAJ                       BAFUMI, SUSAN                                 BAGE, THERESA
250 GLENBROOK ROAD                     89 LIBERTY ST                                 203 SHADYNOOK COURT
APT. #38D                              MIDDLETOWN CT 06457                           CATONSVILLE MD 21228
STAMFORD CT 06906



BAGEANIS, DIANE P                      BAGEL TREE                                    BAGGE, PETER
4953 N OAK PARK AVE.                   6580 W ATLANTIC AVE                           7359 17TH AVE NW
CHICAGO IL 60656                       DELRAY BEACH FL 33446                         SEATTLE WA 98117




BAGLEY, LAWRENCE                       BAGLEY, MECHELLE                              BAGS ON THE NET
21 WANGUMBAUG DR                       169 EDSYL ST                                  1401-3 CHURCH ST
COVENTRY CT 06238-2237                 NEWPORT NEWS VA 23602                         BOHEMIA NY 11716




BAHAM, DANIEL PATRICK                  BAHAR TAKHTEHCHIAN                            BAHNSEN, CHRISTOPHER
18065 APPLERIDGE DR NO.3334            807 DAVIS STREET                              427 GOLDENROD AVE
DALLAS TX 75287                        APT #2205                                     CORONA DEL MAR CA 92625-2915
                                       EVANSTON IL 60201



BAHRAM RAD                             BAHRMASEL, ELOISE D                           BAI, MATTHEW
1122 EVERGREEN                         6251 N ARTESIAN AVE NO.2                      1957 39TH ST NW
BURBANK CA 91505                       CHICAGO IL 60659                              WASHINGTON DC 20007




BAI, MATTHEW                           BAIER, EDWARD                                 BAIG, SAFI
3742 APPLETON ST NW                    4628 W PT LOMA BLVD                           6631 COOLIDGE STREET
WASHINGTON DC 20016                    SAN DIEGO CA 92107                            HOLLYWOOD FL 33024




BAILEY JR, WELBY S                     BAILEY, ANDRE W                               BAILEY, CARLA
PO BOX 332                             10429 CANOE BROOK CIRCLE                      5161 W CONCORD PL
MADISON HTS VA 24572                   BOCA RATON FL 33498                           CHICAGO IL 60639




BAILEY, DALE                           BAILEY, DENISE A                              BAILEY, DEONCA T
2490 27TH AVE CIRCLE NE                5740 LAKESIDE DR APT 314                      1528 DADE ST
HICKORY NC 28601                       MARGATE FL 33063                              AUGUSTA GA 30904




                                              Page 163 of 2387
                             Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 164 of 800
BAILEY, ERIC                              BAILEY, ERIC                                  BAILEY, HEIMSLEY
620 S MAIN ST NO 201                      620 S MAIN ST NO 203                          39 CHATHAM ST
LOS ANGELES CA 90014                      LOS ANGELES CA 90014                          HARTFORD CT 06112




BAILEY, JETENOS                           BAILEY, KARL A                                BAILEY, KEESHA R
906 AUGUSTA DR                            80 UNION ST                                   435 ORCHARD DR
MARIETTA GA 30067                         VERNON CT 06066                               STONE MOUNTAIN GA 30083




BAILEY, LOTTIE M                          BAILEY, LOVINA                                BAILEY, MATTHEW
PO BOX 835                                46 JOHN ST                                    2474 CANOE CREEK RD
SMITHFIELD VA 23431                       SOUTHINGTON CT 06489                          SAINT CLOUD FL 34769




BAILEY, MICHELLE                          BAILEY, NELSON E                              BAILEY, RUBEN
10131 NW 35TH ST                          PO BOX 1035                                   1758 KELSO AVE
CORAL SPRINGS FL 33065                    LOXAHATCHEE FL 33470                          LAKE WORTH FL 33460




BAILEY, SIERRA NATRICE                    BAILKIAN, DIANE                               BAILON, KARINA
9441 JENKINS LANE                         340 RACE ST                                   126 COVERT ST
SMITHFIELD VA 23430                       CATASAUQUA PA 18032                           BROOKLYN NY 11207




BAILOT, NADEGE                            BAILY, AMANDA                                 BAIM, TRACY
PO BOX 771661                             80 UNION ST                                   1900 S PRAIRIE AVE
CORAL SPRINGS FL 33077                    VERNON CT 06066                               CHICAGO IL 60616




BAIN, JENNIFER L                          BAINET AUGUSTIN                               BAIRD COBB
5424 8TH AVE APT 3F                       2800 FIORE WAY APT 111                        840 S BISCAYNE RIV DR
BROOKLYN NY 11220                         DELRAY BEACH FL 33445                         MIAMI FL 33169




BAIRD, ANDREA                             BAIRD, DANIELLE M                             BAIRD, ROBERT PHILLIP
3601 PRESERVE WOOD LN                     5708 N PARKSIDE AVE                           1040 N MARSHFIELD    APT 1F
LOGANVILLE GA 30052                       CHICAGO IL 60646                              CHICAGO IL 60622




BAKER & DANIELS                           BAKER & DANIELS                               BAKER & HOSTETLER LLP
300 N MERIDIAN STREET                     PO BOX 664091                                 333 S GRAND AVE STE 1800
SUITE 2700                                INDIANAPOLIS IN 46266                         LOS ANGELES CA 90071
INDIANAPOLIS IN 46204-1782



BAKER & HOSTETLER LLP                     BAKER & HOSTETLER LLP                         BAKER & HOSTETLER LLP
1050 CONNECTICUT AVE NW NO. 1100          P O BOX 37515                                 CLEVELAND OFFICE
WASHINGTON DC 20036                       WASHINGTON DC 20013                           1900 E 9TH ST NO.3200
                                                                                        CLEVELAND OH 44114-3485




                                                 Page 164 of 2387
                           Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 165 of 800
BAKER & HOSTETLER LLP                   BAKER & MCKENZIE LLP                          BAKER & MCKENZIE LLP
PO BOX 70189-T                          100 NEW BRIDGE ST                             130 E RANDOLPH DR
CLEVELAND OH 44190-0189                 LONDON EC4V 6JA                               ONE PRUDENTIAL PLZ
                                                                                      CHICAGO IL 60601



BAKER & MCKENZIE LLP                    BAKER JR, JOHNNIE B                           BAKER JR, JOHNNIE B
ONE PRUDENTIAL PLAZA      STE 3500      40 LIVINGSTON TERRACE                         1730 N CLARK ST NO.1106
130 EAST RANDOLPH DR                    SAN BRUNO CA 94066                            CHICAGO IL 60614
CHICAGO IL 60601



BAKER WETTSTEIN PUBLIC RELATIONS INC    BAKER, ALLISON                                BAKER, ANGELA D
2290 BAY ST                             6529 LIMERICK CT                              245 VAUX HALL RD
EUSTIS FL 32726                         CLARKSVILLE MD 21029                          DUTTON VA 23050




BAKER, BARBARA                          BAKER, BARRETT                                BAKER, BRANDI
3090 PECAN LAKE DR 305                  305 NORTHAMPTON DRIVE                         1856 TORQUAY AVENUE
MEMPHIS TN 38115                        HAMPTON VA 23666                              ROYAL OAK MI 48073




BAKER, CHARLES                          BAKER, CHERYL                                 BAKER, CHRISTINE
319 RIVERSIDE DRIVE                     154 W MAIN ST                                 223 EASTON CIRCLE
YORKTOWN VA 23692                       MACUNGIE PA 18062                             OVIEDO FL 32765




BAKER, CHRISTOPHER JOHN                 BAKER, CYNTHIA                                BAKER, ELAINE
45 WAVERLY AVE                          1320 MCCAY LANE                               22261 SW 66TH AVE
CLARENDON HILLS IL 60514                MCLEAN VA 22101                               BOCA RATON FL 33428




BAKER, ELEANOR                          BAKER, JOEL                                   BAKER, JOHN
319 RIVERSIDE DRIVE                     422 TOLLAND STAGE RD                          3990 STECASSO CT
YORKTOWN VA 23692                       TOLLAND CT 06084                              WHITEHALL PA 18052




BAKER, KAREN                            BAKER, KAREN                                  BAKER, KARIN A
297 PROVIDENCE ST                       334 WOODLAND CT                               475 RUSSELL BLVD 3-K
PUTNAM CT 06260                         LOWELL IN 46356                               THORNTON CO 80229




BAKER, KENNOTTA                         BAKER, LAUREN                                 BAKER, LINDA
2571 CANDLER RD 3B-23                   2138 W CORNELIA                               997K VILLAGE ROUND
DECATUR GA 30032                        CHICAGO IL 60618                              ALLENTOWN PA 18106




BAKER, LOIS                             BAKER, LUKE ELLIS                             BAKER, MARJORIE
1342 S KEDVALE                          1020 ANCESTRA DR                              3325 KEESHEN DR
CHICAGO IL 60623                        FOUNTAIN CO 80917                             LOS ANGELES CA 90066




                                               Page 165 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 166 of 800
BAKER, MICHAEL                         BAKER, NASSER A                               BAKER, PATRICIA CATALINA
230 BROOKS AVE                         8612 5TH AVENUE APT 3                         471 DANFORTH AVE
CLAREMONT CA 91711-4026                INGLEWOOD CA 90305                            CASTLE ROCK CO 80104




BAKER, PATRICK                         BAKER, PETER P                                BAKER, REGENIA H
6510 MONTARBOR DR                      85 FARRAGUT RD                                221 CELLARDOOR CT
COLORADO SPRINGS CO 80918              ANNAPOLIS MD 21403                            HAMPTON VA 23666




BAKER, ROBERT O                        BAKER, ROCHELLE M                             BAKER, ROSS
3325 KEESHEN DR                        105 N 12TH ST NO.2RR                          35 WALTER AVENUE
LOS ANGELES CA 90066                   ALLENTOWN PA 18102                            HIGHLAND PARK NJ 08904




BAKER, SCOTT                           BAKER, SHENEKA                                BAKER, STACY SHAREE
502 PALAFOX DR                         3921 SW 39TH STREET                           6435 LIVINGSTON RD APT 402
CHAPEL HILL NC 27516                   WESTPARK FL 33023                             OXON HILL MD 20745




BAKER, SYLVESTER JR                    BAKER, TYRONE                                 BAKER,JAMES
18 WESTFIELD PLACE                     5024 S LOOMIS BLVD                            510 SPRING TRACE
HAMPTON VA 23661                       CHICAGO IL 60604                              WILLIAMSBURG VA 23188




BAKER,MARK                             BAKERSFIELD CALIFORNIAN                       BAKERSFIELD CALIFORNIAN
933 N VALLEY STREET                    PO BOX 440                                    PO BOX 81015
BURBANK CA 91505                       BAKERSFIELD CA 93302                          BAKERSFIELD CA 93380-1015




BAKITA, BRET J                         BAKKE, JAMES                                  BAKKER-ARKEMA, HALEY
1970 BLUFFVIEW DRIVE                   4800 ARCIE STREET                             3170 N SHERIDAN ROAD APT NO.612
BYRON CENTER MI 49315                  ORLANDO FL 32812                              CHICAGO IL 60657




BAKOULAS, ANTHIA                       BAKOULAS, GEORGE                              BAKOULAS, PANTELIS
832 S PONCA ST                         814 S PONCA STREET                            832 S PONCA STREET
BALTIMORE MD 21224                     BALTIMORE MD 21224                            BALTIMORE MD 21224




BAKSTON, NANCY                         BALAKER, THEODORE                             BALAKER, THEODORE
181 EAST ROAD                          3415 S SEPULVEDA BLVD STE 400                 5007 STONEY CREEK RD NO.334
BROAD BROOK CT 06016                   LOS ANGELES CA 90034                          CULVER CITY CA 90230




BALDASSARE, MARK                       BALDAT MARAJ                                  BALDEGA, LARRY
260 TRINITY AVE                        6351 SW 3RD STREET                            TOWN & COUNTRY NEWS SERVICE
KENSINGTON CA 94708                    MARGATE FL 33068                              P O BOX 298
                                                                                     EASTON CT 06612




                                              Page 166 of 2387
                           Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 167 of 800
BALDERAS, RIGOBERTO                     BALDWIN TECHNOLOGY CORP                       BALDWIN TECHNOLOGY CORP
822 CRAIN ST                            12 COMMERCE DRIVE                             PO BOX 32319
EVANSTON IL 60202                       SHELTON CT 06484-0941                         HARTFORD CT 06150-2319




BALDWIN TECHNOLOGY CORP                 BALDWIN TECHNOLOGY CORP                       BALDWIN TECHNOLOGY CORP
WEB CONTROLS DIVISION                   BALDWIN EUROPE CONSOLIDATED                   PO BOX 277020
P O BOX 901                             PO BOX 409720                                 ATLANTA GA 30384-7020
SHELTON CT 06484-0941                   ATLANTA GA 30384



BALDWIN TECHNOLOGY CORP                 BALDWIN, ANDREW                               BALDWIN, DEAN M
1051 N MAIN STREET                      7841 SHELLYE RD                               52 RAYNOR STREET
SUITE B ACCT. 3678                      GLEN BURNIE MD 21060-8158                     SOUTHINGTON CT 06489
1800 654-4999 JULIO
LOMBARD IL 60148


BALDWIN, DEBRA LEE                      BALDWIN, DIANE C                              BALDWIN, JEAN A
10187 SAGE HILL WAY                     10006 HYLA BROOK ROAD                         PO BOX 122
ESCONDIDO CA 92026                      COLUMBIA MD 21044                             ASTOR FL 32102




BALDWIN, JEAN A                         BALDWIN, LASHALA TONELLE                      BALDWIN, PETE
PO BOX 122 SUITE 2530                   830 S COMMONS LN NO.8                         407 E MAGNOLIA ST
ASTOR FL 32102                          MARIETTA GA 30062                             KISSIMMEE FL 34744




BALDWIN, SCOTT                          BALDYGA, PHILIP                               BALERS INC
147 IRON WORKS RD                       233 ALTAMONT AVENUE                           1680 B QUINCY AVE
KILLINGWORTH CT 06419                   CATONSVILLE MD 21228                          NAPERVILLE IL 60540




BALERS INC                              BALES, LYNN A                                 BALIN, REBECCA
5104 THATCHER ROAD                      202 W 27TH ST                                 255 3/4 S NORMANDIE
DOWNERS GROVE IL 60515                  BALTMORE MD 21211                             LOS ANGELES CA 90004




BALINDA, MILAN                          BALKO, RADLEY                                 BALL STATE UNIVERSITY
8912 NW 121ST ST                        23 KENNEDY ST                                 2000 W UNIVERSITY AVE
HIALEAH GARDENS FL 33018                ALEXANDRIA VA 22305                           MUNCIE IN 47306




BALL STATE UNIVERSITY                   BALL STATE UNIVERSITY                         BALL STATE UNIVERSITY
CAREER CENTER                           LUCINA HALL                                   RTNDA NEWS CONFERENCE
ATTN CJF                                MUNCIE IN 47306                               DEPT OF TELECOMMUNICATIONS
MUNICE IN 47306                                                                       MUNCIE IN 47306



BALL STATE UNIVERSITY                   BALL, DAVID                                   BALL, JASON
WIPB VIDEO PRODUCTIONS                  3918 N SOUTHPORT AVE                          1226 COURTNEY CHASE CIRCLE NO.1224
BALL COMMUNICATIONS BLDG BC 206         CHICAGO IL 60613                              ORLANDO FL 32837
MUNCIE IN 47306




                                               Page 167 of 2387
                         Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 168 of 800
BALL, KIMBERLY                        BALL, TIM                                     BALL, WILLIAM
7756 S LOOMIS APT 2S                  6131 RED ROBIN ROAD                           29 CLOVER CIRCLE WEST
CHICAGO IL 60620                      PLACERVILLE CA 95667                          COLORADO SPRINGS CO 80906




BALLADARES, MAURICIO J                BALLARD, JASON                                BALLARD, JONATHAN
277 CORAL TRACE CT.                   1608 GLENCOE WAY                              6434 LIGHTNER DR
DELRAY BEACH FL 33445                 GLENDALE CA 91208                             ORLANDO FL 32829




BALLARD, KAREN                        BALLARDO ROBLEDO                              BALLENGER, CONNIE M
3420 16TH ST NW NO.603                844 S MONTEBELLO BLVD                         8801 GLENDOVER WAY
WASHINGTON DC 20010                   MONTEBELLO CA 90640                           INGLEWOOD CA 90305




BALLENGER, JESSE F                    BALLESTEROS, STEPHANIE                        BALLET LONG ISLAND INC
447 PARK LANE                         11866 NW 13TH ST                              1863 POND RD
STATE COLLEGE PA 16803                PEMBROKE PINES FL 33026                       RONKONKOMA NY 11779




BALLET THEATER OF LANCASTER           BALLIET, GEORGENE                             BALLIETT,GARY
PO BOX 4511                           64 MAIN RD                                    11500 NW 27 COURT
LANCASTER PA 17604-4511               LEHIGHTON PA 18235                            PLANTATION FL 33323




BALLIN, BERTHA E                      BALLINGER, BARBARA                            BALLOON BOUQUETS OF BALTIMORE
980 SW 21ST STREET                    8300 DELMAR   APT 314                         2116 N. CHARLES STREET
BOCA RATON FL 33486                   SAINT LOUIS MO 63124                          BALTIMORE MD 21218




BALLOONS ABOVE                        BALLOONS ABOVE                                BALLPARK ADVERTISING AGENCY LLC
16 E ELIZABETH RD                     16 ELIZABETH RD                               1630 STEWART ST   STE 110
FARMINGTON CT 06032                   FARMINGTON CT 06032                           SANTA MONICA CA 90404




BALNIS, TABITHA                       BALOGH, ASHLEY                                BALOUN, KEN
22 GREENWOOD DR                       139 OAK STREET                                511 BLACKBURN CT
MANCHESTER CT 06040                   MERIDAN CT 06450                              DOWNERS GROVE IL 60516




BALSECA, ANGEL                        BALSER, LAUREN                                BALTAZAR REYES
247 GLENBROOK RD                      24 GARDEN ST                                  6922 HARVEST LANE
STAMFORD CT 06906                     SEYMOUR CT 06483                              RIVERSIDE CA 92506




BALTER, MICHAEL                       BALTIMORE AREA COUNCIL                        BALTIMORE CITY
82 AVE PARMENTIER                     BOY SCOUTS OF AMERICA                         BALTIMORE CITY FALSE ALARM
PARIS 75011                           701 WYMAN PARK DR                             REDUCATION PRGM, C/O ACS
                                      BALTIMORE MD 21211-2805                       1800 WASHINGTON BLVD STE 440
                                                                                    BALTIMORE MD 21230




                                             Page 168 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 169 of 800
BALTIMORE CITY                         BALTIMORE CITY                                BALTIMORE CITY
CONVENTION CENTER                      DEPT OF PUBLIC WORKS                          DIRECTOR OF FINANCE
1 W PRATT ST                           ATTN RENEE HENSON                             FIREPREVENTION BUREAU
BALTIMORE MD 21201                     200 N HOLLIDAY ST                             1100 HILLEN ST
                                       BALTIMORE MD 21201                            BALTIMORE MD 21202


BALTIMORE CITY                         BALTIMORE CITY                                BALTIMORE CITY
DIRECTOR OF FINANCE                    DIRECTOR OF FINANCE                           DIRECTOR OF FINANCE -
417 EAST FAYETTE ST                    200 N HOLLIDAY ST   STE 3                     FIRE PREVENTION BUREAU
BALTIMORE MD 21202                     BALTIMORE MD 21202-3683                       410 E LEXINGTON ST
                                                                                     BALTIMORE MD 21202


BALTIMORE CITY                         BALTIMORE CITY                                BALTIMORE CITY
DIRECTOR OF FINANCE                    FALSE ALARM REDUCTION PROGRAM                 MUNICIPAL BLDG COLLECTION DIVISION
PO BOX 17535                           PO BOX 17283                                  200 N HOLLIDAY STREET
BALTIMORE MD 21297-1535                BALTIMORE MD 21297-1283                       BALTIMORE MD 21202



BALTIMORE CITY OCSE                    BALTIMORE CO REVENUE AUTHORITY                BALTIMORE COMMUNITY FOUNDATION
PO BOX 17396                           115 TOWSONTOWN BLVD                           2 E READ ST
BALTIMORE MD 21297-1396                TOWSON MD 21286                               BALTIMORE RUN TO REMEMBER
                                                                                     C/O BALTIMORE COMM FOUNDATION
                                                                                     BALTIMORE MD 21202


BALTIMORE COMMUNITY FOUNDATION         BALTIMORE COMMUNITY FOUNDATION                BALTIMORE COMMUNITY FOUNDATION
2 E READ STREET 9TH FL                 8743 MYLANDER LN NO. R                        TENNIS CHALLENGE
BALTIMORE MD 21202                     BALTIMORE MD 21286                            8743 MYLANDER LANE STE R
                                                                                     BALTIMORE MD 21286



BALTIMORE COMMUNITY FOUNDATION         BALTIMORE COUNTY MARYLAND                     BALTIMORE COUNTY MARYLAND
LESLIE MOORE SCHOLARSHIP FOUNDATION    400 WASHINGTON AVE                            ALARM REDUCTION TEAM
PO BOX 4144                            TOWSON MD 21204                               400 WASHINGTON AVE RM 149
CROFTON PA 21114                                                                     TOWSON MD 21204



BALTIMORE COUNTY MARYLAND              BALTIMORE COUNTY MARYLAND                     BALTIMORE COUNTY MARYLAND
BALTIMORE CTY COMMISSION FOR WOMEN     DEPT OF AGING                                 DIR OF FINANCE
400 WASHINGTON AVE                     611 CENTRAL AVE     RM 303                    P O BOX 64139
TOWSON MD 21204                        TOWSON MD 21204-4218                          BALTIMORE MD 21264-4139



BALTIMORE COUNTY MARYLAND              BALTIMORE COUNTY MARYLAND                     BALTIMORE COUNTY MARYLAND
DIR OF FINANCE                         DIR OF FINANCE                                DIR OF FINANCE
PO BOX 64076                           611 CENTRAL AVE. ROOM 306                     ONE INVESTMENT PLACE NO.800
BALTIMORE MD 21264-4076                TOWSON MD 21204                               TOWSON MD 21204



BALTIMORE COUNTY MARYLAND              BALTIMORE COUNTY MARYLAND                     BALTIMORE COUNTY MARYLAND
MCCORMICK ELEMENTARY SCHOOL            OFFICE OF BUDGET & FINANCE                    PERMITS & DEVELOPMENT MNGMT
5101 HAZELWOOD AVE                     COURTHOUSE RM 150                             COUNTY OFFICE BLDG NO.101
BALTIMORE MD 21206                     400 WASHINGTON AVE                            111 W CHESAPEAKE AV
                                       TOWSON MD 21204-9875                          TOWSON MD 21204


BALTIMORE FESTIVAL OF THE ARTS         BALTIMORE FRAMING COMPANY                     BALTIMORE GAS & ELECTRIC
7 E REDWOOD ST STE 500                 1913 FLEET ST                                 1068 N FRONT STREET ROOM 200
BALTIMORE MD 21202                     BALTIMORE MD 21231                            BALTIMORE MD 21202




                                              Page 169 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 170 of 800
BALTIMORE GAS & ELECTRIC               BALTIMORE GAS & ELECTRIC                      BALTIMORE GAS & ELECTRIC
ATTN: CASH APPLICATION                 ATTN: CASH APPLICATION                        BGE COORDINATION AND SUPPORT
PO BOX 1431                            PO BOX 64844                                  DORSEY 1 PO BOX 1475
BALTIMORE MD 21203-1431                BALTIMORE MD 21264-4844                       BALTIMORE MD 21298-8741



BALTIMORE GAS & ELECTRIC               BALTIMORE GAS & ELECTRIC                      BALTIMORE GAS & ELECTRIC
PO BOX 1431                            PO BOX 1475                                   PO BOX 64486
BALTIMORE MD 21203                     BALTIMORE MD 21203                            BALTIMORE MD 21264-4486




BALTIMORE GAS & ELECTRIC               BALTIMORE GUIDE                               BALTIMORE MAILERS UNION #888
PO BOX 13070                           526 S. CONKLING STREET                        MR DOUGLAS F NOWAKOWSKI
PHILADELPHIA PA 19101-3070             HIGHLANDTOWN MD 21224                         6000 ERDMAN AVE
                                                                                     SUITE 207
                                                                                     BALTIMORE MD 21205


BALTIMORE MAILERS UNION #888           BALTIMORE MAILERS UNION #888                  BALTIMORE NEWSPAPER GRAPHIC COMM
PENSION TRUST FUND C/O C LORITZ        PENSION TRUST FUND C/O C LORITZ               UNION-LOCAL NO.31 ROBERT HELINSKI
MERCANTILE SAFE DEPOST & TRUST CO      MERCANTILE TRUST INT FUNDS                    7 LESLIE AVE
20 S CHARLES ST 5TH FL                 2 HOPKINS PLZA PO BOX 17002                   BALTIMORE MD 21236
BALTIMORE MD 21201                     BALTIMORE MD 21203


BALTIMORE OFFICE OF                    BALTIMORE ORIOLES                             BALTIMORE ORIOLES
PROMOTIONS & THE ARTS, INC             FT LAUDERDALE STADIUM                         333 W CAMDEN ST
7 E REDWOOD ST SUITE 500               1301 NW 55TH ST                               TICKETS OFFICE
BALTIMORE MD 21202                     FT LAUDERDALE FL 33309                        BALTIMORE MD 21201



BALTIMORE ORIOLES                      BALTIMORE ORIOLES LP                          BALTIMORE ORIOLES LP
PO BOX 630503                          333 W CAMDEN ST                               ATTN KIM YANCHESKI
BALTIMORE MD 21263-0503                BALTIMORE MD 21201                            333 W CAMDEN ST
                                                                                     BALTIMORE MD 21278



BALTIMORE ORIOLES LP                   BALTIMORE ORIOLES LP                          BALTIMORE RAVENS
ATTN: KIM YANCHESKI                    P O BOX 630503                                200 ST. PAUL PLACE
ORIOLE PARK                            BALTIMORE MD 21263-0503                       SUITE 2400
333 W CAMDEN ST                                                                      BALTIMORE MD 21202
BALTIMORE MD 21201


BALTIMORE RAVENS                       BALTIMORE RAVENS                              BALTIMORE RAVENS
1 WINNING DR                           ATTN J KENEALY                                ATTN: JEFF GOERING CONTROLLER
OWINGS MILLS MD 21117                  615 PIN OAK ROAD                              M & T BANK STADIUM
                                       SEVERNA PARK MD 21146                         1101 RUSSELL ST
                                                                                     BALTIMORE MD 21230


BALTIMORE RAVENS                       BALTIMORE RAVENS                              BALTIMORE RAVENS
P O BOX 64254                          PO BOX 17417                                  PO BOX 79466
BALTIMORE MD 21279                     BALTIMORE MD 21297-0516                       BALTIMORE MD 21279




BALTIMORE SUN                          BALTIMORE SUN                                 BALTIMORE SUN
WASHINGTON BUREAU                      WASHINGTON BUREAU                             501 N CALVERT STREET
1025 F STREET NW SUITE 700             1627 K STREET NW                              PO BOX 1013
WASHINGTON DC 20004                    SUITE 1100                                    BALTIMORE MD 21203
                                       WASHINGTON DC 20006




                                              Page 170 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 171 of 800
BALTIMORE SUN                          BALTIMORE SUN                                 BALTIMORE SUN
ATTN: CASHIERS OFFICE                  ATTN: CRAIG SHAFFER                           ATTN: MARVINA DAIL
PO BOX 1377                            501 N. CALVERT STREET                         501 N CALVERT ST
BALTIMORE MD 21278                     BALTIMORE MD 21278                            BALTIMORE MD 21278



BALTIMORE SUN                          BALTIMORE SUN                                 BALTIMORE SUN
MAIL SUBSCRIPTIONS                     PO BOX 17166                                  PO BOX 64416
PO BOX 17111                           BALTIMORE MD 21203                            BALTIMORE MD 21264
BALTIMORE MD 21203



BALTIMORE SUN                          BALTIMORE SUN                                 BALTIMORE TIMES
PO BOX 64756                           PO BOX 64828                                  2513 NORTH CHARLES STREET
BALTIMORE MD 21264-4756                BALTIMORE MD 21264                            BALTIMORE MD 21218




BALTIN, STEVE                          BALTUSIS, MARK J                              BALTZ, BARBARA
340 WISCONSIN AVE 6                    104 ACORN DRIVE                               1241 EAGLE ST
LONG BEACH CA 90814                    NORTH AURORA IL 60542-1010                    WESCOSVILLE PA 18106




BALTZ, BARBARA                         BALTZ, CURTIS                                 BALTZ, MICHAEL
825 ATLAS RD                           825 ATLAS RD                                  1159 DRR PL
N HAMPTON PA 18067                     NORTHAMPTON PA 18067                          ALLENTOWN PA 18106




BALTZ, MICHAEL                         BALUJA, FLORA                                 BALWINDER SINGH
825 ATLAS RD                           4020 NW 6TH ST                                1982 DUNMORE PLACE
NORTHAMPTON PA 18067                   MIAMI FL 33126                                HOFFMAN ESTATES IL 60169




BALZAR, JOHN                           BAMFO, SAMUEL                                 BAMS NEWS LLC
1399 CANTERBURY WAY                    133 UNIVERSITY AVE                            2737 WEST 58TH PL
POTOMAC MD 20854                       EAST HARTFORD CT 06108-2940                   MERRILLVILLE IN 46410




BAMS NEWS LLC                          BANACK, JOHN J                                BANAITIS, BRANDON
2737 WEST 58TH PL                      PO BOX 43852                                  1719 FAIR OAKS
MERRIVILLE IN 46410                    BALTIMORE MD 21236                            SEABROOK TX 77586




BANASZYNSKI, JACQUELINE                BANATTE, REMES                                BANC OF AMERICA BRIDGE LLC
1109 EAST EDGAR ST                     8268 NW 36 PLACE                              ATTN: BILL BOWEN
SEATTLE WA 98102                       SUNRISE FL 33351                              9 WEST 57TH STREET
                                                                                     NEW YORK NY 10019



BANC OF AMERICA BRIDGE LLC             BANC OF AMERICA LEASING                       BANC OF AMERICA LEASING
ATTN: BILL BOWEN                       231 S LASALLE ST                              8210 INNOVATION WAY
100 N TRYON ST                         CHICAGO IL 60697                              CHICAGO IL 60682-0082
CHARLOTTE NC 28202-4000




                                              Page 171 of 2387
                            Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 172 of 800
BANC OF AMERICA LEASING                  BANC OF AMERICA LEASING                       BANC OF AMERICA LEASING
BUSINESS CREDIT CORP                     ONE SOUTH WACKER DR                           LEASE ADMINISTRATION CENTER
135 S LASALLE DEPT 8210                  CHICAGO IL 60606-4814                         PO BOX 7023
CHICAGO IL 60674-8210                                                                  TROY MI 48007-7023



BANC OF AMERICA LEASING                  BANC OF AMERICA LEASING                       BANC OF AMERICA LEASING & CAPITAL, LLC
CAPITAL LEASING GVF TROY                 LEASE ADMINISTRATION CENTER                   P.O. BOX 7023
LEASE ADMINISTRATION CTR                 PO BOX 371992                                 TROY NY 48007-7023
PO BOX 371992                            PITTSBURGH PA 15250-7992
PITTSBURGH PA 15250-7992


BANCROFT, LINDSAY                        BAND PRO FILM VIDEO                           BANDELE, RAMLA
333 S LINE ST                            3403 W PACIFIC AVENUE                         435 UNIVERISTY BLVD
LANSDALE PA 19446                        BURBANK CA 91505                              INDIANAPOLIS IN 46254




BANDELE, RAMLA                           BANDLER, DONALD K                             BANDOW, DOUG
5551 NIGHTHAWK WAY                       5624 GREENTREE RD                             7901 CLIFF ROCK CT
INDIANAPOLIS IN 46254                    BETHESDA MD 20817                             SPRINGFIELD VA 22153




BANDWIDTH MARKETING GROUP                BANDY, KIMBERLEY A                            BANDY, MICHAEL
911 GREEN BAY ROAD SUITE 3               493 S TRELLIS CT                              493 S TRELLIS CT
WINNETKA IL 60093                        NEWPORT NEWS VA 23608                         NEWPORT NEWS VA 23608




BANEGAS, HELEN                           BANG NGUYEN                                   BANGOR DAILY NEWS
10820 SW 200 DR NO. 155 S                4625 W. HENDERSON PLACE                       491 MAIN ST
MIAMI FL 33157                           SANTA ANA CA 92704                            BANGOR ME 04401




BANGOR DAILY NEWS                        BANK OF AMERICA                               BANK OF AMERICA
PO BOX 1329                              GERARD A MCHUGH,CTP/RAJU N PATEL              ATTN: MARCIA RICHARDSON/CHERYL
BANGOR ME 04402-1329                     SHARON SADILEK                                135 S LASALLE ST
                                         135 S LASALLE ST                              CHICAGO IL 60603
                                         CHICAGO IL 60603


BANK OF AMERICA                          BANK OF AMERICA NA                            BANK OF AMERICA NA
ATTN: CHRIS SCHUER, INVESTMENT SALES     PO BOX 53132                                  CORRESPONDENTS ZBA ADVANCES
135 S LASALLE ST                         PHOENIX AZ 85072-3132                         100 SOUTH BROADWAY
CHICAGO IL 60603                                                                       LOS ANGELES CA 90021



BANK OF AMERICA NA                       BANK OF AMERICA NA                            BANK OF AMERICA NA
CREDIT SERVICES                          LOS ANGELES CIVIC CENTER NO.0021              PO BOX 60000
UNIT NO.5596 5T11 FLOOR                  100 SOUTH BRAODWAY                            SAN FRANCICSCO CA 94160-2888
1850 GATEWAY BLVD                        LOS ANGELES CA 90021
CONCORD CA 94520


BANK OF AMERICA NA                       BANK OF AMERICA NA                            BANK OF AMERICA NA
PO BOX 61000                             PO BOX 61000                                  CT2% 10 DAYS, NET 20301 A PEASE
FILE 719880                              FILE NO.719880                                777 MAIN STREET
SAN FRANCICSCO CA 94161-9880             ACCOUNT ANALYSIS                              HARTFORD CT 06115
                                         SAN FRANCISCO CA 94161-9880




                                                Page 172 of 2387
                         Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 173 of 800
BANK OF AMERICA NA                    BANK OF AMERICA NA                            BANK OF AMERICA NA
CT21020301 A PEASE                    715 PEACHTREE ST NE                           RETIREMENT & INVESTMENT DEPOSIT SVC
777 MAIN STREET                       ATLANTA GA 30348                              901 GEORGE WASHINGTON BLVD
HARTFORD CT 06115                                                                   WICHITA KS 67211-3993



BANK OF AMERICA NA                    BANK OF AMERICA NA                            BANK OF AMERICA NA
101 NORTH TRYON ST                    13510 BALLANTYNE CORPORATE PLAZA              401 NORTH TRYON STREET
CHARLOTTE NC 28255                    NC2-109-06-05 LEASE PAYABLES                  NC1-021-02-20
                                      CHARLOTTE NC 28277                            CHARLOTTE NC 28255



BANK OF AMERICA NA                    BANK OF AMERICA NA                            BANK OF BAGHDAD
ATTN KELLY MCSHANE                    ATTN LINDI HENSLEY                            (HEAD OFFICE/BAGHDAD PROVINCE)
535 N TYRON ST                        MALL STOP NC1-001-06-05                       ATTN: HENRY SEGAL
NC1-023-05-01                         ONE INDEPENDENCE CTR, 101 N TRYON ST          PO 3192 ALWEYE
CHARLOTTE NC 28255                    CHARLOTTE NC 28255-0001                       BAGHDAD


BANK OF CHINA                         BANK OF NEW YORK                              BANK OF NEW YORK
1 FUXINGMENT NEI DAJIE                700 S FLOWER ST                               100 CHURCH STREET
BEIJING 100818                        2ND FL BILLING DEPT                           8TH FLOOR
                                      LOS ANGELES CA 90017                          ATTN NANCY DI SCALA
                                                                                    NEW YORK NY 10286


BANK OF NEW YORK                      BANK OF NEW YORK                              BANK OF NEW YORK
101 BARCLAY ST                        101 BARCLAY ST 21 W                           101 BARCLAY STREET
15 EAST                               NEW YORK NY 10286                             6 WEST
ATTN NANCY DISCALA                                                                  NEW YORK NY 10286
NEW YORK NY 10286


BANK OF NEW YORK                      BANK OF NEW YORK                              BANKERS ALLEY LLC
75 PARK PLACE                         C/O BNY MELLON GENERAL SERVICES &             409 WASHINGTON AVEUNE
NEW YORK NY 10286                     CORPORATE REAL ESTATE                         SUITE 1015
                                      BOX 223457                                    TOWSON MD 21204
                                      PITTSBURGH PA 15251-2457


BANKERS ALLEY, LLC                    BANKERS ALLEY, LLC                            BANKHEAD, CORY
RE: TOWSON 409 WASHINGTON AVE         RE: TOWSON 409 WASHINGTON TRI                 517 RICE AVE
C/O CCI MANAGEMENT, INC.              C/O CCI MANAGEMENT, INC.                      BELLWOOD IL 60104
409 WASHINGTON AVE., SUITE 1015       409 WASHINGTON AVE., SUITE 1015
TOWSON MD 21204                       TOWSON MD 21204


BANKS, DAVID                          BANKS, ERIC                                   BANKS, JOSEPH
3314 PAYNE ST                         57 GRAND STREET APT 4                         506 WOODFIN RD
EVANSTON IL 60201                     BROOKLYN NY 11211                             NEWPORT NEWS VA 23601




BANKS, SHIRLEY                        BANKSON, JACK                                 BANNA PHOTOGRAPHY LLC
5209 BANKS PL NE                      15687 LAKE FOREST DRIVE                       2156 W FULTON STREET
WASHINGTON DC 20019                   SUN CITY AZ 85351                             CHICAGO IL 60612




BANNER FORD LLC                       BANNER, JAMES                                 BANNERMAN, CAROLYN M
1943 N CAUSEWAY BLVD                  1847 ONTARIO PL NW                            1814 APPLETON ST
MANDEVILLE LA 70471                   WASHINGTON DC 20009                           BALTIMORE MD 21217




                                             Page 173 of 2387
                           Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 174 of 800
BANNERVILLE USA                         BANNERVILLE USA                               BANNICK, JOYCE A
8168 S MADISON                          PO BOX 184                                    DBA HATHORN ASSOCIATES
BURR RIDGE IL 60527                     WESTERN SPRINGS IL 60558                      PO BOX 125
                                                                                      AGAWAM MA 01001



BANNISTER, HAROLD                       BANNON, EDWARD                                BANTA PUBLICATIONS
7638 FORBES RD                          3700 N ORIOLE AVE                             PO BOX 809284
GLOUCESTER VA 23061                     CHICAGO IL 60634                              CHICAGO IL 60680




BANTA PUBLICATIONS                      BANTA PUBLICATIONS                            BANTA PUBLICATIONS
3401 HEARTLAND DR                       PO BOX 208                                    PO BOX 801145
LIBERTY MO 64069-0298                   LIBERTY MO 64069-0298                         KANSAS CITY MO 64180-1145




BANTA PUBLICATIONS                      BANUELOS, LUIS                                BANUELOS, LUIS
1025 N WASHINGTON ST                    118 STERLING PL APT 7                         PO BOX 1084
GREENFIELD OH 45123                     BROOKLYN NY 11217                             NEW YORK NY 10276




BANUS, ALICIA                           BAO                                           BAPTISTA, GREYZA
8384 WALBERT LANE                       ORCHESTRATION CORP                            69-28 43RD AVE   APT 3
ALBERTIS PA 18011                       516 N OGDEN AVE 121                           WOODSIDE NY 11377
                                        CHICAGO IL 60622



BAPTISTA, SORAYA M                      BAPTISTE, ANTOINE                             BAPTISTE, EUSTACHE JEAN
280 RACQUET CLUB RD NO.101              1902 NE 3RD AVE                               1301 NE 118TH STREET
WESTON FL 33326                         DELRAY BEACH FL 33444                         NORTH MIAMI FL 33161




BAPTISTE, ROMANE JEAN                   BAPTISTE, RON K                               BAQUERO, MARIA TERESA
16020 NE 19 PLACE NO.3                  10024 NW 6TH ST                               1313 MAJESTY TER
NORTH MIAMI FL 33162                    PEMBROOKE PINES FL 33024                      WESTON FL 33327




BAR CODE SPECIALTIES                    BARADOS CULTURAL SOCIETY OF FLORIDA           BARAHONA, ALMA
12272 MONARCH ST                        PO BOX 245412                                 3547 WILES RD APT 105
GARDEN GROVE CA 92841                   PEMBROKE PINES FL 33024                       COCONUT CREEK FL 33073




BARAHONA,KARLA                          BARAJAS, JOSE                                 BARAKA BURKS
3547 WILES RD                           3372 S 2ND ST                                 3133 PERLITA AVENUE
APT NO.105                              WHITEHALL PA 18052                            LOS ANGELES CA 90039
COCONUT CREEK FL 33073



BARANDICA, PAULA                        BARANOSKI, SHANNON                            BARASH, DAVID
4025 NOB HILL RD APT 110                258 WOODROW LANE                              20006 NE 116TH ST
SUNRISE FL 33351                        PORT DEPOSIT MD 21904                         REDMOND WA 98053




                                               Page 174 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 175 of 800
BARBA, MANUEL R                        BARBA, MANUEL R                               BARBAGALLO, LAUREN
10374 BOCA ENTRADA BLVD     112        PO BOX 970852                                 32 JANE ST NO.2
BOCA RATON FL 33428                    BOCA RATON FL 33497                           NEW YORK NY 10014




BARBAR GRIFFITHS-BROOKS                BARBARA A CESTARI                             BARBARA A LUEBKERT
14 MAYFLOWER COURT                     15 CLEARVIEW COURT SOUTH                      100 RYDER AVE
CENTERPORT NY 11721                    PALM COAST FL 32137                           DIX HILLS NY 11746




BARBARA A SHEEHEY                      BARBARA ALVAREZ                               BARBARA ANN PARUNGAO
8203 NW 31ST AVE.                      6557 POMEROY CIRCLE                           154 NORTH LOMBARD
APT E-30                               ORLANDO FL 32810                              OAK PARK IL 60302
GAINESVILLE FL 32606



BARBARA ANTANAVAGE                     BARBARA ARMSTEAD                              BARBARA B LLOYD
296 MAPLE COURT                        210 N. AUSTIN                                 100 PINEWOOD ROAD
ALBURTIS PA 18011                      OAK PARK IL 60302                             LINK HARBOR 116
                                                                                     VIRGINIA BEACH VA 23451



BARBARA BARKER                         BARBARA BASALLOTE-HOOK                        BARBARA BAXENDALE-LAMY
305 MONT HOPE BLVD                     2804 GLEN NEVIS TRACE                         43 SHIRLEY ST.
HASTING-ON HUDSON NY 10706             WILLIAMSBURG VA 23188                         CHICOPEE MA 01020-2936




BARBARA BESSENT                        BARBARA BIGOS                                 BARBARA BIND
8296 S. ORANGE BLOSSOM TRAIL           632 HALE STREET                               84 LEONARD STREET
#104                                   SUFFIELD CT 06078                             STAMFORD CT 06906
ORLANDO FL 32839



BARBARA BOWER                          BARBARA BROCK                                 BARBARA BROTMAN
651 ANTRIM DRIVE                       7334 SOUTH STEWART                            739 NORTH GROVE AVENUE
APT. #2-A                              CHICAGO IL 60621                              OAK PARK IL 60302
NEWPORT NEWS VA 23601



BARBARA BRUNS                          BARBARA CABRERA                               BARBARA CALLIGARIS
16772 BAREFOOT CIRCLE                  525 TURNER STREET                             330 MONROE AVE
HUNTINGTON BEACH CA 92649              ALLENTOWN PA 18101                            WEST ISLIP NY 11795




BARBARA CAPILETS                       BARBARA CAREY                                 BARBARA CARLOUGH
34 MARC COURT                          4801 NW 12TH COURT                            22310 SANDS POINT DRIVE
OLD BETHPAGE NY 11804                  LAUDERHILL FL 33313                           BOCA RATON FL 33431




BARBARA CARVAJAL                       BARBARA CLINE                                 BARBARA CONAHAN
919 S DACOTAH STREET                   1307 - L SHERIDAN PLACE                       426 DUNKIRK RD.
LOS ANGELES CA 90023                   BEL AIR MD 21015                              BALTIMORE MD 21212




                                              Page 175 of 2387
                           Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 176 of 800
BARBARA CORNELL                         BARBARA CURMACI-MATHEWS                       BARBARA DAVIDSON
WELLINGTON AT SEVEN HILLS               522 MILLER LANE                               202 W. FIRST STREET
11147 HEATHROW AVENUE                   WHITEHALL PA 18052                            LOS ANGELES CA 90012
SPRING HILL FL 34609



BARBARA DAVIS                           BARBARA DAWSON                                BARBARA DEMICK
11655 W. ATLANTIC BLVD.                 530 SW 29TH AVENUE                            202 WEST 1ST STREET
# 2027                                  FORT LAUDERDALE FL 33312                      LOS ANGELES CA 90012
CORAL SPRINGS FL 33071



BARBARA DEYOUNG                         BARBARA ENGQUIST HEPBURN                      BARBARA ENNIS
4 STONEY CLOVER LANE                    5308 W. FRANKLIN AVENUE                       3124 S. BERLANDER ROAD
PITTSFORD NY 14534-4601                 OAK LAWN IL 60453                             NEW PALESTINE IN 46163




BARBARA EVANS                           BARBARA FELICICHIA                            BARBARA FISHER
2848 HONEYSUCKLE ROAD                   140 KEVIN DRIVE                               226 46TH ST
BETHLEHEM PA 18015                      ZIONSVILLE IN 46077                           LINDENHURST NY 11757




BARBARA FORTUNATO                       BARBARA FURNARI                               BARBARA GABEL
26 BOOTH COURT                          123 CYPRESS LANE                              7255 ASHMONT CIRCLE
GREENWICH CT 06830                      WESTBURY NY 11590                             TAMARAC FL 33321




BARBARA GAUT                            BARBARA GERAGHTY                              BARBARA GIANNATTASIO
3911 GROVEWOOD WAY                      1299 LAKE ST                                  799 JEFFERY STREET
APT. #G                                 #306                                          APT 210
WILLIAMSBURG VA 23188                   ADDISON IL 60101                              BOCA RATON FL 33487



BARBARA GREENBERG                       BARBARA GREGOIRE                              BARBARA HAUK
14647 SW 18TH COURT                     717 GUERNSEYTOWN ROAD                         580 PARK AVENUE
DAVIE FL 33325                          WATERTOWN CT 06795                            WEST HEMPSTEAD NY 11552




BARBARA HEALY                           BARBARA HEINS                                 BARBARA HENN
233 EAST 13TH ST.                       P O BOX 4264                                  404 BOBS BROOK ROAD
UNIT 1002                               GREENWICH CT 06830                            WALTON NY 13856
CHICAGO IL 60605



BARBARA HIJEK                           BARBARA HOOD                                  BARBARA HUTTER
1613 NE 16 AVE                          1444 NORTH LAVERGNE                           9 DAFFODIL ROAD
FORT LAUDERDALE FL 33305                CHICAGO IL 60651                              ROCKY POINT NY 11778




BARBARA IRELAND                         BARBARA IVERSEN                               BARBARA J STRUNK
19 CASTLEBAR COURT                      17357 CAGNEY STREET                           PO BOX 536
TIMONIUM MD 21093                       GRANADA HILLS CA 91344                        BLACKSTONE VA 23824




                                               Page 176 of 2387
                        Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 177 of 800
BARBARA JACKMAN                      BARBARA JO CARLON                             BARBARA JOHNSON
612 NORTH MADISON AVENUE             2254 MIRA VISTA AVENUE APT3                   1041 32ND AVENUE
PASADENA CA 91101                    MONTROSE CA 91020                             BELLWOOD IL 60104




BARBARA JONES                        BARBARA JOVA                                  BARBARA KHAN
9481 CAMELDRIVER CT                  13875 CAROLINA LAUREL DRIVE                   301 SWEETWATER SPRINGS ST.
COLUMBIA MD 21045                    ORLANDO FL 32828                              DEBARY FL 32713




BARBARA KUC                          BARBARA L FANTASIA                            BARBARA LAFRENIERE
2521 S. 15TH AVE.                    55 HILLSIDE PLACE                             6 KINGS GRANT ROAD
BROADVIEW IL 60155                   BRISTOL CT 06010                              CLINTON CT 06413




BARBARA LAURIE PHOTOGRAPHERS INC     BARBARA LONG                                  BARBARA LONG
400 CENTRAL PARK WEST  STE 11N       21055 BLACK MAPLE LANE                        51 BAMBOO
NEW YORK NY 10025                    BOCA RATON FL 33428                           IRVINE CA 92620




BARBARA LOPEZ-NASH                   BARBARA LUCYSHYN                              BARBARA LUNA
4439 MORSE AVENUE                    5221 35TH AVENUE WEST                         PO BOX 61103
STUDIO CITY CA 91604                 BRADENTON FL 34209                            PASADENA CA 91116




BARBARA M MEYER                      BARBARA MACIEJEWSKI                           BARBARA MAHANY
8804 W KNOLL CT                      W67N690 EVERGREEN BOULEVARD                   522 MAPLE AVENUE
FRANKLIN WI 53132                    CEDARBURG WI 53012                            WILMETTE IL 60091




BARBARA MALCOLM                      BARBARA MAREK                                 BARBARA MARLIN
1501 RED OAK ST.                     355 WHITEWATER LANE                           4 RESERVOIR RD
CHARLESTON WV 25312                  OSWEGO IL 60543                               MELVILLE NY 11747




BARBARA MATTHEWS                     BARBARA MCCLELLAND                            BARBARA MCLAUGHLIN
47 WESTMINSTER LN                    2223 LAKE SHORE AVENUE                        1326 JERVIS SQUARE
WEST ISLIP NY 11795                  APT #1                                        BELCAMP MD 21017
                                     LOS ANGELES CA 90039



BARBARA MIKLAS                       BARBARA MILLER                                BARBARA MOCK
28 BEVERLY RD                        4114 SWIFT AVENUE                             2608 MANHATTAN AVE
FARMINGDALE NY 11735                 APT. #5                                       BALTIMORE MD 21215
                                     SAN DIEGO CA 92104



BARBARA MORROW                       BARBARA MULLIGAN                              BARBARA MURRAY
2930 ADAMS STREET                    711 CZACKI STREET                             4881 WICOPEE AVENUE
LA CRESCENTA CA 91214                LEMONT IL 60439                               LOS ANGELES CA 90041




                                            Page 177 of 2387
                           Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 178 of 800
BARBARA NEGRON                          BARBARA OATES                                 BARBARA PAIZ
1701 WHITEHALL DR. #103                 10119 N. CONCORD DRIVE                        618 DALTON AVENUE
FORT LAUDERDALE FL 33324                MEQUON WI 53097                               2
                                                                                      AZUSA CA 91702



BARBARA PEREZ                           BARBARA PEREZ                                 BARBARA PESCUMA
590 E NEW YORK AVE                      1432 S STONEMAN AVENUE                        4 PACE DRIVE SOUTH
ORANGE CITY FL 32763                    ALHAMBRA CA 91801                             WEST ISLIP NY 11795




BARBARA PETERSEN                        BARBARA PITRUZZELLO                           BARBARA POWERS
3417 SUDLERSVILLE SO.                   12 ALICE DRIVE                                1147 WESTERN WAY
LAUREL MD 20724                         MANCHESTER CT 06042                           ORLANDO FL 32804




BARBARA R CANTLEY                       BARBARA RICH                                  BARBARA ROBERSON
17 WEST 17TH STREET                     23442 YEE STREET                              10012 TURTLE HILL DRIVE
DEER PARK NY 11729                      MORENO VALLEY CA 92553                        FORT MYERS FL 33913




BARBARA ROBERTSON                       BARBARA ROESSNER                              BARBARA ROESSNER
5331 W. GLENBROOK ROAD                  22 VANDERBILT ROAD                            C/O ANDREW HOULDING, ESQ.
BROWN DEER WI 53223                     WEST HARTFORD CT 06119                        ROME MCGUIGAN, P.C.
                                                                                      ONE STATE STREET,13TH FLOOR
                                                                                      HARTFORD CT 06103-3101


BARBARA ROESSNER                        BARBARA ROESSNER                              BARBARA ROONEY
ROME MCGUIGAN PC                        ROME MCGUIGAN PC                              1255 GARDENDALE AVENUE
ANDREW L HOULDING                       JOHN F STROTHER                               MEDFORD OR 97504
ONE STATE ST                            ONE STATE ST
HARTFORD CT 06103                       HARTFORD CT 06103


BARBARA ROSE                            BARBARA ROWSEY                                BARBARA RUDOLPH
1118 MILLER AVENUE                      9334 SOUTH LAFAYETTE AVENUE                   1334 NORTH 14TH STREET
OAK PARK IL 60302                       CHICAGO IL 60620                              U12
                                                                                      WHITEHALL PA 18052



BARBARA SCHAFFNER                       BARBARA SCHULER                               BARBARA SHIKAMI
3201 N RAVENSWOOD                       5 HOLDSWORTH                                  5171 W NORTH SHORE
APT 304                                 HUNTINGTON NY 11743                           LINCOLNWOOD IL 60712
CHICAGO IL 60657



BARBARA STEPHENS                        BARBARA SZUL                                  BARBARA TAYLOR
4760 STEEPLECHASE DRIVE                 207 FREMONT STREET                            11510 NOTCHCLIFF RD
MACUNGIE PA 18062                       UNIT 8                                        GLEN ARM MD 21057
                                        WOODSTOCK IL 60098



BARBARA TELEHA                          BARBARA THOMAS                                BARBARA THOMAS
43888 OBERLIN ELYRIA ROAD               104-24 207TH STREET                           2318 COVE AVENUE
OBERLIN OH 44074                        QUEENS VILLAGE NY 11429                       LOS ANGELES CA 90039




                                               Page 178 of 2387
                            Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 179 of 800
BARBARA THORNBURG                        BARBARA TRENTALANGE                           BARBARA WADE
1316 CARROLL AVENUE                      1629 E CAMBRIDGE ST                           7207 S SPAULDING AVE
LOS ANGELES CA 90026                     ALLENTOWN PA 18109                            CHICAGO IL 60629




BARBARA WARD                             BARBARA WARD                                  BARBARA WEST CATERING SERVICES
7 BRIGANTINE CT.                         13217 45TH AVENUE W                           620 MOULTON AVE
BALTIMORE MD 21236                       MUKILTEO WA 98275                             NO.110
                                                                                       LOS ANGELES CA 90031



BARBARA WHITE                            BARBARA WILLIAMS                              BARBARA WILSON
59 TRACY LA                              4147 W. 177TH STREET                          7521 S. CLYDE
EAST ISLIP NY 11730                      COUNTRY CLUB HILLS IL 60478                   CHICAGO IL 60649




BARBARA WOLF                             BARBARA ZIBBON                                BARBAT, DEVIN
201 HILLMOND STREET                      10509 CASPAR COURT                            8797 DAWN COURT NO.5
C-2                                      ORLANDO FL 32817                              SANTEE CA 92071
BETHLEHEM PA 18017



BARBATO, HELEN                           BARBEAUX, VALERIE J                           BARBER, BENJAMIN
296 HICKSVILLE ROAD                      35 RUSSELL AVE NO.B                           1019 RIVER RD
BETHPAGE NY 11714                        SUSANVILLE CA 96130-4286                      PICATAWAY NJ 08854




BARBER, BENJAMIN                         BARBER, ELIZABETH MARABEL                     BARBER, GLORIA
370 RIVERSIDE DR APT 15-A                3119 POMPINO DR                               1137 MARTINSTEIN AVE
NEW YORK NY 10025                        SEBRING FL 33870                              BAY SHORE NY 11706




BARBER, JOSHUA S                         BARBERI, JOSE                                 BARBI SILVERSTONE
308 W 8TH ST NO.502                      6113 RALEIGH ST NO.402                        17 GLORIA PLACE
KANSAS CITY MO 64105                     ORLANDO FL 32835                              PLAINVIEW NY 11803




BARBIZON CAPITOL INC                     BARBIZON LIGHT                                BARBIZON LIGHT OF THE ROCKIES
6437G GENERAL GREEN WAY                  3 DRAPER ST                                   2390 ULSTER STREET SUITE 111
ALEXANDRIA VA 22312                      WOBURN MA 01801-4596                          DENVER CO 80238




BARBIZON LIGHT OF THE ROCKIES            BARBOSA, ALVARO                               BARBOSA, KENNIO
8269 E 23RD AVE SUITE 111                8131 SOUTHGATE BLVD                           1181 SE 6TH AVE APTNO. E102
DENVER CO 80238                          NORTH LAUDERDALE FL 33068-1000                DEERFIELD BEACH FL 33441




BARBOSA, NATALIA                         BARBOSA, TYLLIE S                             BARBRA ONGWICO
2499 VALLE VERDE                         2000 W CARROLL AVE                            415 PASEO DEL LA CONCHA
MERCEDES TX 78570                        SUITE 503                                     RENONDO BEACH CA 90277
                                         CHICAGO IL 60612




                                                Page 179 of 2387
                           Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 180 of 800
BARBREY, ROBERT                         BARBULA, CARLA                                BARCLAY, OMAR DELANO
36 PENNINGTON AVE                       17126 VILLAGE 17                              1034 E. 100TH STREET
NEWPORT NEWS VA 23606                   CAMARILLO CA 93012                            BROOKLYN NY 11236




BARCLAYS BANK PLC                       BARCLAYS BANK PLC                             BARCLAYS BANK PLC,
ATTN: ALEX BIRD                         ATTN: HONG ZHAO                               AS ADMINISTRATIVE AGENT
1 CHURCHILL PLACE                       200 PARK AVENUE, 5TH FLOOR                    200 PARK AVENUE 5TH FLOOR
LONDON E14 5HP                          NEW YORK NY 10166                             NEW YORK NY 10166



BARCLAYS BANK PLC, AS ADMIN AGENT       BARCLAYS CAPITAL INC.                         BARCO, JOSE LUIS
200 PARK AVENUE, 5TH FLOOR              ATTN: US CLIENT VALUATIONS GROUP              3005 MILE 2W APT 801
NEW YORK NY 10166                       200 PARK AVENUE                               EDCOUCH TX 78538
                                        ATTN: US CLIENT VALUATIONS GROUP
                                        NEW YORK NY 10166


BARD ENTERTAINMENT LTD                  BARE, ROGER A                                 BARFIELD GROUP INC
14 PENN PLAZA   STE 1100                2216 COLQUITT ST                              PO BOX 696, MADISON SQ STATION
NEW YORK NY 10122                       HOUSTON TX 77098                              NEW YORK NY 10159




BARGE, GINA P                           BARGER, DONALD                                BARGER, DONALD
3542 PRAIRIE AVENUE                     105 HUGH CIR                                  C/O DARREN SMITH
CHICAGO IL 60653                        HOMEWOOD AL 35209                             1215 SAN DARIO AVE     STE 48-489
                                                                                      LAREDO TX 78040



BARGIELSKI, LYDIA                       BARI KRISINGER                                BARIBEAU, DONNA
1219 E PADDOCK DR                       1244 VERONA PLACE                             18856 STILL LAKE DRIVE
PALATINE IL 60074                       PLACENTIA CA 92870-3508                       JUPITER FL 33458




BARKER, AARON                           BARKER, KIMBERLY                              BARKER, MICHAEL
269 PROSPECT PL   APT 6B                1545 N. WOOD                                  1333 1/2 LAVETA TERRACE
BROOKLYN NY 11238                       CHICAGO IL 60622                              LOS ANGELES CA 90026




BARKER, WENDELL                         BARKLEY COURT REPORTERS INC                   BARKSDALE, CAITLYN
2226 WALTERDALE TERRACE NO.3            1875 CENTURY PARK EAST STE 1300               31 WOOD CREEK RD
LOUISVILLE KY 40205                     LOS ANGELES CA 90067                          NEW MILFORD CT 06776




BARKSDALE, JOSHUA                       BARLOW, PAUL H                                BARNARD, MELANIE
3844 W 77TH ST                          408 LAUREL ROAD                               263 OENOKE RIDGE
CHICAGO IL 60652                        BOYERTOWN PA 19512                            NEW CANAAN CT 06840




BARNAS, THOMAS                          BARNBROOK DESIGN                              BARNES JR, BRAXTON C
4901 N WOLCOTT AVE    NO.6B             10-11 ARCHER STREET STUDIO 12                 333 NW 26 COURT
CHICAGO IL 60640                        LONDON W1D 7AZ                                WILTON MANORS FL 33311




                                               Page 180 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 181 of 800
BARNES, ANDREW M                       BARNES, CHRISTOPHER                           BARNES, DINEIL L
2631 W AIGUSTA BLVD     APT 1R         77 PARK AVE APT 1215                          2430 CHESHIRE BRIDGE RD APT 518
CHICAGO IL 60622                       HOBOKEN NJ 07030                              ATLANTA GA 30324




BARNES, GREGORY                        BARNES, KIMBLEE L                             BARNES, MELISSA ANN
12 KINGSLEE LN                         2145 WOODMANSEE DRIVE                         1599 NW 91ST AVE NO. 1611
HAMPTON VA 23669                       HAMPTON VA 23663                              CORAL SPRINGS FL 33071




BARNES, RAPHIEL                        BARNES, RONALD L                              BARNES, RONALD L
2235 ADAMS STREET                      1536 E MINERAL AVE                            TRIAD COMMUNICATIONS
HOLLYWOOD FL 33020                     CENTENNIAL CO 80122                           1536 E MINERAL AVE
                                                                                     CENTENNIAL CO 80122



BARNES, SHANTEL                        BARNES, SPENCER                               BARNES, TED
205 MILLER WAY                         625 N FLORES ST NO.203                        433 NEEPIER RD
WINDSOR CT 06095-1762                  WEST HOLLYWOOD CA 90048                       BALTIMORE MD 21228




BARNES, THOMAS B                       BARNES, TREVOR                                BARNET, ANN M
2229 HOWARD DRIVE                      25 TALCOTT AVE                                25 RICHARD LANE
WINTER PARK FL 32792                   VERNON CT 06066                               BLOOMFIELD CT 06002




BARNETT, BETTY                         BARNETT, JOSHUA                               BARNETT, REBECCA
328 N LUMBER ST                        5236 JUDSON DRIVE                             10482 NW 51 STREET
ALLENTOWN PA 18102                     BENSALEM PA 19020                             CORAL SPRINGS FL 33076




BARNETT, TRACEY                        BARNETT, VEENA                                BARNEY, DARWIN
29 GLEN ROAD                           4916 WASHINGTON ST                            20467 SW SKIVER ST
DEVONPORT                              SCHNECKSVILLE PA 18078                        BEAVERTON OR 97007
AUCKLAND



BARNEY, SHEILA DIANE                   BARNHART, WILLIAM E                           BARNHILL, FREDRICK
74 LUDLOW ST                           2115 W 107TH PLACE                            PO BOX 190929
STAMFORD CT 06902                      CHICAGO IL 60643                              DALLAS TX 75219




BARNYAK, GAIL                          BARON, ERNEST                                 BARON, HENRY
824 JACKSON STREET APT K10             1750 BANYAN CREEK CT                          11720 PEACHSTONE LN
ALLENTOWN PA 18102                     BOYNTON BEACH FL 33436                        ORLANDO FL 32821




BARON, HENRY                           BARON, MATT                                   BARON, NAOMI S
11720 PEACHSTONE LN                    248 SOUTH MARION STREET                       5810 OVERLEA RD
STE 2005                               OAK PARK IL 60302                             BETHESDA MD 20816
ORLANDO FL 32821




                                              Page 181 of 2387
                           Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 182 of 800
BARONE, ADAM                            BARONE, ANTHONY J                             BARONE, DENNIS
36W098 HOLLOWSIDE DR                    4 LOOKOUT LANDING                             52 HARTWELL RD
DUNDEE IL 60118                         ELLINGTON CT 06029                            WEST HARTFORD CT 06117




BARONS MEDIA                            BAROT, MARIA J                                BARR ENGINEERING INC
210 N PASS AVE   STE 106                2800 ISLAND BLVD #2204                        12612 CLARK STREET
BURBANK CA 91505                        AVENTURA FL 33160                             SANTA FE SPRINGS CA 90670




BARR, JESSICA                           BARRA, ALLEN                                  BARRAZA, DORIS
8930 W 93RD PL                          132 CONNETT PLACE                             45 PARKVIEW AVE
HICKORY HILLS IL 60457                  SOUTH ORANGE NJ 07079                         BRIDGEPORT CT 06606




BARRECA, REGINA                         BARREIRO, JORGE                               BARREN, JOAN
394 BROWNS ROAD                         101-41 126 ST                                 11813 ESTATES CLUB DR    NO.1411
STORRS CT 06268                         SOUTH RICHMOND NY 11419                       ORLANDO FL 32825-5075




BARRENECHEA, VICTOR                     BARRERA, DANIEL S                             BARRERA, SARA M
10460 SW 20 STREET                      C/O SOUTH CAL LANDSCAPING                     14721 NE 6TH AVENUE LOT NO.1
MIAMI FL 33165                          PO BOX 630                                    MIAMI FL 33161
                                        CHULA VISTA CA 91912



BARRERA, WILDER FERNANDO                BARRETO, JOLANDA                              BARRETT BAKER
1953 DEWEY STREET                       212 PEACH ST                                  305 NORTHAMPTON DRIVE
HOLLYWOOD FL 33020                      ALLENTOWN PA 18102                            HAMPTON VA 23666




BARRETT NEWTON INTERACTIVE              BARRETT, BRONIA                               BARRETT, CLAY
632 BLUFF MANOR CIRC                    21025 NW 22ND AVE APT 228                     1300 W BROWARD BLVD
SAINT CHARLES MO 63303                  CAROL CITY FL 33056                           FORT LAUDERDALE FL 33312




BARRETT, DARNISHA                       BARRETT, HENRY R                              BARRETT, JEAN T
600 GARSON DR APT 1204                  2036 LE DROIT DRIVE                           3355 FLOYD TER
ATLANTA GA 30324                        SOUTH PASADENA CA 91030                       LOS ANGELES CA 90068




BARRETT, KRYSTAL                        BARRETT, LEVERNE F                            BARRETT, LOR MILLER
1808 WILD CIRCLE                        212 SW 11TH AVE                               2533 N ORCHARD ST 1S
CLARKSTON GA 30021                      BOYNTON BEACH FL 33435                        CHICAGO IL 60614




BARRETT, LORI                           BARRETT, MAIDEL H                             BARRETT, MICHAEL
18 W FRANKLIN ST   NO.2                 2428 CRESTON WAY                              12850 HIGHWAY 9 N
BALTIMORE MD 21201                      HOLLYWOOD CA 90068                            STE 600 NO.339
                                                                                      ALPHARETTA GA 30004




                                               Page 182 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 183 of 800
BARRETT, MICHAEL J                     BARRETT, SAMUEL                               BARRETT, WAYNE
620 GSB BLDG 1 BELMONT AVE             834 W LAKESIDE   #1S                          220 WINDSOR PL
BALA CYNWYD PA 19004                   CHICAGO IL 60640                              BROOKLYN NY 11215




BARRETTE, JOHANNE                      BARRIGA-GALINDO, RICARDO                      BARRINGTON, MARC
114 CHEMIN DU LAC VERT                 48-56 47ST NO.3G                              6412 DANTE LN NW
VAL DES BOIS                           WOODSIDE NY 11377                             ALBUQUERQUE NM 87114
MONTREAL QC J0X 3C0



BARRINTON BAXTER                       BARRIOS, JUAN BECERRA                         BARRON, CARY
4457 RIBBLESDALE LANE                  2993 NW 103 LN                                738 N HAMLIN
ORLANDO FL 32808                       CORAL SPRINGS FL 33065                        CHICAGO IL 60624




BARRON, GARY                           BARRON, HOLLY                                 BARRON, KELLY
6508 N SPAULDING                       27 VAN DAM ST                                 2301 PELHAM AVE
LINCOLNWOOD IL 60712                   BROOKLYN NY 11222                             LOS ANGELES CA 90064-2211




BARROSO, FATIMA                        BARROW, GINGER                                BARROWS, CLIFTON T
197 LINEN AVENUE                       531 ROGERS AVE                                202 MAPLE AVE
BRIDGEPORT CT 06604                    HAMPTON VA 23664                              UNCASVILLE CT 06382




BARRY ALDRIDGE                         BARRY ALLEN                                   BARRY AUSEN
400 N. RIVER ROAD                      4028 GRANTLEY RD                              8703 106TH STREET EAST
APT. #223                              BALTIMORE MD 21215                            PUYALLUP WA 98373
WEST LAFAYETTE IN 47906



BARRY BERKENSTOCK                      BARRY BLONSTEIN                               BARRY C MICKELSEN
1502 W WALNUT STREET                   6072 THURSBY                                  230 NORTH 100 WEST
ALLENTOWN PA 18102                     DALLAS TX 75252                               REDMOND UT 84652




BARRY C RASCOVAR                       BARRY CAREY                                   BARRY CARPENTER
12507 FELLOWSHIP COURT                 70 ERIN DRIVE                                 932 WINTERSTONE DRIVE
REISTERSTOWN MD 21136                  CARY IL 60013                                 LEWISVILLE TX 75067




BARRY CHITWOOD                         BARRY CONSIDINE                               BARRY COUNTY CLERK
3000 NW 5TH TERRACE                    407 WEST 54TH STREET                          220 W STATE ST
#108                                   NEW YORK NY 10019                             HASTING MI 49058
POMPANO BEACH FL 33064



BARRY DALESANDRO                       BARRY DAVIS                                   BARRY ELAD
1226 W FLOURNOY STREET                 815 WILDFLOWER ROAD                           1581 MANNING AVE
CHICAGO IL 60607                       DAVENPORT FL 33837                            APT#3
                                                                                     LOS ANGELES CA 90024




                                              Page 183 of 2387
                           Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 184 of 800
BARRY FAULKNER                          BARRY FIALK                                   BARRY FISHER
16831 LYNN STREET #4                    14 SHAWN COURT                                2528 WALNUT STREET
HUNTINGTON BEACH CA 92649               WAYNE NJ 07470                                ALLENTOWN PA 18104




BARRY GULLEY                            BARRY HOOGHKIRK                               BARRY JAHNKE
4850 CLAYBURY AVENUE                    27 SALEM ST                                   4047 NORTH NARRAGANSETT
BALTIMORE MD 21206                      PATCHOGUE NY 11772                            CHICAGO IL 60634




BARRY JOSEPH                            BARRY LEVIN                                   BARRY LUTZ
724 EAST TILGHMAN STREET                1016 N EDINBURGH AVENUE #3                    9843 NW 2ND COURT
ALLENTOWN PA 18109                      WEST HOLLYWOOD CA 90046                       PLANTATION FL 33324




BARRY MILLER                            BARRY MONROE                                  BARRY MURPHY
9 LOWICK PLACE                          1062 S MILITARY TRAIL                         38 WEST FIRST STREET
HUNTINGTON STATION NY 11746             APT 105                                       RONKONKOMA NY 11779
                                        DEERFIELD BEACH FL 33442



BARRY ROBERTS                           BARRY SCHNEPS                                 BARRY SHUMATE
3119 STILLMEADOW DRIVE                  39 CONVENT ROAD                               108 REPUBLIC ROAD
INDIANAPOLIS IN 46214                   SYOSSET NY 11791                              APT. #B
                                                                                      NEWPORT NEWS VA 23603



BARRY SILVER                            BARRY STAVRO                                  BARRY STETTLER
6 ADELAIDE STREET                       19835 VALLEY VIEW DRIVE                       26 KRAFT DRIVE
HUNTINGTON STATION NY 11746             TOPANGA CA 90290                              ALLENTOWN PA 18104




BARRY TALLEY                            BARRY TEMKIN                                  BARRY ZIMNOCH
1627 PALERMO DR                         5020 W JARVIS                                 1008 CHARLESTN GREEN
WESTON FL 33327                         SKOKIE IL 60077                               MALVERN PA 19355




BARRY, CINDY M                          BARRY, DANIEL J                               BARRY, DANIEL J
819 ESTELLE CT                          142 HIGH ST APT 1                             85 DAVIS ROAD
NEWPORT NEWS VA 23608                   MIDDLETOWN CT 06457                           HARWINTON CT 06791-1824




BARRY, DAVE                             BARRY, DEBRA                                  BARRY, JOHN M
6510 GRANADA BLVD                       280 GRAHABER RD                               1022 ST PETER ST UNIT 105
CORAL GABLES FL 33146                   TOLLAND CT 06084-2009                         NEW ORLEANS LA 70116




BARRY, RAYMOND                          BARRY, THOMAS                                 BARRY, WILLIAM J
211 GRISWOLD HILL DR                    280 GRAHABER RD                               1495 S ART LAWRENCE RD
NEWINGTON CT 06111                      TOLLAND CT 06084-2009                         CLEWISTON FL 33440




                                               Page 184 of 2387
                         Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 185 of 800
BARSEGHIAN, TINA                      BARSTIS, ARTHUR B                             BART HARRIS PHOTOGRAPHY INC
3700 BALFOUR AVE                      9 BAYPATH WAY                                 2132 W BELMONT AVE
OAKLAND CA 94610                      BRANFORD CT 06795                             CHICAGO IL 60618




BART JONES                            BART, PETER                                   BARTASH PRINTING INC
7 BARROW PLACE                        11500 SAN VICENTE BLVD NO 225                 5400 GRAYS AVE
BLUE POINT NY 11715                   LOS ANGELES CA 90049                          PHILADELPHIA PA 19143




BARTEK, RITA ALEXANDRA                BARTELL, LEESHAWN                             BARTELL, RICHARD
152 NASHVILLE RD                      313 SOUTH END ST                              8215 W SUMMERDALE
BETHEL CT 06801                       PLANTSVILLE CT 06479                          CHICAGO IL 60656




BARTH, MARY                           BARTH, MARY                                   BARTHELEMY, FEDERME
5847 E 1015 N                         ACCT NO.1012                                  1404 SANDPIPER LN.
DEMOTTE IN 46310                      5847 E 1015 N                                 LANTANA FL 33462
                                      DEMOTTE IN 46310



BARTHOLOMEUS DEJONG                   BARTHOLOMEW MORAN                             BARTHOLOMEW, DOUGLAS
765 RIVERSIDE DRIVE                   1106 W. BUSSE AVE                             PO BOX 127
APT. 5I                               MOUNT PROSPECT IL 60056                       66 JOHN PERRY RD
NEW YORK NY 10032                                                                   EASTFORD CT 06242



BARTLE PRODUCTIONS INC                BARTLETT FRESH MARKET                         BARTLETT PROCESS CAMERAS INC
3723 OKEECHOBEE                       399 BARTLETT PLZA                             PO BOX 8075
CASSELBERRY FL 32707                  BARLETT IL 60103                              BARTLETT IL 60103




BARTLETT, BRUCE                       BARTLETT, DARRIN H                            BARTLETT, DONNA
NAT'L CENTER FOR POLICY ANALYSIS      420 BURNHAM PL                                97 LYDALL RD
439 SENECA ROAD                       NEWPORT NEWS VA 23606                         NEWINGTON CT 06111-3139
GREAT FALLS VA 22066



BARTLETT, WILLIAM LEE                 BARTLETT, WILLIAM LEE                         BARTLETT,GEORGE
4901 GRAND STRAND DR APT 304          6170 CENTERVILLE RD                           12 TAGHKANIC - CHURCHTOWN RD
WILLIAMSBURG VA 23188                 WILLIAMSBURG VA 23188                         CRARYVILLE NY 12521




BARTOL, NORMA M                       BARTOLONE, JOSEPHINE                          BARTOLONE, NANCY
408 RIVERSVILLE RD                    8235 NW 94TH AVE                              12325 NW 55TH ST
GREENWICH CT 06831                    TAMARAC FL 33321                              CORAL SPRINGS FL 33076




BARTOLOTTA, MICHAEL J                 BARTOLOTTA,JOSEPH S                           BARTON DELLARMI
59 WATERHOLE ROAD                     92 TOWN FARM RD                               2 HAMILTON STREET
EAST HAMPTON CT 06424                 EAST HADDAM CT 06423                          COLD SPRING NY 10516




                                             Page 185 of 2387
                        Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 186 of 800
BARTON HOPKINS, EMILY                BARTON, BREE                                  BARTON,TARSHEKA D
33 WARREN ST                         12163 INWOOD CIRCLE                           129 NE 6TH COURT
KINGSTON NY 12401                    DALLAS TX 75244                               DEERFIELD BEACH FL 33441




BARTOSH, CLIFF                       BARTOSZ WOJTANOWSKI                           BARTSCH, JOHN
939 FAIRLAWN                         19 FLEETWOOD DRIVE                            3120 ARGONAUT AVE
DUNCANVILLE TX 75116                 PLAINVILLE CT 06062                           ROCKLIN CA 95677




BARTSCH, JOHN                        BARTZ, MAXINE                                 BARUCH ENTERTAINMENT
3201 ARGONAUT AVE                    516 GOODRIDGE LN                              1129 20TH ST
ROCKLIN CA 95677                     FERN PARK FL 32730                            NW STE. 400
                                                                                   WASHINGTON DC 20036



BARUCH ENTERTAINMENT                 BARUCH ENTERTAINMENT                          BARUCH ENTERTAINMENT
1232 31ST STREET                     HERITAGE-BARUCH ENTERTAINMENT                 NEW WORLD TELEVISION
WASHINGTON DC 20007                  1025 CONNECTICUT AVE. NW STE 1                115 E. 57TH ST. 11TH FLOOOR
                                     WASHINGTON DC 20036                           NEW YORK NY 10022



BASAMAN, JOHN MICHAEL                BASBANES, NICHOLAS                            BASCHE' WARNER
15411 BOND MILL ROAD                 92 EAST STREET                                765 MACON STREET
LAUREL MD 20707                      N GRAFTON MA 01536                            BROOKLYN NY 11233




BASEBALL ASSISTANCE TEAM             BASEBALL OFFICE OF THE COMMISSIONER           BASEBALL WINTER TRAINING PROGRAM
245 PARK AVENUE 34TH FLR             245 PARK AVENUE                               1854 MCLEARY ST NO.11
NEW YORK NY 10167                    NEW YORK NY 10167                             SAN JUAN 911




BASEBALL WRITERS ASSOCIATION         BASEBALL WRITERS ASSOCIATION                  BASEBALL WRITERS ASSOCIATION
17931 ORKNEY CIRC                    OF AMERICA                                    1131 SW 98TH TERR
C/O DAVE DANIEL                      16541 GOTHARD ST, SUITE 101                   PEMBROKE PINES FL 33028
HUNTINGTON BEACH CA 92647            HUNTINGTON BEACH CA 92647



BASEBALL WRITERS ASSOCIATION         BASEBALL WRITERS ASSOCIATION                  BASEBALL WRITERS ASSOCIATION
C/O JOE CAPOZZI PRES                 851 W BELLE PLAINE AVE APT 1                  C/O PETER SCHMUCK
312 CENTRAL DR                       CHICAGO IL 60613                              254 FINNEGAN DR
W PALM BEACH FL 33405                                                              MILLERSVILLE MD 21108



BASEBALL WRITERS ASSOCIATION         BASEBALL WRITERS ASSOCIATION                  BASEBALL WRITERS ASSOCIATION
PO BOX 7346                          PO BOX 307                                    PO BOX 412
NASHUA NH 03060                      NEW YORK CAPTER                               C/O MARTY NOBLE
                                     LEONIA NJ 07605                               WALDWICK NJ 07463



BASEBALL WRITERS ASSOCIATION         BASEBALL WRITERS ASSOCIATION                  BASEBALL WRITERS ASSOCIATION
39-12 211TH ST    APT 3              PO BOX 610611                                 SCOREBOOK
BAYSIDE NY 11361                     BAYSIDE NY 11361                              157 NORTHFIELD AVE
                                                                                   DOBBS FERRY NY 10522




                                            Page 186 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 187 of 800
BASEL, AMY ELIZABETH                   BASER, ROBERT W                               BASES, LARRY
9703 S RUTHERFORD                      932 BRADFORD ST                               5151 W 29TH ST  NO.1912
OAK LAWN IL 60453                      BETHLEHEM PA 18018                            GREELEY CO 80634




BASEVIEW PRODUCTS                      BASEVIEW PRODUCTS                             BASEVIEW PRODUCTS
BASEVIEW PRODUCTS INC                  333 JACKSON PLAZA                             C/O WACHOVIA BANK NA
DEPT AT 952088                         ANN ARBOR MI 48103-1922                       3211 SHANNON ROAD STE 400
ATLANTA GA 31192-2088                                                                DURHAM NC 27707



BASHAS INC                             BASHAS INC                                    BASHORE, MARK MCKELL
P.O. BOX 52448                         PO BOX 488                                    2476 ARROWHEAD RD
PHOENIX AZ 85072                       CHANDLER AZ 85244                             OKEMOS MI 48864




BASIL GIBBS                            BASILONE, STEVE                               BASKETBALL CLUB OF SEATTLE, LLC
9400 WATER ORCHID AVENUE               359 N GARDNER ST                              381 ELLIOTT AVE
CLERMONT FL 34711                      LOS ANGELES CA 90036                          SEATTLE WA 98124-1936




BASKETBALL CLUB OF SEATTLE, LLC        BASLEY, RANDY                                 BASS, ANTWAN
DEPT 3059                              4060 S RIVERSIDE DR                           3821 NW 21ST ST APT103
P.O. BOX 34936                         LANEXA VA 23089                               LAUDERDALE LAKES FL 33311
SEATTLE WA 98124-1936



BASS, BARBARA K                        BASS, JAYNE                                   BASS, JAYNE
6300 SHELRICK DR                       1015 AMERICAN ST                              110 ORCHARD DR APT 11
BALTIMORE MD 21209                     CATASAUQUA PA 18032                           WHITEHALL PA 18052




BASS, SHARON                           BASS, SHERMAKAYE                              BASS, TRENTON
52 COOK ST                             2508 BURLY OAK DR                             C/O TIMOTHY BASS
HAMDEN CT 06517                        AUSTIN TX 78745                               2004 NE 51ST PL
                                                                                     OCALA FL 34479



BASS, TRENTON                          BASSETT, CHARLES                              BASSETT, JONATHAN ROBERT
PO BOX 1615                            90 COLUMBIA RD                                23928 RANNEY HOUSE CT
SILVER SPRINGS FL 34489                ENFIELD CT 06082                              VALENCIA CA 91355




BASSETT, MARK                          BASSETT, MERLE                                BASSETT, MICHAEL A
90 COLUMBIA RD                         1829 AVON AVENUE                              P.O. BOX 801051
ENFIELD CT 06082-4207                  CAMBRIA CA 93428                              SANTA CLARITA CA 91380




BASSETT, RANDAL                        BASSO, BRENDA                                 BASTIAN, JUERGEN P
256 EAST ST                            26 PARK ST                                    9051 CHATSWORTH CASCADES
STAFFORD SPRINGS CT 06076              NAZARETH PA 18064                             BOCA RATON FL 33434




                                              Page 187 of 2387
                         Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 188 of 800
BASTIDAS, BORIS                         BASTIDAS, MONICA                            BASTIEN, FRED
6307 LANDINGS WAY                       23-19 24TH ST                               140 BERKLEY BLVD
TAMARAC FL 33321                        ASTORIA NY 11105                            FT. LAUDERDALE FL 33312




BASTIEN, JUSTIN                         BASTIEN, JUSTIN                             BASTIEN, PIERRELY
705-A BUENA VISTA ST                    PO BOX 1029                                 1605 NE 3RD AVE APT G
VENTURA CA 93001                        VENTURA CA 93002                            DELRAY BEACH FL 33444




BASTIN, ALAN                            BATAVIA PLAIN DIRT GARDENERS                BATCHELOR, MARIE
1443 R SW 5TH CT                        921 S JEFFERSON                             505 W 79TH ST APT 2
FT LAUDERDALE FL 33312                  BATAVIA IL 60510                            CHICAGO IL 60620




BATE PETERSON DEACON ZINN & YOUNG LLP   BATE PETERSON DEACON ZINN & YOUNG LLP       BATEMAN, ROBERT L
888 S FIGUEROA ST STE 1500              888 S FIGUEROA ST NO. 1500                  803 INDEPENDENCE AVE SE
LOS ANGELES CA 90017                    LOS ANGELES CA 90017                        WASHINGTON DC 20003




BATES & ASSOCIATES INC                  BATES & ASSOCIATES INC                      BATES, COLLEEN DUNN
PO BOX 441203                           PO BOX 465100                               1041 PROSPECT BLVD
AURORA CO 80044                         AURORA CO 80046                             PASADENA CA 91103




BATES, DEON N                           BATES, JAMES EDWARD                         BATES, KAREN GRIGSBY
545 N APPLETON ST                       PO BOX 2818                                 3626 MOUNT VERNON DRIVE
APPLETON WI 54911                       GULFPORT MS 39505                           LOS ANGELES CA 90008




BATES, RANDY                            BATHIN, LEN                                 BATHTUB LINERS OF COLORADO
20 WEST LUCERNE CIR.                    62 BLOOMINGDALE RD                          DB REBATH OF COLORADO
APT. 608                                QUAKER HILL CT 06375                        2585 SOUTH STATE STREET
ORLANDO FL 32801                                                                    SALT LAKE CITY UT 84115



BATINSEY, THOMAS                        BATISTA, LAURA                              BATISTE, KASSANDRA F
5 HOOKER DR                             409 E SUSQUEHANNA ST                        31 W GREENWICH ST
EAST BERLIN PA 17316                    ALLENTOWN PA 18103                          BETHLEHEM PA 18018




BATOR, MONICA                           BATTAGLIA INDUSTRIES INC                    BATTAGLIA, LOUIS
4325 N MOBILE AVE                       406 W CAMPUS DR                             7809 NE 106TH PL
CHICAGO IL 60634                        ARLINGTON HTS IL 60004                      KANSAS CITY MO 64157




BATTERIES PLUS                          BATTERIES PLUS                              BATTLE, CHONDA
36306 TREASURY CENTER                   6227 W 95TH ST                              2767 PINE VALLEY CIR
CHICAGO IL 60694-6300                   OAKLAWN IL 60453-2701                       EAST POINT GA 30344




                                             Page 188 of 2387
                           Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 189 of 800
BATTLE, TAMALA                          BATTLES, MATTHEW                              BATTON, MICHAEL H
7 SPARROW CT                            58 SOUTHBOURNE RD                             1121 E ACACIA AVENUE
WILLIAMSBURG VA 23185                   JAMAICA PLAIN MA 02130                        EL SEGUNDO CA 90245




BATTS, EUGENE A                         BATTUNG, NESTOR V                             BATZER, FLORENCE M
11622 NW 36TH ST                        779 LEWISBURG LANE                            1110 NE 27TH AVENUE
CORAL SPRINGS FL 33065-7021             AURORA IL 60504                               POMPANO BEACH FL 33062




BAUCICAUT, MOISE P                      BAUDIN, GREGORY                               BAUER, JERRY
1830 EDGEWATER DR.                      9970 ROYAL PALM BLVD NO.108                   110 VIALE AVENTINO
BOYNTON BEACH FL 33436                  CORAL SPRINGS FL 33065                        ROME, ITALY 153




BAUER, KAREN                            BAUER, KURT                                   BAUER, LESLIE
866 35TH ST  APT B                      225 EAST BAYRIDGE DR                          P.O. BOX 7
NEWPORT NEWS VA 23607                   WESTON FL 33326                               DAYTON MD 21036




BAUER, MICHAEL                          BAUER-MORRISON, TERESA R                      BAUGHMAN,CHUCK
3220 SILVER LAKE BLVD                   110 RIM ROCK ROAD                             15263 N 153RD DR
LOS ANGELES CA 90039                    ALEDO TX 76008                                SURPRISE AZ 85379




BAUM, GARY                              BAUM, GERALDINE                               BAUM, HEATHER
849 S BROADWAY NO.508                   FOREIGN CORRESPONDENT PARIS BUREAU            278 WASHINGTON SQ
LOS ANGELES CA 90014                    LOS ANGELES TIMES FOREIGN DESK                TELEFORD PA 18969
                                        202 W FIRST ST
                                        LOS ANGELES CA 90012


BAUMAN INK LTD                          BAUMAN, BRUCE                                 BAUMAN, ERIC
PO BOX 583                              4155 LYCEUM AVE                               12777 VICTORY BLVD
EMMAUS PA 18049                         LOS ANGELES CA 90066                          NORTH HOLLYWOOD CA 91606




BAUMAN, LUKE                            BAUMANN, PAUL D                               BAUMGARTNER, BLAKE FREDERICK
1858 S 3RD ST                           88 MERTON ST                                  811 ATLANTA CT
ALLENTOWN PA 18103                      FAIRFIELD CT 06824                            NAPERVILLE IL 60540




BAUMGARTNER, GEOFFREY                   BAUMHARDT,LYNN A                              BAUMILLER, ROBERT W
1630 NE 56TH CT                         3826 N SEELEY                                 10611 NW 51ST STREET
FORT LAUDERDALE FL 33334                CHICAGO IL 60618                              CORAL SPRINGS FL 33076




BAUMUELLER-NUERMONT CORPORATION         BAUS, DAVID RICHARD                           BAUTISTA, JESUS M
1512 E ALGONQUIN RD                     5635 RINGWOOD DR                              1231 WOOD AVE
ARLINGTON HEIGHTS IL 60005              BALTIMORE MD 21227                            BRIDGEPORT CT 06604




                                               Page 189 of 2387
                           Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 190 of 800
BAUTISTA, JOSE                          BAUZA, VANESSA M                              BAVARO, LAURA
224 SW 159TH WAY                        2817 N. MILDRED AVENUE                        59095 MAIN ROAD
SUNRISE FL 33326                        APT #1                                        SOUTHOLD NY 11971
                                        CHICAGO IL 60657



BAVIER DESIGN LLC                       BAWER, BRUCE                                  BAX, DAVID
THREE STAMFORD LANDING                  STENSBERGGATA 15A                             756 1/2 N VAN NESS AVE
46 SOUTHFIELD LANDING                   OSLO 170                                      LOS ANGELES CA 90038
STAMFORD CT 06902



BAXTER SLAUGHTER                        BAXTER, KAREN ELIZABETH                       BAXTER, KAREN ELIZABETH
942 NORTH LECLAIR                       121 SW 22ND AVENUE                            121 SW 22ND AVENUE
CHICAGO IL 60651                        CAPE CORAL FL 33991                           CAPE CORAL MD 33991




BAXTER, TODD                            BAY CITY ELECTRIC WORKS INC                   BAY CITY ELECTRIC WORKS INC
3103 W AUGUSTA BLVD NO 1                12208 INDUSTRY RD                             3375 HANCOCK STREET
CHICAGO IL 60622                        LAKESIDE CA 92040                             SAN DIEGO CA 92110




BAY CITY PEST MANAGEMENT CO INC         BAY RIDGE 5TH AVENUE BUSINESS                 BAY SHORE UNION FREE SCHOOL DISTRICT
5846 BELAIR RD                          IMPROVEMENT DISTRICT                          75 WEST PERKAL STREET
BALTIMORE MD 21206                      C/O LINCOLN BUILDING                          BAY SHORE NY 11706
                                        464 BAY RIDGE AVENUE
                                        BROOKLYN NY 11220


BAYENS, VICTORIA                        BAYER, ROBERT M                               BAYERS, R PATRICK
PO BOX 6388                             24013 KIRKCALDY CIRCLE                        10717 LONG AVE
PORTSMOUTH VA 23703                     WEST HILLS CA 91307                           OAKLAWN IL 60453




BAYETTE GEORGE                          BAYLEN, ELIZABETH O                           BAYNES, BRENDAN
5801 BYWOOD DR                          204 HUNTINGTON ST NO.2N                       49 TRADITIONAL LANE
APT F                                   BROOKLYN NY 11231                             LOUDONVILLE NY 12211-1951
INDIANAPOLIS IN 46220



BAYVIEW WINDOW CLEANING INC             BAZALAR, MARCO A                              BAZAN, BETTINA
13 ROBERTS DR                           381 E SHERIDAN ST                             640 S MEDFORD AVE
STATEN ISLAND NY 10306                  DANIA BEACH FL 33004                          BROWNSVILLE TX 78521




BAZANOS, ALEXA A                        BAZEMORE, DEVON                               BAZIAK, ALISON
3513 NORTH JANSSEN                      832 B 35TH ST                                 21 BUCHANAN ROAD
CHICAGO IL 60657                        NEWPORT NEWS VA 23607                         ENFIELD CT 06082




BAZIL, PIERRE LOUIS                     BAZZI, MOHAMAD                                BBDO
5331 NE 9TH TERRACE                     2 WASHINGTON SQ VILLAGE       APT 10S         3500 LENOX RD NE STE 1900
POMPANO BEACH FL 33064                  NEW YORK NY 10012                             ATLANTA GA 30326-4232




                                               Page 190 of 2387
                           Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 191 of 800
BBDO                                    BBDO                                          BBDO
3500 LENOX ROAD SUITE 1900              840 W LONG LAKE RD                            1285 BROADWAY 9 FL
ATLANTA GA 30326                        TROY MI 48098                                 NEW YORK NY 10018




BBDO                                    BBL TRIBUNE LLC                               BBL TRIBUNE LLC
1375 BROADWAY 9TH FLOOR                 RE: QUEENSBURY MEDIA DR.                      PO BOX 12753
ATTN TONIANN BLANCO                     PO BOX 12753                                  ALBANY NY 12212
NEW YORK NY 10018                       ALBANY NY 12212



BBL TRIBUNE, LLC                        BBM INCORPORATED                              BBS PHOTO INC
RE: QUEENSBURY MEDIA DR.                RE: NAPERVILLE 55 SOUTH MAIN                  222 MAIN ST
302 WASHINGTON AVENUE EXTENSION         236 S. WASHINGTON ST.                         FARMINGDALE NY 11735-2618
ALBANY NY 12203                         SUITE 212
                                        NAPERVILLE IL 60540


BBS PHOTO INC                           BDKE DISTRIBUTORS, INC                        BDM PAPERWORKS
PO BOX 38                               1197 SAN MARINO AV                            3666 FILLMORE ST
OLD BETHPAGE NY 11804                   SAN MARINO CA 91108                           GARY IN 46408-1650




BE IMAGES                               BE IMAGES                                     BEA E CRAWFORD
314 N LA BREA AVE                       A DIVISION OF BERLINER PHOTOGRAPHY LLC        8436 CAPEVIEW AVENUE
LOS ANGELES CA 90036                    PO BOX 480066                                 NORFOLK VA 23503
                                        LOS ANGELES CA 90048



BEA SYSTEMS INC                         BEA SYSTEMS INC                               BEACH JR, GERALD J
2315 N FIRST ST                         7074 COLLECTION CENTER DRIVE                  1 BIRCH CIRCLE SOUTH
SAN JOSE CA 95131                       CHICAGO IL 60693                              FARMINGDALE NY 11735




BEACH, RANDI L                          BEACH, RANDI L                                BEACON ECONOMICS LLC
P O BOX 1912                            PO BOX 297                                    204 ROSS ST
BURLINGAME CA 94011-1912                SANTA CLARA CA 95052                          SAN RAFAEL CA 94901




BEACON HILL STAFFING GROUP LLC          BEACON HILL STAFFING GROUP LLC                BEAL INDUSTRIAL PRODUCTS
ATTN ACCOUNTS RECEIVABLE                BOX 83259                                     7513 E CONNELLEY DR
152 BOWDOIN ST                          WOBURN MA 01813-3259                          HANOVER MD 21076
BOSTON MA 02108



BEALE, LEWIS                            BEALER, ALBERT                                BEALER, SHIRLEY
233-69 RACINE DR                        309 S GREEN ST                                309 S GREEN ST
WILMINGTON NC 28403                     NAZARETH PA 18064                             NAZARETH PA 18064




BEALER, SUSAN                           BEALL, SUSAN                                  BEALL, WILLIAM
309 S GREEN ST                          330 CORDOVA NO.157                            524 N SPAULDING AVE
NAZARETH PA 18064                       PASADENA CA 91101                             LOS ANGELES CA 90036




                                               Page 191 of 2387
                           Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 192 of 800
BEALS, SHAWN                            BEAMON, JACQUELINE                            BEAMON, MARY V
20 STEELE FARM DR                       617 DELAWARE AVE                              2323 JAMESTOWN AVE APT B
MANCHESTER CT 06042                     HAMPTON VA 23661                              HAMPTON VA 23661




BEAN CONTRACTORS                        BEAN, KASWANNA L                              BEAN, SCOTT
1800 WOOD AVE                           6299 PINESTEAD DR APT.311                     6918 LUTHER CIRC
EASTON PA 18042                         LAKE WORTH FL 33463                           MOORPARK CA 93021




BEAN,DILLETTE                           BEARD PUBLISHING INC                          BEARD, ARTHUR
6334 HARBOUR STAR DR                    1331 E WARNER AVE                             3569 KARIYA DR
LAKE WORTH FL 33467                     SANTA ANA CA 92705                            MISSISSAUGA ON L5B 3J2




BEARD, TOM                              BEARDEN, KELLY                                BEARDER, MEGAN E
153 W AVENIDO ALESSANDRO                140 GOODWIN ST                                2638 N SAWYER AVE
SAN CLEMENTE CA 92672                   BRISTOL CT 06010                              CHICAGO IL 60647




BEASLEY, BERNARD J                      BEASLEY, CHARLES A                            BEASLEY, JAMES R
420 POINT ANNE DR                       2830 S PALMETTO AVE                           3526 NORTH A 1A
HARTFIELD VA 23071                      SANFORD FL 32773                              VERO BEACH FL 32963




BEASLEY, JEFFERY S                      BEASLEY, MICHAEL                              BEASLEY, STANLEY
5240 NW 55TH BLVD APT 2-306             2830 S PALMETTO AVE                           3351 NE 5TH AVE
COCONUT CREEK FL 33073                  SANFORD FL 32773                              FORT LAUDERDALE FL 33334




BEASLEY, TRACY C                        BEASON BROADCAST PARTNERS LTD                 BEASON, MICHAEL
316 NE 36TH STREET                      1425 KINGSPORT COURT                          1711 N DELAWARE
FORT LAUDERDALE FL 33334                NORTHBROOK IL 60062                           INDIANAPOLIS IN 46202




BEAT THE TRAFFIC COM                    BEATA GAUDRY                                  BEATRICE MOSS
1265 W KNICKERBOCKER DR                 10838 S KEELER                                8207 ALSTON RD.
SUNNYVALE CA 94087                      OAK LAWN IL 60453                             TOWSON MD 21204-1913




BEATRICE POSEY                          BEATRICE SANSONI                              BEATRIZ BRAVO
9209 S. INDIANA                         13619 CHANDLER BLVD                           14779 DEER DR
CHICAGO IL 60619                        SHERMAN OAKS CA 91401                         FONTANA CA 92336




BEATRIZ CORTEZ                          BEATRIZ HINOJOSA-MOREYRA                      BEATRIZ MENDOZA
258 RANCHO DRIVE UNIT B                 472 LOCK ROAD                                 3909 S. HALLDALE AVE.
CHULA VISTA CA 91911                    APT 189                                       LOS ANGELES CA 90062
                                        DEERFIELD BEACH FL 33442




                                               Page 192 of 2387
                           Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 193 of 800
BEATRIZ OROZCO-PENA                     BEATRIZ REYES                                 BEATY, PAUL
503 WOODGATE CIRCLE                     107 N 17TH AVENUE                             2036 N HOYNE     APT B
WESTON FL 33326                         MELROSE PARK IL 60160                         CHICAGO IL 60647




BEAU WEAVER INC                         BEAUDIN, MARC                                 BEAUDOIN, AMY M
257 PARK AVE SOUTH SUITE 900            210 MIRAMAR ST                                45 HAMLIN ST NO.2
NEW YORK NY 10010                       FY MYERS FL 33931                             MANCHESTER CT 06040




BEAUDUY, KARL                           BEAUFORD, ARTHUR J                            BEAUFRERE, DOMINIQUE
4634 SUMMIT BLVD                        4885 RALEIGH STREET APT 6                     506 SW 4TH AVE
WEST PALM BEACH FL 33415                ORLANDO FL 32811                              DELRAY BEACH FL 33444




BEAUMONT ENTERPRISE                     BEAUMONT HERRERO, ELENA                       BEAUMONT, SACHA
PO BOX 3071                             2020 N LINCOLN PARK WEST                      5850 HILLANDALE DR #823
BEAUMONT TX 77704                       CHICAGO IL 60614                              LITHONIA GA 30058




BEAVEN, STEPHEN                         BEAVER NEWSPAPERS INC                         BEAVER NEWSPAPERS INC
3203 SE ALDER ST                        BEAVER COUNTY TIMES                           BEAVER COUNTY TIMES
PORTLAND OR 97214                       400 FAIR AVENUE                               PO BOX 400
                                        BEAVER PA 15009                               BEAVER PA 15009



BEAVERS, DEBORAH L                      BEC, MONIKA                                   BECENTI, MARIE
6386 REDHEAD WAY                        214 STAMFORD LANE                             P. O. BOX 3681
FONTANA CA 92336                        ROMEOVILLE IL 60446                           GARDENA CA 90247




BECERRA, GUILLERMO                      BECERRA, MARY H                               BECERRA, MARY H
7803 ELANOR PL                          3414 EVA AVE                                  ACCT 5682
WILLOWBROOK IL 60527                    PARK CITY IL 60085                            3414 EVA AVE
                                                                                      PARK CITY IL 60085



BECHER JR, WILLIAM                      BECHOR, MICHELE                               BECHTEL, ANDREW R
4239 ARROWHEAD CIR                      1883 SW 148TH AVE                             112 HENDERSON ST
WESTLAKE VILLAGE CA 91362               DAVIE FL 33325                                RALEIGH NC 27607




BECK, JAMES                             BECK, RODNEY R                                BECKER, AMANDA
125 ISLAMORADA WAY                      5928 E LUDLOW DR                              2269 W SUNSET BLVD NO.5
SANFORD FL 32771                        SCOTTSDALE AZ 85254                           LOS ANGELES CA 90026




BECKER, DENNIS                          BECKER, EVE R                                 BECKER, JENNA
71 HATCH ST                             433 W WELLINGTON AVE NO 1-S                   2414 HAY ST
NEW BRITAIN CT 06053                    CHICAGO IL 60657                              EASTON PA 18042




                                               Page 193 of 2387
                            Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 194 of 800
BECKER, JENNIFER                         BECKER, MARCUS                                BECKER, STEVE
420 W EMAUS AVENUE   BOX 76              232 N POPLAR ST                               51 OLD KINGS HWY
ALLENTOWN PA 18103                       ALLENTOWN PA 18102                            APT 13
                                                                                       OLD GREENWICH CT 06878



BECKER, SUZANNE M                        BECKERT, GLENN                                BECKETT, SCOTT
4348 BEAUMONT RD                         1953 ARKANSAS AVE                             C/O R & K UNITED
DOVER PA 17315                           ENGLEWOOD FL 34224                            7150 JUSTINE DR
                                                                                       MISSISSAUGA ON L4T 1M3



BECKFORD, CISLYN                         BECKFORD, GEORGE                              BECKFORD-THOMAS, SOPHIA
130-53 SPRINGFIELD BLVD                  5978 NW 24TH PL                               1850 NW 42ND TER. APT R - 202
SPRINGFIELD GARDENS NY 11413             SUNRISE FL 33313                              LAUDERHILL FL 33313




BECKHARDT, KAREN                         BECKLER, LESTER                               BECKLEY, BARBARA
233 E TIMONIUM RD                        32 FAIRLANE DRIVE                             300 SOUTH ALMANSOR STREET
TIMONIUM MD 21093                        SELDEN NY 11784                               ALHAMBRA CA 91801




BECKMAN, JOEY WADE                       BECKMAN, MARY                                 BECKNELL 2004
451 DERRY CT                             161 E CROWLEY ST                              RE: HOBART 1626 NORTHWIND PKW
NEWPORT NEWS VA 23602                    IDAHO FALLS ID 83402                          P.O. BOX 317
                                                                                       CHAMPAIGN IL 61824-0317



BECKNER, NANCY F                         BECKOWITZ, SHAWN R                            BECKWORTH, WILLIAM
128 EDSYL ST                             FIRE TRUCKS FOR FUN                           317 CALICO TRAIL
NEWPORT NEWS VA 23602                    14806 TANGERINE BLVD                          MARTINEZ GA 30907
                                         LOXAHATCHEE FL 33470



BECKY SCHNAKENBERG PROFESSIONAL          BECKYS CARPET                                 BECTON, LATESHA D
5520 E CHARTER OAK                       14290 MANCHESTER RD                           1807 N LUNA APT NO.2
SCOTTSDALE AZ 85254                      MANCHESTER MO 63011                           CHICAGO IL 60639




BEDASSEE, TENNYSON                       BEDFORD MOTOR SERVICE INC                     BEDGOOD, MICHAEL
2040 NW 28TH TER                         2600 INTERNATIONALE PKWY                      556 MONTICELLO DR
FT. LAUDERDALE FL 33311                  WOODRIDGE IL 60517                            MABLETON GA 30126




BEDO, BRIAN                              BEDOYA, ANDRES                                BEEBE, CHARLOTTE
1000 ALGONQUIN RD                        2656 NW 65 AVE                                1305 VIBURNUM LANE
FOX RIVER GROVE IL 60021                 MARGATE FL 33063                              WINTER PARK FL 32792




BEECH, VIVIAN A                          BEECHER CARLSON INSURANCE SERVICES            BEEHNER, LIONEL
7647 FOREST GLENWAY                      PO BOX 933218                                 86 E 4TH ST NO.25
LITHONIA SPRINGS GA 30122                ATLANTA GA 31193-3218                         NEW YORK NY 10003




                                                Page 194 of 2387
                           Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 195 of 800
BEELER, NATE                            BEEM, KENNETH A                               BEER, THOMAS
118 ROBERTS LN APT 101                  211 N BEECHWOOD AVE                           429 SEVENTH AVENUE APT 5
ALEXANDRIA VA 22314                     CATONSVILLE MD 21228                          BROOKLYN NY 11215




BEERS, JOEL                             BEESLEY, BRIANNE                              BEETHOVENS WIG INC
139 N CORNELL AVENUE                    59 N 5TH ST                                   1257 WOODRUFF AVE
FULLERTON CA 92831                      BANGOR PA 18013                               LOS ANGELES CA 90024




BEETHOVENS WIG INC                      BEFIT HEALTH SERVICES                         BEFIT HEALTH SERVICES
4121 REDWOOD AVE NO.215                 17 LAKE FOREST CIRC                           PO BOX 1495
LOS ANGELES CA 90066                    LAKE ST LOUIS MO 63367                        OFALLON MO 63366




BEGGS, ROBERT                           BEHAN, LYNN B                                 BEHR COMMUNICATIONS INC
7204 AMHURST LANE                       1778 NE 40 STREET                             1801 CENTURY PARK EAST STE 2160
GLOUCESTER VA 23061                     OAKLAND PARK FL 33334                         LOS ANGELES CA 90067




BEHRENS, DAVID                          BEHRENS, HEATHER                              BEHRENS, W. E.
1930 BROADWAY    APT 24F                3613 HAYNIE AVE                               2168 WEST SUNNYSIDE
NEW YORK NY 10023                       DALLAS TX 75205                               CHICAGO IL 60625




BEHRING, NATALIE                        BEHRING, NATALIE                              BEI SR, ALI
32 XIAO YUN LU 605C                     738 SOUTH DEPEW STREET                        13 W NIGHTINGALE ST
BEIJING 100027                          LAKEWOOD CO 80226                             APOPKA FL 32712




BEI TECHNOLOGIES                        BEI TECHNOLOGIES                              BEILIN, HOLLY
INDUSTRIAL ENCODER DIVISION             PO BOX 51727                                  825 HAMPTON CT
7230 HOLLISTER AVE                      LOS ANGELES CA 90051                          WESTIN FL 33326
GOLETA CA 93117-2891



BEINART, PETER                          BEINART, PETER                                BEINSTOCK,HOWARD
1529 33RD ST. NW                        THE COUNCIL ON FOREIGN RELATIONS              685 NORMANDY O
WASHINGTON DC 20007                     1779 MASSACHUSETTS AVE NW SUITE 710           DELRAY BEACH FL 33484
                                        WASHINGTON DC 20036



BEINSTOCK,HOWARD                        BEISER, VINCE                                 BEJA, MARC
ADVERTISING                             6381 HOLLYWOOD BLVD                           95 THOMPSON AVE
235 PINELAWN RD                         SUITE 655                                     OCEANSIDE NY 11572
MELVILLE NY 11747                       LOS ANGELES CA 90028



BEJAR, DANIEL                           BEL AIR INDEPENDENCE DAY COMMITTEE INC        BEL AIR REPORTING
210 VARET STREET APT 401 B              PO BOX 724                                    217 E CHURCHVILLE RD
BROOKLYN NY 11206                       BEL AIR MD 21014                              BEL AIR MD 21014




                                               Page 195 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 196 of 800
BEL AIR ROTARY CLUB                    BEL AIR SENIOR HIGH SCHOOL                    BEL AIR VOLUNTEER FIRE CO INC
PO BOX 53                              100 HEIGHE STREET                             109 S HICKORY AVE
BEL AIR MD 21014                       BEL AIR MD 21014                              BEL AIR MD 21014




BELANGER, KYL                          BELASCO, DONALD                               BELCARO GROUP INC
4 LUDLOW RD                            5721 WHITEMARSH DR                            7100 E BELLEVIEW AVE SUITE 208
SOUTH HADLEY MA 01075                  MACUNGIE PA 18062                             GREENWOOD VILLAGE CO 80111




BELENARDO, ANTHONY                     BELFER, ESTHER K                              BELIARD, GUILAINE
1478 SUNSET AVE                        7441 WAYNE AVE APT 10C                        330 SW 2ND COURT APT 1
PASADENA CA 91103                      MIAMI FL 33141                                POMPANO BEACH FL 33060




BELICE, RANDY LEE                      BELINDA BARSUMIAN                             BELINDA BILLMIRE
365 DES PLAINES AVENUE                 320 NORTH PARK VISTA                          84 WEST 400 NORTH
RIVERSIDE IL 60546-1849                SPACE 137                                     CLEARFIELD UT 84015
                                       ANAHEIM CA 92806



BELINDA BURNS                          BELINDA CARSON                                BELINDA HART
400 FREDERICK                          18 BARRINGTON PLACE                           404 CRAVEN ST
BELLWOOD IL 60104                      HAMPTON VA 23666                              HAMPTON VA 23661




BELINDA IVEY                           BELINDA SELL                                  BELINDA STANA
7050 NW 44TH STREET                    3864 CEDAR DRIVE                              213 VISTA DRIVE
APT 306                                WALNUTPORT PA 18088                           EASTON PA 18042
LAUDERHILL FL 33319



BELISLE, JESSICA M                     BELIZAIRE, EVELITHA                           BELIZAIRE, HANS R
7 YOUNG ST                             10626 HILL TOP MEADOW POINT                   10626 HILL TOP MEADOW POINT
PLAINVILLE CT 06062                    BOYNTON BEACH FL 33437                        BOYNTON BEACH FL 33437




BELIZAIRE, JOSETTE                     BELIZAIRE, KENSON                             BELL AIR INDEPENDENCE DAY COMMITTEE INC
4200 NW 34TH ST. # 301                 1240 SEAVIEW DRIVE                            PO BOX 724
LAUDERDALE FL 33319                    NORTH LAUDERDALE FL 33068                     BEL AIR MD 21014




BELL FOOD SERVICES INC                 BELL, ALAN                                    BELL, ARNOLD
98 COMMERCE ST                         700 MARCUS NYAH CT                            14020 BISCAYNE BLVD APT 306
GLASTONBURY CT 06033                   COLLEGE PARK GA 30349                         MIAMI FL 33181




BELL, BARBARA                          BELL, BRANDON                                 BELL, JAMES O
120 W GOLF ROAD                        1606 THE OAKES                                544 NINTH ST
LIBERTYVILLE IL 60048                  CLARKSTON GA 30021                            SANTA MONICA CA 90402




                                              Page 196 of 2387
                         Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 197 of 800
BELL, JOSEPH                           BELL, JOY                                    BELL, LAURA
2382 AZURE AVENUE                      413 S 14TH AVE                               15900 CRENSHAW STE G
NEWPORT BEACH CA 92660                 MAYWOOD IL 60153                             PMB G 517
                                                                                    GARDENA CA 90249



BELL, MARGARET ANN                     BELL, MATTHEW D                              BELL, MAYA D
7844 EAST HILL ROAD                    2779 PAGE AVE                                340 MENORES AVE
MOUNT AIRY MD 21771                    ANN ARBOR MI 48104                           CORAL GABLES FL 33134




BELLA LASARE SHAYEVSKAYA               BELLA NOTIS                                  BELLA VISTA GROCERY
1375 REBECCA                           20291 N.E. 30 AVE.                           57 FAIRMONT ST
UNIT 115                               #103                                         HARTFORD CT 06120
HOFFMAN ESTATES IL 60169               AVENTURA FL 33180



BELLACK, BOB                           BELLACOSA, JOSEPH W                          BELLAMY, BOBBY
820 S. OAKLAND AVE                     122 KILDARE RD                               2431 SYCAMORE ST
PASADENA CA 91106                      GARDEN CITY NY 11530                         EASTON PA 18042




BELLAMY, DANIELE                       BELLATRIX SYSTEMS                            BELLATRIX SYSTEMS
323 ROYAL OAK CT                       10917 SAVONA ROAD                            1015 SW EMKAY DRIVE
STEGER IL 60475                        LOS ANGELES CA 90077                         BEND OR 97702




BELLATRIX SYSTEMS                      BELLE & BELLEZZA INC                         BELLE CHEN
1183 NW HALL ST                        KIM WEBER                                    13541 LA JARA STREET
BEND OR 97701                          15 MAXWELL DR                                CERRITOS CA 90703
                                       WESTBURY NY 11590



BELLER, DALE                           BELLER, MILES                                BELLEVILLE NEWS DEMOCRAT
114 N 5TH ST                           1238 NORMAN PLACE                            PO BOX 427
EMMAUS PA 18049                        LOS ANGELES CA 90049                         BELLEVILLE IL 62222-0427




BELLI, BRITA                           BELLIDO,TULA NANCY                           BELLING, KENNETH
8 GARDEN DRIVE                         1151 NW 89 TERRACE                           1338 SAN FELIPE CT
FAIRFIELD CT 06825                     PEMBROKE PINES FL 33024                      WINTER SPRINGS FL 32708




BELLINGER, ROBIN                       BELLIS, LISA                                 BELLISE,FRED
22563 SW 66TH AVE #110                 360 TAYLOR AVE APT 9C                        20 DAHILL ROAD
BOCA RATON FL 33428                    EASTON PA 18042                              OLD BETH PAGE NY 11804




BELLMORE MERRICK CENTRAL HS DISTRICT   BELLMORE MERRICK CENTRAL HS DISTRICT         BELLNER, MATT
1260 MEADOWBROOK ROAD                  CALHOUNE HIGH SCHOOL                         2215 N NIAGARA ST
NORTH MERRICK NY 11566-1500            1786 STATE STREET                            BURBANK CA 91504
                                       MERRICK NY 11566




                                             Page 197 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 198 of 800
BELLO, LOUIS                           BELLO, LOUIS                                  BELLOMO,PHILIP
19 ELM TREE LN                         P.O. BOX 1651                                 16 ARBOR WALK LANE
HUNTINGTON STATION NY 11746            HUNTINGTON NY 11743                           RANCHO SANTA MARGARITA CA 92688




BELLOSO, JENIFER                       BELLOW, RHONDA                                BELLSOUTH COMMUNICATION
4201W MCNAD RD APT NO.10               300 THREE ISLANDS BLVD NO.315                 SYSTEMS
POMPANO BEACH FL 33069                 HALLANDALE FL 33009                           PO BOX 79045
                                                                                     BALTIMORE MD 21279-0045



BELMONT TECHNOLOGY REMARKETING         BELMONT,CHARLES                               BELMONTE, KELLY J
1401 MARK ST                           8 KING AVENUE                                 3205 SHALLOW POINT CIR
ELK GROVE VILLAGE IL 60007             MELVILLE NY 11747                             LAS VEGAS NV 89117




BELO CORPORATION                       BELO INTERACTIVE                              BELO INTERACTIVE
PO BOX 655237                          DBA KING5.COM                                 DEPT 1012
DALLAS TX 75265-5237                   900 JACKSON STREET                            PO BOX 121012
                                       SUITE 400                                     DALLAS TX 75312
                                       DALLAS TX 75202


BELSCHWENDER, SHAWN                    BELTRAN YU                                    BELTRAN'S TRAILER/TIRE REPAIR
2308 W THOMAS ST 1ST FLR               4342 N. KEDVALE                               11613 SUNGLOW ST
CHICAGO IL 60622                       APT #1B                                       SANTA FE SPRINGS CA 90670
                                       CHICAGO IL 60641



BELTRAN'S TRAILER/TIRE REPAIR          BELTRAN, JOAQUIN                              BELTRE, BIENVENIDO
PO BOX 2683                            6922 N CLARK STREET                           C/PRIMERA NO.24 BUENA VISTA SEGUNDA
SANTA FE SPRING CA 90670               CHICAGO IL 60626                              SANTO DOMINGO




BELTZ, BRUCE                           BELTZ, ROLAND                                 BELULOVICH, ROBERTA A
5978 EMMAUS RD                         5978 EMMAUS RD                                PO BOX 483   PECK SLIP STATION
EMMAUS PA 18049                        EMMAUS PA 18049                               NEW YORK NY 10272




BEM, JENNIFER                          BEMA POLYTECH INC                             BEMLEY, BIANCA
356 LONG MEADOW WAY                    POB 3516                                      313 DUNN CIR
ARNOLD MD 21012                        OAK BROOK IL 60522                            HAMPTON VA 23666




BEN & JERRY'S CATERING                 BEN BOLCH                                     BEN CORTEZ
859-A WEST HARBOR DRIVE                10935 MISSOURI AVENUE                         3801 W. FARGO
SAN DIEGO CA 92101                     APT.# C                                       SKOKIE IL 60076
                                       LOS ANGELES CA 90025



BEN LAWRENCE                           BEN M WORMER                                  BEN REYES
2007 JOLLEY DRIVE                      3217 W CLARK AVENUE                           65 BASSWOOD ROAD
BURBANK CA 91504                       BURBANK CA 91505                              FARMINGTON CT 06032




                                              Page 198 of 2387
                         Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 199 of 800
BEN STEINBACH                         BEN WHIDDEN                                   BEN-ZVI, HAVA
420 W. SURF ST.                       8804 EL PRADO DRIVE                           1420 GARFIELD AVE
506                                   ORLANDO FL 32825                              SAN MARINO CA 91108
CHICAGO IL 60657



BENA WAINWRIGHT                       BENALCAZAR, LUIS F                            BENAVIDES, PEDRO A
2518 CANADA BLVD APT C                46 BROOKLAWN AVE                              16411 BLATT BLVD NO. 105
GLENDALE CA 91208                     NORWALK CT 06854                              WESTON FL 33326




BENAVIDES, SCOTT                      BENBOW, JOYCE L                               BENCHMARK COMMERCIAL INC
16 DENNISON                           5750 WILEY ST                                 466 LAWNDALE DRIVE
GLENDALE HTS IL 60139                 HOLLYWOOD FL 33023                            SUITE D
                                                                                    SALT LAKE CITY UT 84115



BENCHMARK COMMERCIAL INC              BENCHMARKUSA PROMOTIONAL PRODUCTS             BENDER, ANDREW D.
870 EAST 9400 SOUTH                   25 WESTERN INDUSTRIAL DRIVE                   441 RAYMOND AVE NO.6
TERRA                                 CRANSTON RI 02921                             SANTA MONICA CA 90405
MARY
SANDY UT 84094


BENDER,JUDITH                         BENDETSON, WILLIAM                            BENEDETTO POCCIA
200 W 86TH ST NO.9L                   15 SUTTON PLACE                               3211 CARBON STREET
NEW YORK NY 10024                     WESTON MA 02493                               WHITEHALL PA 18052




BENEDETTO, GREGORY                    BENEDETTO, LAURA F                            BENEFICIAL INNOVATIONS INC
347 DONGAN HILLS AVE                  3315 MEADOWBROOK WAY                          DUVEL & LUNER LLP
STATEN ISLAND NY 10305                DAVIE FL 33328                                GREGORY S DOVEL/JULIEN ADAMS
                                                                                    201
                                                                                    SANTA MONICA CA 90401


BENEFICIAL INNOVATIONS INC            BENEFICIAL INNOVATIONS INC                    BENEFICIAL INNOVATIONS INC
PARKER BUNT & AINSWORTH PC            BROWN MCCARROLL LLP                           JONES & JONES INC PC
CHARLES AINSWORTH/ROBERT C BUNT       S CALVIN CAPSHAW/ELIZABETH L DERIEUX          FRANKLIN JONES, JR
100 E FERGUSON SUITE 1114             1127 JUDSON RD, SUITE 220                     201 W HOUSTON ST, PO DRAWER 1249
TYLER TX 75702                        LONGVIEW TX 75601                             MARSHALL TX 75670


BENENATI, ANTHONY                     BENET OLIN                                    BENFORD, BRIAN
95 ENGELKE ST                         6683 NW 81ST COURT                            39 163RD PLACE
PATCHOGUE NY 11772                    PARKLAND FL 33067                             CALUMET CITY IL 60409




BENGTSON, CHRISTINE M                 BENISON, BRIAN JAMES                          BENITA LANIER
74 PLAZA DR                           8107 ROLLING KNOLL CT                         3437 W. 84TH PLACE
MIDDLETOWN CT 06457                   SPRINGFIELD VA 22153                          CHICAGO IL 60652




BENITO MARTINEZ                       BENITO VALENTIN                               BENJAMIN ANYENE
4937 W MONTANA                        1471 W SUPERIOR                               189 SHERMAN STREET
CHICAGO IL 60639                      CHICAGO IL 60622                              BRENTWOOD NY 11717




                                             Page 199 of 2387
                         Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 200 of 800
BENJAMIN BILLINGS                     BENJAMIN CANNON                               BENJAMIN CARAVEO
9201 EAST MISSISSIPPI AVENUE          177 NORTH ARIZONA ROAD                        14227 ANADA STREET
F202                                  WEST BABYLON NY 11704                         BALDWIN PARK CA 91706
DENVER CO 80247



BENJAMIN CHERNIVSKY PHOTOGRAPHY       BENJAMIN CLARK                                BENJAMIN COHEN
4349 DOWNERS DRIVE                    1411 W. FAREWELL AVENUE                       201 WEST 85TH STREET
DOWNERS GROVE IL 60515                M-1                                           #7D
                                      CHICAGO IL 60626                              NEW YORK NY 10024



BENJAMIN COSTA                        BENJAMIN CRANDELL                             BENJAMIN DEMERS
936 20TH AVENUE                       436 NE 9 AVE                                  307 1/2 SIMMONS AVE
SEATTLE WA 98122                      FORT LAUDERDALE FL 33301                      MONTEBELLO CA 90640




BENJAMIN F OLIVA                      BENJAMIN GOODMAN                              BENJAMIN GORMAN
3814 N. HOYNE                         3560 W PALMER ST                              4244 ILLINOIS AVENUE
CHICAGO IL 60618                      UNIT # 3D                                     KENNER LA 70065
                                      CHICAGO IL 60647



BENJAMIN HERNANDEZ                    BENJAMIN HOMEL                                BENJAMIN JAMES
6260 108TH ST                         1717 DIXIE HIGHWAY                            2914 JEFFERSON ROAD
APT 6A                                FT WRIGHT KY 41011                            SPRING GROVE PA 17362
FOREST HILLS NY 11375



BENJAMIN JOHN TANASYCHUK              BENJAMIN LAPHAM                               BENJAMIN MANOS
18480 NE 23RD COURT                   80 SHERMAN AVENUE                             605 YARMOUTH LANE
NORTH MIAMI BEACH FL 33160            GLENS FALLS NY 12801                          BEL AIR MD 21014




BENJAMIN MORRISON                     BENJAMIN MULLEN                               BENJAMIN ORMSBY
3000 POTTSTOWN PIKE                   253 W. PALMETTO AVE.                          8574 MONTPELIER WAY
SPRING CITY PA 19475                  LONGWOOD FL 32750                             SACRAMENTO CA 95823




BENJAMIN PILLOW                       BENJAMIN PRITCHETT                            BENJAMIN REED
5969 PIMLICO ROAD                     900 GROVE AVENUE                              202 W. 1ST ST
BALTIMORE MD 21209                    BALTIMORE MD 21222                            LOS ANGELES CA 90012




BENJAMIN REESE                        BENJAMIN ROMERO                               BENJAMIN ROSS
415 ST ANDREWS LANE                   1572 WEST ADAMS BLVD                          9345 AVERS AVENUE
HARLEYSVILLE PA 19438                 LOS ANGELES CA 90007                          EVANSTON IL 60203




BENJAMIN ROYSDON                      BENJAMIN SHOOT                                BENJAMIN SLIVNICK
421 2ND AVENUE                        1330 N GREENVIEW AVE                          436 SWAN COURT
BETHLEHEM PA 18018                    APT # 3                                       DEERFIELD IL 60015
                                      CHICAGO IL 60622




                                             Page 200 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 201 of 800
BENJAMIN UTICONE                       BENJAMIN WARNTZ                               BENJAMIN WELLER
10 ADIRONDACK CIRCLE                   210 OAK MANOR DRIVE                           17 BROOKSIDE DR
10G                                    YORK PA 17402                                 HUNTINGTON NY 11743
GANSEVORT NY 12831



BENJAMIN WELSH                         BENJAMIN WHITNEY                              BENJAMIN WOLFSON
108 W. 2ND ST. #803                    117-01 PARK LANE SOUTH                        2337 1/2 GENEVA TERRACE
LOS ANGELES CA 90012                   C6B                                           CHICAGO IL 60614
                                       KEW GARDENS NY 11418



BENJAMIN ZACHARIAH                     BENJAMIN ZYCHER ECONOMICS ASSOCIATES          BENJAMIN, GONY
6617 ORANGE STREET                     30141 AGOURA ROAD SUITE 106                   3116 MERRICK TER
APT #202                               AGOURA HILLS CA 91301-4332                    MARGATE FL 33063
LOS ANGELES CA 90048



BENJAMIN, LEVY                         BENJAMIN, PRINCE                              BENJAMIN, VINCENT JASON
7740 NW 47 CT.                         22551 SW 65TH AVE                             6755 SW 4TH ST
LAUDERHILL FL 33351                    BOCA RATON FL 33428                           MARGATE FL 33068




BENJAMIN, WILSON ALBERT                BENJIL ROBINSON                               BENNER, GERALD L
21 ABERDEEN ST                         4455 S. SHIELDS                               6667 LEAH DR
STAMFORD CT 06902                      CHICAGO IL 60609                              SLATINGTON PA 18080




BENNER, HAROLD JR                      BENNER, MARISSA                               BENNET PRODUCTIONS INC.
523 W BROAD ST                         2728 SAINT PAUL ST APT 2                      2032 ARMACOST AVENUE
QUAKERTOWN PA 18951                    BALTIMORE MD 21218                            LOS ANGELES CA 90025




BENNETT DOWNS                          BENNETT KUHN VARNER INC                       BENNETT KUHN VARNER INC
531 WRIGHTS LANE                       2964 PEACHTREE RD STE 700                     BUCKHEAD CENTRE
BALTIMORE MD 21221                     ATLANTA GA 30305                              2964 PEACHTREE RD STE 700
                                                                                     ATLANTA GA 30305



BENNETT, ALLEGRA                       BENNETT, BEVERLY A                            BENNETT, CONRADO
1101 ST PAUL STREET APT 2002           1229 RIDGE AVE                                131 WADHAMS RD
BALTIMORE MD 21202                     EVANSTON IL 60202                             BLOOMFIELD CT 06002




BENNETT, DAVID A                       BENNETT, HAZEL                                BENNETT, JUSTIN
20 LAWTON AVENUE                       156 HOLLISTER ST                              3841 KNICKERBOCKER PL APT 1C
NEWINGTON CT 06111                     MANCHESTER CT 06040                           INDIANAPOLIS IN 46240




BENNETT, KATHLEEN ELIZABETH            BENNETT, KENNETH                              BENNETT, KRISTA
1018 HAZEL LANE                        24 E 13TH ST                                  26 OVERLOOK DRIVE
BEL AIR MD 21014                       NORTHAMPTON PA 18067                          HUNTINGTON NY 11743




                                              Page 201 of 2387
                         Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 202 of 800
BENNETT, LAVETTA                      BENNETT, PETER                                BENNETT, RASHANE
1030 S.W. 76TH AVENUE                 3524 WEST 225TH ST                            8801 NW 48TH ST
N. LAUDERDALE FL 33068                TORRANCE CA 90505                             SUNRISE FL 33351




BENNETT, ROBERT                       BENNETT, TODD HAMILTON                        BENNETTS, LESLIE
2130 N RACINE                         375 OAKLAND AVE SE                            420 RIVERSIDE DRIVE NO.11B
CHICAGO IL 60614                      ATLANTA GA 30312                              NEW YORK NY 10025




BENNICOFF, HEATHER L                  BENNICOFF, MARTIN                             BENNING, JAMES M
203 E PENNSYLANIA AVE                 7748 GUN CLUB RD                              3476 TRUMBULL ST
PEN ARGYL PA 18072                    NEW TRIPOLI PA 18066                          SAN DIEGO CA 92106




BENNIS, BARBARA                       BENNY MURIETTA                                BENNY STEWART
98 COLUMBIA RD                        17423 VINE STREET                             6806 S. JEFFREY BLVD
ENFIELD CT 06082                      FONTANA CA 92335                              UNIT 2G
                                                                                    CHICAGO IL 60649



BENOIT, BRAD                          BENOIT, DANIEL                                BENSIN CONTRACTING INC
1604 SW 14TH ST                       3921 CRYSTAL LAKES DRIVE NO.421               PO BOX 388
FT LAUDERDALE FL 33312                DEERFIELD BEACH FL 33441                      652 UNION AVE
                                                                                    HOLTZVILLE NY 11742



BENSMAN, JULIE                        BENSON DISTRIBUTION INC                       BENSON, CHRISTOPHER D
1102 W WEBSTER AVE APT NO.3           3605 S BURDICK                                5201 S CORNELL AVE NO.22E
CHICAGO IL 60614                      BLDG 2                                        CHICAGO IL 60615
                                      KALAMAZOO MI 49001



BENSON, JEAN                          BENSON, KELLY F                               BENSON, KYLE
773 RICH DR TIVOLI TERR APTNO. 105    1177 BRAMPTON PLACE                           242 NAUTILUS DR APT 312
DEERFIELD BEACH FL 33441              HEATHROW FL 32746                             NEW LONDON CT 06320




BENSON, RITA ZANELLA                  BENSON, SARA JENNIFER                         BENSON, TANYA
207 NORTH DIANTHUS ST                 381 MINDORO ST                                2327 TERREBONNE AVE
MANHATTAN BEACH CA 90266              MORRO BAY CA 93442                            SAN DIMAS CA 91773




BENSON, TESSA                         BENSUSSEN DEUTSCH & ASSOCIATES INC            BENSUSSEN DEUTSCH & ASSOCIATES INC
8156 W 4TH ST                         15525 WOODINVILLE REDMOND RD NE               DEPT NO.119
LOS ANGELES CA 90048                  WOODINVILLE WA 98072                          PO BOX 34935
                                                                                    SEATTLE WA 98124-1935



BENT, SYMONE                          BENTLEY BOYD                                  BENTLEY COLLEGE DESIGN AND
3150 NW 39TH STREET                   206 JOHN WYTHE PL                             USABILITY CENTER
LAUDERDALE LAKES FL 33309             WILLIAMSBURG VA 23185                         175 FOREST ST    SMITH 121
                                                                                    WALTHAM MA 02452




                                             Page 202 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 203 of 800
BENTLEY, ARTHUR H                      BENTLEY, KATRINA                              BENTON JAMES HOPKINS
3025 CLOUDCREST RD.                    3175 SW 52ND AVENUE                           2212 NICE AVENUE
LA CRESCENTA CA 91214                  HOLLYWOOD FL 33023                            MENTONE CA 92359




BENTON, CHANEL                         BENTON, JOSEPH                                BENTON, TAMIKA
2137 NW 27TH LANE                      6124 STONEHAM LANE                            7900 LINDBERGH BLVD APT 3005
FT. LAUDERDALE FL 33311                MCLEAN VA 22101                               PHILADELPHIA PA 19153




BENTZ, STEPHEN F                       BERDAN, MARSHALL S                            BERENA OSPINO
7271 BRYDON ROAD                       2015 MAIN ST                                  39 ASH STREET
LA VERNE CA 91750                      GLASTONBURY CT 06033                          CENTRAL ISLIP NY 11722




BERES, GILBERT L                       BERES, LOUIS RENE                             BEREZA, DAVID
755 CIMARRON DRIVE                     3520 CHANCELLOR WAY                           49 WOODHAVEN DR
CAROL STREAM IL 60188                  WEST LAFAYETTE IN 47906                       BURLINGTON CT 06013




BERG, A SCOTT                          BERG, A SCOTT                                 BERG, JEFFREY
8649 METZ PLACE                        8649 METZ PLACE                               1076 CORSICA DR
LOS ANGELES CA 90026                   LOS ANGELES CA 90069                          PACIFIC PALISADES CA 90272




BERG, JEFFREY S.                       BERG, KIMBERLY                                BERG, SEAN
1076 CORSICA DRIVE                     3646 MENTONE AVE NO.7                         325 WALNUT ST
PACIFIC PALISADES CA 90272             LOS ANGELES CA 90034                          CASTASQUA PA 18032




BERG, STEPHEN                          BERGALOWSKI, EDWARD                           BERGE FORD
3340 S FRONT ST                        103 N. EARLTON RD. EXT.                       460 E AUTO CENTER DRIVE
WHITEHALL PA 18052                     HAVRE DE GRACE MD 21078                       MESA AZ 85204




BERGEN PARK PLACE, LLC                 BERGEN, PETER                                 BERGER CHEVROLET
RE: SPRINGFIELD 2935 E. CLEAR          1501 R STREET NW                              2525 28TH ST
2130 CLEAR LAKE AVENUE                 WASHINGTON DC 20009                           GRAND RAPIDS MI 49512
SPRINGFIELD IL 62703



BERGER, ANTHONY                        BERGER, ERIC                                  BERGER, JAMIE T
315 S MAIN ST                          3000 GEORGIAN COURT                           112 L STREET APT D
QUAKERTOWN PA 18951                    LINCOLN NE 68502                              TURNERS FALLS MA 01376




BERGER, JOHN E                         BERGER, JONATHAN                              BERGER, PHILIP
2358 CENTER STONE LANE                 145 NORTH 9TH STREET APT 2R                   3506 N JANSSEN AVE
RIVIERA BEACH FL 33404                 BROOKLYN NY 11211                             CHICAGO IL 60657




                                              Page 203 of 2387
                         Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 204 of 800
BERGEROL, LAURA J                     BERGERSEN, PAGE                               BERGIN, MARY
4140 ABEL AVENUE                      187 SOUTH LINCOLN                             3038 IRVING WAY
PALO ALTO CA 94306                    ORANGE CA 92866                               MADISON WI 53713




BERGIN, MARY                          BERGIN, MARY                                  BERGIN, SCOTT J
3038 IRVINGTON WAY                    PO BOX 259623                                 2031 SANTA ANTILLES RD
MADISON WI 53713                      MADISON WI 53725                              ORLANDO FL 32806




BERGMAN, JASON                        BERGMANN, HORST A.                            BERICK, MICHAEL
70 FAIRVIEW AVE                       4261 PRESERVE PARKWAY SOUTH                   1023 S HAYWORTH AVE
WEST ORANGE NJ 07052                  GREENWOOD VILLAGE CO 80121                    LOS ANGELES CA 90035




BERIT FREDRICKSON                     BERK, JOSHUA                                  BERKEY, CHRISTOPHER J
818 NE 92ND STREET                    2247 PIRMA AVE                                PHOTOJOURNALIST
SEATTLE WA 98115                      ALLENTOWN PA 18104                            1507 FERGUSON AVENUE
                                                                                    NASHVILLE TN 37212



BERKOWITZ, MICHAEL J                  BERKOWITZ, ROBIN A                            BERKSCHE, RACHEL
8308 BUTTERFIELD LN                   30411 MIDDLECREEK CIRCLE                      2100 N RACINE AVE APT 1C
BOCA RATON FL 33433                   DAPHNE AL 36527                               CHICAGO IL 60614




BERKSHIRE WESTWOOD GRAPHICS GROUP     BERKSHIRE WESTWOOD GRAPHICS GROUP             BERKSHIRE WESTWOOD GRAPHICS GROUP
1271 COLUMBIA AVE UNIT F-7            702 NE 1ST AVENUE                             20 HADLEY MILLS ROAD
RIVERSIDE CA 92507                    ATTN: ORDER                                   HOLYOKE MA 01041-1399
                                      FORT LAUDERDALE FL 33304



BERKSHIRE WESTWOOD GRAPHICS GROUP     BERKSHIRE, DENISE                             BERKSHIRE, GEOFFREY
P O BOX 1399                          359 S BURNSIDE AVE                            359 S BURNSIDE AVE
HOLYOKE MA 01041-1399                 LOS ANGELES CA 90036                          LOS ANGELES CA 90036




BERLAMINO, BETTY ELLEN                BERLET, BRUCE E                               BERLIN FAIR AGRICULTURAL ASSOC
87 JOYCE ROAD                         202 CARRIAGE DRIVE                            PO BOX 7284
TENAFLY NJ 07670                      GLASTONBURY CT 06033                          BERLIN CT 06037




BERLINDA PATTERSON                    BERLINICKE, JEFF                              BERLINSKI, CLAIRE
1925 OAKHILL AVENUE                   11258 WINDSOR PLACE CIRCLE                    54 KUMRULU SOKAK
BALTIMORE MD 21218                    TAMPA FL 33626                                ISTANBUL




BERLINSKI, CLAIRE                     BERLYN INC                                    BERMAN LIMITED PARTNERSHIP
C/O T SAKS                            T/A THE PRINCE GEORGES SENTINEL               P O BOX 645
2412 40TH AVENUE EAST                 9458 LANHAM SEVERN RD                         WILTON CT 06897
SEATTLE WA 98112                      SEABROOK MD 20706




                                             Page 204 of 2387
                         Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 205 of 800
BERMAN, DALE                          BERMAN, DONNA                                 BERMAN, JENIFER
817 NORTH ROSE STREET                 36 DUNCASTER RD                               226 LINCOLN ROAD
BURBANK CA 91505                      BLOOMFIELD CT 06002                           BROOKLYN NY 11225




BERMAN, JOEL                          BERMAN, JUDITH                                BERMAN, MARC
1429 EL BOSQUE COURT                  501 NORTH CALVERT                             3595 BUNKER AVE
PACIFIC PALISADES CA 90272            BALTIMORE MD 21278                            WANTAGH NY 11793




BERMAN, SHE'BRE                       BERMUDES, YONDY L                             BERMUDEZ, ALLYNE
1529 LOCOMOTIVE DR NE                 6091 SW 64 TERRACE                            520 LOCK ROAD APT 29
CONYERS GA 30013                      MIAMI FL 33143                                DEERFIELD BEACH FL 33442




BERMUDEZ, DARIO                       BERMUDEZ, ERIC R                              BERMUDEZ, EUMIR
142 GEORGE ST                         36 EAST DR                                    37-09 75TH ST  APT 40
MIDDLETOWN CT 06457                   NORTHLAKE IL 60164                            JACKSON HEIGHTS NY 11372




BERMUDEZ,CLARITZA                     BERMUDEZ-DIAZ, RAFAEL A                       BERNACCHI, CHRIS
73 FARMINGTON AVE                     73 FARMINGTON AVE NO.1                        1579 N MILWAUKEE AVE STUDIO 225
NEW BRITAIN CT 06053                  NEW BRITAIN CT 06053                          CHICAGO IL 60622




BERNADETTE BOSWELL                    BERNADETTE GAMBOA                             BERNADETTE HERIVAUX
146 WEST GRAHAM AVENUE                1875 FLORIDA CLUB DRIVE                       1321 DINSMORE AVENUE
HEMPSTEAD NY 11550                    # 7107                                        FAR ROCKAWAY NY 11691
                                      NAPLES FL 34112



BERNADETTE MURRAY                     BERNADETTE POTTERTON                          BERNADETTE SUAREZ
255 BELMONT AVENUE                    74 BAILEY ROAD                                P.O. BOX 771541
WEST BABYLON NY 11704                 ANDOVER CT 06232-1005                         ORLANDO FL 32877-1541




BERNADETTE WARD                       BERNADETTE WHEELER                            BERNADINE MANCUSO
724 EAST 27 STREET                    600 PINE HOLLOW ROAD                          2783 SOUTH URAVAN STREET
6M                                    21-6A                                         AURORA CO 80013
BROOKLYN NY 11210                     EAST NORWICH NY 11732



BERNADINE MUKES                       BERNADINE STEVENSON                           BERNAL, ANDRE
409 WEST 65TH PLACE                   1111 S. LAFLIN                                1616 CALLE LOS BOLAS SUITE A
2W                                    224                                           SAN CLEMENTE CA 92672
CHICAGO IL 60621                      CHICAGO IL 60607



BERNAL, DOUGLAS J                     BERNAL, JOSHUA VASQUEZ                        BERNAL,YANETH
1922 FOXGLOVE CIRCLE                  414 W CHESTNUT AVE                            83-11 NW 25 STREET
BELLPORT NY 11713                     SANTA ANA CA 92701                            SUNRISE FL 33322




                                             Page 205 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 206 of 800
BERNARD BEIRNE                         BERNARD COBEL                                 BERNARD DAVIDOW
15 MIRROR LANE                         2044 W SUPERIOR                               104 MAPLE ROAD
APT. 4                                 CHICAGO IL 60612                              LONGMEADOW MA 01106
MORICHES NY 11955



BERNARD FLANIGAN                       BERNARD GULLOTTA                              BERNARD HARRIS
7918 ST CLAIR AVENUE                   701 THOMPSON STREET                           514 WEST HYDE PARK BOULEVARD
NORTH HOLLYWOOD CA 91605               GLASTONBURY CT 06033                          APT#4
                                                                                     INGLEWOOD CA 90302



BERNARD HASKE                          BERNARD HELLER                                BERNARD JONES
320 CONCERT WAY                        14 SAYRE COURT                                11730 S MORGAN
BALTIMORE MD 21228                     MADISON NJ 07940                              CHICAGO IL 60643




BERNARD KILLINGBECK                    BERNARD KOHN                                  BERNARD L HEISEN
40 MAINE AVENUE                        12290 GREEN MEADOW DRIVE                      4173 W BELMONT
ROCKVILLE CENTRE NY 11570              APT 204                                       CHICAGO IL 60641
                                       COLUMBIA MD 21044



BERNARD M WALSH                        BERNARD MESSINGER                             BERNARD NACHIMSON
4104 CHARDEL ROAD                      11427 PORTER RANCH DR                         14191 CAMPANELLI DRIVE
UNIT E                                 APT 128                                       DELRAY BEACH FL 33484
BALTIMORE MD 21236-5446                NORTH RIDGE CA 91326



BERNARD PORTERFIELD                    BERNARD STAIB                                 BERNARD STEADMAN
26814 N. ISABELLA PKWY                 11 HUNTER LANE                                16055 S. 84TH PLACE
102                                    LEVITTOWN NY 11756                            TINLEY PARK IL 60477
CANYON COUNTRY CA 91351



BERNARD VANBUSKIRK                     BERNARD WINSTANLEY                            BERNARD ZELL ANSHE EMET DAY SCHOOL
56 LEDGE DRIVE                         3 DOVER COURT                                 3751 N BROADWAY
BERLIN CT 06037                        CORNWALL NY 12518                             CHICAGO IL 60613




BERNARD ZELL ANSHE EMET DAY SCHOOL     BERNARD, ADAM                                 BERNARD, EMMANUEL
SCHOOL                                 1000 KNAPPS HWAY UNIT 22                      674 NW 177TH STREET APT 115
3760 N. PINE GROVE                     FAIRFIELD CT 06825                            MIAMI GARDENS FL 33169
CHICAGO IL 60613



BERNARD, TINA                          BERNARDINO AYALA                              BERNARDINO JORNACION
4343 CEDAR LAKE CV                     68 PEZZENTE LANE                              3643 COTTONWOOD CIRCLE
CONLEY GA 30288                        EAST HARTFORD CT 06108                        WEST COVINA CA 91792




BERNARDO AGUIRRE                       BERNARDO BRITO                                BERNARDO MANTILLA
9622 PENFIELD AVENUE                   5190 ANDOVER STREET                           21 CAMBRIDGE AVENUE
CHATSWORTH CA 91311                    COCOA FL 32927                                BETHPAGE NY 11714




                                              Page 206 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 207 of 800
BERNARDO OROSCO                        BERNARDO RIVERA                               BERNARDO SAENZ
2502 WEST CASTOR STREET                5810 S. CLAREMONT                             3867 TURTLE RUN BLVD
SANTA ANA CA 92704                     CHICAGO IL 60636                              APT 2331
                                                                                     CORAL SPRINGS FL 33067



BERNARDO, JOHN                         BERNARDO, MARIA                               BERNARDONI, BRIAN A
854 NW 87TH AVE NO. 404                75 CUMBERLAND RD                              1430 W FLOURNOY NO.2
MIAMI FL 33172                         WEST HARTFORD CT 06119-2102                   CHICAGO IL 60607




BERNELL HOLLIS                         BERNFIELD, JORDAN D                           BERNHART, CRAIG
2973 SANTOS LANE                       75 BENT CREEK RIDGE                           1144 HIGHLAND AVE
APT. #304                              DEERFIELD IL 60015                            BETHLEHEM PA 18018
WALNUT CREEK CA 94597



BERNICE CHAO                           BERNICE HAWKINS                               BERNICE JAMES - TAX COLLECTOR
8207 KEDVALE                           17 LAKEWOOD AVE                               COUNTY OF SANTA BARBARA
SKOKIE IL 60076                        ROOSEVELT NY 11575                            P O BOX 579
                                                                                     SANTA BARBARA CA 93102



BERNICE JAMES - TAX COLLECTOR          BERNICE JONES                                 BERNICE MOMOH
TAX COLLECTOR P O BOX 579              323 OLIVER WAY                                3201 DEERPATH LANE
SANTA BARBARA CA 93102                 BLOOMFIELD CT 06002                           SO. CHICAGO HEIGHTS IL 60411




BERNICE YOUNG                          BERNIE B NUNEZ                                BERNIE COHEN
17791 HARVARD                          14230 FLATHEAD RD.                            15456 PEMBRIDGE DRIVE #203
COUNTRY CLUB HILLS IL 60478            APPLE VALLEY CA 92307                         DELRAY BEACH FL 33484




BERNIE HENDRIX                         BERNIER, EVELYN                               BERNIER, PAUL J
3721 WEST 52ND STREET                  166 OLD HARTFORD RD                           10540 DIAMANTE WAY
LOS ANGELES CA 90043-1726              AMSTON CT 06231                               FT MYERS FL 33913




BERNINA HARRIS                         BERNSTEIN & ANDRIULLI INC                     BERNSTEIN & ANDRIULLI INC
3831 W FILLMORE                        58 W 40 ST 6TH FL                             58 WEST 40TH ST
APT. #2                                NEW YORK NY 10018                             NEW YORK NY 10018
CHICAGO IL 60624



BERNSTEIN, CORINNE E                   BERNSTEIN, JASON                              BERNSTEIN, JOANIE
98-40 64TH AVE NO.5H                   603 N RODEO DR                                ARTISTS REPRESENTATIVE
REGO PARK NY 11374                     BEVERLY HILLS CA 90210                        756 8 AVENUE SOUTH
                                                                                     NAPLES FL 34102



BERNSTEIN, JOSHUA M                    BERNSTEIN, LEIGHANNE                          BERNSTEIN, STUART
562 PARK PLACE 3                       73 PARK AVE 1ST FLOOR                         REPRESENTATION FOR ARTIST
BROOKLYN NY 11238                      ENFIELD CT 06082                              63 CARMINE ST NO.3D
                                                                                     NEW YORK NY 10014




                                              Page 207 of 2387
                        Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 208 of 800
BERNZWEIG, MARVIN                    BERNZWEIG, MARVIN                             BERRA, LINDSAY
11 SADDLER COURT                     11 SADDLER CT                                 286 PARK ST
HUNTINGTON NY 11746                  NORTHPORT NY 11768                            UPPER MONTCLAIR NJ 07043




BERRILL, VERONICA                    BERRINCHA, MARIA TERESA                       BERRIOS, WANDA
14 WHITE PINE DRIVE                  60 WESTPHAL ST                                142 PRESTON ST
BROOKFIELD CT 06804                  WEST HARTFORD CT 06110                        HARTFORD CT 06114




BERRY TILLAGE                        BERRY, BARBARA                                BERRY, JASON
4049 AGNES                           4720 W ATLANTIC BLVD NO.304                   7901 BELFAST STREET
LYNWOOD CA 90262                     COCONUT CREEK FL 33063                        NEW ORLEANS LA 70125




BERRY, KELLY                         BERRY, KELLY                                  BERRY, LACIE D
1617 S MICHIGAN AVENUE APT 205       5010 READY AVE                                8131 S PERRY
CHICAGO IL 60616                     BALTIMORE MD 21212                            CHICAGO IL 60620




BERRY, MARKISHA                      BERRY, MAX                                    BERRY, MAX
279 CHAPPELL AVE                     1601 SW 46TH TERRACE APT 2722                 1715 SW 46TH TERRACE APT 2722
CALUMET CITY IL 60649                GAINESVILLE FL 32607                          GAINESVILLE FL 32607




BERRY, SHANNON                       BERRY, WARREN                                 BERRY,DEBORAH GEIGIS
49 LITCHFIELD ST                     105 EATONS NECK RD                            23 DEWEY AVE
HARTFORD CT 06112                    NORTHPORT NY 11768                            WINDSOR CT 06095




BERRY-MILLER, TAMARA                 BERSANI, JESSICA                              BERSHARD ROSS
279 CHAPPEL AVE                      440 FORD LN                                   2 BAINBRIDGE STREET
CALUMET CITY IL 60409                BARTLETT IL 60103                             ROOSEVELT NY 11575




BERT HARRIS                          BERT SANTANA                                  BERTA MELARA
856 ASTER AVENUE                     231 SOUTH DUNTON AVENUE                       1908 GARDENA AVE. APT. 6
PALATINE IL 60074                    EAST PATCHOGUE NY 11772                       GLENDALE CA 91204




BERTANZA, BRIAN                      BERTHA AGUILAR                                BERTHA FLORES
238 RIVER RD                         519 N. CHESTER AVE.                           7310 ANDRESS COURT
SHELTON CT 06484                     APT. # 1                                      FONTANA CA 92336
                                     PASADENA CA 91106



BERTHA HUIZAR                        BERTHA KOOS                                   BERTHA MORENO
4504 CLAYTON RD.                     3636 TONOPAH STREET                           435 N. MICHIGAN AVE
HILLSIDE IL 60162                    SEAFORD NY 11783                              SUITE 952
                                                                                   CHICAGO IL 60611




                                            Page 208 of 2387
                           Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 209 of 800
BERTHA REYES                            BERTHA SALAS                                  BERTHA SANCHEZ
883 W. 11TH ST.                         2714 WESTBROOK                                5015 MONTE VISTA APT.#302
APT. # 1                                FRANKLIN PARK IL 60131                        LOS ANGELES CA 90042
AZUSA CA 91702



BERTHA VIZCAINO                         BERTHO JEANTY                                 BERTHOLD, JESSICA
P.O. BOX 50785                          420 ENFIELD TER                               1153 S CLARION ST
CICERO IL 60804                         DELRAY BEACH FL 33444                         PHILADELPHIA PA 19147




BERTHONY PIERRE                         BERTOLUCCIS BODY AND FENDER SHOP INC          BERTRAM, CYNTHIA L
4450 NW 61ST STREET                     1717 STOCKTON BLVD                            1127 11TH ST NO.104
FORT LAUDERDALE FL 33319                SACRAMENTO CA 95816                           SANTA MONICA CA 90403




BERTRAM, HOLLIE                         BERTRAND NARDIN                               BERTSCH, JOYCE D
70 STRAWBERRY HILL AVE     APT 5-3B     67 WILSON AVENUE                              2119 CROSSMAN DR
STAMFORD CT 06902                       VALHALLA NY 10595                             INDIANAPOLIS IN 46227




BERTUCCELLI, JEAN A                     BERYL WILLIAMS                                BESACK, MIKE
123 STONE BRIDGE SQ                     454 SWAIM LANE                                5911 AMBERDALE DR
CHAPPAQUA NY 10514                      BERKELEY SPRINGS WV 25411                     YORBA LINDA CA 92886




BESHANDA SPENCER                        BESLEY, LISA                                  BESNILIAN, HRACH
1522 N. LINDER                          164 SW 83RD WAY                               5851 FRIENDS AVE.
CHICAGO IL 60651                        PEMBROKE PINES FL 33025                       WHITTIER CA 90601




BESSARD, EDLINE                         BESSARD, JACQUELIN                            BESSARD, PEDRO
2460 NW 63 AVE                          570 NE 113TH STREET NO.1                      725 NE 86TH STREET
SUNRISE FL 33313                        MIAMI FL 33168                                MIAMI FL 33138




BESSE, JOHN                             BESSEL, LAWRENCE                              BESSIE CHAPMAN
610 MOULTON AVE                         788 PEPPERMINT WAY                            10665 EUREKA STREET
LOS ANGELES CA 90031                    PRESCOTT AZ 86305                             BOCA RATON FL 33428




BESSIE KEYES                            BEST ACCESS SYSTEMS                           BEST ACCESS SYSTEMS
486 SHENANDOAH STREET                   7076 S ALTON WAY                              22078 NETWORK PL
THOUSAND OAKS CA 91360                  BLDG D                                        CHICAGO IL 60673-1220
                                        ENGLEWOOD CO 80112



BEST DIGITAL COMMUNICATIONS LLC         BEST EVENTS                                   BEST FRIENDS ANIMAL SOCIETY
4114 NW 88TH AVE APT 203                314 N VISTA                                   5001 ANGEL CANYON RD
CORAL SPRINGS FL 33065                  LOS ANGELES CA 90036                          KANAB UT 84741




                                               Page 209 of 2387
                         Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 210 of 800
BEST JR, ROBERT S                     BEST LAMINATING INC                           BEST WESTERN DOBSON RANCH INN
882 GARDEN STREET                     2033 W MCNAB ROAD S-4                         1666 S DOBSON ROAD
HARTFORD CT 06112                     POMPANO BEACH FL 33069                        MESA AZ 85202




BEST WESTERN MEZONA INN               BEST WESTERN NORTHAMPTON                      BEST, PETE
250 W MAIN STREET                     117 CONZ ST                                   7520 N OZARK AVE
MESA AZ 85201                         NORTHAMPTON MA 01060                          CHICAGO IL 60631




BEST-YOUNG, ERIA                      BESTEMAN, JACKIE                              BET, VICTOR
25 RICHMOND CRESCENT                  279 LISGAR ST                                 3175 W 5TH AVE
WINDSOR CT 06095                      TORONTO ON M6J 3H1                            WHITEHALL PA 18052




BETA BREAKERS                         BETA ELECTRICAL TESTING & ANALYSIS INC        BETA ELECTRICAL TESTING & ANALYSIS INC
7665 REDWOOD BLVD SUITE 100           PO BOX 1615                                   PO BOX 3098
NOVATO CA 94945                       BOLINGBROOK IL 60440-1615                     LISLE IL 60532




BETA FILM                             BETA RESEARCH CORPORATION                     BETANCOURT, CARLOS
INTERNATIONAL TRADING CORP.           6400 JERICHO TURNPIKE STE 101                 63 NW 51 AVE
919 THIRD AVENUE - 17TH FL.           PO BOX 9018                                   MIAMI FL 33126
NEW YORK NY 10022                     SYOSSET NY 11791



BETANCOURT, ORLANDO                   BETANCOURT,ARMANDO,J                          BETH ALLAN-BENTLEY
9512 VERONA LAKES BLVD                4008 NW 88TH AVE # 2F                         2493 EAST POWELL ROAD
BOYNTON BEACH FL 33472                SUNRISE FL 33351                              PALM SPRINGS CA 92262




BETH ANN NOLAN                        BETH BELL                                     BETH BENSON
2 LINCOLN STREET                      251 CHARLES AVE SE APT 2                      1918 EMERALD ST APT #214
HUDSON FALLS NY 12839                 GRAND RAPIDS MI 49503                         SAN DIEGO CA 92109




BETH CARPENTER                        BETH COLEMAN                                  BETH DEDECKER
1112 WINEBERRY CT                     54 WATERHOLE ROAD                             3446 SOHO STREET
OCOEE FL 34761                        COLCHESTER CT 06415                           #308
                                                                                    ORLANDO FL 32835



BETH DITMAN                           BETH FINKE INC                                BETH FULKERSON
12129 SUNLIT WATER WAY                600 S DEARBORN      APT 711                   930 LAKE AVENUE
CLARKSVILLE MD 21029                  CHICAGO IL 60605                              WILMETTE IL 60091




BETH HUDSON                           BETH LOWELL                                   BETH MARINO
303 HILL ROAD                         1015 LAKE HIGHLAND DR.                        4453 N. LEAVITT ST.
WHITEHALL PA 18052                    ORLANDO FL 32803                              APT. #1
                                                                                    CHICAGO IL 60625




                                             Page 210 of 2387
                         Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 211 of 800
BETH MARX                             BETH MILNES                                   BETH RUBIN
2756 POPLAR LANE                      331 LATTINGTOWN RD                            1423 WILSON ROAD
ANNAPOLIS MD 21401                    LOCUST VALLEY NY 11560                        EAST MEADOW NY 11554




BETH SCHMIDT                          BETH SCOTT                                    BETH SHUSTER
353 COOKE STREET                      21 CALE CIR                                   12930 GREENLEAF STREET
ABERDEEN MD 21001                     NEWPORT NEWS VA 23606                         STUDIO CITY CA 91604




BETH STILLER                          BETH SWAINE                                   BETH SWIERK
8636 EDWIN DRIVE                      92 PROSPECT STREET                            1513 W. GRACE
LOS ANGELES CA 90046                  BABYLON NY 11702                              CHICAGO IL 60613




BETH TALBERT                          BETH WECKERLE                                 BETH WHITEHOUSE
10001 REEVESBURY DRIVE                124 HILARY STREET                             16 HIGHRIDGE DR
BEVERLY HILLS CA 90210                WEST SAYVILLE NY 11796                        HUNTINGTON NY 11743




BETH ZEDECK                           BETH-ANNE GREFE                               BETHANNE SMITH
6330 NW 80 DR                         319 EAST BROADWAY                             5974 MINERAL HILL RD.
PARKLAND FL 33067                     B3                                            ELDERSBURG MD 21784
                                      LONG BEACH NY 11561



BETHANY CROUCH                        BETHANY KNIGHT                                BETHANY KOVACH
2512 L STREET #7                      1753 DESTINY BLVD                             3215 NORTH DAYTON STREET
SACRAMENTO CA 95816                   #305                                          FLOOR 2
                                      KISSIMMEE FL 34741                            CHICAGO IL 60657



BETHANY NOWAK                         BETHEA, DORINE                                BETHEL (JIMMY) BECK
80 DAMON ROAD                         155 MCADOO AVE                                2844 NW 90TH PLACE
APT. 1303                             JERSEY CITY NJ 07305                          SEATTLE WA 98117
NORTHAMPTON MA 01060



BETHEL AFRICAN METHODIST EPISCOPE     BETHEL APOSTLIC CHURCH                        BETHKE, DONNA
1300 DRUID HILL AVENUE                21 N EARLTON ROAD                             7406 BROOKWOOD AVENUE
BALTIMORE MD 21217                    HAVRE DE GRACE MD 21078                       BALTIMORE MD 21236




BETHLEHEM CATHOLIC BOOSTER            BETHLEHEM PARKING AUTHORITY                   BETHLEHEM PARKING AUTHORITY
2133 MADISON AVE                      85 W NORTH ST                                 P O BOX 470
BETHLEHEM PA 18017-4699               BETHLEHEM PA 18018                            BETHLEHEM PA 18016-0470




BETHOL, GINETTE                       BETHPAGE UFSD                                 BETHUNE, ADRIAN L
106 SW 10TH AVE.                      10 CHERRY AVENUE                              655 BELL ST
DELRAY BEACH FL 33444                 BETHPAGE NY 11714                             HAMPTON VA 23661




                                             Page 211 of 2387
                        Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 212 of 800
BETSANG ENTERPRISES                  BETSY D. HOLDEN                               BETSY HOLDEN
2750 W. OAKLAND PARK BLVD BLDG 106   C/O TRIBUNE COMPANY                           325 WOODLEY AVE.
OAKLAND PARK FL 33311                435 N. MICHIGAN AVENUE                        WINNETKA IL 60093
                                     CHICAGO IL 60611



BETSY KETCHUM                        BETSY POWELL                                  BETSY SHARKEY
4901 NORTH BERKELEY BLVD             829 SOUTH TREMAINE                            5718 FREEMAN AVENUE
WHITEFISH BAY WI 53217               LOS ANGELES CA 90005                          LA CRESCENTA CA 91214




BETSY STEIN                          BETTE FORMAN                                  BETTE K ITTERSAGEN
101 S PROSPECT AVE.                  6789 MOONLIT DRIVE                            931 W ARQUILLA DR
BALTIMORE MD 21228                   DELRAY BEACH FL 33446                         APT # 215
                                                                                   GLENWOOD IL 60425



BETTER BUSINESS SOLUTIONS INC        BETTI JO CARPENTER                            BETTIE CANTRELL
28 CAIN DRIVE                        26 HAVILAND AVENUE                            6080 STARDUST LANE
BRENTWOOD NY 11717                   SOUTH GLENS FALLS NY 12803                    ROSEMOND CA 93560




BETTIE RINEHART                      BETTIJANE LEVINE                              BETTINA BOXALL
1332 EDGECLIFFE DRIVE                28381 ROBIN AVENUE                            1947 MYRA AVENUE
LOS ANGELES CA 90026                 SAUGUS CA 91350                               LOS ANGELES CA 90027




BETTINA CHANDLER                     BETTINA KLEUKER                               BETTINA RILEY
1013 SHOKAT DRIVE                    24 PETERS DRIVE                               12727 SANDPEBBLE CIRCLE
OJAI CA 93023                        SHIRLEY NY 11967                              APT. #5
                                                                                   NEWPORT NEWS VA 23606



BETTS, KEITH                         BETTY BALSLEY                                 BETTY BODDIE
350 DREWSBURY LN                     869 TOYOPA DR                                 9551 S PARNELL
ROMEOVILLE IL 60446                  PAC PALISADES CA 90272                        CHICAGO IL 60628




BETTY BOWLER                         BETTY CAULER                                  BETTY DAVIDSON
8028 CLUBHOUSE DRIVE                 2212 W TILGHMAN STREET                        217 CAPTAINS LN
SUFFOLK VA 23433                     ALLENTOWN PA 18104                            NEWPORT NEWS VA 23602




BETTY DAVIS                          BETTY DORSEY                                  BETTY ELLEN BERLAMINO
2718 W LA MORADA DR                  1015 FLANDERS ROAD                            87 JOYCE ROAD
RIALTO CA 92377                      PHILADELPHIA PA 19151                         TENAFLY NJ 07670




BETTY EVANS                          BETTY FULGHAM                                 BETTY G BULLOCK
8154 S SACREMENTO                    10 OLD OAK COURT                              2222 LOIRE STREET
CHICAGO IL 60652                     HAMPTON VA 23666                              CARSON CITY NV 89701




                                            Page 212 of 2387
                         Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 213 of 800
BETTY GILES                           BETTY HALLOCK                                 BETTY HENNESSY
250 10TH STREET NE APT 3213           620 S. ARDMORE AVENUE                         2224 N CHAMPLAIN STREET
ATLANTA GA 30309                      #12                                           ARLINGTON HEIGHTS IL 60004
                                      LOS ANGELES CA 90005



BETTY HOCHBAUM                        BETTY HOLLICH                                 BETTY IRENE BURNS
3600 CONSHOHOCKEN AVE.                952 CAMELOT DR                                1422 N GORDON
#810                                  CRYSTAL LAKE IL 60014                         APT. #5
PHILADELPHIA PA 19131                                                               HOLLYWOOD CA 90028



BETTY J RHINES                        BETTY J SIMONS                                BETTY J THRASHER
4606 W. 153RD STREET                  736 N WESTERN AVE                             508 E TAYLOR DR
OAK FOREST IL 60452                   #387                                          MONTEREY PARK CA 91755-6742
                                      LAKE FOREST IL 60045



BETTY JEAN KLINE                      BETTY KERN                                    BETTY MCKNIGHT
1090 VISTA TRAIL NE                   3831 APPLE ROAD                               3034 DORRINGTON DR
ATLANTA GA 30324                      NORTHAMPTON PA 18067                          DALLAS TX 75228




BETTY MCMILLAN                        BETTY MOSS                                    BETTY S COSSA
P.O. BOX 1822                         2360 W LAKE MIRAMAR CIRCLE                    714 WALNUT DRIVE
DELAND FL 32721                       MIRAMAR FL 33025                              #301
                                                                                    DARIEN IL 60561



BETTY VANNUKUL                        BETTY WEAVER                                  BETTY WINCHESTER
1630 MANOR GATE DR                    5969 N. RAVENSWOOD                            4312 COTTAGE AVE
HACIENDA HEIGHTS CA 91745             APT 5E                                        NORTH BERGEN NJ 07047
                                      CHICAGO IL 60660



BETTY WOARE                           BETTY, ERROL                                  BETTYLOU S GORE
3439 VOLLMER ROAD                     1320 SW 76TH AVE                              1639 NE 26TH STREET
FLOSSMOOR IL 60422                    NORTH LAUDERDALE FL 33068                     WILTON MANORS FL 33305




BETZA, GREGORY JAMES                  BEULAH STOLLE                                 BEULAH WILEY
12 GOLF RD                            6721 FAIRFIELD DR                             14513 GREEN
BLOOMFIELD NJ 07003                   SANTA ROSA CA 95409                           HARVEY IL 60426




BEUTHIN, JUSTIN                       BEVER,DIANE                                   BEVERLEE GUERUCCI
1075 LAKEWOOD SOUTH DR                4219 OLIVE AVENUE                             399 WEIDNER ROAD
BROWNSBURG IN 46112                   LONG BEACH CA 90807                           BUFFALO GROVE IL 60089




BEVERLIE DAVIS                        BEVERLY ANN DELMAR                            BEVERLY B GRABER
111 CIDER MILL ROAD                   1 THORNWOOD DRIVE                             11745 MONTANA AVENUE
BOLTON CT 06043                       APT. 401                                      UNIT 303
                                      UNIVERSITY PARK IL 60466                      LOS ANGELES CA 90049




                                             Page 213 of 2387
                         Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 214 of 800
BEVERLY BLACK                         BEVERLY BLUEMEL                               BEVERLY BRADY
2801 SW 71ST TER.                     1049 S. WESTMORE                              1318 SECOND RD
DAVIE FL 33314                        APT. #106                                     BALTIMORE MD 21220
                                      LOMBARD IL 60148



BEVERLY DECK BATAN                    BEVERLY DIXON                                 BEVERLY EPSTEIN
14 HUNT COURT                         42 VENEDIA DRIVE                              3730 INVERARRY DRIVE
JERICHO NY 11753                      SIDE DOOR                                     APT H2B
                                      WHEATLEY HEIGHTS NY 11798                     LAUDERHILL FL 33319



BEVERLY GRALL                         BEVERLY JOHNSON                               BEVERLY K FELDKAMP
2610 CACTUS CIRCLE                    3979 HILLGROVE WAY                            5181 SW 89TH TERRACE
GOLDEN CO 80401                       CARMICHAEL CA 95608                           COOPER CITY FL 33328




BEVERLY LAMONT                        BEVERLY SEINBERG                              BEVERLY SIMMONS
720 CHESTNUT STREET                   88 CHURCH STREET                              1727 MONTVIEW STREET
DEERFIELD IL 60015                    SCHUYLERVILLE NY 12871                        ORLANDO FL 32805




BEVERLY SIMPSON                       BEVERLY SLAUGHTER                             BEVERLY SZADO
4531 ODESSA DRIVE                     6417 N. LEAVITT                               1819 W AUGUSTA BOULEVARD
BUTTERFIELD PLACE                     CHICAGO IL 60645                              CHICAGO IL 60622
MATTESON IL 60443-2982



BEVERLY WILLIAMS                      BEVERLY WOLF                                  BEVERLY, NANCY
207 HAMLET CT                         4334 LOWER SAUCON ROAD                        1123 S CRYSTAL LAKE DRIVE
YORKTOWN VA 23693                     HELLERTOWN PA 18055                           ORLANDO FL 32806




BEXEL CORPORATION                     BEXEL CORPORATION                             BEXEL CORPORATION
801 S MAIN STREET                     BROADCAST VIDEO GEAR                          PO BOX 75012
BURBANK CA 91506                      695 S GLENWOOD PL                             CHARLOTTE NC 28275-0012
                                      BURBANK CA 91506



BEXEL CORPORATION                     BEYEL, JULIE                                  BEYER IV, JOHN H
PO BOX 951736                         4300 BROADWAY APT 4A                          706 PHOSPHOR AVE
DALLAS TX 75395-1736                  NEW YORK NY 10033                             METAIRIE LA 70005




BEYER, DEBRA L                        BEYERL, MARISA                                BEYERS,TOM
2312 BLANCHARD DR                     5500 LYONS RD  NO.207                         937 MOUNT VERNON
GLENDALE CA 91208                     COCONUT CREEK FL 33073                        SANTA MARIA CA 93454




BEYOND AUCTIONS LLC                   BEYOND BROADCAST INC                          BEZAK, TARA LYN
913 YOUNG ST                          3000 N SHERIDAN RD STE 8F                     820 NE 48 ST
WAUSAU WI 54403                       CHICAGO IL 60657                              FORT LAUDERDALE FL 33334




                                             Page 214 of 2387
                         Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 215 of 800
BG EQUIPMENT SERVICE                  BG INDUSTRIAL INC                             BG NEWS SERVICE
PO BOX 3024                           P O BOX 429                                   1325 FOWLER AVE
SAINT CHARLES IL 60174                108 W 3RD STREET                              ACCT 781
                                      DEER PARK TX 77536                            EVANSTON IL 60201



BG NEWS SERVICE                       BG PROMOTIONS                                 BGE
1325 FOWLER AVE                       13508 CEDAR STREET                            ACCT NO. 14787-32081
EVANSTON IL 60201                     CEDAR LAKE IN 46303                           P.O. BOX 13070
                                                                                    PHILADELPHIA PA 19101-3070



BGE                                   BGE                                           BGE
ACCT NO. 15983-62149                  ACCT NO. 18658-16245                          ACCT NO. 21206-93041
P.O. BOX 13070                        P.O. BOX 13070                                P.O. BOX 13070
PHILADELPHIA PA 19101-3070            PHILADELPHIA PA 19101-3070                    PHILADELPHIA PA 19101-3070



BGE                                   BGE                                           BGE
ACCT NO. 21974-57553                  ACCT NO. 38596-24019                          ACCT NO. 32346-24011
P.O. BOX 13070                        P.O. BOX 13070                                P.O. BOX 13070
PHILADELPHIA PA 19101-3070            PHILADELPHIA PA 19101-3070                    PHILADELPHIA PA 19101-3070



BGE                                   BGE                                           BGE
ACCT NO. 24664-63198                  ACCT NO. 15894-96258                          ACCT NO. 41095-67093
P.O. BOX 13070                        P.O. BOX 13070                                P.O. BOX 13070
PHILADELPHIA PA 19101-3070            PHILADELPHIA PA 19101-3070                    PHILADELPHIA PA 19101-3070



BGE                                   BGE                                           BGE
ACCT NO. 43414-11385                  ACCT NO. 51199-20012                          ACCT NO. 44949-20011
P.O. BOX 13070                        P.O. BOX 13070                                P.O. BOX 13070
PHILADELPHIA PA 19101-3070            PHILADELPHIA PA 19101-3070                    PHILADELPHIA PA 19101-3070



BGE                                   BGE                                           BGE
ACCT NO. 80007-33217                  ACCT NO. 66232-24300                          ACCT NO. 70705-60447
P.O. BOX 13070                        P.O. BOX 13070                                P.O. BOX 13070
PHILADELPHIA PA 19101-3070            PHILADELPHIA PA 19101-3070                    PHILADELPHIA PA 19101-3070



BGE                                   BGE                                           BGE
ACCT NO. 21672-86993                  ACCT NO. 74210-02563                          ACCT NO. 87795-13565
P.O. BOX 13070                        P.O. BOX 13070                                P.O. BOX 13070
PHILADELPHIA PA 19101-3070            PHILADELPHIA PA 19101-3070                    PHILADELPHIA PA 19101-3070



BGE                                   BGE                                           BGE
ACCT NO. 78935-75451                  ACCT NO. 95171-52018                          ACCT NO. 97646-42578
P.O. BOX 13070                        P.O. BOX 13070                                P.O. BOX 13070
PHILADELPHIA PA 19101-3070            PHILADELPHIA PA 19101-3070                    PHILADELPHIA PA 19101-3070



BGE                                   BGE                                           BGE
ACCT NO. 89280-62059                  ACCT NO. 98519-13364                          P.O. BOX 13070
P.O. BOX 13070                        P.O. BOX 13070                                PHILADELPHIA PA 19101-3070
PHILADELPHIA PA 19101-3070            PHILADELPHIA PA 19101-3070




                                             Page 215 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 216 of 800
BHAGWANDEEN,MIRLAINE                   BHAGWANDEEN,MIRLAINE                          BHAGWANDEEN,TARADATH N
1000 VIA LUGANO CIRCLE NO.308          4183 N LANDAR DR                              4183 N LANDAR DR
BOYNTON BEACH FL 33435                 LAKE WORTH FL 33463                           LAKE WORTH FL 33463




BHARAT SORATHIA                        BHATIA, ROHINI                                BHATTI, RANA
38 WASHINGTON                          8305 GOVERNOR KENT TERRACE                    213 CAMBRIDGE AVE
IRVINE CA 92606                        ELLICOTT CITY MD 21043                        APT 2
                                                                                     JERSEY CITY NJ 07307



BHATTI, RANA                           BHAVESH SHAH                                  BHUTTO, FATIMA
213 CAMBRIDGE AVE NO. 2                553 D. LYNN COURT                             70 CLIFTON
JERSEY CITY NJ 07307                   GLENDALE HEIGHTS IL 60139                     KARACHI 75600




BHUWANESHWARI BANJADE                  BI COUNTY MAILING                             BIA FINANCIAL NETWORK INC
817 ST PAUL STREET                     110 SCHMITT BLVD                              PO BOX 30730
BALTIMORE MD 21202                     FARMINGDALE NY 11735                          BETHESDA MD 20824




BIA FINANCIAL NETWORK INC              BIALAS,DAVE                                   BIALAS,DAVE
FKA DATAWORLD                          14080 N BAYSHORE DR                           200 SPANGLER AVE
15120 ENTERPRISE CT                    MADEIRA BEACH FL 33708                        ELMHURST IL 60126
CHANTILLY VA 20151



BIALAS,DAVE                            BIALEK, MARK                                  BIALOSZEWSKI, MICHAL
CHICAGO CUBS                           9335 HARBOR COVE CIRCLE APT 132               545 BELLEVUE WAY SE NO H
1060 W ADDISON                         WHITMORE LAKE MI 48189                        BELLEVUE WA 98004
CHICAGO IL 60613



BIALOSZEWSKI, MICHAL                   BIANCA BETHEL                                 BIANCA BUTLER
545 BELLVUE WAY SE NO H                450 NW 20 STREET                              1718 N MONTFORD AVENUE
BELLEVUE WA 98004                      APT. # 101                                    BALTIMORE MD 21213
                                       BOCA RATON FL 33432



BIANCA CARNEIRO                        BIANCA PRIETO                                 BIANCA RAECKE
4305 CHASE AVE                         911 N. ORANGE AVENUE                          5334 LINDLEY AVENUE
MAR VISTA CA 90066                     APT. 449                                      APT. #137
                                       ORLANDO FL 32801                              ENCINO CA 91316



BIANCA SEAMAN                          BIANCALANA, DIANA R                           BIANCO, DAVID
514 1/2 ADDISON STREET                 2953 N PARKSIDE                               170 N BRENTWOOD BLVD
#305                                   CHICAGO IL 60634                              ST LOUIS MO 63105
CHICAGO IL 60613



BIANCO, MARIA                          BIBB, PORTER                                  BICKELHAUPT, DAVID L
M BIANCO                               92 TUCKAHOE LANE                              2239 BUCKLEY RD
5802 N KENMORE NO.3                    SOUTHAMPTON NY 11968                          COLUMBUS OH 43220-4613
CHICAGO IL 60660




                                              Page 216 of 2387
                           Case 08-13141-BLS      Doc 17-1        Filed 12/08/08   Page 217 of 800
BICKHAM-GATLIN, TYRESSA                    BICKLEY, BICKLEY                           BICKLEY, TARYN
694 S FLANNERY RD                          848 N FENWICK ST                           1250 N PAULINA     NO.2E
BATON ROUGE LA 70815-6428                  ALLENTOWN PA 18103                         CHICAGO IL 60622




BIDDICK, DAVID D                           BIEBRICH JR, RICHARD                       BIEDERMAN, IRVING
1016 HAZEN SE                              1510 SE 15TH STREET                        4139 VIA MARINA APT 902
GRAND RAPIDS MI 49507                      #307                                       MARINA DEL REY CA 90292-5367
                                           FORT LAUDERDALE FL 33316



BIEDRON, THEODORE J                        BIEGLEY JR, DALE                           BIEHL & BIEHL INC
404 JACKSON AVENUE                         702 RACE ST                                325 EAST FULLERTON AVENUE
GLENCOE IL 60022                           CATASAUQUA PA 18032                        CAROL STREAM IL 60188




BIEHL & BIEHL INC                          BIEHL & BIEHL INC                          BIEHL & BIEHL INC
411 EAST IRVING PARK RD                    PO BOX 66415                               PO BOX 87410
ATTN RITA COUNCIL                          CHICAGO IL 60666                           CAROL STREAM IL 60188
BENSENVILLE IL 60666



BIELUCZYK, THOMAS B                        BIEMER, JOHN                               BIEN AIME, PIERRE CHERY
38 WARWICK STREET                          1853 N CLEVELAND AVE UNIT H                3536 CHATELAINE BLVD
WEST HARTFORD CT 06119                     CHICAGO IL 60614                           DELRAY BEACH FL 33445




BIENEME, VISMELDY                          BIENSTOCK, HAL                             BIENVINIDO BALAOING
C 10 NO.65 BARRIO AFRICA QUISQUEYA         78 8/TH AVE  APT 35                        435 FLANDERS STREET
SAN PEDRO DE MACORIS                       BROOKLYN NY 11215                          SOUTHINGTON CT 06489




BIERLY, JOANN                              BIERMA, NATHAN LYLE KLOOSTRA               BIERMAN, DONALD P
765 JACOB TOME                             2319 PARIS AVE SE                          9340 E. REDFIELD RD.
MEMORIAL HIGHWAY                           GRAND RAPIDS MI 49507                      UNIT 1127
PORT DEPOSIT MD 21904                                                                 SCOTTSDALE AZ 85260



BIERNAT, WENDY L.                          BIG ALS ICES                               BIG BROTHER ENTERPRISES INC
84 ROLLING GREEN                           12742 GUILFORD CIRCLE                      7501 SUNKEY BLVD
MIDDLETOWN CT 06457-8739                   WELLINGTON FL 33414                        STE 2528
                                                                                      WINTER PARK FL 32792



BIG BROTHERS BIG SISTERS OF LEHIGH VALLE   BIG BROTHERS BIG SISTERS OF LEHIGH VALLE   BIG BROTHERS BIG SISTERS OF SAN DIEGO CO
33 N 15TH STREET                           878 MINESITE RD                            C/O MEMORY MARY ROSE CERASOLI
ALLENTOWN PA 18102                         ALLENTOWN PA 18103                         8515 ARJONS DR STE A
                                                                                      SAN DIEGO CA 92126



BIG CITY SETS INC                          BIG DOG DELIVERY SERVICE INC               BIG FISH ENTERTAINMENT
414 N OAKLEY BLVD                          10240 OCONNELL                             432 WEST 45TH STREET
CHICAGO IL 60612                           MOKENA IL 60448                            NEW YORK NY 10036




                                               Page 217 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 218 of 800
BIG FISH MARKETING INC                 BIG LEAGUE BROADCASTING                       BIG LEO PRODUCTIONS
108 N MCCADDEN PLACE                   8045 BIG BEND BLVD                            131 VARICK STREET SUITE 916
LOS ANGELES CA 90004                   SUITE 200                                     NEW YORK NY 10013
                                       ST LOUIS MO 63119-2714



BIG LEO PRODUCTIONS                    BIG MOUNTAIN IMAGING                          BIG PICTURE INC
476 BROOME ST NO.6B                    3201 S 26TH STREET                            6213 OLD KEENE MILL COURT
NEW YORK NY 10013                      PHILADELPHIA PA 19145                         SPRINGFIELD VA 22152




BIG PICTURE INC                        BIG SHOES NETWORK INC                         BIG TEN CONFERENCE
7666 I FULLERTON RD                    PO BOX 11725                                  1500 W HIGGINS ROAD
SPRINGFIELD VA 22153                   MILWAUKEE WI 53211                            PARK RIDGE IL 60068




BIG TICKET PICTURES INC                BIG TOP MARKETING & PROMOTIONS                BIGBY, MARSHALL
5842 SUNSET BOULEVARD                  16631 ADLON RD                                240 SW 56TH TERRACE NO.106
HOLLYWOOD CA 90028                     ENCINO CA 91436                               MARGATE FL 33068




BIGBY,NADINE                           BIGDA, CAROLYN                                BIGELOW, CHANDLER
11099 NARRAGANSETT BAY CT              624 E 20TH ST     APT 1C                      641 BRIAR LANE
WELLINGTON FL 33414                    NEW YORK NY 10009                             NORTHFIELD IL 60093




BIGELOW, CHRISTOPHER R                 BIGGHAM, RHIANNA                              BIGGS, CHRISTINA M
25 GLENDALE RD                         80 BERESFORD CIRCLE APT 2                     2201 PIONEER RD
ENFIELD CT 06082                       STONE MOUNTAIN GA 30083                       EVANSTON IL 60201




BIGGS, DWAYNE G                        BIGGS, MONICA S                               BIGOLD, PATRICK L
5931 NW 45 AVE                         391 17 TH STREET                              2444 HIHIWAI ST NO.2002
TAMARAC FL 33319                       NO.4042                                       HONOLULU HI 96826
                                       ATLANTA GA 30363



BIGSBY, LISA                           BIITTNER, LARRY                               BIITTNER, LARRY
1705 LAKE POINT DRIVE                  303 NE 1ST ST NO. 2                           915 THIRD AVE NW
STONE MOUNTAIN GA 30088                POCAHONTAS IA 50574                           POCAHONTAS IA 50574




BIJAN KOHANZAD                         BIJOY CHACKO                                  BILARO, RONALD B
C/O NEHORAY BOB, ESQ.                  5404 N. GLENWOOD                              1400 N MILWAUKEE     NO.405
NO ADDRESS PROVIDED                    APT. #1 FRONT                                 CHICAGO IL 60622
                                       CHICAGO IL 60640



BILATERAL CREDIT CORP                  BILATERAL CREDIT CORP                         BILDER, TINA
141 W 28TH ST                          141 W 28TH ST 4TH FL                          1683 NEWPORT AVE
NEW YORK NY 10001                      NEW YORK NY 10001                             NORTHAMPTON PA 18067




                                              Page 218 of 2387
                         Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 219 of 800
BILES, LINDSEY HOUGH                  BILGER, JODI                                  BILL BRUNNER
852 HOLLY DRIVE SOUTH                 844 CONSTITUTION DR                           320 NORTH PARK VISTA STREET
ANNAPOLIS MD 21409                    ALLENTOWN PA 18103                            SPACE 194
                                                                                    ANAHEIM CA 92806



BILL CHINETTI                         BILL DAFNIS                                   BILL DAVIS
2558 BRECKENRIDGE COURT               342 PINEWILD CT                               14612 HYDRANGEA WAY
AURORA IL 60504                       ORLANDO FL 32828                              CANYON COUNTRY CA 91351




BILL ESTES CHEVROLET                  BILL J RAINWATER                              BILL PAYNE PHOTOGRAPHY
4105 W 96TH ST                        27031 CALLE ESPERAZA                          730 BORCHARD COURT
INDIANAPOLIS IN 46268                 SAN JAUN CAPISTRANO CA 92675                  WOODLAND CA 95695




BILL ROHRBAUGHS CHARTER SERVICE INC   BILL ROHRBAUGHS CHARTER SERVICE INC           BILL SMITH
3395 MAIN ST                          PO BOX 690                                    P.O. BOX 516
MANCHESTER MD 21102-0690              MANCHESTER MD 21102-0690                      MALIBU CA 90265




BILL TRIMARCO                         BILL'S WELDING & CRANE SERVICES               BILLANTI, KRISTIN
2336 W PALATINE ROAD                  16166 SIERRA HWY                              133 BROOK ST
INVERNESS IL 60067                    CANYON COUNTRY CA 91390                       GARDEN CITY NY 11530




BILLEK, MICHAEL                       BILLEY WYGLE                                  BILLIAN, JOSEPH
251 JENNICA CT                        3313 ASHMOUNT DRIVE                           119 STONE GABLE CIRCLE
GENEVA FL 32732                       ORLANDO FL 32828                              WINTER SPRINGS FL 32708




BILLIG, CONSTANCE                     BILLINGS GAZETTE                              BILLINGSLEY, JAMES RONALD
221 S BARRETT AVE                     PO BOX 36300                                  1530 CHAPEL HILLS DR NO.C107
AUDUBON NJ 08106                      BILLINGS MT 59107-6300                        COLORADO SPRINGS CO 80920




BILLINGSLEY, SHEILA                   BILLOWITCH, KRISTIN M                         BILLUPS KNEELAND, ANDREA
761 GARNETT STREET                    1401 MANHATTAN AVE APT F                      2018 1/2 E MICHIGAN AVE
MADISON GA 30650                      MANHATTEN BEACH CA 90266                      LANSING MI 48912




BILLY BAREFIELD                       BILLY BERTHIA                                 BILLY FAULLER
18010 BAKER AVE.                      7337 ARTESIAN AVENUE                          712 YEATMAN
COUNTRY CLUB HILLS IL 60478           CHICAGO IL 60629                              WEBSTER GROVES MO 63119




BILLY HALL                            BILLY JORDAN                                  BILLY MEDLIN
145 W. PONKAN ROAD                    2215 S. 17TH AVENUE                           1967 AUBURN LAKES DRIVE
APOPKA FL 32712                       APT. #1                                       ROCKLEDGE FL 32955
                                      BROADVIEW IL 60155




                                             Page 219 of 2387
                            Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 220 of 800
BILLY ROUNDTREE                          BILLY TOWLER                                  BILLY YARBROUGH
14441 CARNELL STREET                     210 SEAN PAUL COURT                           14228 OUAIL RIDGE DR
WHITTIER CA 90603                        NEWPORT NEWS VA 23602                         RIVERSIDE CA 92503




BILMES, LINDA                            BINDER, KATHLEEN                              BINDERT, YOLANDA MARIA
21 ELM ST                                49 BELKNAP ROAD                               758 MORRIS AVENUE
BELMONT MA 02478                         WEST HARTFORD CT 06117                        HILLSIDE IL 60162




BINDU JINKA                              BINDVIEW DEVELOPMENT                          BINDVIEW DEVELOPMENT
1410 FLAGSTONE PLACE                     3355 W ALABAMA                                5151 SAN FELIPE
SCHAUMBURG IL 60193                      SUITE 1200                                    25TH FL
                                         HOUSTON TX 77098                              HOUSTON TX 77056



BINDVIEW DEVELOPMENT                     BINDVIEW DEVELOPMENT                          BING, PETER
PO BOX 201735                            PO BOX 4346                                   9700 WEST PICO BLVD
HOUSTON TX 77216-1735                    DEPT 475                                      LOS ANGELES CA 90035
                                         HOUSTON TX 77210-4346



BINGHAM, PIERO                           BINH TRAN                                     BINKLEY, JAMES W
3955 N NOB HILL RD NO.401                4120 E. ANAHEIM STREET                        7056 N KEATING
SUNRISE FL 33351                         APT#A                                         LINCOLNWOOD IL 60712
                                         LONG BEACH CA 90804



BINNEY, ANN                              BINNEY, DAVID                                 BINOCULARHEAD PRODUCTIONS INC
2070 LA FRANCE BLVD                      311 WEST 72ND ST                              199 GREAT HILL DR
SOUTH PASADENA CA 91030                  NEW YORK NY 10023                             SOUTH ORANGE NJ 07079




BINSHTOCK, AVITAL                        BIODUN OLATUNDE                               BIPAN VIJ
350 BAY ST NO.100 222                    174 HILLTOP DRIVE                             202 WEST 22ND STREET
SAN FRANCISCO CA 94133                   BRENTWOOD NY 11717                            HUNTINGTON NY 11743




BIRCH, ROBERT H                          BIRCHER AMERICA INC                           BIRD ENGINES
2665 N ATLANTIC AVE NO.134               909 E OAKTON ST                               4341 W DIVERSEY AVE
DAYTONA BEACH FL 32118                   ELK GROVE VILLAGE IL 60007                    CHICAGO IL 60639




BIRD, ELIZABETH                          BIRDTHISTLE, WILLIAM A                        BIRDWELL, JERRELL
181 CLAREMONT AVE   APT 3                1847 N HUDSON AVE                             14 DAIRY GAP ROAD
NEW YORK NY 10027                        CHICAGO IL 60614                              ASHEVILLE NC 28804




BIRGIT TASS                              BIRKERTS, SVEN                                BIRKHIMER, KENNETH
9642 SORREL STREET                       67 DOTHAM ST                                  3910 NW 20 STREET
FOUNTAIN VALLEY CA 92708                 ARLINGTON MA 02474                            COCONUT CREEK FL 33066




                                                Page 220 of 2387
                            Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 221 of 800
BIRL, MELODY                             BIRMAN, BATHSHEBA                             BIRMINGHAM NEWS
11802 WINCHESTER AVE                     6000 N CICERO AVE NO. 308                     ATN: SUBSCRIPTION
KANSAS CITY MO 64134                     CHICAGO IL 60630                              P O BOX 2553
                                                                                       BIRMINGHAM AL 35202-2553



BIRMINGHAM NEWS                          BIRNBAUM, JOSHUA                              BISACCIO, MICHAEL
BIRMINGHAM NEWS                          907 W STOUGHTON                               87 DOGWOOD LANE
2201 4TH AVE N                           URBANA IL 61801                               MANORVILLE NY 11949
BIRMINGHAM AL 35203



BISBORT OSHAUGHNESSY, TRACEY             BISBORT, ALAN                                 BISCAILUZ, JUAN B
23 QUELL CT                              23 QUELL CT                                   201 MEYERS DRIVE
CHESHIRE CT 06410                        CHESHIRE CT 06410                             ROCKY HILL CT 06067




BISCHEL, MARK LOUIS                      BISCHOF, MARK                                 BISCHOFF, APRIL M
228 EAST 85TH NO.100                     1138 8TH ST                                   170 TREASURE LN
NEW YORK NY 10028                        CATASAUQUA PA 18032                           GREENACRES CITY FL 33463




BISGER REALTY MANAGEMENT, INC.           BISGER REALTY MGT., INC.                      BISHARAT, GEORGE
RE: SMITHFIELD 1617 CHURCH ST            RE: SMITHFIELD 1617 CHURCH ST                 360 MOUNTAIN AVE
4912 W. BROAD STREET                     4912 W. BROAD ST.                             PIEDMONT CA 94611
RICHMOND VA 23230                        RICHMOND VA 23230



BISHOP TAYLOR GROUP LLC                  BISHOP, BESSIE                                BISHOP, KEITH
320 N DAMEN AVE NO.D201                  1221 GARDEN DR                                53 WALNUT HILL ROAD
CHICAGO IL 60612                         NEWPORT NEWS VA 23607                         EAST HARTLAND CT 06027-1323




BISHOP, MARY ALICE                       BISHOP, MICHELLE                              BISHOP, PHILIP E
2290 S ELLSWORTH ST                      19540 BALLINGER ST                            1501 NORFOLK AVE
ALLENTOWN PA 18103                       NORTHRIDGE CA 91324                           WINTER PARK FL 32789




BISHOP, RANDY MACK                       BISHOW, RON                                   BISKER, MARY
2455 ROLLING MEADOWS                     4-30 HARTLEY PL                               906 GARLAND CT
ROCKWALL TX 75087                        FAIR LAWN NJ 07410                            BEL AIR MD 21014




BISKUPICH, DAWN S                        BISKUPICH, DAWN SUZANNE                       BISMARCK TRIBUNE
1261 PORTMOOR WAY                        1261 PORTMOOR WAY                             PO BOX 5516
WINTER GARDEN FL 34787                   WINTER GARDEN FL 34787                        BISMARCK ND 58506




BISSAINTHE, LIONEL JUNIOR                BISYS RETIREMENT SERVICES                     BISYS RETIREMENT SERVICES
1150 NW 1ST ST APT 7                     PO BOX 19615                                  200 DRYDEN RD
DANIA FL 33004                           NEWARK NJ 07195-0615                          DRESHER PA 19025




                                                Page 221 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 222 of 800
BITHOL, FANIEL                         BITTER JESTER CREATIVE INC                    BITTINGER, DAVID
5321 NW 25TH CT   BLDG 35 APT 6        PO BOX 1824                                   2995 C N RIVER BIRCH DRIVE
LAUDERHILL FL 33313                    HIGHLAND PARK IL 60035                        BROOKFIELD WI 53045




BITTNER, LARRY                         BITTREE INC                                   BITTREE INC
149 N GREEN ST                         555 RIVERDALE DRIVE STE D                     PO BOX 3764
NAZARETH PA 18064                      GLENDALE CA 91204                             GLENDALE CA 91221-0784




BITWISE INC                            BIVINS, WARREN K                              BIXBY, MICHELLE
1515 WOODFIELD ROAD                    3315 ROBINS LENDING WAY 32                    119 LOCUST LANE APT B3
SUITE 930                              DECATUR GA 30032                              STATE COLLEGE PA 16801
SCHAUMBURG IL 60173



BIXEL, CLAY                            BIYING ZHANG                                  BIZ NET
10725 MT BROSS WAY                     2035 EMPRESS AVENUE                           70 WEST 36TH STREET
PARKER CO 80138                        SOUTH PASADENA CA 91030                       SUITE 901
                                                                                     NEW YORK NY 10018



BIZCARTA INCORPORATED                  BIZMONT ENTERTAINMENT LLC                     BJ ENTERPRISE
5695 AVERY ROAD SUITE E                1220 L ST NW  STE 100-527                     708 SE 2ND AVE APT 327
DUBLIN OH 43016                        WASHINGTON DC 20005                           DEERFIELD BEACH FL 33441




BK SOUTH LLC                           BK SOUTH LLC                                  BKD LLP
RE: WEST HARTFORD 141 SOUTH S          38 TRUMBULL STREET                            PO BOX 6069    DEPT 48
C/O BLOCK & KAHAN                      NEW HAVEN CT 06510                            INDIANAPOLIS IN 46206-6069
38 TRUMBULL ST
NEW HAVEN CT 06510


BKD LLP                                BKM 3128 REDHILL ASSOC LLC                    BKM 3128 REDHILL ASSOCIATES LLC
901 E ST LOUIS ST STE 1600             RE: COSTA MESA 3128 REDHILL A                 3185 PULLMAN ST
SPRINGFIELD MO 65801-1900              C/O PROFORMA PLUS                             COSTA MESA CA 92626
                                       PO BOX 11404
                                       NEWPORT BEACH CA 92660


BKM 3128 REDHILL ASSOCIATES LLC        BKM 3128 REDHILL ASSOCIATES, LLC              BKN INC.
C/O PROFORMA PLUS                      RE: COSTA MESA 3128 REDHILL A                 875 N. MICHIGAN AVENUE
PO BOX 11404                           3185 PULLMAN AVENUE                           CHICAGO IL 60611
NEWPORT BEACH CA 92660                 COSTA MESA CA 92626



BKS BATES                              BLACK & ELSER CLEANING SERVICE                BLACK BOX
CHRYSLER BUILDING                      19 CORNELL AVENUE                             1000 PARK DRIVE
460 LEXINGTON AVE.                     LANCASTER PA 17603                            LAWRENCE PA 15055
NEW YORK NY 10010



BLACK BOX                              BLACK BOX                                     BLACK BOX
MAYVIEW ROAD AT PARK DRIVE             P O BOX 371671                                PO BOX 12800
P O BOX 12800                          PITTSBURGH PA 15251                           PITTSBURG PA 15241
PITTSBURGH PA 15241




                                              Page 222 of 2387
                           Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 223 of 800
BLACK BOX                               BLACK BOX NETWORK SERVICES                    BLACK BOX NETWORK SERVICES
PO BOX 37671                            21398 NETWORK PL                              2800 POST OAK BLVD STE 200
PITTSBURGH PA 15251-7671                CHICAGO IL 60673-1213                         HOUSTON TX 77056-4311




BLACK DOT GROUP                         BLACK DOT GROUP                               BLACK JOURNALISTS ASSOCIATION
3158 PAYSPHERE CIRCLE                   329 W 18TH ST                                 C/O TOBIN & ASSOCIATES
CHICAGO IL 60674                        CHICAGO IL 60616                              6565 SUNSET BLVD SUITE 301
                                                                                      HOLLYWOOD CA 90038



BLACK JOURNALISTS ASSOCIATION           BLACK JOURNALISTS ASSOCIATION                 BLACK SOLID INC
P O BOX 75129                           TOBIN & ASSOCIATES                            2873 RIO LEMPA DR
LOS ANGELES CA 90075                    6565 SUNSET BLVD                              HACIENDA HEIGHTS CA 91745
                                        STE 301
                                        HOLLYWOOD CA 90028


BLACK, BRAD                             BLACK, CHARLES A                              BLACK, CRISTINA
1305 HOLIDAY LN                         ONE LULLWATER PLACE NORTHEAST                 373 DEGRAW ST    GARDEN APT
BROWNBURG IN 46112                      ATLANTA GA 30307                              BROOKLYN NY 11231




BLACK, DARON                            BLACK, JANE                                   BLACK, JONATHAN
669 WEST CAMPUS CIR                     1044 14TH                                     727 WEST ROSCOE
FT. LAUDERDALE FL 33312                 SANTA MONICA CA 90403                         CHICAGO IL 60657




BLACK,TINCY                             BLACKBOX STUDIOS INC                          BLACKBURN, MARIA G
4591 NW 19 ST APT 210                   8060 OAKTON ST      STE 201                   43 MURDOCK ROAD
LAUDERHILL FL 33313                     NILES IL 60714                                BALTIMORE MD 21212




BLACKFORD, TODD                         BLACKHAWK NETWORK INC                         BLACKMAN, TIESHA C
2739-18TH RD                            BLACKHAWK MKTG SERVICES                       2138 NW 47 TERRACE
TIPPECANOE IN 46570                     5918 STONERIDGE MALL ROAD                     MIAMI FL 33142
                                        PLEASANTON CA 94588



BLACKMUR, GARY                          BLACKMUR, GARY                                BLACKSTONE GROUP
1703 SW 69 TER                          PO BOX 8785                                   360 N MICHIGAN AV
NORTH LAUDERDALE FL 33068               FT LAUDERDALE FL 33310                        CHICAGO IL 60601




BLACKSTONE GROUP                        BLACKWELL, DANIELLE                           BLACKWELL, EDWARD
RESEARCH AND CONSULTANCY                3560 DOGWOOD FARM RD                          23 SIXTH ST
SERVICES                                DECATUR GA 30034                              NEWINGTON CT 06111
360 NORTH MICHIGAN AVENUE
CHICAGO IL 60601


BLACKWELL, ELIZABETH                    BLACKWOOD, CARSON                             BLAETZ, ROBIN
8611 LARAMIE AVE                        3621 SW 3RD ST.                               45 ELF HILL RD
SKOKIE IL 60077                         FORT LAUDERDALE FL 33312                      AMHERST MA 01002




                                               Page 223 of 2387
                           Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 224 of 800
BLAHA, HEATHER                          BLAIR DICKEY                                  BLAIR KAMIN
6705 N TALMAN AVE                       1907 AVENIDA SALVADOR                         522 MAPLE AVENUE
CHICAGO IL 60645                        SAN CLEMENTE CA 92672                         WILMETTE IL 60091




BLAIR LEWIS                             BLAIR SCHUYLER                                BLAIR, ASSANE
6745 SE 107TH ST.                       1502 CAMELOT DRIVE                            114-26 198TH STREET
APT. D13                                CORONA CA 92882                               SAINT ALBANS NY 11412
BELLEVIEW FL 34420



BLAIR, GLENROY                          BLAIR, SAM                                    BLAIR, SCHEKERA
7501 NE 16TH STREET APT 3410            8904 GUNNISON DR                              95 MARION STREET NO.6
PLANTATION FL 33313                     DALLAS TX 75231                               HARTFORD CT 06106-4154




BLAIR,CYNTHIA                           BLAIR,MICHAEL                                 BLAIR,MICHAEL
2 MAPLE AVE                             4682 STALLION COURT                           PO BOX 477
STONY BROOK NY 11790                    ELLICOTT CITY MD 21043                        ELLICOTT CITY MD 21041-0477




BLAIRSTONE AT GOVERNORS SQUARE          BLAIS, MADELEINE                              BLAISDELL, KERRIE
LEASING OFFICE                          39 TRILLIOM WAY                               115 N JACKSON ST    NO.401
501 BLAIRSTONE ROAD                     AMHERST MA 01002                              GLENDALE CA 91206
TALLAHASSEE FL 32301



BLAISDELL, ROBERT E                     BLAISE,FRITZGERALD                            BLAKE EQUIPMENT CO INC
401 W 118TH STREET NO.33                12686 GUILFORD CIRCLE                         61 W DUDLEYTOWN RD
NEW YORK NY 10027                       WELLINGTON FL 33414                           BLOOMFIELD CT 06002




BLAKE EQUIPMENT CO INC                  BLAKE EQUIPMENT CO INC                        BLAKE JOHNSON
P O BOX 30338                           PO BOX 842739                                 222 EAST PARK AVENUE
HARTFORD CT 06150                       BOSTON MA 02284                               AMBLER PA 19002




BLAKE SHEET METAL                       BLAKE, ANGELLA R                              BLAKE, DAVID KEITH
118 KEYLAND CT                          8979 W SUNRISE BOULEVARD                      1100 ARBORETUM WAY APT 5
BOHEMIA NY 11716                        PLANTATION FL 33322                           NEWPORT NEWS VA 23602




BLAKE, DEBBIE                           BLAKE, HEZEKIAH                               BLAKE, HEZEKIAH
12122 GENERAL PULLER HWY                144 W 9TH ST                                  532 WEST BONITA AVE.
HARTFIELD VA 23071                      CLAREMONT CA 91711                            CLAREMONT CA 91711




BLAKE, JANICE                           BLAKE, PAUL C                                 BLAKE, ROSEMARIE GRACE
1260 DANDELION DR                       3333 NW 34 ST                                 37 BELLEVUE ROAD
DELTONA FL 32725                        LAUDERDALE LAKES FL 33309                     STONEHAM MA 02180




                                               Page 224 of 2387
                           Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 225 of 800
BLAKELY, ANDREI                         BLAKELY, CHRISTOPHER                          BLANC, CHRISTINE M
118 N HOWARD ST   APT 614               2729 SUNSHINE BLVD                            1258 N FAIRFAX #2
BALTMORE MD 21201                       MIRAMAR FL 33023                              WEST HOLLYWOOD CA 90046




BLANC, PATRICIA A                       BLANCA AGUIRRE                                BLANCA MEJIA
4740 NE 1ST TERRACE                     37270 N. CAPILLO AVENUE                       4343 MERCED AVE.
DEERFIELD BEACH FL 33064                LAKE VILLA IL 60046                           APT. 15
                                                                                      BALDWIN PARK CA 91706



BLANCA MOTTA                            BLANCA ORTIZ                                  BLANCA QUINTANILLA
4854 ALDAMA ST.                         1368 W SHAMROCK STREET                        8200 BOULEVARD EAST
LOS ANGELES CA 90042                    RIALTO CA 92376                               APT 14B
                                                                                      NORTH BERGEN NJ 07047



BLANCH TOWNSEND                         BLANCH WILSON                                 BLANCHARD, GUY L
3214 SOUTHGREEN RD                      14 CORDELLO AVE                               42302 55TH STREET
BALTIMORE MD 21244                      CENTRAL ISLIP NY 11722                        QUARTZ HILL CA 93536




BLANCHE SAULSBERRY                      BLANCO, FRANKLIN J                            BLANCO, HENRY
533 BIRCH ST.                           CALLE NO 3 TABORDA                            URB VICENTE EMELIO SOJO
OAK HARBOR WA 98277                     SECTOR EL VOLANTE NO.2 PUERTO CABELLO         BLOQUE 30 PISO 1 APT 0105
                                        CARABOBO                                      GUARENAS



BLANCO, JOSEPH                          BLANCO, SAMANTHA                              BLANCO, VALERIA
51-09 99 ST                             2831 SW 136TH AVE                             13532 SW 64TH LN
CORONA NY 11368                         DAVIE FL 33330                                MIAMI FL 33183




BLANCO,WILREDO J                        BLAND, MOLORA                                 BLANDFORD, DAVID
10091 NW 6 TERR                         4220 GARDENVIEW DRIVE, UNIT 210               2032 CREE TRAIL
MIAMI FL 33172                          NAPERVILLE IL 60564                           CASSELBERRY FL 32707




BLANDINO,RAFAEL,A                       BLANK, REBECCA M                              BLANKENHORN, DAVID
260 N.E. 26 STREET                      5020 WORTHINGTON DRIVE                        40 W 72ND STREET
POMPANO BEACH FL 33064                  BETHESDA MD 20816                             APT 55
                                                                                      NEW YORK NY 10023



BLANKENSHIP, TODD                       BLANKS, ANDREA                                BLANTON D MCBRIDE
2700 MCPHERSON LN                       664 W MELROSE CIRCLE                          2674 WINKLER AVE
FLOWER MOUND TX 75022                   FT LAUDERDALE FL 33312                        APT 336
                                                                                      FT MYERS FL 33901



BLASCO, ERICK                           BLASI, GARY                                   BLASKO,CHAD
369 BAY RIDGE AVE                       2221 FERN DELL PLACE                          945 E 3RD ST
BROOKLYN NY 11220                       LOS ANGELES CA 90068                          MISHAWAKA IN 46544




                                               Page 225 of 2387
                            Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 226 of 800
BLASUCCI, LOA J                          BLAU, BELA                                    BLAU, DANIEL
4614 GRAND AVE                           A-1 BOOKBINDING                               2266 CAZADOR DR    APT 18
LA CANADA CA 91011                       1330 SOUTH BROADWAY                           LOS ANGELES CA 90065
                                         LOS ANGELES CA 90015



BLAU, ROBERT                             BLAUSTEIN, NATHAN S                           BLAZEK, DAVE
4510 ROLAND AVENUE                       14307 BEDFORD DR. APT. 203                    1767 HAMILTON DR
BALTIMORE MD 21210                       DELRAY BEACH FL 33446                         PHOENIXVILLE PA 19460




BLAZOWSKI, THOMAS C                      BLEAKLEY JR, CRAWFORD HOYT                    BLECHMAN, ANDREW
2844 58TH STREET                         5531 S HARPER AVE                             PO BOX 143
SACRAMENTO CA 95817                      CHICAGO IL 60637                              NORTH EGREMONT MA 01252




BLEECKER, ARLINE                         BLEECKER, SAMUEL                              BLEIBERG, LARRY
74 KNOLL COURT                           74 KNOLL COURT                                3806 CRESTSIDE ROAD
MILLINGTON NJ 07946                      MILLINGTON NJ 07946                           BIRMINGHAM AL 35223




BLEIBERG, LAURA RUTH                     BLEUS, LOURDY                                 BLEVINS,JERRY
207 12TH ST                              1600 STONEHEAVEN DR NO.4                      3409 COUNTY ROAD C
SEAL BEACH CA 90740                      BOYNTON BEACH FL 33436                        SWANTON OH 43558




BLEWETT, WILLIAM K                       BLIGE, DERRICK                                BLIGE, JERRY
412 LINWOOD AVE.                         87 UNIVERSITY AVENUE                          36 STANLEY STREET
BEL AIR MD 21014                         EAST HARTFORD CT 06108                        NEW BRITAIN CT 06051




BLIGE, JERRY                             BLIGE, JERRY                                  BLIGE, JERRY
931 W MAIN ST APT 303                    931 W. MAIN ST APT 303                        931 WEST MAIN ST APT 303
NEW BRITAIN CT 06053-3446                *BROOKS DRUGS ALLEN ST                        *C-TOWN ALLEN ST
                                         NEW BRITAIN CT 06053-3446                     NEW BRITAIN CT 06053-3446



BLISS ARMSTEAD                           BLITSTEIN, RYAN                               BLITZER,WILLIAM
225 REFLECTION DRIVE                     1455 W WILSON AVENUE FLR 1                    3759 NAUTILUS AVENUE
WILLIAMSBURG VA 23188                    CHICAGO IL 60640                              BROOKLYN NY 11224




BLOCH, BRADLEY W                         BLOCH, RICHARD I                              BLOCK 418 LLC
440 EAST 78TH STREET APT 2A              4335 CATHEDRAL AVE NW                         236 S WASHINGTON       STE 212
NEW YORK NY 10075                        WASHINGTON DC 20016                           NAPERVILLE IL 60540




BLOCK 418 LLC                            BLOCK, JENNIFER                               BLOCK, STEFAN
C/O PRIVATE BANK & TRUST CO              58 CHURCH AVENUE APT 2B                       549 18TH ST   APT 3
PO BOX A3922                             BROOKLYN NY 11218                             BROOKLYN NY 11215
CHICAGO IL 60690




                                                Page 226 of 2387
                         Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 227 of 800
BLOCK, TRACY                          BLOCK, ZOE                                    BLODGETT, BRADLEY
21312 NE 18 PL                        102 WASHINGTON PLACE         APT 3A           117 SUMMER ST
NORTH MIAMI BEACH FL 33179            NEW YORK NY 10014                             MANCHESTER CT 06040




BLOEDOORN, KAHLIL G                   BLOHM, JULIE                                  BLOHM, LASHUNDA Y
3681 W HILLSBORO BLVD NO. E204        2545 VERDE DR NO.325                          4126 CHARLESTON RD
COCONUT CREEK FL 33093                COLORADO SPRINGS CO 80910                     2E
                                                                                    MATTESON IL 60443



BLOMQUIST, ANDREA                     BLOOD, EDWARD L.                              BLOOD, MATTHEW
1049 N. KINGSBURY                     5310 EAST HELENA DRIVE                        202 NUNN LN
CHICAGO IL 60610                      SCOTTSDALE AZ 85254-7526                      CHAPEL HILL NC 27516




BLOOMBERG FINANCE LP                  BLOOMBERG FINANCE LP                          BLOOMBERG FINANCE LP
PO BOX 30244                          PO BOX 32044                                  PO BOX 5463
HARTFORD CT 06150                     HARTFORD CT 06150                             HARLAN IA 51593-2963




BLOOMBERG FINANCE LP                  BLOOMBERG FINANCE LP                          BLOOMBERG TELEVISION SYND.
731 LEXINGTON AVENUE                  ATTN: ACCT RECEIVABLE                         499 PARK AVENUE
NEW YORK NY 10022                     499 PARK AVENUE                               NEW YORK NY 10022
                                      NEW YORK NY 10022-1240



BLOOMBERG, BURTON                     BLOOMFIELD, PAUL                              BLOOMINGDALE ENTERPRISES I, LLC
5450 H VERONA                         75 WILTON RD                                  RE: ADDISON 150 CHURCH STREET
BOYNTON BEACH FL 33437                WINDSOR CT 06095                              10 LAURA DRIVE
                                                                                    ADDISON IL 60101



BLOOMINGDALE ENTERPRISES I, LLC       BLOOMINGTON NEWS                              BLOT, CARL
RE: ADDISON 150 CHURCH STREET         ATTN ACCOUNTS PAYABLE                         8424 S. MISSIONWOOD CIRCLE
ATTN: DIMITRI POULOKEFALOS            PO BOX 909                                    MIRAMAR FL 33025
10 LAURA DRIVE                        BLOOMINGTON IN 47402
ADDISON IL 60101


BLOUNT, ALANA                         BLOUNT, MELISSA                               BLOUNT, ROBIN M
945 CRESTMARK BLVD NO.538             1805 EFTY CT                                  8424 CHICAGO AVE APT 806
LITHIA SPRINGS GA 30122               WOODBRIDGE VA 22191                           DOUGLASVILLE GA 30134




BLOUNT, TIFFANY                       BLOYD-PESHKIN, SHARON                         BLUE CAT MEDIA GROUP
3231 EASY ST APT A                    1027 GUNDERSON AVE                            13245 ATLANTIC BLVD NO.4-152
HAMPTON VA 23185                      OAK PARK IL 60304                             JACKSONVILLE FL 32225-7118




BLUE CAT MEDIA GROUP                  BLUE CAT MEDIA GROUP                          BLUE FIN PUBLISHING SOLUTION
1466 NE 57TH STREET                   3260 NW 23RD AVE SUITE 900F                   16 STONEBROOK AVE
FT LAUDERDALE FL 33334                POMANO BEACH FL 33069                         ALISO VIEJO CA 92656




                                             Page 227 of 2387
                           Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 228 of 800
BLUE HERON PAPER COMPANY                BLUE HILL INC                                 BLUE HORSE INC
419 MAIN STREET                         1414 ESPLANADE CT APT 345                     241 N BROADWAY     STE 402
OREGON CITY OR 97045                    RESTON VA 20194                               MILWAUKEE WI 53202




BLUE MARLIN PARTNERS PARTNERSHIP        BLUE MOON PRINTING & GRAPHICS                 BLUE RIBBON TAG AND LABEL
58 WEST PORTAL AVE                      1105 E STREET                                 4035 N 29TH AVE
SAN FRANCISCO CA 94127                  SACRAMENTO CA 95814                           HOLLYWOOD FL 33020




BLUE RIDGE SALVAGE COMPANY INC          BLUE SKY MARKETING G                          BLUE SKY MARKETING G
PO BOX 188                              633 SKOKIE BLVD                               PO BOX 546
FLINT HILL VA 22627                     NORTHBROOK IL 60062                           SUITE 100
                                                                                      HIGHLAND PARK IL 60035-0546



BLUE SLATE SOLUTIONS LLC                BLUE STAR MOBILE INC                          BLUE WATER FISHING INC
39 COLUMBIA STREET                      10 S RIVERSIDE PLZA STE 1800                  191 NORFOLK DRIVE
ALBANY NY 12207                         CHICAGO IL 60606                              EAST HAMPTON NY 11937




BLUE WOLF COMMUNICATIONS                BLUE, ARKESHA                                 BLUE, MARY
416 MAIN ST                             2837 PIERCE STREET NO.16                      815 VALENCE ST
PORT WASHINGTON NY 11050                HOLLYWOOD FL 33020                            NEW ORLEANS LA 70115




BLUEPOINT INTERNATIONAL                 BLUESKY TAXI INC                              BLUM & WEISBAUM
28501 RYAN RD STE A                     100 TRI STATE INTERNATIONAL SUITE 230         HAROLD WEISBAUM, ESQ.
WARREN MI 48092                         LINCOLNSHIRE IL 60069                         11 E LEXINGTON ST
                                                                                      6TH FL
                                                                                      BALTIMORE MD 21202


BLUM & WEPRIN ASSOCIATES INC            BLUM, ARLENE                                  BLUM, EDWARD
80 UNIVERSITY PL                        1492 OLYMPUS AVE                              3571 FAR WEST BLVD NO.17
NEW YORK NY 10003                       BERKELEY CA 94708                             AUSTIN TX 78731




BLUM, EDWARD                            BLUM, SUSAN D                                 BLUM,MARVIN
810 E 46TH                              1305 RIDGEDALE RD                             15456 PEMBRIDGE DR NO. 210
AUSTIN TX 78751                         SOUTH BEND IN 46614                           DELRAY BEACH FL 33484




BLUMBERG, DEBORAH                       BLUMBERG, GEORGE P                            BLUME, CLAUDIA
2 GOLD ST APT 2913                      200 TURTLE BAY DR                             FLAT 16B  OLD PEAK ROAD
NEW YORK NY 10038                       BRANFORD CT 06405                             CENTRAL




BLUMENFELD, DAVID                       BLUMENTHAL, EILEEN                            BLUMING, AVRUM
8/4 YAIR                                99 BANK STREET NO.5Q                          25095 THOUSAND PEAKS ROAD
JERUSALEM 93503                         NEW YORK NY 10014                             CALABASAS CA 19302




                                               Page 228 of 2387
                         Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 229 of 800
BLUMNER, ROBYN                        BLUNIE NICOLAS                                BLUSTEIN, LARRY
2365 WOODLAWN CIRC E                  8962 NW 40TH STREET                           4310 ROOSEVELT ST
ST PETERSBURG FL 33704                CORAL SPRINGS FL 33065                        HOLLYWOOD FL 33021




BLYE, DIANE L                         BLYTH DESIGN LTD                              BLYTH DESIGN LTD
3996 ANDRUS CT NO.A                   333 E 66TH ST                                 BLYTH DESIGN
COLUMBUS OH 43227                     NEW YORK NY 10021                             333 E 66TH ST, 4L
                                                                                    NEW YORK NY 10021



BLYTHE, SUE ANN                       BMC SOLUTIONS                                 BMC SOLUTIONS
405 VALLEY WAY                        3391 TOWN POINT DR                            P O BOX 1777
COLORADO SPRINGS CO 80906             SUITE 300                                     KENNESAW GA 30156-1777
                                      KENNESAW GA 30144



BMC SOLUTIONS                         BMESSAGES INC                                 BMF COMPUTER SERVICES CO
PO BOX 932109                         11357 NUCKOLS RD    STE 111                   PO BOX 1590
ATLANTA GA 31193-2109                 GLEN ALLEN VA 23059                           TEMPLE TX 76503-1590




BMF MEDIA GROUP                       BMF MEDIA GROUP LLC                           BMS TENANT SERVICE LLC
343 W 12TH ST STE 2B                  343 W 12TH ST  STE 2B                         PO BOX 27257
NEW YORK NY 10014                     NEW YORK NY 10014                             NEW YORK NY 10087-7257




BNE PLASTIC PRODUCTS INC              BOAKYE, DENNIS                                BOARD OF COUNTY COMMISSIONERS
205 COLLIE ROAD                       2787 E OAKLAND PARK BLVD NO.309               115 SOUTH ANDREWS AVE ROOM 220
CALHOUN LA 71225                      FT LAUDERDALE FL 33306                        FORT LAUDERDALE FL 33301-1801




BOARD OF COUNTY COMMISSIONERS         BOARD OF COUNTY COMMISSIONERS                 BOARD OF COUNTY COMMISSIONERS
2401 N POWERLINE RD                   AUDITOR TO BOCC                               BROWARD COUNTY COURTHOUSE
POMPANO BEACH FL 33069                PO BOX 988                                    201 SE 6TH STREET ROOM 880
                                      BARTOW FL 33831                               FORT LAUDERDALE FL 33301



BOARD OF COUNTY COMMISSIONERS         BOARD OF COUNTY COMMISSIONERS                 BOARD OF COUNTY COMMISSIONERS
C/O METRO DADE COUNTY ITD             DEPT:PLANNING AND ENVIRONMENTAL               DEPT:PLANNING AND ENVIRONMENTAL
175 NW 1ST AVE                        PROTECTION, TIM SHAFFER                       PROTECTION, WATER RESOURCES
MIAMI FL 33128                        218 SW 1ST AVENUE                             115 S ANDREWS    A-240
                                      FT LAUDERDALE FL 33301                        FT LAUDERDALE FL 33301


BOARD OF COUNTY COMMISSIONERS         BOARD OF COUNTY COMMISSIONERS                 BOARD OF COUNTY COMMISSIONERS
ENVIRONMENTAL SERVICES                MIAMI DADE COUNTY LTD                         OFFICE OF THE COUNTY ATTORNEY
PO BOX 619002                         5680 SW 87 AVE                                115 S ANDREWS AVE
POMPANO BEACH FL 33061-9002           ATTN PUBLIC ACCESS                            STE 423
                                      MIAMI FL 33173                                FT LAUDERDALE FL 33301


BOARD OF COUNTY COMMISSIONERS         BOARD OF COUNTY COMMISSIONERS                 BOARD OF COUNTY COMMISSIONERS
PARKS & RECREATION DIVISION           PO BOX 14668                                  ST PETERSBURG/CLEARWATER AREA CVB
3600 W SAMPLE ROAD                    FT LAUDERDALE FL 33302                        14450 46TH ST N SUITE 108
COCONUT CREEK FL 33073                                                              CLEARWATER FL 33762




                                             Page 229 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 230 of 800
BOARD OF TRUSTEES COMMUNITY COLLEGE    BOARD OF TRUSTEES COMMUNITY COLLEGE           BOARDOM INC
C/O TRUMAN COLLEGE                     KENNEDY KING COLLEGE BROADCAST                16541 GOTHARD ST   STE 210
1145 W WILSON                          SCHOLARSHIP, C/O MARV DYSON                   HUNTINGTON BEACH CA 92647-9007
CHICAGO IL 60640                       6301 S HALSTED STREET BUILDING U
                                       CHICAGO IL 60621


BOAS, SHERRY                           BOATWRIGHT, DAVID A                           BOAZ HARSANYI
19546 BAMBOO BEND                      36 BEDFORD TERRACE NO.10                      2177 ROSEMONT STREET
GROVELAND FL 34736                     NORTHAMPTON MA 01060                          NORTH BELLMORE NY 11710




BOB BELLACK                            BOB DAVIS                                     BOB DAYTON
820 S. OAKLAND AVE                     4109 GRANDVIEW DRIVE                          2800 N LAKE SHORE DR   NO.901
PASADENA CA 91106                      PALMDALE CA 93551                             CHICAGO IL 60657




BOB EUBANKS ENTERPRISES INC            BOB EUBANKS ENTERPRISES INC                   BOB GOLD & ASSOCIATES INC
F/S/O/ BOB EUBANKS                     F/S/O/ BOB EUBANKS                            2780 SKYPARK DR   STE 475
PO BOX 1634                            PO BOX 1635                                   TORRANCE CA 90505
1095 MEADOWALE #D                      1095 MEADOWALE #D
SANTA YNEZ CA 93460                    SANTA YNEZ CA 93460


BOB IRZYK                              BOB MCKEE                                     BOB MIESZERSKI
1014 SOUTH HOLLOW DRIVE                LAKE COUNTY TAX COLLECTOR                     1552 E OLD BADILLO STREET
SOUTHLAKE TX 76092                     PO BOX 327                                    COVINA CA 91724
                                       TAVARES FL 32778-0327



BOB NAROD PHOTOGRAPHER LLC             BOB PLUNKETT COMMUNICATIONS                   BOB SHERIDAN
46950 COMMUNITY PLAZA NO.212           P O BOX 7665                                  13 KNOLLWOOD RD
STERLING VA 20164-1814                 LITTLE ROCK AR 72217                          MILFORD CT 06460




BOB UECKER ENTERPRISES INC             BOB VALENZUELA                                BOB WOOTAN MOVING AND STORAGE
W131 N7867 COUNTRY CLUB COURT          1430 W WILSHIRE AVENUE                        1650 WHITING RD
MENOMONEE FALLS WI 53051               SANTA ANA CA 92704                            PO BOX 10667
                                                                                     JACKSON MS 39209



BOBADILLA, NATO                        BOBAJ, FERIZ                                  BOBAY, REGINA R
165 SABLE                              92 STONYCREST LN                              2535 COUNTRY SQUIRE LN
RANCHO SANTA MARGARITA CA 92688        MIDDLETOWN CT 06457                           DELAND FL 32720




BOBB, MERRICK J                        BOBBER, SALLY C                               BOBBIE J DOOLEY
4954 CROMWELL AVENUE                   2800 LAKE ARNOLD PLACE                        3503 CORMORANT BRANCH CT.
LOS ANGELES CA 90027                   ORLANDO FL 32806                              JACKSONVILLE FL 32223




BOBBIE WALTON                          BOBBIN BEAM                                   BOBBY BENSON
1115 GREENMOUNT AVE                    2471 FELICITA RD                              7422 73RD STREET
BALTIMORE MD 21202                     ESCONDIDO CA 92029                            APT. #A
                                                                                     NEWPORT NEWS VA 23605




                                              Page 230 of 2387
                           Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 231 of 800
BOBBY BRIGGS                            BOBBY GATHINGS                                BOBBY LANE
1507 W LEXINGTON STREET                 1149 N CHICAGO PL                             12 COREY CIRCLE
BALTIMORE MD 21223                      KANKAKEE IL 60901                             HAMPTON VA 23663




BOBBY LEE                               BOBBY LISTER                                  BOBBY WHITE
15808 S. VISALIA AVENUE                 443 E 71 STREET                               6720 ANDASOL AVE.
COMPTON CA 90220                        LOS ANGELES CA 90003                          LAKE BALBOA CA 91406




BOBBYS PLUMBING                         BOBKO, MICHAEL                                BOBO, JOHNNY W
802 E ALHAMBRA ROAD                     58 SHARON LANE                                583 MINUTE MAN DR
ALHAMBRA CA 91801                       WETHERSFIELD CT 06109-3117                    NEWPORT NEWS VA 23602




BOC GASES                               BOCA INDUSTRIAL PARK LTD                      BOCA INDUSTRIAL PARK LTD
575 MOUNTAIN AVE.                       RE: BOCA RATON WEST 520, 522                  2700 W CYPRESS CREEK RD
MURRAY HILL NJ 07974                    C/O DANBURG MANAGEMENT                        STE D 110
                                        7700 CONGRESS AVENUE, SUITE 3100              FT LAUDERDALE FL 33309
                                        BOCA RATON FL 33487


BOCA INDUSTRIAL PARK LTD                BOCA INDUSTRIAL PARK LTD                      BOCA INDUSTRIAL PARK LTD.
7700 CONGRESS AVE,STE 3100              C/O DANBURG MANAGEMENT CORP                   RE: BOCA RATON WEST 520, 522
BOCA RATON FL 33487                     7700 CONGRESS AVE                             C/O DANBURG MANAGEMENT CORPORATION
                                        STE 3100                                      7700 CONGRESS AVENUE, SUITE 3100
                                        BOCA RATON FL 33487                           BOCA RATON FL 33487


BOCA WAREHOUSING INC.                   BOCA WAREHOUSING INC.                         BOCANEGRA, AUGUSTO
RE: FT LAUDERDALE 3026 SW 42N           RE: WESTON 1800 COMMERCE                      6808 NW 78TH COURT
1166 WEST NEWPORT CENTER DRIVE          C/O BUTTERS CONSTRUCTION &                    TAMARAC FL 33321
SUITE 118                               INC., 1166 W NEWPORT CTR DR, STE 118
DEERFIELD BEACH FL 33445                DEERFIELD BEACH FL 33445


BOCANEGRA, BARBARA                      BOCCACIO, PETER                               BOCCHIO, STACY A
6808 NW 78 CT                           24 ROXBURY RD                                 25 MORGAN ST
TAMARAC FL 33321                        EAST HARTFORD CT 06118                        MIDDLETOWN CT 06457




BOCCUZZI, CARMINE                       BOCKRATH, HENRY                               BOCLAIR, DAVID W
39 MCCLEAN AVE                          7 LOWELL AVE                                  405 HILLMEADE DR
STAMFORD CT 06905                       GREENLAWN NY 11740                            NASHVILLE TN 37221




BODACH, JILL                            BODAMER, ERNEST F                             BODDIGER, DAVID E
61 HUNTINGTON RD                        45 GRANDVIEW DR                               1253 W ROSEMONT AVE     APT 1
STRATFORD CT 06614                      BLUE POINT NY 11715                           CHICAGO IL 60660




BODEWIG, HANS                           BODNAR, JACQUELINE                            BODO STOLCZENBERGER
277 NW 38TH WAY                         6785 CALISTOGA CIRCLE                         P.O. BOX 101254
DEERFIELD BEACH FL 33442                PORT ORANGE FL 32128                          CHICAGO IL 60610




                                               Page 231 of 2387
                           Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 232 of 800
BODY BY JAKE GLOBAL LLC                 BODY SOLUTIONS OF MANHATTAN                   BODY SOLUTIONS OF MANHATTAN
11611 SAN VICENTE BLVD SUITE 515        PETER B. GRIERER, ESQ.                        PETER B. GIERER, ESQ.
LOS ANGELES CA 90049                    400 TOWN LINE ROAD                            400 TOWN LINE RD, STE 100
                                        SUITE 1000; PO BOX 5296                       HAUPPAUGE NY 11788



BODY, EBONIE                            BOEHLKE, KENNETH M                            BOEHM, DEBBIE
1627 N. AUSTIN, NO.1                    10440 RIDGEWOOD DR                            1454 AVON LN NO. 722
CHICAGO IL 60639                        PALOS PARK IL 60464                           N LAUDERDALE FL 33068




BOGDAN KRUPA                            BOGDAN, STEVE                                 BOGHOS DERDERIAN
4815 WEST BELLE PLAINE                  2240 PARK AVE                                 8440 OAKDALE AVENUE
APT. 102                                NORTH RIVERSIDE IL 60546                      WINNETKA CA 91306
CHICAGO IL 60641



BOGIE BLUES INVESTMENTS, INC.           BOGOLIN, NICOLE                               BOGOSSIAN, MARK
RE: MORRIS TRIBUNE                      1040 W ADAMS UNIT 102                         892 TROY SCHENECTADY RD
10603 BURNHAM COURT                     CHICAGO IL 60607                              LATHAM NY 12110
NAPERVILLE IL 60564



BOGUE, DEREK                            BOGUE, DEREK                                  BOHATY, ROBERT K
58923 BUSINESS CENTER DR                9172 JOSHUA LN                                56 WESTFIELD DRIVE
UNIT G                                  YUCCA VALLEY CA 92284                         CENTERPORT NY 11721
YUCCA VALLEY CA 92284



BOHDAN PAUK                             BOHORQUEZ, ANA P                              BOHORQUEZ, DANIEL E
2329 W THOMAS STREET                    2021 NW 64 AVENUE                             5902 GLASGOW WAY
CHICAGO IL 60622                        SUNRISE FL 33313                              TAMARAC FL 33321




BOHORQUEZ, HECTOR                       BOHORQUEZ-BONILLA, HARRINSON                  BOIANE, TOM JR
5902 GLASGOW WAY                        412 LAKEVIEW DR APT 202                       27 BENHAM ST
TAMARAC FL 33321                        WESTON FL 33326                               WATERBURY CT 06708




BOIANE, TOM JR                          BOISE CASCADE OFFICE PRODUCTS                 BOISE CASCADE OFFICE PRODUCTS
65 MILTON RD                            12131 WESTERN AVENUE                          OFFICEMAX
BRISTOL CT 06010                        GARDEN GROVE CA 92841                         FILE 42256
                                                                                      LOS ANGELES CA 90074-2256



BOISE CASCADE OFFICE PRODUCTS           BOISE CASCADE OFFICE PRODUCTS                 BOISE CASCADE OFFICE PRODUCTS
PO BOX 79515                            50 RADO DR                                    ATTN: DEE DEE
CITY OF INDUCT CA 91716                 NAUGATUCK CT 06770                            1801 CYPRESS LAKE DRIVE
                                                                                      ORLANDO FL 32837



BOISE CASCADE OFFICE PRODUCTS           BOISE CASCADE OFFICE PRODUCTS                 BOISE CASCADE OFFICE PRODUCTS
PO BOX 101705                           DBA OFFICEMAX                                 PO BOX 92735
ATLANTA GA 30392-1705                   150 EAST PIERCE RD                            CHICAGO IL 60675-2735
                                        ITASCA IL 60143




                                               Page 232 of 2387
                         Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 233 of 800
BOISE CASCADE OFFICE PRODUCTS         BOISE CASCADE OFFICE PRODUCTS                 BOISE CASCADE OFFICE PRODUCTS
6745 BUSINESS PKWY                    P.O. BOX 360755                               PITTSBURGH LOCKBOX
ELKRIDGE MD 21227                     PITTSBURGH PA 15250-6755                      ATTN 371943
                                                                                    500 ROSS ST 154-0455
                                                                                    PITTSBURGH PA 15250


BOISE CASCADE OFFICE PRODUCTS         BOISE HAWKS BASEBALL CLUB LLC                 BOISVERT, CHERYLE
1100 S INTERNATIONAL PLAZA            5600 GLENWOOD                                 720 E 4TH ST LOT NO.1
CHESAPEAKE VA 23323                   BOISE ID 83714                                COLORADO SPRINGS CO 80907




BOITNOTT, RUTH B                      BOJANOWSKI, ERIC                              BOKHTAR GHANDHI
16 HUDSON CIRC                        1901 FILLMORE ST APT 205                      1388 SUMMIT HILL DR.
NEWPORT NEWS VA 23605-1102            HOLLYWOOD FL 33020                            DELTONA FL 32725




BOKKENHEUSER, LOUISE C                BOKKENHEUSER, LOUISE ROUG                     BOKO, BANADOU
BAGHDAD BUREAU                        170 TILLARY STREET                            227 SW 4TH AVE
202 W FIRST STREET                    APT# 205                                      BOYNTON BEACH FL 33435
LOS ANGELES CA 90012                  BROOKLYN NY 11201



BOLANOS, MILTON A                     BOLD SPRING NURSERY INC                       BOLDEN, ANDRE
1435 ASHBEL AVE                       3920 BOLD SPRINGS RD                          1028 S OAK PARK AVE NO.1
BERKELEY IL 60163                     MONROE GA 30656                               OAK PARK IL 60304




BOLDEN, LISA                          BOLDEN, LISA                                  BOLDEN, LISA
10833 WILSHIRE BLVD NO.309            321 S ALMONT DR                               BOLDEN COMMUNICATIONS
LOS ANGELES CA 90024                  BEVERLY HILLS CA 90211                        2000 N CURSON AVE
                                                                                    LOS ANGELES CA 90046



BOLDEN, LISA                          BOLES, LISA                                   BOLGER, MARILYN
PMB 364                               1221 NW 31ST WAY                              229 J SPRNGMEADOW DR
269 S BEVERLY DR                      FORT LAUDERDALE FL 33311                      HOLBROOK NY 11741
BEVERLY HILLS CA 90212-3807



BOLICK, MIWA                          BOLLA, KATHERINE                              BOLLE, FRANK W
3609 N DAMEN AVE NO 1                 1325 NORTHGATE CIR         APT 201            20 OVERBROOK LANE
CHICAGO IL 60618                      OVIEDO FL 32765                               WESTON CT 06883




BOLLE, SONJA                          BOLLEN, ROGER                                 BOLLES MOTORS INC
979 WELLESLEY AVE                     255 D SOLON RD                                PO BOX 418
LOS ANGELES CA 90049                  CHAGRIN FALLS OH 44022                        VERNON CT 06066




BOLLINGER ENERGY CORP                 BOLLINGER, LORIE                              BOLLINGER, RUBERRY & GARVEY
1801 S CLINTON ST                     718 MAUCH CHUNK RD                            SCOTT BENTIVENGA
BALTIMORE MD 21224                    PALMERTON PA 18071                            CITICORP CENTER
                                                                                    500 W. MADISON ST., SUITE 2300
                                                                                    CHICAGO IL 60661-2511




                                             Page 233 of 2387
                           Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 234 of 800
BOLLINGER, RUBERRY & GARVEY             BOLLINGER, RUBERRY & GARVEY                   BOLOGNA, PETER
DAVID BARRY                             500 W MADISON ST NO.2300                      2091 N PALM CIRCLE
CITICORP CENTER                         CHICAGO IL 60661                              NORTH PALM BEACH FL 33408
500 W. MADISON ST., SUITE 2300
CHICAGO IL 60661-2511


BOLTON, DONNA J                         BOLTON, ERIC                                  BOLTON, JOHN
508 N NAGLE ST                          119 S 12TH ST  APT 3S                         9107 FERNWOOD RD
ALLENTOWN PA 18102                      ALLENTOWN PA 18102                            BETHESDA MD 20817




BOLTON, PERRY                           BOLTON, STEPHEN                               BOLTON, STEPHEN
P.O. BOX 136                            1404 1/2 ORANGE AVE                           1404 1/2 ORANGE AVE
BROOKLANDVILL MD 21022                  HUNTINGTON BEACH CA 92628                     HUNTINGTON BEACH CA 92648




BOLTON, SYNTHIA                         BOLTZ, BRIAM                                  BOLYN ELECTRIC LLC
4115 TURNBRIDGE PL                      13090 SW 16 CT                                4509 METROPOLITIAN COURT UNIT C
MEMPHIS TN 38141                        DAVIE FL 33325                                FREDERICK MD 21704




BOMAN, JUDITH M                         BOMBARD, RICHARD J                            BOMFIM, JULIA
10667 BREEZEWOOD DRIVE                  6046 N FRANCISCO GARDEN EAST                  2863 E LAKE PARK CR
WOODSTOCK MD 21163-1312                 CHICAGO IL 60659                              DAVIE FL 33328




BON SECOURS EMPLOYEE ASSISTANCE         BON SECOURS EMPLOYEE ASSISTANCE               BONACQUISTI, GINA
110 KINGSLEY LANE STE 206               EMPLOYEE ASSISTANCE PROGRAM                   1983 N VERMONT AVE NO.8
NORFOLK VA 23505                        7540 TIDEWATER DR                             LOS ANGELES CA 90027
                                        #S 10-12
                                        NORFOLK VA 23505


BONAGURO, ALISON A                      BONAN, DAVID                                  BONANO, JOHN
45 NORFOLK AV                           141 1/2 CHESTNUT RIDGE RD                     C/O SP MEDIA
CLARENDON HILLS IL 60514                BETHEL CT 06801                               PO BOX 675936
                                                                                      RANCHO SANTA FE CA 92067



BONAR, SAMANTHA                         BONASIA, JOSEPH                               BOND, CURTIS
1922 GARFIELD DR                        16 VILLAGE AVE                                101D RIVER MEADE CT
PASADENA CA 91104                       SMITHTOWN NY 11787                            YORKTOWN VA 23690




BOND, JASON C                           BOND, KATHRYN                                 BOND, KEITH
728 RIDGEWOOD WAY                       20 VERONA PL NO.2                             6400 S RICHMOND
WINTER SPRINGS FL 32708                 BROOKLYN NY 11216                             CHICAGO IL 60629




BOND-HARRIS, LAURA                      BONDED SERVICE WAREHOUSE INC                  BONDED SERVICES
449 MENOMINEE LANE                      PO BOX 44304                                  504 JANE STREET
NAPERVILLE IL 60563                     ATLANTA GA 30336                              FORT LEE NJ 07024




                                               Page 234 of 2387
                           Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 235 of 800
BONE, JOHN A                            BONER, BRADLY J                               BONET, KARLA
414 SPRINGDALE ST                       37 WHITE OWL WAY                              46 KIBBE STREET
CUMBERLAND MD 21502                     VICTOR ID 83455                               HARTFORD CT 06106




BONGIORNI, SARA                         BONGIOVANNI, ELIZABETH                        BONGIOVI,STEPHEN M
1631 BLOUIN AVENUE                      6 MORNINGSIDE CT                              3799 BROOKLYN AVE
BATON ROUGE LA 70808                    AVON CT 06001                                 SEAFORD NY 11783




BONGIOVI,STEPHEN M                      BONHAM GROUP INC                              BONIDE PRODUCTS INC
SEAFORD HIGH SCHOOL                     6400 S FIDDLERS GREEN CIRCLE STE 1600         ATTN RICH STRYKER
1575 SEAMANS NECK RD                    GREENWOOD VILLAGE CO 80111                    6301 SUTLIFF ROAD
SEAFORD NY 11783                                                                      ORISKANY NY 13424



BONIELLO, COURTNEY                      BONIFER, MARY G                               BONIKE ADEWOLE
27 STONE DRIVE                          1428 MAURY ROAD                               5100 WINDERMERE CIRCLE
GREENLAWN NY 11740                      ORLANDO FL 32804                              ROSEDALE MD 21237




BONILLA GRANILLO, LILIAN                BONILLA, ANA                                  BONILLA, HEIDY Y
363 BUNNELL ST                          424 SW 25TH TER                               1224 10TH STREET APT A
BRIDGEPORT CT 06606                     FT.LAUDERDALE FL 33312                        SANTA MONICA CA 90401




BONILLA, RAMON ANTONIO                  BONILLA, RUTH                                 BONIN,LIANE
C/PRINCIPAL NO 5                        53-11 68TH STREET                             7657 AMESTOY AVE
BAJA BONICO ARRIBA                      MASPETH NY 11378                              VAN NUYS CA 91406
IMBERT
PUERTO PLATA


BONITA BURTON                           BONITA K KRISHER                              BONIVA DOESKEN
1445 BELFIORE WAY                       26691 AVENIDA ARIVACA                         1635 SW 23RD WAY
WINDERMERE FL 34786                     MISSION VIEJO CA 92691                        DEERFIELD BEACH FL 33442




BONK, MICHELE                           BONKER, DAWN                                  BONMACHE LAMAR
445 W BARRY NO.302                      14 SARATOGA                                   85 MYANO LANE
CHICAGO IL 60657                        IRVINE CA 92620                               STAMFORD CT 06902




BONNE ANNEE, PIERRE                     BONNER, JENNIFER L.                           BONNER, WALTER
4125 TORRES CIRCLE WEST                 865 PEQUOT AVENUE                             240 LAUREL ST APT C7
WEST PALM BEACH FL 33409                SOUTHPORT CT 06890                            HARTFORD CT 06105




BONNEVILLE INTERNATIONAL CORP           BONNEVILLE INTERNATIONAL CORP                 BONNEY JR, JOHN
WTMX                                    DBA KBSG, KIRO & KTH                          3341 EASTON AVE APT 3
PO BOX 811100                           1820 EASTLAKE AVE E                           BETHLEHEM PA 18020
CHICAGO IL 60681-1100                   SEATTLE WA 98102




                                               Page 235 of 2387
                           Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 236 of 800
BONNHEIM, BRUCE                         BONNIE ALVAREZ                                BONNIE CRONIN
9035 VINEWOOD DRIVE                     PO BOX 187                                    THE CUMMINGS LAW FIRM LLC
DALLAS TX 75228                         HAPPY CAMP CA 96039                           JAMES W CUMMINGS
                                                                                      W FARRELL, 21 HOMLES AVE
                                                                                      WATERBURY CT 06710


BONNIE ELL                              BONNIE GIORDAN                                BONNIE GROSS
2920 LINDALE AVENUE                     17 SE 8 AVE                                   1907 NE 21 STREET
ORLANDO FL 32814                        DEERFIELD BEACH FL 33441                      FORT LAUDERDALE FL 33305




BONNIE HUGGINS                          BONNIE HUNTER                                 BONNIE KING
7120 SOUTH PENNSYLVANIA STREET          3801 SUMMIT VIEW DRIVE NE                     351 HIGHLAND PLACE
CENTENNIAL CO 80122                     GRAND RAPIDS MI 49525                         MONROVIA CA 91016




BONNIE LEDFORD                          BONNIE LU                                     BONNIE MABB
305 THACKERY AVE.                       211 E OHIO                                    73 STAPLE STREET
BALTIMORE MD 21228                      2410                                          GLENS FALLS NY 12801
                                        CHICAGO IL 60611



BONNIE NEMETCH                          BONNIE PHILLIPS                               BONNIE PISARSKI
133 CHICHESTER AVE                      1241 WASHINGTON STREET                        211 N. DIANTHUS STREET
HAMPTON VA 23669                        UNIT 16                                       MANHATTAN BEACH CA 90266
                                        MIDDLETOWN CT 06457



BONNIE PRASHAD                          BONNIE ROMERO                                 BONNIE RUBIN
8224 LEXINGTON VIEW LANE                25399 THE OLD RD.                             2125 MARSTON
ORLANDO FL 32835                        APT#6108                                      FLOSSMOOR IL 60422
                                        STEVENSON RANCH CA 91381



BONNIE SEXTON                           BONNIE TRAFELET                               BONNIER CORPORATION
105 WEST ROAD                           6046 N. OAKLEY                                460 N. ORLANDO AVENUE
RICHMOND MA 01254                       CHICAGO IL 60659                              SUITE 200
                                                                                      WINTER PARK FL 32789



BONNY JOCKEL                            BONNY SHONKWILER                              BONO NORDSTROM, JUDY
44 S EMERSON AVE                        1805 EDWIN BLVD                               4703 WOOD VIOLET LN
AMITYVILLE NY 11701                     WINTER PARK FL 32789                          WILLIAMSBURG VA 23188




BONOSKY, ALBERT                         BONUS MARKETING INC                           BONUS, BRIAN
1105 ST LAWRENCE DR                     1208 BETHLEHEM PIKE                           3848 MENTONE AVE NO.205
GRAND ISLAND FL 32735                   FLOURTOWN PA 19031                            CULVER CITY CA 90232




BONVISO, DIANE                          BOOKER, LINDA F                               BOOKER, MARQUETTA F
577 PARKER AVE SOUTH                    4231 NW 19TH ST NO.254                        1567-B BARRON DR
MERIDEN CT 06450                        LAUDERHILL FL 33313                           NEWPORT NEWS VA 23603




                                               Page 236 of 2387
                           Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 237 of 800
BOOKER, SUSAN A                         BOOKMAN, ZACHARY                              BOOKMAN, ZACHARY
11 CIRCLE DRIVE                         2990 CLAY ST  APT 4                           1816 94TH AVE W
BURLINGTON CT 06013                     SAN FRANCISCO CA 94115                        SEATTLE WA 98119




BOONE, BRIAN                            BOONE, KYLE V                                 BOONE, MARGARET A
64 SPANISH TRAIL APT E                  9903 GUNSTOCK ROAD                            5 BEDFORD ROAD
HAMPTON VA 23669                        RANDALLSTOWN MD 21133                         NEWPORT NEWS VA 23601




BOOSE, LENEIYA                          BOOST                                         BOOT, MAX A
2496 CENTERGATE DR # 302                2 CEDARSPRING                                 58 E 68TH ST
MIRAMAR FL 33025                        IRVINE CA 92604                               NEW YORK NY 10065




BOOTH MITCHEL & STRANGE LLP             BOOTH, DARREN                                 BOOTH, DWAYNE
707 WILSHIRE BOULEVARD                  1 RUE PACIFIQUE NO.103                        53 SUFFOLK AVE APT H
SUITE 4450                              STE ANNE DE BELLEVUE QC H9X 1C5               SIERRA MADRE CA 91024
LOS ANGELES CA 90017



BOOTH, MITCHEL & STRANGE LLP            BOOTH, MITCHEL & STRANGE LLP                  BOOTHE, CLINTON
SETH W. WHITAKER                        CHRIS C. LEWI                                 763 WRENN RD     APT C
707 WILSHIRE BOULEVARD                  707 WILSHIRE BOULEVARD                        SMITHFIELD VA 23430
SUITE 4450                              SUITE 4450
LOS ANGELES CA 90017                    LOS ANGELES CA 90017


BOOTHE, STEVEN WADE                     BOOTHE, STEVEN WADE                           BOOTMAN, CECIL
7172 CUNNING CIR                        DBA PEANUTSHELL DISTRIBUTERS                  6413 WILEY STREET
BALTIMORE MD 21220                      7172 CUNNING CIR                              HOLLYWOOD FL 33023
                                        BALTIMORE MD 21220



BOOZ, JOHN                              BOR, JONATHAN S                               BORCHERTS, JULIA L
18350 CARPENTER ST                      6214 WOODCREST AVE                            1367 W ERIE NO.4W
HOMEWOOD IL 60430                       BALTIMORE MD 21209                            CHICAGO IL 60622




BORCOVER, ALFRED                        BORDA, JULIETTE                               BORDEN JR, ALLEN L
1022 MICHIGAN AVENUE                    596 CARROLL ST NO.2                           404 NW 9TH AVE
EVANSTON IL 60202-1436                  BROOKLYN NY 11215                             POMPANO BEACH FL 33060




BORDER BILLBOARD LLC                    BORDINO, DINA M                               BORDONARO, GREGEORY
7680 W SAHARA AVE    STE 150            12 WALLINGFORD DR                             19 FAIRBANKS AVENUE
LAS VEGAS NV 89117                      MELVILLE NY 11747                             PLAINVILLE CT 06062




BOREK, MICHAEL A                        BORELLI & ASSOCIATES, P.C.                    BORELLI DIRECT, LLC
1017 REAR SOUTH M ST                    MICHAEL J. BORELLI                            3530 ROUTE 27
LAKE WORTH FL 33460                     999 WALT WHITMAN ROAD, SUITE 100              2ND FLOOR
                                        MELVILLE NY 11747                             KENDALL PARK NJ 08824




                                               Page 237 of 2387
                           Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 238 of 800
BORG LP                                 BORG LP                                       BORGARDT, JEFF
8828 STEMMONS FREEWAY STE 500           PO BOX 678138                                 4250 N MARINE STE 2934
DALLAS TX 75247                         DALLAS TX 75267-8138                          CHICAGO IL 60613




BORGE, RICHARD                          BORGENHICHT, NICOLE                           BORGESON, KELLY
459 W 49TH STREET STE 4W                561 S MOUNTAIN VIEW DRIVE                     376 2ND ST NO.4
NEW YORK NY 10019                       PALM SPRINGS CA 92264                         BROOKLYN NY 11215




BORGHESE, SUSAN HARLAN                  BORGSTROM, VALERIE                            BORICUA MARKET II
10 DAVENTRY HILL                        770 VERNON AVENUE                             106 S MARSHALL ST
AVON CT 06001                           GLENCOE IL 60022                              HARTFORD CT 06105




BORIS SESTAN                            BORITS JR, PAUL R                             BORJA PMP, MANUEL
7348 ROCK GARDEN TRAIL                  1077 POHOPOCO DR                              200 SUNSHINE DRIVE
FORT WORTH TX 76123                     LEHIGHTON PA 18235                            BOLINGBROOK IL 60490




BORJAS, JHONY A                         BORKOWSKE, ANDREW                             BORLAND SOFTWARE CORPORATION
19 LEROY PL                             2321 ESSEX STREET                             100 ENTERPRISE WAY DEPT 1410
STAMFORD CT 06902                       BALTIMORE MD 21224                            SCOTTS VALLEY CA 95066




BORLAND SOFTWARE CORPORATION            BORLAND SOFTWARE CORPORATION                  BORLAND SOFTWARE CORPORATION
DEPT 33630                              2443 WARRENVILLE ROAD                         ATTN: BOB FREER
PO BOX 39000                            SUITE 600                                     2443 WARRENVILLE ROAD
SAN FRANCISCO CA 94139                  LISLE IL 60532                                SUITE 600
                                                                                      LISLE IL 60532


BORNUNDERSTANDING, ALLAH                BOROM, ROBIN L                                BOROUGH OF LEHIGHTON
3715 TRIANON DR                         8023 JEFFERSON AVE                            ACCT NO. 22-1954-08
STE 2709                                MUNSTER IN 46321                              P.O. BOX 29
ORLANDO FL 32818                                                                      LEHIGHTON PA 18235-0029



BOROUGH OF LEHIGHTON                    BOROUGH OF NAUGATUCK                          BOROVIAN, PEGGY G
MUNICIPAL BUILDING                      229 CHURCH ST                                 10514 SW 18TH ST
P O BOX 29                              NAUGATUCK CT 06770                            MIRAMAR FL 33025
LEHIGHTON PA 18235



BOROW, ZEV                              BOROWITZ, ANDREW                              BOROWSKI,JOE
8564 FRANKLIN AVENUE                    241 CENTRAL PARK WEST 13D                     11 SCHUYLER PL W
WEST HOLLYWOOD CA 90009                 NEW YORK NY 10024                             BAYONNE NJ 07002




BORRELL & ASSOCIATES, INC               BORRELL, BRENDAN                              BORRENO, ANITA
2816 ACRES RD                           226 CARROLL ST NO.4                           1408 NE 24TH CT
NO.1100                                 BROOKLYN NY 11231                             WILTON MANORS FL 33305
PORTSMOUTH VA 23703




                                               Page 238 of 2387
                         Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 239 of 800
BORRERO, DIANA                        BORRERO, WILFREDO                             BORRY, BRIAN
6636 PAHOKEE CT                       903 FORT SMITH BLVD                           2 DWIGHT ST
COLORADO SPRINGS CO 80915             DELTONA FL 32738                              PLAINVILLE CT 06062




BORTH, LINDA                          BORTH, LINDA                                  BORTHWICK, JON
820 EUNICE AVE                        ACCT NO.756                                   1481 11TH STREET
JOLIET IL 60433                       820 EUNICE AVE                                WEST BABYLON NY 11704
                                      JOLIET IL 60433



BORTLE, GEORGE V                      BORTNER BROS INC                              BORTNICK, BENJAMIN
3455 AURANTIA ROAD                    160 CROSSWAY DRIVE                            7864 GRANADA PLACE
GEROGE V BORTLE                       EXIT 4 I-83                                   BOCA RATON FL 33433
MIMS FL 32754                         YORK PA 17402



BORTOLOT, LANA                        BORTZ, KRISTY                                 BORUCH, PATRICIA
31-74 29TH ST NO. 6J                  3943 LOVERS LN                                8545 AIRPORT RD
ASTORIA NY 11106                      SLATINGTON PA 18080                           NORTHAMPTON PA 18067




BORZOU DARAGAHI                       BORZOUEI, JENNIFER                            BORZOUEI, JENNIFER
3004 MACHEATH CRES.                   29472 THACKENY DR                             29472 THACKENY DR
FLOSSMOOR IL 60422                    LAGUNA NIGUEL CA 92677                        LAJUNA NIGUEL CA 92677




BOSCAN,GUSTAVO,J.                     BOSCHERT, SHERRY                              BOSE MCKINNEY AND EVANS LLP
16521 BLATT BLVD.                     1484 16TH AVENUE                              135 N PENNSYLVANIA ST NO.2700
NO. 211-101                           SAN FRANCISCO CA 94122                        INDIANAPOLIS IN 46204
WESTON FL 33326



BOSLEY, ERIC                          BOSLEY, NORMA                                 BOSQUET, CHARLIE
214 W KELLY AVE                       130 WENGATE ROAD                              74 MERRELL AVE APT H-43
HAMPTON VA 23663                      OWINGS MILLS MD 21117                         STAMFORD CT 06902




BOSSHARDT, RICHARD                    BOSTON CHAPTER BBWAA                          BOSTON HERALD
9524 MID SUMMER LANE                  PO BOX 7346                                   1 HERALD SQUARE
LEESBURG FL 34788                     NASHUA NH 03060                               BOSTON MA 02118




BOSTON HERALD                         BOSTON HERALD                                 BOSTON HERALD
CIRCULATION DEPARTMENT                PO BOX 2096                                   PO BOX 55843
PO BOX 55819                          BOSTON MA 02106                               BOSTON MA 02205-5843
BOSTON MA 02205-5819



BOSTON HERALD                         BOSTON RED SOX                                BOSTON RED SOX
CIRCULATION DEPARTMENT                4 YAWKEY WAY                                  4 YAWKEY WAY ATN LISA COSSITT
PO BOX 9609                           ATTN ACCOUNTS RECEIVABLE                      BOSTON MA 02215
MANCHESTER NH 03108-9609              BOSTON MA 02215




                                             Page 239 of 2387
                        Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 240 of 800
BOSTON RED SOX                       BOSTON RED SOX                                BOSTON, RICHARD W
MEDIA RELATIONS C/O PAM GANLEY       PO BOX 15476                                  3219 KELTON AVE
4 YAWKEY WAY                         BOSTON MA 02215-0008                          LOS ANGELES CA 90034
BOSTON MA 02215



BOSTROM, DONALD J                    BOSTWICK & JASSY LLP                          BOSTWICK, CHARMAINE
822 SALFORD STATION ROAD             12400 WILSHIRE BLVD SUITE 400                 8873 N ISLES CIRCLE
SCHWENKSVILLE PA 19473               LOS ANGELES CA 90025                          TAMARAC FL 33321




BOTANICAL DESIGNS INCORPORATED       BOTELER, ALISON                               BOTERO, NESTOR
4200 ALKINS AVE SW                   298 OLD BATTERY RD                            261 SW 122ND TERRACE
SEATTLE WA 98116                     BRIDGEPORT CT 06605                           PEMBROKE PINES FL 33025




BOTT, FRANK J                        BOTTAMILLER CONSTRUCTION CO                   BOTTCHER AMERICA CORPORATION
20 TRADE STREET                      55 EAST 87TH ST                               4600 MERCEDES DR
ASHEVILLE NC 28801                   INDIANPOLIS IN 46240                          BELCAMP MD 21017




BOTTCHER AMERICA CORPORATION         BOTTCHER AMERICA CORPORATION                  BOTTINELLI, CONSTANCE
4600 MERCEDES DRIVE                  PO BOX 79594                                  9080 SPRING MOUNTAIN WAY
ATTN: ROGER MOLINA                   BALTIMORE MD 21279-0594                       FT MEYERS FL 33908
(S. FLA. OFFICE)
BELCAMP MD 21017


BOUALANY, BOUASONE                   BOUALEM KIROUR                                BOUDREAU, DANIEL R
3525 S. 8TH ST                       5026 ROCKWELL                                 54 SHARREN LN
COLUMBUS OH 43207                    CHICAGO IL 60632                              ENFIELD CT 06082




BOUDREAU, SCOTT L                    BOUDREAUX,RICHARD L                           BOUDREAUX,RICHARD L
27558 S STONEY ISLAND AVE            MEXICO CITY BUREAU                            ROME BUREAU
CRETE IL 60417                       LA TIMES FOREIGN DESK                         C/O EXPENSE REPORTING, 4TH FLOOR
                                     202W 1ST ST                                   LOS ANGELES CA 90012
                                     LOS ANGELES CA 90012


BOUGERE, KAAVON M                    BOUGERS, MARVIN                               BOUIE, RUSSELL
1050 FLORIDA BLVD APT 145            1503 NW 3 COURT NO.2                          165 SHABBONA DRIVE
BATON ROUGE LA 70815                 FORT LAUDERDALE FL 33311                      PARK FOREST IL 60466




BOULAY, PETER                        BOULDER COUNTY SHERIFFS DEPT                  BOULDER COUNTY TREASURER
5400 FIELDSTON ROAD APT 31E          1777 6TH STREET                               PO BOX 471
BRONX NY 10471                       BOULDER CO 80302                              BOULDER CO 80306-0471




BOULDREY, BRIAN DOUGLAS              BOULIN, ANGUS                                 BOULMETIS, LOU
5065 N WOLCOTT REAR UNIT             609 SE 2ND AV                                 19 ASHFIELD DR
CHICAGO IL 60640                     DELRAY BEACH FL 33483                         LITTLESTOWN PA 17340




                                            Page 240 of 2387
                            Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 241 of 800
BOULMETIS, LOU                           BOURASSA II, JAMES M                          BOURASSA-CURTIS, SHELLY
WHEN TO GARDEN                           51 CHURCH ST                                  40 LINCOLN ST
19 ASHFIELD DR                           WINDSOR LOCKS CT 06096                        ENFIELD CT 06082
LITTLESTOWN PA 17340



BOURBONNAIS, STACY ANN                   BOURDIER, ANDRE C                             BOURGOIN, ANNETTE
7541 BANNER CT                           3600 DELGADO AVENUE                           6 STORRS RD
COLORADO SPRINGS CO 80920                APT D                                         ENFIELD CT 06082
                                         NEW ORLEANS LA 70119



BOURGON, MICHAEL G                       BOURMECHE, SAMI K                             BOURQUE, THOMAS
1150 WEST ILLINOIS AVENUE                341 NE 27 STREET                              32 PARK AVENUE
PALATINE IL 60067                        POMPANO BEACH FL 33064                        CAMBRIDGE MA 02138




BOURSIQUOT, FREDNER                      BOUSQUET, LISA LEE                            BOUWFONDS HAWTHORNE LP
5601 SW 12TH STREET APT B-202            47 KELSEYTOWN RD                              5510 MOREHOUSE DR  STE 200
NORTH LAUDERDALE FL 33068                CLINTON CT 06413                              SAN DIEGO CA 92121




BOUYER, DEJUAII                          BOVARD, KAREN A                               BOVEN, ANDREW
108 FLORIDA PARKWAY                      259 FARMHILL RD                               5139 NW 12TH LANE
KISSIMMEE FL 34743                       MIDDLETOWN CT 06457-4224                      DEERFIELD BEACH FL 33442




BOVIS, NATALIE                           BOWATER AMERICA INC                           BOWATER AMERICA INC
333 WASHINGTON BLVD NO.215               PO BOX 100207                                 C/O 14726 COLLECTIONS CENTER DR
MARINA DEL RAY CA 90292                  ATLANTA GA 30384                              CHICAGO IL 60693




BOWATER AMERICA INC                      BOWATER AMERICA INC                           BOWATER INC. (ABITIBI BOWATER INC.)
PO BOX 75081                             55 E CAMPERDOWN WAY                           ATTN: DAVID J PATERSON, PRESIDENT & CEO
CHARLOTTE NC 28275                       PO BOX 1028                                   1155 METCALFE STREET, SUITE 800
                                         GREENVILLE SC 29602                           MONTREAL QC H3B 5H2



BOWDEN JR, BRAD                          BOWDEN, MARK                                  BOWDEYA TWEH
3495 OSCORS RD                           323 CLEARFIELD DR                             1519 S. OCEAN DRIVE
ELLENWOOD IL 30294                       LINCOLN UNIVERSITY PA 19352                   FT. LAUDERDALE FL 33316




BOWE BELL & HOWELL                       BOWE BELL & HOWELL                            BOWE BELL & HOWELL
33990 TREASURY CTR                       PO BOX 71297                                  3501 B TRI-CENTER BLVD
CHICAGO IL 60694-3900                    CHICAGO IL 60694-1297                         DURHAM NC 27713




BOWE BELL & HOWELL                       BOWE BELL & HOWELL                            BOWEN, ANDREA
3791 S ALSTON AVE                        PO BOX 60731                                  1913 SOUTH OCEAN DR APT 228
DURHAM NC 27713                          CHARLOTTE NC 28260-0731                       HALLANDALE FL 33009




                                                Page 241 of 2387
                         Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 242 of 800
BOWEN, CALETO                         BOWEN, GARTH                                  BOWEN, GUY M
174 HAROLD ST                         6734 CHARLES STREET                           1913 S OCEAN DR NO.228
HARTFORD CT 06112                     TOWSON MD 21204                               HALLANDALE FL 33009




BOWEN, JOHN GEORGE                    BOWEN, ROBERT M                               BOWEN, SHARON M
450 NW 87 RD                          2498 HIGHWAY 81 EAST                          15 NIGHTINGALE WAY
#201                                  MCDONOUGH GA 30252                            APT. C11
PLANTATION FL 33324                                                                 LUTHERVILLE MD 21093



BOWENS, LUCY                          BOWER, JACQUELINE                             BOWER, TIM
7259 S PAULINA                        5937 FURNACE HILL RD                          6011 INDIAN CREEK RD
CHICAGO IL 60636                      ZIONSVILLE PA 18092                           ZIONSVILLE PA 18092




BOWERBANK, YASMIN                     BOWERMAN, SUSAN                               BOWERS, GLEN
6791 NW 28TH ST                       2211 PROSSER AVE                              1220 TWIG TERRACE
SUNRISE FL 33313                      LOS ANGELES CA 90064                          SILVER SPRING MD 20905




BOWERS, KEVIN                         BOWERS, KEVIN                                 BOWERS, MICHELLE ANNE
16 WHITING STREET APT.NO.36           20 BROAD ST                                   8151 WALTON ROAD
PLAINVILLE CT 06062-2242              PLAINVILLE CT 06062                           SEVERN MD 21144




BOWINGS, ROBERT L.                    BOWKER, PAUL D                                BOWLER, MICHAEL H
2806 SUMMIT AVE                       502 HUNTERS COURT                             309 OAK FOREST AVE
BALTIMORE MD 21234                    CHESTERTON IN 46304                           BALTIMORE MD 21228




BOWLING, PATRICIA                     BOWMAN, MARGUERITE                            BOWMAN, MICHAEL L
4534 KERLE ST                         2303 S 2ND ST                                 3623 ALEXANDER RD
JACKSONVILLE FL 32205                 ALLENTOWN PA 18103                            FORESTON IL 61030




BOWMAN, MICHAEL L                     BOWMAN, RODERICK                              BOWMAN, STEPHANIE
3623 ALEXANDER RD                     2901 SW 11TH ST                               3913 ARABIAN WAY
FORRESTON IL 60130                    FT. LAUDERDALE FL 33312                       SNELLVILLE GA 30039




BOWRING MARSH (BERMUDA) LTD           BOWRING MARSH (BERMUDA) LTD                   BOWTIE INC
CRAIG APPIN HOUSE                     69 PITTS BAY ROAD                             12246 COLONY AVE
8 WESLEY STREET                       PEMBROKE HM 08                                CHINO CA 91710
HAMILTON HM 11



BOWTIE INC                            BOWTIE INC                                    BOWYER, PAUL
2401 BEVERLY BLVD                     PO BOX 6040                                   52 RUE SAINT GEORGES
LOS ANGELES CA 90057                  MISSION VIEJO CA 92690                        PARIS 75009




                                             Page 242 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 243 of 800
BOX OFFICE MOJO LLC                    BOX SERVICES LLC                              BOY SCOUT TROOP 339 INC
118 S SPARKS ST                        412 WEST 14TH ST                              3871 NW 108TH DR
BURBANK CA 91506                       NEW YORK NY 10014                             CORAL SPRINGS FL 33065




BOY SCOUT TROOP 601                    BOY SCOUTS OF AMERICA                         BOY SCOUTS OF AMERICA
10829 HILLTOP LN                       2080 BOULEVARD                                60 DARLIN ST
COLUMBIA MD 21044-3722                 W HARTFORD CT 06107                           PO BOX 2800098
                                                                                     E HARTFORD CT 06128-0098



BOYAJIAN, ADAM                         BOYAR, JAY M                                  BOYARSKY, BENJAMIN WILLIAM
PO BOX 892                             416 LONDON RD                                 2135 GREENFIELD AVE
COLOMA MI 49038                        WINTER PARK FL 32792                          LOS ANGELES CA 90025




BOYCE JR, WILLIAM R                    BOYCE, JACQUELYN                              BOYCE, KIMBERLY
132-43 41ST AVE                        4 AINTREE RD                                  2662 IVAN HILL TERRACE
FLUSHING NY 11355                      BALTIMORE MD 21286                            LOS ANGELES CA 90039




BOYCE, LARIE A                         BOYCE, MARKEISIO                              BOYCE, MAUREEN
25 WOODMINT PL                         3385 WILL LEE RD                              711 NE 5TH AVE
MALTA NY 12020                         COLLEGE PARK GA 30349                         POMPANO BEACH FL 33060




BOYCE, SEAMUS P                        BOYD ROBERTSON                                BOYD, CHRISTOPHER C
12296 SAGAMORE WOODS DR                29 FALLINGSTAR                                7891 BRIDGESTONE DRIVE
FISHERS IN 46037                       IRVINE CA 92614                               ORLANDO FL 32835




BOYD, ERIC M                           BOYD, GUY                                     BOYD, JEFFREY R
21103 DUMETZ ROAD                      316 WESTWOOD PKWY NO.6                        861 LYNDSI
WOODLAND HILLS CA 91364                AUSTELL GA 30168                              HINESVILLE GA 31313




BOYD, JOHN                             BOYD, KEVIN                                   BOYD, LARRY
1112 VILLAGE CIR                       240 LINDEN AVENUE                             10312 MC VICKES
STONE MOUNTAIN GA 30088                WILMETTE IL 60091                             CHICAGO RIDGE IL 60415




BOYD, NATOSHA                          BOYD, NATOSHA                                 BOYD, OMAR K
1931 KENSINGTON DRIVE                  1931 KENSINTON DRIVE                          1120 N. 14TH AVENUE #6
HAMPTON VA 23663                       HAMPTON VA 23663                              HOLLYWOOD FL 33020




BOYD, PRINCE HENRY                     BOYD, TONYA L                                 BOYD, VALERIE
2546 WILEY ST                          11 BERKLEY DR                                 967 ABINGDON CT
HOLLYWOOD FL 33020                     HAMPTON VA 23663                              STONE MOUNTAIN GA 30083




                                              Page 243 of 2387
                           Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 244 of 800
BOYDEN-HOLMES, ZACHARY J                BOYER PROPERTIES INC.                         BOYER, JORDAN
3211 W DE LEON  NO.5                    RE: CHESTERTON 781 MICHAEL DR                 3061 MOSSER DR
TAMPA FL 33609                          ATTN: MR. BRUCE E. BOYER                      ALLENTOWN PA 18103
                                        2165 U.S. 41
                                        SHERERVILLE IN 46375


BOYER, SAM                              BOYER, ZACHARY                                BOYKIN, NATHANEL J
3666 LAS FLORES CYN RD                  103 IVY LANE                                  2050 PORTZER RD
MALIBU CA 90265                         SOUTH WINDSOR CT 06074                        QUAKERTOWN PA 18951




BOYKIN, NATHANEL J                      BOYKINE, GERRELL                              BOYLAN, THOMAS KELLEY
2054 PORTZER RD                         1606 PINE GLEN CIRCLE                         1243 ROSCOE
QUAKERTOWN PA 18951                     DECATUR GA 30035                              CHICAGO IL 60657




BOYLE, ALIX                             BOYLE, CHRISTOPHER JOSEPH                     BOYLE, JOANNE
36 WEBSTER POINT RD                     1095 LAKE ROGERS ST                           64 SPRING HILL RD
MADISON CT 06443                        OVIEDO FL 32765                               HEREFORD CT 18056




BOYLE, JOANNE                           BOYLE, TIMOTHY                                BOYNTON BEACH COMMUNITY HIGH SCHOOL
64 SPRING HILL RD                       25532 N 114TH ST                              4975 PARK RIDGE RD
HEREFORD PA 18056                       SCOTTSDALE AZ 85255                           BOYNTON BCH FL 33435




BOYNTON, JUDITH S                       BOYNTON, JUDITH S                             BOYS & GIRLS CLUB OF ALLENTOWN
115 LONG HILL RD                        BOYNTON PUBLICATIONS                          ADM OFFICE
CHESHIRE CT 06410                       1155 LONG HILL RD                             720 N 6TH ST
                                        CHESHIRE CT 06410                             ALLENTOWN PA 18102



BOYS & GIRLS CLUB OF THE                BOYS FARMERS MARKET                           BOYS TOWN JERUSALEM FOUNDATION
VIRGINIA PENINSULA                      14378 MILITARY TRL                            OF AMERICA INC
11825 ROCK LANDING DR                   DELRAY BEACH FL 33484                         1 PENN PLAZA   NO.6250
CHESAPEAKE BLDG STE B                                                                 NEW YORK NY 10001
NEWPORT NEWS VA 23606


BOYSON JR, CORNELIUS                    BOYSON JR, CORNELIUS                          BOYSON, GREG
8218 S CALUMET       0154               CORNELIUS BOYSON JR                           2530 TRINITY CIR NO.B
CHICAGO IL 60619                        ID 345483533                                  COLORADO SPRINGS CO 80918
                                        ACS SUPPORT STOP 813G , PO BOX 145566
                                        CINCINNATI OH 45250-5566


BOZCO RESOURCES                         BOZCO RESOURCES                               BOZCO RESOURCES
2191 BIRCHDALE DR                       5273 COMMERCE NO.3                            ROBERT E HILDING
THOUSAND OAKS CA 91362                  MOORPARK CA 93021                             2191 BIRCHDALE DR
                                                                                      THOUSAND OAKS CA 91362



BOZEK, MARYANN                          BOZIKIS, JAMES P                              BP
4857 TYRONE AVE                         735 N DRURY LN                                109 NORTH PARK BLVD SUITE 500
SHERMAN OAKS CA 91423                   ARLINGTON HTS IL 60004                        COVINGTON LA 70433




                                               Page 244 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 245 of 800
BP                                     BP                                            BP PRODUCTS NORTH AMERICA INC
PO BOX 70887                           C/O PNC BANK                                  P O BOX 689076
CHARLOTTE NC 28272-0887                620 LIBERTY AVE                               DES MOINES IA 50368-9076
                                       PITTSBURGH PA 15265



BP PRODUCTS NORTH AMERICA INC          BP PRODUCTS NORTH AMERICA INC                 BP PRODUCTS NORTH AMERICA INC
P O BOX 9008                           P O BOX 9030                                  PO BOX 9008
DES MOINES IA 50368                    DES MOINES IA 50368                           TRANSICARD
                                                                                     DES MOINES IA 50368



BP PRODUCTS NORTH AMERICA INC          BPB TRIBUNAL                                  BPB TRIBUNAL INC
PO BOX 70887                           25984 W. INDIAN TRAIL RD                      25984 W INDIAN TRAIL ROAD
CHARLOTTE NC 28272-0887                BARRINGTON IL 60010                           BARRINGTON IL 60010




BPH PUMP & EQUIPMENT INC               BPL SERVICES INC                              BR NEWS PPR DIST INC
888 EAST BELVIDERE ROAD                9828 S AUSTIN AVE                             4208 CORTE AZUL
GRAYS LAKE IL 60030                    OAK LAWN IL 60453                             OCEANSIDE CA 92056




BRABENDER COX LLC                      BRABENDER COX LLC                             BRABYN, DAVID
100 WEST STATION SQUARE DR             1218 GRANDVIEW AVE 1ST FLOOR                  14 SQUARE CHAURE
STE 315                                PITTSBURGH PA 15211                           PARIS 75020
PITTSBURGH PA 15219



BRABYN, DAVID                          BRACHO, JOSE MIGUEL                           BRACKETT, AARON C
230 W 147TH ST APT 5Q                  URB NUEVA TABORDA                             13138 ROSSMOOR LN
NEW YORK NY 10039                      VEREDA 3 CASA NO.33                           ROCKTON IL 61072
                                       PUERTO CABELLO
                                       EDO CARABOBO


BRACKMAN, CHARLES M                    BRACY CONTRACTING INC                         BRACY CONTRACTING INC
400 HYDE ST  APT 309                   4240 TILGHMAN STREET                          ATTN: DANIEL L PUNCHY
SAN FRANCISCO CA 94109                 ALLENTOWN PA 18104                            4240 TILGHMAN ST
                                                                                     ALLENTOWN PA 18104



BRAD AMOROSINO                         BRAD BLAKEMORE                                BRAD BONHALL
16 SHOREHAM ROAD                       PO BOX 717                                    56 HAVENWOOD
NEW HAVEN CT 06512                     FARMERSVILLE TX 75442                         IRVINE CA 92614




BRAD CHENEY                            BRAD COX                                      BRAD GARFIELD
65 EAST WASHINGTON STREET              918 JESSICAS LANE                             2 BRYSON STREET
APT. 2303                              BEL AIR MD 21014                              LARCHMONT NY 10538
NORTH ATTLEBORO MA 02760



BRAD GOLDSTEIN                         BRAD GONDA                                    BRAD HANSON
3721 CASTLE ROCK DR.                   4237 N. ASHLAND AVE.                          22622 EVALYN AVENUE
ZIONSVILLE IN 46077                    CHICAGO IL 60613                              TORRANCE CA 90505




                                              Page 245 of 2387
                         Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 246 of 800
BRAD JAHNKE                           BRAD KING COMMUNICATIONS                      BRAD MAXWELL
6549 SOUTH FAIRFIELD                  C/O EBBTIDE BWINAS SERVICES INC               4814 BLACKTHORNE
CHICAGO IL 60629                      301 CENTRAL AVE PMB 392                       LONG BEACH CA 90808
                                      HILTON HEAD ISLAND SC 29926



BRAD PARNELL                          BRAD SCHLEICHER                               BRAD SIKORA
88 MAPLE ROAD                         463 DOMINIQUE COURT                           3405 W. DICKENS
ROCKY POINT NY 11778                  SYKESVILLE MD 21784                           #2
                                                                                    CHICAGO IL 60647



BRAD STANTON PHOTOGRAPHY              BRAD TUCKER                                   BRAD WALKER
18 FINANCE DR                         4019 MONROE STREET                            22061 ISLANDER LANE
DANBURY CT 06810                      DANIELSVILLE PA 18038                         HUNTINGTON BEACH CA 92646




BRAD WILCOX                           BRAD WILLS                                    BRADBURD, RUSSELL T
23839 DEL MONTE DRIVE                 C/O KSWB TV                                   440 W LAS CRUCES
APT 83                                7191 ENGINEER RD.                             LAS CRUCES NM 88005
VALENCIA CA 91355                     SAN DIEGO CA 92111



BRADDY, EMMA M                        BRADEN, THERESA                               BRADEN, TYRA
210 MAPLE AVE                         3601 S. 53RD STREET                           4525 HARRIET LANE
NEWPORT NEWS VA 23607                 GREENFIELD WI 53220                           BETHLEHEM PA 18017




BRADENTON HERALD                      BRADFORD LUCK                                 BRADFORD SCHULTZ
PO BOX 921                            501 W. OLYMPIC BLVD.                          3819 SOUTH 94TH STREET
BRADENTON FL 34205                    #506                                          MILWAUKEE WI 53228
                                      LOS ANGELES CA 90015



BRADFORD, TINA                        BRADLEY 1000 LLC                              BRADLEY 1000 LLC
131 WHARTON LANE                      RE: LAKE FOREST 28457 BALLARD, C/O METRO      RE: LAKE FOREST 28457 BALLARD, C/O METRO
BETHLEHEM PA 18017                    RESOURCE INVESTMENT & MANAGEMENT INC          RESOURCE INVESTMENT & MANAGEMENT INC
                                      4069 JOSEPH, SUITE B3                         4069 JOSEPH DRIVE
                                      WAUKEGAN IL 60087                             WAUKEGAN IL 60087


BRADLEY BAKER                         BRADLEY BAUER                                 BRADLEY BOWEN
700 D STREET                          808 RICE ST                                   1721 S PROCTOR STREET
PASADENA MD 21122                     HIGHLAND PARK IL 60035-4739                   TACOMA WA 98045




BRADLEY GLANZROCK                     BRADLEY GOOD                                  BRADLEY GUNN
1829 ONTARIO PLACE, NW                230 STALLION LANE                             437 EAST BELVIDERE STREET
WASHINGTON DC 20009                   SCHWENKSVILLE PA 19473                        APT # F1
                                                                                    NAZARETH PA 18064



BRADLEY HOWARD                        BRADLEY JORGENSEN                             BRADLEY KLEVEN
327 SOUTH FREMONT AVENUE              418 EAST FREELAND STREET                      3307 CHEASTY BLVD SOUTH
BALTIMORE MD 21230                    APT #4                                        SEATTLE WA 98144
                                      LONG BEACH CA 90807




                                             Page 246 of 2387
                         Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 247 of 800
BRADLEY KRUM                          BRADLEY LUTHIN                                BRADLEY MARK NELSON
1231 LOWER SOUTH MAIN STREET          5331 SW 7TH ST                                674 WEST TENTH STREET
BANGOR PA 18013                       MARGATE FL 33068                              CLAREMONT CA 91711




BRADLEY MOORE                         BRADLEY OLSON                                 BRADLEY PIPER
1634 W. WABANSIA AVE                  3622 SHIPMAN LANE                             1127 E. 61ST STREET
CHICAGO IL 60622                      SPRING TX 77388                               #2
                                                                                    CHICAGO IL 60637



BRADLEY PLATT                         BRADLEY REPRESENTATIVE                        BRADLEY SCHMIDT
188 EAST 6TH STREET                   455 E KEHOE                                   1210 CRANBERRY LANE WEST
DEER PARK NY 11729                    SUITE 108                                     YORK PA 17402
                                      CAROL STREAM IL 60188



BRADLEY STERTZ                        BRADLEY, BRIAN                                BRADLEY, DIANA
2200 FERDINAND PORSCHE DRIVE          3304 HARGILL DRIVE                            4688 CEDAR PARK WAY
HERNDON VA 20171                      ORLANDO FL 32806                              STONE MOUNTAIN GA 30083




BRADLEY, GALEN G                      BRADLEY, KEENA                                BRADLEY, LASHON
240 BRIARWOOD CT                      124 S 11TH AVE                                7243 S. JEFFERY, NO.1A
ALLENTOWN PA 18104                    MAYWOOD IL 60153                              CHICAGO IL 60649




BRADLEY, SEAN                         BRADLEY, TIMOTHY                              BRADLY WILKINS
10749 SARAH ST                        810 OXFORD LN APT 407                         22500 EAST ONTARIO DRIVE
TOLUCA LAKE CA 91602                  COLORADO SPRINGS CO 80906                     #5-204
                                                                                    AURORA CO 80016



BRADNER SMITH & COMPANY               BRADNER SMITH & COMPANY                       BRADSHAW JR, CARL L
2300 ARTHUR AVE                       PO BOX 73373                                  934 WALNUT ST 2ND FLOOR
ELK GROVE VILLAGE IL 60007            CHICAGO IL 60673-7373                         ALLENTOWN PA 18102




BRADSHAW, MICHAEL                     BRADSHER, BETHANY                             BRADWELL, LARKIA
106 7TH AVE NO.1F                     1604 WOODWIND DR                              3120 NW 4TH CT
BROOKLYN NY 11215                     GREENVILLE NC 27858                           FT LAUDERDALE FL 33311




BRADY RHOADES                         BRADY, COLIN                                  BRADY, COLIN
785 CARHART AVENUE                    201 LITTLE HAMPTON CLOSE                      201 LITTLE HAMPTON CLOSE
FULLERTON CA 92833                    CASSLEBERRY FL 32707                          LONGWOOD FL 32779




BRADY, CONNOLLY & MASUDA              BRADY, CONNOLLY & MASUDA                      BRADY, KELLEY
FRANK BRADY                           VALERIE PEILER                                3358 MEGANS WAY
ONE N. LASALLE ST.                    ONE N. LASALLE ST.                            OLNEY MD 20832
SUITE 1000                            SUITE 1000
CHICAGO IL 60602                      CHICAGO IL 60602




                                             Page 247 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 248 of 800
BRADY, SHAVETTE                        BRAFF, DANIELLE                               BRAGA, DANIEL
1138 N FOSTER DRIVE                    1421 S WABASH AVE NO.4W                       1035 NW 5TH AVE
BATON ROUGE LA 70806                   CHICAGO IL 60605                              BOCA RATON FL 33432-2515




BRAGDON, DAVID LINCOLN                 BRAGGS, LANITA                                BRAINFOREST INC
1221 SW 10TH NO.1106                   3338 W 83RD PL                                2211 N ELSTON AVE    NO.301
PORTLAND OR 97205                      CHICAGO IL 60652                              CHICAGO IL 60614




BRAINTRUST MARKETING                   BRAINWORKS SOFTWARE DEVELOPMENT INC           BRAITSCH JR, RICHARD G
4031 DEAN MARTIN DR                    100 SOUTH MAIN ST 1ST FLOOR                   2139 WHISTLER AVE
LAS VEGAS NV 89103                     SAYVILLE NY 11782                             BALTIMORE MD 21230




BRALY, BRUCE                           BRALY, BRUCE                                  BRAMHAM, YOLANDA A
1239 E 8TH ST                          1239 E 8TH ST                                 3423 S HARLEM AVE
DAVIS CA 95616                         DAVIS CA 95617                                APT 301
                                                                                     BERWYN IL 60402



BRANAM, KANDRA R                       BRANCH, BRANDON                               BRANCH, CASSIUS L
PO BOX 1621                            1 SACRAMENTO DR     APT 59                    1847 NW 127 AVE
MOUNTAIN HOME AR 72654                 HAMPTON VA 23666-1676                         PEMBROKE PINES FL 33028




BRANCH, KURT                           BRANCH, SCOTT A                               BRANCHETTI, PAULA
736 48TH ST                            739 11TH STREET NO.10                         6133 HAYES ST
NEWPORT NEWS VA 23607                  MIAMI BEACH FL 33139                          HOLLYWOOD FL 33024




BRANCHING OUT PRODUCTIONS INC          BRAND, ARIEL SOHN                             BRAND, WILLIAM
26 MONROE STREET                       280 WOODHAVEN RD                              26 PASTURE LAND
PORT WASHINGTON NY 11050               GLASTONBURY CT 06033                          LEVITTOWN NY 11756




BRANDARIZ JR, JUAN A                   BRANDARIZ, JUAN                               BRANDARIZ, VERONICA
3265 NW 118TH DRIVE                    3265 NW 118 DR                                5755 NW 58 AVE # I-109
CORAL SPRINGS FL 33065                 CORAL SPRINGS FL 33065                        TAMARAC FL 33319




BRANDES, PHILIP                        BRANDI CATALANATTO                            BRANDI CHERRY
3914 LA COLINA                         6665 MEMPHIS STREET                           723 WALNUT STREET
SANTA BARBARA CA 93110                 NEW ORLEANS LA 70124                          1ST FLOOR
                                                                                     ALLENTOWN PA 18101



BRANDI LAM                             BRANDI LARSEN                                 BRANDI NANCE
1242 SULPHUR SPRING RD.                1435 W. ARTHUR AVENUE                         7613 JACKSON AVE.
BALTIMORE MD 21227                     2                                             HAMMOND IN 46324
                                       CHICAGO IL 60626




                                              Page 248 of 2387
                           Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 249 of 800
BRANDI PURDIE                           BRANDI THEARD                                 BRANDI WILLIAMS
7161 ATLANTIC PLACE                     1431 SYLVIA AVENUE                            22100 BURBANK BLVD
LONG BEACH CA 90805                     METAIRIE LA 70005                             APT#153F
                                                                                      WOODLAND HILLS CA 91367



BRANDICE TRIPLETT                       BRANDIE HODGES                                BRANDO, ALDO
1145 LINCOLN TERRACE                    440 LAFAYETTE AVE SE                          17855 NW 21ST STREET
WINTER GARDEN FL 34787                  APT 2                                         PEMBROKE PINES FL 33029
                                        GRAND RAPIDS MI 49503



BRANDON ADAMS                           BRANDON ARNOLD                                BRANDON BAIN
1930 RACHEL'S RIDGE LOOP                3967 NOBEL AVE #250                           1719 NEWKIRK AVENUE
OCOEE FL 34761                          SAN DIEGO CA 92111                            BROOKLYN NY 11226




BRANDON BANKS                           BRANDON DELOACH                               BRANDON DRAKE
114 TOWNE SQUARE DRIVE                  6173 WESTGATE DR.                             9618 S. VANVLISSINGEN RD
NEWPORT NEWS VA 23607                   APT 531                                       CHICAGO IL 60617
                                        ORLANDO FL 32835



BRANDON DRUMMOND                        BRANDON FERRILL                               BRANDON GRAHAM
119 SOUTH NINTH STREET                  744 NE 14TH AVE                               6108 STEM WINDER CT
ALLENTOWN PA 18102                      APT 17                                        COLUMBIA MD 21044
                                        FORT LAUDERDALE FL 33304



BRANDON GRIM                            BRANDON HOPP                                  BRANDON LEWIS
43145 SUGAR                             4910 WESTHILLS ROAD                           620 RANDOLPH ROAD
LANCASTER CA 93536                      BALTIMORE MD 21229                            NEWPORT NEWS VA 23605




BRANDON MCGINNIS                        BRANDON MERCER                                BRANDON POSTEMSKI
1255 S. HARDING                         520 SANDBURG DRIVE                            80 HOUSE STREET
CHICAGO IL 60623                        SACRAMENTO CA 95819                           APT. D11
                                                                                      GLASTONBURY CT 06033



BRANDON RECATTO                         BRANDON REDENIUS                              BRANDON SING
534 W. PAR ST.                          1731 N STREET #12                             1317 PHOENIX LANE
ORLANDO FL 32804                        SACRAMENTO CA 95811                           JOLIET IL 60431




BRANDON WORSTER                         BRANDON YOUNG                                 BRANDON, HEATHER M
822 ARDMORE PLACE                       1212 SOUTH ELECTRIC AVENUE                    95 EUCLID AVE
BELLMORE NY 11710                       ALHAMBRA CA 91803                             SPRINGFIELD MA 01108




BRANDOW AND JOHNSTON ASSOCIATES         BRANDOW AND JOHNSTON ASSOCIATES               BRANDSERTS LLC
1660 WEST THIRD STREET                  444 SOUTH FLOWER ST  STE 400                  2400 BOSTON ST     STE 201
LOS ANGELES CA 90017                    LOS ANGELES CA 90071                          BALTIMORE MD 21224




                                               Page 249 of 2387
                           Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 250 of 800
BRANDSMART USA                          BRANDSMART USA                                BRANDSMART USA
12801 W SUNRISE BLVD                    3200 SW 42ND STREET                           3450 NW 112 STREET
SUNRISE FL 33323                        HOLLYWOOD FL 33312                            MIAMI FL 33167




BRANDSMART USA                          BRANDSMART USA                                BRANDT, DAVID
855 NATURA BLVD                         855 NATURA BLVD.                              123 COUNTY ROAD 1094
ATTN: SHARI                             ATTN: MARK (APPLIANCES)                       OXFORD MS 38655
DEERFIELD BEACH FL 33441                DEERFIELD BEACH FL 33441



BRANDT, PAMELA                          BRANDWIN, KIM                                 BRANDWYNNE COMPANY
3301 NE 5TH AVE NO.205                  12104 BONITA AVE                              11953 BRIARVALE LANE
MIAMI FL 33137                          OWINGS MILL MD 21117                          STUDIO CITY CA 91604




BRANDY ELLISON                          BRANDY REY                                    BRANDY VALENTINE
2231 WOLF RIDGE LANE                    5168 PRIMROSE AVENUE                          3940 1/2 KENTUCKY DR.
MOUNT DORA FL 32757                     INDIANAPOLIS IN 46205                         LOS ANGELES CA 90068




BRANK, EVE                              BRANN & ISSACSON                              BRANSCH INC
2106 NW 27TH TERRACE                    184 MAIN ST                                   131 VARICK ST NO.1006
GAINESVILLE FL 32605                    PO BOX 3070                                   NEW YORK NY 10016
                                        LEWISTOWN ME 04243-3070



BRANT PARSONS                           BRANTLEY PHOTOGRAPHY                          BRAREN, REBECCA
1375 LAKE SHADOW CIRCLE                 19 SAILFISH LANE                              3820 GOLDWYN TERRACE
#11-301                                 OCEAN RDIGE FL 33435                          CULVER CITY CA 90232
MAITLAND FL 32751



BRASSRING INC                           BRASSRING INC                                 BRASSRING INC
1528 S. EL CAMINO REAL                  4701 PATRICK HENRY DR                         PO BOX 26786
SUITE 100                               STE 1901                                      NEW YORK NY 10087-6786
SAN MATEO CA 94402                      SANTA CLARA CA 95054-1847



BRASSRING INC                           BRATHWAITE, LESTER F                          BRATSKEIR, ANNE REZNIKOFF
PO BOX 3276                             11 S CLINTON ST                               1 LIGHTHOUSE RD
DUBLIN OH 43016-0127                    POUGHKEEPSIE NY 12601                         SANDS POINT NY 11050




BRATTON, MARY K                         BRAUN, KAREN                                  BRAUN, STEPHEN S
5978 BRAEMAR PLACE                      605 LYNCHBURG CT                              6207 CRATHIE LANE
#104                                    NAPERVILLE IL 60540                           BETHESDA MD 20816
ORLANDO FL 32822



BRAUNSTEIN, BRUCE                       BRAUNSTEIN, DANA J                            BRAUNSTEIN, ERIK
357 S FAIRFAX AVE NO.232                9203 NW 38TH DR NO.8                          1724 1ST AVE   5C
LOS ANGELES CA 90036                    CORAL SPRINGS FL 33065                        NEW YORK NY 10001




                                               Page 250 of 2387
                         Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 251 of 800
BRAVER & SAUER INVESTMENTS            BRAVER & SAUER INVESTMENTS                    BRAVER & SAUER INVESTMENTS
RE: HOLLYWOOD 233 241 N. WE           8840 WILSHIRE BLVD 2ND FLOOR                  C/O STEVE SAUER
C/O STEVE SAUER                       BEVERLY HILLS CA 90211                        8840 WILSHIRE BLVD 2ND FLOOR
8840 WILSHIRE BLVD 2ND FLOOR                                                        BEVERLY HILLS CA 90211
BEVERLY HILLS CA 90211


BRAVER AND SAUER INVESTMENTS          BRAVO GRAPHICS INC                            BRAVO MEDIA
RE: HOLLYWOOD 233 241 N. WE           PO BOX 820788                                 35W991 RIVER GRANGE RD
138 SO. FORMOSA AVE.                  FT WORTH TX 76182                             ST CHARLES IL 60175
LOS ANGELES CA 90036



BRAVO MEDIA                           BRAVO, ALFRED A                               BRAVO, BEATRIZ E
PO BOX 915                            2514 E HAMPTON AVE                            14779 DEER DR
ST CHARLES IL 60174                   MESA AZ 85204                                 FONTANA CA 92336




BRAVO, JOSE LUIS                      BRAVO, MICHAEL                                BRAVO,JORGE,E
2225 S HALLADAY ST                    3420 W NORTH AVE                              1722 ROOSEVELT ST APT A
SANTA ANA CA 92707                    CHICAGO IL 60647                              HOLLYWOOD FL 33020




BRAXTON BARNES                        BRAXTON, MONICA M                             BRAY & GILLESPIE XVII LLC
333 NW 26 COURT                       PO BOX 384                                    ACCOUNTS RECEIVABLE
WILTON MANORS FL 33311                TOANO VA 23168                                501 N ATLANTIC AVE
                                                                                    DAYTONA BEACH FL 32118



BRAY, ALAN                            BRAY, ERIC A                                  BRAYER, LORI K
10 MAIVILLE DR                        10 MAIVILLE DR                                218 EAST LAHON
OAKDALE CT 06370                      OAKDALE CT 06370                              PARK RIDGE IL 60068




BRAYNE, TODD                          BRAYTON GRAPHICS                              BRAZER, JOSEPH
355 WOODLAND ST                       4 NOTT TERRACE                                49 SW 11TH ST. APT. 1
BRISTOL CT 06010                      SCHENECTADY NY 12308                          DANIA FL 33004




BRE/1511 K STREET PARTNERS, L.P.      BRE/1511 K STREET PARTNERS, L.P.              BREACH, CAROLYN
RE: WASHINGTON 1501 K STREET          RE: WASHINGTON 1501 K STREET                  806 SW 2 ST. UNIT # 104D
C/O BLACKSTONE GROUP L.P.             C/O KAEMPFER MANAGEMENT SERVICES, INC.        HALLANDALE BEACH FL 33009
345 PARK AVENUE, 31ST FLOOR           1900 K STREET, NW, SUITE 650
NEW YORK NY 10154                     WASHINGTON DC 20006


BREAK OF DAWN DISTRIBUTION INC        BREAK OF DAWN DISTRIBUTION INC                BREAKING NEWS NETWORK INC
20637 BERMUDA STREET                  PO BOX 2059                                   158 LINWOOD PLAZA
CHATSWORTH CA 91311                   WINNETKA CA 91396                             FORT LEE NJ 07024




BREAKING NEWS NETWORK INC             BREANNA UNDERWOOD                             BREAULT, LINDA
PO BOX 569                            17C DEER RUN DRIVE                            34 CRANSTON TERR
RIDGEFIELD NJ 07657                   HUDSON FALLS NY 12839                         NEW BRITAIN CT 06053




                                             Page 251 of 2387
                           Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 252 of 800
BRECHER, STACEY B                       BRECHISCI, ARIELLE                            BRECKENRIDGE, DESIREE
225 E 95TH ST APT 18D                   44 REDAN DR                                   1904 E 219TH PL
NEW YORK NY 10128                       SMITHTOWN NY 11787                            SAUK VILLAGE IL 60411




BREDAHL, BRENDA K                       BREE MCKENNA                                  BREE WILLIAMS
1309 ST CROIX HTS                       1500 W. MONROE STREET                         2080 GLADSTONE DRIVE
HUDSON WI 54016                         APT #208                                      WHEATON IL 60189
                                        CHICAGO IL 60607



BREEDING, ASHLEY                        BREEDING, DEBORAH LEE                         BREIANA BAAR
1297 CATALINA STREET                    19370 COLLINS AVE NO. 1026                    5020 FOX TROTTER WAY
LAGUNA BEACH CA 92651                   SUNNY ISLES BEACH FL 33160                    ELK GROVE CA 95757




BREISTER, PATRICIA                      BREIT RED PRODUCTIONS LLC                     BREIT RED PRODUCTIONS LLC
W6371 CHERRYWOOD DR NO.50               1505 S PALMETTO AVE                           3518 BERKSHIRE WOODS TERRACE
FOND DU LAC WI 54937                    SANFORD FL 32771                              DELTONA FL 32725




BREITBART HOLDINGS INC                  BREKKEN, ISAAC                                BRELAND, ANTHONY
541 CASHMERE TERRACE                    1305 WINDYCLIFF CT                            3208 NORMANDY WOODS DRIVE APT B
LOS ANGELES CA 90049                    LAS VEGAS NV 89117                            ELLICOTT CITY MD 21043




BRELSFORD, KAREN                        BREMEC, JANICE                                BREMMER, IAN
11044 BERRYPICK LANE                    1950 N TAMARIND AVE NO.331                    EURASIA GROUP
COLUMBIA MD 21044                       LOS ANGELES CA 90068                          475 FIFTH AVE 14TH FLR
                                                                                      NEW YORK NY 10017



BREMPONG, RANSFORD                      BRENDA BABSON                                 BRENDA BELL
4801 NW 34TH ST APT G603                54 MECHANIC STREET                            515 THORNFIELD ROAD
LAUDERDALE LAKES FL 33319               FORT EDWARD NY 12828                          P.H.
                                                                                      BALTIMORE MD 21229



BRENDA BIGGS                            BRENDA BREAUX                                 BRENDA BROWN
1654 W MAYPOLE                          3902 BELLE AVENUE                             1 BENJAMIN STREET
CHICAGO IL 60612                        BALTIMORE MD 21215                            BAY SHORE NY 11706




BRENDA BUTLER                           BRENDA COLLINS                                BRENDA CRESPO
3930 N PINE GROVE AVENUE                3853 N SWEET LEAF AVENUE                      2330 N. KNOX
#2807                                   RIALTO CA 92377                               CHICAGO IL 60639
CHICAGO IL 60613



BRENDA DEVINE                           BRENDA EDMOND                                 BRENDA GARBOSKI
907 SANDPIPER CIRCLE                    324 N. LAMON                                  7 NORTH ROAD
WESTLAKE VILLAGE CA 91361               CHICAGO IL 60644                              CROMWELL CT 06416




                                               Page 252 of 2387
                           Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 253 of 800
BRENDA GONZALEZ                         BRENDA HEAD                                   BRENDA HENDERSON
204 GOLDENROD AVENUE                    117 N MADISON LN                              523 VANESSA LANE
FRANKLIN SQUARE NY 11010                NEWPORT NEWS VA 23606                         BOLINGBROOK IL 60440




BRENDA HOLLEY                           BRENDA HUBBARD                                BRENDA JACKSON
5447 MOORES RUN DRIVE                   552 LOGAN PLACE                               14 DALEBROOK DRIVE
BALTIMORE MD 21206                      APT. #5                                       PHOENIX MD 21131
                                        NEWPORT NEWS VA 23601



BRENDA KAY RYAN                         BRENDA KILIANSKI                              BRENDA LEWIS
1161 OWL CIRCLE                         4950 N. MARINE DRIVE                          2000 BUCHANAN BAY CIRCLE
MIMS FL 32754                           APT 704                                       #102
                                        CHICAGO IL 60640                              ORLANDO FL 32839



BRENDA LYNN BRAND                       BRENDA MANGIN                                 BRENDA MANNING
19591 SANDERSON LANE                    1011 VICAYA LAKE ROAD                         11250 S. EDBROOKE
HUNTINGTON BEACH CA 92646               #104                                          CHICAGO IL 60628
                                        OCOEE FL 34761



BRENDA MERCADO                          BRENDA MICHAEL                                BRENDA OJINI
523 NORTH JORDON STREET                 546 GRAND WOODS DRIVE                         1247 S VICTORIA AVE
ALLENTOWN PA 18102                      INDIANAPOLIS IN 46224                         LOS ANGELES CA 90019




BRENDA PARK                             BRENDA RENTERIA                               BRENDA RICHARDSON
2938 CEMETERY STREET                    3210 ANDRITA ST.                              7670 WEST 131ST ST
SLATINGTON PA 18080                     APT. #202                                     PALOS HEIGHTS IL 60463
                                        LOS ANGELES CA 90065



BRENDA ROXBERRY                         BRENDA SWEET                                  BRENDA VAN SICKLE
1629 RADER AVENUE                       41 AVIATOR WAY                                1014 ROSS STREET
BETHLEHEM PA 18015                      QUEENSBURY NY 12804                           TERRELL TX 75160




BRENDA WONG                             BRENDALYN CZWAKIEL                            BRENDAN BURTON
425 PLYMOUTH ROAD                       708 MAUCH CHUNK STREET                        1379 MOHR CIRCLE
SAN MARINO CA 91108                     EASTON PA 18042                               MACUNGIE PA 18062




BRENDAN FAHERTY                         BRENDAN FLAHERTY                              BRENDAN HEALEY
173 NEWINGTON AVENUE                    26 WINDMILL ROAD                              1306 RICHMOND LANE
HARTFORD CT 06106                       POUKEEPSIE NY 12601                           WILMETTE IL 60091




BRENDAN LUSTENRING                      BRENDAN SHEILS                                BRENDAN STEWART
70 ALGONQUIN AVENUE                     9646 S DAMEN AVE                              P O BOX 277555
MASSAPEQUA NY 11758                     CHICAGO IL 60643-1653                         MIRAMAR FL 33027




                                               Page 253 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 254 of 800
BRENDAN SULLIVAN                       BRENDAN TRUEX                                 BRENDEN GALLAGHER
14 WILLIAMS STREET                     966 SILAS DEANE HWY                           17065 FOREST VIEW DR.
BEL AIR MD 21014                       C22                                           TINLEY PARK IL 60477
                                       WETHERSFIELD CT 06109



BRENDEN O'HANLON                       BRENDON ALLUM                                 BRENDON FUNG
25 HELME AVE                           8433 FOREST HILLS BLVD                        5123 OCONTO AVE.
MILLER PLACE NY 11764                  APT 101                                       RANCHO PALOS VERDES CA 90275
                                       CORAL SPRINGS FL 33065



BRENDON THOMPSON                       BRENDON, PIERS                                BRENDY REALTY INC
16034 SWEET FERN                       4 B MILLINGTON RD                             PO BOX 532
HOUSTON TX 77070                       ENGLAND, CAMBS CB3 9HP                        MEQUON WI 53092




BRENLY, ROBERT                         BRENNAN SCREEN PRINTING INC                   BRENNAN SCREEN PRINTING INC
9726 E LAUREL LN                       13659 ROSECRANS AVE UNIT G                    DISPLAY GRAPHICS
SCOTTSDALE AZ 85260                    SANTA FE SPRINGS CA 90670                     13677 BORA DR
                                                                                     SANTA FE SPRINGS CA 90670



BRENNAN, ABIGAIL                       BRENNAN, DEIRDRE                              BRENNAN, DEIRDRE
424 NE 9TH AVE                         19 GRAND AVE                                  BOX 1258
FT LAUDERDALE FL 33301                 SHELTER ISLAND HEIGHTS NY 11965               SHELTER ISLAND HTS NY 11965




BRENNAN, MICHAEL                       BRENNAN, VICKI MCCASH                         BRENNEN, BYRON
1781 MINTAGE LANE    UNIT C            424 NE 9 AVE                                  4641 SW 19TH STREET
CORONA CA 92881                        FORT LAUDERDALE FL 33301                      HOLLYWOOD FL 33023




BRENNER PHOTO PRODUCTIONS LLC          BRENNER, ANITA SUSAN                          BRENNER, ARIEL
125 NEWTON RD                          301 E COLORADO BLVD          NO.614           2634 W CORTEZ    STE 1R
PLANVIEW NY 11803                      PASADENA CA 91101                             CHICAGO IL 60622




BRENNER, LORI                          BRENNER, LORI                                 BRENNER, LYNN
7061 N KEDZIE                          7061 N KEDZIE NO. 803                         65 MONTAGUE ST
APT 803                                CHICAGO IL 60645                              BROOKLYN NY 11201
CHICAGO IL 60645



BRENT ARLEDGE                          BRENT ASHCROFT                                BRENT AYRES
5814 HICKORY DR.                       552 LONGWOOD DRIVE                            5834 NE 75TH
APT#A                                  ADA MI 49301                                  B207
OAK PARK CA 91377                                                                    SEATTLE WA 98115



BRENT BETTS                            BRENT BEUCLER                                 BRENT FOSTER
4801 ELLICOTT WOODS LANE               1619 ROSEHALL LN                              1 DAVID STREET
ELICOTT CITY MD 21043                  ELGIN IL 60123                                WALLACEBURG ON N8A 2E6




                                              Page 254 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 255 of 800
BRENT HARDESTY                         BRENT HARDIN                                  BRENT JONES
3835 N. SOUTHPORT AVENUE               9 FENWICK DR.                                 806 N. CALVERT STREET
CHICAGO IL 60613                       AVON CT 06001                                 #2
                                                                                     BALTIMORE MD 21202



BRENT KENNEDY                          BRENT PAYNE                                   BRENT POTTER
5173 MORNINGSIDE LN                    400 E. SOUTH WATER ST.                        12335 TIARA STREET
ELLICOTT CITY MD 21043                 #2106                                         VALLEY VILLAGE CA 91607
                                       CHICAGO IL 60601



BRENT VALORE                           BRENT VICKNAIR                                BRENTLEY ROMINE
2100 W. COMMONWEALTH AVE               1324 W. PRATT BLVD                            1611 RIVEREDGE ROAD
APT 278                                #3E                                           OVIEDO FL 32766
FULLERTON CA 92833                     CHICAGO IL 60626



BRENTNALL, NICOLE                      BRENTON BOWSER                                BRENTON DAVIS
8 WOOD RIDGE CIRCLE                    2611 MADISON AVE                              107 1/2 S. CLARK DR
GALES FERRY CT 06335                   ALTADENA CA 91001                             LOS ANGELES CA 90048




BRENTON MARVICH                        BRENTON WYETH                                 BRENTWOOD UFSD
1230 DEMOISELLE STREET                 3713 4TH AVENUE                               52 THIRD AVENUE
GROVELAND FL 34736                     GLENDALE CA 91214                             ADMINISTRATION BLDG
                                                                                     BRENTWOOD NY 11717



BRENTWOOD UFSD                         BRENZA, J                                     BRENZA, J
52 THIRD AVENUE                        PATUXENT PUBLISHING CO                        PETTY CASH
BRENTWOOD NY 11717                     555 MAIN ST                                   PATUXENT PUBLISHING CO
                                       LAUREL MD 20707                               555 MAIN STREET
                                                                                     LAUREL MD 20707


BRESETT, RAQUEL                        BRESLAUER, JAN                                BRESLIN, JANET
30-30 74TH ST 1FL                      4176 PERLITA AVENUE                           33 WOODMEADOW DR
EAST ELMHURST NY 11370                 LOS ANGELES CA 90039                          SALEM NH 03079




BRESNEN, TESSA MARIE                   BRESS, MARC                                   BRESSLER, NATHAN E
31 NORTH MAPLE AVE APT 26              121 PENARTH RD                                1058 AMOROSO PL
MARLTON NJ 08053                       BALA CYNWYD PA 19004                          VENICE CA 90291




BRET CALLAHAN                          BRET EDGAR                                    BRET ISRAEL
116 PAMELA LANE                        2257 COOLEY PLACE                             2633 HOLLYRIDGE DR
EAST NORTHPORT NY 11731                PASADENA CA 91104                             LOS ANGELES CA 90068




BRET SANDY                             BRETON, MERILYN                               BRETONES, SEBASTIAN
376 GREENWAY AVENUE                    17 BEECH RD                                   2529 N. SWINTON AVENUE
NEWBURY PARK CA 91320                  ENFIELD CT 06082                              DELRAY BEACH FL 33444




                                              Page 255 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 256 of 800
BRETT ADOFF                            BRETT AICHER                                  BRETT BAISDEN
1098 NORTH HEDGEROW DRIVE              4736 POINT LOMA AVE #1                        186 BURKE STREET
ALLENTOWN PA 18103                     SAN DIEGO CA 92107                            EAST HARTFORD CT 06118




BRETT BURKE                            BRETT CHASE                                   BRETT DEFEVERE
850 LINDEN AVENUE                      66 BELMONT AVENUE                             3022 N HAMILTON AVENUE
OAK PARK IL 60302                      LONG BEACH CA 90803                           CHICAGO IL 60618




BRETT ENGLAND                          BRETT EVERETT                                 BRETT HEFFNER
3905 POINT ELIZABETH DRIVE             835 JUDSON AVE.                               6286 WOODLAWN DRIVE
CHESAPEAKE VA 23321                    APT. #308                                     ZIONSVILLE PA 18092
                                       EVANSTON IL 60202



BRETT MILLER                           BRETT STANTON                                 BRETT STEIGER
578 WASHINGTON BLVD                    3821 ELLEN PLACE                              20 LORRAINE COURT
APT#625                                DOYLESTOWN PA 18902                           NORTHPORT NY 11768
MARINA DEL REY CA 90292



BRETT ULIS                             BRETT WELLCOME                                BRETT WHITNEY
15724 CALLE EL CAPITAN                 1101 E 62ND                                   2908 256TH CT SE
GREEN VALLEY CA 91390                  TACOMA WA 98404                               SAMMAMISH WA 98075




BRETT WILSON                           BRETT WOLFSHEIMER                             BRETT, ITALO
6810 NW 81ST STREET                    2064 PARSON COURT                             4903 SANTA CLARA DR
TAMARAC FL 33321                       RED LION PA 17356                             STE 2802
                                                                                     ORLANDO FL 32837



BRETT, ITALO                           BRETT, JOSHUA D                               BREU, GIOVANNA
4903 SANTA CLARA DR                    7 SHERMAN CT                                  855 W CHALMERS PL
ORLANDO FL 32837                       PLAINSBORO NJ 08536                           CHICAGO IL 60614




BREUHAUS, BRIAN J                      BREVIL, DIEUFORT                              BREVIL, DIEUSEUL
1006 YOU AND ME APARTMENT BLDG         142 SW 10TH AVE                               142 SW 10TH AVE.
120-4 CHUNGJEOGNO 3-GA                 DELRAY BEACH FL 33444                         DELRAY BEACH FL 33444
SEOUL 120873



BREVIL, EMMANUS                        BREVIL, FERDINAU                              BREWER, CYNTHIA
524 EAST RIDGE CIRCLE NORTH            652 NW 45TH WAY                               12015 SOUTH UNION AVE. NO.2
BOYNTON BEACH FL 33435                 DELRAY BEACH FL 33445                         CHICAGO IL 60628




BREWER, MARK                           BREWSTER III, GEORGE W                        BREWSTER, ELIZABETH
439 LARK TREE CIRCLE                   554 APPLEGATE LN                              705 WESLEY AVE
BRIDGEVILLE PA 15017                   LAKE ZURICH IL 60047                          EVANSTON IL 60202




                                              Page 256 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 257 of 800
BREZSNY, ROB                           BRIAN A FORREST                               BRIAN ALLINSON
FREE WILL ASTROLOGY                    15446 E CIRCLE RIDGE LANE                     442 HOMESTEAD RD.
PO BOX 489                             HACIENDA HGHTS CA 91745                       APT. G
MILL VALLEY CA 94942                                                                 LA GRANGE PARK IL 60526



BRIAN ALLIO                            BRIAN AMBERG                                  BRIAN AMORELLI
3283 TEXAS AVENUE                      121 HICKORY TREE RD                           27995 VIA MORENO
SIMI VALLEY CA 93063                   LONGWOOD FL 32750                             LAGUNA NIGUEL CA 92677




BRIAN AUSTIN                           BRIAN BARNICLE                                BRIAN BARRANGER
730 E. BOWEN                           165 N. CANAL ST                               1622 SUNSHINE ST.
2B                                     APT #825                                      GLEN BURNIE MD 21061
CHICAGO IL 60653                       CHICAGO IL 60606



BRIAN BELANGER                         BRIAN BERMAN                                  BRIAN BOWE
549 W. ALDINE AVE                      525 W HAWTHORE PLACE                          155 INLET DR
211                                    2007                                          LINDENHURST NY 11757
CHICAGO IL 60657                       CHICAGO IL 60657



BRIAN BRADY                            BRIAN BRINKLEY                                BRIAN BURROUGHS
4207 VANITA COURT                      182 CONNECTICUT AVENUE                        1452 NORTH ARTESIAN
WINTER SPRINGS FL 32708                STAMFORD CT 06902                             APT # 3
                                                                                     CHICAGO IL 60622



BRIAN CALLANAN                         BRIAN CALLAWAY                                BRIAN CAMPBELL
3215 SW 110TH STREET                   194 SHEWELL AVENUE                            P.O. BOX 23244
SEATTLE WA 98146                       APT C                                         SILVERTHORNE CO 80498
                                       DOYLESTOWN PA 18901



BRIAN CAMPION                          BRIAN CAREW                                   BRIAN CAREY
1685 MILL STREET                       402 EVERGREEN ST                              97 HOLIDAY PARK DR
APT #406                               NORTH LAUDERDALE FL 33068                     CENTEREACH NY 11720
DES PLAINES IL 60016



BRIAN CARLO                            BRIAN CASTLEY                                 BRIAN CHACON
179 WHITMAN AVENUE                     351 CLUB CIRCLE                               4224 SW 49TH STREET
WEST HARTFORD CT 06107                 APT 201                                       DANIA FL 33314
                                       BOCA RATON FL 33487



BRIAN CHOO                             BRIAN CLARK                                   BRIAN CONDRON
25544 CROCKETT LANE                    7 WILLOWDALE STREET                           1645 W. SCHOOL
STEVENSON RANCH CA 91381               GLEN BURNIE MD 21061                          UNIT 307
                                                                                     CHICAGO IL 60657



BRIAN D. ROSENFELD                     BRIAN DAVIS                                   BRIAN DAVIS
RE:BRIDGEPORT 350 FAIRFIELD AVE.       19 MORGAN ROAD                                228 N. EL MOLINO STREET
196 NORTH ST.                          CANTON CT 06019                               ALHAMBRA CA 91801
STAMFORD CT 06901




                                              Page 257 of 2387
                        Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 258 of 800
BRIAN DETTMANN                       BRIAN DOBEN PHOTOGRAPHY INC                   BRIAN DOLAN
73 GAGE HILL ROAD                    125 JOHNSON WOODS DR                          10 VILLAWAY ROAD
LAKE LUZERNE NY 12846                READING MA 01867                              NORWALK CT 06855




BRIAN DOMNICK                        BRIAN DONOVAN                                 BRIAN DONOVAN
1645 NW 66 AVE                       109 DUMBARTON DRIVE                           EDITORIAL 0203
MARGATE FL 33063                     HUNTINGTON NY 11743                           235 PINELAWN RD
                                                                                   MELVILLE NY 11747



BRIAN DOWNES                         BRIAN DUNLAP                                  BRIAN DUNN
PO BOX 518                           439 CHAIN O'HILLS ROAD                        1745 SELBY AVEUNE #1
WINTERSET IA 50273                   COLONIA NJ 07067                              LOS ANGELES CA 90024




BRIAN DUQUETTE                       BRIAN DURAND                                  BRIAN EGAN
3107 DELLWOOD DRIVE                  1137 S. WISCONSIN                             48 LINDEN BLVD
ORLANDO FL 32806                     OAK PARK IL 60304                             HICKSVILLE NY 11801




BRIAN ERNDE                          BRIAN EVANS                                   BRIAN FARBER
718 W FAIRBANKS AVE                  8154 S. SACRAMENTO                            735 WINCHELL DRIVE SE
ORLANDO FL 32804                     CHICAGO IL 60652                              GRAND RAPIDS MI 49507




BRIAN FARENELL                       BRIAN FARRELL                                 BRIAN FIELDS
22 GROVE AVENUE                      20 WEST OAK STREET                            3300 N. KENMORE AVE.
APT #3                               FARMINGDALE NY 11735                          UNIT E
GLENS FALLS NY 12801                                                               CHICAGO IL 60657



BRIAN FINS                           BRIAN FLEMING                                 BRIAN FLORES
16819 LAKE KNOLL PKWY                2408 NORTH BENGAL ROAD                        15339 FALCON CREST COURT
RIVERSIDE CA 92503                   METAIRIE LA 70003                             SAN DIEGO CA 92127




BRIAN FOY                            BRIAN FREIDIN                                 BRIAN GAFF
3846 LOS COYOTES DIAGONAL            550 FARGO ST.                                 1112 N PARKER AVE
LONG BEACH CA 90808                  THOUSAND OAKS CA 91360-1517                   INDIANAPOLIS IN 46201




BRIAN GILLIGAN                       BRIAN GOLOMBEK                                BRIAN HAAS
9610 HAMPTON DRIVE                   463 HUBBARD ST. NE                            4752 W ATLANTIC BLVD
APT #15                              GRAND RAPIDS MI 49525                         APT 304
HIGHLAND IN 46322                                                                  COCONUT CREEK FL 33063



BRIAN HALL                           BRIAN HAMILTON                                BRIAN HANRAHAN
657 GLADES CIRCLE                    3724 N. SOUTHPORT                             1690 CASA GRANDE STREET
#227                                 APT. #3                                       PASADENA CA 91104
ALTAMONTE SPRINGS FL 32714           CHICAGO IL 60613




                                            Page 258 of 2387
                         Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 259 of 800
BRIAN HANSEN                          BRIAN HARRINGTON                              BRIAN HEILAND
1402 PROSPECT MILL RD                 901 GARDEN AVENUE                             407 APPLEGATE CT
BEL AIR MD 21015                      GENEVA IL 60134                               LINTHICUM MD 21090




BRIAN HENDERSON                       BRIAN HERNANDEZ                               BRIAN HEUSINKVELD
6617 7TH PLACE                        12807 COBALT RD.                              5633 WILDROSE LANE
WASHINGTON DC 20012                   VICTORVILLE CA 92392                          SCHEREVILLE IN 46375




BRIAN HILL                            BRIAN HOMB                                    BRIAN HOWELL
183 LOCH CIRCLE                       2833 N. SPAULDING AVENUE                      11789 NORTH STATE ROAD 59
HAMPTON VA 23669                      #2                                            BRAZIL IN 47834
                                      CHICAGO IL 60618



BRIAN HOYT                            BRIAN J WARD                                  BRIAN JEPPESEN
88 WEEKS ROAD                         1491 90TH STREET WEST                         23704 OAK CIRCLE
NORTH BABYLON NY 11703                ROSAMOND CA 93560                             NEWHALL CA 91321




BRIAN JOHNSON                         BRIAN JOHNSON                                 BRIAN JONES
12141 S. INDIANA                      1743 PINEWIND DRIVE                           3530 CLARINGTON AVE
APT #201                              ALBURTIS PA 18011                             APT#107
CHICAGO IL 60628                                                                    LOS ANGELES CA 90034



BRIAN KARNICK                         BRIAN KATZ                                    BRIAN KELM
1728 VILLAGE COURT                    10030 MELVIN AVE                              4022 ST. JOHNS LANE
CRYSTAL LAKE IL 60014                 NORTHRIDGE CA 91324                           ELLICOTT CITY MD 21042




BRIAN KIRCHENBAUER                    BRIAN KOKES                                   BRIAN KRILICH
13830 ONEIDA DRIVE                    227 NORTH LUCIA AVENUE                        1350 C WEST SOUTHPORT ROAD
APT B2                                REDONDO BEACH CA 90277                        BOX 287
DELRAY BEACH FL 33446                                                               INDIANAPOLIS IN 46217



BRIAN KRISTA                          BRIAN KY DINH                                 BRIAN L. GREENSPUN
1403 WILDWOOD DRIVE                   2724 OLD REDPINE WAY                          C/O TRIBUNE COMPANY
FALLSTON MD 21047                     ORLANDO FL 32825                              435 N. MICHIGAN AVENUE
                                                                                    CHICAGO IL 60611



BRIAN LAMB                            BRIAN LARUE                                   BRIAN LATSHA
667 S. HUDSON                         206 WILLOW STREET                             1604 THIRD AVE
PASADENA CA 91106                     FL. 2                                         YORK PA 17403
                                      NEW HAVEN CT 06511



BRIAN LAWRENCE                        BRIAN LEDFORD                                 BRIAN LEE MORGAN
P.O. BOX 875241                       1110 PRICKETT AVENUE                          160 MARYLAND AVENUE
LOS ANGELES CA 90087                  EDWARDSVILLE IL 62025                         PASADENA MD 21122




                                             Page 259 of 2387
                         Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 260 of 800
BRIAN LEE PHOTOGRAPHY                 BRIAN LISZKA                                  BRIAN LITMAN
1724 SE ASH STREET                    527 S. INVERNESS STREET                       1664 DARTMOUTH COURT
PORTLAND OR 97214                     MAPLE PARK, IL 60151                          NAPERVILLE IL 60565




BRIAN LOCKHART                        BRIAN LOEWE                                   BRIAN LOGAN
72 LAUREL PLACE                       3674 OAK HAVEN LANE                           451 NORTH GREENE AVENUE
BRIDGEPORT CT 06604                   CHINO HILLS CA 91709                          LINDENHURST NY 11757




BRIAN LOWE                            BRIAN MAC DONALD                              BRIAN MACQUEEN
43 PENNY DRIVE                        628 E PALMYRA AVENUE                          435 N. MICHIGAN AVE.
CALVERTON NY 11933                    ORANGE CA 92866                               4TH FLOOR
                                                                                    CHICAGO IL 60611



BRIAN MALONEY                         BRIAN MARILLA                                 BRIAN MARKLEY
115A CLAREMONT AVENUE                 289 TROUTMAN STREET                           6 STONEWOOD PLACE
NORTH BABYLON NY 11703                APT. 1A                                       CATASAUQUA PA 18032
                                      BROOKLYN NY 11237



BRIAN MATRAS                          BRIAN MCELROY                                 BRIAN MCENERY
21205 PRESTNCIA DR                    9650 WORNOM AVE                               72 SQUIRES DRIVE
MOKENA IL 60448                       SHADOW HILLS CA 91040                         SOUTHINGTON CT 06489




BRIAN MCKNIGHT                        BRIAN MCNEILLY                                BRIAN MILLER
40 RICHIE CT N                        720 S. DEARBORN                               97 N EMERSON AVENUE
ST JAMES NY 11780                     APT. #203                                     COPIAGUE NY 11726
                                      CHICAGO IL 60605



BRIAN MONTANARI                       BRIAN MONTZ                                   BRIAN MOONEY
1 ABBOTT ROAD                         2424 IOWA AVE.                                21 INTERVALE PARKWAY
UNIT 177                              KENNER LA 70062                               MILFORD CT 06460
ELLINGTON CT 06029



BRIAN MOORE                           BRIAN MOORE                                   BRIAN MORIARTY
1703 LINDEN PARK LANE                 4822 LINCOLN RD                               5228 ALAVISTA DRIVE
AURORA IL 60504                       DELRAY BEACH FL 33445                         ORLANDO FL 32837




BRIAN MORMAN                          BRIAN NELSON                                  BRIAN NEWCOMB
28 CULMORE CT                         875 HIGH STREET                               1403 SARANELL AVE
TIMONIUM MD 21093                     ATHOL NY 12810                                NAPERVILLE IL 60540




BRIAN NICOLAS DELIVERY INC            BRIAN NICOLETTO                               BRIAN O'MAHONY
37 NW 109TH AVE                       710 SIENA PALM                                78 OLD ROAD
MIAMI FL 33172                        APT 201                                       BREWSTER NY 10509
                                      CELEBRATION FL 34747




                                             Page 260 of 2387
                             Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 261 of 800
BRIAN O'NEILL                             BRIAN OLSEN                                   BRIAN PARKER
222 H SPRINGMEADOW DRIVE                  21 STUYVESANT CIRCLE EAST                     3933 MEADOW WOOD DRIVE
HOLBROOK NY 11741                         SETAUKET NY 11733                             EL DORADO HILLS CA 95762




BRIAN PASHKOFF                            BRIAN PHILLIPS                                BRIAN PODNER
350 FIRST AVENUE                          217 HAVERHILL ROAD                            2306 SILVER LAKE ESTATES DRIVE
APT 11B                                   JOPPA MD 21085                                PACIFIC MO 63069
NEW YORK NY 10010



BRIAN POST                                BRIAN RATHGEBER                               BRIAN RATHMEL
4 THERESA JAMES STREET                    29 CLARISSA DR                                7924 PINKERTON COURT
WARRENSBURG NY 12885                      SYOSSET NY 11791                              PLANO TX 75025




BRIAN READ                                BRIAN RICE                                    BRIAN RICH
1208 LOIS                                 2458 LINCOLN BLVD.                            216 HIGHPOINT DR.
PARK RIDGE IL 60068                       BELLMORE NY 11710                             108
                                                                                        ROMEOVILLE IL 60446



BRIAN ROBINSON                            BRIAN ROSS                                    BRIAN RUCKER
58 WEST 91ST STREET                       123 HIGHLAND COURT                            442 KINKAID CT
APT 7                                     JACKSONVILLE NC 28540                         DES PLAINES IL 60016
NEW YORK NY 10024



BRIAN RUTH                                BRIAN RYU                                     BRIAN SCHMITZ
352 1ST ST                                1537 CENTER STREET                            1607 GRANGE CIRCLE
SLATINGTON PA 18080                       BETHLEHEM PA 18018                            LONGWOOD FL 32750




BRIAN SCHOLL                              BRIAN SCOTT                                   BRIAN SHANAHAN
920 EAST CLAIR STREET                     316 WOODLAND HILL CT                          21 SOUTH HIGHLAND
ALLENTOWN PA 18109                        BALLWIN MO 63021                              AURORA IL 60505




BRIAN SHEEHAN                             BRIAN SHMIGELSKY                              BRIAN SMITH
2631 ST. TROPEZ PL                        490 JEFFERSON DR. #202                        8 LE CHATEAUX CT.
LISLE IL 60532                            DEERFIELD BEACH FL 33442                      ST. CHARLES MO 63301




BRIAN SMITH                               BRIAN SMITH                                   BRIAN SNODGRASS
1183 HALFMOON GATE                        9341 CORNSHOCK CT.                            1310 W. GRACE STREET
LAKE IN THE HILLS IL 60156                COLUMBIA MD 21045                             CHICAGO IL 60613




BRIAN STRIFF                              BRIAN SULLIVAN                                BRIAN TEITZ
1405 HARKNESS LANE                        36 DENISE STREET                              TYLER RUN APTS MB#27
REDONDO BEACH CA 90278                    MASSAPEQUA NY 11758                           YORK COLLEGE OF PA
                                                                                        YORK PA 17405




                                                 Page 261 of 2387
                           Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 262 of 800
BRIAN TETZLER                           BRIAN THOMAS JONES PHOTOGRAPHY                BRIAN TILFORD
11163 PATTERSON PLACE                   14307 BURBANK BLVD                            11913 EAST MAPLE AVENUE
LITTLETON CO 80127                      SHERMAN OAKS CA 91401                         APT E-15
                                                                                      AURORA CO 80012



BRIAN TODD                              BRIAN UNVERZAGT                               BRIAN VAN MEVEREN
9427 244TH STREET SW                    381 GAINSBOROUGH DR.                          1411 E. OLIVE
APT# D-105                              ROMEOVILLE IL 60446                           ARLINGTON HEIGHTS IL 60004
EDMONDS WA 98020



BRIAN VANDER BRUG                       BRIAN WACKER                                  BRIAN WHITE
23540 BALMORAL LANE                     2421 NE 65TH STREET                           44 MERRICK ST
WEST HILLS CA 91307                     APT 109                                       ISLIP TERRACE NY 11752
                                        FORT LAUDERDALE FL 33308



BRIAN WHITE                             BRIAN WILKES                                  BRIAN WILLIAMS
626 108TH AVE. S.E.                     8190 LANTERN ROAD                             42 WHITEHOUSE AVE
BELLEVUE WA 98004                       INDIANAPOLIS IN 46256                         ROOSEVELT NY 11575




BRIAN WILSON                            BRIAN WIRTH INC                               BRIAN WIRTH INC
9416 KNIGHTS BRIDGE BLVD                2000 S YORK RD NO. 200                        3813 SOUTHPORT
B                                       OAK BROOK IL 60523                            CHICAGO IL 60613
INDIANAPOLIS IN 46240



BRIAN WIRTH INC                         BRIAN WORDEN                                  BRIAN WRIGHT
5741 N ARTESIAN                         2960 PLAZA DR                                 1801 BLOSSOM
CHICAGO IL 60659                        B                                             CRYSTAL LAKE IL 60014
                                        INDIANAPOLIS IN 46268



BRIAN WRIGHT                            BRIAN WYNN                                    BRIAN YOUMATZ
113 8TH AVENUE                          40 TEANECK ROAD                               20 GREAT SWAMP ROAD
HUNTINGTON NY 11746                     EAST NORTHPORT NY 11731                       GLASTONBURY CT 06033




BRIAN YOUNG                             BRIANA BIRD                                   BRIANA MATUSZKO
5200 PADUCAH ROAD                       6106 WOODRUFF AVE.                            63 LONG PLAIN ROAD
COLLEGE PARK MD 20740                   #8                                            LEVERETT MA 01054
                                        LAKEWOOD CA 90713



BRIANLEE COM INC                        BRIANNA LANGNESS                              BRIANNA SNYDER
12951 METRO PRKWAY STE 9                25357 MOUNTAINWOOD WAY                        155 W. CANTER CIRCLE
FT MYERS FL 33912                       LAKE FOREST CA 92630                          SPRINGFIELD MA 01104




BRIANNE GOODWIN                         BRIANNE UGELOW                                BRICE EUGENE LECHLER
1641 HARRISON STREET                    7585 EAST PEAKVIEW AVENUE                     3602 NE 18 AVE
APT 5                                   APT. # 912                                    OAKLAND PARK FL 33334
NEENAH WI 54956                         CENTENNIAL CO 80111




                                               Page 262 of 2387
                            Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 263 of 800
BRICE, SAMUEL G                          BRICENO, LUCERO                               BRICKER, CHARLES A
525 NW 7 TERRACE                         1325 PORTOFINO CIR NO.807                     1201 E CLIFTON STREET
FT LAUDERDALE FL 33311                   WESTON FL 33326                               TAMPA FL 33604-6809




BRICKER, MELISSA                         BRICKMAN GROUP LTD                            BRICKMAN GROUP LTD
313 MILDRED AVE     APT 5                2739 N ELSTON AV                              3400 N AVONDALE AVE
VENICE CA 90291                          CHICAGO IL 60647                              CHICAGO IL 60618




BRICKMAN GROUP LTD                       BRICKMAN GROUP LTD                            BRICKMAN GROUP LTD
PO BOX 71358                             10720 ANDRADE DR                              PO BOX 22468
CHICAGO IL 60694                         ZIONSVILLE IN 46077                           BALTIMORE MD 21203-2430




BRICKMAN GROUP LTD                       BRIDGE, ANDREW                                BRIDGE, JOAN
PO BOX 8500                              306 AMALFI DR                                 1166 HOPE ST   NO.3
PHILADELPHIA PA 19178-7905               SANTA MONICA CA 90402                         STAMFORD CT 06907




BRIDGES MEDIA GROUP INC                  BRIDGES, ALDEN                                BRIDGES, JENNIFER
100 W KINZIE ST 3RD FLOOR                4809 BAYONNE AVE APT FN                       10704 WESTCASTLE PLACE APT T4
CHICAGO IL 60610                         BALTIMORE MD 21206                            COCKEYSVILLE MD 21030




BRIDGES, PHILBERT G                      BRIDGET ASHLEY                                BRIDGET COONEY
2801 MISTY WATER DR NO.1                 382 EAST 18TH STREET                          275 OAK KNOLL AVE
DECATUR GA 30032                         COSTA MESA CA 92627                           APT 18
                                                                                       PASADENA CA 91101



BRIDGET FOSTER                           BRIDGET GILLIAM                               BRIDGET GONZALES
2212 RIPPLING WAY NORTH                  2905 WICKHAM AVENUE                           4360 LANE OF ROSE
APT. G                                   APT. #C                                       EAST CHICAGO IN 46312
INDIANAPOLIS IN 46260                    NEWPORT NEWS VA 23605



BRIDGET JOSEPH                           BRIDGET MACKLOWE                              BRIDGET MAIELLARO
1918 HINCKLEY ROAD                       17 SOUTH DORADO CIRCLE                        6617 S. KOLIN
ORLANDO FL 32818                         APT. 1C                                       CHICAGO IL 60629
                                         HAUPPAUGE NY 11788



BRIDGET MEEK                             BRIDGET NIXON                                 BRIDGET REIDY
1010 S. NINETH ST                        2501 BERRY CT.                                828 W. GRACE ST.
ALHAMBRA CA 91801                        WAUKEGAN IL 60085                             APT #402
                                                                                       CHICAGO IL 60613



BRIDGET RHODES                           BRIDGET TRAMA                                 BRIDGETOWN PAINTING LLC
2010 NW THORNCROFT DRIVE                 265 WEST 72ND STREET                          785 SE 21ST AVE
APT# 1324                                NEW YORK NY 10023                             HILLSBORO OR 97123
HILLSBORO OR 97124




                                                Page 263 of 2387
                         Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 264 of 800
BRIDGWATERS, JOHN                     BRIDGWATERS, JOHN                             BRIE KAPLAN
ACCT NO.3820                          PO BOX 3075                                   2467 GRAND TETON CIRCLE
PO BOX 3075                           BLOOMINGTON IN 47402                          WINTER PARK FL 32792
BLOOMINGTON IN 47402



BRIE THIELE                           BRIENNA REITMAYR                              BRIENZA, NICHOLAS
2551 DUNSTAN STREET                   1H KINGSLEY COURT                             9342 BIG RIVER RUN
OCEANSIDE CA 92054                    ROCKY HILL CT 06067                           COLUMBIA MD 21045




BRIERE, ROBERT J                      BRIGANDI, BENJAMIN M                          BRIGGS, ASHLEY
91 LAKE DRIVE                         522 SOUTHMONT AVE                             2703 RITTENHOUSE AVE
EAST HAMPTON CT 06424                 SOUTH WILLIAMSPORT PA 17702                   BALTIMORE MD 21230




BRIGGS, DALE E                        BRIGGS, JOHNATHON                             BRIGGS, JOHNATHON
3804 2ND STREET                       4736 S ST LAWRENCE AVE NO.2S                  1714 PARK AVE
BALTIMORE MD 21225                    CHICAGO IL 60615                              APT 414
                                                                                    BALTIMORE MD 21217



BRIGGS, KIM                           BRIGGS, MICHAEL                               BRIGHAM PRINCE
10735 S SARATOGA DR                   832 ALLEN ST                                  8205 PEREGRINE WAY
COOPER CITY FL 33026                  ALLENTOWN PA 18102                            CITRUS HEIGHTS CA 95610




BRIGHAM, ANNE LORRAINE                BRIGHAM, RITA                                 BRIGHT DARK ENTERPRISES LLC
151 LINTON RUN RD                     18730 HARDING AVE                             152 ORCHARD STREET APT 4B
PORT DEPOSIT MD 21904                 FLOSSMOOR IL 60422                            NEW YORK NY 10002




BRIGHT HOUSE NETWORKS LLC             BRIGHT HOUSE NETWORKS LLC                     BRIGHT HOUSE NETWORKS LLC
2251 LUCIEN WAY                       2600 MCCORMICK DR STE 255                     485 N KELLER RD SUITE 250
MAITLAND FL 32751                     CLEARWATER FL 33759                           MAITLAND FL 32751




BRIGHT HOUSE NETWORKS LLC             BRIGHT HOUSE NETWORKS LLC                     BRIGHT HOUSE NETWORKS LLC
PO BOX 30765                          PO BOX 628070                                 PO BOX 628073
TAMPA FL 33630-3765                   ORLANDO FL 32862                              ORLANDO FL 32862-8073




BRIGHT HOUSE NETWORKS LLC             BRIGHT HOUSE NETWORKS LLC                     BRIGHT HOUSE NETWORKS LLC
3030 ROOSEVELT AVE                    ATTN ACCOUNTS PAYABLE                         PO BOX 741855
INDIANAPOLIS IN 46218                 14525 FARMINGTON RD                           CINCINNATI OH 45274-1855
                                      LIVONIA MI 48154



BRIGHT SHARK POWDER COATING CORP      BRIGHT STAR COURIERS LLC                      BRIGHT STAR COURIERS LLC
4530 SCHAEFER AVE                     11 PENN PLAZA                                 70 W 36TH ST STE 301
CHINO CA 91710                        NEW YORK NY 10001                             NEW YORK NY 10018




                                             Page 264 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 265 of 800
BRIGHT SUPPORT SERVICES LLC            BRIGHT SUPPORT SERVICES LLC                   BRIGHT, MICHAEL V
15903 CR 20                            PO BOX 92                                     1250 N INDIAN HILL NO.11
GOSHEN IN 46528                        GOSHEN IN 46527                               CLAREMONT CA 91711




BRIGHT, SHAUN ROSS                     BRIGHT, WARREN II                             BRIGHTHAUPT, JAMAL
3725 GEORGE BUSBEE PKWY NO.511         1111 NORTH BLVD                               1145 NW 155 LANE # 103
KENNESAW GA 30144                      BETHLEHEM PA 18017                            MIAMI FL 33169




BRIGHTON BOOK BINDERY                  BRIGHTON BOOK BINDERY                         BRIGHTON WINDOW CLEANING COMPANY
100 N TAYLOR ST BOX 234                PO BOX 363                                    1725 JAMES ST
BRIGHTON IA 52540                      BRIGHTON IA 52540                             MERRICK NY 11566




BRIGID KENNEY                          BRIGID MALIA                                  BRIGITTA CUNNINGHAM
4920 RIEDY PLACE                       1300 WEST ALTGELD                             8 MAYFAIR LANE
LISLE IL 60532                         #138                                          HICKSVILLE NY 11801
                                       CHICAGO IL 60614



BRIGITTE HOWARD                        BRIGITTE JOHNSON                              BRIGITTE TAUB
406 E. JERSEY STREET                   1350 PETERS BOULEVARD                         22 KIRKLAND DR
ORLANDO FL 32806                       BAY SHORE NY 11706                            GREENLAWN NY 11740




BRIGITTE ZIMMER                        BRIGMAN, JUNE                                 BRIGNOLI, BUSH & LEWIS LLC
9 SHELLEY PLACE                        2804 HOMELAND DR                              TIMOTHY BRIGNOLE
HUNTINGTON STATION NY 11746            DORAVILLE GA 30360                            73 WADSWORTH ST
                                                                                     HARTFORD CT 06106



BRIJBASSI, ADRIAN                      BRIKAMARA                                     BRILL BUNDY
102-888 HAMILTON ST                    12 FOX RD                                     6315 BEN AVENUE
VANCOUVER BC V6B 4A2                   EAST SETAUKET NY 11733                        NORTH HOLLYWOOD CA 91606




BRILLIANT COLOR IMAGING INC            BRIMLEY, SHAWN                                BRIN MURRAY
301 N HARRISON ST     STE 133          1846 IRVING STREET NW                         31 GROVE STREET
PRINCETON NJ 08540                     WASHINGTON DC 20010                           LINDENHURST NY 11757




BRINGE, MICHAEL D                      BRINJAC KAMBIC & ASSOCIATES INC               BRINK, JENNY L.
176 BEACH 113 ST                       P O BOX 1290 114 N 2ND ST                     STONERIDGE RETIREMENT CENTER
ROCKAWAY NY 11694                      HARRISBURG PA 17108-1290                      186 JERRY BROWNE ROAD, UNIT # 5406
                                                                                     MYSTIC CT 06355



BRINKER, RICHARD                       BRINKLEY, DOUGLAS                             BRINKLEY, DOUGLAS
85 N POND RD    APT 2                  923 MAGAZINE ST                               TULANE UNIVERSITY DEPT OF HISTORY
BRISTOL CT 06010                       NEW ORLEANS LA 70130                          115 HERBERT HALL
                                                                                     NEW ORLEANS LA 70118




                                              Page 265 of 2387
                         Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 266 of 800
BRINKLEY, DOUGLAS                     BRINKLEY, ROBIN L                             BRINKMAN, BUCKLEY
3200 STRATFORD HILLS LANE             1252 TWEEDBROOK PL                            21898 BAY HILL COURT
AUSTIN TX 78746                       VIRGINIA BEACH VA 23452                       IVANHOE IL 60060




BRINKS INCORPORATED                   BRINKS INCORPORATED                           BRINKS INCORPORATED
1120 WEST VENICE BLVD                 ONE THORNDAL CIR                              5575 NW 87 AVENUE
LOS ANGELES CA 90015                  DARIEN CT 06820                               MIAMI FL 33178




BRINKS INCORPORATED                   BRINKS INCORPORATED                           BRINKS INCORPORATED
PO BOX 101031                         1583 MOMENTUM PL                              234 EAST 24TH STREET
ATLANTA GA 30392-1031                 CHICAGO IL 60689-5315                         CHICAGO IL 60616




BRINTON, TIMOTHY H                    BRION, DAVID                                  BRIONES, KAREN JOHANNA
315 HAPPY TRAIL                       58 GLENVILLE ST                               200 FRANKLIN ST
SHAVANO PARK TX 78231                 GREENWICH CT 06831                            STAMFORD CT 06901




BRISCO, ANDREW                        BRISCOE DAVIS                                 BRISCOE, BRITTANY
720 GORDON TERR    UNIT 6L            103 FAIRWAY DRIVE                             447 SPRING HOLLOW DR
CHICAGO IL 60613                      BULLARD TX 75757                              MIDDLETOWN DE 19709




BRISENO, OLGA M                       BRISEUS, JEAN                                 BRISSON SMITH, ALLEN
6882 N CASA ADOBES DR                 120 NE 27TH AVE                               2008 DUPONT AVE S
TUCSON AZ 85704                       BOYNTON BEACH FL 33435                        MINNEAPOLIS MN 55405




BRISSON SMITH, ALLEN                  BRISSON, ROCHELLE M                           BRISTOL CHAMBER OF COMMERCE
2008 DUPONT AVE S NO.6                20 GEORGIA RD                                 200 MAIN ST
MINNEAPOLIS MN 55405                  OAKDALE CT 06370                              BRISTOL CT 06010




BRISTOL HOSPITAL DEVELOPMENT FUND     BRISTOL HOSPITAL DEVELOPMENT FUND             BRISTOL INDUSTRIAL LLC
C/O BRISTOL HOSPITAL AUXILLARY        LINDA MCGURN                                  1125 W 190TH ST SUITE 200
PO BOX 977                            PO BOX 977                                    GARDENA CA 90248
BRISTOL CT 06011-0977                 BRISTOL CT 06010



BRISTOL INDUSTRIAL LLC                BRISTOL INDUSTRIAL LLC                        BRISTOL INDUSTRIAL LLC
C/O OVERTON MOORE & ASSOCIATES INC    C/O CUSHMAN WAKEFIELD                         ONE TAMPA CITY CENTER SUITE 3600
PO BOX 92807 WORLDWAY POSTAL CENTER   ONE TAMPA CITY CENTER SUITE 3600              TAMPA FL 33602
LOS ANGELES CA 90009-2807             TAMPA FL 33602



BRISTOL, JENELL                       BRISTOW, ELIZABETH K                          BRITO, CRISTOBAL E
18628 BECKER TERRACE                  195 ROXBURY ROAD                              59 WILLIS ST
COUNTRY CLUB HILLS IL 60478           3RD FLOOR                                     BRISTOL CT 06010
                                      NEW BRITAIN CT 06053




                                             Page 266 of 2387
                           Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 267 of 800
BRITT HEAD                              BRITT, YAZID                                  BRITTAIN, GARY
4681 NE 1ST TERRACE                     91 TWINLAKE CIRCLE                            9413 POPPY CT
FORT LAUDERDALE FL 33334                HAMPTON VA 23666                              RICHMOND VA 23294




BRITTANY CAMPBELL                       BRITTANY RAINE                                BRITTANY WALLMAN NORMAN
7221 CATAMARAN DR.                      935 FRIENDS LAKE ROAD                         102 SW 63 AVE
ORLANDO FL 32835                        CHESTERTOWN NY 12817                          PLANTATION FL 33317




BRITTNEE WILLIAMS                       BRITTNEY BLAIR                                BRITTON, LAWRENCE K
1004 VASSAR ST.                         732 S FINANCIAL PLACE                         875 FRANKLIN RD NO.1416
ORLANDO FL 32804                        #710                                          MARIETTA GA 30067
                                        CHICAGO IL 60605



BRITTYN VOLLMAR                         BRIZEUS, JEAN ROBY                            BROAD SWORD FILMS
505 W BELMONT AVE #7K                   35 CROSSING CIRCLE NO.D                       C/O BFWG&S
CHICAGO IL 60657-6857                   BOYNTON BEACH FL 33435                        2029 CENTURY PARK EAST STE 500
                                                                                      LOS ANGELES CA 90067



BROADCAST ADV CLUB OF CHICAGO           BROADCAST ADV CLUB OF CHICAGO                 BROADCAST BUILDING COMPANY INC
315 NEW SALEM                           325 WEST HURON                                445-26 STATE ROAD 13
PARK FOREST IL 60466                    SUITE 403                                     SUITE 394
                                        CHICAGO IL 60610                              JACKSONVILLE FL 32259



BROADCAST DESIGN INTERNATIONAL INC      BROADCAST DESIGN INTERNATIONAL INC            BROADCAST DIGITAL SYSTEMS INC
3760 OCEANIC WAY SUITE 503              785 GRAND AVE STE 212                         747 E 16TH STREET
OCEANSIDE CA 92056                      CARLSBAD CA 92008                             HOUSTON TX 77008




BROADCAST IMAGE GROUP                   BROADCAST IMAGE GROUP                         BROADCAST IMAGE GROUP
7744 BROADWAY STE 100                   PO BOX 2401                                   PO BOX 6105
SAN ANTONIO TX 78209                    SAN ANTONIO TX 78298-2401                     SAN ANTONIO TX 78209




BROADCAST MEASUREMENTS LLC              BROADCAST MEASUREMENTS LLC                    BROADCAST MUSIC INC
PO BOX 955                              PO BOX 955 EDGAR A CANTELON                   PO BOX 406741
CLARKSTON MI 48347                      CLARKSTON MI 48347                            ATLANTA GA 30384-6741




BROADCAST MUSIC INC                     BROADCAST MUSIC INC                           BROADCAST MUSIC INC
PO BOX 406785                           PO BOX 406833                                 320 W 57TH ST
ATLANTA GA 30384-6785                   ATLANTA GA 30384-6833                         NEW YORK NY 10019




BROADCAST MUSIC INC                     BROADCAST MUSIC INC                           BROADCAST PRODUCTION SERVICES
PO BOX 1000                             PO BOX 340014                                 41 W 17TH STREET
NASHVILLE TN 37202-1000                 10 MUSIC SQ E                                 LOMBARD IL 60148
                                        NASHVILLE TN 37203-0014




                                               Page 267 of 2387
                        Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 268 of 800
BROADCAST TECHNICAL MAINTENANCE      BROADCAST TOWER SERVICES                      BROADCASTERS GENERAL STORE
551 MOORELAND DRIVE                  5205 SW 19TH DRIVE                            PO BOX 116084
NEW WHITELAND IN 46184               PORTLAND OR 97239-2122                        ATLANTA GA 30368-6084




BROADCASTING & CABLE                 BROADCASTING & CABLE                          BROADCASTING & CABLE
PO BOX 15157                         PO BOX 16118                                  PO BOX 6399
SUBSCRIPTION DEPARTMENT              NORTH HOLLYWOOD CA 91615-6118                 TORRANCE CA 90504-0399
N HOLLYWOOD CA 91615



BROADCASTING & CABLE                 BROADCASTING & CABLE                          BROADCASTING & CABLE
PO BOX 5655                          PO BOX 5702                                   PO BOX 630160
HARLAN IA 51593                      HARLAN IA 51593                               BALTIMORE MD 21263-0160




BROADCASTING & CABLE                 BROADCASTING & CABLE                          BROADCASTING & CABLE
PO BOX 31                            245 W 17TH STREET                             350 PARK AVE  18TH FLR
NEW PROVIDENCE NJ 07974-0031         11TH FLOOR                                    NEW YORK NY 10010
                                     ATTN STEVE LABUNSKI
                                     NEW YORK NY 10011


BROADFIELD, GARRY                    BROADNAX, ADRIANNE                            BROADRIDGE
176 LEHIGH AVE                       7495 SHELBY CROSS CIRCLE                      110 WEST PARK DR
PALMERTON PA 18071                   MEMPHIS TN 38125                              MT LAUREL NJ 08054




BROADRIDGE                           BROADSPIRE                                    BROADSPIRE
SVC                                  12874 COLLECTIONS CENTER DRIVE                13659 COLLECTIONS CENTER DR
PO BOX 23487                         CHICAGO IL 60693                              CHICAGO IL 60693
NEWARK NJ 07189



BROADSPIRE                           BROADWAY ASSISTANCE CENTER                    BROADWAY IN CHICAGO LLC
PO BOX 99539                         605 W 6TH AVE                                 17 N STATE ST STE 810
CHICAGO IL 60693-9539                DENVER CO 80204                               CHICAGO IL 60602




BROADWING TELECOMMUNICATIONS INC     BROADY, CATHERINE                             BROBST, DONNA
PO BOX 790036                        10357 S HAMILTON AVE                          PO BOX 115
ST LOUIS MO 63179-0036               CHICAGO IL 60643                              LANSFORD PA 18232-0115




BROC MECHANICAL                      BROCK AND COMPANY INC                         BROCK KRUZIC
1215 N 13TH STREET                   257 GREAT VALLEY PKWY                         2219 PHEASANT RUN
WHITEHALL PA 18052                   MALVERN PA 19355                              WESTFIELD IN 46074




BROCK, ADAM                          BROCK, ANDREW                                 BROCK, SHINOBU
15000 BRISTOL LN                     16950 N. BAY ROAD NO.2011                     245 SHERBROOKE DR
DAVIE FL 33331                       SUNNY ISLES BEACH FL 33160                    NEWPORT NEWS VA 23602




                                            Page 268 of 2387
                           Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 269 of 800
BROCKMAN, RICHARD E                     BROCKMAN, TERRA L                             BRODBAR, LAWRENCE M
50 PARK ST                              1569 SUGAR HILL LANE                          1655 CORONA AVENUE
JERSEY CITY NJ 07304                    CONGERVILLE IL 61729                          NORCO CA 92860




BRODERICK TURNER                        BRODERICK, BROOKE                             BRODERICK, MARGARET
1290 FOREST AVE                         2400 STIRLING RD APT 233                      PO BOX 311
PASADENA CA 91103                       HOLLYWOOD FL 33024                            EAST LYME CT 06333




BRODEUR, AIMEE                          BRODHAGEN, TIMOTHY                            BRODIE SYSTEM INC
1333 1/2 LAVETA TERRACE                 417 HICKS STREET APT 3C                       1539 WEST ELIZABETH AVENUE
LOS ANGELES CA 90026                    BROOKLYN NY 11201                             LINDEN NJ 07036




BRODNAX, TRACI                          BRODSKY, DANIELLA                             BRODY, KAREN M
3215 N CICERO    NO.206                 144 NEJAKO DRIVE                              528 S CUYLER AVE
CHICAGO IL 60641                        MIDDLETOWN CT 06457                           OAK PARK IL 60304




BRODY, LESLIE                           BRODY, LESLIE                                 BRODY, MICHAEL
27 BROOKDALE DRIVE                      27 BROOKDALE DRIVE                            104-60 QUEENS BLVD APT 7V
REDLANDS CA 92373-5064                  REDLANDS CA 92376-5064                        FOREST HILLS NY 11375




BRODY, ROBERT                           BROE, BRUCE                                   BROGAN, DIANNE
104-60 QUEENS BLVD    APT 7V            7633 W 174TH STREET                           1518 EAST 59TH ST
FOREST HILLS NY 11375                   23216                                         CHICAGO IL 60637
                                        TINLEY PARK IL 60477



BROK, VICTOR J                          BROLEMAN, MICHAEL                             BROMFIELD, ANTHONY S
4602 MORAVIA RUN WAY                    3502 TYLER ST                                 5106 ISLAND CLUB DR
BALTIMORE MD 21206                      FALLS CHURCH VA 22041                         TAMARAC FL 33319




BROMFIELD, ANTHONY S                    BROMFIELD, MARLON                             BROMFIELD, RICHARD
6061 N FALLS CIR NO. 410                98 GARDEN ST APT 3J                           47 WOLCOTT ROAD
LAUDERHILL FL 33319                     HARTFORD CT 06105-2149                        CHESTNUT HILL MA 02467




BROMFIELD,TERRIQUE                      BROMLEY, JUDITH                               BROMLEY, KRISTINA
7425 SW 12 CT                           1150 S. FEDERAL HIGHWAY NO.103                PO BOX 441
NORTH LAUDERDALE FL 33068               DANIA FL 33020                                TOANO VA 23168




BRONG, DENNIS                           BRONG, DENNIS R                               BRONG, RHONDA
3282 REEVE DR EAST                      3282 REEVE DRIVE EAST                         3282 REEVE DR NE
BETHLEHEM PA 18020                      BETHLEHEM PA 18020                            BETHLEHEM PA 18020




                                               Page 269 of 2387
                         Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 270 of 800
BRONNER, STEPHEN                      BRONSON, KEVIN R                              BRONZE INC
963 MIDWOOD RD                        921 NORTH HOWARD STREET                       5 COLLINS CT
WOODMERE NY 11598                     GLENDALE CA 91207                             BAYPORT NY 11705




BRONZINI, THOMAS P                    BROOK, CAROL A                                BROOK, SCHOENBERGER
5294 VILLA MALLORCA PLACE             1453 W WINONA STREET                          615 IRON ST
CAMARILLO CA 93012                    CHICAGO IL 60640                              LEHIGHTON PA 18235




BROOKBRIDGE CONSULTING SERVICES INC   BROOKBRIDGE CONSULTING SERVICES INC           BROOKE ADAMS
43 WARREN ST                          511 CANAL ST                                  1930 RACHEL'S RIDGE LOOP
NEW YORK NY 10007                     NEW YORK NY 10013-1301                        OCOEE FL 34761




BROOKE BOSLER                         BROOKE BROWN                                  BROOKE BUTCHER
1936 N. CLARK ST.                     10 E WEAVER                                   7774 CARDINAL COVE S DR
APT. #412                             HAMPTON VA 23666                              INDIANAPOLIS IN 46256
CHICAGO IL 60614



BROOKE ELLIS                          BROOKE NEVILS                                 BROOKE REISMAN
3630 N PARK ROAD                      3421 N. MARSHAFIELD                           2245 N BISSEL STREET
HOLLYWOOD FL 33021                    APT. #3W                                      APT # 3
                                      CHICAGO IL 60657                              CHICAGO IL 60614



BROOKER, IRA OTTO                     BROOKINS PRODUCTIONS INC                      BROOKLIN PICTURES
5011 N MAJOR AVE                      206 SLEEPY HOLLOW RD                          3335 KEYSTONE AVE NO.6
CHICAGO IL 60630                      RICHMOND VA 23229                             LOS ANGELES CA 90034




BROOKLYN ROACH MULTIMEDIA INC         BROOKLYN ROACH MULTIMEDIA INC                 BROOKMAN JONES, BRYAN
355 7TH AVE NO.2                      801 MOTOR PARKWAY STE 200                     3170 LEEWOOD TERRACE NO.213
BROOKLYN NY 11215                     BROOKLYN NY 11788                             BOCA RATON FL 33431




BROOKS ALDER                          BROOKS LONG                                   BROOKS STENSTROM
2100 CAMBRIDGE DR SE                  612 SOUTH LUZERNE AVENUE                      630 WEST KNOLL DR.
GRAND RAPIDS MI 49506                 BALTIMORE MD 21224                            WEST HOLLYWOOD CA 90069




BROOKS, BRAXTON                       BROOKS, CHELSEY                               BROOKS, DONNA
320 NE 15TH AVENUE                    53 BRIAN LANE                                 675 LAKE NO.236
BOYNTON BEACH FL 33435                AVON CT 06001                                 OAK PARK IL 60301




BROOKS, EDWARD                        BROOKS, GWENDOLYN                             BROOKS, KATHERINE
705 MADISON RD                        10245 S MARYLAND                              4905 CALABAZILLA ROAD
WILLIAMSBURG VA 23185                 LAS VEGAS NV 89123                            LAS CRUCES NM 88011




                                             Page 270 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 271 of 800
BROOKS, LORRAINE C                     BROOKS, LOU                                   BROOKS, MALEEKA
28 EAST BIG SKY DRIVE                  PO BOX 753                                    11112 TARRY TOWN COURT NO.3B
HAMPTON VA 23669                       REDWOOD VALLEY CA 95470                       NEWPORT NEWS VA 23601




BROOKS, MARK                           BROOKS, MATTHEW T                             BROOKS, NATALIA
177 NAGLE AVENUE 3K                    16445 SOUTH PARK AVE                          721 N RIDGELAND
NEW YORK NY 10034                      SOUTH HOLLAND IL 60473                        OAK PARK IL 60302




BROOKS, RACHEL MICHELLE                BROOKS, RENANA                                BROOKS, ROBERT
PO BOX 612                             3547 BRANDYWINE ST NW                         1143 WAUKEGAN RD
WICOMICO VA 23184                      WASHINGTON DC 20008                           753
                                                                                     DEERFIELD IL 60015



BROOKS, ROBERT                         BROOKS, SHIRLEY                               BROOKS, STEWART
528 SHELTON RD                         8 FORREST CT                                  9803 LANGS RD NO.1
HAMPTON VA 23663                       WILLIAMSBURG VA 23188                         BALTIMORE MD 21220




BROOKS, TAMARA                         BROOME, SAMUEL                                BROSINSKI, STEVEN
5025 DENNY AVE NO.2                    41 BLISS ST                                   9410 WASHINGTON ST
NORTH HOLLYWOOD CA 91601               EAST HARTFORD CT 06108                        BROOKFIELD IL 60513




BROSNAN, LORENZ                        BROSTOSKI, EILEEN                             BROTHERS FIRE PROTECTION INC
5268 CEDAR LANE APT 183                8751 GEORGE WASHINGTON MEMORIAL HWY           3781 NE 11TH AVENUE
COLUMBIA MD 21044                      GLOUCESTER VA 23061                           POMPANO BEACH FL 33064




BROTHERS, EDWARD L                     BROTHERS, LARRY                               BROTZMAN, RICHARD
1601 PARKRIDGE CIRCLE                  2904 GREENWICH CT         APT 504             2400 MEADOW LANE DR
CROFTON MD 21114                       CROFTON MD 21114                              EASTON PA 18040




BROUSSARD, TRACEY                      BROUSSARD, WAYNE                              BROUSSARD, WAYNE
700 HOLLYWOOD BLVD                     2651 NORTHRIDGE DR                            2651 NORTHRIDGE DR
HOLLYWOOD FL 33019                     PLACERVALE CA 95667                           PLACERVILLE CA 95667




BROUSSEAU, DAVID SCOTT                 BROUWER, JON                                  BROVERMAN, NEAL
1200 NE 42 COURT                       2459 NORTHVILLE DR NE                         4846 ROSEWOOD AVE    NO.27
POMPANO BEACH FL 33064                 GRAND RAPIDS MI 49525                         LOS ANGELES CA 90004




BROW, JASON LANGTRY                    BROWARD COUNTY COUNCIL PTA                    BROWARD COUNTY COUNCIL PTA
65 NASH STREET APT 2                   ATTN RENEE GRUTMAN                            C/O RENEE GRUTMAN
NEW HAVEN CT 06511                     4189 FORREST HILL DRIVE                       1320 SW 4TH ST
                                       COOPER CITY FL 33026                          FT LAUDERDALE FL 33312




                                              Page 271 of 2387
                             Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 272 of 800
BROWARD COUNTY REVENUE                    BROWARD COUNTY REVENUE                        BROWARD COUNTY REVENUE
COLLECTOR                                 COLLECTOR                                     COLLECTOR
815 NE 13TH ST                            GOVERNMENTAL CENTER ANNEX RM-A 100            1800 NW 66TH AVE
DEPT A                                    115 S ANDREWS AVENUE                          PLANTATION FL 33313-4535
FT LAUDERDALE FL 33304                    FT. LAUDERDALE FL 33301-1895


BROWARD COUNTY REVENUE                    BROWARD COUNTY SPORTS HALL OF FAME            BROWARD EDUCATION FOUNDATION
PO BOX 29009                              2925 W CYPRESS CREEK RD NO.102                %TERRY T SHERMAN
FT LAUDERDALE FL 33302-9009               FT LAUDERDALE FL 33309                        14971 ENCINO CIRC
                                                                                        PEMBROKE PINES FL 33027



BROWARD EDUCATION FOUNDATION              BROWARD EDUCATION FOUNDATION                  BROWARD EDUCATION FOUNDATION
100 SW 75TH TER                           600 SE 3RD AVE 7TH FLR                        600 SE THIRD AVENUE
PLANTATION, FL FL 33317                   FT LAUDERDALE FL 33301                        C/O SCHOOL BOARD OF BROWARD
                                                                                        COUNTY FLORIDA
                                                                                        FT LAUDERDALE FL 33301-3125


BROWARD EDUCATION FOUNDATION              BROWARD OUTREACH CENTER                       BROWARD PUBLIC LIBRARY
KC WRIGHT ADMINISTRATION CENTER           2159 NW 1 CT                                  FOUNDATION
SCHOLARSHIP FUND                          MIAMI FL 33127                                100 SOUTH ANDREWS AVENUE 8TH FLOOR
600 SE 3RD AVENUE 8TH FLOOR                                                             FT LAUDERDALE FL 33301-1830
FORT LAUDERDALE FL 33301


BROWARD SCHOOL DISTRICT                   BROWARD TEACHERS UNION                        BROWARD TEACHERS UNION
600 SE 3RD AVENUE                         6000 N UNIV DR                                6000 N UNIVERSITY DRIVE
FORT LAUDERDALE FL 33301                  C/O DIANE WATTS COORDINATOR                   TAMARAC FL 33321
                                          TAMARAC FL 33321



BROWARD WORKSHOP                          BROWDER, EDNA J                               BROWDY, JASON
150 E DAVIE BLVD SUITE 200                1029 N. SHELBY                                7210 HARBOUR BOULEVARD
FT LAUDERDALE FL 33316                    GARY IN 46403                                 MIRAMAR FL 33023




BROWN & BIGELOW                           BROWN & BIGELOW                               BROWN & BIGELOW
6700 SMITH RD                             4101 RAVENSWOOD RD STE 402                    PO BOX 931536
DENVER CO 80207                           FT LAUDERDALE FL 33312                        ATLANTA GA 31193




BROWN & BIGELOW                           BROWN & BIGELOW                               BROWN AND ASSOCIATES
PO BOX 1450                               ASPEN CORPORATE PARK 1                        200 EXECUTIVE WAY
NW 8554                                   1480 ROUTE 9 NORTH                            PONTE VEDRA FL 32082
MINNEAPOLIS MN 55485-3450                 WOODBRIDGE NJ 07095



BROWN AND ASSOCIATES                      BROWN III, LEANDER                            BROWN III, WILLIAM D
PO BOX 2408                               812 VENETIAN ISLES DR NO.112                  6583 EMIL AVE
PONTE VEDRA FL 32082                      LAKE PARK FL 33403                            COCOA FL 32927




BROWN JR, STEVE                           BROWN PRINTING COMPANY                        BROWN PRINTING COMPANY
406 LAKE RIDGE COURT                      2300 BROWN AVENUE                             PO BOX 1549
RIVERDALE GA 30274                        WESECA MN 56093                               WESECA MN 56093




                                                 Page 272 of 2387
                           Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 273 of 800
BROWN PRINTING COMPANY                  BROWN SCHULTZ SHERIDAN & FRITZ                BROWN'S OIL SERVICE
SDS 12-2586                             P.O. BOX 67865                                4800 VAN CLEAVE ST
PO BOX 86                               HARRISBURG PA 17106-7865                      INDIANAPOLIS IN 46226
MINNEAPOLIS MN 55486-2586



BROWN, ADRIAN                           BROWN, ADRIENNE                               BROWN, ALLAN W
3401 NW 3RD AVE                         369 15TH ST                                   6320 SCOTT STREET
POMPANO BEACH FL 33064                  OAKLAND CA 94612                              HOLLYWOOD FL 33024




BROWN, AMANDA                           BROWN, ANNA                                   BROWN, AUGUST
1207 NW 13TH LANE                       3780 MAPLE ST                                 318 S DETROIT ST NO.403
FT. LAUDERDALE FL 33311                 ALLENTOWN PA 18104                            LOS ANGELES CA 90036




BROWN, AVERY M                          BROWN, BARRINGTON                             BROWN, BARRINGTON
2850 DELK RD NO.15A                     3715 TRIANON DR                               19241 NW 6TH AVENUE
MARIETTA GA 30067                       ORLANDO FL 32818                              MIAMI FL 33169




BROWN, BERTINA                          BROWN, BETTY J                                BROWN, BRENDA
819 NW 3RD ST. NO. 5                    1801 CASTLETON RD                             122 SELBY LANE
FORT LAUDERDALE FL 33311                DARLINGTON MD 21034                           WILLIAMSBURG VA 23185




BROWN, BRUCE D                          BROWN, CALEF                                  BROWN, CHARLES
3930 HUNTINGTON ST NW                   101 S MICHIGAN AVE                            12750 NW 27TH AVENUE NO.66
WASHINGTON DC 20015                     PASADENA CA 91106                             OPA-LOCKA FL 33054




BROWN, CHARLES A                        BROWN, CHARLES A                              BROWN, CHERIE
44 LINDEN AVE N                         PO BOX 992                                    5 TREMONT PLACE
WESTBROOK CT 06498                      WESTBROOK CT 06498                            ROOSEVELT NY 11575




BROWN, CHRISTINE                        BROWN, CHRISTOPHER ANTHONY                    BROWN, CHRISTOPHER M
171 FREDERICK                           2501 NW 41 AVENUE NO.406                      1146 S. RIDGELAND AVE
CHICAGO HEIGHTS IL 60411                LAUDERHILL FL 33313                           OAK PARK IL 60304




BROWN, CYNTHIA                          BROWN, DAMON                                  BROWN, DANIEL
16 KONOMOC ST                           1846 W CULVER AVE APT 6                       PO BOX 2496
NEW LONDON CT 06320                     ORANGE CA 92868                               REDMOND WA 98073




BROWN, DAVID                            BROWN, DAVID G                                BROWN, DIANE
3331 SHREWSBURY ROAD                    6109 SW 35TH STREET                           5364 MAD RIVER LANE
ABINGDON MD 21009                       MIRAMAR FL 33023-5133                         COLUMBIA MD 21044




                                               Page 273 of 2387
                        Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 274 of 800
BROWN, DOLORES                       BROWN, DORIS                                  BROWN, ELISABETH M
4743 SW 195TH WAY                    104 SIDNEY AVE                                84 HARVEY COURT
MIRAMAR FL 33029                     W HARTFORD CT 06110                           IRVINE CA 92612




BROWN, ELIZABETH                     BROWN, ELIZABETH                              BROWN, EUGENE W
406 ATLANTIC AVE NO.2                1103 W BROAD ST                               3044 W 119TH STREET
BROOKLYN NY 11217                    QUAKERTOWN PA 18951                           MERRIONETTE PARK IL 60803




BROWN, EVAN                          BROWN, FRANCINE A                             BROWN, GARY R
24-2 BURR RD                         27-19 SCHLEIGEL BLVD                          PO BOX 4625
LYME CT 06371                        NORTH AMITYVILLE NY 11701                     ENGLEWOOD CO 80155




BROWN, GERALD                        BROWN, GLORIOUS                               BROWN, GRACELYN
45 WISTERIA ST                       2111 CORALTHORN RD                            10724 VALLEY SPRING LANE
SPRINGFIELD MA 01119                 BALTIMORE MD 21220                            TOLUCA LAKE CA 91602




BROWN, HORACE                        BROWN, JACK                                   BROWN, JACKIE
302 NW 12TH AVE                      39 UNION ST APT 2                             77 WEST ROSEMONT AVE
DELRAY BEACH FL 33444                EASTHAMPTON MA 01027                          WINDSOR CT 06095-2815




BROWN, JAMES D                       BROWN, JAMES LAFAYETTE                        BROWN, JENNIFER
BOX 2570                             8940 NW 77 CT       NO.115                    16434 TURNER
EUGENE OR 97402                      TAMARAC FL 33321                              MARKHAM IL 60428




BROWN, JEROLENE                      BROWN, KAREN                                  BROWN, KRISTIN
3054 JOLLY POND ROAD                 240 SW 56TH TER APT 106                       327 E 108TH ST NO.34
WILLIAMSBURG VA 23188                MARGATE FL 33068                              NEW YORK NY 10029




BROWN, LANE H                        BROWN, LARRY                                  BROWN, LAURA
3700 CASCADE DR                      333 N JORDAN ST                               4131 SERENITY ST
GREENSBORO NC 27410                  ALLENTOWN PA 18102                            SCHWENKSVILLE PA 19473




BROWN, LAUREN G.                     BROWN, LISA                                   BROWN, LISA
48 DEXTER DRIVE                      3715 TRIANON DR                               10175 STONEHENGE CIRC NO.1418
SHELTON CT 06484                     ORLANDO FL 32818                              BOYNTON BEACH FL 33437




BROWN, LORENA MARIE                  BROWN, MARGARET                               BROWN, MARIAN SLOANE
505 W BASELINE RD NO.2060            1711 S ALBERT ST APT 2                        2901 BOSTON ST NO. 410
TEMPE AZ 85283                       ALLENTOWN PA 18103                            BALTIMORE MD 21224




                                            Page 274 of 2387
                           Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 275 of 800
BROWN, MARTEZ                           BROWN, MARVIN                                 BROWN, MICHAEL
15653 WOODLAWN EAST AVE                 1844 STRAWBERRY RIDGE DR                      2644 NW 18TH TERRACE
SOUTH HOLLAND IL 60473                  ST. LOUIS MO 63021                            OAKLAND PARK FL 33311




BROWN, MICHAEL S                        BROWN, NADINE                                 BROWN, NADINE
4652 YEARDLEY LOOP                      20682 NW 38TH AVENUE                          20682 NW AVENUE
WILLIAMSBURG VA 23185                   MIAMI FL 33055                                MIAMI FL 33055




BROWN, OCTALANE LAVERNE                 BROWN, PHILLIP D                              BROWN, PHILLIP S
1616 NW 7TH PL.                         296 LOU MAC COURT                             7928 SW 3RD STREET
FT. LAUDERDALE FL 33311                 NEWPORT NEWS VA 23602                         NORTH LAUDERDALE FL 33068




BROWN, R DOUGLAS                        BROWN, REBECCA                                BROWN, REBECCA D
1401 S HARBOR BLVD APT 3C               2 GOLD ST  NO. 4901                           3024 WHITING AVE
LA HABRA CA 90631                       NEW YORK NY 10038                             CHARLOTTE NC 28205




BROWN, REBECCA D                        BROWN, RENEE S                                BROWN, RICHARD
3024 WHITING AVE                        42 CATOONA LN                                 20 UTLEY ROAD
CHARLOTTE SC 28205                      STAMFORD CT 06902                             HAMPTON CT 06247




BROWN, RICHARD                          BROWN, RICKY                                  BROWN, ROBERT
935 ST NICHOLS AVE   APT 2E             9952 S STATE                                  205 ARCHER ST
NEW YORK NY 10032                       CHICAGO IL 60628                              BEL AIR MD 21014




BROWN, ROBERT PAUL                      BROWN, ROHAN                                  BROWN, ROSA LEE
8200 SW 22ND ST. APT C-204              5106 SW 20TH ST                               911 SW 31ST AVE.
NORTH LAUDERDALE FL 33068               HOLLYWOOD FL 33023                            FT. LAUDERDALE FL 33312




BROWN, RUBY                             BROWN, RUSSELL L                              BROWN, SARAH M
3009 ADAMS STREET                       9100 S PARNELL AVE                            420 W TROTTERS DR
BELLWOOD IL 60104                       CHICAGO IL 60620                              MAITLAND FL 32751




BROWN, SHAYLA L                         BROWN, SHERNETT                               BROWN, STASHNA GAT
4852 ORLEANS CT APT A                   1230 NW 56 AVE                                3586 CORAL SPRINGS DR
WEST PALM BEACH FL 33415                LAUDERHILL FL 33313                           CORAL SPRINGS FL 33065




BROWN, STEPHEN                          BROWN, TAKEISHA                               BROWN, THOMAS F
8624 SILVER MEADOW LANE                 92 SPRINGDALE CIRCLE                          2813 LINDBERG AVENUE
BALTIMORE MD 21236                      PALM SPRINGS FL 33461                         ALLENTOWN PA 18103




                                               Page 275 of 2387
                           Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 276 of 800
BROWN, TIFFANY                          BROWN, TIMOTHY D                              BROWN, TINA A
609 E GLENWOOD-LANSING APT 101          2418 S LAW ST                                 PO BOX 567
GLENWOOD IL 60425                       ALLENTOWN PA 18103                            HARTFORD CT 06141




BROWN, TRACY M                          BROWN, TRACYANN                               BROWN, TWANA S
145 EAST AVE                            5525 SW 41ST STREET NO.104                    731 NW 18TH ST
FREEPORT NY 11520                       HOLLYWOOD FL 33023                            POMPANO BEACH FL 33060




BROWN, WILLIAM                          BROWN, WILLIAM                                BROWN, WILLIAM LEWIS
3515 RT.32                              719 MAIDEN CHOICE LANE BR 615                 6704 WESTMORELAND AVE
WEST FRIENDSHIP MD 21794                CATONSVILLE MD 21228-6226                     TAKOMA PARK MD 20912




BROWN, WILLIAM R                        BROWN, ZACHARY J                              BROWN,PAULA
716 CUMBERLAND AVENUE                   276 LEROY AVE                                 7151 SW 11TH COURT
PORTSMOUTH VA 23707                     CEDARHURST NY 11516                           NORTH LAUDERDALE FL 33068




BROWN-BEY, NATALIE                      BROWN-DAUB CHEVROLET                          BROWN-DAUB CHEVROLET
5208 RIDGE AVE NO.1                     819 NAZARETH PIKE                             PO BOX 189
HILLSIDE IL 60162                       NAZARETH PA 18064                             EASTON PA 18044-0189




BROWN-DAUB CHEVROLET                    BROWNE, AZWAH                                 BROWNE, ELAINE
PO BOX 265                              5412 CLIFTON AVENUE                           2453 LOUELLA AVE
NAZARETH PA 18064                       BALTIMORE MD 21207                            VENICE CA 90291




BROWNE, JAMES L                         BROWNE, MARK A                                BROWNE, MARK A
3501 MARY AVENUE                        PO BOX 382355                                 OFFICE OF JULIET BROWNE VERRILL
PARK CITY IL 60085                      CAMBRIDGE MA 02238                            & DANA LLP
                                                                                      PO BOX 586 ONE PORTLAND SQUARE
                                                                                      PORTLAND ME 04112


BROWNE, SHIRLEY                         BROWNELL, DESHAWN                             BROWNELL, KELLY
5400 SW 12TH ST APT D202                88 OAK STREET UNIT 12                         60 ISLAND VIEW AVENUE
N LAUDERDALE FL 33068                   MANCHESTER CT 06040                           BRANFORD CT 06405




BROWNING, RONALD GARY                   BROWNLIE, ROBERT M                            BROWNRIGG, SYLVIA
226 NORTH UNION AVE                     1204 SUNCAST LANE STE 2                       2847 RUSSELL ST
HAVRE DE GRACE MD 21078                 EL DORADO HILLS CA 95762-9665                 BERKELEY CA 94705




BROWNSON, JEAN MARIE K                  BROWNSVILLE HERALD                            BROWNSVILLE HERALD
1305 S COURTLAND AVE                    1135 E VAN BUREN ST                           PO BOX 351
PARK RIDGE IL 60068                     BROWNSVILLE TX 78520                          BROWNSVILLE TX 78520




                                               Page 276 of 2387
                           Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 277 of 800
BROWNWORTH, VICTORIA                    BROYLES, RICKEY A                             BRUBAKER, REBECCA M
311 W SEYMOUR ST                        717 FLINTLOCK DR                              1735 PATRIOT BLVD
PHILADELPHIA PA 19144                   BEL AIR MD 21015                              GLENVIEW IL 60026




BRUCE BECK                              BRUCE BELL AND ASSOCIATES INC                 BRUCE BEMISS
2679 DAUNET AVENUE                      PO BOX 400                                    1507 LANDO LANE
SIMI VALLEY CA 93065                    CANON CITY CO 81212-0400                      ORLANDO FL 32806




BRUCE BERLET                            BRUCE BISHOP                                  BRUCE BLACK
202 CARRIAGE DRIVE                      1919 MAYAN COURT                              975 STORRS ROAD
GLASTONBURY CT 06033                    JOLIET IL 60435                               STORRS CT 06268




BRUCE BROWN                             BRUCE CERLING                                 BRUCE CHANDLER
1125 E. BROADWAY                        366 BIRKDALE RD                               2117 CEDAR BARN WAY
APT 221                                 LAKE BLUFF IL 60044                           BALTIMORE MD 21244
GLENDALE CA 91205



BRUCE COLEMAN INC                       BRUCE COOK                                    BRUCE DANSKER
111 BROOK STREET 2ND FLOOR              2259 SAN VICENTE AVE                          24 CENTRAL PARKWAY
SCARSDALE NY 10583                      LONG BEACH CA 90815                           HUNTINGTON NY 11743




BRUCE DAVIS                             BRUCE DIERBECK                                BRUCE FOX
11622 CULLMAN                           5699 NORTH CENTERPARK WAY                     48 HARVEST LANE
WHITTIER CA 90604                       #425                                          COLCHESTER CT 06415
                                        GLENDALE WI 53217



BRUCE GILBERT                           BRUCE GILLETT                                 BRUCE GRENIER
260 RIVERSIDE DR                        7063 SOUTH ELM STREET                         1016 CORKWOOD DRIVE
APT 1E                                  CENTENNIAL CO 80122                           OVIEDO FL 32765
NEW YORK NY 10025



BRUCE GROVES                            BRUCE HALL                                    BRUCE HARNER
24034 SE 281ST PLACE                    9737 MAJESTIC WAY                             1671 CRYSTAL CANYON DR
MAPLE VALLEY WA 98038                   BOYNTON BEACH FL 33437                        AZUSA CA 91702




BRUCE HARRINGTON                        BRUCE HART                                    BRUCE HEDRICK
1 KAREN STREET                          8632 35TH AVENUE SW                           93 SMITH AVENUE
WARRENSBURG NY 12885                    SEATTLE WA 98126                              ABERDEEN MD 21001




BRUCE HENRICKSON                        BRUCE HUNTER                                  BRUCE JAPSEN
930 FOREST AVE.                         3 WOODY LANE                                  4107 N. GREENVIEW AVE.
GLEN ELLYN IL 60137-3669                NEW FAIRFIELD CT 06812                        1S
                                                                                      CHICAGO IL 60613




                                               Page 277 of 2387
                         Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 278 of 800
BRUCE KATZ                            BRUCE KESTIN                                  BRUCE KING
4408 BURKE DR.                        541 SW 13TH AVE                               11825 REYNOLDS ROAD
METAIRIE LA 70003                     FORT LAUDERDALE FL 33312                      KINGSVILLE MD 21087




BRUCE L ISPHORDING                    BRUCE L. SHAPIRO, ESQ.                        BRUCE MC LEOD
3261 LEE WAY COURT                    RE: HUNT VALLEY 300 CLUBHOUSE                 2348 HERMITS GLEN
UNIT #4                               15 W. AYLESBURY RD.                           LOS ANGELES CA 90046
NORTH FORT MYERS FL 33903             SUITE 700
                                      TIMONIUM MD 21093


BRUCE MENDITCH                        BRUCE MICKELSON                               BRUCE MICKELSON
138 CHURCHILL DRIVE                   C/O THOMAS L. IRWIN, P.A.                     C/O THOMAS L IRWIN
NEWINGTON CT 06111                    21 FRANKLIN AVE.                              21 FRANKLIN AVE
                                      NUTLEY NJ 07110                               NUTLEY NJ 07110



BRUCE MILES                           BRUCE MILLER                                  BRUCE NAWROCKE
108 MILLIS                            106 CANNON DR                                 13915 WELLINGTON LANE
SCHAUMBURG IL 60193                   CARROLLTON VA 23314                           GRAND ISLAND FL 32735




BRUCE NEDWIN                          BRUCE O'BRIEN                                 BRUCE OLDHAM
3052 W. BIRCHWOOD                     5205 KERGER ROAD                              706 GROTON DRIVE
CHICAGO IL 60645                      ELLICOTT CITY MD 21043                        BURBANK CA 91504




BRUCE RADEK                           BRUCE ROGERS                                  BRUCE THIEL
368 ADDISON ROAD                      538 WASHINGTON AVENUE                         56 RALEIGH ROAD, 2ND FLOOR
RIVERSIDE IL 60546                    NORTHAMPTON PA 18067                          NEWPORT NEWS VA 23601




BRUCE TURTELL                         BRUCE TUSZYNSKI                               BRUCE VAUGHAN
9 RITA PLACE                          973 MEADOWRIDGE                               33492 ADELFA STREET
FARMINGDALE NY 11735-5904             AURORA IL 60504                               LAKE ELSINORE CA 92530




BRUCE W AHLMANN                       BRUCE WARSHAL MEDIATION INC                   BRUCE WATT
528 CRESTWOOD DR                      1155 HILLSBORO MILE NO.403                    9076 LOGHOUSE ROAD
DES PLAINES IL 60016                  HILLSBORO BEACH FL 33062                      KEMPTON PA 19529




BRUCE, ERIC                           BRUCE, HILARY                                 BRUCE, JOIANDA T
441 CHAPEL STREET SUITE 4-1           1731 N WOOD                                   5734 N WINTHROP AVE      APT 202
NEW HAVEN CT 06511                    CHICAGO IL 60622                              CHICAGO IL 60660




BRUCE, LINVAL                         BRUCE, TAMIKA                                 BRUCES GOURMET CATERING INC
48 GEORGE RD                          11617 S CARPENTER                             11852 VOSE ST
WINDSOR LOCKS CT 06096                CHICAGO IL 60643                              N HOLLYWOOD CA 91605




                                             Page 278 of 2387
                           Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 279 of 800
BRUCES GOURMET CATERING INC             BRUCHEY, SAMUEL                               BRUCKER COMPANY
13631 SATICOY ST                        4707 N MUSCATEL AVE                           1200 GREENLEAD AVENUE
PANORAMA CITY CA 91402                  ROSEMEAD CA 91770                             ELK GROVE VILLAGE IL 60007-5534




BRUCKER COMPANY                         BRUCKER COMPANY                               BRUCKER COMPANY
1200 GREENLEAF AVENUE                   DEPARTMENT 20-1042                            PO BOX 6197
ELK GROVE VILLAGE IL 60007              PO BOX 5940                                   CHICAGO IL 60680-6197
                                        CAROL STREAM IL 60197



BRUCKER,SYLVIA                          BRUCKNER, ANDREA                              BRUCKNER, ERIC
4278 WINDSOR DRIVE                      5610 ALABAMA AVE                              3 MIDDLE ST
ALLENTOWN PA 18104-4437                 CLARENDON HILLS IL 60514                      WATERFORD CT 06385




BRUECKNER, WAYNE                        BRUEN, MELISSA                                BRUESKE, CRAIG S
P O BOX 266                             127 EVELINA DR                                1902 JEANETE AVE
PARKER DAM CA 92267                     MARLBOROUGH MA 01752                          ST CHARLES IL 60174




BRUGGEMAN, BLAIRE                       BRUHN, JULIE                                  BRUMBACK, CHARLES
1144 LAKE BALDWIN LANE                  77 W HURON    NO.1406                         C/O LINDSEY N ALLEN
ORLANDO FL 32814                        CHICAGO IL 60654                              501 E CENTER AVENUE
                                                                                      LAKE BLUFF IL 60044



BRUMET, NOEMI                           BRUMFIELD, GENEVA H                           BRUMMER, RICHARD H
116 SE 4TH ST APT 3                     445 WOODCLIFF DRIVE                           711 E WASHINGTON
HALLANDALE FL 33009                     BATON ROUGE LA 70815                          EFFINGHAM IL 62401




BRUNACHE, ALEXANDER                     BRUNE, ADRIAN M                               BRUNELL, RICHARD
1934 SW 149TH AVE                       82 LAFAYETTE AVE NO.2C                        45 NATCHAUG ST
MIRAMAR FL 33027                        BROOKLYN NY 11217                             CHAPLIN CT 06235




BRUNETTE, MARY                          BRUNGER, SCOTT                                BRUNNER, JERYL
7644 WILLIAM PENN PL                    8200 LEHIGH 704 HAWK DISTRIBUTION             44 WEST 72ND STREET NO.3C
INDIANAPOLIS IN 46256                   MORTON GROVE IL 60053                         NEW YORK NY 10023




BRUNNER, JESSICA                        BRUNNER, RICHARD K                            BRUNO CARIDINE
18337 MT CHERIE CIRCLE                  730 LAWRENCE DR                               5401 S. HYDE PARK BOULEVARD
FOUNTAIN VALLEY CA 92728                EMMAUS PA 18049                               APT. #1002
                                                                                      CHICAGO IL 60615



BRUNO GERBINO & MACCHIA LLP             BRUNO GERBINO & MACCHIA LLP                   BRUNO JR, FRANK J
445 BRD HOLLOW RD NO.220                COUNSELLORS AT LAW                            1005 E UNION ST APT 4
MELVILLE NY 11747-4712                  445 BROAD HOLLOW ROAD                         ALLENTOWN PA 18103
                                        SUITE 220
                                        MELVILLE NY 11747-4712




                                               Page 279 of 2387
                         Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 280 of 800
BRUNO VANDERVELDE                     BRUNO, GERBINO & SORIANO, LLP                 BRUNO, GERBINO & SORIANO, LLP
3421 W. DRUMMOND PLACE                VINCENT GERBINO                               CRAIG BRUNO
APT #3B                               445 BROAD HOLLOW RD.                          445 BROAD HOLLOW RD.
CHICAGO IL 60647                      SUITE 220                                     SUITE 220
                                      MELVILLE NY 11747                             MELVILLE NY 11747


BRUNS, LINDA K                        BRUNSWICK NEWS PUBLISHING CO INC              BRUSKO,MICHAEL
11456 BUCK LAKE RD.                   ATTN JUDY LEDFORD                             24 MADISON LANE
TALLAHASSEE FL 32317                  PO BOX 1557 3011 ALTAMA AVE                   WHITEHALL PA 18052
                                      BRUNSWICK GA 31521



BRUTUS, PHILIPPE                      BRYAN & CHERRY ALEXANDER                      BRYAN CAUTHEN
2201 LINTON BLVD # 3                  HIGHER COTTAGE MANSKON                        5435 COLUMBIA ROAD
DELRAY BEACH FL 33445                 STURMINSTER NEWTON                            APT 318
                                      DORSET DT10 1EZ                               COLUMBIA MD 21044



BRYAN CHAN                            BRYAN CHEVROLET                               BRYAN CHEVROLET
514 W. 26TH ST                        8213 AIRLINE DR                               PO BOX 646
APT 230                               METAIRIE LA 70003                             METAIRIE LA 70003
SAN PEDRO CA 90731



BRYAN CORDES                          BRYAN DANNECKER                               BRYAN DUSINI
2750 NORTH MILDRED AVE                3022 N 3RD AVENUE                             2828 KINGS HWY.
APT # 1                               WHITEHALL PA 18052                            #F4
CHICAGO IL 60614                                                                    BROOKLYN NY 11229



BRYAN GISSEL                          BRYAN HEALY                                   BRYAN HILEMAN
225 WEST 6TH STREET                   406 MOUNTAIN VIEW ROAD                        25204 KEATS LANE
APT #509                              RHINEBECK NY 12572                            STEVENSON RANCH CA 91381
LONG BEACH CA 90802



BRYAN HINDS                           BRYAN INGRAM                                  BRYAN KRALLMAN
224 E. BOYD ST                        828 LOMA ALTA TERR                            6134 GEORGETOWN ROAD
APT 212                               VISTA CA 92083                                F
LOS ANGELES CA 90013                                                                INDIANAPOLIS IN 46254



BRYAN MACEDA                          BRYAN POTTER                                  BRYAN ROWZEE
10975 MESA LINDA ST.                  28404 ROYAL RD.                               64 MCDONALD STREET
VICTORVILLE CA 92392                  CASTAIC CA 91384                              GLENS FALLS NY 12801




BRYAN RUSSO                           BRYAN SCHOETTLE                               BRYAN SEARS
43 CANTERBURY ROAD                    17621 MAPLE ST.                               1575 DOXBURY RD
WHITE PLAINS NY 10607                 LANSING IL 60438                              TOWSON MD 21286-5904




BRYAN SHANNON                         BRYAN SLEIGHER                                BRYAN SMITH
24 MCHUGH STREET                      24500 STATES LANE                             850 W. ERIE
SOUTH GLENS FALLS NY 12803            SHOREWOOD IL 60431                            CHICAGO IL 60622




                                             Page 280 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 281 of 800
BRYAN STEWART                          BRYAN WARD                                    BRYAN WERT
26 SCHLEY AVENUE                       3440 S. HOYNE AVE.                            410 LAKEVIEW DR
LINDENHURST NY 11757                   CHICAGO IL 60608                              YORK PA 17403




BRYAN WHITEHEAD                        BRYAN YONG                                    BRYAN, JOHN
1818 BEECH AVE                         2571 PENDLETON DRIVE                          19911 LASEN ST
HANOVER MD 21076                       EL DORADO HILLS CA 95762                      CHATSWORTH CA 91311




BRYAN, LEONARD                         BRYAN, LINDA OYAMA                            BRYAN, NICHOLAS
117 N JASPER ST                        1921 BIRCHWOOD AVENUE                         1048 1/2 N SWEETZER AVENUE
ALLENTOWN PA 18109                     WILMETTE IL 60091                             WEST HOLLYWOOD CA 90069




BRYAN, PATRICIA                        BRYAN, STEPHEN                                BRYAN, WILFRED
225 E 95TH ST   APT 14J                964 E 95TH ST                                 201 NW 80 AVE
NEW YORK NY 10128                      BROOKLYN NY 11236                             MARGATE FL 33063




BRYAN, WILLIAM H                       BRYANT GATES                                  BRYANT MILLER, SR
338 BOGEYLANE                          8617 S BISHOP STREET                          1715 BRANDON LEE WAY
KIRKWOOD MO 63122                      CHICAGO IL 60620                              MARIETTA GA 30008




BRYANT ROGERS                          BRYANT, ALLEN                                 BRYANT, BERTHA DANIELLE
9308 S. CORNELL                        2884 N CLARK ST NO.2                          5401 SW 20TH ST
CHICAGO IL 60617                       CHICAGO IL 60657                              HOLLYWOOD FL 33023




BRYANT, BEVERLY                        BRYANT, BREMANTE                              BRYANT, DENNIS W
4840 OHIO AVE                          11012 LAKE VICTORIA LANE                      8856 PINE BAY CT
SANFORD FL 32771                       BOWIE MD 20720                                STE 0100
                                                                                     ORLANDO FL 32825



BRYANT, JERMAINE                       BRYANT, KATHY                                 BRYANT, NICOLE
505 PERSIMMON COURT                    505 PECAN AVENUE                              717 NINEBARK CT
HAMPTON VA 23666                       HUNTINGTON BEACH CA 92648                     NEWPORT NEWS VA 23608




BRYANT, RICHARD                        BRYANT, STEVE                                 BRYANT, WILLIAM
11936 LAFAYETTE                        1570 HUNT DRIVE APT E5                        931 MISSION AVE
CHICAGO IL 60628                       NORMAL IL 61761                               CHULA VISTA CA 91911




BRYCE SEGERT                           BRYCE, ROBERT                                 BRYCH, JENNIFER SULLIVAN
2544 W. CORTEZ ST. APT. BF             2006 HOMEDALE DR                              480 FELL ST  APT 5
CHICAGO IL 60622                       AUSTIN TX 78704                               SAN FRANCISCO CA 94102




                                              Page 281 of 2387
                           Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 282 of 800
BRYNA ZUMER                             BRYNNE GADINIS                                BRYSON-BROCKMANN, RACHEL
2520 RELLIM RD                          301 EAST 38TH STREET                          56 SECOND AVE
BALTIMORE MD 21209                      2B                                            MASSAPEQUA PARK NY 11762
                                        NEW YORK NY 10016



BRZYKCY, DORENDA                        BSA LEASING CORP                              BSS INDUSTRIES INCORPORATION
2751 OCEAN CLUB BLVD NO.104             108 S FRANKLIN AVE    STE 20                  310 TELSER ROAD
HOLLYWOOD FL 33019                      VALLEY STREAM NY 11580                        LAKE ZURICH IL 60047




BSS INDUSTRIES INCORPORATION            BST SPORTS                                    BTX AIR EXPRESS
537 CAPITAL DRIVE                       2633 W 230TH ST                               PO BOX 448
LAKE ZURICH IL 60047                    TORRANCE CA 90505                             STRATFORD CT 06615




BTX AIR EXPRESS                         BUCHALTER, BARRY D                            BUCHANAN, BARBARA
PO BOX 549                              344 E HILLCREST ST                            232 NE 23 AVE
BOTSFORD CT 06404                       ALTAMONTE SPRINGS FL 32701                    POMPANO BEACH FL 33062




BUCHANAN, JUANITA                       BUCHANAN, REGINALD                            BUCHANAN, VINCENT C
589 BURNSIDE AVE                        4942 W. POTOMAC                               2840 SOMERSET DR NO. M 417
2ND FLOOR                               CHICAGO IL 60651                              LAUDERDALE LAKES FL 33311
EAST HARTFORD CT 06108



BUCHENOT, JUDY L                        BUCHMILLER, REGINA ELIZABETH                  BUCHVALT, ELIZABETH
1103 WILLOW CT                          9494 S MILITARY TRAIL NO.1                    6160 HANOVERVILLE RD
AURORA IL 60504                         BOYNTON BEACH FL 33436                        BETHLEHEM PA 18017




BUCK DESIGN INC                         BUCK, LAURA                                   BUCKALEW, BRETT
515 W 7TH ST 4TH FLOOR                  15309 GABLE RIDGE COURT APT H                 414 N HAYWORTH AVE APT NO.7
LOS ANGELES CA 90014                    ROCKVILLE MD 20850                            LOS ANGELES CA 90048




BUCKIE, JUDITH                          BUCKLAND, BLANCHE M                           BUCKNER, BILL
35 MCKENNA DR.                          21762 SANTAQUIN DR                            4405 E WILDHORSE LN
MIDDLETOWN CT 06457-4013                DIAMOND BAR CA 91765                          BOISE ID 83712




BUCKNOR, DAVID A                        BUCKS NEWS SERVICE INC                        BUCKSTEN, DENYS
7828 NW 71ST WAY                        124 LANCASTER PL                              219 MIRAFLORES AVE
PARKLAND FL 33067                       VERNON HILLS IL 60061                         WAUKEGAN IL 60087




BUD THOMAS                              BUDDE, BENJAMIN A                             BUDDENBAUM, ARMIDA A
1629 KILBOURN STREET                    2416 S LOGAN AVE NO.6                         1624 SEATON LN
LOS ANGELES CA 90065                    MILWAUKEE WI 53207                            ELGIN IL 60123




                                               Page 282 of 2387
                           Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 283 of 800
BUDICK, ARIELLA                         BUDIHAS, STEPHEN M                            BUDMEN, LAWRENCE
275 W 96TH STREET      APT 33D          2865 GREEN ACRES DRIVE                        4101 PINE TREE DR APT NO.1623
NEW YORK NY 10025                       ALLENTOWN PA 18103                            MIAMI BEACH FL 33140




BUDNICK, CAREY ALLAN                    BUDRIC ENTERPRISES INC                        BUEHLER, JEFFREY JAMES
PO BOX 406                              14 CHELMSFORD DR                              55 PASEO PRIMERO
GOSHEN CT 06756                         WHEATLEY HEIGHTS NY 11798                     RANCHO SANTA MARGARITA CA 92688




BUELL, CHARLES                          BUENA VISTA                                   BUENA VISTA ENTERTAINMENT INC.
PO BOX 1480                             500 SOUTH BUENA VISTA STREET                  ATTN: JANICE MARINELLI, PRESIDENT
POWAY CA 92074                          BURBANK CA 91521                              C/O DISNEY * ABC DOMESTIC TELEVISION
                                                                                      2300 RIVERSIDE DRIVE
                                                                                      BURBANK CA 91506


BUENA VISTA TELEVISION                  BUENA VISTA TELEVISION                        BUENA VISTA TELEVISION
500 S BUENA VISTA STREET                BANK OF AMERICA FILE 56582                    PO BOX 101365
BURBANK CA 91521                        REMITTANCE BANKING GROUND FLR                 ATLANTA GA 30392
                                        1000 W TEMPLE ST
                                        LOS ANGELES CA 90074-6582


BUENAFLOR, KATHERINE M                  BUENO, LUIS F.                                BUENO, RAMON A
115 BEDFORD AVE 2L                      7005 NW 79TH STREET                           3460 FOXCROFT ROAD #101
BROOKLYN NY 11211                       TAMARAC FL 33321                              MIRAMAR FL 33025




BUENO, SANDRA                           BUFFA, PETER                                  BUFFALO GROVE PANTRY
9235 RAMBLEWOOD DR NO.1133              2824 NEVIS CIRCLE                             223 W DUNDEE RD
CORAL SPRINGS FL 33071                  COSTA MESA CA 92626                           BUFFALO GROVE IL 60078




BUFFALO GROVE PANTRY                    BUFFALO NEWS                                  BUFFALO NEWS
223 W DUNDEE RD                         ATN: MURRY LIGHT                              P O BOX 100
BUFFALO GROVE IL 60089                  P O BOX 100                                   ONE NEWS PLAZA
                                        BUFFALO NY 14240                              BUFFALO NY 14240



BUFFY ONEIL PRODUCTIONS INC             BUFORD, DON A                                 BUFORD, LATONYA
1805 CROSSROADS DRIVE                   15412 VALLEY VISTA BLVD                       3845 S STATE STREET NO.509
GREENSBORO NC 27455                     SHERMAN OAKS CA 91403                         CHICAGO IL 60609




BUGARIN, JAIME                          BUGGE, KARIN                                  BUGNACKI, PETER J
4535 MURIETTA NO.1                      602 ATHENS STREET                             836 SW 30TH STREET
SHERMAN OAKS CA 91423                   ALTADENA CA 91001                             APT 3
                                                                                      FORT LAUDERDALE FL 33315



BUGUZ,INC                               BUGZYS EXTERMINATING CO                       BUHAL LEASING LIMITED
7669 TAMARAC ISLAND CIRCLE              1153 E 103 ST                                 RE: LONDON TRITON CT., 14 FIN
TAMARAC FL 33321                        BROOKLYN NY 11236                             SANTANDER HOUSE
                                                                                      100 LUDGATE HILL
                                                                                      LONDON BC EC4M 7NJ




                                               Page 283 of 2387
                         Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 284 of 800
BUHAY JR, MICHAEL                     BUHRS AMERICAS INC                            BUILDER HOMESITE INC
2751 SE 147TH AVE                     2405 XENIUM LANE N SUITE 100                  5300 RIATA PARK COURT
MORRISTON FL 32668                    PLYMOUTH MN 55441                             BLDG A STE 100
                                                                                    AUSTIN TX 78727



BUILDER HOMESITE INC                  BUIS MATTRESS COMPANY                         BUITRAGO, RAFAEL H
PO BOX 847905                         440 S WAVERLY ROAD                            3825 ALBRIGHT AVE
DALLAS TX 75284-7905                  HOLLAND MI 49423                              LOS ANGELES CA 90066




BUKOWSKI, DOUGLAS                     BULB DIRECT INC                               BULFIN, CINDY
2109 WISCONSIN AVENUE                 1 FISHERS ROAD                                680 TUDOR CT SUITE 2314
BERWYN IL 60402                       PITTSFORD NY 14534-9511                       LONGWOOD FL 32750




BULLARD, DEBRA                        BULLINGTON, JONATHAN                          BULLOCK, MICHAEL J
12 OAKWOOD DRIVE APT 104              22436 LAKESHORE DR                            212 LOUIS LANE
YORKTOWN VA 23693                     RICHTON PARK IL 60471                         ENOLA PA 17025




BULMER, ANDREW                        BULSTER, ANDREA L                             BUMBA, EILEEN
SOUTH VIEW YATTS                      8929 PALISADES RD                             9602 ALDA DR
PICKERING                             BURR RIDGE IL 60527                           PARKVILLE MD 21234
N YORK YO18 8JN



BUMP, JACQUELINE                      BUMP, LAURENCE                                BUMPERS, TERRANCE L
1017 MINNESOTA AVE                    804 STAGS LEAP DRIVE                          13338 WARWICK SPRINGS DR
NORTH FOND DU LAC WI 54937            MCKINNEY TX 75071                             NEWPORT NEWS VA 23602




BUMPUS, CHRISTOPHER                   BUNCE, OWEN                                   BUNCH AND ASSOCIATES INC
11 LEE ROAD                           1102 SUNSET DR                                PO BOX 32037
LEESBURG FL 34748                     BEL AIR MD 21014                              LAKELAND FL 33802-2037




BUNDY, DONALD ROBERT                  BUNDY, VERNON                                 BUNN PACKAGING SYSTEMS INC
1511 N MARSHALL ST                    2116 NW SHELLY CIRCLE                         696 INDSUTRIAL DRIVE
MILWAUKEE WI 53202                    GRANTS PASS OR 97526                          BENSENVILLE IL 60106




BUNN PACKAGING SYSTEMS INC            BUNTING, LIZA                                 BUNTY, JENNIFER
PO BOX 349                            3839 MCKINNEY AVE NO.518                      2014 HILLCROFT DR
DUNDEE IL 60118                       DALLAS TX 75204                               FOREST HILL MD 21050




BURAT, MELISSA                        BURBANO, RODRIGO                              BURBY, LIZA
5780 SUN POINTE CIRCLE                3844 NW 107TH WAY                             152 W 19TH ST
BOYNTON BEACH FL 33437                SUNRISE FL 33351                              HUNTINGTON STATION NY 11746




                                             Page 284 of 2387
                         Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 285 of 800
BURCHARD, VERONICA                    BURCHELL HENRY                                BURCHETTE, LEE ADELE
5415 GAINSBOROUGH DR                  258 MOUNTAIN ROAD                             6671 FRIENDSHIP ROAD
FAIRFAX VA 22032                      WINDSOR CT 06095                              PITTSVILLE MD 21850




BURCKSON, CHARLES O                   BURDELAS, ANTHONY G                           BURDEN, MONICA D
19 SIMCKA DR                          8034A STONE HAVEN DR                          706 KILLIAN HILL RD SW
SOUTH WINDSOR CT 06074                GLEN BURNIE MD 21060                          LILBURN GA 30049




BURDEN, MONICA D                      BURDEN, TRAINZNIA                             BURDETTE, SHANNON
706 KILLIAN HILL RD SW                7881 NW 3 STREET                              25282 VIA TANARA
LILBURN GA 30047-3134                 PEMBROKE PINES FL 33024                       VALENCIA CA 91355




BURDETTE, STEPHANIE                   BURDIN, BRANDON                               BURDIN, DONALD
25282 VIA TANARA                      338 GLEN HOLLOW DR                            338 GLEN HOLLOW DR NO.7
VALENCIA CA 91355                     DECATUR GA 30034                              DECATUR GA 30034




BUREAU, PAUL                          BURFORD COMM                                  BURG DAVIS, JENNY
7383 WILLOW SPRINGS CIR EAST          PO BOX 396                                    50 SOUTH LAKE SHORE DR NO.109
BOYNTON BEACH FL 33436                CASSVILLE MO 65625                            CHICAGO IL 60615




BURGE, DONNA                          BURGER JR, JAMES                              BURGER ZELLINGER, ROBERT
772 DAVID BLVD                        2748 SW 9TH ST                                3349 S RACINE
CHESTERTON IN 46304                   FT. LAUDERDALE FL 33312                       CHICAGO IL 60608




BURGER ZELLINGER, ROBERT              BURGER, JIM                                   BURGESS INDUSTRIES INC
PO BOX 578494                         4413 SEDGWICK ROAD                            2700 CAMPUS DR
CHICAGO IL 60659                      BALTIMORE MD 21210                            PLYMOUTH MN 55441




BURGESS INDUSTRIES INC                BURGESS, LAKETIA                              BURGESS, SIOBHAN
PO BOX 1150-90                        1548 NW 7TH TER                               237 NW 9TH ST
MINNEAPOLIS MN 55480-1150             POMPANO BEACH FL 33060                        POMPANO FL 33060




BURGOS, GENARO                        BURGOS, JORGE L                               BURGOS, MERCEDES
950 NEW BRITAIN AVENUE                11 WOODSTOCK PL                               950 NEW BRITAIN AVE
ELMWOOD CT 06110                      EAST HARTFORD CT 06118                        ELMWOOD CT 06110




BURGOS, RUBEN                         BURGUNDER, LISA SHARON                        BURGUNDER, LISA SHARON
65 PINEBROOK TERR NO.4                185 PINE ST NO. 406                           5 PAR THREE WAY
BRISTOL CT 06010-2778                 MANCHESTER CT 06040                           BALTIMORE MD 21209




                                             Page 285 of 2387
                        Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 286 of 800
BURIAN, EVAN H                       BURJISS PAVRI                                 BURK TECHNOLOGY INC
234 SEEM ST                          2620 SEVERANCE ST                             7 BEAVER BROOK RD
EMMAUS PA 18049                      APT 16                                        LITTLETON MA 01460
                                     LOS ANGELES CA 90007



BURK, GREG                           BURKE, ANNE                                   BURKE, BLASMAR
5426 LOS FELIZ BLVD                  11707 W SUNSET BLVD NO.6                      500 SW 62ND AVENUE
LOS ANGELES CA 90027                 LOS ANGELES CA 90049                          MARGATE FL 33068




BURKE, CATHERINE                     BURKE, DANIEL R                               BURKE, DAVID
1516 S EUCLID AVE                    19 BITTERSWEET LANE                           3338 TAFT STREET
SAN GRABRIEL CA 91776                ATKINSON NH 03611                             HOLLYWOOD FL 33021




BURKE, EDWARD                        BURKE, JODIE L                                BURKE, JODIE L
218 LONE PINE RD                     910 NOWITA PLACE                              PO BOX 936
BARTO PA 19504                       VENICE CA 90291                               VENICE CA 90294




BURKE, KELLY                         BURKE, LATOYA NATALIE                         BURKE, LORENZO
54 CHARLES AVE                       500 SW 62ND AVE                               1049 N LONG AVE
MASSAPEQUA PARK NY 11762             MARGATE FL 33068                              CHICAGO IL 60651




BURKE, MICHAEL P                     BURKE, SHANE                                  BURKHART CAIN ASSOC
4510 CALVERT AVE.                    2215 MADISON STREET NO.6                      2501 MADISON AVE
ORLANDO FL 32833                     HOLLYWOOD FL 33020                            INDIANAPOLIS IN 46225




BURKHART, GERARD JOSEPH              BURKHOLDER, STEVEN                            BURKIN, MARY
6475 GILSON AVE                      689 RIDGE RD                                  2113 MAPLE STREET
NORTH HOLLYWOOD CA 91606             MIDDLETOWN CT 06457                           BURBANK CA 91505




BURKS, GREG                          BURKS, MARANDA M                              BURLINGTON, KYLE
3531 PRINCETON                       16W564 HONEYSUCKLE ROSE LN                    4 VISTA DEL CERRO
AURORA IL 60504                      NO.214                                        ALISO VIEJO CA 92656
                                     WILLOWBROOK IL 60527



BURMEISTER, SAMANTHA                 BURNETT, CANDICE                              BURNETT, SHARONDA
4318 MANDY COURT                     8548 SPRINGTREE RD                            3560 DUANE CV
WINTER PARK FL 32792                 JACKSONVILLE FL 32210                         MEMPHIS TN 38118




BURNETTE, SIMONE N                   BURNHAM 17TH ST CORNER LLC                    BURNHAM 17TH ST CORNER LLC
9985 GUILFORD RD                     RE: COSTA MESA 299 E. 17TH                    1100 NEW PORT CENTER DR STE 150
JESSUP MD 20794                      1100 NEW PORT CENTER DR, STE 150              NEWPORT BEACH CA 92660
                                     NEWPORT BEACH CA 92660




                                            Page 286 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 287 of 800
BURNHAM, CHRISTINA                     BURNHAM, JEREMIAH                             BURNHAM, JEREMIAH
395 MAIN ST                            14 LOOKOUT HILL RD                            395 MAIN ST
OLD SAYBROOK CT 06475-2309             OLD SAYBROOK CT 06475                         OLD SAYBROOK CT 06475-2309




BURNHAM, NATHANIEL                     BURNHAM, TANYA                                BURNHAM, TERENCE
14 COTTAGE PLACE                       14 COTTAGE PLACE                              14 KIRKLAND ROAD
OLD SAYBROOK CT 06475                  OLD SAYBROOK CT 06475                         CAMBRIDGE MA 02138




BURNIDGE PROPERTIES LTD                BURNIDGE PROPERTIES, LTD.                     BURNIDGE PROPERTIES, LTD.
1750 GRANDSTAND PLACE                  RE: ELGIN 1150 DAVIS ROAD                     RE: ELGIN 1150 DAVIS ROAD
ELGIN IL 60123                         1750 GRANDSTAND PLACE                         ATTN: WILLIAM F. BURNIDGE, PRESIDENT
                                       ELGIN IL 60123                                1750 GRANDSTAND PLACE
                                                                                     ELGIN IL 60123


BURNIES GRIP & LIGHTING INC            BURNING RIVER INC                             BURNITZ, JEROMY
C/O CRAG RAY BURNS                     443 CARROLL ST NO.2                           18520 OLD COACH DR
PO BOX 5165                            BROOKLYN NY 11215                             POWAY CA 92064
LAGUNA BEACH CA 92652



BURNS SCHOOL                           BURNS, ACQUELDON                              BURNS, DEANNA
195 PUTNAM ST                          1319 BLUEFIELD DR                             322 N RIDGEWOOD AVE      APT 7
HARTFORD CT 06106                      ATLANTA GA 30310-3702                         EDGEWATER FL 32132




BURNS, DIANE H                         BURNS, ELAINE                                 BURNS, ERIN
751 DOMMERICH DR                       221 N LEAWINGTON NO.2                         329 WILLIAM STREET
MAITLAND FL 32751                      CHICAGO IL 60644                              SOMERVILLE NJ 08876




BURNS, ERIN                            BURNS, GENE                                   BURNS, JOHN
329 WILLIAMS STREET                    738 11TH AVENUE                               1052 HAWTHORN ROAD
SOMERVILLE NJ 08876                    SAN FRANCISCO CA 94118                        ALLENTOWN PA 18103




BURNS, MARY T                          BURNS, VICKI                                  BURNS,RICHARD
1 TRICOUNT COURT APT 2A                111 SAVANNAH CT                               2352 AVENUE Z
OWINGS MILLS MD 21117                  ROUND LAKE IL 60073                           RIVIERA BEACH FL 33404




BURNSED, BESSIE L                      BURNSIDE, KYLE                                BURR, KEITH
9814 WESTVIEW                          5409 LANE PL                                  55 DICKINSON RD
HOUSTON TX 77055                       DOWNERS GROVE IL 60515                        HADDAM CT 06438




BURR, RICHARD E                        BURRELL, D'ARTHANA L                          BURRELL, MONIQUE SHERON
48 WOODWARD HEIGHTS BLVD               4050 NW 42ND AVE APT 119                      PO BOX 1413
PLEASANT RIDGE MI 48069                LAUDERDALE LAKES FL 33319                     SALUDA VA 23149




                                              Page 287 of 2387
                           Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 288 of 800
BURRELL, PAULETTE                       BURRELLS LUCE LLC                             BURREST, VELDA M
PO BOX 388                              75 E NORTHFIELD RD                            108 B MADELINE PLACE
URBANNA VA 23175                        LIVINGSTON NJ 07039                           NEWPORT NEWS VA 23606




BURREST, VELDA M                        BURRILL, WILLIAM H                            BURRILL, WILLIAM H
108 MADELINE PLACE APT B                101 MEADOW TRAIL                              PO BOX 146
NEWPORT NEWS VA 23606                   COVENTRY CT 06238                             COVENTRY CT 06238




BURROUGHS ACCT BUSN SERV                BURROUGHS, DERRICK                            BURROUGHS, JOHN
378 OLD LINE AVE                        938 ST NICHOLAS   APT 24                      5815 LIEBIG AVE NO 2
LAUREL MD 20724                         NEW YORK NY 10032                             BRONX NY 10471




BURROUGHS, JOHN                         BURROUGHS, PEGGY                              BURROWES, HORACE
LAWYERS COMMITTEE ON NUCLEAR POLICY     113 CHESTNUT DR                               3062 MARTELLO DR
675 THIRD AVE STE 315                   WILLIAMSBURG VA 23185                         MARGATE FL 33063
NEW YORK NY 10014



BURROWS, NIGEL                          BURROWS, NIGEL                                BURRUANO,MICHAEL
1160 LLOYD DR                           1160 LLOYD DR                                 9 ATTAWANHOOD TRL
FOREST PARK GA 30354                    FOREST PARK GA 30297-1517                     AMSTON CT 06231-1302




BURSON MARSTELLER LLC                   BURSON MARSTELLER LLC                         BURSON MARSTELLER LLC
PO BOX 101880                           233 N MICHIGAN AVE 16TH FLOOR                 PO BOX 751731
ATLANTA GA 30392-1880                   ATTN HEATHER MILLER                           CHARLOTTE NC 28275-1731
                                        CHICAGO IL 60601



BURSON MARSTELLER LLC                   BURSON MARSTELLER LLC                         BURSON MARSTELLER LLC
230 PARK AVE SOUTH                      285 MADISON AVENUE                            BURSTON - MARSTELLER
NEW YORK NY 10003                       NEW YORK NY 10017-6486                        230 PARK AVE SOUTH
                                                                                      NEW YORK NY 10003



BURST COMMUNICATIONS INC                BURST COMMUNICATIONS INC                      BURSZTYN, SYLVIA
8200 S AKRON ST NO. 108                 PO BOX 18058                                  12031 BAMBI PLACE
ENGLEWOOD CO 80112                      BOULDER CO 80306                              GRANADA HILLS CA 91344-2315




BURT BLOOMBERG                          BURT I WEINER ASSOCIATES CORP                 BURT I WEINER ASSOCIATES CORP
5450 H VERONA                           210 ALLEN AVE                                 PO BOX 3491
BOYNTON BEACH FL 33437                  GLENDALE CA 91201                             GLENDALE CA 91221-0491




BURT TECHNOLOGIES INC                   BURT TECHNOLOGIES INC                         BURT TECHNOLOGIES INC
32156 CASTLE COURT                      57 FIR LANE                                   ATTN: ORDER PROCESSING
SUITE 206                               EVERGREEN CO 80439                            2285 AUGUSTA DRIVE
EVERGREEN CO 80439                                                                    EVERGREEN CO 80439




                                               Page 288 of 2387
                            Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 289 of 800
BURT TECHNOLOGIES INC                    BURT, SHEILA                                  BURT, VALORIE J
ATTN: LARRY FRAKES                       1116 DOUGLAS AVE                              1223 PAMELA ST   APT 16
6949 HIGHWAY 73                          FLOSSMOOR IL 60422                            LEESBURG FL 34748
SUITE M1W
EVERGREEN CO 80439


BURTON, BRIAN                            BURTON, C J                                   BURTON, FRANCES
1678 LINCOLN RD                          1502 21ST AVE NW                              6251 TRION TELOGA ROAD
INDIANAPOLIS IN 46224                    CALGARY AB T2M 1L8                            SUMMERVILLE GA 30747




BURTON, GEORGIA ANNA                     BURTON, GINA MARIA                            BURTON, JUSTIN CRAIG
57 BRUTON DRIVE                          11173 NW 15TH ST                              8050 NW 96TH TERR NO.211
NEWPORT NEWS VA 23601                    CORAL SPRINGS FL 33071                        TAMARAC FL 33321




BURTON, LORIE                            BURTON, LYNN                                  BURTRIS BEARD
1257 N FULLER AVE                        90 HARRIS STREET                              10737 PALAISEAU CT.
LOS ANGELES CA 90046                     GLASTONBURY CT 06033                          ORLANDO FL 32825




BURUM, LINDA                             BURUMA, IAN                                   BUSBY, JOSEPH
627 TWELFTH STREET                       40 WEST 116TH ST NO.A1104                     35 B GRIMES RD NO.108
SANTA MONICA CA 90402                    NEW YORK NY 10026                             ROCKY HILL CT 06067




BUSCEMI, ROBERT A                        BUSCH INCORPORATION                           BUSCH INCORPORATION
1309 W ARDMORE APT 3                     P O BOX 100602                                430 WINDY POINT DRIVE
CHICAGO IL 60660                         ATLANTA GA 30384-0602                         ACCT 2605 DEL. ADDRESS 2
                                                                                       DEBBIE/ROB/SHERRY
                                                                                       GLENDALE HTS IL 60139


BUSCH INCORPORATION                      BUSCH INCORPORATION                           BUSCH MEDIA GROUP
39 DAVIS STREET                          516 VIKING DRIVE                              350 PARK AVENUE
SOUTH PLAINFIELD NJ 07080                VA BEACH VA 23452                             30TH FLOOR
                                                                                       NEW YORK NY 10022



BUSCH, MELISSA                           BUSCHMAN, JOHN                                BUSH STUDIOS INC
929 HALL ST                              6110 KYLE LEAF CT                             1386 EL MIRADOR DR
PHILADELPHIA PA 19147                    ELKRIDGE MD 21075                             PASADENA CA 91103




BUSH, ANTHONY S                          BUSH, CHRISTOPHER                             BUSH, DAVID MERRIL
104 SW CLAY                              4520 NW 36TH ST NO.206                        518 CHENERY ST
TOPEKA KS 66606                          LAUDERDALE LAKES FL 33319                     SAN FRANCISCO CA 94131




BUSH, LARRY                              BUSH, RANDY                                   BUSH, ZARVEAIRE O
5912 BIMINI CIRCLE EAST                  37 KINGS CANYON DRIVE                         2930 NW 19TH ST NO. 101
WEST PALM BEACH FL 33407                 NEW ORLEANS LA 70131                          FT. LAUDERDALE FL 33311




                                                Page 289 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 290 of 800
BUSHMAN, LINDA                         BUSHNELL, ANDREA                              BUSHONG, SUSAN E
1300 W GRACE STREET                    24664-B BRIGHTON DR                           10 SWEETWATER CREEK CIRC
CHICAGO IL 60613                       VALENCIA CA 91355                             OVIEDO FL 32765




BUSINESS & SALES OPERATIONS            BUSINESS & SALES OPS INC                      BUSINESS ADVERTISING SERVICES INC
13326 BARCELONA PLACE                  13326 BARCELONA PL                            ATTN JOHN SANHAMEL
CHINO CA 91710                         CHINO CA 91710                                996 FLOWER GLEN STREET
                                                                                     SIMI VALLEY CA 93065



BUSINESS CARDS TOMORROW                BUSINESS COUNCIL OF FAIRFIELD COUNTY          BUSINESS LEDGER
2921 CENTER PORT CIRCLE                CONNECTICUT INC                               1260 IROQUOIS AVE SUITE 200
POMPANO FL 33064                       ONE LANDMARK SQUARE SUITE 230                 NAPERVILLE IL 60563
                                       STAMFORD CT 06901-2679



BUSINESS LEDGER                        BUSINESS LEDGER                               BUSINESS LEDGER
1260 IROQUOIS AVE SUITE 200            600 ENTERPRISE DR         STE 100             PO BOX 17127
NAPERVILLE IL 60583                    OAKBROOK IL 60523                             ROCKFORD IL 61110




BUSINESS LEDGER                        BUSINESS OBJECTS AMERICA                      BUSINESS OBJECTS AMERICA
PO BOX 4653                            3030 ORCHARD PARKWAY                          PO BOX 39000
DBA LEDGER PUBLISHING INC              SAN JOSE CA 95134                             DEPT 33461
HINSDALE IL 60522                                                                    SAN FRANCISCO CA 94139



BUSINESS OBJECTS AMERICA               BUSINESS OBJECTS AMERICA                      BUSINESS OBJECTS AMERICA
33128 TREASURY CT                      9399 W HIGGINS RD  STE 800                    LOCKBOX 7573
CHICAGO IL 60691-3100                  ROSEMONT IL 60018                             COLLECTIONS CENTER DRIVE
                                                                                     CHICAGO IL 60693



BUSINESS OBJECTS AMERICA               BUSINESS OBJECTS AMERICA                      BUSINESS OBJECTS AMERICA
PO BOX 2299                            PO BOX 4753                                   PO BOX 4753 ROCKFELLER CTR STN
CAROL STREAM IL 60132                  ROCKFELLER CENTER STATION                     NEW YORK NY 10185
                                       NEW YORK NY 10185



BUSINESS OFFICE SYSTEMS INC            BUSINESS OFFICE SYSTEMS INC                   BUSINESS PRESS
4198 PAYSPHERE CIRC                    740 HILLTOP DR                                3700 INLAND EMPIRE BLVD NO. 450
CHICAGO IL 60674                       ITASCA IL 60143-1326                          ONTARIO CA 91764




BUSINESS PRESS                         BUSINESS PRESS                                BUSINESS RECORD SERVICES INC
CIRCULATION DEPT                       PRESS ENTERPRISE CO                           P O BOX 93702
P O BOX 12006                          3512 4TH ST                                   ATLANTA GA 30377
RIVERSIDE CA 92502-2206                RIVERSIDE CA 92502



BUSINESS RECORD SERVICES INC           BUSINESS SUCCESS MATTERS                      BUSINESS TECHNOLOGY INC
PO BOX 403650                          PO BOX 355                                    4085 MALLORY LN NO. 208
ATLANTA GA 30384-3650                  HAZELWOOD MO 63042                            FRANKLIN IN 37067




                                              Page 290 of 2387
                           Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 291 of 800
BUSINESS TECHNOLOGY INC                 BUSINESS TRAINING SERVICES                    BUSINO, ORLANDO
301 MALLORY STATION ROAD, SUITE 200     311 S HOCKER                                  12 SHADBLOW HILL ROAD
FRANKLIN TN 37067                       INDEPENDENCE MO 64050                         RIDGEFIELD CT 06877




BUSKIRK, JAMES                          BUSS,TIM                                      BUSSELL, RACHEL KRAMER
118 S PINE ST                           PO BOX 5770                                   553 METROPOLITAN AVE APT 3R
NAZARETH PA 18064                       MESA AZ 85211                                 BROOKLYN NY 11211




BUSTAMANTE, ALFREDO                     BUSTAMANTE, MARIA                             BUSTOS, ANTONIO
15236 ACRE ST  NO.B                     5807 N FARRAGHUT DRIVE                        601 S 17TH ST APRT 61
SEPULVEDA CA 91343                      HOLLYWOOD FL 33021                            HARLINGEN TX 78550




BUSY BEE BOUNCE                         BUSY BEE PROMOTIONS                           BUSY BEE PROMOTIONS
1400 SW 10TH AVE                        1821 W HUBBARD NO.205                         211 E OHIO NO.2624
POMPANO BEACH FL 33069                  CHICAGO IL 60622                              CHICAGO IL 60611




BUTEAU ESPIEGLE                         BUTHCER, LOLA                                 BUTLER JR, WILLIAM F
54 LAFAYETTE STREET                     1361 E CATALPA                                513 NORTH POINT ROAD
HUNTINGTON NY 11743                     SPRINGFIELD MO 65804                          BALTIMORE MD 21224




BUTLER SR, RODNEY P                     BUTLER, AARON                                 BUTLER, ANDREA L
836 N AUGUSTA AVENUE                    9205 S COTTAGE GROVE NO.1002                  40 PLAZA APT C
BALTIMORE MD 21229                      CHICAGO IL 60619                              MOUNT VERNON OH 43050




BUTLER, KEITH                           BUTLER, KERA                                  BUTLER, KRISTINE CLINTON
527 WATERCRESS DRIVE                    2531 NW 56 AVE NO.104                         12944 BILTMLORE CT
WOODSTOCK GA 30188-5108                 LAUDERHILL FL 33313                           NEWPORT NEWS VA 23606




BUTLER, LATRISTON                       BUTLER, LUCY C                                BUTLER, RODNEY
331 SW 11TH ST                          1241 ASHWORTH DRIVE                           970 MARTIN LUTHER KING BLVD NO.2
DEERFIELD BEACH FL 33441                APOPKA FL 32703                               RIVIERA BEACH FL 33404




BUTLER, SHARON                          BUTLER, TWYLA                                 BUTLER, YVETTE
1455 WASHINGTON BLVD NO.422             1110 N. CENTRAL PARK AVE                      3536 CLUBHOUSE CRLE EAST APT C
STAMFORD CT 06902                       CHICAGO IL 60651                              DECATUR GA 30022




BUTLER,JASON                            BUTTENWIESER, SARAH                           BUTTERFIELD, ANNE
914 COLLIER ST NW APT 2103              46 FRANKLIN ST                                209 BOULDER VIEW LN
ATLANTA GA 30318                        NORTHAMPTON MA 01060                          BOULDER CO 80304




                                               Page 291 of 2387
                           Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 292 of 800
BUTTERLY, JOSANA                          BUTTERMAN, TED                              BUTTERS & BUTTERS, LLC
5631 N WINSTON PARK BLVD                  PO BOX 65                                   RE: FT LAUDERDALE 3585 54TH S
APT 302                                   WHEELING IL 60090                           2005 W. CYPRESS CREEK RD.
COCONUT CREEK FL 33073                                                                SUITE 202
                                                                                      FT. LAUDERDALE FL 33309


BUTTERS CONSTRUCTION & DEVELOPMENT,       BUTTERS CONSTRUCTION & DEVELOPMENT,         BUTTERS, SAM
RE: FT LAUDERDALE 3026 SW 42N             RE: BOYNTON BEACH 4935 PARK                 2005 W CYPRESS CREEK RD STE 202
1166 WEST NEWPORT CENTER DRIVE            ATTN: MR. MALCOM BUTTERS, PRESIDENT         FT LAUDERDALE FL 33309
SUITE 118                                 1166 W NEWPORT CENTER DR, STE 118
DEERFIELD BEACH FL 33445                  DEERFIELD BEACH FL


BUTTERS, SAM                              BUTZ, LESTER                                BUXTON, ANGELA
PRINCIPAL LIFE INSURANCE COMPANY 430810   662 ABLE COLONY RD                          APT 4 HALE CARR
PO BOX 36024                              WIND GAP PA 18091                           10 DELAHAYS DR
PROPERTY 430810                                                                       HALE ALTRICNCHAM
NEWARK NJ 07101-3624                                                                  ENGLAND, CHES WA15 8DP


BUXTON, ANGELA                            BUY & SELL REALTY CONSULTANTS INC           BUY RIGHT SELL RIGHT POWER HOUSE INC
PALM AIRE COUNTRY CLUB                    136 COLONY DR                               2975 W EXECUTIVE PKWY NO.183
APT 601 BLDG 40                           HOLBROOK NY 11741                           LEHI UT 84043
3051 NORTH COURSE DR
POMPANO BEACH FL 33069


BUYING TIME LLC                           BUYING TIME LLC                             BUYUKNISAN, CAN
2715 M STREET NW                          PO BOX 40180                                6114 S SEMINOLE GARDEN CIRCLE
STE 400                                   WASHINGTON DC 20016                         PALM BEACH GARDENS FL 33418
WASHINGTON DC 20007



BUZIK, SHERRI                             BUZZ COMPANY                                BUZZ COMPANY
433 E RIDGE ST                            15 W HUBBARD NO. 300                        62 W HURON 2ND FL
LANSFORD PA 18232                         CHICAGO IL 60610                            CHICAGO IL 60610




BUZZARD, JARROD                           BW NEWS MANAGEMENT                          BWD GROUP LLC
834 S ARMOUR ST                           22710 MILLER RD                             PO BOX 9050
ALLENTOWN PA 18103                        STEGER IL 60475                             JERICHO NY 11753




BWM GLOBAL INC                            BWP MEDIA USA INC                           BY OWNER VANTAGE
PO BOX 7170 DEPT 68                       22287 MULHOLLAND HWY       NO.229           13720 W CAPITOL DR
LIBERTYVILLE IL 60048                     CALABASAS CA 91302                          BROOKFIELD WI 53005




BY OWNER VANTAGE                          BY THE WORD INC                             BYALICK, MARCIA
5901 DAWSONCT                             840 PNE ST                                  22 LYDIA CT
GREENDALE WI 53129                        SANTA MONICA CA 90405                       ALBERTSON NY 11507




BYALICK, MARCIA                           BYARS, ERIKA L                              BYER JR, JOHN W
22 LYDIA CT                               1386 WOODCIRCLE SOUTH                       102 RIDGE ROAD
SEARINGTOWN NY 11507                      MORROW GA 30260                             GLEN BURNIE MD 21060




                                               Page 292 of 2387
                         Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 293 of 800
BYER, HEATHER A                       BYINGTON III, WILLIAM H                       BYKER, CARL
225 PARK PL APT 2F                    733 BUTTONWOOD CIR                            1564 ALTIVO WAY
BROOKLYN NY 11238                     NAPERVILLE IL 60540                           LOS ANGELES CA 90026




BYKER, SAMUEL                         BYNUM, ELIZABETH                              BYNUM, FREDDIE L
1564 ALTIVO WAY                       2015 ANDERTON LANE                            2987 POPE FARM RD
LOS ANGELES CA 90026                  HAYES VA 23072                                STANTONSBURG NC 27883




BYNUM, LEON                           BYRNE, CAROLINE                               BYRNE, CHARLES
2015 ANDERTON LANE                    17714 GLOBE THEATRE DRIVE                     17714 GLOBE THEATRE DR
HAYES VA 23072                        OLNEY MD 20832                                OLNEY MD 20832




BYRNE, DEIRDRE E                      BYRNE, DENNIS P                               BYRNE, ELENA KARINA
17714 GLOBE THEATRE DRIVE             5 COURT OF BAYVIEW                            27362 RAINBOW RIDGE RD
OLNEY MD 20832                        NORTHBROOK IL 60062                           ROLLING HILLS ESTATES CA 90274




BYRNE, JAMES H                        BYRNE, KEVIN JAMES                            BYRNE, MARK W
17714 GLOBE THEATRE DR                26-16 29TH ST    APT 3                        219 S 4TH ST APT 3
OLNEY MD 20832                        ASTORIA NY 11102                              BROOKLYN NY 11211




BYRNE, PATRICIA                       BYRNES, EILEEN                                BYRNES, ROBERT P
1715 MEDWAY DRIVE                     3 HARVEST COMMON                              5615 GREENSPRING AVE
SPRING TX 77386                       SANDY HOOK CT 06482                           BALTIMORE MD 21209




BYRON CHAPIN                          BYRON D DUBON                                 BYRON DELSIGNORE
350 KINGSTON STREET                   PO BOX 204                                    19 WRIGHT STREET
WYCKOFF NJ 07481                      WINDSOR CT 06095                              HUDSON FALLS NY 12839




BYRON GALVEZ                          BYRON HUGLEY                                  BYRON WALTON
5701 BOULEVARD EAST                   9130 BATON ROUGE DR.                          6947 S. CONSTANCE AVENUE
APT. 13H                              ORLANDO FL 32818                              CHICAGO IL 60649
WEST NEW YORK NJ 07093



BYRON WAYNE WEST                      BYRON, MELISSA                                BYRONS NEWS AGENCY
1754 N ARROWHEAD AVE                  25 HIGHGATE RD APT A-5                        5300 W GEORGE
RIALTO CA 92376                       NEWINGTON CT 06111                            CHICAGO IL 60641




BYRONS NEWS AGENCY                    C & B NEWS DELIVERY INC                       C & D ENTERPRISE MANAGEMENT LLC
5300 W GEORGE ST                      2200 TECH COURT                               2524 BOARMAN AVENUE
ACCT 291                              WOODSTOCK IL 60098                            BALTIMORE MD 21215
CHICAGO IL 60641




                                             Page 293 of 2387
                         Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 294 of 800
C & L ALUMINUM AND GLASS INC          C & M MARKETING                               C & M MARKETING
509 GREENBELT PRKWAY                  11451 KATZ FREEWAY                            COMMUNICATIONS LTD
HOLSTVILLE NY 11742                   HOUSTON TX 77079                              5120 WOODWAY NO.5003
                                                                                    HOUSTON TX 77056



C & P PROPERTIES, LLC                 C & P PROPERTY MANAGEMENT                     C & P PROPERTY MANAGEMENT
RE: WESTMINSTER 942 BETHEL RO         RE: WESTMINSTER 942 BETHEL RO                 1745 LITTLESTOWN PIKE
1745 LITTLESTOWN PIKE                 1942 B BETHEL RD.                             WESTMINSTER MD 21158
WESTMINSTER MD 21158                  FINKSBURG MD 21048



C & P PROPERTY MANAGEMENT             C & T COURIER                                 C & W UNLIMITED CORP
1942 B BETHEL ROAD                    14352 S OUTER 40                              180 E UNION AVE
FINKSBURG MD 21048                    CHESTERFIELD MO 63017                         EAST RUTHERFORD NJ 07073




C & W UNLIMITED CORP                  C BAUGH                                       C C S FINANCIAL SERVICES
PO BOX 6597                           7336 HEATHLEY DR.                             6340 NW 5TH WAY
217A WASHINGTON AVE                   LAKE WORTH FL 33467                           FT LAUDERDALE FL 33309
CARLSTADT NJ 07072



C CANRIGHT CONSTRUCTION INC           C DAVID GASTINGER                             C DAVID VENDITTA
13083 PARK ST                         5635 RANCHITO AVENUE                          1106 N 20TH ST
SANTA FE SPRINGS CA 90670             VAN NUYS CA 91401                             ALLENTOWN PA 18104




C DINA NANGLE                         C EPTING INC                                  C H STONE PLUMBING CO INC
710 NE 7 ST                           16033 BOLSA CHICAS NO.104-205                 973 S WESTERN AVENUE
APT 104                               HUNTINGTON BEACH CA 92649                     LOS ANGELES CA 90006
BOYNTON BEACH FL 33435



C J NAKELSKI INCORPORATED             C JEANA ADAMOPOULOS                           C JOHNSON SIGN COMPANY
7 HUB LANE                            5511 LK MARY JESS SHRS CT.                    9615 WAVELAND AVENUE
LEVITTOWN NY 11756                    ORLANDO FL 32839                              FRANKLIN PARK IL 60131-1792




C MARINO                              CNAEA                                         CNAEA
1353 NW 87TH TERRACE                  202 W 1ST STREET                              21221 OXNARD ST
CORAL SPRINGS FL 33071                C/O LOS ANGELES TIMES                         WOODLAND HILLS CA 91367
                                      DISPLAY ADVERTISING-7TH FLOOR
                                      LOS ANGELES CA 90012


CNAEA                                 CNAEA                                         CNAEA
ATTN HAROLD WEAVER, TREASURER         C/O GREG PEDERSEN                             C/O LINDA GRIEWE, CNAEA TREASURER
460 GREENBRIER CT                     LONG BEACH PRESS TELEGRAM                     THE DESERT SUN
BENICIA CA 94510                      604 PINE AVENUE                               750 N GENE AUTRY DR
                                      LONG BEACH CA 90877                           PALM SPRINGS CA 92262


CNAEA                                 CNAEA                                         CNAEA
C/O LOS ANGELES DAILY NEWS            DAVID BERKOWITZ                               DAVID BERKOWITZ PRESS ENTERPRISE
ATTN LAURETTE MURPHY                  C/O PRESS ENTERPRISES                         3512 14TH ST
PO BOX 4200                           3450 FOURTEENTH STREET                        RIVERSIDE CA 92501
WOODLAND HILLS CA 91365               RIVERSIDE CA 92501-3878




                                             Page 294 of 2387
                           Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 295 of 800
C RANDY DESIGN INC                      C RON ALLEN                                   C S I NEWS INC
2019 NE 3RD TERRACE                     3107 SW 20TH TERRACE                          1109 PORTMARNOCK
WILTON MANORS FL 33305                  #A-2                                          DYER IN 46311
                                        DELRAY BEACH FL 33445



C S I NEWS INC                          C SEAN PICCOLI                                C TIMOTHY COLLIE
CSI NEWS                                1308 NE 2ND ST                                22011 MARTELLA AVE
1109 PORTMARNOCK         31400          APT 1                                         BOCA RATON FL 33433
DYER IN 46311                           FORT LAUDERDALE FL 33301



C V ENTERPRISES LLC                     C VAN NIGHTINGALE                             C&B SCENE INC
18450 CROSSING DRIVE SUITE D            1139 N HART STREET                            30027 HIGHMEADOW
TINLEY PARK IL 60487                    ORANGE CA 92867                               FARMINGTON HILLS MI 48334




C&G SERVICES INC                        C&G SERVICES INC                              C&H BASEBALL INC
1173 N DIXIE DR                         PO BOX 894077                                 2215 60TH DR EAST
SAN DIMAS CA 91773                      LOS ANGELES CA 90189-4077                     BRADENTON FL 34203




C&J ENGRAVING                           C&M SCALE COMPANY                             C&R CUSTOM CABINETS
88 HUBER RD                             7241 W ROOSEVELT ROAD                         12821 MARQUARDT AVE
NEWPORT NEWS VA 23601                   FOREST PARK IL 60130                          SANTA FE SPRINGS CA 90670




C&R CUSTOM CABINETS                     C&R DISTRIBUTORS INC                          C&S PHOTOGRAPHY INC
14120 BORA DR                           RONALD SIENKIEWICZ                            1819 WEST AVE BAY NO.4
LA MIRADA CA 90638                      1150 DAVIS ROAD                               MIAMI FL 33139
                                        1644
                                        ELGIN IL 60123


C&W CONSULTANTS INC                     C. MICHAEL ARMSTRONG                          C. RUTH KRATZ
PO BOX 8338                             1683 GALLEON DRIVE                            CARROLL LUTHERAN VILLAGE
ROLLING MEADOWS IL 60008                NAPLES FL 34102                               205 ST. MARK WAY, #422
                                                                                      WESTMINSTER MD 21158



C/O THE ROUSE COMPANY                   C2 LEGAL OF ILLINOIS                          C2MEDIA.COM INC
RE: BALTIMORE 2 HAMIL ST                20 N CLARK ST    STE 300                      PO BOX 100992
ATTN: GENERAL COUNSEL                   CHICAGO IL 60602-4192                         ATLANTA GA 30384-0992
10275 LITTLE PATUXENT PKWY
COLUMBIA MD 21044


C2MEDIA.COM INC                         C2MEDIA.COM INC                               C2MEDIA.COM INC
7200 SETON HOUSE LN                     423 W 55TH ST                                 BOX 5152 GPO
CHARLOTTE NC 28277                      NEW YORK NY 10019                             NEW YORK NY 10087-5152




C2MEDIA.COM INC                         C2MEDIA.COM INC                               C2MEDIA.COM INC
BOX 5167 GPO                            PO BOX 6247                                   PO BOX 911341
NEW YORK NY 10087-5167                  NEW YORK NY 10249-6247                        DALLAS TX 75391-1341




                                               Page 295 of 2387
                        Case 08-13141-BLS        Doc 17-1        Filed 12/08/08   Page 296 of 800
CA DEPT OF INDUS RELATIONS                CA DEPT OF INDUS RELATIONS                 CA GOVENOR AND FIRST LADYS
OFFICE OF THE DIRECTOR                    PO BOX 420603                              CONFERENCE ON WOMEN
455 GOLDEN GATE AVE                       SAN FRANCISCO CA 94142-0603                C/O BELL MCANDREWS & HITACHKA LLP
SAN FRANCISCO CA 94102                                                               1321 SEVENTH ST NO.205
                                                                                     SANTA MONICA CA 90401


CA STATE DISBURSEMENT UNIT                CA WALKER RESEARCH SOLUTIONS               CABALLERO PRIORE, JOSE
PO BOX 989067                             3800 BARHAM BLVD   STE 410                 24 LINDA LN
WEST SACRAMENTO CA 95798-9067             LOS ANGELES CA 90068                       KISSIMMEE FL 34744




CABALLERO, ALBA                           CABALLERO, JACQUELINE                      CABALLERO, JUVENTINO
3449 SUGAR MILL ROAD                      24 LINDA LANE                              111 MILK ST
KISSIMMEE FL 34741                        KISSIMMEE FL 34744                         WILLIMANTIC CT 06226




CABALLERO, NORMA                          CABAN, ELIZABETH                           CABAN, GUILLERMINA
111 MILK ST                               43 VICTORIA RD                             657 ATLANTIC ST
WILLIMANTIC CT 06226                      HARTFORD CT 06114                          BETHLEHEM PA 18015




CABERNOCH, THOMAS M                       CABEZA, MICHELLE                           CABLE ASSOCIATES INC
225 ASHFORD LANE                          2908 BLOOMFIELD DR                         423 REDOUBT RD
WESTMONT IL 60559                         JOLIET IL 60436                            YORKTOWN VA 23692




CABLE ASSOCIATES INC                      CABLE AUDIT ASSOCIATES                     CABLE DATA CORP
PO BOX 1516                               5340 S QUEBEC ST                           15835-B CRABBS BRANCH WAY
YORKTOWN VA 23692                         STE 100                                    ROCKVILLE MD 20855
                                          GREENWOOD VILLAGE CO 80111-1920



CABLE TELECOMMUNICATIONA ASSOCIATION      CABLE TELEVISION & COMMUNICATIONS          CABLE TELEVISION & TELECOMMUNICATION
OF MD DE & DC                             ASSOC OF IL                                80 STATE ST 10TH FLOOR
2530 RIVA RD STE 316                      2400 EAST DEVON AVENUE STE 317             ALBANY NY 12207
ANNAPOLIS MD 21401                        DES PLAINES IL 60018



CABLE TELEVISION ASSOCIATION OF GEORGIA   CABLELINK COMMUNICATIONS                   CABLETELEVISION ADVERTISING
NINE DUNWOODY PARK SUITE 121              724 HILL CREST ST                          BUREAU INC
ATLANTA GA 30338                          EL SEGUNDO CA 90245                        830 THIRD AVENUE 2ND FLR.
                                                                                     NEW YORK NY 10022



CABLEVISION                               CABLEVISION LIGHTPATH INC                  CABLEVISION LIGHTPATH INC
1111 STEWART AVE.                         200 JERICHO QUADRANGLE                     200 JERICHO QUADRANGLE
BETHPAGE NY 11714                         JERICHO NY 11753                           ATTN: JANICE SATTERLEE
                                                                                     JERICHO NY 11753



CABLEVISION LIGHTPATH INC                 CABLEVISION OF CONNECTICUT                 CABLEVISION OF CONNECTICUT
P O BOX 360111                            PO BOX 15660                               P O BOX 526
PITTSBURGH PA 15251-6111                  WORCHESTER MA 01615-0660                   NEWARK NJ 07101-0526




                                              Page 296 of 2387
                         Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 297 of 800
CABLEVISION OF CONNECTICUT            CABOT, EDWARD                                 CABRAL, DANNY R
PO BOX 19301                          67 RIGGS AVE                                  32 W RAYMOND ST APT 3
NEWARK NJ 07195-0301                  WEST HARTFORD CT 06107                        HARTFORD CT 06112




CABREJA, JUAN CARLOS                  CABRERA, ALBERTO                              CABRERA, EDGAR
CALLE TERCERA NO.13                   C/EL PAJONAL NO.61 BARRIO PUEBLO NUEVO        68 DOUGLAS ST
BARRIO CALA I MOCA DR                 LAS MATAS DE FARFAN DR                        BRISTOL CT 06010
MOCA



CABRERA, JOSE                         CABRERA, MICHAEL                              CABRERA, ROSBELL
298 VELVETEEN PLACE                   6710 ROOSEVELT STREET                         117 SEXTON ST
CHULUOTA FL 32766                     HOLLYWOOD FL 33024                            NEW BRITAIN CT 06051




CABRERA, SASHA                        CABRERA, XAVIER                               CABRERA, YEISON
116 STRAWBERRY HILL AVE APT 4J        1109 S SHENANDOAH ST UNIT 6                   C/PRINCIPAL NO.5
STAMFORD CT 06902                     LOS ANGELES CA 90035                          BATEY SANTANA
                                                                                    TAMAYO



CABRINI COLLEGE                       CAC DIRECT MARKETING SERVICES                 CAC TEMPORARY INC
610 KING OF PRUSSIA RD                99 RAY ROAD                                   9378 OLIVE STE 101
RADNOR PA 19087                       BALTIMORE MD 21227                            ST LOUIS MO 63132




CACACE TUSCH & SANTAGATA              CACERES, MARLA M                              CACERES, MARTIN C
777 SUMMER ST SUITE 201               936 W SUNNYSIDE AVE NO.106                    600 HILLSIDE AVE
STAMFORD CT 06901-0859                CHICAGO IL 60640                              HARTFORD CT 06106




CACERES, MAURICIO F                   CACERES, OTTO CAMILO                          CACNIO, THERESA
975 VINERIDGE RUN NO.201              7991 N SUNRISE LAKES BLVD NO.112              50 WOODBINE AVENUE
ALTAMONTE SPRINGS FL 32714            SUNRISE FL 33322                              BUDD LAKE NJ 07828




CADENCE LAW GROUP LLP                 CADESCA, LOUIBEN                              CADESTIN, JEAN
PO BOX 351510                         6 CORRIE PLACE                                162 SE 29TH AVE.
LOS ANGELES CA 90035                  BOYNTON BEACH FL 33426                        BOYNTON BEACH FL 33435




CADET, ANNE                           CADET, DEVAISE                                CADET, FRITZ
2913 ALCAZAR DRIVE                    113 SW 2ND ST                                 6210 SW 9TH ST
MIRAMAR FL 33023                      DELRAY BEACH FL 33444                         NORTH LAUDERDALE FL 33068




CADET, GUY                            CADET, JEAN E                                 CADET, SERGO
3829 NW 121 AVE                       3010 S. CONGRESS PARK DR. NO.111              203 SW 12TH AVENUE
SUNRISE FL 33323                      LAKE WORTH FL 33461                           DELRAY BEACH FL 33444




                                             Page 297 of 2387
                           Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 298 of 800
CADY, YVENS                             CAESAR, GERALYN C                             CAESAR, GERALYN C
3640 NW 39TH ST                         2601 NW 48 TERR BLDG NO. 8 APT NO.343         4301 NW 18TH ST
LAUDERDALE LKS FL 33309                 LAUDERDALE LAKES FL 33313                     BLDG NO.O APT NO.308
                                                                                      LAUDERHILL FL 33313



CAETANO, ANA                            CAETANO, LUIS                                 CAEZ, JOSE M
3234 E NEW PROVIDENCE RD                1301 N 12TH COURT APT. 7A                     47 ALDEN ST   APT 301
LANTANA FL 33462                        HOLLYWOOD FL 33019                            HARTFORD CT 06114




CAEZ, WILLIAM                           CAFFEE, BEN                                   CAFIERO-ROMAN, MARIE
188 LAURAL ST                           931 W JACKSON ST                              5434 CHISWICK CIRCLE
HARTFORD CT 06106                       OTTAWA IL 61350                               ORLANDO FL 32812




CAGAPTAY, SONER                         CAGLE CARTOONS INC                            CAGNA DELIVERY SERVICE INC
4200 CATHEDRAL AVE NO.902               PO BOX 22342                                  1401 A NOTTINGHAM PL
WASHINGTON DC 20016                     SANTA BARBARA CA 93121                        CORAM NY 11727




CAHALL, AARON                           CAHILL, MICHELLE                              CAHOON, CHRISTOPHER R
13433 JOHN MARTIN DR                    2920 CROSLEY DR EAST #F                       38A N 21ST ST
WILLIAMSPORT MD 21795                   WEST PALM BEACH FL 33415                      EASTON PA 18042




CAHOON, SHAUN                           CAICEDO, FABIO                                CAICEDO, MARTHA
102 SPRING ST                           3034 STANFIELD AVE                            1204 E WOODLAWN ST APT 301
EASTON PA 18042                         ORLANDO FL 32814                              ALLENTOWN PA 18109




CAILIN NAUGHTON                         CAIN DERENZY                                  CAIN SMITH, YOLANDA
1835 N. HALSTED                         2433 NORTHVILLE DRIVE                         2558 CREEK HOLLWR DRIVE
#4                                      APT. #3                                       ZACHARY LA 70791
CHICAGO IL 60614                        GRAND RAPIDS MI 49525



CAIN, CANDACE                           CAIN, JAMES T                                 CAIN, VICTORIA L
818 GREENBRIAR LANE                     24 PARK PL NO.24-C                            1020 HOLLYMEADE CIRCLE
UNIVERSITY PARK IL 60466                HARTFORD CT 06106                             NEWPORT NEWS VA 23602




CAINE & WEINER                          CAINE & WEINER                                CAINE & WEINER CO INC
PO BOX 8500                             1100 E WOODFIELD RD NO.425                    21210 ERWIN ST
VAN NUYS CA 91409-8500                  SCHAUMBURG IL 60173                           WOODLAND HILLS CA 91367




CAINE & WEINER CO INC                   CAINE & WEINER CO INC                         CAINE ARONOWITZ
PO BOX 5010                             PO BOX 8500                                   710 CRANES CIRCLE WEST
WOODLAND HILLS CA 91367                 15025 OXNARD ST., SUITE 100                   APT. #104
                                        VAN NUYS CA 91409                             ALTAMONTE SPRINGS FL 32701




                                               Page 298 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 299 of 800
CAINES, GREGORY                        CAIS,MILAN                                    CAITLIN CARTER
7733 FAIRWAY BLVD                      27 POWERHOUSE RD                              227 WILLOW AVE
MIRAMAR FL 33023                       MOODUS CT 06469                               APT. 1R
                                                                                     HOBOKEN NJ 07030



CAITLIN CONLEY                         CAITLIN DEBORD                                CAITLIN PELLICCIA
54 SUNSET TERRACE                      1953 N. SHEFFIELD AVENUE                      217 CAMP MOOWEEN ROAD
COLLINSVILLE CT 06022                  APT. 1                                        LEBANON CT 06249
                                       CHICAGO IL 60614



CAITLIN ROGERS                         CAITLIN STRANG                                CAITLIN VAN DER HAVE
10308 GELDING DRIVE                    120 MANHATTAN AVENUE                          1150 CLARIZZ BLVD
APT D                                  APT. 4A                                       APT. R, 172
COCKEYSVILLE MD 21030                  NEW YORK NY 10025                             BLOOMINGTON IN 47401



CAJINA, GEORGINA M                     CAJUSTE, RENAUO                               CAL NORMAN TRANSLATIONS
1747 SW 1ST ST                         228 NE 5TH CT                                 4240 HARBOR BLVD NO.109
MIAMI FL 33135                         DELRAY BEACH FL 33444                         OXNARD CA 93030




CAL PROTECTION                         CAL PSYCH FMT                                 CALABRESE, ANDREW
2505 MIRA MAR AVE                      16530 VENDTURA BLVD SUITE 200                 163 CYNTHIA LN  D6
LONG BEACH CA 90815                    ENCINO CA 91436                               MIDDLETOWN CT 06457




CALABRO SUNS LLC                       CALABRO SUNS LLC                              CALAMARI, ALEXANDRA
3923 STREET ROAD                       4400 FEDERAL HILL ROAD                        160 E 48TH ST NO.3R
STREET MD 21154                        STREET MD 21154                               NEW YORK NY 10017




CALCOM USA CORP                        CALDERIUS, ARQUIMEDES                         CALDERON, ANNA DUSI
591 RAQUET CLUB RD NO.3                956 MOCKINGBIRD LANE APT 500                  1621 S GRAND AVE NO.102
WESTON FL 33326                        PLANTATION FL 33324                           LOS ANGELES CA 90015




CALDERON, CHRISTOPHER RIVAS            CALDERON, JOSE                                CALDERON, PEDRO
5190 DOWNING STREET                    167 SEYMOUR ST   APT 2SW                      9001 SW 122ND AVE APT 212
ORLANDO FL 32839                       HARTFORD CT 06106                             MIAMI FL 33186




CALDIERO, SCOTT                        CALDWELL CONSULTING GROUP LLC                 CALDWELL SR, CARLUM L
96 VANDERBILT BLVD.                    1482 WHITE OAK LN SUITE NO.2                  1 CAMELOT DR    APT 6
OAKDALE NY 11769                       WOODSTOCK IL 60098                            BLOOMFIELD CT 06002




CALDWELL SR, CARLUM L                  CALDWELL, LAURA                               CALDWELL, MARCUS JAY
1 CAMELOT DR   APT 6                   2700 N SEMINARY A                             1385 TOWNSHIP DR
MANCHESTER CT 06002                    CHICAGO IL 60614                              LAWRENCEVILLE GA 30043




                                              Page 299 of 2387
                        Case 08-13141-BLS      Doc 17-1        Filed 12/08/08     Page 300 of 800
CALDWELL, MATTHEW                       CALDWELL, SHUNETTE                           CALEB JOISSAINT
1310 BEVERLY AVE                        408 CRESTE DRIVE                             5360 NE 9TH TERRACE
BETHLEHEM PA 18018                      DECATUR GA 30035                             POMPANO BEACH FL 33064




CALECA, ROBERTA                         CALEDONIAN ANTIQUES                          CALEM, ROBERT E
8274 LAJOLLA VISTA LN                   ATTN DAVID PENFIELD                          ONE 14TH STREET APT 601
LAKE WORTH FL 33467                     820 W FRONTAGE ROAD                          HOBOKEN NJ 07030
                                        NORTHFIELD IL 60093



CALHAN, KRISTINE                        CALHOUN SR, MICHAEL R                        CALHOUN, LYNNE
510 NASH RD                             12510 VINCENNES ROAD APT 4                   635 N GLENWOOD ST
CRYSTAL LAKE IL 60014                   BLUE ISLAND IL 60406                         ALLENTOWN PA 18104




CALIANESE, ANTHONY J.                   CALIF DEPT OF HEALTH SERVICES                CALIFORNIA AIR RESOURCES BOARD
824 ELLIS PL                            RADIOLOGIC HEALTH BRANCH                     1001 "I" STREET
ORADELL NJ 07649-1918                   1500 CAPITOL AVENUE, 5TH FLOOR, MS 7610      P.O. BOX 2815
                                        SACRAMENTO CA 95814-5006                     SACRAMENTO CA 95812



CALIFORNIA BROADCASTERS ASSOCIATION     CALIFORNIA CABLE & TELECOMMUNICATIONS        CALIFORNIA CABLE & TELECOMMUNICATIONS
915 L STREET                            ASSOCIATION                                  1225 19TH ST NW
SUITE 1150                              360-22ND ST    STE 750                       C/O DOBSON
SACRAMENTO CA 95814                     OAKLAND CA 94612                             2001 WERN SHOW
                                                                                     WASHINGTON DC 20036


CALIFORNIA CABLE & TELECOMMUNICATIONS   CALIFORNIA CABLE & TELECOMMUNICATIONS        CALIFORNIA CHICANO NEWS MEDIA
ASSOCIATION                             ASSOCIATION                                  1710 ARDEN WAY
1225 19TH STREET NW                     C/O P&P MEDIA WORKS                          SACRAMENTO CA 95815
2001 WESTERN SHOW                       9101 CHERRY LN STE 204
WASHINGTON DC 20036                     LAUREL MD 20708


CALIFORNIA CHICANO NEWS MEDIA           CALIFORNIA CHICANO NEWS MEDIA                CALIFORNIA CHICANO NEWS MEDIA
3502 WATT WAY                           3800 S FIGUEROA ST                           ASSOCIATION INLAND EMPIRE
USC SCHOOL OF JOURNALISM                LOS ANGELES CA 90037                         P O BOX 20562
ASC G10                                                                              RIVERSIDE CA 92516-0562
LOS ANGELES CA 90089-0281


CALIFORNIA CHICANO NEWS MEDIA           CALIFORNIA CHICANO NEWS MEDIA                CALIFORNIA CHRYSLER JEEP DODGE DEALER
P O BOX 370603                          USC ANNEBERG SCHOOL OF JOURNALISM            ADV ASSN
SAN DIEGO CA 92137                      300 S GRAND AVE. STE 3950                    401 S LA BREA AVE
                                        ONE CALIFORNIA PLAZA                         LOS ANGELES CA 90036
                                        LOS ANGELES CA 90071


CALIFORNIA CHRYSLER JEEP DODGE DEALER   CALIFORNIA COMMERCIAL CLEANING INC           CALIFORNIA CREDITS GROUP LLC
ADV ASSN                                2525 SOUTHPORT WAY     STE A                 234 E COLORADO BLVD STE 705
4 BRADLEY PARK CT STE 120               NATIONAL CITY CA 91950                       PASADENA CA 91101
COLUMBUS GA 31904



CALIFORNIA CREDITS GROUP LLC            CALIFORNIA DEPARTMENT OF CONSERVATION        CALIFORNIA DEPARTMENT OF PUBLIC HEALTH
ATTN ACCOUNTS RECEIVABLE                801 K STREET, MS 24-01                       1500 CAPITOL AVE MS 7610
234 E COLORADO BLVD STE 700             SACRAMENTO CA 95814                          SACRAMENTO CA 95814
PASADENA CA 91101




                                            Page 300 of 2387
                       Case 08-13141-BLS       Doc 17-1         Filed 12/08/08   Page 301 of 800
CALIFORNIA DEPARTMENT OF PUBLIC HEALTH   CALIFORNIA DEPARTMENT OF TOXIC             CALIFORNIA DEPT OF TOXIC SUBSTANCES
RADIOLOGIC HEALTH BRANCH                 SUBSTANCES CONTROL                         CONTROL
PO BOX 997414                            P.O. BOX 806                               700 HEINZ AVE SUITE 200
SACRAMENTO CA 95899-7414                 SACRAMENTO CA 95812-0806                   BERKELEY CA 94710



CALIFORNIA ENVIRONMENTAL                 CALIFORNIA ENVIRONMENTAL PROTECTION        CALIFORNIA EXAMINER PUBLISHING CO INC
PROTECTION AGENCY                        AGENCY                                     4515 EAGLE ROCK BLVD
1001 I STREET                            1001 I STREET                              LOS ANGELES CA 90041
P.O. BOX 2815                            P.O. BOX 942836
SACRAMENTO CA 95812-2815                 SACRAMENTO CA 95812-2815


CALIFORNIA FASHION ASSOCIATION           CALIFORNIA GROCERS ASSOCIATION             CALIFORNIA GROCERS ASSOCIATION
444 S FLOWER ST 34TH FLR                 1415 L ST  NO.450                          EDUCATIONAL FOUNDATION
LOS ANGELES CA 90071                     SACRAMENTO CA 95814                        555 CAPITOL MALL NO. 235
                                                                                    SACRAMENTO CA 95814



CALIFORNIA GUARDIAN INC                  CALIFORNIA INSTITUTE OF TECHNOLOGY         CALIFORNIA INSTITUTE OF TECHNOLOGY
174 W FOOTHILL BLVD NO.304               ATTN THE ATHENAEUM                         ATTN: BOB O'ROURKE
MONROVIA CA 91016                        CATERING DEPT                              OFFICE OF PUBLIC RELATIONS
                                         551 S HILL AVE                             MAIL STOP 1-71
                                         PASADENA CA 92003                          PASADENA CA 91125


CALIFORNIA INSTITUTE OF TECHNOLOGY       CALIFORNIA INSTITUTE OF TECHNOLOGY         CALIFORNIA INSTITUTE OF TECHNOLOGY
CORPORATE RELATIONS                      DEPT OF ATHLETICS PHYSICAL ED              OFFICE OF EARTHQUAKE PROGRAMS
MAIL CODE 206-85                         MAIL CODE 1-2                              MAIL CODE 252-21
PASADENA CA 91125                        PASADENA CA 91125                          PASADENA CA 91125



CALIFORNIA INSTITUTE OF TECHNOLOGY       CALIFORNIA INTEGRATED WASTE                CALIFORNIA NEWSPAPERS PARTNERSHIP
PUBLIC EVENTS                            BOARD                                      1210 N AZUSA CANYON RD
ATTN MS DENISE NELSON NASH               1001 I STREET                              WEST COVINA CA 91790
MAIL CODE 332-92                         P.O. BOX 4025
PASADENA CA 91125                        SACRAMENTO CA 95812-4025


CALIFORNIA NEWSPAPERS PARTNERSHIP        CALIFORNIA NEWSPAPERS PARTNERSHIP          CALIFORNIA NEWSPAPERS PARTNERSHIP
17835 SKY PARK CIRCLE  STE E             21221 OXNARD ST                            21221 OXNARD ST
IRVINE CA 92614                          WOODLAND HILLS CA 91365                    WOODLAND HILLS CA 91367




CALIFORNIA NEWSPAPERS PARTNERSHIP        CALIFORNIA NEWSPAPERS PARTNERSHIP          CALIFORNIA NEWSPAPERS PARTNERSHIP
APARTMENT MAGAZINE                       INSIDEBAYAREA.COM                          PO BOX 4147
3190-J2 AIRPORT LOOP                     401 13TH ST                                WALNUT CREEK CA 94596
COSTA MESA CA 92626                      OAKLAND CA 94612



CALIFORNIA NEWSPAPERS PARTNERSHIP        CALIFORNIA NEWSPAPERS PARTNERSHIP          CALIFORNIA OFFSET PRINTERS INC
PO BOX 4410                              PO BOX V                                   620 WEST ELK AVE
WOODLAND HILLS CA 91365                  NOVATO CA 94948                            GLENDALE CA 91204




CALIFORNIA SECR OF STATE                 CALIFORNIA STATE                           CALIFORNIA STATE
STATEMENT OF INFORMATION UNIT            450 NORTH ST                               BOARD OF EQUALIZATION
1500 11TH STREET                         SACRAMENTO CA 95814                        PO BOX 942879
PO BOX 944230                                                                       SACRAMENTO CA 94279-7072
SACRAMENTO CA 94244-2300




                                             Page 301 of 2387
                        Case 08-13141-BLS       Doc 17-1         Filed 12/08/08    Page 302 of 800
CALIFORNIA STATE POLYTECHNIC UNIVERSITY   CALIFORNIA STATE POLYTECHNIC UNIVERSITY     CALIFORNIA STATE BOARD OF EQUALIZATION
OFFICE OF STUDENT LIFE                    OFFICE OF STUDENT LIFE                      3321 POWER INN RD   STE 210
3801 WEST TEMPLE AVE BLDG 26 RM 124       3801 W TEMPLE AVE                           SACRAMENTO CA 95826-3889
ATTN DONNA KENT                           POMONA CA 91768
POMONA CA 91768


CALIFORNIA STATE BOARD OF EQUALIZATION    CALIFORNIA STATE LOS ANGELES UNIVERSITY     CALIFORNIA STATE LOS ANGELES UNIVERSITY
PO BOX 942879                             5151 STATE UNIVERSITY DRIVE                 AUXILLARY SERVICES INC
SACRAMENTO CA 94279-0001                  LOS ANGELES CA 90032                        5151 STATE UNIVERSITY DR
                                                                                      LOS ANGELES CA 90032



CALIFORNIA STATE LOS ANGELES UNIVERSITY   CALIFORNIA STATE LOS ANGELES UNIVERSITY     CALIFORNIA STATE UNIVERSITY LONG
CAREER DEVELOPMENT CENTER                 EDMUND G PAT BROWN INSTITUTE OF             ATTN STEVE BUSH
5151 STATE UNIVERSITY DR                  PUBLIC AFFAIRS                              1250 BELLFLOWER BLVD
LOS ANGELES CA 90032-8390                 5151 STATE UNIV DR                          LONG BEACH CA 90840
                                          LOS ANGELES CA 90032-8261


CALIFORNIA STATE UNIVERSITY LONG          CALIFORNIA STATE UNIVERSITY LONG            CALIFORNIA STATE UNIVERSITY LOS ANGELES
BEACH FOUNDATION                          CHLS ACCOUNT, ATN:SALLY SCHLIESMAY          5151 STATE UNIVERSITY DR ADM. 514
FORTY NINER SHOPS INC                     UNIV RELATIONS AND DEVELOPMEN               LOS ANGELES CA 90032
6049 EAST SEVENTH ST                      6300 STATE UNIV DR # 3
LONG BEACH CA 90804                       LONG BEACH CA 90815-4669


CALIFORNIA STATE UNIVERSITY NORTHRIDGE    CALIFORNIA STATE UNIVERSITY NORTHRIDGE      CALIFORNIA STATE UNIVERSITY NORTHRIDGE
18111 NORDHOFF ST                         CAREER CENTER                               DAILY SUNDIAL
NORTHRIDGE CA 91330-8258                  UNIVERSITY HALL                             18111 NORDHOFF ST.
                                          18111 NORDHOFF ST                           NORTHRIDGE CA 91330-8258
                                          NORTHRIDGE CA 91330-8241


CALIFORNIA STATE UNIVERSITY NORTHRIDGE    CALIFORNIA STATE UNIVERSITY NORTHRIDGE      CALIFORNIA STATE UNIVERSITY NORTHRIDGE
MATADOR INVOLVEMENT CTR                   ALUMNI ASSOCIATION                          COLLEGE OF BUSINESS ADMIN & ECONOMI
18111 NORDOFF ST                          18111 NORDHOFF ST                           18111 NORDHOFF STREET
NORTHRIDGE CA 91330-8344                  NORTHRIDGE CA 91330                         NORTHRIDGE CA 91330-8381



CALIFORNIA STATE UNIVERSITY NORTHRIDGE    CALIFORNIA STATE UNIVERSITY NORTHRIDGE      CALIFORNIA STATE UNIVERSITY NORTHRIDGE
JOURNALISM DEPARTMENT                     NORTHRIDGE DEANS FUND                       NORTHRIDGE TRUST FUND
ATTN: LINDA BOWEN                         COLLEGE OF ARTS, MEDIA AND COMMUNIC         SCHOOL OF EDUCATION, OFFICE OF THE
18111 NORDHOFF ST MANZANITA HALL 210      18111 NORDHOFF STREET                       18111 NORDHOFF STREET
NORTHRIDGE CA 91330-8311                  NORTHRIDGE CA 91330                         NORTHRIDGE CA 91330


CALIFORNIA STATE UNIVERSITY NORTHRIDGE    CALIFORNIA SURVEY RESEARCH SERVICES I       CALIFORNIA WATER SERVICE CO.
STUDENT UNION                             15350 SHERMAN WAY                           2632 W. 237TH ST.
18111 NORDHOFF ST                         SUITE 480                                   TORRANCE CA 90505
NORTHRIDGE CA 91330                       VAN NUYS CA 91406



CALIFORNIA WATER SERVICE COMPANY          CALIFORNIA WATER SERVICE COMPANY            CALIXTE, ALBERT
21718 S ALAMEDA ST                        PO BOX 940001                               2111 NW 55 AV NO.N207
LONG BEACH CA 90810-0351                  SAN JOSE CA 95194-0001                      LAUDERHILL FL 33313




CALIXTE, ALBERT                           CALIXTE, PIERRE                             CALIXTO, ANTONIO
3480 NW 36 ST                             2379 ZEDER AVE                              119 PARK AVE APT 1
LAUDERDALE LAKES FL 33309                 DELRAY BEACH FL 33444                       BROOKLYN NY 11205




                                              Page 302 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 303 of 800
CALKINS, JOHN                          CALL BEFORE YOU DIG INC                       CALL, BRIAN F
4061 CAPAROSA CIRCLE                   PO BOX 40000                                  19065 NW 23RD ST
MELBOURNE FL 32940                     HARTFORD CT 06151                             PEMBROKE PINES FL 33029




CALLAHAN, DAVID                        CALLAHAN, GENE                                CALLAHAN, MARY
12431 SAND WEDGE DRIVE                 49 MARIA RD                                   27 PINEWOODS ROAD
BOYNTON BEACH FL 33437                 PLAINVILLE CT 06062                           LISBON ME 04250




CALLAHAN, MAUREEN                      CALLAHAN,KERRY R                              CALLAHAN-GALLEGOS, RACHEL
1239 N DEARBORN PKWY                   21 PENFIELD PL                                1440 TWEED ST
CHICAGO IL 60610                       FARMINGTON CT 06032                           COLORADO SPRINGS CO 80909




CALLANAN, KEVIN                        CALLANAN, KEVIN                               CALLAWAY GRAPHIC SOFTWARE LLC
3722 MEADOW GREEN DR                   525 N TREMAIN ST                              232 S ASHLAND AVE
TAVARES FL 32778                       NO.202                                        LEXINGTON KY 40502
                                       MOUNT DORA FL 32757



CALLE, BLANCA                          CALLE, LUZ MERY                               CALLENDER, HELEN C
203 KNICKERBOCKER AVE                  881 NW 134TH AVE                              624 MORNING GLORY DR
BROOKLYN NY 11237                      PEMBROKE PINES FL 33028                       HANOVER PA 17331




CALLICOTT, DAVID                       CALLIE TURNER-MCNEAL                          CALLISON LLC
250 EAST HOUSTON NO.PHB                131 EAST 119TH STREET                         1420 5TH AVE  STE 2400
NEW YORK NY 10002                      CHICAGO IL 60628                              SEATTLE WA 98101




CALLOWAY SIMMONS                       CALO, ISAAC                                   CALUMET ARMATURE & ELECTRIC LLC
121 HUDSON AVE                         4300 SHERIDAN STREET                          1050 W 134TH ST
ROOSEVELT NY 11575                     HOLLYWOOD FL 33021                            RIVERDALE IL 60827




CALUMET ARMATURE & ELECTRIC LLC        CALUMET PHOTOGRAPHICS CORP                    CALUMET PHOTOGRAPHICS CORP
6995 EAGLE WAY                         1135 NORTH HIGHLAND AVE                       LOCK BOX 77-5118
CHICAGO IL 60678-1069                  LOS ANGELES CA 90038                          CHICAGO IL 60678-5118




CALUMET PHOTOGRAPHICS CORP             CALVIN ELAM                                   CALVIN ELDER
P O BOX 77-5118                        11423 JEFFERSON                               1348 CRAWFORD DRIVE
CHICAGO IL 60678-5118                  APT. 39                                       APOPKA FL 32703
                                       NEWPORT NEWS VA 23601



CALVIN GRIFFIN                         CALVIN HOM                                    CALVIN LAWRENCE
101 SUMMER STREET                      1412 15TH STREET                              87-15 SANTIAGO ST
APT. 303                               MANHATTAN BEACH CA 90266                      HOLLISWOOD NY 11423
STAMFORD CT 06901




                                              Page 303 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 304 of 800
CALVIN MONTNEY                         CALVIN SAKANIWA                               CALVIN SANCHEZ
2230 LAKE PARK DRIVE                   222 SOUTH HEWITT STREET                       960 W. 62ND PL.
SP.. 11                                LOS ANGELES CA 90012                          APT. # 341
SAN JACINTO CA 92583                                                                 LOS ANGELES CA 90044



CALVIN TYLER                           CAM INC                                       CAM TRINH
696 LORENTZ STREET                     9221 FLINT                                    235 SE 9TH STREET
ELMONT NY 11003                        OVERLAND PARK KS 66214                        DANIA FL 33004




CAMACARO, ISRAEL                       CAMACHO, ALLAN                                CAMACHO, ANGEL
URB LOS NARANTOS                       153 ST NICHOLAS AVE                           14901 SW 82 TERR. NO. 103
EDIF 3 APTO 113                        BROOKLYN NY 11237                             MIAMI FL 33193
CARACAS DISTRITO CAPITAL



CAMACHO, JOSE A                        CAMACHO, JULIAN                               CAMACHO, ROBERTA
5942 S SAWYER                          2739 N MANGO AVE                              636 57TH ST
CHICAGO IL 60629                       CHICAGO IL 60639                              WEST PALM BEACH FL 33407




CAMANGIAN, PATRICK                     CAMARE, ROZAIRE                               CAMARENA, JOSE A
5742 3RD AVE                           1333 S DIXIE HWY NO.205                       1326 1/2 WESTERLY TERRACE
LOS ANGELES CA 90043                   DEERFIELD BEACH FL 33441                      LOS ANGELES CA 90026




CAMARGO, EDWARD J                      CAMARGO, SAMUEL                               CAMARILLO FIESTA ASSOCIATION
10437 NW 6 ST                          8801 WILES RD APTNO. 202-11                   881 VISTA COTO VERDE
PEMBROKE PINES FL 33026                CORAL SPRINGS FL 33067                        CAMARILLO CA 93010




CAMARILLO FIESTA ASSOCIATION           CAMASSAR, CAROLYN I                           CAMBOTICS INC
PO BOX 114                             5 OLD WALLINGFORD ROAD                        520 N QUINCY ST  STE NO.6
CAMARILLO CA 93011                     DURHAM CT 06422                               ESCONDIDO CA 92025




CAMEAU, MARIA VICTORIA                 CAMELIA ISLAM                                 CAMELIA MATIAS
1245 NW 2ND AVE                        805 WELDONA LANE                              1036 N. LAWNDALE AVENUE
FT. LAUDERDALE FL 33311                APT. #204                                     CHICAGO IL 60651
                                       ORLANDO FL 32801



CAMELOT TELEVISION                     CAMELOT, MICHAEL GLENN                        CAMERA EYE LTD
2578 RIDGEVIEW ROAD                    51 CASTLETREE                                 24/26 BROWNLOW MEWS
DALLASTOWN PA 17313                    RANCHO SANTA MARGARITA CA 92688               ENGLAND WC1N 2LA




CAMERON CHEEVERS                       CAMERON MARTIN                                CAMERON TOURRE
8249 E. CANDLEBERRY CIRCLE             134 GLENFIELD AVENUE                          105 EAST WELLS STREET
ORANGE CA 92869                        STRATFORD CT 06614                            APT. D452
                                                                                     BALTIMORE MD 21230




                                              Page 304 of 2387
                        Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 305 of 800
CAMERON YUNG                         CAMERON, DAVID R                              CAMERON, DIANE
635 N. DEARBORN                      31 LOOMIS PLACE                               29A MEADOWBROOK CT
#805                                 NEW HAVEN CT 06511                            GUILDERLAND NY 12084
CHICAGO IL 60610



CAMERON, MICHAEL                     CAMERON, MICHAEL                              CAMERON, MICHAEL
3926 N WINTHROP NO.1N                4826 N WINTHROP NO.1N                         803 N BUSEY AVE
CHICAGO IL 60640                     CHICAGO IL 60640                              URBANA IL 61801




CAMERON,ANTOINE                      CAMERON,DANIEL,B.                             CAMERON,DANIEL,B.
26765 MARIS COURT                    13061 SW 9TH PLACE                            13061 SW 9TH PLACE
SUN CITY CA 92585                    DAVIE FL 33325                                WESTON FL 33325




CAMESISE MORIVAL                     CAMILLA GALBO                                 CAMILLA HERRERA
110-45 175TH STREET                  1416 S WASHINGTON                             18 CASCADE COURT
JAMAICA NY 11433                     PARK RIDGE IL 60068                           STAMFORD CT 06903




CAMILLE EVANS                        CAMILLE STINTON                               CAMILLE, STEVIEL
71 WILLOW AVE                        33 VILLAGE LANE                               3816 PEBBLE BROOK
ISLIP NY 11751                       BURLINGTON CT 06013                           COCONUT CREEK FL 33073




CAMILLE,WILSON                       CAMILO SMITH                                  CAMINITI, DANIEL
502 IBIS DRIVE                       234 SOUTH FIGUEROA STREET                     354 S MAIN ST
DELRAY BEACH FL 33444                APT #237                                      FOND DU LAC WI 54935
                                     LOS ANGELES CA 90808



CAMIR INSHIQAQ                       CAMIRE, CAMILLE                               CAMP COURANT
620 LIBERTY STREET                   200 SPRING ST                                 C/O ANDREA WILLIAMS
UNIONDALE NY 11553                   MANCHESTER CT 06040                           THE HARTFORD COURANT
                                                                                   285 BROAD ST
                                                                                   HARTFORD CT 06115


CAMP COURANT                         CAMP COURANT                                  CAMPAIGN GROUP INC
C/O ELEANOR CONRAD CLAFFEY           C/O MONA FRIEDLAND                            1600 LOCUST STREET
THE HARTFORD COURANT                 THE HARTFORD COURANT                          MEDIA ACCOUNT
285 BROAD ST                         285 BRD ST                                    PHILADELPHIA PA 19103
HARTFORD CT 06115                    HARTFORD CT 06115


CAMPANA III, THOMAS J                CAMPANELLA, JOSEPH                            CAMPBELL, AKEEM
1817 BUCKINGHAM AVE                  404 S SUNNYSIDE AVE                           68 WESTBOURNE PARKWAY
WESTCHESTER IL 60154                 ITASCA IL 60143                               HARTFORD CT 06112




CAMPBELL, AKEEM                      CAMPBELL, ALEXIA                              CAMPBELL, ANDREW
68 WESTBOURNE PARKWAY                623 PARK PLACE APT 2                          147 EAST HAROLD STREET
HARTFORD CT 06120                    WEST PALM BEACH FL 33401                      BLOOMFIELD CT 06002




                                            Page 305 of 2387
                           Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 306 of 800
CAMPBELL, ANGEL                         CAMPBELL, BARBARA A                           CAMPBELL, BIRTHLAND
2926 MILDRED DR                         5 CORNELL DRIVE                               11490 NW 45TH ST
INDIANAPOLIS IN 46222                   HAMPTON VA 23669                              CORAL SPRINGS FL 33065




CAMPBELL, BRUCE G                       CAMPBELL, CHELENE                             CAMPBELL, CLAYTON A
2155 VERDUGO BLVD NO.311                7660 ADAMS ST                                 820 SOUTH D STREET
MONTROSE CA 91020                       FOREST PARK IL 60130                          LAKE WORTH FL 33460




CAMPBELL, DEVON                         CAMPBELL, FRANK B                             CAMPBELL, HARRY
905 BURNSIDE AVE NO.B15                 1712 NW 14TH AVENUE                           2010 CLIPPER PARK RD STE 109
EAST HARTFORD CT 06108                  FORT LAUDERDALE FL 33311                      BALTIMORE MD 21211




CAMPBELL, HARRY                         CAMPBELL, HARRY                               CAMPBELL, JANET
6302 PINEHURST RD                       17 PLAINFIELD AVENUE                          P.O. BOX 22095
BALTIMORE MD 21212                      METUCHEN NJ 08840                             BALTIMORE MD 21203




CAMPBELL, JOHN                          CAMPBELL, JONATHAN                            CAMPBELL, LATISHA
8053 S HONORE ST                        1490 NW 81ST TERRACE                          1101 NW 55TH AVE. NO. A
CHICAGO IL 60620                        PLANTATION FL 33322                           LAUDERHILL FL 33313




CAMPBELL, LATISHA                       CAMPBELL, LAURA J                             CAMPBELL, LEATON
8601 ROBERTS DR NO.13-3                 101 NW 17TH COURT                             7885 VENTURE CENTER WAY NO.8112
ATLANTA GA 30350                        POMPANO BEACH FL 33060                        BOYNTON BEACH FL 33437




CAMPBELL, LISA                          CAMPBELL, LLOYD                               CAMPBELL, NATASHA A
2233 W MEDILL AVE APT A                 5100 SW 41 ST  APT 116                        3610 CHUKAR CT
CHICAGO IL 60647                        HOLLYWOOD FL 33023                            HEPHZIBAH GA 30815




CAMPBELL, NATHAN (NATE)                 CAMPBELL, PATRICK                             CAMPBELL, PRISCILLIA
1973 KINNIKINNIK DR                     507 NW 14TH AVE                               4745 NW 7 DR
LARKSPUR CO 80118                       FT LAUDERDALE FL 33311                        PLANTATION FL 33317-1473




CAMPBELL, RAYMOND TRAVANT               CAMPBELL, SHANNEL                             CAMPBELL, SHAWANA
213 CIDER MILL ROAD                     2820 NW 6TH ST                                815 N WALLER AVE 2ND FL
GLASTONBURY CT 06033                    POMPANO BEACH FL 33069                        CHICAGO IL 60651




CAMPBELL, SHELBY                        CAMPBELL, SHELBY                              CAMPBELL, WALTER
1350 BLUE HILLS AVE                     63 MONTAIN AVE                                2447 OLIVE AVE
BLOO OFF                                BLOOMFIELD CT 06002-2241                      LA CRESCENTA CA 91214
BLOOMFIELD CT 06002-2241




                                               Page 306 of 2387
                         Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 307 of 800
CAMPBELL, WAYNE                       CAMPBELL, WILLIAM                             CAMPENNI, NICOLE MARIE
882 N JEROME ST  APT 3                840 N OCCIDENTAL BLVD                         9255 SHADOW WOOD BLVD
ALLENTOWN PA 18109                    LOS ANGELES CA 90026                          CORAL SPRINGS FL 33071




CAMPER, DAWN M                        CAMPI, JAMES                                  CAMPION, AMBER
22133 JOHNSON LANE                    1625 HOLLYWOOD BLVD                           253 20TH ST 4TH FLR
CARROLLTON VA 23314                   HOLLYWOOD FL 33020                            BROOKLYN NY 11215




CAMPION, ESTHER                       CAMPOLI, JOEY                                 CAMPOMIZZI, ROBERT
468 LITCHFIELD DR                     972 BUTTONWOOD ST                             309 W ABBOTT ST
WINDSOR LOCKS CT 06096                EMMAUS PA 18049                               LANSFORD PA 18232




CAMPOS DIAS, IGOR T                   CAMPOS, ABIGAIL                               CAMPOS, ALFONSO
57 BUCKINGHAM ST                      2145 NW 19TH TER NO.212                       115 W GENEVA ST APT A
NEWINGTON CT 06111                    MIAMI FL 33135                                WEST CHICAGO IL 60185




CAMPOS, ALFONSO                       CAMPOS, CESAR                                 CAMPOS, CESAR
A & L NEWS AGENCY                     12326 SPLIT REIN DRIVE                        12326 SPLIT REIN DRIVE
115 W GENEVA ST APT A                 RANCHO CUCAMONGA CA 91730                     RANCHO CUCAMONGA CA 91739
WEST CHICAGO IL 60185



CAMPOS, DAN FABRESIO                  CAMPOS, HEATHER                               CAMPOS, JUAN C
29937 WINTER HAWK ROAD                1076 KENSINGTON PARK DR NO.207                7733 PIVOT ST
SUN CITY CA 92586                     ALTAMONTE SPRINGS FL 32714                    DOWNEY CA 90241




CAMPOS, NELFO                         CAMPOS, PAUL                                  CAMPOS, PAUL
563 SIDUX RD                          3030 18TH                                     UNIVERSITY OF COLORADO
LANTANA FL 33462                      BOULDER CO 80304                              CAMPUS BOX 401
                                                                                    BOULDER CO 80309



CAMPOS, TRACY                         CAMPUS COACH LINES INC                        CAMPUSANO, RAMON
115 W GENEVA STREET APT A             545 FIFTH AVENUE                              601 DAVID ST
WEST CHICAGO IL 60185                 NEW YORK NY 10017                             SUITE 2603
                                                                                    WINTER SPRINGS FL 32708



CAMRON GRAY                           CAN-AM PAINTING                               CANAAN PAINTING INC
2012 ATLIN ST.                        20 PEACHTREE CT SUITE 207                     2121 W WOOLBRIGHT RD APT 204
DUARTE CA 91010                       HOLBROOK NY 11741                             BOYNTON BEACH FL 33426




CANADA POST                           CANADA POST                                   CANADA, MARC ANTHONY
2701 RIVERSIDE DRIVE                  PAYMENT PROCESSING                            2619 WESTPARK DR
OTTAWA ON K1A 1L7                     2701 RIVERSIDE DRIVE                          BALTIMORE MD 21207
                                      OTTAWA ON K1A 1L7




                                             Page 307 of 2387
                        Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 308 of 800
CANADAY, INGRID                      CANAGGIO, VINCENT                             CANAL STREET MEDIA LLC
8 SIDEWINDER COURT                   1401 CLOVE ST                                 1364 CAITLYN CIRCLE
WILLIAMSBURG VA 23185                MT PROSPECT IL 60056                          WESTLAKE VILLAGE CA 91361




CANAL, LEONOR                        CANALES, KRISTHIAN                            CANCHASTO, ALDO O
49 ARNOLD ST                         7313 GATEHOUSE CIR APT 41                     41 MERRITT ST
HARTFORD CT 06106                    SUITE 2208                                    PORT CHESTER NY 10573
                                     ORLANDO FL 32807



CANCILA, KATHERINE O                 CANCINO, KATHERINE                            CANDACE HILLIARD
430 VANDERBILT AVE                   104 LAUREL OAK DR                             8945 SOUTH CARPENTER STREET
BROOKLYN NY 11238                    STE 2709                                      CHICAGO IL 60620
                                     LONGWOOD FL 32779



CANDACE PARKER                       CANDACE ROBIN                                 CANDACE SHROPSHIRE
1006 FLAGTREE LANE                   2300 PASADENA AVE.                            7538 AUSPICIOUS WAY
PIKESVILLE MD 21208                  APT. #304                                     SACRAMENTO CA 95842
                                     METAIRIE LA 70001



CANDACE WEDLAN                       CANDAELE, KELLY                               CANDELA, ANA
13018 N. 100TH AVE                   2003 HILLCREST ROAD                           3034 STANFIELD AVE
SUN CITY AZ 85351                    LOS ANGELES CA 90068                          ORLANDO FL 32814




CANDELA, CARLOS C                    CANDENA BYBEE                                 CANDI IZELO
2288 7TH STREET                      1118 SOUTH WORCHESTER STREET                  342 S. COCHRAN AVE.
LA VERNE CA 91750                    INDIANAPOLIS IN 46203                         #108
                                                                                   LOS ANGELES CA 90036



CANDIA, FRANCIS J                    CANDICE BAKER                                 CANDICE CUSIC
15 BONNIE DR                         21781 LAKE VISTA DR.                          2314 W. CORTEZ ST.
NORTHPORT NY 11768                   LAKE FOREST CA 92630                          #3
                                                                                   CHICAGO IL 60622



CANDICE GORA                         CANDICE HERBERT                               CANDICE MEADE
2 E. OAK STREET                      110 NICODEMUS ROAD                            250 NE 22 ST
UNIT 1706                            REISTERSTOWN MD 21136                         POMPANO BEACH FL 33060
CHICAGO IL 60611



CANDICE RUSSELL                      CANDICE STANKUS                               CANDICE STANTON
421 W TROPICAL WAY                   714 RIDGEMONT AVE.                            2719 SCREECH OWL WAY
PLANTATION FL 33317                  ROCKVILLE MD 20850                            SACRAMENTO CA 95834




CANDICE SULLIVAN                     CANDIDA ARAUJO                                CANDIDA RODRIGUEZ
4046 N. 90TH STREET                  22 SANDY DRIVE                                713 LIBERTY STREET
MILWAUKEE WI 53222                   ROCKY HILL CT 06067                           ALLENTOWN PA 18102




                                            Page 308 of 2387
                         Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 309 of 800
CANDIDO ROSARIO                       CANDIO, STANLEY                               CANDUS THOMSON
1137 EAST 72ND STREET                 16370 WATER WAY                               9207 WENDELL ST
APT. B                                DELRAY BEACH FL 33484                         SILVER SPRING MD 20901
BROOKLYN NY 11234



CANDY DORAN                           CANDY VAZQUEZ                                 CANDY, GUYER
804 COLE COURT                        396 UVEDALE RD                                2859 SOUTH STREET
COVINGTON LA 70433                    RIVERSIDE IL 60546                            ALLENTOWN PA 18103




CANELLIS, LOU                         CANEPARI, ZACHARY                             CANEPARI, ZACHARY
1335 S PRAIRIE 1704                   PO BOX 4594                                   PO BOX 4594
CHICAGO IL 60605                      CARLSBAD CA 92018                             CARLSBAD CA 92180




CANEY, RUTH V                         CANFIELD, GREGORY B                           CANFIELD, OWEN F
72 BEACON TERRACE                     1600 VALLEY FORGE PLACE                       80 CARRIAGE LANE
SPRINGFIELD MA 01119                  DOWNERS GROVE IL 60516                        TORRINGTON CT 06790




CANFIELD, RACHEL                      CANFIELD, WILLIAM                             CANG HAU
3303 OXFORD CIRC                      56 KATE CIRC                                  4330 MWSCATEL AVENUE
ALLENTOWN PA 18104                    MIDDLE ISLAND NY 11953                        ROSEMEAD CA 91770




CANGA, MARCELO                        CANGELOSI, THOMAS                             CANINO, LUCILA
21410 TOWN LAKES DRIVE NO. 918        34 APPLEWOOD LANE                             11061 56TH PL N
BOCA RATON FL 33486                   AVON CT 06001                                 WEST PALM BEACH FL 33411




CANIO PACE                            CANIZALES, EDWIN                              CANNELL, STEPHEN J
69 VALLEY VIEW ROAD                   4460 LINDA VISTA RD NO.C-5                    7083 HOLLYWOOD BLVD NO.600
NORWALK CT 06851                      SAN DIEGO CA 92111                            HOLLYWOOD CA 90028




CANNELLA RESPONSE TELEVISION INC      CANNELLA, CAROL                               CANNELLA,ANTHONY
492 N PINE ST                         136 27 243 STREET                             136-27 243 STREET
BURLINGTON WI 53105                   ROSEDALE NY 11422                             ROSEDALE NY 11422




CANNICK, JASMYNE                      CANNIS, ANTHONY                               CANNON EQUIPMENT CO
4106 W ADAMS BLVD                     2836 FILLMORE STREET #36                      15100 BUSINESS PKWY
LOS ANGELES CA 90018                  HOLLYWOOD FL 33020                            ROSEMOUNT MN 55068




CANNON EQUIPMENT CO                   CANNON EQUIPMENT CO                           CANNON EQUIPMENT CO
CM-9563                               NW 7962                                       P.O. BOX 397
ST PAUL MN 55170-9563                 PO BOX 1450                                   324 W. WASHINGTON
                                      MINNEAPOLIS MN 55485-7962                     CANNON FALLS MN 55009




                                             Page 309 of 2387
                         Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 310 of 800
CANNON, HARRY G                       CANNON, KEITH LEE                             CANNON, ROBERT MAXWELL
5828 N ORIOLE                         2931 CANARY COURT                             PO BOX 43353
CHICAGO IL 60631                      CHARLOTTE NC 28269                            TUCSON AZ 85733




CANO, RUBEN                           CANON BUSINESS SOLUTIONS INC                  CANON BUSINESS SOLUTIONS INC
14346 WINDJAMMER DRIVE                15004 COLLECTIONS CENTER DRIVE                300 COMMERCE SQUARE BLVD
MORENO VALLEY CA 92553                CHICAGO IL 60693                              BURLINGTON NJ 08016




CANON BUSINESS SOLUTIONS INC          CANON BUSINESS SOLUTIONS INC                  CANON BUSINESS SOLUTIONS-WEST INC
GPO BOX 33198                         PO BOX 33191                                  110 W WALNUT ST
NEWARK NJ 07188-0198                  NEWARK NJ 07188-0191                          GARDENA CA 90248




CANON BUSINESS SOLUTIONS-WEST INC     CANON FINANCIAL SERVICES                      CANON FINANCIAL SERVICES, INC
PO BOX 100924                         158 GAITHER DRIVE, #200                       15955 ALTON PARKWAY
PASADENA CA 91189                     MT LAUREL NJ 08054                            IRVINE CA 92718




CANON FINANCIAL SERVICES, INC         CANON FINANCIAL SERVICES, INC                 CANON FINANCIAL SERVICES, INC
PO BOX 4004                           158 GAITHER DR                                FACTORY SERVICE CENTER
CAROL STREAM IL 60197-4004            MT LAUREL NJ 08054                            100 JAMESBURG RD
                                                                                    JAMESBURG NJ 08831



CANON FINANCIAL SERVICES, INC         CANON FINANCIAL SERVICES, INC                 CANON FINANCIAL SERVICES, INC
P O BOX 33157                         P O BOX 40082                                 ATTN WATER INGLESBY
NEWARK NJ 07188-0188                  NEWARK NJ 07101-4082                          4 OHIO DR
                                                                                    LAKE SUCCESS NY 11042-1198



CANON FINANCIAL SERVICES, INC         CANON FINANCIAL SERVICES, INC                 CANON FINANCIAL SERVICES, INC
CAMERA & VIDEO SERVICE DIVISION       GPO BOX 506                                   PO BOX 42937
CANON USA INC                         NEW YORK NY 10116                             PHILADELPHIA PA 19101-2937
ONE CANON PLAZA
LAKE SUCCESS NY 11042


CANON USA INC                         CANON USA INC                                 CANON USA INC
15955 ALTON PKWY                      PO BOX 100831                                 PO BOX 514638
IRVINE CA 92718-3616                  PASADENA CA 91189-0831                        LOS ANGELES CA 90051-4638




CANON USA INC                         CANON USA INC                                 CANON USA INC
100 PARK BLVD                         PO BOX 100851                                 PO BOX 94030
ITASCA IL 60143-2693                  ATLANTA IL 30384-0851                         CHICAGO IL 60690




CANON USA INC                         CANON USA INC                                 CANON USA INC
PO BOX 3839                           100 JAMESBURG ROAD SIDE A                     100 RIDGE ROAD
BOSTON MA 02241-3839                  JAMESBURG NJ 08831                            JAMESBURG NJ 08831-3001




                                             Page 310 of 2387
                           Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 311 of 800
CANON USA INC                           CANON USA INC                                 CANON USA INC
65 CHALLENGER ROAD                      PO BOX 33157                                  PO BOX 33167
RIDGEFIELD PARK NJ 07660                NEWARK NJ 07188-0188                          NEWARK NJ 07188-0188




CANON USA INC                           CANON USA INC                                 CANTAVE, YVANNE
PO BOX 40082                            ONE CANON PLAZA                               1250 W MAGNOLIA CIRCLE
NEWARK NJ 07101-4082                    LAKE SUCCESS NY 11042                         DELRAY BEACH FL 33445




CANTEEN VENDING SERVICE                 CANTEEN VENDING SERVICE                       CANTERBURY ENERGY ENGINEERING
PO BOX 91337                            1390 PROGRESS RD                              ATTN RICHARD R VALLENCOURT
CHICAGO IL 60693-1337                   SUFFOLK VA 23434                              PO BOX 459
                                                                                      CANTERBURY CT 06331



CANTIGNY FOUNDATION                     CANTIGNY FOUNDATION                           CANTIGNY FOUNDATION
1 S 151 WINFIELD ROAD                   27 W 270 MACK RD                              7 WEST 270 MACK ROAD
ATTN SHIRLEY WEN                        WHEATON IL 60187                              WHEATON IL 60187
WHEATON IL 60187



CANTON, CHAMEIN                         CANTOR, MARTIN                                CANTOR, PHILIP
3321 GREAT NECK RD                      28 WOODMONT RD                                5810 SATURN ST
AMITYVILLE NY 11701                     MELVILLE NY 11747                             LOS ANGELES CA 90019




CANTORE, TARA M                         CANTU, GUADALUPE                              CANTU, RODOLFO
119 CARRIAGE CROSS LANE                 8911 RUTGERS STREET                           306 HILL STREET
MIDDLETOWN CT 06457                     WESTMINSTER CO 80031-7511                     MERCEDES TX 78570




CANTU, ROSALVA                          CANVAS LLC                                    CANYON COMPACTOR SERVICE INC
803 MARKOWSKY                           30 ARBOR ST 1ST FLOOR NORTH                   17000 SIERRA HIGHWAY
HARLINGEN TX 78550                      HARTFORD CT 06106                             CANYON COUNTRY CA 91351




CANYON CORPORATE CENTRE LTD.            CANZANI, JEFFREY                              CANZLER, RUSSELL M
RE: POMONA 701 CORP CENTER DR           3431 NE 13TH TERRACE                          11 INDEPENDENCE AVE
2699 WHITE ROAD, SUITE 101              POMPANO BEACH FL 33064                        CONYNGHAM PA 18219
IRVINE CA 92714



CAOUETTE, BRIAN R                       CAP STAR RADIO OPERATING COMPANY              CAP STAR RADIO OPERATING COMPANY
114 HIGH ST                             CAPSTAR RADIO OPERATING CO                    KFI AM 570
ENFIELD CT 06082                        3400 W OLIVE AVE  STE 550                     FILE 56107
                                        BURBANK CA 91505-5544                         LOS ANGELES CA 90074-6107



CAP STAR RADIO OPERATING COMPANY        CAP STAR RADIO OPERATING COMPANY              CAP STAR RADIO OPERATING COMPANY
CLEAR CHANNEL BROADCASTING              PO BOX 406026                                 CLEAR CHANNEL BROADCASTING
WHCN/WKSS/WPHH/WPOP/WWYZ/WURH           ATLANTA GA 30384-6026                         5080 COLLECTIONS CENTER DR
10 COLUMBUS BLVD                                                                      CHICAGO IL 60693
HARTFORD CT 06106




                                               Page 311 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 312 of 800
CAP STAR RADIO OPERATING COMPANY       CAP STAR RADIO OPERATING COMPANY              CAP STAR RADIO OPERATING COMPANY
WHTZ-FM                                1 BALA PLAZA SUITE 243                        111 PRESIDENTIAL BLVD
101 HUDSON STREET 36TH FLOOR           BALA CYNWYD PA 19004                          BALA CYNWYD PA 19004
JERSEY CITY NJ 07302



CAP STAR RADIO OPERATING COMPANY       CAPARACHIN, ALCIDES A                         CAPARACHIN, MIRTHA FELICIA
PO BOX 847482                          337 GLENBROOK RD                              3 OLEAN ST
DALLAS TX 75284-7482                   STAMFORD CT 06902                             NORWALK CT 06854




CAPARACHIN, VERONICA RIVERA            CAPARACHIN, VERONICA RIVERA                   CAPASSO, MARCELLA
337 GLENBROOK RD                       337 GLENBROOK RD                              11730 W WASHINGTON BLVD      NO.12
STAMFORD CT 06902                      STAMFORD CT 06906                             LOS ANGELES CA 90066




CAPCO                                  CAPCO                                         CAPE COD TIMES
MACHINERY SYSTEMS                      P.O. BOX 11945                                319 MAIN ST, PO BOX 550
4535 EAST PARK DRIVE                   ROANOKE VA 24022                              HYANNIS MA 02601-0580
PO BOX 11945
ROANOKE VA 24022-1945


CAPE COD TIMES                         CAPE COD TIMES                                CAPE PUBLICATIONS INC
319 MAIN STREET                        PO BOX 550                                    1 GANNETT PLAZA
ATTN: PHOTO DEPT                       HYANNIS MA 02601                              MELBOURNE FL 32940
HYANNIS MA 02601



CAPECCHI, CHRISTINA                    CAPELETTI, MATTHEW                            CAPELL & ASSOCIATES
6941 CLAUDE AVE E                      2929 MYRTLE OAK CIRCLE                        601 CENTRAL AVE
INVER GROVE HEIGHTS MN 55076           DAVIE FL 33328                                PO BOX 742
                                                                                     BARNEGAT LIGHT NJ 08006



CAPGEMINI US LLC                       CAPGEMINI US LLC                              CAPIE, KEVIN
400 BROADACRES DR                      ATTN CORPORATE REAL ESTATE                    2607 W NOTTINGHAM
BLOOMFIELD NJ 07003                    7701 LAS COLINAS BLVD                         PEORIA IL 61614
                                       IRVING TX 75063



CAPITAL CITY PROMOTIONS                CAPITAL ENVELOPE COMPANY                      CAPITELLI, JUDITH A
2311 TYROLEAN WAY                      PO BOX 146410                                 4 HARCOURT RD
SACRAMENTO CA 95821                    CHICAGO IL 60614-6410                         PLAINVIEW NY 11803




CAPITOL CLEANING CONTRACTORS           CAPITOL CLEANING CONTRACTORS                  CAPITOL CONTAINERS INC
320 LOCUST STREET                      PO BOX 340326                                 346 N JUSTINE SUITE 406
HARTFORD CT 06114                      HARTFORD CT 06114                             CHICAGO IL 60607




CAPITOL DOOR SERVICE NORTHERN CA       CAPITOL ELEVATOR CO INC                       CAPITOL NEWSSTAND
DIV OF CAPITOL BUILDERS HARDWARE INC   217 FRANKLIN STREET                           NEWSPAPER SUBSCRIPTION SERVICE
4699 24TH STREET                       BROOKLYN NY 11222                             PO BOX 1221
SACRAMENTO CA 95822                                                                  SPRINGFIELD IL 62705-1221




                                              Page 312 of 2387
                            Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 313 of 800
CAPITOL NEWSSTAND                        CAPITOL REGION EDUCATION COUNCIL              CAPLAN BROTHERS INC
PO BOX 1221                              111 CHARTER OAK AVE                           700 WEST HAMBURG ST
SPRINGFIELD IL 62705-1221                HARTFORD CT 06106                             BALTIMORE MD 21230




CAPLIN, ROBERT                           CAPOLI, GUS                                   CAPONE, NICHOLAS
25 W 85TH ST   NO.1B                     30 BELLMERE AVENUE                            115 N LEHIGH AVE
NEW YORK NY 10023                        STAMFORD CT 06906                             WIND GAP PA 18091




CAPORALE, MIZZ MONIKA                    CAPOS, CLAUDIA R                              CAPOZZOLO, MARC A
161 EAST AVENUE                          3319 OAK KNOLL DR                             324 N 40TH ST
WEST HAVEN CT 06516                      BRIGHTON MI 48114                             ALLENTOWN PA 18104




CAPP, KEVIN                              CAPPUCCINOS AND MORE                          CAPTION COLORADO LLC
2549 IVORYHILL ST                        427 MAIN ST                                   5690 DTC BLVD       STE 500W
LAS VEGAS NV 89135                       HARTFORD CT 06103-3005                        STE 310
                                                                                       GREENWOOD VILLAGE CO 80111



CAPTION COLORADO LLC                     CAPUTO, LAURA E                               CAPUTO, THOMAS
5690 DTC BLVD STE 500 W                  9707 FINCH COURT                              414 N. ELIZABETH
GREENWOOD VILLAGE CO 80111               ELLICOTT CITY MD 21042                        LOMBARD IL 60148




CAPUTO,FRANK                             CAR CREDIT CITY LLC                           CARA CUNNINGHAM
1383 NE 27 CT                            12750 ST CHARLES ROCK RD                      125 SOUTH 1300 EAST
POMPANO BEACH FL 33064                   BRIDGETON MO 63044                            #5
                                                                                       SALT LAKE CITY UT 84102



CARA DI MASSA                            CARA DIPASQUALE                               CARA LEEMAN
1055 WAPELLO STREET                      1845 W. BARRY AVENUE                          516 WESTERN AVENUE
ALTADENA CA 91001                        CHICAGO IL 60657                              WHEATON IL 60187




CARA STEPHENS                            CARA YOUNG                                    CARABAJO, PABLO
2651 WAVERLY DRIVE                       2 LAWTON ROAD                                 44 ORCHARD STREET
NEWPORT BEACH CA 92663                   MARLBORO NJ 07746                             STAMFORD CT 06902




CARABALI, LUIS                           CARABALLO JR, DAVID                           CARABALLO, EDWIN
7420 NW 75 STREET                        57 IRVING ST                                  61 CROWN ST
TAMARAC, FL 33321                        HARTFORD CT 06112                             HARTFORD CT 06114




CARABALLO, KAREN                         CARABALLO, PAUL                               CARABALLO, VALENTIN
PO BOX 8376                              3471 ORCHID RD                                131 OLCOTT ST
FORT LAUDERDALE FL 33310                 LANTANA FL 33462                              MANCHESTER CT 06040




                                                Page 313 of 2387
                           Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 314 of 800
CARABALLO, VICTOR A                     CARACHEO, VIRGINIA                            CARALYN BESS
1132 NW 5TH AVE APT A-WEST              9328 ELIZABETH AVENUE APT NO.G                1268 MCGREGOR ROAD
FT LAUDERDALE FL 33311                  SOUTH GATE CA 90280                           DELAND FL 32720




CARAMANICA, JON                         CARANNANTE, GREGORY V                         CARAT USA INC
241 E 86TH ST APT 3F                    2108 N 31ST ROAD                              2450 COLORADO AVE
NEW YORK NY 10028-3623                  HOLLYWOOD FL 33021                            SUITE 300 EAST
                                                                                      SANTA MONICA CA 90404



CARAT USA INC                           CARAZO REYES, MINDY                           CARBALLO, JESSICA
3 PARK AVE                              718 1/2 N KIOWA ST                            20615 HIGHLAND LAKES BLVD
NEW YORK NY 10016                       ALLENTOWN PA 18109                            N MIAMI BEACH FL 33179




CARBONARA, MARIA I                      CARBONE, JAMES                                CARBONE, JAMES F
4321 ROSADA STREET                      202C CENTER GARDEN BLVD                       1430 OAKS STREET APT D
LONG BEACH CA 90815                     YAPHANK NY 11980                              SOUTH PASADENA CA 91030




CARBONE, JAMES P                        CARBONE, LOUIS                                CARBONE, WILLIAM
80 CARTRIGHT ST UNIT 7D                 340 8TH ST                                    183 PEARL ST
BRIDGEPORT CT 06604                     BOHEMIA NY 11716                              MIDDLETOWN CT 06457




CARBONELL, JENNIFER                     CARBONI, NICK                                 CARBONNEAU CARTAGE CO INC
PO BOX 9398                             BOX 174 263 ALDEN ST                          14441 S STATELY OAKS CIRCLE
ALLENTOWN PA 18105                      SPRINGFIELD MA 01109                          LOCKPORT IL 60441




CARD DYNAMIX LLC                        CARD INTEGRATORS CORPORATION                  CARD INTEGRATORS CORPORATION
23820 NETWORK PLACE                     3625 SERPENTINE DR                            4431 CORPORATE CENTER DRIVE
CHICAGO IL 60673-1238                   LOS ALAMITOS CA 90720                         SUITE 101
                                                                                      LOS ALAMITOS CA 90720



CARDEN, MELODY                          CARDENAS, AJA                                 CARDENAS, JAIME
213 FRINTON CV                          2417 W ARTHUR AVE                             21 BEACH VIEW ST
LONGWOOD FL 32779                       CHICAGO IL 60645                              STAMFORD CT 06902




CARDENAS, JUAN                          CARDENAS, NERY                                CARDINAL COLORPRINT
2415 SWEET CLOVER CT                    4351 SW 22ND ST                               2532 IRVING PARK ROAD
ELGIN IL 60124                          FT. LAUDERDALE FL 33317                       CHICAGO IL 60618-3716




CARDINAL COLORPRINT                     CARDINAL LITHOGRAPH COMPANY                   CARDINAL TRACKING INC
2532-48 IRVING PARK ROAD                742 E WASHINGTON BLVD                         1525 LAKEWAY DR STE 100
CHICAGO IL 60618                        LOS ANGELES CA 90021                          LEWISVILLE TX 75057




                                               Page 314 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 315 of 800
CARDINAL TRACKING INC                    CARDIS, JAMES J                             CARDONA, DENNISE
1825 LAKEWAY DR STE 100                  1314 W CHESTNUT    NO.3F                    6026 ROCK GLEN DR
LEWISVILLE TX 75057                      CHICAGO IL 60622                            ELKRIDGE MD 21075




CARDONA, FABIOLA                         CARDONA, GERMAN                             CARDONA, RICHARD
6372 MOSELEY ST                          31-03 88TH ST                               7702 UNIVERSITY GARDEN DR
HOLLYWOOD FL 33024                       EAST ELMHURST NY 11369                      WINTER PARK FL 32792




CARDWELL PRINTING & ADVERTISING          CARDWELL, DON                               CARDWELL, DON
15470 WARWICK BOULEVARD                  4150 BRIAR CREEK RD BOX 454                 PO BOX 454
NEWPORT NEWS VA 23608                    CLEMMONS NC 27012                           CLEMMONS NC 27012




CAREERBUILDER INC                        CAREERBUILDER INC                           CAREERBUILDER INC
13047 COLLECTION CENTER DRIVE            8420 W BRYN MAWR AVE STE 1000               10790 PARKRIDGE BLVD NO.200
CHICAGO IL 60693-0130                    CHICAGO IL 60631                            ATN: ACCOUNTS RECEIVABLE
                                                                                     RESTON VA 20191



CAREERBUILDERS                           CAREERS USA INC                             CAREERS USA INC
ATTN TOM PERONA                          PO BOX 5512                                 PO BOX 402736
200 N LASALLE STREET NO.1100             FT LAUDERDALE FL 33310                      ATLANTA GA 30384-2763
CHICAGO IL 60601



CAREERS USA INC                          CAREL VEENHUYZEN                            CAREN EHRET
P O BOX 8500-2875                        7041 S ARLINGTON AVENUE                     4403 N RACINE AVE
PHILADELPHIA PA 19178-2875               LOS ANGELES CA 90043                        UNIT #3
                                                                                     CHICAGO IL 60640



CAREY HAYES                              CAREY MORAN                                 CAREY WAGNER
1522 PICKETT ROAD                        4642 CONWELL AVE                            1873 NW 12TH ST
BALTIMORE MD 21093                       COVINA CA 91722                             BOCA RATON FL 33486




CAREY, JACK                              CAREY, MICHAEL                              CAREY, ROBERT A
23 SOUTH 1ST ST                          1648 GARDEN STREET                          2270 COUNTRY PARK COURT
BELLEVILLE IL 62220                      ANCHORAGE AK 99508                          THOUSAND OAKS CA 91362




CAREY, ROBERT A                          CAREY, WILLIAM                              CARFORA, MICHAEL
109 DOHM AVE                             7 RIVERWOODS DRIVE                          15 APPLETREE LN
GUILFORD CT 06437                        APT # C226                                  GLEN COVE NY 11542
                                         EXETER NH 03833-4383



CARIBBEAN ENVIRONMENTAL PROTECTION DIV   CARIBBEAN MUSIC FESTIVAL INC                CARICATURE.COM INC
CENTRO EUROPA BLDG, STE 417              8341 NW 11TH ST                             2203 HAWICK LN
1492 PONCE DE LEON AVENUE                PEMBROKE PINES FL 33024                     WINTER PARK FL 32792
SAN JUAN PR 00907-4127




                                              Page 315 of 2387
                        Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 316 of 800
CARIDAD CENTER INC                   CARIDAD, ESMAILIN                             CARIGNANO, LUIZ
8645 W BOYNTON BEACH BLVD            C/JUAN ISIDRO PEREZ NO.13                     6121 BALBOA CIRCLE NO.101
BOYNTON BEACH FL 33437               BO VILLA PENCA HAINA                          BOCA RATON FL 33433
                                     SANTO DOMINGO



CARILLI, JOSEPH                      CARINA CHOCANO                                CARIOLI, ROBERTO
47 IVEY LANE                         3314 WAVERLY DRIVE                            513 N OCEAN DRIVE NO.2
PAISLEY FL 32767                     LOS ANGELES CA 90027                          DEERFIELD BEACH FL 33441




CARISSA STRICKLAND                   CARIVER COMPANY LLC                           CARKEEK, KEVIN J
1357 SOUTHWELL LANE                  5311 BRADY LN                                 233 S HIGHLAND ST
BEL AIR MD 21014                     ORLANDO FL 32814                              ARLINGTON HTS IL 60005




CARL ANDERSON                        CARL ARCHER                                   CARL BEAUVAIS
4400 N. MERRIMAC AVE.                2137 E 172ND STREET                           777 S FEDERAL HWY #D-305
APT. #2 SOUTH                        SOUTH HOLLAND IL 60473                        POMPANO BEACH FL 33062
CHICAGO IL 60630



CARL BEEBE                           CARL BETZOLD                                  CARL BILEK
8344 S. RUTHERFORD                   4443 N. ROCKWELL                              9415 SAND HILL PLACE
BURBANK IL 60459                     APT #2                                        HIGHLANDS RANCH CO 80126
                                     CHICAGO IL 60625



CARL BROWN MINISTRIES                CARL COFIELD                                  CARL COLEMAN
PO BOX 77976                         1137 CORETTA WAY                              742 27TH ST
BATON ROUGE LA 70879                 ORLANDO FL 32805                              NEWPORT NEWS VA 23607




CARL DEMARCO                         CARL DOBLER                                   CARL F WAGNER
33 NEW MILL RD                       20 MAXWELL DRIVE                              11405 ENTERPRISE DR.
SMITHTOWN NY 11787                   ROCKY HILL CT 06067                           WESTCHESTER IL 60154




CARL GRANT                           CARL HELFAND                                  CARL HUGHES
342 WEST 21ST STREET                 1607 S. SHENANDOAH STREET                     5580 MINNER DRIVE
DEER PARK NY 11729                   LOS ANGELES CA 90035                          BEAUMONT TX 77708




CARL J MENZEL                        CARL JOHANSSON                                CARL KELLY
1150 ARBOR CIRCLE                    1746 DANNET PLACE                             2112 AMHERST AVENUE
LINDENHURST IL 60046                 EAST MEADOW NY 11554                          ORLANDO FL 32804




CARL KLAGER                          CARL KNAPP                                    CARL LESNIAK
107 N RAILROAD STREET                4946 PARK PLACE                               214 GLENGARRY DR.
WALNUTPORT PA 18088                  YORBA LINDA CA 92886                          APT. 301
                                                                                   BLOOMINGDALE IL 60108




                                            Page 316 of 2387
                            Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 317 of 800
CARL LYDA                                CARL M ANDERSON                               CARL MACGOWAN
4819 HIGHLAND AVENUE                     1921 N. PEBBLE BEACH BOULEVARD                211-01 85TH AVENUE
DOWNERS GROVE IL 60515                   SUN CITY CENTER FL 33573                      HOLLIS HILLS NY 11427




CARL MANNING PYNN                        CARL MASSEY                                   CARL MESSINA
1190 COVEWOOD TRAIL                      1412 S. PARK AVE.                             146 BUFFALO AVE
MAITLAND FL 32751                        APOPKA FL 32703                               MEDFORD NY 11763




CARL MILLER                              CARL MOODIE                                   CARL NEVILLE
172 E. LEMOYNE                           2875 SOUTH CONWAY RD.                         122 PATAPSCO AVE.
LOMBARD IL 60148                         APT. 241                                      BALTIMORE MD 21222
                                         ORLANDO FL 32812



CARL NUSS                                CARL ORTIZ                                    CARL PATRICK APPLE
220 WOODLAND DRIVE                       10239 EASTMAR COMMONS                         1047 ABERDEEN NE
NAZARETH PA 18064                        #2032                                         GRAND RAPIDS MI 49505
                                         ORLANDO FL 32825



CARL PETRUCELLI                          CARL PIRSCHER                                 CARL R BIEBER TOURWAYS
10 ATLAS LANE                            3320 ARTHUR AVENUE                            PO BOX 180
HICKSVILLE NY 11801                      BROOKFIELD IL 60513                           320 FAIR ST
                                                                                       KUTZTOWN PA 19530-0180



CARL R FULLAM                            CARL R RINALDI                                CARL SCHMEISSER
1725 CABANA DR                           24227 FRIAR STREET                            21325 PHEASANT TRAIL
LAKE HAVASU CITY AZ 86404                WOODLAND HILLS CA 91367                       BARRINGTON IL 60010




CARL SEIBERT                             CARL VASILE                                   CARL WAGNER
1675 NE 36 ST                            2049 N. CARLISLE STREET                       11405 ENTERPRISE DR.
FORT LAUDERDALE FL 33334                 PHILADELPHIA PA 19121                         WESTCHESTER IL 60154




CARL ZABY                                CARL, KEN                                     CARL, ROBERT
185 COSTA MESA                           3100 W LOGAN                                  2508 W PENSACOLA AVE
COSTA MESA CA 92627                      CHICAGO IL 60647                              CHICAGO IL 60618




CARLA BEVILLE                            CARLA BRIGGS                                  CARLA CORREA
8873 CLEARWATER CIRCLE                   709 W ATHENS BLVD                             8045 NEWELL STREET
FOGELSVILLE PA 18051                     LOS ANGELES CA 90044                          UNIT 113
                                                                                       SILVER SPRING MD 20910



CARLA GARZA                              CARLA HALL                                    CARLA M LAZZARESCHI
3001 S MICHIGAN AVENUE                   11625 MONTANA AVENUE #123                     2310 DUANE STREET
909                                      LOS ANGELES CA 90049                          LOS ANGELES CA 90039
CHICAGO IL 60616




                                                Page 317 of 2387
                           Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 318 of 800
CARLA MIXON                             CARLA MUTONE                                  CARLA RIVERA
500 RICHARDSON RUN                      5500 HILLCREST LANE                           6245 GREEN VALLEY CIRCLE
APT. #D                                 #2D                                           CULVER CITY CA 90230
WILLIAMSBURG VA 23188                   LISLE IL 60532



CARLA ROSATI                            CARLA SPANN                                   CARLAS PRINCE GILBERT
2 MIDDLETON DRIVE                       8849 S. CONSTANCE AVENUE                      1000 EAST 53RD STREET
SOUTH GLENS FALLS NY 12803              CHICAGO IL 60617                              UNIT #514
                                                                                      CHICAGO IL 60615



CARLE PLACE UF SCHOOL DISTRICT          CARLE PLACE WATER DISTRICT                    CARLENE MOSS
168 CHERRY LANE                         PO BOX 345                                    182-15 147TH AVENUE
CARLE PLACE NY 11514-1788               CARLE PLACE NY 11514-0345                     SPRINGFIELD GARDENS NY 11413




CARLENE SHALJIAN                        CARLETON, JESSICA                             CARLEY, ROSEMARY
1802 FERN LANE                          8151 W MEMORY LANE                            711 CRYSTAL DR
GLENDALE CA 91208                       CHICAGO IL 60656                              OCOEE FL 34761




CARLILE, JAY B                          CARLIN CHESNEY                                CARLIN, SCOTT
2044 N SHEFFIELD AVE     NO.G           5711 FALLSTON STREET                          45 YALE DRIVE
CHICAGO IL 60614                        HIGHLAND PARK CA 90042                        HAMPTON BAYS NY 11946




CARLINA, JEFFREY                        CARLINE BELFORT                               CARLINE JEAN
126 NEW BRITAIN AVE W3                  8520 NW 54TH STREET                           4725 NW 1ST CT.
PLAINVILLE CT 06062                     SUNRISE FL 33351                              PLANTATION FL 33317




CARLISLE STAFFING, LTD                  CARLISLE, DENISE                              CARLON, BARBARA JO
350 E OGDEN AVE                         6333 DARING PRINCE WAY                        2254 MIRA VISTA AVENUE APT3
WESTMONT IL 60559-1229                  COLUMBIA MD 21044                             MONTROSE CA 91020




CARLOS ANDRADE                          CARLOS ARANGO                                 CARLOS AUSTIN
PO BOX 213301                           169 VAN BUREN ST.                             51-04 101ST STREET
ROYAL PALM BEACH FL 33421-3301          MASSAPEQUA PARK NY 11762                      APT. B
                                                                                      CORONA NY 11368



CARLOS AVILES                           CARLOS BARRERA                                CARLOS CALDERON
1151 W. ARROW HWY                       14 TALBOT LANE                                7812 BURNS
APT. # J-107                            SMITHTOWN NY 11787                            DOWNEY CA 90241
AZUZA CA 91702



CARLOS CANDELA                          CARLOS CASTILLA                               CARLOS CHAVEZ
2288 7TH STREET                         290 174TH STREET                              2165 SCENIC PARK STREET
LA VERNE CA 91750                       APT 604                                       THOUSAND OAKS CA 91362
                                        SUNNY ISLES FL 33160




                                               Page 318 of 2387
                        Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 319 of 800
CARLOS CORTES                        CARLOS CRUZ                                   CARLOS CUNHA
10061 RIVERSIDE DRIVE                88-09 214TH STREET                            96 ELVREE STREET
APT#307                              QUEENS VILLAGE NY 11427                       MANCHESTER CT 06040
TOLUCA LAKE CA 91602



CARLOS DIAZ                          CARLOS ENRIQUEZ                               CARLOS ESCALANTE
921 NW 132 PLACE                     77-79 COLUMBIA STREET                         8112 STEWARD& GRAY RD
MIAMI FL 33182                       #3K                                           APT 14
                                     NEW YORK CITY NY 10002                        DOWNEY CA 90241



CARLOS HARRISON                      CARLOS HERNANDEZ                              CARLOS HERNANDEZ GOMEZ
601 SW 26TH ROAD                     4953 CLYDEBANK                                517 N. RACINE
MIAMI FL 33129                       COVINA CA 91722                               APT. #2
                                                                                   CHICAGO IL 60642



CARLOS LANDRON                       CARLOS LEON                                   CARLOS LOPEZ
3419 ENGLEWOOD DRIVE                 6126 CLARA STREET                             P.O. BOX 3886
PEARLAND TX 77584                    BELL GARDENS CA 90201                         CRESTLINE CA 92325




CARLOS LOPEZ                         CARLOS LOZANO                                 CARLOS MADRIGAL
6120 BALBOA COURT                    8315 BLACKBURN AVENUE                         2726 W. 23RD PLACE
ALTA LOMA CA 91701                   APT #8                                        CHICAGO IL 60608
                                     LOS ANGELES CA 90048



CARLOS MARQUEZ                       CARLOS MARTINEZ                               CARLOS MEDIA CORPORATION
3192 CORAL DR                        2117 CLINTON ST.                              10939 N ALPINE HWY STE 113
OCEANSIDE CA 92056                   APT. #304                                     HIGHLAND UT 84003
                                     LOS ANGELES CA 90026



CARLOS MONSREAL                      CARLOS MORALES                                CARLOS NAVA
4908 SOUTH LATROBE                   453 N 4TH STREET                              1502 S. GARFIELD AVENUE
CHICAGO IL 60638                     ALLENTOWN PA 18102                            LOS ANGELES CA 90022




CARLOS PENA                          CARLOS PEREZ CRUZ                             CARLOS PINIERO
1511 S. KARLOV                       133 WATER STREET                              216 ROCKAWAY PKWY
CHICAGO IL 60623                     APT 2F                                        VALLEY STREAM NY 11580
                                     BROOKLYN NY 11201



CARLOS QUINTERO                      CARLOS ROSADO                                 CARLOS ROVALINO
1321 RIDERWOOD AVE                   393 BEEBE COURT                               14 VINCENT DRIVE
HACIENDA HEIGHTS CA 91745            NORTH BABYLON NY 11703                        SIMSBURY CT 06070




CARLOS RUBIO                         CARLOS SADOVI                                 CARLOS SALAS
3332 W. BERTEAU AVE                  2741 W. AINSLIE ST                            3637 CORAL TREE CIRCLE
CHICAGO IL 60618                     CHICAGO IL 60625                              COCONUT CREEK FL 33073




                                            Page 319 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 320 of 800
CARLOS SANTANA                         CARLOS SANTOS                                 CARLOS SELVA
1812 EAST GRANADA COURT                161 CARRIAGE HILL DRIVE                       20206 LONDELIUS STREET
ONTARIO CA 91764                       WETHERSFIELD CT 06109                         WINNETKA CA 91306




CARLOS TORRES                          CARLOS URIBE                                  CARLOS VARGAS
17 JAMES STREET                        3700 CHENEY TRAIL                             1523 E. MAPLE ST.
FARMINGDALE NY 11735                   ALTADENA CA 91001                             GLENDALE CA 91205




CARLOS VICTORES                        CARLOTA ADAME                                 CARLOTTA MOEBUIS
9720 NW 25 ST                          305 W. 82ND STREET                            4294 HUNTSMAN TRAIN
SUNRISE FL 33322                       LOS ANGELES CA 90003                          HAMPSTEAD MD 21074




CARLSON, ALEXIS                        CARLSON, ARTHUR                               CARLSON, BRUCE J
5245 MILLENIA BLVD   NO.106            5973 N NORTHWEST HWY NO 3A                    959 LITCHFIELD ST
ORLANDO FL 32839                       CHICAGO IL 60631                              TORRINGTON CT 06790




CARLSON, KENNETH                       CARLSON, MARGARET E                           CARLSON, RON
59 COTTAGE ST                          3016 1/2 FANITA ST                            505 8TH ST
DERBY CT 06418                         LOS ANGELES CA 90026                          HUNTINGTON BEACH CA 92648




CARLSON, SCOTT                         CARLTON BATES COMPANY                         CARLTON BATES COMPANY
120 GLEN ARGYLE RD                     1400 N MICHAEL DR STE A                       PO BOX 846144
BALTIMORE MD 21212                     WOOD DALE IL 60191                            DALLAS TX 75284




CARLTON CHRISTOPHER                    CARLTON MURPH                                 CARLTON SCHOCH
92 SHADY LANE                          8606 THOURON AVE                              1605 WEST LIVINGSTON STREET
STAMFORD CT 06903                      PHILA PA 19150                                ALLENTOWN PA 18102




CARLY NASON                            CARLY ROMANO                                  CARLYLE BARNETT
1424 REDWOOD DRIVE                     10308 HARBOR INN COURT                        1 COLONY ROAD
HARVEY LA 70058                        CORAL SPRINGS FL 33071                        ENFIELD CT 06082




CARLYLE ON THE GREEN                   CARLYLE WINTERS                               CARMACK, WILLIAM R
PO BOX 756                             2205 BELLEAIR ROAD                            4031 ONDINE CIRCLE
FARMINGDALE NY 11735                   APT. A25                                      HUNTINGTON BEACH CA 92649
                                       CLEARWATER FL 33764-2765



CARMANA, BRENDA                        CARMEL CARRILLO                               CARMELO DELGADO
401 E ONTARIO NO.1107                  3512 N. ASHLAND AVENUE                        2910 N. MELVINA AVENUE
CHICAGO IL 60611                       APT. #2                                       CHICAGO IL 60634
                                       CHICAGO IL 60657




                                              Page 320 of 2387
                           Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 321 of 800
CARMELO MARQUEZ                         CARMEN ABATO ENTERPRISES INC                  CARMEN ALESCHUS
631 PARK STREET                         11650 WESTERN AVE                             5125 LONG CANYON DR
APT. A-2                                STANTON CA 90680                              FAIR OAKS CA 95628
HARTFORD CT 06106



CARMEN BAZZANO                          CARMEN BRADY                                  CARMEN CABRALES
33 SHEPHERD ROAD                        3521 NE 96TH STREET                           5007 VINCENT AVENUE
WEST HARTFORD CT 06110                  SEATTLE WA 98115                              LOS ANGELES CA 90041




CARMEN DIVITO                           CARMEN DURDEN                                 CARMEN EVANS
12312 W. LAKEVIEW TRAIL.                1520 NW 11TH STREET                           437 MAIN STREET
HOMER GLEN IL 60491                     BOCA RATON FL 33486                           NEWINGTON CT 06111




CARMEN G CERABONA                       CARMEN HINES                                  CARMEN LOPEZ
8842-C ROBIN DRIVE                      11 OAK STREET                                 3046 WEST 53RD PLACE
DES PLAINES IL 60016                    BRENTWOOD NY 11717                            CHICAGO IL 60632




CARMEN LOPEZ                            CARMEN MARTINEZ                               CARMEN MARTINEZ
64-55 185TH STREET                      676 LAWRENCE COURT                            175 MAIN AVENUE
FRESH MEADOWS NY 11365                  ALLENTOWN PA 18102                            APT. #107
                                                                                      WHEATLEY HEIGHTS NY 11798



CARMEN MELENDEZ                         CARMEN NIEVES                                 CARMEN OROSCO
414 NORTH 2ND STREET                    409 NORTH 5TH STREET                          3312 E. 2ND STREET
ALLENTOWN PA 18102                      ALLENTOWN PA 18102                            APT#7
                                                                                      LONG BEACH CA 90803



CARMEN PEDROZA                          CARMEN PEREZ                                  CARMEN RAMOS
1456 VERNON AVE                         9 MIDDLEBURY STREET                           4026 INVERRARY BLVD.
PARK RIDGE IL 60048                     STAMFORD CT 06902                             UNIT 1418
                                                                                      LAUDERHILL FL 33319



CARMEN RIVERA                           CARMEN SANCHEZ                                CARMEN SNO
925 S. LYMAN AVENUE                     20 FOLEY STREET                               171 THIMBLEBERRY RD
OAK PARK IL 60304                       1ST FLOOR                                     BALLSTON SPA NY 12020
                                        WEST HARTFORD CT 06110



CARMEN TORELLI                          CARMENA MURPHY                                CARMENATE, MARCELO
58 HARRIS STREET                        2816 BRIGATA WAY                              611 S PARK AVE APT 2
GLASTONBURY CT 06033                    OCOEE FL 34761                                SANFORD FL 32771




CARMICHAEL, COREY                       CARMICHAEL, WILLIAM                           CARMINE DECICCO
16W472 HONEYSUCKLE ROSE LN APT 104      629 SW 2ND COURT                              627 FENWORTH BOULEVARD
WILLOWBROOK IL 60572                    HALLANDALE FL 33009                           FRANKLIN SQUARE NY 11010




                                               Page 321 of 2387
                           Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 322 of 800
CARMINE DIFILIPPO                       CARMINE J LINDO                               CARMINE MONTEFORTE
1128 LITTLE EAST NECK ROAD              20 UTICA ST                                   13 CLAIRE AVE
WEST BABYLON NY 11704                   HICKSVILLE NY 11801                           HUNTINGTON STATION NY 11746




CARMONA NEWS AGENCY                     CARMONA, JOSE                                 CARN,TORI
3255 N HAMLIN AVE                       6510 1/2 N GLENWOOD AVE APT 3                 2634 W 28TH ST
CHICAGO IL 60618                        CHICAGO IL 60626                              RIVIERA BEACH FL 33404




CARNELL MARTIN                          CARNERO, CESAR A                              CARNEY, STEVE
5050 S. LAKE SHORE DRIVE                22511 SW 66TH AVE APT-108                     3730 GARDENIA AVE
#1405 SOUTH                             BOCA RATON FL 33428                           LONG BEACH CA 90807
CHICAGO IL 60615



CARNFELDT AMERICA INC                   CARNFELDT AMERICA INC                         CARNS, JAMES
PO BOX 387                              W6637 HWY 12                                  20005 N HIGHWAY 27 ST APT 620
FT ATKINSON WI 53538                    PO BOX 387                                    CLERMONT FL 34711
                                        FT ATKINSON WI 53538



CARO, ISIS                              CAROL A VARANESE                              CAROL ADENUGA
188 PINEWOOD CT                         12090 ORANGE GROVE BLVD                       630 NE 44TH STREET
JUPITER FL 33458                        ROYAL PALM BCH FL 33411                       POMPANO BEACH FL 33064




CAROL ALFANO                            CAROL ANN JULIAN                              CAROL BENNETT
557 EVERGREEN AVE                       546 HOPKINS LANDING DRIVE                     594 WEST MONTAUK HWY
BOHEMIA NY 11716                        ESSEX MD 21221                                APT #1
                                                                                      LINDENHURST NY 11757



CAROL BERGMEIER                         CAROL BERTSCH                                 CAROL BRAGG
42 SECOND STREET                        26 CASSATA COURT                              93 WANGUMBAUG DR
SOUTH GLENS FALLS NY 12803              WEST BABYLON NY 11704                         COVENTRY CT 06238




CAROL CAPO                              CAROL CARUSO                                  CAROL CASSANO
29 DIAMOND HILL ROAD                    9A FIRWOOD RD                                 16 LORI JEAN LANE
HAMPTON VA 23666                        PORT WASHINGTON NY 11050                      EAST NORTHPORT NY 11731




CAROL CHANDOO                           CAROL COLEY                                   CAROL CONYNE
5624 KINGSMILL COURT                    919 BORDEAUX PLACE                            54 LOCUST AVE
LAKEWORTH FL 33463                      ORLANDO FL 32808                              GLEN HEAD NY 11545




CAROL CORBETT                           CAROL CORMACI                                 CAROL COVEY
518 S. CHICOT AVENUE                    834 MILMADA DRIVE                             1150 WEST CAPITOL DRIVE
WEST ISLIP NY 11795                     LA CANADA CA 91011                            UNIT # 19
                                                                                      SAN PEDRO CA 90732




                                               Page 322 of 2387
                        Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 323 of 800
CAROL D CURL                         CAROL DUDLEY                                  CAROL EANES
8233 LOWER RIVER ROAD                1811 N 47 AVE                                 14329 SE 59TH COURT
GRANTS PASS OR 97526                 HOLLYWOOD FL 33021                            SUMMERFIELD FL 34491




CAROL EISENBERG                      CAROL ENTERS LIST COMPANY                     CAROL EPSTEIN
20 CONTINENTAL AVENUE                9663 C MAIN ST                                9537 WELDON CIR
APT. 1S                              FAIRFAX VA 22032                              TAMARAC FL 33321
FOREST HILLS NY 11375



CAROL GALLACE                        CAROL GARDNER-LOPEZ                           CAROL GRALIA
2057 CENTRAL DR SO                   723 E. 43RD ST.                               5035 CASTLE MOOR DR.
EAST MEADOW NY 11554                 GRIFFITH IN 46319                             COLUMBIA MD 21044




CAROL GRANNISS                       CAROL HADDIX                                  CAROL HANKNER
54 INDIAN HEAD DR                    226 N. CLINTON ST.                            9725 WOODS DRIVE
SAYVILLE NY 11782                    #622                                          UNIT 809
                                     CHICAGO IL 60661                              SKOKIE IL 60077



CAROL HILL                           CAROL HOWARD                                  CAROL KAUFMAN
2703 BOTTS LANDING RD                19 ASHFORD STREET                             PO BOX 86105
DELAND FL 32720                      HARTFORD CT 06120                             LOS ANGELES CA 90086




CAROL KRESS                          CAROL L MORRISON                              CAROL L TIRA
2030 POTOMAC STREET                  966 N BARSTON                                 6860 EASTON COURT
ALLENTOWN PA 18103                   COVINA CA 91724                               SAN DIEGO CA 92120




CAROL LEONARD                        CAROL LIOTTA                                  CAROL LYNN AVEY
1515 LINCOLN BLVD                    70 W. BURTON PLACE                            2040 DUNNIGAN NE
BAY SHORE NY 11706                   APT. #1502                                    GRAND RAPIDS MI 49525
                                     CHICAGO IL 60610



CAROL MANCINI                        CAROL MANNING                                 CAROL MAY-SLOANE
28 W ALLEGHENY AVE UNIT 2308         45 MERIDIAN ROAD                              125 N GREENE AVE
BALTIMORE MD 21204                   LEVITTOWN NY 11756                            LINDENHURST NY 11757




CAROL MCNALLY                        CAROL MIRELLI                                 CAROL MURRAY
528 S. CUYLER                        20 DIANE AVENUE                               110 NEW COUNTY ROAD
FRONT                                EAST NORTHPORT NY 11731                       ABERDEEN MD 21001
OAK PARK IL 60304



CAROL MURRAY                         CAROL NOLTING                                 CAROL O'DONNELL
259 FLOWER ST                        1844-C WILDBERRY DRIVE                        921 BELFORD ROAD
COSTA MESA CA 92627                  GLENVIEW IL 60025                             ALLENTOWN PA 18103




                                            Page 323 of 2387
                         Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 324 of 800
CAROL OPACITY                         CAROL PAPPER                                  CAROL POLSKY
12226 PANTAR STREET                   6768 CANARY PALM CIR                          16 CANTERBURY LANE
ORLANDO FL 32837                      BOCA RATON FL 33433                           ROSLYN HEIGHTS NY 11577




CAROL PUTNAM                          CAROL RAITANEN                                CAROL RANDALL
11 HILTON DRIVE                       12 BENDERS DRIVE                              6909 DIGBY RD
SOUTH GLENS FALLS NY 12803            GREENWICH CT 06830                            BALTIMORE MD 21207




CAROL SCOUTEN                         CAROL SKELDON                                 CAROL TSIATSIOS
1947 SHEELER OAKS DR                  14035 WEST TAHITI WAY                         9842 HAMILTON AVENUE
APOPKA FL 32703                       APT 325                                       APT #10
                                      MARINA DEL REY CA 90292                       HUNTINGTON BEACH CA 92646



CAROL VOLKMAN                         CAROL WAKANO                                  CAROL WALKER
176 HARRISON AVE                      562 W CLAREMONT STREET                        6600 NW 27 ST
MILLER PLACE NY 11764                 PASADENA CA 91103                             SUNRISE FL 33313




CAROL WALKER                          CAROL WILLIAMS                                CAROL WILLIAMS
3561 W HEMLOCK                        1401 NW 45 ST                                 5333 COLLINS AVENUE
OXNARD CA 93035                       APT. 1                                        #704
                                      POMPANO BEACH FL 33064                        MIAMI BEACH FL 33140



CAROL-ANN WRESCH                      CAROLE ARMSTRONG                              CAROLE BLANCHARD
765 LAWRENCE ST                       315 COMMERCE AVE SW APT 111                   11 ELMWOOD DRIVE
ELMONT NY 11003                       GRAND RAPIDS MI 49503                         SOUTH GLENS FALLS NY 12803




CAROLE EDWARDS                        CAROLE GOLDBERG                               CAROLE J AINSWORTH
8977 NW 27 ST                         20 LEMAY STREET                               2519 W AVENUE 34
CORAL SPRINGS FL 33065                WEST HARTFORD CT 06107                        LOS ANGELES CA 90065




CAROLE L.B. MACDONALD                 CAROLE PHELPS                                 CAROLE SPEH
596 SWEETWATER WAY                    175 TIMROD ROAD                               6 MARWOOD PLACE
HAINES CITY FL 33844                  MANCHESTER CT 06040                           STONY BROOK NY 11790




CAROLE STEIN                          CAROLIN HUBSCHER                              CAROLINA ARROYO
942 10TH ST                           1725 N. HUDSON AVE.                           13828 ANADA ST.
APT 2                                 APT. #2                                       BALDWIN PARK CA 91706
SANTA MONICA CA 90403                 CHICAGO IL 60614



CAROLINA CAMARILLO                    CAROLINA COUPON CLEARING INC                  CAROLINA FRANCO
1802 S JEFFERSON ST                   PO BOX 75987                                  295 E ELIZABETH STREET
CHICAGO IL 60616                      CHARLOTTE NC 28275                            PASADENA CA 91104




                                             Page 324 of 2387
                         Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 325 of 800
CAROLINA KOTCHERHA                    CAROLINA MANUFACTURERS SERVICES               CAROLINA REALTY SOLUTIONS LLC
6895 NW 27TH COURT                    WACHOVIA LOCKBOX SERVICES                     PO BOX 32816
MARGATE FL 33063                      PO BOX 751011                                 CHARLOTTE NC 28232
                                      CHARLOTTE NC 28275-1011



CAROLINA SOTOLA                       CAROLINA TRUJILLO                             CAROLINA VIEIRA
1365 N MENTOR AVENUE                  517 1/2 S. COLUMBUS AVENUE                    219 MAPLECREST DR.
PADADENA CA 91104                     GLENDALE CA 91204                             LAKE RONKONKOMA NY 11779




CAROLINE BLASER                       CAROLINE GATEWOOD                             CAROLINE GOODMAN
101 MEADOWS PARK LANE                 1245 BOISSEAU AVENUE                          1360 N. LAKE SHORE DRIVE
BOYNTON BEACH FL 33436-9014           SOUTHOLD NY 11971                             APT. #1316
                                                                                    CHICAGO IL 60610



CAROLINE KEATING                      CAROLINE KOVACH                               CAROLINE MCLAUGHLIN
23 CATERBURY WOODS                    89 PLAUDERVILLE AVENUE                        1005 ENSOR DRIVE
QUEENSBURY NY 12804                   UNIT 11                                       JOPPA MD 21085
                                      GARFILED NJ 07026



CAROLINE MIESEMER                     CAROLINE PINSKER                              CAROLINE STEELE
510 HOGAN DRIVE                       1584 BANYAN WAY                               118 WILSON DRIVE
MARTINSBURG WV 25401                  WESTON FL 33327                               WILLIAMSBURG VA 23188




CAROLINE THORPE                       CAROLYN BENACCI                               CAROLYN BUGLIO
11252 GONSALVES STREET                2150 N LINCOLN PARK AVE #1304                 8900 LORI LANE
CERRITOS CA 90703                     CHICAGO IL 60614                              ORLAND PARK IL 60462




CAROLYN CAMASSAR                      CAROLYN COLE                                  CAROLYN COOPER
5 OLD WALLINGFORD ROAD                284 WARREN ST                                 34 KRAMER DRIVE
DURHAM CT 06422                       APT 2                                         PARAMUS NJ 07652
                                      BROOKLYN NY 11201



CAROLYN DEEHAN                        CAROLYN G GREGG                               CAROLYN GILBERT
PO BOX 643                            98 DILLWYN DR                                 240 E ILLINOIS AVE #1611
YAPHANK NY 11980                      NEWPORT NEWS VA 23602                         CHICAGO IL 60611-5040




CAROLYN HEE                           CAROLYN HOSKINS                               CAROLYN HUDSPETH
685 JAMESTOWN BLVD.                   6460 GREENFIELD RD.                           3883 TURTLE CREEK BLVD.
#2012                                 #210                                          #2018
ALTAMONTE SPRINGS FL 32714            ELKRIDGE MD 21075                             DALLAS TX 75219



CAROLYN IMPALLARIA                    CAROLYN J JOHANSEN                            CAROLYN JEZIERSKI
120 DRIFTWOOD COURT                   2015 S OLIVE AVENUE                           5322 W. 24TH STREET
JOPPA MD 21085                        ALHAMBRA CA 91803                             CICERO IL 60804




                                             Page 325 of 2387
                           Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 326 of 800
CAROLYN LUMSDEN                         CAROLYN M MARKEL                              CAROLYN MARKS
42 WILLOW CREEK AVENUE                  9903 BRODBECK BLVD.                           23 B PEQUOT AVENUE
SUFFIELD CT 06078                       ORLANDO FL 32832                              PORT WASHINGTON NY 11050




CAROLYN MATHESON                        CAROLYN MCGUIRE                               CAROLYN MOREAU
7047 N OZANAM AVE.                      1366 N. DEARBORN PKWY                         220 OXFORD STREET
CHICAGO IL 60631                        APT 11C                                       HARTFORD CT 06105
                                        CHICAGO IL 60610



CAROLYN MULLER                          CAROLYN ORBAN                                 CAROLYN PELISSERO
207 NW 45TH AVENUE                      430 SANDPIPER CT.                             1711 N. HOYNE
DEERFIELD BEACH FL 33442                UNIT A                                        APT. #2S
                                        AURORA IL 60504                               CHICAGO IL 60647



CAROLYN PINEDA                          CAROLYN R ORTIZ                               CAROLYN STARKS
3460 SW 2ND CT                          5000 SE FEDERAL HWY                           171 GLEN AVENUE
DEERFIELD BEACH FL 33442                APT # 400                                     CRYSTAL LAKE IL 60014
                                        STUART FL 34997



CAROLYN STILLABOWER                     CAROLYN SUNDBERG                              CAROLYN VAN BENTHUYSEN
5708 20TH AVENUE NW                     13 JUNIPER DRIVE                              17 TERRACE VIEW ROAD
SEATTLE WA 98107                        QUEENSBURY NY 12804                           FARMINGDALE NY 11735




CAROLYN VAZQUEZ                         CAROLYN WILSON                                CARON BROOKENS
418 WEST THIRD STREET                   1866 LINDAMOOR DRIVE                          2020 BUSINESS CTR DR.
SAN DIMAS CA 91773                      ANNAPOLIS MD 21401                            #14109
                                                                                      PEARLAND TX 77584



CARON STEWART                           CARON, JUSTINE                                CARON, TODD
4346 W. MAYPOLE                         3217 PIGEON COVE ST                           3217 PIGEON COVE ST
CHICAGO IL 60624                        DELTONA FL 32738                              STE 2208
                                                                                      DELTONA FL 32738



CARON, TODD                             CAROUSEL INDUSTRIES OF NORTH AMERICA          CARPENTER, ADELINA
3217 PIGEON COVE ST                     PO BOX 849084                                 244 CORONADO AVE        APT 6
DELTONA FL 32738                        BOSTON MA 02284-9084                          LONG BEACH CA 90803




CARPENTER, ADELINA                      CARPENTER, BETH A                             CARPENTER, DIAN
C/O CORRIE WILLIAMS                     1112 WINEBERRY CT                             P.O. BOX 810
244 CORONADO AVE NO. NO.6               OCOEE FL 34761                                INVERNESS CA 94937
LONG BEACH CA 90803



CARPENTER, GARY                         CARPENTER, HAROLD                             CARPENTER, PATRICIA
39 SEVENTH ST                           5626 WERLEYS CR RD                            39 7TH ST
NEWINGTON CT 06111                      NEW TRIPOLI PA 18066                          NEWINGTON CT 06111




                                               Page 326 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 327 of 800
CARPENTER, PATRICIA                    CARPER-TICHY, LEILANI LEA                     CARPET SERVICES INC
39 SEVENTH ST                          27 BEAVER OAK COURT                           1921 RECORD CROSSING
*65 A LOUIS ST                         NOTTINGHAM MD 21236                           DALLAS TX 75235
NEWINGTON CT 06111-3311



CARPET SERVICES INC                    CARPET SQUARE RECORDS                         CARPET SQUARE RECORDS
2221 CENTURY CIRCLE                    1621 BRUMMEL ST                               PO BOX 6544
IRVING TX 75062                        EVANSTON IL 60202                             EVANSTON IL 60204




CARR, CHELSEA B                        CARR, EARL C                                  CARR, JASON E
2004 MARDIC DR                         1280 NW 79TH AVE                              30639 PALO ALTO DR
FOREST HILL MD 21050                   PLANTATION FL 33322                           REDLANDS CA 92373




CARR, JASON E                          CARR, MELISSA S                               CARR, SANDRA
30639 PALO ALTO DR                     3031 SW 78 CT                                 7757 BOREAS DRIVE
REDLANDS CA 92374                      MIAMI FL 33155                                ORLANDO FL 32822




CARRA, GARY                            CARRANZA, HOMERD                              CARRASCO, ALTAGRACIA
64 COLTON RD                           700 SADDLE LANE                               3452 FOXCROFT RD NO.201
SOMERS CT 06071                        AURORA IL 60504                               MIRAMAR FL 33025




CARRASCO, EDEL                         CARRASCO, MANUEL                              CARRASCO, RICARDO
15205 NORMANDY LN                      2231 SW 50TH TERR                             3911 NW 66TH AVE
LA MIRADA CA 90638                     PLANTATION FL 33317-6208                      HOLLYWOOD FL 33024




CARRASQUILLA, RICKY                    CARRASQUILLO, EFRAIN                          CARRASQUILLO, JESUS
186 NEW STATE RD APT H9                60 IMPERIAL DR APT O                          236 CLACYN CT
MANCHESTER CT 06040                    MANCHESTER CT 06040                           STE 0200
                                                                                     WINTER GARDEN FL 34787



CARRASQUILLO, JESUS                    CARRASQUILLO, WANDA IVELISSE                  CARRE, HAENDEL
271 REGAL DOWNS CIR                    38 B PROSPECT AVE                             13748 SW 155TH TERRACE
SUITE 0200                             HARTFORD CT 06106                             MIAMI FL 33177
WINTER GARDEN FL 34787



CARRE, MAX                             CARREIRO, ELADIO                              CARRENO, LOUIS
5833 W OAKLAND PARK BLVD               106 MCKEE STREET                              4404 NW 92ND WAY
LAUDERHILL FL 33313                    EAST HARTFORD CT 06108-4017                   SUNRISE BLVD FL 33351




CARRENO, RAIMUNDO                      CARRENO, RAMIRO R                             CARRERO, MARGARITA
9861 RIVERSIDE DR                      6809 NW 78 CT                                 18 VINCENT CT
CORAL SPRINGS FL 33071                 TAMARAC FL 33321                              EAST HARTFORD CT 06108




                                              Page 327 of 2387
                           Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 328 of 800
CARRIANNE OUELLETTE                     CARRIBBEAN AMERICAS SOCCER                    CARRIE BROWN
73 NORTHVIEW DRIVE                      2331 N STATE ROAD 7 SUITE 102                 14338 FLOMAR DR
SOUTH WINDSOR CT 06074                  LAUDERHILL FL 33313                           WHITTIER CA 90603




CARRIE DAMON                            CARRIE DAVID                                  CARRIE DAVIS
1339 N. DAMEN                           145 JACKSON AVENUE                            8114 SOUTH JEFFREY BOULEVARD
APT 2S                                  STRATFORD CT 06615                            CHICAGO IL 60617
CHICAGO IL 60622



CARRIE FLORA                            CARRIE FLOYD                                  CARRIE FUGIEL
415 S. COLLINGTON AVENUE                2270 BLOOMFIELD LANE                          4016 N. SOUTHPORT AVE
BALTIMORE MD 21231                      CORONA CA 92882                               APT # 1
                                                                                      CHICAGO IL 60613



CARRIE JAVA                             CARRIE KING                                   CARRIE LYLE
48 CAROLINE STREET                      508 BARTON AVE                                1249 DELLWOOD AVE.
QUEENSBURY NY 12804                     EVANSTON IL 60202                             BALTIMORE MD 21211




CARRIE MASON-DRAFFEN                    CARRIE MELENDEZ                               CARRIE NELSON
147 LENA AVE                            20954 JUDAH LN                                27 TURNER TERRACE
FREEPORT NY 11520                       NEWHALL CA 91321                              HAMPTON VA 23666




CARRIE THOMPSON                         CARRIE TOMALIA                                CARRIE WALTER
974 JAMAJO BLVD                         4202 CINNAMON FERN CT.                        P.O BOX 604
ORLANDO FL 32803                        ST. CLOUD FL 34772                            FALLSTON MD 21047




CARRIER CORPORATION                     CARRIER CORPORATION                           CARRIER CORPORATION
17900 E. AJAX CIRCLE                    14 INDUSTRIAL PARK                            215 S ABERDEEN STREET
CITY OF INDUSTRY CA 91748-1133          MIDDLETOWN CT 06457                           CHICAGO IL 60607




CARRIER CORPORATION                     CARRIER CORPORATION                           CARRIER CORPORATION
655 W. GRAND AVE.                       PO BOX 93844                                  PO BOX 905303
ELMHURST IL 60126                       CHICAGO IL 60673-3844                         CHARLOTTE NC 28290-5303




CARRIER CORPORATION                     CARRIER CORPORATION                           CARRIER CORPORATION
P O BOX 33133                           130 WEST 30TH STREET                          516 WEST 34TH ST
NEWARK NJ 07188-0193                    NEW YORK NY 10001                             NEW YORK NY 10001




CARRIER CORPORATION                     CARRIER, LINDA SUE                            CARRIER, LISA
341 SOUTHPORT CIRCLE                    1338 HULL LANE                                1000 ROCKSPRING RD
VIRGINIA BEACH VA 23452                 ALTADENA CA 91001-2621                        BEL AIR MD 21014




                                               Page 328 of 2387
                         Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 329 of 800
CARRIGAN, TERRY                       CARRILLO, HENRY J                             CARRILLO, MARCO ANTONIO
106 CORNELL                           19 LEEDS ST                                   RIO LERMA NO.1168 COL POPULAR
NORMAL IL 61761                       STAMFORD CT 06902                             PANAMA, SIN




CARRINGTON, WAYNE                     CARRION, CARLOS                               CARRION, DIEGO
PO BOX 222                            148 SPRINGWOOD CIRCLE UNIT C                  12 ROBIN STREET
HOLTSVILLE NY 11742                   LONGWOOD FL 32750                             STAMFORD CT 06902




CARRION, DIEGO                        CARRION, GIOVANNY                             CARROLJANE GRAMMER
81 CULLODAN RD                        14214 MORNING FROST DR                        2329 SOUTH FRANKLIN STREET
STAMFORD CT 06902                     ORLANDO FL 32828                              DENVER CO 80210




CARROLL ASSOCIATION OF RECREATION     CARROLL COUNTY TIMES                          CARROLL COUNTY TIMES
COUNCILS                              201 RAILROAD AV                               P.O. BOX 700
225 N CENTER ST                       WESTMINSTER MD 21157                          WESTMINSTER MD 21158
WESTMINSTER NY 21157



CARROLL COUNTY TIMES                  CARROLL COUNTY TIMES                          CARROLL FREEZE
PO BOX 346                            PO BOX 88                                     148 THE CRESCENT
WESTMINSTER MD 21158                  WESTMINSTER MD 21158-0988                     BABYLON NY 11702




CARROLL HEBBEL                        CARROLL INGLIS                                CARROLL ROBINSON
45 THE FOUNTAINS                      1123 POINTE NEWPORT TERR                      308 AQUAHART ROAD
VERDE BEACH FL 32082                  APT. #103                                     GLEN BURNIE MD 21061
                                      CASSELBERRY FL 32707



CARROLL SEATING COMPANY               CARROLL VOICEOVER CASTING                     CARROLL, AMY
2105 LUNT AVENUE                      6767 FOREST LANE DR NO.201B                   PETTY CASH CUSTODIAN
ELK GROVE VILLAGE IL 60007            HOLLYWOOD CA 90068                            228 FLEETWOOD ST
                                                                                    WAKEFIELD VA 23888



CARROLL, AMY                          CARROLL, IRENE                                CARROLL, JOHN S.
PO BOX 894                            2830 COLLETON DRIVE                           223 QUEENSWAY DRIVE
WAKEFIELD VA 23888                    MARIETTA GA 30066                             LEXINGTON KY 40502




CARROLL, JONATHAN                     CARROLL, MARISA THERESE                       CARROLL, PATRICIA M
215 W 145TH APT 18                    10407 S OAKLEY AVE                            636 TANGLEWOOD DRIVE
NEW YORK NY 10039                     CHICAGO IL 60643                              ELDERSBURG MD 21784




CARROLL, PETER J                      CARROLL, VALIDA                               CARRUTHERS, JACOB H
1511 W THORNDALE AVE NO.1E            244 DIMMICK AVE                               4813 S PRAIRIE
CHICAGO IL 60660                      VENICE CA 90291                               CHICAGO IL 60615




                                             Page 329 of 2387
                           Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 330 of 800
CARRUTHERS-PERKINS, JACQUELINE          CARSEY WERNER                                 CARSEY WERNER
5308 S BISHOP                           16027 VENTURA BLVD                            4024 RADFORD AVE
CHICAGO IL 60609                        SUITE 600                                     BUILDING 3
                                        ENCINO CA 91436                               STUDIO CITY CA 91604



CARSON BEVIL                            CARSON DOMINGUES PROPERTIES, LP               CARSON DOMINGUEZ PROPERTIES, LP
4511 LARADO PLACE                       100 BAYVIEW CIRCLE SUITE 3500                 RE: CARSON 18105 BISHOP AVE
ORLANDO FL 32812                        NEWPORT BEACH CA 92660                        100 BAYVIEW CIRCLE
                                                                                      SUITE 3500
                                                                                      NEWPORT BEACH CA 92660


CARSON DOMINQUEZ PROPERTIES, LP         CARSON JR, RICHARD                            CARSON LANDSCAPE INDUSTRIES
RE: CARSON 18105 BISHOP AVE             12436 RUE FOUNTAINBLEAU                       9530 ELDER CREEK RD
100 BAYVIEW CIRCLE                      SAN DIEGO CA 92131                            SACRAMENTO CA 95829-9306
SUITE 3500
NEWPORT BEACH CA 92660


CARSON PORTER                           CARSON, JERMAINE                              CARSON, KATHARINE ANN
507 OTTERBEIN STREET                    1995 FREEPORT DR                              8610 DOLLYHYDE RD
BALTIMORE MD 21230                      RIVIERA BEACH FL 33404                        UNION BRIDGE MD 21791




CARTAGENA, JHON A                       CARTER ALEVRIDES                              CARTER LEDYARD & MILBURN LLP
8519 BOCA RIO DR                        84 RIVERSIDE ROAD                             2 WALL STREET
BOCA RATON FL 33433                     SIMSBURY CT 06070                             NEW YORK NY 10005-2072




CARTER NOTTKE                           CARTER, ANN                                   CARTER, ASHANDA
1525 S MICHIGAN AVE #109                660 NE 57 COURT                               11510 NW 29TH PL
CHICAGO IL 60605                        FORT LAUDERDALE FL 33334                      SUNRISE FL 33323




CARTER, BRIANNA                         CARTER, CATHY                                 CARTER, CHIP
319 LIMESTONE VALLEY DR APT F           227 N LATHAM STREET                           18001 RICHMOND PLACE DRIVE
COCKEYSVILLE MD 21030                   ALEXANDRIA VA 22304                           NO.1132
                                                                                      TAMPA FL 33647



CARTER, CORY                            CARTER, CRYSTAL                               CARTER, DANIELLE R
12731 KATHERINE CIRCLE                  PO BOX 292                                    3785 HYCAINTH DR
CLERMONT FL 34711                       GREEN MOUNTAIN FALLS CO 80819                 MEMPHIS TN 38115




CARTER, DORETHA                         CARTER, ERICKA                                CARTER, JOHN
3398 SCENIC TERRACE                     2910 W 175TH                                  13521 CR 1141
MEMPHIS TN 38128                        HAZEL CREST IL 60429                          TYLER TX 75703




CARTER, KAREEM                          CARTER, KENNETH H                             CARTER, LORI
1306 DUNAD AVE                          C/O TMS/TVDATA                                28611 SHIRLEY SHORES RD
MIAMI FL 33054                          333 GLEN STREET                               TAVARES FL 32778
                                        GLENS FALLS NY 12801




                                               Page 330 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 331 of 800
CARTER, MELANIE                        CARTER, MELINDA A                             CARTER, MELINDA A
830 GREENWICH LANE                     13928 TRACY AVE                               13928 TRACY AVE
NEWPORT NEWS VA 23601                  RIVERDALE IL 60327                            RIVERDALE IL 60827




CARTER, MICHAEL                        CARTER, NELSON                                CARTER, PHILLIP E
1555 SHERMAN AVE NO.129                11 DIANA DR                                   2616 5TH ST STE 207
EVANSTON IL 60201                      BLOOMFIELD CT 06002                           SANTA MONICA CA 90405




CARTER, QUNEA                          CARTER, ROBERT                                CARTER, ROBERT
4701 SW 24TH STREET                    50 ERBACH CRESCENT                            6108 TYLER DR
HOLLYWOOD FL 33023                     BADEN ON N3A 2L3                              WOODRIDGE IL 60517




CARTER, SYLVIA                         CARTER, TERRENCE                              CARTER, TINA V
46 CRESCENT BOW                        7966 HILLMONT DRIVE                           30 LANGHORNE RD
RIDGE NY 11961                         OAKLAND CA 94605                              NEWPORT NEWS VA 23606




CARTER, TOMEKA L                       CARTER, TONYA                                 CARTER, TONYA
110 BRIDGEPORT COVE DR    APTNO.108    4002 ANDIUS CT W                              4002 ANDIUS CT W
HAMPTON VA 23669                       COLUMBUS OH 43227                             WHITEHALL OH 43227




CARTER, WILLIAM                        CARTER, WILLIAM R                             CARTER, YASHICA
3 REYNOLDS DR                          160 ROBINHOOD LANE                            1411 STONEGATE PL
HAMPTON VA 23664                       NEWPORT NEWS VA 23602                         STONE MOUNTAIN GA 30083




CARTER, YUSUF A                        CARTER-WILBURN, SHANTEL                       CARTHEN, EARL F
1498 RENSEN AVENUE                     290 W WOLCOTT AVE                             1401 E 95TH ST
BROOKLYN NY 11236                      WINDSOR CT 06095                              CHICAGO IL 60629




CARTHEN, EARL F                        CARTHEN, EARL F                               CARTMAN, JENNIFER C
CARD LEVY - JEFFREY LEVY UNIT          ED DISTRIBUTION                               3024 SABLE RUN DR
CASE ID NO. XXX-XX-XXXX                1401 E 95TH ST                                COLLEGE PARK GA 30349
PO BOX 19035                           CHICAGO IL 60628
SPRINGFIELD IL 62794-9035


CARTOONISTS & WRITERS SYNDICATE        CARUSO DELEON ALVAREZ                         CARUSO ELECTRIC COMPANY
67 RIVERSIDE DR NO.1D                  13590 AMANDA STREET                           815 FARMINGTON AVE
NEW YORK NY 10024                      FONTANA CA 92336                              NEW BRITAIN CT 06053




CARUSO, JENNIFER                       CARUSO, JOY SAMANTHA                          CARUSO, NICHOLAS
58 PINE ST                             76 B ANGEL DR                                 98 GARDEN ST   APT 5K
LAKE RONKONKOMA NY 11779               WATERBURY CT 06708                            HARTFORD CT 06105




                                              Page 331 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 332 of 800
CARUSO,BORT IYNA                       CARUTHERS, YVETTE                             CARVAJAL, BARBARA A
140 SOUTH FOREST AVE                   4265 RIVER RIDGE RD                           919 S DACOTAH STREET
ROCKVILLE CENTRE NY 11570              ELLENWOOD GA 30294                            LOS ANGELES CA 90023




CARVAJAL, CAROLINA                     CARVAJAL, JAIME                               CARVALHO, BRUNO
12940 BURBANK BLVD NO.9                7210 NW 179TH ST NO. 105                      9875 PINEAPPLE TREE DR NO.202
SHERMAN OAKS CA 91401                  MIAMI LAKES FL 33015                          BOYNTON BEACH FL 33436




CARVALHO, BRUNO FREIRE                 CARVALHO, DENILSON                            CARVALHO, MARIA REGINA
1833 MEADOWS CIRCLE WEST               9875 PINEAPPLE TREE DR NO.202                 9875 PINEAPPLE TREE DR NO.202
BOYNTON BEACH FL 33436                 BOYNTON BEACH FL 33426                        BOYNTON BEACH FL 33426




CARVALHO, MARIA REGINA                 CARVALHO, WALSH CREEK                         CARVER, JOEL J
9875 PINEAPPLE TREE DR NO.202          2633 PICKENS ST                               123 NW 40TH ST APT 6
BOYNTON BEACH FL 33436                 MONTROSE CA 91020                             OAKLAND PARK FL 33309




CARVER, MARK W                         CARVER, SHERRY                                CARVER, STEPHEN D
15177 N BARRENS RD N                   43 N 4TH ST                                   49 UPLANDS ROAD
STEWARTSTOWN PA 17363                  COPLAY PA 18037                               WEST HARTFORD CT 06107




CARWELL, LUTHER                        CARY ALAN SCHNEIDER                           CARY ANDERSON
8623 REXTOWN R                         8473 KIRKWOOD DRIVE                           4214 IRVING PLACE
SLATINGTON PA 18080                    LOS ANGELES CA 90046-1927                     CULVER CITY CA 90232-2814




CARY CHASIN                            CARY CREATIVE DESIGN                          CARY ESTES INC
122 WHEATLEY ROAD                      9 SCOTCH ELM COURT                            3805 6TH AVE S
OLD WESTBURY NY 11568                  CATONSVILLE MD 21228                          BIRMINGHAM AL 35222




CARY GILL                              CARY HYLAND                                   CARY LAMONTE BETHEA
H C 73 BOX 24                          640 W. 170TH ST.                              49 GLENMALURE STREET
WYMER WV 26254                         GARDENA CA 90247                              AMITYVILLE NY 11701




CARY TOMLINSON                         CARYL HALL                                    CARYL SCHNEIDER
P.O. BOX 1238                          170 HORIZONS EAST                             6005 N. GOLDEN BEAUTY LANE
WEST POINT VA 23181                    APT 211                                       TAMARAC FL 33321
                                       BOYNTON BEACH FL 33435



CARYN BORRESEN                         CARYN EVE MURRAY                              CARZ PRINTING
525 N. ADA                             2 WALLINGFORD DR                              4020 WRIGHT AVE
#37                                    MELVILLE NY 11747                             ST ANN MO 63074-1934
CHICAGO IL 60622




                                              Page 332 of 2387
                         Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 333 of 800
CASADEVASLL, JUAN                     CASAGRANDE, JUNE                              CASALE, WILLIAM D
19630 NW 79TH PL                      1601 MONTE VISTA ST                           5845 CELEBRATION WAY
HIALEAH FL 33015                      PASADENA CA 91106                             LEESBURG FL 34748




CASANDRA DAKES                        CASANOVA NURSE                                CASANOVA, SCARLETT
366 NORTH CENTRAL AVENUE              3010 GREAT LAKES AVE                          408 NORTH AVE 65
RAMSEY NJ 07446                       SUGAR LAND TX 77479                           LOS ANGELES CA 90042




CASANOVA, TAMMY M                     CASANOVA, VINCENT                             CASAS, ALEJANDRO
3311 TOWN BROOKE                      503 SHAWN LANE                                16051 BLATT BLVD NO.210
MIDDLETOWN CT 06457                   PROSPECT HEIGHTS IL 60070                     WESTON FL 33326




CASAS, ALICIA ANN                     CASAS, MONA LISA                              CASAZOLA, MARTHA
2 SEABREEZE DRIVE                     1616 ADKINS                                   60 WARD PL NO.3
ORMOND BEACH FL 32176                 HARLINGEN TX 78550                            HARTFORD CT 06105




CASCADIAN BUILDING MAINTENANCE LTD    CASCIO COMMUNICATIONS INC                     CASCIO, ARIANA B
7415 129TH AVE SE                     ONE IBM PLAZA                                 5584 NW 41ST TERRACE
NEWCASTLE WA 98059                    CHICAGO IL 60611                              COCUNUT CREEK FL 33073




CASE, KERIDA N                        CASE, LINDA                                   CASE, PAULINE
7 APRIL WAY                           103 PARK AVENUE                               7 APRIL WAY
BLOOMFIELD CT 06002                   WETHERSFIELD CT 06109                         BLOOMFIELD CT 06002




CASE, STACY                           CASE,TROY                                     CASEM, MERRI LYNN
5623 NW 118TH DR                      650 TAMA LACK AVE                             8754 MESA OAK DR
CORAL SPRINGS FL 33076                APT 1707                                      RIVERSIDE CA 92508
                                      BNEA CA 92821



CASERTA CAR CO                        CASEY BECKER                                  CASEY DOLAN
DBA VESPA ST LOUIS                    1360 N. SANDBURG TER                          4310 ENSENADA DR
5127 DELMAR BLVD                      #512                                          WOODLAND HILLS CA 91364
ST LOUIS MO 63108                     CHICAGO IL 60610



CASEY JONES                           CASEY KASEM INC                               CASEY MUGAR
331 SWEET BRIAR CT                    FSO CASEY KASEM                               5364 MESMER AVENUE
JOPPA MD 21085                        130 N MAPLETON DR                             CULVER CITY CA 90230
                                      LOS ANGELES CA 90077



CASEY PARKER                          CASEY WILSON                                  CASEY WITWICKI
1325 18TH STREET NW                   10107 S HOXIE                                 217 EAST 10TH STREET
709                                   CHICAGO IL 60617                              APT 11
WASHINGTON DC 20036                                                                 NEW YORK NY 10003




                                             Page 333 of 2387
                         Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 334 of 800
CASEY, KEVIN P                        CASEY, LEE                                    CASEY, SHEILA
6559 19TH AVE NW                      3700 KEEFLER COURT                            4917 WEST 105TH PLACE
SEATTLE WA 98117                      FAIRFAX VA 22033                              OAK LAWN IL 60453




CASEY, THOMAS F                       CASH CALL                                     CASH EXPRESS OF VIRGINIA INC
128 CHERRY AVE                        ATTN ACCOUNTS RECEIVABLE                      SUSSEX GENERAL DISTRICT COURT
WEST SAYVILLE NY 11796                1600 S DOUGLASS ROAD                          15908 COURTHOUSE ROAD
                                      ANAHEIM CA 92806                              SUSSEX VA 23884



CASH PLUS                             CASH PLUS                                     CASH PLUS
222 SOUTH 9TH STREET                  222 SOUTH NINTH STREET                        222 SOUTH NORTH STREET
SUITE 220                             SUITE 2200                                    SUITE 2200
MINNEAPOLIS MN 55402                  MINNEAPOLIS MN 55402                          MINNEAPOLIS MN 55402



CASH STOP                             CASH, DAVID                                   CASH, LARRY
1934 HARBOR BLVD                      2028 DICKENS DR                               6612 FESTIVAL LN
COSTA MESA CA 92627                   MODESTO CA 95350                              ORLANDO FL 32818




CASHER WHARTON                        CASHIER DEPARTMENT OF COMMUNITY               CASHIERS FUND
8645 S KENWOOD                        AFFAIR                                        CASH OPERATIONS DEPT
CHICAGO IL 60619                      2555 SHUMARD OAK BOULEVARD                    EXT 73617
                                      TALLAHASSEE FL 32399-2149                     202 W FIRST ST
                                                                                    LOS ANGELES CA 90012


CASHIERS FUND                         CASHMAN, CHRIS A                              CASHMIR INC
LOS ANGELES TIMES                     4152 248TH CT SE                              67 BUTTERFIELD TERRACE
CASH OPERATIONS DEPT 4TH FLR          ISSAQUAH WA 98029                             AMHERST MA 01002
202 W FIRST ST
LOS ANGELES CA 90012


CASILLAS, TARA                        CASIMANO, DEANA                               CASIMIR GAZDA
38 GARFIELD DR                        13773 GARDEN COVE CT                          1601 N. 76TH CT
NEWPORT NEWS VA 23608                 DAVIE FL 33325                                ELMWOOD PARK IL 60707




CASIO,JACK                            CASKER, JOHN MICHAEL                          CASNOCHA, BENEDICT
61 SOUTH FRIEDNER LANE                97 WYCKOFF AVE NO.1                           137 ALMA STREET
BOHEMIA NY 11716                      BROOKLYN NY 11237                             SAN FRANCISCO CA 94117




CASPER, JOHN W.                       CASS, JAMES                                   CASSAGNOL, ALLIANCE
DBA CASPERNEWS SERVICE                6808 NW 57 CT                                 519 SHADY PINE WAY NO.A-1
2646 CORYDON AVE                      TAMARAC FL 33321                              WEST PALM BEACH FL 33415
NORCO CA 92860



CASSANDRA ARMSTRONG                   CASSANDRA AUPONT                              CASSANDRA BLACKMON
108 KNOLLCREST DRIVE                  8820 S. RACINE                                16925 SOUTH VERMONT
LONGWOOD FL 32779                     CHICAGO IL 60620                              APT C
                                                                                    GARDENA CA 90247




                                             Page 334 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 335 of 800
CASSANDRA FRIEDMAN                     CASSANDRA SMITH                               CASSEL, BRIAN J
112 EAST BENNETT STREET                844 WEST PRATT STREET                         243 E CHURCH ST
COMPTON CA 90220                       BALTIMORE MD 21201                            BETHLEHEM PA 18018




CASSIDAY, KATHRYN M                    CASSIE LITTLE                                 CASSIE PEAK
100 BLOSSOM RD                         55 CONCORD STREET                             130 VILLA DI ESTA TERRACE
HAMPTON NJ 08827                       EAST HARTFORD CT 06108                        LAKE MARY FL 32746




CASSIE WALKER                          CASSIN, ROBERT                                CASSON, CLAYTON
1430 W. HURON ST.                      99 QUARRY LN                                  446 EDGEWOOD ST
CHICAGO IL 60622                       MERIDEN CT 06451                              HARTFORD CT 06112




CASSONDRA RUFFOLO                      CASSULO, EMILY                                CAST-AN-ARROW
345 N. LASALLE                         123 JONES CREEK DR                            744 WILLOW STREET
APT. #2003                             JUPITER FL 33458                              SCRANTON PA 18505
CHICAGO IL 60654



CAST-AN-ARROW                          CASTANEDA, RODOLFO                            CASTELA, ANNA C
ATTN: JOE CASTAGNARO                   14209 BELGATE ST                              1010 WHITE KNOLL DRIVE
744 WILLOW ST                          BALDWIN PARK CA 91706                         LOS ANGELES CA 90012
SCRANTON PA 18505



CASTELLANO, LAURA                      CASTELLANOS, JHON                             CASTELLUZZO, RENEE E
1830 LINCOLN PARK WEST APT 1           3601 VAN BUREN STREET APT 34                  409 CUMBERLAND
CHICAGO IL 60614                       HOLLYWOOD FL 33021                            PARK RIDGE IL 60068




CASTELVECCHI, MIKE                     CASTER CORPORATION                            CASTER CORPORATION
905 LA LOMA ROAD                       3400 N KEDZIE                                 PO BOX 18449
LOS ANGELES CA 90041                   CHICAGO IL 60618                              CHICAGO IL 60618-0449




CASTIELLO, NORMAN                      CASTILLE, CRAIG                               CASTILLO, CARLOS
5554 SPRING RIDGE DRIVE W              5811 CEDAR PINE DR                            290 174TH STREET NO.604
MACUNGIE PA 18062                      ORLANDO FL 32819                              SUNNY ISLES BEACH FL 33160




CASTILLO, ELIO                         CASTILLO, ELIZABETH                           CASTILLO, FEDWIN
5000 N SW 28 TERR                      2515 SW 62ND AVE.                             11242 WORLEY AVE
DANIA FL 33312                         MIRAMAR FL 33023                              ORLANDO FL 32837




CASTILLO, FEDWIN                       CASTILLO, GERARDO                             CASTILLO, GLORIA ANGELINA
9823 BARLEY CLUB DR APT 5              136-20 WHITELAW ST                            345 S NEW HAMPSHIRE AVE APT 105
ORLANDO FL 32837-7817                  OZONE PARK NY 11417                           LOS ANGELES CA 90020




                                              Page 335 of 2387
                           Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 336 of 800
CASTILLO, JIPSY                         CASTILLO, JOEL                                CASTILLO, LEAH
711 JEFFERSON AVE APT 6                 110 MAITLAND ST   APT 301                     1944 WALCOTT WAY
MIAMI BEACH FL 33139                    TORONTO ON M4Y 1E1                            LOS ANGELES CA 90039




CASTILLO, LEOPOLDO                      CASTILLO, LEOPOLDO                            CASTILLO, LEOPOLDO
2064 BEVERLY DR                         2961 N ROCKMONT AVE                           521 W DUARTE RD UNIT G
PASADENA CA 91104                       CLAREMONT CA 91711                            MONROVIA CA 91016




CASTILLO, LUIS                          CASTILLO, RAFAEL                              CASTILLO, RAYMUNDO
35 GILLETTE ST NO.1ST FLOOR             9480 POINCIANA PL     APT 404                 C/COLUMBIA NO.4
WEST HARTFORD CT 06119                  DAVIE FL 33324                                BARRIO MEXICO
                                                                                      SAN PEDRO



CASTILLO, RUBEN                         CASTILLO, RYNA                                CASTING, PAUL M
35 GILLETTE ST                          597 SW RACQUET CLUB RD APT 72                 1540 S. CONGRESS AVE APT. 1
WEST HARTFORD CT 06119                  WESTON FL 33326                               DELRAY BEACH FL 33445




CASTLE CONNOLLY MEDICAL LTD             CASTLE HILL PRODUCTIONS                       CASTLE PRINTECH INC
42 W 24TH STREET 2ND FLOOR              116 NORTH ROBERTSON BLVD.                     121 INDUSTRIAL DR
NEW YORK NY 10010                       SUITE 701                                     DEKALB IL 60115
                                        LOS ANGELES CA 90048



CASTLE SPORTS                           CASTLE, FREDDRICK WILLIAM                     CASTLE, LAURA
JOURNALISM INC                          411 EAST LAKE AVE                             230 HERRICK RD
8926 HARMS ROAD                         GLENVIEW IL 60025                             RIVERSIDE IL 60546
MORTON GROVE IL 60053



CASTLE, TAYLOR HYDE                     CASTLEROCK ENVRONMENTAL INC                   CASTLEWOOD SANITATION DISTRICT
TAYLOR CASTLE PHOTOGRAPHY               12041 MORA DRIVE                              PO BOX 173861
2901 N LINCOLN AVE                      SANTA FE SPRINGS CA 90670                     DENVER CO 80217-3861
CHICAGO IL 60657



CASTLEWOOD WATER AND SANITATION         CASTOR, AMOS                                  CASTOR, CLEMENT
ACCT NO. C1295                          433 S.W. 1 COURT #107                         598 CORAL WAY
P.O. BOX 173861                         POMPANO BEACH FL 33060                        DELRAY BEACH FL 33445
DENVER CO 80217-3861



CASTOR, DECILLIA J                      CASTRILLON, JAIRO A                           CASTRO VICTORIA, BLANCA P
505 EASTVIEW TERRACE APT 11             2340 NANSEN AVE                               230 174TH STREET APT 1611
ABINGDON MD 21009                       ORLANDO FL 32817                              SUNNY ISLES BEACH FL 33160




CASTRO, ALVARO                          CASTRO, ANGELA                                CASTRO, ANGELICA
1316 SE 3RD AVE APT 1                   50 SIOUX LN                                   7162 HAWTHORNE AVE APT 5
DEERFIELD BEACH FL 33441                LANTANA FL 33462                              LOS ANGELES CA 90046




                                               Page 336 of 2387
                           Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 337 of 800
CASTRO, ARNALDO                         CASTRO, ARNALDO                               CASTRO, EVELINDA
24 STIRLING AV                          86-68 MUSKET ST                               2621 SW 32ND CT
FREEPORT NY 11520                       BELLEROSE NY 11427                            MIAMI FL 33133




CASTRO, GRACE                           CASTRO, JOSE Z                                CASTRO, JUDITH
38 FOREST CIRCLE                        1215 245TH ST                                 10738 LAKE JASMINE DR.
COOPER CITY FL 33026                    HARBOR CITY CA 90710                          BOCA RATON FL 33498




CASTRO, MAX J                           CASTRO, OSCAR                                 CASTRO, RUBEN J
1762 SW 16ST                            1511 S HARVEY                                 446 ORIENTA POINT ST
MIAMI FL 33145                          BERWYN IL 60402                               ALTAMONTE SPRINGS FL 32701




CASTRO, VANESSA                         CASTRO-SILVA, SAVA                            CASTROGIOVANNI, KARI
60 CURTISS ST NO.1E                     9260 SW 61ST WAY NO. A                        604 SIEMS CIR
HARTFORD CT 06106                       BOCA RATON FL 33428                           ROSELLE IL 60172




CASUGA, MARIO H                         CAT'ANIA HOWZE                                CATALA, ERY
PO BOX 212367                           29360 WRANGIER DR                             2841 CORRIGAN DR
WEST PALM BEACH FL 33421                MURRIETA CA 92563                             STE 1029
                                                                                      DELTONA FL 32738



CATALAN, ANA                            CATALINA CHANNEL EXPRESS INC                  CATALYST PAPER USA INC
905 S MICHIGAN AVE                      BERTH 95                                      10 SOUTH DEARBORN
ADDISON IL 60101                        SAN PEDRO CA 90731                            CHICAGO IL 60603




CATALYST PAPER USA INC                  CATALYST PAPER USA INC                        CATALYST PAPER USA INC
5878 COLLECTION CENTER DR               PO BOX 8500-52978                             1011 WESTERN AVE STE 700
CHICAGO IL 60693                        PHILADELPHIA PA 19178-2978                    SEATTLE WA 98104




CATALYST PAPER USA INC                  CATANIA, ANGELINE                             CATANIA, BRUCE
2101 4TH AVE STE 1950                   1823 BALTIMORE DR                             22388 MOREA WAY
SEATTLE WA 98121                        ELK GROVE VILLAGE IL 60007                    WOODLAND HILLS CA 91367




CATANIA, JOSEPH                         CATANIA, SARA                                 CATANOSO, JUSTIN
7311 BROOKMONT DR      APT 202          2674 LOCKSLEY PLACE                           1008 FAIRMONT STREET
RALEIGH NC 27613                        LOS ANGELES CA 90039                          GREENSBORO NC 27401




CATCHING FLUIDPOWER COMPANY             CATELLUS DEVELOPMENT CORPORATION              CATELLUS DEVELOPMENT CORPORATION
3643 EAGLE WAY                          RE: ANAHEIM 4931 LANDON DR                    RE: FULLERTON 551 BURNING TRE
CHICAGO IL 60678-1036                   ATTN: ASSET MANAGEMENT                        ATTN: ASSET MANAGEMENT
                                        1065 N. PACIFICENTER DRIVE; SUITE 200         1065 N. PACIFICENTER DRIVE, SUITE 200
                                        ANAHEIM CA 92806                              ANAHEIM CA 92806




                                               Page 337 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 338 of 800
CATELLUS DEVELOPMENT CORPORATION         CATELLUS DEVELOPMENT CORPORATION            CATELLUS DEVELOPMENT CORPORATION
RE: ONTARIO 5555 E INLAND EMP            RE: ONTARIO 5555 E INLAND EMP               RE: FULLERTON 551 BURNING TRE
ATTN: ASSET MANAGEMENT                   FILE #53694                                 FILE 53694
1065 N. PACIFICCENTER DRIVE, SUITE 200   LOS ANGELES CA 90074-3694                   LOS ANGELES CA 90074-3694
ANAHEIM CA 92806


CATELLUS DEVELOPMENT CORPORATION         CATELLUS DEVELOPMENT CORPORATION            CATELLUS DEVELOPMENT CORPORATION
12501 E IMPERIAL HWY NO.550              FILE NO. 1918                               REF NO 20091026
NORWALK CA 90650                         PO BOX 60000                                FILENO.1918 PO BOX 61000
                                         SAN FRANCISCO CA 94161-1918                 SAN FRANCISCO CA 90053



CATELLUS DEVELOPMENT CORPORATION         CATELLUS DEVELOPMENT CORPORATION            CATELLUS OPERATING LTD PTR
REF NO 20091026                          REF NO 21091093                             RE: ONTARIO 5555 E INLAND EMP
FILENO.1918 PO BOX 61000                 FILENO.1918 PO BOX 61000                    FILE NO.1918 PO BOX 60000
SAN FRANCISCO CA 94161-1918              SAN FRANCISCO CA 94161-1918                 REF. NO. 21091093
                                                                                     SAN FRANCISCO CA 94161-1918


CATELLUS OPERATING LTD PTR               CATER, DAVID P                              CATERING BY DAVID
RE: ANAHEIM 4931 LANDON DR               2521 EVELYN ST                              1400 COUNTRY CLUB DR
PO BOX 60000 FILE NO.1918                MONTROSE CA 91020                           BOCA RATON FL 33428
REF. NO. 20091026
SAN FRANCISCO CA 94161-1918


CATES, GARY                              CATHARINE HAMM                              CATHEA SIMS
7798 PARSONSBURG ROAD                    1264 CRESCENT DR                            1633 E 74TH ST
PARSONSBURG MD 21849                     GLENDALE CA 91205                           APT. #3A
                                                                                     CHICAGO IL 60649



CATHER, JASON U                          CATHERINE BARBER                            CATHERINE BRECKENRIDGE
2740 PRENDEIGAST PL                      1348 N MASON                                214 DEEP CREEK ROAD
REYNOLDSBURG OH 43068                    CHICAGO IL 60651                            NEWPORT NEWS VA 23606




CATHERINE CHRISTENSON                    CATHERINE DAVIS                             CATHERINE DAVIS
430 PAGE ST.                             6 TALLY HO DRIVE                            526 BRIAN DEAN DRIVE
ORLANDO FL 32806                         FREDERICKSBURG VA 22405                     GLEN GARDNER NJ 08826




CATHERINE DEERING                        CATHERINE DELK                              CATHERINE DEPALO
1421 ROOSEVELT ST                        27 PARRY STREET                             11 FAWN ROAD
ORLANDO FL 32804                         HUDSON FALLS NY 12839                       GANSEVOORT NY 12831




CATHERINE DIRKY                          CATHERINE DIXON                             CATHERINE DON
326 N KENWOOD STREET #1                  10354 S. SPAULDING                          119 PICCADILLY DOWNS
GLENDALE CA 91206                        CHICAGO IL 60655                            LYNBROOK NY 11563




CATHERINE E CURRY                        CATHERINE ENDELEY                           CATHERINE F YOUNG
3009 ARNOLD DRIVE                        820 W BELLE PLAINE                          845 FIRST COLONIAL RD.
SHELBY NC 28152                          #2007                                       APT. 203
                                         CHICAGO IL 60613                            VIRGINIA BEACH VA 23451




                                              Page 338 of 2387
                           Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 339 of 800
CATHERINE FALARDEAU                     CATHERINE GIBNEY                              CATHERINE GLYNN
2985 HARVEST LANE                       872 FRANKLIN AVE                              P.O. BOX 2547
KISSIMMEE FL 34744                      BOHEMIA NY 11716                              COSTA MESA CA 92628




CATHERINE GRACE                         CATHERINE GRIMES                              CATHERINE HERTZ
2110 LONG LAKE SHORES                   1006 CARRIAGE HOUSE WAY                       394 FAIRWAY POINTE CIRCLE
WEST BLOOMFIELD MI 48323                WILLIAMSBURG VA 23188                         ORLANDO FL 32828




CATHERINE HESSEL                        CATHERINE HO                                  CATHERINE HOLT-GULLEY
8 MADISON AVENUE                        1660 N. WILTON PL                             54 WILLOW RD
EAST BRUNSWICK NJ 08816                 APT 304                                       MATTESON IL 60443
                                        LOS ANGELES CA 90028



CATHERINE KAMINSKI                      CATHERINE KANE                                CATHERINE KASEMEYER
2168 N. ASTER PLACE                     50 DOGWOOD DR.                                7 REACHER COURT
ROUND LAKE BEACH IL 60073               BARNEGAT NJ 08005                             BALTIMORE MD 21228




CATHERINE KOPPEL                        CATHERINE LAVERY                              CATHERINE LEE
2900 PRYTANIA ST.                       138 RULE STREET                               123 S. FIGUEROA ST #1109
NEW ORLEANS LA 70115                    FRANKLIN SQUARE NY 11010                      LOS ANGELES CA 90012-5490




CATHERINE LEROY                         CATHERINE LYONS                               CATHERINE MEREDITH
137 LOOMIS STREET                       2666 1/2 ORCHARD AVE                          1032 BROOKFIELD CIRCLE
MANCHESTER CT 06040                     LOS ANGELES CA 90007                          QUAKERTOWN PA 18951




CATHERINE MEYERS                        CATHERINE MONTAVANO                           CATHERINE MOUBRY
3719 RED BERRY WAY                      26 SPRING MEADOW DR                           823 CHRISTIANSON AVE
BALTIMORE MD 21236                      HOLBROOK NY 11741                             MADISON WI 53714




CATHERINE NICHOLS                       CATHERINE O'HARE                              CATHERINE PARISI
5114 W. CORNELIA AVE.                   113 SWARTHMORE DRIVE                          320 VISTA APARTMENTS DRIVE
CHICAGO IL 60641                        BALTIMORE MD 21204                            APT 10
                                                                                      LAKE LURE NC 28746



CATHERINE PERKINS                       CATHERINE RAYZAK                              CATHERINE ROBINSON
676 FERN STREET                         102 BURLINGTON AVE                            3015 N ASHLAND
WEST HARTFORD CT 06107                  DEER PARK NY 11729                            UNIT 3S
                                                                                      CHICAGO IL 60657



CATHERINE ROCKWELL                      CATHERINE ROSS                                CATHERINE SAILLANT
792 LENOX ROAD                          3740 N. LAKESHORE DR.                         1109 GOLDENWEST AVENUE
GLEN ELLYN IL 60137                     UNIT 1A                                       OJAI CA 93023
                                        CHICAGO IL 60613




                                               Page 339 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 340 of 800
CATHERINE SAUCEDA                      CATHERINE SCHWARTZKOPF                        CATHERINE SULLIVAN
4680 NOB HILL DRIVE                    97 BICKEL ROAD                                1641 THIRD AVENUE
LOS ANGELES CA 90065                   WASHINGTON NJ 07882                           APT. 17E
                                                                                     NEW YORK NY 10128



CATHERINE TOURLOUKIS                   CATHERINE VENEZIA                             CATHERINE WATSON
2167 EAST 34TH STREET                  36 CROSBY STREET                              425 W. WILLOW COURT
BROOKLYN NY 11234                      SAYVILLE NY 11782                             #224
                                                                                     FOX POINT WI 53217



CATHERINE WELZENBACK                   CATHI FRAZIER                                 CATHIA NIXON
2783B WAYFARING LANE                   2841 WOODMONT DR                              137 QUAKER MEETING HOUSE
LISLE IL 60532                         YORK PA 17404                                 ROAD
                                                                                     WILLIAMSBURG VA 23188



CATHLEEN DECKER                        CATHLEEN MAHON                                CATHOLIC CHARITIES
2950 LADOGA AVENUE                     19 BEACH AVE                                  126 N DES PLAINES ST
LONG BEACH CA 90815                    NORTHPORT NY 11768                            CHICAGO IL 60661




CATHOLIC CHARITIES                     CATHOLIC CHARITIES                            CATHOLIC CHARITIES
1475 E WOODFIELD RD                    721 N LASALLE STREET                          PO BOX 1138
SCHAUMBURG IL 60173                    CHICAGO IL 60610                              CHICAGO IL 60690-1138




CATHOLIC CHARITIES                     CATHOLIC CHARITIES                            CATHOLIC CHARITIES
49 FRANKLIN ST                         120 E BALTIMORE ST                            320 CATHEDRAL ST
BOSTON MA 02110                        BALTIMORE MD 21202                            BALTIMORE MD 21201




CATHOLIC CHARITIES                     CATHOLIC CHARITIES                            CATHOLIC CHARITIES
ATTN SCOTT JAUDON                      C/O MS ELLEN TORRES                           DBA ASSOCIATED CATHOLIC CHARTIES
SR LIFE SERVICES                       2600 POT SPRING RD                            OUR DAILY BREAD EMPLOYMENT CTR
3220 BENSON AVE                        TIMONIUM MD 21093                             725 FALLSWAY
BALTIMORE MD 21227-1035                                                              BALTIMORE MD 21202


CATHOLIC CHARITIES                     CATHOLIC CHARITIES                            CATHOLIC CHARITIES
OUR DAILY BREAD                        C/O BETTY COATES                              90 CHERRY LN
411 CATHEDRAL ST                       CHRISTOPHER PLACE                             HICKSVILLE NY 11801
BALTIMORE MD 21201                     15 IVY HILL CT
                                       COCKEYSVILLE MD 21030


CATHOLIC RELIEF SERVICES USCCB         CATHRINE JACKSON-DRAAYERS                     CATHY BAEKER
228 W FAYETTE ST                       5739 WOODWARD AVENUE                          320 ROEBLING STREET
BALTIMORE MD 21201                     DOWNERS GROVE IL 60516                        APT. 126
                                                                                     BROOKLYN NY 11211



CATHY BRADLEY                          CATHY BUTTER                                  CATHY CLARK
10090 MILL RUN CIRCLE                  525 JORDAN AVENUE                             7382 LINCOLN COURT
OWINGS MILLS MD 21117                  VENTURA CA 93001                              NEW TRIPOLI PA 18066




                                              Page 340 of 2387
                           Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 341 of 800
CATHY FINE                              CATHY GRAY                                    CATHY GREEN
139 DELANCEY AVE.                       5821 NW 19 COURT                              321 E. 3RD STREET
DELRAY BEACH FL 33484                   MARGATE FL 33063                              CHULUOTA FL 32766




CATHY ROMANELLO                         CATHY ROOD                                    CATHY SERFASS
51 DOLLARD DR                           7510 SALTON SEA WAY                           2490 BUFFALO COVE
NORTH BABYLON NY 11703                  SACRAMENTO CA 95831                           AUBURN PA 17922




CATHY SMITH                             CATHY WALL                                    CATINO, DENNIS
884 THIRD ST                            1340 RIVER RD                                 1186 MIDDLETOWN RD
WHITEHALL PA 18052                      SUFFOLK VA 23434                              PEN ARGYL PA 18072




CATRINA JONES                           CATTERTON PRINTING                            CATTERTON PRINTING
739 18TH STREET                         100 POST OFFICE RD                            P O BOX 367
APT# A                                  WALDORF MD 20602                              WALDORF MD 20604
NEWPORT NEWS VA 23607



CAULER, BETTY E                         CAVALIERO, TRACI L                            CAVALRY COURIERS
2212 W TILGHMAN STREET                  112 EUCLID AVE NO.2                           216 W 22ND STREET
ALLENTOWN PA 18104                      STAMFORD CT 06902                             NEW YORK NY 10011




CAVANAGH, VANESSA                       CAVELLO, MARK A                               CAVEY, CLARENCE R
2656 NEPTUNE AVE                        677 TRACE CIRCLE NO. 104                      208 SANDSBURY AVE
SEAFORD NY 11783                        DEERFIELD BEACH FL 33441                      GLEN BURNIE MD 21061




CAVIEDES, ARNULFO E                     CAVILL, SARAH                                 CAVINESS, TOD
2882 NW 118TH DR                        801 MADISON STREET APT 4G                     2521 IVES AVE
CORAL SPRINGS FL 33065                  HOBOKEN NJ 07030                              ORLANDO FL 32806-4917




CAVO GAYOSO, SHARON J                   CAWLEY CHICAGO COMMERCIAL REAL                CAWLEY CHICAGO COMMERCIAL REAL
4800 S PINE ISLAND RD. LOT 51           ESTATE COMPANY                                ESTATE COMPANY
DAVIE FL 33328                          RE: JOLIET 2115 OAK LEAF ST.                  RE: ROMEOVILLE 320 ROCBAAR DR
                                        1431 OPUS PLACE, SUITE 120                    1431 OPUS PLACE, SUITE 120
                                        DOWNERS GROVE IL 60515                        DOWNERS GROVE IL 60515


CAWLEY CHICAGO COMMERCIAL REAL ESTATE   CAWLEY CHICAGO COMMERCIAL REAL ESTATE         CAWTHRA, KEVIN M
RE: ROMEOVILLE 320 ROCBAAR DR           RE: JOLIET 2115 OAK LEAF ST.                  P. O. BOX 25952
ATTN: LISA URBAN                        ATTN: LISSA URBAN                             SANTA ANA CA 92799
1431 OPUS PLACE NORTH, SUITE 120        1431 OPUS PLACE NORTH, SUITE 120
DOWNERS GROVE IL 60515                  DOWNERS GROVE IL 60515


CAYUGA SOFTWARE INC                     CAZARES, AVANGELINA                           CAZEAUX, PATRICIA G
619 S SHARP ST                          3722 S HERMITAGE                              4848 ACADEMY DRIVE
BALTIMORE MD 21230                      CHICAGO IL 60609                              METAIRIE LA 70003




                                               Page 341 of 2387
                            Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 342 of 800
CAZILE, WILKINS                          CB KRAMER COMPANY                             CB KRAMER COMPANY
3213 FOXRIDGE CT.                        265 EISENHOWER LN S                           CBK
PALM SPRINGS FL 33461                    LOMBARD IL 60148                              PO BOX 78235
                                                                                       ST LOUIS MO 63178



CB RESIDENTIAL                           CB RICHARD ELLIS                              CB RICHARD ELLIS, INC
527 MAIN ST                              RE: FT LAUDERDALE NEW RIVER C                 15303 VENTURA BLVD SUITE 200
GREENWICH RI 02818                       200 E. LAS OLAS BLVD.                         SHERMAN OAKS CA 91403
                                         SUITE 1630
                                         FT. LAUDERDALE FL 33301


CB RICHARD ELLIS, INC                    CB RICHARD ELLIS, INC                         CB RICHARD ELLIS, INC
1840 CENTURY PARK EAST 700               FINANCIAL CONSULTING GROUP                    177 BROAD STREET SUITE 700
LOS ANGELES CA 90067                     355 S GRAND AVE                               STAMFORD CT 06901
                                         LOS ANGELES CA 90071



CB RICHARD ELLIS, INC                    CB RICHARD ELLIS, INC                         CB RICHARD ELLIS, INC
LOCATION CODE 2981                       LOCATION NO.2072                              20 N MARTINGALE RD      STE 100
PO BOX 406588                            BOX 406588                                    SCHAUMBURG IL 60173
ATLANTA GA 30384-6588                    ATLANTA GA 30384



CB RICHARD ELLIS, INC                    CB RICHARD ELLIS, INC                         CB RICHARD ELLIS, INC
C/O BETTY WASILEWSKI                     250 W PRATT ST STE 700                        ATTN PETER DUBIS
8430 W BRYN MAWR AVE STE 400             BALTIMORE MD 21201                            200 PARK AVE    17TH FLR
CHICAGO IL 60631                                                                       NEW YORK NY 10166



CB RICHARD ELLIS, INC                    CB RICHARD ELLIS, INC                         CBA INDUSTRIES
1000 LOUISIANA SUITE 1400                2500 W LOOP SOUTH NO.100                      PO BOX 1717
HOUSTON TX 77002                         HOUSTON TX 77027                              ELMWOOD PARK NJ 07407-1717




CBIZ PROPERTY TAX SOLUTIONS INC          CBIZ PROPERTY TAX SOLUTIONS INC               CBIZ PROPERTY TAX SOLUTIONS INC
5555 DTC PKWAY                           300 S WACKER DRIVE                            PO BOX 35284
STE C 3300                               CHICAGO IL 60606-6680                         TULSA OK 74153-0284
ENGLEWOOD CO 80111



CBIZ PROPERTY TAX SOLUTIONS INC          CBR NUTRITION ENTERPRISES                     CBS BLOOMS BUSINESS SYSTEMS INC
PO BOX 3075                              C/O CONSTANCE BROWN-RIGGS                     31 INWOOD RD
MCKINNEY TX 75070-8182                   100 VETERANS BLVD STE 15                      ROCKY HILL CT 06067
                                         MASSAPEQUA NY 11758



CBS BLOOMS BUSINESS SYSTEMS INC          CBS COLLEGIATE SPORTS PROPERTIES INC          CBS COLLEGIATE SPORTS PROPERTIES INC
50 ROCKWELL RD                           2502 N BLACK CANYON HWY                       PO BOX 33074
NEWINGTON CT 06111                       PHOENIX AZ 85009                              NEWARK NJ 07188-0074




CBS OUTDOOR                              CBS OUTDOOR                                   CBS OUTDOOR
1731 WORKMAN STREET                      PO BOX 100920                                 PO BOX 513159 GMF
LOS ANGELES CA 90031                     PASADENA CA 91189-0920                        LOS ANGELES CA 90051-1159




                                                Page 342 of 2387
                         Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 343 of 800
CBS OUTDOOR                           CBS OUTDOOR                                   CBS OUTDOOR
2640 NW 17TH LN                       TERRAPIN SPORTS MKTG                          88 CUSTER AVE
POMPANO BEACH FL 33064                4700 BERWYN HOUSE RD STE 101                  DETROIT MI 48202
                                      COLLEGE PARK MD 20740



CBS OUTDOOR                           CBS OUTDOOR                                   CBS OUTDOOR
185 US HIGHWAY 46                     P.O. BOX 33074                                1600 STUDEMONT
FAIRFIELD NJ 07004                    NEWARK NJ 07188-0074                          HOUSTON TX 77007




CBS PARAMOUNT DOMESTIC TV             CBS PARAMOUNT DOMESTIC TV                     CBS PARAMOUNT DOMESTIC TV
5555 MELROSE AV                       5555 MELROSE AVE                              CBS STUDIOS 5555 MELROSE AVE
HOLLYWOOD CA 90038                    GRB 4034A                                     RODDENBERRY BLDG ROOM 4028 A
                                      LOS ANGELES CA 90038                          HOLLYWOOD CA 90038



CBS PARAMOUNT DOMESTIC TV             CBS RADIO                                     CBS RADIO
PO BOX 70642                          22577 NETWORK PLACE                           22603 NETWORK PLACE
CHICAGO IL 60673-0642                 CHICAGO IL 60673-1225                         CHICAGO IL 60673-1226




CBS RADIO                             CBS RADIO                                     CBS RADIO
WXRT-FM                               KEZK                                          KYKY
4949 WEST BELMONT AVE                 25003 NETWORK PL                              25003 NETWORK PL
CHICAGO IL 60641                      CHICAGO IL 60673-1250                         CHICAGO IL 60673-1250



CBS RADIO                             CBS RADIO                                     CBS RADIO
WJHM, WOCL, WOMX                      80 WOLF RD NO. 503                            1501 SW JEFFERSON
PO BOX 906011                         ALBANY NY 12205                               PORTLAND OR 97201
CHARLOTTE NC 28290



CBS RADIO INC                         CBS RADIO INC                                 CBS RADIO INC
C/O KNCI                              C/O KZZO                                      PO BOX 100182
PO BOX 100182                         PO BOX 100182                                 PASADENA CA 91189-0182
PASADENA CA 91189-0182                PASADENA CA 91189-0182



CBS RADIO INC                         CBS RADIO INC                                 CBS RADIO INC
10 EXECUTIVE DR                       1000-16TH ST NW NO. 405                       KRLD AM
FARMINGTON CT 06032                   WASHINGTON DC 20036                           PO BOX 93401
                                                                                    CHICAGO IL 60673



CBS RADIO INC                         CBS RADIO INC                                 CBS RADIO INC
WMAQ RADIO                            4200 PARLIAMENT PLACE                         P O BOX 13086
455 N CITYFRONT PLZA 6TH FLR          STE 300                                       NEWARK NJ 07188-0086
NBC TOWER                             LANDHAM MD 20706
CHICAGO IL 60611


CBS RADIO INC KLSX                    CBS RADIO INC KLSX                            CBS RADIO INC KLSX
KFWB- AM                              KLSX                                          KLSX FM
PO BOX 100734                         5670 WILSHIRE BLVD   STE 200                  PO BOX 100250
PASADENA CA 91189-0734                LOS ANGELES CA 90036                          PASADENA CA 91189-0250




                                             Page 343 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 344 of 800
CBS RADIO INC KLSX                     CBS RADIO INC KLSX                            CBS RADIO/CBS BROADCASTING INC.
10 EXECUTIVE DR                        WZMX WRCH WTCI AM & FM                        O'CONNOR, MICHAEL J. ESQ.
FARMINGTON CT 06032                    PO BOX 13086
                                       NEWARK NJ 07188-0088



CBS TELEVISION DISTRIBUTION            CBS TELEVISION DISTRIBUTION                   CBS TELEVISION DISTRIBUTION
1675 BROADWAY                          524 WEST 57TH STREET                          ATTN: JOHN NOGAWSKI, PRESIDENT
17TH FLOOR                             NEW YORK NY 10019                             51 W 52ND STREET
NEW YORK NY 10019                                                                    NEW YORK NY 10019



CBS TV NETWORK                         CBS TV NETWORK                                CBS TV NETWORK
7800 BEVERLY BLVD                      7800 BEVERLY BLVD RM M162                     ONE RESEARCH DR
STAGE OPERATIONS ROOM 160              LOS ANGELES CA 90036                          SHELTON CT 06484
LOS ANGELES CA 90036-2165



CBS TV NETWORK                         CBS TV NETWORK                                CBS TV NETWORK
ACCOUNTS RECEIVABLE                    BANK ONE                                      CBS TELEVISION NETWORK
21940 NETWORK PL                       22508 NETWORK PL                              PO BOX 10946
CHICAGO IL 60673-1219                  CHICAGO IL 60673-1225                         NEWARK NJ 07193-0946



CBS TV NETWORK                         CBS TV NETWORK                                CBS TV NETWORK
PO BOX 10950                           PO BOX 33091                                  51 WEST 52 ST ROOM 463
NEWARK NJ 07193-0950                   NEWARK NJ 07188-0091                          NEW YORK NY 10019




CBT SYSTEMS                            CC FLORIDA DISTRIBUTION                       CC FLORIDA DISTRIBUTION
10115 CARROLL CANYON RD                60 S WINTER PARK DR                           8810 COMMODITY CIRCLE STE 19
SAN DIEGO CA 92131                     CASSELBERRY FL 32707                          ORLANDO FL 32819




CCI DIGITAL WEST                       CCI EUROPE                                    CCT LLC
2625 W OLIVE AVENUE                    1701 BARRETT LAKES BLVD STE 380               9825 INDIANAPOLIS BLVD
BURBANK CA 91505                       KENNESAW GA 30144                             HIGHLAND IN 46322-2622




CCT LLC                                CCT, LLC                                      CCT, LLC
9901 EXPRESS DRIVE SUITE B             RE: CHESTERTON 781 MICHAEL DR                 RE: CHESTERTON 781 MICHAEL DR
HIGHLAND IN 46322                      9825 INDIANAPOLIS BLVD.                       2165 U.S. ROUTE 41
                                       HIGHLAND IN 46304                             SCHERERVILLE IN 46375



CD & L WEST DIVISION                   CD & L WEST DIVISION                          CD & L WEST DIVISION
PO BOX 18662                           PO BOX 34495                                  PO BOX 34496
NEWARK NJ 07191-8662                   NEWARK NJ 07189-4495                          NEWARK NJ 07189-4496




CD & L WEST DIVISION                   CDR SOFTWARE LLC                              CDR SOFTWARE LLC
PO BOX 660329                          16000 MONETARY RD                             PO BOX 1246
DALLAS TX 75266                        MORGAN HILL CA 95038                          MORGAN HILL CA 95038




                                              Page 344 of 2387
                           Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 345 of 800
CDW COMPUTER CENTERS INC                CDW COMPUTER CENTERS INC                      CDW COMPUTER CENTERS INC
1020 E LAKE COOK RD                     1020 E. LAKE COOK ROAD                        200 N MILWAUKEE AVE
ACCT0615471                             FAX 847 419-8474                              VERNON HILLS IL 60061
BUFFALO GROVE IL 60089                  TOBI FALLON 705-0360 BACKUP
                                        BUFFALO GROVE IL 60089


CDW COMPUTER CENTERS INC                CDW COMPUTER CENTERS INC                      CDW COMPUTER CENTERS INC
200 N. MILWAUKEE AVE                    315 W. GRAND AVENUE                           COMPUTER DISCOUNT WAREHOUSE
ATTN: DUSTIN OR ANDREA                  CHICAGO IL 60610                              200 N MILWAUKEE AVE
VERNON HILLS IL 60061                                                                 VERNON HILLS IL 60061



CDW COMPUTER CENTERS INC                CDW DIRECT LLC                                CDW DIRECT LLC
PO BOX 75723                            200 N MILWAUKEE AVE                           PO BOX 75723
CHICAGO IL 60675-5723                   VERNON HILLS IL 60061                         CHICAGO IL 60675-5723




CEASAR, DAVID                           CECCORULLI, JENNIFER                          CECELIA A SMITH
922 24TH ST NW NO.311                   505 AUGUSTA DR                                2 PATTON DR
WASHINGTON DC 20037                     ARNOLD MD 21012                               NEWPORT NEWS VA 23606




CECELIA GUERRIE                         CECELIA OSBORN                                CECELIA REALTY CORP
7409 SOUTH ALKIRE STREET                PO BOX 68086                                  1929 SCHERMERHORN ST
#305                                    SEATTLE WA 98168                              MERRICK NY 11566
LITTLETON CO 80127



CECH, LAURA BARNHANDT                   CECH, MICHAEL                                 CECI, DIANE
10 TANGLEWOOD RD                        864 N IRVING ST                               307 E MAIN ST
CATONSVILLE MD 21228                    ALLENTOWN PA 18109                            BATH PA 18014




CECIL F MCBRIDE                         CECIL HOOKER                                  CECIL MORRIS
9550 E FLORIDA AVE UNIT 1024            430 WEST 34TH STREET                          4038 SAWYER STREET
DENVER CO 80247-6276                    APT. 11D                                      INDIANAPOLIS IN 46226
                                        NEW YORK NY 10001



CECILE MCCLERIN                         CECILIA DAKE                                  CECILIA DUFFY
1121 SHERMAN SE                         2627 AUTUMN TRAIL DRIVE                       96 WESTERN AVENUE
GRAND RAPIDS MI 49506                   #1023                                         MORRISTOWN NJ 07960
                                        ARLINGTON TX 76016



CECILIA JENNINGS                        CECILIA LOPEZ                                 CECILIA MORALES
20041 OSTERMAN RD                       2449 CITRUS VIEW AVENUE                       7903 ELM AVE
APT Y11                                 DUARTE CA 91010                               APT. #90
LAKE FOREST CA 92630                                                                  RANCHO CUCAMONGA CA 91730



CECILIA RASMUSSEN                       CECILIA SCHLESINGER                           CECILIA SHERRICK
5509 PERSIMMON AVENUE                   5111 IRVINGTON TERR                           2651 S COURSE DR #207
TEMPLE CITY CA 91780                    LOS ANGELES CA 90042                          POMPANO BEACH FL 33069




                                               Page 345 of 2387
                            Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 346 of 800
CECILIA ZAMORA                           CECILLE ESPIRITU                              CECILLE REZMAN
838 CARILLO DRIVE                        4401 SWEETBRIAR CT                            4026 CASCADE TERRACE
APT#C                                    CONCORD CA 94521                              WESTON FL 33332
SAN GABRIEL CA 91776



CECILY J SURACE                          CECILY VANDERVOORT                            CECILY WELLS
3621 N CALLE AGUA VERDE                  328 W UNIVERSITY AVENUE                       37 CHAPMAN AVENUE
TUCSON AZ 85750                          ORANGE CITY FL 32763                          WATERBURY CT 06710




CECYLIA MIKUTEL                          CEDAR CREEK TOWNSHIP                          CEDARBROOK NURSING HOME
3323 N. ORIOLE                           6556 SWEETER RD                               350 S. CEDARBROOK RD.
CHICAGO IL 60634                         TWIN LAKE MI 49457                            ALLENTOWN PA 18104




CEDARBROOK NURSING HOME                  CEDENO, RONNY                                 CEDILLO, GLADYS
724 DELAWARE AVE                         CALLE 37 CASA NO.49-16                        473 SUYDAN ST
BETHLEHEM PA 18018                       RANCHO GRANDE PUERTO CABELLO                  BROOKLYN NY 11237
                                         CARABOBO, VENEZUELA



CEDILLO,SAUL                             CEDILNIK, LAURIE                              CEDILNIK, LAURIE
473 SUYDAM STREET                        11-16 WHITESTONE EXPY                         11-16 WHITESTONE EXPY
BROOKLYN NY 11237                        ASTORIA NY 11101                              WHITESTONE NY 11357-2403




CEDOR DIEUSEUL                           CEDRICK, MALLORY                              CEE KAY SUPPLY
145-08 HOOK CREEK BLVD.                  1711 NW 94TH AVE                              5835 MANCHESTER AVE
ROSEDALE NY 11422                        CORAL SPRINGS FL 33071                        ST LOUIS MO 63103




CEE KAY SUPPLY                           CEE KAY SUPPLY                                CEFALO, ROBERT
PO BOX 17423                             PO BOX 840015                                 114 SABAL PALM CT
ST LOUIS MO 63178                        KANSAS CITY MO 64184                          SANFORD FL 32773




CEGLINSKY, SEAN                          CEGLINSKY, SEAN                               CEILING SOLUTIONS
1409 CLAYTON WAY                         ORD NO. 472551182416900331                    500 MORRIS AVE
SIMI VALLEY CA 93065                     PO BOX 942867                                 SPRINGFIELD NJ 07081
                                         SACRAMENTO CA 94267-0011



CELANO, LEE                              CELEBRITY CONNECTION                          CELEBRITY FOOTAGE
2658 GRIFFITH PARK BLVD NO.318           2208 PATRICIA AVE                             320 S ALMONT DR
LOS ANGELES CA 90039                     LOS ANGELES CA 90064                          BEVERLY HILLS CA 90211




CELEBRITY SCREENS INC                    CELEBRITY SERVICE INTERNATIONAL               CELEBRITY SERVICE INTERNATIONAL
35-11 36TH STREET                        6255 SUNSET BLVD STE 908                      250 WEST 57TH STREET
LONG ISLAND CITY NY 11106                LOS ANGELES CA 90028                          SUITE 819
                                                                                       NEW YORK NY 10107




                                                Page 346 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 347 of 800
CELEBRITY VISION LLC                   CELESTE BALL                                  CELESTE DEANG
497 CANAL ST                           2010 E. 166TH ST.                             1030 N DEARBORN
NEW YORK NY 10013                      SOUTH HOLLAND IL 60473                        APT # 616
                                                                                     CHICAGO IL 60610



CELESTE GALLERY                        CELESTE HADRICK                               CELESTE JACOBI
21200 KITTRIDGE ST NO.1228             878 ABERDEEN ROAD                             4025 INGLEWOOD BLVD
WOODLAND HILLS CA 91303                WEST BAY SHORE NY 11706                       APT #1
                                                                                     LOS ANGELES CA 90066



CELESTE ROHLF                          CELESTE STEELE-PEREZ                          CELESTIN, DANIEL
752 N. HIGHVIEW                        1510 ARCHER ROAD                              5030 NW 5TH STREET
ADDISON IL 60101                       APT. MC                                       DELRAY BEACH FL 33445
                                       BRONX NY 10462



CELESTINE LEWIS                        CELIA COLAVITTI                               CELIA GAMBOA
14515 SOUTH LOWE                       14062 SW ODINO COURT                          4945 BORING
RIVERDALE IL 60827                     TIGARD OR 97224                               EAST CHICAGO IN 46312-3620




CELIA KURISCH                          CELIA LANOVARA                                CELIA MAGDALENO
4639 LIVE OAK CT                       101 ST ANDREWS LANE                           324 SO. LARK ELLEN AVE.
ELLICOTT CITY MD 21043                 MYRTLE BEACH SC 29588                         WEST COVINA CA 91791




CELICOURT, ANTOINE                     CELICOURT, MARIE                              CELITA PIERRE
3626 SE 2ND ST                         3626 SE 2ND ST                                880 SPRING CIRCLES
BOYNTON BEACH FL 33435                 BOYNTON BEACH FL 33435                        APT 104
                                                                                     DEERFIELD BEACH FL 33441



CELIZ, MARYL                           CELLERS JOHNSON                               CELLFIRE INC
615 S COCHRAN AVE APT 2D               3740 NW 28TH STREET                           2890 ZANKER ROAD SUITE 200
LOS ANGELES CA 90036                   LAUDERDALE LAKES FL 33313                     SAN JOSE CA 95134




CELLI FUEL SERVICE                     CELLIT                                        CELLMARK INC
10328 W BELLE PLAINE AVENUE            213 W INSTITUTE PLACE SUITE 611               PO BOX 641
SCHILLER PARK IL 60176                 CHICAGO IL 60610                              NORWALK CT 06856




CELMER, KEN                            CELSO DELCID                                  CELTIC COMMUNICATIONS INC
5708 KINGSGATE DR APT D                91 STRAWBERRY HILL AVENUE                     123 LAKEVIEW AVE
STE 2208                               APT. #233                                     WEST ISLIP NY 11795
ORLANDO FL 32839                       STAMFORD CT 06902



CELTIC COMMUNICATIONS INC              CELTIC GARDENS                                CELTIC GARDENS
279 UNION BLVD                         12800 OAK HILL DR                             2032 WAGNER
WEST ISLIP NY 11795                    DEXTER MI 48130-8503                          ANN ARBOR MI 48104




                                              Page 347 of 2387
                           Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 348 of 800
CELTIC GARDENS                          CEMAL GUNBIL                                  CEMUSA MIAMI LTD
PO BOX 8038                             438 W. BELDEN STREET                          420 LEXINGTON AVE       STE 2533
ANN ARBOR MI 48107                      CHICAGO IL 60614                              NEW YORK NY 10170




CENA, MONICA B                          CENER, BARI                                   CENTENO, CARLOS A
2538 NW 29 ST.                          76 CENTRAL PRKWY                              112 LASALLE ST APT C4
MIAMI FL 33142                          MERRICK NY 11566                              NEW BRITAIN CT 06051




CENTENO, SORAGLIS                       CENTENO, SORAGLIS                             CENTER FOR LEADERSHIP
12419 BLACKSMITH DR    APT 207          12419 BLACKSMITH DR        APT 207            DEVELOPMENT
STE 2005                                ORLANDO FL 32837                              3536 WASHINGTON BOULEVARD
ORLANDO FL 32837                                                                      INDIANAPOLIS IN 46205



CENTER FOR ONLINE LEARNING INC          CENTER FOR REFLECTION EDUCATION               CENTER FOR RESPONSIBLE LENDING
610 W DELEON STREET                     AND ACTION INC                                301 W MAIN ST
TAMPA FL 33606                          PO BOX 2507                                   DURHAM NC 27701
                                        HARTFORD CT 06146-2507



CENTER FOR THE ARTS                     CENTER FOR THE STUDY OF DEMOCRATIC            CENTER FOR THE STUDY OF SERVICES
2225 COLORADO BLVD                      10951 W PICO BLVD STE 315                     1625 K STREET NW 8TH FLR
LOS ANGELES CA 90041                    LOS ANGELES CA 90064                          WASHINGTON DC 20006




CENTER STAGE                            CENTERPOINT ENERGY                            CENTERPOINT ENERGY
CTR STAGE ASSOCS                        ACCT NO. 3979185-0                            3010 HIGHLAND PKWY., SUTIE 525
700 N CALVERT ST                        P.O. BOX 2628                                 DOWNERS GROVE IL 60515
BALTIMORE MD 21202                      HOUSTON TX 77252



CENTERPOINT ENERGY ENTEX                CENTERPOINT ENERGY ENTEX                      CENTERPOINT ENERGY SERVICES INC
PO BOX 1325                             PO BOX 4981                                   23968 NETWORK PLACE
HOUSTON TX 77251-1325                   HOUSTON TX 77210-4981                         CHICAGO IL 60673-1239




CENTERPOINT ENERGY SERVICES INC         CENTINO, ABEL                                 CENTOFANTE GROUP INC
3010 HIGHLAND PARKWAY STE 525           36 EASTHAM BRIDGE RD                          333 SOUTH STATE STREET
DOWNERS GROVE IL 60515                  EAST HAMPTON CT 06424                         NO. V144
                                                                                      LAKE OSWEGO OR 97034



CENTOFANTE GROUP INC                    CENTOLANZA, BRANDY                            CENTRAL CITY PRODUCTION
13216 SE MILL PLAIN BLVD                4016 CEDARWOOD LANE                           212 E. OHIO
SUITE C-8 NO. 131                       WILLIAMSBURG VA 23188                         3RD FLOOR
VANCOUVER WA 98684-8999                                                               CHICAGO IL 60611



CENTRAL CITY PRODUCTION                 CENTRAL DELIVERY SERVICE                      CENTRAL DELIVERY SERVICE
ONE EAST ERIE STREET                    CALLER SERVICE NO.105328                      P O BOX 277628
CHICAGO IL 60611                        ATLANTA GA 20705                              ATLANTA GA 30384




                                               Page 348 of 2387
                         Case 08-13141-BLS        Doc 17-1        Filed 12/08/08   Page 349 of 800
CENTRAL FLORIDA AUTO DEALERS               CENTRAL FLORIDA AUTO DEALERS               CENTRAL FLORIDA EDUCATORS-FCU
100 WELDON BLVD                            ASSOCIATION                                1200 WEBER ST
SANFORD FL 32773                           7380 SAND LAKE                             ORLANDO FL 32803
                                           SUITE 500
                                           ORLANDO FL 32819


CENTRAL FLORIDA EDUCATORS-FCU              CENTRAL FLORIDA POSTAL CUSTOMER            CENTRAL FLORIDA POSTAL CUSTOMER
PO BOX 958471                              PO BOX 11023                               PO BOX 620937
LAKE MARY FL 32795                         DAYTONA BEACH FL 32120                     ORLANDO FL 32862-0937




CENTRAL FLORIDA POSTAL CUSTOMER            CENTRAL GROCERS INC                        CENTRAL LAKEVIEW MERCHANTS ASSOC
US POSTAL SRV                              11100 BELMONT AVE                          867 W BUCKINGHAM PL
PO BOX 621311                              FRANKLIN PARK IL 60131                     CHICAGO IL 60657
ORLANDO FL 32862-1311



CENTRAL LINCOLN PEOPLES UTILITY DISTRICT   CENTRAL MAINE NEWSPAPERS                   CENTRAL PARKING SYSTEM
PO BOX 1126                                KENNEBEC JOURNAL                           307 N CHARLES ST
NEWPORT OR 97365                           PO BOX 1052                                BALTIMORE MD 21202
                                           AUGUSTA ME 04330



CENTRAL PARKING SYSTEM                     CENTRAL PARKING SYSTEM OF FL INC           CENTRAL PARKING SYSTEM OF FL INC
400 E PRATT ST STE 700                     2 S BISCAYNE BLVD NO.200                   352 SE 2ND STREET
BALTIMORE MD 21202                         MIAMI FL 33131                             FT LAUDERDALE FL 33301




CENTRAL PARKING SYSTEM OF FL INC           CENTRAL PARKING SYSTEM OF FL INC           CENTRAL PARKING SYSTEM OF LA INC
PO BOX 790                                 PO BOX 790402                              201 ST CHARLES AVE
FT LAUDERDALE FL 33302                     ST LOUIS MO 63179-0402                     NEW ORLEANS LA 70170-2202




CENTRAL PARKING SYSTEM OF LA INC           CENTRAL POINT MEDIA                        CENTRAL STATES CIRCULATION MANAGERS
365 CANAL ST  ST 2330                      7503 GRANDVIEW AVE                         PO BOX 1686
NEW ORLEANS LA 70130                       ARVADA CO 80002                            CEDAR RAPIDS IA 52406




CENTRAL STATES CIRCULATION MANAGERS        CENTRAL VALLEY ENGINEERING & ASPHALT       CENTRALIA SCHOOL DISTRICT
PO BOX 229                                 216 KENROY LANE                            PO BOX 610
GLASFORD IL 61533-0229                     ROSEVILLE CA 95678                         CENTRALIA WA 98531




CENTRE DAILY TIMES                         CENTRE DAILY TIMES                         CENTRELLA, ALETHEA
3400 E COLLEGE AVE                         PO BOX 89                                  44 FRANKLIN ST 2ND FLOOR APT B
STATE COLLEGE PA 16801-7528                STATE COLLEGE PA 16804-0089                ENFIELD CT 06082




CENTRO CULTURAL LATINO AMERICANO           CENTRO ENFIELD LLC                         CENTRO ENFIELD LLC
PO BOX 9522                                90 ELM ST                                  C/O CENTRO WATT
CORAL SPRINGS FL 33065                     ENFIELD CT 06082                           580 W GERMANTOWN PIKE NO200
                                                                                      PLYMOUTH MEETING PA 19462




                                               Page 349 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 350 of 800
CENTURION INC                          CENTURION INC                                 CENTURION INC
1400 E LAKE COOK RD NO.170             333 W HINTZ RD                                486 DIENS DRIVE
BUFFALO GROVE IL 60089-8219            WHEELING IL 60090                             WHEELING IL 60090




CENTURY 21 CLICK IT INC                CENTURY 21 CLICK IT INC                       CENTURY ENGINEERING INC
1331 ADRIAN CT                         1780 OAK ROAD                                 10710 GILROY DRIVE
SNELLVILLE GA 30078                    SNELLVILLE GA 30078                           HUNT VALLEY MD 21031




CENTURY ENGINEERING INC                CENTURY MALL LLC                              CENTURY PACIFIC GROUP INC
P O BOX 17160                          C/O NAI HIFFMAN ASSET MANAGEMENT              1833 FAIRBURN AVE STE 304
BALTIMORE MD 21297-7160                ONE OAKBROOK TERRACE NO 600                   LOS ANGELES CA 90025
                                       OAKBROOK TERRACE IL 60181



CENTURY PRINTING & PACKAGING           CENTURY PRINTING & PACKAGING                  CENTURY ROOFING
1904 SUBER MILL RD                     PO BOX 2358                                   11470 ORCAS AVENUE
GREER SC 29650                         GREER SC 29652                                LAKEVIEW TERRACE CA 91342




CENTURY ROOFING                        CENTURY ROOTER SERVICE & PLUMBING             CENTURYTEL
8218 ENSIGN AVE                        501 E SANDRA AVE                              100 CENTURY TEL DRIVE
SUN VALLEY CA 91352                    ARCADIA CA 91006                              MONROE LA 71203




CEPEDA, ARIEL                          CERASO, SONIA MARY                            CERASO, SONIA MARY
RUA RAUL DEVESA 281 NO 203             129 TERRACE AVE                               129 TERRACE AVE
PERDIZES, SP                           N BABYLON NY 11704                            WEST BABYLON NY 11704




CERBIN, CAROLYN MCATEE                 CERCO, MELISSA MARIE                          CERDA, CELINA
3064 STEEPLEGATE DR                    5023 SHAWNEE BLVD                             4824 24TH ST
GERMANTOWN TN 38138                    SCHNECKSVILLE PA 18078                        CICERO IL 60804




CERDA, MANANIN                         CERON, FRANCISCA                              CERON, LISET VIVIANA
2109 E JACKSON                         2715 NW 35TH DR                               3080 CONGRESS PARK DR NO.812
HARLINGEN TX 78550                     OKEECHOBEE FL 34972                           LAKE WORTH FL 33461




CERON, WILLIAM                         CERQUEIRA, DENIO RODRIGUES                    CERRACHIO, DANIELLE
2715 NW 35TH DR.                       23281 LIBERTY BELL TERRACE                    26 JOSEPH LANE
OKEECHOBEE FL 34972                    BOCA RATON FL 33433                           STATEN ISLAND NY 10305




CERTIFIED AUDIT OF CIRCULATIONS INC    CERTIFIED AUDIT OF CIRCULATIONS INC           CERTIFIED AUDIT OF CIRCULATIONS INC
155 WILLOWBROOK BLVD                   155 WILLOWBROOK BLVD                          155 WILLOWBROOK RD
WAYNE NJ 07470                         P O BOX 379                                   WAYNE NJ 07470
                                       WAYNE NJ 07474-0379




                                              Page 350 of 2387
                         Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 351 of 800
CERTIFIED PRINTERS INC                CERTIFIED TRANSPORTATION GROUP                CERTIFIED TRANSPORTATION GROUP
1525 N CAHUENGA BLVD                  ATLAS VAN LINES                               195 OVAL DRIVE
HOLLYWOOD CA 90028                    PO BOX 952340                                 ISLANDIA NY 11749
                                      ST LOUIS MO 63195-2340



CERTILMAN, BALIN, ADLER & HYMAN       CERVA, GAIL E                                 CESAR ALONSO
RE: GARDEN CITY PARK 151 FULT         4814 ALDER DR                                 3436 LA VISTA AVE.
90 MERRICK AVENUE                     WALNUTPORT PA 18088-9502                      BALDWIN PARK CA 91706
EAST MEADOW NY 11554



CESAR CALDERON                        CESAR CERVANTES                               CESAR LAURE
38056 RAINTREE LANE                   9801 S. NORMANDY                              376 BOWERS ROAD
PALMDALE CA 93552                     OAKLAWN IL 60453                              BOWERS PA 19511




CESAR RAMOS                           CESAR, DADY                                   CESAREC, JEREMY
17446 VIRGINIA AVENUE                 220 NE 23 STREET                              239 PRESIDENT ST APT 1
APT #8                                POMPANO BEACH FL 33060                        BROOKLYN NY 11231
BELLFLOWER CA 90706



CESTARO, ANTHONY                      CETOUTE, DWRIGHT ANTAWN                       CETOUTE, JOSEPH LIONEL
2450 BLAKE CT                         1230 SW 5TH TERRACE                           5205 N DIXIE HIGHWAY
BETHLEHEM PA 18017                    DEERFIELD BEACH FL 33441                      FT LAUDERDALE FL 33334




CEUS, OBED                            CEUS, ROSTAND                                 CEVALLOS, RAMON
578 KATHY CT                          578 KATHY CT                                  442 BLEEKER ST
MARGATE FL 33068                      MARGATE FL 33068                              3R
                                                                                    BROOKLYN NY 11237



CF 4242 BRYN MAWR                     CF 4242 BRYN MAWR LLC                         CF ENTERTAINMENT
7449 NORTH NATCHEZ SUITE 100          RE: CHICAGO 4242 BRYN MAW                     1925 CENTURY PARK EAST
NILES IL 60714                        4242 WEST BRYN MAWR                           SUITE 1025
                                      CHICAGO IL 60646                              LOS ANGELES CA 90067



CF ENTERTAINMENT                      CFM COMMUNICATIONS INC                        CFO INC
9903 SANTA MONICA                     300 WORCHESTER LANE                           2849 SW 42ND AVENUE
SUITE 418                             ALLEN TX 75002                                PALM CITY FL 34990
BEVERLY HILLS CA 90212



CGRAPHX                               CH JAMES RESTAURANT HOLDINGS LLC              CH JAMES RESTAURANT HOLDINGS LLC
816 CONGRESS AVE     STE 1160         1020 N MILWAUKEE AVE                          1740 ORRINGTON
AUSTIN TX 78701-2683                  SUITE 360                                     EVANSTON IL 60201
                                      DEERFIELD IL 60015



CHA, VICTOR D                         CHABRIA, ANITA                                CHACE, JOHN W
4811 DERUSSEY PKWY                    1734 HOLLYVISTA AVE                           16401 GOLF CLUB RD      UNIT 209
CHEVY CHASE MD 20815                  LOS ANGELES CA 90027                          WESTON FL 33326




                                             Page 351 of 2387
                           Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 352 of 800
CHACON, WALTER                          CHAD ALECHNY                                  CHAD ANDREWS
2001 LINDA ROSA CT NO. 1                5 AMHERST AVENUE                              281 HOPMEADOW STREET
PASADENSA CA 91107                      FEEDING HILLS MA 01030                        WEATOGUE CT 06089




CHAD BAILEY                             CHAD EPLER                                    CHAD EVERS
2243 FRANKLIN AVENUE EAST               929 NEEDLE RIDGE LN.                          2420 BROCKTON CIRCLE
APT# 101                                BROWNSBURG IN 46112                           NAPERVILLE IL 60565
SEATTLE WA 98102



CHAD KORCZYNSKI                         CHAD MCMILLAN                                 CHAD MERDA
15 GAITHER MANOR DR.                    401 W. LA VETA AVE                            535 SILVER LEAF DRIVE
3                                       APT#51                                        JOLIET IL 60431
SYKESVILLE MD 21784                     ORANGE CA 92866



CHAD NEUHAUS                            CHAD PETERS                                   CHAD ROBINSON
1827 NORTH MOZART                       3162 SHANKWEILER ROAD                         2220 ARGONNE AVENUE
CHICAGO IL 60647                        ALLENTOWN PA 18104                            LONG BEACH CA 90815




CHAD SCHULTZ                            CHAD SHERMAN                                  CHAD VOISEN
4399 NICHOLAS STREET                    11 FAWNBROOK LANE                             3790 RIVERA DR #3F
EASTON PA 18045                         SIMSBURY CT 06070                             SAN DIEGO CA 92109




CHAD YODER                              CHAD, SHELDON                                 CHADWICK, MARY L
2245 N. KEDZIE AVE.                     5650 AVENUE DE L ESPANADE                     PO BOX 266
APT. #B                                 MONTREAL QC H2T 3A1                           GLOUCESTER VA 23061
CHICAGO IL 60647



CHAFETS, ZEV                            CHAFF, LASHON                                 CHAFLOQUE, OSCAR ALBERTO
15 HIGHBROOK AVE                        551 HARRISON AVENUE                           32 ROOSEVELT AVE
PELHAM NY 10803                         CALUMET CITY IL 60409                         STAMFORD CT 06902




CHAI HANSANUWAT                         CHAI, SARA                                    CHAILFOUX, MARK
1580 W. 8TH ST                          14416 28TH AVE 2FL                            3923 BEECH ST
APT W135                                FLUSHING NY 11354                             CINCINNATI OH 45227
UPLAND CA 91786



CHAIM BRODT                             CHAIR, WORKERS COMPENSATION                   CHAIR, WORKERS COMPENSATION
1440 REEVES STREET                      20 PARK ST RM 301                             BOARD
APT #103                                ALBANY NY 12207                               WCB ACCOUNTS UNIT
LOS ANGELES CA 90035                                                                  20 PARK STREET ROOM 301
                                                                                      ALBANY NY 12207


CHAIR, WORKERS COMPENSATION             CHAIT, JONATHAN B                             CHAKARA LIM
WCB ASSESSMENT COLLECTIONS              5519 NEVADA AVENUE NW                         1514 143RD PLACE SW
FINANCE OFFICE RM 301                   WASHINGTON DC 20015                           LYNNWOOD WA 98087
20 PARK STREET
ALBANY NY 12207-1674




                                               Page 352 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 353 of 800
CHALA, JOSE R                          CHALENE GIAMBITTI                             CHALMERS, RICARDO
1401 SW 17TH ST                        5621 GLADESTONE DR NE                         3620 S RHODES NO.901
MIAMI FL 33145                         RIO RANCHO NM 87124                           CHICAGO IL 60653




CHAMBER OF COMMERCE OF TH WILLISTONS   CHAMBER OF COMMERCE OF THE MORICHES           CHAMBER OF COMMERCE OF THE MORICHES
PO BOX 207                             234 MAIN ST                                   PO BOX 686
WILLISTON PARK NY 11596                CENTER MORICHES NY 11934                      CENTER MORICHES NY 11934-0086




CHAMBER PUBLISHING GROUP               CHAMBERS PRODUCTION CORP.                     CHAMBERS, CORNELL
7 LYNDE ST                             P.O. BOX 7009                                 PO BOX 2274
SALEM MA 01970                         EUGENE OR 97401                               EATONVILLE FL 32751




CHAMBERS, DELROY A                     CHAMBERS, MARCIA                              CHAMBERS, MARY KATE
625 N POWERLINE RD                     100 CLARK AVE                                 2835 YORKSHIRE BLVD
POMPANO BEACH FL 33069                 BRANFORD CT 06405                             LOUISVILLE KY 40220




CHAMBERS, NATHAN M                     CHAMBERS, ROBERT D                            CHAMBERS, TIMOTHY
3044 N LEAVITT ST APT 1                1638 E 91ST PLACE                             126 LAWLER RD
CHICAGO IL 60618                       CHICAGO IL 60617                              WEST HARTFORD CT 06117




CHAMBLESS, JACK                        CHAMBLISS, JOSEPH N                           CHAMOCHUMBI, JUAN J
PO BOX 373                             2599 WASHINGTON AVE                           9161 E BAY HARBOUR   APT 2A
OAKLAND FL 34760                       FORT MEADE MD 20755                           MIAMI BEACH FL 33154




CHAMOFF, LISA                          CHAMORRO, JOSE R                              CHAMORRO, MARIA
3222 MARK ALLAN DR                     10400 NW 28TH AVE                             10400 NW 28TH AVE
WANTAGH NY 11793                       MIAMI FL 33147                                MIAMI FL 33147




CHAMPAGNE JR, LESLY                    CHAMPAGNE, TRACY                              CHAMPIKA WICKRAMARATNE
499 NORTHSIDE CIR                      232 YANKEE RD LOT 24                          14918 WHITE FORGE
ATLANTA GA 30309                       QUAKERTOWN PA 18951                           SUGAR LAND TX 77478




CHAMPION, EDWARD                       CHAMPION,R KEITH                              CHAN JONES, JOANIE
315 FLATBUSH AVE  NO.231               729 JUNIPER GLEN CT                           19528 VENTURA BLVD     NO.655
BROOKLYN NY 11217                      BALLWIN MO 63021                              TARZANA CA 91356




CHAN SOOKOO                            CHAN TRAN                                     CHAN, MADONNALISA G
11631 NW 39TH STREET                   5123 N. BARTLETT AVE.                         788 18TH AVE
CORAL SPRINGS FL 33065                 SAN GABRIEL CA 91776                          MENLO PARK CA 94025




                                              Page 353 of 2387
                           Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 354 of 800
CHAN, MADONNALISA G                     CHAN, MELISSA                                 CHANA HARDING
PO BOX 2413                             32-54 78TH ST                                 203 N. CAREY STREET
MENLO PARK CA 94026-2413                EAST ELMHURST NY 11370                        3
                                                                                      BALTIMORE MD 21223



CHANCE SCHLESMAN                        CHANCE, ROBERT                                CHANDERPAUL PHULBAS
1126 VASSAR STREET                      3631 BERKLEY RD                               16 DANIEL STREET
ORLANDO FL 32804                        DARLINGTON MD 21034                           EAST HARTFORD CT 06108




CHANDLER BIGELOW                        CHANDLER ENDRESEN                             CHANDLER, BETTINA W.
641 BRIAR LANE                          18940 SUNCREST DRIVE                          1013 SHOKAT DRIVE
NORTHFIELD IL 60093                     YORBA LINDA CA 92886                          OJAI CA 93023




CHANDLER, JOHN R                        CHANDLER, LOIS                                CHANDLER, PAUL JR
1307 SULPHUR SPRING RD                  3239 DWARF PINE AVE                           343 CIRCLE DR
BALTIMORE MD 21227                      WINTER PARK FL 32792                          NEWPORT NEWS VA 23605




CHANDRA FITZPATRICK                     CHANE, WINIFRED                               CHANEL MELENDEZ
1841 S. CALUMET AVE.                    561 10TH AVE 24B                              842 WEST TIOGA STREET
1911                                    NEW YORK CITY NY 10036                        ALLENTOWN PA 18103
CHICAGO IL 60616



CHANEY, REGINA                          CHANG SCOTT, TRACEE                           CHANG, MICHELLE
11011 REGENCY COMMONS CT                2500 NE 8 AVE                                 100 DEAN ST    APT 3
ORLANDO FL 32837                        POMPANO BEACH FL 33064                        BROOKLYN NY 11201




CHANGCHIEN, LOUIS                       CHANNER, DERMOTH S                            CHANNICK, ROBERT
3515 EFFIE ST                           3091 NW 46TH AVE # 310                        480 WESTGATE RD
LOS ANGELES CA 90026                    LAUDERDALE LAKES FL 33313                     DEERFIELD IL 60015




CHANNING GREENE                         CHANNING LOWE                                 CHANNON, MARK P
1615 W. CATALPA AVE.                    7463 SILVERWOODS COURT                        112 MEADOWVIEW DRIVE
#1                                      BOCA RATON FL 33433                           TORRINGTON CT 06790
CHICAGO IL 60640



CHANNU KELLEY                           CHANTE POWELL                                 CHANTEL WILLIAMS
60 S MILLIRON RD                        4120 W. CULLERTON                             935 N. ROSEDALE STREET
MUSKEGON MI 49442                       CHICAGO IL 60623                              BALTIMORE MD 21216




CHANTELLE EVANS                         CHANTILOUPE,CHRISTOPHER                       CHAO, KEVAN H
5408 SURRY AVENUE                       22795 SW 66TH AVE NO. 204                     2152 NE 63RD STREET
NEWPORT NEWS VA 23605                   BOCA RATON FL 33428                           FORT LAUDERDALE FL 33308




                                               Page 354 of 2387
                            Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 355 of 800
CHAPARRO, JORGE                          CHAPAS, JENNIFER                              CHAPEL SQUARE DEVELOPMENT LLC
1325 PORTOFINO CIR #807                  1428 NORMANTOWN RD                            900 CHAPEL STREET SUITE 1212
WESTON FL 33326                          NAPERVILLE IL 60564                           NEW HAVEN CT 06510




CHAPEL SQUARE DEVELOPMENT, LLC           CHAPIN, LILY                                  CHAPLIN, MICHAEL
RE: NEW HAVEN 900 CHAPEL ST.             6315 PRIMROSE AVE NO 5                        1407 CAMINITO BATEA
900 CHAPEL ST, SUITE 1212                LOS ANGELES CA 90068                          LA JOLLA CA 92037
NEW HAVEN CT 06510



CHAPMAN UNIVERSITY                       CHAPMAN, DAVID                                CHAPMAN, ERICA DANIELLE
ONE UNIVERSITY DRIVE                     11561 KELVYN GROVE PL                         2047 W GRACE
ORANGE CA 92866                          JACKSONVILLE FL 32225                         CHICAGO IL 60618




CHAPMAN, JACOBA                          CHAPMAN, JENNIFER                             CHAPMAN, KELLY R
202 PINEHURST DR                         1240 ELIZABETH AVE                            27600 PACIFIC COAST HWY
SMITHFIELD VA 23430                      NAPERVILLE IL 60540                           MALIBU CA 90265




CHAPMAN, LASHELL M                       CHAPMAN, MICHAEL                              CHAPMAN, MYISHA
202 PINEHURST DR                         1391 POQUOSON AVE                             10240 SW 13TH ST
SMITHFIELD VA 23430                      POQUOSON VA 23662                             PEMBROKE PINES FL 33025




CHAPMAN, RONALD J                        CHAPPELL, DAVID                               CHAPPELL, TERRI
1160 HIGH RD                             UNIV OF OKLAHOMA    DEPT OF HISTORY           5611 STONEGATE RD
KENSINGTON CT 06037                      455 W LINDSEY   RM 403                        DALLAS TX 75209
                                         NORMAN OK 73019



CHAPPELL, TERRI                          CHAPPELL, VELMA G                             CHAPPELL,TAMI L
8001 JOHN CARPENTER FREEWAY              13 BIRD LN                                    1726 BELLE CT SW
DALLAS TX 75247                          NEWPORT NEWS VA 23601                         LILBURN GA 30047




CHAPS PARTY RENTAL                       CHARACTERS ON WHEELS                          CHARETTE, DANIELLE
5604 CRAWFORD ST          STE B          24263 BRECKENRIDGE COURT                      289 HADDAM QUARTER RD
HARAHAN LA 70123                         DIAMOND BAR CA 91765                          DURHAM CT 06422




CHARISMA HOSEIN                          CHARITA TUCKER                                CHARITE JEAN
431 EAST VERDUGO AVE                     7310 RIVER ROAD                               4131 NE 2ND TERRACE
APT D                                    APT. # A                                      POMPANO BEACH FL 33064
BURBANK CA 91501                         NEWPORT NEWS VA 23607



CHARITY CASAS                            CHARITY MILLER                                CHARLAND, TODD
4824 ZION DRIVE                          1118 W. 8TH STREET                            34 NYBERG RD
ST. CLOUD FL 34772                       DALLAS TX 75208                               CHAPLIN CT 06235-2654




                                                Page 355 of 2387
                           Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 356 of 800
CHARLEEN STEWART                        CHARLEMAGNE LOUIS-CHARLES                     CHARLEMAGNE LOUIS-CHARLES
1445 N. STATE PKWY #2103                C/O STEPHEN JOSEPH PADULA                     STEPHEN JOSEPH PADULA
CHICAGO IL 60610                        PADULA LAW FIRM LLC                           PADULA LAW FIRM LLC
                                        133 NW 16TH STREET,SUITE A                    365 E PALMETTO PARK ROAD
                                        BOCA RATON FL 33432                           BOCA RATON FL 33432


CHARLENA BITOLAS                        CHARLENE AUSTIN                               CHARLENE CONNAUGHTON
21622 BROOKSIDE COURT                   1107 NW 9TH STREET                            127 NORTH WARWICK AVENUE
WALNUT CA 91789                         BOYNTON BEACH FL 33426                        WESTMONT IL 60559




CHARLENE DARCELIN                       CHARLENE EISWERT                              CHARLENE GONZALEZ
6312 LAKE LERLA DRIV                    627 FALCONER ROAD                             5782 KINGSGATE DRIVE
APOPKA FL 32712                         JOPPA MD 21085                                #B
                                                                                      ORLANDO FL 32839



CHARLENE GRAZIANO                       CHARLENE HAMER                                CHARLENE NEWSOME
391 EAST STREET                         16618 S. GREENWOOD                            103 BRIDGEPORT COVE DRIVE
MIDDLETOWN CT 06457                     SOUTH HOLLAND IL 60473                        APT. # 108
                                                                                      HAMPTON VA 23663



CHARLENE SALVATO                        CHARLENE TARDIFF                              CHARLENE TRENTHAM
4414 LORINDA                            638 PINE STREET                               315 EAST 70TH STREET
HOUSTON TX 77018                        BRISTOL CT 06010-6952                         APT. #11U
                                                                                      NEW YORK NY 10021



CHARLENE WHITE                          CHARLES ALESI                                 CHARLES ANTHONY
5541 S EVERETT AVE                      47 HAVEMEYER LANE                             257 GEORGETOWN DRIVE
MUSEUM WALK APTS #103                   COMMACK NY 11725                              GLASTONBURY CT 06033
CHICAGO IL 60637-5029



CHARLES ARNONE                          CHARLES B JORDAN SR                           CHARLES BAYHA
8608 BOYER COURT                        852 AVENIDA RICARDO                           525 CROWN STREET
BAYONET POINT FL 34667                  APT 312                                       MERIDEN CT 06450
                                        SAN MARCOS CA 92069-3570



CHARLES BAZEN                           CHARLES BELL                                  CHARLES BELMONT
1903 NORMAN RD.                         4437 W. MONROE                                8 KING AVE
GLEN BURNIE MD 21060                    CHICAGO IL 60624                              MELVILLE NY 11747




CHARLES BERMAN                          CHARLES BLEAKLEY                              CHARLES BRICKER
739 N GROVE AVE                         138 EAST 38TH STREET                          1201 E CLIFTON STREET
OAK PARK IL 60302                       APT. 2C                                       TAMPA FL 33604-6809
                                        NEW YORK NY 10016



CHARLES BRIMIE                          CHARLES BRITTIN                               CHARLES BROWN
5530 W CELEBRITY CIRCLE                 11389 PROVIDENCIA STREET                      350 HIGHLAND DRIVE, T2
HANOVER PARK IL 60133                   CYPRESS CA 90630                              GLEN BURNIE MD 21061




                                               Page 356 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 357 of 800
CHARLES BUCK                             CHARLES BULINDA                             CHARLES BURKE
56 ESSEX HILL ROAD                       1448 ASH ST.                                4155 204TH STREET
WEST CORNWALL CT 06796                   LAKE OSWEGO OR 97034                        MATTESON IL 60443




CHARLES CAPILETS                         CHARLES CARROLL ASSOCIATES                  CHARLES CHERNEY
34 MARC COURT                            6820 COUNTRY LAKES CIRCLE                   6269 LINCOLN AVE
OLD BETHPAGE NY 11804                    SARASOTA FL 34242                           MORTON GROVE IL 60053




CHARLES CHOI                             CHARLES CHUNG                               CHARLES COCHRAN
30-45 HOBART STREET                      661 BERGEN BLVD                             4306 BOCA WOODS DR.
APT. 6E                                  1 FL                                        ORLANDO FL 32826
WOODSIDE NY 11377                        RIDGEFIELD NJ 07657



CHARLES CORRADO                          CHARLES COTTRILL                            CHARLES D ALLAN
914 HARTZELL STREET                      2300 JERRYS ROAD                            7928 NARDIAN WAY
PACIFIC PALISADES CA 90272               STREET MD 21154                             LOS ANGELES CA 90045




CHARLES D CHAMPLIN                       CHARLES D SMITH                             CHARLES D'AMODIO
2169 LINDA FLORA DR                      208 GENEVA STREET                           2288 VICTORY BOULEVARD
LOS ANGELES CA 90077                     HUNTINGTON BEACH CA 92648                   STATEN ISLAND NY 10314




CHARLES DAVIS                            CHARLES DELANEY                             CHARLES DEROSA
6881 BROOK HOLLOW ROAD                   1388 POTTER BLVD                            4 MARILYN STREET
LAKE WORTH FL 33467                      BAY SHORE NY 11706                          MANORVILLE NY 11949




CHARLES DICARO                           CHARLES DICKINSON                           CHARLES DREVO
9027 NW 61 STREET                        1616 E EUCLID AVENUE                        7 NORTH REED STREET
TAMARAC FL 33321                         ARLINGTON HEIGHTS IL 60004                  BEL AIR MD 21014




CHARLES DUBROVIN                         CHARLES DUNN R E SVC INC TRUST ACCOUNT      CHARLES DUNN R E SVC INC TRUST ACCOUNT
202 E. JULIA DR.                         RE: VALENCIA 27525 NEWHALL RA               800 WEST 6TH STREET 600
VILLA PARK IL 60181                      FOR: 7001A ARKA VALENCIA                    LOS ANGELES CA 90017
                                         FILE NO. 1230
                                         PASADENA CA 91199-1230


CHARLES DUNN R E SVC INC TRUST ACCOUNT   CHARLES DUNN R E SVC INC TRUST ACCOUNT      CHARLES E. YOUNG
REFERENCE ARKA VALENCIA I NO.O           STIVERS INVESTMENT GROUP (3098)             1270 W. GRAND AVENUE
FILE 1230                                800 WEST 6TH ST 600                         DECATUR IL 62522
PASADENA CA 91199-1230                   LOS ANGELES CA 90017



CHARLES EDNER                            CHARLES ELLRICH                             CHARLES FISH
1114 O'DAY DRIVE                         306 ANNA LANE                               1420 MORLING AVENUE
WINTER SPRINGS FL 32708                  SYKESVILLE MD 21784                         BALTIMORE MD 21211




                                              Page 357 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 358 of 800
CHARLES FLEISHMAN                      CHARLES FLEMING                               CHARLES FOWLER
357 HUBBS AVE                          146 ACORN AVE                                 7025 SUNSHINE AVE
HAUPPAUGE NY 11788                     CENTRAL ISLIP NY 11722                        KINGSVILLE MD 21087




CHARLES FRATES                         CHARLES FRIEL INC                             CHARLES FRISA
10405 SKYTRAIL CT. NW                  PO BOX 284                                    175 BLUE POINT ROAD
ALBUQUERQUE NM 87114                   NARBERTH PA 19072-0284                        SELDEN NY 11784




CHARLES FRY                            CHARLES G BOWMAN                              CHARLES G WILLIAMS
3894 NW 73 TER                         5995 SW 21ST AVENUE RD                        12144 FORT TEJON ROAD
CORAL SPRINGS FL 33065                 OCALA FL 34471-0145                           PEARBLOSSOM CA 93553




CHARLES GEIST                          CHARLES GILES                                 CHARLES GILLETTE
421 NORTH NIAGARA AVENUE               724 MCLAWHORNE DRIVE                          9936 S. PROSPECT
LINDENHURST NY 11757                   NEWPORT NEWS VA 23605                         CHICAGO IL 60643




CHARLES GLEN THOMAS                    CHARLES GRAU                                  CHARLES GREEN
22207 BUCKTROUT LN                     19230 NW 60TH COURT                           721 SW 19TH STREET
KATY TX 77449                          MIAMI FL 33015                                FORT LAUDERDALE FL 33315




CHARLES GREEN                          CHARLES GRIEST                                CHARLES GRISSETT
3153 NORTH HONORE STREET               439 H WILLOW CIRCLE                           3237 W. THOMAS STREET
CHICAGO IL 60657                       P.O. BOX 9331                                 CHICAGO IL 60651
                                       ALLENTOWN PA 18105



CHARLES H MOOREFIELD MD PA             CHARLES H ADAMS                               CHARLES H DALE
701 E MICHIGAN STREET                  1635 CAPE MAY RD                              5830 S. STONY ISLAND AVE
ORLANDO FL 32806                       BALTIMORE MD 21221                            APT. 13A
                                                                                     CHICAGO IL 60637



CHARLES H HINKIN PHD                   CHARLES HAMBLEY                               CHARLES HARDESTY
760 WESTWOOD PLAZA ROOM C8 747         12 BROOK AVE                                  108-25 72ND AVENUE
LOS ANGELES CA 90024                   BLUE POINT NY 11715                           #5B
                                                                                     FOREST HILLS NY 11375



CHARLES HARE                           CHARLES HART                                  CHARLES HAWLEY
2311 EVERGREEN CT.                     8101 CAPISTRANO AVENUE                        225 E. NORTH STREET
PEMBROKE PINES FL 33026                WEST HILLS CA 91304                           603
                                                                                     INDIANAPOLIS IN 46204



CHARLES HAYES                          CHARLES HENNEBEUL                             CHARLES HIRSCH
4023 N. SOUTHPORT                      30 STOOTHOFF ROAD                             825 NORTH CORDOVA STREET
UNIT #1                                EAST NORTHPORT NY 11731                       BURBANK CA 91505
CHICAGO IL 60613




                                              Page 358 of 2387
                        Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 359 of 800
CHARLES HUDSON                       CHARLES HUFFMAN                               CHARLES HUNT
4268 JACKSON AVENUE                  436 OWAD ROAD                                 2922 BENJAMIN AVENUE
CULVER CITY CA 90232                 AIRVILLE PA 17302                             ROYAL OAK MI 48073




CHARLES IVES                         CHARLES J HAESSIG                             CHARLES J VINCI
12 WASHBURN STREET                   3200 OSBORNE ROAD                             31 DEL REY
SOUTH GLENS FALLS NY 12803           CHESTER VA 23831                              RANCHO MIRAGE CA 92270




CHARLES JOHNSON                      CHARLES JORDAN                                CHARLES KILGOUR
11310 WINSTON PLACE                  17 JENSEN ROAD                                429 SCARSDALE ROAD
APT 7                                BAY SHORE NY 11706                            BALTIMORE MD 21224
NEWPORT NEWS VA 23601



CHARLES KING                         CHARLES KINNIN                                CHARLES KLEIN
3799 MILLENIA BLVD.                  133 SAYBROOKE COURT                           7639 NW 71ST WAY
APT. 205                             NEWPORT NEWS VA 23606                         PARKLAND FL 33067
ORLANDO FL 32839



CHARLES KLESS                        CHARLES LAIRD                                 CHARLES LAMAR
2448 KENILWORTH                      12562 PINON COURT                             105 WILSON PLACE
BERWYN IL 60402                      GARDEN GROVE CA 92843-4159                    FREEPORT NY 11520




CHARLES LAMBERT                      CHARLES LAUX                                  CHARLES LEE
2105 COLUMBIA AVENUE                 236 FURNACE STREET                            4235 SEBREN AVENUE
WHITEHALL PA 18052                   EMMAUS PA 18049                               LAKEWOOD CA 90713




CHARLES LEROUX                       CHARLES LIMPER                                CHARLES M SHAW
1721 W HENDERSON ST                  9796 EAST MEXICO AVENUE                       2714 LARKWOOD STREET
CHICAGO IL 60657                     APT. 1203                                     WEST COVINA CA 91791
                                     DENVER CO 80247



CHARLES MARSH                        CHARLES MC KENNEY                             CHARLES MCCORMICK
121 MARSHALL ST                      3 SKYLARK DRIVE                               5415 N SHERIDAN ROAD
WINSTED CT 06098                     ALISO VIEJO CA 92656                          APT 608
                                                                                   CHICAGO IL 60640



CHARLES MCDOWELL                     CHARLES MCGONIGLE                             CHARLES MCMILLIAN
P.O. BOX 149432                      10268 HARMONY DRIVE                           9 FOURTH STREET
ORLANDO FL 32814-9432                INTERLOCHEN MI 49643                          NESCONSET NY 11728




CHARLES MCNULTY                      CHARLES MEADE                                 CHARLES MEYERSON
328 WESTBOURNE DRIVE                 39 SHIPPEY STREET                             151 N. HARVEY AVE.
WEST HOLLYWOOD CA 90048              GLENS FALLS NY 12801                          OAK PARK IL 60302-2622




                                            Page 359 of 2387
                         Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 360 of 800
CHARLES MIANO                         CHARLES MILLAR                                CHARLES MISICKA
210 RAYMOND ROAD                      29845 MILLPOND COURT                          225 REMINGTON DR
APT. #2                               SAN JUAN CAPISTRANO CA 92675                  BARTLETT IL 60103
WEST HARTFORD CT 06107



CHARLES MOCK                          CHARLES MONELL                                CHARLES MUNOZ
9361 OLMSTEAD DR                      38 CLUB LANE                                  6212 PALM AVENUE
LAKE WORTH FL 33467                   LEVITTOWN NY 11756                            WHITTIER CA 90601




CHARLES NEMECEK                       CHARLES NEUBAUER                              CHARLES NORTON
476 TOPAZ LANE                        5206 CARLTON STREET                           332 STIEMLY AVENUE
BARTLETT IL 60103                     BETHESDA MD 20816                             GLEN BURNIE MD 21060




CHARLES NOVAK                         CHARLES O'CONNELL                             CHARLES O'GARA
8514 CABIN PLACE                      BEECH VALLEY EAST                             506 BUNKER HILL RD
RIVERSIDE CA 92508                    #11                                           HARLEYSVILLE PA 19438
                                      WEAVERVILLE NC 28787



CHARLES ORNSTEIN                      CHARLES OSGOOD                                CHARLES P LOMONACO
31 OAKWOOD AVE.                       823 15TH STREET                               511 N. DELAWARE AVE
GLEN RIDGE NJ 07028                   WILMETTE IL 60091                             LINDENHURST NY 11757




CHARLES PACKARD                       CHARLES PALMIERI                              CHARLES PARAS
360 W BADILLO #2                      2858 ROOSEVELT AVE                            3853 JEAN AVENUE
COVINA CA 91723                       BRONX NY 10465                                BETHPAGE NY 11714




CHARLES PARIS                         CHARLES PATTERSON                             CHARLES PERRY
393 MADISON AVENUE                    2258 WAUTOMA PL.                              12912 EL DORADO AVENUE
BRIDGEPORT CT 06604                   ORLANDO FL 32818                              SYLMAR CA 91342




CHARLES PESSARO                       CHARLES PETROSINO                             CHARLES PHEBUS
7110 GREENWOOD AVE                    149 SPUR DRIVE SOUTH                          709 SW 27TH WAY
BALTIMORE MD 21206                    BAY SHORE NY 11706                            BOYNTON BEACH FL 33435-7915




CHARLES PHILLIPS                      CHARLES PHILPOT                               CHARLES PICERNI
1070 W. 14TH PL                       957 FALL CIRCLE WAY                           410 PALM AVENUE #A17
CHICAGO IL 60608                      GAMBRILLS MD 21054                            CARPINTERIA CA 93013




CHARLES PILLER                        CHARLES PREST                                 CHARLES PRICE
4330 REINHARDT DR                     3830 SIENNA LANE                              16 MORN MIST COURT
OAKLAND CA 94619                      CORONA CA 92882                               PARKVILLE MD 21234




                                             Page 360 of 2387
                         Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 361 of 800
CHARLES PROCTOR                       CHARLES R INC                                 CHARLES R LEWELLEN
1229 NORTH SYCAMORE AVE.              PO BOX 20186                                  11272 SYRINGA STREET
APT. 403                              BALTIMORE MD 21284                            SANTA FE SPRGS CA 90670
LOS ANGELES CA 90038



CHARLES R REZAC                       CHARLES RAY                                   CHARLES RAYA
4744 ROSE ARBOR DR.                   2900 NW 125TH AVE                             915 CHAPEL OAKS CT.
ACWORTH GA 30101                      APT 319                                       WINTER GARDEN FL 34787
                                      SUNRISE FL 33323



CHARLES REILLY                        CHARLES REIMER                                CHARLES REINKEN
1741 AIDENN LAIR ROAD                 62 WOODVIEW LANE                              2201 SCOTT AVE.
DRESHER PA 19025                      NORTH WALES PA 19454                          LOS ANGELES CA 90026




CHARLES RENEY                         CHARLES RENNEBERG                             CHARLES RICH
11202 CYPRESS AVE                     20 OLD HILL LANE                              1963 WALTONIA DRIVE
RIVERSIDE CA 92505                    LEVITTOWN NY 11756                            APT #8
                                                                                    MONTROSE CA 91020



CHARLES ROBINSON                      CHARLES ROME                                  CHARLES ROSE
916 LOMBARD STREET                    1309 FULTON AVE.                              10740 NE 29TH STREET
BALTIMORE MD 21201                    WINTHROP HARBOR IL 60096                      APT#164
                                                                                    BELLEVUE WA 98004



CHARLES ROSS                          CHARLES RUSSELL                               CHARLES S FAWCETT
6324 W. 85TH PLACE                    9614 WATTS ROAD                               4804 WESTLAND BOULEVARD
APT. 108                              OWINGS MILLS MD 21117                         APT A
LOS ANGELES CA 90045                                                                BALTIMORE MD 21227



CHARLES SALUMN                        CHARLES SCHELL                                CHARLES SCHELLE
89 ADA DRIVE                          301 WHITE BIRCH LANE                          13913 ROCKDALE ROAD
STATEN ISLAND NY 10314                BLANDON PA 19510                              CLEAR SPRING MD 21722




CHARLES SCHNEIDER                     CHARLES SCHUMACHER                            CHARLES SCOTT AULERICH
522 N BEVERLY DR                      633 FOREST AVE.                               15811 ROAN ROAD
BEVERLY HILLS CA 90210                RIVER FOREST IL 60305                         CHINO HILLS CA 91709




CHARLES SENNET                        CHARLES SEVIVAS                               CHARLES SHERMAN
339 WEST BARRY AVENUE                 21D HARBOUR VILLAGE                           324 W. HEATHER DR.
APT. #26C                             BRANFORD CT 06405                             KEY BISCAYNE FL 33149
CHICAGO IL 60657



CHARLES SILAS                         CHARLES SILMON                                CHARLES SMITH
1531 STOCKPORT DR.                    529 49TH AVE                                  489 E. THORNWOOD DRIVE
RIVERSIDE CA 92507                    BELLWOOD IL 60104                             SOUTH ELGIN IL 60177




                                             Page 361 of 2387
                           Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 362 of 800
CHARLES STANNARD                        CHARLES STORCH                                CHARLES SWEARINGEN
14 FAIRVIEW STREET                      175 N HARBOR DRIVE                            100 S. PINE STREET
IVORYTON CT 06442                       #3908                                         CRAWFORDSVILLE IN 47933
                                        CHICAGO IL 60601



CHARLES TANKSLEY                        CHARLES TAYLOR                                CHARLES THOMPSON
30 LINDEN PLACE                         31 E. BOWEN STREET                            1904 PADRE DR
HEMPSTEAD NY 11550                      FRANKFORT IL 60423                            WEST COVINA CA 91790




CHARLES TREUTING                        CHARLES TRILLINGHAM                           CHARLES TYSON
725 TEMPLECLIFF ROAD                    109 JOHN STREET                               P.O. BOX 4453
BALTIMORE MD 21208                      APT #106                                      CHICAGO IL 60680
                                        SEATTLE WA 98109



CHARLES W FOSTER                        CHARLES WAYNE PROPERTIES                      CHARLES WEISS
72 MARINE STREET                        RE: DAYTONA BEACH BUREAU                      829 POWERS STREET
MASSAPEQUA NY 11758                     444 SEABREZE BLVD.                            BALTIMORE MD 21211
                                        SUITE 1000
                                        DAYTONA BEACH FL 32118


CHARLES WILLIS                          CHARLES YOUNG                                 CHARLES, CHARLESON
4532 DON QUIXOTE DR                     P O BOX 10883                                 4657 FRANWOOD DR
LOS ANGELES CA 90008                    POMPANO BEACH FL 33061-6883                   DELRAY BEACH FL 33445




CHARLES, FRANTZSO                       CHARLES, GARTH                                CHARLES, JEAN M
2942 DOLPHIN DR.                        2121 NW 28TH TER                              427 SW 10TH AVE
DELRAY BEACH FL 33445                   FORT LAUDERDALE FL 33311                      BOYNTON BEACH FL 33435




CHARLES, JEAN W                         CHARLES, JOHN A                               CHARLES, MACULA
324 ELLERY STREET                       8501 E ROSE LANE                              280 SW 56 TERR. # 207
BRENTWOOD NY 11717                      SCOTTSDALE AZ 85250                           MARGATE FL 33068




CHARLES, MADELON                        CHARLES, MARC H                               CHARLES, MONELLE
914 SW 3RD COURT                        6124 PEMBROKE RD NO.9                         422 LAKEVIEW RD
DELRAY BEACH FL 33444                   MIRAMAR FL 33023                              KISSIMMEE FL 34759




CHARLES, NAKEETA                        CHARLES, PLACIDE                              CHARLES, ROSEMARIE
152 RAYMOND AVE                         601 NW 42 AVE NO. 203                         422 SW 74TH AVENUE
BARRINGTON IL 60010                     PLANTATION FL 33317                           N LAUDERDALE FL 33068




CHARLES, SHAILA                         CHARLES, SMITH                                CHARLES, SOREL
1339 OTTO BLVD                          1041 N.E. 23 CT.                              5346 BONKY CT
CHICAGO HEIGHTS IL 60411                POMPANO BEACH FL 33064                        WEST PLAM BEACH FL 33415




                                               Page 362 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 363 of 800
CHARLES,WILSON                         CHARLIE AMTER                                 CHARLIE BEESON MARKETING
667 KATHY CT                           350 N. ORANGE GROVE                           720 NW DATEWOOD DR
MARGATE FL 33068                       APT #5                                        ISSAQUAH WA 98027
                                       LOS ANGELES CA 90036



CHARLIE BONILLA                        CHARLIE BOWER                                 CHARLIE CATHEY
713 1/2 N 8TH STREET                   12101 ORA STREET                              5226 W. LEMOYNE
ALLENTOWN PA 18102                     GARDEN GROVE CA 92840                         CHICAGO IL 60631




CHARLIE J WILLIAMS                     CHARLIE SMITH                                 CHARLIER, STEVE
6327 BLUESTONE STREET                  201 CASSATA DRIVE                             1309 IVY LANE
HOUSTON TX 77016                       COPIAGUE NY 11726                             #201
                                                                                     NAPERVILLE IL 60563



CHARLIES EXPRESS STOP                  CHARLIES PRINTING & SERVICE                   CHARLINE ISOM
PO BOX 7191                            4651 HUNTINGTON DR SOUTH                      6211 S. KIMBARK
ALBANY NY 12224                        LOS ANGELES CA 90032                          APT. #2S
                                                                                     CHICAGO IL 60637



CHARLOTTE BERRYMAN                     CHARLOTTE GILMAN                              CHARLOTTE HALL
10201 SPRING WATER LANE                2524 STANMORE                                 1851 FORREST ROAD
UPPER MARLBORO MD 20772                HOUSTON TX 77019-3426                         WINTER PARK FL 32789




CHARLOTTE MERRIAM                      CHARLOTTE O'BRIEN                             CHARLOTTE OBSERVER
4354 ANTIETAM CREEK TRAIL              5555 N SHERIDAN RD.                           PO BOX 32188
LEESBURG FL 34748                      1101                                          CHARLOTTE NC 28232
                                       CHICAGO IL 60640



CHARLOTTE OBSERVER                     CHARLOTTE SANFORD                             CHARLOTTE T WIARD
PO BOX 70111                           980 TOMES COURT                               2 S 643 GLOUCESTER
CHARLOTTE NC 28272-0111                ORLANDO FL 32825                              OAK BROOK IL 60521




CHARLOTTE WILK                         CHARLOTTE WILLIAMS                            CHARLTON NORMAN
1702 DECATUR BLVD.                     1249 S HAYWORTH AVENUE                        P. O. BOX 896
APT. 1                                 LOS ANGELES CA 90035                          BALBOA CA 92661
LAS VEGAS NV 89108



CHARLTON, VICKIE                       CHARLYNE THOMPSON                             CHARLYNE VARKONYI SCHAUB
2123 MCKINLEY ST                       1214 4TH STREET                               2022 VALENCIA DR
HOLLYWOOD FL 33020                     WEST BABYLON NY 11704                         DELRAY BEACH FL 33445




CHARMAINE BLYGEN                       CHARMAINE BROWN                               CHARMAINE CANDLER
2251 NW 57TH AVE                       1215 1/2 TILGHMAN STREET                      6431 S. RICHMOND
LAUDERHILL FL 33313                    ALLENTOWN PA 18102                            2ND FLOOR
                                                                                     CHICAGO IL 60629




                                              Page 363 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 364 of 800
CHARNEE LAVERGNE                       CHARRY, HANNAH                                CHARRY, HANNAH
74 CHESTNUT STREET                     144 RIDGE RD                                  144 RIDGE ROAD
BRENTWOOD NY 11717                     MIDDLETON CT 06457                            MIDDLETOWN CT 06457




CHARTER COMMUNICATIONS                 CHARTER COMMUNICATIONS                        CHARTER COMMUNICATIONS
DBA CHARTER MEDIA                      6399 S FIDDLERS GREEN CIR STE 600             12405 POWERSCOURT DRIVE
6399 S FIDDLERS GREEN CIRC             GREENWOOD VILLAGE CO 80111                    ST. LOUIS MO 63131-3674
GREENWOOD VILLAGE CO 80111



CHARTER COMMUNICATIONS                 CHARTER COMMUNICATIONS                        CHARTER COMMUNICATIONS
3660 S GEYER RD STE 250                JILL INMAN                                    PO BOX 790156
ST LOUIS MO 63127                      941 CHARTER COMMONS DRIVE                     ST LOUIS MO 63179
                                       CHESTERFIELD MO 63017



CHARTER COMMUNICATIONS                 CHARTER COMMUNICATIONS                        CHARTER COMMUNICATIONS OPERATING LLC
DBA CHARTER MEDIA                      DBA CHARTER MEDIA                             3443 LORNA LN
640 BROADMOR BLVD STE 80               PO BOX 1379                                   BIRMINGHAM AL 35216
MURFREESBORO TN 37129                  ATTN ACCOUNTS RECEIVABLE
                                       MURFREESBORO TN 37133


CHARTER COMMUNICATIONS OPERATING LLC   CHARTER COMMUNICATIONS OPERATING LLC          CHARTER COMMUNICATIONS OPERATING LLC
3535 GRANDVIEW PARKWY                  PO BOX 383276                                 11 COMMERCE RD
STE 444                                BIRMINGHAM AL 35238                           NEWTOWN CT 06470
BIRMINGHAM AL 35243



CHARTER COMMUNICATIONS OPERATING LLC   CHARTER COMMUNICATIONS OPERATING LLC          CHARTER COMMUNICATIONS OPERATING LLC
12405 POWERSCOURT DR                   ATTN ACCOUNTS RECEIVABLE                      5618 ODANA RD STE 150
ST LOUIS MO 63131                      PO BOX 1379                                   MADISON WI 53719
                                       MURFREESBORO TN 37133



CHARTER OAK CULTURAL CENTER            CHARTER OAK STATE COLLEGE                     CHARTER OAK STATE COLLEGE
21 CHARTER OAK AVE                     ATN: SHIRLEY RUDOLPH                          ATTN MEREL HARRIS
HARTFORD CT 06106                      C/O BSAA                                      55 PAUL MANAFORT DRIVE
                                       55 PAULA J MANAFORT DR                        NEW BRITAIN CT 06053
                                       NEW BRITAIN CT 06052-1147


CHARTOF, BRIAN L                       CHARTPAK INC                                  CHARU GULIANI
85 FANSHAW C                           ONE RIVER ROAD                                5420 N SHERIDAN
BOCA RATON FL 33434                    LEEDS MA 01053                                405
                                                                                     CHICAGO IL 60640



CHASE AGNELLO-DEAN                     CHASE FAMILY INTEREST NO. 7 LLC               CHASE GARETTO
1935 S. ARCHER AVE.                    RE: RATTLESNAKE MTN. WTIC-2                   1700 N EVERGREEN STREET
APT. #522                              C/O CHASE ENTERPRISES                         BURBANK CA 91505
CHICAGO IL 60616                       280 TRUMBULL STREET, 24TH FLOOR
                                       HARTFORD CT 06103


CHASE SPORTS SPECIALIST                CHASE, ADAM                                   CHASE, MARK QUINTEN
7650 S MCCLINTOCK DRIVE                128 BABCOCK HILL RD                           509 N VERMILION ST
SUITE 103, NO. 422                     SOUTH WINDHAM CT 06266                        DANVILLE IL 61832
TEMPE AZ 85284




                                              Page 364 of 2387
                           Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 365 of 800
CHASE-WARD, ANDREA                      CHASEWOOD DOWNS                               CHASITI THOMAS
2609 SUMMERFIELD WAY                    PO BOX 10397                                  1165 NORTH MILWAUKEE
LAWRENCEVILLE GA 30044                  BLACKSBURG VA 24062                           UNIT #2406
                                                                                      CHICAGO IL 60622



CHASITY ROBERTS                         CHASITY WHISBY                                CHASSIAKOS REID, YOLANDA
3212 N RAVENSWOOD AVE                   10310SW 113TH TERRACE                         PO BOX 15465
#1                                      PEMBROKE PINES FL 33025                       LONG BEACH CA 90815
CHICAGO IL 60657



CHAT MEDIA                              CHATFIELD, PHIL                               CHATFIELD, PHIL
9061 KEITH AVENUE NO.109                141 AIRLINE AVENUE                            41 IVERNESS LANE
HOLLYWOOD CA 90069                      PORTLAND CT 06480                             MIDDLETOWN CT 06457-4153




CHATHAN, LANITA Y                       CHATMAN, MIKE                                 CHATMAN, WINTER
4494 HUNTSMAN BEND                      12315 RHEA DR 01750                           120 W SEDGWICK ST
DECATUR GA 30034                        PLAINFIELD IL 60544                           PHILADELPHIA PA 19119




CHATTANOOGA PUBLISHING COMPANY          CHATTANOOGA PUBLISHING COMPANY                CHAU LAM
400 E 11TH STREET                       PO BOX 1447                                   8 EAST 12TH STREET
CHATTANOOGA TN 37401                    CHATTANOOGA TN 37401-1447                     APT. 2
                                                                                      NEW YORK NY 10003



CHAUDHURE, JAY J                        CHAUNCEY MABE                                 CHAUVAIN, SAMUEL
820 GRAHAM ST                           3003 TERRAMAR STREET                          2424 NW 39TH WAY APT 102
RALEIGH NC 27605                        APT 704                                       LAUDERDALE LAKES FL 33311
                                        FORT LAUDERDALE FL 33304



CHAVENESE FORBES                        CHAVES, AURORA                                CHAVES, AURORA
15 WILSON AVENUE                        13249 JADE GARDEN DR APT 202                  13249 JADE GARDEN DR APT 202
DEER PARK NY 11729                      STE 2005                                      ORLANDO FL 32824
                                        ORLANDO FL 32824



CHAVES, JAIME                           CHAVETTE DUMAS                                CHAVEZ, ALLIE NICOLE
520 RADFORD TER                         111 N. EUCALYPTUS                             29558 WOODBROOK DR
DAVIE FL 33325                          APT#25                                        AGOURA HILLS CA 91301
                                        INGLEWOOD CA 90301



CHAVEZ, CARLOS A                        CHAVEZ, JUAN                                  CHAVEZ, KRISTY
2165 SCENIC PARK STREET                 3110 SW 61ST TERRACE                          601 S LONE OAK DR
THOUSAND OAKS CA 91362                  DAVIE FL 33314                                LEESBURG FL 34748




CHAVEZ, LINDA                           CHAWKINS, JANE B                              CHAWLA, KIRANPRIT
150 MOUNTAIN RIDGE TRL                  1585 SAN NICHOLAS ST                          212 LANSDOWNE DR
COVINGTON GA 30016                      VENTURA CA 93001                              SLIDELL LA 70461




                                               Page 365 of 2387
                         Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 366 of 800
CHAYES, MATTHEW                       CHE STUDIOS                                   CHECCHIA, ANNE M
2950 137TH ST                         2061 THIRD ST UNIT E                          500 VIRGINIA AVE
FLUSHING NY 11354                     RIVERSIDE CA 92507                            HAVERTOWN PA 19083




CHECKFREE SERVICES CORPORATION        CHECKFREE SERVICES CORPORATION                CHECKFREE SERVICES CORPORATION
PO BOX 102594                         6000 PERMETER DR                              PO BOX 2168
ATLANTA GA 30368                      ATTN CREDIT RETURNS                           COLUMBUS OH 43216
                                      DUBLIN OH 43017



CHEDEKEL, LISA S                      CHEE-KEONG CHENG                              CHEEK, JAMES
5 DERBY STREET                        138 HITCHING POST LANE                        9359 JAMIE DR
WEST NEWTON MA 02465                  YORKTOWN HEIGHTS NY 10598                     DAVISON MI 48423




CHEEK, JAMES                          CHEEK, RAYMOND                                CHEEMA, SUSHIL
9359 JAMIE DR                         600 NE 13TH STREET                            50 LEXINGTON AVE 14A
DAVISON MI 49423                      FT LAUDERDALE FL 33304                        NEW YORK NY 10010




CHEERS CATERING INC                   CHEERS CATERING INC                           CHEESEBOROUGH, LAWRENCE
19431 BUSINESS CENTER DRIVE           4700 WESTERN HERITAGE WAY                     1232 WEST 33RD STREET
SUITE 1                               LOS ANGELES CA 90027                          RIVIERA BEACH FL 33404
NORTHRIDGE CA 91324



CHEESEBOROUGH, STEPHEN M              CHEEVES, JACKIE                               CHEHABI, HAITHAM
1910 W 23RD STREET                    31 LUKE DR                                    145 IRVINE COVE COURT
RIVIERA BEACH FL 33404                PASADENA MD 21122                             LAGUNA BEACH CA 92651




CHEIK KONE                            CHELAN COUNTY TREASURER                       CHELE DEAN
5724 1/2 SOUTH FAIRFAX                PO BOX 1441                                   713 LINDEN AVENUE
LOS ANGELES CA 90056                  WENATCHEE WA 98807-1441                       ELIZABETH NJ 07202




CHELIN, PAMELA                        CHELSEA ADAMS                                 CHELSEA ASHER
1836 N NEW HAMPSHIRE AVE SUITE 103    2 SIMSBERRY ROAD                              7819 CLARKSWORTH PLACE
LOS ANGELES CA 90027                  NAUGATUCK CT 06770                            BALTIMORE MD 21234




CHELSEA HANDLER INC                   CHELSEA MATTER                                CHELSEA PHOTOGRAPHIC SERVICES
2118 WILSHIRE BLVD NO.1053            1350 N. LAKE SHORE DR.                        43 WEST 24TH ST 3RD FLR
SANTA MONICA CA 90403                 #212                                          NEW YORK NY 10010
                                      CHICAGO IL 60610



CHELSEA ROY                           CHELSEA WOODALL                               CHEM WARE CORPORATIO
52 BOLTON STREET                      P.O. BOX 1358                                 317 WEBSTER AVENUE
MANCHESTER CT 06042                   WILLIAMSBURG VA 23187                         SUITE 1
                                                                                    BROOKLYN NY 11230




                                             Page 366 of 2387
                        Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 367 of 800
CHEMERINSKY, ERWIN                   CHEN FONG                                     CHEN, JULIE
2 HARVEY COURT                       14239 SW 115TH TERRACE                        17860 CALLE SAN LUCAS
IRVINE CA 92617                      MIAMI FL 33186                                ROWLAND HEIGHTS CA 91748




CHEN, MICHELLE ZHONG MEI             CHENERY, SUSAN                                CHENESSA ROBERSON
75 GRAND ST APT 2E                   3/8 ASHLEY ST TAMARAMA                        730 RIDGE AVENUE
NEW YORK NY 10013                    SYNDEY, ACT                                   EVANSTON IL 60202




CHENG WU                             CHENG, CHARLENE                               CHENG, DUSTIN
3648 ARDEN DRIVE                     17883 BAINTREE AVE                            212 NEILSON RD
APT. D                               ROWLAND HTS CA 91748                          NEW SALEM MA 01355
EL MONTE CA 91731



CHENG, FAYE                          CHENG, GRACE                                  CHENG, LETICIA
49 CAMBRIDGE DR                      6116 SYRACUSE COURT                           765 FOREST GREEN DR
OAK BROOK IL 60523                   CLARKSVILLE MD 21029                          LA CANADA CA 91011




CHENG, SCARLET                       CHENG, TRINA                                  CHENOWETH, GREGG A
417 N ETHEL AVE                      218-67 GRAND CENTRAL PARKWAY                  370 BUCKMAN DRIVE
ALHAMBRA CA 91801                    HOLLIS HILLS NY 11427                         BOURBONNAISE IL 60914




CHERANCY, DJOHNSON                   CHERCOLES, MARIA                              CHERI HANLEY
400 NW 65 AVE #109                   2147 SW EIGHTH ST         STE 2               1920 W. NELSON
MARGATE FL 33063                     MIAMI FL 33135                                CHICAGO IL 60657




CHERI MOSSBURG                       CHERICA WILLIAMS                              CHERICE AMILL
7114 ALLMAN AVENUE                   954 N. FRANKLINTOWN ROAD                      2768 S. UNIVERSITY DR.
SNOQUALMIE WA 98065                  BALTIMORE MD 21216                            12B
                                                                                   DAVIE FL 33328



CHERILUS,CHERY                       CHERISE WILLIAMS                              CHERISMA, MARC ROBERT
592 N REDWOOD DR                     4500 FAIRVIEW AVENUE                          1002 W PINE STREET
LAKE PARK FL 33403                   BALTIMORE MD 21216                            LANTANA FL 33462




CHERISTIN, FRITZLINE                 CHERISTIN, LOUNDARIE                          CHERISTIN, VINER
307 NW 5TH AVENUE                    307 NW 5TH AVE                                307 NW 5TH AVENUE
DELRAY BEACH FL 33444                DELRAY BEACH FL 33444                         DELRAY BEACH FL 33444




CHERIVAL, MARIE J                    CHERLYN ANN DATA                              CHERNAY PRINTING INC
3601 MONROE STREET                   4818 W 97TH ST                                PO BOX 199
HOLLYWOOD FL 33021                   OAK LAWN IL 60453                             COOPERSBURG PA 18036




                                            Page 367 of 2387
                         Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 368 of 800
CHEROKEE                              CHEROKEE                                      CHERRY GEE
6801 SIMMS STREET                     ANIMAL KINGDOM                                2329 MEADOW VALLEY TERRACE
HOLLYWOOD FL 33024                    3510 NW 94TH AVE                              LOS ANGELES CA 90039
                                      HOLLYWOOD FL 33024



CHERRY MCDONOUGH, JAMES               CHERRY ROSS                                   CHERRY, ALAN R
6545 SW 20TH CT                       2048 W. 135TH PLACE                           6545 SW 20 CT
PLANTATION FL 33317                   APT 3                                         PLANTATION FL 33317
                                      BLUE ISLAND IL 60406



CHERRY, JACQUENETTE                   CHERRY, LISA J                                CHERRY,ROCKY T
1432 S KEELER                         13 FERGUSON LANE                              5624 GLENEAGLES DR
CHICAGO IL 60623                      NEWPORT NEWS VA 23601                         PLANO TX 75093




CHERRY-ANN GUERRERO                   CHERVYN JIMENEZ                               CHERY II, GREGOIRE
607 GROVE AVENUE                      P.O. BOX 4722                                 3750 SW 48TH AVENUE NO.207
BENSENVILLE IL 60106                  GLENDALE CA 91222                             PEMBROKE PARK FL 33023




CHERY, ANTONIO                        CHERY, DANIA                                  CHERY, JUDE
4151 SW 67TH AVE APT 115C             1932 SW 47TH AVE                              6500 NW MIAMI CT
DAVIE FL 33314                        FORT LAUDERDALE FL 33317                      MIAMI FL 33150




CHERY,GAMAR                           CHERYL A BROWNSTEIN                           CHERYL A THOMAS
51 BUXTON LANE                        P.O. BOX 3724                                 525 S. CONWAY RD.
BOYNTON BEACH FL 33426                LONG BEACH CA 90803                           UNIT #69
                                                                                    ORLANDO FL 32807



CHERYL ALLI                           CHERYL AMICO                                  CHERYL ANDERSON
5422 GAUCHO WAY                       92 PALAMINO CIRCLE                            6536 RIVER CLYDE DRIVE
ORLANDO FL 32810                      BOCA RATON FL 33487                           HIGHLAND MD 20777




CHERYL AYERS                          CHERYL BAKER                                  CHERYL BARBER
4115 CYPRESS BEND                     1504 NORTH NEW STREET                         4539 W 159TH STREET #3
GENEVA FL 32732                       BETHLEHEM PA 18018                            LAWNDALE CA 90260




CHERYL BLAIR                          CHERYL BOGG                                   CHERYL BONAVITA
211 ROCKINGHAM DR                     816 S. ADAMS STREET                           315 BRAINERD STREET
NEWPORT NEWS VA 23601                 APT. #A202                                    SOUTH HADLEY MA 01075
                                      WESTMONT IL 60559



CHERYL BOONE                          CHERYL BORDE-JOHNSON                          CHERYL BOWLES
626 HEMLOCK ROAD                      345 WEST 145TH STREET                         4328 N. HERMITAGE
NEWPORT NEWS VA 23601                 9B2                                           #GDN
                                      NEW YORK NY 10031                             CHICAGO IL 60613




                                             Page 368 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 369 of 800
CHERYL CALDWELL                        CHERYL CLARK                                  CHERYL CLEMENS
5451 LYNVIEW AVE                       4520 NORTH MOZART STREET                      7720 BLUEBERRY HILL
BALTIMORE MD 21215                     CHICAGO IL 60625                              ELLICOTT CITY MD 21043




CHERYL CLENDANIEL                      CHERYL COHEN                                  CHERYL CONGDON
63 GERALD DRIVE                        4400 NW 30 ST                                 6741 OLD VALLEY STREET
MANCHESTER CT 06040                    #223                                          LAS VEGAS NV 89149
                                       COCONUT CREEK FL 33066



CHERYL CONWAY                          CHERYL FATZINGER                              CHERYL FONG
62 BETHANY DRIVE                       218 VILLAGE WALK DRIVE                        349 CORNWALL STREET
COMMACK NY 11725                       MACUNGIE PA 18062                             HARTFORD CT 06112




CHERYL FREED                           CHERYL FROST                                  CHERYL GREER
13118 GRAPE AVENUE                     2740 NE 15TH TERRACE                          3 BRENT CRESCENT
GRAND ISLAND FL 32735                  WILTON MANORS FL 33334                        PORTSMOUTH VA 23703




CHERYL GUERRERO                        CHERYL HALL                                   CHERYL HARPY
5500 SOUTH SHORE DRIVE                 6217 NORA STREET                              7733 TELEGRAPH RD..
APT. #1804                             METAIRIE LA 70003                             #78
CHICAGO IL 60637                                                                     SEVERN MD 21144



CHERYL HAUGHNEY                        CHERYL JACKSON                                CHERYL KIRCHNER
1231 WEST WALNUT STREET                1874 W 92ND STREET                            29 RUSSELL AVENUE
ALLENTOWN PA 18102                     LOS ANGELES CA 90047                          BETHPAGE NY 11714




CHERYL KIZER                           CHERYL L HARVEY                               CHERYL LAUGHLIN
7434 S. CRANDON                        17 SENECA DR                                  900 SOUTH MEADOWS PARKWAY
APT 1                                  MERIDEN CT 06450-7413                         APT 5321
CHICAGO IL 60649                                                                     RENO NV 89521



CHERYL LAVIN RAPP                      CHERYL LICORISH                               CHERYL LITTLETON
13653 EAST WEATHERSFIELD ROAD          3721 NW 115TH AVE                             123 WEST 114TH STREET
SCOTTSDALE AZ 85259                    CORAL SPRINGS FL 33065                        CHICAGO IL 60628




CHERYL LUMPKIN                         CHERYL LYNN JOHNSON                           CHERYL MALDONADO
7300 GRANT STREET                      6112 S. ARTESIAN                              4515 SILVER TIP DRIVE
HOLLYWOOD FL 33024                     CHICAGO IL 60629                              WHITTIER CA 90601




CHERYL MC MAHON                        CHERYL NEKOS                                  CHERYL NELLIS
P. O. BOX 431234                       4001 HILLCREST DRIVE                          4033 34TH AVENUE SW
LOS ANGELES CA 90043                   #1015                                         SEATTLE WA 98126
                                       HOLLYWOOD FL 33021




                                              Page 369 of 2387
                         Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 370 of 800
CHERYL NERING                         CHERYL NICHOLAS                               CHERYL NOBLES
6188 WILLOUGHBY CIRCLE                77 ALFRED DRIVE                               124 SMITH STREET
LAKE WORTH FL 33463                   TOLLAND CT 06084                              APT 4K
                                                                                    FREEPORT NY 11520



CHERYL PARKER                         CHERYL RIDDLE                                 CHERYL ROBERTO
5802 LAKEFIELD DRIVE                  45 QUAKER STREET                              2 DALE DRIVE
INDIANAPOLIS IN 46254                 APT# A                                        GREENWICH CT 06831
                                      GRANVILLE NY 12832



CHERYL ROBERTSON-MCALLISTER           CHERYL ROMANO                                 CHERYL SACK
6903 S. MERRILL                       37 LACROSS ST                                 1114 SW MIDDLE STREET
3RD FLOOR                             HUDSON FALLS NY 12839                         SAILBOAT BEND FL 33312
CHICAGO IL 60649



CHERYL SAJEWSKI                       CHERYL SILENCE                                CHERYL STAUBLEY
8516 BANGOR DRIVE                     1121 ROBIN HILL CT.                           1 CHATHAM LN
TINLEY PARK IL 60477                  BEL AIR MD 21015                              BURLINGTON CT 06013-2316




CHERYL THOMAS                         CHERYL VEILLEUX                               CHERYL WAGNER-RODRIGUZ
82-54 261ST STREET                    39 PATRICIA DRIVE                             1530 1/2 W. GORDON STREET
FLORAL PARK NY 11004                  VERNON CT 06066                               ALLENTOWN PA 18102




CHERYL WHITE                          CHERYL WIKMAN                                 CHERYL WILLIAMS
29 PERRY LANE                         3864 SOUTH MISSION PARKWAY                    9014 NW 45TH COURT
WHEATLEY HEIGHTS NY 11798             AURORA CO 80013                               SUNRISE FL 33351




CHERYL WULF                           CHERYL YOHAI                                  CHERYLYNN CALVIN
5306 PINE TRAILS CIR                  19 TERRA MAR DRIVE                            600 SOUTH CURSON AVE.
PLAINFIELD IL 60586                   HUNTINGTON BAY NY 11743                       APT#603
                                                                                    LOS ANGELES CA 90036



CHERYRELL FRANKLIN-DUNCAN             CHESAPEAK COATING SERVICES                    CHESAPEAKE GREENS LLC
3711 W. 81ST PL.                      PO BOX 219                                    1726 GOOD HOPE DR
CHICAGO IL 60652                      DALLASTOWN PA 17313                           CROFTON MD 21114




CHESAPEAKE LOGOS & PROMOS             CHESAPEAKE NEWS ASSOCIATION                   CHESAPEAKE NEWS ASSOCIATION
9 MANOR KNOLL CT                      C/O ASSOCIATED PRESS                          C/O THE ASSOCIATED PRESS
BALDWIN MD 21013                      218 N CHARLES ST STE 330                      ATTN: DIANE WOODFIELD
                                      BALTIMORE MD 21201                            222 ST PAUL PLACE, SUITE 400
                                                                                    BALTIMORE MD 21202


CHESAPEAKE PROFESSIONAL WOMENS        CHESAPEAKE PUBLISHING CORP                    CHESAPEAKE PUBLISHING CORP
PO BOX 654                            29088 AIRPARK DR                              601 N BRIDGE ST
BEL AIR MD 21014                      PO BOX 600                                    ELKTON MD 21921
                                      EASTON MD 21601




                                             Page 370 of 2387
                        Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 371 of 800
CHESAPEAKE PUBLISHING CORP           CHESAPEAKE PUBLISHING CORP                    CHESAPEAKE PUBLISHING CORP
PO BOX 30                            PO BOX 429                                    216 IRONBOUND RD
217 HIGH ST                          ELKTON MD 21922-0429                          WILLIAMSBURG VA 23188
CHESTERTOWN MD 21620



CHESAPEAKE TELEPHONE                 CHESBROUGH, JENENE                            CHESH, CHRISTOPHER
8225A CLOVERLEAF DR.                 562 PARK PLACE NO.3                           935 S 10TH ST
MILLERSVILLE MD 21108                BROOKLYN NY 11238                             ALLENTOWN PA 18103




CHESHIER, LONNIE                     CHESNER DUGAZON                               CHESTER BROOKS
3215 RAEFORD RD                      6506 VERNON ST.                               6036 SW 19TH PLACE
ORLANDO FL 32806                     ORLANDO FL 32818                              NORTH LAUDERDALE FL 33068




CHESTER FRENCH RECORDING LLC         CHESTER HUMPHREY                              CHESTER PACUCCI
C/O GELFAND RENNERT & FELDMAN LLC    2923 NORTH TROY STREET                        1764 WHISPERING COURT
1880 CENTURY PARK EAST NO.1600       CHICAGO IL 60618                              ADDISON IL 60101
LOS ANGELES CA 90067



CHESTER SIWIK                        CHESTER SZPAK                                 CHESTER W PIERZGALSKI
38 QUAIL HOLLOW CLOSE                1031 BERGANOT TRAIL                           675 W DOERR PATH
VERNON CT 06066                      CASTLE ROCK CO 80104                          HERNANDO FL 34442-6119




CHEUNG LUI                           CHEUNG, CLEMENT                               CHEUNG, NADINE
2238 PARKSIDE AVENUE #202            26617 CABALETTA DR                            26-80 30TH STREET NO.2J
LOS ANGELES CA 90031                 SANTA CLARITA CA 91350                        ASTORIA NY 11102




CHEUNG, PHILIP                       CHEUNG, STEVE WUN KI                          CHEUNG, WONG LILY
5830 SULTANA AVE                     597 NW 208TH DR                               3304 PENDLETON DR
TEMPLE CITY CA 91780                 PEMBROKE PINES FL 33029                       SILVER SPRINGS MD 20902




CHEUSE, ALAN                         CHEUSE, ALAN                                  CHEVERE, EDUARDO
150 SUNNYSIDE AVE                    3611 35TH STREET NW                           711 N WINTER PARK DR
SANTA CRUZ CA 95062                  WASHINGTON DC 20016                           CASSELBERRY FL 32707




CHEVERE, JONATHAN                    CHEVRETTE, DAN                                CHEVRETTE, DAN
1782 MAIN ST                         438 NORMANDIE LN 737                          DBA UPR DISTRIBUTION
NORTHAMPTON PA 18067                 ROUND LAKE BEACH IL 60073                     438 NORMANDIE LN
                                                                                   ROUND LAKE BEACH IL 60073



CHEVRETTE-DAVISON, MARY              CHEVRON TEXACO INC                            CHEVRON TEXACO INC
670 NORTHWIND LANE                   2001 DIAMOND BLVD                             PO BOX 70887
1765                                 CONCORD CA 94520                              CHARLOTTE NC 28272-0887
LAKE VILLA IL 60046




                                            Page 371 of 2387
                         Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 372 of 800
CHEVRON USA INC                       CHEVRON USA INC                               CHEYENNE NEWSPAPERS INC
P O BOX 9560                          PO BOX 2001                                   WYOMING TRIBUNE EAGLE
CONCORD CA 94529-0001                 CONCORD CA 94529-1956                         702 W LINCOLNWAY
                                                                                    CHEYENNE WY 82001



CHEYENNE SALOON                       CHGO NATL LEAGUE BALL CL                      CHIAKI KAWAJIRI
128 W CHURCH ST STE 13                1060 W. ADDISON STREET                        602 HOLLEN ROAD
ORLANDO FL 32801                      CHICAGO IL 60613                              BALTIMORE MD 21212




CHIAPUTTI, BRENNA                     CHIARELLI, DONNA H                            CHIARENZA, VINCENT N
1428 BLVD                             244 E WALNUT ST                               215 STEVENAGE DRIVE
WEST HARTFORD CT 06119                KUTZTOWN PA 19530                             LONGWOOD FL 32779




CHIASSON, SCOTT                       CHIASSON, TODD JOSEPH                         CHIAVARO, RONALD
40 DAMATO DR                          1012 ELISE AVE                                4 ACRE VIEW DR
OAKDALE CT 06370                      METAIRIE LA 70003                             NORTHPORT NY 11768




CHICA, LUZ                            CHICAGO ADVERTISING COED SOFTBALL             CHICAGO AREA GAG
538 TURNER ST                         ATTN SARAH MAXWELL                            9959 S WINSTON AVE
BETHLEHEM PA 18018                    1628 N ROCKWELL                               CHICAGO IL 60643-1325
                                      CHICAGO IL 60647



CHICAGO AREA GAG                      CHICAGO AREA HEALTHCARE RECRUITERS            CHICAGO AREA HEALTHCARE RECRUITERS
PO BOX 437065                         3 ERIE COURT                                  C/O HIGHLAND PARK HOSPITAL HR
CHICAGO IL 60643                      OAK PARK IL 60302                             718 GLENVIEW
                                                                                    HIGHLAND PARK IL 60035



CHICAGO AREA HEALTHCARE RECRUITERS    CHICAGO AREA HEALTHCARE RECRUITERS            CHICAGO AREA HEALTHCARE RECRUITERS
NORTHWEST COMMUNITY HOSPITAL          NORTHWESTERN MEMORIAL HOSPITAL                RECRUITERS
800 W CENTRAL RD                      251 E HURON                                   200 BERT EAU AVE
ARLINGTON HEIGHTS IL 60005            JACKIE WILHELM, HR, OLSON 1ST FLOOR           ATTN CHRISTINA PURCELL
                                      CHICAGO IL 60611                              ELMHURST IL 60126


CHICAGO AREA HEALTHCARE RECRUITERS    CHICAGO AREA HEALTHCARE RECRUITERS            CHICAGO AREA HEALTHCARE RECRUITERS
RECRUITERS                            RUSH NORTH SHORE MEDICAL CTR                  ST ALEXIUS MEDICAL CTR
C/O ENH                               9600 GROSS POINT ROAD                         1555 BARRINGTON RD
2650 RIDGE AVE                        SKOKIE IL 60076                               ATTN JASON BURRIS
EVANSTON IL 60211                                                                   HOFFMAN ESTATES IL 60194


CHICAGO ASSOCIATION OF                CHICAGO AUTO TRADE ASSOC                      CHICAGO BEARS FOOTBALL CLUB
DIRECT MARKETING                      18W200 BUTTERFIELD ROAD                       1000 FOOTBALL DRIVE
203 N WABASH AVE                      OAKBROOK TERRACE IL 60181-4810                HALAS HALL AT CONWAY PARK
SUITE 2100                                                                          LAKE FOREST IL 60045
CHICAGO IL 60601


CHICAGO BEARS FOOTBALL CLUB           CHICAGO BEARS FOOTBALL CLUB                   CHICAGO BEARS FOOTBALL CLUB
38978 EAGLE WAY                       97738 EAGLE WAY                               PO BOX 77-97738
CHICAGO IL 60678-1389                 CHICAGO IL 60678-9770                         CHICAGO IL 60678-7738




                                             Page 372 of 2387
                        Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 373 of 800
CHICAGO BEARS FOOTBALL CLUB          CHICAGO BLIND MAINTENANCE                     CHICAGO BLIND MAINTENANCE
PO BOX 97738                         2128 N. DAMEN                                 4241 NORTH ALBANY AVENUE
CHICAGO IL 60678-7738                CHICAGO IL 60647                              CHICAGO IL 60618




CHICAGO BLIND MAINTENANCE            CHICAGO BLIND MAINTENANCE                     CHICAGO BOTANIC GARDEN
4454 S KEDZIE AVENUE                 4949 W MELROSE ST                             1000 LAKE COOK ROAD
CHICAGO IL 60632                     CHICAGO IL 60641                              ATTN MARY SCHLAX
                                                                                   GLENCOE IL 60022



CHICAGO BOYZ ACROBATIC TEAM          CHICAGO BUILDING CONSULTING SERVICES          CHICAGO BULLS
1235 SPRAIRIE AVE NO.2706            205 WEST RANDOLPH ST                          1901 WEST MADISON
CHICAGO IL 60605                     SUITE 650                                     CHICAGO IL 60612
                                     CHICAGO IL 60606



CHICAGO BULLS                        CHICAGO BULLS                                 CHICAGO BULLS
1901 W MADISON STREET                1901 WEST MADISON STREET                      UNITED CENTER
ATTN: SEASON TICKETS                 CHICAGO IL 60612-2459                         1901 W MADISON STREET
CHICAGO IL 60612-2459                                                              CHICAGO IL 60612



CHICAGO CANINE RESCUE FOUNDATION     CHICAGO CHIROPRACTIC AND SPORTS INJURY        CHICAGO COMMUNICATION SERVICE
3304 N BROADWAY BOX NO.178           ATTN DR ALDEN CLENDENIN                       2669 PAYSPHERE CIRCLE
CHICAGO IL 60657                     2654 N LINCOLN AVE                            CHICAGO IL 60674
                                     CHICAGO IL 60614



CHICAGO COMMUNICATION SERVICE        CHICAGO COMMUNICATION SERVICE                 CHICAGO CUBS CHARITIES
4493 PAYSPHERE CIRC                  PO BOX 97360                                  1060 W ADDISON
CHICAGO IL 60674                     CHICAGO IL 60690                              CHICAGO IL 60613




CHICAGO CUBS DOMINICAN BASEBALL      CHICAGO DEFENDER CHARITIES INC                CHICAGO DEFENDER CHARITIES INC
OPERATIONS, LLC                      2400 S MICHIGAN AVENUE                        ATTN COLONEL EUGENE SCOTT
1060 W. ADDISON                      % JAMES WHEELER                               700 E OAKWOOD BLVD 6TH FLOOR
CHICAGO IL 60613                     CHICAGO IL 60616                              CHICAGO IL 60653



CHICAGO DEFERRED EXCHANGE CO LLC     CHICAGO DEPARTMENT OF REVENUE                 CHICAGO DEPARTMENT OF REVENUE
135 S LASALLE ST                     121 N LASALLE ROOM 501                        121 N LASALLE RM 107
CHICAGO IL 60603                     CHICAGO IL 60602                              CHICAGO IL 60602




CHICAGO DEPARTMENT OF REVENUE        CHICAGO DEPARTMENT OF REVENUE                 CHICAGO DEPARTMENT OF REVENUE
22149 NETWORK PL                     333 S. STATE STREET                           8034 INNOVATION WAY
CHICAGO IL 60673-1221                ACCOUNTING DIV RM 420                         CHICAGO IL 60682
                                     CHICAGO IL 60604-3977



CHICAGO DEPARTMENT OF REVENUE        CHICAGO DEPARTMENT OF REVENUE                 CHICAGO DEPARTMENT OF REVENUE
8097 INNOVATION WAY                  PO BOX 5233                                   WARRANTS FOR COLLECTION UNIT
CHICAGO IL 60662                     CHICAGO IL 60680-5233                         333 S STATE STREET ROOM 540
                                                                                   CHICAGO IL 60604




                                            Page 373 of 2387
                         Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 374 of 800
CHICAGO ELECTRIC SALES                  CHICAGO ELECTRIC SALES                      CHICAGO EVENT GRAPHICS INC
135 S LASALLE STREET                    901 S ROUTE 53                              400 N HART STREET
DEPT 4686                               SUITE H                                     CHICAGO IL 60622
CHICAGO IL 60674-4686                   ADDISON IL 60101



CHICAGO FESTIVAL ASSOCIATION            CHICAGO FOUNDATION FOR WOMEN                CHICAGO GATEWAY GREEN COMMITTEE
1507 EAST 53RD ST  NO.102               1 EAST WACKER DRIVE STE 1620                1 IBM PLZ NO. 2800
CHICAGO IL 60615                        CHICAGO IL 60601                            CHICAGO IL 60611




CHICAGO GATEWAY GREEN COMMITTEE         CHICAGO HI SPEED TOOL                       CHICAGO HI SPEED TOOL
515 N STATE ST 3RD FL                   & SUPPLY COMPANY INCORPORATION              & SUPPLY COMPANY INCORPORATION
CHICAGO IL 60610                        5480 NORTH ELSTON AVENUE                    PO BOX 72491
                                        FRANK 773 736-9610                          CHICAGO IL 60678-2491
                                        CHICAGO IL 60630


CHICAGO HI SPEED TOOL                   CHICAGO HISTORICAL SOCIETY                  CHICAGO HOLLOW METAL INC
72491 EAGLE WAY                         1601 NORTH CLARK STREET                     38 W 640 SUNSET DR
CHICAGO IL 60678-7254                   CHICAGO IL 60614                            ST CHARLES IL 60175




CHICAGO HUMANITIES FESTIVAL             CHICAGO HUMANITIES FESTIVAL                 CHICAGO INDUSTRIAL
500 N DEARBORN                          500 N DEARBORN NO. 1028                     1301 WEST 22ND STREET SUITE 602
SUITE 1028                              CHICAGO IL 60610                            OAK BROOK IL 60523
CHICAGO IL 60610



CHICAGO JOURNALISTS ASSOCIATION         CHICAGO JOURNALISTS ASSOCIATION             CHICAGO MENNONITE LEARNING CENTER
1032 W POLK ST                          1800 NATIONS DRIVE SUITE 117                4647 W 47TH ST
CHICAGO IL 60607                        GURNEE IL 60031                             CHICAGO IL 60632




CHICAGO MESSENGER SERVICE, INC          CHICAGO MESSENGER SERVICE, INC              CHICAGO MINORITY BUSINESS DEVELOPMENT
1600 S ASHLAND AVE                      3188 EAGLE WAY                              COUNCIL INC
CHICAGO IL 60608-2099                   CHICAGO IL 60678-1318                       ONE EAST WACKER DR STE 1200
                                                                                    CHICAGO IL 60601



CHICAGO MINORITY BUSINESS DEVELOPMENT   CHICAGO NATIONAL LEAGUE BALL CLUB LLC       CHICAGO NATIONAL LEAGUE BALL CLUB LLC
DEVELOPMENT COUNCIL INC                 1060 W ADDISON ST                           CHGO CUBS TRAVELING SECRETARY ACCT
ONE EAST WACKER DR STE 1200             CHICAGO IL 60613-4397                       1060 W ADDISON
CHICAGO IL 60601                                                                    CHICAGO IL 60613



CHICAGO NATIONAL LEAGUE BALL CLUB LLC   CHICAGO NATIONAL LEAGUE BALL CLUB, LLC      CHICAGO NEWSWEB CORPORATION
CHICAGO CUBS MINOR LEAGUES              1060 W. ADDISON                             WCPT INC
1060 W ADDISON                          CHICAGO IL 60613                            1645 W FULLERTON
CHICAGO IL 60613                                                                    CHICAGO IL 60614



CHICAGO PARK DISTRICT                   CHICAGO PARK DISTRICT                       CHICAGO PARTY RENTAL
541 N FAIRBANKS  6TH FLR                7059 S SHORE DR                             9480 W 55TH ST
CHICAGO IL 60611                        CHICAGO IL 60649                            MCCOOK IL 60525-3636




                                             Page 374 of 2387
                        Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 375 of 800
CHICAGO PARTY RENTAL                 CHICAGO SCENIC STUDIOS, INC                   CHICAGO SOFT LTD
EVENTS CHICAGO                       1315 N NORTH BRANCH ST                        6232 NORTH PULASKI ROAD
9480 W 55TH STREET                   CHICAGO IL 60622                              SUITE 402
MCCOOK IL 60525-3636                                                               CHICAGO IL 60646



CHICAGO SOUND INC                    CHICAGO SPECIAL EVENTS MANAGEMENT             CHICAGO SPECTRO SERVICE LABORATORY
6126 MADISON CT                      2221 WEST 43RD STREET                         6245 S OAK PARK AVE
MORTON GROVE IL 60053                CHICAGO IL 60609                              CHICAGO IL 60638-4015




CHICAGO SPENCE TOOL & RUBBER         CHICAGO SPENCE TOOL & RUBBER                  CHICAGO SPORT AND SOCIAL CLUB
1125 N. 27TH AVENUE                  PO BOX 1528                                   1516 N FREMONT
GIL/JAY                              MELROSE PARK IL 60161-1528                    CHICAGO IL 60622
FAX 708-344-2686
MELROSE PARK IL 60160


CHICAGO SPORT AND SOCIAL CLUB        CHICAGO SPORT AND SOCIAL CLUB                 CHICAGO SUBURBAN EXPRESS INC.
180 N LASALLE SUITE 1000             1963 N SHEFFIELD                              5504 W 47TH ST
CHICAGO IL 60601                     CHICAGO IL 60614                              FOREST VIEW IL 60638




CHICAGO SUBURBAN EXPRESS INC.        CHICAGO SUN TIMES INC                         CHICAGO SUN TIMES INC
PO BOX 388568                        350 N ORLEANS                                 401 N WABASH AVENUE
CHICAGO IL 60638                     CHICAGO IL 60606                              CHICAGO IL 60611




CHICAGO SUN TIMES INC                CHICAGO SUN TIMES INC                         CHICAGO SUN-TIMES
PO BOX 1003                          PO BOX 3591                                   2800 S ASHLAND
TINLEY PARK IL 60477                 ATTN: CASHIER                                 CHICAGO IL 60608
                                     CHICAGO IL 60654-0591



CHICAGO SUN-TIMES                    CHICAGO SUN-TIMES                             CHICAGO SUN-TIMES
350 N ORLEANS                        C/O BACK COPY DEPT.                           PO BOX 1003
CHICAGO IL 60654                     401 NORTH WABASH AVE                          TINLEY PARK IL 60477
                                     CHICAGO IL 60611



CHICAGO SWITCH                       CHICAGO SYMPHONY ORCHESTRA                    CHICAGO SYMPHONY ORCHESTRA
401 WILMOT RD                        220 S MICHIGAN AVENUE                         ORCHESTRAL ASSOCIATION
DEERFIELD IL 60015                   CHICAGO IL 60604-2508                         220 S. MICHIGAN
                                                                                   CHICAGO IL 60604



CHICAGO SYSTEMS GROUP INC            CHICAGO TOURISM FUND                          CHICAGO TRAILER POOL CORP
180 N STETSON AVE                    78 E WASHINGTON ST                            PO BOX 691
SUITE 3200                           CHICAGO IL 60602                              PALATINE IL 60078
CHICAGO IL 60601



CHICAGO TRANSIT AUTHORITY            CHICAGO TRANSIT AUTHORITY                     CHICAGO TRIBUNE
MERCHANDISE MART PLAZA               PO BOX 7565                                   2000 YORK ROAD
PO BOX 3555                          CHICAGO IL 60680-7565                         SUITE 125
CHICAGO IL 60654                                                                   OAKBROOK IL 60523




                                            Page 375 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 376 of 800
CHICAGO TRIBUNE                        CHICAGO TRIBUNE                               CHICAGO TRIBUNE
2000 YORK ROAD STE 120                 435 N MICHIGAN                                435 N MICHIGAN AVE
OAK BROOK IL 60523                     ATTN CHUCK EITZ                               STE 300
                                       2ND FLOOR                                     ATTN ACCOUNTS RECEIVABLE
                                       CHICAGO IL 60611                              CHICAGO IL 60611


CHICAGO TRIBUNE                        CHICAGO TRIBUNE                               CHICAGO TRIBUNE
435 N MICHIGAN AVE                     435 N MICHIGAN AVE                            435 N MICHIGAN AVE TT200
ATTN RAY DUZIK                         INTERCOMPANY BILLING ROOM 300                 ATTN DIANN PHILLIPS
CHICAGO IL 60611                       ATTN TERINA FOUNTAIN                          CHICAGO IL 60611
                                       CHICAGO IL 60611


CHICAGO TRIBUNE                        CHICAGO TRIBUNE                               CHICAGO TRIBUNE
435 N MICHIGAN AVENUE                  435 NORTH MICHIGAN AVE SUITE 300              435 NORTH MICHIGAN AVE STE 300
INTERCOMPANY BILLING ROOM 300          CHICAGO IL 60611                              ATTN: ACCOUNTS RECEIVABLE
ATTN MIKE SPRUNGER                                                                   CHICAGO IL 60611-4041
CHICAGO IL 60611


CHICAGO TRIBUNE                        CHICAGO TRIBUNE                               CHICAGO TRIBUNE
700 W ERIE ST                          777 W CHICAGO AVE                             777 W CHICAGO AVE 3RD FL
C/O MARIA HERRERA                      ATTN TODD COBERLEY                            ATTN: LOLA COLEMAN
CHICAGO IL 60610                       CHICAGO IL 60610                              CHICAGO IL 60610



CHICAGO TRIBUNE                        CHICAGO TRIBUNE                               CHICAGO TRIBUNE
ATTN SUBSCRIBER BILLING                GIFT STORE                                    P O BOX 10952
PO BOX 6490                            435 N MICHIGAN AV                             TERI PAAUWE, ROOM 300
CHICAGO IL 60680-6490                  CHICAGO IL 60611                              .
                                                                                     CHICAGO IL 60610


CHICAGO TRIBUNE                        CHICAGO TRIBUNE                               CHICAGO TRIBUNE
PO BOX 6315                            PO BOX 7904                                   PO BOX 803238
CHICAGO IL 60680-6315                  SUBSCRIBER BILLING                            CHICAGO IL 60680-3238
                                       CHICAGO IL 60680-7904



CHICAGO TRIBUNE                        CHICAGO WEB PRINTING                          CHICAGO WEB PRINTING
PO BOX 8685                            325 W HURON ST                                455 KEHOE BLVD STE 107
CHICAGO IL 60680-8685                  NO. 410                                       PRESSMENS UNION NO.7N
                                       PRESSMAN UNION NO 7 SEC & TRES                CAROL STREAM IL 61488-5203
                                       CHICAGO IL 60610


CHICAGO WHITE SOX                      CHICAGO WHITE SOX                             CHICAGO WHITE SOX
333 W. 35TH STREET                     3361 PAYSPHERE CIRC                           4107 PAYSPHERE CIRCLE
CHICAGO IL 60616                       CHICAGO IL 60674                              CHICAGO IL 60674




CHICAGO WHITE SOX                      CHICAGO YOUTH CENTERS                         CHICAGOLAND BICYCLE FEDERATION
PO BOX 72145                           104 S MICHIGAN AVENUE                         650 SOUTH CLARK SUITE 300
SEASON DEPOSIT ACCOUNT                 14TH FLOOR                                    CHICAGO IL 60605
CHICAGO IL 60678-2145                  CHICAGO IL 60603



CHICAGOLAND BICYCLE FEDERATION         CHICAGOLAND COMMERCIAL REAL ESTATE            CHICAGOLAND CREW COMPANY INC
9 W HUBBARD STE 402                    1240 WEST NORTHWEST HIGHWAY                   611 AUSTIN ST
CHICAGO IL 60618                       PALATINE IL 60067                             DOWNERS GROVE IL 60515




                                              Page 376 of 2387
                         Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 377 of 800
CHICAGOLAND GARDENING MAGAZINE        CHICKOWSKI, ERICKA                            CHICO, ORLANDO
PO BOX 208                            930 MISSOURI ST                               950 SOUTHWEST 29TH ST
DOWNERS GROVE IL 60515-0208           SAN DIEGO CA 92109                            FT LAUDERDALE FL 33315




CHIDSEY, MARY                         CHIEM, PHAT X                                 CHIEMI MCELRATH
2200 PASEO DEL MAR                    1798 1/2 WASHINGTON WAY                       32687 ROBIN RD
PALOS VERDES ESTATES CA 90274         VENICE CA 90291                               PAW PAW MI 49079




CHIEN, GINNY                          CHIEN, GINNY                                  CHIKOSKY, GAIL F
131 N GALE DR APT 2C                  238 1/2 SOUTH REXFORD DR                      3 LORENZO PL
BEVERLY HILLS CA 90211                BEVERLY HILLS CA 90212                        BRISTOL CT 06010




CHILANGA NEWS SERVICE                 CHILD ABUSE PREVENTION FOUNDATION OF          CHILD ABUSE PREVENTION FOUNDATION OF
257 NORDIC ROAD                       6 EXECUTIVE DR SUITE 111                      FARMINGTON INC
BLOOMINGDALE IL 60108                 FARMINGTON CT 06032                           PO BOX 823
                                                                                    FARMINGTON CT 06032



CHILD CARE INFORMATION SERVICES INC   CHILDA DELVA                                  CHILDRENS CANCER FOUNDATION INC
2200 W BROAD ST                       1025 NW 5TH AVENUE                            1052 FLAGTREE LANE
BETHLEHEM PA 18018-3200               APT 2                                         BALTIMORE MD 21208
                                      FORT LAUDERDALE FL 33311



CHILDRENS CANCER FOUNDATION INC       CHILDRENS DIAGNOSTIC & TREATMENT              CHILDRENS DIAGNOSTIC & TREATMENT
GIANT FOOD DEPT 753                   417 S ANDREWS AVE                             C/O JUDY AMBROSE
6300 SHERIFF ROAD                     FT LAUDERDALE FL 33301                        1401 S FEDERAL HWY
LANDOVER MD 20785                                                                   FT LAUDERDALE FL 33316



CHILDRENS HOME OF EASTON              CHILDRENS HOME OF EASTON                      CHILDRENS HOSPITAL OF THE KINGS
25TH ST LEHIGH DR                     AUXILLIARY OF CHILDRENS HOME                  601 CHILDRENS LN
EASTON PA 18042                       353 N NULTON AVE                              NORFOLK VA 23507
                                      EASTON PA 18045



CHILDRENS MEMORIAL FOUNDATION         CHILDRENS MUSEUM OF LA                        CHILDRENS MUSEUM OF LA
2300 CHILDRENS PLAZA BOX 4            11800 FOOTHILL BOULEVARD                      14410 SYLVAN ST 7TH FLR
CHICAGO IL 60614                      LAKE VIEW TERRACE CA 91342                    VAN NUYS CA 91401




CHILDRENS MUSEUM OF LA                CHILDS, CRAIG                                 CHILDS, DAVID
205 S BROADWAY NO.608                 PO BOX 112                                    TAX ASSESSOR-COLLECTOR
LOS ANGELES CA 90012                  CRAWFORD CO 81415                             PO BOX 139066
                                                                                    DALLAS TX 75313-9066



CHILES, ERIC J                        CHILLER THEATRE                               CHIMME DOLKAR
1765 W UNION BLVD                     PO BOX 23                                     2928 W. JEROME ST
BETHLEHEM PA 18018                    RUTHERFORD NJ 07070                           CHCAGO IL 60645




                                             Page 377 of 2387
                         Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 378 of 800
CHIN, ANGELLA                         CHIN, MARCOS                                  CHIN, THOMAS
2302 NW 115TH AVE                     16 MANHATTAN AVE NO.4H                        5 DOWD AVE
CORAL SPRINGS FL 33065                BROOKLYN NY 11206                             CANTON CT 06019-2437




CHINEA, EDWIN                         CHINESE CENTER ON LONG ISLAND INC             CHINESE DAILY NEWS
41 HENRY ST APT 3                     395 HEMPSTEAD TURNPIKE                        1588 CORPORATE CENTER DR
HARTFORD CT 06114                     WEST HEMPSTEAD NY 11552                       MONTERY PARK CA 91754




CHINESE DAILY NEWS                    CHING, CESAR                                  CHING, ELENA A
ATN: DAVID LIU/GENERAL MGR            35 DAY CROFT RD                               4423 TOURMALINE STREET
1588 CORP CTR DR                      STAMFORD CT 06902                             LOS ANGELES CA 90032
MONTERY PARK CA 91754



CHINGCHING NI                         CHINITZ, IRWIN                                CHINITZ, IRWIN
202 W. FIRST STREET                   546 CADDLE CT                                 546 CADIE CT
FOREIGN DESK                          OXFORD CT 06478                               OXFORD CT 06478
LOS ANGELES CA 90012



CHINN, ROBERT K                       CHINNERY III, LINCOLN C                       CHINOY, MICHAEL
995 S 825 W                           141 SAINT MARKS PL APT 3C                     535 W DUARTE RD      NO.3
LAPEL IN 46051                        STATEN ISLAND NY 10301                        ARCADIA CA 91007




CHIPPS, MATTHEW                       CHIQUITA BRISCOE                              CHIQUITA HEATH
96 HOLLISTER ST                       1629 ARGONNE DRIVE                            5306 C LOCH RAVEN BLVD
MANCHESTER CT 06042                   BALTIMORE MD 21218                            BALTIMORE MD 21239




CHIRICO, PEGGY                        CHISCUL, JONATHAN                             CHISHOLM, GRAHAM
77 CROFT DRIVE                        7670 WESTWOOD DR APT 715                      24 PLAZA DR
MANCHESTER CT 06040                   TAMARAC FL 33321                              BERKLEY CA 94705




CHISOLM, RICHARD                      CHITTICK, CHELSEA                             CHIU, RINGO H W
300 OAKDALE RD                        1080 ENFIELD ST                               4802 RIO RONDO AVE
BALTIMORE MD 21210                    ENFIELD CT 06082                              TEMPLE CITY CA 91780




CHIVERS, JARVIS                       CHIVERS, JOHN                                 CHLAKE RAINEAU
512 CARLSBAD CV                       6020 GLENN ROSE DR                            42 PIERCE ROAD #353
STOCKBRIDGE GA 30281                  JACKSONVILLE FL 32277                         STRAWBERRY PARK
                                                                                    PRESTON CT 06365



CHLIPALA, ELIZABETH                   CHLOPECKI, JOSEPH                             CHLOPECKI, JOSEPH
241 POTTAWATOMI LANE                  18812 SOUTH AVERS                             PO BOX 387
NEW LENOX IL 60451                    FLOSSMOOR IL 60422                            FLOSSMOOR IL 60422




                                             Page 378 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 379 of 800
CHO, NAMJU                             CHOATE ROSEMARY HALL FOUNDATION               CHODY REAL ESTATE CORP
1421 MIDVALE AVE NO.304                SUZANNE GENEROUS ASSOC DIRC                   1125 REMINGTON ROAD
LOS ANGELES CA 90024                   OF ANNUAL FUND                                SCHAUMBURG IL 60173
                                       PO BOX 30514
                                       HARTFORD CT 06101-8460


CHOE, JONATHAN                         CHOI, SUNNY                                   CHOICEPOINT PUBLIC RECORDS INC
4607 N SHERIDAN RD APT 1009            1203 CARRIAGE HOUSE WAY                       4530 CONFERENCE WAY S
CHICAGO IL 60640                       WILLIAMSBURG VA 23188                         BOCA RATON FL 33431




CHOICEPOINT PUBLIC RECORDS INC         CHOICEPOINT PUBLIC RECORDS INC                CHOICEPOINT PUBLIC RECORDS INC
H-24                                   PO BOX 945664                                 PO BOX 66945
CUSTOMER ACCOUNTING DEPT               ATLANTA GA 30394-5664                         INDIANAPOLIS IN 46266
1000 AKDERNAB DR
ALPHARETTA GA 30005-4101


CHOKSEY, CHIRAG                        CHOPRA, SONIA                                 CHOSEN MANAGEMENT
9023 B HINES RD                        14613 TANJA KING BLVD                         58 W HURON STE 10
BALTIMORE MD 21234                     ORLANDO FL 32828                              CHICAGO IL 60610




CHOSLOVSKY, WILLIAM                    CHOUDHURY, KEDAR                              CHOW, GREG
1947 N KENMORE AVE                     40-43 71ST  1ST FLR                           670 FULTON ST APT 2
CHICAGO IL 60614                       WOODSIDE NY 11377                             BROOKLYN NY 11217




CHOW, JOHN JASON                       CHOW, KATELIN C                               CHOWDHURY, AYESHA
224 ROBERT ST                          45 SWING LANE                                 21-16 35TH ST APT NO 3G
TORONTO ON M5S 2K7                     WETHERSFIELD CT 06109                         ASTORIA NY 11105




CHRETIEN, DEBRA                        CHRIS AVETISIAN                               CHRIS BELEC
3170 ELGIN ST                          28931 VIA PASATIEMPO                          728 W. JACKSON BLVD.
BATON ROUGE LA 70805                   LAGUNA NIGUEL CA 92677                        APT. 819
                                                                                     CHICAGO IL 60661-5494



CHRIS CAMBRIDGE                        CHRIS CANNUSCIO                               CHRIS CIFUENTES
139-21 182ND ST                        242 NO BEECH ST                               11601 SANTA ROSALIA
JAMAICA NY 11413                       MASSAPEQUA NY 11758                           STANTON CA 90680




CHRIS EMERY                            CHRIS ERSKINE                                 CHRIS ESCANDON
14903 CLEESE COURT                     1720 LA BARRANCA ROAD                         1443 EAST VERNESS ST.
SILVER SPRING MD 20906                 LA CANADA CA 91011                            WEST COVINA CA 91791




CHRIS ETHERIDGE                        CHRIS FRICKE                                  CHRIS GENNARIO
3427 PENINSULA DR.                     6107 STONE WOLFE                              306 MONROE AVE
APT. #2                                GLEN CARBON IL 62034                          WEST ISLIP NY 11795
PORTAGE IN 46368




                                              Page 379 of 2387
                        Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 380 of 800
CHRIS GENTILE                        CHRIS H CASWELL                               CHRIS HANDZLIK
4 HIGHRIDGE DRIVE                    2753 PHEASANT RUN                             3600 N. LAKE SHORE
HUNTINGTON NY 11743                  LENOIR NC 28645                               #1824
                                                                                   CHICAGO IL 60613



CHRIS ILOWITE                        CHRIS JOHNSON                                 CHRIS KARRSON
36 TERRELL STREET                    21622 IMPALA LANE                             18507 WILLOW LANE
PATCHOGUE NY 11772                   HUNTINGTON BEACH CA 92646                     LANSING IL 60438




CHRIS KUC                            CHRIS LESCHINSKY PHOTOGRAPHY                  CHRIS LEWIS
949 W. MADISON                       1123 GARDEN ST                                534 JEFFERY DRIVE
APT 403                              SAN LUIS OBISPO CA 93401                      MANTENO IL 60950
CHICAGO IL 60607



CHRIS LIVINGSTON PHOTOGRAPHY         CHRIS MOONEY INC                              CHRIS MORAN
2791 CARDASSI DR                     1421 1/2 MALTMAN AVE                          75 BUCKLAND STREET
OCOEE FL 34761                       LOS ANGELES CA 90026                          WETHERSFIELD CT 06109




CHRIS NOONAN                         CHRIS PARADISO                                CHRIS POLLOCK
1031 W. WOLFRAM                      46 FIRST AVENUE                               62 EAST MARKET STREET
COACH HOUSE                          MEDFORD NY 11763                              BETHLEHEM PA 18018
CHICAGO IL 60652



CHRIS RAITZ                          CHRIS ROHMANN                                 CHRIS SEMAN
111 E. LOBOS MARINOS                 16 HILLCREST PARK                             7642 SONESTA SHORES DRIVE
SAN CLEMENTE CA 92672                SOUTH HADLEY MA 01075                         LAKE WORTH FL 33463




CHRIS SIMMONS                        CHRIS SIMPSON                                 CHRIS STRINGFIELD
352 MEADOW ROAD                      531 GROVE STREET                              5645 WHITBY ROAD
KINGS PARK NY 11754                  APT 3A                                        BALTIMORE MD 21206
                                     EVANSTON IL 60201



CHRIS STRONG PHOTOGRAPHY             CHRIS WEIBRING                                CHRISANDRA ROGERS
2239 W THOMAS NO.1                   458 N. AUSTIN BLVD.                           9031 S. PHILLIPS
CHICAGO IL 60622                     2E                                            CHICAGO IL 60617
                                     OAK PARK IL 60302



CHRISMICHAEL BOCCIA                  CHRIST, KELLY ANNE                            CHRIST, LYNDA
171 HAMPTON CT                       921 HILLSWOOD RD                              128 ELLSWORTH DR
NEWINGTON CT 06111                   BEL AIR MD 21014                              WHITEHALL PA 18052




CHRISTABELLA INC                     CHRISTAL RADIO                                CHRISTAL RADIO
300 N CARMELINA AVE                  12019 COLLECTIONS CENTER DR                   125 W 55TH ST
LOS ANGELES CA 90049                 CHICAGO IL 60693-0120                         NEW YORK NY 10019




                                            Page 380 of 2387
                         Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 381 of 800
CHRISTAN DRAYTON                      CHRISTENSEN, EMMA                             CHRISTENSEN, JAY E
1030 WEST CHEW STREET                 112 BANNER ST NO.1                            6255 CANOGA AVENUE #31
ALLENTOWN PA 18102                    JAMAICA PLAIN MA 02130                        WOODLAND HILLS CA 91367




CHRISTENSEN, KATE                     CHRISTENSEN, MARY                             CHRISTENSEN, STEVEN J
135 CALYER STREET                     5 SUNRISE DR                                  1243 TULIP ST
BROOKLYN NY 11222                     AVON CT 06001-2924                            LIVERPOOL NY 13090




CHRISTENSENS PLANT CENTER             CHRISTENSON, CATHERINE M                      CHRISTENSON, JESSICA
6282 GOTFREDSON                       430 PAGE ST.                                  3605-2 N ALBANY AVE
PLYMOUTH MI 48170                     ORLANDO FL 32806                              CHICAGO IL 60618




CHRISTESON, CINDY                     CHRISTESON, CINDY                             CHRISTI PARSONS
1995 PORT NELSON PL                   537 NEWPORT CENTER DR NO.505                  9908 INDIAN LANE
NEWPORT BEACH CA 92660                NEWPORT BEACH CA 92660                        SILVER SPRING MD 20911




CHRISTIAN BERG                        CHRISTIAN BERTHELSEN                          CHRISTIAN BROADCASTING NETWORK
1144 CATAWISSA ROAD                   1570 MANNING AVE.                             CBN CENTER
TAMAQUA PA 18252                      APT #7                                        977 CENTERVILLE TPK
                                      LOS ANGELES CA 90024                          VIRGINIA BEACH VA 23463



CHRISTIAN CARCAMO                     CHRISTIAN COBB                                CHRISTIAN DRURY
12210 BROADWAY                        5453 W. 122ND ST.                             1030 STONERIDGE DRIVE
WHITTIER CA 90601                     HAWTHORNE CA 90250                            PASADENA CA 91105




CHRISTIAN EWELL                       CHRISTIAN FONT                                CHRISTIAN HUNTER FRANK
8309 E 85TH STREET                    533 NE 3RD AVENUE                             940 MONROE NW
RAYTOWN MO 64138                      APT 510                                       #439
                                      FORT LAUDERDALE FL 33301                      GRAND RAPIDS MI 49503



CHRISTIAN KRAUL                       CHRISTIAN PEREZ                               CHRISTIAN PEREZ
6910 NW 50TH ST                       16141 BARBATA RD.                             2805 HEATH AVENUE
SUITE 9586                            LA MIRADA CA 90638                            APT. 4B
MIAMI FL 33166                                                                      BRONX NY 10463



CHRISTIAN SCHNEEBECK                  CHRISTIAN SCIENCE MONITOR                     CHRISTIAN SCIENCE MONITOR
901 ENGLEWOOD PARKWAY                 910 16TH STREET NW                            1 NORWAY ST
M214                                  WASHINGTON DC 20006                           BOSTON MA 02115
ENGLEWOOD CO 80110



CHRISTIAN SCIENCE MONITOR             CHRISTIAN SHALJIAN                            CHRISTIAN SORENSEN
PO BOX 1548                           10 S BREEZE DRIVE                             18444 PERTH AVE
BOSTON MA 02117                       PATCHOGUE NY 11772                            HOMEWOOD IL 60430




                                             Page 381 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 382 of 800
CHRISTIAN SOTO                         CHRISTIAN SUEIRO                              CHRISTIAN TAUSSIG
11415 FARNDON STREET                   5541 NW 112TH AVE                             79 N. EMERSON AVE.
SOUTH EL MONTE CA 91733                # 106                                         COPIAGUE NY 11726
                                       DORAL FL 33178



CHRISTIAN TOLEDO                       CHRISTIAN, MARCUS                             CHRISTIAN, PIERRE
3515 J STREET                          2453 ASTROZEN PL                              18203 SW 3RD ST
SAN DIEGO CA 92102                     COLORADO SPRINGS CO 80916                     PEMBROKE PINES FL 33029




CHRISTIAN, SUE ELLEN                   CHRISTIANA ONITA                              CHRISTIANE D'ZURILLA
4104 BRONSON BLVD                      4131 CUSTER CREEK                             2516 E. WILLOW ST.
KALAMAZOO MI 49008                     MISSOURI CITY TX 77459                        APT 203
                                                                                     SIGNAL HILL CA 90755



CHRISTIANNA MCCAUSLAND LLC             CHRISTIANNE BRADLEY                           CHRISTIANSEN, LANE
901 N NELSON ST APT 307                1428 11TH STREET                              114 N ILLINOIS AVE APT 4
ARLINGTON VA 22203                     UNIT #5                                       CARBONDALE IL 62901
                                       SANTA MONICA CA 90401



CHRISTIANSEN, RICHARD                  CHRISTIANSON WEST                             CHRISTIE COLLINS
680 N LAKE SHORE DR NO.1109            12340 SEAL BEACH BLVD       STE B125          543 S LEWIS AVE
CHICAGO IL 60611                       SEAL BEACH CA 90740                           LOMBARD IL 60148-2938




CHRISTIE DUMLER                        CHRISTIE JONES                                CHRISTIE LYN LEIGH
3800 PLUM SPRING LANE                  22503 STATE STREET                            17269 TENNYSON PLACE
ELLICOTT CITY MD 21042                 STEGER IL 60475                               GRANADA HILLS CA 91344




CHRISTIE ROME                          CHRISTIE TOLLETT                              CHRISTIE VEZZOLA
8300 SOUTH HOOVER STREET               1101 WEST CASTLEWOOD                          235 QUINNIPIAC STREET
APT#107                                FRIENDSWOOD TX 77546                          WALLINGFORD CT 06492
LOS ANGELES CA 90044



CHRISTIE, ANNIE                        CHRISTIE, CHARLES                             CHRISTINA ANTONOPOULOS
1112 GRANT PL                          20 FOREST LANE                                3111 BRANDESS DRIVE
VERNON HILLS IL 60061                  BLOOMFIELD CT 06002-2802                      GLENVIEW IL 60026




CHRISTINA BRADLEY                      CHRISTINA BUTLER                              CHRISTINA CABRERA-CHIRINOS
7 FARM HILL ROAD                       1723 GLENBROOK AVENUE                         3300 W. ROLLING HILLS CIRCLE
WEST HAVEN CT 06516                    LANCASTER PA 17603                            #304
                                                                                     DAVIE FL 33328



CHRISTINA CHAPLIN                      CHRISTINA CHAPPELL-GEPPI                      CHRISTINA COY DAVISON
650 COLUMBIA ST                        123 CARDINAL TRAIL                            1438 W. ROSCOE ST
#418                                   DELTA PA 17314                                UNIT 3
SAN DIEGO CA 92101                                                                   CHICAGO IL 60657




                                              Page 382 of 2387
                            Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 383 of 800
CHRISTINA CRAMER                         CHRISTINA D'ASCENZO                           CHRISTINA EUSANIO
6830 EAST MERCER WAY                     1124 WEST PRATT                               360 LOCUST AVE
MERCER ISLAND WA 98040                   APT. 2S                                       OAKDALE NY 11769
                                         CHICAGO IL 60626



CHRISTINA FANELLI                        CHRISTINA FASSNACHT                           CHRISTINA FERNANDEZ
15 FAWN CROSSING                         10 HARBOUR RD                                 4128 WEST 7TH LANE
WADING RIVER NY 11792                    BABYLON NY 11702                              HIALEAH FL 33012




CHRISTINA GARGULIS                       CHRISTINA GOSTOMSKI                           CHRISTINA GUZIK
457 MICHAEL IRVIN DR                     101 WEST FORREST AVENUE                       9437 ORIOLE DRIVE
NEWPORT NEWS VA 23608                    SHREWSBURY PA 17361                           MUNSTER IN 46321




CHRISTINA HENNESSY                       CHRISTINA HERNANDEZ                           CHRISTINA HOLLOWAY
124 PRINCTON STREET                      92-22 72ND DRIVE                              4491 CRYSTAL LAKE DR
BRIDGEPORT CT 06605                      2ND FLOOR                                     CONDO 204A
                                         FOREST HILLS NY 11375                         POMPANO BEACH FL 33064



CHRISTINA HORDGE                         CHRISTINA JOHNSON                             CHRISTINA JONES
1980 UNION PORT ROAD                     369 OLD SPRINGFIELD ROAD                      9751 NW 45TH AVENUE
D2                                       STAFFORD SPRINGS CT 06076                     OCALA FL 34482
BRONX NY 10462



CHRISTINA KRASK                          CHRISTINA LARSON                              CHRISTINA LEE
4414 N. ASHLAND                          861 1/2 HORNBLEND                             5515 CANOGA AVENUE
UNIT B                                   SAN DIEGO CA 92109                            APT #128
CHICAGO IL 60640                                                                       WOODLAND HILLS CA 91367



CHRISTINA LOPEZ                          CHRISTINA MATTISZ                             CHRISTINA MESSINO
3499 OAKS WAY                            53-48 CLEARVIEW EXPRESSWAY                    66 WAKELEE ROAD
#307                                     BAYSIDE NY 11364                              UNIT 6
POMPANO BEACH FL 33069                                                                 WATERBURY CT 06705



CHRISTINA MITCHELL                       CHRISTINA NELSON                              CHRISTINA NOVELLI
713-A WESTMINSTER STREET                 236 WEST SECOND STREET                        728 W. WAVELAND AVE
ALLENTOWN PA 18109                       SAN DIMAS CA 91773                            APT # 3
                                                                                       CHICAGO IL 60613



CHRISTINA ORTIZ                          CHRISTINA PARKER                              CHRISTINA PENZA
2741 E. SUNSET HILL DRIVE                195 ASH CIRCLE                                350 WEST 57TH STREET
WEST COVINA CA 91791                     ANDREAS PA 18211                              #19B
                                                                                       NEW YORK NY 10019



CHRISTINA POMPA-KWOK                     CHRISTINA PONTECORVO                          CHRISTINA POULOS
6038 ENCINITA AVENUE                     4802 PULLMAN AVENUE NE                        3400 RALMARK LANE
TEMPLE CITY CA 91790                     SEATTLE WA 98105                              GLENVIEW IL 60026




                                                Page 383 of 2387
                         Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 384 of 800
CHRISTINA RIDDLE                      CHRISTINA ROHRBACHER                          CHRISTINA RUSSO
668 N. ORANGE AVENUE                  5027 S. CALIFORNIA AVE                        3549 WILLOW STREET
APT. 5402                             CHICAGO IL 60632                              BONITA CA 91902
ORLANDO FL 32801



CHRISTINA SCHIMMEL                    CHRISTINA SCHROEDER                           CHRISTINA SOLTES
67 EAST 2ND STREET                    5 MISNERS TRAIL                               3862 NW 59 STREET
HUNTINGTON STATION NY 11746           ORMOND FL 32174                               COCONUT CREEK FL 33073




CHRISTINA SPRINDIS                    CHRISTINA SULLIVAN                            CHRISTINA TOKAR
255 SPRUCE AVE                        14 GOLDFINCH ROAD                             9896 FAIRWAY COVE LANE
MAPLE SHADE NJ 08052                  QUEENSBURY NY 12804                           PLANTATION FL 33324




CHRISTINA TWOMEY                      CHRISTINA WHITE                               CHRISTINE AI
2609 NE 14TH AVE                      9732 EDGEWOOD AVE                             1021 BRANTFORD STREET
UNIT 112                              TRAVERSE CITY MI 49684-8173                   ANAHEIM CA 92805
OAKLAND PARK FL 33334



CHRISTINE ANDERSON                    CHRISTINE ARMARIO                             CHRISTINE AUGI
100 BAYVIEW DR #1814                  33 CHERRY STREET                              P.O. BOX 635
SUNNY ISLES BEACH FL 33160            CALVERTON NY 11933                            BELLPORT NY 11713




CHRISTINE AUSTIN                      CHRISTINE BELLARD                             CHRISTINE BLANC
16 N LAWSONA BLVD                     1209 SANDOWAY LN                              1258 N FAIRFAX #2
ORLANDO FL 32801                      DELRAY BEACH FL 33483                         WEST HOLLYWOOD CA 90046




CHRISTINE BOSTON                      CHRISTINE BRUNO                               CHRISTINE BUCK MASON
4929 W. AUGUSTA                       321 S. SANGAMON ST.                           9 WARSON HILLS
CHICAGO IL 60651                      UNIT 805                                      ST. LOUIS MO 63124
                                      CHICAGO IL 60607



CHRISTINE CAMPBELL                    CHRISTINE CARROLL                             CHRISTINE CORNELL
1245 PINE RUN ROAD                    1709 B LAKESIDE                               56 HUDSON PLACE
LEHIGHTON PA 18235                    CHAMPAIGN IL 61821                            WEEHAWKEN NJ 07087




CHRISTINE COTTER                      CHRISTINE CUNNINGHAM                          CHRISTINE CURTO
3224 NEBRASKA PLACE                   6510 BEECHWOOD DR.                            7112 GOLDCRIS LANE
COSTA MESA CA 92626                   COLUMBIA MD 21046                             NORTHAMPTON PA 18067




CHRISTINE DANIELS                     CHRISTINE DE LA CRUZ                          CHRISTINE DONAKER
2901 S. SEPULVEDA BLVD                948 VENANGO CIRCLE                            227 S. MAPLE
APT 102                               LOS ANGELES CA 90029                          A
LOS ANGELES CA 90064                                                                OAK PARK IL 60302




                                             Page 384 of 2387
                         Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 385 of 800
CHRISTINE DUNHAM                      CHRISTINE ESPIRITU                            CHRISTINE FOSTER
25 BARNSLEY COURT                     3106 GOLDENEYE PLACE                          212 LA COSTA CIR
MOUNT SINAI NY 11766                  SUPERIOR CO 80027                             WESTON FL 33326




CHRISTINE GEISLER                     CHRISTINE GOOSTREY                            CHRISTINE GRANA
6821 ASHBURN RD                       22171 HOFFMAN ROAD                            7120 BREMENTOWNE RD
LAKE WORTH FL 33467                   MANDEVILLE LA 70471                           TINLEY PARK IL 60477




CHRISTINE HALL                        CHRISTINE JUNEAU                              CHRISTINE KANG
20 FOURTH STREET                      6380 NW 75 WAY                                17503 S. GLENBURN AVE
STAMFORD CT 06905                     PARKLAND FL 33067                             TORRANCE CA 90504




CHRISTINE KHOURY                      CHRISTINE KIELY                               CHRISTINE KLEPEIS
6445 N KILPATRICK                     77 GEHRING RD EXT                             259 TYRCONNELL AVENUE
LINCOLNWOOD IL 60712                  TOLLAND CT 06084                              MASSAPEQUA PARK NY 11762




CHRISTINE KLUDT                       CHRISTINE KNESPLER                            CHRISTINE KURBYUN
36729 EATONVILLE CUT OFF ROAD E       147 MILLARD AVE                               3118 N NOTTINGHAM
EATONVILLE WA 98328                   WEST BABYLON NY 11704                         CHICAGO IL 60634




CHRISTINE LAW                         CHRISTINE LEE                                 CHRISTINE LEONARD
817 HILL STREET                       41-43 39TH PLACE                              59 ARNOLD WAY
APT#103                               APT. 6L                                       WEST HARTFORD CT 06119-1207
SANTA MONICA CA 90405                 SUNNYSIDE NY 11104



CHRISTINE LOCROTONDO                  CHRISTINE MAHLMEISTER                         CHRISTINE MAKHLOUFI
6760 NW 24TH COURT                    524 W. SURF STREET                            9563 CYPRESS PARKWAY
MARGATE FL 33063                      APT. #1N                                      BLDG G
                                      CHICAGO IL 60657                              BOYNTON BEACH FL 33437



CHRISTINE MATSINKO                    CHRISTINE MCGURN                              CHRISTINE MEYERS
2985 VALLEY VIEW DRIVE                4933 141ST AVE SE                             7716 RIVERVIEW DRIVE #102
BATH PA 18014                         BELLEVUE WA 98006                             JENISON MI 49428




CHRISTINE MICELI                      CHRISTINE MOODY                               CHRISTINE MORLEY
4589 CIELO CIRCLE                     1429 N. PAULINA                               2 MOUNT RAINIER AVE
CALABASAS CA 91302                    UNIT C                                        FARMINGVILLE NY 11738
                                      CHICAGO IL 60622



CHRISTINE NEWMAN                      CHRISTINE PALERMO-WALLACH                     CHRISTINE PANTANO
5555 NORTH SHERIDAN ROAD              12172 GLENMORE DRIVE                          2425 SPRINGWOOD RD
#911                                  CORAL SPRINGS FL 33071                        YORK PA 17402
CHICAGO IL 60640




                                             Page 385 of 2387
                         Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 386 of 800
CHRISTINE PAULSON                     CHRISTINE PETROSINO                           CHRISTINE PHILLIPS
1429 SOUTH EIGHTH AVENUE              1080 OLD BRITTON ROAD                         127 HATHORN BLVD
ARCADIA CA 91006                      NORTH BELLMORE NY 11710                       SARATOGA SPRINGS NY 12866




CHRISTINE PILLARI                     CHRISTINE POMALES                             CHRISTINE RAGUSA
12056 SHADOWBROOK LANE                4 WOODHAVEN ROAD                              10 WESTWOOD ROAD SOUTH
ORLANDO FL 32828                      NEWPORT NEWS VA 23608                         MASSAPEQUA PARK NY 11762




CHRISTINE RAMSKI                      CHRISTINE RUFFOLO                             CHRISTINE SCHIAVO
101 WEST END AVENUE                   9111 NW 32ND MANOR                            2320 ALBRIGHT AVENUE
APT# 10J                              SUNRISE FL 33351                              ALLENTOWN PA 18104
NEW YORK NY 10023



CHRISTINE SCHOENBERG                  CHRISTINE SHAPIRO                             CHRISTINE SHOUP
1823 GOUGH STREET                     27 LAYTON LANE                                22927 ESTORIL DR #3
BALTIMORE MD 21231                    CENTEREACH NY 11720                           DIAMOND BAR CA 91765




CHRISTINE SHOW                        CHRISTINE SMITH                               CHRISTINE SPOLAR
732 KENILWORTH CIRCLE                 5800 WOODWAY                                  435 N MICHIGAN AVENUE
#206                                  APT. #438                                     CHICAGO IL 60611
HEATHROW FL 32746                     HOUSTON TX 77057



CHRISTINE STEELE                      CHRISTINE SWEENEY                             CHRISTINE TAYLOR
3839 MAPLE TREE LANE                  2531 WESTLAKE AVENUE                          121 BOHEMIA STREET
SLATINGTON PA 18080                   OCEANSIDE NY 11572                            PLAINVILLE CT 06062




CHRISTINE UMAYAM                      CHRISTINE VANNESS                             CHRISTINE VELA
15402 14TH AVE W.                     148 AMANDA CT.                                25 LORIEN PLACE
LYNWOOD WA 98087                      MUKWONAGO WI 53149                            MELVILLE NY 11747




CHRISTINE WAGNER                      CHRISTINE WALP                                CHRISTINE WHITFIELD
712 MARYKNOLL DR                      1168 NEPTUNE PLACE                            372 N AVERS
LOCKPORT IL 60441                     ANNAPOLIS MD 21409                            CHICAGO IL 60624




CHRISTINE WU                          CHRISTMAN, GERALD                             CHRISTMAN, JEFFREY WERREN
4922 N.FRANCISCO AVE                  2965 AVERY RD                                 1122 PECAN LANE
CHICAGO IL 60625                      SLATINGTON PA 18080                           WALNUTPORT PA 18088




CHRISTOPER KOOPS                      CHRISTOPER SANCHEZ                            CHRISTOPER SOLOMON
1649 PHILADELPHIA SE                  6724 LINDSEY AVENUE                           24572 TARAZONA
GRAND RAPIDS MI 49507                 LOS ANGELES CA 90660                          MISSION VIEJO CA 92692




                                             Page 386 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 387 of 800
CHRISTOPH HITZ                         CHRISTOPHER ACEDO                             CHRISTOPHER ADAMSON
1079 SAMSONVILLE RD                    3344 IBIS STREET                              1625 RIDGE AVE.
KERHONKSON NY 12446                    SAN DIEGO CA 92103                            APT# A3
                                                                                     EVANSTON IL 60201



CHRISTOPHER AGRELLA                    CHRISTOPHER ANDERSON                          CHRISTOPHER ARNOTT
809 BRENTWOOD DRIVE                    2040 WINGATE DRIVE SE                         239 DWIGHT STREET
CARY IL 60013                          OLYMPIA WA 98513                              NEW HAVEN CT 06511




CHRISTOPHER ARSERIO                    CHRISTOPHER ASHLEY                            CHRISTOPHER ASSAF
9 WAVERLY PLACE                        5401 GLENWOOD ROAD                            310 WEATHERBEE ROAD
CLIFTON PARK NY 12065                  BROOKLYN NY 11234                             TOWSON MD 21286




CHRISTOPHER BAIRD                      CHRISTOPHER BANCROFT                          CHRISTOPHER BANNINGER
2351 W. WILSON AVENUE                  13970 HOUSTON ST                              15941 CONDOR RIDGE R
CHICAGO IL 60625                       SHERMAN OAKS CA 91423                         CANYON CITY CA 91351




CHRISTOPHER BARBIERI                   CHRISTOPHER BARTON                            CHRISTOPHER BATTAD
791 SACCO PLACE                        1502 EAST GARFIELD AVENUE                     720 QUINCY DRIVE
NORTH BELLMORE NY 11710                GLENDALE CA 91205                             ROSELLE IL 60172




CHRISTOPHER BAUGHAN                    CHRISTOPHER BAXTER                            CHRISTOPHER BEDFORD
2035 HERITAGE DRIVE                    450 PULASKI STREET                            4412 MARRIOTTSVILLE RD.
BALTIMORE MD 21209                     APT 2S                                        OWINGS MILLS MD 21117
                                       BETHLEHEM PA 18018



CHRISTOPHER BENNETT                    CHRISTOPHER BILBAO                            CHRISTOPHER BLANKLEY
6342 N. SHERIDAN                       15340 NW PERIMETER DRIVE                      35 HASTINGS ROAD
#1A                                    BEAVERTON OR 97006                            NORTH MASSAPEQUA NY 11758
CHICAGO IL 60660



CHRISTOPHER BOBINSKI                   CHRISTOPHER BOGHOSSIAN                        CHRISTOPHER BONNER
100 BROWN TRAIL                        1350 E. JOYCE AVENUE                          2845 SEAMAN AVENUE
HOPATCONG NJ 07843                     PALATINE IL 60074                             BALTIMORE MD 21225




CHRISTOPHER BONO                       CHRISTOPHER BOOKER                            CHRISTOPHER BORRELLI
1202 6TH STREET                        5448 NORTH GLENWOOD                           1155 W. FARWELL ST.
WEST BABYLON NY 11704                  APT. #1                                       CHICAGO IL 60626
                                       CHICAGO IL 60640



CHRISTOPHER BOWMAN                     CHRISTOPHER BOYD                              CHRISTOPHER BRADER
361 ANCHOR AVENUE                      7891 BRIDGESTONE DRIVE                        418 NORTH 11TH STREET
OCEANSIDE NY 11572                     ORLANDO FL 32835                              ALLENTOWN PA 18102




                                              Page 387 of 2387
                         Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 388 of 800
CHRISTOPHER BRAUER                    CHRISTOPHER BROWN                             CHRISTOPHER BROWNE
1516 DENTON DRIVE                     1146 S. RIDGELAND AVE                         85 MAIN STREET
HAMPTON VA 23664                      OAK PARK IL 60304                             GREENWICH NY 12834




CHRISTOPHER CAESAR                    CHRISTOPHER CALIXTE                           CHRISTOPHER CAPUANO
5205 PALO VERDE ROAD                  793 HENRY STREET                              7 GILDERSLEEVE STREET
IRVINE CA 92617                       UNIONDALE NY 11553                            MERRICK NY 11566




CHRISTOPHER CARLES                    CHRISTOPHER CARLIN                            CHRISTOPHER CASTANEDA
175 E. JAVELIN                        949 W. MADISON AVENUE                         1338 SEAMAN AVENUE
CARSON CA 90745                       APT. 601                                      SO. EL MONTE CA 91733
                                      CHICAGO IL 60607



CHRISTOPHER CASTELLANO                CHRISTOPHER CASTRO                            CHRISTOPHER CERESKY
1142 WASHINGOTN STREET                32121 VIRGINIA WAY                            85 POTTER SCHOOL ROAD
APT. #2                               LAGUNA BEACH CA 92651                         WILLINGTON CT 06279
DENVER CO 80203



CHRISTOPHER CLAR                      CHRISTOPHER CLARKE                            CHRISTOPHER COLEMAN
9934 BURL WAY                         P. O. BOX 2272                                2913 WESTWOOD AVENUE
ORLANDO FL 32817                      WESTPORT CT 06880                             BALTIMORE MD 21216




CHRISTOPHER CONN                      CHRISTOPHER CONNOLLY                          CHRISTOPHER COOK
1022 RIDGE COURT                      917 NE 3 ST                                   34 FAWN LANE
EVANSTON IL 60202                     UNIT # 1                                      QUEENSBURY NY 12804
                                      FORT LAUDERDALE FL 33301



CHRISTOPHER COOPER                    CHRISTOPHER COOPER                            CHRISTOPHER CORNELL
16413 SUNSHINE ST                     27661 NUGGET DR #3                            650 DOUGLAS AVE.
HOUSTON TX 77049                      CANYON COUNTRY CA 91387                       WINTER PARK FL 32789




CHRISTOPHER CORRIGAN                  CHRISTOPHER COURTNEY                          CHRISTOPHER CRUCHLEY
650 JERICHO TPKE                      3215 N. DAYTON                                2066 VENUS DRIVE
APT 101                               #2                                            SACRAMENTO CA 95864
ST JAMES NY 11780                     CHICAGO IL 60657



CHRISTOPHER CUNNINGHAM                CHRISTOPHER D'AGUANNO                         CHRISTOPHER DALY
310 QUEENSDALE DRIVE                  520 DOLPHIN WAY                               7519 STONECREST DR.
APT F                                 HOLBROOK NY 11741                             DALLAS TX 75254
YORK PA 17403



CHRISTOPHER DARE                      CHRISTOPHER DASCONIO                          CHRISTOPHER DELESSIO
257 EAST ELM STREET                   47 ROSE CIRCLE                                4803 PORTSMOUTH DR.
ALLENTOWN PA 18109                    APT. N                                        ELLICOTT CITY MD 21042
                                      MIDDLETOWN CT 06457




                                             Page 388 of 2387
                           Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 389 of 800
CHRISTOPHER DESGROTTES                  CHRISTOPHER DETRES                            CHRISTOPHER DIERKS
7457 WYNNEWOOD SQ.                      68 VIRGINIA AVENUE                            840 W MONTROSE #604
WINTER PARK FL 32792                    BRIDGEPORT CT 06610                           CHICAGO IL 60613-1795




CHRISTOPHER DOTSON                      CHRISTOPHER DOUGLAS                           CHRISTOPHER DUBOSE
3620 W LEXINGTON                        12 ELM STREET                                 1436 N. MAYFIELD ST.
2ND FLOOR                               HEMPSTEAD NY 11550                            CHICAGO IL 60651
CHICAGO IL 60624



CHRISTOPHER DUFRESNE                    CHRISTOPHER DUNN                              CHRISTOPHER DUPLEX
15036 AVENUE DE LAS FLORES              150 WEST 16TH STREET                          745 HASTINGS RANCH DR
CHINO HILLS CA 91709                    DEER PARK NY 11729                            PASADENA CA 91107




CHRISTOPHER EDWARDS                     CHRISTOPHER EGNOZZI                           CHRISTOPHER ESPINAL
142-31 222ND STREET                     3903 235TH STREET                             1641 STRAIGHT PATH
SPRINGFIELD GARDENS NY 11413            TORRANCE CA 90505                             LINDENHURST NY 11757




CHRISTOPHER ESPOSITO                    CHRISTOPHER FALIN                             CHRISTOPHER FASANELLA
57 EAST 38TH STREET                     10204 WEST GEDDES CIRCLE                      151 HYDE STREET
APT 302                                 LITTLETON CO 80127                            NEW HAVEN CT 06512
INDIANAPOLIS IN 46205



CHRISTOPHER FASULLO                     CHRISTOPHER FISHER                            CHRISTOPHER FISTER
818 WILLOW ROAD                         1073 S. KIRKMAN RD.                           247 CINNAMON RIDGE LANE
FRANKLIN SQUARE NY 11010                #184                                          DAVENPORT FL 33897
                                        ORLANDO FL 32811



CHRISTOPHER FLORES                      CHRISTOPHER FOSTER                            CHRISTOPHER FUHRMAN
180 CHEROKEE ROAD                       12941 ARABELLA PLACE                          906 S. SYCAMORE AVE.
HAMPTON VA 23661                        CERRITOS CA 90703                             LOS ANGELES CA 90036




CHRISTOPHER GAITHER                     CHRISTOPHER GALLIVAN                          CHRISTOPHER GARRETT
5440 LOCKSLEY AVENUE                    19514 W. 115TH AVE.                           19 ELM STREET
OAKLAND CA 94618                        APT. B                                        FORT ATKINSON WI 53538
                                        MOKENA IL 60448



CHRISTOPHER GEE                         CHRISTOPHER GILPATRIC                         CHRISTOPHER GLORIOSO
4607D HALF MOON DR.                     46 E. 91ST STREET                             432 EAST 88TH STREET
YORKVILLE IL 60560                      7B                                            APT. PHC
                                        NEW YORK NY 10128                             NEW YORK NY 10128



CHRISTOPHER GOFFARD                     CHRISTOPHER GOLDSHOLL                         CHRISTOPHER GOSIER
27 DEL PERLATTO                         295 GREEN OAK RIDGE                           1808 PARKVIEW AVENUE
IRVINE CA 92614                         MARIETTA GA 30068                             APT. #2A
                                                                                      BRONX NY 10461




                                               Page 389 of 2387
                         Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 390 of 800
CHRISTOPHER GRANT                     CHRISTOPHER GRAVER                            CHRISTOPHER GRAY
3 EAST SYCAMORE STREET                1535 W OHIO AVE                               4479 CALIFORNIA AVENUE
CENTRAL ISLIP NY 11722                APT #1                                        LONG BEACH CA 90807
                                      CHICAGO IL 60622



CHRISTOPHER GUANCHE                   CHRISTOPHER GUETZLAFF                         CHRISTOPHER HAGAN
197 NE 109 STREET                     5906 W. CAPULINA AVE                          6820 WALNUT BEND ROAD
MIAMI SHORES FL 33161                 MORTON GROVE IL 60053                         INDIANAPOLIS IN 46254




CHRISTOPHER HANNSGEN                  CHRISTOPHER HARRY                             CHRISTOPHER HAWTHORNE
24 DUCK LANE                          3405 WEST SANTIAGO STREET                     1456 HOLBROOK STREET
WEST ISLIP NY 11795                   TAMPA FL 33629                                LOS ANGELES CA 90041




CHRISTOPHER HERNANDEZ                 CHRISTOPHER HOCHSCHILD                        CHRISTOPHER HOLBERT
79 VALENTINE AVE                      3634 N. FREMONT                               2809 HENZADA AVE
HUNTINGTON NY 11743                   APT# 3                                        MCHENRY IL 60050
                                      CHICAGO IL 60613



CHRISTOPHER HORECZKO                  CHRISTOPHER HOWARD                            CHRISTOPHER HUTCHINS
1744 APPIAN WAY                       193 WAVERLEY STREET                           6180 STANSBURY LN
MONTEBELLO CA 90640                   PALO ALTO CA 94301                            LAKEWOOD IL 60014




CHRISTOPHER JACOBS                    CHRISTOPHER JEFFERSON                         CHRISTOPHER JENKINS
47-25 48TH STREET                     736 SOUTH GLENWOOD STREET                     35 DAVIS AVENUE
APT. 5D                               ALLENTOWN PA 18103                            NEWPORT NEWS VA 23601
WOODSIDE NY 11377



CHRISTOPHER JONES                     CHRISTOPHER JONES                             CHRISTOPHER JOSEPH & ASSOCIATES
654 JUDSON AVE                        323 MCNAIR DRIVE                              11849 W OLYMPIC BLVD SUITE 204
EVANSTON IL 60202                     NORTHAMPTON PA 18067                          LOS ANGELES CA 90064




CHRISTOPHER JUDS                      CHRISTOPHER KALNY                             CHRISTOPHER KALTENBACH
10725 ANDREA DRIVE                    49 PACIFIC AVENUE                             321 E MAPLE RD
ORLAND PARK IL 60467                  FRANKLIN SQUARE NY 11010                      LINTHICUM MD 21090




CHRISTOPHER KEATING                   CHRISTOPHER KING                              CHRISTOPHER KNIGHT
3 BUTTERNUT LANE                      1219 ELMWOOD AVENUE                           11240 DONA LISA DR
SIMSBURY CT 06089                     EVANSTON IL 60202                             LOS ANGELES CA 91604




CHRISTOPHER KNISLEY                   CHRISTOPHER KNOWLES                           CHRISTOPHER KOZLOWSKI
1110 HUNTINGTON DRIVE                 2 SPANISH COVE ROAD                           221 SOUTH MOUNTAIN DRIVE
RICHARDSON TX 75080                   LARCHMONT NY 10538                            NEW BRITAIN CT 06052




                                             Page 390 of 2387
                           Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 391 of 800
CHRISTOPHER KREWSON                     CHRISTOPHER LAKE PHOTOGRAPHY INC              CHRISTOPHER LAM
313 FAITH DRIVE                         1932 SOUTH HALSTED SUITE 109                  11 BOWERS LANE
BLANDON PA 19510                        CHICAGO IL 60608                              GREAT NECK NY 11020




CHRISTOPHER LAMEKA                      CHRISTOPHER LAMORTE                           CHRISTOPHER LEE
7 MANCHESTER LANE                       3400 N. LAKE SHORE DRIVE                      3036 LINDA LANE
ELMHURST IL 60126                       APT 6F                                        SANTA MONICA CA 90405
                                        CHICAGO IL 60660



CHRISTOPHER LEVERENZ                    CHRISTOPHER LEWIS                             CHRISTOPHER LINDSEY
10834 CHILDS STREET                     29130 JUNIPER AVENUE                          227 MEADOWVALE ROAD
SILVER SPRING MD 20901                  MORENO VALLEY CA 92555                        LUTHERVILLE MD 21093




CHRISTOPHER LONGLEY                     CHRISTOPHER LOPEZ                             CHRISTOPHER LUCCHESI
41 EAST MADISON                         153 SOUTH VELASCO STREET                      301 NORWOOD AVENUE
EAST ISLIP NY 11730                     LOS ANGELES CA 90063                          LAURENCE HARBOR NJ 08879




CHRISTOPHER LUCK                        CHRISTOPHER LUCKETT                           CHRISTOPHER MADDOCKS
5616 SHASTA DR.                         56 CAROLE JEAN LANE                           885 MOUNTAIN ROAD
ORLANDO FL 32810                        CLIFTON PARK NY 12065                         WEST HARTFORD CT 06117




CHRISTOPHER MAILHOT                     CHRISTOPHER MANARANG                          CHRISTOPHER MANGAN
369 HEATHCOTE ROAD                      250 MICKLEY ROAD                              14 DOWNES AVENUE
LINDENHURST NY 11757                    APARTMENT F                                   STATEN ISLAND NY 10312
                                        WHITEHALL PA 18052



CHRISTOPHER MANIS                       CHRISTOPHER MANNING                           CHRISTOPHER MARIOTTI
419 FERNWOOD DRIVE                      4 OLD WELL ROAD                               108 SAND HILL ROAD
SEVERNA PARK MD 21146                   PURCHASE NY 10577                             SIMSBURY CT 06070




CHRISTOPHER MARTIN                      CHRISTOPHER MARTIN                            CHRISTOPHER MASCARO
1 NORTH STREEPER STREET                 1004 ASHLAND                                  3 DANIELS WAY
BALTIMORE MD 21224                      EVANSTON IL 60202                             BAY SHORE NY 11706




CHRISTOPHER MCDONALD                    CHRISTOPHER MCLAURIN                          CHRISTOPHER MCNAMEE
920 GAHLE ROAD                          107 SOUTH 31 ST                               1031 HUNTINGTON ROAD
WESTMINSTER MD 21157                    WYANDANCH NY 11798                            STRATFORD CT 06614




CHRISTOPHER MIHAL                       CHRISTOPHER MILAS                             CHRISTOPHER MOHNEY
721 SE 12TH COURT                       54 PATRICIA LANE                              162 GREEN STREET
UNIT 2                                  SOUTH SETAUKET NY 11720                       APARTMENT 2
FORT LAUDERDALE FL 33316                                                              EMMAUS PA 18049




                                               Page 391 of 2387
                        Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 392 of 800
CHRISTOPHER MOHR                     CHRISTOPHER MOORE                             CHRISTOPHER MOORE
6 MELVIN AVE                         4539 S EVANS                                  59 ORCHARD STREET
FARMINGVILLE NY 11738                CHICAGO IL 60653                              MASSAPEQUA NY 11758




CHRISTOPHER MOORE                    CHRISTOPHER MORRILL                           CHRISTOPHER MUELLER
15 BUTTERMILK LANE                   66 BRUNSWICK AVE                              50 GIBSON BOULEVARD
BRANFORD CT 06405                    WEST HARTFORD CT 06107                        APT B8
                                                                                   VALLEY STREAM NY 11581



CHRISTOPHER MYERS                    CHRISTOPHER NEALE                             CHRISTOPHER NELSON
29 NANTUCKET PLACE                   1632 FOX POINT DR                             3636 H STREET #33
MANHATTAN BEACH CA 90266             CHESTERTON IN 46304                           SACRAMENTO CA 95816




CHRISTOPHER NEUMAN                   CHRISTOPHER NEWPORT UNIVERSITY                CHRISTOPHER NEWPORT UNIVERSITY
32805 AGUA DULCE CAYON ROAD          50 SHOE LN                                    OFFICE OF STUDENT ACTIVITIES
AGUA DULCE CA 91350                  NEWPORT NEWS VA 23606-2998                    1 UNIVERSITY PLACE
                                                                                   NEWPORT NEWS VA 23606



CHRISTOPHER NORMAN                   CHRISTOPHER OLDS                              CHRISTOPHER OPP
4228 W. WILCOX                       3712 CASTLE PINES LANE                        2323 W ROSCOE ST #1E
CHICAGO IL 60624                     #4122                                         CHICAGO IL 60618
                                     ORLANDO FL 32839



CHRISTOPHER ORTHODOXOU               CHRISTOPHER OUELLETTE                         CHRISTOPHER OWENSBY
411 HEATHCOTE ROAD                   11 BURGOYNE STREET                            1903 CHURCHVILLE ROAD
LINDENHURST NY 11757                 WEST HARTFORD CT 06110                        BEL AIR MD 21015




CHRISTOPHER PASLES                   CHRISTOPHER PEET                              CHRISTOPHER PEPPER
2107 PARK DRIVE                      4101-A DAUPHINE STREET                        483 SANDHILL ROAD
LOS ANGELES CA 90026                 NEW ORLEANS LA 70117                          GREENFIELD NY 12833




CHRISTOPHER PEPPERS                  CHRISTOPHER PETTOGRASSO                       CHRISTOPHER PHILLIPS
319 CLEAR LAKE WAY                   2218 TIDAL VIEW GARTH                         1344 MCDOWELL RD.
ORLANDO FL 32805                     ABINGDON MD 21009                             #204
                                                                                   NAPERVILLE IL 60563



CHRISTOPHER PIVARNIK                 CHRISTOPHER POOLE                             CHRISTOPHER PREOVOLOS
240-19 136TH AVENUE                  1528 N. ROBERTA AVE.                          35 WEST BROAD STREET
ROSEDALE NY 11422                    MELROSE PARK IL 60160                         UNIT #323
                                                                                   STAMFORD CT 06902



CHRISTOPHER PRICE                    CHRISTOPHER PYBURN                            CHRISTOPHER RAKOWSKI
1000 S. FOUNTAIN GREEN ROAD          735 LEXINGTON AVE                             3416 N. ELAINE PL
BEL AIR MD 21015                     #14                                           APT. #3E
                                     INDIANAPOLIS IN 46203                         CHICAGO IL 60657




                                            Page 392 of 2387
                       Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 393 of 800
CHRISTOPHER REBER                   CHRISTOPHER REEVES                            CHRISTOPHER REILLY
35 SCHOOL LANE                      55 CLOVERDALE DRIVE                           289 SIESTA AVENUE
STEVENS PA 17578                    EAST HARTFORD CT 06118                        THOUSAND OAKS CA 91360




CHRISTOPHER REYNOLDS                CHRISTOPHER RICKETT                           CHRISTOPHER ROBERTS
4004 PROSPECT AVENUE                802 CATHEDRAL STREET                          3111 WEST 85TH STREET
LOS ANGELES CA 90027                3                                             CHICAGO IL 60652
                                    BALTIMORE MD 21201



CHRISTOPHER ROBINSON                CHRISTOPHER ROHLFING                          CHRISTOPHER ROYER
58 FIRST AVENUE                     4251 RUSSELL                                  4307 N. LINCOLN AVE.
MASSAPEQUA PARK NY 11762            ST. LOUIS MO 63110                            APT. #2E
                                                                                  CHICAGO IL 60618



CHRISTOPHER SAGE                    CHRISTOPHER SCHAEFER                          CHRISTOPHER SCHAFER
5354 N 20TH ST                      2429 S. WARNOCK ST                            868A N PENNOCK ST
KALAMAZOO MI 49004                  PHILADELPHIA PA 19148                         PHILA PA 19130




CHRISTOPHER SCHUYLER                CHRISTOPHER SHERMAN                           CHRISTOPHER SHOUP
60 WEST NOTRE DAME STREET           3301 NORTH K CENER                            17008 SALEM COURT
GLENS FALLS NY 12801                APT. A205                                     TINLEY PARK IL 60477
                                    MCALLEN TX 78501



CHRISTOPHER SILESKI                 CHRISTOPHER SIMPSON                           CHRISTOPHER SINK
34596 VIA CATALINA                  140 WEST LAFAYETTE                            1872 TUMBLEWATER BLVD.
CAPISTRANO BEACH CA 92624           611                                           OCOEE FL 34761
                                    BALTIMORE MD 21217



CHRISTOPHER SMITH                   CHRISTOPHER SPENCER                           CHRISTOPHER STONE
8 HARMONY LANE                      109 GLADSTONE AVENUE                          465 BROAD STREET
GLEN COVE NY 11542                  WEST ISLIP NY 11795                           WINDSOR CT 06095




CHRISTOPHER TEDESCO                 CHRISTOPHER THOMAS                            CHRISTOPHER THOMAS PANTALEO
93 MOONLIT CIRCLE                   7975 CENTER PARKWAY                           658 LYDIA
SACRAMENTO CA 95831                 SACRAMENTO CA 95823                           GRAND RAPIDS MI 49503




CHRISTOPHER TICKEY                  CHRISTOPHER TIEDJE                            CHRISTOPHER TINKHAM
1112 CLEGHORN DR.                   3612 SW 21ST STREET                           3315 TARECO DR
UNIT G                              FORT LAUDERDALE FL 33312                      LOS ANGELES CA 90068
DIAMOND BAR CA 91765



CHRISTOPHER TOBIA                   CHRISTOPHER TODMAN                            CHRISTOPHER TORRES
16 PROSPECT AVENUE                  2174 CHAMPIONS WAY                            17 JAMES STREET
SEA CLIFF NY 11579                  NORTH LAUDERDALE FL 33068                     FARMINGDALE NY 11735




                                           Page 393 of 2387
                           Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 394 of 800
CHRISTOPHER TURLEY                      CHRISTOPHER VAILLANCOURT                      CHRISTOPHER VALERIOTI
6420 DOUBLE EAGLE DRIVE                 5 LONGVIEW ROAD                               65 LOCUST AVE
1209                                    ENFIELD CT 06082                              OAKDALE NY 11769
WOODRIDGE IL 60517



CHRISTOPHER VANASDALAN                  CHRISTOPHER VILLAR                            CHRISTOPHER WAGNER
3920 NORTH FACULTY DRIVE                4157 W. 26TH STREET                           134 13TH STREET
INDIANAPOLIS IN 46254                   CHICAGO IL 60623                              APT #B
                                                                                      SEAL BEACH CA 90740



CHRISTOPHER WALKER                      CHRISTOPHER WARREN                            CHRISTOPHER WEILEMANN
615 CLINTON PL.                         10294 BUENA VENTURA DRIVE                     2175 SCHUMACHER DRIVE
EVANSTON IL 60201                       BOCA RATON FL 33498                           NAPERVILLE IL 60540




CHRISTOPHER WENCHELL                    CHRISTOPHER WHEELOCK                          CHRISTOPHER WHITAKER
35 EVERGREEN DR                         512 BROAD STREET                              14 MARGARET RD
MANORVILLE NY 11949                     2ND FLOOR                                     ROOSEVELT NY 11575
                                        HARTFORD CT 06106



CHRISTOPHER WHITE                       CHRISTOPHER WIEBE                             CHRISTOPHER WILLIAMS
8239 S. PAULINA                         350 S. FULLER AVE                             1068 S MILITARY TRAIL
CHICAGO IL 60620                        APT 1D                                        APT 202
                                        LOS ANGELES CA 90036                          DEERFIELD BEACH FL 33442



CHRISTOPHER WOLFE                       CHRISTOPHER WRENN                             CHRISTOPHER ZANGHI
2140 BEACHWOOD TERRACE                  2850 NORTH SHERIDAN                           6846 MCLEAN PROVINCE CIRCLE
LOS ANGELES CA 90068                    APT. #510                                     FALLS CHURCH VA 22043
                                        CHICAGO IL 60657



CHRISTOPHER, ERIC                       CHRISTOPHER, JAMES M                          CHRISTOPHER, WILLIAM R
915 JOYCE                               26 W FABISH DRIVE                             URBAN CONCEPTS
HOUSTON TX 77009                        BUFFALO GROVE IL 60089                        8383 WILSHIRE BLVD NO.300
                                                                                      BEVERLY HILLS CA 90211



CHRISTOPHERS, ROBYN                     CHRISTOPHERSON, COURTNEY L                    CHRISTOV, SILVA
1300 W BROWARD BLVD                     1401 S FEDERAL HWY  NO.417                    17 DALE ST NO.4
FORT LAUDERDALE FL 33312                BOCA RATON FL 33432                           STAMFORD CT 06902




CHRISTOV, VALERI                        CHROWL SULLIVAN, BETH LEE ANN                 CHRYSCZANAVICZ, JENNA N
17 DALE STREET APT 4                    33 IRELAND ST                                 3328 CAPITAL ST
STAMFORD CT 06902                       HAMPTON VA 23663                              ALLENTOWN PA 18103




CHRYSTIAN TEJEDOR                       CHU, HENRY                                    CHU, HENRY
10333 SW 28TH STREET                    BEIJING BUREAU                                BEIJING BUREAU
MIAMI FL 33165                          C/O EXPENSE REPORTING 1ST FL                  LA TIMES FOREIGN DESK
                                        LOS ANGELES CA 90012                          202 W 1ST ST
                                                                                      LOS ANGELES CA 90053




                                               Page 394 of 2387
                           Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 395 of 800
CHU, LOUISA L                           CHU, MARIA                                    CHUBB ATLANTIC INDEMNITY LTD
301 N RIVERWALK DR                      16524 ABASCAL DR                              BELVEDERE BUILDING
BUFFALO GROVE IL 60089                  HACIENDA HTS CA 91745                         69 PITTS BAY ROAD
                                                                                      PEMBROKE HM08



CHUBB GROUP OF INSURANCE COMPANIES      CHUBB GROUP OF INSURANCE COMPANIES            CHUBB GROUP OF INSURANCE COMPANIES
FEDERAL INSURANCE COMPANY               15 MOUNTAIN VIEW ROAD                         2300 SOUTH WACKER DRIVE
15 MOUNTAIN VIEW ROAD                   WARREN NJ 60025                               SEARS TOWER
WARREN NJ 07059                                                                       SUITE 4700
                                                                                      CHICAGO IL 60606-6303


CHUBB GROUP OF INSURANCE COMPANIES      CHUBB GROUP OF INSURANCE COMPANIES            CHUBB SPECIALTY INSURANCE
FEDERAL INSURANCE COMPANY               FEDERAL INSURANCE COMPANIES                   233 SOUTH WACKER DR
82 HOPMEADOW STREET                     ATTN: UNDERWRITING                            SEARS TOWER
SIMSBURY CT 06070-7683                  82 HOPMEADOW STREET                           SUITE 4700
                                        SIMSBURY CT 06070-7683                        CHICAGO IL 60606-6303


CHUBB SPECIALTY INSURANCE               CHUCK MOBECK                                  CHUCK PHILIPS
SEARS TOWER , SUITE 4700                1116 VILLA COURT                              632 PACIFIC ST.
233 SOUTH WACKER DR                     WINTER SPRINGS FL 32708                       APT #4
CHICAGO IL 60606-6303                                                                 SANTA MONICA CA 90405



CHUCK WARE INC                          CHUCK ZYJEWSKI                                CHUMP INC
7107 S VERSAILLES ST                    2961 NE 19 TER.                               1 WILTSHIRE AVE NO.107
AURORA CO 80016                         LIGHT HOUSE POINT FL 33064                    TORONTO ON M6N 2V7




CHUN, ALEX                              CHUNG, ANDRE F                                CHUNG, DESMOND
3530 OCEAN VIEW AVE                     9576 FAREWELL RD                              9197 RAMBLEWOOD DR NO. 731
LOS ANGELES CA 90066                    COLUMBIA MD 21045                             CORAL SPRINGS FL 33071




CHUNG, EUNJIN                           CHUNG, EUNJIN                                 CHUNG, EUNJIN
171 HELMAND ST CHARAHI HAJI             CITY GUESTHOUSE                               209-301 CHUNG GU APT YANG JI VILLAGE
YAQOOB, SHAR-E-NOW                      HOUSE NO.6    STREET NO.4                     SUNAE-DONG,BUNDANG-GU,
KABUL                                   QALLA-E-FATULLAH                              SUNGNAM-SI
                                        KABUL                                         GYEONGGI-DO 463921


CHUNG, SONJA                            CHUNG-MAU CHENG                               CHUNSHUNG CHEUNG
4250 NW 37 TERRACE                      4426 CALLE MAYOR                              331 WOODHULL AVENUE
FORT LAUDERDALE FL 33309                APT #5                                        PORT JEFFERSON STATION NY 11776
                                        TORRANCE CA 90505



CHUQUI, JORGE                           CHURCH, GARY                                  CHURCH, JUDITH
48-46 46TH ST APT 1B                    73 ELLSWORTH BLVD                             73 ELLSWORTH BLVD
WOODSIDE NY 11377                       BERLIN CT 06037-2727                          BERLIN CT 06037-2727




CHURCH, TERESA M                        CHURCHILL, RONDA                              CHYLACK, CHRISTOPHER
2391 ARBOR VIEW DRIVE                   751 NORTH TENAYA WAY NO.213                   15 E PITTSON ST
COLUMBUS OH 43229                       LAS VEGAS NV 89128                            ALLENTOWN PA 18103




                                               Page 395 of 2387
                         Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 396 of 800
CIA INC                               CIABATTARI, JANE                              CIALDELLA, TIMOTHY
PO BOX 1192                           36 W 75TH ST   APT 5A                         9604 TRIANA LANE
LOMBARD IL 60148                      NEW YORK NY 10023                             SAINT JOHN IN 46373




CIAN CALDWELL                         CIARDIELLO, JOSEPH G                          CIBER INC
575 W. 19TH ST                        35 LITTLE YORK-MT PLEASANT RD                 5251 DTC PKWY
APT C123                              MILFORD NJ 08848                              STE 1400
COSTA MESA CA 92627                                                                 GREENWOOD VILLAGE CO 80111



CICELY WEDGEWORTH                     CICENIA, BRIDGET                              CICERO, MICHAEL J
725 MARIPOSA AVE                      2441 N FAIRFIELD AVE                          5335 WISCONSIN AVE NW      STE 440
APT 302                               CHICAGO IL 60647                              WASHINGTON DC 20015
MOUNTAIN VIEW CA 94041



CICERO, MICHAEL J                     CIDALIEN, JEAN                                CIDOINE, GUINEX
4612 DRUMMOND AVE                     4156 INVERRARY DR NO.204                      14585 SUNSET PINES DRIVE
CHEVY CHASE MD 20815                  LAUDERHILL FL 33319                           DELRAY BEACH FL 33445




CIERRA WARE                           CIESLICKI, VERONICA                           CIFELLI, LINDA M
4844 NW 24TH COURT                    702 N 20TH AVENUE #4                          134 WINSTON DR
APT 140                               HOLLYWOOD FL 33020                            WILLIAMSBURG VA 23185
LAUDERDALE LAKES FL 33313



CIGARETTE GIRL                        CIIAA                                         CIMMINO, TONY
133 S PECK DR NO.401                  PO BOX 27471                                  70 WATERVIEW AVE
BEVERLY HILLS CA 90212                LOS ANGELES CA 90027-0471                     SANDY HOOK CT 06482




CINA BORNSTEIN-WATSON                 CINCINNATI REDS LLC                           CINCINNATI REDS LLC
3025 NW 30TH AVE                      100 CINERGY FIELD                             GREAT AMERICAN BALLPARK
OAKLAND PARK FL 33304                 CINCINNATI OH 45202                           100 MAIN STREET
                                                                                    CINCINNATI OH 45202



CINDA BROWNE                          CINDA STARLEAF                                CINDI HANSEN
17 TOWNE SQUARE DRIVE                 754 FREMONT VILLAS                            1786 JASMINE STREET
NEWPORT NEWS VA 23607                 LOS ANGELES CA 90042                          EL CAJON CA 92021




CINDY BIBLIOWICZ                      CINDY BROOKS ENTERTAINMENT                    CINDY CHIN
257 SW 159TH LANE                     41 MANCHESTER DR                              621 6TH STREET
SUNRISE FL 33326                      LEBANON NH 03766                              EAST NORTHPORT NY 11731




CINDY CLAIBORNE                       CINDY DONNELLY                                CINDY FLEMING
211 QUARTER TRAIL                     203 NORMANDY RD.                              218 N. CYPRESS WAY
APT. #B                               EDISON NJ 08820                               CASSELBERRY FL 32707
NEWPORT NEWS VA 23608




                                             Page 396 of 2387
                         Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 397 of 800
CINDY GOLDBERG                        CINDY HIVELY                                  CINDY HOPP
10 MITCHELL AVE                       4119 MAGUIRE DR                               68 BELLEVUE TERRACE
PLAINVIEW NY 11803                    MALIBU CA 90265                               BLOOMFIELD NJ 07003




CINDY JANSKY                          CINDY JENNE                                   CINDY JONES-HULFACHOR
335 N. WALNUT STREET                  7642 TURLINGTON ROAD                          5370 NW 103 WAY
DALLASTOWN PA 17313                   TOANO VA 23168                                CORAL SPRINGS FL 33076




CINDY KUSE                            CINDY LOFTUS                                  CINDY MEAUX
3 AVALON PLACE                        1400 N. STATE PARKWAY                         P.O. BOX 922924
WETHERSFIELD CT 06109                 APT.#3A                                       SYLMAR CA 91392
                                      CHICAGO IL 60610



CINDY MUNOZ                           CINDY ROTERMUND                               CINDY SCHUETZ
4948 N. RIDGEWAY                      654 BERKLEY AVENUE                            3207 S 5TH AVENUE
CHICAGO IL 60625                      ELMHURST IL 60126                             WHITEHALL PA 18052




CINDY TOBY                            CINDY YOUNG                                   CINDYANA CUPELES RIVERA
7C MISTY WOOD CIRCLE                  121 E WYOMING STREET                          1315 SOUTH 10TH STREET
TIMONIUM MD 21093                     ALLENTOWN PA 18103                            APT. 2
                                                                                    ALLENTOWN PA 18103



CINEMATIC EXPERIENCE INC              CINGULAR WIRELESS                             CINGULAR WIRELESS
3055 W ADDISON ST 1ST FLR             PO BOX 10401                                  PO BOX 9681
CHICAGO IL 60618                      VAN NUYS CA 91410-0401                        NEW HAVEN CT 06536-0681




CINGULAR WIRELESS                     CINGULAR WIRELESS                             CINGULAR WIRELESS
PO BOX 9823                           500 ENTERPRISE DR                             PO BOX 31488
NEW HAVEN CT 06536                    ROCKY HILL CT 06067                           TAMPA FL 33631




CINGULAR WIRELESS                     CINGULAR WIRELESS                             CINGULAR WIRELESS
PO BOX 530032                         12525 CINGULAR WAY                            5600 GLENRIDGE DR NE
ATLANTA GA 30353-0032                 MAILSTOP GAW 3100 CASH OPS                    ATLANTA GA 30342-1367
                                      ALPHARETTA GA 30004-8502



CINGULAR WIRELESS                     CINGULAR WIRELESS                             CINGULAR WIRELESS
ATTN ANTHONY BROWN                    ATTN STRATEGIC ACCOUNTS                       PO BOX 6420
12525 CINGULAR WAY                    12525 CINGULAR WAY STE 3150                   CAROL STREAM IL 60197-6420
CASH ACCTG MAILCODE 3150              ALPHARETTA GA 30004
ALPHARETTA GA 30004


CINGULAR WIRELESS                     CINGULAR WIRELESS                             CINGULAR WIRELESS
PO BOX 6444                           PO BOX 6463                                   PO BOX 8220
CAROL STREAM IL 60197-6444            CAROL STREAM IL 60197-6463                    AURORA IL 60572-8220




                                             Page 397 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 398 of 800
CINGULAR WIRELESS                      CINGULAR WIRELESS                             CINGULAR WIRELESS
PO BOX 8229                            PO BOX 806055                                 100 LOWDER BROOK DR
AURORA IL 60572                        CHICAGO IL 60680-6055                         ATTN EQUIPMENT A/R
                                                                                     WESTWOOD MA 02090



CINGULAR WIRELESS                      CINGULAR WIRELESS                             CINGULAR WIRELESS
PO BOX 17356                           PO BOX 70811                                  PO BOX 650553
BALTIMORE MD 21297-1356                CHARLOTTE NC 28272-0811                       DALLAS TX 75265-0553




CINGULAR WIRELESS                      CINGULAR WIRELESS                             CINGULAR WIRELESS
PO BOX 650574                          PO BOX 630069                                 2445 140TH AVE NE
DALLAS TX 75265-0574                   DALLAS TX 75263-0069                          BELLEVUE WA 98005




CINTAS CORPORATION #021                CINTAS CORPORATION #021                       CINTAS CORPORATION #021
ATTN: ACCTS RECEIVABLE                 PO BOX 5                                      9828 S OAKWOOD PARK DR
6001 W 73RD ST                         BEDFORD PARK IL 60499                         FRANKLIN WI 53132
BEDFORD PARK IL 60638



CINTAS FIRST AID AND SAFETY            CINTAS FIRST AID AND SAFETY                   CINTAS FIRST AID AND SAFETY
6440 LUSK BLVD SUITE D108              PO BOX 6718                                   825 N MOUNTAIN ROAD
SAN DIEGO CA 92121                     ORANGE CA 92863                               NEWINGTON CT 06111




CINTAS FIRST AID AND SAFETY            CINTAS FIRST AID AND SAFETY                   CINTAS FIRST AID AND SAFETY
1071 JUDSON ST                         45-A MILTON DRIVE                             915 A GEMINI AVE
BENSENVILLE IL 60106                   ASTON PA 19014                                DUNCANVILLE TX 75138




CINTHYA DE LA CRUZ                     CINTRON, CHRISTOPHER                          CINTRON, LUIS
9340 KETAY CIRCLE                      5024 NW 58TH TERRACE                          8903 LATRICE AVE     NO.307
BOCA RATON FL 33428                    CORAL SPRINGS FL 33067                        ORLANDO FL 32819




CIOLEK, ANNA                           CIOLEK, ANNA M                                CIOLEK, JENNIFER
104 HARDING AVE                        104 N HARDING AVENUE                          104 N HARDING AVE
PEN ARGYL PA 18072                     PEN ARGYL PA 18072                            PEN ARGYL PA 18072




CIOLEK, MARLO                          CIOLKOWSKI, LAURA                             CIONE, FRANK
2213 S FOUNTAIN ST APT 8               93 JEFFERSON AVE                              850 HARVEST DR
ALLENTOWN PA 18103                     MAPLEWOOD NJ 07040                            LAKE ZURICH IL 60047




CIPRIAN PEREZ                          CIPRO, CHRISTOPHER CHARLES                    CIPS MARKETING GROUP INC
15 BEECHWOOD COURT                     9072 CALLE LUCIA                              13110 S AVALON BLVD
NORTH MASSAPEQUA NY 11758              LAKESIDE CA 92040                             LOS ANGELES CA 90061




                                              Page 398 of 2387
                        Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 399 of 800
CIRCA ARCHITECTS AND PLANNERS          CIRCDOC GROUP                               CIRCLE CITY LIGHTING INC
21 S 9TH ST                            22741 CRISWELL ST                           7995 W 21ST ST     UNIT D
ALLENTOWN PA 18102                     WEST HILLS CA 91307                         INDIANAPOLIS IN 46214




CIRCLE R MEDIA LLC                     CIRCULAR EXPRESS ADVERTISING                CIRCULATION INC.
300 RADIOSHACK CIRC MS T3 381          458 COZINE AVE                              11765 WEST AVE #213
FORT WORTH TX 76102                    BROOKLYN NY 11208                           SAN ANTONIO TX 75098




CIRCULATION MARKETING INC.             CIRCULATION MARKETING INC.                  CIRCULATION MARKETING INC.
6784 S HIGHLAND DR                     925 E EXECUTIVE DR NO.G                     PO BOX 21397
SALT LAKE CITY UT 84121                SALT LAKE CITY UT 84117                     SALT LAKE CITY UT 84121




CIRCULATION MARKETING INC.             CIRCULATION PROMOTERS USA 3                 CIRCULATION PROMOTION UNLIMITED
PO BOX 71397                           26510 BELANGER ST                           17811 ABBY LANE
SALT LAKE CITY UT 84171                ROSEVILLE MI 48066-3145                     SPRING TX 77379




CIRCULATION PROMOTIONS UNLIMITED INC   CIRCULATION PROMOTIONS UNLIMITED INC        CIRCULATION PROMOTIONS UNLIMITED INC
101 S SHADY SHORES                     17811 ABBY LANE                             1910 BREAKER LN
LAKE DALLAS TX 75065                   SPRING TX 77379                             FLOWER MOUND TX 75022




CIRCULATION SPECIALISTS INC            CIRCULATION SPECIALISTS INC                 CIRCULATION SPECIALISTS INC
13167 LIBERTY SQUARE DR                14106 CHICORA CROSSING BLVD                 14106 CHICORA CROSSING
ORLANDO FL 32828                       ORLANDO FL 32828                            ORLANDO FL 32828




CIRCULATIONS UP                        CIRCULATORS INC                             CIRCULATORS PROMOTIONAL SERVICES INC
1606 E 5TH ST                          11765 WEST AVE NO. 213                      1261 MOKULUA DRIVE
COAL VALLEY IL 61240                   SAN ANTONIO TX 75098                        KAILUA HI 96734




CIRIACO, ELADRO                        CIRILA AMAYA CONTRERAS                      CIRINA LAZARO
108 JEFFREY LN                         1151 GAYLAND AVE.                           2025 N. KENNETH
NEWINGTON CT 06111                     HACIENDA HEIGHTS CA 91745                   CHICAGO IL 60639




CIRULATION STRATEGIES LLC              CISCO MCCARTHY                              CISCO SYSTEMS CAPITAL CORPORATION
1831 E KAEL ST                         6349 21ST AVENUE SW                         170 WEST TASMAN DRIVE
MESA AZ 85203                          SEATTLE WA 98106                            MAILSTOP SJ 13-3
                                                                                   SAN JOSE CA 95134-1706



CISCO SYSTEMS CAPITAL CORPORATION      CISCO SYSTEMS CAPITAL CORPORATION           CISCO SYSTEMS CAPITAL CORPORATION
11766 WILSHIRE BLVD                    170 W TASMAN DR                             C/O BANK OF AMERICA
SUITE 1500                             SAN JOSE CA 95134-1706                      FILE NO. 73226
LOS ANGELES CA 90025                                                               PO BOX 6000
                                                                                   SAN FRANCISCO CA 94160




                                            Page 399 of 2387
                        Case 08-13141-BLS       Doc 17-1        Filed 12/08/08    Page 400 of 800
CISCO SYSTEMS CAPITAL CORPORATION        CISCO SYSTEMS CAPITAL CORPORATION           CISCO SYSTEMS CAPITAL CORPORATION
DEPT 1659                                FILE NO 73226                               ATTN MIKE KALETA
P O BOX 61000                            PO BOX 60000                                3660 MAGUIRE BOULEVARD
SAN FRANCISCO CA 94161-1659              SAN FRANCISCO CA 94160-3230                 SUITE 200
                                                                                     ORLANDO FL 32803


CISCO SYSTEMS CAPITAL CORPORATION        CISCO SYSTEMS CAPITAL CORPORATION           CISCO SYSTEMS CAPITAL CORPORATION
ATTN: CHRIS JOHNSON                      FILE 91232                                  PO BOX 1067
SUITE 200                                PO BOX 1067                                 FILE 91232
3660 MAGUIRE BOULEVARD                   CHARLOTTE NC 28201-1067                     CHARLOTTE NC 28201-1067
ORLANDO FL 32803


CISION US INC                            CISION US INC                               CISNEROS, RAUL
PO BOX 98869                             PR AND MEDIA INFORMATION SYNO.MS            00057 6218 S MASSASOIT
CHICAGO IL 60693-8869                    332 S MICHIGAN AV                           CHICAGO IL 60638
                                         CHICAGO IL 60604-9917



CISNEROS, RAUL                           CISNEROS, RAYMUNDO Z                        CIT COMMUNICATIONS FINANCE
6218 S MASSASOIT                         5034 SOUTH KENNETH AVENUE                   1 CIT DRIVE
57                                       CHICAGO IL 60632                            LIVINGSTON NJ 07039
CHICAGO IL 60638



CIT GROUP COMMERCIAL SERVICE             CIT GROUP EQUIPMENT FINANCING               CIT GROUP EQUIPMENT FINANCING
PO BOX 1036                              4600 TOUCHTON RD BLDG 100, NO.300           PO BOX 550599
CHARLOTTE NC 28201-1036                  JACKSONVILLE FL 32246                       JACKSONVILLE FL 32255-0599




CIT GROUP EQUIPMENT FINANCING            CIT GROUP EQUIPMENT FINANCING               CIT GROUP EQUIPMENT FINANCING
21146 NETWORK PLACE                      PO BOX 30002                                650 CIT DR
CHICAGO IL 60673-1211                    CHARLOTTE NC 28230-0002                     LIVINGSTON NJ 07040




CIT GROUP EQUIPMENT FINANCING            CIT TECHNOLOGY FINANCE SERVICE INC          CIT TECHNOLOGY FINANCE SERVICE INC
675 NORTH GLENSIDE DRIVE                 PO BOX 100706                               SUITE 500
RICHARDSON TX 75081                      PASADENA CA 91189                           4420 ROSEWOOD DRIVE
                                                                                     PLEASANTON CA 94588



CIT TECHNOLOGY FINANCE SERVICE INC       CIT TECHNOLOGY FINANCING SERVICES INC.      CIT TECHNOLOGY FINANCING SERVICES INC.
21146 NETWORK PL                         10201 CENTURION PARKWAY NORTH               4600 TOUCHTON RD E BLDG 100
CHICAGO IL 60673-1211                    SUITE 100                                   STE 300
                                         JACKSONVILLE FL 32256                       JACKSONVILLE FL 32246



CIT TECHNOLOGY FINANCING SERVICES INC.   CITADEL BROADCASTING CORP                   CITADEL BROADCASTING CORP
650 CIT DRIVE                            4643 QUAIL LAKES DRIVE STE 100              KKND-FM
PO BOX 1638                              STOCKTON CA 95207                           201 ST CHARLES AVE STE 201
LIVINGSTON NJ 07039                                                                  NEW ORLEANS LA 70170



CITADEL BROADCASTING CORP                CITADEL BROADCASTING CORP                   CITADEL BROADCASTING CORP
KMEZ-FM                                  WDVW FM                                     WMTI FM
201 ST CHARLES SUITE 201                 201 ST CHARLES AVE   STE 201                201 ST CHARLES ST SUITE 201
NEW ORLEANS LA 70170                     NEW ORLEANS LA 70170                        NEW ORLEANS LA 70170




                                             Page 400 of 2387
                           Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 401 of 800
CITADEL BROADCASTING CORP               CITADEL BROADCASTING CORP                     CITADEL BROADCASTING CORP
3375 MERRIAM ST                         WTNR-FM                                       PO BOX 450
MUSKEGON MI 49444                       60 MONROE CENTER NW 3RD FLR                   HERSHEY PA 17033
                                        GRAND RAPIDS MI 49503



CITADEL COMMUNICATIONS                  CITADEL OUTLETS                               CITIBANK PREPAID SERVICE
3300 BUSINESS DR                        100 CITADEL DRIVE STE 480                     2 PENNS WAY DELL 2 2
SACRAMENTO CA 95821                     COMMERCE CA 90040                             NEW CASTLE DE 19720




CITIBANK PREPAID SERVICE                CITIBANK PREPAID SERVICE                      CITIBANK PREPAID SERVICE
399 PARK AVE                            CASH MANAGEMENT BILLING SERVICE               555 NORTH LANE    STE 5040
ACCOUNT NO.75236835                     PO BOX 4037                                   CONSHOHOCKEN PA 19428
NEW YORK NY 10022                       BUFFALO NY 14240-4034



CITIBANK PREPAID SERVICE                CITICAPITAL TECHNOLOGY FINANCE, INC.          CITICORP NORTH AMERICA, INC
PO BOX 7247 6966                        1255 WRIGHTS LANE                             ATTN: TIM DILLWORTH
PHILADELPHIA PA 19170-6966              WEST CHESTER PA 19380                         450 MAMARONECK AVENUE, SUITE A
                                                                                      HARRISON NY 10528-2402



CITICORP VENDOR FINANCE INC             CITICORP VENDOR FINANCE INC                   CITICORP VENDOR FINANCE INC
1800 OVERCENTER DR                      ONE INTERNATIONAL BLVD                        700 E. GATE DRIVE
MOBERLY MO 65270                        10TH FLOOR                                    SUITE 400
                                        MAHWAH NJ 07430-0631                          MOUNT LAUREL NJ 08054



CITICORP VENDOR FINANCE INC             CITICORP VENDOR FINANCE INC                   CITICORP VENDOR FINANCE INC
P O BOX 41647                           P O BOX 8500-6075                             PO BOX 7247 0322
PHILADELPHIA PA 19101-1647              PHILADELPHIA PA 19178                         PHILADELPHIA PA 19170-0322




CITICORP VENDOR FINANCE INC             CITICORP VENDOR FINANCE INC                   CITICORP VENDOR FINANCE, INC.
PO BOX 7247 0118                        PO BOX 7247 0371                              PO BOX 728
PHILADELPHIA PA 19170-0118              PHILADELPHIA PA 19170-0371                    PARK RIDGE NJ 07656




CITIES UNLIMITED INC                    CITIZENS FIRST NATIONAL BANK                  CITIZENS FOR QUIGLEY INC
PO BOX 2474                             RE: ROCKDALE 1830 MOEN AVE,TRUST # 10048      915 W BELMONT AVE
MISSION KS 66201                        C/O MCKINLEY WOODS ROAD MANAGEMENT            CHICAGO IL 60657
                                        PO BOX 825
                                        MINOOKA IL 60447


CITIZENS FOR TUNNEY                     CITIZENS FOR TUNNEY                           CITIZENS PROGRAMS CORPORATION
1057 W BELMONT                          3248 N CLARK ST                               88 BLACK FALCON AVE  STE 342
CHICAGO IL 60657                        CHICAGO IL 60657                              BOSTON MA 02210




CITRON, STEPHANIE                       CITTADINE, ELIZABETH                          CITY & SUBURBAN DELIVERY SYS
9 ROLAND COURT                          520 SHERIDAN RD                               PO BOX 19525A
TOWSON MD 21204                         KENILWORTH IL 60043                           NEWARK NJ 07195-0525




                                               Page 401 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 402 of 800
CITY & SUBURBAN DELIVERY SYS           CITY & SUBURBAN DELIVERY SYS                  CITY AND COUNTY OF DENVER
1111 MARCUS AVE STE M21                303 SMITH ST                                  MCNICHOLS CIVIC CTR BLDG TREASURY
LAKE SUCCESS NY 11042-1034             E FARMINGDALE NY 11735                        144 W COLFAX AVE
                                                                                     DENVER CO 80202



CITY AND COUNTY OF DENVER              CITY AND COUNTY OF DENVER                     CITY AND COUNTY OF DENVER
PARKING VIOLATIONS BUREAU              TREASURY DIVISION                             TREASURY DIVISION
PO BOX 46500                           PO BOX 17660                                  PO BOX 17420
DENVER CO 80201-6500                   DENVER CO 80217-0660                          DENVER CO 80217-0420



CITY AND COUNTY OF DENVER              CITY CENTER PROPERTIES LLC                    CITY CENTER PROPERTIES, LLC
TREASURY DIVISION                      110 N YORK ROAD                               RE: CHICAGO 2820 WEST 48TH PL
PO BOX 17440                           ELMHURST IL 60126                             110 N YORK
DENVER CO 80217-0440                                                                 ELMHURST IL 60126



CITY CLUB OF CHICAGO                   CITY NEWS SERVICE INC                         CITY NEWS SERVICE INC
360 N MICHIGAN AVE STE 903             11400 W OLYMPIC BLVD STE 780                  1900 AVENUE OF THE STARS
CHICAGO IL 60601                       LOS ANGELES CA 90064                          SUITE 1870
                                                                                     LOS ANGELES CA 90067



CITY OF AGOURA HILLS                   CITY OF ALLENTOWN                             CITY OF ALLENTOWN
ATTN ROBERT COTRES                     ACCT NO. 05-4985-000-0                        ACCT NO. 05-5400-000-0
30001 LADYFACE CT                      P.O. BOX 1846                                 P.O. BOX 1846
AGOURA HILLS CA 91301                  ALLENTOWN PA 18105-1846                       ALLENTOWN PA 18105-1846



CITY OF ALLENTOWN                      CITY OF ALLENTOWN                             CITY OF ALLENTOWN
ACCT NO. 05-5116-000-5                 ACCT NO. 05-4990-000-1                        435 HAMILTON ST
P.O. BOX 1846                          P.O. BOX 1846                                 CITY HALL ROOM 232
ALLENTOWN PA 18105-1846                ALLENTOWN PA 18105-1846                       ALLENTOWN PA 18101



CITY OF ALLENTOWN                      CITY OF ALLENTOWN                             CITY OF ALLENTOWN
435 HAMILTON ST                        ALLENTOWN FIRE PREVENTION                     ALLENTOWN HEALTH BUREAU
ROOM110                                435 HAMILTON ST RM 425                        245 N 6TH ST
ALLENTOWN PA 18101-1699                ALLENTOWN PA 18101                            ALLENTOWN PA 18102



CITY OF ALLENTOWN                      CITY OF ALLENTOWN                             CITY OF ALLENTOWN
ALLENTOWN HUMAN RELATIONS COMMISSION   ARTS OVATION COMMISSION                       ARTS OVATION COMMISSION
425 HAMILTON ST                        435 HAMILTON ST                               C/O SUSAN RUTT
ALLENTOWN PA 18102                     ALLENTOWN PA 18101                            1852 S WOOD ST
                                                                                     ALLENTOWN PA 18103


CITY OF ALLENTOWN                      CITY OF ALLENTOWN                             CITY OF ALLENTOWN
A-TOWN FIRE DEPT RM 234                BUREAU OF TRAFFIC                             OFFICE OF THE CITY SOLICITOR
425 HAMILTON ST                        435 HAMILTON ST                               519 CITY HALL
ALLENTOWN PA 18101                     ALLENTOWN PA 18101-1699                       435 HAMILTON STREET
                                                                                     ALLENTOWN PA 18101


CITY OF ALLENTOWN                      CITY OF ALLENTOWN                             CITY OF ALLENTOWN
P O BOX 1846                           SPECIAL EVENTS APPLICAITON PERMIT             P.O. BOX 1846
ALLENTOWN PA 18105                     3000 PARKWAY BLVD                             ALLENTOWN PA 18105-1846
                                       ALLENTOWN PA 18104




                                              Page 402 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 403 of 800
CITY OF ANAHEIM                        CITY OF ANAHEIM                               CITY OF ANAHEIM
200 SOUTH ANAHEIM BLVD                 800 W KATELLA AVE                             BUSINESS LICENSE DIVISION
ANAHEIM CA 92805                       ANAHEIM CA 92803                              P O BOX 61042
                                                                                     ANAHEIM CA 92803-6142



CITY OF ANAHEIM                        CITY OF ANAHEIM                               CITY OF ATLANTA
DIVISION OF COLLECTIONS                PO BOX 3069, 201 S. ANAHEIM BLVD.             55 TRINITY AVE SW
P O BOX 3069                           ANAHEIM CA 92803-3069                         SUITE 3700
ANAHEIM CA 92803                                                                     ATLANTA GA 30335-0309



CITY OF ATLANTA                        CITY OF ATLANTA                               CITY OF ATLANTA
ATLANTA FIRE DEPT FIRE SAFETY DIV      BUREAU OF TREASURY                            BUSINESS TAX DIV
675 PONCE DE LEON AVE NE               PO BOX 931695                                 RM 1350 TRINITY AVE SW
STE 2001                               ATLANTA GA 31193-1695                         ATLANTA GA 30335-0317
ATLANTA GA 30308-1807


CITY OF ATLANTA                        CITY OF ATLANTA                               CITY OF ATLANTA
MUNICIPAL REVENUE COLLECTOR            PO BOX 931474                                 PO BOX 932053
PO BOX 740560                          MUNICIPAL REVENUE COLLECTOR                   ATLANTA GA 31193
ATLANTA GA 30374-0560                  ATLANTA GA 31193-1474



CITY OF AURORA                         CITY OF AVALON                                CITY OF BALTIMORE, DEPT. OF FINANCE
44 E DOWNER PLACE                      PO BOX 707                                    BUREAU OF TREASURY MANAGEMENT
AURORA IL 60507                        AVALON CA 90704                               200 HOLLIDAY ST STE 3
                                                                                     BALTIMORE MD 21202-3683



CITY OF BALTIMORE, DEPT. OF FINANCE    CITY OF BALTIMORE, DEPT. OF FINANCE,          CITY OF BALTIMORE, DEPT. OF FINANCE,
BUREAU TO TREASURY MANAGEMENT          BUREAU OF TREASURY MANAGEMENT                 BUREAU OF TREASURY MANAGEMENT
200 HOLLIDAY ST, STE 3                 ACCT NO. 09404706005                          ACCT NO. 09352135009
BALTIMORE MD 21202-3683                200 HOLLIDAY ST. SUITE 3                      200 HOLLIDAY ST. SUITE 3
                                       BALTIMORE MD 21202-3683                       BALTIMORE MD 21202-3683


CITY OF BALTIMORE, DEPT. OF FINANCE,   CITY OF BALTIMORE, DEPT. OF FINANCE,          CITY OF BALTIMORE, DEPT. OF FINANCE,
BUREAU OF TREASURY MANAGEMENT          BUREAU OF TREASURY MANAGEMENT                 BUREAU OF TREASURY MANAGEMENT
ACCT NO. 7358445000                    ACCT NO. 3390161002                           ACCT NO. 09401849006
200 HOLLIDAY ST. SUITE 3               200 HOLLIDAY ST. SUITE 3                      200 HOLLIDAY ST. SUITE 3
BALTIMORE MD 21202-3683                BALTIMORE MD 21202-3683                       BALTIMORE MD 21202-3683


CITY OF BALTIMORE, DEPT. OF FINANCE,   CITY OF BATTLE CREEK                          CITY OF BEAUMONT
BUREAU OF TREASURY MANAGEMENT          10 NORTH DIVISION ST                          BUSINESS LICENSE RENEWAL DEPARTMENT
ACCT NO. 9401848008                    BATTLE CREEK MI 49014                         550 E. 6TH ST.
200 HOLLIDAY ST. SUITE 3                                                             BEAUMONT CA 92223
BALTIMORE MD 21202-3683


CITY OF BEAVERTON                      CITY OF BEAVERTON                             CITY OF BEAVERTON
4755 SW GRIFFITH DR                    PO BOX 3188                                   PO BOX 4755
BEAVERTON OR 97005                     PORTLAND OR 97208-3188                        BEAVERTON OR 97076-4755




CITY OF BETHLEHEM                      CITY OF BETHLEHEM                             CITY OF BEVERLY HILLS
10 E CHURCH ST                         CITY TREASURER AND TAX COLLECTOR              BUSINESS TAX REGISTRATION
BETHLEHEM PA 18018                     PO BOX 500                                    342 N FOOTHILL RD
                                       BETHLEHEM PA 18016-0500                       BEVERLY HILLS CA 90210-3713




                                              Page 403 of 2387
                            Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 404 of 800
CITY OF BEVERLY HILLS                    CITY OF BEVERLY HILLS                         CITY OF BEVERLY HILLS
BUSINESS TAX REGISTRATION                PARKING CITATIONS                             PO BOX 2014
455 N REXFORD DR NO.240                  PO BOX 515257                                 TUSTIN CA 92781-2014
BEVERLY HILLS CA 90210-4817              LOS ANGELES CA 90051-6557



CITY OF BEVERLY HILLS                    CITY OF BEVERLY HILLS                         CITY OF BOCA RATON
PUBLIC WORKS DEPT                        PUBLIC WORKS DEPT                             BUSINESS TAX AUTHORITY
342 N FOOTHILL BLVD                      9268 WEST THIRD STREET                        201 W PALMETTO PARK ROAD
BEVERLY HILLS CA 90210-1838              BEVERLY HILLS CA 90210-3713                   BOCA RATON FL 33432-3795



CITY OF BOCA RATON                       CITY OF BOCA RATON                            CITY OF BOCA RATON
PO BOX 31506                             PO BOX 7593                                   PO BOX 862236
TAMPA FL 33631-3506                      MIAMI FL 33195-7593                           ORLANDO FL 32886-2236




CITY OF BOCA RATON                       CITY OF BOCA RATON                            CITY OF BOYNTON BEACH UTILITES
UTILITIES PROCESSING CENTER              PO BOX 105193                                 100 E BOYNTON BEACH BLVD
PO BOX 628247                            ATLANTA GA 30348-5193                         PO BOX 310
ORLANDO FL 32862-8247                                                                  BOYNTON BEACH FL 33425-0310



CITY OF BOYNTON BEACH UTILITES           CITY OF BOYNTON BEACH UTILITES                CITY OF BOYNTON BEACH UTILITES
DEPARTMENT                               FINANCE DEPARTMENT                            PARKS & RECREATION DEPT
PO BOX 190                               PO BOX 310                                    1901 N SEACREST BLVD
100 E BOYNTON BEACH BLVD                 BOYNTON BEACH FL 33425-0310                   PO BOX 310
BOYNTON BEACH FL 33425-0190                                                            BOYNTON BEACH FL 33425-0310


CITY OF BRIDGEPORT                       CITY OF BRIDGEPORT                            CITY OF BRIDGEPORT
45 LYON TERRACE                          C/O TAX COLLECTOR                             DEPARTMENT OF PARKS & RECREATION
BRIDGEPORT CT 06604                      325 CONGRESS ST                               45 LYON TERRACE
                                         BRIDGEPORT CT 06604                           BRIDGEPORT CT 06604



CITY OF BRIDGEPORT                       CITY OF BRIDGEPORT                            CITY OF BUENA PARK
DEPT OF PUBLIC FACILITIES                OFFICE OF OUTSIDE OVERTIME                    FINANCE DEPARTMENT
999 BROAD ST                             300 CONGRESS ST                               6650 BEACH BLVD
BRIDGEPORT CT 06604                      BRIDGEPORT CT 06604                           PO BOX 5009
                                                                                       BUENA PARK CA 90622-5009


CITY OF BURBANK                          CITY OF BURBANK                               CITY OF BURBANK
ATTN: BRIAN HENSLEE                      CITATION PROCESSING CENTER                    CITATION PROCESSING CENTER
275 E OLIVE AVE                          PO BOX 4367                                   PO BOX 276210
PO BOX 64591                             INGLEWOOD CA 90309                            SACRAMENTO CA 95826-9110
BURBANK CA 91510


CITY OF BURBANK                          CITY OF BURBANK                               CITY OF BURBANK
CITATION PROCESSING CTR                  CITY TREASURER                                POLICE DEPARTMENT
PO BOX 55518                             PO BOX 7145                                   200 N THIRD ST
HAYWARD CA 94545-0518                    BURBANK CA 91510-7145                         BURBANK CA 91502



CITY OF BURBANK                          CITY OF CALABASAS                             CITY OF CARPINTERIA
PUBLIC SERVICE DEPARTMENT                PUBLIC WORKS DEPT                             5775 CARPINTERIA AVE
PO BOX 631                               ATTN MARK SANCHEZ                             CARPINTERIA CA 93013
BURBANK CA 91503                         26135 MUREAU RD
                                         CALABASAS CA 91302




                                                Page 404 of 2387
                         Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 405 of 800
CITY OF CHICAGO                        CITY OF CHICAGO                              CITY OF CHICAGO
121 N LASALLE ST                       22149 NETWORK PL                             22615 NETWORK PL
CITY HALL                              CHICAGO IL 60673-1221                        CHICAGO IL 60673-1226
CHICAGO IL 60601



CITY OF CHICAGO                        CITY OF CHICAGO                              CITY OF CHICAGO
30 NORTH LASALLE ST                    330 N WABASH     5TH FLR NE                  BOX 88298
DEPT OF TRANSPORTATION STE 1100        CHICAGO IL 60611                             CHICAGO IL 60680-1298
CHICAGO IL 60602



CITY OF CHICAGO                        CITY OF CHICAGO                              CITY OF CHICAGO
CHICAGO PUBLIC LIBRARY                 DAN HINES-FUND NO.356                        DEPARTMENT OF REVENUE
400 SOUTH STATE STREET 10N             121 N LA SALLE ST RM NO.806                  BUREAU OF FIRE PREVENTION
CHICAGO IL 60605                       MAYOR'S OFFICE OF SPECIAL EVENTS             444 N DEARBORN ST
                                       CHICAGO IL 60602                             CHICAGO IL 60610


CITY OF CHICAGO                        CITY OF CHICAGO                              CITY OF CHICAGO
DEPARTMENT OF REVENUE                  DEPARTMENT OF REVENUE                        DEPARTMENT OF WATER
120 N RACINE AVE - DEPT OF BUILDINGS   PO BOX 88292                                 PO BOX 6330
CHICAGO IL 60607-2010                  CHICAGO IL 60680-1292                        CHICAGO IL 60680-6330



CITY OF CHICAGO                        CITY OF CHICAGO                              CITY OF CHICAGO
DEPT OF CONSTRUCTION AND PERMITS       DEPT OF ENVIRONMENT                          DEPT OF REVENUE
121 N LASALLE STREET ROOM 900          30 N LASALLE ST 25TH FLR                     8097 INNOVATION WAY
CHICAGO IL 60602                       CHICAGO IL 60602                             CHICAGO IL 60682



CITY OF CHICAGO                        CITY OF CHICAGO                              CITY OF CHICAGO
DEPT OF REVENUE                        DEPT OF REVENUE                              DEPT OF REVENUE
8034 INNOVATION WAY                    PO BOX 88290                                 8108 INNOVATION WAY
CHICAGO IL 60682                       CHICAGO IL 60680-1290                        CHICAGO IL 60682-0081



CITY OF CHICAGO                        CITY OF CHICAGO                              CITY OF CHICAGO
DEPT OF REVENUE -                      DEPT OF REVENUE BUS SERV DIVIS               ENTERPRISE FUNDS
ACCTS RECEIVABLE DIVISION              PO BOX 640139                                333 S STATE ST SUITE 420
121 N LASALLE RM 107A                  CHICAGO IL 60664-1039                        CHICAGO IL 60604-3976
CHICAGO IL 60602-1288


CITY OF CHICAGO                        CITY OF CHICAGO                              CITY OF CHICAGO
FUND NUMBER 356                        GENERAL CONTRACTOR LICENSE                   GUN REGISTRATION SECTIONGUN REGISTR
121 NORTH LASALLE STREET RM 703        PO BOX 388249                                DALEY CENTER RMCL90
MAYORS OFFICE OF SPECIAL EVENTS        CHICAGO IL 60638-8249                        CHICAGO IL 60602
CHICAGO IL 60602


CITY OF CHICAGO                        CITY OF CHICAGO,                             CITY OF CHICAGO,
OFC OF CITY CLERK                      DEPT. OF WATER MANAGEMENT                    DEPT. OF WATER MANAGEMENT
CITY HALL RM 107                       ACCT NO. 469809-469-809                      ACCT NO. 506988-506988
121 N LASALLE ST                       P.O. BOX 6330                                P.O. BOX 6330
CHICAGO IL 60602                       CHICAGO IL 60680-6330                        CHICAGO IL 60680-6330


CITY OF CHICAGO, DEPT. OF WATER MGMT   CITY OF CHINO                                CITY OF COMPTON
P.O. BOX 6330                          PO BOX 667                                   TREASURER OFFICE
CHICAGO IL 60680-6330                  CHINO CA 91708-0667                          205 S WILLOWBROOK
                                                                                    COMPTON CA 90220




                                             Page 405 of 2387
                           Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 406 of 800
CITY OF CORAL SPRINGS                   CITY OF CORAL SPRINGS                         CITY OF CORAL SPRINGS
9551 W SAMPLE RD ATN JOYCE CAMPOS       9551 WEST SAMPLE ROAD                         FIRE INSPECTION DIVISION
CORAL SPRINGS FL 33065                  CORAL SPRINGS FL 33065                        PO BOX 754501
                                                                                      CORAL SPRINGS FL 33075-4501



CITY OF COSTA MESA                      CITY OF COSTA MESA                            CITY OF COUNTRYSIDE, FINANCE DEPT.
FINANCE DEPARTMENT                      REVENUE DIVISION                              ACCT NO. 0303318300-00
77 FAIR DRIVE                           P O BOX 1200                                  5550 EAST AVE.
ROOM 100                                COSTA MESA CA 92628-1200                      COUNTRYSIDE IL 60525
COSTA MESA CA 92628-1200


CITY OF CRYSTAL LAKE                    CITY OF CULVER CITY                           CITY OF CULVER CITY
ACCT NO. 023189-000                     BUSINESS TAX COLLECTOR                        CULVER CITY TREASURER
100 W. MUNIIPAL COMPLEX                 P O BOX 507                                   P O BOX 507
CRYSTAL LAKE IL 60014                   CULVER CITY CA 90232-0507                     CULVER CITY CA 90232-0507



CITY OF CULVER CITY                     CITY OF CULVER CITY                           CITY OF CULVER CITY
FIESTA LA BALLONA                       FIESTA LA BALLONA                             PO BOX 2404
4117 OVERLAND AVE                       9770 CULVER BLVD                              TUSTIN CA 92681-2404
CULVER CITY CA 90230                    CULVER CITY CA 90232



CITY OF CULVER CITY                     CITY OF CYPRESS                               CITY OF DALLAS
9770 CULVER BLVD                        FINANCE DEPARTMENT                            ACCT NO. 100221006
CULVER CITY CA 90232                    P O BOX 609                                   P.O. BOX 660025
                                        CYPRESS CA 90630-0609                         DALLAS TX 75266-0025



CITY OF DALLAS                          CITY OF DALLAS                                CITY OF DALLAS
EQUIP & BLDG SERV PARKING GARAGE        PO BOX 650302                                 PO BOX 660242
1500 MARILLA L2FN                       DALLAS TX 75265                               DALLAS TX 75265
DALLAS TX 75201



CITY OF DANA POINT                      CITY OF DANBURY                               CITY OF DAYTONA BEACH
PUBLIC WORKS DEPARTMENT                 DEPARTMENT OF PUBLIC WORKS                    301 SOUTH RIDGEWOOD AVE
33282 GOLDEN LANTERN                    155 DEER HILL AVE                             DAYTONA BEACH FL 32114
DANA POINT CA 92629-1805                DANBURY CT 06810



CITY OF DAYTONA BEACH                   CITY OF DEERFIELD BEACH                       CITY OF DEERFIELD BEACH
PO BOX 2451                             ACCT NO. 4180-7945                            ACCT NO. 4170-7925
DAYTONA BEACH FL 32115                  150 NE 2ND AVE.                               150 NE 2ND AVE.
                                        DEERFIELD BEACH FL 33441-3598                 DEERFIELD BEACH FL 33441-3598



CITY OF DEERFIELD BEACH                 CITY OF DEERFIELD BEACH                       CITY OF DEERFIELD BEACH
ACCT NO. 4160-7905                      ACCT NO. 4150-7885                            ACCT NO. 4140-7865
150 NE 2ND AVE.                         150 NE 2ND AVE.                               150 NE 2ND AVE.
DEERFIELD BEACH FL 33441-3598           DEERFIELD BEACH FL 33441-3598                 DEERFIELD BEACH FL 33441-3598



CITY OF DEERFIELD BEACH                 CITY OF DEERFIELD BEACH                       CITY OF DEERFIELD BEACH
150 NE SECOND AV                        OF FIRE AND RESCUE                            PUBLIC WORKS DEPT
DEERFIELD BEACH FL 33441-3598           928 EAST HILLSBORO BLVD                       210 GOOLSBY BLVD
                                        DEERFIELD FL 33441                            DEERFIELD BEACH FL 33442




                                               Page 406 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 407 of 800
CITY OF DEERFIELD BEACH                CITY OF DELRAY BEACH                          CITY OF DELRAY BEACH
150 NE 2ND AVE.                        100 NW 1ST AVE                                ATTN: OCCUPATIONAL LICENSE
DEERFIELD BEACH FL 33441-3598          DELRAY BEACH FL 33444                         PO BOX 640
                                                                                     DELRAY BEACH FL 33447-0640



CITY OF DELRAY BEACH                   CITY OF DES PLAINES                           CITY OF DOWNEY
OCCUPATIONAL LICENSE                   1420 MINER ST.                                DEPT OF PUBLIC WORKS/ENG. DIV
PO BOX 8139                            DES PLAINES IL 60016                          11111 BROOKSHIRE AVE
DELRAY BEACH FL 33482                                                                CALLER #7016
                                                                                     DOWNEY CA 90241


CITY OF DOWNEY                         CITY OF DOWNEY                                CITY OF EAST GRAND RAPIDS
DEPT OF PUBLIC WORKS/ENG. DIV          PO BOX 7016                                   PARKS & RECREATION
11111 BROOKSHIRE AVE                   DOWNEY CA 90241                               750 LAKESIDE DR SE
CALLER 37016                                                                         EAST GRAND RAPIDS MI 49506
DOWNEY CA 90242


CITY OF EASTHAMPTON                    CITY OF EASTON                                CITY OF EASTON
50 PAYSON AVE                          1 SOUTH THIRD ST                              C/O EASTON FARMERS MARKET
SUITE 120                              FLOOR 4                                       ONE SOUTH THIRD ST 4TH FLR
EASTHAMPTON MA 01027                   EASTON PA 18042-4578                          EASTON PA 18042



CITY OF EL MONTE                       CITY OF EL MONTE                              CITY OF EL SEGUNDO
BUSINESS LICENSE DEPT                  LICENSE DEPT/BUSINESS DEPT                    150 ILLINOIS ST
11333 VALLEY BLVD                      PO BOX 6008                                   EL SEGUNDO CA 90245
EL MONTE CA 91731                      EL MONTE CA 91734



CITY OF EL SEGUNDO                     CITY OF EL SEGUNDO                            CITY OF ELGIN
314 MAIN STREET                        BUSINESS LICENSING                            ACCT NO. 73360-12427
EL SEGUNDO CA 90245                    350 MAIN ST ROOM 11                           150 DEXTER COURT
                                       EL SEGUNDO CA 90245                           ELGIN IL 60120-5555



CITY OF FONTANA                        CITY OF FORT LAUDERDALE                       CITY OF FORT LAUDERDALE
BUSINESS CERTIFICATE RENEWAL           % CITY TREASURER                              %FIRE RESCUE
8353 SIERRA AVENUE                     100 N ANDREWS AVE                             101 NE 3RD AVE STE 500
FONTANA CA 92335                       FT LAUDERDALE FL 33301                        FT LAUDERDALE FL 33301



CITY OF FORT LAUDERDALE                CITY OF FORT LAUDERDALE                       CITY OF FORT LAUDERDALE
1201 NW 55TH ST                        1350 WEST BROWARD                             290 NE 3RD AVE
FT LAUDERDALE FL 33309-2838            PARKS AND RECREATION DEPARTMENT               PARKING SERVICES
                                       ATTN SUE MOLNAR                               FT LAUDERDALE FL 33301
                                       FT LAUDERDALE FL 33312


CITY OF FORT LAUDERDALE                CITY OF FORT LAUDERDALE                       CITY OF FORT LAUDERDALE
MUNICIPAL SERVICES                     OCCUPATIONAL LICENSE DIVISION                 PARKING DIVISION JACKIE
PO BOX 31687                           PO BOX 31689                                  PO BOX 1188
TAMPA FL 33631-3687                    TAMPA FL 33631-3689                           FT LAUDERDALE FL 33302



CITY OF FORT WORTH                     CITY OF FOUNTAIN VALLEY                       CITY OF FOUNTAIN VALLEY
1000 THROCKMORTON                      ATTN: WATER PAYMENTS                          LICENSING DEPT
FT WORTH TX 76102-9976                 P O BOX 8030                                  10200 SLATER AVE
                                       FOUNTAIN VALLEY CA 92728-8030                 FOUNTAIN VALLEY CA 92708




                                              Page 407 of 2387
                         Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 408 of 800
CITY OF FOUNTAIN VALLEY               CITY OF FT. LAUDERDALE                        CITY OF FULLERTON
P.O. BOX 8030                         100 N. ANDREWS DR.                            303 W COMMONWEALTH AVE
FOUNTAIN VALLEY CA 92728-8030         FT. LAUDERDALE FL 33301-1016                  FULLERTON CA 92632




CITY OF FULLERTON                     CITY OF FULLERTON                             CITY OF FULLERTON
303 W COMMONWEALTH AVE                BUSINESS REGISTRATION DIVISION                PO BOX 51972
FULLERTON CA 92832                    303 W COMMONWEALTH AVE                        LOS ANGELES CA 90051-6272
                                      FULLERTON CA 92832



CITY OF GARDEN GROVE                  CITY OF GENEVA                                CITY OF GLENDALE
12222 ACACIA PKWY PO BOX 3070         22 S FIRST STREET                             141 NORTH GLENDALE AVE NO.114
GARDEN GROVE CA 92842                 GENEVA IL 60134                               GLENDALE CA 91206




CITY OF GLENDALE                      CITY OF GLENDALE                              CITY OF GLENDALE
613 E BROADWAY RM 110                 ATTN: VILIA ZAMAITAITIS, PLANNER              BUSINESS LINCENSES
GLENDALE CA 91206                     141 N GLENDALE                                116 EAST FOOTHILL
                                      STE 114                                       GLENDORA CA 91741
                                      GLENDALE CA 91206


CITY OF GLENDALE                      CITY OF GLENDALE                              CITY OF GLENDALE
GLENDALE WATER AND POWER              OFFICE OF PARKING NOTICES                     PUBLIC SERVICE DEPARTMENT
P O BOX 1711                          PO BOX 1711                                   P O BOX 51462
GLENDALE CA 91209-1711                GLENDALE CA 91209-1711                        LOS ANGELES CA 90051-5762



CITY OF GLENDALE                      CITY OF GLENDALE                              CITY OF GLENDORA
5909 N MILWAUKEE RIVER PWKY           OFFICE OF THE CITY TREASURER                  BUSINESS LICENSE
ATTN: SUSANNE HANAMAN                 5909 N MILWAUKEE RIVER PKWY                   116 E FOOTHILL
GLENDALE WI 53209-3815                GLENDALE WI 53209-3815                        GLENDORA CA 91741



CITY OF GRAND RAPIDS                  CITY OF GRAND RAPIDS                          CITY OF GRAND RAPIDS
ACCT NO. C287408050A                  ACCT NO. C287408030A                          ACCT NO. C287408013A,
1101 MONROE AVE. NW                   1101 MONROE AVE. NW                           1101 MONROE AVE. NW
GRAND RAPIDS MI 49503                 GRAND RAPIDS MI 49503                         GRAND RAPIDS MI 49503



CITY OF GRAND RAPIDS                  CITY OF GREENWOOD VILLAGE                     CITY OF GREENWOOD VILLAGE
1101 MONROE AVE. NW                   6060 S QUEBEC ST                              PO BOX 4837
GRAND RAPIDS MI 49503                 GREENWOOD VILLAGE CO 80111-4591               GREENWOOD VILLAGE CO 80155-4837




CITY OF HALLANDALE                    CITY OF HARRISBURG                            CITY OF HARTFORD
400 SOUTH FEDERAL HWY                 CITY GOVERNMENT CENTER                        RE: HARTFORD 365 BROAD STREET
HALLANDALE FL 33009                   10 N 2ND ST SUITE 305A                        ATTN: PURCHASING AGENT
                                      HARRISBURG PA 17101-1680                      550 MAIN STREET
                                                                                    HARTFORD CT 06103


CITY OF HARTFORD                      CITY OF HARTFORD                              CITY OF HARTFORD
BURNS SCHOOL                          C/O DR BAILEY/GERTRUDE BANKS                  FIRE DEPARTMENT
195 PUTNAM ST                         75 CLARK ST                                   275 PEARL ST
HARTFORD CT 06106                     HARTFORD CT 06120                             HARTFORD CT 06103




                                             Page 408 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 409 of 800
CITY OF HARTFORD                       CITY OF HARTFORD                              CITY OF HARTFORD
FISCAL MGMT UNIT                       FOOD SERVICE DEPT                             GREATER HARTFORD FLOOD COMM
50 JENNINGS RD                         270 MURPHY RD                                 DPW CITY OF HARTFORD
HARTFORD CT 06120                      HARTFORD CT 06114                             525 MAIN ST
                                                                                     HARTFORD CT 06103


CITY OF HARTFORD                       CITY OF HARTFORD                              CITY OF HARTFORD
HARTFORD PUBLIC SCHOOLS MIRACLE CAF    LICENSES AND INSPECTIONS DEPARTMENT           OFFICE OF THE CITY TREASURER
TRANSITIONAL LEARNING ACAD             550 MAIN ST                                   10 PROSPECT ST
110 WASHINGTON ST                      HARTFORD CT 06103                             HARTFORD CT 06103
HARTFORD CT 06106-4405


CITY OF HARTFORD                       CITY OF HARTFORD                              CITY OF HARTFORD
PO BOX 1078                            PO BOX 2719                                   PUBLIC SCHOOLS
HARTFORD CT 06143-1078                 HARTFORD CT 06146-2719                        960 MAIN ST
                                                                                     HARTFORD CT 06103



CITY OF HARTFORD                       CITY OF HARTFORD                              CITY OF HAVRE DE GRACE
TOWN CLERKS                            WEAVER HIGH SCHOOL                            711 PENNINGTON AVE
550 MAIN ST                            415 GRANBY STREET                             HAVRE DE GRACE MD 21078
HARTFORD CT 06103-2916                 HARTFORD CT 06112-1398



CITY OF HAWTHORNE                      CITY OF HICKORY HILLS                         CITY OF HIGHLAND
BUSINESS LICENSE DIVISION              8652 W 95TH STREET                            BUSINESS LICENSE
4455 WEST 126TH ST                     HICKORY HILLS IL 60457                        27215 BASELINE
HAWTHORNE CA 90250                                                                   HIGHLAND CA 92346



CITY OF HOLLYWOOD                      CITY OF HOLLYWOOD                             CITY OF HOLLYWOOD
1940 HARRISON ST NO.101                PO BOX 229045                                 PO BOX 31654
HOLLYWOOD FL 33020                     HOLLYWOOD FL 33022-9045                       TAMPA FL 33631-3654




CITY OF HOLLYWOOD                      CITY OF HOPE                                  CITY OF HOPE
TREASURY DIVISION/                     1055 WILSHIRE BL 12TH FLOOR                   1055 WILSHIRE BLVD
OCCUPATIONAL LICENSES                  LOS ANGELES CA 90017                          LOS ANGELES CA 90017
2600 HOLLYWOOD BLVD, RM 103
HOLLYWOOD FL 33020


CITY OF HOPE                           CITY OF HOPE                                  CITY OF HOPE
1500 E DUARTE RD                       1200 SAINT CHARLES PLACE NO.221               NTNL HOME FURN 7 CONSUM ELEC IN
DUARTE CA 91010                        C/O MARILYN WEINBERG                          1970 CLIFF VALLEY WAY NO.200
                                       PEMBROKE PINES FL 33026                       ATLANTA GA 30329



CITY OF HOPE                           CITY OF HOUSTON                               CITY OF HOUSTON
1420 WALNUT ST NO.817                  1200 TRAVIS                                   1205 DART
PHILADELPHIA PA 19102                  HOUSTON POLICE DEPT                           HOUSTON TX 77007
                                       HOUSTON TX 77002-6000



CITY OF HOUSTON                        CITY OF HOUSTON                               CITY OF HOUSTON
601 SAWYER STREET NO.600               MECHANICAL SECTION                            MUNICIPAL COURTS
HOUSTON TX 77007-7517                  PO BOX 61167                                  1400 LUBBOCK
                                       HOUSTON TX 77208-1167                         HOUSTON TX 77002




                                              Page 409 of 2387
                         Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 410 of 800
CITY OF HOUSTON                        CITY OF HOUSTON                              CITY OF HOUSTON PUBLIC WORKS
SIGN ADMINISTRATION                    WATER DEPARTMENT                             ACCT NO. 5804-0300-6159
PO BOX 61167                           PO BOX 1560                                  P.O. BOX 1560
HOUSTON TX 77208-1167                  HOUSTON TX 77251                             HOUSTON TX 77251



CITY OF INDIO                          CITY OF INDIO                                CITY OF INDIO
100 CIVIC CENTER MALL                  BUSINESS LICENSE DEPT                        C/O MAS
INDIO CA 92201                         PO BOX 1788                                  PO BOX 6590
                                       INDIO CA 92202                               FRESNO CA 93703-6590



CITY OF INGLEWOOD                      CITY OF INGLEWOOD                            CITY OF INGLEWOOD
ATTN: BUSINESS TAX                     FINANCE DEPARTMENT/CASHIER                   PUBLIC WORKS DEPT
PO BOX 6007                            ONE MANCHESTER BLVD                          PO BOX 6500
INGLEWOOD CA 90312                     INGLEWOOD CA 90301                           INGLEWOOD CA 90301



CITY OF INGLEWOOD                      CITY OF IRWINDALE                            CITY OF JOLIET MUNICIPAL SERVICES
PUBLIC WORKS DEPT                      5050 NORTH IRWINDALE AVE                     ACCT NO. 25503-72560
ATTN: ERIKA BUSTAMANTE                 IRWINDALE CA 91706                           150 W. JEFFERSON ST.
ONE MANCHESTER BLVD                                                                 JOLIET IL 60432-4156
INGLEWOOD CA 90301


CITY OF KISSIMMEE                      CITY OF LA CANADA FLINTRIDGE                 CITY OF LA HABRA
FINANCE DEPT                           1327 FOOTHILL BLVD                           PO BOX 337
101 N CHURCH STREET                    LA CANADA FLINTRIDGE CA 91011                LA HABRA CA 90631
KISSIMMEE FL 34741



CITY OF LA HABRA                       CITY OF LA HABRA                             CITY OF LA PUENTE
PO BOX 785                             PUBLIC WORKS DEPARTMENT                      15900 E MAIN ST
LA HABRA CA 90633-0785                 201 E LA HABRA BLVD                          LA PUENTE CA 91744
                                       LA HABRA CA 90631



CITY OF LA VERNE                       CITY OF LAGUNA BEACH                         CITY OF LAKEWOOD (CA)
BUSINESS LICENSE DIVISION              505 FOREST AVENUE                            BUSINESS LICENSE DIVISION
3660 D STREET                          LAGUNA BEACH CA 92651                        5050 N CLARK AVE
LA VERNE CA 91750                                                                   LAKEWOOD CA 90714



CITY OF LAKEWOOD (CA)                  CITY OF LAUDERHILL                           CITY OF LAUDERHILL
FINANCE DEPT                           LICENSE RENEWAL                              PO BOX 628229
PO BOX 220                             3800 INVERRARY BLVD       STE 107            ORLANDO FL 32862-8229
LAKEWOOD CA 90714-4020                 LAUDERHILL FL 33319



CITY OF LAUDERHILL BUSINESS DISTRICT   CITY OF LAWNDALE                             CITY OF LEESBURG
3800 INVERRAY BLVD., SUITE 107         BUSINESS LICENSE DEPARTMENT                  P.O. BOX 491286
LAUDERHILL FL 33319                    14717 S BURIN AVE                            LEESBURG FL 34749-1286
                                       LAWNDALE CA 90260



CITY OF LONG BEACH                     CITY OF LONG BEACH                           CITY OF LONG BEACH
BUSINESS LICENSE SECTION               PO BOX 22766                                 PO BOX 630
333 WEST OCEAN BLVD                    LONG BEACH CA 90801-5766                     LONG BEACH CA 90842-0001
LONG BEACH CA 90802-4604




                                             Page 410 of 2387
                           Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 411 of 800
CITY OF LONGWOOD                        CITY OF LONGWOOD                              CITY OF LOS ANGELES
155 W WARREN AVE                        175 W WARREN AVE                              200 N SPRING ST RM 303
LONGWOOD FL 32750                       LONGWOOD FL 32750                             LOS ANGELES CA 90012




CITY OF LOS ANGELES                     CITY OF LOS ANGELES                           CITY OF LOS ANGELES
201 N FIGUEROA STE 1400                 433 S SPRING ST                               ATTN: WES PRINGLE -
LOS ANGELES CA 90012                    CULTURAL AFFAIRS DEPT                         DEPT OF TRANSPORTATION
                                        LOS ANGELES CA 90013                          100 S MAIN ST 9TH FLR
                                                                                      LOS ANGELES CA 90012


CITY OF LOS ANGELES                     CITY OF LOS ANGELES                           CITY OF LOS ANGELES
BUILDING & SAFETY LICENSE SECTION       BUREAU OF STREET SERVICES                     CITY ADMINISTRATIVE OFFICE RISK
201 N FIGUEROA ST                       600 S SPRING ST 4TH FL                        MANAGEMENT
4TH FLR                                 LOS ANGELES CA 90014                          200 N MAIN ST 12TH FLOOR RM 1246
LOS ANGELES CA 90012                                                                  LOS ANGELES CA 90012


CITY OF LOS ANGELES                     CITY OF LOS ANGELES                           CITY OF LOS ANGELES
CITY CLERK                              DAVID RIVERA- STREET INVESTIGATOR             DEPARTMENT OF AIR PORTS
PO BOX 53235                            BUREAU OF STREET- INV & ENFORCEMENT           1 WORLD WAY
LOS ANGELES CA 90053-0235               1149 S BROADWAY STE 300                       LOS ANGELES CA 90045
                                        LOS ANGELES CA 90015


CITY OF LOS ANGELES                     CITY OF LOS ANGELES                           CITY OF LOS ANGELES
DEPARTMENT OF CITY PLANNING             DEPARTMENT OF PUBLIC WORKS                    DEPARTMENT OF PUBLIC WORKS
200 NORTH SPRING ST RM 570              316 W 2ND ST STE PHD                          OFFICE OF ACCOUNTING
LOS ANGELES CA 90012                    LOS ANGELES CA 90012                          200 N SPRING ST SUITE 967
                                                                                      LOS ANGELES CA 90012


CITY OF LOS ANGELES                     CITY OF LOS ANGELES                           CITY OF LOS ANGELES
DEPT OF BUILDING AND SAFETY             DEPT OF BUILDING AND SAFETY                   DEPT OF FIRE
ROOM 460P CITY HALL                     FILE 54563                                    200 N MAIN ST RM 1070
200 NORTH SPRING STREET                 LOS ANGELES CA 90074                          CITY HALL EAST
LOS ANGELES CA 90012                                                                  LOS ANGELES CA 90012


CITY OF LOS ANGELES                     CITY OF LOS ANGELES                           CITY OF LOS ANGELES
DEPT OF TRANSPORTATION                  DEPT. OF PUBLIC WORKS/ ATTN: G. SCO           DEPT. OF RECREATION AND PARKS
LADOT CASHIERS OFFICE                   600 S, SPRING ST., STE. 1200                  3900 W. CHEVY CHASE DR.
100 SOUTH MAIN ST 1ST FLR               BUREAU OF STREET MAINTENANCE                  LOS ANGELES CA 90039
LOS ANGELES CA 90012                    LOS ANGELES CA 90014


CITY OF LOS ANGELES                     CITY OF LOS ANGELES                           CITY OF LOS ANGELES
EARTHQUAKE PREPAREDNESS FAIR            FIRE DEPARTMENT UNIFIED PROGRAM               GENERAL SERVICES ACCOUNTING
OFFICE OF THE MAYOR - MARK FLAISHER     FILE 55643                                    111 E FIRST ST RM 404
200 NORTH SPRING STREET                 LOS ANGELES CA 90074-5643                     LOS ANGELES CA 90012
LOS ANGELES CA 90012


CITY OF LOS ANGELES                     CITY OF LOS ANGELES                           CITY OF LOS ANGELES
HOUSING DEPARTMENT                      LAND DEVELOPMENT GROUP                        LOS ANGELES CITY CLERK
1200 WEST 7TH ST 9TH FLR                ATTN: PUBLIC COUNTER                          SUNSET & VINE BID
LOS ANGELES CA 90017                    201 N FIGUEROA STREET SUITE 200               200 N SPRING ST RM 224
                                        LOS ANGELES CA 90012                          LOS ANGELES CA 90012


CITY OF LOS ANGELES                     CITY OF LOS ANGELES                           CITY OF LOS ANGELES
LOS ANGELES CONVENTION CENTER           LOS ANGELES FIRE DEPARTMENT                   LOS ANGELES POLICE DEPARTMENT
1201 S FIGUEROA ST                      BUREAU OF FIRE PREVENTION PUBLIC              150 N LOS ANGELES ST
LOS ANGELES CA 90015                    200 NORTH MAIN ST ROOM 930                    LOS ANGELES CA 90012
                                        LOS ANGELES CA 90012




                                               Page 411 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 412 of 800
CITY OF LOS ANGELES                    CITY OF LOS ANGELES                           CITY OF LOS ANGELES
LOTUS FESTIVAL                         METER PLANNING SECTION                        OFFICE OF FINANCE
3900 W. CHEVY CHASE DR.                DEPT OF TRANSPORTATION                        150 N LOS ANGELES RM 144
LOS ANGELES CA 90039                   555 RAMIREZ ST SPACE 100-05                   LOS ANGELES CA 90012
                                       LOS ANGELES CA 90012


CITY OF LOS ANGELES                    CITY OF LOS ANGELES                           CITY OF LOS ANGELES
OFFICE OF FINANCE                      OFFICE OF FINANCE                             OFFICE OF FINANCE
FILE 57059                             FILE NO 55357                                 TAX & PERMIT DIVISION
LOS ANGELES CA 90074                   LOS ANGELES CA 90047-5357                     PO BOX 54407
                                                                                     LOS ANGELES CA 90054-0407


CITY OF LOS ANGELES                    CITY OF LOS ANGELES                           CITY OF LOS ANGELES
OFFICE OF FINANCE                      OFFICE OF FINANCE                             OFFICE OF FINANCE
TAX & PERMIT DIVISION                  TAX & PERMIT DIVISION                         TAX & PERMIT DIVISION C.A.R.E.
FILE # 56677                           PO BOX 51897                                  PO BOX 53234
LOS ANGELES CA 90074-6677              LOS ANGELES CA 90051-6197                     LOS ANGELES CA 90053-0234


CITY OF LOS ANGELES                    CITY OF LOS ANGELES                           CITY OF LOS ANGELES
OFFICE OF FINANCE                      OFFICE OF FINANCE                             OFFICE OF FINANCE
T&P ALARM UNIT                         TAX AMNESTY UNIT                              FILE 57065
FILE 55604                             FILE 56829                                    LOS ANGELES CA 90074-7065
LOS ANGELES CA 90074-5604              LOS ANGELES CA 90074-6829


CITY OF LOS ANGELES                    CITY OF LOS ANGELES                           CITY OF LOS ANGELES
OFFICE OF FINANCE TAX PERMIT DIV       P O BOX 30247                                 PARKING VIOLATIONS BUREAU
FILE 57063                             LOS ANGELES CA 90030                          P O BOX 30087
LOS ANGELES CA 90074-7063                                                            LOS ANGELES CA 90030-0087



CITY OF LOS ANGELES                    CITY OF LOS ANGELES                           CITY OF LOS ANGELES
PARKING VIOLATIONS BUREAU              PARKING VIOLATIONS BUREAU                     PO BOX 512599
P O BOX 30420                          PO BOX 30968                                  LOS ANGELES CA 90051-1599
LOS ANGELES CA 90030-0420              LOS ANGELES CA 90030-0968



CITY OF LOS ANGELES                    CITY OF LOS ANGELES                           CITY OF LOS ANGELES
PO BOX 54250                           PUBLIC WORKS SANITATION                       TAX & PERMIT DIVISION
OFFICE OF THE CITY CLERK               FILES 56689                                   P O BOX 53200
TAX AND PERMIT DIVISION                LOS ANGELES CA 90074-6689                     LOS ANGELES CA 90053-0200
LOS ANGELES CA 90054-0250


CITY OF LYNWOOD                        CITY OF MANHATTAN                             CITY OF MANHATTAN
11330 BULLIS RD                        1400 HIGHLAND AVE                             PO BOX 3039
LYNWOOD CA 90262                       MANHATTAN BEACH CA 90266                      PARKING CASHIER
                                                                                     MANAHATTAN BEACH CA 90266



CITY OF MANHATTAN                      CITY OF MARYLAND HEIGHTS                      CITY OF MAYWOOD
PUBLIC WORKS DEPT                      212 MILLWELL DRIVE                            CITY HALL- BUSINESS LICENSE DIVISIO
3621 BELL AVE                          MARYLAND HEIGHTS MO 63043                     4319 E SLAUSON AVE
MANHATTAN BEACH CA 90266                                                             MAYWOOD CA 90270



CITY OF MCHENRY                        CITY OF MESA                                  CITY OF MESA
ACCT NO. 1067402500                    C/O HOHOKAM STADIUM                           MESA CENTENNIAL CENTER
333 S. GREEN ST.                       ATTN DAVE DUNNE                               201 N CENTER ST
MCHENRY IL 60050                       1235 N CENTER STREET                          PO BOX 1466
                                       MESA AZ 85201                                 MESA AZ 85211-1466




                                              Page 412 of 2387
                         Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 413 of 800
CITY OF MIAMI                         CITY OF MIAMI                                 CITY OF MIAMI
400 NW 2 AVENUE NO.208                ALARM ORDINANCE UNIT                          DEPARTMENT OF PUBLIC WORKS
ALARM ORDINANCE UNIT                  PO BOX 016777                                 444 SW 2ND AVE
MIAMI FL 33128                        MIAMI FL 33101                                MIAMI FL 33130



CITY OF MIAMI                         CITY OF MIAMI                                 CITY OF MIAMI
FINANCE DEPARTMENT                    FINANCE DEPT                                  PO BOX 025441
1700 CONVENTION CENTER DRIVE          444 SW 2ND AV                                 MIAMI FL 33102-5441
MIAMI BEACH FL 33139                  MIAMI FL 33130



CITY OF MIAMI                         CITY OF MIAMI                                 CITY OF MIDDLETOWN
PO BOX 31234                          PO BOX 105206                                 222 MAIN ST
TAMPA FL 33631-3234                   ATLANTA GA 30348-5206                         MIDDLETOWN CT 06457




CITY OF MIDDLETOWN                    CITY OF MIDDLETOWN                            CITY OF MIDDLETOWN
82 BERLIN ST                          ALARMS DIVISION                               MIDDLETON POLICE DEPTMENT
MIDDLETOWN CT 06457                   533 MAIN STREET                               RECORDS DIVISION
                                      MIDDLETOWN CT 06457                           222 MAIN ST
                                                                                    MIDDLETOWN CT 06457


CITY OF MIDDLETOWN                    CITY OF MIDDLETOWN                            CITY OF MINEOLA
MIDDLETOWN HIGH SCHOOL                PO BOX 981095                                 P.O. BOX 678
ATTN JAMES BRANSFIELD BLUE PRINTS     BOSTON MA 02298-1095                          MINNEOLA FL 34755
370 HUNTING HILL AVENUE
MIDDLETOWN CT 06457


CITY OF MONROVIA                      CITY OF MONTEBELLO                            CITY OF MONTEBELLO
DEPARTMENT OF COMMUNITY DEVELOPMENT   1600 W BEVERLY BLVD                           FINANCE DEPT
415 SOUTH IVY AVENUE                  MONTEBELLO CA 90640-3932                      1600 W BEVERLY BLVD
MONROVIA CA 91016-2888                                                              MONTEBELLO CA 90640



CITY OF MONTEREY PARK                 CITY OF MORENO VALLEY                         CITY OF MORRIS
RACK PERMITS                          PUBLIC WORKS DEPARTMENT                       ACCT NO. 025410-000
320 WEST NEWMARK AVENUE               14177 FREDERICK ST                            320 WAUPONSEE ST.
MONTEREY PARK CA 91754                MORENO VALLEY CA 92552-0805                   MORRIS IL 60450



CITY OF NAPERVILLE                    CITY OF NAPERVILLE                            CITY OF NAPERVILLE
ACCT NO. 34743-103342                 ACCT NO. 34743-103344                         ACCT NO. 34743-133006
400 S. EAGLE STREET                   400 S. EAGLE STREET                           400 S. EAGLE STREET
NAPERVILLE IL 60540                   NAPERVILLE IL 60540                           NAPERVILLE IL 60540



CITY OF NAPERVILLE                    CITY OF NAPERVILLE                            CITY OF NEW BRITAIN
ACCT NO. 34743-95116                  400 S. EAGLE STREET                           125 COLUMBUS BLVD
400 S. EAGLE STREET                   NAPERVILLE IL 60540                           NEW BRITAIN CT 06051
NAPERVILLE IL 60540



CITY OF NEW BRITAIN                   CITY OF NEW BRITAIN                           CITY OF NEW ORLEANS
COMM ON PERSONS W/DISABILITIES        TAX COLLECTOR                                 1300 PERDIDO ST
27 W MAIN ST                          27 W MAIN ST RM 104                           DEPT OF FIN/TREASURY BUREAU
NEW BRITAIN CT 06051                  NEW BRITAIN CT 06051                          RM 1W40
                                                                                    NEW ORLEANS LA 70112




                                             Page 413 of 2387
                         Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 414 of 800
CITY OF NEW ORLEANS                   CITY OF NEW ORLEANS                           CITY OF NEW ORLEANS
1300 PERIDO ST RM 7E05                BUREAU OF TREASURY                            DEPT OF FIN BUREAU OF REVENUE
NEW ORLEANS LA 70112                  PO BOX 60047                                  PO BOX 61840
                                      NEW ORLEANS LA 70160-0047                     NEW ORLEANS LA 70161-1840



CITY OF NEW ORLEANS                   CITY OF NEW ORLEANS                           CITY OF NEW ORLEANS
DEPT OF FIN BUREAU OF THE TREA        DEPT OF PUBLIC WORKS                          DEPT OF SAFETY & PERMITS
1300 PERDIDO ST RM 1W22               CITY HALL RM 6W03                             MOTOR VEHICLE INSPECTION
NEW ORLEANS LA 70112                  NEW ORLEANS LA 70112                          13400 OLD GENTILLY RD
                                                                                    NEW ORLEANS LA 70128


CITY OF NEW ORLEANS                   CITY OF NEW ORLEANS                           CITY OF NEWPORT BEACH
PO BOX 52828                          PO BOX 58139                                  3300 NEWPORT BLVD
NEW ORLEANS LA 70152-2828             PARKING VIOLATIONS BUREAU                     NEWPORT BEACH CA 92663
                                      NEW ORLEANS LA 70158-8139



CITY OF NEWPORT BEACH                 CITY OF NEWPORT BEACH                         CITY OF NEWPORT BEACH
3300 NEWPORT BLVD                     RESTAURANT ASSOC BUSINESS                     REVENUE DIVISION
NEWPORT BEACH CA 93663                IMPROVEMENT DISTRICT                          PO BOX 1768
                                      PO BOX 2295                                   3300 NEWPORT BLVD
                                      NEWPORT BEACH CA 92659-2295                   NEWPORT BEACH CA 92658-8915


CITY OF NEWPORT BEACH                 CITY OF NEWPORT BEACH                         CITY OF NEWPORT BEACH
2400 WASHINGTON AVENUE                CHARLES D CROWSON JR                          D.W. BROWN TREASURER
REX A DAVIS CLERK                     COMMISSIONER OF THE REVENUE                   P.O. BOX 975
NEWPORT NEWS VA 23608                 2400 WASHINGTON AVENUE                        NEWPORT NEWS VA 23607
                                      NEWPORT NEWS VA 23607


CITY OF NEWPORT BEACH                 CITY OF NEWPORT BEACH                         CITY OF NEWPORT NEWS
DEPARTMENT OF CODES COMPLIANCE        MARTY G EUBANK TREASURER                      2400 WASHINGTON AVE
2400 WASHINGTON AVE                   PO BOX 975                                    COMMISSIONER OF THE REVENUE
ATTN MRS GREGORY                      NEWPORT NEWS VA 23607-0975                    CHARLES D CROWSON JR
NEWPORT NEWS VA 23607                                                               NEWPORT NEWS VA 23607


CITY OF NEWPORT NEWS                  CITY OF NEWPORT NEWS                          CITY OF NEWPORT NEWS
2400 WASHINGTON AVENUE                2500 WASHINGTON AVE                           DEPT OF CODES COMPLIANCE
REX A DAVIS CLERK                     CLERK OF COURT                                2400 WASHINGTON AVE
NEWPORT NEWS VA 23608                 NEWPORT NEWS VA 23607                         ATTN MRS GREGORY
                                                                                    NEWPORT NEWS VA 23607


CITY OF NEWPORT NEWS                  CITY OF NEWPORT NEWS                          CITY OF NEWPORT NEWS, NEWPORT NEWS
MARTY G EUBANK TREASURER              PO BOX 979                                    ECONOMIC DEVELOPMENT AUTHORITY
PO BOX 975                            NEWPORT NEWS VA 23607                         ATTN: FLORENCE G KINGSTON, SEC./TREAS.
NEWPORT NEWS VA 23607-0975                                                          2400 WASHINGTON AVE
                                                                                    NEW PORT NEWS VA 23607


CITY OF NORCO                         CITY OF NORCO                                 CITY OF NORTHAMPTON / POLICE DEPT
BUSINESS LICENSE DEPT                 FINANCE DEPARTMENT                            29 CENTER STREET
PO BOX 428                            2870 CLARK AVENUE                             NORTHAMPTON MA 01060
NORCO CA 92860                        NORCO CA 91760



CITY OF NORTHAMPTON / POLICE DEPT     CITY OF NORTHLAKE                             CITY OF NORWALK
PARKING CLERK                         55 EAST NORTH AVENUE                          FINANCE DEPARTMENT
212 MAIN ST                           ATTN: MAYBETH KOVACEVICH                      12700 NORWALK BLVD
NORTHAMPTON MA 01060                  NORTHLAKE IL 60164                            PO BOX 1030
                                                                                    NORWALK CA 90651-1030




                                             Page 414 of 2387
                              Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 415 of 800
CITY OF NORWALK                            CITY OF NORWALK                               CITY OF NORWALK
PO BOX 1030                                ATTN MARY ROMAN                               ATTN MARITZA FIGUEROA
NORWALK CA 90651-1030                      MAYORS COMMUNITY BALL                         NORWALK CITY HALL/CITY CLK OFFICE
                                           PO BOX 5125 125 EAST AVE                      125 EAST AVE
                                           NORWALK CT 06856-5125                         NORWALK CT 06851


CITY OF NORWALK                            CITY OF NORWALK                               CITY OF NORWALK
BRIEN MCMAHON HIGH SCHOOL                  NORWALK HIGH SCHOOL                           P O BOX 5125
300 HIGHLAND AVE                           23 CALVING MURPHY DR                          125 EAST AVE
NORWALK CT 06854                           NORWALK CT 06851                              NORWALK CT 06856-5125



CITY OF NORWALK                            CITY OF ONTARIO                               CITY OF ONTARIO
TAX COLLECTOR                              121 N PLUM AVE                                BOX 30427
125 EAST AVENUE                            ONTARIO CA 91764                              LOS ANGELES CA 90030-0427
NORWALK CT 06851



CITY OF ONTARIO                            CITY OF ONTARIO                               CITY OF ONTARIO
LINCENSE DEPT                              LINCENSE DIVISION                             PO BOX 3247
PO BOX 790                                 303 EAST B STREET                             ONTARIO CA 91761-3247
ONTARIO CA 91672-8790                      ONTARIO CA 91764



CITY OF ONTARIO                            CITY OF ONTARIO                               CITY OF ORANGE CITY
303 EAST B ST., PO BOX 8000                303 E. B STREET                               DEPARTMENT OF PUBLIC WORKS
ONTARIO CA 91761-1076                      ONTARIO CA 91764                              ATTN PRESTON LEE 637 W STRUCK AVE
                                                                                         ORANGE CA 92867



CITY OF ORANGE CITY                        CITY OF ORANGE CITY                           CITY OF ORANGE CITY
205 E GRAVES AVE                           205 E GRAVES AVE                              CITY CLERKS OFFICE
ORANGE CITY FL 32763                       ORANGE COUNTY FL 32763                        229 E GRAVES AVE
                                                                                         ORANGE CITY FL 32763



CITY OF ORLANDO                            CITY OF ORLANDO                               CITY OF ORLANDO
100 S HUGHEY AVE                           100 S HUGHLEY AV                              3208 E COLONIAL DR
ORLANDO FL 32801                           ORLANDO FL 32801                              ORLANDO FL 32803




CITY OF ORLANDO                            CITY OF ORLANDO                               CITY OF ORLANDO
649 W LIVINGSTON STREET                    CENTRALIZED REVENUE 1ST FL                    ORLANDO CENTROPLEX
ATTN SANDY TEMPLE                          400 S ORANGE AVE                              600 W AMELIA ST
ORLANDO FL 32801                           ORLANDO FL 32801-3365                         ORLANDO FL 32801



CITY OF ORLANDO                            CITY OF ORLANDO                               CITY OF ORLANDO
ORLANDO POLICE EXPLORERS                   P O BOX 151                                   P O BOX 4990
C/O POLICE DEPT                            .                                             ORLANDO FL 32802-4990
100 S HUGHEY AVE                           .
ORLANDO FL 32801                           ORLANDO FL 32802


CITY OF ORLANDO                            CITY OF OTTAWA                                CITY OF OVIDEO
PARKING VIOLATION SECTION                  ACCT NO. 50679200                             400 ALEXANDRIA BLVD.
53 WEST CENTRAL BLVD                       828 E. NORRIS DR.                             OVIEDO FL 32765
.                                          OTTAWA IL 61350
ORLANDO FL 32801




                                                  Page 415 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 416 of 800
CITY OF PALM BEACH GARDENS              CITY OF PALMDALE                             CITY OF PALMDALE
10500 NORTH MILITARY TRAIL              BUSINESS LICENSE DEPT                        ENGINEERING DEPARTMENT
PALM BEACH GARDENS FL 33410             38250 SIERRA HWY                             38250 SIERRA HWY
                                        PALMDALE CA 93550                            PALMDALE CA 93550-4798



CITY OF PARAMOUNT                       CITY OF PASADENA                             CITY OF PASADENA
16400 COLORADO AVE                      2575 PALOMA STREET                           ATTN PARKING CITATION SECTION
BUSINESS LICENSE PERMIT                 PASADENA CA 91107                            280 RAMONA STREET
PARAMOUNT CA 90723                                                                   PASADENA CA 91101



CITY OF PASADENA                        CITY OF PASADENA                             CITY OF PASADENA
DEPARTMENT OF FINANCE                   DEPARTMENT OF PUBLIC WORKS                   MUNICIPAL SERVICES DIVISION
100 NORTH GARFIELD AVENUE               117 E COLORADO BLVD                          P O BOX 7120
PO BOX 7115                             PASADENA CA 91109                            PASADENA CA 91109-7220
PASADENA CA 91109-7215


CITY OF PASADENA                        CITY OF PASADENA                             CITY OF PASADENA
MUNICPAL SERVICE RM 121                 PARKING ADMINISTRATION                       PASADENA PUBLIC LIBRARY
PO BOX 7115                             221 E. WALNUT AVE.                           285 E WALNUT ST
PASADENA CA 91109-7215                  SUITE 210                                    PASADENA CA 91101
                                        PASADENA CA 91101


CITY OF PASADENA                        CITY OF PEMBROKE PINES                       CITY OF PEMBROKE PINES
PASADENA WATER AND POWER, PO BOX 7120   %FLETCHER ART & CULTURAL CTR                 10100 PINES BLVD
PASADENA CA 91109-7125                  7960 JOHNSON ST                              CITY CLERK'S OFFICE 5TH FLOOR
                                        PEMBROKE PINES FL 33024                      PEMBROKE PINES FL 33026-3900



CITY OF PEMBROKE PINES                  CITY OF PERU                                 CITY OF PHILADELPHIA
501 SW 172ND AVE                        ACCT NO. 01-030496-02                        CITY HALL
POMPANO BEACH FL 33029                  1727 FOURTH STREET, PO BOX 299               RM 632
                                        PERU IL 61354-0299                           PHILADELPHIA PA 19101



CITY OF PHILADELPHIA                    CITY OF PHILADELPHIA                         CITY OF PHILADELPHIA
DEPARTMENT OF FINANCE                   DEPARTMENT OF REVENUE                        DEPARTMENT OF REVENUE
PO BOX 56318                            PO BOX 1630                                  PO BOX 1529
PHILADELPHIA PA 19130-6318              PHILADELPHIA PA 19105                        PHILADELPHIA PA 19105-1529



CITY OF PHILADELPHIA                    CITY OF PHILADELPHIA                         CITY OF PHILADELPHIA
DEPT OF LICENSE & INSPECTIONS           DEPT OF REVENUE                              DEPT OF REVENUE
PO BOX 1942                             PO BOX 1049                                  PO BOX 41496
PHILADELPHIA PA 19105-1942              PHILADELPHIA PA 19105                        PHILADELPHIA PA 19101-1496



CITY OF PHILADELPHIA                    CITY OF PHILADELPHIA                         CITY OF PHILADELPHIA
DEPT OF REVENUE                         PARKING VIOLATION BRANCH                     PO BOX 8409
PO BOX 1018                             PO BOX 41818                                 PHILADELPHIA PA 19101-8409
PHILADELPHIA PA 19105-1018              PHILADELPHIA PA 19101



CITY OF PHILADELPHIA                    CITY OF PHILADELPHIA                         CITY OF PICO RIVERA
VETERANS STADIUM                        WATER REVENUE BUREAU                         6615 PASSONS BLVD
3551 S BROAD ST                         1401 JFK BLVD.                               PICO RIVERA CA 90660-1016
PHILADELPHIA PA 19148                   PHILADELPHIA PA 19102-1663




                                              Page 416 of 2387
                            Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 417 of 800
CITY OF PICO RIVERA                      CITY OF POMONA                                CITY OF POMONA
PO BOX 1016                              BUSINESS LICENSE RENEWAL                      ENGINEERING DIVISION ATTN CARL PERAZA
PICO RIVERA CA 90660-1016                PO BOX 660                                    505 SOUTH GAREY AVENUE
                                         POMONA CA 91769-0060                          POMONA CA 91766



CITY OF POMONA WATER DEPARTMENT          CITY OF PORTAGE                               CITY OF PORTAGE
PO BOX 660                               7900 S WESTNEDGE DR NE                        PORTAGE SENIOR CENTER
POMONA CA 91769                          PORTAGE MI 49002                              320 LIBRARY LANE
                                                                                       PORTAGE MI 49002



CITY OF PORTLAND                         CITY OF REDONDO BEACH                         CITY OF RIVERSIDE
111 SW COLUMBIA ST                       415 DIAMOND ST                                C/O PARKING CITATION SERVICE
ROOM 600                                 REDONDO BEACH CA 90277-0270                   PO BOX 958
PORTLAND OR 97201-5814                                                                 TORRANCE CA 90508-0958



CITY OF RIVERSIDE                        CITY OF RIVERSIDE                             CITY OF RIVERSIDE
FINANCE DEPARTMENT                       RIVERSIDE PUBLIC UTILITIES                    3900 MAIN ST.
3900 MAIN STREET                         RIVERSIDE CA 92501                            RIVERSIDE CA 92522
RIVERSIDE CA 92522



CITY OF RIVERSIDE PUBLIC UTILITIES       CITY OF SACRAMENTO                            CITY OF SACRAMENTO
3900 MAIN ST.                            ACCT NO. 0420344000                           ACCT NO. 1420344000
RIVERSIDE CA 92522-0144                  1395 35TH AVE.                                1395 35TH AVE.
                                         SACRAMENTO CA 95822                           SACRAMENTO CA 95822



CITY OF SACRAMENTO                       CITY OF SACRAMENTO                            CITY OF SACRAMENTO
ACCT NO. 9320344000                      730 L ST RM 114                               7485 RUSH RIVER DR NO.710
1395 35TH AVE.                           SACRAMENTO CA 95814                           PMB 289
SACRAMENTO CA 95822                                                                    SACRAMENTO CA 95831



CITY OF SACRAMENTO                       CITY OF SACRAMENTO                            CITY OF SACRAMENTO
CITY HALL                                PO BOX 2551                                   PO BOX 2770
915 I ST RM 104                          SACRAMENTO CA 95821-2551                      SACRAMENTO CA 95812-2770
SACRAMENTO CA 95814-2608



CITY OF SACRAMENTO                       CITY OF SAN BERNADINO                         CITY OF SAN BERNARDINO
SACRAMENTO POLICE ALARM UNIT             WATER DEPT., PO BOX 710                       CITY CLERK
5770 FREEPORT BLVD STE 100               SAN BERNADINO CA 92402                        300 N D ST
SACRAMENTO CA 95822                                                                    PO BOX 1318
                                                                                       SAN BERNARDINO CA 92418


CITY OF SAN BERNARDINO                   CITY OF SAN BUENAVENTURA                      CITY OF SAN BUENAVENTURA
WATER DEPARTMENT                         P O BOX 2299                                  P O BOX 99
P O BOX 710                              VENTURA CA 93002-2299                         VENTURA CA 93002
SAN BERNARDINO CA 92402



CITY OF SAN CLEMENTE                     CITY OF SAN DIEGO                             CITY OF SAN DIEGO
910 CALLE NEGOCIO NO.100                 CITY OF SAN DIEGO                             CITY OF SAN DIEGO
SAN CLEMENTE CA 92673                    PO BOX 121536                                 WATER DEPARTMENT
                                         BUSN TAX CERT ANNUAL RENEWAL                  SAN DIEGO CA 92187-0001
                                         SAN DIEGO CA 92112




                                                Page 417 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 418 of 800
CITY OF SAN DIEGO                        CITY OF SAN DIEGO                           CITY OF SAN DIEGO
NEIGHBORHOOD CODE COMPLIANCE DIVISION    PO BOX 122289                               PO BOX 129038
ATTN STEPHEN COUSINS                     SAN DIEGO CA 92112                          PARKING MANAGEMENT
1200 THIRD AVENUE, 8TH FL, MS 51N                                                    SAN DIEGO CA 92112-9038
SAN DIEGO CA 92101-4106


CITY OF SAN DIEGO                        CITY OF SAN DIEGO, WATER                    CITY OF SAN FERNANDO
SAN DIEGO POLICE DEPT                    AND WASTEWATER SERVICES                     ATNN: BUSS LIC
PO BOX 121431                            ACCT NO. U07-33742-05-0                     117 MACNEILL ST
PERMITS & LICENSING MS 735               9192 TOPAZ WAY                              SAN FERNANDO CA 91340
SAN DIEGO CA 92112                       SAN DIEGO CA 92123-1119


CITY OF SAN FERNANDO                     CITY OF SANDWICH                            CITY OF SANTA ANA
PARKING ENFORCEMENT CENTER               ACCT NO. 101-1060-00-00                     BUSINESS LICENSE TAX OFFICE M-15
PO BOX 4726                              144 E. RAILROAD ST.                         P O BOX 1964
IRVINE CA 92616-4726                     SANDWICH IL 60548                           SANTA ANA CA 92702-1964



CITY OF SANTA ANA                        CITY OF SANTA ANA                           CITY OF SANTA ANA
C/O PARKING CITATION SERVICE CTR         C/O PARKING CITATION SERVICE CTR            FINANCE DEPARTMENT M-87
PO BOX 11923                             PO BOX 958                                  20 CIVIC CENTER PLAZA
SANTA ANA CA 92711                       TORRANCE CA 90508                           PO BOX 1988
                                                                                     SANTA ANA CA 92702


CITY OF SANTA ANA                        CITY OF SANTA ANA                           CITY OF SANTA ANA
PO BOX 25120                             PUBLIC WORKS AGENCY M-21                    TREASURY DIVISION
SANTA ANA CA 92799-5120                  PO BOX 1988                                 20 CIVIC CENTER PLAZA
                                         SANTA ANA CA 92702                          P O BOX 1964
                                                                                     SANTA ANA CA 92702


CITY OF SANTA CLARITA                    CITY OF SANTA FE SPRINGS                    CITY OF SANTA FE SPRINGS
23920 VALENCIA BLVD    STE 300           11710 TELEGRAPH RD                          P O BOX 2120
SANTA CLARITA CA 91355                   SANTA FE SPRINGS CA 90670-3658              SANTA FE SPRINGS CA 90670




CITY OF SANTA FE SPRINGS WATER UTILITY   CITY OF SANTA MONICA                        CITY OF SANTA MONICA
11710 TELEGRAPH RD.                      ATTN: FINANCE DIRECTOR                      WATER RESOURCES OFFICE
SANTA FE SPRINGS CA 90670-3658           1717 FOURTH STREET                          1212 5TH STREET
                                         SANTA MONICA CA 90401                       SANTA MONICA CA 90401



CITY OF SEAL BEACH                       CITY OF SEATTLE                             CITY OF SEATTLE
211 EIGHTH ST                            600 4TH AVENUE ROOM 420                     610 3RD AVE
SEAL BEACH CA 90740                      SEATTLE WA 98104-1879                       ROOM 900
                                                                                     SEATTLE WA 98119



CITY OF SEATTLE                          CITY OF SEATTLE                             CITY OF SEATTLE
700 5TH AVE                              DEPT OF DESIGN CONST LAND USE               DEPT OF PARKS AND RECREATION
STE 3300                                 PO BOX 34234                                860 TERRY AVE N
SEATTLE WA 98104                         SEATTLE WA 98124                            SEATTLE WA 98109-4330



CITY OF SEATTLE                          CITY OF SEATTLE                             CITY OF SEATTLE
MUNICIPAL COURT OF SEATTLE               PO BOX 34016                                PO BOX 34017
PO BOX C-34109                           SEATTLE WA 98124-1016                       SEATTLE WA 98124-1017
SEATTLE WA 98124-1109




                                              Page 418 of 2387
                        Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 419 of 800
CITY OF SEATTLE                      CITY OF SEATTLE                               CITY OF SEATTLE
PO BOX 34019                         PO BOX 34234                                  PO BOX 34906
SEATTLE WA 98124-4019                SEATTLE WA 98124-1234                         DEPT OF FINANCE
                                                                                   SEATTLE WA 98124-1906



CITY OF SEATTLE                      CITY OF SEATTLE                               CITY OF SEATTLE
PO BOX 34907                         PO BOX 34996                                  REVENUE AND CONSUMER AFFAIRS
SEATTLE WA 98124-1907                SEATTLE WA 98124-4996                         700 5TH AVE
                                                                                   STE 4250
                                                                                   SEATTLE WA 98104


CITY OF SEATTLE                      CITY OF SEATTLE                               CITY OF SIMI VALLEY
RM 1207 PUBLIC SAFETY BLDG           700 5TH AVE., SUITE 3200, P.O. BOX 34023      2929 TAPO CANYON RD
610 3RD AVE                          SEATTLE WA 98124-4023                         SIMI VALLEY CA 93063
SEATTLE WA 98104-1852



CITY OF SIMI VALLEY                  CITY OF SIMI VALLEY                           CITY OF SOUTH GATE
P O BOX 939                          PO BOX 30536                                  8650 CALIFORNIA AVE
SIMI VALLEY CA 93062                 LOS ANGELES CA 90030-0536                     SOUTH GATE CA 90280




CITY OF ST CHARLES                   CITY OF ST. CHARLES                           CITY OF STAMFORD
2 E MAIN ST                          ACCT NO. 8-15-84976-5-1                       888 WASHINGTON BLVD
ST CHARLES IL 60174                  2 E MAIN ST.                                  P O BOX 10152
                                     ST. CHARLES IL 60174-1984                     STAMFORD CT 06904-2152



CITY OF STAMFORD                     CITY OF STAMFORD                              CITY OF STAMFORD
OFFICE OF TAX COLLECTOR              PO BOX 10152                                  RISK MANAGEMENT DEPT
888 WASHINGTON BLVD 6TH FLOOR        STAMFORD CT 06904-0152                        P O BOX 10152
P O BOX 50                                                                         888 WASHINGTON BLVD
STAMFORD CT 06904-0050                                                             STAMFORD CT 06904


CITY OF STAMFORD                     CITY OF STAMFORD                              CITY OF STREATOR
STAMFORD PARKING VIOLATIONS          STAMFORD WPCA                                 ACCT NO. 000090274605
888 WASHINGTON BLVD FL 1             P O BOX 1200                                  204 S. BLOOMINGTON ST., P.O. BOX 517
STAMFORD CT 06901-2902               HARTFORD CT 06143-1200                        STREATOR IL 61364-0517



CITY OF SUNNY ISLES                  CITY OF SUNNY ISLES                           CITY OF SUNRISE
17070 COLLINS AVE NO.250             18070 COLLINS AVENUE                          10770 W OAKLAND PARK BLVD
SUNNY ISLES BEACH FL 33160           SUNNY ISLES BEACH FL 33160                    SUNRISE FL 33351




CITY OF SUNRISE                      CITY OF SUNRISE                               CITY OF SUNRISE
CUSTOMER UTILITY                     OCCUPATIONAL LICENSE DIVISION                 PO BOX 450759
PO BOX 31432                         3801 NORTH UNIVERSITY DR NO.401               ATTN: CONTROLLER
TAMPA FL 33631-3432                  SUNRISE FL 33351                              SUNRISE FL 33351



CITY OF SUNRISE                      CITY OF SUNRISE                               CITY OF TACOMA
PO BOX 452048                        PUBLIC SERVICE DEPT                           747 MARKET STREET SUITE 132
FINANCE/OTHER RECEIVABLES            PO BOX 911404                                 TACOMA WA 98402
SUNRISE FL 33345-9988                ORLANDO FL 32891-1404




                                            Page 419 of 2387
                           Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 420 of 800
CITY OF TACOMA                          CITY OF TACOMA                                CITY OF TACOMA
DEPARTMENT OF FINANCE                   LAW ENFORCEMENT SUPPORT AGENCY                MUNICIPAL COURT
TAX & LICENSE DIVISION PO BOX 11640     955 TACOMA AVE S STE 102                      930 TACOMA AVE S ROOM 136
TACOMA WA 98411-6640                    TACOMA WA 98402                               TACOMA WA 98402-2181



CITY OF TACOMA                          CITY OF TAMARAC                               CITY OF TAMARAC
PO BOX 1717                             7525 NW 88 AVE                                ATTN FINANCE DEPT
TACOMA WA 98401                         TAMARAC FL 33321-2401                         PO BOX 209000
                                                                                      TAMARAC FL 33320



CITY OF TAMARAC                         CITY OF TAMARAC                               CITY OF TAVARES
PO BOX 105384                           7525 NW 88TH ST., ROOM 102                    201 E MAIN ST
ATLANTA GA 30348-5384                   TAMARAC FL 33321-2401                         PO BOX 1068
                                                                                      ATTN UTILITY BILLING DEPT
                                                                                      TAVARES FL 32778


CITY OF TAVARES                         CITY OF TAVARES                               CITY OF TORRINGTON
WATER DEPARTMENT                        P.O. BOX 1068                                 P O BOX 839
P O BOX 1068                            TAVARES FL 32778                              TORRINGTON CT 06790
TAVARES FL 32778



CITY OF TORRINGTON                      CITY OF TWO RIVERS                            CITY OF WATERBURY
TAX COLLECTOR                           PO BOX 87                                     BUREAU OF WATER
P O BOX 839                             TWO RIVERS WI 54241                           PO BOX 383
TORRINGTON CT 06790                                                                   WATERBURY CT 06720-0383



CITY OF WATERBURY                       CITY OF WATERBURY                             CITY OF WATERBURY
PO BOX 2216                             PO BOX 2556                                   BUREAU OF WATER
POLICE DEPT                             TAX COLLECTOR                                 21 E. AURORA STREET
WATERBURY CT 06722-2216                 WATERBURY CT 06723-2556                       WATERBURY CT 06708



CITY OF WAUKEGAN                        CITY OF WAUKEGAN                              CITY OF WAUKEGAN
100 MARTIN LUTHER KING AVE              BUREAU OF PARKING                             PARKING ENFORCEMENT
WAUKEGAN IL 60085                       106 N MARTIN L KING DR                        106 N MARTIN LUTHER KING DR AVE
                                        WAUKEGAN IL 60085                             WAUKEGAN IL 60085-4395



CITY OF WAUKEGAN                        CITY OF WEST HOLLYWOOD                        CITY OF WEST HOLLYWOOD
COLLECTOR'S OFFICE                      DEPT OF COMMUNITY DEVELOPMENT                 PO BOX 2030
100 N. MARTING LUTHER KING JR. AVENUE   ATTN TERRI SLIMMER                            TUSTIN CA 92781-2030
WAUKEGAN IL 60085                       8300 SANTA MONICA BLVD
                                        WEST HOLLYWOOD CA 90069-6216


CITY OF WEST PALM BEACH                 CITY OF WEST PALM BEACH                       CITY OF WEST PALM BEACH
LICENSING DEPARTMENT                    PARKING DEPT.                                 PARKING SYNO.MS
PO BOX 3147                             PO BOX 3366                                   333 EVERNIA ST
WEST PALM BEACH FL 33401                WEST PALM BEACH FL 33402                      WEST PALM BEACH FL 33401



CITY OF WEST PALM BEACH                 CITY OF WEST PALM BEACH                       CITY OF WESTON
PARKING SYSTEMS                         PO BOX 3366                                   PUBLIC WORKS AND UTILITIES
195 NORTH NARCISSUS AVE                 WEST PALM BEACH FL 33402                      2599 SOUTH POST ROAD
WEST PALM BEACH FL 33401                                                              WESTON FL 33327




                                               Page 420 of 2387
                               Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 421 of 800
CITY OF WHITTIER                            CITY OF WILLIAMSBURG                          CITY OF WILLIAMSBURG
13230 EAST PENN ST                          401 LFAYETTE STREET                           425 ARMISTEAD AVE
WHITTIER CA 90602                           WILLIAMSBURG VA 23185-3617                    WILLIAMSBURG VA 23188




CITY OF WISCONSIN DELLS                     CITY OF WOODSTOCK                             CITY PARKING USA INC
DALE D DARLING, TREASURER                   ACCT NO. 0108361400-01                        12973 SW 112TH STREET SUITE 362
PO BOX 655                                  121 W. CALHOUN ST.                            MIAMI FL 33186
WISCONSIN DELLS WI 53965                    WOODSTOCK IL 60098



CITY REGIONAL MAGAZINE ASSN                 CITY REGIONAL MAGAZINE ASSN                   CITYSIDE FEDERAL CREDIT UNION
4929 WILSHIRE BLVD NO.428                   CRMA AWARDS                                   200 SOUTH SPRING STREET
LOS ANGELES CA 90010                        MU SCHOOL OF JOURNALISM MGZ OFC               LOS ANGELES CA 90012
                                            320 LEE HILLS HALL
                                            COLUMBIA MO 65211


CITYWIDE COMMUNICATIONS LLC                 CITYWIDE COMMUNICATIONS LLC                   CITYWIDE NEWS NETWORK
58 SADDLE HILL RD                           P O BOX 310575                                144-04 78TH AVE STE 3H
NEWINGTON CT 06111                          NEWINGTON CT 06131-0575                       KEW GARDENS HILLS NY 11367




CIULLA, MICHAEL                             CIURARU, CARMELA                              CIURARU, CARMELA
7 CROSSTREES HILL                           40 PROSPECT PARK WEST 6F                      49 CHEEVER PL
ESSEX CT 06426                              BROOKLYN NY 11215                             NO.2
                                                                                          BROOKLYN NY 11231



CIVIC WORKS INC                             CIVIL, REYNOLD                                CJM BUSINESSES LLC
2701 ST LO DRIVE                            139 SW 4TH AVENUE                             1850 SOUTHWEST 122ND AVE NO.209
BALTIMORE MD 21213                          DELRAY BEACH FL 33444                         MIAMI FL 33175




CKELSCH INC                                 CLACKAMAS COUNTY TAX COLLECTOR                CLACKAMAS COUNTY TAX COLLECTOR
2146 N DAYTON ST     APT 102                168 WARNER MILINE RD                          PO BOX 6100
CHICAGO IL 60614                            OREGON CITY OR 97045                          PORTLAND OR 97228-6100




CLAING, DONALD                              CLAIR, KENNETH                                CLAIRE BERGEN
92 RIDGE RD 2ND FLR                         6036 W GUNNISON                               422 NE 25 ST
MIDDLETOWN CT 06457                         CHICAGO IL 60630                              WILTON MANORS FL 33305




CLAIRE BLISSETT                             CLAIRE DANTINE                                CLAIRE DAVIS
109 JOSHUA HILL                             322 EAST 73RD ST                              9 N SOMERSET RD
WINDSOR CT 06095                            APT 2                                         AMITYVILLE NY 11701
                                            NEW YORK NY 10021-4473



CLAIRE HOLT                                 CLAIRE NOLAND                                 CLAIRE REYNARD
92 DILLWYN DRIVE                            2224 MAURICE AVENUE                           728 WEST JACKSON BLVD.
NEWPORT NEWS VA 23602                       LA CRESCENTA CA 91214                         APT. #722
                                                                                          CHICAGO IL 60661




                                                   Page 421 of 2387
                           Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 422 of 800
CLAIRE ROBERTS                          CLAIRE SALVITTI                               CLAIRE STEPHENS
1414 EAST 80TH STREET                   3645 WEST FORGE RD.                           110 SAXON ROAD
INDIANAPOLIS IN 46240                   DAVIE FL 33328                                WILLIAMSBURG VA 23185




CLALLAM COUNTY CLERK                    CLALLAM COUNTY CLERK                          CLANCY, KEVIN
PO BOX 2129                             PO BOX 863                                    10061 NW 58 CT
PORT ANGELES WA 98362-0389              PORT ANGELES WA 98362-0149                    PARKLAND FL 33076




CLANCY, MICHAEL E                       CLANDOS, ROSEMARY                             CLANTON,MATTHEW J
2386 LEANNA SWAMP RD                    23633 PARK CAPRI NO.25                        16400 CANTA CARLOTTA ST
MURFREESBORO TN 37129                   CALABASAS CA 91302                            FOUNTAIN VALLEY CA 92708




CLANTON,MATTHEW J                       CLARA BENESCH                                 CLARA COLOMA
18400 SANTA CARLOTTA                    24441 ALTA VISTA #2                           445 LINCOLN AVE
FOUNTAIN VALLEY CA 92708                DANA POINT CA 92629                           BRENTWOOD NY 11717




CLARA DOBBINS                           CLARA FRAIRE                                  CLARA GONZALEZ
1326 S. 17TH AVE.                       18349 E. NEARFIELD ST.                        P.O. BOX 41892
MAYWOOD IL 60153                        AZUSA CA 91702                                LOS ANGELES CA 90041




CLARA KENYON                            CLARA MARTINO                                 CLARA SALDARRIAGA
2822 PLUNKETT STREET                    295 HAWKBILL COURT                            47-52 44TH STREET
HOLLYWOOD FL 33020                      TALLAHASSEE FL 32312                          APT. A10
                                                                                      WOODSIDE NY 11377



CLARE ABREU                             CLARE TRESHAM                                 CLARENCE CARTER
340 VISTA PL                            150 MUNSELL ROAD                              14 ELM ST.
LOS ANGELES CA 90042                    EAST PATCHOGUE NY 11772                       1309
                                                                                      CHICAGO IL 60610



CLARENCE CAVEY                          CLARENCE FREEMAN                              CLARENCE GAMBLE
208 SANDSBURY AVE                       24150 AVENIDA RANCHEROS #B                    49 CEDAR ST
GLEN BURNIE MD 21061                    DIAMOND BAR CA 91765                          STAMFORD CT 06902




CLARENCE MOENCH                         CLARENCE MORRELL                              CLARENCE PAGE
3838 N CLAREMONT                        5524 DECATUR ST.                              7705 TAKOMA AVENUE
CHICAGO IL 60618                        ORLANDO FL 32807                              TAKOMA PARK MD 20912




CLARENCE SIMPSON                        CLARENCE WHEELER                              CLARENCE ZANDERS
29 RAINBOW RIDGE ROAD                   17059 SOUTH PARKSIDE AVE                      1300 W 91ST
POMONA CA 91766                         SOUTH HOLLAND IL 60473                        LOS ANGELES CA 90044




                                               Page 422 of 2387
                          Case 08-13141-BLS      Doc 17-1        Filed 12/08/08   Page 423 of 800
CLARESTINE GIBSON                         CLARICE JACOBSEN                           CLARICE TOUHEY
6558 S. ROCKWELL                          5623 N OLCOTT                              10594 WILLOW OAK COURT
APT. #1                                   CHICAGO IL 60631                           WELLINGTON FL 33414
CHICAGO IL 60629



CLARIDGE, JOAN                            CLARIN                                     CLARITAS INC
9 MULBERRY CLOSE                          927 NORTH SHORE DR                         5375 MIRA SORRENTO PLACE
BEAUFORT STREET                           LAKE BLUFF IL 60044                        SUITE 400
LONDON SW3 5AB                                                                       SAN DIEGO CA 92121



CLARITAS INC                              CLARITAS INC                               CLARITAS INC
PO BOX 533028                             P O BOX 4247-7380                          PO BOX 7247-7380
ATLANTA GA 30353-2028                     PHILADELPHIA PA 19170-7380                 PHILADELPHIA PA 19170-7380




CLARK & BARLOW HARDWARE                   CLARK AMATO                                CLARK BENDER
353 W GRAND AVENUE                        5531 WINSTON PARK BLVD.                    2116 W. CULLOM
CHICAGO IL 60610                          #107                                       #402
                                          COCONUT CREEK FL 33073                     CHICAGO IL 60618



CLARK BOWEN                               CLARK BOWEN                                CLARK BROTHERS MAINT REPAIR SERVICE INC
1424 BREDELL                              13 TITUS AVE                               931 WOODBINE AVE APT D1-3
ST. LOUIS MO 63117                        CARLE PLACE NY 11514                       BENSALEM PA 19020




CLARK COUNTY                              CLARK COUNTY                               CLARK COUNTY
500 S GRAND CENTRAL PKWY                  ASSESSOR                                   ATTN JENIFFER GEORGES
LAS VEGAS NV 89106                        PO BOX 551401                              200 S 3RD STREET
                                          500 S GRAND CENTRAL PKWY                   LAS VEGAS NV 89155-1601
                                          LAS VEGAS NV 89155-1401


CLARK COUNTY                              CLARK DANIEL                               CLARK GRAY
COURTS                                    346 STONEHENGE DRIVE                       21138 ALESSANDRA DRIVE
200 LEWIS AVENUE 2ND FLR                  PHILLIPSBURG NJ 08865-1807                 MATTESON IL 60443
LAS VEGAS NV 89155



CLARK II, DONALD S                        CLARK MARTIRE & BARTOLOMEO INC             CLARK NORTHWEST PARTNERS, LP
10621 S BELL AVE                          375 SYLVAN AVE                             RE: PORTAGE 6675 DANIEL BURNH
CHICAGO IL 60643                          ENGLEWOOD CLIFFS NJ 07632                  227 S. MAIN, SUITE 300
                                                                                     P.O. BOX 1331
                                                                                     SOUTH BEND IN 46601


CLARK NORTHWEST PARTNERS, LP              CLARK OUTDOOR MEDIA GROUP INC              CLARK STERNER SANITATION
RE: PORTAGE 6675 DANIEL BURNH             PO BOX 17924                               1337 N TROXELL ST
% HOLLADAY PROP. SERVICES MIDWEST, INC.   BOULDER CO 80308                           ALLENTOWN PA 18109
P.O. BOX 1331
SOUTH BEND IN 46624


CLARK STEVENS                             CLARK SZABO                                CLARK, ANTWANETTE
2215 SANTA ANITA AVENUE                   8912 ARBOR HILL DR                         1200 NW 179TH STREET
SIERRA MADRE CA 91024                     HIGHLAND IN 46322                          MIAMI FL 33169




                                              Page 423 of 2387
                         Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 424 of 800
CLARK, BRONWYN                        CLARK, CHERYL                                 CLARK, CHYANNA
37 3RD PL GROUND FL                   4520 NORTH MOZART STREET                      53 A ELM CORNER
BROOKLYN NY 11231                     CHICAGO IL 60625                              WINDSOR LOCKS CT 06096




CLARK, DAVID                          CLARK, DAVID I                                CLARK, DONALD
2521 JONQUIL DR                       14547 TITUS ST     STE 208                    20047 CROWN RIDGE DR
UPLAND CA 91784                       PANORAMA CITY CA 91402                        SUN CITY WEST AZ 85375




CLARK, DORIS                          CLARK, ELLEN                                  CLARK, ERNEST R
1000 SW 8TH STREET                    1091 NORTH KENTER AVE                         859 BEAR HILL
HALLANDALE FL 33009                   LOS ANGELES CA 90049                          DOVER FOXCROFT ME 04426




CLARK, GREGORY                        CLARK, IRIS                                   CLARK, JAMES
1915 GEORGIA PLACE                    184 SUMMER LAKE DR.                           6119 SW 18TH STREET
DAVIS CA 95616                        MARIETTA GA 30068                             MIRAMAR FL 33023




CLARK, JANICE                         CLARK, JILL                                   CLARK, JOHN
419 CAMINO DEL CAMPO                  1103 BAHAMA BEND NO. C1                       108 HORTON ROAD
REDONDO BEACH CA 90277                COCONUT CREEK FL 33066                        COLD SPRING NY 10516




CLARK, JOHN                           CLARK, JON                                    CLARK, JOSEPH J
91 HORTON RD                          2824 DUBLIN BLVD APT 123                      15709 GARNETT DR
COLD SPRING NY 10516                  COLORADO SPRINGS CO 80918                     BULLARD TX 75757




CLARK, KIONNA                         CLARK, LAUREL J                               CLARK, LAVERNE
2120 DERBY DR SW                      15452 ROXBURY RD                              8262 YARROW LANE
ATLANTA GA 30311                      GLENWOOD MD 21738                             RIVERSIDE CA 92508




CLARK, LEATHA                         CLARK, LEVAN                                  CLARK, MARLENE
2500 GLOBAL FORUM BLVD                336 SNOWSHOE CT STE 2005                      435 MAIN ST
DORAVILLE GA 30340                    ORLANDO FL 32835                              DURHAM CT 06422




CLARK, PATRICK                        CLARK, RACHEL BERNICE                         CLARK, RICHARD W
450 S CLOVERDALE AVE                  18816 CLOVER HILL LANE                        6811 NEPTUNE PL
LOS ANGELES CA 90036                  OLNEY MD 20832                                LA JOLLA CA 92037




CLARK, ROBERT S                       CLARK, SHIRLEY L                              CLARK, TIFFANY L
717 SOUTH RD                          130 N HOLGATE ST                              214 W 96TH ST NO 3H
HARWINTON CT 06791                    LA HABRA CA 90631                             NEW YORK NY 10025




                                             Page 424 of 2387
                           Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 425 of 800
CLARK, TODD                             CLARK, WILLIE                                 CLARKE, ANTWAIN JEMAR
PO BOX 8264                             4824 TYLER LAKE CT                            46 GUILFORD ST     APT NO.1
BOISE ID 83707                          ORLANDO FL 32839                              HARTFORD CT 06120




CLARKE, BJ GIANNI                       CLARKE, DOLORES                               CLARKE, EWAN
11735 S LAUREL DR NO.124                7411 MORNINGSIDE DR UNIT N                    46 HALE DR
LAUREL MD 20708                         ELLENTON FL 34222                             WINDSOR CT 06095




CLARKE, GREGORY                         CLARKE, JAY                                   CLARKE, JOY
214 TWIN FALLS COURT                    1001 SUNSET DR                                7830 NW 54 STREET
NEWBURY PARK CA 91320                   CORAL GABLES FL 33143                         LAUDERHILL FL 33351




CLARKE, MORRIS                          CLARKE, MORRIS                                CLARKE, NATALIE
3690 SW 60TH TER NO. S                  3690 SW 60TH TER NO. S                        48 MICHAEL AVE
MIRAMAR FL 33026                        MIRAMAR FL 33023-5144                         EAST HARTFORD CT 06108




CLARKE, NICARDO                         CLARKE, PAUL                                  CLARKE, STEPHEN
1420 NW 191 STREET                      7276 BALBOA DR                                23 RUE DE LESPERANCE
MIAMI FL 33169                          ORLANDO FL 32818                              PARIS 75013




CLARKE, STEPHEN                         CLARKE, TYREL                                 CLARKSON, GAVIN
8 PASSAGE LHOMME                        12084 WHITEHOUSE RD                           1348 ANNANDALE CT
PARIS 75011                             SMITHFIELD VA 23430                           ANN ARBOR MI 48108




CLARKWARE CONSULTING INC                CLARRIDGE, EMERSON                            CLARRISSA WHITE
PRAGMATIC STUDIO                        583 ALBERT ST                                 2554 WEST 119TH STREET
PO BOX 3695                             EAST MEADOW NY 11554                          CHICAGO IL 60655
PARKER CO 80134



CLASSIC CABINETS INC                    CLASSIC CASINO                                CLASSIC LANDSCAPE & MAINTENANCE
24100 FRAMPTON AVE, NO. C               42 DEEP LN                                    16 150 VIA VISTA
HARBOR CITY CA 90710                    WANTAGH NY 11793                              DESERT HOT SPRINGS CA 92240




CLASSIC LANDSCAPE & MAINTENANCE         CLASSIC MEDIA INC                             CLASSIFIED PRODUCTIONS LLC
ROSALEO ARAIZA                          860 BROADWAY 6TH FLR                          4010 PEARSON AVE
16 150 VIA VISTA                        NEW YORK NY 10003                             PHILADELPHIA PA 19114
DESERT HOT SPRINGS CA 92240



CLASSIFIED VENTURES LLC                 CLASSIFIED VENTURES LLC                       CLASSIFIED VENTURES LLC
175 W JACKSON STE 800                   2413 COLLECTION CENTER DR                     2557 COLLECTION CENTER DR
CHICAGO IL 60604                        CHICAGO IL 60693                              CHICAGO IL 60693




                                               Page 425 of 2387
                         Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 426 of 800
CLASSIFIED VENTURES LLC               CLASSIFIED VENTURES LLC                       CLASSIFIEDS PLUS INC
2563 COLLECTION CENTER DR             2584 COLLECTION CT DR                         5678 MAIN ST 2ND FL
CHICAGO IL 60693                      CHICAGO IL 60693                              WILLIAMSVILLE NY 14221




CLASSIFIEDS PLUS INC                  CLASTER                                       CLAUD III, R DANIEL
6400 MAIN ST                          9630 DEERECO ROAD                             437 N MCCLURG CT
WILLIAMSVILLE NY 14221                TIMONIUM MD 21093-2120                        CHICAGO IL 60611




CLAUDE AKINS                          CLAUDE CHRISTIE                               CLAUDE DEBUSSY FILMS
2405 ROBERTS ROAD                     17 BURR ROAD                                  2053 WATSON STREET
PENNGROVE CA 94951                    BLOOMFIELD CT 06002                           GLENDALE CA 91201




CLAUDE DEROSIERS                      CLAUDE DIXON                                  CLAUDE L BARNES
36 HOLL STREET                        2114 OTIS STREET                              69629 OLD CORRAL LOOP
MANCHESTER CT 06040                   DURHAM NC 27707                               SISTERS OR 97759




CLAUDE LUMLEY                         CLAUDE SMITH                                  CLAUDETTE HARPER
112 KING STREET                       77 NATHALIE AVE                               20 WINDBROOK DRIVE
BAY SHORE NY 11706                    AMITYVILLE NY 11701                           WINDSOR CT 06095




CLAUDETTE HOLDEN                      CLAUDETTE PIERRE JEAN                         CLAUDIA ARAUJO
1686 CAMINO SUENO                     261 NW 42ND STREET                            4824 SANTA ANITA AVE.
HEMET CA 92545                        APT 2                                         APT. # 19
                                      OAKLAND PARK FL 33309                         EL MONTE CA 91731



CLAUDIA BANKS                         CLAUDIA BELL                                  CLAUDIA BRENNEN
801 S WELLS                           330 ORMOND VILLAGE                            31750 BAINBROOK COURT
#207                                  DESTREHAN LA 70047                            WESTLAKE VILLAGE CA 91361
CHICAGO IL 60607



CLAUDIA CINCO                         CLAUDIA CRUZ                                  CLAUDIA DAVIDSON
2153 BRANT STREET                     8735 RAMBLEWOOD DR #413                       71 LUDLOW STREET
SAN DIEGO CA 92101                    APT 413                                       APT 5
                                      CORAL SPRINGS FL 33071                        STAMFORD CT 06902



CLAUDIA ELLER                         CLAUDIA ESCOBAR                               CLAUDIA LEYVA
903 STANFORD STREET                   683 ASHFORD OAKS DR.                          1020 NORTH CURSON AVENUE
SANTA MONICA CA 90403                 APT. #105                                     APT#2
                                      ALTAMONTE SPRINGS FL 32714                    WEST HOLLYWOOD CA 90046



CLAUDIA MANZANO                       CLAUDIA O'LEARY                               CLAUDIA ONSTAD
351 E. POMONA BLVD.                   5860 NW 44TH STREET                           4452 STONE RIDGE WAY
APT. #C                               APT 512                                       WESTON FL 33331
MONTEREY PARK CA 91755                LAUDERHILL FL 33319




                                             Page 426 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 427 of 800
CLAUDIA PEDERSEN                       CLAUDIA POWELL                                CLAUDIA SALLOUM
7147 FOREST HILLS ROAD                 3705 MCLAUGHLIN AVENUE                        418 1/2 SPRUCE STREET
WEST HILLS CA 91307                    LOS ANGELES CA 90066                          ALLENTOWN PA 18102




CLAUDIA SANZERI                        CLAUDIA VAUGHN                                CLAUDIA ZEQUEIRA
35 WOODCOCK LANE                       1933 RODNEY DR #102                           1582 SKYLINE DR
LEVITTOWN NY 11756                     LOS ANGELES CA 90027                          KISSIMMEE FL 34744




CLAUDINE DANVERS                       CLAUDINE DELORENZO-GARVER                     CLAUDINE S SAMPSON
29 NORTH DURKEE LANE                   53 CARDINAL ROAD                              P.O. BOX 668 3RD STREET
EAST PATCHOGUE NY 11772                LEVITTOWN NY 11756                            LANGLEY SC 29834




CLAUSER, FREDERICK                     CLAUSER, KENNETH A                            CLAUSS, BECKY
C/O DARCIE WOLF                        1421 SPRINGHOUSE RD                           56 DAYTON RD
2008 W ALLEN ST                        ALLENTOWN PA 18104                            LAKEWORTH FL 33415
ALLENTOWN PA 18104



CLAUSS, JESSICA R                      CLAUSS,OLIVIA                                 CLAUTAIRE BIEN-AIME
56 DAYTON RD.                          56 DAYTON RD                                  4331 NW 18TH STREET
LAKE WORTH FL 33467                    LAKE WORTH FL 33467                           APT N102
                                                                                     LAUDERHILL FL 33313



CLAVIJO,JOSE                           CLAVIJO,JOSE                                  CLAVIN, THOMAS
1800 N ANDREWS AVE APT 3J              1800 N ANDREWS AVE NO.3L                      4472 NOYAC RD
FT LAUDERDALE FL 33311                 FORT LAUDERDALE FL 33311                      SAG HARBOR NY 11963




CLAVIN, THOMAS                         CLAVIN, THOMAS                                CLAWSON,MURRAY W
P.O. BOX 1515 EAST HAMPTON             PO BOX 2159                                   3555 STERLING DRIVE
NY NY 11937                            SAG HARBOR NY 11963                           PALMDALE CA 93550




CLAY CENTER PUBLISHING CO              CLAY HEERY                                    CLAY JOHNSON
PO BOX 519                             16000 SHERMAN WAY                             369 OLD SPRINGFIELD ROAD
ATTN NED VALENTINE                     APT.# 337                                     STAFFORD SPRINGS CT 06076
CLAY CENTER KS 67432                   VAN NUYS CA 91406



CLAY, HENRY                            CLAYTON HALL                                  CLAYTON JR, JOHN
1751 N LECLAIRE AVE                    2203 AUDUBON TRACE                            4704 SW 195TH WAY
CHICAGO IL 60639                       JEFFERSON LA 70121                            MIRAMAR FL 33029




CLAYTON LAYNE                          CLAYTON MARKWELL                              CLAYTON THOMSON
125 GLENGARRY DRIVE                    2633 N MILDRED AVE                            1555 WESTGLEN DRIVE
#104                                   CHICAGO IL 60614                              NAPERVILLE IL 60565
BLOOMINGDALE IL 60108




                                              Page 427 of 2387
                        Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 428 of 800
CLAYTON, JANET T                      CLAYTON, NANCY                               CLEANALL COMMERCIAL CLEANING INC
655 S. RIMPAU BLVD.                   1222 W TILGHMAN ST                           7900 NOVA DR    STE 208
LOS ANGELES CA 90005                  ALLENTOWN PA 18102                           DAVIE FL 33324




CLEANALL COMMERCIAL CLEANING INC      CLEANHARBORS ENVIRONMENTAL                   CLEANING CHIXS
7950 SW 30TH ST      STE 200          42 LONGWATER DR., PO BOX 9149                323 W LIZARDCREEK RD
DAVIE FL 33328                        NORWELL MA 02061                             LEHIGHTON PA 18235




CLEANLOOK CHEMICAL CORP               CLEANMAX INC                                 CLEANMAX INC
14939 NW 27 AVE                       1905 QUAKER HOLLOW LN                        91 JOHN M BOOR DRIVE
OPALOCKA FL 33054                     STREAMWOOD IL 60107                          GILBERTS IL 60136




CLEANSOURCE INC                       CLEANSOURCE INC                              CLEAR CHANNEL BROADCASTING INC
1711 ROGERS AVE                       PO BOX 49107                                 CLEAR CHANNEL TRAFFIC
SAN JOSE CA 95112                     SAN JOSE CA 95161-9107                       FILE NO.056545
                                                                                   LOS ANGELES CA 90074-6545



CLEAR CHANNEL BROADCASTING INC        CLEAR CHANNEL BROADCASTING INC               CLEAR CHANNEL BROADCASTING INC
PO BOX 60000                          495 BENHAM ST                                1975 E SUNRISE BLVD NO. 400
FILE 030070                           HAMDEN CT 06514                              FT LAUDERDALE FL 33304
SAN FRANCISCO CA 94160



CLEAR CHANNEL BROADCASTING INC        CLEAR CHANNEL BROADCASTING INC               CLEAR CHANNEL BROADCASTING INC
2500 MAITLAND CENTER PKWY SUITE 401   7601 RIVIERA BLVD                            C/O BANK OF AMERICA
MAITLAND FL 32751                     MIRAMAR FL 33023                             6000 FELDWOOD RD
                                                                                   LOCKBOX 402544
                                                                                   ATLANTA GA 30349-2544


CLEAR CHANNEL BROADCASTING INC        CLEAR CHANNEL BROADCASTING INC               CLEAR CHANNEL BROADCASTING INC
LOCK BOX 402535                       PO BOX 402541                                PO BOX 402544
ATLANTA GA 30384-2535                 ATLANTA GA 30384-2541                        ATLANTA GA 30349-2544




CLEAR CHANNEL BROADCASTING INC        CLEAR CHANNEL BROADCASTING INC               CLEAR CHANNEL BROADCASTING INC
PO BOX 402549                         PO BOX 402552                                PO BOX 402555
ATLANTA GA 30384-2549                 ATLANTA GA 30384-2552                        ATLANTA GA 30384-2555




CLEAR CHANNEL BROADCASTING INC        CLEAR CHANNEL BROADCASTING INC               CLEAR CHANNEL BROADCASTING INC
PO BOX 402573                         PO BOX 402601                                PO BOX 406016
ATLANTA GA 30384-2573                 ATLANTA GA 30384-2601                        ATLANTA GA 30384-6016




CLEAR CHANNEL BROADCASTING INC        CLEAR CHANNEL BROADCASTING INC               CLEAR CHANNEL BROADCASTING INC
PO BOX 406026                         PO BOX 406039                                PO BOX 40616
ATLANTA GA 30384-6026                 ATLANTA GA 30384                             ATLANTA GA 30384-0616




                                            Page 428 of 2387
                        Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 429 of 800
CLEAR CHANNEL BROADCASTING INC       CLEAR CHANNEL BROADCASTING INC                CLEAR CHANNEL BROADCASTING INC
12067 COLLECTIONS CENTER DR          3976 COLLECTIONS DR                           3993 COLLECTIONS CENTER DR
CHICAGO IL 60693                     CHICAGO IL 60693                              CHICAGO IL 60693




CLEAR CHANNEL BROADCASTING INC       CLEAR CHANNEL BROADCASTING INC                CLEAR CHANNEL BROADCASTING INC
5080 COLLECTIONS CENTER DR           5094 COLLECTIONS CENTER DR                    5630 COLLECTIONS CENTER DR
CHICAGO IL 60693                     CHICAGO IL 60693                              CHICAGO IL 60693




CLEAR CHANNEL BROADCASTING INC       CLEAR CHANNEL BROADCASTING INC                CLEAR CHANNEL BROADCASTING INC
5725 COLLECTIONS CENTER DR           9575 W HIGGINS RDSTE 905                      LOCKBOX 005094
CHICAGO IL 60693-5725                ROSEMONT IL 60018-4923                        COLLECTIONS CENTER DR
                                                                                   CHICAGO IL 60693



CLEAR CHANNEL BROADCASTING INC       CLEAR CHANNEL BROADCASTING INC                CLEAR CHANNEL BROADCASTING INC
NETWORK COLLECTIONS                  929 HOWARD AVE                                10155 CORPORATE SQ DR
12526 COLLECTION CENTER DR           NEW ORLEANS LA 70113                          ST LOUIS MO 63132
CHICAGO IL 60693



CLEAR CHANNEL BROADCASTING INC       CLEAR CHANNEL BROADCASTING INC                CLEAR CHANNEL BROADCASTING INC
66 COLONIAL DRIVE                    14001 N DALLAS PRKWY STE 300                  PO BOX 847247
E PATCHOGUE NY 11772                 DALLAS TX 75240                               DALLAS TX 75284-7247




CLEAR CHANNEL BROADCASTING INC       CLEAR CHANNEL BROADCASTING INC                CLEAR CHANNEL OUTDOOR INC
PO BOX 847482                        PO BOX 847572                                 1539 W ORANGEWOOD AVE
DALLAS TX 75484-7428                 DALLAS TX 75284-7572                          ORANGE CA 92868




CLEAR CHANNEL OUTDOOR INC            CLEAR CHANNEL OUTDOOR INC                     CLEAR CHANNEL OUTDOOR INC
19320 HARBORGATE WAY                 PO BOX 60000                                  9202 NW 101 STREET
TORRANCE CA 90501                    FILE 30005                                    MEDLEY FL 33178
                                     SAN FRANCISCO CA 94160-0001



CLEAR CHANNEL OUTDOOR INC            CLEAR CHANNEL OUTDOOR INC                     CLEAR CHANNEL OUTDOOR INC
PO BOX 402379                        110 E 42ND ST                                 PO BOX 710393
ATLANTA GA 30384-2379                STE 1800                                      CINCINNATI OH 45271
                                     NEW YORK NY 10017



CLEAR CHANNEL OUTDOOR INC            CLEAR CHANNEL OUTDOOR INC                     CLEAR CHANNEL OUTDOOR INC
1313 W LOOP N                        PO BOX 200792                                 PO BOX 847247
HOUSTON TX 77055                     DALLAS TX 75320-0792                          DALLAS TX 75284-7247




CLEARY, ANNEMARIE                    CLELIA AYALA                                  CLEMENT CHEUNG
18472 LANIER ISLAND SQUARE           162 N. MARIPOSA AVENUE                        26617 CABALETTA DR
LEESBURG VA 20176                    APT. #4                                       SANTA CLARITA CA 91350
                                     LOS ANGELES CA 90004




                                            Page 429 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 430 of 800
CLEMENT ETIENNE                        CLEMENT, DOUG                                 CLEMENT, MICHE
31 HEALY STREET                        368 ALBANY TPKE                               8477 BREZZY HILL DRIVE
HUNTINGTON NY 11743                    CANTON CT 06019                               BOYNTON BEACH FL 33437




CLEMENT, NEOLINE                       CLEMENT, PERRY                                CLEMENTE HARROD
8477 BREZZY HILL DRIVE                 165 MARION PLACE NO.402                       3336 CHAPEL CREEK CIRCLE
BOYNTON BEACH FL 33437                 ATLANTA GA 30307                              WESLEY CHAPEL FL 33543




CLEMENTE, RITA MARIE                   CLEMENTE, RITA MARIE                          CLEMENTINE MANLEY
45 WALL STREET APT 1922                75 82ND ST                                    76 SPANISH TRAIL
NEW YORK NY 10005                      BROOKLYN NY 11209                             APT. #A
                                                                                     HAMPTON VA 23669



CLEMENTS, CORINNE                      CLEMENTS, MILES                               CLEMIE HAUGHT
2601 METAIRIE LAWN DR NO.206           3950 WISTERIA ST                              3101 GEORGETOWN RD
METAIRIE LA 70002                      SEAL BEACH CA 90740                           BALTIMORE MD 21230




CLEMMONS, MICHAEL P                    CLEMONS, ADAM                                 CLEMONS, JUNE
301 N WASHINGTON ST                    2433 LAKESIDE DRIVE                           3330 CORD AVE     STE 2314
WEST MONT IL 60559                     SEABROOK TX 77586                             SAINT CLOUD FL 34772




CLEMONS, MARK                          CLEMONS, TIMOTHY                              CLEMSON, STEPHANIE
535 HARRISON ST                        2433 LAKESIDE                                 1415 JUDSON AVE
ALLENTOWN PA 18103                     SEABROOK TX 77586                             EVANSTON IL 60201




CLENDENIN, JAY L                       CLENDENIN, MICHAEL                            CLENON JONES
23 W UHLER AVE                         328 CAROLINA MEADOWS VILLA                    4183 S NORMANDIE AVENUE
ALEXANDRIA VA 22301                    CHAPEL HILL NC 27517                          LOS ANGELES CA 90037




CLEO LLOYD                             CLEOPHAS SMITH                                CLEPPER, VICKORA
9601 S. HARVARD                        4739 SOUTHOLD ST.                             1523 W WAKEFIELD AVENUE
FLR. 1                                 ORLANDO FL 32808                              ANAHEIM CA 92802
CHICAGO IL 60628



CLERJUSTE, BLANDINE                    CLERK & COMPTROLLER PALM BEACH COUNTY         CLERK OF CIRCUIT AND COUNTY COURT
4796 WEYMOUTH ST                       PO BOX 229                                    201 SECOND STREET ROOM 275
LAKE WORTH FL 33463                    WEST PALM BEACH FL 33402-0229                 FORT LAUDERDALE FL 33301




CLERVEAU, JEAN                         CLERVEAUX, PIERRE                             CLERVIL, JOSON
910 SE 4TH ST                          11211 S MILITARY TR APT 4921                  2301 S CONGRESS AVENUE APT 811
BOYNTON BEACH FL 33435                 BOYNTON BEACH FL 33436                        BOYNTON BEACH FL 33426




                                              Page 430 of 2387
                         Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 431 of 800
CLERVIL, WISGUNS                      CLETUS PAGE                                   CLEVELAND CAVALIERS
5373 CEDAR LAKE RD APT 1426           1052 DAMATO DR                                ONE CENTER CT
BOYNTON BEACH FL 33437                COVINA CA 91724                               CLEVELAND OH 44115-4001




CLEVELAND CAVALIERS                   CLEVELAND FOLDER SERVICE CO                   CLEVELAND INDIANS BASEBALL CO
PO BOX 5758                           701 S LASALLE STREET                          2401 ONTARIO STREET
CLEVELAND OH 44101                    CHICAGO IL 60605                              ATTN KIM COOPER
                                                                                    CLEVELAND OH 44115-4003



CLEVELAND TATE                        CLEVENGER, STEVE                              CLEVIE VALENTINE
647 N CARROLL PARKWAY                 208 GARARETT RD                               9803 3RD AVENUE
UNIT 10                               GLEN BURNIE MD 21060                          ORLANDO FL 32824
GLENWOOD IL 60429



CLICK MODEL MANAGEMENT INC            CLICKABILITY INC                              CLICKABILITY INC
129 W 27TH PL 12TH FL                 1475 FOLSOM ST 2ND FLR                        300 CALIFORNIA STREET
NEW YORK NY 10001                     SAN FRANCISCO CA 94103                        SAN FRANCISCO CA 94104




CLICKABILITY INC                      CLICKABILITY INC                              CLIENTLOGIC
PO BOX 2326                           PO BOX 25509                                  1200 HARBOR BLVD 9TH FL
SAN FRANCISCO CA 94126                SAN MATEO CA 94402                            WEEHAWKEN NJ 07087




CLIENTLOGIC                           CLIFF SCHECHTMAN                              CLIFFORD BLAND
SITEL OPERATING CORPORATION           295 REMSEN ROAD                               7510 RAMONA STREET
3102 WEST END AVE                     WADING RIVER NY 11792                         MIRAMAR FL 33023
NASHVILLE TN 37203



CLIFFORD BURNS                        CLIFFORD CHANCE US LLP                        CLIFFORD CHANCE US LLP
38 NORTH ROAD                         31 W 52ND ST                                  PO BOX 7247-6805
SOUTHINGTON CT 06489                  NEW YORK NY 10019                             PHILADELPHIA PA 19170-6805




CLIFFORD ELLIOTT                      CLIFFORD ERICKSON                             CLIFFORD GLADDING
20 166TH STREET                       1737 DELAFORD DRIVE                           10 SOMERS ROAD
CALUMET CITY IL 60409                 CARROLLTON TX 75007                           ENFIELD CT 06082




CLIFFORD HERMAN                       CLIFFORD II, WILLIAM E                        CLIFFORD LITTLE
1561 LAKESIDE DRIVE                   128 RAYMOND RD 3RD FLOOR                      232 W BRUCE RD
WANTAGH NY 11793                      WEST HARTFORD CT 06107                        FAWN GROVE PA 17321




CLIFFORD PHILLIPS                     CLIFFORD R OTTO                               CLIFFORD SCHMIDT
938 N. AUSTIN BLVD                    27800 GROSSE POINT DR                         3 VALLEY ROAD
OAK PARK IL 60302                     SUN CITY CA 92586                             SYOSSET NY 11791




                                             Page 431 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 432 of 800
CLIFFORD SHEPPARD                      CLIFFORD TEUTSCH                              CLIFFORD, ANNETTE
105-04 JAMAICA AVENUE                  12 SEMINARY ROAD                              462 ST JOHNS DRIVE
APT. 22                                SIMSBURY CT 06070                             SATELLITE BEACH FL 32937
RICHMOND HILL NY 11418-2013



CLIFFORD, GRAHAM                       CLIFFORD, HARLAN                              CLIFFORD, JOHN
33 LITTLE WEST 12TH ST NO.105          32 HOLLENBECK AVE                             806 MARLY CT
NEW YORK NY 10014                      GT BARRINGTON MA 01230                        NEWPORT NEWS VA 23608




CLIFFORD, PATRICK A.                   CLIFTON BELL                                  CLIFTON MCDONALD
1185 PARK AVENUE APT 3E                1967 N. 19TH AVENUE                           1935 WINDSOR ROAD
NEW YORK NY 10128                      MELROSE PARK IL 60104                         WINDSOR MILL MD 21244




CLIFTON TANAKA                         CLINE, ERIN                                   CLINES,EUGENE
14339 HOMEWARD STREET                  49 ZOE STREET APARTMENT 6                     5303 9TH AVE DRIVE WEST
LA PUENTE CA 91744                     SAN FRANCISCO CA 94107                        BRANDENTON FL 34209




CLINICAL HEALTH SYSTEMS, INC           CLINICAL TRIALS MEDIA                         CLINT CEARLEY
1319 S EUCLID ST                       50 NORTH BROADWAY                             1124 S. SHERBOURNE
ANAHEIM CA 92802-2001                  JERICHO NY 11753                              APT #6
                                                                                     LOS ANGELES CA 90035



CLINT CEARLEY                          CLINT CEARLEY                                 CLINT STEPHENSON
NO. NO.6 1124 S. SHERBOURNE            PETTY CASH CUSTODIAN                          4407 AMBROSE AVENUE
LOS ANGELES CA 90035                   5800 SUNSET BLVD                              APT #204
                                       LOS ANGELES CA 90028                          LOS ANGELES CA 90027



CLINTON DONG                           CLINTON EMERGENCY ROOM ASSOCIATES             CLINTON KELLY INC
4801 EGGLESTON AVENUE                  PO BOX 643440                                 7 HARRISON ST   NO.4B
ORLANDO FL 32804                       CINCINNATI OH 45264-3440                      NEW YORK NY 10013




CLINTON WILLIAMS                       CLINTON, CATHERINE                            CLINTON, DARCY
6830 S. MAY                            1117 E PUTNAM AVE                             3601 NW 24TH TERR
CHICAGO IL 60621                       RIVERSIDE CT 06878                            BOCA RATON FL 33431




CLINTON, ERNESTINE                     CLINTON, LAVAR C                              CLIVE MCKENZIE
1675 ROSWELL RD NO.623                 6640 AKERS MILL RD SE APT 4912                18 WAGON CIRCLE
MARIETTA GA 30062                      ATLANTA GA 30339                              KISSIMMEE FL 34743




CLOCK, JOHN                            CLOR, JOHN M                                  CLOTILDE POISSON
4 WEST MORRIS RD                       21339 BROADSTONE                              24 HIGH MEADOW LANE
BANTAM CT 06750-1512                   HARPER WOODS MI 48225                         MIDDLEFIELD CT 06455




                                              Page 432 of 2387
                         Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 433 of 800
CLOUGH, KIMBERLY                      CLOUGH, SHERMAN                               CLOUSE, ARNETTE P
842 MOONLIT LN                        6009 S FULTON ST                              737 N 19TH ST
STE 2208                              ENGLEWOOD CO 80111                            ALLENTOWN PA 18104
CASSELBERRY FL 32707



CLOUTIER TALENT AGENCY                CLOVIS NEWS JOURNAL                           CLOVIS NEWS JOURNAL
1026 MONTANA AVENUE                   521 PILE ST                                   PO BOX 1689
SANTA MONICA CA 90403                 CLOVIS NM 88101                               CLOVIS NM 88102-1689




CLRUDY BROWN                          CLUB COLORS INC                               CLUB COLORS INC
7889 NW 111TH WAY                     1024 SOLUTIONS CENTER                         420 EAST STATE PARKWAY
PARKLAND FL 33076                     CHICAGO IL 60677-1000                         SCHAUMBURG IL 60173




CLUBBIN' PRODUCTIONS                  CLUTTERS, ROBIN                               CLYDA A BERNASCONI
3176 CAVENDISH DRIVE                  415 S ELMHURST RD                             10159 E BOGUE STREET
LOS ANGELES CA 90064                  MT PROSPECT IL 60056                          TEMPLE CITY CA 91780




CLYDE BARROW                          CLYDE CLEMENS                                 CLYDE JACKSON-BEY
2141 NE 42ND STREET                   6300 BROOK AVE                                6115 BIRCHWOOD AVENUE
APT 106                               BALTIMORE MD 21206                            BALTIMORE MD 21214
LIGHTHOUSE POINT FL 33064



CLYDE PRINTING CO                     CLYDE WHITEMAN                                CLYDE WHYTE
3520 S MORGAN ST                      13322 DEWALD CIRCLE                           7945 DILIDO BLVD.
CHICAGO IL 60609-1543                 APT. #B                                       MIRAMAR FL 33023
                                      NEWPORT NEWS VA 23602



CLYDE, ANDREW                         CM TORIAN JR                                  CMA CABLEVISION
3111 NEW LONDON AVE                   7190 S.E. 171ST BROOKHAVEN PLACE              13355 NOEL RD
MEDFORD NY 11763                      THE VILLAGES FL 32162                         21ST FLR TOWER 1
                                                                                    DALLAS TX 75240



CMC DESIGN LLC                        CMEDIA SERVICES LLC                           CMEDIA SERVICES LLC
175 GOVERNORS AVE                     207 NW PARK AVE                               1230 AMERICAN BLVD
MEDFORD MA 02155                      PORTLAND OR 97209                             WEST CHESTER PA 19380




CMEDIA SERVICES LLC                   CMM CONSTRUCTORS                              CMS-CAROLINA MANUFACTURERS SRV INC
224 VALLEY CREEK BLVD STE 310         2419 CHICO AVE                                10301 DAVID TAYLOR DR
EXTON PA 19341                        SOUTH EL MONTE CA 91733-1685                  ATTN LOCKBOX 751011
                                                                                    CHARLOTTE NC 28262-2334



CMS-CAROLINA MANUFACTURERS SRV INC    CMS-CAROLINA MANUFACTURERS SRV INC            CMS-CAROLINA MANUFACTURERS SRV INC
2650 PILGRIM COURT                    WACHOVIA LOCKBOX SERVICES                     WACHOVIA LOCKBOX SVC
.                                     PO BOX 751011                                 10301 DAVID TAYLOR DR
WINSTON-SALEM NC 27106                CHARLOTTE NC 28275                            ATN LOCKBOX 751011
                                                                                    CHARLOTTE NC 28262-2334




                                             Page 433 of 2387
                           Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 434 of 800
CNE SEALS                               CNN NEWSOURCE SALES                           CNN NEWSOURCE SALES
1122 ST. BRUNO                          1888 CENTURY PART EAST                        C/O JP MORGAN CHASE BANK
CAHOKIA IL 62206                        LOS ANGELES CA 90067                          PO BOX 532455
                                                                                      ATLANTA GA 30353-2455



CNN NEWSOURCE SALES                     CNN NEWSOURCE SALES                           CNN NEWSOURCE SALES
ONE CNN CENTER                          ONE CNN CENTER                                PO BOX 930195
RM NT 1102A                             BOX 105366                                    ATLANTA GA 31193-0195
ATLANTA GA 30303                        ATLANTA GA 30348-5366



CNPA SERVICES INC                       CNPA SERVICES INC                             CNX MEDIA
1225 8TH STREET                         708 10TH ST                                   402 DUBLIN DRIVE
SUITE 260                               SACRAMENTO CA 95814                           PEACHTREE GA 30269
SACRAMENTO CA 95814



CO OP TEMPORARY SERVICES                CO OP TEMPORARY SERVICES                      CO TRIEU
8447 WILSHIRE BLVD NO. 210              8447 WILSHIRE BLVD STE 210                    3362 DELTA AVENUE
BEVERLY HILLS CA 90211                  BEVERLY HILLS CA 90211                        ROSEMEAD CA 91770




CO-NEXUS COMMUNICATION SYSTEMS          COAN, ROBERT                                  COAPSTICK, LOUISE
5600 NORTHWEST CENTRAL DR               9833 WESTVIEW DRIVE, APTNO.811                22809 W ACACIA COURT
SUITE 102                               CORAL SPRINGS FL 33076                        SAUGUS CA 91350
HOUSTON TX 77092



COASTAL BUILDING SERVICES               COASTAL BUILDING SERVICES                     COASTAL SATELLITE INC
1295 N TUSTIN AVE                       16600 HARBOR BLVD STE B                       5331 DERRY AVENUE SUITE M
ANAHEIM CA 92807                        FOUNTAIN VALLEY CA 92708                      AGOURA HILLS CA 91301




COATE, STEVE                            COATES, JAMES H                               COATNEY, MARK
2037 MADISON STREET                     3731 N PAULINA ST                             160 ALLEN ST APT 18
HOLLYWOOD FL 33020                      CHICAGO IL 60613                              NEW YORK NY 10002




COATNEY, SHARON A                       COATS, BUCK                                   COBALT GROUP
PO BOX 38                               604 S BROADWAY                                2200 FIRST AVENUE SOUTH
LINWOOD KS 66052                        LAKE PARK GA 31636                            SEATTLE WA 98134




COBALT INDUSTRIAL REIT                  COBB COUNTY BUSINESS LICENSE DIVISION         COBB, BAIRD A
RE: CRYSTAL LAKE 450 CONGRESS           191 LAWRENCE ST NE                            840 S BISCAYNE RIV DR
C/O ASSET MANAGER                       MARIETTA GA 30060-1692                        MIAMI FL 33169
5605 N. MACARTHUR BLVD., SUITE 350
IRVING TX 75038


COBB, BRIAN J                           COBB, DEBORAH                                 COBB, ETHEL L
4451 NORTH DRAKE APT 2-A                7101 TERRACE DR                               112 PARK TERRACE
CHICAGO IL 60625                        DOWNERS GROVE IL 60516                        HARTFORD CT 06106




                                               Page 434 of 2387
                             Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 435 of 800
COBBS, CRAIG                              COBBS, CRAIG                                  COBEN, JON
2208 WHITEMARSH PL                        2808 WHITEMARSH PL                            4725 CASON COVE DR
MACUNGIE PA 18062                         MACUNGIE PA 18062                             ORLANDO FL 32811




COBLE, JASON S                            COBO, VICTOR                                  COBRA TOURING INC
1233 TITAN ST                             155 CANAL ST NO.15                            600C LAKE ST
PHILADELPHIA PA 19147                     SAN RAFAEL CA 94901                           RAMSEY NJ 07446




COBREN, LISA R                            COBURN, KIMBERLY B                            COBY RESNICK
8312 OAK LEAF DR UNIT 1101                11 MELLON STREET                              388 CORTELYOU AVENUE
WOODRIDGE IL 60517                        NEWPORT NEWS VA 23606                         STATEN ISLAND NY 10312




COBY, RAYMOND E                           COCA COLA BTLG CO OF MICHIGAN                 COCA COLA BTLG CO OF MICHIGAN
811 NW 108TH TERR                         135 S LASALLE DEPT 2329                       GRAND RAPIDS SALES CENTER
PEMBROKE PINES FL 33026                   CHICAGO IL 60674-2329                         2329 PAYSHERE CIRCLE
                                                                                        CHICAGO IL 60674-2329



COCA COLA BTLG CO OF MICHIGAN             COCA COLA OF THE LEHIGH VALLEY                COCCO,MARIE
PO BOX 79001 GRAND RAPIDS SALES CTR       P O BOX 71330                                 3539 SLEEPY HOLLOW RD
DETROIT MI 48279-0445                     CLEVELAND OH 44191-1330                       FALLS CHURCH VA 22041




COCHRAN, BEVERLY N                        COCHRAN, DEBBIE                               COCHRAN, DEBBIE A
34 EAST HIGH ST                           13557 OLD DOCK RD                             13557 OLD DOCK RD.
EAST HAMPTON CT 06424                     ORLANDO FL 32828                              ORLANDO FL 32828




COCHRAN, JOSH                             COCHRAN,JOAN                                  COCHRANE, JULIE
61 GREENPOINT AVE       STE 515           3506 PINE HAVEN CIRCLE                        1906 S WOOD ST
BROOKLYN NY 11222                         BOCA RATON FL 33431                           ALLENTOWN PA 18102




COCLANIS, PETER ANGELO                    COCOSOL INC                                   COCOTOS, THOMAS
715 EMORY DR                              1798 NW 15TH VISTA, NO.1                      1228 WEST AVE NO.702
CHAPEL HILL NC 27517                      BOCA RATON FL 33432                           MIAMI BEACH FL 33139




COCOTOS, THOMAS                           CODINA REAL ESTATE MANAGEMENT                 CODINA REAL ESTATE MANAGEMENT
1228 WEST AVE NO.702                      RE: MIAMI 1390 BRICKELL AVE                   8323 NW 12TH STREET SUITE 108
MIAMI BEACH NY 33139                      8323 NW 12TH ST.                              MIAMI FL 33126
                                          SUITE 108
                                          MIAMI FL 33126


CODNER, LENWORTH                          CODRINGTON DEZONIE, SUSAN                     CODUTO, CHRISTOPHER
9846 MAJORCA PL                           4310 NW 113 AVE                               2533 W SOUTHERN STAR DR
BOCA RATON FL 33434                       SUNRISE FL 33323                              TUCSON AZ 85713




                                                 Page 435 of 2387
                           Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 436 of 800
CODY DERESPINA                          CODY, MICHAEL P                               COE,NICARRA
93 HAMMOND ROAD                         580 W UNIVERSITY PARKWAY                      540 NW 4TH AV APT NO.905
CENTEREACH NY 11720                     BALTIMORE MD 21210                            FORT LAUDERDALE FL 33311




COFFEE AMBASSADOR INC                   COFFEY III, C SHELBY                          COFIELL, KYLE
11760 SORRENTO VALLEY ROAD              897 CHINQUAPIN ROAD                           296 WILLIAMS ST
SUITE A                                 MC LEAN VA 22102                              GLASTONBURY CT 06033
SAN DIEGO CA 92121



COFRESI, DANIELLE E                     COFSKY, LAURA                                 COGDILL, OLINE H
2242 GARGIELD ST                        139-06 PERSHING CRESCENT APT 2C               1840 SW 73RD AVENUE
HOLLYWOOD FL 33020                      BRIARWOOD NY 11435                            PLANTATION FL 33317




COGDILL, OLINE H                        COGENT                                        COGENT COMMUNICATIONS
1840 SW 73 AVE                          105 31ST STREET, NW                           1015 31ST STREET NW
PLANTATION FL 33317                     WASHINGTON DC 20007                           WASHINGTON DC 20007




COGENT COMMUNICATIONS                   COGGINS, GREGORY D                            COGHILL JR, TAFT
PO BOX 791087                           3431 JAVA PLUM AVE                            8004 COTTESMORE CT
BALTIMORE MD 21279-1087                 MIRAMAR FL 33025                              RICHMOND VA 23228




COGLE, JOHN E                           COGNIZANT TECHNOLOGY SOLUTIONS                COGNIZANT TECHNOLOGY SOLUTIONS
136 SHER LANE                           500 GLENPOINTE CENTRE WEST                    U S CORP
DEBARY FL 32713                         TEANECK NJ 07666                              PO BOX 822347
                                                                                      PHILADELPHIA PA 19182



COGSWELL, LEIF                          COGSWELL, LEIF                                COHEN & WOLF PC
10115 BARNES AVE                        DBA PEAK WINDOW CLEANING                      STEWART EDELSTEIN, ESQ.
OWINGS MILLS MD 21117                   10115 BARNES AVE                              1115 BROAD ST
                                        OWINGS MILLS MD 21117                         PO BOX 1821
                                                                                      BRIDGEPORT CT 06601-1821


COHEN & WOLF PC                         COHEN COMMUNICATIONS INC                      COHEN DIPPELL AND EVEREST PC
STEWARD EDELSTEIN, ESQ.                 701 HEBRON AVENUE                             1300 L STREET NW
1115 BROAD STREET                       GLASTONBURY CT 06033                          SUITE 1100
PO BOX 1821                                                                           WASHINGTON DC 20005
BRIDGEPORT CT 06601-1821


COHEN KIENER, ANDREA                    COHEN, AARON                                  COHEN, ALIX
147 MILTON ST                           2165 W GIDDING ST APT 3                       2528 ROYAL PALM WAY
WEST HARTFORD CT 06119                  CHICAGO IL 60625                              WESTON FL 33327




COHEN, AMANDA                           COHEN, AVNER                                  COHEN, DAVID
1318 W MONTROSE AVE NO.3E               306 MISSISSIPPI AVE                           519 E SHERIDAN NO.308
CHICAGO IL 60613                        SILVER SPRING MD 20910                        DANIA BEACH FL 33004




                                               Page 436 of 2387
                           Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 437 of 800
COHEN, DAWN                             COHEN, GABRIEL T                              COHEN, IAN
257 CONKLIN ST                          1104 BEVERLEY ROAD                            1042 S LA CIENEGA BLVD NO.27
FARMINGDALE NY 11735                    BROOKLYN NY 11218                             LOS ANGELES CA 90035




COHEN, JESSE                            COHEN, KAREN                                  COHEN, MATAN R
392 CENTRAL PARK WEST     APT 11D       11323 NE 8 AVE                                41 CRESTWOOD DR
NEW YORK NY 10025                       BISCAYNE PARK FL 33161                        GLEN ROCK NJ 07452




COHEN, RACHEL                           COHEN, RAMOS                                  COHEN, SARA KALVIN
41-15 46TH STREET NO.3G                 2121 WINDY HILL DR                            26 SANDRA DR
SUNNYSIDE NY 11104                      MARIETTA GA 30060                             HAUPPAUGE NY 11788




COHEN, STEPHEN F                        COHEN, WILLIAM                                COHEN,BERNIE
340 RIVERSIDE DR APT 8-B                PO BOX 16492                                  15456 PEMBRIDGE DR APT 203
NEW YORK NY 10025                       ENCINO CA 91416                               DELRAY BEACH FL 33484




COHEN,RENEE C                           COHN, JACOB                                   COHN, PAULETTE
479 BRIARWOOD LN                        1006 ROSE AVE                                 6319 MURIETTA AVE
MIDDLETOWN CT 06457                     PIEDMONT CA 94611                             VALLEY GLEN CA 91401-2212




COHN, PAULETTE                          COKE, LAVERN M                                COKEN, CHARLES
6319 MURIETTA AVE                       7807 NW 69 TER                                261 10TH AVE
VAN NUYS CA 91401-2212                  TAMARAC FL 33321                              BETHLEHEM PA 18018




COKEN, JANE R                           COKINOS, CHRISTOPHER                          COKLEY, CHIMERE
702 RACE ST                             4950 HOLLOW ROAD                              7501 EMBASSY BLVD
CATASAUQUA PA 18032                     NIBLEY UT 84321                               MIRAMAR FL 33023




COKLEY, THOMAS THADDEUS                 COLAGENE ILLUSTRATION CLINIC                  COLAGRANDE JR, JOHN
2814 NW 4 STREET                        1097 RUE SAINT ALEXANDRE STE 413              7561 NW 1ST ST APT 301
POMPANO BEACH FL 33069                  MONTREAL QC H2Z 1P8                           MARGATE FL 33063




COLAIACOVA, ROCCO                       COLAINNI, RYAN                                COLAO, RALPH
7106 SAN SEBASTIAN CIRCLE               1820 SOLITAIRE LANE                           1057 TRIUNFO CANYON
BOCA RATON FL 33433                     MCLEAN VA 22101                               WESTLAKE VILLAGE CA 91361




COLBASSANI, CHRISTOPHER                 COLBERT, JUDY                                 COLBERT, THERESA
70 ELLEN ST                             1615 PARKRIDGE CIRCLE                         8923 S. BENNETT
WATERBURY CT 06708                      CROFTON MD 21114                              CHICAGO IL 60617




                                               Page 437 of 2387
                         Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 438 of 800
COLBURN, DAVID                          COLBY, JAMES JR                             COLDWELL BANKER
3211 NW 18TH PLACE                      158 MAIN ST NO.2                            11611 SAN VICENTE BLVD 9TH FLR
GAINESVILLE FL 32605                    PORTLAND CT 06480                           LOS ANGELES CA 90049




COLDWELL BANKER                         COLDWELL BANKER                             COLDWELL BANKER
27271 LAS RAMBLAS                       5951 CATTLERIDGE BLVD STE 202               ATTN RENTAL DEPT
MISSION VIEJO CA 92691                  SARASOTA FL 34232                           2014 SE PORT ST LUCIE BLVD
                                                                                    PORT ST LUCIE FL 34952



COLDWELL BANKER                         COLDWELL BANKER                             COLDWELL BANKER
BOCA SANCTUARY OFFICE                   133 EAST OGDEN                              190 N YORK ROAD
4400 N FEDERAL HWY  STE 100             HINSDALE IL 60521                           ELMHURST IL 60126
BOCA RATON FL 33431



COLDWELL BANKER                         COLDWELL BANKER                             COLDWELL BANKER
5207 MAIN STREET                        608 S WASHINGTON STREET                     7615 W 159TH ST
DOWNERS GROVE IL 60515                  NAPERVILLE IL 60540                         TINLEY PARK IL 60477




COLDWELL BANKER                         COLDWELL BANKER                             COLDWELL BANKER
8 E HINSDALE AVENUE                     967 W 75TH STREET                           994 W ARMY TRAIL RD
HINSDALE IL 60521                       NAPERVILLE IL 60565                         CAROL STREAM IL 60188




COLDWELL BANKER                         COLDWELL BANKER                             COLDWELL BANKER RESIDENTIAL BROKERAGE
COLDWELL BANKER RESIDENTIAL REAL ES     RESIDENTIAL REAL ESTATE                     600 N PINE ISLAND RD STE 150
2700 S RIVER RD STE 400                 2700 S RIVER RD STE 400                     LAKESIDE OFFICE CENTER
CHICAGO IL 60018                        DES PLAINES IL 60018                        PLANTATION FL 33324



COLDWELL BANKER RESIDENTIAL BROKERAGE   COLDWELL BANKER RESIDENTIAL BROKERAGE       COLDWELL BANKER RESIDENTIAL BROKERAGE
ATTN: JENIFFER WRIGHT                   CARES FOUNDATION                            CARES FOUNDATION
6021 UNIVERSITY BLVD STE 500            100 W PADONIA RD  STE A-100                 ATTN P DENNIS CONNELLY
COLUMBIA MD 21043                       TIMONIUM MD 21093                           22 W PADONIA RD     STE A-100
                                                                                    TIMONIUM MD 21093


COLDWELL BANKER RESIDENTIAL BROKERAGE   COLE INFORMATION SERVICES                   COLE INFORMATION SERVICES
1 CAMPUS DRIVE                          C/O MB FINANCIAL BANK                       PO BOX 73780
PARSIPPANY NJ 07054                     DEPT 4800                                   DOB METROMAIL
                                        PO BOX 87618                                CHICAGO IL 60673-3780
                                        CHICAGO IL 60680-0618


COLE INFORMATION SERVICES               COLE INFORMATION SERVICES                   COLE LOVE, KIMBERLY
AN EXPERIAN COMPANY                     ATTN ANTHONY SADA                           108 DEER PATH RD
901 W BOND                              701 EXPERIAN PARKWAY                        WILLIAMSBURG VA 23188
LINCOLN NE 68521                        ALLEN TX 75013



COLE NEWS SERVICE                       COLE PARMER INSTRUMENT COMPANY              COLE PARMER INSTRUMENT COMPANY
54 TOWN SQUARE DR                       13927 COLLECTION CENTER DR                  625 E. BUNKER COURT
NEWPORT NEWS VA 23607                   CHICAGO IL 60693                            ATTN: ORDER
                                                                                    #172361-01
                                                                                    VERNON HILLS IL 60061




                                             Page 438 of 2387
                        Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 439 of 800
COLE PARMER INSTRUMENT COMPANY       COLE PARMER INSTRUMENT COMPANY                COLE PARMER INSTRUMENT COMPANY
625 E. BUNKER COURT                  7425 N OAK PARK AVENUE                        ATTN: ORDER PROCESSING
6096601                              CHICAGO IL 60648                              P O BOX 48898
06096606 TPW                                                                       CHICAGO IL 66480
VERNON HILLS IL 60061


COLE WERKHEISER                      COLE, ANTONIO L                               COLE, BETTY MAE
1520 PAXFORD ROAD                    4916 JOSEPH DRIVE                             1903 PIG NECK RD
ALLENTOWN PA 18103                   COLORADO SPRINGS CO 80916                     CAMBRIDGE MD 21613




COLE, BETTY MAE                      COLE, CHRISTINE                               COLE, DAVID D
3020 OCEAN GATEWAY                   37315 BEACH DRIVE                             3118 RODMAN ST NW
CAMBRIDGE MD 21613                   DONA VISTA FL 32784                           WASHINGTON DC 20008




COLE, DAVID D                        COLE, FREDERICK                               COLE, ISTIYR A
GEORGETOWN UNIVERSITY LAW CENTER     1522 SANTA BARBARA ST                         3973 WOODLAND CIRCLE
600 NEW JERSEY AVE NW                VENTURA CA 93001                              CONYERS GA 30013
WASHINGTON DC 20001-2075



COLE, K C                            COLE, MARVIN                                  COLE, REGINALD
3107 17TH STREET                     7552 WINDEREMERE PK                           2106 EAST RIDGE CIRCLE EAST
SANTA MONICA CA 90405                RIVERDALE GA 30274                            BOYNTON BEACH FL 33435




COLE, TAMIKA L                       COLE, VALERIE                                 COLE, WENDY
2242 E. 69TH STREET                  1015 MAYFAIR AVE                              634 S ELMWOOD AVE
KANSAS CITY MO 64132                 CLARKSVILLE IN 47129                          OAK PARK IL 60304




COLEEN HOPSON                        COLEMAN M KING                                COLEMAN, AMANDA
810 MARINER STREET                   1450 SANDPEBBLE DR.                           3 ORCHARD LN
NORFOLK VA 23504                     #110                                          WEST HARTFORD CT 06117
                                     WHEELING IL 60090



COLEMAN, BERNALD                     COLEMAN, CYNTKAILLE                           COLEMAN, GARY
1447 MAIN ST                         10528 S EBERHART                              180 NW 42ND WAY
CATASAUQUA PA 18032                  CHICAGO IL 60628                              DEERFIELD BEACH FL 33442




COLEMAN, HARRY                       COLEMAN, JAMES                                COLEMAN, JAMES
12913 NW 8TH TERR                    2932 HEATHER DR                               318 EAST 53RD ST APT 4
MIAMI FL 33182                       EAST POINT GA 30344                           NEW YORK NY 10036




COLEMAN, JILL                        COLEMAN, KYLER S.                             COLEMAN, LATRICE
45 STEPHANIE LANE                    2570 SWEET SPRINGS ST                         7408 N HOYNE
BRIDGEWATER MA 02324-2324            DELTONA FL 32738                              CHICAGO IL 60645




                                            Page 439 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 440 of 800
COLEMAN, LORETTA                       COLEMAN, MAGGIE,A                             COLEMAN, MARK S
508 SUNSET DR                          1123 SE 1ST WAY                               333 WEST END AVE  NO.64
ORLANDO FL 32805                       DEERFIELD BEACH FL 33441                      NEW YORK NY 10023




COLEMAN, RACHEL                        COLEMAN, SHASTA                               COLEMAN, VINCE
2562 W 5TH ST                          4099 MARTY ST                                 12936 N 137TH ST
LOS ANGELES CA 90057                   MEMPHIS TN 38109                              SCOTTSDALE AZ 85259




COLER, JESTIN                          COLES, DELANO                                 COLES, PETER A
625 SW 1ST TERRACE                     1631 W TURNER ST FL 2                         1107 LONDON WAY
POMPANO BEACH FL 33060                 ALLENTOWN PA 18103                            LITHONIA SPRINGS GA 30122




COLETTE CHAFFEE                        COLETTE TINNELLE                              COLETTE YEICH
9042 DARBY STREET                      536 INGRAHAM AVE.                             61 PROSPECT HILL RD
NORTHRIDGE CA 91325                    APT 1                                         WINDSOR CT 06095
                                       CALUMET CITY IL 60409



COLETTO, ROBERT                        COLEY, LLOYD                                  COLEY, MARLON
8095 WINDGATE DR                       11101 ROYAL PALM BLVD                         5979 NW 24TH PL
BOCA RATON FL 33496                    APT 206                                       SUNRISE FL 33313
                                       CORAL SPRINGS FL 33065



COLIN BRADFORD                         COLIN CAMPBELL                                COLIN CAMPBELL
2625 N. SPAULDING                      15700 EAST JAMISON DRIVE                      909 N LEAVITT
CHICAGO IL 60641                       UNIT 3304                                     3R
                                       ENGLEWOOD CO 80112                            CHICAGO IL 60622



COLIN CRAWFORD                         COLIN CREIGHTON                               COLIN FLUXMAN
21050 EAGLES NEST DR                   3847 TIMBERGLEN                               68 FAIRVIEW ROAD
YORBA LINDA CA 92886                   # 5015                                        THOUSAND OAKS CA 91362
                                       DALLAS TX 75287



COLIN FOSTER                           COLIN KIRKPATRICK                             COLIN MCMAHON
3563 NW 32 STREET                      2025 AUGUSTA                                  823 W. LAWRENCE
LAUDERDALE LKS FL 33309                #202                                          3
                                       HOUSTON TX 77057                              CHICAGO IL 60640



COLIN POITRAS                          COLIN ROBINSON                                COLIN WHEELER
247 NEW STATE ROAD                     4998 NW 39TH STREET                           3155 BROADWAY
UNIT D                                 LAUDERDALE LAKES FL 33319                     APT. 7
MANCHESTER CT 06042                                                                  NEW YORK NY 10027



COLL, STEPHEN                          COLLABORACTION THEATRE CO                     COLLABORATIONIST LLC
3416 PORTER ST NW                      437 N WOLCOTT NO.102                          4137 MONTEREY ST
WASHINGTON DC 20016                    CHICAGO IL 60622                              LOS ANGELES CA 90065




                                              Page 440 of 2387
                        Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 441 of 800
COLLANTES, CARLOS A                  COLLAZO, CATHERINE                            COLLECTION COMPANY OF AMERICA
459 COVE RD                          6190 SEVEN SPRINGS BLVD                       8231 W 185TH ST      STE 100
STAMFORD CT 06902                    GREEN ACRES FL 33463                          TINLEY PARK IL 60477




COLLECTION COMPANY OF AMERICA        COLLECTIVE MEDIA INC                          COLLECTIVE MEDIA LLC
700 LONGWATER DRIVE                  254 W 31ST 12TH FLR                           254 W 31ST STREET 12TH FLOOR
STE 2                                NEW YORK NY 10001                             NEW YORK NY 10001
NORWELL MA 02061



COLLECTOR - CITY OF MIDDLETOWN       COLLECTOR - CITY OF MIDDLETOWN                COLLECTOR - CITY OF MIDDLETOWN
245 DEKOVEN DR                       PO BOX 80000                                  TAX COLLECTORS OFFICE
MIDDLETOWN CT 06457                  DEPT 378                                      MUNICIPAL BLDG PO BOX 1300
                                     HARTFORD CT 06151-0378                        MIDDLETOWN CT 06457-1300



COLLECTOR OF REVENUE TOWN OF         COLLECTOR OF TAXES - CITY OF MERIDEN          COLLECTOR OF TAXES WALLINGFORD
338 MAIN ST                          142 E MAIN ST                                 P O BOX 416
WINSTED CT 06098                     MERIDEN CT 06450                              WALLINGFORD CT 06492




COLLECTOR OF TAXES WALLINGFORD       COLLECTOR TOWN OF GRANBY                      COLLEEN BOWER
P O BOX 5003                         15 N GRANBY RD                                PETER D, TARPEY
WALLINGFORD CT 06492-7503            GRANBY CT 06035                               77 W WASHINGTON
                                                                                   SUITE 300
                                                                                   CHICAGO IL 60602


COLLEEN CAAMANO                      COLLEEN CAMERON-BROWN                         COLLEEN CONDON-GREEN
9626 HILLROSE STREET                 6641 DOUGLAS STREET                           9243 S. BELL
SHADOW HILLS CA 91040-1720           HOLLYWOOD FL 33024                            CHICAGO IL 60620




COLLEEN DALY                         COLLEEN DOUGHER                               COLLEEN FENIMORE
25 PRESIDENTIAL PATH                 1400 SW 31 ST                                 237 ANTLER CT.
ATLANTIC HIGHLANDS NJ 07716          FORT LAUDERDALE FL 33315                      CASSELBERRY FL 32707




COLLEEN GURA                         COLLEEN KANE                                  COLLEEN MASTONY
2866 WILSON AVE                      3616 N. PINE GROVE AVE                        7737 N. EASTLAKE TERRACE
#7                                   #419                                          APARTMENT 2R
GRANDVILLE MI 49418                  CHICAGO IL 60613                              CHICAGO IL 60626



COLLEEN MCMANUS                      COLLEEN MOIR                                  COLLEEN MOLLOY
1117 HAVENHURST DRIVE                21 A ARGYLE DRIVE W                           3322 TOWN BROOKE ROAD
APT#203                              SHIRLEY NY 11967                              MIDDLETOWN CT 06457
WEST HOLLYWOOD CA 90046



COLLEEN SCHMID                       COLLEEN SEGINA                                COLLEEN SPEARS
728 SUNCREST LOOP                    310 F QUEENSDALE DRIVE                        1525 CHAPPAREL WAY
#204                                 YORK PA 17403                                 WELLINGTON FL 33414
CASSELBERRY FL 32707




                                            Page 441 of 2387
                        Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 442 of 800
COLLEEN TAYLOR                       COLLEGE MENTORS FOR KIDS INC                  COLLEGE MENTORS FOR KIDS INC
1202 CHALEMEL DRIVE                  1060 N CAPITOL AV STE C430                    212 W 10TH ST
CHESTERTON IN 46304                  INDIANAPOLIS IN 46204                         SUITE B260
                                                                                   INDIANAPOLIS IN 46202



COLLEGE NEWS SERVICE                 COLLEGE OF DUPAGE                             COLLEGE OF DUPAGE
PO BOX 550                           425 22ND STREET                               CAREER SERVICES
WEST SPRINGFIELD MA 01090            GLEN ELLYN IL 60137                           425 22ND STREET
                                                                                   GLEN ELLYN IL 60137



COLLEGE OF DUPAGE                    COLLEGE OF DUPAGE                             COLLEGE OF LAKE COUNTY
MCANINCH ARTS CENTER                 STUDENT ACTIVITIES OFFICE                     19351 W WASHINGTON
425 FAWELL BLVD                      425 FAWELL BLVD                               GRAYSLAKE IL 60030
GLEN ELLYN IL 60137                  GLEN ELLYN IL 60137



COLLEGE OF WILLIAM & MARY            COLLEGE OF WILLIAM & MARY                     COLLEGE OF WILLIAM & MARY
C/O THE FLAT HAT                     DEPT OF INTERCOLLEGIATE ATHLETICS             PO BOX 1693
THE CAMPUS CENTER                    PO BOX 399                                    WILLIAMSBURG VA 23187
PO BOX 8795                          WILLIAMSBURG VA 23187
WILLIAMSBURG VA 23187


COLLEGE OF WILLIAM & MARY            COLLEGE OF WILLIAM & MARY                     COLLEGE OF WILLIAM & MARY
PO BOX 8795                          W&M NEWS OFFICE OF PUBLICATIONS               WILLIAM & MARY HALL
WILLIAMSBURG VA 23187-8795           PO BOX 8795                                   WILLIAMSBURG VA 23185
                                     WILLIAMSBURG VA 23187-8795



COLLEGE WORLD SERIES                 COLLEGE WORLD SERIES                          COLLER, BETH
5010 DODGE STREET                    PO BOX 4757                                   5146 CLINTON ST NO 1
OMAHA NE 68132                       OMAHA NE 68104                                LOS ANGELES CA 90004




COLLIE, C TIMOTHY                    COLLIER HARRIS                                COLLIER, DAVID
22011 MARTELLA AVE                   13522 CHADRON AVE                             6637 S. RHODES
BOCA RATON FL 33433                  APT 211                                       CHICAGO IL 60637
                                     HAWTHORNE CA 90250



COLLIER, EARL                        COLLIERS BENNETT & KAHNWEILER REAL            COLLIERS BENNETT & KAHNWEILER
5826 ELON DR                         ESTATE, RE: MORTON GROVE TRIBUNE              MANAGE., RE: DES PLAINES 2305 MOUNT PR
ORLANDO FL 32808                     ATTN: PROPERTY MANAGER                        ATTN: PROPERTY MANAGER
                                     8125 RIVER DRIVE, SUITE 101                   8125 RIVER DRIVE SUITE 101
                                     MORTON GROVE IL 60053                         MORTON GROVE IL 60053


COLLIN MILLINGTON                    COLLIN NASH                                   COLLIN, MARC
922 NW 11TH AVENUE                   260 W MARKET ST                               93 GRAND AV NO.2
APT#106                              LONG BEACH NY 11561                           VERNON CT 06066-3435
PORTLAND WA 97209



COLLINGE, ALAN                       COLLINS CAVIAR COMPANY                        COLLINS PROPERTIES LLC
2123 MT VIEW                         113 YORK ST                                   RE: ARLINGTON 2201 N. COLLINS
UNIVERSITY PLACE WA 98466            MICHIGAN CITY IN 46360                        100 JERICHO QUADRANGLE
                                                                                   SUITE 206
                                                                                   JERICHO NY 11753




                                            Page 442 of 2387
                           Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 443 of 800
COLLINS SR, DENNIS                      COLLINS ST PROPERTIES LLC                     COLLINS ST. PROPERTIES, LLC
17 LOGAN STREET                         C/O NIVIKA CAPITAL GROUP LLC                  RE: ARLINGTON 2201 N. COLLINS
NEW BRITAIN CT 06051                    100 JERICHO QUADRANGLE STE 206                100 JERICHO QUADRANGLE
                                        JERICHO NY 11753                              SUITE 206
                                                                                      JERICHO NY 11753


COLLINS, ANDREW                         COLLINS, CATHERINE                            COLLINS, CATHERINE
10025 IMPERIAL HWY     APT 503          7-4TH STREET NE                               7-4TH STREET SE
DOWNEY CA 90242                         WASHINGTON DC 20002                           WASHINGTON DC 20002




COLLINS, CHRISTOPHER                    COLLINS, COREY D                              COLLINS, DANIEL
4 SOUTH CROSS RD                        1516 N 74TH TERRACE                           9227 MARYDELL RD
GILL MA 01354                           HOLLYWOOD FL 33024                            ELLICOTT CITY MD 21042




COLLINS, EDWARD D                       COLLINS, EILEEN                               COLLINS, IDA
610 N TRUMBULL                          17 LOGAN ST                                   117 BURNT TREET CT
CHICAGO IL 60624                        NEW BRITAIN CT 06051                          OCOEE FL 34761




COLLINS, JAMES J                        COLLINS, JEMIMAH                              COLLINS, JOHN
2837 EFFINGHAM CT                       4480-H SOUTH COBB DRIVE NO.241                340 CHELSEA AVE
SCHAUMBURG IL 60193                     SMYRNA GA 30080-6984                          NORTH BABYLON NY 11703




COLLINS, KADEISHA T                     COLLINS, KEVIN C                              COLLINS, KRISTEN DIANE
3279 CORAL RIDGE DR.                    7660 BEVERLY BLVD NO. 139                     5506 COLBATH AVE
CORAL SPRINGS FL 33065                  LOS ANGELES CA 90036                          SHERMAN OAKS CA 91401




COLLINS, MARIA ALICE                    COLLINS, MARY                                 COLLINS, MICHELLE
2421 NW 16TH AVE BAY NO. 3              87 WHITMAN AVE                                36 CAMP SARGENT ROAD
POMPANO BEACH FL 33064                  WEST HARTFORD CT 06107                        MERRIMACK NH 03054




COLLINS, PATRICK T                      COLLINS, PAUL                                 COLLINS, STACEY
8241 SCENIC TURN                        415 S TOPANGA CANYON BLVD NO.171              1012 7TH ST  NO.3
BOCA RATON FL 33433                     TOPANGA CA 90290                              SANTA MONICA CA 90403




COLLINS, TINA ANN                       COLLINS, VIVIAN                               COLLINS, VIVIAN
25 ANN ST                               116 B WINDING WAY                             3119 PLAINS LN
NEW LONDON CT 06320                     LEESBURG GA 31763                             ALBANY GA 31705




COLLINS,ROBERT,A                        COLLINS,THOMAS                                COLMAR INDUSTRIAL SUPPLIES LLC
17223 VALENCIA BLVD                     601 SEAFARER CIRCLE NO.502                    1 WESTWOOD LN
LOXAHATCHEE FL 33470                    JUPITER FL 33477                              LINCOLNSHIRE IL 60069




                                               Page 443 of 2387
                        Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 444 of 800
COLMAR INDUSTRIAL SUPPLIES LLC       COLMENARES, ADOLFO AURELIO                    COLODONATO, ROBERT
310 MELVIN DR UNIT 21                240 LAKEVIEW DR NO.102                        1045 N WEST END BLVD NO.347
NORTHBROOK IL 60062                  WESTON FL 33326                               QUAKERTOWN PA 18951




COLOGNATO, JAMES A                   COLOMBRARO, ROSEMARIE                         COLOMBRARO, ROSEMARIE
314 N 3RD ST                         112 QUAKER HILL ROAD                          PO BOX 523
EMMAUS PA 18049                      WHITE CREEK NY 12057                          NORTH BENNINGTON VT 05257




COLOMER, JOSE A                      COLON BALDWIN                                 COLON, ANGEL
1629 MARGATE RD                      PO BOX 797                                    114 32ND ST
PALOS VERDES ESTATES CA 90274        WHEATLEY HEIGHTS NY 11798                     BROOKLYN NY 11232




COLON, DANIEL                        COLON, DANIEL                                 COLON, LYNDA E
821 NW 46TH AVE                      821 NW 46TH AVE                               7571 W 58TH ST
PLANTATION FL 33020                  PLANTATION FL 33317-1448                      APT 2F
                                                                                   SUMMIT IL 60501



COLON, MARILYN                       COLONDONA, LORETTA                            COLONNESE, ANNA
13 ARMAND RD                         340 BRENDAN AVENUE                            6053 OLD COURT RD APT. 304
BRISTOL CT 06010                     MASSAPEQUA NY 11758                           BOCA RATON FL 33433




COLOR GRAPHICS INC                   COLOR GRAPHICS INC                            COLOR GRAPHICS INC
130 N MYERS ST                       150 N MYERS ST                                PO BOX 51490
LOS ANGELES CA 90033                 LOS ANGELES CA 90033                          LOS ANGELES CA 90051-5790




COLOR IMAGE, INC                     COLOR PRESS INC                               COLORADO BROADCASTERS ASSOC.
461 N MILWAUKEE AVE                  45 KNOLLWOOD RD                               216 16TH ST
CHICAGO IL 60610                     ELMSFORD NY 10523                             STE 1250
                                                                                   COLUMBINE PL
                                                                                   DENVER CO 80202


COLORADO BROADCASTERS ASSOC.         COLORADO BROADCASTERS ASSOC.                  COLORADO CABLE TELEVISION ASSOCIATION
2900 WELTON ST                       PO BOX 2369                                   1410 GRANT ST STE A-101
STE 320                              BRECKENRIDGE CO 80424                         DENVER CO 80203
FIVE POINTS MEDIA CTR
DENVER CO 80205


COLORADO CHARTER LINES INC           COLORADO CHARTER LINES INC                    COLORADO DEPARTMENT OF PUBLIC HEALTH
4960 LOCUST ST                       PO BOX 172138                                 ENVIRONMENT
COMMERCE CITY CO 80022               DENVER CO 80217                               4300 CHERRY CREEK DRIVE SOUTH
                                                                                   DENVER CO 80246-1530



COLORADO DEPARTMENT OF REVENUE       COLORADO DEPT OF AGRICULTURE                  COLORADO ROCKIES BASEBALL CLUB LTD
TAXPAYER SERVICE DIVISION            700 KIPLING ST., ROOM 4000                    2001 BLAKE ST COORS FIELD
1375 SHERMAN ST                      LAKEWOOD CO 80215-5894                        DENVER CO 80205
DENVER CO 80261




                                            Page 444 of 2387
                         Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 445 of 800
COLORADO ROCKIES BASEBALL CLUB LTD    COLORADO ROCKIES BASEBALL CLUB LTD            COLORADO SPRINGS GAZETTE
PO BOX 120                            PO BOX 5786                                   PO BOX 1779
ATTN ENTERTAINMENT OPPORTUN           DENVER CO 80217-5786                          COLORADO SPRINGS CO 80903
DENVER CO 80201



COLORADO STATE                        COLORCRAFT OF VIRGINIA                        COLORWHEEL STUDIOS LLC
DEPARTMENT OF REVENUE                 22645 SALLY RIDE DR                           190 N 10TH ST NO.305
1375 SHERMAN STREET                   STERLING VA 20164                             BROOKLYN NY 11211
DENVER CO 80261-0013



COLOSIMO, ANTHONY C.                  COLOSIMO, CONCETTA                            COLOSIMO, GINA
561 FOREST HILL                       425 SOMERS RD                                 425 SOMERS ROAD
LAKE FOREST IL 60045                  ELLINGTON CT 06029                            ELLINGTON CT 06029




COLQUICOCHA, PEDRO                    COLQUICOCHA, PEDRO                            COLSON, ERIQUON K
54 HUDSON ST                          54 HUDSON ST                                  1110 NW 76 STREET
MANCHESTER CT 06042                   MANCHESTER CT 06142                           MIAMI FL 33150




COLSON, TYRONE                        COLSTON, J WILLARD                            COLTON, KEVIN S
718 SAN MARCO CIRCLE                  61 THOMAS STREET                              2043 WORDEN RD
LALKE PARK FL 33403                   PORTLAND ME 04102                             SENECA FALLS NY 13148




COLTRAIN, JOANNE RICE                 COLUMBIA BUSINESS SYSTEMS                     COLUMBIA DAILY TRIBUNE
441 NE 53 ST                          PO BOX 165                                    PO BOX 798
MIAMI FL 33137                        SIMPSONVILLE MD 21150-0165                    COLUMBIA MO 65205




COLUMBIA GAS OF PENNSYLVANIA          COLUMBIA GAS OF PENNSYLVANIA                  COLUMBIA GAS OF PENNSYLVANIA
ACCT NO. 10352075 001 000 6           PO BOX 9001846                                PO BOX 830012
P.O. BOX 742537                       LOUISVILLE KY 40290-1846                      BALTIMORE MD 21283-0012
CINCINATTI OH 45274-2537



COLUMBIA GAS OF PENNSYLVANIA          COLUMBIA GAS OF VIRGINIA                      COLUMBIA GAS OF VIRGINIA INC
PO BOX 742537                         ACCT NO. 138280720010001                      PO BOX 9001844
CINCINNATI OH 45274-2537              P.O. BOX 742529                               LOUISVILLE KY 40290-1844
                                      CINCINATTI OH 45274



COLUMBIA GAS OF VIRGINIA INC          COLUMBIA GAS OF VIRGINIA INC                  COLUMBIA GAS OF VIRGINIA INC
PO BOX 830005                         PO BOX 742529                                 PO BOX 27648
BALTIMORE MD 21283-0005               CINCINNATI OH 45274-2529                      RICHMOND VA 23261-7648




COLUMBIA JOURNALISM REVIEW            COLUMBIA JOURNALISM REVIEW                    COLUMBIA JOURNALISM REVIEW
535 W 116TH ST                        700 JOURNALISM BUILDING                       JOURNALISM BUILDING
NEW YORK NY 10027-4316                COLUMBIA UNIVERSITY                           COLUMBIA UNIVERSITY
                                      NEW YORK NY 10027                             2950 BROADWAY, 207 JOURNALISM
                                                                                    NEW YORK NY 10027




                                             Page 445 of 2387
                         Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 446 of 800
COLUMBIA JOURNALISM REVIEW            COLUMBIA MALL, INC.                           COLUMBIA MANAGEMENT INC
200 ALTON PLACE                       RE: COLUMBIA 10440 LITTLE TRI                 SDS 12-2737
PO BOX 1943                           10400 LITTLE PATUXENT PARKWAY                 PO BOX 86
MARION OH 43305                       COLUMBIA MD 21044-3559                        MINNEAPOLIS MN 55486



COLUMBIA MANAGEMENT, INC.             COLUMBIA MANAGEMENT, INC.                     COLUMBIA MANAGEMENT, INC., C/O THE
RE: COLUMBIA 10440 LITTLE TRI         RE: COLUMBIA 10440 LITTLE TRI                 COMPANY, RE: COLUMBIA 10440 LITTLE TRI
10400 LITTLE PATUXENT PARKWAY         P.O. BOX 64385                                ATTN: GENERAL COUNSEL
COLUMBIA MD 21044-3559                BALTIMORE MD 21264-2223                       10275 LITTLE PATUXENT PARKWAY
                                                                                    COLUMBIA MD 21044


COLUMBIA PICTURES                     COLUMBIA PICTURES                             COLUMBIA PICTURES
(SONY PICTURES TELEVISION)            COLUMBIA FILM & TAPE OPER.                    SONY PICTURES ENTERTAINMENT
150 ROGER AVENUE                      150 ROGER AVE.                                150 ROGER AVENUE
INWOOD NY 11096                       INWOOD NY 11096                               INWOOD NY 11096



COLUMBIA PICTURES                     COLUMBIA PICTURES                             COLUMBIA PICTURES
SONY PICTURES PLAZA (STE 6200)        10202 W WASHINGTON BOULEVARD                  PO BOX 102652
10202 W. WASHINGTON BLVD              CULVER CITY CA 90232                          ATLANTA GA 30368
CULVER CITY CA 90232



COLUMBIA PICTURES                     COLUMBIA PICTURES                             COLUMBIA PIPE & SUPPLY
21872 NETWORK PLACE                   FKA CTTD                                      1120 WEST PERSHING RD
CPTD                                  21872 NETWORK PLACE                           CHICAGO IL 60609
CHICAGO IL 60673-1218                 CHICAGO IL 60673-1218



COLUMBIA PIPE & SUPPLY                COLUMBIA PIPE & SUPPLY                        COLUMBIA STATE NEWSPAPER
1209 PAYSPHERE CIRC                   135 S LASALLE ST DEPT 1209                    PO BOX 402666
CHICAGO IL 60674                      CHICAGO IL 60674-1209                         ATLANTA GA 30384-2666




COLUMBIA STATE NEWSPAPER              COLUMBIA UNIVERSITY                           COLUMBIA UNIVERSITY
PO BOX 1333                           COMMITTEE OF CONCERNED JOURNALISTS            2880 BROADWAY
COLUMBIA SC 29202                     1850 K ST NW STE 850                          ARMSTRONG HALL 4TH FLOOR
                                      WASHINGTON DC 20006                           NEW YORK NY 10025



COLUMBIA UNIVERSITY                   COLUMBIA UNIVERSITY                           COLUMBIA UNIVERSITY
2950 BROADWAY                         2950 BROADWAY, RM 705                         2960 BROADWAY AMIL CODE 7724
MAIL CODE 3865                        GRADUATE SCHOOL OF JOURNALISM                 NEW YORK NY 10027
NEW YORK NY 10027                     MAIL CODE 3806
                                      NEW YORK NY 10027-9876


COLUMBIA UNIVERSITY                   COLUMBIA UNIVERSITY                           COLUMBIA UNIVERSITY
475 RIVERSIDE DR  STE 964             535 WEST 116TH STREET                         C/O JOHN BRACKER
NEW YORK NY 10115                     211 LOW LIBRARY                               ONE SUFFOLK SQ STE 300
                                      NEW YORK NY 10027                             COLUMBIA UNIVERSITY
                                                                                    NEW YORK NY 10027


COLUMBIA UNIVERSITY                   COLUMBIA UNIVERSITY                           COLUMBIA UNIVERSITY
CEES COLUMBIA UNIVERSITY              DEAN'S OFFICE BOX B12                         EXECUTIVE VICE PRESIDENT OF
852 SCHERMERHORN EXT MC 5554          435 WEST 116TH ST                             STUDENT SERVICES. COLUMBIA
NEW YORK NY 10027                     NEW YORK NY 10027                             UNIVERSITY. MC 9201
                                                                                    NEW YORK NY 10027




                                             Page 446 of 2387
                           Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 447 of 800
COLUMBIA UNIVERSITY                     COLUMBIA UNIVERSITY                           COLUMBIA UNIVERSITY
GRADUATE SCH OF JOURNALISM              GRADUATE SCHOOL OF JOURNAL                    GRADUATE SCHOOL OF JOURNALISM
2950 BROADWAY MC 3805                   2950 BROADWAY 3RD FL                          OFFICE OF CAREER SVCS
NEW YORK NY 10027                       WRLD RM & LECTURE HALL                        2950 BROADWAY
                                        NEW YORK NY 10027                             NEW YORK NY 10027


COLUMBIA UNIVERSITY                     COLUMBIA UNIVERSITY                           COLUMBIA UNIVERSITY
HEALTH SCIENCES LIBRARY                 PULITZER PRIZE BOARD                          PULITZER PRIZE BOARD 709 JOURNALISM
701 W 168TH STREET RM 2-201             2950 BROADWAY MAIL CODE 3865                  2950 BROADWAY
NEW YORK NY 10082                       709 JOURNALISM                                MAIL CODE 3865 COLUMBIA UNIV
                                        NEW YORK NY 10027                             NEW YORK NY 10027


COLUMBIA UNIVERSITY                     COLUMBIA UNIVERSITY                           COLUMBIA UNIVERSITY CERC
RARE BOOK AND MANUSCRIPT LIBRARY        TRUSTEES IN THE CITY OF NEW YORK              ATTN DON MELNICK, 1200 AMSTERDAM AVE
BUTLER LIBRARY, SIXTH FLOOR             1200 AMSTERDAM AVE     MC 5556                MAIL CODE 5556 SCHERMERHOM EXTENSION
535 WEST 114TH ST                       NEW YORK NY 10027                             10TH FL
NEW YORK NY 10027                                                                     NEW YORK NY 10027


COLUMBUS CITIZENS FOUNDATION            COLUMBUS DISPATCH                             COLUMBUS DISPATCH
C/O SONY ELECTRONICS INC                34 S 3RD STREET                               PO BOX 182537
680 KINDERKAMACK ROAD                   COLUMBUS OH 43215                             COLUMBUS OH 43218-2537
ORADELL NJ 07649



COLUMBUS LEDGER ENQUIRER                COLUMBUS TELEGRAM                             COLVIN, BEULAH
PO BOX 711                              1254 27TH AVE                                 PO BOX 493
COLUMBUS GA 31902-0711                  COLUMBUS NE 68601                             PATTON CA 92369




COLVIN, TYLER                           COMAG MARKETING GROUP LLC                     COMAG MARKETING GROUP LLC
167 LAKE MURRAY DR                      ATTN JOHN DIFRISCO                            155 VILLAGE BLVD 3 FLOOR
NORTH AUGUSTA SC 29841                  155 VILLAGE BLVD 3 FLOOR                      PRINCETON NJ 08540
                                        PRINCETON NJ 08540



COMBS, PAUL D                           COMBS, RAQUIL JACKSON                         COMCAST
226 S LEBANNON ST                       579 RUSHMORE DR                               PO BOX 173885
BRYAN OH 43506                          BATON ROUGE LA 70819                          DENVER CO 80217-3885




COMCAST                                 COMCAST                                       COMCAST
PO BOX 22169                            630 CHAPEL ST                                 PO BOX 31021
DENVER CO 80222-2169                    NEW HAVEN CT 06510                            HARTFORD CT 06150-1021




COMCAST                                 COMCAST                                       COMCAST
PO BOX 17099                            6565 NOVA DRIVE                               PO BOX 530098
WILMINGTON DE 19886-7099                DAVIE FL 33317                                ATLANTA GA 30353-0098




COMCAST                                 COMCAST                                       COMCAST
PO BOX 530099                           16 S FREDERICK ST                             20 W GUDE DR
ATLANTA GA 30353-0099                   BALTIMORE MD 21202                            ATTN: AD SALES
                                                                                      ROCKVILLE MD 20850




                                               Page 447 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 448 of 800
COMCAST                                COMCAST                                       COMCAST
336 POST OFFICE RD                     5026 CAMBELL BLVD NO.H                        8110 CORPORATE DR
WALDORF MD 20602                       BALTIMORE MD 21236                            WHITE MARSH MD 21236




COMCAST                                COMCAST                                       COMCAST
PO BOX 17687                           PO BOX 17691                                  PO BOX 6492
BALTIMORE MD 21297-7687                BALTIMORE MD 21297                            ROCKVILLE MD 20849




COMCAST                                COMCAST                                       COMCAST
PO BOX 196                             C/O SMALL BUSINESS DTS SERVICES               P.O. BOX 34744
NEWARK NJ 07101-0196                   PO BOX 34395                                  SEATTLE WA 98124-1744
                                       SEATTLE WA 98124-1395



COMCAST                                COMCAST                                       COMCAST CABLE COMMUNICATIONS INC
PO BOX 34198                           P.O. BOX 3001                                 1700 I ST STE 100
SEATTLE WA 98124                       SOUTHEASTERN PA 19398-3001                    SACRAMENTO CA 95814




COMCAST CABLE COMMUNICATIONS INC       COMCAST CABLE COMMUNICATIONS INC              COMCAST CABLE COMMUNICATIONS INC
1830 E WARNER AVE                      DBA COMCAST SPOTLIGHT                         PO BOX 348090
SANTA ANA CA 92705-5505                2710 GATEWAY OAKS DRIVE SOUTH                 SACRAMENTO CA 95834-8090
                                       STE 100
                                       SACRAMENTO CA 95833


COMCAST CABLE COMMUNICATIONS INC       COMCAST CABLE COMMUNICATIONS INC              COMCAST CABLE COMMUNICATIONS INC
6565 NOVA DRIVE                        8130 CR 44                                    OF WEST PALM BEACH
DAVIE FL 33317                         LEG A                                         1401 NORTHPOINT PARKWAY
                                       LEESBURG FL 34788                             ADVERTISING DEPT
                                                                                     W PALM BEACH FL 33407


COMCAST CABLE COMMUNICATIONS INC       COMCAST CABLE COMMUNICATIONS INC              COMCAST CABLE COMMUNICATIONS INC
PALM BEACH                             5515 ABERCORN ST                              PO BOX 105184
1401 NPOINT PKWY                       SAVANNAH GA 31405                             ATLANTA GA 30348-5184
ADVERTISING DEPT
W PALM BEACH FL 33407


COMCAST CABLE COMMUNICATIONS INC       COMCAST CABLE COMMUNICATIONS INC              COMCAST CABLE COMMUNICATIONS INC
PO BOX 9001033                         40 WALNUT STREET                              3500 PATTERSON
LOUISVILLE KY 40290-1033               WELLESLEY MA 02481                            SUITE A
                                                                                     GRAND RAPIDS MI 49512



COMCAST CABLE COMMUNICATIONS INC       COMCAST CABLE COMMUNICATIONS INC              COMCAST CABLE COMMUNICATIONS INC
9605 NIMBUS AVE                        1500 MARKET ST                                PO BOX 3005
BEAVERTON OR 97008                     WEST TOWER 9TH FLOOR                          SOUTHEASTERN PA 19398-3005
                                       PHILADELPHIA PA 19102



COMCAST CABLE COMMUNICATIONS INC       COMCAST CABLE COMMUNICATIONS INC              COMCAST CABLE COMMUNICATIONS INC
PO BOX 3006                            PO BOX 827554                                 660 MAIN STREET DR
SOUTHEASTERN PA 19398                  PHILADELPHIA PA 19182-7554                    NASHVILLE TN 37228




                                              Page 448 of 2387
                        Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 449 of 800
COMCAST CABLE COMMUNICATIONS INC     COMCAST CABLEVISION OF CLINTON                COMCAST CABLEVISION OF CLINTON
COMCAST SEATTLE                      222 NEW PAR DRIVE                             ATTN LORIE WALTON
1323 34TH AVE EAST                   BERLIN CT 06037                               222 NEW PARK DRIVE
FIFE WA 98424                                                                      BERLIN CT 06037



COMCAST CORPORATION                  COMCAST CORPORATION                           COMCAST CORPORATION
10 RIVER PARK PLAZA                  1500 MARKET STREET                            COMAST ABB NETWORK SOLUTIONS
ST PAUL MN 55107                     36TH FLOOR                                    PO BOX 827626
                                     PHILADELPHIA PA 19102                         PHILADELPHIA PA 19182-7626



COMCAST CORPORATION                  COMCAST SPORTSNET BAY AREA                    COMCAST SPORTSNET BAY AREA
PO BOX 3042                          77 GEARY ST   5TH FLR                         PO BOX 79535
BOTHELL WA 98011                     SAN FRANCISCO CA 94108                        CITY OF INDUSTRY CA 91716




COMCAST SPORTSNET CHICAGO LLC        COMCAST SPORTSNET CHICAGO LLC                 COMCAST SPORTSNET CHICAGO LLC
25916 NETWORK PL                     350 N ORLEANS S2-100                          75 REMITTANCE DRIVE STE 2850
CHICAGO IL 60673-1259                CHICAGO IL 60654                              CHICAGO IL 60675-2850




COMCAST SPORTSNET CHICAGO LLC        COMCAST SPOTLIGHT                             COMCAST SPOTLIGHT
ATTN JAMES CORNO                     PO BOX 33429                                  12964 COLLECTIONS CTR DR
350 N ORLEANS    STE S1-100          HARTFORD CT 06150-3429                        CHICAGO IL 60693
CHICAGO IL 60654



COMCAST SPOTLIGHT INC                COMCAST SPOTLIGHT INC                         COMCAST SPOTLIGHT INC
40 WALNUT ST                         UNIT 60                                       PO BOX 8500-52953
WELLESLEY MA 02481                   PO BOX 4800                                   PHILADELPHIA PA 19178-2953
                                     PORTLAND OR 97208-4800



COMED                                COMED                                         COMED
ATTN TRENT SHERIDAN                  BILL PAYMENT CENTER                           COSUMER MARKETING DEPT
10 S DEARBORN ST  50TH FLR           CHICAGO IL 60668-0001                         AT&T BUILDING
CHICAGO IL 60603                                                                   227 W MONROE 9TH FL
                                                                                   CHICAGO IL 60606


COMED                                COMED                                         COMED
EXELON ENERGY DELIVERY               FIRSTECH - 125 N FRANKLIN ST                  P O BOX 803457
THREE LINCOLN CENTRE                 ATTN TERESA WASHBURN                          CHICAGO IL 60680-3457
CLAIRE SADDLER/ MARKETING DEPT       DECATUR IL 62523
OAKBROOK TERRACE IL 60181-4260


COMED                                COMED                                         COMED - AN EXELON COMPANY
PO BOX 805376                        POST OFFICE BOX 784                           ACCT NO. 0179739005
CHICAGO IL 60680-5376                CHICAGO IL 60690                              P.O. BOX 803457
                                                                                   CHICAGO IL 60680-3457



COMED - AN EXELON COMPANY            COMED - AN EXELON COMPANY                     COMED - AN EXELON COMPANY
ACCT NO. 333111023                   ACCT NO. 0351080094                           ACCT NO. 0366729008
P.O. BOX 803457                      P.O. BOX 803457                               P.O. BOX 803457
CHICAGO IL 60680-3457                CHICAGO IL 60680-3457                         CHICAGO IL 60680-3457




                                            Page 449 of 2387
                      Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 450 of 800
COMED - AN EXELON COMPANY          COMED - AN EXELON COMPANY                     COMED - AN EXELON COMPANY
ACCT NO. 0457705001                ACCT NO. 0459028016                           ACCT NO. 0472071088
P.O. BOX 803457                    P.O. BOX 803457                               P.O. BOX 803457
CHICAGO IL 60680-3457              CHICAGO IL 60680-3457                         CHICAGO IL 60680-3457



COMED - AN EXELON COMPANY          COMED - AN EXELON COMPANY                     COMED - AN EXELON COMPANY
ACCT NO. 0472125009                ACCT NO. 0546821005                           ACCT NO. 0630706008
P.O. BOX 803457                    P.O. BOX 803457                               P.O. BOX 803457
CHICAGO IL 60680-3457              CHICAGO IL 60680-3457                         CHICAGO IL 60680-3457



COMED - AN EXELON COMPANY          COMED - AN EXELON COMPANY                     COMED - AN EXELON COMPANY
ACCT NO. 0714648003                ACCT NO. 0858480001                           ACCT NO. 0878414049
P.O. BOX 803457                    P.O. BOX 803457                               P.O. BOX 803457
CHICAGO IL 60680-3457              CHICAGO IL 60680-3457                         CHICAGO IL 60680-3457



COMED - AN EXELON COMPANY          COMED - AN EXELON COMPANY                     COMED - AN EXELON COMPANY
ACCT NO. 0951013022                ACCT NO. 1043714004                           ACCT NO. 1106294027
P.O. BOX 803457                    P.O. BOX 803457                               P.O. BOX 803457
CHICAGO IL 60680-3457              CHICAGO IL 60680-3457                         CHICAGO IL 60680-3457



COMED - AN EXELON COMPANY          COMED - AN EXELON COMPANY                     COMED - AN EXELON COMPANY
ACCT NO. 1528272005                ACCT NO. 1773310009                           ACCT NO. 2046425005
P.O. BOX 803457                    P.O. BOX 803457                               P.O. BOX 803457
CHICAGO IL 60680-3457              CHICAGO IL 60680-3457                         CHICAGO IL 60680-3457



COMED - AN EXELON COMPANY          COMED - AN EXELON COMPANY                     COMED - AN EXELON COMPANY
ACCT NO. 2119770000                ACCT NO. 2181020031                           ACCT NO. 2216386071
P.O. BOX 803457                    P.O. BOX 803457                               P.O. BOX 803457
CHICAGO IL 60680-3457              CHICAGO IL 60680-3457                         CHICAGO IL 60680-3457



COMED - AN EXELON COMPANY          COMED - AN EXELON COMPANY                     COMED - AN EXELON COMPANY
ACCT NO. 2292265011                ACCT NO. 2307538005                           ACCT NO. 2397621002
P.O. BOX 803457                    P.O. BOX 803457                               P.O. BOX 803457
CHICAGO IL 60680-3457              CHICAGO IL 60680-3457                         CHICAGO IL 60680-3457



COMED - AN EXELON COMPANY          COMED - AN EXELON COMPANY                     COMED - AN EXELON COMPANY
ACCT NO. 2950149007                ACCT NO. 3059669003                           ACCT NO. 3072623005
P.O. BOX 803457                    P.O. BOX 803457                               P.O. BOX 803457
CHICAGO IL 60680-3457              CHICAGO IL 60680-3457                         CHICAGO IL 60680-3457



COMED - AN EXELON COMPANY          COMED - AN EXELON COMPANY                     COMED - AN EXELON COMPANY
ACCT NO. 3721090001                ACCT NO. 3721554000                           ACCT NO. 4214082009
P.O. BOX 803457                    P.O. BOX 803457                               P.O. BOX 803457
CHICAGO IL 60680-3457              CHICAGO IL 60680-3457                         CHICAGO IL 60680-3457



COMED - AN EXELON COMPANY          COMED - AN EXELON COMPANY                     COMED - AN EXELON COMPANY
ACCT NO. 4533116017                ACCT NO. 4651062014                           ACCT NO. 4988185006
P.O. BOX 803457                    P.O. BOX 803457                               P.O. BOX 803457
CHICAGO IL 60680-3457              CHICAGO IL 60680-3457                         CHICAGO IL 60680-3457




                                          Page 450 of 2387
                         Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 451 of 800
COMED - AN EXELON COMPANY             COMED - AN EXELON COMPANY                     COMED - AN EXELON COMPANY
ACCT NO. 5358039036                   ACCT NO. 6155140002                           ACCT NO. 6651422003
P.O. BOX 803457                       P.O. BOX 803457                               P.O. BOX 803457
CHICAGO IL 60680-3457                 CHICAGO IL 60680-3457                         CHICAGO IL 60680-3457



COMED - AN EXELON COMPANY             COMED - AN EXELON COMPANY                     COMED - AN EXELON COMPANY
ACCT NO. 7327134026                   ACCT NO. 7496574001                           ACCT NO. 7948615019
P.O. BOX 803457                       P.O. BOX 803457                               P.O. BOX 803457
CHICAGO IL 60680-3457                 CHICAGO IL 60680-3457                         CHICAGO IL 60680-3457



COMED - AN EXELON COMPANY             COMED - AN EXELON COMPANY                     COMED - AN EXELON COMPANY
ACCT NO. 8643053014                   ACCT NO. 8701450006                           ACCT NO. 8865494004
P.O. BOX 803457                       P.O. BOX 803457                               P.O. BOX 803457
CHICAGO IL 60680-3457                 CHICAGO IL 60680-3457                         CHICAGO IL 60680-3457



COMED - AN EXELON COMPANY             COMED - AN EXELON COMPANY                     COMED - AN EXELON COMPANY
ACCT NO. 9839408006                   ACCT NO. 0132334000                           ACCT NO. 213591005
P.O. BOX 803457                       P.O. BOX 803457                               P.O. BOX 803457
CHICAGO IL 60680-3457                 CHICAGO IL 60680-3457                         CHICAGO IL 60680-3457



COMED - AN EXELON COMPANY             COMED - AN EXELON COMPANY                     COMED - AN EXELON COMPANY
ACCT NO. 0347294008                   ACCT NO. 8691469028                           ACCT NO. 2589126001
P.O. BOX 803457                       P.O. BOX 803457                               P.O. BOX 803457
CHICAGO IL 60680-3457                 CHICAGO IL 60680-3457                         CHICAGO IL 60680-3457



COMED - AN EXELON COMPANY             COMED - AN EXELON COMPANY                     COMENS, MICHAEL S
ACCT NO. 2019066018                   P.O. BOX 803457                               8 GARDEN AVE
P.O. BOX 803457                       CHICAGO IL 60680-3457                         PONTIAC IL 61764
CHICAGO IL 60680-3457



COMFORT, PHYLLIS K                    COMGRAPHICS INCORPORATION                     COMGRAPHICS INCORPORATION
508 LILLIAN DRIVE                     120 W ILLINOIS                                329 W 18TH STREET
FERN PARK FL 32730                    CHICAGO IL 60610                              10TH FLOOR
                                                                                    CHICAGO IL 60616



COMI, TOM                             COMISKEY, PATRICK                             COMMANDING ARTISTS ENTERTAINMENT INC
46884 DUCKSPRINGS WAY                 906 S MANSFIELD AVE NO.3                      314 S MYERS
STERLING VA 20164                     LOS ANGELES CA 90036                          BURBANK CA 91506




COMMENCE QUEST                        COMMERCE BANK CHAMPIONSHIP                    COMMERCE BANK CHAMPIONSHIP
112 LINCOLN AVE NO.415                100 CROSSWAYS PARK DRIVE WEST                 45 MELVILLE PARK RD
BRONX NY 10454                        SUITE 401                                     MELVILLE NY 11747
                                      WOODBURY NY 11714



COMMERCE PARK OF PALM BEACH CITY      COMMERCE PARK OF PALM BEACH CITY              COMMERCE PARK OF PALM BEACH CITY
3111 -B18 FORTUNE WAY                 PSB WELLINGTON COMMERCE PARK I LLC            C/O PS BUSINESS PARKS
WELLINGTON FL 33414                   PS BUSINESS PARKS                             PO BOX 535003
                                      3111 FORTUNE WAY B-12                         ATLANTA GA 30353-5003
                                      WELLINGTON FL 33414




                                             Page 451 of 2387
                        Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 452 of 800
COMMERCE PARK OF PBC                 COMMERCIAL APPEAL                             COMMERCIAL APPEAL
RE: WELLINGTON 11576 PIERSON         495 UNION AVE                                 PO BOX 1730
3111 FORTUNE WAY, B12                MEMPHIS TN 38103                              MEMPHIS TN 38101-1730
WELLINGTON FL 33414



COMMERCIAL BRICK PAVING INC          COMMERCIAL CLUB FOUNDATION                    COMMERCIAL FLOORING CONCEPTS INC
825 SEEGERS RD                       C/O CIVIC COMMITTEE                           350 ADDISON ROAD
DES PLAINES IL 60016                 21 S CLARK ST 3120                            WINDSOR CT 06095-0628
                                     CHICAGO IL 60603



COMMERCIAL FLOORING CONCEPTS INC     COMMERCIAL PAVING & COATING                   COMMERCIAL PAVING & COATING
PO BOX 628                           2809 W AVE 37                                 PO BOX 65557
WINDSOR CT 06095-0628                LOS ANGELES CA 90065                          LOS ANGELES CA 90065




COMMERCIAL RADIO MONITORING CO       COMMERCIAL ROOFING CONSULTANTS INC            COMMERCIAL WINDOW INSTALLERS INC
103 SOUTHWEST MARKET STREET          707 BROOKHAVEN DR                             4N240 CAVALRY DR     STE G
LEES SUMMIT MO 64063-2359            ORLANDO FL 32803                              BLOOMINGDALE IL 60108




COMMISSIONER OF MOTOR VEHICLES       COMMISSIONER OF MOTOR VEHICLES                COMMISSIONER OF MOTOR VEHICLES
6 EMPIRE STATE PLAZA                 FINANCE                                       PO BOX 2750
ALBANY NY 12228                      NYS TAX DEPT TAX COMPLIANCE DIV               ALBANY NY 12220-0750
                                     PO BOX 1912
                                     ALBANY NY 12201-1912


COMMISSIONER OF MOTOR VEHICLES       COMMISSIONER OF MOTOR VEHICLES                COMMISSIONER OF MOTOR VEHICLES
PO BOX 2775 ESP                      REG RENEWAL CENTER                            REVENUE ACCOUNTING
ALBANY NY 12220-0775                 207 GENESEE ST                                PO BOX 2409 ESP
                                     SUITE 6                                       ALBANY NY 12220-0409
                                     UTICA NY 13501-5899


COMMISSIONER OF REVENUE SERVICES     COMMISSIONER OF REVENUE SERVICES              COMMISSIONER OF REVENUE SERVICES
25 SIGOURNEY ST                      DEPARTMENT OF REVENUE SERVICES                DEPARTMENT OF REVENUE SERVICES
PO BOX 2980                          PO BOX 2974                                   PROCESSING SERVICES
HARTFORD CT 06104                    HARTFORD CT 06104-2974                        PO BOX 2990
                                                                                   HARTFORD CT 06104-2990


COMMISSIONER OF REVENUE SERVICES     COMMISSIONER OF REVENUE SERVICES              COMMISSIONER OF REVENUE SERVICES
DEPT OF REVENUE SERVICES             DEPT OF REVENUE SERVICES                      STATE OF CONNECTICUT
P O BOX 5055                         P O BOX 2931                                  25 SIGOURNEY ST PO BOX 5030
HARTFORD CT 06102-5055               HARTFORD CT 06104-2931                        HARTFORD CT 06102-5030



COMMISSIONER OF REVENUE SERVICES     COMMISSIONER OF REVENUE SERVICES              COMMISSIONER OF REVENUE SERVICES
STATE OF CONNECTICUT                 STATE OF CONNECTICUT                          STATE OF CT DEPT OF REV
25 SIGOURNEY STREET                  DEPT OF REVENUE SERVICES                      92 FARMINGTON AVE PO BOX 2980
PO BOX 2937                          25 SIGOURNEY ST, PO BOX 2979                  HARTFORD CT 06104-2980
HARTFORD CT 06104-2937               HARTFORD CT 06104-2979


COMMISSIONER OF REVENUE SERVICES     COMMISSIONER OF REVENUE SERVICES              COMMISSIONER OF TAXATION & FINANCE
STATE OF CT DEPT OF REVENUE          CONNECTICUT                                   NYS TAX DEPT TAXATION & FINANCE
REGISTRATION SECTION                 PO BOX 22075                                  1011 EAST TOUHY AVENUE RM 475
PO BOX 2937                          ALBANY NY 12201-2075                          DES PLAINES IL 60018
HARTFORD CT 06104-2965




                                            Page 452 of 2387
                       Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 453 of 800
COMMISSIONER OF TAXATION & FINANCE     COMMISSIONER OF TAXATION & FINANCE         COMMISSIONER OF TAXATION & FINANCE
GENERAL POST OFFICE                    NYS ASSESSMENT RECEIVABLES                 NYS TAX DEPT TAX COMPLIANCE DIV
PO BOX 26524                           PO BOX 4127                                PO BOX 1912
NEW YORK NY 10087-6824                 BINGHAMTON NY 13902-4127                   ALBANY NY 12201-1912



COMMISSIONER OF TAXATION & FINANCE     COMMISSIONER OF TAXATION & FINANCE         COMMISSIONER OF TAXATION & FINANCE
PO BOX 26823                           HIGHWAY USE TAX                            HWY USE TAX
NYS ASSESSMENT RECEIVABLES             RPC - HUT                                  P O BOX 1913
GENERAL POST OFFICE                    PO BOX 15166                               ALBANY NY 12202-1913
NEW YORK NY 10087-6823                 ALBANY NY 12212-5166


COMMISSIONER OF TAXATION & FINANCE     COMMISSIONER OF TAXATION & FINANCE         COMMISSIONER OF TAXATION & FINANCE
MISC TAX RETURNS PROCESSING CTR        NY STATE DEPT OF TAXATION & FINANCE        NYS TAX DEPT REGIS SECT HUT RENEWAL
WA HARRIMAN STATE CAMPUS               PO BOX 5149                                WA HARRIMAN CAMPUS
ALBANY NY 12227                        ALBANY NY 12205-5149                       ALBANY NY 12227



COMMISSIONER OF TAXATION & FINANCE     COMMISSIONER OF TAXATION AND FINANCE       COMMISSIONER OF TAXATION AND FINANCE
PO BOX 26824                           GENERAL POST OFFICE                        PO BOX 5045
GENERAL POST OFFICE                    PO BOX 26824                               ALBANY NY 12205
NEW YORK NY 10087-6824                 NEW YORK NY 10087-6824



COMMISSIONER OF TAXATION AND FINANCE   COMMISSIONER OF TAXATION AND FINANCE       COMMISSIONER OF TAXATION AND FINANCE
TAX COMPLIANCE DIV CHILD SUPPORT       TAX COMPLIANCE DIVISION                    TAX COMPLIANCE DIVISION CO ATC
ENFORCEMENT                            P O BOX 1912                               PO BOX 5149
PO BOX 5350                            ALBANY NY 12201-1912                       ALBANY NY 12205-5149
ALBANY NY 12205-0350


COMMON FREQUENCY INC                   COMMONWEALTH COMMUNICATION, LLC            COMMONWEALTH OF MASSACHUSETTS
PO BOX 4301                            PO BOX 5900                                DEPARTMENT OF REVENUE
DAVIS CA 95617                         WILKES BARRE PA 18773-5900                 PO BOX 7010
                                                                                  BOSTON MA 02204



COMMONWEALTH OF MASSACHUSETTS          COMMONWEALTH OF MASSACHUSETTS              COMMONWEALTH OF MASSACHUSETTS
ATTEN: ANNUAL REPORT AR85              OFFICE SECRETARY OF STATE                  DEPARTMENT OF REVENUE
ONE ASHBURTON PLACE, ROOM 1717         1 ASHBURTON PL                             PO BOX 7025
BOSTON MA 02108                        BOSTON MA 02108-1512                       BOSTON MA 02204



COMMONWEALTH OF MASSACHUSETTS          COMMONWEALTH OF MASSACHUSETTS              COMMONWEALTH OF MASSACHUSETTS
10 PARK PLAZA   RM 4510                DEPT OF REVENUE                            MASSACHUSETTS HIGHWAY DEPT
BOSTON MA 02116                        PO BOX 7065                                OUTDOOR ADVERTISING DIVISION
                                       BOSTON MA 02204-7065                       10 PARK PLAZA RM 7362
                                                                                  BOSTON MA 02116-3973


COMMONWEALTH OF MASSACHUSETTS          COMMONWEALTH OF MASSACHUSETTS              COMMONWEALTH OF MASSACHUSETTS
PO BOX 55140                           10 PARK PLAZA                              20 SOMERSET ST
BOSTON MA 02205-5140                   BOSTON MA 02116                            MDC OFC OF PARKING CLERK
                                                                                  BOSTON MA 02108



COMMONWEALTH OF MASSACHUSETTS          COMMONWEALTH OF MASSACHUSETTS              COMMONWEALTH OF MASSACHUSETTS
90 WASHINGTON ST                       CHILC SUPPORT ENFORCEMENT DIV              CHILD SUPPORT ENFORCEMENT DIV
DORCHESTER MA 02121                    PO BOX 55140                               PO BOX 9140
                                       BOSTON MA 02205-9140                       BOSTON MA 02205-9140




                                           Page 453 of 2387
                        Case 08-13141-BLS       Doc 17-1         Filed 12/08/08   Page 454 of 800
COMMONWEALTH OF MASSACHUSETTS             COMMONWEALTH OF MASSACHUSETTS              COMMONWEALTH OF MASSACHUSETTS
CRIMINAL HISTORY SYSTEMS BOARD            DEPARTMENT OF REVENUE                      DEPT OF REVENUE
ATTN: MICHAELA DUNNE                      P O BOX 9144                               PO BOX 7039
200 ARLINGTON ST, STE 2200                BOSTON MA 02205-9144                       BOSTON MA 02204
CHELSEA MA 02150


COMMONWEALTH OF MASSACHUSETTS             COMMONWEALTH OF MASSACHUSETTS              COMMONWEALTH OF MASSACHUSETTS
DEPT OF REVENUE                           DIV OF PROFESSIONAL LICENSURE              MASS COMMISSION FOR THE DEAF HARD
PO BOX 7043                               COMPUTER SERVICES                          HEARING
BOSTON MA 02204                           239 CAUSEWAY ST 4TH FLR                    150 MT VERNON ST STE 550
                                          BOSTON MA 02114                            DORCHESTER MA 02125


COMMONWEALTH OF MASSACHUSETTS             COMMONWEALTH OF MASSACHUSETTS              COMMONWEALTH OF MASSACHUSETTS
MASS DEPARTMENT OF REVENUE                PO BOX 199106                              PO BOX 7046
P O BOX 7042                              ROXBURY MA 02119-9106                      BOSTON MA 02204
BOSTON MA 02204



COMMONWEALTH OF MASSACHUSETTS             COMMONWEALTH OF MASSACHUSETTS              COMMONWEALTH OF MASSACHUSETTS
PO BOX 7072                               SECRETARY OF COMMONWEALTH                  STATE TREASURER
BOSTON MA 02204                           ONE ASHBURTON PL RM 1712                   ABANDONED PROPERTY DIVISION
                                          BOSTON MA 02108-1512                       1 ASHBURTON PL 12TH FLR
                                                                                     BOSTON MA 02108-1608


COMMONWEALTH OF PA                        COMMONWEALTH OF PA INSURANCE DEPT          COMMONWEALTH OF PA INSURANCE DEPT
RE: HARRISBURG 503 N OFFICE B             INDEMIFICATION FUND                        UNDERGROUND STORAGE TANK INDEM FUND
DEPT OF GENERAL SVCS 503 N OFFICE BLDG.   PO BOX 747034                              901 N 7TH STREET
HARRISBURG PA 17120                       PITTSBURGH PA 15274-7034                   HARRISBURG PA 17102



COMMONWEALTH OF PENNSYLANIA               COMMONWEALTH OF PENNSYLVANIA               COMMONWEALTH OF PENNSYLVANIA
711 GIBSON BLVD                           1326 STRAWBERRY SQUARE                     BUREAU OF COMM ELECTIONS
HARRISBURG PA 17104-3200                  INSURANCE DEPT                             LEGISLATION NOTARY DIVISION
                                          HARRISBURG PA 17120                        210 NORTH OFFICE BUILDING
                                                                                     HARRISBURG PA 17120


COMMONWEALTH OF PENNSYLVANIA              COMMONWEALTH OF PENNSYLVANIA               COMMONWEALTH OF PENNSYLVANIA
BUREAU OF LABOR & INDUSTRY                BUREAU OF MAINT/OPERATIONS                 BUREAU OF MAINTENANCE
PO BOX 68572                              555 WALNUT ST                              400 N ST 6TH FL
HARRISBURG PA 17106-8572                  7TH FLOOR                                  PO BOX 2875
                                          HARRISBURG PA 17101                        HARRISBURG PA 17120


COMMONWEALTH OF PENNSYLVANIA              COMMONWEALTH OF PENNSYLVANIA               COMMONWEALTH OF PENNSYLVANIA
BUREAU OF MOTOR VEHICLES                  BUREAU OF MOTOR VEHICLES                   CITY OF PHILADELPHIA
HARRISBURG PA 17104-2516                  STICKER PROCESSING UNIT                    REVENUE OF COLLECTION BUREAU
                                          PO BOX 68697                               5900 TORRESDALE AVE
                                          HARRISBURG PA 17106-8697                   PHILADELPHIA PA 19135


COMMONWEALTH OF PENNSYLVANIA              COMMONWEALTH OF PENNSYLVANIA               COMMONWEALTH OF PENNSYLVANIA
COMMISSIONERS OFFICE                      COMMUNITY AND ECONOMIC DEVELOPMENT         CORPORATION BUREAU
PO BOX 2649                               400 NORTH STREET 4TH FLOOR                 PO BOX 8722
HARRISBURG PA 17105                       HARRISBURG PA 17120-0225                   HARRISBURG PA 17105-8722



COMMONWEALTH OF PENNSYLVANIA              COMMONWEALTH OF PENNSYLVANIA               COMMONWEALTH OF PENNSYLVANIA
DEPARTMENT OF GENERAL SVCS                DEPARTMENT OF LABOR & INDUSTRY             DEPARTMENT OF STATE
BUREAU OF REAL ESTATE                     BUREAU OF WORKERS COMPENSATION             CORPORATION BUREAU
503 N OFFICE BLDG                         PO BOX 60187                               PO BOX 8724
HARRISBURG PA 17125                       HARRISBURG PA 17106-0187                   HARRISBURG PA 17105-8724




                                              Page 454 of 2387
                       Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 455 of 800
COMMONWEALTH OF PENNSYLVANIA        COMMONWEALTH OF PENNSYLVANIA                  COMMONWEALTH OF PENNSYLVANIA
DEPARTMENT OF TRANSPORTATION        DEPT OF LABOR & INDUSTRY                      DEPT OF LABOR AND INDUSTRY
BUREAU OF MOTOR VEHICLES            PO BOX 68571                                  PO BOX 60850 ROOM 705
HARRISBURG PA 17106-8282            HARRISBURG PA 17106-8571                      HARRISBURG PA 17106-0850



COMMONWEALTH OF PENNSYLVANIA        COMMONWEALTH OF PENNSYLVANIA                  COMMONWEALTH OF PENNSYLVANIA
JUDICIAL COMPUTER PROJECT           OFFICE OF GENERAL COUNSEL                     PA DEPT OF CONSERVATION OF NATURAL
AOPC PUBLIC ACCESS UNIT             OFC OF THE BUDGET LEGAL OFC                   3240 SCHOOLHOUSE RD
PO BOX 229                          303 WALNUT ST BELL TOWER 7TH                  MIDDLETOWN PA 17057
MECHANICSBURG PA 17055              HARRISBURG PA 17101-1808


COMMONWEALTH OF PENNSYLVANIA        COMMONWEALTH OF PENNSYLVANIA                  COMMONWEALTH OF PENNSYLVANIA
PA DEPT OF REVENUE                  PA DEPT OF TRANSPORTATION                     DEPARTMENT OF ENVIRONMENTAL
BUREAU OF RECEIPTS AND CONTROL      BUREAU OF MOTOR VEHICLE SPECIAL TAG           909 ELMERTON AVE
DEPT 280433                         PO BOX 68293                                  HARRISBURG PA 17110
HARRISBURG PA 17128-0433            HARRISBURG PA 17106-8293


COMMONWEALTH OF VIRGINIA            COMMONWEALTH OF VIRGINIA                      COMMONWEALTH OF VIRGINIA
4451 IRONBOUND RD                   DEPARTMENT OF TAXATION                        DIVISION OF CHILD SUPPORT
WILLIAMSBURG VA 23188               CENTRAL PROCESSING                            PO BOX 10250
                                    PO BOX 1777                                   DIVISION OF FINANCE , EFT UNIT
                                    RICHMOND VA 23214-1777                        RICHMOND VA 23240-0250


COMMONWEALTH OF VIRGINIA            COMMONWEALTH OF VIRGINIA                      COMMONWEALTH OF VIRGINIA
PO BOX 10250                        PO BOX 396                                    POWERS TAYLOR BUILDING
RICHMOND VA 23240-0250              RICHMOND VA 23218                             13 SOUTH THIRTEENTH STREET
                                                                                  RICHMOND VA 23219



COMMONWEALTH OF VIRGINIA            COMMUNICATION & LIGHTING SERVICES LLC         COMMUNICATION CONSTRUCTION &
TREASURER OF VIRGINIA               167 TWINING FORD RD                           2091 E 74TH AVE UNIT 1
PO BOX 570                          RICHBORO PA 18954                             DENVER CO 80229
RICHMOND VA 23218



COMMUNICATION LEASING INC           COMMUNICATION LEASING INC                     COMMUNICATION RESEARCH CONSULTANTS
47 FAIRCHILD AV                     PO BOX 723                                    1170 ROUTE 17M   STE 3
PLAINVIEW NY 11803                  AMITYVILLE NY 11701                           CHESTER NY 10918




COMMUNICATION RESOURCES INC         COMMUNICATION WORKERS OF AMERICA/ITU          COMMUNICATIONS CENTER INC
PO BOX 1410                         4626 WISCONSIN AVENUE, NW                     1350 CONNECTICUT AVE NW
1985 HIGHWAY 34  STE A10            WASHINGTON DC 20016                           STE 1102
WALL NJ 07719                                                                     WASHINGTON DC 20036



COMMUNICATIONS CREDIT & RECOVERY    COMMUNICATIONS CREDIT & RECOVERY              COMMUNICATIONS REVOLVING FUND
100 GARDEN CITY PLZA STE 222        1025 OLD COUNTRY RD                           120 W JEFFERSON
GARDEN CITY NY 11530                SUITE 303S                                    SPRINGFIELD IL 62702-5103
                                    WESTBURY NY 11590



COMMUNICATIONS REVOLVING FUND       COMMUNICATIONS SITE MANAGEMENT                COMMUNICATIONS SITE MANAGEMENT LLC
DEPT OF CENTRAL MGMT SERVICES       C/O CHASE ENTERPRISES                         RE: FARMINGTON WTXX DT12 RATT
520 STRATTON OFFICE BUILDING        GOODWIN SQUARE                                C/O CHASE ENTERPRISES
SPRINGFIELD IL 62706                225 ASYLUM ST 29TH FL                         280 TRUMBULL STREET
                                    HARTFORD CT 06103-1538                        HARTFORD CT 06103




                                           Page 455 of 2387
                         Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 456 of 800
COMMUNICATIONS SUPPLY CORPORATION     COMMUNICATIONS SUPPLY CORPORATION             COMMUNICATIONS SUPPLY CORPORATION
6400 ARTESIA BLVD                     PO BOX 22023                                  135 S LASALLE    DEPT 3050
BUENA PARK CA 90620-1006              PASADENA CA 91185                             CHICAGO IL 60674




COMMUNICATIONS SUPPLY CORPORATION     COMMUNITIES IN SCHOOLS                        COMMUNITIES IN SCHOOLS
200 E LIES RD                         PO BOX 702                                    PO BOX 722
CAROL STREAM IL 60188                 ALLENTOWN PA 18105                            ALLENTOWN PA 18105




COMMUNITY ACTION COMMITTEE OF THE     COMMUNITY ACTION COMMITTEE OF THE             COMMUNITY CARDS LLC
1337 E 5TH ST                         ATTN SECOND HARVEST FOOD BANK                 400 NORTHAMPTON ST  STE 500
BETHLEHEM PA 18015                    2045 HARVEST WAY                              EASTON PA 18042
                                      ALLENTOWN PA 18102



COMMUNITY DIRECTORY CO                COMMUNITY FOUNDATION OF BOONE COUNTY          COMMUNITY FUNDS INC
2424 HONOLULU AVE                     PO BOX 92                                     909 THIRD AVE 22ND FL
MONTROSE CA 91020                     ZIONSVILLE IN 46077                           NEW YORK NY 10022




COMMUNITY HARVEST FOUNDATION          COMMUNITY NEWSPAPER HOLDINGS INC              COMMUNITY PAPERS OF FLORIDA
3202 WEST ADAMS BLVD                  ATTN TAX DEPT                                 13405 SE HWY 484
LOS ANGELES CA 90018                  3500 COLONNADE PKWY      STE 600              BELLEVIEW FL 34420
                                      BIRMINGHAM AL 35243-8301



COMMUNITY PAPERS OF FLORIDA           COMMUNITY PLUMBING                            COMMUNITY RACK NETWORK
PO BOX 1149                           3855 REQUA AVE                                1420 63RD STREET
SUMMERFIELD FL 34492-1149             CLAREMONT CA 91711                            KENOSHA WI 53143-4451




COMMUNITY REALTY                      COMMUNITY RESIDENCES INC                      COMMUNITY WASTE DISPOSAL LP
9922 PALMA VISTA WAY                  ATTN PAUL ROSIN EXECUTIVE DIRECTOR            2010 CALIFORNIA CROSSING
BOCA RATON FL 33428                   732 WEST STREET                               DALLAS TX 75220-2310
                                      SOUTHINGTON CT 06489



COMPACT INFORMATION SYSTEMS           COMPASS RESORT PROPERTIES                     COMPASS RESORT PROPERTIES LLC
7120 185TH AVENUE NE                  RE: OCEAN CITY 7200 COASTAL H                 7200 COASTAL HIGHWAY
REDMOND WA 98052                      7200 COASTAL HIGHWAY                          OCEAN CITY MD 21842
                                      OCEAN CITY MD 21842



COMPASS RESORT PROPERTIES, LLC        COMPERE, LAUMANE                              COMPETITIVE DISTRIBURTORS INC
RE: OCEAN CITY 7200 COASTAL H         121 SW 4TH AVE                                3338 COMMERCIAL AVE
7200 COASTAL HIGHWAY                  BOYNTON BEACH FL 33435                        NORTHBROOK IL 60062
OCEAN CITY MD 21842



COMPETITIVE DISTRIBURTORS INC         COMPETITRACK INC                              COMPILED SOLUTIONS
3340 DUNDEE ROAD                      PO BOX 826209                                 101 MORGAN LANE SUITE 120
UNIT 2C-3                             PHILADELPHIA PA 19182-6209                    PLAINSBORO NJ 08536
NORTHBROOK IL 60062




                                             Page 456 of 2387
                        Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 457 of 800
COMPLETE ACCESS CONTROL              COMPORT, CAROLINE J                           COMPTON & MARTINI
OF CENTRAL FLORIDA INC               4400 1ST STREET SOUTH                         711 N SECOND ST
PO BOX 678632                        ARLINGTON VA 22204                            HARRISBURG PA 17102
ORLANDO FL 32867



COMPTON, LANDY W                     COMPTON, SEAN D                               COMPTROLLER OF MARYLAND
11345 MAGIC LANE                     2415 W. WINONA                                REVENUE ADMINISTRATION DIV
FORNEY TX 75126                      CHICAGO IL 60625                              ANNAPOLIS MD 21411




COMPTROLLER OF MARYLAND              COMPTROLLER OF MARYLAND                       COMPTROLLER OF MARYLAND
301 WEST PRESTON STREET              REVENUE ADMINISTRATION DIVISION               REVENUE ADMINISTRATION DIVISION
BALTIMORE MD 21201-2383              ANNAPOLIS MD 21411-0001                       PO BOX 17132
                                                                                   BALTIMORE MD 21297-0175



COMPTROLLER OF MARYLAND              COMPTROLLER OF MARYLAND                       COMPTROLLER OF MARYLAND
REVENUE ADMINISTRATION DIVISION      STATE OF MARYLAND                             PO BOX 22100
PO BOX 17405                         REVENUE ADMINISTRATION DIV                    ALBANY NY 12201-2100
BALTIMORE MD 21297-1405              P O BOX 17132
                                     BALTIMORE MD 21297-0175


COMPTROLLER OF PUBLIC ACCOUNTS       COMPUNETICS SYSTEMS INC                       COMPUSHARE INC
111 EAST 17TH STREET                 3064 GRANGE HALL RD                           THREE HUTTON CENTRE DR   STE 700
AUSTIN TX 78774-0100                 HOLLY MI 48442                                SANTA ANA CA 92707




COMPUTECH DATA ENTRY INC             COMPUTECH DATA ENTRY INC                      COMPUTER ASSOCIATES INTERNATIONAL
4256 BELL TOWER CT                   PO BOX 720725                                 300 CORPORATE POINTE
ORLANDO FL 32812                     ORLANDO FL 32872-0725                         2ND FLOOR
                                                                                   CULVER CITY CA 90230



COMPUTER ASSOCIATES INTERNATIONAL    COMPUTER ASSOCIATES INTERNATIONAL             COMPUTER ASSOCIATES INTERNATIONAL
PO BOX 933316                        1 COMPUTER ASSOCIATES                         ONE COMPUTER ASSOCIATES PLAZA
ATLANTA GA 31193-3316                PLAZA                                         ISLANDIA NY 11788-7002
                                     ISLANDIA NY 11749



COMPUTER ASSOCIATES INTERNATIONAL    COMPUTER ASSOCIATES INTERNATIONAL             COMPUTER ASSOCIATES INTERNATIONAL
ACCOUNTS RECEIVABLE                  P O BOX 360740                                PO BOX 360355
PO BOX 360355                        DEPT 0740                                     ACCTS RECEIVABLE
PITTSBURGH PA 15251-6355             PITTSBURGH PA 15251-6740                      PITTSBURGH PA 15251-6355



COMPUTER ASSOCIATES INTERNATIONAL    COMPUTER ASSOCIATES INTERNATIONAL             COMPUTER ASSOCIATES INTERNATIONAL
PO BOX 8500                          ACCT RECEIVABLE DEPT 0730                     DEPT. 0730
PHILADELPHIA PA 19178-3591           PO BOX 120730                                 PO BOX 120001
                                     DALLAS TX 75312-0730                          DALLAS TX 75312-0730



COMPUTER CONVERSIONS CORP            COMPUTER DISCOUNT WAREHOUSE                   COMPUTER DISCOUNT WAREHOUSE
6 DUNTON COURT                       1020 E LAKE COOK RD                           200 N MILWAUKEE AVE
EAST NORTHPORT NY 11731              ACCT0615471                                   ATTN: DUSTIN OR ANDREA
                                     BUFFALO GROVE IL 60089                        VERNON HILLS IL 60061




                                            Page 457 of 2387
                            Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 458 of 800
COMPUTER DISCOUNT WAREHOUSE              COMPUTER DISCOUNT WAREHOUSE                   COMPUTER POWER SOLUTIONS INC
315 W. GRAND AVENUE                      PO BOX 75723                                  4644 KATELLA AVE
CHICAGO IL 60610                         CHICAGO IL 60675-5723                         LOS ALAMITOS CA 90720




COMPUTER PROFESSIONALS UNLIMITED INC     COMPUTER PROFESSIONALS UNLIMITED INC          COMPUTER SCIENCES CORP INFO SYS LLC
DBA RYDEK COMPUTER PROFESSIONALS         RYDEK PROFESSIONAL STAFFING                   INFORMATION SYSTEMS
100 CORPORATE POINET STE 280             898 NORTH SEPULVEDA BLVD STE 465              PO BOX 8500--S-2476 (CSC - NTIS)
CULVER CITY CA 90230                     EL SEGUNDO CA 90245                           FC 1-2-3-4 LOCKBOX 2476
                                                                                       PHILADELPHIA PA 19178-2476


COMPUTER SCIENCES CORP INFO SYS LLC      COMPUTER SCIENCES CORP INFO SYS LLC           COMPUTERSHARE INC
PO BOX 8500-S-4610                       15000 CONFERENCE CENTER DR                    4229 COLLECTION CTR DR
LOCKBOX 4610                             CHANTILLY VA 20151                            CHICAGO IL 60693
PHILADELPHIA PA 19178-4610



COMPUTERSHARE INC                        COMPUWARE CORPORATION                         COMPY DISTRIBUTING INC
ATTN ANGIE ROBSON                        31440 NORTHWESTERN HIGHWAY                    2166 W GENERAL AVE
ONE NORTH STATE ST 11TH FLR              FARMINGTON HILLS MI 48334-2564                RANCHO PALOS VERDES CA 90275
CHICAGO IL 60602



COMSCORE NETWORKS                        COMSCORE NETWORKS                             COMSEARCH
14140 COLLECTIONS CENTER DRIVE           11465 SUNSET HILLS RD                         PO BOX 96879
CHICAGO IL 60693                         RESTON VA 20190                               CHICAGO IL 60693




COMSEARCH                                COMSEARCH                                     COMSTOCK MARKETING
PO BOX 711435                            2002 EDMUND HALLEY DRIVE                      1 ALCAP RIDGE
CINCINNNATI OH 45271-1435                RESTON VA 22091                               CROMWELL CT 06416




COMSTOCK PARK PUBLIC SCHOOLS             COMSYS INFORMATION                            COMSYS INFORMATION
101 SCHOOL ST NE                         PO BOX 60260                                  TECHNOLOGY SERVICES, INC
COMSTOCK MI 49321                        CHARLOTTE NC 28260                            4400 POST OAK PKY
                                                                                       HOUSTON TX 77027



CONASON, JOSEPH J                        CONCEISON, JOHN                               CONCENTRA MEDICAL CENTERS INC
50 EAST 10TH ST APT 6B                   20 WOODSIDE CIRCLE                            PO BOX 130
NEW YORK NY 10003                        STURBRIDGE MA 01566                           WINDSOR CT 06095-0130




CONCENTRA MEDICAL CENTERS INC            CONCENTRA MEDICAL CENTERS INC                 CONCENTRA MEDICAL CENTERS INC
1555 MITTEL BLVD NO. Y                   PO BOX 488                                    PO BOX 18277
WOODDALE IL 60191                        LOMBARD IL 60148                              BALTIMORE MD 21227




CONCENTRA MEDICAL CENTERS INC            CONCENTRA MEDICAL CENTERS INC                 CONCENTRA MEDICAL CENTERS INC
PO BOX 8960                              PO BOX 360883                                 1500 PONTIAC AVE  STE 2
ELKRIDGE MD 21075-8960                   PITTSBURGH PA 15251-6883                      CRANSTON RI 02920




                                                Page 458 of 2387
                           Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 459 of 800
CONCENTRA MEDICAL CENTERS INC           CONCENTRA MEDICAL CENTERS INC                 CONCETTA IMPERATO
PO BOX 9005                             PO BOX 1297                                   P O BOX 219
ADDISON TX 75001                        BROOKFIELD WI 53008-1297                      EAST ISLIP NY 11730




CONCETTA M BRIN                         CONCISE ADVERTISING LLC                       CONCORD COMPLETE MAINTENANCE SERVICE
1100 SE 5TH COURT #96                   14205 SE 36TH ST STE 100                      53 EVELYN STREET
POMPANO BEACH FL 33060                  BELLEVUE WA 98006                             STAMFORD CT 06615




CONDEZO, FLOR F                         CONDRAN, ED                                   CONDRON, TAMMY
1844 SW 21ST TERR                       210 SUMMIT AVE                                5073 HICKORY FORK RD
MIAMI FL 33145                          JENKINTOWN PA 19046                           GLOUCESTER VA 23061




CONDYLIS, BRAD                          CONE, MARLA S                                 CONE, RONALD R
4250 N MARINE DR APT 915                5271 E BROADWAY                               8504 LARAMIE
CHICAGO IL 60613                        LONG BEACH CA 90803                           SKOKIE IL 60077




CONEDISON                               CONFIDENT COOKING INC                         CONFIDENT, ERICK
COOPER STATION, PO BOX 138              3152 ANDREWS DR. NW                           3520 NW 50TH AVE   APT 303
NEW YORK NY 10276-0138                  ATLANTA GA 30305                              FT LAUDERDALE FL 33319




CONFIDENTIAL MESSENGER SERVICE          CONFIDENTIAL MESSENGER SERVICE                CONGREGATION SONS OF ISRAEL
1200 N AVE 57                           PO BOX 411497                                 2715 TILGHMAN ST
LOS ANGELES CA 90042                    LOS ANGELES CA 90041                          ALLENTOWN PA 18104




CONGRESS REALTY                         CONGRESS REALTY                               CONGRESS REALTY INC
9805 E BELL RD   STE 120                108 WILD BASIN RD         STE 120             108 WILD BASIN RD STE 211
SCOTTSDALE AZ 85260                     AUSTIN TX 78746                               AUSTIN TX 78746




CONGRESSIONAL RECORD DELIVERY INC       CONIS, ELENA                                  CONIS, ELENA
PO BOX 21158                            2222 HYDE ST APT 8                            1360 FINLEY ST NE
WASHINGTON DC 20009                     SAN FRANCISCO CA 94109                        ATLANTA GA 30307




CONKER TREE DESIGN                      CONKLIN JR, ALAN                              CONKLIN, DOREEN
672 WINDING BROOK LN                    3014 KLEIN ST APT 150C                        708 WEATHERBY CT
CALIFON NJ 07830                        ALLENTOWN PA 18103                            BEL AIR MD 21015




CONKLIN, MICHAEL L                      CONKLING, SARA ANN                            CONLEY, DIANA
983 MORNINGSIDE DRIVE                   6900 N COCOA BLVD UNIT 6302                   4447 JEFFERSON DRIVE
LAKE FOREST IL 60045                    COCOA FL 32927                                RICHTON PARK IL 60471




                                               Page 459 of 2387
                        Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 460 of 800
CONLEY, SANDY                          CONNECT 2 HELP                              CONNECT 2 HELP
7027 FRUITWOOD CT                      PO BOX 30530                                PUBLICATION DEPARTMENT
LITHONIA GA 30058                      INDIANAPOLIS IN 46230-0530                  3901 N MERIDIAN ST    STE 300
                                                                                   INDIANAPOLIS IN 46208



CONNECT UTILITIES INC                  CONNECTICUT CCSPC                           CONNECTICUT AIDS RESIDENCE COALITION
7117 FLORIDA BLVD                      BOX 990032                                  REV JOHN MERZ
BATON ROUGE LA 70806                   HARTFORD CT 06199-0032                      20-28 SARGEANT STREET
                                                                                   HARTFORD CT 06105



CONNECTICUT APPLESEED                  CONNECTICUT ASSISTED LIVING ASSOCIATION     CONNECTICUT ASSISTED LIVING ASSOCIATION
25 DUDLEY RD                           70 HALLS ROAD                               PO BOX 1433
WILTON CT 06897                        PO BOX 483                                  NEW HAVEN CT 06506
                                       OLD LYME CT 06371



CONNECTICUT ASSOCIATION OF LATINOS     CONNECTICUT AUTISM SPECTRUM RESOURCE        CONNECTICUT AUTOMOTIVE RETAILERS
IN HIGHER EDUCATION                    LOIS ROSENWALD, EXEC DIRECTOR               36 TRUMBULL ST
C/O JUAN RIVERA, TOURNAMENT DIRECTOR   101 NO PLAINS INDUSTRIAL RD                 HARTFORD CT 06103
950 MAIN ST      STE 1104              WALLINGFORD CT 06492
HARTFORD CT 06103-1207


CONNECTICUT BROADCASTERS ASSOC         CONNECTICUT BROADCASTERS ASSOC              CONNECTICUT BROADCASTERS ASSOC
90 SOUTH PARK ST                       PO BOX 678                                  ATTN CLAIRE JAMIESON
WILLIMANTIC CT 06226                   GLASTONBURY CT 06033-0678                   184 HIGH STREET
                                                                                   BOSTON MA 02110



CONNECTICUT CABLE ADVERTISING          CONNECTICUT CABLE ADVERTISING               CONNECTICUT CHILDRENS MEDICAL CENTER
320 WEST NEWBERRY ROAD                 PO BOX 33429                                ATTN JEAN
BLOOMFIELD CT 06002                    HARTFORD CT 06150-3429                      12 CHARTER OAK PL
                                                                                   HARTFORD CT 06106



CONNECTICUT COLLEGE COMMUNITY RADIO    CONNECTICUT COUNCIL ON FREEDOM OF           CONNECTICUT COUNCIL ON FREEDOM OF
(WCNI) BRIDGET E ELLIS COMMUNITY GM    ATTN MITCHELL PEARLMAN                      ATTN: EDWARD W FREDE TREASURER
270 MOHEGAN AVENUE                     35 BUNKER HILL ROAD                         P O BOX 465
NEW LONDON CT 06320-4196               GLASTONBURY CT 06033                        DANBURY CT 06813



CONNECTICUT COUNCIL ON FREEDOM OF      CONNECTICUT DAILY NEWSPAPER                 CONNECTICUT DAILY NEWSPAPER
EDWARD W. FREDE, TREASURER             C/O JIM LEAHY                               PO BOX 465
P O BOX 587                            15 NORTH RIVER RD                           DANBURY CT 06813
DANBURY CT 06813                       TOLLAND CT 06084



CONNECTICUT DAILY NEWSPAPER            CONNECTICUT DEPT OF                         CONNECTICUT FOUNDATION FOR OPEN
PO BOX 456                             ENVIRONMENTAL PROTECTION                    35 BUNKER HILL ROAD
WEST FALMOUTH MA 02574                 79 ELM STREET                               GLASTONBURY CT 06033
                                       HARTFORD CT 06106-5127



CONNECTICUT FUND FOR THE ENVIRONMENT   CONNECTICUT FUND FOR THE ENVIRONMENT        CONNECTICUT GILBERT & SULLIVAN SOCIETY
205 WHITNEY AVE                        205 WHITNEY AVE   1ST FL                    PO BOX 2152
NEW HAVEN CT 06511                     NEW HAVEN CT 06511                          MIDDLETOWN CT 06457-2152




                                            Page 460 of 2387
                       Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 461 of 800
CONNECTICUT HISTORICAL SOCIETY      CONNECTICUT INFOCUS                           CONNECTICUT INSTITUTE FOR COMMUNITY
1 ELIZABETH STREET AT               76 EASTERN BLVD                               DEVELOPMENT-PUERTO RICAN PARADE
HARTFORD CT 06105                   GLASTONBURY CT 06033                          EDWARD CASARES, 1ST V.P.
                                                                                  PO BOX 260009
                                                                                  HARTFORD CT 06126-0009


CONNECTICUT LIGHT & POWER           CONNECTICUT LIGHT & POWER                     CONNECTICUT LIGHT & POWER
NORTHEAST UTILITIES                 NORTHEAST UTILITIES                           NORTHEAST UTILITIES
P O BOX 2919                        P O BOX 2959                                  PO BOX 2960
HARTFORD CT 06104-2919              HARTFORD CT 06104-2959                        HARTFORD CT 06104-2960



CONNECTICUT LIGHT & POWER           CONNECTICUT LIGHT & POWER                     CONNECTICUT LIGHT & POWER
PO BOX 150493                       PO BOX 270                                    PO BOX 2957
HARTFORD CT 06115-0493              HARTFORD CT 06141-0270                        HARTFORD CT 06104-2957




CONNECTICUT LIGHT AND POWER         CONNECTICUT LIGHT AND POWER                   CONNECTICUT LIGHT AND POWER
ACCT NO. 328695517                  ACCT NO. 329023717                            ACCT NO. 330871874
P.O. BOX 2957                       P.O. BOX 2957                                 P.O. BOX 2957
HARTFORD CT 06104-2959              HARTFORD CT 06104-2959                        HARTFORD CT 06104-2959



CONNECTICUT LIGHT AND POWER         CONNECTICUT LIGHT AND POWER                   CONNECTICUT LIGHT AND POWER
ACCT NO. 333166157                  ACCT NO. 442026416                            ACCT NO. 737425711
P.O. BOX 2957                       P.O. BOX 2957                                 P.O. BOX 2957
HARTFORD CT 06104-2959              HARTFORD CT 06104-2959                        HARTFORD CT 06104-2959



CONNECTICUT LIGHT AND POWER         CONNECTICUT LIGHT AND POWER                   CONNECTICUT LIGHT AND POWER
ACCT NO. 740669538                  ACCT NO. 328340518                            ACCT NO. 310364203
P.O. BOX 2957                       P.O. BOX 2957                                 P.O. BOX 2957
HARTFORD CT 06104-2959              HARTFORD CT 06104-2959                        HARTFORD CT 06104-2959



CONNECTICUT LIGHT AND POWER         CONNECTICUT LIGHT AND POWER                   CONNECTICUT LIGHT AND POWER
ACCT NO. 329340012                  ACCT NO. 328487039                            ACCT NO. 332908112
P.O. BOX 2957                       P.O. BOX 2957                                 P.O. BOX 2957
HARTFORD CT 06104-2959              HARTFORD CT 06104-2959                        HARTFORD CT 06104-2959



CONNECTICUT LIGHT AND POWER         CONNECTICUT LIGHT AND POWER                   CONNECTICUT LIGHT AND POWER
ACCT NO. , 898260741                ACCT NO. 886686024                            ACCT NO. 886713629
P.O. BOX 2957                       P.O. BOX 2957                                 P.O. BOX 2957
HARTFORD CT 06104-2959              HARTFORD CT 06104-2959                        HARTFORD CT 06104-2959



CONNECTICUT MAGAZINE                CONNECTICUT NATURAL GAS                       CONNECTICUT NATURAL GAS
PO BOX 53982                        ACCT NO. 13310-79407                          ACCT NO. 13663-40188
BOULDER CO 80322                    77 HARTLAND ST.                               77 HARTLAND ST.
                                    HARTFORD CT 06144                             HARTFORD CT 06144



CONNECTICUT NATURAL GAS             CONNECTICUT NATURAL GAS                       CONNECTICUT NATURAL GAS
ACCT NO. 13310-81541                ACCT NO. 13551-35144                          ACCT NO. 13659-01481
77 HARTLAND ST.                     77 HARTLAND ST.                               77 HARTLAND ST.
HARTFORD CT 06144                   HARTFORD CT 06144                             HARTFORD CT 06144




                                           Page 461 of 2387
                            Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 462 of 800
CONNECTICUT NATURAL GAS                  CONNECTICUT NATURAL GAS CORP                  CONNECTICUT NATURAL GAS CORP
77 HARTLAND ST.                          PO BOX 2411                                   PO BOX 1085
HARTFORD CT 06144                        HARTFORD CT 06146                             AUGUSTA ME 04332-1085




CONNECTICUT OIL RECYCLING SERVICES LLC   CONNECTICUT PARKING SVC, INC                  CONNECTICUT PARKING SVC, INC
1685 SAYBROOK RD                         709 PARK ST                                   DEPT NO.150
PO BOX 696                               HARTFORD CT 06106                             PO BOX 2080
MIDDLETOWN CT 06457                                                                    HARTFORD CT 06145-2080



CONNECTICUT POST                         CONNECTICUT POST                              CONNECTICUT POST
410 STATE STREET                         9 RIVERBEND DRIVE SOUTH BLDG 9A               DEPT 0393
BRIDGEPORT CT 06604                      STAMFORD CT 06907                             P O BOX 40000
                                                                                       HARTFORD CT 06151



CONNECTICUT POST                         CONNECTICUT POST                              CONNECTICUT POWER & LIGHT
PO BOX 4000    DEPT 0393                 P O BOX 742576                                NORTHEAST UTILITIES
HARTFORD CT 06151                        CINCINNATI OH 45274-2576                      PO BOX 2957
                                                                                       HARTFORD CT 06104-2957



CONNECTICUT PUBLIC TELEVISION            CONNECTICUT PUBLIC TELEVISION                 CONNECTICUT PUERTO RICAN FORUM
JERRY FRANKLIN PRESIDENT                 PO BOX 82                                     95 PARK STREET
1049 ASYLUM AVE                          HOPKINTON MA 01748                            HARTFORD CT 06106
HARTFORD CT 06105-2411



CONNECTICUT SPORTS WRITERS' ALLIANCE     CONNECTICUT SPORTS WRITERS' ALLIANCE          CONNECTICUT SPORTS WRITERS' ALLIANCE
C/O KEN LIPSHEZ                          P O BOX 70                                    PO BOX 3245
4 CIRCLE DRIVE                           UNIONVILLE CT 06085                           VERNON CT 06066-2145
UNIONVILLE CT 06085



CONNECTICUT STATE                        CONNECTION III ENTERTAINMENT                  CONNELL, LOREN
COMMISSIONER OF REVENUE SERVICES         8489 WEST THIRD STREET                        1615 N NORDICA AVE
PO BOX 5030                              LOS ANGELES CA 90048                          CHICAGO IL 60607
HARTFORD CT 06102-0530



CONNELL, LOREN                           CONNELLY, SHANE MICHAEL                       CONNER, CHRISTOPHER
1615 N NORDICA AVE                       2309 AMHEARST                                 6923 LAHACIENDA DR
CHICAGO IL 60707                         FLOWER MOUND TX 75028                         FLINT MI 75762




CONNER, JASON C                          CONNERS, SHEILA A                             CONNERY, SEAN
4164 INVERRARY DR. # 1002                8301 NORTH SOLON ROAD                         60477 DEVILS LADDER ROAD
LAUDERHILL FL 33319                      SOLON MILLS IL 60071                          MOUNTAIN CENTER CA 92561




CONNETEQUOT CENTRAL SCHOOL DISTRICT      CONNEY SAFETY PRODUCTS                        CONNEY SAFETY PRODUCTS
780 OCEAN AVE                            3202 LATHAM DR                                3202 LATHAM DRIVE
BOHEMIA NY 11716                         PO BOX 44575                                  LONNIE/RUTH
                                         MADISON WI 53744-4575                         PROIRITY 33999997
                                                                                       MADISON WI 53713-4614




                                                Page 462 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 463 of 800
CONNEY SAFETY PRODUCTS                 CONNIE BALLENGER                              CONNIE BAMBADJI
PO BOX 44575                           8801 GLENDOVER WAY                            12072 BLACKMER ST.
MADISON WI 53744-4575                  INGLEWOOD CA 90305                            GARDEN GROVE CA 92845




CONNIE BUSBY                           CONNIE DI VIRGILIO                            CONNIE DONOFRIO
5501 W. WASHINGTON BLVD                33 GRANT STREET                               2015 DEBRA CT.
APT. #423                              SOUTH FARMINGDALE NY 11735                    MERRICK NY 11566
CHICAGO IL 60644



CONNIE KANG                            CONNIE KNOX                                   CONNIE MCMILLAN
800 W 1ST STREET #2603                 15 OLD FORGE COURT                            2238 W. ADDISON ST
LOS ANGELES CA 90012                   SPARKS MD 21152                               2ND FLOOR
                                                                                     CHICAGO IL 60618



CONNIE RICHARD                         CONNIE SNYDER                                 CONNIE WALSH-TOLER
11132 HARCOURT AVE.                    8384 WALBERT LANE                             7 ROBERT ROGERS AVE
GARDEN GROVE CA 92841                  ALBURTIS PA 18011                             FORT EDWARD NY 12828




CONNLY, MARY                           CONNOLLY, JILL W                              CONNOLLY, JON
143 FENTON MILL ROAD                   19 NE 24TH ST                                 24 DARBY DR
WILLIAMSBURG VA 23188                  WILTON MANORS FL 33305                        WINCHESTER VA 22602




CONNOLLY, JOSEPH                       CONNOLLY, THOMAS                              CONNOR JR, THOMAS G
1452 W ADDISON                         13055 MARLETTE DRIVE                          8097 HEARTWAY
CHICAGO IL 60613                       LA MIRADA CA 90638                            JENISON MI 49428




CONNOR, DAVID                          CONNOR, JACKSON                               CONOR CASEY
2316 QUARRY ST                         1018 VALLEY RD                                1117 N. WOOD
COPLAY PA 18037                        FAIRFIELD CT 06825                            APT. #1
                                                                                     CHICAGO IL 60622



CONOR SANCHEZ                          CONRAD L REISINGER                            CONRAD OLIVAS
1566 HAZELWOOD AVENUE                  4511 SW 34TH DRIVE                            728 N AVON STREET
LOS ANGELES CA 90041                   FT LAUDERDALE FL 33312                        BURBANK CA 91505




CONRAD SUDMANN                         CONRAD, COLIN SHAWN                           CONRAD, LINDA
16 DEBBIE LANE                         17714 LITTLE HAVEN LN                         1911 BAYARD ST
PATCHOGUE NY 11772                     OLNEY MD 20832                                BETHLEHEM PA 18017




CONRAD, PAUL                           CONROY & ASSOCIATES INC                       CONROY FISHER, KARIN E
28649 CRESTRIDGE ROAD                  PO BOX 531208                                 17 BIRCH MILL TRAIL
RANCHO PALOS VERDES CA 90274           HENDERSON NV 89053-1208                       ESSEX CT 06426




                                              Page 463 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 464 of 800
CONROY, ASHLEY                          CONROY, KATHLEEN                             CONROY, NANCY ANN
3904 SAN LORENZO DR                     6818 HEATHERFORD DRIVE                       511 E SAN YSIDO BLVD
DENTON TX 76210                         CHARLOTTE NC 28226                           SAN YSIDRO CA 92173




CONROY, THOMAS M                        CONSBRUCK, DUANE                             CONSBRUCK, MARTHA R
5142 OUACHITA DR                        7453 SILVER WOODS CT.                        7453 SILVER WOODS CT.
LAKE WORTH FL 33467                     BOCA RATON FL 33433                          BOCA RATON FL 33433




CONSCIENT PARTNERS                      CONSCIENT PARTNERS                           CONSENTINO, LISA
400 SANTA MARGARITA AVE                 4032 ALEGRE WAY                              4130 GRAPE ST
MENLO PARK CA 94025                     DAVIS CA 95618                               COPLAY PA 18037




CONSERVATION INTERNATIONAL FOUNDATION   CONSIGLIO, GIACOMO UGO                       CONSOLIDATED PUBLISHING CO INC
2011 CRYSTAL DRIVE SUITE 500            804 SW 14TH TERRACE                          PO BOX 189
ARLINGTON VA 22202                      FT LAUDERDALE FL 33312                       ANNISTON AL 36202




CONSOLIDATED PUBLISHING CO INC          CONSOLIDATED PUBLISHING CO INC               CONSORCIO INTERAMERICANO
490 1ST AVE SOUTH                       PO BOX 1121                                  DE COMUNICACION
ATTN CHUCK MURPHY                       ST PETERSBURG FL 33731-1121                  AV MEXICO COYOACAN NO. 40 COL
ST PETERSBURG FL 33704                                                               SANTA CRUZ ATOYAC
                                                                                     BILTHOVEN, DF 3310


CONSTANCE BRANCAZIO                     CONSTANCE CURRY                              CONSTANCE DILLON
20 UNDERHILL AVE                        9806 DAVISON ROAD                            3324 FOSCA ST
SYOSSET NY 11791                        MIDDLE RIVER MD 21220                        CARLSBAD CA 92009




CONSTANCE ERNST                         CONSTANCE LAUERMAN                           CONSTANCE MANGO
220 18TH STREET                         336 WELLINGTON AVENUE                        29 EAST STREET
NEW ORLEANS LA 70124                    #2102                                        MIDDLE ISLAND NY 11953
                                        CHICAGO IL 60657



CONSTANCE MCMANUS                       CONSTANCE NEYER                              CONSTANCE PICKRELL
126 SPRUCE STREET                       5 CAMELOT DRIVE                              490 OAKDALE
BOYNTON BEACH FL 33426                  UNIT 3                                       GLENCOE IL 60022
                                        BLOOMFIELD CT 06002



CONSTANCE S LANZETTA                    CONSTANCE STEWART                            CONSTANCE THORPE
100 EXECUTIVE SQUARE                    1229 CEDAR STREET                            20355 NE 34 CT
APT. 919                                SANTA MONICA CA 90405                        APT #424
WETHERSFIELD CT 06109                                                                AVENTURA FL 33180



CONSTANCE WALSH                         CONSTANTINE SCOOROS                          CONSTANTINIDES,PAUL PETER
430 S. WESTERN AVE.                     190 E. MAIN                                  3220 NW 84 AVE APT 204
UNIT 202                                ROCKFORD MI 49341                            SUNRISE FL 33351
DES PLAINES IL 60016




                                              Page 464 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 465 of 800
CONSTANZO, JENNIFER                    CONSTELLATION                                 CONSTELLATION
320 MACGREGOR RD                       ACCT NO. 1199545000                           ACCT NO. 4334095004
WINTER SPRINGS FL 32708                550 WEST WASHINGTON BLVD, SUITE 300           550 WEST WASHINGTON BLVD, SUITE 300
                                       CHICAGO IL 60661                              CHICAGO IL 60661



CONSTELLATION NEW ENERGY               CONSTELLATION NEW ENERGY                      CONSTELLATION NEW ENERGY
ACCT NO. 17372-12002                   ACCT NO. 31387-91002                          ACCT NO. IL_36938
P.O. BOX 25225                         P.O. BOX 25225                                14217 COLLECTIONS CENTER DR.
LEHIGH VALLEY PA 18002-5225            LEHIGH VALLEY PA 18002-5225                   CHICAGO IL 60693



CONSTELLATION NEW ENERGY               CONSTELLATION NEW ENERGY                      CONSTELLATION NEW ENERGY
550 W WASHINGTON   STE 300             BANK OF AMERICA LOCKBOX SERVICE               PO BOX 25230
CHICAGO IL 60661                       14217 COLLECTIONS CENTER DR                   LEHIGH VALLEY PA 18002-5230
                                       CHICAGO IL 60693



CONSTELLATION NEW ENERGY               CONSTELLATION NEW ENERGY                      CONSTELLATION NEW ENERGY
PO BOX 25241                           DEPT 4073                                     P.O. BOX 25225
LEHIGH VALLEY PA 18002-5241            PO BOX 2088                                   LEHIGH VALLEY PA 18002-5225
                                       MILWAUKEE WI 53201-2088



CONSTELLATION NEW ENERGY               CONSTELLATION NEW ENERGY                      CONSTITUTION CONSULTING CORP
550 WEST WASHINGTON ST. SUITE 300      P.O. BOX 414638                               3 BURGUNDY DRIVE
CHICAGO IL 60661                       BOSTON MA 02241-4638                          HOLMDEL NJ 07733




CONSTITUTION STATE SERVICES LLC        CONSTITUTION STATE SERVICES LLC               CONSTRUCTION DESIGN ARCHITECTS
C/O BANK OF AMERICA                    PO BOX 7529                                   10500 W LUNT AVENUE
7529 COLLECTIONS CENTER DRIVE          CHICAGO IL 60693-7529                         SUITE 109
CHICAGO IL 60693                                                                     ROSEMONT IL 60018



CONSTRUCTION DESIGN ARCHITECTS         CONSUELO RIVERA                               CONSULTIS OF ORLANDO
249 E PROSPECT AVENUE                  279 28TH STREET                               4401 N FEDERAL HWY STE 100
SUITE 100                              COPIAGUE NY 11726                             BOCA RATON FL 33431
MT PROSPECT IL 60056-3236



CONSULTIS OF ORLANDO                   CONSULTIS OF ORLANDO                          CONSULTIS OF ORLANDO
605 CRESCENT EXECUTIVE CT     STE      605 CRESCENT EXECUTIVE CT STE 132             PO BOX 106034
LAKE MARY FL 32746                     LAKE NAVY FL 32746                            ATLANTA GA 30348-6034




CONSUMER MARKETING SOLUTIONS LLC       CONSUMER MARKETING SOLUTIONS LLC              CONSUMER SOURCE
1325 AVENUE OF AMERICANS 27TH FL       787 7TH AVE  9TH FLR                          8585 ENGINEERING DR STE 100
NEW YORK NY 10019                      NEW YORK NY 10019                             NORCROSS GA 30092




CONSUMER SOURCE                        CONSUMERS ENERGY                              CONSUMERS ENERGY
DISTRIBUTECH                           ACCT NO. 0601000211008                        ACCT NO. 0610000619003
PO BOX 402024                          P.O. BOX 30090                                P.O. BOX 30090
ATLANTA GA 30384-2024                  LANSING MI 48909-7590                         LANSING MI 48909-7590




                                              Page 465 of 2387
                           Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 466 of 800
CONSUMERS ENERGY                        CONSUMERS ENERGY                              CONSUMERS ENERGY
212 W MICHIGAN AVENUE                   CENTRAL MAIL REMIT                            PO BOX 30090
ATTN TREASURY DEPT                      P.O. BOX 30090                                LANSING MI 48909-7590
JACKSON MI 49201                        LANSING MI 48909-7590



CONSUMERS ENERGY                        CONSUMERS MARKOUTS INC                        CONSWELLO ROUSE
PO BOX 78548                            PO BOX 224                                    2701 CLAFLIN COURT
DETROIT MI 48278-0548                   DEER PARK FL 11729                            BALTIMORE MD 21225




CONTACT EAST INC                        CONTACT EAST INC                              CONTACT EAST INC
PO BOX 30000                            4444 W. MONTROSE                              PO BOX 94184
DEPT 5324                               CHICAGO IL 60641                              CHICAGO IL 60690
HARTFORD CT 06150-5324



CONTACT PRESS IMAGES INC                CONTARDO LACAYO                               CONTE PRODUCTIONS INC
341 W 38TH ST      7TH FLR              214 W. MAPLE ST. APT. 1                       1926 SP PCH 109-B
NEW YORK NY 10018                       GLENDALE CA 91204                             REDONDO BEACH CA 90277




CONTE PRODUCTIONS INC                   CONTE, KIM                                    CONTE, MARYANN
800 S PACIFIC COAST HWY NO.352          2240 W WILSON AVE         APT 1N              6 OAKLAND DRIVE
REDONDO BEACH CA 90277                  CHICAGO IL 60625                              NEWPORT NEWS VA 23601




CONTEMPO MARKETING CO INC               CONTENT THAT WORKS                            CONTENT THAT WORKS
2101 NW 33 ST SUITE 100A                3750 N LAKE SHORE DRIVE                       4432 N RAVENSWOOD
POMPANO BEACH FL 33069                  SUITE 8D                                      CHICAGO IL 60640
                                        CHICAGO IL 60613



CONTES, DEBBIE A                        CONTINENTAL ELECTRICAL CONSTRUCTION           CONTINENTAL GLASS CO INC
1440 HOTTIE AVE                         5900 HOWARD ST                                45 INDUSTRIAL PARK ROAD WEST
BETHLEHEM PA 18018                      SKOKIE IL 60077                               UNIT J
                                                                                      TOLLAND CT 06084



CONTINENTAL PAINTING INC                CONTINENTAL REALTY CORP                       CONTINENTAL WEB PRESS
20142 STATE ROAD                        1427 CLARKVIEW RD NO. 500                     2336 PAYSPHERE CIRCLE
CERRITOS CA 90703                       BALTIMORE MD 21209                            CHICAGO IL 60674




CONTINETTI, MATTHEW                     CONTRA COSTA NEWSPAPERS, INC.                 CONTRA COSTA NEWSPAPERS, INC.
7902 SCOTT CT                           2527 CAMINO RAMON STE 300                     ATTN:CINDY CAVINESS
SPRINGFIELD VA 22153                    SAN RAMON CA 94583                            2640 SHADELANDS DRIVE
                                                                                      WALNUT CA 94598



CONTRA COSTA NEWSPAPERS, INC.           CONTRA COSTA NEWSPAPERS, INC.                 CONTRA COSTA NEWSPAPERS, INC.
ATTN:CINDY CAVINESS                     PO BOX 4147                                   SINGLE COPY DEPARTMENT
CIRCULATION DEPT                        WALNUT CREEK CA 94596-0147                    PO BOX 5501
PO BOX 5501                                                                           WALNUT CREEK CA 94596-1501
WALNUT CREEK CA 94596-1501




                                               Page 466 of 2387
                         Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 467 of 800
CONTRACTORS STATE LICENSE BOARD       CONTRERAS GUTIERREZ, OMAR                     CONTRERAS, ANTONIO
PO BOX 26999                          3116 MARIA CIRC                               440 FRANKLIN AVE NO.2
SACRAMENTO CA 95826                   WEST PALM BEACH FL 33417                      HARTFORD CT 06114




CONTRERAS, ANTONIO                    CONTRERAS, JESS                               CONTRERAS, JIMMY
440 FRANKLIN AVE APT 2                303 S GREENGROVE DR                           7 BROWNELL AVE    APT B11
*983 NEW BRITAIN AVE/AMES PLZ         ORANGE CA 92866                               HARTFORD CT 06106
HARTFORD CT 06114-2524



CONTRERAS, MARTHA L                   CONTRERAS, MAYRA                              CONTRERAS,LOUIE
11128 CONDON AVE                      7 BROWNELL AVE APT B11                        2085 HAMILTON LN
INGLEWOOD CA 90304                    HARTFORD CT 06106                             GRANTS PASS OR 97527




CONTROL HEADQUARTERS                  CONTROLLER OF THE TREASURY                    CONTROLLER OF THE TREASURY
1491 CATON FARM                       110 CARROLL STREET                            301 W PRESTON ST    RM 315
CRESTHILL IL 60441                    ANNAPOLIS MD 21411                            BALTIMORE MD 21201




CONTROLLER OF THE TREASURY            CONTROLLER OF THE TREASURY                    CONTROLLER OF THE TREASURY
A/C DONALD C LIGGINS 000077232        A/C LUTHER A CAMPBELL 383723225               OFF CAMPUS BILLING OFFICE
COMPLIANCE DIVISION                   COMPLIANCE DIVISION CASENO.001312664          1000 HILLTOP CIRC
REVENUE ADMIN CENTER RM 100           REVENUE ADMINISTRATION CTR RM 100             BALTIMORE MD 21297
ANNAPOLIS MD 21401-9114               ANNAPOLIS MD 21401-9714


CONTROLLER OF THE TREASURY            CONTROLLER OF THE TREASURY                    CONTROLLER OF THE TREASURY
OFFICE OF THE BURSAR                  REVENUE ADMIN DIVISION                        STATE OF MARYLAND
COLLEGE PARK MD 20742                 ANNAPOLIS MD 21411-0001                       UNCLAIMED PROPERTY SECTION
                                                                                    301 W PRESTON ST
                                                                                    BALTIMORE MD 21201-2383


CONTROLLER OF THE TREASURY            CONTROLS BY SANTUCCI INC                      CONTROLS GROUP INC
STATE OF MARYLAND                     678 MITCHELL                                  5060 27TH AVENUE
REVENUE ADMINISTRATION DIVISION       ELMHURST IL 60126                             ROCKFORD IL 61109
P O BOX 17132
BALTIMORE MD 21297-0175


CONUS COMMUNICATIONS                  CONVENIENT FOOD & BEER                        CONVERGE MEDIA
3415 UNIVERSITY AVENUE                1203 N ELMHURST RD                            654 GARLAND AVE
ST. PAUL MN 55114                     PROSPECT HTS IL 60070                         WINNETKA IL 60093




CONVERGENT COMMUNICATIONS             CONWAY JR, JOHN                               CONWAY TRANSPORTATION SERVICES INC
PMB 273,                              6 PROSPECT HILL TERR                          CONWAY WESTERN EXPRESS
15 PARADISE PLAZA                     EAST WINDSOR CT 06088-9671                    P O BOX 7419
SARASOTA FL 34239                                                                   PASADENA CA 91109-7419



CONWAY TRANSPORTATION SERVICES INC    CONWAY TRANSPORTATION SERVICES INC            CONWAY TRANSPORTATION SERVICES INC
PO BOX 100114                         135 S LASALLE                                 135 S LASALLE DEPT 2493
PASADENA CA 91189-0114                DEPT 2535                                     CHICAGO IL 60674-2493
                                      CHICAGO IL 60674




                                             Page 467 of 2387
                         Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 468 of 800
CONWAY TRANSPORTATION SERVICES INC    CONWAY TRANSPORTATION SERVICES INC            CONWAY TRANSPORTATION SERVICES INC
PO BOX 5160                           C/O CONWAY SOUTHERN EXPRESS                   PO BOX 660240
PORTLAND OR 97208-5160                PO BOX 642080                                 DALLAS TX 75266-0240
                                      PITTSBURGH PA 15264



CONWAY TRANSPORTATION SERVICES INC    CONWAY, PATRICK                               CONWAY, PATRICK
PO BOX 730136                         312 HEALY AVE                                 DIST 0778
DALLAS TX 75373-0136                  ACCT NO. 778                                  312 HEALY AVE
                                      ROMEOVILLE IL 60446                           ROMEOVILLE IL 60446



CONYERS, PATRICIA C                   COOK COUNTY DEPARTMENT OF REVENUE             COOK COUNTY DEPARTMENT OF REVENUE
10065 WINDSTREAM DRIVE                C/O TREASURER                                 CLERK
APT: 1                                PO BOX 4488                                   VITAL STATISTICS
COLUMBIA MD 21044                     CAROL STREAM IL 60197-4488                    PO BOX 642570
                                                                                    CHICAGO IL 60664-2570


COOK COUNTY DEPARTMENT OF REVENUE     COOK COUNTY DEPARTMENT OF REVENUE             COOK COUNTY DEPARTMENT OF REVENUE
CLERK OF THE CIRCUIT COURT            COLLECTOR                                     DEPT OF ENVIORNMENTAL CONTROL
RICHARD J DALEY CTR ROOM 1001         118 NORTH CLARK STREET                        PO BOX 641547
50 W WASHINGTON ST                    CHICAGO IL 60602                              CHICAGO IL 60664-1547
CHICAGO IL 60602


COOK COUNTY DEPARTMENT OF REVENUE     COOK COUNTY DEPARTMENT OF REVENUE             COOK COUNTY DEPARTMENT OF REVENUE
PO BOX 4468                           PO BOX 641670                                 PO BOX 642447
CAROL STREAM IL 60197-4468            COOK COUNTY DEPT OF REVENUE                   CHICAGO IL 60664-2447
                                      CHICAGO IL 60664-1670



COOK COUNTY DEPARTMENT OF REVENUE     COOK COUNTY DEPARTMENT OF REVENUE             COOK COUNTY DEPARTMENT OF REVENUE
PO BOX 7552                           PO BOX 802448                                 PO BOX 803358
CHICAGO IL 60680-7552                 CHICAGO IL 60680-2448                         CHICAGO IL 60680-3358




COOK COUNTY DEPARTMENT OF REVENUE     COOK, ALESSA R                                COOK, BRENDA
PO BOX 840928                         932 MILFORD ST                                995 PACIFIC HILLS PT NO.J104
NO.07254000020000-187                 CARY IL 60013                                 COLORADO SPRINGS CO 80906
CHICAGO IL 60680-4110



COOK, CAREY ORR                       COOK, CAROLINE                                COOK, CHARLES CHRISTOPHER
PO BOX 7727                           401 ABBEY CIRCLE                              401 ARCHDOLE DR UNIT 1001
CAREY ORR COOK                        ABINGDON MD 21009                             DURHAM NC 27707
MENLO PARK CA 94026



COOK, CHERYL                          COOK, CHERYL                                  COOK, CHRISTIAN DAMON
111 E CHESTNUT 21G                    52 RIDGE RD                                   12344 BURBANK BLVD    NO.11
CHICAGO IL 60611                      BARRINGTON HILLS IL 60010                     VALLEY VILLAGE CA 91607




COOK, CHRISTOPHER D                   COOK, HELEN                                   COOK, MARIE
THE WRITERS GROTTO                    7730 S RIDGELAND                              8 GEENBRIER DR
490 SECOND STREET SUITE 200           CHICAGO IL 60649-4506                         BLOOMFIELD CT 06002-3259
SAN FRANCISCO CA 94107




                                             Page 468 of 2387
                         Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 469 of 800
COOK, MICHAEL LEE                     COOK, MICHAELA A                              COOK, SARAH
1524 CLARKSON ST                      173 HOWARD DR                                 1943 PORTSMOUTH AVE
BALTIMORE MD 21230                    WILLIAMSBURG VA 23185                         WESTCHESTER IL 60154




COOK, SCOTT                           COOK, STANTON                                 COOK, STEVE
3930 FORRESTER RD                     222 RALEIGH ROAD                              PO BOX 28055
GREER SC 29651                        KENILWORTH IL 60043                           RICHMOND VA 23228




COOK, YVETTE                          COOK,DAVID,R                                  COOK,ROBBERT
1699 MAIN ST                          207 CROTON AVENUE NO.FRONT                    8 GREENBRIER DR
EAST HARTFORD CT 06108                LANTANA FL 33462                              BLOOMFIELD CT 06002-3259




COOKE, ANNE Z                         COOKE, ANNE Z                                 COOKE, BARBARA
2118 WILSHIRE BLVD NO.245             P O BOX 10130                                 5346 RFD
SANTA MONICA CA 90403                 MARINA DEL REY CA 90295                       LONG GROVE IL 60047




COOKE, ROBERT W                       COOKE, ROBERT W                               COOKE, TAMMY A
32 ELIOT DR                           4 WINOKA DRIVE                                100 LANDS END LANE
STOW MA 01775                         HUNTINGTON STATION NY 11746                   CARROLLTON VA 23314




COOKIE JAR ENTERTAINMENT INC          COOKIE JAR ENTERTAINMENT INC                  COOKING ACADEMY OF CHICAGO INC
266 KING ST WEST 2ND FLR              266 KING ST WEST 2ND FLR                      1140 HOWARD
ATTN: JOSEE TURCOT                    TORONTO ON M5V 1H8                            DES PLAINES IL 60018
ONTARIO ON H2L 4S5



COOL, CHAD S                          COOLE, TERRI                                  COOLEY GODWARD KRONISH LLP
1100 CRYSTAL LAKE DR NO.203           15317 THOROUGHBRED LANE                       101 CALIFORNIA ST  5TH FLR
POMPANO BEACH FL 33064                MONTVERDE FL 34756                            SAN FRANCISCO CA 94111-5800




COOLEY, HEATHER                       COOMBS CARLSTON, LORRAINE                     COOMBS, WALTER
654 13TH STREET                       30117 DIANA CT                                900 E HARRISON AVE APT B1
OAKLAND CA 94612                      AGOURA HILLS CA 91301                         POMONA CA 91767




COOMER, RON                           COOMER, RON                                   COOMER, RON
2103 N KENMORE 2F                     325-104 W RIVER PARKWAY                       7021 HOWARD LANE
CHICAGO IL 60614                      MINNEAPOLIS MN 55401                          EDEN PRAIRIE MN 55346




COONEY, JAMES                         COONEY, JAMES                                 COOPER & CUMMINGS LLC
65 IRVING ST                          73 CARRIAGE DRIVE                             RE: LAUREL 555 MAIN ST
NEW HAVEN CT 06511                    MILFORD CT 06460                              585 MAIN STREET, UNIT 241
                                                                                    LAUREL MD 20707




                                             Page 469 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 470 of 800
COOPER & CUMMINGS LLC                  COOPER JR, WALTER GEORGE                      COOPER LADNIER
585 MAIN STREET NO.241                 809 ARNOLD CT                                 17627 LEMAY STREET
LAUREL MD 20707                        BALTIMORE MD 21205                            VAN NUYS CA 91406




COOPER, AUGUSTUS                       COOPER, BEALE E                               COOPER, BRAD
291 SW 96TH TERRACE                    3728 LOCHEARN DR                              968 TULAROSA DR APT 5
PEMBROKE PINES FL 33025                BALTIMORE MD 21207                            LOS ANGELES CA 90026




COOPER, CARLOS                         COOPER, CATHARINE                             COOPER, CATHARINE
27208 EVALE RD                         343 THIRD ST STE 201                          PO BOX 4410
PALOS VERDES PENINSULA CA 90274        LAGUNA BEACH CA 92651                         LAGUNA BEACH CA 92652




COOPER, CHARLES                        COOPER, CODARRYL                              COOPER, ELIZABETH
128 W MAPLE ST   46                    881 LORAINE DRIVE                             4951 BARN SWALLOW DRIVE
GLENDALE CA 91204                      NEWPORT NEWS VA 23608                         CHESAPEAKE VA 23321




COOPER, HEATHER                        COOPER, JEFFREY J                             COOPER, JENNIFER W
8116 N SPRUCE AVE                      225 E MINNEAPOLIS                             15 TANNERY CT
KANSAS CITY MO 64119                   SALINA KS 67401                               GLASTONBURY CT 06033




COOPER, JOSEPH H                       COOPER, JUSTIN                                COOPER, MADELINE
PO BOX 53                              1333 SOUTH 1100 EAST                          8856 TURKEY RIDGE ROAD
ROWAYTON CT 06853-0053                 SALT LAKE CITY UT 84105                       BREINIGSVILLE PA 18031-1634




COOPER, MARC                           COOPER, MICHAEL                               COOPER, ROBERT
22800 CALABASH ST                      14692 BERKSHIRE PL                            78 FOSTER ST
WOODLAND HILLS CA 91364                TUSTIN CA 92780                               HARTFORD CT 06106




COOPER, ROBERT LEE                     COOPER, ROBERT LEE                            COOPER, THOMAS S JR
5307 VICTOR ST                         ACCT 4790                                     6 S HIGHVIEW AVE
DOWNERS GROVE IL 60515                 5307 VICTOR ST                                FOX LAKE IL 60020
                                       DOWNERS GROVE IL 60515



COOPER, TIMOTHY                        COOPER, WILLIAM E                             COOPER-NICHOLAS, KATHRYN
2004 RUXTON AVENUE                     5918 LINCOLN CIRCLE W                         3600 DENNLYN RD
BALTIMORE MD 21216                     LAKE WORTH FL 33463-6743                      BALTIMORE MD 21215




COOPERSON COMMUNICATIONS LLC           COP-HANGING MOSS                              COP-HANGING MOSS LLC
3624 ENCINAL AVE                       RE: ORLANDO 6136 HANGING MOSS                 2200 LUCIEN WAY STE 350
LA CRESCENTA CA 91214                  C/O NAI REALVEST                              MAITLAND FL 32751
                                       2200 LUCIEN WAY, SUITE 350
                                       MAITLAND FL 32751-7019




                                              Page 470 of 2387
                           Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 471 of 800
COPE, DONNA                             COPE, MAURA                                   COPE, PENNY
685 W FRANKLIN ST                       655 NOVAK AVE NORTH                           4315 DILLINGERSVILLE RD
SLATINGTON PA 18080                     WEST LAKELAND MN 55082                        ZIONSVILLE PA 18092




COPELAND COMPUTER CONSULTING INC        COPELAND, BRIAN                               COPELAND, GARY
779 W FOOTHILL RD                       1271 WASHINGTON AVENUE NO.461                 14020 NW PASSAGE NO.203
BRIDGEWATER NJ 08807                    SAN LEANDRO CA 94577                          MARINA DEL REY CA 90292




COPELAND, KASSANDRA L                   COPELAND, TONI M                              COPERNICUS
819 W WAVELAND AVE NO.3S                2006 E 140TH ST                               15 RIVER ROAD STE 105
CHICAGO IL 60613                        EAST CHICAGO IN 46312                         WILLTON CT 06897




COPERNICUS                              COPIAGUE PUBLIC SCHOOLS                       COPLEY NEWS SERVICE
PO BOX 18989                            2650 GREAT NECK RD                            P O BOX 190
NEWARK NJ 07191-8989                    COPIAGUE NY 11726                             .
                                                                                      .
                                                                                      SAN DIEGO CA 92112


COPLEY NEWS SERVICE                     COPLEY NEWS SERVICE                           COPLEY, ELIZABETH
P.O. BOX 120190                         TIM CLEN                                      10623 HOWE RD
SAN DIEGO CA 92112                      123 CAMINO DE LA REINA NO.E250                FISHERS IN 46038
                                        SAN DIEGO CA 92108



COPPINGER, LORI                         COPQUIN, CLAUDIA GRYVATZ                      COPY PAGE INC
22 HORSESHOE DR                         38 SCHOONER ROAD                              5418 MCCONNELL AVE
SIMSBURY CT 06070                       NORTHPORT NY 11768                            LOS ANGELES CA 90066




COPY R OFFICE SOLUTIONS LLC             COPYMASTER VIDEO INC                          CORA HERROD
4530 CHERMAK STREET                     711 E FAIRFIELD AVENUE                        2933 S. 48 CT
BURBANK CA 91505                        VILLA PARK IL 60181                           APT. #1F
                                                                                      CICERO IL 60804



CORAGGIO, JACK                          CORAGGIO, JACK                                CORAZON D ANDAL
39 OLYMPIC DR                           39 OLYMPIC DR                                 415 VINE STREET
DANBURY CT 06510                        DANBURY CT 06810                              GLENDALE CA 91204




CORAZZA, RYAN                           CORBETT, HOLLY C                              CORBETT, SEAN
3801 N FREMONT ST APT 3G                488 GRAHAM AVE NO.2                           408 JENNINGS ROAD
CHICAGO IL 60613                        BROOKLYN NY 11222                             FAIRFIELD CT 06824




CORBETT, THOMAS                         CORBETT,CAROL                                 CORBI PLASTICS LLC
420 WEST 46TH ST APT A3                 518 SO CHICOT AVE                             BOX 774079
NEW YORK NY 10036                       WEST ISLIP NY 11795                           CHICAGO IL 60677




                                               Page 471 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 472 of 800
CORBI PLASTICS LLC                     CORBI PLASTICS LLC                            CORBIS CORPORATION
609 BURTON BLVD                        PO BOX 8604                                   750 SECOND STREET
DE FOREST WI 53532-1289                MADISON WI 53708                              ATTN: ORDER DEPT
                                                                                     ENCINITAS CA 92024



CORBIS CORPORATION                     CORBIS CORPORATION                            CORBIS CORPORATION
13159 COLLECTIONS CENTER DR            360 PARK AVE S                                902 BROADWAY
CHICAGO IL 60693                       NEW YORK NY 10010                             NEW YORK NY 10010




CORBIS CORPORATION                     CORBITT, KYLE                                 CORCHADO, MONSERRATE
15395 SE 30TH PLACE                    50 LORRAINE ST APT 3N                         37 JAMES AVE
SUITE NO.300                           NEW BRITAIN CT 06051                          NEW BRITAIN CT 06053
BELLEVUE WA 98007



CORCOLES, RICARDO E                    CORCORAN CONSULTING INC                       CORCORAN, THRESA
3212 W DIVERSEY                        16855 TRAIL VIEW CIRCLE                       6860 MILL CREEK RD
CHICAGO IL 60647                       PARKER CO 80134                               SLATINGTON PA 18080




CORD FLOORING SYSTEMS LLC              CORDEIRO, SHANNON                             CORDELIA GALLOWAY
213 ROSLYN RD                          308 TRAPPER LANE                              1625 W 71ST STREET
ROSLYN HEIGHTS NY 11577                FOUNTAIN CO 80817                             CHICAGO IL 60636




CORDERO ARIAS, LAIZA                   CORDES, KAREN                                 CORDES, RUSSELL
14214 MORNING FROST DR                 746 CEDAR HILL DR                             1140 JORDAN BLVD
ORLANDO FL 32828                       ALLENTOWN PA 18109                            WHITEHALL PA 18052




CORDO, VANESSA                         CORDOBA, EDWARD                               CORDOBA, RODOLFO
127779 SW 27 ST                        8234 PRISTEGE COMMON DRIVE                    2900 SE 12TH RD UNIT NO. 106
MIRAMAR FL 33027                       TAMARAC FL 33321                              HOMESTEAD FL 33035




CORDONE, KATHLEEN                      CORDOVA, AMILCAR                              CORDOVA, MARIA L
80 OLD BOUNDLINE RD                    6117 BAMBOO DR                                6117 BAMBOO DRIVE
WOLCOTT CT 06716                       ORLANDO FL 32807                              ORLANDO FL 62807




CORE DEVELOPMENT SYSTEMS               CORE SUPPORT SYSTEMS INC                      CORE SUPPORT SYSTEMS INC
1607 ROUTE 212                         12 MAUCHLY BUILDING B                         17100 GILLETTE AVE
QUAKERTOWN PA 18951                    IRVINE CA 92618                               IRVINE CA 92614




CORE, CHRISTOPHER                      CORE, RODNEY                                  COREDOTCONTINUUM INC
7304 POMANDER LN                       2031 BROOKS DRIVE NO.309                      1448 MARLBOROUGH CT
CHEVY CHASE MD 20815                   DISTRICT HEIGHTS MD 20747                     LOS ALTOS CA 94024




                                              Page 472 of 2387
                           Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 473 of 800
COREDOTCONTINUUM INC                    CORESTAFF SERVICES LP                         CORESTAFF SERVICES LP
589 HOWARD ST     4TH FLR               PO BOX 54677                                  PO BOX 60009
SAN FRANCISCO CA 94105                  LOS ANGELES CA 90054-0677                     CHARLOTTE NC 28260-0009




CORESTAFF SERVICES LP                   CORESTAFF SERVICES LP                         CORETTA MALCOLM
PO BOX 60876                            1775 ST JAMES PLACE NO.300                    P.O. BOX 610
CHARLOTTE NC 28260-0876                 HOUSTON TX 77056                              NEW YORK NY 10035




COREY BROOKHOUZEN                       COREY BULLOCK                                 COREY D'AGOSTINO
4242 ELM AVENUE                         6678 SLACKS ROAD                              1119 CEDAR RIDGE COURT
BROOKFIELD IL 60513                     ELDERSBURG MD 21784                           ANNAPOLIS MD 21403




COREY HARRIS                            COREY HOLBERT                                 COREY MCLAUGHLIN
5807 JONQUIL AVE                        1601 W FOX PARK DRIVE                         951 MANOR LANE
BALTIMORE MD 21215                      APT 8D                                        BAY SHORE NY 11706
                                        WEST JORDAN UT 84088



COREY TADLOCK                           COREY, DOROTHY                                COREYS AUTO DETAILING
1039 N WINCHESTER                       29 MAIN ST                                    ONE GALLERIA BLVD
UNIT # 2                                APT 1                                         GARAGE OFFICE
CHICAGO IL 60622                        EAST HAMPTON CT 06424                         METAIRIE LA 70001



CORI CUSACK                             CORI FITE                                     CORI JACKSON
P. O. BOX 1416                          978 FOUR MILE ROAD                            757 E 170TH PL
PALMER LAKE CO 80133-1416               APT 2C                                        SOUTH HOLLAND IL 60473
                                        GRAND RAPIDS MI 49544



CORICA, SUSAN B                         CORIE BROWN                                   CORINA DROUIN-PORTER
230 WHITING ST NO.29                    420 S LORRAINE BLVD                           346 LIBERTY STREET
NEW BRITAIN CT 06051                    LOS ANGELES CA 90020                          SPRINGFIELD MA 01104




CORINA GARCIA                           CORINA KNOLL                                  CORINNE CARROLL
4513 VERDUGO RD.                        1256 CLOVERDALE AVE                           750 LOCK ROAD
LOS ANGELES CA 90065                    APT 1                                         APT 100
                                        LOS ANGELES CA 90019                          DEERFIELD BEACH FL 33442



CORINNE CLEMENTS                        CORINNE GALEANO                               CORINNE GIBERSON
2601 METAIRIE LAWN DRIVE                2003 N 46 AVE                                 563 PRIMROSE LANE
APT. #206                               HOLLYWOOD FL 33021                            CRYSTAL LAKE IL 60014
METAIRIE LA 70002



CORINNE M HAYES                         CORINNE MAHER                                 CORINNE STERLING
2400 CORYDON ST.                        561 29TH AVE DR NW                            544 WEST BROMPTON
COMPTON CA 90220                        HICKORY NC 28601                              APT. #1S
                                                                                      CHICAGO IL 60657




                                               Page 473 of 2387
                            Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 474 of 800
CORINTH FILMS, INC                       CORINTHIAN MEDIA INC                          CORINTHIAN MEDIA INC
3117 BURSONVILLE RD                      214 W 29TH ST                                 500 8TH AVENUE    5TH FLR
RIEGELSVILLE PA 18077                    NEW YORK NY 10001                             NEW YORK NY 10018




CORIO,PAUL                               CORIOLAN, FRED                                CORLANO, SUSAN A
263 FIRST AVENUE NO.3                    121 NORTH B STREET                            8070 SW 24TH PL
NEW YORK NY 10003                        LAKE WORTH FL 33460                           MIRAMAR FL 33025




CORLETTO, MIGUEL ALEJANDRO               CORMACI, KAE M                                CORMAN, JUSTIN
C/PRIMERA NO.5 URBANIZACION              834 MILMADA DR                                21380 SUMMERTRACE CIR
CRISTO SALVADOR SAN ISIDRO               LA CANADA FLINTRIDGE CA 91011                 BOCA RATON FL 33428
SANTO DOMINGO



CORMIER, JACQUELINE D                    CORNACCHIOLI, JOSEPH                          CORNELIA GRUMMAN
5 MONTAGUE CIRCLE                        40 JANE RD                                    4228 N. GREENVIEW AVE.
EAST HARTFORD CT 06118                   HAUPPAUGE NY 11788                            CHICAGO IL 60613




CORNELIA TAYLOR                          CORNELIO GUEVARRA                             CORNELIUS GORE
7480 NW 33RD ST.                         PO BOX 184                                    127 NEW HAMPSHIRE
LAUDERHILL FL 33319                      GLEN COVE NY 11542                            MASSAPEQUA NY 11758




CORNELIUS KEYES                          CORNELIUS STEWART                             CORNELIUS THOMPSON
25474 VIA ESCOVAR                        1 BENJAMIN STREET                             6801 DEMARET DRIVE
VALENCIA CA 91355                        BAY SHORE NY 11706                            SACRAMENTO CA 95822




CORNELL & MERKIN                         CORNELL JR, JOHN H                            CORNELL SILVERA
STACY MERKIN                             11147 HEATHROW AVE                            1306 ATLANTIC AVE
ABBOTTS SQUARE                           SPRING HILL FL 34609                          APT 1A
530 S. 2ND ST., SUITE 109                                                              BROOKLYN NY 11216
PHILADELPHIA PA 19147


CORNELL UNIVERSITY                       CORNELL UNIVERSITY                            CORNELL UNIVERSITY
130 E SENECA ST SUITE 400                55 BROWN ROAD                                 FINANCIAL AID OFFICE
ITHACA NY 14850-4353                     ITHACA NY 14850                               SCHOLORSHIP DIVISION
                                                                                       PO BOX 752
                                                                                       ITHACA NY 14851


CORNELL WHITE                            CORNELL, CHRISTOPHER                          CORNERSTONE MARKETING
11 W DIVISION STREET                     650 DOUGLAS AVE                               2625 PARK AVE    STE 9A
APT. #802                                WINTER PARK FL 32789                          BRIDGEPORT CT 06604
CHICAGO IL 60610



CORNERSTONE RESEARCH INC                 CORNERSTONE SYSTEMS, INC                      CORNERSTONE SYSTEMS, INC
3916 CARISBROOKE LN                      1551 N TUSTIN AV NO.600                       420 EXCHANGE SUITE 150
HOOVER AL 35226-1479                     SANTA ANA CA 92705                            IRVINE CA 92602




                                                Page 474 of 2387
                         Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 475 of 800
CORNERSTONE SYSTEMS, INC              CORNERSTONE SYSTEMS, INC                      CORNETT, RICHARD A
PO BOX 221628                         PO BOX 51746                                  29 MAPLE RUN DRIVE
NEWHALL CA 91322-1628                 LOS ANGELES CA 90051                          JERICHO NY 11753




CORNMAN, MARLENE KARAS                CORNWALL HISTORICAL SOCIETY                   CORNWELL, JAMES
2404 WILD GINGER LANE                 C/O THOMAS C BECHTLE, TREASURER               3600 S GLEBE RD  UNIT 919
LAS VEGAS NV 89134                    PO BOX 115                                    ARLINGTON VA 22202
                                      CORNWALL CT 06753



CORONA, SOPHIA                        CORONADO, OLGA                                CORP LINK SERVICES INC
PO BOX 15927                          2624 EXUMA WAY                                118 W EDWARDS ST
LOS ANGELES CA 90015-0927             WINTER PARK FL 32792                          STE 200
                                                                                    SPRINGFIELD IL 62704



CORPORATE EDGE INC                    CORPORATE EDGE INC                            CORPORATE EXPRESS
229 W 36TH ST 9TH FL                  PO BOX 3028                                   PO BOX 1446
NEW YORK NY 10018                     NEW YORK NY 11802-3028                        DENVER CO 80201-1446




CORPORATE EXPRESS                     CORPORATE EXPRESS                             CORPORATE EXPRESS
IMAGING AND                           2040 N ASHLAND AVE                            OFFICE PRODUCTS WEST AURORA
COMPUTER GRAPHIC SUPPLIES             CHICAGO IL 60614                              PO BOX 33421
PO BOX 025487                                                                       CHICAGO IL 60694-3421
MIAMI FL 33121


CORPORATE EXPRESS                     CORPORATE EXPRESS                             CORPORATE EXPRESS
PO BOX 71314                          PO BOX 71411                                  PO BOX 95708
CHICAGO IL 60694-1314                 CHICAGO IL 60694-1411                         CHICAGO IL 60694-5708




CORPORATE EXPRESS                     CORPORATE IDENTITY I                          CORPORATE MAILING SERVICE INC
PO BOX 840181                         223 W MAIN STREET                             2551 DUKANE DR      UNIT C
DALLAS TX 75284-0181                  BARRINGTON IL 60010                           ST CHARLES IL 60175




CORPORATE MAILING SERVICES INC        CORPORATE MAILING SERVICES INC                CORPORATE MAILING SERVICES INC
1625 KNECHT AVE                       4809 BENSON AVE                               PO BOX 24255
BALTIMORE MD 21227                    BALTIMORE MD 21227-1502                       BALTIMORE MD 21227




CORPORATE OFFICE PROPERTIES LP        CORPORATE OFFICE PROPERTIES, LP               CORPORATE OFFICERS & DIRECTORS
PO BOX 64521                          RE: TOWSON 102 W. PENNSYLVANI                 ASSURANCE LTD, ACE GLOBAL
BALTIMORE MD 21264                    P.O. BOX 64521                                ATTN: D&O UNDERWRITING
                                      BALTIMORE MD 21264-4521                       17 WOODBOURNE AVENUE
                                                                                    HAMILTON HM 08


CORPORATE OFFICERS & DIRECTORS        CORPORATE OFFICERS & DIRECTORS                CORPORATE PRINTING SOLUTIONS INC
ASSURANCE LTD, ACE GLOBAL             ASSURANCE LTD,ATTN D&O UNDERWRITING           109 BEAVER CT
ATTENTION CLAIMS DEPARTMENT           ACE GLOBAL HEADQUARTERS                       HUNT VALLEY MD 21030
17 WOODBOURNE AVE                     17 WOODBOURNE AVENUE
HAMILTON HM 08                        HAMILTON HM 08




                                             Page 475 of 2387
                           Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 476 of 800
CORPORATE RESPONSIBILITY GROUP          CORPORATE RESPONSIBILITY GROUP                CORPORATE RESPONSIBILITY GROUP
2400 OAK HILL DR                        C/O MARY HOUPT                                OF CHICAGO
LISLE IL 60532                          HARRIS N A                                    PO BOX 803964
                                        111 W MONROE 7C                               CHICAGO IL 60680-3944
                                        CHICAGO IL 60603


CORPORATE SECURITY SERVICES INC         CORPORATE TAX MANAGEMENT INC                  CORPORATE TAX MANAGEMENT, INC.
PO BOX 6864                             9001 AIRPORT FREEWAY STE 700                  9001 AIRPORT FREEWAY, STE. 700
EDISON NJ 08818-6864                    FT WORTH TX 76180-7781                        FORT WORTH TX 76180-7781




CORPORATE TECHNOLOGIES                  CORPORATE TECHNOLOGIES                        CORPORATE TELECOM SOLUTIONS
PO BOX 847120                           THREE WOODS DRIVE 3RD FLOOR                   1018 N BETHLEHEM PL
BOSTON MA 02284-7120                    BURLINGTON MA 01803                           SPRING HOUSE PA 19477




CORPORATE TELECOM SOLUTIONS             CORPTAX INC                                   CORRAL, STEPHANIE
PO BOX 855                              1751 LAKE COOK ROAD         STE 100           9689 LEV AVE
SPRING HOUSE PA 19477                   DEERFIELD IL 60015                            ARETA CA 91331




CORREA, ADRIANA                         CORREA, ALEJANDRO                             CORREA, JOHN
353 SUNSET DR APT 2                     1443 R SW 5TH CT                              353 SUNSET DR NO. 2
FORT LAUDERDALE FL 33301                FT LAUDERDALE FL 33312                        FORTLAUDERDALE FL 33301




CORREA, RAMSER A                        CORREA, ROBERTO                               CORREDO, WANIA CRISTINA
HC-07 BOX 34127                         PO BOX 387                                    RUA ALMIRANTE TAMANDARE 38
CAGUAS 727                              APOPKA FL 32704-0387                          APT 402
                                                                                      RIO DE JANERIO, RJ 222-1006



CORRELL, DEBORAH A                      CORRELL, JEFFREY S                            CORRELL, RICHARD
825 ARROWWOOD ST                        210 NAZARETH PK                               33 SOUTH PARK DRIVE
LONGMONT CO 80503                       BETHLEHEM PA 18020                            ORANGEVILLE ON L9W 1R7




CORRIDOR TRANSPORTATION CORPORATION     CORRIS LITTLE                                 CORSON, DEBBIE J
312 MARSHALL AVE STE 104                2322-28 7TH AVENUE                            2149 SW 47TH AVE
LAUREL MD 20707                         APT 2D                                        FT LAUDERDALE FL 33317
                                        NEW YORK NY 10030



CORSON, TREVOR                          CORTADO, RHEA                                 CORTECHNOLOGIES
1530 16TH ST NW APT 608                 4022 COUNCIL ST                               805 CANAL ST
WASHINGTON DC 20036                     LOS ANGELES CA 90004                          EASTON PA 18042




CORTENNA RASCOE-ANTROBUS                CORTES, JOSE R                                CORTES, JUAN D
24 SOUTH BEDFORD AVE                    1311 SW 71 TERR.                              2315 CENTERS STONE LN
ISLANDIA NY 11749                       NORTH LAUDERDALE FL 33068                     RIVIERA BEACH FL 33404




                                               Page 476 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 477 of 800
CORTES, JUAN D                         CORTES, KAREN E                               CORTES, MELVIN
2315 CENTERS STONE LN                  17 ROSEWOOD DR                                2284 CORBETT ROAD
VERO BEACH FL 33404                    SIMSBURY CT 06070                             SUITE 2208
                                                                                     ORLANDO FL 32826



CORTES, YASMITH A                      CORTESE, LAURA                                CORTESE, PAUL
168 FLORIDA PARKWAY                    215 INDIA ST NO.1L                            11289 CORAL REEF DR
KISSIMMEE FL 34743                     BROOKLYN NY 11222                             BOCA RATON FL 33498




CORTEZ BRYSON                          CORTEZ, JULIO                                 CORTEZ,CARLOS
1613 SAINT ANDREWS CIRCLE              2208 18TH STREET                              3846 W GARDENIA AVE
ELGIN IL 60123                         VERO BEACH FL 32960                           WESTON FL 33332




CORTNEY LANGLEY                        CORWIN MILLER                                 CORWIN, GAIL
1110 LEBANON ROAD                      3707 FIELDSTONE ROAD                          4029 CARMEL VIEW APT 144
SPRING GROVE VA 23881                  RANDALLSTOWN MD 21133                         SAN DIEGO CA 92130




CORY AYERS                             CORY BRUSH                                    CORY COTUGNO
1413 ONTARIO STREET                    824 NE 18TH COURT                             100 EXECUTIVE SQUARE, APT 616
HAVRE DE GRACE MD 21078                FORT LAUDERDALE FL 33305                      WETHERSFIELD CT 06109




CORY NEALON                            CORY OTTENWESS                                CORY PROVUS
7505 WARWICK BLVD.                     4323 N. DRAKE AVENUE                          33 WEST ONTARIO
C/O NEWSROOM                           APT. #4E                                      APT. 37G
NEWPORT NEWS VA 23607                  CHICAGO IL 60618                              CHICAGO IL 60610



CORY SIELFLEISCH                       CORY TURNBAUGH                                CORY, NICHOLAS RAY
3956 COACHELLA DRIVE                   901 PENTWOOD CT                               806 DOVE CREEK TRAIL
ST. LOUIS MO 63125                     BEL AIR MD 21014                              SOUTHLAKE TX 76092




CORZEN INC                             CORZEN INC                                    CORZEN INC
350 EAST CHAREST BLVD 4TH FLR          465 ST JEAN SUITE 502                         5 UNION SQUARE WEST 4TH FLOOR
QUEBEC CITY QC G1K 3H5                 MONTREAL QC H2Y 2R6                           NEW YORK NY 10003




CORZEN INC                             COSBY, KENNETH                                COSCARELLI, ROBERT T
PO BOX 710951                          2366 W 23RD ST                                2323 WEST ERIE ST
COLUMBUS OH 43271-0951                 LOS ANGELES CA 90018                          CHICAGO IL 60612




COSCHIGNANO, ANGELO                    COSCHIGNANO, ANGELO                           COSENTINO, FRANK
5016 LANTANA RD APT NO. 1305           5016 LANTANA RD APT NO. 1305                  201 N 4TH ST
LAKE WORTH FL 33463                    LANTANA FL 33463                              ALLENTOWN PA 18102




                                              Page 477 of 2387
                            Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 478 of 800
COSGROVE JR, ANTHONY J                   COSGROVE, GLENN F                             COSGROVE, JAMES T
60 HAWLEY ST                             60 HAWLEY ST                                  4254 GRADWOHL SWITCH RD
NEWINGTON CT 06111                       NEWINGTON CT 06111                            EASTON PA 18045




COSGROVE, SEAN                           COSKY, KRISTEN                                COSME, ANGELO
47 WEEKS RD                              14370 EVERETS RD                              1510 ZAIGER PLACE
NORTH BABYLON NY 11703                   WINDSOR VA 23487                              COLORADO SPRINGS CO 80915




COSME, NOELIA                            COSME, ZENAIDA                                COSMOPOLITAN BUILDING SERVICES
23 GRAFTON ST                            2571 BARKWATER DR                             11 ETON COURT
HARTFORD CT 06106                        ORLANDO FL 32839                              SOUTH BARRINGTON IL 60010




COSPER, DARCY                            COSS, MAYDA L                                 COSSUTO, THOMAS
2570 N BEACHWOOD DR APT 3                33 N 13TH ST FL 1                             46 LAKEVIEW DRIVE
LOS ANGELES CA 90068                     ALLENTOWN PA 18102                            NORWALK CT 06850




COSTA, ALEXANDER                         COSTA, ELISSEA                                COSTA, GIMIANO J
5700 NW 2ND AVE. APT. 110                9407 NW 49 CT APT 19 A                        22244 BOCA RANCHO DR. APT. NO. C10
BOCA RATON FL 33487                      SUNRISE FL 33351                              BOCA RATON FL 33428




COSTA, JOEL F                            COSTA, KATHLEEN A                             COSTA, MARISA A
3830 LYONS RD AP NO.202                  40 TANNERY ROAD                               25 OLD OAK RD
COCONUT CREEK FL 33073                   SOUTHWICK MA 01077                            GLEN RIDGE NJ 07028




COSTA, THIAGO                            COSTANTINI, BOB                               COSTANTINI, FABRIZIO
2225 SW 15TH ST APT 223                  232 OAK LEAF WAY                              33165 MULVER RD
DEERFIELD BEACH FL 33442                 BALTIMORE MD 21227                            FRASER MI 48026




COSTANTINO, FRANCIS                      COSTANZA, ROBERT                              COSTE, DEBRA
470 SEXTON RD                            177 TEN STONES CIRCLE                         240 DANNY LN
NAZARETH PA 18064                        CHARLOTTE VT 05445                            SIERRA VISTA AZ 85650




COSTELLO, JANE                           COSTELLO, PATRICK                             COSTELLO, SEAN PATRICK
34 WILDWOOD DR                           569 MAUCH CHUNK RD                            1172 NELROSE AVE
BRANFORD CT 06405                        PALMERTON PA 18071                            VENICE CA 90291




COSTENBADER, SUSAN A                     COSTUME SPECIALIST INC                        COTCHETT PITRE & MCCARTHY
10509 BILLY LILLY COURT                  211 N FIFTH STREET                            JOSEPH W COTCHETT/PHILIP L GREGORY/
LAUREL MD 20723                          COLUMBUS OH 43215                             LAURA E SCHLICHTMANN/GERALD S OHN
                                                                                       840 MALCOME RD, SUITE 200
                                                                                       BURLINGAME CA 94010




                                                Page 478 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 479 of 800
COTE III, THOMAS A                     COTE, DONNA M                                 COTE, PRISCILLA G
215 PROSPECT ST                        61 BARTHOLOMEW ST          APT E              104 ARGYLE AVE
MIDDLETOWN CT 06457                    BRISTOL CT 06010                              WEST HARTFORD CT 06107




COTHRAN, PIERLUIGI                     COTLIAR, GEORGE J.                            COTNER, DAVID
1343 N CURSON AVE NO.6                 1618 ANITA LANE                               PO BOX 1211
LOS ANGELES CA 90046                   NEWPORT BEACH CA 92660                        VENTURA CA 93002-1211




COTNOIR, JULIE                         COTO, ZONIA                                   COTTO SURIEL, INGRID C
39 CIRCLE DRIVE                        5709 NW 48TH TERR                             8903 BUENA PL APT 3105
ENFIELD CT 06082                       TAMARAC FL 33319                              WINDERMERE FL 34786




COTTON, BETTY                          COTTON, BETTY                                 COTTON, DAVID
1185 LINCOLN TERRACE STE 2005          1185 LINCOLN TERRACE STE 2005                 723 MARYLAND AVE
ORLANDO FL 32805                       WINTER GARDEN FL 34787                        WINTER PARK FL 32789




COTTONE, BROOKE                        COTTRELL, CANDACE                             COTTS, NEAL J
328 HICKORY LN                         406 ROCKAWAY PARKAWAY                         600 N KINGSBURY NO.1510
SOUTH ELGIN IL 60177                   VALLEY STREAM NY 11580                        CHICAGO IL 60610




COUCEIRO, MARIA DECOURDES              COUGHLIN, THOMAS J                            COULSTON, CHERYLE C
2874 SW 58TH CT                        629 S WALTER REED DRIVE NO.453C               701 CHESSIE CROSSING WAY
FORT LAUDERDALE FL 33312               ARLINGTON VA 22204                            WOODBINE MD 21797




COULURIS, ANNABELLA                    COUNCIL ON FOREIGN RELATIONS                  COUNCIL, GROVANNI M
54 DORCHESTER RD                       58 E 68TH ST                                  4 BOWEN DR
SMITHTOWN NY 11787                     NEW YORK NY 10021                             HAMPTON VA 23666




COUNCIL, SCOTT                         COUNCILL, ANDREW                              COUNOU, MARIE
461 N EUCLID AVE NO.201                PO BOX 15044                                  401 SW 13TH PLACE APT 715
PASADENA CA 91101                      WASHINGTON DC 20003                           DEERFIELD BEACH FL 33441




COUNTIES OF WARREN AND WASHINGTON      COUNTRY DONUTS                                COUNTRY MEADOWS
INDUSTRIAL DEVELOPMENT AGENCY          1218 S ROSELLE RD                             4007 GREEN POND RD
5 WARREN ST SUITE 210                  SCHAUMBURG IL 60193                           ALLENTOWN PA 18020
GLEN FALLS NY 12801



COUNTRY MEADOWS                        COUNTRY MEADOWS                               COUNTRY MEADOWS
4009 GREEN POND RD                     4011 GREEN POND RD                            420 N KROCKS RD
CAROLYN HIRSCH                         BETHLEHEM PA 18020                            ALLENTOWN PA 18106
BETHLEHEM PA 18020




                                              Page 479 of 2387
                           Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 480 of 800
COUNTRY MEADOWS                         COUNTRY MEADOWS                               COUNTRY MEADOWS
430 N KROCKS RD                         450 N KROCKS RD                               ACTIVITY FUND
ALLENTOWN PA 18106                      ALLENTOWN PA 18106                            4025 GREEN POND RD
                                                                                      BETHLEHEM PA 18020



COUNTRY MEADOWS ASSOCIATES              COUNTRY MEADOWS ASSOCIATES                    COUNTY OF KENT
4011 GREEN POND RD                      830 CHERRY DR PO BOX 680                      300 MONROE AVE NW
BETHLEHEM PA 18020                      HERSHEY PA 17033                              GRAND RAPIDS MI 49503




COUNTY OF KENT                          COUNTY OF KENT                                COUNTY OF LEHIGH
701 BALL AVE NE                         TREASURER'S OFFICE                            ASSESSMENT OFFICE
GRAND RAPIDS MI 49503                   PO BOX Y                                      17 S 7TH ST RM517
                                        GRAND RAPIDS MI 49503                         ALLENTOWN PA 18101-2400



COUNTY OF LEHIGH                        COUNTY OF LEHIGH                              COUNTY OF LEHIGH
COUNTY OF LEHIGH TAX COLLECTION         GOVERNMENT CENTER                             PO BOX 2040
PO BOX 70255                            FISCAL OFFICE                                 TAX COLLECTION
PHILADELPHIA PA 19176-0255              17 S 7TH ST ROOM 119                          C/O WACHOVIA LOCKBOX SERVICES
                                        ALLENTOWN PA 18101-2400                       MECHANICSBURG PA 17055-0720


COUNTY OF LEHIGH                        COUNTY OF MONTGOMERY                          COUNTY OF MONTGOMERY
VOTERS REGISTRATION                     DEPT OF INFORMATION SERVICES                  DEPT PUBLIC WORKS
17 S 7TH ST                             COURT HOUSE                                   TRANSPORTATION DIV COURT HOUSE
ALLENTOWN PA 18101                      BOX 311 - SUITE 808                           NORRISTOWN PA 19404
                                        NORRISTOWN PA 19404-0311


COUNTY OF MONTGOMERY                    COUNTY OF NORTHAMPTON                         COUNTY OF NORTHAMPTON
OFFICE OF CLERK OF COURTS               248 BRODHEAD RD    STE 2                      45 N SECOND ST, RM 102
ATTN LINDA SULOCK                       BETHLEHEM PA 18017                            VOTER REGISTR. GOVERNOR WOLF BUIL
PO BOX 311                                                                            EASTON PA 18042
NORRISTOWN PA 19404-0311


COUNTY OF NORTHAMPTON                   COUNTY OF NORTHAMPTON                         COUNTY OF NORTHAMPTON
COURT ADMINSTRATOR                      P O BOX 25008                                 RECORDER OF DEEDS
669 WASHINGTON ST                       LEHIGH VALLEY PA 18002-5008                   669 WASHINGTON ST
EASTON PA 18042-7495                                                                  EASTON PA 18042-7486



COUNTY OF ORANGE                        COUNTY OF ORANGE                              COUNTY OF ORANGE
10 CIVIC CENTER PLZA    4TH FLR         12 CIVIC CENTER PLZA RM 225                   2009 E. EDINGER
SANTA ANA CA 92702                      PO BOX 1198                                   SANTA ANA CA 92705
                                        SANTA ANA CA 92702-1198



COUNTY OF ORANGE                        COUNTY OF ORANGE                              COUNTY OF ORANGE
300 N FLOWER ST                         ATTN HECTOR                                   AUDITOR - CONTROLLER
SANTA ANA CA 92702-5000                 PO BOX 238                                    PO BOX 567
                                        SANTA ANA CA 92702                            SANTA ANA CA 92702-0567



COUNTY OF ORANGE                        COUNTY OF ORANGE                              COUNTY OF ORANGE
CORPORATE REAL ESTATE                   ENVIRONMENTAL HEALTH WASTE MGMT SEC           GEO/REAL ESTATE
300 N FLOWER ST STE 646                 2009 E EDINGER                                1300 S GRAND AVE BLDG A
SANTA ANA CA 92703-5000                 SANTA ANA CA 92705                            SANTA ANA CA 92705




                                               Page 480 of 2387
                           Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 481 of 800
COUNTY OF ORANGE                        COUNTY OF ORANGE                              COUNTY OF ORANGE
HEALTH CARE AGENCY                      HEALTH CARE AGENCY                            HEALTH CARE AGENCY
P.O. BOX 1982                           ENVIRONMENTAL HEALTH DIVISION                 PO BOX 1980
SANTA ANA CA 92702                      2009 E. EDINGER AVENUE                        12 CIVIC CENTER PLAZA
                                        SANTA ANA CA 92705                            SANTA ANA CA 92702-1980


COUNTY OF ORANGE                        COUNTY OF ORANGE                              COUNTY OF ORANGE
HEALTH CARE AGENCY                      HEALTH CARE AGENCY ENVIRONMENTAL HE           JOHN WAYNE AIRPORT
1241 E DYER RD   STE 120                CERTIFIED UNIFIED PROGRAM AGENCY              3160 AIRWAY AVENUE
SANTA ANA CA 92705-5611                 2009 E EDINGER                                COSTA MESA CA 92626
                                        SANTA ANA CA 92705


COUNTY OF ORANGE                        COUNTY OF ORANGE                              COUNTY OF SACRAMENTO
ORANGE COUNTY TREASURER                 PO BOX 1379                                   AIRPORT SYSTEM
SEALER OF WEIGHTS & MEASURES            SANTA ANA CA 92702-1379                       6900 AIRPORT BLVD
1750 S DOUGLAS RD BLDG D                                                              SACRAMENTO CA 95837
ANAHEIM CA 92806-6031


COUNTY OF SACRAMENTO                    COUNTY OF SACRAMENTO                          COUNTY OF SACRAMENTO
COUNTY TAX COLLECTOR                    ENVIROMNENTAL MANAGEMENT DEPT                 PO BOX 1804
700 H ST                                8475 JACKSON RD                               SACRAMENTO CA 95812
RM 1710                                 STE 22
SACRAMENTO CA 95814                     SACRAMENTO CA 95826


COUNTY OF SACRAMENTO                    COUNTY OF SACRAMENTO                          COUNTY OF SACRAMENTO
PO BOX 2860                             REGISTRAR OF VOTERS                           SECURED TAX UNIT
SACRAMENTO CA 95812                     7000 65TH ST                                  PO BOX 508
                                        SACRAMENTO CA 95823                           SACRAMENTO CA 95814



COUNTY OF SACRAMENTO                    COUNTY OF SACRAMENTO                          COUNTY OF SAN DIEGO
UNSECURED TAX UNIT                      WASTE MANAGEMENT & RECYCLING                  10124 OLD GROVE RD
PO BOX 508                              9850 GOETHE ROAD                              SAN DIEGO CA 92131
SACRAMENTO CA 95812-0508                SACRMENTO CA 95827



COUNTY OF SAN DIEGO                     COUNTY OF SAN DIEGO                           COUNTY OF SAN DIEGO
162 COUNTY ADMINISTRATION CENTER        5555 OVERLAND AVE                             9150 CHESAPEAKE DR
1600 PACIFIC HIGHWAY                    BLDG 12 MS-0-56                               SAN DIEGO CA 92123-1096
SAN DIEGO CA 92101-2475                 SAN DIEGO CA 92123



COUNTY OF SAN DIEGO                     COUNTY OF SAN DIEGO                           COUNTY OF SAN DIEGO
DEPT OF PARKS & RECREATION              DEPT OF PLANNING & LAND USE                   OFFICE OF THE ASSESSOR
5201 RUFFIN RD STE P                    5201 RUFFIN RD STE B                          1600 PACIFIC HIGHWAY, RM 162
SAN DIEGO CA 92123-1699                 SAN DIEGO CA 92123                            SAN DIEGO CA 92101-2474



COUNTY OF SAN DIEGO                     COUNTY OF SAN DIEGO                           COUNTY OF SAN DIEGO
PO BOX 129261                           RCS 5555 OVERLAND AVE                         REGISTRAR OF VOTERS
SAN DIEGO CA 92112-9261                 SUITE 5105 MS O-56                            5201 RUFFIN DR
                                        SAN DIEGO CA 92123-1250                       STE I
                                                                                      SAN DIEGO CA 92123-1693


COUNTY OF SAN DIEGO                     COUNTY OF SAN DIEGO                           COUNTY OF SAN DIEGO
SUPERIOR COURT                          TREASURER TAX COLLECTOR                       TREASURER-TAX COLLECTOR
ATTN ROBERT BRADLEY                     PO BOX 129009                                 1600 PACIFIC HIGHWAY, ROOM 162
PO BOX 122724                           SAN DIEGO CA 92112                            SAN DIEGO CA 92101
SAN DIEGO CA 92112




                                               Page 481 of 2387
                         Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 482 of 800
COUNTY OF VENTURA                      COUNTY OF VENTURA                            COUNTY OF VENTURA
800 S VICTORIA AVE                     ATN: HAROLD S PITTMAN/TAX COLLECTO           C/O WRITE 4 HOPE
ATTN VIRGINIA BLOOM ELECTION           800 S VICTORIA AV                            5105 EAST LOS ANGELES AVE NO.270
VENTURA CA 93009-1200                  VENTURA CA 93009-1290                        SIMI VALLEY CA 93063



COUNTY OF VENTURA                      COUNTY OF VENTURA                            COUNTY OF VENTURA
DEPARTMENT OF CHILD SUPPORT SERVICES   FIRE DEPARTMENT                              LAWRENCE L MATHENEY TAX COLLECTOR
CA STATE DISBURSEMENT UNIT             102 E DURLEY DR                              VENTURA COUNTY
PO BOX 989067                          CAMARILLO CA 93010                           800 S VICTORIA AVE
WEST SACRAMENTO CA 95798-9067                                                       VENTURA CA 93009-1290


COUNTY OF VENTURA                      COUNTY OF VOLUSIA                            COUNTY OF VOLUSIA
PO BOX 958                             PO BOX 31336                                 REVENUE DIVISION
NO.2                                   TAMPA FL 33631-3336                          123 W INDIANA AVE RM 103
TORRANCE CA 90508-0958                                                              DELAND FL 32720-4602



COUPONS INC                            COURCHESNE, DAVE                             COURIER PACKAGING CO INC
400 LOGUE AVE                          76 HAMPSHIRE CT                              220 WEST STREET
MOUNTAIN VIEW CA 94043                 MERIDEN CT 06450-8143                        BROOKLYN NY 11222




COURIER TIMES INC                      COURNOYER, DONALD                            COURSEY, WAYNE D
GREATER PHILADELPHIA NEWSPAPERS        628 HILTON BLVD                              202 WEST 27TH STREET
8400 ROUTE 13                          NEWPORT NEWS VA 23605                        SANFORD FL 32773
ATTN ETHEL MAID PALMER
LEVITTOWN PA 10957


COURT REPORT                           COURT REPORT                                 COURT REPORT
PO BOX 1554                            PO BOX 108                                   PO BOX 326
SOLANA BEACH CA 92075                  EAST PALESTINE OH 44413                      COLUMBIANA OH 44408




COURT SQUARE LEASING CORP              COURT, JAMES                                 COURTADE, CARLOS
PO BOX 17625                           1814 STEARNS DR                              1443R SW 5TH CT
ACCT RECEIVABLE                        LOS ANGELES CA 90035                         FORT LAUDERDALE FL 33312
BALTIMORE MD 21297-1625



COURTENAY ROY                          COURTHOUSE NEWS SERVICE                      COURTNEY FLYNN
4812 CLAIRLEE DRIVE                    30 NORTH RAYMOND AVE STE 310                 1008 POPE'S CREEK CIRCLE
OWINGS MILLS MD 21117                  PASADENA CA 91103                            GRAYSLAKE IL 60030




COURTNEY FREISMUTH                     COURTNEY GLOVER                              COURTNEY GRAN
2322 W. BELMONT AVE                    2345 LAKE DEBRA DRIVE                        1216 W. ADDISON ST.
APT #2                                 #2415                                        APT. #3
CHICAGO IL 60618                       ORLANDO FL 32835                             CHICAGO IL 60613



COURTNEY HAMPTON                       COURTNEY HOLMES                              COURTNEY MACOMBER
76 ALGONQUIN ROAD                      3913 N. I-10 SERVICE ROAD                    673 PESTANA DRIVE
HAMPTON VA 23661                       APT. #318                                    GALT CA 95632
                                       METAIRIE LA 70002




                                             Page 482 of 2387
                           Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 483 of 800
COURTNEY O'NEAL                         COURTNEY, DANIEL MARK                         COURTNEY, STEPHEN
1061 EAST 41ST PLACE                    715 S. MONROE                                 7 UNION STREET
#503                                    HINSDALE IL 60521                             TERRYVILLE CT 06786
CHICAGO IL 60653



COUSIN II, SUZANNE S                    COUSINS, ANNETTE                              COUSINS, ANNETTE
108 LORIGAN LN                          1663 N 56TH STREET                            PO BOX 53089
HAMPTON VA 23664                        PHILADELPHIA PA 19131                         PHILADELPHIA PA 19105




COUSINS, JILL                           COUTURE, FERN                                 COUVERTIER, HERIBERTO CRUZ
626 FALCON COURT                        274 CHURCH STREET                             323 DRUM LN
WINTER SPRINGS FL 32708                 APT. #5A                                      KISSIMMEE FL 34759
                                        GUILFORD CT 06437



COVAD COMMUNICATIONS                    COVAD COMMUNICATIONS                          COVARRUBIAS SERVICE DELIVERY
3420 CENTRAL EXPRESSWAY                 DEPT 33408                                    14391 SW 136 AV
SANTA CLARA CA 95051                    PO BOX 39000                                  KENDALL FL 33186
                                        SAN FRANCISCO CA 94139



COVARRUBIAS, JORGE                      COVARRUBIAS, LIBERATO                         COVE DELIVERY INC
765 PEASE LN                            6720 WILCOX AVE                               85 WASHINGTON BLVD
WEST ISLIP NY 11795-3426                BELL CA 90201                                 COMMACK NY 11725




COVE DELIVERY INC                       COVE INVESTMENTS LLC                          COVE INVESTMENTS LLC
PO BOX 187                              9 BAYBERRY RD                                 C/O COMMERCIAL ADVANTAGE
HICKSVILLE NY 11802-0187                OLD SAYBROOK CT 06475                         REAL ESTATE LLC
                                                                                      124 COLLEGE ST
                                                                                      MIDDLETOWN CT 06457


COVE INVESTMENTS LLC                    COVE INVESTMENTS LLC                          COVE INVESTMENTS LLC,
C/O LBWR&G LLC                          C/O MYERS NORTHEAST PROPERTY MGMT             RE: OLD SAYBROOK 265 MAIN ST.
PO BOX 610                              152 CROSS ROAD                                37 WESTWOOD DRIVE
OLD SAYBROOK CT 06475                   WATERFORD CT 06385                            WATERFORD CT 06385



COVE INVESTMENTS, LLC                   COVER, SUSAN                                  COVERALL CLEANING
RE: OLD SAYBROOK 265 MAIN ST.           219 N 1ST ST                                  33 COLLEGE HILL RD NO.5E
C/O LWBR&G                              LAKE MARY FL 32746                            WARWICK RI 02886
PO BOX 610
OLD SAYBROOK CT 06475


COVEREDGE INC                           COVIELLO, DANIELLE                            COVIELLO, THOMAS EDWARD
PO BOX 14925                            14001 PALAWAN WAY NO.211                      5852 NW 41 LANE
LAS VEGAS NV 89114-4925                 MARINA DEL REY CA 90292                       COCONUT CREEK FL 33073




COVINA LOCK & KEY                       COWAN, ANDREW                                 COWAN, DAVID E
716 E EDNA PL NO.E                      1506 10TH STREET APT NO.411                   4330 PRENTISS DR
COVINA CA 91723                         SANTA MONICA CA 90401                         YORBA LINDA CA 92886




                                               Page 483 of 2387
                           Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 484 of 800
COWAN, DWAYNE                           COWAN, KYLE                                   COWEN, RICHARD W
43 MILFORD ST                           3217 GRANT ST                                 533 N. 5TH STREET
HARTFORD CT 06112                       HOLLYWOOD FL 33021                            ALLENTOWN PA 18102




COWGILL,RICHARD                         COWLES, DAVID                                 COWLES, ERNEST L
18909 DE VOSS AVE                       775 LANDING ROAD NORTH                        8537 LUPIN COURT
CERRITOS CA 90703                       ROCHESTER NY 14625                            ELK GROVE CA 95624




COWLES, LEON                            COWLING, DENNIS                               COWNIE, JIM
51 JORDAN DR                            439 MANOR RD    APT 14                        700 LOCUST ST STE 100
HAMPTON VA 23666                        NEWPORT NEWS VA 23608                         DES MOINES IA 50309




COX                                     COX                                           COX COMMUNICATIONS
P.O. BOX 9001077                        1400 LAKE HEARN DRIVE                         2120 CANAL ST
LOUISVILLE KY 40290-1077                ATLANTA GA 30319                              NEW ORLEANS LA 70130




COX COMMUNICATIONS                      COX COMMUNICATIONS                            COX COMMUNICATIONS
26181 AVENIDA AEROPUERTO                29947 AVENIDA DE LAS BANDERAS                 PO BOX 6058
SAN JUAN CAPISTRANO CA 92675            RANCO SANTA MARGARITA CA 92688                CYPRESS CA 90630-0058




COX COMMUNICATIONS                      COX COMMUNICATIONS                            COX COMMUNICATIONS
PO BOX 7040                             170 UTOPIA RD                                 PO BOX 39
ANAHEIM CA 92850-7040                   PO BOX 310                                    NEWARK NJ 07101-0039
                                        MANCHESTER CT 06045-0310



COX COMMUNICATIONS                      COX COMMUNICATIONS LOUISIANA LLC              COX COMMUNICATIONS LOUISIANA LLC
9 J P MURPHY HIGHWAY                    338 EDWARDS AVE                               COX SPORTS TELEVISION
WEST WARWICK RI 02893                   HARAHAN LA 70123                              2121 AIRLINE DR 2ND FLOOR WEST
                                                                                      METAIRIE LA 70001



COX MEDIA LLC                           COX MEDIA LLC                                 COX MEDIA LLC
COX MEDIA ORANGE COUNTY                 1250 POYDRAS ST STE 1000                      2120 CANAL STREET
29947 AVENIDA DE LAS BANDERAS           NEW ORLEANS LA 70113                          NEW ORLEANS LA 70112
LOS ANGELES CA 92688



COX MEDIA LLC                           COX POWELL CORPORATION                        COX POWELL CORPORATION
PO BOX 849997                           121 BULIFANTS BLVD STE A                      5633 VIRGINIA BEACH BLVD
DALLAS TX 75284                         ACCOUNTING DEPT                               NORFOLK VA 23502
                                        WILLIAMSBURG VA 23188



COX RADIO INC                           COX RADIO INC                                 COX RADIO INC
DRAWER AL 01314                         WEZN-FM                                       WPLR-FM
PO BOX 830647                           440 WHEELERS FARMS RD S302                    440 WHEELERS FARMS RD
BIRMINGHAM AL 35283-0647                MILFORD CT 06460-9133                         STE 302
                                                                                      MILFORD CT 06460-9133




                                               Page 484 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 485 of 800
COX RADIO INC                          COX RADIO INC                                 COX RADIO INC
WCFB FM                                WDBO-AM                                       WFLC FM WHQT FM
PO BOX 863438                          PO BOX 863438                                 2741 NORTH 29 AVENUE
ORLANDO FL 32886                       ORLANDO FL 32886                              HOLLYWOOD FL 33020



COX RADIO INC                          COX RADIO INC                                 COX RADIO INC
WHTQ-FM                                WMMO-FM                                       WPYO-FM
PO BOX 863438                          PO BOX 863438                                 PO BOX 863438
ORLANDO FL 32886                       ORLANDO FL 32886                              ORLANDO FL 32886



COX RADIO INC                          COX RADIO INC                                 COX RADIO INC
WWKA FM                                PO BOX 933048                                 WBAB & WBLI
PO BOX 863438                          ATLANTA GA 31193-3048                         555 SUNRISE HWY
ORLANDO FL 32886                                                                     WEST BABYLON NY 11704



COX RODGERS, TRACY                     COX, DANIEL ALVIN                             COX, DAVID
7430 BANGLES ROAD                      1791 NW 34TH AVENUE                           7960 CANARY ISLAND WAY
MARRIOTTSVILLE MD 21104                FORT LAUDERDALE FL 33311                      BOYNTON BEACH FL 33436




COX, ERNEST                            COX, ISABELLE                                 COX, ISABELLE
5761 SW 188TH AVE                      PO BOX 69A04                                  3505 ARROWHEAD DR
SOUTHWEST RANCHES FL 33332             WEST HOLLYWOOD CA 90069                       AUSTIN TX 78731




COX, JERRY D                           COX, KATHRYN                                  COX, LOUIS MICHAEL
98 ELM ST                              3281 MARSH RD                                 LOUIS COX
WINSTED CT 06098                       DELAND FL 32724-9016                          45790 RANCHO PALMERAS DR
                                                                                     INDIAN WELLS CA 92210



COX, MARK                              COX, SHARON C                                 COX, TERRENCE M
220 MALONE AVE                         3625 WHITE BIRCH DR                           1005 W JASMINE LANE
STATEN ISLAND NY 10306                 MEMPHIS TN 38106                              N LAUDERDALE FL 33068




COX, THOMAS STAN                       COY HARDIN                                    COYMAN, JUDITH
712 CUSTER ST                          12908 GENT RD                                 14319 CYPRESS HILL DR
SALINA KS 67401                        REISTERSTOWN MD 21136                         CHESTERFIELD MO 63017




COZIER, FREDDY                         COZINE, ROBERT                                COZZETTI, JESSE
2411 SW 84TH AVE                       19 IMPALA DR                                  83 CRYSTAL ROCK CT
MIRAMAR FL 33025                       CENTEREACH NY 11720                           MIDDLE ISLAND NY 11953




CP COMMUNICATIONS                      CP COMMUNICATIONS                             CP COMMUNICATIONS
3611 W PACIFIC AV                      1100 PARK CENTRAL SOUTH                       4203 VILELAND RAOD SUITE 4K
BURBANK CA 91505                       SUITE 1800                                    ORLANDO FL 32811
                                       POMPANO BEACH FL 33064




                                              Page 485 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 486 of 800
CP COMMUNICATIONS                      CPJ & SONS INC                                CPODM PROFESSIONALS LP
4303 VINELAND RD STE F7                312-4TH ST                                    2450 LOUISIANA   STE 400-612
ORLANDO FL 32811                       EAST NORTHPORT NY 11731                       HOUSTON TX 77006




CPS PARKING                            CPS PARKING                                   CPS PARKING
CPS PARKING - LOT 26                   PO BOX 790402                                 1001 4TH AVENUE PLAZA
PO BOX 17505                           ST LOUIS MO 63179-0402                        SUITE 220
BALTIMORE MD 21297-1505                                                              SEATTLE WA 98154



CR SALES SOLUTIONS INC                 CRAB HOUSE OF DOUGLASTON, INC.                CRAB HOUSE OF DOUGLASTON, INC.
221 RAVINE RD                          D/B/A DOUGLASTON MANOR, ET AL.                D/B/A DOUGLASTON MANOR, ET AL.
HINSDALE IL 60521                      C/O GIAIMO ASSOCIATES LLP                     C/O HARWOOD FEFFER LLP
                                       JOSEPH O. GIAIMO, 80-02 KEW GARDENS RD        SAMUEL K. ROSEN, 488 MADISON AVE
                                       KEW GARDENS NY 11415                          NEW YORK NY 10022


CRABB, CHERYL                          CRABTREE, SHEIGH                              CRACK PATCHER INC
34 GRIFFIN RD                          2320 TEVIOT ST                                18032 C LEMON DR
EAST GRANBY CT 06026                   LOS ANGELES CA 90039                          YORBA LINDA CA 92886




CRADIC, ROBERT                         CRAE CORPORATION                              CRAFT JR, ALFRED
2512 ALLISON DRIVE                     2414 HARDING STREET                           29 THORPE AVE
CHATTANOOGA TN 37421                   HOLLYWOOD FL 33020                            MERIDEN CT 06450




CRAFT, RALPH                           CRAFTON, CHRISTOPHER                          CRAIG ALAN SIPICH
1354 NW SPRUCE AVE                     175 SW 4TH ST                                 14730 GOLF RD
REDMOND OR 97756                       DEERFIELD BEACH FL 33441                      ORLAND PARK IL 60462




CRAIG ALLEN                            CRAIG ALLEN                                   CRAIG BOLTON
30 NANCY DRIVE                         236 FURNACE STREET                            1013 BLOUIN DRIVE
MONROE CT 06468                        EMMAUS PA 18049                               DOLTON IL 60419




CRAIG BOROWSKI                         CRAIG BOX                                     CRAIG BUSTIN
20734 SWANSAY                          8600 SHORE FRONT PARKWAY                      6 GATEWAY COURT
BARRINGTON IL 60010                    APT 9-P                                       CENTEREACH NY 11720
                                       ROCKAWAY BEACH NY 11693



CRAIG CLARY                            CRAIG DAVIS                                   CRAIG DAVIS
105 FOREST DR.                         3505 OAKWATER POINTE DRIVE                    1560 NW 99 AVENUE
BALTIMORE MD 21228                     ORLANDO FL 32812                              PLANTATION FL 33322




CRAIG DIXON                            CRAIG EATON                                   CRAIG FACTOR
154 STONINGTON STREET                  9565 SW ADAMS STREET                          8945 GOTHIC AVE
APT. B                                 OKEECHOBEE FL 34974                           NORTH HILLS CA 91343
HARTFORD CT 06106




                                              Page 486 of 2387
                         Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 487 of 800
CRAIG FISHER                          CRAIG FULLER                                  CRAIG GORDON
8625 WONDERLAND AVENUE                CRAIG FULLER                                  5919 WELBORN DR
LOS ANGELES CA 90046                  4350 LA JOLLA VILLAGE DR.                     BETHESDA MD 20816
                                      SUITE 900
                                      SAN DIEGO CA 92122


CRAIG HOOPER                          CRAIG JESKEY                                  CRAIG JONES
10246 MCVINE AVE.                     3547 AUTUMNWALK DR                            4085 8TH AVE.
SUNLAND CA 91040                      RIVERSIDE CA 92503                            LOS ANGELES CA 90008




CRAIG KACKENMEISTER                   CRAIG KIMURA                                  CRAIG KOTTICK
343 VILLAGE WALK DRIVE                11731 PALOMA                                  1595 QUEEN STREET
MACUNGIE PA 18062                     GARDEN GROVE CA 92843                         NORTH BELLMORE NY 11710




CRAIG LARIMER                         CRAIG LARSON                                  CRAIG LIPPY
324 FRANKLIN STREET                   2141 LINDEN RD                                121 SANFORD STREET
BETHLEHEM PA 18018                    WINTER PARK FL 32792                          GLENS FALLS NY 12801




CRAIG LONG                            CRAIG LOUIS                                   CRAIG MACINTOSH
65 WEST HIGHLAND LANE                 417 NW 2ND WAY                                13607 CROSSCLIFFE PLACE
LEHIGHTON PA 18235                    DEERFIELD BEACH FL 33441                      ROSEMOUNT MN 55068




CRAIG MALLORY                         CRAIG MARLOWE                                 CRAIG MARTIN
2513 BACK BAY LOOP                    2087 JORDAN TR.                               106 BEACON DR
COSTA MESA CA 92627                   BUFFALO GROVE IL 60089-4645                   SOUND BEACH NY 11789




CRAIG MARTIN                          CRAIG MATSUDA                                 CRAIG MOORE
55 SUNNYLINE DRIVE                    1758 HILLSIDE DR                              162 AVE B
CALVERTON NY 11933                    GLENDALE CA 91208                             HOLBROOK NY 11741




CRAIG NAKANO                          CRAIG NESSLAR                                 CRAIG OZNICK
1862 NORTH AVENUE 56                  291 ELM ST.                                   8872 F.M. 35
LOS ANGELES CA 90042                  GLEN ELLYN IL 60137                           ROYSE CITY TX 75189




CRAIG PARSHALL                        CRAIG PASKOSKI                                CRAIG QUINLEY
1500 W. MONROE                        2403 FIELDING DR                              15092 CLARK CIRCLE
#217                                  FINKSBURG MD 21048                            IRVINE CA 92604
CHICAGO IL 60607



CRAIG REMHILD                         CRAIG SAPUTO                                  CRAIG SHAFFER
461 SAYVILLE BLVD                     12 SHERI CT                                   5132 BARTHOLOW RD
SAYVILLE NY 11782                     FARMINGVILLE NY 11738                         SYKESVILLE MD 21784




                                             Page 487 of 2387
                           Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 488 of 800
CRAIG SPALTER                           CRAIG SPEZZA                                  CRAIG SPINNATO
9142 MALLARD AVENUE                     160 NORTH MICHIGAN AVENUE                     120 AIMES DRIVE
FOUNTAIN VALLEY CA 92708                MASSAPEQUA NY 11758                           WEST HAVEN CT 06516




CRAIG STEERE                            CRAIG STEPHENSON                              CRAIG STEVENS
939 N PROSPERO DR                       5305 REGENCY PARK N.                          728 MAIN STREET
COVINA CA 91722                         QUEENSBURY NY 12804                           NORTHAMPTON PA 18067




CRAIG STEVENS                           CRAIG SUSMIN                                  CRAIG TREADWAY
37 VERGASON AVENUE                      70 WESTCHESTER DRIVE                          199 GREAT HILLS DRIVE
NORWICH CT 06360                        ROCKY POINT NY 11778                          SOUTH ORANGE NJ 07079




CRAIG TUCKER                            CRAIG TURNER                                  CRAIG VAN VELSOR
1795 FORT SMITH BLVD                    1281 N CATALINA AVENUE                        1216 LEISURE STREET
DELTONA FL 32725                        PASADENA CA 91104                             COUPEVILLE WA 98239




CRAIG WALKER                            CRAIG WIBERG                                  CRAIG ZIEGLER
1909 PALOMA STREET                      41 GRAYMOOR LANE                              600 WEST DRUMMOND
PASADENA CA 91104                       OLYMPIA FIELDS IL 60461                       APT # 319
                                                                                      CHICAGO IL 60614



CRAIG, ADRIENNE                         CRAIG, BRYON                                  CRAIG,MATTHEW J
215 BAINBRIDGE CIRCLE                   4544 SANDWOOD ROAD                            3816 ALIA VISTA
DALLAS GA 30132                         SPARROWS POINT MD 21219                       DALLAS TX 75229




CRAIG-EDWARDS, SUZI                     CRAIN COMMUNICATIONS                          CRAIN COMMUNICATIONS
5 PINEWOOD LANE                         1155 GRATIOT AVE                              DRAWER NO.5842
ENFIELD CT 06082                        DETROIT MI 48207-2912                         PO BOX 79001
                                                                                      DETROIT MI 48279



CRAIN COMMUNICATIONS                    CRAIN COMMUNICATIONS INC                      CRAIN COMMUNICATIONS INC
PO BOX 64000                            1155 GRATIOT AVE                              965 EAST JEFFERSON
DEPT 64572                              DETROIT MI 48207                              DETROIT MI 48207
DETROIT MI 48264-0572



CRAIN COMMUNICATIONS INC                CRAIN COMMUNICATIONS INC                      CRAIN, JEFFREY LEO
DEPT 64572                              DRAWER NO.5842                                LEOS LANDSCAPES
PO BOX 64000                            PO BOX 79001                                  1418 RICHMOND AVENUE APT 1032
DETROIT MI 48264-0572                   DETROIT MI 48279-5842                         HOUSTON TX 77006



CRALL, KRISTIE A                        CRAMER KRASSELT COMPANY INC                   CRAMER KRASSELT COMPANY INC
367 APT B HILLTOP COURT                 225 E ROBINSON ST                             135 S LASALLE DEPT 1940
NEWPORT NEWS VA 23603                   ORLANDO FL 32801                              CHICAGO IL 60674-1940




                                               Page 488 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 489 of 800
CRAMER KRASSELT COMPANY INC            CRAMER KRASSELT COMPANY INC                   CRAMER KRASSELT COMPANY INC
1940 PAYSPHERE CIRCLE                  225 N MICHIGAN AVE                            39012 TREASURY CENTER
CHICAGO IL 60674                       CHICAGO IL 60601                              CHICAGO IL 60694




CRAMER KRASSELT COMPANY INC            CRAMER, JEFFREY GARY                          CRAMER, KEITH LEROY
733 N VAN BUREN AVE                    11441 NW 39TH CT APT NO.120                   4100 TIMBERBROOK DR
MILWAUKEE WI 53202                     CORAL SPRINGS FL 33065                        RALEIGH NC 27616




CRAMPTON INC                           CRAMPTON, VINCENT                             CRANBERG, GILBERT
7437 SOUTH VINCENNES AVENUE            9318 DANEY ST                                 427-51ST ST
CHICAGO IL 60621                       GOTHA FL 34734                                DES MOINES IA 50312




CRANDALL, LISA                         CRANDOL, DIANE                                CRANE, JOYCE A
8382 NW 23RD MANOR                     3 BOXWOOD POINT RD                            ONE MOUNTAIN VIEW LANE
CORAL SPRINGS FL 33065                 HAMPTON VA 23669                              WESTFORD MA 01886




CRANFORD, JEFF E.                      CRASH MANSION                                 CRAVEN, BRUCE
3245 ROSEMARY LANE                     55 E 9TH ST APT 1P                            12212 WOODELVES DRIVE
WEST FRIENDSHIP MD 21794-9211          NEW YORK NY 10003                             OWINGS MILLS MD 21117




CRAWFORD & COMPANY                     CRAWFORD & COMPANY                            CRAWFORD & COMPANY
ATTN LOSS FUND ACCOUNTING              ATTN LOSS FUND ACCOUNTING                     PO BOX 101493
1001 SUMMIT BLVD                       100 GLENDALE POINT PKWY SUITE 200             ATLANTA GA 30392-1493
ATLANTA GA 30319                       ATLANTA GA 30342



CRAWFORD & COMPANY                     CRAWFORD & COMPANY                            CRAWFORD & COMPANY
PO BOX 105159                          PO BOX 404325                                 PO BOX 4418
ATLANTA GA 30348-5159                  ATLANTA GA 30384-4325                         ATLANTA GA 30302




CRAWFORD JOHNSON & NORTHCOTT INC       CRAWFORD, JIM                                 CRAWFORD, MALIK
309 COURT AVE     STE 226              PMB NO.134                                    1993 DEFOOR AVE APT B
DES MOINES IA 50309                    1835 HIGHWAY 45 NORTH                         ATLANTA GA 30318
                                       COLUMBUS MS 39705



CRAWFORD, MARGARET                     CRAWFORD, MOSES                               CRAWFORD, THOMAS M
1281 BROCKETT RD NO.54D                2925 NW 206 ST                                13 FRANCES ST
CLARKSTON GA 30021                     OPA-LOCKA FL 33054                            NEWPORT NEWS VA 23601




CRAWFORD, WILLIAM                      CRAWFORD,JESSE                                CRAWLEY, KIRSTAN R
3509 B AVENIDA MADERA                  138 COTTAGE GROVE RD                          3384 BRAEMAR CT
BRADENTON FL 34210                     BLOOMFIELD CT 06002-3206                      WHITE PLAINS MD 20695




                                              Page 489 of 2387
                            Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 490 of 800
CRAWLEY-HUNTER, BRENDA                   CRAYON, MARVIN L                              CRAYTON, EDWIN L
23021 BALTIMORE LANE                     134 E. 82ND PLACE                             1630 E 92ND PL   APT 1
CARROLLTON VA 23314                      LOS ANGELES CA 90003                          CHICAGO IL 60617




CREA, PAUL                               CREAMER, KATE                                 CREARY, PAULETTE
3150 GRANADA AVENUE                      1503 MALVERN AVENUE                           4400 NW 36 ST    APT 201
EL MONTE CA 91733                        TOWSON MD 21204                               LAUDERDALE LAKES FL 33319




CREATIVE ALTERNATIVES                    CREATIVE CIRCLE ADVERTISING SOLUTIONS IN      CREATIVE CIRCLE LLC
2 ANCHOR COURT                           123 DYER STREET SUITE 3B                      5750 WILSHIRE BLVD STE 610
HUNTINGTON STATION NY 11746              PROVIDENCE RI 02903                           LOS ANGELES CA 90036




CREATIVE CIVILIZATION                    CREATIVE CONSORTIUM INC                       CREATIVE DATA SERVS, INC.
106 AUDITORIUM 2ND FLOOR                 1 N LASALLE ST STE 800                        519 E BRIARCLIFF
SAN ANTONIO TX 78205                     CHICAGO IL 60602                              BOLINGBROOK IL 60440




CREATIVE DATA SERVS, INC.                CREATIVE DISTRIBUTION                         CREATIVE GOOD
P.O. BOX 17463                           135-01 62ND RD                                307 W 38TH ST NO.1701
CHICAGO IL 60617                         FLUSHING NY 11367                             NEW YORK NY 10018




CREATIVE ILLUSTRATORS                    CREATIVE ILLUSTRATORS                         CREATIVE INFLATABLES
231 E 76TH ST NO.5D                      DBA CREATIVE ILLUSTRATORS AGENCY              1638 ADELIA AVE
NEW YORK NY 10021                        231 E 76TH STREET 5D                          SOUTH EL MONTE CA 91733
                                         NEW YORK NY 10021



CREATIVE LOGISTICS                       CREATIVE LOGISTICS                            CREATIVE MORTGAGE USA
220 LAWRENCE AVENUE                      ACCOUNTING DEPT                               401 E 162ND ST  STE 201
LAWRENCE NY 11559                        200 PARKWAY DRIVE SOUTH                       SOUTH HOLLAND IL 60473
                                         SUITE 301
                                         HAUPPAUGE NY 11788


CREATIVE OFFICE PAVILLION                CREATIVE OFFICE PAVILLION                     CREATIVE PACKAGING CORP
ONE DESIGN CENTER PL                     P O BOX 845577                                611 WEST ROBINSON ST
BOSTON MA 02210                          BOSTON MA 02284-5577                          ORLANDO FL 32801




CREATIVE PHOTOGRAPHERS INC               CREATIVE PRINT & PACKAGING                    CREATIVE PRINT & PACKAGING
444 PARK AVENUE SOUTH                    210 GREENBELT PKWY                            PO BOX 606
SUITE 502                                HOLBROOK NY 11741-4441                        HOLBROOK NY 11741
NEW YORK NY 10016



CREATIVE PRINTING SERVICES INC           CREATIVE PRINTING SERVICES INC                CREATIVE PRINTING SERVICES INC
135 S LASALLE ST DEPT4406                1701 BRICHWOOD AVE                            4406 PAYSPHERE CIRCLE
CHICAGO IL 60674-4406                    DES PLAINES IL 60018                          CHICAGO IL 60674




                                                Page 490 of 2387
                           Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 491 of 800
CREATIVE SERVICES                       CREATIVE STUDIO SOLUTIONS INC                 CREATIVE VISIONS MIAMI INC
628 RIVERA DR                           10600 W 50TH AVE                              1901 N PARK ROAD
NEW BRIGHTON MN 55112                   NO.5                                          HOLLYWOOD FL 33021
                                        WHEAT RIDGE CO 80033



CREATORS SYNDICATE                      CREBASE, JOYCE R                              CREDIT DECISIONS INTERNATIONAL
5777 WEST CENTURY BOULVARD              4 BALSAM RD                                   761 BUSSE HWY
SUITE 700                               WALLINGFORD CT 06492                          PARK RIDGE IL 60068
LOS ANGELES CA 90045



CREDIT DECISIONS INTERNATIONAL          CREDIT DECISIONS INTERNATIONAL                CREDIT SUISSE GROUP
95 RANDALL ST                           PO BOX 1394                                   COLUMN FINANCIAL INC.
ELK GROVE VILLAGE IL 60007              PARK RIDGE IL 60068                           227 WEST MONROE ST, FRANKLIN CENTER
                                                                                      CHICAGO IL 60606-5016



CREDIT UNION 1                          CREDIT UNION ONE                              CREED, GEORGE LOUIS
435 N. MICHIGAN AVE                     435 N MICHIGAN AVENUE                         315 WEST HILL CREST BOULEVARD
SUITE 919                               (TT919)                                       MONROVIA CA 91016
CHICAGO IL 60611                        CHICAGO IL 60611



CREED, PAUL                             CREEKVIEW REALTY                              CREEL PRINTING COMPANY
240 ALEMEDA DR.                         3804 MATTERHORN DR                            150 EAST BAKER STREET
PALM SPRINGS FL 33461                   PLANO TX 75075                                COSTA MESA CA 92626




CREEL PRINTING COMPANY                  CREEL PRINTING COMPANY                        CREEL PRINTING COMPANY
PO BOX 1170                             PO BOX 29029                                  6330 W SUNSET RD
COSTA MESA CA 92628-1170                LAS VEGAS NV 89126-3029                       LAS VEGAS NV 89118




CREGAN, LISA                            CREIGHTON, MATT                               CREIGHTON, PATRICIA
PO BOX 949                              6867 KELSO CREEK RD                           6142 INDIAN WOOD CIR SE
LAKE FOREST IL 60045                    WELDON CA 93283                               MABLETON GA 30126




CREMEN, DAVID                           CRENNAN, RACHEL                               CRESCENCIO CABRERA
2508 SILVA CT.                          5 LILAC LN                                    996 CARNATION AVE
MANCHESTER MD 21102                     SAYVILLE NY 11782                             COSTA MESA CA 92626




CRESCENCIO GARCIA                       CRESCENCIO J GALVEZ                           CRESCENT ENTERTAINMENT
604 N BUSHNELL AVENUE                   3000 E 3RD STREET                             205 LEXINGTON AVENUE
ALHAMBRA CA 91801                       LOS ANGELES CA 90033                          11TH FLOOR
                                                                                      NEW YORK NY 10016



CRESCENT ENTERTAINMENT                  CRESCENT REAL ESTATE EQUITIES                 CRESCENT REAL ESTATE EQUITIES
805 THIRD AVENUE                        777 MAIN STREET                               PO BOX 840377
NEW YORK NY 10022                       FORT WORTH TX 76102                           DALLAS TX 75284




                                               Page 491 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 492 of 800
CRESCENT REAL ESTATE EQUITIES          CRESPI, MARILYN                               CRESPO, MARIA A
PO BOX 841763                          733 WASHINGTON AVE APT 2                      1695 MADISON AVE
DALLAS TX 75284-1763                   NORTHAMPTON PA 18067                          NEW YORK NY 10029




CRESSER, JANET                         CRESTON PUBLISHING CO                         CRESWELL, ADA
9262 SAGEBRUSH ST                      503 WEST ADAMS ST                             1647 POOLE RD       STE A
APPLE VALLEY CA 92308                  ATTN ROSE HENRY                               DARLINGTON MD 21034
                                       CRESTON IA 50801



CRESWELL, ADA                          CREWDSON, JOHN                                CREWDSON, JOHN
1647 POOLE RD UNIT A                   MARYLAND BUREAU CORRESPONDENT                 6437 DAHLONEGA ROAD
DARLINGTON MD 21034                    435 N MICHIGAN                                BETHESDA MD 20816
                                       CHICAGO IL 60611



CREWDSON, JOHN M                       CREWS, JORDAN                                 CREWS, JOSEPH W
6437 DAHLONEGA ROAD                    217 HIGH ST                                   2545 SE 1ST CT
BETHESDA MD 20816                      VALDOSTA GA 31602                             POMPANO BEACH FL 33062




CRIM, KATHRYN                          CRIS AFANTE                                   CRIS ALLEN
816 YORK ST                            1644 W OLIVE AVE                              1255 S. MICHIGAN AVE., UNIT 2004
SAN FRANCISCO CA 94311                 CHICAGO IL 60660                              CHICAGO IL 60605




CRIS WYATT                             CRISHAM, MEGAN MD                             CRISP WIRELESS INC
171 BRANDON AVE                        2746 CENTRAL PARK                             386 PARK AVE SOUTH STE 1405
GLEN ELLYN IL 60137                    EVANSTON IL 60201                             NEW YORK NY 10016




CRISPIN CORPORATION                    CRISPIN CORPORATION                           CRISPIN GOOLSBY
312 WEST MILLBROOK                     PO BOX 110327                                 1259 ELM RD
SUITE 113                              RESEARCH TRIANGLE PARK NC 27709               ARBUTUS MD 21227
RALEIGH NC 27609



CRISPINO, DANIEL                       CRISPUS ATTUCKS COMMUNITY CENTER              CRISTALIA RODRIGUEZ
17860 SW 3RD ST                        407 HOWARD AVE                                204 NORWOOD AVENUE
PEMBROKE PINES FL 33029                LANCASTER PA 17608                            BROOKLYN NY 11208




CRISTANCHO, DIEGO MAURICIO             CRISTANCHO, IVAN                              CRISTHIAM BUCHELI
1548 HARRIER DR                        7113 HARBOR HEIGHTS DR                        320 WAY POINT DRIVE
ORLANDO FL 32837                       ORLANDO FL 32835                              GROVELAND FL 34736




CRISTI KEMPF                           CRISTIAN HERNANDEZ                            CRISTINA BACHETTI
1070 W. 15TH ST                        428 N POPLAR AVE                              14 E GREENBRIAR DRIVE
#244                                   APT F                                         FARMINGTON CT 06032
CHICAGO IL 60608                       MONTEBELLO CA 90640




                                              Page 492 of 2387
                           Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 493 of 800
CRISTINA BOLIS                          CRISTINA BROCKMAN                             CRISTINA BYOTS
1620 S MICHIGAN AVE #717                7352 EL NIDO                                  834 WEST MONTROSE
CHICAGO IL 60616-4691                   LAVERNE CA 91750                              UNIT 201
                                                                                      CHICAGO IL 60657



CRISTINA MARTINEZ                       CRISTINA, JENNIFER J                          CRISTINE PERRY
16140 ORANGE CT.                        3527 N SHEFFIELD     APT 1                    5519 CLAIREMONT MESA BLVD #327
FONTANA CA 92335                        CHICAGO IL 60657                              SAN DIEGO CA 92117




CRISTLY DEVADASS                        CRISTOBAL HERRERA                             CRISTOL, DANIEL A
11746 S THROOP                          7791 NW 34TH ST                               2820 LINDEN LN
CHICAGO IL 60643                        HOLLYWOOD FL 33024                            WILLIAMSBURG VA 23185




CRISTOVAO, PEDRO                        CRISTY JONES                                  CRITCHFIELD, JUSTIN
33 ROBERTS RD                           39029 EMERALDA ISLAN                          3590 VAN TEYZINGEN DR APT A
MARLBOROUGH CT 06447                    LEESBURG FL 34788                             COLORADO SPRINGS CO 80917




CRITES, LORETTA                         CRITICAL SITE SOLUTIONS                       CRITSER, GREG
32 PARADISE RD.                         8304 ESTERS BLVD NO.870                       1550 N GARFIELD
ABERDEEN MD 21001                       IRVING TX 75063                               PASADENA CA 91104




CRITTENDON, TYRONE A                    CRITTER GITTERS                               CROCILLA, KEVIN
432 SW 1ST CT APT 1                     100 N. HOPE AVENUE                            5203 PINEHURST DRIVE
POMPANO BEACH FL 33060                  SUITE 18                                      BOYNTON BEACH FL 33426
                                        SANTA BARBARA CA 93110



CROCKER, BILL                           CROCKER, CAROLYN C                            CROCKER, JOSEPHINE
71 ELY CIRC                             24 MILLPOND RD APT E                          94 WOODLAND AVE
WINDSOR CT 06095                        BROAD BROOK CT 06016-9107                     BLOOMFIELD CT 06002




CROCKER-HOLIDAY, MABEL                  CROKIN, ELIZABETH MARY                        CROMELIN, RICHARD
222 WALKER DR                           1221 N. DEARBORN. ST 1609N                    1856 LEMOYNE STREET
WILLIAMSBURG VA 23188                   CHICAGO IL 60610                              LOS ANGELES CA 90026




CROMLEY, JANET S                        CROMWELL TAX COLLECTOR                        CROMWELL, JACQUELINE G
16 5TH PLACE                            41 WEST ST                                    147 PINNEY ST   APT 22
LONG BEACH CA 90802                     CROMWELL CT 06416                             ELLINGTON CT 06029




CRONER COMPANY                          CRONIN & COMPANY                              CRONIN, MRS. WILLIAM R.
1028 SIR FRANCIS DRAKE BLVD             59 NYE ROAD                                   226 MT. ROYAL AVE.
KENTFIELD CA 94904-1426                 GLASTONBURY CT 06033                          ABERDEEN MD 21001




                                               Page 493 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 494 of 800
CROOKS, PAUL                           CROOME, RICHARD W                             CROSBIE,MICHAEL
7300 CORAL BLVD                        2603 ASHLEY                                   47 GRANDVIEW TERR
MIRAMAR FL 33023                       COLLEGE STATION TX 77845                      ESSEX CT 06426




CROSBY III, HENRY                      CROSS FIRE NEWSPAPER GROUP                    CROSS SOUND FERRY SERVICES INC
7409 WICKHAM AVE                       9007 ARROW ROUTE    STE 250                   2 FERRY ST
NEWPORT NEWS VA 23605                  RANCHO CUCAMONGA CA 91730                     NEW LONDON CT 06320




CROSS, ALEXIA                          CROSS, CARLTON                                CROSS, CHARLIE W
3127 NW 86TH AVE                       43 LATIMER ST                                 7202 SPORTSMAN DR.
SUNRISE FL 33351                       EAST HARTFORD CT 06108                        NORTH LAUDERDALE FL 33068




CROSS, JAMES                           CROSS, ROBERT C                               CROSS, ROBIN
1029 2ND ST APT 208                    1330 W THORNDALE AVE                          2100 NORTH 32ND AVE
SANTA MONICA CA 90403                  CHICAGO IL 60660                              HOLLYWOOD FL 33021




CROSS, WILLIAM C                       CROSSETTE, BARBARA                            CROSSFADER KING
5630 CLADWELL DR                       PO BOX 250                                    1136 N MILWAUKEE AVE     LOFT 2F
PENDLETON IN 46064                     UPPER BLACK EDDY PA 18972                     CHICAGO IL 60642




CROSSING ON ENTERPRISE LLC             CROSSLAND, LIONEL R                           CROSSTOWN COMMUNICATIONS INC
1040 WILLA SPRINGS DR                  501 1/2 PHOSPHOR AVE                          810 VERONA RD
WINTER SPRINGS FL 32708                METAIRIE LA 70005                             MARSHALL MI 49068




CROSSWORDS LIMITED                     CROSSWORDS LIMITED                            CROUCH & DUNN MD LLC
8 BADCOX                               C/O MICHAEL MEPHAM MULTIMEDIA LTD             155 S HALIFAX AVE
FROM, SOMER BA11 1BQ                   8 BADCOX                                      DAYTONA BEACH FL 32118
                                       FROME, SOMER BA11 3BQ



CROUCH, STANLEY                        CROUERE JR, JOFFRE J                          CROUTHAMEL, CASEY
198 SACKETT STREET NO.1                948 RUE CHINON                                2114 W ALLEN ST
BROOKLYN NY 11231                      MANDEVILLE LA 70471                           ALLENTOWN PA 18104




CROW, MARGARET FRANCES                 CROWDER JR, JESSE T                           CROWDER, LATOYA JANET
23 PIERSIDE DR NO.422                  2840 ELMWOOD LANE                             860 FRANKLIN ROAD NO.81
BALTIMORE MD 21230                     MOUNT DORA FL 32757                           MARIETTA GA 30067




CROWE, J D                             CROWE, J D                                    CROWE, MICHELLE
212 FIG AVE                            PO BOX 2488                                   227 E DELAWARE       APT 3D
FAIRHOPE AL 36532-1415                 MIBILE AL 36652                               CHICAGO IL 60611




                                              Page 494 of 2387
                            Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 495 of 800
CROWE, SUZANNE L                         CROWELL, TAWANNA JANENE                       CROWLEY, ARLENE
640 COUNTY RD 533                        112 BRINKMAN DR                               37 BELLE AVE
SUMTERVILLE FL 33585                     HAMPTON VA 23666                              ENFIELD CT 06082




CROWLEY, DENNIS M                        CROWLEY, MICHAEL                              CROWLEY, MICHAEL
5526 ROCK CREEK ROAD                     1645 CONNECTICUT AVE NW NO.2                  THE NEW REPUBLIC
RANCHO CUCAMONGA CA 91739                WASHINGTON DC 20009                           1331 H STREET NW NO.700
                                                                                       WASHINGTON DC 20009



CROWLEY, RYAN A                          CROWN ALARM CO                                CROWN ALARM CO
12 SEARLE AVE                            PO BOX 60514                                  PO BOX 60514
EASTHAMPTON MA 01027                     PASADENA CA 90116                             PASADENA CA 91116




CROWN CREDIT COMPANY                     CROWN CREDIT COMPANY                          CROWN CREDIT COMPANY
40 S. WASHINGTON STREET                  PO BOX 64637                                  PO BOX 640352
NEW BREMEN OH 45869                      DICK FALKNER                                  CINCINNATI OH 45264-0352
                                         DETROIT MI 48264-0637



CROWN LIFT TRUCKS                        CROWN LIFT TRUCKS                             CROWN LIFT TRUCKS
4061 VIA ORO AVE                         P O BOX 3330                                  PO BOX 3330
LONG BEACH CA 90810-1458                 1360 DARIUS COURT                             1360 DARIUS CT
                                         CITY OF INDUSTRY CA 91744                     CITY OF INDUSTRY CA 91744



CROWN LIFT TRUCKS                        CROWN LIFT TRUCKS                             CROWN LIFT TRUCKS
2971 CENTER PORT CIRC                    430 E PLAINFIELD RD                           430 EAST PLAINFIELD
POMPANO BEACH FL 33064                   LAGRANGE IL 60525                             LA GRANGE IL 60525




CROWN LIFT TRUCKS                        CROWN LIFT TRUCKS                             CROWN MUSIC PRODUCTIONS
5 CHARLOTTE AVE., SUITE 1                P O BOX 641173                                612 SEDGWICK DRIVE
HICKSVILLE NY 11801                      CINCINNATI OH 45264-1173                      LIBERTYVILLE IL 60048




CROWN SUPPLY                             CROWN SUPPLY                                  CROWNE PLAZA ALLENTOWN HOTEL
5485 N ELSTON                            5485 N ELSTON AVE                             C/O DRIFTWOOD HOSPITALITY MGMT
CHICAGO IL 60630                         CHICAGO IL 60630                              1001 N US HIGHWAY ONE ST 800
                                                                                       JUPITER FL 33477



CROWNE PLAZA ALLENTOWN HOTEL             CROWNE PLAZA AT THE UN                        CROWNOVER, MELANIE L
904 HAMILTON ST                          304 E 42 ST                                   54 BIG TOM RD
ALLENTOWN PA 18101                       NEW YORK NY 10017                             COLUMBUS MS 39705




CRP HOLDINGS B, L.P.                     CRP HOLDINGS C, L.P.                          CRUICKSHANK, ROBERT
RE: DES PLAINES 2305 MOUNT PR            RE: MORTON GROVE TRIBUNE                      310 SPENCER ST NO.4
C/O COLONY REALTY PARTNERS LLC           C/O COLONY REALTY PARTNERS LLP                MONTEREY CA 93940
ATTN:KEISHA FREEMAN, TWO INTL PLACE      TWO INTERNATIONAL PLACE
BOSTON MA 02110                          BOSTON MA 02110




                                                Page 495 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 496 of 800
CRUM, JOSHUA M                         CRUMB, HENRY                                  CRUMBLEY, PATRICIA
1819 LINCOLN AVENUE                    515 1/2 DOUGLAS                               106 GRINDSTONE TURN
SANFORD FL 32771                       MORRIS IL 60450                               YORKTOWN VA 23693




CRUMBLING, KAY A                       CRUMP, MICHAEL DAVID                          CRUSH, HENRY
TAX COLLECTOR - COUNTY                 40272 HIDDENHEIGHTS LN                        168 ROBERTS ST
192 OAK RD                             LOVETTSVILLE VA 20180                         ALBURTIS PA 18011
DALLSTOWN PA 17313



CRUTCHLEY, BEN                         CRUZ H, LUIS A.                               CRUZ III, HERIBERTO
23 GOODRICH RD                         148 LOCKWOOD AVE                              44 B CHANNING DR
ANNAPOLIS MD 21401                     STAMFORD CT 06902                             MANCHESTER CT 06040




CRUZ LABARGE, ANNA                     CRUZ LABARGE, ANNA                            CRUZ LOPEZ, ELDER
2 DOUGLAS ST 2E                        20 DOUGLAS ST 2E                              1465 GARDEN RD
HARTFORD CT 06114                      HARTFORD CT 06114                             WESTON FL 33326




CRUZ REYES                             CRUZ TRUJILLO                                 CRUZ, ANGEL L
350 CHESTNUT STREET                    1515 S. 58TH COURT                            10040 REFLECTIONS BLVD. W. # 202
3RD FLOOR                              CICERO IL 60804                               SUNRISE FL 33351
NEW BRITAIN CT 06051



CRUZ, BILL                             CRUZ, CARMEN I                                CRUZ, CARMEN I
2400 SOUTH PARK ROAD NO.109            4417 RAVINNIA DR                              4417 RAVINNIA DR STE 2005
PEMBROKE PARK FL 33009                 ORLANDO FL 32809                              ORLANDO FL 32809




CRUZ, ELISABEL MISAS                   CRUZ, ESTHER                                  CRUZ, GEORGINA
7441 SHERIDAN ST.                      233 STONERIDGE DRIVE                          1130 GOVERNORS WAY
HOLLYWOOD FL 33024                     DYER IN 46311                                 VERO BEACH FL 32963




CRUZ, GEORGINA                         CRUZ, GLORIA                                  CRUZ, HECTOR
C/O ESCRITORA INDEPENDIENTE            9818 HEATON COURT                             2704 RED LION SQ
1130 GOVERNORS WAY                     ORLANDO FL 32817                              WINTER PARK FL 32792
VERO BEACH FL 32963



CRUZ, HUMBERTO                         CRUZ, HUMBERTO                                CRUZ, JOHNNY
1130 GOVERNORS WAY                     4320 SW 148TH TERR                            32 PARK PL   APT B-1
VERO BEACH FL 32963                    MIRAMAR FL 33027                              NEW BRITAIN CT 06052




CRUZ, LUIS                             CRUZ, MAYRA                                   CRUZ, RAUL E. MIRANDA
6190 SEVEN SPRINGS BLVD                PO BOX 5283                                   CALLE 8, EDIF H, APTO 102
GREEN ACRES FL 33463                   DELTONA FL 32728                              RESIDENCIAL ASTURIAS
                                                                                     SAN BENITO DE ALMEDA
                                                                                     KM 11 AUTOPISTA DUARTE




                                              Page 496 of 2387
                           Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 497 of 800
CRUZ, RICARDO                           CRUZ, RICHARD D                               CRUZ, SABEL MISAS
702 W WALNUT ST    APT 4A               371 OAK SPRINGS CT                            7441 SHERIDAN ST
ALLENTOWN PA 18101                      DEBARY FL 32713                               HOLLYWOOD FL 33024




CRYER, DANIEL                           CRYSANIA WEESE                                CRYSTAL DEY
180 W END AVE NO.19-M                   6920 NOVA DRIVE                               26 JOHNSON STREET
NEW YORK NY 10023                       APT. # 106                                    NEWINGTON CT 06111
                                        DAVIE FL 33317



CRYSTAL FISCHER                         CRYSTAL GUERRERO                              CRYSTAL HALL
54 SOUTH CLINTON AVENUE                 5620 ANTELOPE TRAIL                           518 IOWA AVENUE
APT. J1                                 SANTA MARIA CA 93455                          AURORA IL 60506
BAY SHORE NY 11706



CRYSTAL JONES                           CRYSTAL JONES                                 CRYSTAL JONES
P.O. BOX 406                            7240 S MERRILL AVE                            1727 N. SAWYER
SOUTH HOLLAND IL 60473                  3RD FLOOR                                     CHICAGO IL 60647
                                        CHICAGO IL 60649



CRYSTAL LEWIS-COTTER                    CRYSTAL MOSLEY                                CRYSTAL PHILLIPS
56 INGRAHAM STREET                      12127 S. THROOP                               2023 WALBROOK AVE
HEMPSTEAD NY 11550                      CHICAGO IL 60643                              BALTIMORE MD 21217




CRYSTAL SHAARDA                         CRYSTAL SMITH                                 CRYSTAL SWANSON
149 NANTUCKET PLACE                     8302 S PAULINA                                222 STANGER AVENUE
NEWPORT NEWS VA 23606                   APT. #2N                                      GLASSBORO NJ 08028
                                        CHICAGO IL 60620



CRYSTAL TALIO                           CSC COMMUNICATIONS LLC                        CSC MANAGEMENT, INC
9833 BAYWINDS DRIVE                     402 REGESTER AVE                              PO BOX 547
UNIT 7104                               BALTIMORE MD 21212-1507                       MONTVALE NJ 07645
WEST PALM BEACH FL 33411



CSD TOWER LLC                           CSD TOWER, LLC                                CSERPNYAK, REBECCA
900 CHAPEL ST APT 701                   RE: NEW HAVEN 900 CHAPEL ST.                  2531 LEVANS RD
NEW HAVEN CT 06510                      900 CHAPEL STREET                             COPLAY PA 18037
                                        NEW HAVEN CT 06510



CSMG                                    CSO EXECUTIVE COUNCIL                         CSO EXECUTIVE COUNCIL
20 W KINZIE ST     STE 1000             3605 SANDY PLAINES RD                         4488 N SLOPE CIRC
CHICAGO IL 60610                        SUITE 240 BOX 201                             MARIETTA GA 30066
                                        MARIETTA GA 30066



CSO EXECUTIVE COUNCIL                   CSO EXECUTIVE COUNCIL                         CSORDAS, DAVID J
C/O SECURITY EXECUTIVE COUNCIL          PO BOX 9208                                   7183 CARL'S HILL ROAD
492 OLD CONNECTICUT PATH                FRAMINGHAM MA 01701-9208                      ZIONSVILLE PA 18092
FRAMINGHAM MA 01701




                                               Page 497 of 2387
                         Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 498 of 800
CSU FULLERTON ADVISORY SERVICES CORP   CSU FULLERTON ADVISORY SERVICES CORP         CSU FULLERTON ADVISORY SERVICES CORP
CALIFORNIA ST UNIVERSITY               CALIFORNIA STATE UNIVERSITY, FULLER          CAREER SERVICES
COLLEGE PARK BUILDING                  211 HUMANITIES BLVD.                         LANGSDORF HALL ROOM 208
2600 E NUTWOOD AVE STE 660             FULLERTON CA 92634                           PO BOX 6830
FULLERTON CA 92831-3110                                                             FULLERTON CA 92834-6830


CSU FULLERTON ADVISORY SERVICES CORP   CSU SYSTEM FOUNDATION INC                    CSX TRANSPORTATION
PO BOX 6828                            39 WOODLAND ST                               6737 SOUTHPOINT DR S
FULLERTON CA 92834                     HARTFORD CT 06105-2337                       JACKSONVILLE FL 32216




CSX TRANSPORTATION                     CSX TRANSPORTATION                           CSX TRANSPORTATION
ATTN MARCO TURRA DIRC RAIL LOGISTI     PO BOX 100525                                PO BOX 116628
500 WATER ST 4TH FLR SC J825           ATLANTA GA 30384-0525                        ATLANTA GA 30368-6628
JACKSONVILLE FL 32202



CSX TRANSPORTATION                     CSX TRANSPORTATION                           CSX TRANSPORTATION
PO BOX 532652                          CSXT N/A 103066                              P O BOX 641949
ATLANTA GA 30353-2652                  PO BOX 640839                                PITTSBURGH PA 15264-1949
                                       PITTSBURGH PA 15264



CT CENTRALIZED CHILD SUPPORT PROCESS   CT COMMISSIONER OF REVENUE SERV              CT CORPORATION SYSTEM
PO BOX 990032                          25 SIGOURNEY ST                              PO BOX 4349
HARTFORD CT 06199-0032                 HARTFORD CT 06106-5032                       CAROL STREAM IL 60197-4349




CT CORPORATION SYSTEM                  CT MINORITY SUPPLIER DEVELOPMENT             CT MINORITY SUPPLIER DEVELOPMENT
111 8TH AVENUE 13TH FLOOR              ATTN HARLAND HENRY                           OFFICE OF THE SECRETARY OF STATE
NEW YORK NY 10011                      C/O OFFICE OF THE SECRETARY OF ST            PO BOX 150470
                                       30 TRINITY ST                                HARTFORD CT 06106-0470
                                       HARTFORD CT 06106


CT REALTY SERVICES LLC                 CT STATE CHECK CASHING SERVICE INC           CT TRUST FOR HISTORIC PRESERVATION
155 REDSTONE HILL RD   UNIT 171        2268 FAIRFIELD AVE                           940 WHITNEY AVE
BRISTOL CT 06010                       BRIDGEPORT CT 06605                          HAMDEN CT 06517-4002




CTAM                                   CTAM                                         CTAM
20 W GUDE DR                           OF THE CAROLINAS                             201 N UNION STREET
ROCKVILLE MD 20850                     3347 PLATT SPRINGS RD                        STE 440
                                       WEST COLUMBIA SC 29170                       ALEXANDRIA VA 22314



CTAM OF THE ROCKY MOUNTAINS            CTAM TEXAS                                   CTAM TEXAS
PO BOX 630213                          15100 TRINITY BLVD SUITE 500                 15455 NORTH DALLAS PARKWAY
HIGHLAND RANCH CO 80163                FORT WORTH TX 76155                          ADDISON TX 75001




CTM BROCHURE DISPLAY OF MISSOUR        CTM BROCHURE DISPLAY OF MISSOUR              CTPS
5542 RAYTOWN ROAD                      6632 RAYTOWN RD NO. B                        WASHINGTON BUREAU
KANSAS CITY MO 64133                   KANSAS CITY MO 64133                         1325 G STREET NORTHWEST
                                                                                    SUITE 200
                                                                                    WASHINGTON DC 20005




                                             Page 498 of 2387
                         Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 499 of 800
CTV TELEVISION INC                    CTV TELEVISION INC                            CUADRA, ROGER M
9 CHANNEL NINE COURT                  PO BOX 9 STATION ""O""                        19231 SW 118TH CT
TORONTO ON M1S 4B5                    TORONTO ON M4A 2M9                            MIAMI FL 33177




CUADROS, OSCAR DAVID                  CUARTAS ZAPATA, JOHN F                        CUARTAS, OSCAR DARIO
8802 S ISLES CIRCLE                   8610 N SHERMAN CIRCLE                         7756 HARBOR BEND CIR
TAMARAC FL 33321                      MIRAMAR FL 33025                              SUITE 2005
                                                                                    ORLANDO FL 32822



CUAS, MARCO A                         CUAUHTEMOC F RODRIGUEZ                        CUAUHTLI ROURA
256 FAIRFIELD AVE                     14635 N BINNEY STREET                         1064 N. HERBERT AVE
HARTFORD CT 06114                     HACIENDA HGHTS CA 91745                       LOS ANGELES CA 90063




CUBS CARE                             CUCAMONGA VALLEY WATER DISTRICT               CUCCIA, NICK A
1060 WEST ADDISON STREET              PO BOX 51788                                  2459 HIDALGO AVENUE
CHICAGO IL 60613                      LOS ANGELES CA 90051-6088                     LOS ANGELES CA 90039




CUCCUREDDU, GIOVANNA L                CUCIUFFO, SALVATORE                           CUCIUFFO, SALVATORE
52 SHEILA CT NO.301                   6 ERIN ST                                     66 BERKLEY ROAD
BRISTOL CT 06010-4741                 MIDDLETOWN CT 06457                           MIDDLETOWN CT 06457




CUCUZZA, ANDREW                       CUDA ENTERPRISES INC                          CUE TECH TELEPROMPTING INC
351 CENTRAL AVENUE                    102 PHEASANT TRAIL                            11135 MAGNOLIA BLVD NO. 160
NEW HAVEN CT 06515                    STREAMWOOD IL 60107                           NORTH HOLLYWOOD CA 91601-3819




CUE TECH TELEPROMPTING INC            CUESTA, JOSEPH                                CUEVA, GRACIELA J
5527 SATSUMA AVENUE                   1114 MEADOW SWEET DR                          11211 NW 1 TERR
NORTH HOLLYWOOD CA 91601              CLAYTON OH 45315                              MIAMI FL 33127




CUEVA, RITA                           CUEVAS NOVAS, GREIBAL                         CUEVAS, JULIO
385 WEST PRESTON ST                   ALONZO PEREZ PEATONAL NO.2                    10 GRAND ST NO. 113
HARTFORD CT 06114-1369                CASA NO.2                                     NEW BRITAIN CT 06052-2018
                                      SANTO DOMINGO



CUEVAS, SALVADOR                      CUFFIE, TYENA A                               CUFFY, CLAYTON
10324 SAN LUIS AVE                    1340 AVON LANE NO.9-33                        14264 NO.18 OLD COURTHOUSE WAY
SOUTH GALE CA 90280                   NORTH LAUDERDALE FL 33068                     NEWPORT NEWS VA 23602




CULBRETH, EVE                         CULINART INC                                  CULLEN BRICKER
4875 NW 5 ST                          501 WEST DYER RD                              1163 BEXLEY DRIVE
PLANTATION FL 33317                   SOUTH COAST METRO CA 92707                    A
                                                                                    GREENWOOD IN 46143




                                             Page 499 of 2387
                         Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 500 of 800
CULLER, CHRISTOPHER JOHN              CULLETON JR, JOHN R                           CULLETON, MICHAEL P
10442 SUNRISE LAKES BLVD APT 109      2401 HAIGHT AVENUE                            10962 CHARDONNAY PL
SUNRISE FL 33322                      ELDERSBURG MD 21784                           SAN DIEGO CA 92131




CULLIGAN WATER                        CULLOTTA, KAREN ANN                           CULLUM, JOHN P
9399 WEST HIGGINS ROAD                827 N DUNTON AVE                              2436 EARL ST
ROSEMONT IL 60018                     ARLINGTON HEIGHTS IL 60004                    LOS ANGELES CA 90039




CULLUM, JOHN P                        CULPEPPER JR, CHARLES                         CULPEPPER, JEFFREY
CASE NO. 452211176                    29 A PELHAM ROAD                              15641 NE 202ND ST
PO BOX 942867                         WIMBLEDON SW19 1SU                            WOODINVILLE WA 98072
SACRAMENTO CA 94267-0011



CUMMINGS, DOUG                        CUMMINGS, QUANNESHIA                          CUMMINGS,CAROLYN,L
3067 GREENWOOD AVE                    2421 NW 56TH AVE. NO. 201                     4370 NW 80 AVE
HIGHLAND PARK IL 60035-1239           LAUDERHILL FL 33313                           CORAL SPRINGS FL 33065




CUMMINS ALLISON CORPORATION           CUMMINS NORTHEAST INCORPORATED                CUMMINS NORTHEAST INCORPORATED
PO BOX 339                            PO BOX 845326                                 101 RAILROAD AVE
MT PROSPECT IL 60056                  BOSTON MA 02284                               ALBANY NY 12205




CUMMINS POWER SYSTEM                  CUMMINS POWER SYSTEM                          CUMMINS WEST INC
LOCK BOX 510277                       PO BOX 7247-8277                              PO BOX 44416
PO BOX 7777                           PHILADELPHIA PA 19170-8277                    SAN FRANCISCO CA 94144
PHILADELPHIA PA 19175



CUMULUS BROADCASTING INCR             CUMULUS BROADCASTING INCR                     CUMULUS BROADCASTING INCR
PO BOX 643162                         PO BOX 643168                                 BOX 687095 WRKR-FM/WKFR-FM/WKMI-AM
CINCINNATI OH 45264-3162              CINCINNATI OH 45264-3168                      MILWAUKEE WI 53268-7095




CUMULUS BROADCASTING INCR             CUMULUS BROADCASTING LLC BRIDGEPORT           CUMULUS BROADCASTING LLC BRIDGEPORT
BOX 68-7199                           PO BOX 643114                                 PO BOX 643168
MILWAUKEE WI 53268-7199               CINCINNATI OH 45264-3114                      CINCINNATI OH 45264-3168




CUNEO, JOHN                           CUNHA, MANUEL F                               CUNIN, DUANE
69 SPEARE RD                          746 DELLWOOD ST                               4295 NW 113 AVE
WOODSTOCK NY 12498                    BETHLEHEM PA 18017                            SUNRISE FL 33323




CUNNINGHAM DUCT CLEANING CO           CUNNINGHAM, DEBRA LYNN                        CUNNINGHAM, JEFFREY D
6 REDINGTON ST                        124 MENCHVILLE RD                             1413 BRACKIN CT
BAYSHORE NY 11706                     NEWPORT NEWS VA 23602                         HAMPTON VA 23663




                                             Page 500 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 501 of 800
CUNNINGHAM, JENNIFER L                 CUNNINGHAM, PEGGY A                           CUNNINGHAM, PHILIP J
2920 SNAKE LN                          124 MENCHVILLE ROAD                           DOSHISHA UNIVERSITY
CHURCHVILLE MD 21028                   NEWPORT NEWS VA 23602                         201 KEISUI HALL
                                                                                     KAMIGYO KU 602-8580



CUNNINGHAM, STEPHANIE                  CUNNINGHAM, THOMAS J                          CUNNINGHAM, WILLIAM
1737 PINEWIND DR                       496 RIVERBLUFF LANE                           7725 YARDLEY DR, APT NO.B-303
ALBURTIS PA 18011                      KING AND QUEEN COURT HOUSE, VA                TAMARAC FL 33321
                                        VA 23085



CUNNINGHAMS PEST CONTROL SERVICE       CUOMO, MARIO                                  CUOMO, ROBERT
3945 BLOSSUM VALLEY DR                 50 SUTTON PLACE SOUTH APT 11 G                11831 COURTLEIGH DR #101
YORK PA 17402                          NEW YORK NY 10022                             LOS ANGELES CA 90066




CUPP, JACK                             CURCIC CONSTRUCTION                           CURCIC CONSTRUCTION
1310 HIGH RIDGE DRIVE                  1515 S MELROSE NO.30                          PO BOX 22
WESTMINSTER MD 21157                   VISTA CA 92081                                SAN MARCOS CA 92079




CURCIO WEBB LLC                        CURCIO, PAUL                                  CURCIO, THIAGO P
100 BUSH ST STE 2400                   6 DRAKE AVE                                   11742 NW 1 CT.
SAN FRANCISCO CA 94104                 BELLPORT NY 11713                             CORAL SPRINGS FL 33071




CURET, BRUCE                           CURIEL, KAMREN                                CURINGTON, KIMBERLY
14 METROPOLITAN OVAL 3H                1016 W KENSINGTON RD        NO.2              112 ROBIN LANE
BRONX NY 10462                         LOS ANGLEES CA 90026                          RIVERDALE GA 30274




CURIOUS SOFTWARE INC                   CURLEY & PYNN PUBLIC                          CURLEY, DANIELLE L
1118 PASEO BARRANCA                    RELATIONS MANAGEMENT INC                      7198 HEATHER RD
SANTA FE NM 87501                      258 SOUTHHALL LANE SUITE 230                  MACUNGIE PA 18062
                                       MAITLAND FL 32751



CURNES, DAN                            CURNES, DAN                                   CURNES, DAN
13075 SPRINGDALE ST NO.235             5882 ABBEY DR                                 613 N LOUISE AVE
WESTMINSTER CA 92683                   WESTMINSTER CA 92683                          AZUSA CA 91702




CURRAN FENCING LLC                     CURRAN, TRACY                                 CURRENT NEWS COMPANY
101 SYCAMORE AVE                       6004 S. PARKSIDE AVENUE                       2052 W VIRGINIA AVE NE
FOLSOM PA 19033                        CHICAGO IL 60638                              WASHINGTON DC 20002




CURRIER, BRENT C                       CURRY JR, WILLIAM E                           CURRY, CHRIS
155 TURKEY HILLS RD                    119 TOWN FARM ROAD                            209 AUSTIN CIRCLE
EAST GRANBY CT 06026                   FARMINGTON CT 06032                           RUSSELLVILLE AR 72801




                                              Page 501 of 2387
                       Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 502 of 800
CURRY, REX C                        CURT KENNEDY                                  CURT MOSEL
9141 LYNBROOK DR                    215 ELM DRIVE                                 3840 OAKWOOD TRAIL
DALLAS TX 75238                     BAY SHORE NY 11706                            ALLENTOWN PA 18103




CURTAIN CALL INC                    CURTIN, IRVIN A                               CURTIS ANDERSON
1349 NEWFIELD AVE                   PO BOX 407                                    1035 MC ALEER COURT
STAMFORD CT 06905                   CANDLER FL 32111                              BALTIMORE MD 21202




CURTIS ANDERSON                     CURTIS BAGBY                                  CURTIS BRIGGS
14 LANTERN STREET                   1821 W. ESTES AVENUE, APT. 2                  25 ZACK ST.
HUNTINGTON NY 11743                 CHICAGO IL 60626                              WEST BABYLON NY 11704




CURTIS CAGNOLATTI                   CURTIS CARPENTER                              CURTIS CIRCULATION COMPANY LLC
17413 NAUSET CT                     1918 S. MICHIGAN AVENUE                       2500 MCCLELLAN AVE
CARSON CA 90746                     APT. #305                                     PENNSAUKEN NJ 08109-4660
                                    CHICAGO IL 60616



CURTIS CIRCULATION COMPANY LLC      CURTIS CIRCULATION COMPANY LLC                CURTIS GRIGAS
C/O PRO FOOTBALL                    P O BOX 9103                                  15221 WAVERLY AVE.
P O BOX 9103                        CAMDEN NJ 08101                               MIDLOTHIAN IL 60445
CAMDEN NJ 08101



CURTIS HALE                         CURTIS HENDERSON                              CURTIS HOOVER, CHARLENE J.
20 STABLE RUN COURT                 534 ROBINSON STREET                           10965 CLEARWATER DR.
FOXRIDGE MD 21133                   BALTIMORE MD 21205                            HAMPTON GA 30228




CURTIS J CRAYON                     CURTIS JACKSON                                CURTIS JOHNSON
3427 W. 82ND STREET                 1691 MARATUCK BOULEVARD                       2717 N MYERS STREET
INGLEWOOD CA 90305                  BAY SHORE NY 11706                            BURBANK CA 91504




CURTIS JR, JOHN T                   CURTIS KOPETSKY                               CURTIS MACDOUGALL
132 WAGNER DRIVE                    3110 SOUTH OLIVE STREET                       10830 WOODBUSHE DRIVE
RIVER RIDGE LA 70123                SANTA ANA CA 92707                            LOWELL MI 49331




CURTIS MCDOWELL                     CURTIS MUROFF                                 CURTIS MURPHY & JEFFREYS
166 JONES CREEK ACRES DR            199 IRISH LANE                                PO BOX 4680
FRANKLIN NC 28734                   ISLIP TERRACE NY 11752                        276 DIX AVE
                                                                                  QUEENSBURY NY 12804



CURTIS PATTERSON                    CURTIS PRIMM                                  CURTIS R VANCE FOUNDATION
404 GRANBY ST                       8435 S ADA                                    1 WOODS LN
HARTFORD CT 06112                   CHICAGO IL 60620                              SIMSBURY CT 06070




                                           Page 502 of 2387
                           Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 503 of 800
CURTIS SHEEN                            CURTIS SPRANG                                 CURTIS STEWART
204 MURCOTT DRIVE                       81 LONGWOOD DRIVE                             264 N HAMLIN BLVD
OVIEDO FL 32765                         MANDEVILLE LA 70471                           CHICAGO IL 60624




CURTIS TALBOT                           CURTIS TRAMMELL                               CURTIS WAGNER
3719 CONROY RD.                         474 NORTH LAKESHORE DRIVE                     2109 W. ARTHUR AVE
APT. 2023                               #4503                                         #1S
ORLANDO FL 32839                        CHICAGO IL 60611                              CHICAGO IL 60645



CURTIS WALLACE                          CURTIS WILLIAMS                               CURTIS, BRIAN M
SACCO & FILLAS, LP                      28 SPRING STREET                              40 LINCOLN ST
141-07 20TH AVENUE                      ROOSEVELT NY 11575                            ENFIELD CT 06082
STE 506
WHITESTONE NY 11357


CURTIS, COLLEEN LENHARDT                CURTIS, ELISSA T                              CURTIS, KATHERYN
4240 N CLARENDON AVE NO.2005            67 W 73RD ST NO.10                            10147 LINE FENCE RD
CHICAGO IL 60613                        NEW YORK NY 10023                             HAYES VA 23072




CURTIS, LISA                            CURTIS, STACY                                 CURTRIGHT, GUY E
11820 GREY BIRCH PL                     9543 S 50TH CT                                2590 BENTBROOK CT
RESTON VA 20191                         OAK LAWN IL 60453                             ATLANTA GA 30360




CURTS MOBILE SERVICE INC                CURWEN, RANDALL                               CURZI, MARY VIVIAN
3327 WEST 188TH ST                      930 W ROSCOE                                  2120 ALLWOOD DR
TORRANCE CA 90504                       REAR                                          BETHLEHEM PA 18018
                                        CHICAGO IL 60657



CUSANO IV, JOSEPH                       CUSANO IV, JOSEPH                             CUSCOVITCH, TRACY
C/O SARA HARROWER                       C/O SARAH HARROWER                            25 LAUREL PARK
139 OCEAN AVE                           139 OCEAN AVE                                 ENFIELD CT 06082
WEST HAVEN CT 06516                     WEST HAVEN CT 06516



CUSHMAN & WAKEFIELD OF CALIFORNIA INC   CUSHMAN WAKEFIELD OF ILLINOIS INC             CUSON, GREG
601 S FIGUEROA ST 47TH FLR              ATTN CHRISTINA FIEDLER                        1014 DUMAINE
LOS ANGELES CA 90017                    455 NORTH CITYFRONT PLAZA DRIVE               NEW ORLEANS LA 70116
                                        SUITE 2800
                                        CHICAGO IL 60611


CUSTARD-DANIELS, MONIQUE R              CUSTODIA, REBECCA                             CUSTOM AND BORDER PROTECTION
PO BOX 270487                           112 GREEN TOP RD                              1900 LAKEMONT AVE
LAS VEGAS NV 89127                      SELLERSVILLE PA 18960                         ORLANDO FL 32803




CUSTOM COFFEE PLAN                      CUSTOM COFFEE PLAN                            CUSTOM FABERKIN INC
20333 S NORMANDIE AVE                   11519 S PETROPARK DRIVE                       640 FOND DU LAC AVE
TORRANCE CA 90502                       HOUSTON TX 77041                              PO BOX 1065
                                                                                      FOND DU LAC WI 54936-1065




                                               Page 503 of 2387
                           Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 504 of 800
CUSTOM IMAGE PHOTOGRAPHY                CUSTOM PUBLISHING DESIGN GROUP                CUSTOM PUBLISHING DESIGN GROUP
2904 ARBOR LANE                         1800 SILAS DEANE HWY                          6617 BAYBROOKS CIR
AURORA IL 60504                         ROCKY HILL CT 06067                           TAMPA FL 33617




CUSTOM PUBLISHING DESIGN GROUP          CUSTOMER ACTIVATION PROGRAMS                  CUSTOMER ACTIVATION PROGRAMS
7870 ST GREGORY DR                      225 HIGH RIDGE RD EAST BUILDING               PO BOX 31324
BALTIMORE MD 21222                      STAMFORD CT 06905                             HARTFORD CT 06150-1324




CUSTOMER INC                            CUSTOMERS MOTIVATORS LLC                      CUSTOMERS MOTIVATORS LLC
4611 S UNIVERSITY DRIVE NO.254          6778 LANTANA ROAD                             6778 LANTANA ROAD SUITE 2
DAVIE FL 33328                          SUITE 3                                       LAKE WORTH FL 33467
                                        LAKE WORTH FL 33467



CUTCHER, ROY                            CUTRARO, JENNIFER                             CUTRONE,ALEXANDER
2909 NW 12 AV.                          24 HALL AVENUE NO.2                           56 HOBSON AVE
WILTON MANORS FL 33311                  SOMERVILLE MA 02144                           ST JAMES NY 11780




CUTTER, ASHLEY                          CUTTER, BEATRICE V                            CUTTING EDGE ENTERTAINMENT
3351 NW 7TH COURT                       1916 NW 28TH ST APT 1                         695 W. SEVENTH STREET
FORT LAUDERDALE FL 33311                OAKLAND PARK FL 33311                         PLAINFIELD NJ 07060




CUTTING EDGE PRODUCTIONS INC            CUVEILJE, FLOYD                               CUVO, AMANDA LYNNE
22904 LOCKNESS AVENUE                   7933 SW 8TH CT                                30 E 8TH ST
TORRENCE CA 90501                       NORTH LAUDERDALE FL 33068                     WIND GAP PA 18091




CUYLER, ERNEST                          CV ENTERPRISES LLC                            CV LONGO MECHANICAL SERVICE INC
2461 WILEY STREET                       RE: TINLEY PARK 18400 CROSSIN                 7 RYAN ST
HOLLYWOOD FL 33020                      18450 CROSSING DRIVE                          STAMFORD CT 06907
                                        SUITE D
                                        TINLEY PARK IL 60487


CV PARKING SERVICE                      CV PARKING SERVICE                            CVETKOVIC, MILAN
4344 LAUREL CANYON BLVD NO.2            PO BOX 4064                                   2455 NE 51ST ST APT E114
STUDIO CITY CA 91604                    VALLEY VILLAGE CA 91617-0064                  FORT LAUDERDALE FL 33308




CVS MEDIA LLC                           CVS PHARMACY                                  CVS PHARMACY
1616 17TH ST                            PO BOX 951194                                 1 CVS DRIVE
SANTA MONICA CA 90404                   CLEVELAND OH 44193-0004                       WOONSOCKET RI 02895




CW GREENE INC                           CW LICENSING LLC                              CW LICENSING LLC
111 JOHN ST                             12001 VENTURA PL 6TH FLR                      16027 VENTURA BOULEVARD SUITE 600
NEW YORK NY 10038                       STUDIO CITY CA 91604                          ENCINO CA 91436




                                               Page 504 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 505 of 800
CW LICENSING LLC                       CW NETWORK                                    CW NETWORK LLC
PO BOX 30730                           3300 W. OLIVE AVE                             3300 W OLIVE AVE
LOS ANGELES CA 90030-0730              BURBANK CA 91515                              BURBANK CA 91505




CWA ITU NEGOTIATED PENSION PLAN        CWA ITU NEGOTIATED PENSION PLAN               CWA ITU NEGOTIATED PENSION PLAN
831 S NEVADA AVE STE 120               ATTN ER                                       PO BOX 2380
COLORADO SPRINGS CO 80903              PO BOX 2380                                   COLORADO SPRINGS CO 80901
                                       COLORADO SPRINGS CO 80901



CWC INTERNATIONAL INC                  CWD - COMMUNITY WASTE DISPOSAL                CWD - COMMUNITY WASTE DISPOSAL
611 BROADWAY    STE 730                ACCT. NO. 6002                                ACCT. NO. 6003
NEW YORK NY 10012                      2010 CALIFORNIA CROSSING                      2010 CALIFORNIA CROSSING
                                       DALLAS TX 75220-2310                          DALLAS TX 75220-2310



CWIK, DAVID                            CWK NETWORK, INC.                             CYBOR FIRE PROTECTION COMPANY
8862 S RYAN RD                         6285 BARFIELD ROAD                            5123 THATCHER RD
HOMETOWN IL 60456                      2ND FLOOR                                     DOWNERS GROVE IL 60515
                                       ATLANTA GA 30328



CYDNIE WILSON                          CYGAN, ROGER                                  CYNDI NGUYEN
1513 SOUTH LOCUST STREET               PO BOX 382                                    322 STATE STREET
DENVER CO 80224                        EAST WINDSOR HILL CT 06028                    NEW ORLEANS LA 70118




CYNDI SCHU                             CYNDI SMITH                                   CYNERGIS TEK INC
5633 N. PROSPECT                       2502 AMBER ORCHARD COURT WEST                 8303 N MOPAC STE B-128
NORWOOD PARK IL 60631                  #101                                          AUSTIN TX 78759
                                       ODENTON MD 21113



CYNOPSIS LLC                           CYNTERIA JACKSON                              CYNTHIA ABCUG
ONE CORPORATE DR SUITE 724             2912 ORANGE CENTER BLVD.                      9703 NW 37TH STREET
SHELTON CT 06484                       APT. #106                                     SUNRISE FL 33351
                                       ORLANDO FL 32805



CYNTHIA BAKER                          CYNTHIA BROOKS DISTRINCTIVE CATERING          CYNTHIA BROWN
1320 MCCAY LANE                        3630 EAST COLORADO BLVD                       33 FILLEY STREET
MCLEAN VA 22101                        PASADENA CA 91107                             WINDSOR CT 06095




CYNTHIA BURNETT                        CYNTHIA CAVE-POWELL                           CYNTHIA CLAWSON
1705 FOREST RIDGE ROAD                 20 PONDEROSA DRIVE                            406 NAPOLEON ST.
ST. CHARLES IL 60174                   HAMPTON VA 23666                              SOUTH BEND IN 46617




CYNTHIA CONNORS                        CYNTHIA CORAGGIO                              CYNTHIA DAMPIER
8 YOAKUM AVE                           1905 GEORGIA DRIVE                            350 GALE AVE.
FARMINGDALE NY 11735                   WHITEHALL PA 18052                            RIVER FOREST IL 60305




                                              Page 505 of 2387
                         Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 506 of 800
CYNTHIA DAUBLE                        CYNTHIA DEA                                   CYNTHIA DENISE ALLEN
820 N 10TH STREET                     1032 HILLSIDE STREET                          517 W. 115TH STREET
ALLENTOWN PA 18102                    MONTEREY PARK CA 91754                        CHICAGO IL 60628




CYNTHIA DIZIKES                       CYNTHIA DORSEY                                CYNTHIA DRESCHER
202 W. 1ST ST                         5123 BENTON HEIGHT AVENUE                     1508 NORTH 18TH STREET
LOS ANGELES CA 90012                  BALTIMORE MD 21206                            ALLENTOWN PA 18104




CYNTHIA ELLEN HARRIS                  CYNTHIA EVANS                                 CYNTHIA FICKEY
421 RED TULIP COURT                   74 HELEN STREET                               6530 RIVER RUN
TANEYTOWN MD 21787                    LAKE GEORGE NY 12845                          COLUMBIA MD 21044




CYNTHIA FIORILLO                      CYNTHIA FITZGERALD                            CYNTHIA FRANK
25 KANE STREET                        13560 ARGO DR                                 110 S. SWEETZER
LINDENHURST NY 11757                  DAYTON MD 21036                               #311
                                                                                    LOS ANGELES CA 90048



CYNTHIA FRAZIER                       CYNTHIA GARCIA                                CYNTHIA GREENBERG
447 AVENIDA SEVILLA                   2384 KIMBALL AVENUE                           3052 SUNSET COURT
UNIT E                                POMONA CA 91767                               NORCO CA 92860
LAGUNA HILLS CA 92637



CYNTHIA GUTOWSKI                      CYNTHIA GUZMAN                                CYNTHIA HARDY-JACKSON
300 SHADY LANE                        207 LOEFFLER STREET                           7521 S. ST LOUIS
SHOREWOOD IL 60431                    BRENTWOOD NY 11717                            CHICAGO IL 60652




CYNTHIA HARRIGAN                      CYNTHIA JACKSON                               CYNTHIA JORDAN-WHATLEY
101 ALDEN AVENUE                      509 N BOULDIN ST                              7241 S WHIPPLE
WARRENSBURG NY 12885                  BALTIMORE MD 21205                            CHICAGO IL 60629




CYNTHIA KENT                          CYNTHIA KIBENS                                CYNTHIA LACHEY
230 LADY CLAIRE FURSMAN AVE           429 NORTH SAPPINGTON ROAD                     816 ADAMS STREET
APT B                                 GLENDALE MO 63122                             T1 - 608B
FORT LAUDERDALE FL 33312-7128                                                       WESTMONT IL 60559



CYNTHIA LARAWAY                       CYNTHIA LATORRE                               CYNTHIA M ROSS
304 TAM-O-SHANTER BLVD                5925 BENT PINE DRIVE                          1 GUINEA ROAD
WILLIAMSBURG VA 23185                 APT. 626                                      STAMFORD CT 06903
                                      ORLANDO FL 32822



CYNTHIA MARTINEZ                      CYNTHIA MARTINEZ-PATIN                        CYNTHIA MASON
15184 SW 172ND STREET                 2208 ANTIGUA PLACE                            2932 ROUND ABOUT LANE
MIAMI FL 33187                        #932                                          ORLANDO FL 32818
                                      KISSIMMEE FL 34741




                                             Page 506 of 2387
                           Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 507 of 800
CYNTHIA MCLAUGHLIN                      CYNTHIA METZGER                               CYNTHIA PHILLIPS
208 S JEROME STREET                     PO BOX 27-2521                                10325 SOUTH MASON AVE
ALLENTOWN PA 18109                      BOCA RATON FL 33427-2521                      APT 3E
                                                                                      OAK LAWN IL 60453



CYNTHIA QUINN                           CYNTHIA RIVAS                                 CYNTHIA ROSS
13257 S. AVENUE N                       1444 SOUTH WILLOW AVENUE                      1 GUINEA ROAD
CHICAGO IL 60633                        WEST COVINA CA 91790                          STAMFORD CT 06903




CYNTHIA RUSSELL-COHEN                   CYNTHIA SALAZAR                               CYNTHIA SALGUERO
12743 N. WINNERS CIRCLE                 4843 S. KNOX AVE.                             621 E 83RD STREET
DAVIE FL 33330                          CHICAGO IL 60632                              LOS ANGELES CA 90001




CYNTHIA SCOTT                           CYNTHIA SEALE                                 CYNTHIA TRUJILLO
26 SHELDON BLVD                         677 SAN PABLO AVENUE                          5215 SYCAMORE CREEK DR
APT 602                                 CASSELBERRY FL 32707                          KINGWOOD TX 77345
GRAND RAPIDS MI 49503



CYNTHIA ULBRICHT                        CYNTHIA VAZQUEZ                               CYNTHIA VILLARREAL
4436 W. JEAN STREET                     916 S. FIRCROFT ST                            1118 S FRESNO STREET
ALSIP IL 60803                          WEST COVINA CA 91791                          LOS ANGELES CA 90023




CYNTHIA VOYTOVICH                       CYNTHIA WASHINGTON                            CYNTHIA WHARTON
170 BUNKER HILL ROAD                    2649 WEST MAYPOLE                             301 BLACKBIRD CT.
GUILFORD CT 06437                       CHICAGO IL 60612                              EDGEWOOD MD 21040




CYNTHIA WIESE                           CYNTHIA WILHITE                               CYNTHIA WILLIAMS
RD 2 BOX 333-A                          5226 GREEN HILLS DRIVE                        855 PINE HILL BLVD.
KUNKLETOWN PA 18058                     BROWNSBURG IN 46112                           GENEVA FL 32732




CYNTHIA XI QIN                          CYNTHIA YORK                                  CYPRESS COMMUNICATIONS
3550 N. LAKESHORE DR.                   2239 MONTROSE AVENUE #5                       PO BOX 536796
#302                                    MONTROSE CA 91020                             ATLANTA GA 30353-6796
CHICAGO IL 60657



CYPRESS CORPORATION                     CYR, JASON                                    CYR, SOMMER
2935 WATERVIEW DRIVE                    69 WALDRON                                    152 GILBERT AVE
ROCHESTER HILLS MI 48309                WINSTED CT 06098                              WINSTED CT 06098-1318




CYRIL JONES                             CYRIL SCOTT COMPANY                           CYRIL SCOTT COMPANY
102 LAKESHORE DRIVE                     3950 STATE RD 37 EAST                         P O BOX 310
OSWEGO IL 60543                         LANCASTER OH 43130                            LANCASTER OH 43130




                                               Page 507 of 2387
                           Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 508 of 800
CYRIL ZIMMERMAN                         CYSYK, SANDRA K                               CZAPLA, CHRISTOPHER
1860 N. MARIPOSA AVENUE #4              1504 BOGGS ROAD                               13817 S QUAIL RUN DRIVE
LOS ANGELES CA 90027                    FOREST HILL MD 21050                          PLAINFIELD IL 60544




CZAR PRODUCTIONS                        CZARNY, PIOTR                                 CZEKNER, STEPHANIE
809 NEW BRITAIN AVE                     4128 N MILWAUKEE                              779 ALMOND RD
HARTFORD CT 06106                       CHICAGO IL 60641                              WALNUTPORT PA 18080




CZERNIAK, ROBIN T                       D & S ADVERTISING                             D AGUANUO, SILVIO
655 W IRVING PARK RD                    356 MIDDLE COUNTRY RD       STE 104           3 HYACINTH LN
CHICAGO IL 60613                        CORAM NY 11727                                HOLBROOK NY 11741




D G HUSCH                               D H D LLC                                     D KRYSTLE QUAGLIA
215-55TH ST.                            23 INDUSTRIAL PARK ROAD WEST                  622 DOWNINGTON AVE
CLARENDON HILLS IL 60514                TOLLAND CT 06084                              SALT LAKE CITY UT 84105




D M MCCABE CUSTOM DUCT MFG              D PARK SMITH & ASSOCIATES                     D S & ASSOCIATES LLC
132 E PROVIDENCIA                       1915 WESTRIDGE DR    STE 105                  4010 WATSON PLAZA DRIVE SUITE 190
BURBANK CA 91502                        IRVING TX 75038                               LAKEWOOD CA 90712




D&B ENTERTAINMENT SERVICES              D&D DISTRIBUTION                              D&D GOLF CARS INC
302 WASHINGTON ST   NO.1219             PO BOX 54                                     14345 E GARVEY AV
SAN DIEGO CA 92103                      COLBY WI 54421                                BALDWIN PARK CA 91706




D&D GOLF CARS INC                       D&D MECHANICAL INC                            D&E RHOMBOID CONCERNS INC
955 W FIFTH ST                          10123 STONEHURST AVENUE                       1424 N CRESCENT HTS APT 41
AZUSA CA 91702                          SUN VALLEY CA 91352                           WEST HOLLYWOOD CA 90046




D&L DISTRIBUTORS                        D&M RENTALS INC                               D'ADDABBO, POLLY BELL
PO BOX 65                               561 MARYLAND AVE                              151 HILLSIDE RD
MYERSTOWN PA 17067                      PO BOX33                                      KENSINGTON CT 06037
                                        PERRYVILLE MD 21903



D'AGOSTINO, MATTHEW P                   D'AMATO CONSTRUCTION CO, INC                  D'AMATO, CANDACE
3614 KIMBLE RD                          400 MIDDLE STREET                             43 GREENVIEW DR
BALTIMORE MD 21218                      BRISTOL CT 06010                              ROCKY HILL CT 06067




D'AMATO, JUDY                           D'ANTONIO, MICHAEL                            D'ERASMO, STACEY
10141 UMBERLAND PL                      1 ARLINGTON CT                                250 W 27TH ST NO.4C
BOCA RATON FL 33428                     MILLER PLACE NY 11764                         NEW YORK NY 10001




                                               Page 508 of 2387
                           Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 509 of 800
D'HAITI, ROMEL                          D'HIPPOLITO, JOSEPH                           D'JUANA TILTON
43 FIRST STREET                         1632 EAST CENTRAL AVE                         275 BARLOW ROAD
WESTBURY NY 11540                       FULLERTON CA 92831                            WILLIAMSBURG VA 23188




D'ORLANDO JR, JOHN W                    D. ALAN BOWLBY & ASSOCIATES, INC              D.C. LOCKBOX
3214 HEIRLOOM ROSE PLACE                16475 DALLAS PARKWAY STE 290                  RE: WASHINGTON 9TH PEABODY
OVIEDO FL 32766                         ADDISON TX 75001                              C/O D.C. TREASURER
                                                                                      LOCKBOX 206
                                                                                      WASHINGTON DC 20055-0206


D.H.D. LLC                              DA COSTA, JOAO                                DA NEWS RUNNERS
RE: TOLLAND 60 INDUSTRIAL PAR           21104 WHITE OAK AVE                           16 LOURDES STREET
23 INDUSTRIAL PARK ROAD WEST            BOCA RATON FL 33428                           VALPARAISO IN 46385
TOLLAND CT 06084



DA SILVA, ANA HILDA                     DA SILVA, AURELI G                            DA SILVA, JOAO
1065 REGAL POINTE TER NO.115            2421 NE 1 WAY                                 53 DEEPWOOD DR
LAKE MARY FL 32746                      POMPANO BCH FL 33064                          AVON CT 06001




DA SILVA, JOSE                          DA SILVA, LUIZ C                              DA SILVA, MARCIO MARQUES
5656 BOYNTON COVE WAY                   621 NE 57TH STREET                            2021 W ATLANTIC BLVD
BOYNTON BEACH FL 33437                  FT LAUDERDALE FL 33334                        POMPANO BEACH FL 33069




DA SILVA, MARIA                         DA SILVA, VITAL PEREIRA                       DA SILVA, WESLEY
410 SE 2ND AVE APT 2A                   12294 PLEASANT GREEN WAY                      3865 CORAL TREDE CIRCLE
DEERFIELD BEACH FL 33441                BOYNTON BEACH FL 33437                        COCONUT CREEK FL 33073




DA SILVA, WESLEY                        DA TRINIDAD, CARLOS                           DA TRINIDAD, CARLOS
3865 CORAL TREE CIRCLE                  875 NE 48TH ST LOT 137                        875 NE 48TH ST LOT 70
COCONUT CREEK FL 33073                  POMPANO BEACH FL 33064                        POMPANO BEACH FL 33064




DAACKE, KENNETH                         DABBAH, MARIELA C                             DABBS, DARYL
2915 NOWAK DRIVE                        208 KEMEYS COVE                               1124 W WILSON NO.139
ORLANDO FL 32804                        BRIARCLIFF MANOR NY 10510                     CHICAGO IL 60640




DABRASKY, BARBARA ANN                   DACAYANAN, ANGELA BAMBA                       DACOR INSTALLATION SERVICES INC
5711 HAMILTON AVE                       3706 YOUNG WOLF DRIVE                         150 VANDERBILT AVE
BALTIMORE MD 21237                      SIMI VALLEY CA 93065                          WEST HARTFORD CT 06110




DACOR INSTALLATION SERVICES INC         DACOSTA, MIRIAN A                             DADELAND MALL
DACOR INSTALLATION SVC INC              6859 JULIA GARDENS DR                         7535 N KENDALL DRIVE
WEST HARTFORD CT 06110                  COCONUT CREEK FL 33073                        MIAMI FL 33156




                                               Page 509 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 510 of 800
DAGAN TURNER                           DAGMAR HARDING                                DAGNY SALAS
1320 BARTLEY PLACE                     116 S CHAPEL AVENUE #A                        14 PARKVIEW ROAD
BELCAMP MD 21017                       ALHAMBRA CA 91801                             WEST HARTFORD CT 06110




DAHLSTROM DISPLAY INC                  DAHLSTROM DISPLAY INC                         DAHLSTROM DISPLAY INC
135 S LASALLE DEPT 6181                2875 S 25TH AVE                               6181 PAYSPHERE CIRCLE
CHICAGO IL 60674-6181                  BROADVIEW IL 60155                            CHICAGO IL 60674




DAI, HUE C                             DAIGLE, LINDA                                 DAIL, FORESTT AMBERT
4121 OAKBERRY DR                       1596 FERGASON AVE                             955-2036 HARPERSVILLE RD
ORLANDO FL 32817                       STE 2530                                      NEWPORT NEWS VA 23601
                                       DELTONA FL 32725



DAIL, MARVINA J                        DAILEY, JANE                                  DAILY AND SUNDAYS OKLAHOMAN DISPLAY
523 COVENTRY RD.                       5656 S DORCHESTER         NO.2                PO BOX 25125
BALTIMORE MD 21229                     CHICAGO IL 60637                              OKLAHOMA CITY OK 73125




DAILY AND SUNDAYS OKLAHOMAN DISPLAY    DAILY AZTEC                                   DAILY AZTEC
PO BOX 268882                          AZTEC CENTER 168                              SAN DIEGO STATE UNIVERSITY BAM-2
OKLAHOMA CITY OK 73126-8882            5500 CAMPANILE DR                             SAN DIEGO CA 92182-7800
                                       SAN DIEGO CA 92182-7800



DAILY BREAD FOOD BANK                  DAILY BUSINESS REVIEW                         DAILY CAMERA
5850 NW 32ND AE                        PO BOX 010589                                 PO BOX 591
MIAMI FL 33142                         MIAMI FL 33101-0589                           BOULDER CO 80306




DAILY NEWS                             DAILY NEWS                                    DAILY NEWS
813 COLLEGE STREET                     125 THEODORE CONRAD DRIVE                     ATTN CIRCULATION FINANCE
BOWLING GREEN KY 42101                 JERSEY CITY NJ 07305                          125 THEODORE CONRAD DR
                                                                                     JERSEY CITY NJ 07305



DAILY NEWS                             DAILY NEWS                                    DAILY NEWS
ATTN: JOE MORAN - CREDIT DEPARTMENT    450 W 33RD ST     3RD FLR                     PO BOX 7777 W 4995
125 THEODORE CONRAD DRIVE              NEW YORK NY 10001                             PHILADELPHIA PA 19175-4995
JERSEY CITY NJ 07305-4698



DAILY PILOT CUP                        DAILY PILOT CUP                               DAILY PRESS
C/O KIRK MCINTOSH                      C/O KIRK MCINTOSH                             PO BOX 1389
129 W WILSON STE 105                   628 W 19TH ST                                 VICTORVILLE CA 92393-1389
COSTA MESA CA 92627                    COSTA MESA CA 92627



DAILY PRESS                            DAILY PRESS                                   DAILY RACING FORM
DISASTER RELIEF CAMPAIGN               7505 WARWICK BLVD                             P O BOX 29158
435 N MICHIGAN                         PO BOX 746                                    PHOENIX AZ 85038-9158
CHICAGO IL 60610                       NEWPORT NEWS VA 23607-0746




                                              Page 510 of 2387
                           Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 511 of 800
DAILY RACING FORM                       DAILY RACING FORM                             DAILY SOLUTIONS INC
PO BOX 26460                            1200 WALNUT BOTTOM RD SUITE 3331              539 N MILWAUKEE AVE APT 2
NEW YORK NY 10087-6460                  CARLISLE PA 17015                             LIBERTYVILLE IL 60048




DAILY SOLUTIONS INC                     DAILY VARIETY                                 DAILY VARIETY
ACCT 719                                PO BOX 16507                                  PO BOX 6400
539 N MILWAUKEE AVE APT 2               NORTH HOLLYWOOD CA 91615-6507                 TORRANCE CA 90504
LIBERTYVILLE IL 60048



DAILY VARIETY                           DAILY VARIETY                                 DAINA TILTON
PO BOX 7550                             PO BOX 5702                                   740 SOUTH FEDERAL
TORRANCE CA 90504                       HARLAN IA 51593-1702                          APT. #801
                                                                                      CHICAGO IL 60605



DAIRO URREA                             DAISS, DIANNA                                 DAISY CARRINGTON
5700 NW 48 AVE                          16316 MEREDREW LN                             329 UNION STREET
COCONUT CREEK FL 33073                  CLERMONT FL 34711                             APT 4C
                                                                                      BROOKLYN NY 11231



DAISY REED                              DAISY URENDA                                  DAIVA JONES
3901 FLOWERTON ROAD                     3705 S PAULINA ST                             52 MERRELL AVENUE
BALTIMORE MD 21229                      CHICAGO IL 60609-2045                         APT F17
                                                                                      STAMFORD CT 06902



DAKITA GADDIS                           DAKOTA SKY EDUCATION                          DAKOTA SKY EDUCATION
9225 BEACH STREET                       3303 HARBOR BLVD SUITE F6                     PO BOX 7131
LOS ANGELES CA 90002                    COSTA MESA CA 92626                           BISMARK ND 58507




DAKOTA SKY EDUCATION                    DALAI SOFTWARE INC                            DALAI SOFTWARE INC
6015 S VIRGINIA ST                      2995 W PARMER LN   STE 104-111                3925 W BRAKER LN STE 3.8108
STE E 414                               AUSTIN TX 78717                               AUSTIN TX 78759
RENO NV 89502



DALCE, JEAN                             DALCE, RAYMOND                                DALE BILLINGS
19 SOUTHERN CROSS CIR NO.201            231 SE 9TH AVE NO.2                           W 5208 WISCONSIN DRIVE
BOYNTON BEACH FL 33436                  POMPANO BEACH FL 33060                        ELKHORN WI 53121




DALE BLEVINS                            DALE BRAESKE                                  DALE COLE
3904 OLD FEDERAL HILL RD                1007 N 31ST ROAD                              45 HORSESHOE COURT
JARRETTSVILLE MD 21084                  APT H                                         AMITYVILLE NY 11701
                                        HOLLYWOOD FL 33021



DALE CRUTCHER                           DALE DYER                                     DALE EISENHARDT
108 SOUTH PEARL LAKE                    336 15TH STREET                               1333 WEBSTER ST
ALTAMONTE SPRINGS FL 32714              #2                                            BALTIMORE MD 21230
                                        BROOKLYN NY 11215




                                               Page 511 of 2387
                         Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 512 of 800
DALE FESSLER                          DALE GRAVER                                   DALE LESTER
157 LEE AVENUE                        4875 MAIN STREET                              1946 LOS PADRES DR
ROCKVILLE CENTRE NY 11570             WHITEHALL PA 18052                            ROWLAND HEIGHTS CA 91748




DALE METZGER                          DALE S FETHERLING                             DALE SCHEIRER
3450 LURMAN DRIVE                     1808 LYNDON ROAD                              120 SOUTH 13TH STREET
MACUNGIE PA 18062                     SAN DIEGO CA 92103                            ALLENTOWN PA 18102




DALE SCHOLTEN                         DALE STERN                                    DALE VASQUEZ
1760 RANCH NW                         11921 OCEAN PARK BLVD.                        168 PALMYRA DRIVE
GRAND RAPIDS MI 49504                 LOS ANGELES CA 90064                          ORLANDO FL 32807




DALE WILCOX PHOTOGRAPHY               DALE, ANJELA J                                DALEY TECHNOLOGY SYSTEMS LLC
118 N BONNIE BRAG                     310 CALLE DE LA MESA                          1010 BAJA ST
LOS ANGELES CA 90026                  NOVATO CA 94949                               LAGUNA BEACH CA 92651




DALEY, ADAM                           DALEY, ANGELLA MARIE                          DALEY, ARETHA
312 NEVADA ST                         7606 JARVIS COURT                             3390 NW 30TH ST
LINDENHURST NY 11757                  ORLANDO FL 32818                              LAUDERDALE LAKES FL 33311




DALEY, CHRISTINE                      DALEY, DAVID                                  DALEY, RAYMOND
4301 1/2 MELBOURNE AVE                46 STEPHANIES WAY                             920 SE 4TH AVE
LOS ANGELES CA 90027                  MANCHESTER CT 06040-4529                      POMPANO BEACH FL 33060




DALIP SAHANSRA                        DALLAS BASKETBALL LIMITED                     DALLAS BASKETBALL LIMITED
52 PINE HILL LANE                     777 SPORTS ST                                 DBA DALLAS MAVERICKS
DIX HILLS NY 11746                    DALLAS TX 75207                               2909 TAYLOR STREET
                                                                                    DALLAS TX 75226



DALLAS BASKETBALL LIMITED             DALLAS BECK                                   DALLAS FAN FARES INC
PO BOX 227497                         629 N. NORA AVENUE                            5485 BELTLINE RD  STE 270
DALLAS TX 75222                       WEST COVINA CA 91790                          DALLAS TX 75254




DALLAS MAIN LLP                       DALLAS MAIN LLP                               DALLAS MORNING NEWS
C/O SUNBELT MANAGEMENT COMPANY        PO BOX 847823                                 400 S RECORD SUITE 700
PO BOX 847823                         DALLAS TX 75284-7823                          DALLAS TX 75202
DALLAS TX 75284-7823



DALLAS MORNING NEWS                   DALLAS MORNING NEWS                           DALLAS MORNING NEWS
900 JACKSON ST STE 400                PO BOX 630054                                 PO BOX 655237
DALLAS TX 75202                       DALLAS TX 75263-0054                          DALLAS TX 75265




                                             Page 512 of 2387
                         Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 513 of 800
DALLAS MORNING NEWS                   DALLAS MORNING NEWS                           DALLAS TIPTON
PO BOX 660040                         PO BOX 910944                                 8436 W 103RD TERRACE
DALLAS TX 75266-0040                  DALLAS TX 75391-0944                          #209
                                                                                    PALOS HILLS IL 60465



DALLEK, MATTHEW                       DALLEY, LIVERTA                               DALMIA, SHIKHA
1545 18TH ST 3819 NW                  8351 NW 50 ST                                 6825 WALNUT LAKE ROAD
WASHINGTON DC 20036                   LAUDERHILL FL 33351                           W BLOOMFIELD MI 48323




DALONDO MOULTRIE                      DALSIMER, LINDA                               DALTON, KEVIN N
255 COLLEGE STREET                    8206 RUXTON CROSSING CT                       11712 SUNFLOWER LN
APT. D                                TOWSON MD 21204                               HUNTLEY IL 60142
ALLENTOWN PA 18102



DALTON, MICHAEL                       DALTON, RICHARD                               DALTON, SCOTT
1309 FRANKLIN PARKWAY                 6 DEVNONSHIRE PLACE                           7385 TEASWOOD DR
WANAMASSA NJ 07712                    HUNTINGTON STATION NY 11746                   CONROE TX 77304




DALY JR, JOHN J                       DALY, CINDY                                   DALY, LINDA
4 ROLLING BROOK DR                    12677 56 PLACE N.                             324 N BOWLING GREEN WAY
SRATOGA SPRINGS NY 12866              WEST PALM BCH FL 33411                        LOS ANGELES CA 90047




DALY, TIMOTHY W                       DAMASKOS, ANNA E                              DAMATO, BARBARA
1937 WENONAH AVE                      535 S 16TH ST                                 840 N LAKE SHORE NO.801
BERWYN IL 60402                       LINDENHURST NY 11757                          CHICAGO IL 60611




DAMEIUS COOLEY                        DAMERON III, EDGAR L                          DAMIAN HOPKINS
3404 W. 82ND PLACE                    107 WESTFIELD RD                              142 WEST 112TH STREET
INGLEWOOD CA 90305                    GLEN BURNIE MD 21060                          CHICAGO IL 60628




DAMIAN MUZIANI                        DAMIAN RICHARDS                               DAMIAN, ALEJANDRO
4751 ROUTE 42                         4720 NORTH WEST 18TH COURT                    C/PIRAGUA NO.160
TURNERSVILLE NJ 08012                 LAUDERHILL FL 33313                           SANTO DOMINGO




DAMIANO, MARY                         DAMICO THOMPSON                               DAMIEN EDGINGTON
2131 NW 2ND AVE                       16 LIBERTY PLACE RD.                          4263 WEST 19TH PLACE
WILTON MANORS FL 33311                APT# 9                                        ELECTRICAL MAINT.
                                      WINDSOR MILL MD 21224                         GARY IN 46404



DAMIEN TUFFEREAU                      DAMION SMITH                                  DAMION SULLIVAN
800 LEXINGTON AVE                     3554 ROGERDAL ROAD                            6627 CANTERLEA DR.
APT 4-F                               APT #1033                                     ORLANDO FL 32818
NEW YORK NY 10021                     HOUSTON TX 77042




                                             Page 513 of 2387
                           Case 08-13141-BLS      Doc 17-1        Filed 12/08/08   Page 514 of 800
DAMIONE JONES                              DAMITER, TED                               DAMON ANDREWS
227 WEST EMAUS AVE                         1615 NEWPORT AVE                           23828 W. TOSCANA DR.
ALLENTOWN PA 18103                         NORTHAMPTON PA 18067                       VALENCIA CA 91354




DAMON CURRY                                DAMON DARENSBURG                           DAMON MAY
9546 RIDGEVIEW DRIVE                       1784 CAROL SUE AVE.                        211 BAY STREET
COLUMBIA MD 21046                          APT. #2N                                   APT 2
                                           GRETNA LA 70056                            GLENS FALLS NY 12801



DAMONE GRIFFIN                             DAMSKI, PETER R                            DAN BERUMEN
3622 174TH CT.                             5348 DIANE STREET                          3235 VIRGINIA AVENUE
APT. 11C                                   SIMI VALLEY CA 93063                       LYNWOOD CA 90262
LANSING IL 60438



DAN DOROMAL                                DAN FARACI                                 DAN H SMITH
548 OLYMPIC VILLAGE                        5858 NORTH MELVINA                         415 N ATLANTIC AVE
UNIT 101                                   CHICAGO IL 60646                           SOUTHPORT NC 28461
ALTAMONTE SPRINGS FL 32714



DAN LIPPIATT                               DAN MIHALOPOULOS                           DAN MITROVICH
P. O. BOX 1354                             5709 W. LAWRENCE                           11623 SHADOW GLEN RD.
SIMI VALLEY CA 93062                       #3W                                        EL CAJON CA 92020
                                           CHICAGO IL 60630



DAN NEIL C/O COTCHETT, PITRE & MCCARTHY    DAN POMPEI                                 DAN ROAN
J.W.COTCHETT, P.L.GREGORY,                 1125 AUSTIN                                427 HILL ST.
L.E.SCHLICHTMANN, G.S.OHN; SAN FRANCISCO   PARK RIDGE IL 60068                        ELMHURST IL 60126
AIRPORT OFFICE CTR; 840 MALCOM RD, #200
BURLINGAME CA 94010


DAN SANDERS                                DAN STOLL                                  DAN THANH DANG
4125 CHESTNUT AVENUE                       2343 N GREENVIEW AVE                       2236 BANK STREET
LONG BEACH CA 90807                        UNIT # 201                                 BALTIMORE MD 21231
                                           CHICAGO IL 60614



DAN WEIER                                  DAN WINTERS PHOTOGRAPHY                    DAN ZAMPILLO
1349 ROLLING OAKS DRIVE                    2809 MECCA RD                              2140 W. JACKSON BLVD.
CAROL STREAM IL 60188                      AUSTIN TX 78733                            APT# 2
                                                                                      CHICAGO IL 60612



DAN ZONA                                   DANA ARCHER                                DANA ARMSTRONG
451 OLD FARMINGDALE ROAD                   55 STEPHEN RD                              3354 N. CENTRAL PARK AVE.
WEST BABYLON NY 11704                      BAYPORT NY 11705                           2S
                                                                                      CHICAGO IL 60618



DANA BANKER                                DANA BERNARD                               DANA BISCONTI
424 HENDRICKS ISLE                         2410 E 71ST ST                             560 LAKE WINNEMAUG ROAD
APT. 2                                     BROOKLYN NY 11234                          WATERTOWN CT 06795
FORT LAUDERDALE FL 33301




                                               Page 514 of 2387
                         Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 515 of 800
DANA BRICKER                          DANA CANNIZZARO                               DANA CUSTER
9161 VINEYARD LAKE DR                 43 BELGRADE AVENUE                            19914 TERRI
PLANTATION FL 33324                   CLIFTON NJ 07013                              CANYON COUNTRY CA 91351




DANA DWYER                            DANA EAGLES                                   DANA GAGE
707 HAMLET CT.                        537 BIRDSONG COURT                            2510 WILD ROSE COURT
YORKTOWN VA 23693                     LONGWOOD FL 32779                             ARLINGTON TX 76006




DANA GARCIA                           DANA GOLSON                                   DANA HAYES
4414 W. LELAND AVENUE                 4123 NAVIGATOR WAY                            520 ASH STREET
CHICAGO IL 60630                      KISSIMMEE FL 34746                            WINNETKA IL 60093




DANA HOGAN                            DANA INOUYE                                   DANA LINTON
1402 WEST LONG AVENUE                 2840 W. TOUHY                                 106 EAST AVENUE
LITTLETON CO 80120                    CHICAGO IL 60645                              VALLEY STREAM NY 11580




DANA MASTROMATTEO                     DANA MCLAUGHLIN                               DANA MCLEMORE
1514 BATTERY AVE                      2119 WEST HOMER STREET                        2908 FAIRMAN STREET
APT 1                                 CHICAGO IL 60647                              LAKEWOOD CA 90712
BALTIMORE MD 21230



DANA MEZA                             DANA PARSONS                                  DANA POTTS
6236 N MAGNOLIA                       746 ALDERWOOD DRIVE                           518 HERON DR
CHICAGO IL 60660                      NEWPORT BEACH CA 92660                        DELRAY BEACH FL 33444




DANA ROSS                             DANA SUMMERS                                  DANA TARDY
664 W. SAN ANDRES                     8241 HELENA DR.                               P.O. BOX 15125
THOUSAND OAKS CA 91360                ORLANDO FL 32817                              WHITTIER CA 90605




DANA TUCKER                           DANA WARDEH                                   DANA WHITE
2923 COLORADO AVENUE                  333 CAPE SABLE DR.                            24033 MOBILE ST.
ORLANDO FL 32826                      ORLANDO FL 32825                              WEST HILLS CA 91307




DANA WILLIAMS                         DANA WYNKOOP                                  DANASTOR, CASIMIR
9030 ANDORA DR                        537 WENDEL PL                                 1031 SUNSET AVE
MIRAMAR FL 33025                      ORADELL NJ 07649-1329                         DELRAY BEACH FL 33444




DANASTOR, JULES                       DANCE, AMBER                                  DANDREA, EILEEN MADDEN
5545 BOYNTON PLACE                    400 PALM DRIVE UNIT F                         2414 BRAMBLETON RD
BOYNTON BEACH FL 33437                GLENDALE CA 91202                             BALTIMORE MD 21209




                                             Page 515 of 2387
                           Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 516 of 800
DANDRIA, NICOLE N                       DANDRIDGE, TAMEKA                             DANE BATSON
7409 KOENIG DR                          208 ALESA DR                                  1522 W GREENLEAF, UNIT 1N
NEW TRIPOLI PA 18066                    WILLIAMSBURG VA 23188                         CHICAGO IL 60626-5870




DANELL WINTER                           DANETTE GOULET                                DANFORD, NATALIE
1336 DOVE DRIVE                         250 WEST SEASIDE WAY                          77 E 12 STREET NO.6C
MIDLOTHIAN TX 76065                     APT #3317                                     NEW YORK NY 10003
                                        LONG BEACH CA 90802



DANFOSS DRIVES                          DANFOSS DRIVES                                DANGLEBEN, CHRISTAL CHANEL
PO BOX 2251                             PO BOX 5143                                   1321 NW 54 TERR
CAROL STREAM IL 60132-2251              CAROL STREAM IL 60197-5143                    LAUDERHILL FL 33313




DANI NITZKIN                            DANIAL MAZURKEWICZ                            DANICA LAWRENCE
551 W NORTH AVE                         NICHOLS & CANE, LLP                           1621 HOTEL CIRCLE SOUTH E-313
CHICAGO IL 60610                        REGINA C. NICHOLS, ESQ.                       SAN DIEGO CA 92108
                                        6800 JERICHO TPKE, STE 120 W
                                        SYOSSET NY 11791


DANIEL A NORMAN                         DANIEL AKINS                                  DANIEL AKINYOOYE
401 SW 4TH AVE.                         10214 MANTOVA COURT                           191 EAST ARYGLE STREET
APT. #1206                              SACRAMENTO CA 95829                           VALLEY STREAM NY 11580
FORT LAUDERDALE FL 33315



DANIEL APPLEBY                          DANIEL ARIAS                                  DANIEL ARRETCHE
12534 SOUTH BEAVER CREEK WAY            3364 GRAY FOX COVE                            3954 MAINE AVENUE
PARKER CO 80134                         APOPKA FL 32714                               BALDWIN PARK CA 91706




DANIEL ARRITT                           DANIEL AST                                    DANIEL AVERBUKH
3543 W PARK BALBOA                      5202 SOMMERSET STREET                         1111 N. DEARBORN AVENUE
ORANGE CA 92868                         WESTMINISTER CA 92683                         2703
                                                                                      CHICAGO IL 60610



DANIEL BACH                             DANIEL BEERS                                  DANIEL BEEZIE
4918 VANDELIA                           4545 MARCY LANE                               1119 DARTMOUTH RD
DALLAS TX 75235                         266                                           FLOSSMOOR IL 60422
                                        INDIANAPOLIS IN 46205



DANIEL BEIRNE                           DANIEL BENNETT                                DANIEL BENTON
27 QUEBEC DRIVE                         904 IRONWOOD PL.                              2348 N. CLARK ST
SOUTH HUNTINGTON NY 11746               MOUNT PROSPECT IL 60056                       APT. 302
                                                                                      CHICAGO IL 60614



DANIEL BERNAL                           DANIEL BIEDERMAN                              DANIEL BLAKE
8624 LATUNA CANYON ROAD                 4724 LEE AVENUE                               2442 N. CALIFORNIA AVE.
SUN VALLEY CA 91352                     DOWNERS GROVE IL 60515                        APT. #1
                                                                                      CHICAGO IL 60647




                                               Page 516 of 2387
                        Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 517 of 800
DANIEL BOOKER                        DANIEL BOREK                                  DANIEL BOWER
2705 DUBLIN CT                       7928 WOODLYN DR                               355 EVANSDALE RD.
CARY IL 60013                        #108                                          LAKE MARY FL 32746
                                     WOODRIDGE IL 60517



DANIEL BRAY                          DANIEL BRENNAN                                DANIEL BUBBEO
302 DAVID COURT                      21 BEACH PLUM DRIVE                           2480 DEVON ST
ISLAND LAKE IL 60042                 CENTERPORT NY 11721                           EAST MEADOW NY 11554




DANIEL CAMPASINO                     DANIEL CERVANTES                              DANIEL CLEMENS
16586 DOLF RD                        15427 RYAN STREET                             7720 BLUEBERRY HILL LANE
STEWARTSTOWN PA 17363                SYLMAR CA 91342                               ELLICOTT CITY MD 21043




DANIEL COLLADO                       DANIEL CONNOLLY                               DANIEL CONWAY
40 LOUISE LANE                       1211 RUXTON ROAD                              62 BETHANY DRIVE
LAKE GEORGE NY 12845                 YORK PA 17403                                 COMMACK NY 11725




DANIEL COSTELLO                      DANIEL CRUZ                                   DANIEL D'AMBROSIO
1901 RUSALIA RD                      23851 VIA JACARA                              31 DATURA AVENUE
APT #602                             VALENCIA CA 91355                             MILFORD CT 06460
LOS ANGELES CA 90027



DANIEL DALLUGE                       DANIEL DEAVILAN                               DANIEL DEVINE
1342 LAKEWOOD AVENUE                 674 W LEESIDE                                 2640 E MARINA DR
UPLAND CA 91786                      GLENDORA CA 91741                             FORT LAUDERDALE FL 33312




DANIEL DEVONE                        DANIEL DONOVAN                                DANIEL DOYLE
7528 19TH AVENUE NE                  111 GENEVA WALK                               344 N AVENUE 53
SEATTLE WA 98115                     LONG BEACH CA 90803                           LOS ANGELES CA 90042




DANIEL DRODDY                        DANIEL DUARTE                                 DANIEL DURKOT
724 JOHAHN DRIVE                     P.O. BOX 1408                                 15 EAST VIEW DR
WESTMINSTER MD 21158                 HUNTINGTON NY 11743                           PO BOX 1033
                                                                                   SOUND BEACH NY 11789



DANIEL E TUCKER                      DANIEL EGAN                                   DANIEL ELLMAN
2743 HIGHLAND AV                     2507 WILLOW POND DRIVE                        1930 RIDGE AVE
EVANSTON IL 60201                    RIVERHEAD NY 11901                            APT. #B-104
                                                                                   EVANSTON IL 60201



DANIEL ENXUTO                        DANIEL ETTINGER                               DANIEL FERNANDEZ
15 JEFFREY LANE                      1470 SOUTH QUEBEC WAY                         46 52ND AVEMUE
NEWINGTON CT 06111                   #258                                          BELLWOOD IL 60104
                                     DENVER CO 80231




                                            Page 517 of 2387
                         Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 518 of 800
DANIEL FIENBERG                       DANIEL FINCH                                  DANIEL FOSTER
3700 S. SEPULVEDA BLVD                830 HANNAH AVENUE                             299 LONG LANE
#410                                  FOREST PARK IL 60130                          MIDDLETOWN CT 06457
LOS ANGELES CA 90034



DANIEL FUEHRER                        DANIEL GAINES                                 DANIEL GOLEBIEWSKI
136 GRANDVIEW DRIVE                   316 SAN VICENTE BLVD                          37 FLORENCE STREET
EASTON PA 18045                       APT #101                                      FLORAL PARK NY 11001
                                      SANTA MONICA CA 90402



DANIEL GONZALEZ                       DANIEL GOOD                                   DANIEL GOODRICH
2732 GLENN AVENUE                     104 N ROSBOROUGH AVENUE                       152 BAYWAY AVENUE
LOS ANGELES CA 90023                  VENDOR CITY NJ 08426                          BRIGHTWATERS NY 11718




DANIEL GORDON                         DANIEL GOREN                                  DANIEL GRIFFIN
7032 WOODMONT AVE                     23 WAKEFIELD STREET                           9230 TRADERS CROSSING
TAMARAC FL 33321                      HAMDEN CT 06517                               APT. D
                                                                                    LAUREL MD 20723



DANIEL GRIFFIN                        DANIEL GUERRERO                               DANIEL GUSILATAR
1905 CHELSEA ROAD                     1652 WEST PERSHING ROAD                       3021 GEORGETOWN ROAD
BALTIMORE MD 21216                    CHICAGO IL 60609                              BALTIMORE MD 21230




DANIEL HAAR                           DANIEL HAISCH                                 DANIEL HAMANN
29 FOX CROFT ROAD                     4919 PARKER ROAD EAST                         PO BOX 954
WEST HARTFORD CT 06119                SUMNER WA 98390                               EAST WINDSOR CT 06088




DANIEL HARTMAN                        DANIEL HATTAL                                 DANIEL HECKMAN
14100 N MIAMI AVE                     460 SECOND AVE SOUTH                          328 S. BROAD STREET
NORTH MIAMI FL 33168                  APT 301                                       NAZARETH PA 18064
                                      KIRKLAND WA 98033



DANIEL HERNANDEZ                      DANIEL HONIGMAN                               DANIEL HOOVER
753 N. VINE AVENUE                    2150 N. LINCOLN PARK WEST                     139 CERVIDAE DRIVE
ONTARIO CA 91762                      APT. #108                                     APOPKA FL 32703
                                      CHICAGO IL 60614



DANIEL JANISON                        DANIEL JONES                                  DANIEL JOSEPH
115 WILLOW ST                         1168 BOULEVARD                                922 PLYMOUTH AVENUE
APT 1F                                WEST HARTFORD CT 06119                        ORLANDO FL 32805
BROOKLYN NY 11201



DANIEL KAZAN                          DANIEL KEENAN                                 DANIEL KELLY
1715 FALLING LEAF LANE                1490 ASHLEY                                   300 MASSACHUSETTS AVE. NW
NORTHBROOK IL 60062                   HOFFMAN ESTATES IL 60195                      APT 619
                                                                                    WASHINGTON DC 20001




                                             Page 518 of 2387
                           Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 519 of 800
DANIEL KOHANOF,DBA ARCO GAS STATION     DANIEL KOVAL                                  DANIEL KRAMER
5800 SAN FERNANDO RD.                   19928 CHASE STREET #6                         4788 NW 122ND DRIVE
GLENDALE CA 91202                       CANOGA PARK CA 91306                          CORAL SPRINGS FL 33076-2228




DANIEL KRAUTH                           DANIEL KRIZINOFSKI                            DANIEL KROLL
1575 LAKE DRIVE SE                      2651 SHIRLEY AVENUE                           9741 NW 7TH CIRCLE
#1                                      KISSIMMEE FL 34744                            APT 5212
GRAND RAPIDS MI 49506                                                                 PLANTATION FL 33324



DANIEL LADD                             DANIEL LANGE                                  DANIEL LAVELLE
188 BUTTERMILK FALLS                    3120 MACON ST.                                208 ROBERTS AVE
WEST FORT ANN NY 12827                  PORTAGE IN 46368                              GLENSIDE PA 19038




DANIEL LEISTER                          DANIEL LIRIANO                                DANIEL LOCURTO
1457 N. ASHLAND                         2250 NE 36TH STREET                           1046 MANOR LANE
2N                                      APT 1                                         BAY SHORE NY 11706
CHICAGO IL 60622                        LIGHTHOUSE POINT FL 33064



DANIEL LOSAPIO                          DANIEL LOUMENA                                DANIEL LUNSFORD
925 FELICIA COURT                       5254 NEWCASTLE AVENUE                         1055 LINCOLN BLVD.
BEL AIR MD 21014                        APT #58                                       #1
                                        ENCINO CA 91316                               SANTA MONICA CA 90403



DANIEL MABREY                           DANIEL MACGINLEY                              DANIEL MANNIX
315 NEWMAN                              42 CHARDONNAY DRIVE                           105 GOLFSIDE DRIVE
LAKE BLUFF IL 60044-2756                CORAM NY 11727                                FLAT ROCK NC 28731




DANIEL MANTEGNA                         DANIEL MARTINEZ                               DANIEL MARTINEZ
2711 WOODSDALE AVE                      42 ROXBURY STREET                             9217 S MAYFIELD
BALTIMORE MD 21214                      HARTFORD CT 06114                             OAK LAWN IL 60453




DANIEL MCCONNAUGHY                      DANIEL MCCREADY                               DANIEL MCELROY
11946 RAMLA PLACE TRAIL                 3781 DAVIS CORNER ROAD                        5143 BAKMAN AVE
HOUSTON TX 77089                        STREET MD 21154                               APT#316
                                                                                      NORTH HOLLYWOOD CA 91601



DANIEL MCGOWEAN                         DANIEL MCGRATH                                DANIEL MCKERNAN
136 W HARTFORD DR.                      3660 N. LAKE SHORE DRIVE                      6318 NORTH ROSEBURY
SCHAUMBURG IL 60193                     #3413                                         1W
                                        CHICAGO IL 60613                              CLAYTON MO 63105



DANIEL MCMULLEN                         DANIEL MELENDEZ                               DANIEL MEYER
7215 CASTLEMOOR ROAD                    2690 BENTLEY STREET                           17 ACADEMY LANE
HEBBVILLE MD 21244                      ORANGE CA 92867                               OAKDALE NY 11769




                                               Page 519 of 2387
                           Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 520 of 800
DANIEL MICHAEL NOECKER                  DANIEL MILES                                  DANIEL MILES
12051 FIREBRAND STREET                  45 EASY STREET                                3932 HENRY
GARDEN GROVE CA 92840                   RINGGOLD GA 30736                             HAMMOND IN 46327




DANIEL MINGUEZ                          DANIEL MONTES                                 DANIEL MONTGOMERY
574 STARLIGHT CREST DR                  1065 BUST STREET #10                          8 SHIRLEY RD
LA CANADA CA 91011                      SAN FRANCISCO CA 94109                        NEWPORT NEWS VA 23601




DANIEL MONZET                           DANIEL MORAIN                                 DANIEL MORGAN
830 INSPIRATION LANE                    2121 SARGENT COURT                            P.O. BOX 2132
ESCONDIDO CA 92025                      DAVIS CA 95616                                NEW YORK NY 10025




DANIEL NEE                              DANIEL NEIL                                   DANIEL NOTTER
3100 W LELAND AVENUE                    3912 BRILLIANT WAY                            387 MAIDSTONE COURT
201                                     LOS ANGELES CA 90065                          SCHAUMBURG IL 60194
CHICAGO IL 60625



DANIEL NOVOSEL                          DANIEL O'SULLIVAN                             DANIEL OBST & ASSOCIATES
10321 S KEDVALE                         412 E. 48TH STREET                            11051 PASEO CASTANADA
OAK LAWN IL 60453                       INDIANAPOLIS IN 46205                         LA MESA CA 91941




DANIEL OPAT                             DANIEL ORDIWAY                                DANIEL PARMELEE
8331 CASTLE DRIVE                       11323 VALERIAN WAY                            414 S. LOMBARD AVENUE
MUNSTER IN 46321                        ROSCOE IL 61073                               1ST FLOOR
                                                                                      OAK PARK IL 60302



DANIEL PERKINS                          DANIEL PICA                                   DANIEL POLLICK
109 S. MAIN STREET                      28 5TH AVENUE                                 11728 WILSHIRE BLVD.
APT. #6                                 FARMINGDALE NY 11735                          APT# B816
BEL AIR MD 21014                                                                      LOS ANGELES CA 90025



DANIEL PRADO                            DANIEL PULLEY                                 DANIEL QUINN
390 WEBSTER AVENUE                      14 DEER LODGE                                 26 GALENTE COURT
NEW JERSEY CITY NJ 07307                FENTON MO 63026                               FORT MYERS FL 33912




DANIEL REGAN                            DANIEL REIMANN-WHITWORTH                      DANIEL RIOS-OCHOA
1351 SW 26TH AVENUE                     101 BRINY AVENUE                              8147 WOODMAN AVE.
BOYNTON BEACH FL 33426                  APT 2501                                      PANORAMA CITY CA 91402
                                        POMPANO BEACH FL 33062



DANIEL RODRICKS                         DANIEL RODRIGUEZ                              DANIEL ROGERS
6205 PINEHURST ROAD                     118 HENRY STREET                              1424 W DIVISION
BALTIMORE MD 21212                      HARTFORD CT 06114                             CHICAGO IL 60622




                                               Page 520 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 521 of 800
DANIEL ROJAS                           DANIEL ROMANELLO                              DANIEL ROSITANO
2025 LAKEPOINTE DRIVE                  1 TARONE DRIVE                                5436 CHARDONNAY WAY CT.
# 3H                                   NORWALK CT 06851                              OAKVILLE MO 63129
LEWISVILLE TX 75057



DANIEL ROUSE                           DANIEL ROYAL                                  DANIEL SANCHEZ
239 MAIN STREET                        27317 CATALA AVENUE                           4032 LAKE UNDERHILL RD.
#5                                     SANTA CLARITA CA 91350                        APT. F
HUDSON FALLS NY 12839                                                                ORLANDO FL 32803



DANIEL SANDLER                         DANIEL SANTOS                                 DANIEL SANTOS
2104 STONE ABBEY BLVD.                 247 BROOK ROAD                                12 VALMARANA AISLE
ORLANDO FL 32828                       NEWBURY PARK CA 91320                         IRVINE CA 92606




DANIEL SARKO                           DANIEL SCAPUSIO                               DANIEL SCHWIND
3803 EAST HOPEWELL ROAD                21427 TUDOR DRIVE                             313 CEDAR LANE
CENTER VALLEY PA 18034                 BOCA RATON FL 33486                           ROCKVILLE MD 20851




DANIEL SCOFIELD                        DANIEL SHEEHAN                                DANIEL SHUFORD
29 DEVILS GARDEN ROAD                  222 NORTH STREET                              12 OCEAN CT
NORWALK CT 06854                       EMMAUS PA 18049                               FREEPORT NY 11520




DANIEL SLACK                           DANIEL SLENTZ                                 DANIEL SLOAN
123 ARBUCKLE AVE                       200 E. LAS OLAS, 11TH FLOOR                   2458 N CAMERON
FOLSOM CA 95630                        FORT LAUDERDALE FL 33301                      WEST COVINA CA 91724




DANIEL SLOANE                          DANIEL SLONINA                                DANIEL SMITH
6209 BROUGHTON AVE                     1645 W OGDEN AVE                              40 BRANDON ROAD
PORTAGE IN 46368                       UNIT 516                                      EAST HARTFORD CT 06108
                                       CHICAGO IL 60612



DANIEL SMITH                           DANIEL SMITH                                  DANIEL SOLLITTO
10 RAMSY LANE                          14 GLEN HOLLOW DR                             42541 BIG OAK ROAD
FARMINGVILLE NY 11738                  APT E-22                                      ALTOONA FL 32702
                                       HOLTSVILLE NY 11742



DANIEL SOUZA                           DANIEL SPENCER                                DANIEL STELLA
29 BARNSLEY CRESCENT                   612 GLYNOCK PLACE                             1949 W. FOSTER
MT SINAI NY 11766                      REISTERSTOWN MD 21136                         #3
                                                                                     CHICAGO IL 60640-1068



DANIEL SUGRUE                          DANIEL SULGER                                 DANIEL SWEENEY
2566 W. ARGYLE                         108 LAUREL COURT                              238 SE 10TH AVE
APT.# 2                                QUAKERTOWN PA 18951                           UNIT B
CHICAGO IL 60625                                                                     POMPANO BEACH FL 33060




                                              Page 521 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 522 of 800
DANIEL TEDFORD                         DANIEL TENNEY                                 DANIEL THORNLOW
1729 S. OAKGREEN AVENUE                36 WOODSIDE DRIVE                             90 ELM STREET
WEST COVINA CA 91792                   WETHERSFIELD CT 06109                         SAYVILLE NY 11782




DANIEL TOMPKINS                        DANIEL TRACY                                  DANIEL TRZNADEL
16 MOON AVE                            3315 GREENS AVENUE                            2679 LEYLAND LAND
FLANDERS NY 11901                      ORLANDO FL 32804                              AURORA IL 60504




DANIEL TURNER                          DANIEL TURNER                                 DANIEL TWADELL
18 ANDREA LANE                         2118 STANLEY HILLS DR                         10109 FRANKEL ST.
WEST SAYVILLE NY 11796                 LOS ANGELES CA 90046                          ORALNDO FL 32825




DANIEL UHLINGER                        DANIEL VALLUZZI                               DANIEL VASQUEZ
168 GERALD DRIVE                       13654 W. DUBLIN DRIVE                         4420 SW 74TH WAY
MANCHESTER CT 06040                    HOMER GLEN IL 60491                           DAVIE FL 33314




DANIEL VILLEGAS                        DANIEL W CRYER                                DANIEL WAGNER
549 N 5TH STREET                       180 WEST END AVE                              1334 CORCORAN STREET
APT# 4                                 APT 19-M                                      APT B
ALLENTOWN PA 18102                     NEW YORK NY 10023                             WASHINGTON DC 20009



DANIEL WATKINS                         DANIEL WEIKEL                                 DANIEL WHITE
232 KAREN DRIVE                        5271 E BROADWAY                               613 WATERSIDE DRIVE
WILLIAMSTOWN NJ 08094                  LONG BEACH CA 90803                           HYPOLUXO FL 33462




DANIEL WHITEHEAD                       DANIEL WILLIAMS                               DANIEL WILLIS
4139 PINE CREEK DRIVE                  612 SOUTH FLOWER STREET                       3229 HIGHLAND ROAD
APT 11                                 APT#928                                       OREFIELD PA 18069-2607
GRANDVILLE MI 49418                    LOS ANGELES CA 90017



DANIEL WINE                            DANIEL WOODS                                  DANIEL YOOS
1713 GARVIN STREET                     8109 PATS PLACE                               60 LINCOLN RD
ORLANDO FL 32803                       FT WASHINGTON MD 20744                        MEDFORD NY 11763




DANIEL YOUNG                           DANIEL ZAMBARDI                               DANIEL ZANGWILL
5 ROE AVENUE                           210-04 43RD AVE                               6189-C LAUREL LANE
PORT JEFFERSON STATION NY 11776        BAYSIDE NY 11361                              TAMARAC FL 33319




DANIEL, CLIFTON TRUMAN                 DANIEL, DIANE E                               DANIEL, KATHRYN VICTORIA
5813 N KIRBY AVE                       1221 CLAREDON ST                              1616 18TH ST NW APT 202
CHICAGO IL 60646                       DURHAM NC 27705                               WASHINGTON DC 20009




                                              Page 522 of 2387
                           Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 523 of 800
DANIEL, MARKENSON                       DANIEL, MARKENSON                             DANIEL, PATRICK
4110 NW 21ST AVE APT 204                5110 NW 21ST AVE APT 204                      336 SW 4TH AVENUE
OAKLAND PARK FL 33309                   OAKLAND PARK FL 33309                         DELRAY BEACH FL 33444




DANIEL, TOCCARA                         DANIELA ALTIMARI                              DANIELA BLOCH
324 S MAPLE 6B                          38 LEXINGTON ROAD                             1615 RIDGE AVE
OAK PARK IL 60302                       WEST HARTFORD CT 06119                        EVANSTON IL 60201




DANIELA HANSEN                          DANIELA PERDOMO                               DANIELA SALCIDO
1236 LAKESHORE DRIVE                    3712 BARHAM BLVD                              4736 POINT LOMA AVE #1
MASSAPEQUA PARK NY 11762                APT C211                                      SAN DIEGO CA 92107
                                        LOS ANGELES CA 90068



DANIELA VILLALOBOS                      DANIELCZYK, MARK                              DANIELLE BISCONTI
2427 UNIVORNIO STREET                   595 W CROCKETT AVE                            560 LAKE WINNEMAUG ROAD
CARLSBAD CA 92009                       ELMHURST IL 60126                             WATERTOWN CT 06795




DANIELLE BRACAMONTE                     DANIELLE BRADLEY                              DANIELLE CONNARD
2111 HUNTINGTON LANE                    824 W 37TH STREET                             8871 CICERO DRIVE
APT #B                                  BALTIMORE MD 21211                            BOYNTON BEACH FL 33472
REDONDO BEACH CA 90278



DANIELLE COVIELLO                       DANIELLE DENNING                              DANIELLE DILENGE
14001 PALAWAN WAY                       4528 DRENDEL RD.                              1900 S. OCEAN BLVD
APT#211                                 DOWNERS GROVE IL 60515                        UNIT 1D
MARINA DEL REY CA 90292                                                               LAUDERDALE BY THE SEA FL 33062



DANIELLE DUGUE                          DANIELLE FELICIANO                            DANIELLE GORDON
569 MORNINGSIDE DRIVE                   1423 RIVERSIDE DR.                            2804 N. LAKEWOOD
GRETNA LA 70056                         WELLINGTON FL 33414                           208
                                                                                      CHICAGO IL 60657



DANIELLE HAYDT                          DANIELLE JONES                                DANIELLE LITTELL
23 NORTH 19TH STREET                    7831 EDMUNDS WAY                              8020 W. MANCHESTER AVENUE
APT C                                   ELKRIDGE MD 21075                             APT#315
ALLENTOWN PA 18104                                                                    PLAYA DEL REY CA 90293



DANIELLE MADISON                        DANIELLE MANN                                 DANIELLE MC DOWELL
3414 E. FAIRMOUNT AVE.                  66 RIDGE DRIVE                                422 E. 17TH STREET
BALTIMORE MD 21224                      WESTBURY NY 11590                             LONG BEACH CA 90813




DANIELLE MINTZLAFF                      DANIELLE PARKER                               DANIELLE REYNOLDS
2001 W WARNER DR                        10210 S WALDEN PARKWAY                        6 HILL STREET
APT # 1                                 APT B3                                        WATERFORD NY 12188
CHICAGO IL 60618                        CHICAGO IL 60643




                                               Page 523 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 524 of 800
DANIELLE ROYAL                         DANIELLE SCHRADER                             DANIELLE THOMPSON
2300 ROUND ROAD                        224 PONTIUS AVENUE NORTH                      16 LIBERTY PLACE ROAD
A4                                     APT#412                                       APT. 9
BALTIMORE MD 21225                     SEATTLE WA 98109                              BALTIMORE MD 21244



DANIELLE VIGNJEVICH                    DANIELLE WEBB                                 DANIELLE WESTMORE
114 WEST 16TH STREET                   314 SE 10TH ST                                1437 W. GREENLEAF AVENUE
APT. 3G                                DANIA BEACH FL 33004                          APT # G
NEW YORK NY 10011                                                                    CHICAGO IL 60626



DANIELLE ZIELINSKI                     DANIELS, ALEXANDER                            DANIELS, CELIA A
3803-F EAST STEEPLECHASE WAY           3800 PUGHSVILLE RD NO. 148                    3001 S KING DR NO.1107
WILLIAMSBURG VA 23188                  SUFFOLK VA 23435                              CHICAGO IL 60616




DANIELS, CHARLES RYNE                  DANIELS, CLAUDE                               DANIELS, DWIGHT
8 RUE DIJON                            3000 NW 48 TERRACE UNIT 326                   3758 STAMFORD RD
KENNER LA 70065                        LAUDERDALE LAKES FL 33313                     ATLANTA GA 30331




DANIELS, GEORGE N                      DANIELS, JEFFIC                               DANIELS, ROBIN
127 MAIN ST                            992 PARK GATE PL                              8 RUE DIJON
DURHAM CT 06422                        STONE MOUNTAIN GA 30083                       KENNER LA 70065




DANIELS, WILLIAM                       DANILESON, ANDERS                             DANILO SALVACRUZ
5515 MAYO ST                           653 LASALLE DR                                7226 KRAFT AVENUE
HOLLYWOOD FL 33021                     ALTAMONTE SPRING FL 32714                     NORTH HOLLYWOOD CA 91605




DANISHA DELANEY                        DANITS, MARCIA                                DANKER, DEN
1181 OCEAN AVENUE                      6718 N DRAKE                                  4919 MONTGOMERY ROAD
BAY SHORE NY 11706                     LINCOLNWOOD IL 60712                          ELLICOTT CITY MD 21043




DANN CAUTNEY, PRISCELLA                DANNECKER, NANCY C                            DANNELKE, LENORA
5055 RALSTON ST NO.D                   3022 N 3RD AVE                                319 N 8TH ST
BOULDER CO 80304                       WHITEHALL PA 18052                            ALLENTOWN PA 18102




DANNELLE ABNEY                         DANNEMILLER, KEITH                            DANNENBERG, JAMES
1158 MARTINSTEIN AVENUE                CUERNAVACA 101 NO.301                         260 KUUKAMA STREET
BAY SHORE NY 11706                     COLONIA CONDESA                               KAILUA HI 96734
                                       CULICAN, DF 6140



DANNER, DOUGLAS JAMES                  DANNER, MARK DAVID                            DANNER, MICHAEL
150 LEHIGH ST                          978 GRIZZLY PEAK BLVD                         15 N 18TH ST  APT 3A
PALMERTON PA 18071                     BERKELEY CA 94708                             ALLENTOWN PA 18104




                                              Page 524 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 525 of 800
DANNIELLE KAWAMOTO                     DANNY BIANDO                                  DANNY CHABI
628 VANDERBILT AVENUE                  5325 CARNEIA COURT                            1291 HIALEAH LANE
APT. 2                                 CARMICHAEL CA 95608                           HANOVER PARK IL 60133
BROOKLYN NY 11238



DANNY COULTER                          DANNY CUEVAS                                  DANNY HARTZELL
157 N. LOREL AVE.                      12917 HICKOCK LANE                            4265 HEATHER COURT
CHICAGO IL 60644                       NORWALK CA 90650                              ALLENTOWN PA 18104




DANNY HOLMES                           DANNY LAMBERT                                 DANNY MC KENZIE
5357 E 200                             11693 SAN VICENTE BOULEVARD                   4536 ROXBURY DR
TIPTON IN 46027                        #435                                          IRVINE CA 92604-2321
                                       LOS ANGELES CA 90049



DANNY SAAD                             DANNY WOOD                                    DANOIS, ERICKA B
111 POPLAR STREET                      327 WINTERBERRY DRIVE                         841 REVERDY ROAD
ALLENTOWN PA 18103                     EDGEWOOD MD 21040                             BALTIMORE MD 21212




DANOWITZ, JANE                         DANS GREENHOUSE INC                           DANSICKER, JENNIFER
2760 BON HAVEN LANE                    16930 S 84TH AVE                              8 INDIAN PONY COURT
ANNAPOLIS MD 21401                     TINLEY PARK IL 60477                          OWINGS MILLS MD 21117




DANSKER, BRUCE F                       DANSO, JEFF                                   DANTAS RIBEIRO, LUCIANO
24 CENTRAL PARKWAY                     25 CANNON ROAD                                9395 BOCA COVE CIR NO.1202
HUNTINGTON NY 11743                    EAST HARTFORD CT 06108                        BOCA RATON FL 33428




DANTE GRIFFIN                          DANTE JACKSON                                 DANTE PAGANO
800 DAPHIA CIRCLE                      25505 62ND AVENUE SOUTH                       210 EAST AVE
APT. #260                              APT# X104                                     HICKSVILLE NY 11801
NEWPORT NEWS VA 23601                  KENT WA 98032



DANTES MONTILLA                        DANTES, VINES                                 DANUTA CZAJKOWSKI
43-06 46TH STREET                      1505 SHIRLEY COURT                            7000 W 110TH STREET
APT. 1A                                LAKE WORTH FL 33461                           UNIT #6
SUNNYSIDE NY 11104                                                                   WORTH IL 60482



DANYELLE JACKSON                       DANZEL WOODARD                                DANZIGER, JEFF
2401 W 78TH STREET                     3518 W. FRANKLIN BLVD                         GUNTHERSBURGALLEE 16A
INGLEWOOD CA 90305                     1ST FLR                                       60316 FRANKFURT AM MAIN
                                       CHICAGO IL 60624                              GERMANY



DANZIGER, JEFF                         DANZIGER, JEFF                                DAO BUTTHAJIT
60316 FRANKFURT AM MAIN                420 W 47TH ST APT 5A                          7709 NEWFIELD LANE
GUNTHERSBURGALLEE16A,                  NEW YORK NY 10036                             TINLEY PARK IL 60487
FRANKFURT, BE 16A




                                              Page 525 of 2387
                       Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 526 of 800
DAPHNA BEHAR                        DAPHNE SASHIN                                 DAPHNE WILLIAMS
50 SW 10TH STREET                   800 E. ANDERSON ST                            48 A CRESTWOOD DRIVE
#1216                               ORLANDO FL 32801                              HUNTINGTON STATION NY 11746
MIAMI FL 33130



DAPICE, DEIRDRE                     DAPICE, DEIRDRE                               DAPICE, MICHELLE ANN
6 SILL CT                           6 SILLS CT                                    12255 FREDERICK ROAD
CENTERPORT NY 11721                 CENTERPORT NY 11721                           ELLICOTT CITY MD 21042




DAPONTE, BETH                       DAQUAN RICHARDS                               DAR SERVICES INC
908 BROAD ST                        923 SIPP AVENUE                               514 SAN VICENTE DR
STRATFORD CT 06615                  PATCHOGUE NY 11772                            WALNUT CA 91789




DARA BLAKE                          DARA MADER                                    DARAGAHI, BORZOU
10 SOUTH STREET                     425 GLEN STREET                               FOREIGN CORRESPONDENT BAGHDAD
UNIT 33                             #20                                           LOS ANGELES TIMES FOREIGN DESK
DANBURY CT 06810                    GLENS FALLS NY 12801                          202 W FIRST ST
                                                                                  LOS ANGELES CA 90012


DARAGAHI, BORZOU                    DARBOUZE, CAROLINE B                          DARCEL ROCKETT
3004 MACHEATH                       531 BANKS RD APT NO.10                        53 HUNGTINGWOOD ROAD
FLOSSMOOR IL 60422                  MARGATE FL 33063                              MATTESON IL 60043




DARCELLE GRAY                       DARCIE DECAPRIO                               DARCY & BEAN INC
1806 S. LAWNDALE                    116 TERRI COURT                               C/O BELL & CO
1ST FLOOR                           MANHATTAN IL 60442                            535 FIFTH AVE
CHICAGO IL 60623                                                                  NEW YORK NY 10017



DARDEN, EDWIN C                     DARDEN, JOE VINCENT                           DARDON, ELBA C
7204 HOPKINS CT                     6425 KRIEL ST                                 2457 CENTERGATE DR NO. 205
SPRINGFIELD VA 22153                BALTIMORE MD 21207                            MIRAMAR FL 33025




DARELL KUENZLER                     DARGIS, BARBARA                               DARGIS, BARBARA
4509 MORSE AVENUE                   10415 INTERLOCHEN DR                          7801 W 127TH ST
STUDIO CITY CA 91604                PALOS HILLS IL 60465                          PALOS HILLS IL 60464




DARIA ARNOLD                        DARIA LINVILL                                 DARIEL TORAIN
99 EMPRESS PINES DR                 501 N. SPAULDING AVE                          8814 MEADOW HEIGHTS ROAD
NESCONSET NY 11767                  UNIT 4                                        RANDALLSTOWN MD 21133
                                    LOS ANGELES CA 90036



DARIN BELCHER                       DARIN FARRIS                                  DARIO GAMEZ
249 VILLERE DRIVE                   237 S. PINE STREET                            2542 NORTH MCVICKER
DESTREHAN LA 70047                  APT B                                         CHICAGO IL 60639
                                    SAN GABRIEL CA 91776




                                           Page 526 of 2387
                         Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 527 of 800
DARIO ROLDAN                          DARIUS, RODOLPHE                              DARK CANYON PRODUCTIONS INC
676 S. SHATTO                         230 SW 6TH STREET                             10866 WILSHIRE BLVD 10TH FLOOR
APT 407                               BOYNTON BEACH FL 33426                        LOS ANGELES CA 90024
LOS ANGELES CA 90005



DARKER MY DUDES                       DARKWA, MATTHEW K                             DARLEEN HERALD
619 FREDERICK ST NO.1                 32 CLEMENS CT                                 190 HULETT ROAD
SAN FRANCISCO CA 94117                ROCKY HILL CT 06067                           GRANVILLE NY 12832




DARLENE BANKS                         DARLENE BASHAM                                DARLENE CONNOR-GRAHAM
3644 MUIRFIELD ROAD                   5505 GENTRY LANE                              3615 LATHAM ROAD
LOS ANGELES CA 90016                  WILLIAMSBURG VA 23188                         BALTIMORE MD 21207




DARLENE DESHAZO                       DARLENE EDWARDS-GRIFFIN                       DARLENE ESPARZA
7157 MCCLEAN BLVD                     8329 S. PAXTON AVE.                           1648 GRANADA PLACE
BALTIMORE MD 21234                    CHICAGO IL 60617                              POMONA CA 91767




DARLENE GEIN                          DARLENE GUNTHER                               DARLENE LANGHOFF
56 CEDAR SHORE DR                     1505 DALMATIA DRIVE                           5535 W. CARMEN AVENUE
MASSAPEQUA NY 11758                   SAN PEDRO CA 90732                            MILWAUKEE WI 53218




DARLENE PROVENZANO                    DARLENE ROPP                                  DARLENE SIMMONS
7318 WINTHROP WAY                     4760 NE 4TH AVE                               7350 S. CARPENTER
UNIT #7                               FORT LAUDERDALE FL 33334                      CHICAGO IL 60621
DOWNERS GROVE IL 60516



DARLENE SMET                          DARLENE T GROSECLOSE                          DARLENE TATE
25271 ORELLANO WAY                    1012 S. TOLLGATE ROAD                         109 NO. FULTON AVENUE
LAGUNA HILLS CA 92653                 BEL AIR MD 21014                              LINDENHURST NY 11757




DARLENE TSAO                          DARLENE TYLER                                 DARLEY L STOREY
10559 MIDVALE AVENUE NORTH            111 S. KILPATRICK                             147 REXFORD DR
SEATTLE WA 98133                      CHICAGO IL 60644                              NEWPORT NEWS VA 23608




DARLINE GEORGES                       DARLINE PHICIL                                DARMANIN, RACHAEL
6925 ASPEN SQ. LN.                    6024 GAMBLE DRIVE                             416 W 23RD ST APT 5C
ORLANDO FL 32818                      ORLANDO FL 32808                              NEW YORK NY 10011




DARNALL, JOHN                         DARNALL, MICHAEL                              DARNELL HAWKINS
6378 LADA AVE.                        101 CLYDE ST                                  2640 W. 85TH STREET
CAMARILLO CA 93012                    HAMPTON VA 23669                              CHICAGO IL 60652




                                             Page 527 of 2387
                           Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 528 of 800
DARNELL LITTLE                          DARNELL TAYLOR                                DAROCHE, REGINA L
2901 S. KING DRIVE                      7210 S. SOUTH SHORE DRIVE                     30 CINDY RD
#805                                    APT# 2B                                       ELLINGTON CT 06029
CHICAGO IL 60616                        CHICAGO IL 60649



DAROTE, ROLLIN                          DAROTE, VOLANDE                               DARREL COLE
5961 FOREST HILL BLVD APT NO.103        5961 FOREST HILL BLVD APT 103                 2825 CONWAY GARDENS RD.
WEST PALM BEACH FL 33415                WEST PALM BEACH FL 33415                      ORLANDO FL 32806




DARRELL ANDERSON                        DARRELL BOYD                                  DARRELL CALHOUN
5820 LORELEI AVENUE                     5630 WEST 35TH STREET                         2425 WESTMONT DR
LAKEWOOD CA 90712                       APT 9                                         ALHAMBRA CA 91803
                                        CICERO IL 60804-4332



DARRELL CAMP                            DARRELL GILES                                 DARRELL HARRIS
1505 WEST LIBERTY STREET                4714 DUNCREST AVENUE                          4111 LAKE LAWNE AVE.
ALLENTOWN PA 18102                      BALTIMORE MD 21206                            ORLANDO FL 32808




DARRELL HAZELWOOD                       DARRELL HERLINGER                             DARRELL IUCCI
19 CLASON POINT LANE                    11931 PENNY BRIDGE DRIVE                      1426 HOLIDAY PARK DR
BRONX NY 10473                          MIDLOTHIAN VA 23112                           WANTAGH NY 11793




DARRELL JACKSON                         DARRELL KUNITOMI                              DARRELL NORRIS
1531 HARFORD SQUARE DRIVE               1699 SARGENT COURT                            P.O. BOX 1432
EDGEWOOD MD 21040                       LOS ANGELES CA 90026                          WEST POINT VA 23181




DARRELL STEINER                         DARREN DEDO                                   DARREN DIGERONIMO
519 CORNELL STREET                      4246 245TH AVE SE                             3 WELLBROCK STREET
ABERDEEN MD 21001                       ISSAQUAH WA 98029                             LINDENHURST NY 11757




DARREN FORD                             DARREN HEINZ                                  DARREN HUFF
3751 CESAPEAKE AVENUE                   292 TALMADGE HILL ROAD                        4090 NW 42ND AVE #302
APT 316                                 NEW CANAAN CT 06840                           LAUDERDALE LAKES FL 33319
LOS ANGELES CA 90016



DARREN JAMES                            DARREN PAUGH                                  DARREN PHAN
149 W. 59TH ST.                         841 GARDEN GROVE AVENUE                       409 N. AVON ST
LOS ANGELES CA 90003                    NORCO CA 92860                                BURBANK CA 91505




DARREN RUEB                             DARREN SANDS                                  DARREN SMITH
63 GREENBRIER ROAD                      9 CLOVER LANE                                 126 PLAINFIELD DR.
EAST HARTFORD CT 06118                  WESTBURY NY 11590                             NEWPORT NEWS VA 23602




                                               Page 528 of 2387
                            Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 529 of 800
DARREN TALIAFERRO                        DARREN WEST                                   DARRIN KAISER
6207 HEATHER GLEN DRIVE                  5415 NORTH SHERIDAN ROAD                      55 IROQUOIS AVENUE
SUFFOLK VA 23435                         2401                                          SELDEN NY 11784
                                         CHICAGO IL 60640



DARRIN PATTISON                          DARROW HEATING & AIR                          DARRYL DAWKINS
13261 LA QUINTA ST.                      CONDITIONING CORP                             2903 NW 60TH AVENUE
LA MIRADA CA 90638                       11944 VALERIO STREET                          #213
                                         N HOLLYWOOD CA 91605                          SUNRISE FL 33313



DARRYL FRANKLIN                          DARRYL FRANKLIN                               DARRYL FRANKLIN
5390 DEER CREEK DRIVE                    5776 W 42ND ST                                PETTY CASH
INDIANAPOLIS IN 46254                    INDIANAPOLIS IN 46250                         6910 NETWORK PLACE
                                                                                       INDIANAPOLIS IN 46278



DARRYL HAMLETT                           DARRYL ISHERWOOD                              DARRYL JACKSON
106 ASPENWOOD DRIVE                      4 WILLOW BROOK LANE                           6 SALLY ANN PLACE
HAMPTON VA 23666                         ANNANDALE NJ 08801                            NEWPORT NEWS VA 23602




DARRYL LANDES                            DARRYL MCNAIR                                 DARRYL MINNIFIELD
122 W TEDTROW DR                         9 DEER STREET                                 19 SUNAPEE STREET
GLENDORA CA 91740                        WYANDANCH NY 11798                            SPRINGFIELD MA 01108




DARRYL MITCHELL                          DARRYL MOORE                                  DARRYL MURPHY
934 N. SAINT LOUIS AVE #1                155 EAST GREENWICH ST.                        410 ELMORE STREET
CHICAGO IL 60651                         APT 314                                       CENTRAL ISLIP NY 11722
                                         HEMPSTEAD NY 11550



DARRYL OWENS                             DARRYL UNDERWOOD                              DARRYL WELSH
543 LANCER OAK DRIVE                     4900 CRENSHAW AVE #G                          7427 SCHOOL AVE
APOPKA FL 32712                          BALTIMORE MD 21206                            BALTIMORE MD 21222




DARST JR, GUY B                          DARST, JAMES                                  DART CONTAINER CORP
15 SEVEN PINES AVE NO 1                  7720 NW 79TH AVE     NO.B4                    P O BOX 73741
SOMERVILLE MA 02144-2423                 TAMARAC FL 33321                              CHICAGO IL 60673




DART CONTAINER CORP                      DART CONTAINER CORP                           DARVIN FURNITURE
PO BOX 64267                             500 HOGSBACK ROAD                             15400 LA GRANGE ROAD
BALTIMORE MD 21264                       MASON MI 48854                                ORLAND PARK IL 60462




DARWYN METZGER                           DARYL COX                                     DARYL MILLER
351 S FULLER AVE                         7822 S. CHRISTIANA                            316 SAN VICENTE BLVD
APT#2L                                   CHICAGO IL 60652                              APT #101
LOS ANGELES CA 90036                                                                   SANTA MONICA CA 90402




                                                Page 529 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 530 of 800
DARYL NERL                             DARYL STREET                                  DARYL STRICKLAND
21 FRONT STREET                        1675 WELLINGTON ROAD                          4631 FALCON AVENUE
CATASAUQUA PA 18032                    LOS ANGELES CA 90019                          LONG BEACH CA 90807




DARYN BOULERICE                        DAS, SASWATO                                  DASCENZO, DOUGLAS C
14 TRINIDAD DRIVE                      485 CENTRAL PARK WEST NO.5J                   111 EASTGATE RD
KENNER LA 70065                        NEW YORK NY 10025                             UNIONTOWN PA 15401




DASHER, BRIAN                          DASHER, RONALD                                DASIA MONGE
1609 AUGUSTA DR                        6045 MANTZ RD                                 80 TROTTERS CIRCLE
MARIETTA GA 30067                      GERMANSVILLE PA 18053                         KISSIMMEE FL 34743




DASKAL, JENNIFER                       DASWANI, PREM                                 DAT V TRAN
1423 R STREET NW NO.202                14 WEST SYCAMORE AVENUE                       9515 MC FADDEN AVENUE
WASHINGTON DC 20009                    ARCADIA CA 91006                              WESTMINSTER CA 92683




DATA 21 INC                            DATA BASED ADS INC                            DATA BASED ADS INC
3510 TORRANCE BLVD STE 300             3110 N SHEFFIELD AV REAR OFFICE               363 WEST ERIE STREET SUITE 500 EAST
TORRANCE CA 90503                      CHICAGO IL 60657-6700                         CHICAGO IL 60610




DATA CENTER SERVICES                   DATA CLEAN CORP                               DATA CLEAN CORP
1408 BROOK DRIVE                       740 E DEBRA LANE                              1033 GRACELAND AVENUE
DOWNERS GROVE IL 60515                 ANAHEIM CA 92805                              DES PLAINES IL 60016




DATA CLEAN CORP                        DATA IMAGING SUPPLIES                         DATA IMAGING SUPPLIES
P O BOX 128                            1253 E ST LOUIS ST                            613 N WASHINGTON AVE
GLENVIEW IL 60025                      SPRINGFIELD MO 65802                          SPRINGFIELD MO 65806




DATA INTERFACE INC                     DATA INTERFACE INC                            DATA PARTNERS INC
29 NANTUCKET PLACE                     8117 MANCHESTER BL NO.548                     12857 BANYAN CREEK DR
MANHATTAN BEACH CA 90266               PLAYA DEL REY CA 90293                        FORT MEYERS FL 33908




DATA SERVICE SOLUTIONS INC             DATA STAFF                                    DATABASE PUBLISHING SYSTEMS
23839 W INDUSTRIAL DR N                152 LORRAINE DRIVE                            784 OLD MAIN ST
PLAINFIELD IL 60544                    LAKE ZURICH IL 60047                          ROCKY HILL CT 06067




DATABASE TELECOMMUNICATIONS            DATABASE TELECOMMUNICATIONS                   DATABASE TELECOMMUNICATIONS
2143 ROUTE 4 EAST                      220 E 23RD STREET                             25 SMITH STREET SUITE 108
SUITE 5                                NEW YORK NY 10010                             NANUET NY 10054
FORT LEE NJ 07024




                                              Page 530 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 531 of 800
DATACARD GA VEHREN CORP                DATAFAST INC                                  DATAFAST INC
39199 TREASURY CENTER                  42 WINNING COLORS ROAD                        6901 CRAVEN LANE
CHICAGO IL 60694-9100                  STAFFORD VA 22556                             FREDERICKSBURG VA 22407




DATAFAST INC                           DATAMAN GROUP                                 DATAMARK INC
8 PLANTERS PL                          PO BOX 970123                                 2305 S PRESIDENTS DRIVE
STAFFORD VA 22554                      BOCA RATON FL 33497-0123                      SALT LAKE CITY UT 84120




DATAMARK INC                           DATAMAX O'NEIL PRINTER SUPPLIES               DATASTREAM SYSTEMS INC
10 NORTH POST ST    NO.400             7656 E 700TH AVE                              P O BOX 60678
SPOKANE WA 99201                       ROBINSON IL 62454                             CHARLOTTE NC 28260




DATASTREAM SYSTEMS INC                 DATAWATCH CORPORATION                         DATAWATCH CORPORATION
50 DATASTREAM PLAZA                    234 BALLARDVALE ST                            271 MILL RD
GREENVILLE SC 29605                    WILMINGTON MA 01887                           QUORUM OFFICE PARK
                                                                                     CHELMSFORD MA 01824-4105



DATCHER, KENYA                         DATCP                                         DATCP
405 ASHLEY PLACE                       2811 AGRICULTURE DR                           PO BOX 93178
STONE MOUNTAIN GA 30083                PO BOX 8911                                   MILWAUKEE WI 53293-0178
                                       MADISON WI 53708-8911



DAUGHERTY, GRETEL                      DAUM, MEGHAN ELIZABETH                        DAUPHIN GRAPHIC MACHINES INC
750 WILSON DR                          1457 AVON TERRACE                             P O BOX 573
GRAND JUNCTION CO 81505                LOS ANGELES CA 90026                          ELIZABETHVILLE PA 17023




DAUSCH DISTRIBUTION ENTERPRISE INC     DAUTRICH, KENNETH J                           DAUZAT, JESSICA
1813 FULLERTON AVE                     70 KAYA LANE                                  23403 WEST PNE IVY LANE
COSTA MESA CA 92627                    MANSFIELD CENTER CT 06250                     TOMBALL TX 77375




DAVAN MAHARAJ                          DAVE ALTIMARI                                 DAVE BEDEAU
641 SO. WOODLAND STREET                38 LEXINGTON ROAD                             173-32 105TH AVENUE
ORANGE CA 92869                        WEST HARTFORD CT 06119                        JAMAICA NY 11433




DAVE BRADY                             DAVE CRUZ PHOTOGRAPHY                         DAVE CUTLER STUDIO LLC
343 INGLENOOK CIR.                     7803 EAST ROLAND CIRCLE                       41 CHESTNUT WOOD RD
WINTER SPRINGS FL 32708                MESA AZ 85207                                 REDDING CT 06896




DAVE CUTLER STUDIO LLC                 DAVE HEGARTY                                  DAVE KOEHNEKE
41 CHESTNUT WOODS RD                   4944 DOUGLAS ROAD                             1943 WELLINGTON PLACE
W REDDING CT 06896                     UNIT 204                                      DOWNERS GROVE IL 60516
                                       DOWNERS GROVE IL 60515-3877




                                              Page 531 of 2387
                            Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 532 of 800
DAVE PLOTT                               DAVE SCOTT                                    DAVE WHEELER STUDIO LLC
14123 S. FRANKLIN CT.                    210 CONNOR AVENUE                             5015 HAROLD PLACE NE
PLAINFIELD IL 60544                      LOCKPORT IL 60441                             SEATTLE WA 98105




DAVECOR NEWS INC                         DAVECOR NEWS INC                              DAVECOR NEWS INC
1110 N OAKLEY W BLDG 33 NO.102           209 W COUNTRY DR                              41 PLAZA DR
WESTMONT IL 60559                        BARTLETT IL 60103                             WESTMONT IL 60559




DAVECOR NEWS INC                         DAVENPORT, AMANDA                             DAVENPORT, AMANDA
516 S FAIRFIELD                          110 FERNDALE RD                               110 FERNDALE ROAD
LOMBARD IL 60148                         GLEN BURNIE MD 21061                          FERNDALE MD 21061




DAVENPORT, CARLETON P                    DAVENPORT, DONALD E                           DAVENPORT, DONALD E
24 HARBOR AVE                            6677 W MONTROSE                               113-19TH ST PO BOX 477
MARBLE HEAD MA 01945                     HARWOOD HTS IL 60706                          MONROE WI 53566-0477




DAVENPORT, ECHO L                        DAVEUX, RAOUL                                 DAVID AIZER
23740 CORK OAK CIRCLE                    3370 BEAU RIVAGE DRIVE UNIT W3                1040 SEMINOLE DRIVE
MURRIETA CA 92562                        POMPANO BEACH FL 33064                        APT. #1462
                                                                                       FT. LAUDERDALE FL 33304



DAVID AKINTOLA                           DAVID ALEXANDER                               DAVID ALLMON
9 JOYCE AVENUE                           415 S. DUNCAN STREET                          P. O. BOX 2002
MASSAPEQUA NY 11758                      BALTIMORE MD 21231                            FRAZIER PARK CA 93225




DAVID ANESTA                             DAVID ANTHONY                                 DAVID ARAM
1023 N. VICTORIA PARK RD.                7602 SUNFLOWER DRIVE                          441 E. SAN JOSE AVENUE
APT. 3                                   MARGATE FL 33063                              APT# 209
FT. LAUDERDALE FL 33304                                                                BURBANK CA 91501



DAVID ARCHITECTURAL METALS, INC          DAVID B FISCHER                               DAVID B SINCLAIR
3100 S KILBOURN AVENUE                   1063 25TH TRAIL                               6322 FREDERICK ROAD
CHICAGO IL 60623                         COTOPAXI CO 81223                             CATONSVILLE MD 21228




DAVID BAKER                              DAVID BALDWIN                                 DAVID BALL
4503 W ATLANTIC BLVD                     809 S. WESLEY                                 5981 BROOKFARM SE
APT 1414                                 OAKPARK IL 60304                              KENTWOOD MI 49508
COCONUT CREEK FL 33066



DAVID BASKIN                             DAVID BATTAGLIN                               DAVID BEACH
80-54 189TH STREET                       2535 W. HUTCHINSON ST                         12234 ROCKY KNOLL DR
JAMAICA NY 11423                         #2                                            HOUSTON TX 77077
                                         CHICAGO IL 60618




                                                Page 532 of 2387
                            Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 533 of 800
DAVID BECHTEL                            DAVID BELLESFIELD                             DAVID BENNETT
3516 LINDBERG AVENUE                     728 FRONT STREET                              250 W. OCEAN BLVD.
ALLENTOWN PA 18103                       WHITEHALL PA 18052                            APT. #1413
                                                                                       LONG BEACH CA 90802



DAVID BENNETT                            DAVID BERNSTEIN                               DAVID BERRY
20 LAWTON AVENUE                         3101 N. SEMINARY AVE                          115 ROBIN DRIVE
NEWINGTON CT 06111                       #A                                            CANTON CT 06019
                                         CHICAGO IL 60657



DAVID BERSON                             DAVID BESTER                                  DAVID BITOLAS
2217 HILLSBORO AVE.                      193 HAMPTON STREET                            21622 BROOKSIDE COURT
LOS ANGELES CA 90034-1122                APT. 1                                        WALNUT CA 91789
                                         HARTFORD CT 06120



DAVID BLACK                              DAVID BLACKWOOD                               DAVID BLASZKOWSKI
P.O. BOX 6390                            121 BRAELANDS DR                              1862 S. BENTLEY AVENUE
KENT WA 98064-6390                       CARY NC 27518                                 #203
                                                                                       LOS ANGELES CA 90025



DAVID BOWMAN                             DAVID BOWMAN                                  DAVID BRALOW
363 S. SANTA ANITA AVENUE                20 LEWIS DR                                   21 WEST 86TH STREET
PASADENA CA 91107                        NEWPORT NEWS VA 23606                         APT. #608
                                                                                       NEW YORK NY 10019



DAVID BREEN                              DAVID BRICE                                   DAVID BRICKMAN
2106 WEBER STREET                        376 FLEAGLE ROAD                              18416 LANGE STREET
ORLANDO FL 32803                         GLEN BURNIE MD 21061                          LANSING IL 60438




DAVID BROUSSEAU                          DAVID BROWN                                   DAVID BROWN
1200 NE 42 CT                            805 S SIERRA BONITA AVENUE                    1636 N. WELLS AVE.
POMPANO BEACH FL 33064                   LOS ANGELES CA 90036                          2608
                                                                                       CHICAGO IL 60614



DAVID BRZEZINSKI                         DAVID BUCKNOR                                 DAVID BURGESS
63 SKYLINE DRIVE                         7828 NW 71ST WAY                              287 NO. 3RD AVENUE
EAST HARTFORD CT 06118                   PARKLAND FL 33067                             BAY SHORE NY 11706




DAVID BUSHNER                            DAVID BUVEL                                   DAVID CAMPBELL
3153 SANDSTONE CT.                       1976 ALGONQUIN TRAIL                          8932 PRICE CIR
PALMDALE CA 93551                        WILLIAMSBURG VA 23185                         HIGHLAND IN 46322




DAVID CAMPBELL                           DAVID CARRILLO                                DAVID CASEY
225 W 3RD STREET #335                    21191 SAILORS BAY LANE                        13830 MOORPARK ST.
LONG BEACH CA 90802                      HUNTINGTON BEACH CA 92646                     APT#203
                                                                                       SHERMAN OAKS CA 91423




                                                Page 533 of 2387
                         Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 534 of 800
DAVID CASSIDY                         DAVID CASTILLO                                DAVID CATES
3 LINCOLN STREET                      112 S. SANDALWOOD AVE.                        550 COLUMBINE
GARDEN CITY NY 11530                  LA PUENTE CA 91744                            LISLE IL 60532




DAVID CAZARES                         DAVID CESARO                                  DAVID CHAMPLIN
1991 NE 187 DR                        8 ORCHARD FARMS LANE                          316 TUDOR LANE
NORTH MIAMI BEACH FL 33179            AVON CT 06001                                 MIDDLE ISLAND NY 11953




DAVID CHERIEL                         DAVID CHIAPPE                                 DAVID CHIARI
55 CUMBERBACK STREET                  728 KRISTIN COURT                             9809 RIVERSIDE DRIVE
P.O. BOX 1314                         WESTMONT IL 60559                             CORAL SPRINGS FL 33071
WYANDANCH NY 11798



DAVID CHILDS WALKER                   DAVID CLARK                                   DAVID CLINE
4705 SHELLEY LANE                     24 ALEXANDER AVENUE                           7635 WEST ONTARIO PLACE
ELLICOTT CITY MD 21043                FARMINGDALE NY 11735                          LITTLETON CO 80128




DAVID COLKER                          DAVID COLLINS                                 DAVID COOPER
318 W MARIPOSA STREET                 121 PINE VALLEY COURT                         50 SHIRLEY COURT
ALTADENA CA 91001                     DEBARY FL 32713                               COMMACK NY 11725




DAVID CORTES                          DAVID COWAN                                   DAVID COX
7639 KESTER AVE                       4330 PRENTISS DR                              21967 LYNETTE LANE
#4                                    YORBA LINDA CA 92886                          SAUGUS CA 91350
VAN NUYS CA 91405



DAVID CRADDOCK                        DAVID CREMEN                                  DAVID CROMBIE
12718 WEIDNER STREET                  2508 SILVA CT.                                152 NORTH 27TH STREET
PACOIMA CA 91331                      MANCHESTER MD 21102                           WYANDANCH NY 11798




DAVID CROME                           DAVID CSORDAS                                 DAVID CURRAN
2739 HIDDEN LAKE DR.                  7183 CARL'S HILL ROAD                         732 SW 13TH AVENUE
GRAPEVINE TX 76051                    ZIONSVILLE PA 18092                           FORT LAUDERDALE FL 33312




DAVID CURTIS                          DAVID D'INTRONO                               DAVID DALEY
2701 NW 23RD BLVD.                    7 HYACINTH LANE                               1 PINE VALLEY DRIVE
APT. J-77                             HOLBROOK NY 11741                             SOUTH GLENS FALLS NY 12803
GAINESVILLE FL 32605



DAVID DAMRON                          DAVID DARLING                                 DAVID DAWSON
1505 E. RIDGEWOOD STREET              2525 DOUBLE TREE PLACE                        499 ROSEWOOD DRIVE
ORLANDO FL 32803                      OVIEDO FL 32766                               NORTHAMPTON PA 18067




                                             Page 534 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 535 of 800
DAVID DEAN HILLER                      DAVID DECKER                                  DAVID DEGRAF
1448 N. LAKESHORE DRIVE                119 SUNRISE LANE                              7815 N. BABB AVE
APT. 12C                               LEVITTOWN NY 11756                            SKOKIE IL 60077
CHICAGO IL 60610



DAVID DENTON ARCHITECT                 DAVID DICKERSON                               DAVID DIEDERICH
13763 FIJI WAY                         25 HAYES DRIVE                                6690 VISTA DEL MAR
NO.EV-2                                WINDSOR CT 06095                              UNIT G
MARINA DEL REY CA 90292                                                              PLAYA DEL REY CA 90293



DAVID DIPINO                           DAVID DODDS                                   DAVID DRIVER
1518 LANCE RD.                         926 N. WALNUT AVENUE                          DAVID DRIVER
JUPITER FL 33469                       SAN DIMAS CA 91773                            2338 BELLEVIEW AVE.
                                                                                     CHEVERLY MD 207853004



DAVID DRURY                            DAVID DUITCH                                  DAVID DUNTON
207 LIMNER CIRCLE                      8001 JOHN CARPENTER FREEWAY                   640 MILL STREET
ROCKY HILL CT 06067                    DALLAS TX 75247                               PALMERTON PA 18071




DAVID DVORAK                           DAVID E LESH, INC                             DAVID E LESH, INC
4 JOHNS LANE                           1761 RESORT RD                                PO BOX 4151
P.O. BOX 2792                          BURT LAKE MI 49717                            BURT LAKE MI 49717
AQUEBOGUE NY 11931



DAVID EANET                            DAVID ELDER                                   DAVID ELDERSVELD
1631 WILMOT LANE                       255 ORANGE AVENUE                             155 NORTH MAIN STREET
DEERFIELD IL 60015                     CLERMONT FL 34711                             GLEN ELLYN IL 60137




DAVID ELLIOTT                          DAVID ELLIS                                   DAVID ELSNER
9 HEAVRIN COURT                        143 HAMPTON                                   5240 N. LAMON
BALTIMORE MD 21236                     CARY IL 60013                                 CHICAGO IL 60630




DAVID EMLET                            DAVID ENGELHARDT                              DAVID ERICKSON
13 GRINNEL DRIVE                       8109 CLYDE BANK RD                            1038 ROCKHILL AVENUE
CAMPHILL PA 17011                      BALTIMORE MD 21234                            BALTIMORE MD 21229




DAVID EVANS                            DAVID F BELNAP                                DAVID FAIRBANK
916 VALLEY ROAD                        1134 W HUNTINGTON DR #3                       902 DRIVERS LANE
MERTZTOWN PA 19539                     ARCADIA CA 91007                              NEWPORT NEWS VA 23602




DAVID FARISH                           DAVID FARRELL                                 DAVID FIERRO
1850 DEAMERLYN DRIVE                   569 BABCOCK                                   129 THEODORE FREMD AVENUE
YORK PA 17402                          ELMHURST IL 60126                             RYE NY 10580




                                              Page 535 of 2387
                           Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 536 of 800
DAVID FLESHLER                          DAVID FLUGUM                                  DAVID FONG
905 SE 12TH COURT                       681 WEAVER ST.                                1315 THIRD AVENUE
APT 5                                   SIMI VALLEY CA 93065                          APT 5RS
FORT LAUDERDALE FL 33316                                                              NEW YORK NY 10021



DAVID FRANCO                            DAVID FRASER                                  DAVID FRASER
1541 DENNIS ST.                         322 W. WASHINGTON ST.                         8303 BRIAR RIDGE DRIVE
PL #C                                   WEST CHICAGO IL 60185                         CASTLE ROCK CO 80104
WEST COVINA CA 91790



DAVID FREEDLANDER                       DAVID FREEDMAN                                DAVID FRIEDMAN
173 RUSSELL                             1451 CAMPANELLI DRIVE                         8606 MAYFAIR PL
BROOKLYN NY 11222                       PLANTATION FL 33322                           SILVER SPRING MD 20910




DAVID FRIEDMAN TELEVISION SERVICES      DAVID FUNKHOUSER                              DAVID GALAIDA
8606 MAYFAIR PL                         177 SADDLE HILL DRIVE                         40 NEW LANE
SILVER SPRING MD 20910                  GUILFORD CT 06437                             SELDEN NY 11787




DAVID GARAY                             DAVID GARCIA                                  DAVID GARCIA
51 LOS COYOTES DRIVE                    564 LAKEWOOD FARMS DRIVE                      16612 QUAIL COUNTRY AVE.
PHILLIPS RANCH CA 91766                 BOLINGBROOK IL 60490                          CHINO HILLS CA 91709




DAVID GARCIA                            DAVID GARDNER                                 DAVID GARZA
917 HIGHLAND AVENUE                     2312 ADAMS ST.                                4020 E. 112TH ST
THORNTON IL 60476                       GARY IN 46407                                 CHICAGO IL 60617




DAVID GASKILL                           DAVID GAUL                                    DAVID GEIB
3170 LANARK ROAD                        671 LINCONLSHIRE LANE                         19 ADAMS DRIVE
COOPERSBURG PA 18036                    HOFFMANN ESTATES IL 60169                     SHELTON CT 06484




DAVID GEORGETTE                         DAVID GERTLER                                 DAVID GIBSON
440 S. LAKEWOOD RUN DR.                 243 LEXINGTON ROAD                            5023 STROMAN LANE
PONTE VEDRA BEACH FL 32082              GLASTONBURY CT 06033                          SACRAMENTO CA 95835




DAVID GLOTZER                           DAVID GOINS                                   DAVID GOODE
145 SISSON AVENUE                       1317 N. OAKLEY BLVD.                          273 DEEPWOOD DRIVE
APT. A-13                               2ND FLR                                       AMSTON CT 06231
HARTFORD CT 06105                       CHICAGO IL 60622



DAVID GRANT                             DAVID GREEN                                   DAVID GREISING
1749 PHILLIPS COURT                     264 ROBINSON DR                               2523 HURD AVENUE
ERIE CO 80516                           PASADENA CA 91104                             EVANSTON IL 60201




                                               Page 536 of 2387
                         Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 537 of 800
DAVID GREWE                           DAVID GRIMES                                  DAVID GROVE
82 LUDLOW ROAD                        93 WASHINGTON STREET                          7615 S. TROPHY CLUB DR.
MANCHESTER CT 06040                   GREENFIELD MA 01301                           INDIANAPOLIS IN 46214




DAVID GRUNDTVIG                       DAVID H TENGSTEDT SR                          DAVID HAAS
1119 N. WINDSOR DR.                   901 W HWY 419                                 5108 SAYLOR PARK DRIVE
ARLINGTON HEIGHTS IL 60004            CHULUOTA FL 32766                             APT 9
                                                                                    WHITEHALL PA 18052



DAVID HALDANE                         DAVID HAMMARGREN                              DAVID HAUGH
2922 CLAREMORE LANE                   3525 SW 98TH STREET                           7203 DOVE DRIVE
LONG BEACH CA 90815                   SEATTLE WA 98126                              SCHERERVILLE IN 46375




DAVID HAYES                           DAVID HAYES                                   DAVID HECKMAN
4321 WEST 187TH                       133 N POMPANO BEACH BLVD                      6526 CERRITOS PLACE
COUNTRY CLUB HILLS IL 60478           #202                                          HOLLYWOOD CA 90068
                                      POMPANO BEACH FL 33062



DAVID HEINZMANN                       DAVID HEKLOWSKI                               DAVID HENDRICKSON
620 S. HOME AVENUE                    8320 S. NEWCASTLE                             8816 COMMODORE DRIVE
OAK PARK IL 60304                     BURBANK IL 60459                              NORFOLK VA 23503




DAVID HEREDIA                         DAVID HERNANDEZ                               DAVID HERNANDEZ
PO BOX 4802                           36901 N CHARTER COURT                         1375 LOCUST AVE
PALM DESERT CA 92261                  PALMDALE CA 93552                             BOHEMIA NY 11716




DAVID HEUSCHKEL                       DAVID HOBBY                                   DAVID HOECKEL
28 CARRIAGE DRIVE                     7353 BROKEN STAFF                             1109 WASHINGTONVILLE DR
SIMSBURY CT 06070                     COLUMBIA MD 21045                             BALTIMORE MD 21210




DAVID HOLCOMB                         DAVID HOLLAND                                 DAVID HOLUB
810 WESTMOUNT AVENUE                  390 PROSPECT AVENUE                           89 HOLLISTER STREET
DALLAS TX 75211                       APT. 3L                                       MANCHESTER CT 06042
                                      BROOKLYN NY 11215



DAVID HONEYWELL                       DAVID HOSICK                                  DAVID HOUSER
515 MEYERS DRIVE                      6328 WATERCREST WAY                           25 N WEST STREET
ROCKY HILL CT 06067                   INDIANAPOLIS IN 46278                         ALLENTOWN PA 18102




DAVID HOWELL                          DAVID HUTCHINSON                              DAVID HYDE
69 COURTLAND AVENUE                   117 SOUTH 4TH STREET                          1631 TIGERTAIL AVE.
WATERBURY CT 06707                    APT 415                                       COCONUT GROVE FL 33133
                                      ALLENTOWN PA 18102




                                             Page 537 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 538 of 800
DAVID J BERGERON                       DAVID J KNICKERBOCKER                         DAVID J STEVENS
2994 ALPINE WAY                        31-17 DOUGLAS ROAD                            8363 SHEFFIELD RD
LAGUNA BEACH CA 92651                  DOUGLASTON NY 11363                           SAN GABRIEL CA 91775




DAVID JACKSON                          DAVID JACOBSEN                                DAVID JAHNTZ
1641 N. PAULINA                        17740 SCHERZINGER LANE                        628 EDISON STREET
CHICAGO IL 60622                       APT. #103                                     GENEVA IL 60134
                                       CANYON COUNTRY CA 91387



DAVID JANECEK                          DAVID JEFF SHAW                               DAVID JENKINS
210 MANTLEBROOK DRIVE                  1599 BLUESTEM LN.                             190 N CEDAR COURT
DESOTO TX 75115                        GLENVIEW IL 60025                             NEWPORT NEWS VA 23608




DAVID JOE                              DAVID JOEL PHOTOGRAPHY INC                    DAVID JOHNS
10691 MULHALL STREET                   2118 N KENMORE                                302 ISLAND AVE #204
EL MONTE CA 91731                      CHICAGO IL 60614                              SAN DIEGO CA 92101




DAVID JOHNSON                          DAVID JOHNSON                                 DAVID JOHNSON
111 BRANFORD ST                        15956 GRESHAM STREET                          2455 LAUREL PASS
HARTFORD CT 06112                      NORTH HILLS CA 91343                          LOS ANGELES CA 90046




DAVID JOHNSON                          DAVID JONES                                   DAVID JONES
202 HEATH PLACE                        4113 DREXEL AVE.                              C/O PATRICIA SHEERER
YORKTOWN VA 23693                      ORLANDO FL 32808                              296 BIG BOOM ROAD
                                                                                     QUEENSBURY NY 12804



DAVID JUARBE                           DAVID KALMOWITZ                               DAVID KAMINSKY
325 NORTH JORDAN STREET                246 KIPP AVENUE                               378 CEDAR LANE
ALLENTOWN PA 18102                     HASBROUCK HEIGHTS NJ 07604                    EAST MEADOW NY 11554




DAVID KANG                             DAVID KAPLAN                                  DAVID KARDT
6766 LANDRIANO PL                      2994 LEXINGTON LANE                           38-08 210TH STREET
RANCHO CUCAMONGA CA 91701              HIGHLAND PARK IL 60035                        BAYSIDE NY 11361




DAVID KEEPS                            DAVID KELLY                                   DAVID KELLY
1621 BRUCE COURT                       137 HAYES RD.                                 31107 RIVERTON LANE
LOS ANGELES CA 90026                   WINTER SPRINGS FL 32708                       TEMECULA CA 92591




DAVID KELTON                           DAVID KENNEDY                                 DAVID KEYES
123 TYLER TERRACE                      15605 LAS POSAS DRIVE                         2612 NORTH AVENUE
WEST POINT GA 31833                    MORENO VALLEY CA 92551                        E-20
                                                                                     BRIDGEPORT CT 06604




                                              Page 538 of 2387
                           Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 539 of 800
DAVID KIDWELL                           DAVID KIDWELL                                 DAVID KIMMEL
435 N. MICHIGAN AVE                     5145 N. LINCOLN AVE.                          750 WEST BROADWAY
CHICAGO IL 60611                        APT. 1D                                       APT. 3L
                                        CHICAGO IL 60625                              LONG BRANCH NY 11561



DAVID KISSI                             DAVID KNIFFIN                                 DAVID KNOTT
DAVID KISSI, PRO SE; #38348037          20 THOMASINA LANE                             7110 LA VISTA DRIVE
FCI ELKTON                              DARIEN CT 06820                               DALLAS TX 75214
PO BOX 10
LISBON OH 44432


DAVID KODER                             DAVID KOHN                                    DAVID KOLLMORGEN
189 GREENBRIAR DRIVE SOUTH              2413 EVERTON ROAD                             2533 N SOUTHPORT AVE
BATH PA 18014                           BALTIMORE MD 21209                            APT.# 4N
                                                                                      CHICAGO IL 60614



DAVID KREMER                            DAVID KROPFF                                  DAVID L GENSLER
1083 CONSTITUTION AVENUE                14 VIRGINIA AVE                               18854 VICCI STREET
PEN ARGYL PA 18072                      PLAINVIEW NY 11803                            CANYON COUNTRY CA 91351




DAVID L MERCHANT                        DAVID L PAULSON                               DAVID L THOMPSON
55 OAK KNOLLS                           660 DELAWARE DR                               195 N LYLE AVENUE
COTO DE CAZA CA 92679                   CLAREMONT CA 91711                            ELGIN IL 60123




DAVID L WINDUS                          DAVID LAMM                                    DAVID LAMPEL
PO BOX 3242                             6502 PEACH AVE                                9462 TWO HILLS CT
HARBOR OR 97415                         VAN NUYS CA 91406                             COLUMBIA MD 21045




DAVID LANGE                             DAVID LARKIN                                  DAVID LARRICK
2951 N. 74TH STREET                     2430 NW 116TH TERRACE                         3324 PELHAM ROAD
MILWAUKEE WI 53210                      CORAL SPRINGS FL 33065                        ORLANDO FL 32803




DAVID LAU                               DAVID LAUTER                                  DAVID LAVENTHOL
1979 GARRETT ROAD                       1117 S LA JOLLA AVENUE                        870 UNITED NATIONS PLAZA
MANCHESTER MD 21102                     LOS ANGELES CA 90035                          #31B
                                                                                      NEW YORK NY 10017



DAVID LAVENTHOL                         DAVID LAWRENCE                                DAVID LAZARUS
ATTN: DAVID LAVENTHOL                   7505 WEATHERWORN WAY                          11253 HOMEDALE STREET
870 UNITED NATIONS PLAZA                UNIT E                                        LOS ANGELES CA 90049
APT #31B                                COLUMBIA MD 21046
NEW YORK NY 10017-0820


DAVID LEACH LLC                         DAVID LEE                                     DAVID LEE
1776 K STREET N W SUITE 217             1491 WOODVIEW ROAD                            1138 20TH STREET
WASHINGTON DC 20006                     YARDLEY PA 19067                              APT #5
                                                                                      SANTA MONICA CA 90403




                                               Page 539 of 2387
                           Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 540 of 800
DAVID LEE STEWART                       DAVID LENNON                                  DAVID LEON
40820 GRANITE STREET                    413 EAST 84TH ST                              14748 GLENN DR
PALMDALE CA 93551                       APT #5                                        WHITTIER CA 90604
                                        NEW YORK NY 10028



DAVID LERMAN                            DAVID LOMINAC                                 DAVID LONG
1239 VERMONT AVE. NW                    1328 CALLE ROSAMARIA                          20 MILL RUN DRIVE
#801                                    SAN DIMAS CA 91773                            LEHIGHTON PA 18235
WASHINGTON DC 20005



DAVID LOPEZ                             DAVID LOPEZ                                   DAVID LYONS
3133 HIGHLAND VIEW DRIVE                44 WEST SHORE ROAD                            17 PATCHOGUE RD
BURBANK CA 91504                        OAKDALE NY 11769                              SOUND BEACH NY 11789




DAVID M HANLEY                          DAVID M STRICKLER                             DAVID M TREADWELL
3 STEPHEN STREET                        2402 PAPAYA RD                                822 ROSEMORE AVE
MANCHESTER CT 06040                     EDGEWOOD MD 21040                             COLUMBUS OH 43213




DAVID MACAULAY                          DAVID MANGOLD                                 DAVID MANSER
21 TETON CIRCLE                         34 BEHRENDT CT                                404 MUSIC LANE
SUFFOLK VA 23435                        SAYVILLE NY 11782                             LINTHICUM MD 21090




DAVID MARCUS                            DAVID MARK CODY                               DAVID MARSHALL
61 BURR AVENUE                          4729 NW 120 DRIVE                             1931 SW 68TH AVENUE
NORTHPORT NY 11768                      CORAL SPRINGS FL 33076                        NORTH LAUDERDALE FL 33068




DAVID MARTINEZ                          DAVID MARTINEZ                                DAVID MARTINEZ
1027 S. LARK ELLEN AVE                  10442 EAST WEAVER CIRCLE                      15522 LAMBERT ROAD
WEST COVINA CA 91791                    ENGLEWOOD CO 80111                            WHITTIER CA 90604




DAVID MARTINEZ                          DAVID MARZULLO                                DAVID MASON
800 S CHAPEL AVENUE #A                  18019 DIXIE HIGHWAY                           6610 S. BLOSSOM LN.
ALHAMBRA CA 91801                       APT #2C                                       INDIANAPOLIS IN 46278
                                        HOMEWOOD IL 60430



DAVID MASON                             DAVID MASSA                                   DAVID MATHER
16433 W. ASH LANE                       782 OBISPO AVE                                21820 EAST BRIARWOOD DRIVE
LOCKPORT IL 60441                       APT 1                                         #221
                                        LONG BEACH CA 90804                           AURORA CO 80016



DAVID MATTSON                           DAVID MAUL                                    DAVID MAYERSKY
4936 ATWOOD DRIVE                       199 PAPILLION DRIVE                           215 DUPONT STREET
ORLANDO FL 32828                        SWANSEA IL 62226                              PHILADELPHIA PA 19127




                                               Page 540 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 541 of 800
DAVID MC CONNELL                       DAVID MCDAVID HONDA OF FRISCO                 DAVID MCDONALD
12912 ROSELLE AVENUE                   1601 N DALLAS PARKWAY                         1902 LAMBERT ROAD
APT 25                                 FRISCO TX 75034                               JENKINTOWN PA 19046
HAWTHORNE CA 90250



DAVID MCHALE                           DAVID MCKIBBEN                                DAVID MEDEIROS
6846 MCLEAN PROVINCE CIRCLE            1380 PINE AVENUE                              3101 NE 47TH COURT
FALLS CHURCH VA 22403                  CARLSBAD CA 92008                             UNIT 605
                                                                                     FORT LAUDERDALE FL 33308



DAVID MEDINA                           DAVID MEISSER                                 DAVID MENDELL
64 CONGRESS STREET                     1502 ARGYLE ROAD                              1183 S. ELMWOOD AVE.
APT. #401                              WANTAGH NY 11793                              OAK PARK IL 60304
HARTFORD CT 06114



DAVID MESSICK                          DAVID MEYER                                   DAVID MICHAEL KIRKENDALL
18 EASTHILL COURT                      PO BOX 1424                                   9 SANTA EUGENIA
HAMPTON VA 23664                       BAYVILLE NY 11709                             IRVINE CA 92606




DAVID MICHAELIS                        DAVID MIGLIORE-ERDMAN                         DAVID MILLER
111 PANTHER PAW PATH                   3811 HIGHPOINT DRIVE                          1433 EXMORE DRIVE
WILLIAMSBURG VA 23185                  ALLENTOWN PA 18103                            SCHAUMBURG IL 60194




DAVID MILLER                           DAVID MILLER                                  DAVID MITCHNICK
819 N GILBERT STREET                   16067 HAZEL                                   1232 N. ORANGE GROVE #4
ANAHEIM CA 92801                       LANSING MI 48906                              WEST HOLLYWOOD CA 90046




DAVID MITTLER                          DAVID MONDOZA                                 DAVID MOONEY
80 OLD BOSTON POST ROAD                14920 BROWN LANE                              9414 E. WASHINGTON ST.
APT. #18                               VICTORVILLE CA 92394                          #2
NEW ROCHELLE NY 10801                                                                ORLANDO FL 32801



DAVID MORENO                           DAVID MORRIS                                  DAVID MULCAHEY
106 CARRIAGE LANE                      P.O. BOX 732                                  2644 N. SAWYER AVENUE
SAUK VILLAGE IL 60411                  UMATILLA FL 32784                             #1
                                                                                     CHICAGO IL 60647



DAVID MURCIN                           DAVID MURDOCK                                 DAVID MURONAKA
11605 MISSOURI AVENUE                  5702 VANDUKE ROAD                             15539 FACILIDAD STREET
APT. #3                                BALTIMORE MD 21206                            HACIENDA HEIGHTS CA 91745
LOS ANGELES CA 90025



DAVID MURPHY                           DAVID NACHBAUR                                DAVID NEFF
2611 N GREENVIEW AVENUE                26722 PELICAN ST.                             140 SE 3 ST
UNIT B                                 EUSTIS FL 32736                               POMPANO BEACH FL 33060
CHICAGO IL 60614




                                              Page 541 of 2387
                       Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 542 of 800
DAVID NELSON                        DAVID NEVAREZ                                 DAVID NEWLAND
17782 CARRANZA                      9814 MOUSETAIL COURT                          13940 HOOVER ST
HUNTINGTON BEACH CA 92647           ELK GROVE CA 95757                            APT E-407
                                                                                  WESTMINSTER CA 92683



DAVID NG                            DAVID NICHOLSON                               DAVID NITKIN
1132 LOGAN STREET                   126 DUPONT CIR                                9198 FURROW AVENUE
APT#4                               NORFOLK VA 23509                              ELLICOTT CITY MD 21042
LOS ANGELES CA 90026



DAVID NORRIS                        DAVID NOVAK                                   DAVID ORTIZ
717 WEST LYNNWOOD STREET            551 CAMP MONETO ROAD                          1972 LAVINA STREET
APT #3                              NASHVILLE IN 47948                            DELTONA FL 32738
ALLENTOWN PA 18103



DAVID OWEN                          DAVID OWENS                                   DAVID PACURAR
13218 DEWEY ST                      69 BREWSTER ROAD                              1113 SYCAMORE ST
LOS ANGELES CA 90066                WEST HARTFORD CT 06117                        LAKE IN THE HILLS IL 60156




DAVID PAMER                         DAVID PARKER                                  DAVID PASHA
22602 CORAL PLACE                   5036 DR. PHILLIPS BLVD. #334                  9 KNOLL LANE
LAKE FOREST CA 92630                ORLANDO FL 32819                              ROCKY HILL CT 06067




DAVID PAVEY                         DAVID PENA                                    DAVID PIEL
20 NORTH RD                         1686 ARROW ROUTE                              6305 WIND RIDER WAY
BOLTON CT 06043                     APT 155                                       COLUMBIA MD 21045
                                    UPLAND CA 91786



DAVID PIERINI                       DAVID PIERSON                                 DAVID PINTZOW
4305 N. DAMEN AVENUE                1306 NORTH COLUMBUS AVENUE                    494 SILVER COURT
APT. #3-W                           APT. #216                                     WESTMINSTER MD 21158
CHICAGO IL 60618                    GLENDALE CA 91202



DAVID PLOUGH                        DAVID POKRESS                                 DAVID POND
655 BROADWAY                        23 NO CRESCENT DR                             50 BAYARD AVENUE
ANDERSON IN 46012                   FARMINGDALE NY 11735                          NORTH HAVEN CT 06473




DAVID PORTER                        DAVID POWELL                                  DAVID PRESTON
7820 BARBERRY DR.                   10642 S. LAFAYETTE                            8809 3RD AVENUE SE
ORLANDO FL 32835                    CHICAGO IL 60628                              EVERETT WA 98208




DAVID PRICE                         DAVID PRITZKER                                DAVID PUOPOLO
16597 TROPEZ LANE                   1089 EAGLES WATCH TRAIL                       5151 MONTE BONITO DR
HUNTINGTON BEACH CA 92649           WINTER SPRINGS FL 32708                       LOS ANGELES CA 90041




                                           Page 542 of 2387
                           Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 543 of 800
DAVID R CANHAM                          DAVID R JONES DELIVERY INC                    DAVID R KUSHLAN
8 CANINE ROAD                           8713 FOREST AVE                               72 FARMINGTON CHASE
HOLTSVILLE NY 11742                     CHARLACK MO 63114                             FARMINGTON CT 06032




DAVID RAMIREZ                           DAVID RAMIREZ                                 DAVID RASCON
4670 MASCOT STREET                      9505 NICHOLS AVENUE                           944 NORTH HICKS AVENUE
LOS ANGELES CA 90019                    FRANKLIN PARK IL 60131                        LOS ANGELES CA 90063




DAVID RAYGOZA                           DAVID REID                                    DAVID REYES
22882 HICKORY HILLS                     261 VICTORIA ROAD                             8132 20TH STREET
LAKE FOREST CA 92630                    HARTFORD CT 06114                             WESTMINSTER CA 92683




DAVID REYNOLDS                          DAVID RHINELANDER                             DAVID RICKLEY
222 WILLIS STREET                       16 PINE STREET                                6054 ALTA AVENUE
BRISTOL CT 06010                        GLOUCESTER MA 01930                           WHITTIER CA 90601




DAVID RIEDEL                            DAVID ROACH                                   DAVID ROBINSON
95 LYON STREET                          39 LOCUST LANE                                25 SALEM STREET
2ND FLOOR                               OYSTER BAY NY 11771                           HARTFORD CT 06114
NEW HAVEN CT 06511



DAVID RODRIGUEZ                         DAVID RODRIGUEZ                               DAVID ROGERS
416 BATTERTY DRIVE                      11 CINQUE CT                                  17916 VIA CASITAS
HAVRE DE GRACE MD 21078                 BAYPORT NY 11705                              CHINO HILLS CA 91709




DAVID ROMERO                            DAVID ROSALES                                 DAVID ROSE
1572 WEST ADAMS BOULEVARD               333 SOUTH CATALINA STREET                     1662 MORADA PLACE
LOS ANGELES CA 90007                    UNIT 401                                      ALTADENA CA 91001
                                        LOS ANGELES CA 90020



DAVID ROSENBERG                         DAVID ROSENBLUM                               DAVID ROSENTHAL
4332 N. ASHLAND                         1555 EAST 19TH STREET                         15 OLD ELM COURT
#2                                      APARTMENT 2C                                  LUTHERVILLE MD 21093
CHICAGO IL 60613                        BROOKLYN NY 11230



DAVID ROSS                              DAVID ROSS                                    DAVID ROSSMAN
705 WEST MIDDLE TURNPIKE                9744 RAVINIA LANE, #3A                        560 NE 44 STREET
MANCHESTER CT 06040                     ORLAND PARK IL 60462                          BOCA RATON FL 33431




DAVID RUBINSTEIN                        DAVID RUDEN                                   DAVID RUSH
534 SPRUCE LANE                         97 BEACHVIEW AVENUE                           1315 CORDOVA STREET
EAST MEADOW NY 11554                    BRIDGEPORT CT 06605                           APT 206
                                                                                      ANCHORAGE AK 99501




                                               Page 543 of 2387
                           Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 544 of 800
DAVID SAFER                             DAVID SANCHEZ                                 DAVID SANOCKI
230 WEST 55TH STREET                    210 13TH STREET                               39 RUSHMORE RD
APT 26G                                 HUNTINGTON BEACH CA 92648                     FOX LAKE IL 60020
NEW YORK NY 10019



DAVID SARNO                             DAVID SASAI                                   DAVID SASAKI
449 N. CURSON AVENUE                    7121 WALDEN LANE                              1100 RIO CIDADE WAY
LOS ANGELES CA 90036                    DARIEN IL 60561                               SACRAMENTO CA 95831




DAVID SAVAGE                            DAVID SCANLON                                 DAVID SCHLECK
2026 FREEDOM LANE                       300 HAYWARD AVE                               840 DRIFT TIDE DRIVE
FALLS CHURCH VA 22043                   APARTMENT #3D                                 VIRGINIA BEACH VA 23464
                                        MOUNT VERNON NY 10552



DAVID SCHNEIDER                         DAVID SCHWARTZ                                DAVID SEIDEL
1813 NORTH SIBLEY STREET                620 SW SIXTH AVE.                             5801 NW 44TH AVENUE
METAIRIE LA 70003                       FORT LAUDERDALE FL 33315                      FORT LAUDERDALE FL 33319




DAVID SELDIN                            DAVID SENTZ                                   DAVID SHAW
801 TIPTON ROAD                         114 ALBACORE DRIVE                            2 ESSEX CIRCLE DR.
MIDDLE RIVER MD 21220                   GRAFTON VA 23692                              SHREWSBURY PA 17361




DAVID SHEAR                             DAVID SHELLEY                                 DAVID SIGLER
1910 WESTHOLME AVENUE                   424 WESTGATE AVE.                             16 MARINERS WALK WAY
LOS ANGELES CA 90025                    CHICAGO HEIGHTS IL 60411                      BALTIMORE MD 21220




DAVID SIMPSON                           DAVID SKILLITER                               DAVID SLESSINGER
8203 SW 12TH STREET                     311 GLENDORA AVENUE                           [ADDRESS UNAVAILABLE AT TIME OF FILING]
NORTH LAUDERDALE FL 33068               LONG BEACH CA 90803




DAVID SMITH                             DAVID SMITH                                   DAVID SMITH
224 7TH STREET                          11911 NW 39 PLACE                             311 TEAKWOOD AVENUE
HUNTINGTON BEACH CA 92648               SUNRISE FL 33323                              LA HABRA CA 90631




DAVID SMITH                             DAVID SMYLIE                                  DAVID SOUZA
14838 STONEBRIAR WAY                    2232 FREMONT STREET                           1276 AVERY CT
ORLANDO FL 32826                        SANTA ROSA CA 95409                           KIRKWOOD MO 63122




DAVID SQUIRES                           DAVID SRINIVASAN                              DAVID STEELE
4 ARROWWOOD COURT                       12749 PINEY WOODS WAY                         3636 MARCEY CREEK ROAD
HAMPTON VA 23666                        CLERMONT FL 34711                             LAUREL MD 20724




                                               Page 544 of 2387
                        Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 545 of 800
DAVID STEWART                        DAVID STOROZUK                                DAVID STRICK PHOTOGRAPHY
331 S. HUMPHREY ST.                  18 1/2 SULLIVAN AVENUE                        3050 GREENFIELD AVENUE
OAK PARK IL 60302                    ENFIELD CT 06082                              LOS ANGELES CA 90034




DAVID STRONG                         DAVID STURM                                   DAVID SURICO
8039 PALM LAKE DRIVE                 8704 BLAIRWOOD ROAD                           110 E COUNCIL TRAIL
ORLANDO FL 32819                     APT. B-3                                      MOUNT PROSPECT IL 60056
                                     NOTTINGHAM MD 21236



DAVID SWIDERSKI                      DAVID SYREK                                   DAVID TAN
1815 SHADOW PINE CT                  3524 N PINE GROVE                             1801 W. EDDY STREET
OVIEDO FL 32766                      CHICAGO IL 60657                              CHICAGO IL 60657




DAVID TARGE                          DAVID TAYLOR                                  DAVID TEEL
26 JUNEAU BLVD                       43 FERN STREET                                1012 LEGENDS WAY
WOODBURY NY 11797                    HARTFORD CT 06105                             SUFFOLK VA 23435




DAVID TERSKI                         DAVID TEWS                                    DAVID THOMAS
31026 BEECHWOOD                      P. O. BOX 397                                 1016 F WOODSON RD
GARDEN CITY MI 48135                 OAK RIDGE NJ 07438                            BALTIMORE MD 21212




DAVID THOMAS                         DAVID THOMPSON                                DAVID TIMBERMAN
7505 RIVER ROAD                      PO BOX 515381 #8846                           926 GENESEE STREET
APT. #8F                             LOS ANGELES CA 90051-6681                     ALLENTOWN PA 18103
NEWPORT NEWS VA 23607



DAVID TROTMAN-WILKINS                DAVID TURNER                                  DAVID ULIN
2912 NORTH 73RD ST.                  329 47TH AVE.                                 1089 SOUTH GENESEE AVENUE
MILWAUKEE WI 53210                   BELLWOOD IL 60104                             LOS ANGELES CA 90019




DAVID UNDERCOFFLER                   DAVID UNTERLACK                               DAVID VAN CURA
2220 HIGHLAND AVENUE                 1433 SW 158 AVE                               1405 E. CENTRAL ROAD
APT B                                PEMBROKE PINES FL 33027                       UNIT 408A
MANHATTAN BEACH CA 90266                                                           ARLINGTON HEIGHTS IL 60005



DAVID VAN DYCK                       DAVID VAUGHAN                                 DAVID VEGA
0N664 WEST ST.                       2021 ADVISORY COURT                           27 IRVING STREET
WHEATON IL 60187                     ELDERSBURG MD 21784                           WINDSOR CT 06095




DAVID VERA                           DAVID W FAULKNER                              DAVID W. RAUSCH
3500 W. HIRSCH STREET                214 E 11TH STREET                             50 HIGH MEADOW LANE
CHICAGO IL 60651                     SOUTHPORT NC 28461                            MIDDLEFIELD CT 06455




                                            Page 545 of 2387
                           Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 546 of 800
DAVID WAKEFIELD                         DAVID WALKER                                  DAVID WALKER
145 NASER RD                            337 BENSLEY                                   5424 WEATHERSIDE RUN
LITCHFIELD CT 06759-3020                CALUMET CITY IL 60409                         COLUMBIA MD 21045




DAVID WARNKE                            DAVID WARREN                                  DAVID WATERMAN
200 SOUTH BIRCH RD.                     3424 FLEETWOOD AVENUE                         470 S STONE STREET
APT. #1114                              BALTIMORE MD 21206                            WEST SUFFIELD CT 06093
FORT LAUDERDALE FL 33316-1537



DAVID WEBER                             DAVID WEKERLE                                 DAVID WELCH
2715 SARATOGA ROAD                      1747A N. LARABEE                              248 MOUNTAIN SPRING ROAD
DELAND FL 32720                         CHICAGO IL 60614                              TOLLAND CT 06084




DAVID WERTHEIMER                        DAVID WESLEY SMITH                            DAVID WHARTON
5996 EAST NICHOLS LANE                  206 BUTTONWOOD DR.                            5643 LE SAGE AVENUE
CENTENNIAL CO 80112                     LONGWOOD FL 32779                             WOODLAND HILLS CA 91367




DAVID WHITE                             DAVID WHITE                                   DAVID WHITEHORN
1818 BOLTON STREET                      2836 N 27TH STREET                            30 SHERRY LANE
BALTIMORE MD 21217                      PHILADELPHIA PA 19132                         HAUPPAUGE NY 11788




DAVID WHITLEY                           DAVID WHITTON                                 DAVID WICKMANN
6655 PARSON BROWN DRIVE                 901 S OLIVE AVENUE                            543 CHESTNUT STREET
ORLANDO FL 32819                        ALHAMBRA CA 91803                             EMMAUS PA 18049




DAVID WIESNER LLC                       DAVID WIESNER LLC                             DAVID WILKES
8700 CHELTENHAM AVENUE                  8700 CHELTENHAM AVENUE                        1921 JULIAN LANE
WYNDMOOR PA 19038                       WYNDMOORE PA 19038                            MERRICK NY 11566




DAVID WILLIAMS                          DAVID WILLMAN                                 DAVID WILSON
415 S. GARFIELD                         4518 HARLING LANE                             19609 LINNET STREET
HINSDALE IL 60521                       BETHESDA MD 20814                             TARZANA CA 91356




DAVID WOLCOTT                           DAVID WOLVERTON                               DAVID WOOD
4604 BULOVA STREET                      1057 DIAMOND ST.                              2836 INDIGO BAY DRIVE
TORRANCE CA 90503                       APT. #3                                       KISSIMMEE FL 34744
                                        SAN DIEGO CA 92109



DAVID WOOD                              DAVID WORTSMAN                                DAVID WRIGHT
9605 HILLRIDGE DRIVE                    844 GREENWOOD COURT                           211 FIRST AVE
KENSINGTON MD 20895                     ROSELLE IL 60172                              BALTIMORE MD 21227




                                               Page 546 of 2387
                            Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 547 of 800
DAVID WUCHTER                            DAVID WYN GRIFFITHS                           DAVID YI
4102 SYCAMORE DRIVE                      1024 MARION AVE.                              2651 ELLENDALE PL
NORTHAMPTON PA 18067                     HIGHLAND PARK IL 60035                        APT 309
                                                                                       LOS ANGELES CA 90007



DAVID YOST                               DAVID YOUNG                                   DAVID YOUNGPETER
142 LODGES LANE                          253 AVENUE C                                  9545 LONGWELL DRIVE
BALA CYNWYD PA 19004                     RONKONKOMA NY 11779                           INDIANAPOLIS IN 46240-1198




DAVID ZAHNISER                           DAVID ZEILER                                  DAVID ZUCCHINO
1539 PARMER AVENUE                       1318 JERVIS SQUARE                            264 CRIMSON OAK DR.
LOS ANGELES CA 90026                     BELCAMP MD 21017                              DURHAM NC 27713




DAVID ZUNKEL                             DAVID ZURAWIK                                 DAVID, CARA JOY
2005 IVAR AVENUE                         5515 PLYMOUTH RD.                             225 W 23RD ST   APT 5K
APT.#17                                  BALTIMORE MD 21214                            NEW YORK NY 10011
LOS ANGELES CA 90068



DAVID, CARL                              DAVID, CHRIS                                  DAVID, MARJORIE C
22 RUSSETT LANE                          3602 BLUE LAKE                                1530 S. STATE ST.
STORRS CT 06268-1108                     SPRING TX 77388                               16R
                                                                                       CHICAGO IL 60605



DAVID, NILSA Y                           DAVID, ROSCOE                                 DAVIDOFF, NORMA
1510 13TH STREET                         1414 S 16TH AVE                               174 EAST 74TH STREET
WEST BABYLON NY 11704                    MAYWOOD IL 60153                              NEW YORK NY 10021




DAVIDOV, EREZ                            DAVIDOW, AUDREY                               DAVIDS CATERING INC
189 AMOS AVE                             1347 N ORANGE GROVE AVE                       471 ELM ST
OCEANSIDE NY 11572                       LOS ANGELES CA 90046                          STAMFORD CT 06902




DAVIDS, CHARLES                          DAVIDSEN, JUNE                                DAVIDSON KEMPNER CAPITAL MANAGEMENT
3060 NW 43RD TERRACE                     198 B NEWCASTLE CT                            ATTN: JAMIE DONATH
LAUDERHILL LAKES FL 33313                RIDGE NY 11961                                65 EAST 55TH ST, 19TH FL
                                                                                       NEW YORK NY 10022



DAVIDSON TAYLOR                          DAVIDSON, BRUCE                               DAVIDSON, HEATHER
1425 ARTHUR STREET                       12708 CHADSEY DR                              550 CLUB HOUSE RD
UNIT 303                                 LA MIRADA CA 90638                            LEBANON CT 06246
HOLLYWOOD FL 33020



DAVIDSON, HEATHER                        DAVIDSON, JUSTIN                              DAVIDSON, JUSTIN
550 CLUBHOUSE RD                         275 W 96TH ST NO.33E                          EDITORIAL 0217
LEBANON CT 06249                         NEW YORK NY 10025                             235 PINELAWN RD
                                                                                       MELVILLE NY 11747




                                                Page 547 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 548 of 800
DAVIDSON, LAWRENCE                     DAVIDSON, NINA MAREN                          DAVIDSON, PAUL
808 CAROLYN COURT                      1091 HARWOOD F                                13220 OTSEGO ST
SEAFORD NY 11783                       DEERFIELD BEACH FL 33442                      SHERMAN OAKS CA 91423




DAVIDSON, STANLEY LEWIS                DAVIDSON, THOMAS G                            DAVIDSON, WINN C
5845 SEASHELL TERRACE                  202 HILTON TERRACE                            ONE E NORTHWEST HWY
BOYNTON BEACH FL 33437                 NEWPORT NEWS VA 23601                         STE 104
                                                                                     PALATINE IL 60067



DAVIEN LONG                            DAVIES, BRITTNEY                              DAVIES, CHRISTOPHER
10008 NATIONAL BLVD                    18 MIDFIELD ST                                29335 LOCHINVAR RD
APT #243                               STONY BROOK NY 11790                          HIGHLAND CA 92346
LOS ANGELES CA 90034



DAVIES, DIANE                          DAVIES, MATT                                  DAVIES, NANCY
3466 HARVARD PL                        175 CANNON RD                                 230 N 20TH ST
BETHLEHEM PA 18020                     WILTON CT 06897                               ALLENTOWN PA 18104




DAVIGNON, MARC P                       DAVILA, JOSE                                  DAVILLA, GISELA
85 MOUNTAIN LAUREL WAY                 2012 NW 89TH AVENUE                           3217 W 53RD ST
SUFFIELD CT 06078                      PEMBROKE PINES FL 33024                       CHICAGO IL 60632




DAVILMA,LIMA                           DAVILYNN B FURLOW                             DAVIS COMMUNICATIONS LLC
16266 PEACH WAY                        304 NORTH PEARL STREET                        PO BOX 842
DELRAY BEACH FL 33484                  NATCHEZ MS 39120-3243                         WINDSOR CT 06095




DAVIS CONSTRUCTION                     DAVIS DELIVERY INC                            DAVIS JR, JACK W
43608 5TH ST EAST                      82 WHITE OAK ST.                              2400 N LAKEVIEW AVE APT 1802
LANCASTER CA 93535                     DEER PARK NY 11729                            CHICAGO IL 60614




DAVIS PARTNERS LLC                     DAVIS SR, WILLIAM                             DAVIS WRIGHT TREMAINE
RE: TORRANCE 1300 STORM PARKW          14 LEYDEN ST                                  865 S FIGUEROA ST SUITE 2400
1420 BRISTOL ST. NORTH                 PUTNAM CT 06260                               LOS ANGELES CA 90017
SUITE 100
NEWPORT BEACH CA 92660


DAVIS WRIGHT TREMAINE                  DAVIS WRIGHT TREMAINE                         DAVIS WRIGHT TREMAINE
LAW OFFICES                            1201 THIRD AVE       STE 2200                 2600 CENTURY SQUARE
1000 WILSHIRE BLVD                     SEATTLE WA 98101-3045                         1501 FOURTH AVENUE
SUITE 600                                                                            SEATTLE WA 98101-1688
LOS ANGELES CA 90017


DAVIS, ALEXANDRIA                      DAVIS, ANDRA                                  DAVIS, ASHLEY
2847 ADAMS STREET                      4713 NW 44TH CT                               1741 SW 70TH WAY
HOLLYWOOD FL 33020                     TAMARAC FL 33319                              NORTH LAUDERDALE FL 33068




                                              Page 548 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 549 of 800
DAVIS, AUNTARIA                        DAVIS, BARBARA                                DAVIS, BRENDA K
218 SW 10TH STREET                     40 MAX FELIX DR                               916 SW 116 WAY
HALLANDALE FL 33009                    STORRS CT 06268                               DAVIE FL 33325




DAVIS, BRETT                           DAVIS, CAMILLE L                              DAVIS, CARSON
4738 POOK RD                           820 ALAMEDA ST                                46 ADELHAIDE LN
SYKESVILLE MD 21784                    ALTADENA CA 91001                             EAST ISLIP NY 11730




DAVIS, CATHERINE A                     DAVIS, CINDY                                  DAVIS, CYNTHIA A
526 BRIAN DEAN DRIVE                   127 DUNCAN TR                                 12 N JUNIPER ST
GLEN GARDNER NJ 08826                  LONGWOOD FL 32779                             HAMPTON VA 23669




DAVIS, DAMEKA                          DAVIS, DAVID                                  DAVIS, DAYON G
78 CLEARFIELD RD                       4906 HUB STREET                               99 WESTBOURNE PKWY
WETHERSFIELD CT 06109-3356             LOS ANGELES CA 90042                          HARTFORD CT 06112




DAVIS, DEON                            DAVIS, ERASTUS C                              DAVIS, EUGENE T
1630 MAPLE ST                          6376 4TH LN                                   1123 29TH STREET
BETHLEHEM PA 18017                     VERO BEACH FL 32968                           NEWPORT NEWS VA 23607




DAVIS, FREDERICK E                     DAVIS, GEORGE                                 DAVIS, GINAMARIE G
6000 CALIFORNIA CIRCLE APT 301         35 CHESTER CIRC                               5 KIMBERLY ANN COURT
ROCKVILLE MD 20852                     GLEN BURNIE MD 21060                          OWINGS MILLS MD 21117




DAVIS, HENRY                           DAVIS, HYLTON E                               DAVIS, IRENE
59 JERICHO RD                          357 BRITTANY FARMS RD APT H 136               14 LEYDEN
POMFRET CENTER CT 06259                NEW BRITAIN CT 06053                          PUTNAM CT 06260




DAVIS, JACK                            DAVIS, JACK E                                 DAVIS, JAIME
10625 TORONTO WAY                      1221 NE 3RD ST                                4325 NW 95 TERRACE
LOS ANGELES CA 90077                   GAINESVILLE FL 32601                          SUNRISE FL 33351




DAVIS, JARROD                          DAVIS, JASON                                  DAVIS, JIMMY
4896 DIGGINS DR                        1000 MONTREAL ROAD APT 2E                     7350 GARFIELD STREET
FT MEADE MD 20755                      CLARKSTON GA 30021                            HOLLYWOOD FL 33024




DAVIS, JIMMY LEE                       DAVIS, JODY                                   DAVIS, JODY
12204 SW 263 TERRACE                   4441 SHIRLEY ROAD                             4661 BEN HILL DR
HOMESTEAD FL 33032                     GAINESVILLE GA 30506                          OAKWOOD GA 30566




                                              Page 549 of 2387
                           Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 550 of 800
DAVIS, JOHN                             DAVIS, JOHN                                   DAVIS, KATHERINE E
1930 FAWN WAY                           1812 GLENDALE LANE                            465 SUNSET RD
FINKSBURG MD 21048                      BEL AIR MD 21015                              WINNETKA IL 60093




DAVIS, KEISHA                           DAVIS, KENNETH                                DAVIS, KENNETH
212-D QUARTER TRAIL                     5231 4TH ST                                   400 PLUMB RIDGE CT.
NEWPORT NEWS VA 23608                   ORLANDO FL 32810                              UNIT 101
                                                                                      TIMONIUM MD 21093



DAVIS, LATOYA                           DAVIS, LENNARD J                              DAVIS, LESLIE
5734 NW 14TH CT NO.W                    702 HANFORD RD                                166 EAST 61ST ST  APT 21-G
LAUDERHILL FL 33313                     EAST MEREDITH NY 13757                        NEW YORK NY 10065




DAVIS, LINDA S                          DAVIS, LISA                                   DAVIS, LISA H
2030 HANOVER AVE FL 1                   1850 N CLARK ST                               4164 SW 22ND ST
ALLENTOWN PA 18109                      CHICAGO IL 60614                              FT LAUDERDALE FL 33317




DAVIS, LYNETTE F                        DAVIS, MARC                                   DAVIS, MARK DOG
3373 NW 17 ST                           4350 BULEBIRD COURT                           5120 1/2 RALEIGH ST
FT LAUDERDALE FL 33311                  GURNEE IL 60031                               LOS ANGELES CA 90004




DAVIS, MICHAEL                          DAVIS, PATRICIA ANN                           DAVIS, PETER L
6042 MEMORIAL RD                        266 SW 8TH CT                                 11 DELAWARE STREET
GERMANSVILLE PA 18053                   DEERFIELD BEACH FL 33441                      HUNTINGTON NY 11743




DAVIS, ROBERT                           DAVIS, RODNEY L                               DAVIS, SARA DIANE
10 SOUTH 646 LILAC LANE    APT 212      109 WEXFORD COURT                             103 E MARKHAM AVE     APT 1
WILLOWBROOK IL 60527                    YORKTOWN VA 23693                             DURHAM NC 27701




DAVIS, SARAH                            DAVIS, VERONICA                               DAVIS, WILLIAM
63 SWAN ST                              573 PERSHING AVE                              127 DUNCAN TR
ABERDEEN MD 21001                       GLEN ELLYN IL 60137                           LONGWOOD FL 32779




DAVIS, WILLIAM                          DAVIS, WILLIAM CLYDE                          DAVIS-FRANKLIN, VALLERIE M
300 RICHARDSON ST      APT 2A           10 WEDGEWOOD DR                               207 EAST OAK ST
BROOKLYN NY 11222                       NEWPORT NEWS VA 23601-1124                    TUSKEGEE AL 36083




DAVIS-OLIVER, GINA                      DAVISON, FRANKLIN                             DAVON ALLISON
4102 RAINES OAK DRIVE                   246 FORT HILL ROAD                            910 NORTH STRICKER STREET
MEMPHIS TN 38109                        GROTON CT 06340-4804                          APT. A
                                                                                      BALTIMORE MD 21217




                                               Page 550 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 551 of 800
DAVON BARRETT                          DAW HTAY                                      DAWKINS, LANCE D
3126 CLIFTMONT AVENUE                  16303 E. KINGSIDE DR.                         8109 WOLFE ROAD
BALTIMORE MD 21213                     COVINA CA 91722                               COLUMBUS MS 39705




DAWKINS, SEMION                        DAWLEY, NICOLE                                DAWN ALLEN
6129 ROYAL PALM BLVD                   4702 1/2 LOMITA ST                            309 BARON BOULEVARD
MARGATE FL 33063                       LOS ANGELES CA 90019                          SUFFOLK VA 23435




DAWN BISHOP                            DAWN BISKUPICH                                DAWN CASA
811 LEOPARD TRAIL                      1261 PORTMOOR WAY                             3001 SOUTH EMERALD AVE.
WINTER SPRINGS FL 32708                WINTER GARDEN FL 34787                        CHICAGO IL 60616




DAWN CHMIELEWSKI                       DAWN GERMOND                                  DAWN GIROCCO
19 WEDGEWOOD                           2G QUEEN TERRACE                              4220 ALLOTT AVE
IRVINE CA 92620                        SOUTHINGTON CT 06489                          SHERMAN OAKS CA 91423




DAWN HOWES                             DAWN JOHNSTON                                 DAWN KELLY
116 WILLOW AVENUE                      39 PROSPECT STREET                            20401 KELVINGROVE LANE
UNIT #4                                STAFFORD SPRINGS CT 06076                     HUNTINGTON BEACH CA 92646
HOBOKEN NJ 07030



DAWN LAROSE                            DAWN NORRIS                                   DAWN PATTERSON
45 RUMFORD ROAD                        130-37 229TH STREET                           6710 S. CLAREMONT AVE.
KINGS PARK NY 11754                    LAURELTON NY 11413                            APT. #215
                                                                                     CHICAGO IL 60636



DAWN PAWLEY                            DAWN REED                                     DAWN RICHARD
107 SOUTH STRICKER STREET              1845 BLUE PINE LANE                           4520 WIMBLEDON WAY
BALTIMORE MD 21223                     INDIANAPOLIS IN 46231                         WILLIAMSBURG VA 23188




DAWN SCHIAVONE                         DAWN TEPPER                                   DAWN THORNTON
74-21 93RD AVE.                        182 EAST 95TH STREET                          360 ATLANTIC STREET
WOODHAVEN NY 11421                     3E                                            COPIAGUE NY 11226
                                       NEW YORK NY 10128



DAWN TONGISH                           DAWN TRAPP                                    DAWN TURNER TRICE
2803 SOUTHWOOD CT.                     743 SCOTLAND STREET                           25546 PINEWOOD LANE
GRAPEVINE TX 76051                     WILLIAMSBURG VA 23185                         MONEE IL 60449




DAWN WHITE                             DAWNCO                                        DAWNCO
7071 JENNIFER WAY                      3340 S LAPEER ROAD                            PO BOX 9 3340 S LAPEER RD
APT 2C                                 ORION MI 48359                                ORION MI 48359
SYKESVILLE MD 21784




                                              Page 551 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 552 of 800
DAWSON, ANNE                           DAWSON, NICOLE                                DAWSON, SHANNON
3015 N SAWYER                          17 BRISTOW CT                                 727 VENICE CIRCLE APT NO.202
CHICAGO IL 60618                       PARKVILLE MD 21234                            LAKE PARK FL 33403




DAWSON, STEVEN                         DAWSON, TAMMIE                                DAWSON,ANDRE
202 CABLECAR RD                        PO BOX 455                                    10601 SW 74TH AVE
QUAKERTOWN PA 18951                    AYLETT VA 23009                               MIAMI FL 33156




DAWUD MUHAMMAD                         DAY                                           DAY & NIGHT LIQUOR
1314 23RD STREET                       PO BOX 1231                                   1185 ELMHURST RD
NEWPORT NEWS VA 23607                  NEW LONDON CT 06320-1231                      DES PLAINES IL 60016




DAY PITNEY LLP                         DAY WIRELESS SYSTEMS                          DAY WIRELESS SYSTEMS
PO BOX 33300                           1775 TRIBUTE ROAD, SUITE D                    PO BOX 22189
HARTFORD CT 06103-3499                 SACRAMENTO OR 95815                           MILWAUKIE OR 97269




DAY WIRELESS SYSTEMS                   DAY, JENNIFER                                 DAY, MARTY JO
PO BOX 22949                           1155 W FARWELL AVE        APT 1               5719 106TH STREET APT 2E
MILWAUKIE OR 97269                     CHICAGO IL 60626                              CHICAGO RIDGE IL 60415




DAY, NICHOLAS S                        DAY, PATRICK                                  DAY, ROBERT
40 FOSTER ST                           1315 NORTH JUNE STREET                        135 AURORA AVE APT B
NEW HAVEN CT 06511                     APT 207                                       BETHLEHEM PA 18018
                                       LOS ANGELES CA 90028-5561



DAY, ROBERT H                          DAY, TARYN                                    DAY,JEFFREY
9282 NW 17 PL                          PO BOX 305                                    64 EAST CONCORD ST
PEMBROKE PINES FL 33024                PERKASIE PA 18944                             CENTRAL FLORIDA NEWS 13
                                                                                     ORLANDO FL 32801



DAYBREAK LIMITED                       DAYE, HEATHER N                               DAYHOFF, KEVIN E
1407 BERWYN ST                         705 MARYLAND AVE                              PO BOX 1245
SPRING GROVE IL 60081                  HAMPTON VA 23661                              WESTMINSTER MD 21158




DAYNA BARNES                           DAYNA COLLINS                                 DAYNA DOVE
109 LAKESHORE DRIVE EAST               1747 W. 90TH STREET                           1806 NAVAJO PLACE
APT. #422                              CHICAGO IL 60620                              IRVING TX 75061
HAMPTON VA 23666



DAYNE CHAMBERS                         DAYTON DAILY NEWS                             DAYTON DAILY NEWS
3341 NW 47TH TERRACE                   COX OHIO ADVERTISING DAYTON                   PO BOX 1287
#110                                   PO BOX 643157                                 DAYTON OH 45401
LAUDERDALE LAKES FL 33319              CINCINNATI OH 45264-3157




                                              Page 552 of 2387
                        Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 553 of 800
DAYTON DAILY NEWS                    DAYTONA CUBS                                  DAYTONA CUBS
PO BOX 8816                          105 E ORANGE AVE                              PO BOX 15080
DAYTON OH 45401-8816                 DAYTONA BEACH FL 32114                        DAYTONA BEACH FL 32114




DAYTONA STRONG                       DB SALES INC                                  DB SALES INC
7728 25TH AVENUE NW                  20W 269 S. FRONTAGE ROAD                      RR NO.2
SEATTLE WA 98117                     R.R. NO.2                                     20W269 SOUTH FRONTAGE ROAD
                                     OMAR MACHINE SHOP                             LEMONT IL 60439
                                     LEMONT IL 60439


DBC INC                              DC DEPT OF HEALTH'S ENVIRONMENTAL             DC OFFICE OF TAX AND REVENUE
5630 W 74TH AVE                      HEALTH ADMINISTRATION                         941 NORTH CAPITOL STREET NE
WESTMINSTER CO 80003                 51 N STREET, NE                               6TH FLOOR
                                     WASHINGTON DC 20002                           WASHINGTON DC 20002



DC TREASURER                         DC TREASURER                                  DC TREASURER
OFFICE OF TAX AND REVENUE            441 4TH STREET NW                             DC OFFICE OF TAX AND REVENUE
PO BOX 221                           STE 810 SOUTH                                 BEN FRANKLIN STATION
NE WASHINGTON DC 20044-0221          WASHINGTON DC 20001                           PO BOX 601
                                                                                   WASHINGTON DC 20044-0601


DC TREASURER                         DC TREASURER                                  DC TREASURER
OFC OF TAX & REVENUE                 OFFICE OF TAX AND REVENUE                     OFFICE OF TAX AND REVENUE
PO BOX 7862                          PO BOX 98095                                  PO BOX 96035
WASHINGTON DC 20044-7862             WASHINGTON DC 20090                           WASHINGTON DC 20090-6035



DC TREASURER                         DC TREASURER                                  DCM & ASSOCIATES
OFFICE OF TAX AND REVENUE            OFFICE OF TAX REVENUE                         RE: WEST PALM BEACH 1500 N FL
PO BOX 96834                         PO BOX 96384                                  1300 N FLORIDA MANGO RD.
WASHINGTON DC 20090-6384             WASHINGTON DC 20090                           SUITE 15
                                                                                   WEST PALM BEACH FL 33409


DCM & ASSOCIATES                     DCM AND ASSOCIATES                            DCX INC
1300 N FLORIDA MANGO ROAD            RE: WEST PALM BEACH 1500 N FL                 1100 Q STREET
SUITE 15                             1300 NORTH FLORIDA MANGO ROAD                 WASHINGTON DC 20009
WEST PALM BEACH FL 33409             WEST PALM BEACH FL 33409



DDB CHICAGO INC                      DDB CHICAGO INC                               DDB SEATTLE INC
200 E RANDOLPH                       PO BOX 92244                                  1000 2ND AVE STE 1000
CHICAGO IL 60601                     CHICAGO IL 60675                              SEATLE WA 98104




DDI MEDIA                            DE ABREU, ALBINO                              DE ANDRADE, ALESSANDRA GOMES
8315 DRURY INDUSTRIAL PRKWY          1062 SANBORN AVE                              821 LYONS RD 21204
ST LOUIS MO 63114                    LOS ANGELES CA 90029                          COCONUT CREEK FL 33063




DE ARAKAL, BYRON                     DE ARATANHA, FERNANDO                         DE ARAUJO, WILSON TOLEDO
2977 REDWOOD AVE                     320 CALEDONIA ST                              4677 NW 9TH AVE
COSTA MESA CA 92626                  SANTA CRUZ CA 95062                           POMPANO BEACH FL 33064




                                            Page 553 of 2387
                         Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 554 of 800
DE ARMAS, CARLOS                      DE ARTEAGA GARCIA, IRASEMA                    DE BRETT, LAURA BONINI
1844 TAFT STREET #5                   2766 S CARAMBOLA CIRC A405                    4903 SANTA CLARA DR
HOLLYWOOD FL 33020                    COCONUT CREEK FL 33066                        STE 2802
                                                                                    ORLANDO FL 32837



DE BRETT, LAURA BONINI                DE BRUNO, ROGER                               DE CASTRO MACHADO, ELI DIAS
4903 SANTA CLARA DR                   23486 PARK COLOMBO                            9949 SANDALFOOT BLVD NO. 531
ORLANDO FL 32837                      CALABASAS CA 91302                            BOCA RATON FL 33428




DE FROSCIA, GERARD                    DE GUZMAN, ROBERT                             DE JA FOOD CATERING
1971 PHILLIPS WAY                     346 W 36TH STREET APT 5A                      24811 SAN FERNANDO ROAD NO. B & C
LOS ANGELES CA 90042                  NEW YORK NY 10018                             SANTA CLARITA CA 91321




DE JESUS REYES, RAMON                 DE JESUS, IVAN                                DE JESUS, JUAN
C/BALDEMIRO CARRER                    14608 VELLEUX DR                              1962 SIEGFRIED ST
NO.56 LOS ALMAGIGOS                   ORLANDO FL 32837                              BETHLEHEM PA 18017
SANTIAGO RODRIGUEZ



DE JESUS, ROBSON                      DE LA CRUZ, ALEJANDRO                         DE LA GARZA, KATHLEEN S
1331 SW 3RD COURT                     C/RESPALDO 27 NO.74                           111 GRINNELL STREET
FT LAUDERDALE FL 33312                LOS TOROS                                     COLORADO SPRINGS CO 80911




DE LA PUENTE, LUIS                    DE LA ROSA, PATRICIA S                        DE LA ROSA, SAMUEL
17 BROOK STREET                       5752 NORTH LOMA AVENUE                        5933 BENT PINE DRIVE APT 804
ELMWOOD CT 06110                      TEMPLE CITY CA 91780                          ORLANDO FL 32822




DE LAGE LANDEN FINANCIAL SERVICES     DE LAGE LANDEN FINANCIAL SERVICES             DE LAGE LANDEN FINANCIAL SERVICES INC
1111 OLD EAGLE SCHOOL RD              PO BOX 41601                                  1111 OLD EAGLE SCHOOL ROAD
PHILADELPHIA PA 19807                 PHILADELPHIA PA 19101-1601                    WAYNE PA 19087




DE LAGE LANDEN FINANCIAL SRVC         DE LAGE LANDEN FINANCIAL SRVC                 DE LAGE LANDEN FINANCIAL SRVC
1111 OLD EAGLE SCHOOL ROAD            FINANCIAL SERVICES                            PO BOX 1779
WAYNE PA 19087                        REF NO 24133550                               PAOLI PA 19301-1779
                                      PO BOX 41601
                                      PHILADELPHIA PA 19101


DE LAGE LANDEN FINANCIAL SRVC         DE LAGE LANDEN FINANCIAL SRVC                 DE LAGE LANDEN FINANCIAL SRVC
PO BOX 41601 REF NO 24204544          REF NO.00607245                               REF NO.24145871
PHILADELPHIA PA 19101-1601            PHILADELPHIA PA 19101-1601                    PO BOX 41601
                                                                                    PHILADELPHIA PA 19101-1601



DE LAMA, GEORGE                       DE LIMA, FERNANDO FABIAN DAVID                DE LLANO & DANZIGER LLP
1917 W. RACE AVE                      6421 LOBOS CAY DR                             440 LOUISANA SUITE 1212
CHICAGO IL 60622                      LAKE WORTH FL 33462                           HOUSTON TX 77002




                                             Page 554 of 2387
                           Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 555 of 800
DE MACI, LOLA                           DE MARIA, JOSEPH                              DE MARTINI, THOMAS
9072 TAMARIND AVE                       73 TYLER DRIVE                                225 RED SCHOOL LANE       K-3
FONTANA CA 92335                        RIVERHEAD NY 11901                            PHILLIPSBURG NJ 08865




DE MELO, ADICELIA                       DE MORENO, JUDITH RIVAS                       DE NOR GRAPHICS
3941 CRYSTAL LAKE DR NO.D104            937 WINDROSE DR                               665 LUNT AVE
POMPANO BEACH FL 33064                  ORLANDO FL 32824                              ELK GROVE VILLAGE IL 60007-5014




DE OLIVEIRA, JULIO                      DE OLIVEIRA, SONIA                            DE OLIVERIRA, LUCILENA
4377 SW 10TH PLACE APT 303              9943 THREE LAKES CIRCLE                       1501 NW 13TH ST NO.12
DEERFIELD BEACH FL 33442                BOCA RATON FL 33428                           BOCA RATON FL 33486




DE QUINTEROS PALENCIA, HILDA MARINA     DE SALVO, MARK                                DE SANTANA JR, JOSE RICHARDO
6 HOOVER AVE                            2208 N COMMONWEALTH                           151 SE 6 AVENUE NO.11
STAMFORD CT 06905                       LOS ANGELES CA 90027                          POMPANO BEACH FL 33060




DE SAUSSURE, MORGAN JADE                DE SAUSSURE, MORGAN JADE                      DE SIMONE, PAULA
224-27 137TH AVE                        244-27 137TH AVE                              211 E. MC KINLEY STREET
ROSEDALE NY 11422                       ROSEDALE NY 11422                             APPLETON WI 54915




DE SOUZA SILVA, PATRICIA                DE SOUZA, GERALDO                             DE SOUZA, LAURICEIA
12 B FINCH WAY                          2899 NW 87 AVE                                3013 S SEMORAN BLVD NO.106
QUEENSBURY NY 12804                     SUNRISE FL 33322                              ORLANDO FL 32822




DE SOUZA, RODOLFO                       DE SOUZA, WALTO                               DE TURENNE, VERONIQUE
6735 COLLEGE CT NO.203                  875 NE 48 ST  APT 70                          231 PARADISE COVE
DAVIE FL 33317                          POMPANO BEACH FL 33064                        MALIBU CA 90265




DE VENGOE CHEA, ALEJANDRA               DE WAAL, ALEXANDER                            DE WILDE, AUTUMN
DIAGONAL 109 NO. 1-96 ESTE              55 TENNYSON STREET                            1100 THIRD STREET
BARRIO SANTA ANA ORIENTAL               SOMERVILLE MA 02145                           SAN RAFAEL CA 94901
BOGOTA COLUMBIA



DE WIT, JOSE CARLOS                     DE XPRESS                                     DE'SEAN WILLIAMS
24 B E LOWER FIREHOUSE ROAD             1900 WAZEE ST                                 620 W. HYDE PARK
ESPANDA NM 87532                        DENVER CO 80202                               UNIT 125
                                                                                      INGLEWOOD CA 90302



DE-SIGNS OF THE TIMES                   DEA, CYNTHIA                                  DEADLINE CLUB
71 SMITH ST                             1032 HILLSIDE ST                              C/O TIM PARADIS C/O DOW JONES NEWSWIRE
HICKSVILLE NY 11801                     MONTERY PARK CA 91754                         HARBORSIDE FINANCIAL CTR
                                                                                      800 PLAZA 11
                                                                                      JERSEY CITY NJ 07311




                                               Page 555 of 2387
                        Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 556 of 800
DEADLINE CLUB                          DEADLINE CLUB                               DEADMAN, CHARLES
15 GRAMERCY PARK                       THE JOURNAL NEWS                            2700 NE 1 TERRACE
NEW YORK NY 10003                      ONE GANNETT DRIVE                           POMPANO BEACH FL 33064
                                       WHITE PLAINS NY 10604



DEAF COMMUNICATION BY INNOVATION LLC   DEAN BALDWIN                                DEAN BENSON
PO BOX 13246                           52 RAYNOR STREET                            2135 ELSINORE ST
CHICAGO IL 60613                       SOUTHINGTON CT 06489                        ECHO PARK CA 90026




DEAN BROADCAST SERVICES INC            DEAN C CULL                                 DEAN CLAESON
13811 ISHNALA CIRCLE                   3815 WINDERMERE LANE                        211 HAMPSHIRE COURT
WELLINGTON FL 33414                    YANKEE HILL CA 95965                        NAPERVILLE IL 60565




DEAN COSANELLA                         DEAN DECARLI                                DEAN DRESEL
11000 ANTIETAM DR.                     16 MAPLE STREET                             1387 BENWICK WAY
ALTA LOMA CA 91737                     UNIT # 2                                    CASSELBERRY FL 32707
                                       ROCKVILLE CT 06066



DEAN ELECTRIC CONTRACTORS INC          DEAN ERNST                                  DEAN HALL
ELECTRICAL CONTRACTORS INC             1319 VALLEY VIEW DRIVE                      P.O. BOX 33005
PO BOX 4                               PUYALLUP WA 98372                           GRANADA HILLS CA 91394
GLENS FALLS NY 12801



DEAN HASSAN                            DEAN HUSTON                                 DEAN JONES
3645 N.FRANCISCO                       207 S HELBERTA AVENUE                       349 NICHOLSON ROAD
CHICAGO IL 60618                       REDONDO BEACH CA 90277                      BALTIMORE MD 21221




DEAN LAPOINTE                          DEAN MALUSKI                                DEAN REBER
174 MAIN STREET                        25 ROCKY HILL AVE.                          1141 GREENACRE AVENUE
WETHERSFIELD CT 06109                  NEW BRITAIN CT 06051                        WEST HOLLYWOOD CA 90046




DEAN RINGERS MORGAN & LAWTON           DEAN ROBINSON                               DEAN STUDLEY
PO BOX 2928                            5028 PEBBLEBROOK TERRACE                    217 CRESCENT BEACH DR
ORLANDO FL 32802                       COCONUT CREEK FL 33073                      PACKWOOD WA 98361




DEAN THOMPSON                          DEAN WALL                                   DEAN, BRADLEY WILLIAM
2980 SW 50TH TERRACE                   2001 TOWER DRIVE                            1919 ALPINE DRIVE
DAVIE FL 33314                         GLENVIEW IL 60026                           COLORADO SPRINGS CO 80909




DEAN, DIANA LYNN                       DEAN, DIANA LYNN                            DEAN, GEORGE
601 HARRISON AVE                       601 HARRISON AVE                            7355 BUCK HILL CT
STE 2530                               ORANGE CITY FL 32763                        NEW TRIPOLI PA 18066
ORANGE CITY FL 32763




                                            Page 556 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 557 of 800
DEAN, JOHN                             DEAN, JOHN                                    DEANDRE JONES
ACCT NO.0045                           2435 MARYLAND AVE                             2103 CALLOW AVENUE
616 HAYES                              BALTIMORE MD 21218                            APT. 2
JOLIET IL 60436                                                                      BALTIMORE MD 21217



DEANDREA JAMES                         DEANE, MARK                                   DEANE-VETRO, DONNA M
1598 BISHOP HOLLOW RUN                 1910 FARMINGTON PLACE                         6140 MONTEREY ROAD
ATLANTA GA 30338                       TERRYTOWN LA 70056                            APT #302
                                                                                     LOS ANGELES CA 90042



DEANESE WILLIAMS                       DEANN BUCHER                                  DEANN VIEYRA
4752 S. EVANS                          13 7TH AVE                                    748 NORTH SAN ANTONIO AVENUE
CHICAGO IL 60615                       HUDSON FALLS NY 12839                         UPLAND CA 91786




DEANNA GUGEL                           DEANNA PEREZ                                  DEANNA SHANKER
1442 PON PON CT                        7322 QUILL DRIVE                              9273 SW 8TH ST
ORLANDO FL 32825                       APT 147                                       UNIT 414
                                       DOWNEY CA 90242                               BOCA RATON FL 33428



DEANNA WARNER                          DEANNA WILLIAMS                               DEANNE GARLAND
7700 W 66TH STREET                     115 E MARSHALL ST                             517 SW 10TH STREET
BEDFORD PARK IL 60501                  HEMPSTEAD NY 11550                            DELRAY BEACH FL 33444




DEANNE GOODMAN                         DEANNE GOVER                                  DEANS, TYFAN ANTHONY
152 FIVE CROWNS WAY                    1033 WILLOW DRIVE                             532 SE EVEREGREEN TERRACE
ENCINITAS CA 92024                     LEESBURG FL 34748                             PORT ST LUCIE FL 34983




DEAR PHARMACIST INC                    DEAR, MICHAEL                                 DEAR, TONY
1079 NE 32ND AVENUE                    3009 LINDA LANE                               712 E KELLOGG RD
OCALA FL 34470                         SANTA MONICA CA 90405                         BELLINGHAM WA 98226




DEARBORN WHOLESALE GROCERS LP          DEARDORFF ENTERPRISES INC                     DEARDORFF, JEFF
2801 S WESTERN AVE                     6640 SW 8 STREET                              16823 ROCKWELL HEIGHTS LN
CHICAGO IL 60608                       PEMBROKE PINES FL 33023                       CLERMONT FL 34711




DEATHERAGE, JOLEEN                     DEATTA SYKES                                  DEBBIE BURRELL
PO BOX 10519                           9800 S. ELLIS                                 12 REDLEF STREET
MARINA DEL REY CA 90295                CHICAGO IL 60628                              PATCHOGUE NY 11772




DEBBIE COCHRAN                         DEBBIE DANIELS                                DEBBIE DAVIDSON
13557 OLD DOCK RD.                     2001 S. MICHIGAN                              1813 BASKET OAK
ORLANDO FL 32828                       APT. #19M                                     ST. CHARLES MO 63303
                                       CHICAGO IL 60616




                                              Page 557 of 2387
                         Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 558 of 800
DEBBIE FIELDS                         DEBBIE GILES                                  DEBBIE JESSING
903 LUZERNE AVE.                      923 HARNDON COURT                             5232 FAIRVIEW
BALTIMORE MD 21205                    BALTIMORE MD 21225                            APT #4
                                                                                    LOS ANGELES CA 90056



DEBBIE MACK                           DEBBIE MALLICK                                DEBBIE REAM
27 BARCLAY STREET                     579 EMMETT STREET                             808 W GRONDAHL STREET #E
NORTH BABYLON NY 11704                C12                                           COVINA CA 91722
                                      BRISTOL CT 06010



DEBBIE RICE                           DEBBIE RITZ                                   DEBBIE SANDERS
3113 LYNCH ROAD                       628 NORTH DELAWARE AVE                        416 EAST BAILEY ROAD
BALTIMORE MD 21219                    DELAND FL 32720                               APT# 203
                                                                                    NAPERVILLE IL 60565



DEBBIES WHOLESALE AND RETAIL INC      DEBBIES WHOLESALE AND RETAIL INC              DEBBY ANN KRENEK
108 SE 2ND AVE                        6238 SW 19 ST                                 361 72ND ST
HALLANDALE FL 33009                   MIRAMAR FL 33023                              BROOKLYN NY 11209




DEBEAR,CLIFFORD                       DEBENEDETTI, ALESSANDRA                       DEBENEDETTI, ALESSANDRA
108 BOLTON ST                         1825 IVAR AVE  NO. 105                        1825 IVAR AVE  NO. 106
LINDENHURST NY 11757                  LOS ANGELES CA 90028                          LOS ANGELES CA 90028




DEBEVOISE AND PLIMPTON LLP            DEBEVOISE AND PLIMPTON LLP                    DEBMAR STUDIOS INC
875 THIRD AVENUE                      919 THIRD AVE                                 808 WILSHIRE BLVD STE 300
NEW YORK NY 10022                     NEW YORK NY 10022                             SANTA MONICA CA 90401




DEBMAR-MERCURY                        DEBMAR-MERCURY                                DEBMAR-MERCURY
1 DAG HAMMARSKJOLD PLAZA              225 SANTA MONICA BLVD.                        225 SANTA MONICA BLVD
21ST FLOOR                            8TH FLOOR                                     8TH FLR
NEW YORK NY 10017                     SANTA MONICA CA 90401                         SANTA MONICA CA 90401



DEBMAR-MERCURY LLC                    DEBMAR-MERCURY LLC                            DEBMAR-MERCURY LLC
225 SANTA MONICA BLVD 8TH FLOOR       FREMANTLE DEBMAR MERCURY                      PO BOX 51357
SANTA MONICA CA 90401                 FILE 51079                                    LOS ANGELES CA 90051-5657
                                      LOS ANGELES CA 90064-1079



DEBOARD, JAMES E                      DEBOLD, JOHN                                  DEBOOM, JAMES L
925 GRACE ROAD                        2603 N NEVADA AVE                             2245 N GLASSELL
HUNTINGTOWN MD 20639                  COLORADO SPRINGS CO 80907                     ORANGE CA 92865




DEBORA MROCZKA                        DEBORA PERILLO                                DEBORA WOODWARD
1046 NODDING PINES WAY                5131 NW 31 ST                                 1246 FURNACE ROAD
CASSELBERRY FL 32707                  MARGATE FL 33063                              PITTSFORD VT 05763




                                             Page 558 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 559 of 800
DEBORAH ALBRIGHT                       DEBORAH BEAVERS                               DEBORAH BEAVERSON
22726 MACFARLANE DR                    6386 REDHEAD WAY                              880 CHERRY ORCHARD ROAD
WOODLAND HILLS CA 91364                FONTANA CA 92336                              DOVER PA 17315




DEBORAH BECKER                         DEBORAH BENNETT                               DEBORAH BENNETT
819 S. EUCLID                          1582 61ST DRIVE SOUTH                         6209 STRATFORD COURT
OAK PARK IL 60304                      WEST PALM BEACH FL 33415                      ELKRIDGE MD 21075




DEBORAH BERGER                         DEBORAH BOSCH                                 DEBORAH BRADLEY
PO BOX 41857                           509 S. DUNCAN                                 30 TRIPLE CROWN COURT
LOS ANGELES CA 90041                   CHAMPAIGN IL 61821                            WINDSOR MILL MD 21244




DEBORAH BREWSTER                       DEBORAH BROWN                                 DEBORAH BROWN
9454 DUNLOGGIN ROAD                    906 EMMA KATE COURT                           1603 LONGFELLOW COURT
ELLICOTT CITY MD 21042                 NEWPORT NEWS VA 23605                         WHEATON IL 60187




DEBORAH CLINE                          DEBORAH COOPER                                DEBORAH D'ANDUONO
200 WEST GRAND AVENUE                  1097 WILKINS DRIVE                            185 E PALISADE AVE
APT. #2001                             WILLIAMSBURG VA 23185                         #D3-B
CHICAGO IL 60654-8049                                                                ENGLEWOOD NJ 07631



DEBORAH DANZIGER                       DEBORAH DAVIS                                 DEBORAH DAVIS
400 E. COLONIAL DRIVE                  3617 BELLFIELD WAY                            1155 SUMMERWOOD CIRCLE
APT. 106                               STUDIO CITY CA 91604                          WELLINGTON FL 33414
ORLANDO FL 32803



DEBORAH DRAMBY                         DEBORAH FAIRCHILD                             DEBORAH FEYERABEND
8701 GREEN CLOVER COURT                1634 TORRINGTON CIRCLE                        28046 N DAYDREAM WAY
ORDENTON MD 21113                      LONGWOOD FL 32750                             VALENCIA CA 91354




DEBORAH GARLICKI                       DEBORAH GARNOCK                               DEBORAH GLEASON - DABISCH
7805 CROSS CREEK CIRCLE                24 VILLAS CIRCLE                              1151 CEDAR STREET
BREINIGSVILLE PA 18031                 MELVILLE NY 11747                             PARK RIDGE IL 60068




DEBORAH GREEN                          DEBORAH HARTZ                                 DEBORAH HAWKINS
6804 S MAPLEWOOD                       4230 NE 26TH AVENUE                           7564 E CAMINO TAMPICO
CHICAGO IL 60629                       LIGHTHOUSE POINT FL 33064                     ANAHEIM CA 92808




DEBORAH HENLEY                         DEBORAH HOLT                                  DEBORAH HORAN
18 BAY DRIVE EAST                      16939 GERTING RD                              1217 W GEORGE
HUNTINGTON NY 11743                    MONKTON MD 21111                              # 1F
                                                                                     CHICAGO IL 60657




                                              Page 559 of 2387
                           Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 560 of 800
DEBORAH HORNBLOW                        DEBORAH INGERSOLL                             DEBORAH J MILLER
26 AUBURN ROAD                          360 E. SOUTH WATER STREET                     610 CARIBOU COURT
WEST HARTFORD CT 06119                  APT. #4703                                    KISSIMMEE FL 34759
                                        CHICAGO IL 60601



DEBORAH JOHNSON                         DEBORAH JONES STUDIO INC                      DEBORAH JORDAN
14519 S EDBROOKE AVE                    777 FLORIDA ST NO.301                         10015 SOUTHGLEN DRIVE
RIVERDALE IL 60827                      SAN FRANCISCO CA 94110                        CLERMONT FL 34711




DEBORAH JORDAN                          DEBORAH KATTERHAGEN                           DEBORAH KRESAL
280 SW 8TH STREET                       4307 BURKHART DRIVE S                         441 LAKEVIEW DRIVE
DEERFIELD BEACH FL 33441                TACOMA WA 98409                               APT 201
                                                                                      WESTON FL 33326



DEBORAH LAFOGG-DOCHERTY                 DEBORAH LAICHE                                DEBORAH LAKE
12375 MILITARY TRAIL                    400 S LAFAYETTE PK #312                       41 E. PRINCETON ST
#133                                    LOS ANGELES CA 90057                          ORLANDO FL 32804
BOYNTON BEACH FL 33436



DEBORAH LEEKOFF                         DEBORAH LEVINE                                DEBORAH LYON
80 ENGLEWOOD AVENUE                     1640 CARLA LANE                               269 HALLS POND RD
WEST HARTFORD CT 06110-1122             EAST MEADOW NY 11554                          SALEM NY 12865




DEBORAH MANG                            DEBORAH MANIS                                 DEBORAH MARINO
1024 RUNAWAY                            12420 DRAW DRIVE                              14 GRAND STREET
PENNSBURG PA 18073                      GRAND ISLAND FL 32735                         APT C
                                                                                      GLENS FALLS NY 12801



DEBORAH MAX                             DEBORAH MCKOWN                                DEBORAH MINER
157 NEWBROOK LANE                       1662 MORADA PLACE                             150 MAPLEWOOD AVE.
BAY SHORE NY 11706                      ALTADENA CA 91001-3234                        2ND FLOOR
                                                                                      WEST HARTFORD CT 06119



DEBORAH MINGHELLA                       DEBORAH MINNIS                                DEBORAH MOORE-LEWIS
29 ROCK LANE                            1031 BYERLY WAY                               10338 S HOXIE AVE
LEVITTOWN NY 11756                      ORLANDO FL 32818                              CHICAGO IL 60617




DEBORAH MORRIS                          DEBORAH MORRISON                              DEBORAH NADELL
135-25 HOOVER AVENUE                    922 N. CHARLES STREET                         4414 WHALEYVILLE BLVD.
5K                                      2                                             SUFFOLK VA 23434
KEW GARDENS NY 11435                    BALTIMORE MD 21201



DEBORAH NETBURN                         DEBORAH NOBLIN                                DEBORAH O'CONNOR
364 MAVIS DRIVE                         15 MCKINLEY STREET                            668 NO HAMILTON AVE
LOS ANGELES CA 90065                    MANCHESTER CT 06040                           LINDENHURST NY 11757




                                               Page 560 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 561 of 800
DEBORAH OWEN LTD                       DEBORAH PAYNE                                 DEBORAH PERRY
78 NARROW ST                           P.O. BOX 680381                               15 CARDINAL DRIVE
LIMEHOUSE                              ORLANDO FL 32868                              EAST HARTFORD CT 06118
ENGLAND E1488P



DEBORAH PICKER                         DEBORAH PICKETT                               DEBORAH PICKLES
1525 GRIFFITH PARK BLVD                8141 SOUTH PAULINA                            1221 LAKE WHITNEY DRIVE
404                                    CHICAGO IL 60620                              WINDERMERE FL 34786
LOS ANGELES CA 90026



DEBORAH PRESSER                        DEBORAH PRESTON                               DEBORAH QUACKENBUSH
2910 LONNI LANE                        10 WESTCLIFF DRIVE                            1675 STATE ROUTE 196
MERRICK NY 11566                       MOUNT SINAI NY 11766                          FORT EDWARD NY 12828




DEBORAH RAHAMIM                        DEBORAH RAMIREZ                               DEBORAH ROTUNNO
2713 S OAKLAND FOREST DRIVE            1470 NE 123 ST                                1943 SOMERSET LANE
APT 202                                APT 716                                       WHEATON IL 60187
OAKLAND PARK FL 33309                  MIAMI FL 33161



DEBORAH ROUNDTREE                      DEBORAH SALAMONE                              DEBORAH SCHOCH
120 W LEE RD                           241 BANBURY COURT                             4617 E COLORADO STREET
DELRAY BEACH FL 33445                  LONGWOOD FL 32779                             LONG BEACH CA 90814




DEBORAH SERIGANO                       DEBORAH SHELTON                               DEBORAH SHIELDS
217 10TH STREET                        4449 S. LAKE PARK AVENUE                      316 DARLINGTON ROAD
WEST BABYLON NY 11704                  CHICAGO IL 60653                              HAVRE DE GRACE MD 21078




DEBORAH SINCIC                         DEBORAH SMARGIASSI                            DEBORAH SPINA
7608 GOVERN BLVD                       8138 C ANISE GROVE LANE                       28 MAIN AVENUE
ORLANDO FL 32822                       ORLANDO FL 32818                              WHEATLEY HEIGHTS NY 11798




DEBORAH STEPP                          DEBORAH STOPPARD                              DEBORAH THOMPSON
26 DWIGHT RD                           58 PHEASANT RIDGE RD                          2100 SAN SIMEON
NEWPORT NEWS VA 23601                  HANOVER PA 17331                              MESQUITE TX 75181




DEBORAH TONEY                          DEBORAH TUITA                                 DEBORAH TURNIPSEED
9307 MARSH OAKS CT.                    9701 GEYSER AVENUE                            4611 HOMER AVE.
ORLANDO FL 32832                       NORTHRIDGE CA 91324                           BALTIMORE MD 21215




DEBORAH V NASH                         DEBORAH VINAKOS                               DEBORAH WELCH
4101 PENHURST AVENUE                   2827 W. RASCHER AVENUE                        6717 DALHART LANE
BALTIMORE MD 21215                     CHICAGO IL 60625                              DALLAS TX 75214




                                              Page 561 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 562 of 800
DEBORAH WILKIE                         DEBORAH WILKINSON                             DEBORAH WOOD
636 PEARL STREET                       12562 DALE ST.                                10516 NW 2ND COURT
HAVRE DE GRACE MD 21078                UNIT#2                                        PLANTATION FL 33324
                                       GARDEN GROVE CA 92841



DEBORAH WOOLEY                         DEBORD, MATTHEW                               DEBRA ANGELOS
10013 STONELEIGH DR                    3809 ACKERMAN DRIVE                           2350 NE 14TH STREET
BENBROOK TX 76126                      LOS ANGELES CA 90065                          APT 202
                                                                                     POMPANO BEACH FL 33062



DEBRA BADE                             DEBRA BOTWINICK                               DEBRA CORIE
1001 MAPLETON AVENUE                   2642 SW 81ST TERRACE                          83 PINEWOOD ROAD
OAK PARK IL 60302                      MIRAMAR FL 33025                              QUEENSBURY NY 12804




DEBRA EGGERS                           DEBRA EVANS                                   DEBRA FOSTER
6342 BEECHFIELD AVE.                   5641 COLFAX AVE                               6251 BEECHWOOD RD.
ELKRIDGE MD 21075                      APT#146                                       MATTESON IL 60443-1315
                                       NORTH HOLLYWOOD CA 91601



DEBRA FREDERICK                        DEBRA GAHRING                                 DEBRA GIBBS
223 ABERDEEN AVE                       1080 SW 50TH AVE                              4122 INVERRARY DR
EXTON PA 19341                         MARGATE FL 33068                              LAUDERHILL FL 33319




DEBRA GOBER                            DEBRA GULACK                                  DEBRA HAAS
1425 COUNTRY CLUB ROAD                 19721 TERRI DRIVE                             446 WASHINGTON STREET
WESCOSVILLE PA 18106                   SANTA CLARITA CA 91351                        ALLENTOWN PA 18102




DEBRA HALLOCK                          DEBRA HARVEY                                  DEBRA HODGES-COLLIER
1166 CONNETQUO AVENUE                  79 FOLSOM AVENUE                              231 S. BEACHWOOD
CENTRAL ISLIP NY 11722                 HUNTINGTON STATION NY 11746                   BURBANK CA 91506




DEBRA HOLMES                           DEBRA JACKSON                                 DEBRA JEAN KAPLAN
146 ELGIN                              2045 WEST FARGO                               1185 NEWTON COURT
APT. # 3 SOUTH-EAST                    #2W                                           WINTER SPRINGS FL 32708
FOREST PARK IL 60130                   CHICAGO IL 60645



DEBRA JONES                            DEBRA KORTVELY                                DEBRA KRUTZ
5382 STILLWATER DR                     2121 LENAPE DRIVE                             113 HARMONY MILLS LOFTS
LOS ANGELES CA 90008                   COPLAY PA 18037                               COHOES NY 12047




DEBRA LUND                             DEBRA MATHIS                                  DEBRA MCGOVERN
29 OAKWOOD LANE                        22876 CHRYSLER DR                             4497 VILLAGE PARK DRIVE W.
PLAINVIEW NY 11803                     BOCA RATON FL 33428                           WILLIAMSBURG VA 23185




                                              Page 562 of 2387
                           Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 563 of 800
DEBRA MCLAUGHLIN                        DEBRA MEIER                                   DEBRA MILLS-WILES
31 VILLAS CIRCLE                        16 JACQUELINE DRIVE                           2111 BRANDYWINE ROAD
MELVILLE NY 11747                       QUEENSBURY NY 12804                           APT 535
                                                                                      WEST PALM BEACH FL 33409



DEBRA ORONA                             DEBRA ROSS                                    DEBRA ROSSI
4744 VINCENT AVE                        10864 NW 8TH STREET                           6776 N. IONIA
COVINA CA 91722                         PEMBROKE PINES FL 33026                       CHICAGO IL 60646




DEBRA SCHNECKER                         DEBRA STARR-ROCKOFF                           DEBRA TEICHROW
719 SIXTH AVENUE                        11142 LAUREL WALK ROAD                        1209 N VASSAR LANE
BETHLEHEM PA 18018                      WELLINGTON FL 33467                           WALNUT CA 91789




DEBRA TUCKER                            DEBRA WALTERS                                 DEBRA WILLIAMS
37 KAREN DRIVE                          7701 ANDES LANE                               319 N. ELLWOOD AVENUE
SAYVILLE NY 11782                       PARKLAND FL 33067                             BALTIMORE MD 21224




DEBRA WILSON                            DEBRA YOUNG                                   DEBRA ZOBEL
9530 OAKHURST DRIVE                     317 HEARTHSTONE WAY                           1281 CROSSBILL COURT
COLUMBIA MD 21046                       NEWPORT NEWS VA 23608                         WESTON FL 33327




DEBRAH HOROWITZ                         DEBRECZENI, ADAM                              DEBUCK, ROBERT F
29052 EAGLE LANE                        1271 SABAL TRAIL                              16680 S. POST ROAD NO.101
FORT MILL SC 29707                      WESTON FL 33327                               WESTON FL 33331




DEBUT ART LTD                           DEC III, WILLIAM M                            DECAL GRAPHICS
30 TOTTENHAM ST                         1341 W FULLERTON NO.193                       11311 BELL ROAD
LONDON W1T 4RJ                          CHICAGO IL 60614                              LEMONT IL 60439




DECAMPOS, ANDRE                         DECARBO, ELIZABETH                            DECARBO, ELIZABETH
27 NW 45TH AVE, NO.101                  1250 BROOKHAVEN HIDEAWAY COURT                520 PETERS BLVD
DEERFIELD BEACH FL 33442                ATLANTA GA 30319                              BRIGHTWATERS NY 11718




DECATUR DAILY                           DECATUR WEST SIDE CHURCH OF THE               DECATURE TOUNSEL
PO BOX 2213                             RE: DECATUR 1270 GRAND AVE                    7450 LINCOLN AVENUE
DECATUR AL 35609-2213                   1224 WEST GRAND AVE.                          APT. # 202
                                        DECATUR IL 62522                              SKOKIE IL 60076



DECELIS, ALINA                          DECHESSER, CHERYL M                           DECISION QUEST INC
201 RACQUET CLUB RD NO.S217             13 WARREN AVE                                 PO BOX 513376
WESTON FL 33326                         MYSTIC CT 06355                               LOS ANGELES CA 90051-3376




                                               Page 563 of 2387
                        Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 564 of 800
DECISION TOOLBOX INC                 DECISION TOOLBOX INC                          DECISIONONE CORPORATION
1526 14TH ST STE 102                 2667 E 28TH ST SUITE 508                      PO BOX 05550
SANTA MONICA CA 90404                SIGNAL HILL CA 90755                          SAN FRANCISCO CA 94139




DECISIONONE CORPORATION              DECISIONONE CORPORATION                       DECISIONONE CORPORATION
4110 S 100TH EAST AVE                P O BOX 7777 W4140                            PO BOX 8500 S-5490
SUITE 100                            PHILADELPHIA PA 19175                         PHILADELPHIA PA 19178
TULSA OK 74146



DECISIONONE CORPORATION              DECK, TROYA                                   DECKER, GAIL
PO BOX 8500 S-5505                   1026 RICE DR APT 354                          881 WILLOW DR
PHILADELPHIA PA 19178                COLORADO SPRINGS CO 80906                     CATASAUQUA PA 18032




DECKER, KRISTIN                      DECLERK, STEPHEN M                            DECOO, JOHN
720 W SCHUBERT UNIT 2                1290 VALLEY VIEW AVE                          6321 DEWEY ST
CHICAGO IL 60613                     PASADENA CA 91107                             HOLLYWOOD FL 33023




DECORATIVE PLANTS INC                DECOSTER, JEFFREY                             DECOUDREAUX, DARRYL C
2920 DAIRY ASHFORD                   137 N CHESTER AVE                             914 COLLIER RD NW APT 2102
HOUSTON TX 77082                     PASADENA CA 91106                             ATLANTA GA 30318




DEDE UNDERHILL                       DEDERER, CLAIRE                               DEDICATED MARKETING SOLUTIONS LLC
75 CIRO STREET                       5541 FLAGSTAFF RD                             12950 CULVER BLVD   STE 120
HUNTINGTON NY 11743                  BOULDER CO 80302                              LOS ANGELES CA 90066




DEDICATED MARKETING SOLUTIONS LLC    DEDRICK BURNS                                 DEDRICK,JAMES
12950 CUVER BLVD    STE 120          154 N. PINE                                   8267 A SW POINTERWAY
LOS ANGELES CA 90066                 APT. #2C                                      PORTLAND OR 97225
                                     CHICAGO IL 60644



DEE SPROCK                           DEE, MERRI                                    DEEANN CHINN
17 FONTAINE RD                       1550 N. LAKE SHORE DR.                        18629 SHEFFIELD ROAD
NEWPORT NEWS VA 23601                SUITE 15G                                     CASTRO VALLEY CA 94546
                                     CHICAGO IL 60610



DEEP RIVER TAX COLLECTOR             DEEPA,SEETHARAMAN                             DEEPAK AGARWAL
PO BOX 13                            11868 NW 11 CT                                30 AMERICANA COURT
DEEP RIVER CT 06417                  CORAL SPRINGS FL 33071                        ROSELLE IL 60172




DEERFIELD AUTO TAG AGENCY            DEERING, WENDY L                              DEES, JCLYNN
1600 W HILLSBORO BLVD ROOM 181       1746 N APPLETON ST                            3934 FALLING ACORN CIRCLE
DEERFIELD BEACH FL 33442             APPLETON WI 54911                             LAKE MARY FL 32746




                                            Page 564 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 565 of 800
DEFALCO, CARMEN                        DEFALCO, NEIL LAWRENCE                        DEFEIS OCONNELL & ROSE PC
1831 N FAIRFIELD AVE 3N                6049 YORKSHIRE DRIVE                          500 FIFTH AVE    26TH FLR
CHICAGO IL 60647                       BALTIMORE MD 21212                            NEW YORK NY 10110




DEFRAIN, ROBERT                        DEFREITAS, FERNANDO M                         DEGAN, ALEXANDRE A
3601 E SANDIDER DR                     10401 W BROWARD BLVD NO. 403                  3216 ALAMO DRIVE
BOYNTON BEACH FL 33436                 PLANTATION FL 33324                           ORLANDO FL 32805




DEGELIA, DEEDEE                        DEGEYTERE, PETER                              DEGRAZIA, GARRETT
2411 ST GEORGE ST                      16182 QUARTZ ST                               407 FAIRHAVEN LN    00002
LOS ANGELES CA 90027                   WESTMINSTER CA 92683                          MUNDELEIN IL 60060-1905




DEGUZMAN, MELANIE                      DEHAAN, ELOISE                                DEIAR ZAYED
204 N ROHLWING RD                      612 NORTH 12TH STREET                         1127 BUTTONWOOD DRIVE
PALATINE IL 60074                      ALLENTOWN PA 18102                            WESTMONT IL 60559




DEIBERT, DANIEL J                      DEIDRA BOYKIN                                 DEIDRA CHEESEBOROUGH
2218 PATRICK LANE                      44 BANK SPRING COURT                          1910 W. 23RD STREET
WAUKESHA WI 53188                      OWINGS MILLS MD 21117                         RIVIERA BEACH FL 33404




DEIDRA PARRISH WILLIAMS                DEIDRE PERRY                                  DEIDRE WHITE
95 AVONDALE STREET                     4841 INDIALANTIC DRIVE                        316 6TH STREET
VALLEY STREAM NY 11581                 ORLANDO FL 32808                              UNION CITY NJ 07087




DEININGER, SCOTT                       DEIRDRE EDGAR                                 DEIRDRE MAGUIRE
200 WHISPER LANE                       2257 COOLEY PLACE                             454 EAST 240TH STREET
SHOREWOOD IL 60431                     PASADENA CA 91104                             BRONX NY 10470




DEIRDRE MCGEOWN                        DEISY DAZA                                    DEJESUS CASTRO, STARLIN
65 DOW AVENUE                          2455 NW 89TH DRIVE                            C/CADNABO NO.10
MINEOLA NY 11501                       APT 203                                       BARRIO LAS FLORES
                                       CORAL SPRINGS FL 33065                        MONTE CRISTY



DEJESUS, ALEXANDRY                     DEJESUS, ANGEL                                DEJESUS, ANGEL
1078 CAPTIAL AVE                       44 GOODWIN PARK RD                            PO BOX 340444
HARTFORD CT 06106                      WETHERSFIELD CT 06109                         HARTFORD CT 06112




DEJESUS, FERNANDO A                    DEJESUS, FERNANDO A                           DEJESUS, IVAN
1711 S OXALIS AVE                      1711 S OXALIS AVE                             63 WHITON ST
SUITE 2005                             ORLANDO FL 32807                              WINDSOR LOCKS CT 06096
ORLANDO FL 32807




                                              Page 565 of 2387
                         Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 566 of 800
DEJESUS, WILLIAM                       DEJESUS,SALLY                                DEJOHN, JAMES P
11732 NW 56TH STREET                   63 WHITON ST                                 103 HUDSON POINTE BLVD
CORAL SPRINGS FL 33076                 WINDSOR LOCKS CT 06096-1835                  QUEENSBURY NY 12804




DEL AMO FASHION CENTER OPERATING LLC   DEL AMO FASHION CENTER OPERATING LLC         DEL MANO PRODUCTIONS LLC
3525 CARSON ST NO.165                  PO BOX 409657                                3051 VIA MADERAS
TORRENCE CA 90503                      ATLANTA GA 30384-9657                        ALTADENA CA 91001




DEL VALLE, KIMBERLY M                  DELABAR, DIEDRE                              DELAMO, NELSON F
1421 NW 33 WAY                         216 S 2ND ST                                 16881 SW 142 PL
LAUDERHILL FL 33311                    EMMAUS PA 18049                              MIAMI FL 33177




DELANE, CATRESIA                       DELANEY REPORT                               DELANEY REPORT
903 25TH STREET                        149 FIFTH AVENUE                             25 EAST 21 STREET
ORLANDO FL 32805                       7TH FLOOR                                    NEW YORK NY 10010
                                       NEW YORK NY 10160-1693



DELANEY, ANNE G                        DELANEY, CAROLYN                             DELANEY, JANICE R
1735 BURRSTONE RD BLDG 2 APT 3         982 AUTUMN LANE                              5 HORN POINT COURT
NEW HARTFORD NY 13413                  AURORA IL 60505                              BALTIMORE MD 21234




DELANEY, POLLY                         DELANEY, TANYA                               DELANO, STEVEN W
1940 N HIGHLAND AVE NO.60              6413 S LOCKWOOD                              21 S STONYBROOK DR
HOLLYWOOD CA 90068                     CHICAGO IL 60638                             MARLBOROUGH CT 06447




DELATORRE, JESSICA                     DELAURA, JEANNETTE J                         DELAWARE DEPT. OF NATURAL RESOURCES
9890 NW 24TH COURT                     476 EAST THOMPSON RD                         & ENVIRONMENTAL CONTROL
SUNRISE FL 33322                       THOMPSON CT 06277                            89 KINGS HIGHWAY
                                                                                    DOVER DE 19901



DELAWARE SECRETARY OF STATE            DELAWARE SECRETARY OF STATE                  DELAWARE SECRETARY OF STATE
JOHN G. TOWNSEND BLDG.                 PO BOX 74072                                 2002 GOVERNORS CONFERENCE
401 FEDERAL ST. - STE. 4               BALTIMORE MD 21274-4072                      DELAWARE TOURISM OFFICE
DOVER DE 19901                                                                      99 KINGS HIGHWAY
                                                                                    DOVER DE 19901


DELAWARE SECRETARY OF STATE            DELAWARE SECRETARY OF STATE                  DELAWARE STATE NEWS
ECONOMIC DEVELOPMENT OFFICE            DIVISION OF CORPORATIONS                     PO BOX 7001
99 KINGS HWY                           PO BOX 74072                                 DOVER DE 19903
DOVER DE 19901                         BALTIMORE MD 21274-4072



DELBANCO, FRANCESCA                    DELBANCO, NICHOLAS F                         DELBERT C WHITMORE JR
344 S CITRUS AVE                       428 CONCORD RD                               P.O. BOX 681236
LOS ANGELES CA 90036                   ANN ARBOR MI 48104                           ORLANDO FL 32868




                                             Page 566 of 2387
                           Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 567 of 800
DELCOURT, JOHN                          DELEON, MANOLIN                               DELEON, SONJA
5321 LA LUNA DRIVE                      CALLE 7 NO.18                                 23 ALDEN AVE
LA PALMA CA 90623                       SECTOR SAN FRANCISCO CAMBITA                  ENFIELD CT 06082
                                        SAN CRISTOBAL



DELESTOWICZ, JUDY                       DELEXIA POWELL                                DELFIN, LAURA P
6729 WAINWRIGHT DR                      1333 E. 89TH PLACE                            215 SW 9TH STREET #B
WOODRIDGE IL 60517                      CHICAGO IL 60619                              HALLANDALE BEACH FL 33009




DELFINA JONES                           DELFINA ORTEGA                                DELFINO FERNANDEZ
2422 S. 60 CRT.                         6450 S. NEW ENGLAND AVE                       1532 SCOVILLE AVENUE
CICERO IL 60804                         #3B                                           BERWYN IL 60402
                                        CHICAGO IL 60638



DELFINO, FRED                           DELGADILLO, JORGE                             DELGADO JR, ALEXANDER
13 SPRUCEBROOK TRAIL                    7801 NW 75 AVE                                50 EAST CEDAR STREET
MONROE CT 06468                         TAMARAC FL 33321                              NEWINGTON CT 06111




DELGADO KREISER, ROBYNN                 DELGADO, CARLOS                               DELGADO, JAVIER
952 CARTER ST                           742 NW 132ND AVE                              2058 N PULASKI RD
FOLSOM CA 95630                         PLANTATION FL 33325                           CHICAGO IL 60639




DELGADO, JOE                            DELGADO, MARILYN                              DELGADO,LEONARDO
4303 STILLWELL AVENUE                   50 E CEDAR ST                                 16738 HEMINGWAY DRIVE
LOS ANGELES CA 90032                    NEWINGTON CT 06111                            WESTON FL 33326




DELGIACCO, DAVID                        DELHAYE, ROBERT                               DELHOMME, WENDELL
21482 MIDCREST DR                       33 ARPAD ST                                   42 SW 7TH AVE   NO.2
LAKE FOREST CA 92630                    HICKSVILLE NY 11801                           DANIA BEACH FL 33004




DELIA CONGRAM                           DELIA GODINEZ                                 DELIA MALDONADO
11 NORTH QUAKER LANE                    710 EVANWOOD AVE.                             1266 N. LAUREL
APT. #204                               LA PUENTE CA 91744                            APT#7
WEST HARTFORD CT 06119                                                                WEST HOLLYWOOD CA 90046



DELIA, LAWRENCE                         DELICE DEZIGNS                                DELICIA ADAMS
2005 S. QUEEN ST                        1234 CASTLETON AVE                            3201 NW 35TH WAY
YORK PA 17403                           STATEN ISLAND NY 10310                        LAUDERDALE LAKES FL 33309




DELIMA BIEN-AIME                        DELIVERY ON TIME INCORPORATED                 DELIVERY SYSTEMS, INC
611 SW 14 PL                            11 GLENN HOLLOW ROAD                          1202 MAIN STREET NO.220
DEERFIELD BEACH FL 33441                HOLTSVILLE NY 11742                           LITTLE ROCK AR 72202




                                               Page 567 of 2387
                           Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 568 of 800
DELK, KATHRYN                           DELL MARKETING LP                             DELL MARKETING LP
622 ELMORE                              DELL RECEIVABLES                              C/O DELL USA L.P.
PARK RIDGE IL 60068                     PO BOX 910916                                 PO BOX 910916
                                        PASADENA CA 91110-0916                        PASADENA CA 91110-0916



DELL MARKETING LP                       DELL MARKETING LP                             DELL MARKETING LP
C/O DELL USA LP                         C/O DELL USA LP                               C/O DELL USA
DEPT LA 21205                           PO BOX 534118                                 PO BOX 534118
PASADENA CA 91185-1205                  ATLANTA GA 30353-4118                         ATLANTA GA 30353-4118



DELL MARKETING LP                       DELL MARKETING LP                             DELL MARKETING LP
PO BOX 9020                             C/O DELL USA LP                               PO BOX 802816
DES MOINES IA 50368                     DEPT CH14012                                  CHICAGO IL 60680-2816
                                        PALATINE IL 60055-4012



DELL MARKETING LP                       DELL MARKETING LP                             DELL MARKETING LP
C/O DELL USA LP                         DELL DIRECT SALES                             PO BOX 643561
BOX 371964                              PO BOX 7247-8178                              PITTSBURGH PA 15264-3561
PITTSBURGH PA 15250-7964                PHILADELPHIA PA 19170-8178



DELL MARKETING LP                       DELL MARKETING LP                             DELL MARKETING LP
1 DELL WAY BOX 32                       2214 W BRAKER LANE                            2300 GREENLAWN BLDG 3
ROUND ROCK TX 78682                     RHONDA X41566                                 CUST 2288149
                                        AUSTIN TX 78758                               ATTN VERONICA TATE
                                                                                      ROUNDROCK TX 78664


DELL MARKETING LP                       DELL MARKETING LP                             DELL MARKETING LP
8801 RESEARCH BLVD                      C/O DELL USA LP                               DEPT 0729
AUSTIN TX 78758                         PO BOX 676021                                 PO BOX 120001
                                        DALLAS TX 75267-6021                          DALLAS TX 75312



DELL MARKETING LP                       DELL MARKETING LP                             DELL MARKETING LP
ONE DELL WAY                            PO BOX 120001                                 2214 W BRAKER LANE
ROUND ROCK TX 78682                     DEPT 0710                                     AUSTIN TX 78758
                                        DALLAS TX 75312-0729



DELL MARKETING LP                       DELMAR C TAYLOR                               DELMAREVA POWER
DELL MARKETING                          1161 SIERRA VISTA DR                          ACCT NO. 343888099995
ONE DELL WAY                            LA HABRA CA 90631                             P.O. BOX 17000
ROUND ROCK TX 78682                                                                   WILMINGTON DE 19886



DELMARVA POWER & LIGHT                  DELMARVA POWER & LIGHT                        DELMASTRO, THOMAS W
800 KING ST                             PO BOX 17000                                  3885 AIRPORT RD
WILMINGTON DE 19899                     WILMINGTON DE 19886                           ALLENTOWN PA 18103




DELMER, RICHARD                         DELMONACO,RICHARD                             DELO, ROBERT P
35 TREE DRIVE                           3564 KATRINA DR                               2178 MUIRFIELD CT.
NEWPORT NEWS VA 23606                   PETTY CASH CUSTODIAN                          YORKVILLE IL 60560
                                        YORKTOWN HEIGHTS NY 10598




                                               Page 568 of 2387
                          Case 08-13141-BLS       Doc 17-1        Filed 12/08/08   Page 569 of 800
DELOITTE & TOUCHE LLP                      DELOITTE & TOUCHE LLP                      DELOITTE & TOUCHE LLP
PO BOX 862217                              PO BOX 406838                              4214 COLLECTION CENTER DR
ORLANDO FL 32886-2217                      ATLANTA GA 30384-6838                      CHICAGO IL 60693




DELOITTE & TOUCHE LLP                      DELOITTE & TOUCHE LLP                      DELOITTE & TOUCHE LLP
BANK OF AMERICA                            PO BOX 77000                               PO BOX 7247-6446
4205 COLLECTIONS CENTER DR                 DEPARTMENT 77393                           PHILADELPHIA PA 19170-6446
CHICAGO IL 60693                           DETROIT MI 48277-0939



DELOITTE & TOUCHE LLP                      DELOITTE & TOUCHE LLP                      DELOITTE CONSULTING LLP
4022 SELLS DR                              8505 FREEPORT PKWY STE 280                 695 TOWN CENTER DR    STE 1200
HERMITAGE TN 37076                         IRVING TX 75063                            COSTA MESA CA 92626-7188




DELOITTE CONSULTING LLP                    DELOITTE CONSULTING LLP                    DELOITTE FINANCIAL ADVISORY SERVICES LLP
PO BOX 402901                              PO BOX 7247-6447                           13763 COLLECTION CENTER DR
ATLANTA GA 30384-2901                      PHILADELPHIA PA 19170-6447                 CHICAGO IL 60693




DELOITTE FINANCIAL ADVISORY SERVICES LLP   DELOITTE FINANCIAL ADVISORY SERVICES LLP   DELOITTE TAX LLP
PO BOX 2062                                200 BERKELEY ST                            PO BOX 2079
CAROL STREAM IL 60132-2062                 BOSTON MA 02116                            CAROL STREAM IL 60132-2079




DELOITTE TAX LLP                           DELONG, BRUCE                              DELONG, LINDA
4022 SELLS DR                              228 NORTH 13TH STREET                      3269 1ST AVE
HERMITAGE TN 37076                         ALLENTOWN PA 18102                         OREFIELD PA 18069




DELORES BALDWIN                            DELORES L GERSCH                           DELORES PATTISON
5108 KIPP PLACE                            697 MICHELLE DRIVE                         26240 GRASSY SPRAIN
ORLANDO FL 32808                           CHICAGO HEIGHTS IL 60411                   SORRENTO FL 32776




DELORI, MICHAEL                            DELORIS ARCELASCHI                         DELORIS MCMILLAN
3355 N ACADEMY BLVD NO.224                 14 HARPSWELL STREET                        102 ROOSEVELT AVE.
COLRADO SPRINGS CO 80917                   TORRINGTON CT 06790                        MASSAPEQUA NY 11758




DELOZIER, RONALD J                         DELP, LAUREL                               DELRAY CORPORATE CENTER LLC
8916 NORTH EAST 28 AVENUE                  7675 HOLLYWOOD BLVD      APT 1             C/O LEVY REALTY ADVISORS INC
VANCOUVER WA 98665                         LOS ANGELES CA 90046                       4901 NW 17TH WAY       STE 103
                                                                                      FT LAUDERDALE FL 33309



DELRAY CORPORATE CENTER, INC.              DELRAY MANAGEMENT                          DELROSSO, JACKIE
RE: DELRAY BEACH 3333 CONGRES              5283 W ATLANTIC AVE                        73 MARTIN DIGGS WAY
C/O LEVY REALTY ADVISORS, INC.             DELRAY BEACH FL 33484                      ONEMO VA 23130
4901 NW 17TH WAY, SUITE 103
FT. LAUDERDALE FL 33309




                                               Page 569 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 570 of 800
DELROY A DAVIS INC                     DELROY DEWAR                                  DELROY MCFARLANE
6581 BLVD OF CHAMPIONS                 5101 SW 6TH PLACE                             7433 NW 49TH PLACE
NORTH LAUDERDALE FL 33068              MARGATE FL 33068                              LAUDERHILL FL 33319




DELTA AIRLINES                         DELTA AIRLINES                                DELTA AIRLINES
P O BOX 105531                         PO BOX 101315                                 PO BOX 933941
ATLANTA GA 30348-5531                  ATLANTA GA 30392-1315                         ATLANTA GA 31193-3941




DELTA CONTROLS INC                     DELTA CONTROLS INC                            DELTA DISCOVERY INC
15 STANLEY DRIVE                       INDUSTRIAL ELECTRONIC REPAIR                  401 RIDGECREST DRIVE STE C
THOMASVILLE NC 27360                   15 STANLEY AVE                                PO BOX 1028
                                       THOMASVILLE NC 27360                          BETHEL AK 99559



DELTA ELEVATOR CO INC                  DELTA ENERGY & LIGHTING                       DELTA ENERGY & LIGHTING
15140 DOWNEY AVENUE                    3261 FITZGERALD ROAD                          3307 SWETZER ROAD
PARAMOUNT CA 90723                     RANCHO CORDOVA CA 95742                       LOOMIS CA 95660




DELTA ENERGY LIGHTING & ELECTRICAL     DELTA LIBRARY COMPANY,INC.                    DELTA POWER INC
3307 SWETZER RD                        4640 LANKERSHIM BLVD.                         1790 E MCFADDEN AVE STE 106
LOOMIS CA 95650                        #600                                          SANTA ANA CA 92705
                                       NORTH HOLLYWOOD CA 91602



DELTEX INC                             DELTHIA RICKS                                 DELTON HARDY
PO BOX 3258                            72 PLEASANT ST                                25 TERESA DRIVE
LITTLETON CO 80161-3258                HUNTINGTON NY 11743                           HAMPTON VA 23666




DELUCA, DANIEL                         DELUCA, THOMAS                                DELVALLE, HENRY
852 SW 18TH ST                         22 CORNELIA ST NO.8                           6623 S KEELER
CAPE CORAL FL 33990                    NEW YORK NY 10014                             CHICAGO IL 60629




DELVALLE, YOLANDA                      DELVAR, PETERSON                              DELVIN MOORE
1417 RIDGE BROOK TRAIL                 1550 NW 7 LANE                                P.O. BOX 1407
DULUTH GA 30096                        POMPANO BEACH FL 33060                        GUASTI CA 91743-1407




DEMAIO, JOANNE                         DEMARCO BARRETT, BARBARA                      DEMARIA, PAUL J
270 GREAT SWAMP RD                     503 LARKSPUR AVE                              257 ELSIE AVE
GLASTONBURY CT 06033                   CORONA DEL MAR CA 92625                       MERRICK NY 11566




DEMARINO, MARGARET A                   DEMARS, ELITA L                               DEMATTO, FRANCISCO J
41 HOBART ST                           56 NEWTON STREET                              339 HILLSIDE AVE
NEW HAVEN CT 06511                     HARTFORD CT 06106                             HARTFORD CT 06108




                                              Page 570 of 2387
                         Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 571 of 800
DEMCO INC                             DEMCO INC                                     DEMELFY, THOMAS
2975 W SOFFEL                         9381 SCHILLER BOULEVARD                       1445 N MUHLENBERG ST
MELROSE PARK IL 60160                 FRANKLIN PARK IL 60131                        ALLENTOWN PA 18104




DEMERIS CATERING                      DEMERY JOHNSON                                DEMESHA ROBERTSON
2911 S SHEPHERD                       1808 W. 24TH STREET                           235 WEST MAIN STREET
HOUSTON TX 77098                      LOS ANGELES CA 90018                          APT. #905
                                                                                    STAMFORD CT 06902



DEMESMIN, LUCKSON                     DEMETRIA LEE REYNO                            DEMETRIADES, JAMES A
3166 N. SEACREST BLVD.                532 WEST CARRIAGEDALE DRIVE                   531 S CHESTER ST
BOYNTON BEACH FL 33435                CARSON CA 90745                               BALTIMORE MD 21231




DEMETRIOS LITSAKIS                    DEMETRIOS PAPAIOANNOU                         DEMETRIUS RAULS
183 CHEROKEE STREET                   4941 N NAGLE AVE                              911 EDGEWOOD ST
LAKE HILLS NY 11779                   CHICAGO IL 60630                              INGLEWOOD CA 90302




DEMICK, BARBARA                       DEMING, WILLIAM E                             DEMITCHELL REDFEARN
SEOUL BUREAU                          12 VOLOVSKI ROAD                              100 ROCHESTER PLACE
LA TIMES FOREIGN DESK                 AVON CT 06001-3130                            BALTIMORE MD 21224
202 W 1ST ST
LOS ANGELES CA 90053


DEMKOW, CAROL                         DEMMEL, RICHARD P                             DEMMEL, WILLIAM V
11114 GREENLAKE DR NO.204             525 VERMONT ST                                15 N SCENIC ST
BOYNTON BEACH FL 33437                WHITEHALL PA 18052                            ALLENTOWN PA 18104




DEMORANVILLE, DONALD                  DEMORANVILLE, JAMES L                         DEMORETCKY, THOMAS A
46 TRAVERSE SQUARE                    70 TROLLEY CROSSING LN                        2008 HAYWOOD RD
MIDDLETOWN CT 06457                   MIDDLETOWN CT 06457                           HENDERSONVILLE NC 28791




DEMOS BY DIANE LTD                    DEMOSS, JASON                                 DEMOSS, JASON R
1221 FARMWOOD DRIVE                   2625 W JUNIPER   APT 3                        4428 MARELLA WAY
ADDISON IL 60101                      SANTA ANA CA 92704                            BAKERSFIELD CA 93309




DEMOSTHENE, FEDNEL                    DEMOSTHENE, FEDNEL                            DEMPSEY, AMY YVONNE
1401 SW 2ND ST                        1401 SW 2ND ST                                23911 SW ASPEN LAKES DRIVE
BOYNTON BEACH FL 33435                BOYTON BEACH FL 33435                         SHERWOOD OR 97140




DEMPSEY, WILLIAM H                    DEMPSTER, RYAN                                DEMPSTER, RYAN
13864 E 53RD ST                       28027 MEADOWLARK DR                           3638 N WAYNE
YUMA AZ 85367                         GOLDEN CO 80401                               CHICAGO IL 60613




                                             Page 571 of 2387
                         Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 572 of 800
DENA CARRAWAY                         DENA TOWNSEND                                 DENALI NEP ENTERTAINMENT GROUP
5558 MUIRFIELD COURT                  3453 WEST POLK                                1101 WEST ISABEL STREET
ORLANDO FL 32819                      CHICAGO IL 60624                              BURBANK CA 91506




DENALI NEP ENTERTAINMENT GROUP        DENAM, JAMES W                                DENARI, CHRIS
2 BETA DR                             3106 LAWNDALE DRIVE APT M                     5039 HUNTINGTON DR
PITTSBURGH PA 15238                   GREENSBORO NC 27408                           CARMEL IN 46033




DENAUD, LAUDE                         DENBOW, MARGARET                              DENBOW, MARGARET
1954 MARSH HARBOUR DR NO.101          5435 VICARIS ST                               PETTY CASH CUSTODIAN
RIVIERA BEACH FL 33404                PHILADELPHIA PA 19128                         5001 WYNNEFIELD AVE
                                                                                    PHILADELPHIA PA 19131



DENCHFIELD,CRYSTAL                    DENEAN BETTS                                  DENEEN BUSBY
1358 NE 178 ST                        1233 W. 110TH PLACE                           15 RADFORD DRIVE
N MIAMI BEACH FL 33162                CHICAGO IL 60643                              FLORISSANT MO 63031




DENET, MICHEL                         DENEUS, DANISE                                DENEUS, FENICK
5884 TRIPHAMMER RD                    2141 CATHERINE DRIVE NO. 02                   220 MENTON RD
LAKE WORTH FL 33463                   DELRAY BEACH FL 33445                         BOYNTON BEACH FL 33435




DENEUS, JOCELYN                       DENEUS, PIERRE ALAIN                          DENEUS, ROBERT
307 STERLING AVE                      116 NORTH F STREET NO.5                       5973 LINCOLN CIRCLE WEST
DELRAY BEACH FL 33444                 LAKE WORTH FL 33460                           LANTANA FL 33463




DENG, CONSTANCE                       DENICE, WILLIAM F                             DENICIA HOWARD
7035 NW 66 TERRACE                    23 OVERLEA COURT                              2802 NW 60TH TERRACE
PARKLAND FL 33067                     BAY SHORE NY 11706                            #360
                                                                                    SUNRISE FL 33313



DENICOLA, DEBORAH                     DENIS ANDERER                                 DENIS GRIFFIN
801 S FEDERAL HIGHWAY NO 117          910 ORIOLE DRIVE                              2236 IRIS STREET
POMPANO BEACH FL 33062                SOUTHOLD NY 11971                             PORTAGE IN 46368




DENIS THIEN                           DENIS, JACKSON                                DENIS, SAMUEL
1772 STONEY TERR                      5961 N FALLS CIRCLE DR NO.312                 10 SW 7TH ST
ST. LOUIS MO 63021                    LAUDERHILL FL 33319                           DELRAY BEACH FL 33444




DENISA PROTANI                        DENISE ALBINA                                 DENISE BATES ENOS INC
12 SOUTH CHERRY GROVE AVENUE          217 S. LEAVITT STREET                         PO BOX 2564
ANNAPOLIS MD 21401                    APT # 1S                                      WRITER & EDITOR
                                      CHICAGO IL 60612                              WINDERMERE FL 34786




                                             Page 572 of 2387
                         Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 573 of 800
DENISE BENDER                         DENISE BENNETT                                DENISE BOCCIO
7832 CHAMPLAIN                        1723 PERCH STREET                             498 MICHIGAN STREET
CHICAGO IL 60619                      SAN PEDRO CA 90732                            RONKONKOMA NY 11779




DENISE BONILLA                        DENISE BRANDLE                                DENISE BROWN
323 TERRACE ROAD                      1451 S JEFFERSON STREET                       1905 SOUTH WASHINGTON
APT. #323                             ALLENTOWN PA 18103                            PARK RIDGE IL 60068
BAYPORT NY 11705



DENISE BRUNO                          DENISE BURDETTE                               DENISE CARLINO
100 BRANDYWINE LANE                   25282 VIA TANARA                              638 IRENE STREET
SUFFIELD CT 06078                     VALENCIA CA 91355                             SOUTH HEMPSTEAD NY 11550




DENISE CARLISLE                       DENISE CARR                                   DENISE DICIANNI
6333 DARING PRINCE WAY                100 THIRD STREET                              527 GEORGE STREET
COLUMBIA MD 21044                     SUFFIELD CT 06078                             WOOD DALE IL 60191




DENISE DINUNZIO                       DENISE DURHAM                                 DENISE EBERHARD
27 BROOKSIDE AVENUE                   332 SOUTH ALBEMARLE STREET                    895 SOUTH 6TH STREET
HERSHEY PA 17033                      YORK PA 17403                                 LINDENHURST NY 11757




DENISE FISCHER                        DENISE FLAIM                                  DENISE FULHAM
12438 NW 50 PL                        81 LAFAYETTE AVE                              PO BOX 826
CORAL SPRINGS FL 33076                SEA CLIFF NY 11579                            WAINSCOTT NY 11975




DENISE GELLENE                        DENISE GERSHENSON                             DENISE HUMISTON
402A CALIFORNIA AVENUE                145 ECKER AVE                                 3094 COUNTY ROUTE 46
ARCADIA CA 91006                      WEST BABYLON NY 11704                         FORT EDWARD NY 12828




DENISE JEITLES                        DENISE JOHNSON                                DENISE JOYCE
101 N MIDLAND AVE                     6815 N. SHERIDAN RD                           26 W 57TH STREET
NORRISTOWN PA 19403                   #508                                          HINSDALE IL 60521
                                      CHICAGO IL 60626



DENISE KOLM                           DENISE KWITYN                                 DENISE LAROCQUE
1550 RORY LANE #147                   602 ROGERS                                    6820 NW 14 PL
SIMI VALLEY CA 93063                  DOWNERS GROVE IL 60515                        MARGATE FL 33063




DENISE LARSON                         DENISE LEWIS                                  DENISE LOPEZ
4818 N. KEDVALE                       2043 QUAIL HOLLOW DRIVE                       1156 PANORAMA DRIVE
CHICAGO IL 60630-2816                 DELAND FL 32720                               ARCADIA CA 91007




                                             Page 573 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 574 of 800
DENISE LUCKERT                         DENISE LUGO                                   DENISE MARKS
130 LYON PLACE                         15509 WAVERLY                                 1691 EAST 174TH STREET
LYNBROOK NY 11563                      OAK FOREST IL 60452                           APT. #9F
                                                                                     BRONX NY 10472



DENISE MIMS                            DENISE MIYASHIRO-RAMIREZ                      DENISE MURRAY
925 W. HURON ST.                       4532 STANTON DRIVE                            807 CHESTNUT BROOK COURT
APT. #508                              LOS ANGELES CA 90065                          BALTIMORE MD 21226
CHICAGO IL 60622



DENISE MURRAY                          DENISE PRAUGHT-KALE                           DENISE PULIDO
1010 ST. PAUL STREET                   1916B WILMETTE AVENU                          254OAKWOOD CT.
#3C                                    WILMETTE IL 60091                             WHEATON IL 60187
BALTIMORE MD 21202



DENISE REID                            DENISE REPPERT                                DENISE ROSARIO
2021 SW 70TH AVENUE                    2328 WASHINGTON AVENUE                        1408 CHEW STREET
APT B13                                NORTHAMPTON PA 18067                          ALLENTOWN PA 18102
DAVIE FL 33317



DENISE RUSS                            DENISE SALERNO                                DENISE SANDERS
7824 ACORN BANK                        634 HONEYBROOK CIRCLE                         1004 OLD JOPPA ROAD
PASADENA MD 21122                      STEWARTSVILLE NJ 08886                        JOPPA MD 21085




DENISE SAWCHUK                         DENISE SCOLLO                                 DENISE SELLERS
26 TEANECK DR                          29 OAKWOOD AVENUE                             1580 SPRING CREEK CIRCLE
EAST NORTHPORT NY 11731                BAYPORT NY 11705                              MACUNGIE PA 18062




DENISE SERRANO                         DENISE SHANNON LITERARY AGENCY INC            DENISE SOUSA
10 ERNEST CT                           20 WEST 22ND ST SUITE 1603                    7710 SWEETWOOD DRIVE
KINGS PARK NY 11754                    NEW YORK NY 10010                             MACUNGIE PA 18062




DENISE SPAHN                           DENISE TERRY                                  DENISE TURNER
3381 KIMBERLY DRIVE                    2814 BRIGHTON STREET                          2851 S. KING DR.
DUBUQUE IA 52002                       BALTIMORE MD 21216                            APT. #512
                                                                                     CHICAGO IL 60616



DENISE WALKER-CLARK                    DENISE WEBER                                  DENISE WEINHOUSE
8626 S. PRAIRIE                        1710 DELL STREET                              360 INDIGO AVE
CHICAGO IL 60619                       ALLENTOWN PA 18103                            WELLINGTON FL 33414




DENISE WILLIAMS-BALONA                 DENISE YOUNG                                  DENISE ZEMANICK
1383 HAYWARD AVENUE                    3228 TIOGA PARKWAY                            342 SOUTH OAK STREET
DELTONA FL 32738                       BALTIMORE MD 21215                            FREEMANSBURG PA 18017




                                              Page 574 of 2387
                           Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 575 of 800
DENISH SHAH                             DENISSE DIAZ                                  DENISSE HERNANDEZ
925 BEAU DRIVE                          423 NORTH STREET                              5850 VIA CORONA
DES PLAINES IL 60016                    ALLENTOWN PA 18102                            LOS ANGELES CA 90022




DENITA LEWIS                            DENMAN, ELLIOTT H                             DENMARKO MCLEOD
13613 SOUTH EGGLESTON                   28 N LOCUST AVE                               777 COUNTY LINE ROAD
RIVERDALE IL 60827                      WEST LONG BRANCH NJ 07764                     APT 11A
                                                                                      AMITYVILLE NY 11701



DENNEBAUM, JONI RENEE                   DENNETT BOYD                                  DENNING, MICHAEL
2400 SW 34TH AVE                        410 N FEDERAL HWY                             241 MULBERRY RD
FORT LAUDERDALE FL 33312                #619                                          MANSFIELD CT 06250
                                        DEERFIELD BEACH FL 33441



DENNIS ALBI                             DENNIS ATHERTON                               DENNIS AVETA
1533 WARWICK                            727 W. 48TH PLACE                             153 SEMINOLE ST
THOUSAND OAKS CA 91360                  1ST FLOOR                                     RONKONKOMA NY 11779
                                        CHICAGO IL 60609



DENNIS BAER                             DENNIS BOCCIO                                 DENNIS BRONG
1242 WASHINGTON STREET                  16 POSEIDON RD                                3282 REEVE DRIVE EAST
APARTMENT 6                             ROCKY POINT NY 11778                          BETHLEHEM PA 18020
WHITEHALL PA 18052



DENNIS CHAPOVAL                         DENNIS CHIU                                   DENNIS CHRISTINE
3632 CHATEAU RIDGE DRIVE                19659 CRYSTAL LANE                            7485 CHERRYHILL DRIVE
ELLICOTT CITY MD 21042                  NORTHRIDGE CA 91326                           INDIANAPOLIS IN 46254




DENNIS CLONEY                           DENNIS CONNORS                                DENNIS CROWLEY
51 ROSEMONT AVE                         18 WALNUT AVENUE EAST                         5526 ROCK CREEK ROAD
FARMINGVILLE NY 11738                   FARMINGDALE NY 11735                          RANCHO CUCAMONGA CA 91739




DENNIS DE HAAS                          DENNIS DIBATTO                                DENNIS DUPREY
4549 ALBURY AVENUE                      19 WILSON LA                                  29 TERRACE ROAD
LAKEWOOD CA 90713                       BETHPAGE NY 11714                             WEST HARTFORD CT 06107




DENNIS ELDER                            DENNIS ELLIS                                  DENNIS FEINAUER
6 THIRD STREET                          10340 MCBROOM STREET                          8805 NIGHTINGALE AVENUE
SAYVILLE NY 11782                       SUNLAND CA 91040                              FOUNTAIN VALLEY CA 92708




DENNIS FITZSIMONS                       DENNIS FRANTZ                                 DENNIS FRAZIER
72 WOODLEY ROAD                         1353 IVY LANE                                 190 COPLEY PLACE
WINNETKA IL 60093                       APT #104                                      NEWPORT NEWS VA 23602
                                        NAPERVILLE IL 60563




                                               Page 575 of 2387
                         Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 576 of 800
DENNIS G QUAM                         DENNIS GARAN                                  DENNIS GATES
1743 CLEAR SPRINGS DR                 257 BEACON HILL ROAD                          18600 SOUTH GOLFVIEW AVENUE
FULLERTON CA 92831                    TRUMBULL CT 06611                             HOMEWOOD IL 60430




DENNIS GREENE                         DENNIS HANSEN                                 DENNIS HENDRICKS
14 BRIXTON RD                         38 FISK ROAD                                  3715 FOX CHASE DR
OLD BETHPAGE NY 11804                 HOLTSVILLE NY 11742                           DOVER PA 17315




DENNIS HERTZ                          DENNIS HOCKMAN                                DENNIS J ARTUSO
2085 WESTGATE DRIVE                   511 STAMFORD ROAD                             7590 LIVE OAK DR
APT # 907                             BALTIMORE MD 21229                            CORAL SPRINGS FL 33065
BETHLEHEM PA 18017



DENNIS JACKSON                        DENNIS KEOPPEN                                DENNIS LINDSEY
2000 OSTAWOOD AVE                     11 PONDVIEW DRIVE                             3131 ELMORA AVE
ORLANDO FL 32818                      APT. 20                                       BALTIMORE MD 21213
                                      EAST PATCHOGUE NY 11772



DENNIS MARINOSCI                      DENNIS MC LELLAN                              DENNIS MCKENNA
821 WASHINGTON ST.                    24821 VIA SAN FERNANDO                        10 GRAND AVENUE
2 SOUTH                               MISSION VIEJO CA 92692                        4TH FLOOR
EVANSTON IL 60202                                                                   BROOKLYN NY 11205



DENNIS MCLAUGHLIN                     DENNIS MULLER                                 DENNIS O'BRIEN
1104 ELM RIDGE AVE                    30 EAST HURON                                 3404 ORANGE GROVE COURT
BALTIMORE MD 21229                    #2704                                         ELLICOTT CITY MD 21043
                                      CHICAGO IL 60611



DENNIS O'BRIEN                        DENNIS O'BRIEN                                DENNIS O'ROURKE
PO BOX 241                            12891 EAST VASSAR DRIVE                       260 JAMAICA AVE
CENTER MORICHES NY 11934              AURORA CO 80014                               MEDFORD NY 11763




DENNIS OLIVER                         DENNIS PAGAN                                  DENNIS PAMPENO
200 CHARLES DRIVE                     2111 S 51ST AVENUE                            1816 CORAL RIDGE DR
WINDSOR PA 17366                      CICERO IL 60804                               FORT LAUDERDALE FL 33305




DENNIS RANKIN                         DENNIS RICHARDSON                             DENNIS RIOS
2441 WOODCROFT ROAD                   612 NW 89TH AVENUE                            7934 WYNGATE STREET
BALTIMORE MD 21234                    PLANTATION FL 33324                           SUNLAND CA 91040




DENNIS RODKIN INC                     DENNIS SAMMY                                  DENNIS SHANAHAN
1464 LINCOLN PL                       229 SOUTH SMITH STREET                        545 WOODSIDE OAKS #7
HIGHLAND PARK IL 60035                LINDENHURST NY 11757                          SACRAMENTO CA 95825




                                             Page 576 of 2387
                           Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 577 of 800
DENNIS SHANNON                          DENNIS SHIRLEY                                DENNIS SMITH
21541 CALLE OTONO                       2440 STANLEY                                  3598 SPRUCE DRIVE
LAKE FOREST CA 92630                    TUSTIN CA 92782                               NORTHAMPTON PA 18067




DENNIS SNYDER                           DENNIS SPELLMAN                               DENNIS SULKOWSKI
3021 EAST VISTA                         13131 FALLSVIEW LN                            6030 N. SHERIDAN ROAD
LONG BEACH CA 90803                     HOUSTON TX 77077                              APT. #1009
                                                                                      CHICAGO IL 60660



DENNIS SWEENY                           DENNIS TENNANT                                DENNIS TIDRICK
78 WINCHESTER DRIVE                     3105 MONETA DR                                19 ADAMS DRIVE
LINDENHURST NY 11757                    CHESAPEAKE VA 23321                           HUNTINGTON CT 06484




DENNIS WAGNER                           DENNIS WALL                                   DENNIS WEBB
6727 ELMHURST AVENUE                    4066 GALLAGHER LP                             336 HOXIE AVENUE
ALTA LOMA CA 91701                      CASSELBERRY FL 32707                          CALUMET IL 60409




DENNIS WILES                            DENNIS WILKERSON                              DENNIS WILLIAMS
6530 S. GREEN                           1612 E. SANDPIPER TR.                         791 JENNIE DRIVE
APT. #2                                 CASSELBERRY FL 32707                          SEVERN MD 21144
CHICAGO IL 60621



DENNIS YONAN                            DENNIS, BRIAN                                 DENNIS, CAROL
369 MAPLE HILL AVENUE                   PO BOX 1601                                   PO BOX 924
NEWINGTON CT 06111                      BRIDGEPORT CT 06601                           WILLIMANTIC CT 06226




DENNIS, SHEILA                          DENNIS, VIVIAN J                              DENNISFORD JOHNSON
1513 NW 15 COURT                        B6 ST. MARC CIRCLE                            15 KENNEDY DRIVE
FORT LAUDERDALE FL 33311                SOUTH WINDSOR CT 06074                        BRIDGEPORT CT 06606




DENNISOFT INC                           DENNISOFT INC                                 DENNISON BARRY
105 OAKHURST AVE                        C/O DENNIS GLOWACK                            422 E. SIERRA MADRE BLVD
BALTIMORE MD 21221                      105 OAKHURST AVE                              SIERRA MADRE CA 91024
                                        BALTIMORE MD 21221



DENNISON, KIRK DOUGLAS                  DENOISH EVANS                                 DENOY, MARVIN
3131 TUCKER ROAD                        725 RANDOLPH                                  109 SW 7TH STREET
STREET MD 21154                         GARY IN 46403                                 DELRAY BEACH FL 33444




DENSLOW, JOHN                           DENSON, VERONICA DENISE                       DENT, PHOEBE
7 ANDREWS ST LOT 19                     3465 NW 23RD COURT                            831 WYOMING AVE
BRISTOL CT 06010                        LAUDERDALE LAKES FL 33311                     FT LAUDERDALE FL 33312




                                               Page 577 of 2387
                       Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 578 of 800
DENTE, KAREN                         DENTLEY, DAMIEN J                            DENUNZIO SR, NICHOLAS
548 FOURTH ST                        6620 BUCKHURST TRL                           20 WOODLAND DR
BROOKLYN NY 11215                    COLLEGE PARK GA 30349                        STAFFORD SPRINGS CT 06076




DENVER NEWSPAPER AGENCY LLC          DENVER NEWSPAPER AGENCY LLC                  DENVER NEWSPAPER AGENCY LLC
101 W COLFAX AVE                     1560 BROADWAY 3RD FLR                        ATN SINGLE COPY
DENVER CO 80202                      DENVER CO 80202                              400 W COLFAX AVE
                                                                                  DENVER CO 80204



DENVER NEWSPAPER AGENCY LLC          DENVER WATER                                 DENVER WATER DEPARTMENT
PO BOX 17930                         ACCT NO. 10341953-01-1                       1600 W 12TH AV
DENVER CO 80217-0930                 P.O. BOX 173343                              DENVER CO 80254-0001
                                     DENVER CO 80217-3343



DENVER WATER DEPARTMENT              DEOSARAN, FAREEDA                            DEP/BCS
PO BOX 173343                        11650 SW 2ND ST NO.307                       DEP/BCS CUSTOMER SERVICE, PO BOX 739055
DENVER CO 80217-3343                 PEMBROKE PINES FL 33025                      ELMHURST NY 11373-9055




DEPALMA, VICTOR                      DEPARIS, CHRISTINA                           DEPARTMENT OF ASSESSMENTS AND
332 FAIRVIEW AVE                     5385 ROCKING HORSE PL                        TAXATION
ARCADIA CA 91007                     OVIEDO FL 32765                              STATE OF MARLYAND - PER PROP
                                                                                  301 WEST PRESTON ST - RM 801
                                                                                  BALTIMORE MD 21201-2395


DEPARTMENT OF FINANCIAL SERVICES     DEPARTMENT OF HOMELAND SECURITY              DEPARTMENT OF HOMELAND SECURITY
200 EAST GAINES STREET               302 W. WASHINGTON ST.                        C/O ZULKIE PARTNERS LLC
TALLAHASSEE FL 32399-0300            ROOM 243/FISCAL DEPT.                        222 S RIVERSIDE PLAZA STE 2300
                                     INDIANAPOLIS IN 46204                        CHICAGO IL 60606-6101



DEPARTMENT OF HOMELAND SECURITY      DEPARTMENT OF HOMELAND SECURITY              DEPARTMENT OF LABOR
SERVICE                              SVC                                          FRANCES PERKINS BUILDING
222 S RIVERSIDE PLAZA STE 2300       222 S RIVERSIDE PLZ NO. 2300                 200 CONSTITUTION AVE NW
CHICAGO IL 60606-6101                C/O ZULKIE PARTNERS LLC                      WASHINGTON DC 20210
                                     CHICAGO IL 60606-6101


DEPARTMENT OF LABOR AND INDUSTRIES   DEPARTMENT OF LABOR AND INDUSTRIES           DEPARTMENT OF LABOR AND INDUSTRIES
BUREAU OF OCCUPATIONAL &             INDUSTRIES                                   INDUSTRIES
INDUSTRIAL SAFETY                    PO BOX 34026                                 PO BOX 34022
PO BOX 68572                         SEATTLE WA 98124-1026                        SEATTLE WA 98124-1022
HARRISBURG PA 17106-8572


DEPARTMENT OF LABOR AND INDUSTRIES   DEPARTMENT OF LABOR AND INDUSTRIES           DEPARTMENT OF LABOR AND INDUSTRIES
INDUSTRIES RIGHT TO KNOW PROGRM      PO BOX 34222                                 PO BOX 34974
PO BOX 44699                         SEATTLE WA 98124-1022                        SEATTLE WA 98124-1974
OLYMPIA WA 98504-4699



DEPARTMENT OF LABOR AND INDUSTRIES   DEPARTMENT OF MOTOR VEHICLES                 DEPARTMENT OF MOTOR VEHICLES
PO BOX 44835                         2570 24TH ST                                 3615 S HOPE ST
OLYMPIA WA 98504-4835                MAIL STATION H221                            LOS ANGELES CA 90007
                                     SACRAMENTO CA 95818




                                           Page 578 of 2387
                        Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 579 of 800
DEPARTMENT OF MOTOR VEHICLES         DEPARTMENT OF MOTOR VEHICLES                  DEPARTMENT OF MOTOR VEHICLES
MOTOR CARRIER PERMIT BRANCH          P O BOX 825339                                P O BOX 942894
PO BOX 932370                        SACRAMENTO CA 94232-5339                      SACRAMENTO CA 94294-0894
SACRAMENTO CA 94232



DEPARTMENT OF MOTOR VEHICLES         DEPARTMENT OF STATE                           DEPARTMENT OF STATE
PO BOX 944231                        OFFICE OF DEF TRADE CONTROLS                  DIVISION OF CORPORATIONS
SACRAMENTO CA 94244                  2401 E STREET N.W.                            41 STATE STREET
                                     WASHINGTON DC 20037                           ALBANY NY 12231-0002



DEPARTMENT OF STATE                  DEPARTMENT OF STATE                           DEPARTMENT OF STATE
CITY OF LOS ANGELES                  OFC OF HEALTH INFORMATION & RESE              ATTN BUDGET OFFICER S/EX-EX
BUREAU OF SANITATION IND WASTE       VITAL STATISTICS SECTION                      2201 C STREET NW
4590 COLORADO BLVD                   ATN: JAN CHRISTENSEN 304 SST 3RD              ROOM 7511 HST BLDG
LOS ANGELES CA 90039                 SACRAMENTO CA 95814                           WASHINGTON DC 20520


DEPARTMENT OF STATE                  DEPARTMENT OF STATE                           DEPARTMENT OF STATE
ATTN BUDGET OFFICER                  BUDGET OFFICER                                BUDGET OFFICER
2201 C STREET NW HST BLDG            S/ES-EX ROOM 7515                             S/S EX ROOM 7517
S ES EX ROOM 7507                    WASHINGTON DC 20520                           WASHINGTON DC 20520
WASHINGTON DC 20520


DEPARTMENT OF STATE                  DEPARTMENT OF STATE                           DEPARTMENT OF STATE
OFFICE OF UNEMPLOYMENT COMPL         409 E GAINES STREET                           DIVISION OF CORPORATIONS
PO BOX 96664                         DIVISION OF CORPORATIONS                      PO BOX 1300
WASHINGTON DC 20090-6664             AMENDMENT SECTION                             TALLAHASSEE FL 32302
                                     TALLASHSSEE FL 32399


DEPARTMENT OF STATE                  DEPARTMENT OF STATE                           DEPARTMENT OF STATE
DIVISION OF CORPORATIONS             PO BOX 6687                                   OFC OF FINANCE & ADMIN SVCS
PO BOX 6327                          TALLAHASSEE FL 32314-6687                     90 STATE CIRC RM 300
TALLAHASSEE FL 32314                                                               ANNAPOLIS MD 21401



DEPARTMENT OF STATE                  DEPARTMENT OF STATE                           DEPARTMENT OF TOXIC SUBSTANCES
NYS DIVISION OF CORPORATIONS         LORRAINE CORTEZ-VAZQUEZ, SECRETARY OF         MANIFEST ENFORCEMENT UNIT
41 STATE ST                          ONE COMMERCE PLAZA                            400 P STREET
ALBANY NY 12231-0002                 99 WASHINGTON AVENUE                          4TH FLOOR
                                     ALBANY NY 12231-001                           SACRAMENTO CA 95812-0806


DEPARTMENT OF TOXIC SUBSTANCES       DEPAUL UNIVERSITY                             DEPAUL UNIVERSITY CPE
PO BOX 806                           1011 W. BELDEN AVENUE                         1 E JACKSON BLVD
SACRAMENTO CA 95812-0806             CHICAGO IL 60614                              SUITE 9500
                                                                                   CHICAGO IL 60604-2287



DEPAUL UNIVERSITY CPE                DEPAUL UNIVERSITY CPE                         DEPAUL UNIVERSITY CPE
1 E JACKSON BLVD STE 11027           1 E JACKSON BLVD NO. 9900                     2250 N SHEFFIELD AVE STE 201
STUDENT UNION                        CHICAGO IL 60604-2287                         OFFICE OF STUDENT LIFE
CHICAGO IL 60604                                                                   CHICAGO IL 60614



DEPAUL UNIVERSITY CPE                DEPAUL UNIVERSITY CPE                         DEPAUL UNIVERSITY CPE
2323 N SHEFFIELD                     25 E JACKSON BLVD                             INSTITUTE OF INTERACTIVE AND
CHICAGO IL 60614                     CHICAGO IL 60604-2287                         DIRECT MARKETING
                                                                                   1 EAST JACKSON BLVD SUITE 7400
                                                                                   CHICAGO IL 60604




                                            Page 579 of 2387
                         Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 580 of 800
DEPAUL UNIVERSITY CPE                 DEPAUL UNIVERSITY CPE                         DEPEIZA, ROSWELL
OFFICE OF CONTINUING &                PAYMENT CENTER                                7422 NW 76TH CT
PROFESSIONAL EDUCATION                LOCK BOX 71770                                TAMARAC FL 33321
25 E JACKSON STE 1601                 CHICAGO IL 60694-1770
CHICAGO IL 60604-2287


DEPENDABLE MEDIA INC                  DEPHOLIO BURNS                                DEPKO, JOHN V
71 MURRAY AVENUE                      4153 W. KAMERLING                             259 E BAY ST
PORT WASHINGTON NY 11050              CHICAGO IL 60651                              COSTA MESA CA 92627




DEPOT EXPRESS                         DEPREY, CHRISTOPHER                           DEPT OF CENTRAL MANAGEMENT SERVICES
316 CRESCENT PL                       1212 BIGELOW COMMONS                          JAMES R THOMPSON CENTER
GENEVA IL 60134                       ENFIELD CT 06082                              100 W RANDOLPH ST SUITE 4-500
                                                                                    CHICAGO IL 60601-3274



DEPT. OF ARMY & A.F.                  DEPT. OF ARMY & A.F.                          DERBY, SUSAN
ABERDEEN PROVING GROUND               BUILDING 2401                                 617 CRESTMORE PL NO.F
EXCHANGE BLDG. 2458                   CHESAPEAKE AVE                                VENICE CA 90291
APG MD 21005                          APG MD 21005



DERBY,TIFFANY                         DEREK AUPPERLEE                               DEREK BOLDEN
18244 NW 41ST PLACE                   4705 DRUMMOND BLVD SE                         9425 OLIVE BLVD
MIAMI FL 33055                        303                                           APT #B
                                      KENTWOOD MI 49508                             ST. LOUIS MO 63132



DEREK DANILKO                         DEREK FELTON                                  DEREK GREEN
4204 GARNET DRIVE                     172 CABELL DRIVE                              9 BANCROFT LANE
MIDDLETOWN MD 21769                   NEWPORT NEWS VA 23602                         SOUTH WINDSOR CT 06074




DEREK HELVEY                          DEREK KOEHLER                                 DEREK MARTIN
838 N. GREENVIEW AVE.                 146 COLDSTREAM COURT                          2534 N. LINCOLN AVE.
CHICAGO IL 60622                      EMMAUS PA 18049                               UNIT 309
                                                                                    CHICAGO IL 60614



DEREK OKADA                           DEREK PARKER                                  DEREK SEASHORE
5108 ELKMONT DRIVE                    715 HARVEY STREET                             5227 LEARY AVE NW
RANCHO PALOS VERDES CA 90275          BALTIMORE MD 21230                            APT#401
                                                                                    SEATTLE WA 98107



DEREK SIMMONS                         DEREK SIMMONSEN                               DERELL COWAN
14412 KINGSBURY STREET                105 S. WASHINGTON STREET APT. 2               26519 MISTLETOE CT
MISSION HILLS CA 91345                BALTIMORE MD 21231                            VALENCIA CA 91355




DEREZENDES, ROBERT                    DERIMAIS, LIONEL                              DERIVAL, NICOLAS
221 FRANCE ST                         DONG CHENG DISTRICT                           1183 NE 110 TERRACE
ROCKY HILL CT 06067                   JIAODAOKOU DONG DAJIE 6-1-704                 MIAMI FL 33161
                                      BEIJING 10007




                                             Page 580 of 2387
                           Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 581 of 800
DERK, GWENDOLYN ROSE                    DERK, MARGARET J                              DERNIER, BOB
1636 NORTH CHILCO CT                    1636 NORTH CHILCO CT                          1242 SW ARBORMILL TERRACE
THOUSAND OAKS CA 91360                  THOUSAND OAKS CA 91360                        LEES SUMMIT MO 64082




DEROCHE,GERARD                          DEROSA, MARK                                  DEROZIN, RONICK
3628 MOON VINE COURT                    1243 GRANDVIEW DR                             5719 BLUEBERRY CT
WEST PALM BEACH FL 33406                MABLETON GA 30126                             LAUDERHILL FL 33313




DERRELL GILCHRIST                       DERRELL HOOKS                                 DERRICK BARKER
1103 ROWAN CT                           701 EAST 46TH STREET                          1804 GLEN RIDGE ROAD
BALTIMORE MD 21234                      APT #8                                        BALTIMORE MD 21234
                                        LONG BEACH CA 90807



DERRICK BRANDON                         DERRICK COOK                                  DERRICK DRAKE
8320 FOUNDERS WOODS WAY                 640 W. 4TH ST.                                1441-45 SAINT JOHNS PLACE
FT. WASHINGTON MD 20744                 APT#204                                       2H
                                        LONG BEACH CA 90802                           BROOKLYN NY 11213



DERRICK GREEN                           DERRICK HARRELL                               DERRICK HAZELY
1364 KENTON RD                          3804 ROANOKE AVENUE                           8904 GENTLE WIND DRIVE
BALTIMORE MD 21234                      APT. # B                                      CORONA CA 92883
                                        NEWPORT NEWS VA 23607



DERRICK HOLMAN                          DERRICK PASILLAS                              DERRICK REINKE
126 N. ARBOR TRAILS                     10422 REICHLING LANE                          17431 DAYS POINT ROAD
PARK FOREST IL 60466                    WHITTIER CA 90606                             SMITHFIELD VA 23430




DERRICK SCOTT                           DERRICK SHARP                                 DERRICK THOMAS
7915 SOUTH EVANS                        16758 CRANE STREET                            11215 BELLFLOWER LANE
CHICAGO IL 60619                        HAZEL CREST IL 60429                          HUNTLEY IL 60142




DERRICK TYLER                           DERRICK WILKERSON                             DERRITT, JEREMY
536 INGRAHAM AVE.                       4063 PITTMAN PLACE                            745 NW 14TH TER UNIT 1
APT 1                                   INDIANAPOLIS IN 46254                         FORT LAUDERDALE FL 33311
CALUMET CITY IL 60409



DERTHICK, MARTHA                        DERVIL, MAUDELINE                             DERWYNN DOMINGUEZ
1618 MEADOWBROOK HEIGHTS RD             201 MENTONE RD                                9405 8TH AVENUE NE
CHARLOTTESVILLE VA 22901                LANTANA FL 33462                              SEATTLE WA 98115




DERY, MARK                              DERYL ANDREWS                                 DES ENTERPRISES
82 ELYSIAN AVE                          1406 ELYSIAN FIELDS AVE.                      15323 E 12TH AVE
NYACK NY 10960                          APT. #D                                       VERADALE WA 99037
                                        NEW ORLEANS LA 70117




                                               Page 581 of 2387
                            Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 582 of 800
DESCALSO, MICHAEL                        DESCH, MICHAEL C                              DESCHAMBAULT, ALAN
1476 14TH ST                             5109 WHISTLING STRAITS DR                     216 SE 6TH ST
W BABYLON NY 11704                       COLLEGE STATION TX 77845                      DANIA BEACH FL 33004




DESCHAMPS, JESSICA                       DESCHLER, KEVIN                               DESELL, RONALD
90 COLUMBIA RD.                          9 S HELLERTOWN AVE                            900 FARMINGTON AVE
ENFIELD CT 06082                         QUAKERTOWN PA 18951                           NEW BRITAIN CT 06053




DESERT DISPATCH                          DESERT INDUSTRIAL FENCE                       DESERT INDUSTRIAL FENCE
PO BOX 1389                              1161 EAST AVE P-8                             PMB D-50
VICTORVILLE CA 92393-1389                PALMDALE CA 93550                             2315 G EAST PALMDALE BLVD
                                                                                       PALMDALE CA 93550



DESERT WATER AGENCY                      DESFILE DE LA HISPANIDAD, INC.                DESHOMMES, JONER
PO BOX 1710                              174-176 FIFTH AVENUE                          900 SW 30TH AVE
PALM SPRINGS CA 92263-1710               SUITE 604                                     FT. LAUDERDALE FL 33312
                                         NEW YORK NY 10010



DESHOMMES, TOUSSAINT                     DESHONG, JEFFREY TODD                         DESIDERIO HERNANDEZ
399 SW 13TH PLACE #615                   2007 N DIXIE HWY                              1408 BRICKELL BAY DR
DEERFIELD BEACH FL 33441                 WILTON MANORS FL 33305                        1203
                                                                                       MIAMI FL 33131



DESIGN AND PRINT                         DESIGN AND PRINT                              DESIGN DISTRIBUTORS INC
125 NW 13TH STREET NO.6                  PO BOX 880031                                 300 MARCUS BLVD
BOCA RATON FL 33432                      BOCA RATON FL 33429-1492                      DEER PARK NY 11729




DESIGN DISTRIBUTORS INC                  DESIGN DISTRIBUTORS INC                       DESIGN DISTRIBUTORS INC
ATTN JANET COLLICA                       ATTN: ADAM AMIRICK                            PO BOX 655
PO BOX 655                               300 MARCUS BLVD                               300 MARCUS BLVD
DEER PARK NY 11729                       DEER PARK NY 11729                            DEER PARK NY 11729



DESIGN QUORUM                            DESIGN QUORUM                                 DESIGNERS AND AGENTS
15500 ERWIN ST                           15500 ERWIN ST   STE 2451                     80 WEST 40TH ST   8TH FLR
VAN NUYS CA 91411                        VAN NUYS CA 91411                             NEW YORK NY 10018




DESIGNING DIGITAL PIXELS                 DESIGNSCAPES                                  DESIR, FRITZ
1810 N BRONSON AVE NO.306                22704 VENTURA BOULEVARD PMB453                950 SW 74TH AVE
HOLLYWOOD CA 90028                       WOODLAND HILLS CA 91364                       NORTH LAUDERDALE FL 33068




DESIR, RENALD                            DESIREE ABARE                                 DESIREE CHEN-MENICHINI
1711 STONEHAVEN DRIVE APT NO.4           145 1/2 MAIN STREET                           527 MITCHELL AVENUE
BOYNTON BEACH FL 33436                   A                                             ELMHURST IL 60126
                                         SOUTH GLENS FALLS NY 12803




                                                Page 582 of 2387
                           Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 583 of 800
DESIREE DAWSON                          DESJARDINS, SILAMENE                          DESJARDINS, WISLIN
1735 EAST 83RD STREET                   1591 BRESEE RD                                815 S D STREET
CHICAGO IL 60617                        WEST PALM BEACH FL 33415                      LAKE WORTH FL 33460




DESJARDINS, YVES                        DESLIENS, HAROLD                              DESLOOVERE, HESPER
126 SW 7TH AVE.                         5530 LAKE TERN PL                             163 NELSON ST   APT 1
BOYNTON BEACH FL 33435                  COCONUT CREEK FL 33073                        BROOKLYN NY 11231




DESMOND BLAIR-DALHOUSE                  DESMOND CONNER                                DESMOND PURNELL
150-16 127TH ST                         16 PUTTER PLACE                               4518 W. NORTHGATE DRIVE
JAMAICA NY 11420                        MIDDLETOWN CT 06457                           APT. # 340
                                                                                      IRVING TX 75062



DESMOND SILVEIRA                        DESORMIER, VICTORIA A                         DESOUSA, JOHN B
14716 FOXGLOVE DR                       400 W CRYSTAL DR                              155 GRAHAM STREET
CHINO HILLS CA 91709                    SANFORD FL 32773-4710                         STRATFORD CT 06615




DESOUZA, DONALD                         DESOUZA, JULIANO M                            DESOUZA, KRYSTAL A
7681 HAMPTON BLVD                       251 S CYPRESS ROAD APT143                     7151 SW 11 CT
N LAUDERDALE FL 33068                   POMPANO BEACH FL 33060                        N LAUDERDALE FL 33068




DESOUZA-RIDDICK, JEAN                   DESOWITZ, BILL                                DESPAIGNE, DIONISIO
1112H W TILGHMAN ST                     7100 BALBOA BLVD NO.809                       309 TEAKWOOD LN
ALLENTOWN PA 18103                      VAN NUYS CA 91406                             ALTAMONTE SPRINGS FL 32701




DESPAIGNE, TESHA                        DESPENZA, CRYSTAL                             DESPOSITO, JEANNE
309 TEAKWOOD LN                         438 RACHEL CIRCLE                             67 NORWOOD AVE
SUITE 2603                              ROMEOVILLE IL 60446                           MALVERNE NY 11565
ALTAMONTE SPRINGS FL 32701



DESPRAT, SARAH                          DESQUOTTE, ASTON                              DESSIN, JOSELMA
1447 W ROSCOE ST       APT 2            3540 NW 50TH AVE #N103                        222 SW 8TH AVENUE
CHICAGO IL 60657                        LAUDERDALE LAKES FL 33319                     BOYNTON BEACH FL 33435




DESSO FERRARA                           DESSOURCES, MARC                              DESSOURCES, MARC
11001 NW 45 ST                          3192 SADINIA TERRACE                          3192 SARDINIA TERRACE
CORAL SPRINGS FL 33065                  STE 2709                                      DELTONA FL 32738
                                        DELTONA FL 32738



DESSUIT, JARED                          DESTA MATEEN                                  DESTEFANO, LINDA
200 S NEWTON RD                         25819 CRAFT AVENUE                            PO BOX 172
VIRGINA BEACH VA 23462                  ROSEDALE NY 11422                             GILBERT PA 18331




                                               Page 583 of 2387
                         Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 584 of 800
DESTIN LOG                            DESTINATION MARKETING HAWAII INC              DESTINOBLE, ROSELINE
1225 AIRPORT RD                       3555 HARDING AVE    STE 2C                    1618 NE 4TH COURT
DESTIN FL 32541                       HONOLULU HI 96816                             BOYNTON BEACH FL 33435




DESTINOBLE, YLRICK                    DESTINY GDALMAN                               DESTINY MACIAS
1618 NE 4TH CT                        1503 SOUTH STATE STREET                       59 E, CHARLES DR.
BOYNTON BEACH FL 33435                APT. 507                                      NORTHLAKE IL 60164
                                      CHICAGO IL 60605



DESTY, NAOMI M                        DESULME, ROUSSEAU                             DETAILED SOLUTIONS INC
10730 AMBER STREET                    3311 AVE SERRANT                              1355 ACRES DR
BOCA RATON FL 33428                   DELRAY BEACH FL 33445                         APOPKA FL 32703




DETAILED SOLUTIONS INC                DETRA MASON                                   DETRIC JOHNSON
PO BOX 161644                         5 CLARK DRIVE                                 7031 S. CHAPPEL AVE
ALTAMONTE SPRINGS FL 32716            GREAT NECK NY 11020                           3B
                                                                                    CHICAGO IL 60649



DETRICK CHAPPELL                      DETROIT LIONS INC                             DETROIT LIONS INC
2368 HARBOR BLVD                      222 REPUBLIC DR                               311 E GRAND RIVER NO.100
APT 103                               ALLEN PARK MI 48101                           DETROIT MI 48226
COSTA MESA CA 92626



DETROIT LIONS INC                     DETROIT LIONS INC                             DETROIT NEWSPAPERS
ATTN TERRI KIMBLE                     DEPT 277201                                   615 W LAFAYETTE BLVD
222 REPUBLIC DR                       PO BOX 55000                                  ATTN CASHIER
ALLEN PARK MI 48101                   DETROIT MI 48255-2772                         DETROIT MI 48226



DETROIT NEWSPAPERS                    DETROIT NEWSPAPERS                            DETROIT NEWSPAPERS
ATTN GRACE BENNETT                    DRAWER 5821                                   PO BOX 77068
600 W. FORT ST.                       PO BOX 79001                                  DETROIT MI 48277-0068
DETROIT MI 48226                      DETROIT MI 48279-5821



DETROIT TIGERS INC                    DETROIT TIGERS INC                            DETROIT TIGERS INC
2100 WOODWARD AVE                     PO BOX 79001 LOCKBOX DRAWER 1483              TICKET DEPARTMENT
DETROIT MI 48201-3474                 DETROIT MI 48279-1483                         PO BOX 79001
                                                                                    LOCKBOX DRAWER 1483
                                                                                    DETROIT MI 48279-1483


DETSCH, JOANNE                        DETTER, RYAN                                  DETWEILER, ERIC
1206 CENTER ST                        1035 N CALVERT ST  APT 1B                     454 HILLSIDE DRIVE
BETHLEHEM PA 18018                    BALTIMORE MD 21202                            RED LION PA 17356




DETWILER, DAN                         DEUTSCH, ABIGAIL                              DEUTSCH, JOEL
2030 ROLLING MEADOW DR                130 E 94TH ST NO.9A                           EVIDENCE PRODUCTIONS
MACUNGIE PA 18062                     NEW YORK NY 10128                             1819 WINONA BLVD
                                                                                    HOLLYWOOD CA 90027




                                             Page 584 of 2387
                             Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 585 of 800
DEUTSCH, KARLA                            DEUTSCHE BANK AG                              DEUTSCHE BANK NATIONAL TRUST COMPANY
791 BRIARSTONE RD                         60 WALL STREET                                ATTN: DAVID CONTINO, VICE PRESIDENT
BETHLEHEM PA 18017                        NEW YORK NY 10005                             GLOBAL TRANSACTION BANK TRUST &SEC.
                                                                                        25 DEFOREST AVE, MAIL STOP: SUM01-0105
                                                                                        SUMMIT NJ 07901


DEV ROADS TECHNOLOGIES                    DEVALLE, MICHELLE                             DEVEGA, JORGE
12221 N 38TH STREET                       230 PRESIDENT ST NO.10                        2125 NE 11TH AVE
PHOENIX AZ 85032                          BROOKLYN NY 11231                             WILTON MANORS FL 33305




DEVERNA INC                               DEVIN COLLINS                                 DEVIN CONNER
143 HAMLETT DR                            556 W. 92ND ST                                1555 N MILWAUKEE AVENUE
MT SINAI NY 11766                         LOS ANGELES CA 90044                          APT. #34
                                                                                        CHICAGO IL 60622



DEVIN ESKEW                               DEVINE, JAMES                                 DEVINE, JAMES
799 CENTURY LANE                          444 W BEL AIR AVE                             PO BOX 1202
UNIT A                                    ABERDEEN MD 21001                             ABINGDON MD 21009
MONUMENT CO 80132



DEVINE, MAURICE                           DEVITO JR, JOSEPH R                           DEVIVO, JOHN
PO BOX 131                                5710 NW 74TH PLACE                            PO BOX 1058
NEW CASTLE IN 47362                       COCONUT CREEK FL 33073                        WILLIMANTIC CT 06226




DEVLIN, FRANK                             DEVLIN, ROBERT J                              DEVOA, STEPHANIE
56 STALLION CIRCLE                        225 MOUNTAIN LAUREL WAY                       32 DEXTER RD
UPPER HOLLAND PA 19053                    SUFFIELD CT 06078                             COVENTRY CT 06238




DEVOE SLISHER                             DEVON CADOGAN                                 DEVON LLEWELLYN
4421 CLAYBURN DRIVE                       1079 HENRY BALCH DR.                          5368 RUE DE VILLE
INDIANAPOLIS IN 46268-1768                ORLANDO FL 32810                              B
                                                                                        INDIANAPOLIS IN 46220



DEVON WILLIAMS                            DEVONA BROWN                                  DEVONNE BERRY
547 CHESTNUT STREET                       445 E. OHIO STREET                            4210 LOWELL DRIVE
BROOKLYN NY 11208                         APT. #1911                                    PIKESVILLE MD 21208
                                          CHICAGO IL 60611



DEVONPORT, ROSS                           DEVORAH, CARRIE                               DEVORE, DENISE
8105 LAGOS DE CAMPO BLVD                  PO BOX 53323                                  5103 BOULDER WAY
TAMARAC FL 33321                          WASHINGTON DC 20009                           WAPPINGERS FALLS NY 12590




DEVOSS, DAVID A                           DEVRIES, DAWN                                 DEVRY UNIVERSITY
4159 STANSBURY AVE                        200 BRENDAN RD                                18624 W CREEK RD
SHERMAN OAKS CA 91423                     EASTON PA 18045                               TINLEY PARK IL 60477




                                                 Page 585 of 2387
                            Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 586 of 800
DEVRY UNIVERSITY                         DEVRY UNIVERSITY                              DEVRY UNIVERSITY
3300 N CAMPBELL AVE                      ATTN CHERYL GILMORE                           ORGANIZATION
CHICAGO IL 60618                         3300 N CAMPBELL AV ROOM 206                   DEVRY INSTITUTE OF TECHNOLOGY
                                         CHICAGO IL 60618-5994                         3300 NORTH CAMPBELL AVE ROOM 200
                                                                                       CHICAGO IL 60618


DEWAN, JAMES                             DEWANGI TAILOR                                DEWART, STEPHEN MARKHAM
5056 N LAWNDALE                          9312 NANCY STREET                             454 PARK LN
CHICAGO IL 60625                         CYPRESS CA 90630                              LAKE BLUFF IL 60044




DEWBERRY JR, HENRY                       DEWEY FOX                                     DEWEY QUACH
110 BONAVENTURE BLVD NO. 310             505 CECIL AVENUE                              10091 GRAVIER STREET
WESTON FL 33326                          PERRYVILLE MD 21903                           ANAHEIM CA 92804




DEWEY, MARK                              DEWINTER,LOUIS                                DEWOLF, EIRENE
3001 N STATE RD 7 LOT A-4                216 TALL TIMBER DR                            11 BRAGAW ST
HOLLYWOOD FL 33021                       JAMESTOWN KY 42629                            NEW LONDON CT 06320




DEWOLFE MUSIC LIBRARY                    DEXTER HORTON                                 DEYANIRA CEBALLOS
25 W 45TH ST                             9957 CAMAY                                    4197 HOME AVE
STE 801                                  HOUSTON TX 77016                              SAN DIEGO CA 92105
NEW YORK NY 10036



DEYO E BLAKE                             DEYOUNG, BRUCE                                DEZARETTE MOSELEY
3116 HIGHLAND VIEW DR                    2424 DURAND AVENUE                            19401 W. SAN MARINO COURT
BURBANK CA 91504                         RACINE WI 53403                               SANTA CLARITA CA 91321




DEZONIE, COLIN                           DEZONIE, LARREN A                             DEZULME, MEZENA
4310 NW 113TH AVE                        4310 NW 113 AVE                               2657 NE 4TH CT
SUNRISE FL 33323                         SUNRISE FL 33323                              BOYNTON BEACH FL 33435




DFW ADSALES INC                          DGA PRODUCERS PENSION AND HEALTH              DGFASTCHANNEL INC
9218 LOMA VISTA DRIVE                    DIRS GUILD OF AMERICA                         1000 545 BURBANK AVENUE
DALLAS TX 75243                          PRODUCER PENSION & WELFARE PLAN               NO HOLLYWOOD CA 91601
                                         8436 W THIRD ST, # 900
                                         LOS ANGELES CA 90048


DGFASTCHANNEL INC                        DGFASTCHANNEL INC                             DGFASTCHANNEL INC
PO BOX 39000                             110 W HUBBARD ST                              219 E 44TH ST
DEPARTMENT 33061                         CHICAGO IL 60610                              NEW YORK NY 10017
SAN FRANCISCO CA 94139-3061



DGFASTCHANNEL INC                        DGFASTCHANNEL INC                             DGFASTCHANNEL INC
PO BOX 201027                            PO BOX 671242                                 PO BOX 890658
DALLAS TX 75320-1027                     DALLAS TX 75267-1242                          DALLAS TX 75389-0658




                                                Page 586 of 2387
                             Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 587 of 800
DGFASTCHANNEL INC                         DHAITI, RONALD                                DHL EXPRESS USA INC
PO BOX 951392                             602 S SWINTON AVE                             PO BOX 60000 FILE 30692
DALLAS TX 75395-1392                      DELRAY BEACH FL 33444                         SAN FRANCISCO CA 94160




DHL EXPRESS USA INC                       DHL EXPRESS USA INC                           DHL EXPRESS USA INC
PO BOX 60000 FILE NO 30688                PO BOX 277290                                 14091 COLLECTIONS CENTER DRIVE
SAN FRANCISCO CA 94160                    ATLANTA GA 30384                              CHICAGO IL 60693




DHL EXPRESS USA INC                       DHL EXPRESS USA INC                           DHL EXPRESS USA INC
14105 COLLECTIONS CTR DR                  PO BOX 14097                                  PO BOX 415099
CHICAGO IL 60693                          CHICAGO IL 60693                              BOSTON MA 02241-5099




DHL EXPRESS USA INC                       DHL EXPRESS USA INC                           DHL EXPRESS USA INC
PO BOX 504266                             DANZAS AIR AND OCEAN                          PO BOX 4723
ST LOUIS MO 63150-4266                    PO BOX 7247-6745                              HOUSTON TX 77210-4723
                                          PHILADELPHIA PA 19170-6745



DHL EXPRESS USA INC                       DHSMV                                         DI GREGORIO, VINCE
PO BOX 840006                             DEPT OF HIGHWAY SAFETY & MOTOR                1818 S ALDER ST
DALLAS TX 75284-0006                      MAIL STOP 44                                  PHILADELPHIA PA 19148
                                          2900 APALACHEE PKY
                                          TALLAHASSEE FL 32399


DI-MEL ASSOCIATES                         DIA HUNN                                      DIABLO INVESTMENT CO
MELVIN E WEIGHT                           2231 MICHAEL AVE                              RE: ANAHEIM 1369 SOUTH STATE
17061 NEWLAND STREET                      APT. 6                                        PO BOX 810
HUNTINGTON BEACH CA 92647                 WYOMING MI 49509                              DANVILLE CA 94526



DIABLO INVESTMENT CO                      DIABLO INVESTMENT CO                          DIABLO INVESTMENT CO
2251 ALVARADO ST                          402 RAILROAD AVE STE 202                      PO BOX 810
SAN LEANDRO CA 94577                      DANVILLE CA 94526                             DANVILLE CA 94526




DIABLO INVESTMENT CO.                     DIALCAR INC                                   DIALLO BROWN
RE: ANAHEIM 1369 SOUTH STATE              2104 AVENUE X                                 1051 N. LOCKWOOD
402 RAILROAD AVENUE                       BROOKLYN NY 11235                             CHICAGO IL 60651
SUITE 202
DANVILLE CA 94526


DIAMANTE, GIL                             DIAMANTES BANQUET CENTER                      DIAMOND EQUIPMENT RENTALS
901 D ROYAL ST                            6501 W. COMMERCIAL BLVD                       PO BOX 111653
ANNAPOLIS MD 21401                        TAMARAC FL 33319                              LOS ANGELES CA 90011-9998




DIAMOND EQUIPMENT RENTALS                 DIAMOND GIRL OF SOUTH FLORIDA INC.            DIAMOND OUTDOOR LLC
PO BOX 223                                2041 NW 84TH WAY                              5910 HAMILTON BLVE STE 240
LOS ALAMITOS CA 90720                     SUNRISE FL 33322                              ALLENTOWN PA 18106




                                                 Page 587 of 2387
                         Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 588 of 800
DIAMOND STATE NEWS                    DIAMOND, ARNOLD                               DIAMOND, BARBARA F
9 CHERYL         DR                   3314 VAN ALLEN PLACE                          290 DIAMOND ST
BEAR DE 19701                         TOPANGA CA 90290                              LAGUNA BEACH CA 92651




DIAMOND, DORIS                        DIAMOND, JAMES                                DIAMOND, JONATHAN
7350 KINGHURST DR APT 405             30 MAIN ST STE 504                            2260 BRANSON HILL DR
DELRAY BEACH FL 33446                 DANBURY CT 06810                              LOS ANGELES CA 90068




DIAMOND, SHARI                        DIAMPISA BENA                                 DIAN CARPENTER
241 E 76TH ST NO.31                   169 HOLLYWOOD AVENUE                          PO BOX 810
NEW YORK NY 10021                     WEST HARTFORD CT 06110                        INVERNESS CA 94937




DIANA A PLUNKETT                      DIANA ALVAREZ                                 DIANA AVILA
809 N CENTRAL AVE                     7 FERN PLACE                                  2630 S. GROVE AVENUE
BALTIMORE MD 21202                    BAY SHORE NY 11706                            BERWYN IL 60402




DIANA BRODEUR                         DIANA BROWN                                   DIANA CAMPBELL
3127 N. MONITOR AVE.                  22849 EAST DRIVE                              5457 TIMBERLEAF BLVD.
CHICAGO IL 60634                      RICHTON PARK IL 60471                         APT. 611
                                                                                    ORLANDO FL 32811



DIANA CHI                             DIANA COTTRELL                                DIANA DAYTZ
8712 GREGORY WAY                      1033 N. SPRINGFIELD                           4321 OAK BEACH
APT. #201                             2ND                                           OAK BEACH NY 11702
LOS ANGELES CA 90035                  CHICAGO IL 60651



DIANA DEVIVO                          DIANA DIONISIO-PIECZYNS                       DIANA ELBERT
260 BIXLEY HEATH                      64 BASSFORD AVE                               828 W. GRACE STREET
LYNBROOK NY 11563-3143                LA GRANGE IL 60525                            APT. #802
                                                                                    CHICAGO IL 60613



DIANA FONTANA                         DIANA GILLIS                                  DIANA GUAY
3569 ROGER DRIVE                      499 DIX AVENUE                                68 PERSHING ROAD
WANTAGH NY 11793                      QUEENSBURY NY 12804                           WINDSOR LOCKS CT 06096




DIANA HICKS                           DIANA HURTADO                                 DIANA ISIP
62 JAMAICA AVENUE                     15744 MAPLEGROVE                              604 WEST WILSON
WYANDANCH NY 11798                    VALINDA CA 91744                              UNIT # 3
                                                                                    GLENDALE CA 91203



DIANA JACOB AND BARRY STACKS          DIANA JAMES                                   DIANA KAVETT
101 SOUTH OCEAN BLVD #206             19 HEATHERWOOD                                530 FORDHAM PLACE
DEERFIELD BEACH FL 33441              ALISO VIEJO CA 92656                          PARAMUS NJ 07652




                                             Page 588 of 2387
                         Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 589 of 800
DIANA KELLEY                          DIANA KONIECKI                                DIANA L VALOIS
9785 PORTA LEONA LN                   249-D NEW STATE ROAD                          3252 CHURCH ROAD
BOYNTON BEACH FL 33437                MANCHESTER CT 06042                           OREFIELD PA 18069




DIANA LEHNERT                         DIANA M STRATTON                              DIANA MARINEZ
42 BALLOCH PLACE                      1589 LONG POINT RD                            15863 SW 21ST STREET
RED BANK NJ 07701                     PASADENA MD 21122                             MIRAMAR FL 33027




DIANA MARTIN NIETO                    DIANA MCCLELLAN                               DIANA MELLION
1060 S. SHERBOURNE                    916 S.KENWOOD AVENUE                          3630 NW 9TH STREET
LOS ANGELES CA 90035                  BALTIMORE MD 21224                            FORT LAUDERDALE FL 33311




DIANA MESNIL                          DIANA MITCHELL                                DIANA MORSE
40 DUNN HILL ROAD                     526 N BALTON AVENUE                           122 NORTH WEST STREET
TOLLAND CT 06084                      SAN DIMAS CA 91773                            ALLENTOWN PA 18102




DIANA PERKINS                         DIANA PILS                                    DIANA QUINTERO
655 WEST IRVING PARK ROAD             5 TWIN CIRCLE DRIVE                           16109 E. BALLENTINE PL.
405                                   WESTPORT CT 06880                             COVINA CA 91722
CHICAGO IL 60613



DIANA RAMOS                           DIANA REIDY                                   DIANA RIAZI
1349 STRATFORD AVENUE                 41 KATHERINE STREET                           470 CHARMINGDALE ROAD
BRONX NY 10472                        LOCUST VALLEY NY 11560                        DIAMOND BAR CA 91765




DIANA RODRIGUEZ                       DIANA SHANTIC                                 DIANA SWARTZ
3734 MAGNOLIA AVE                     2181 N. SANTA ANITA AVENUE                    318 -D COUNTRY CLUB DR
LONG BEACH CA 90806                   SIERRA MADRE CA 91024                         SIMI VALLEY CA 93065




DIANA WILLIAMS                        DIANA YOUNG                                   DIANA-QUENTIN, LLC
1 SHAWNEE COURT                       9072 DOGWOOD RILL LN                          1060 W. ADDISON
APT. 201                              WINDSOR VA 23487                              CHICAGO IL 60613
BALTIMORE MD 21234



DIANAMARIE RUBANG                     DIANDRA VIRGIN                                DIANE ABNEY
490 AVIATOR CIRCLE                    2920 NW 56TH AVENUE                           1818 RANCHERO STREET
SACRAMENTO CA 95835                   B202                                          WEST COVINA CA 91790
                                      LAUDERHILL FL 33313



DIANE ABRUZZESE                       DIANE ADLER                                   DIANE AIKEN-MILLER
3395 NOSTRAND AVENUE                  172 WEST 79TH STREET                          218 LONG BEACH ROAD
APT. CC                               APT 18F                                       HEMPSTEAD NY 11550
BROOKLYN NY 11229                     NEW YORK NY 10024




                                             Page 589 of 2387
                        Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 590 of 800
DIANE ATTANASIO                      DIANE BAGEANIS                                DIANE BARRY COLE
536 N. ERIE AVE                      4953 N OAK PARK AVE.                          205-A S JUANITA AVENUE
LINDENHURST NY 11757                 CHICAGO IL 60656                              REDONDO BEACH CA 90277




DIANE BLOCH                          DIANE BURKE                                   DIANE BURNS
18585 ASUNCION ST                    1850 SPUR DRIVE SOUTH                         751 DOMMERICH DR
NORTHRIDGE CA 91326                  ISLIP TERRACE NY 11752                        MAITLAND FL 32751




DIANE CAMPER                         DIANE CASAS                                   DIANE CEBULA
356 HOMELAND SOUTHWAY                6331 W. 63RD ST                               603 COBBLESTONE CIRCLE
BALTIMORE MD 21212                   #3B                                           APT. #305
                                     CHICAGO IL 60638                              NEWPORT NEWS VA 23608



DIANE CLARK                          DIANE CSERNICA                                DIANE DANIELS
808 SE 8TH STREET                    47 GARDEN STREET                              5 JUNIPER STREET
FORT LAUDERDALE FL 33316-1206        VALLEY STREAM NY 11581                        HICKSVILLE NY 11801




DIANE DEBUONO                        DIANE DERHAMMER                               DIANE E FURNESS
229 COMMERCIAL BLVD                  137 MAPLE STREET                              17 DAVIS AVENUE
#4                                   COPLAY PA 18037                               APT. C
LAUDERDALE BY THE SEA FL 33308                                                     ROCKVILLE CT 06066



DIANE FERRAUIOLA                     DIANE FITZPATRICK                             DIANE FRAIN
605 DOLCETTO DRIVE                   4222 INVERRARY BLVD                           1356 OAK DRIVE
DAVENPORT FL 33897                   #4109                                         SHAVERTOWN PA 18708
                                     LAUDERHILL FL 33319



DIANE GOLDIE                         DIANE GRADY                                   DIANE GREEN
105 DUANE ST                         27 ROLAND STREET                              ONE LINDEN PLACE
APT 14B                              ENFIELD CT 06082                              UNIT # 304
NEW YORK NY 10007                                                                  HARTFORD CT 06106



DIANE GREENE                         DIANE HAAS-NAVARRO                            DIANE HAITHMAN
123 WINDBROOK DRIVE                  785 EAST 4TH STREET                           3768 VINELAND AVENUE
WINDSOR CT 06095                     B8                                            STUDIO CITY CA 91604
                                     BROOKLYN NY 11218



DIANE HODGSON                        DIANE J PHILLIPS                              DIANE KOLKER
8600 NW 52 CT                        411 PIETRA WAY                                4055 CARAMBOLA CIRCLE
LAUDERHILL FL 33351                  CALDWELL ID 83605                             COCONUT CREEK FL 33066




DIANE KRETZ                          DIANE L BARRY                                 DIANE LADE
114 BENNETT PLACE                    15321 LAS FLORES                              620 SW 6 AVE
AMITYVILLE NY 11701                  OAK FOREST IL 60452                           FORT LAUDERDALE FL 33315




                                            Page 590 of 2387
                        Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 591 of 800
DIANE LEVICK                         DIANE LILLY-WAGNER                            DIANE MARSTON
10 DOVE CIRCLE                       1023 HART ROAD                                21930 MARYLEE STREET #71
AVON CT 06001                        TOWSON MD 21286                               WOODLAND HILLS CA 91367




DIANE MIHELC                         DIANE MIRAGLIA                                DIANE MORENO
3809 N BROADWAY                      170-28 PIDGEON MEADOW RD                      622 E HERMOSA DR
APT # 2                              FLUSHING NY 11365                             SAN GABRIEL CA 91775
CHICAGO IL 60613



DIANE MORRING                        DIANE ONDERDONK                               DIANE PAJAK
12 ELM AVENUE                        225 N GREENE AVENUE                           6443 WESTERN STAR RUN
HEMPSTEAD NY 11550                   LINDENHURST NY 11757                          CLARKSVILLE MD 21029




DIANE PENCAK                         DIANE PETERSON                                DIANE PORTIGIANO
5100 SOUTH LONG AVE                  7933 NE SUNNYWOODS LANE                       36A GRANT AVENUE
CHICAGO IL 60638                     KINGSTON WA 98346                             BETHPAGE NY 11714




DIANE POTTINGER                      DIANE PUCIN                                   DIANE R WOLF
50 EAST 21ST STREET                  10928 DISHMAN PLACE                           18450 HOOD
2D                                   TUSTIN RANCH CA 92782                         HOMEWOOD IL 60430
BROOKLYN NY 11226



DIANE RADZIEWICZ                     DIANE RAIS                                    DIANE REIFF
19 ELM TREE LANE                     1834 TAMARIND LANE                            4441 OAK BCH ASSOC
HUNTINGTON STATION NY 11746          COCONUT CREEK FL 33063                        OAK BEACH NY 11702




DIANE RIZZETTO                       DIANE SCHAEFER                                DIANE SCHWANKOFF
737 NORTH 22ND STREET                146 LORENZO CIRCLE                            1042 WESTERN AVENUE
APT. B                               LAKE RONKONKOMA NY 11779                      APT. #103
ALLENTOWN PA 18104                                                                 GLENDALE CA 91201-1781



DIANE STANCZAK                       DIANE STONE                                   DIANE STONEBACK
3721 TIMBERLANE DRIVE                3035 SCOTLAND STREET                          4261 CLEAR WAY
EASTON PA 18045                      LOS ANGELES CA 90039                          ALLENTOWN PA 18103




DIANE TRAUSCH                        DIANE VEST                                    DIANE WAMPOLE
116 RUE TOURAINE                     4421 POPLAR AVENUE                            4466 VALLEY GREEN DRIVE
BARRINGTON IL 60010                  BALTIMORE MD 21227                            SCHNECKSVILLE PA 18078




DIANE WEBSTER                        DIANE WEDNER                                  DIANE WERTS
9147 PROVENCIAL COURT                4428 ARCOLA AVENUE                            513 SAYRE DRIVE
ELK GROVE CA 95624                   TOLUCA LAKE CA 91602                          PRINCETON NJ 08540




                                            Page 591 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 592 of 800
DIANE WOOD                             DIANE YAMAZAKI                                DIANE ZARFOSS
44 SCHERMERHORN DRIVE                  4710 N. BERNARD ST., 1E                       4215 LINTHICUM ROAD
LAKE GEORGE NY 12845                   CHICAGO IL 60625                              DAYTON MD 21036




DIANEMARIE HUDAK                       DIANI, STEPHANIE M                            DIANN PHILLIPS
46 WASHINGTON PLACE                    656 SOUTH RIDGELEY DRIVE                      7810 SOUTH MAY
PEARL RIVER NY 10965                   NO.301                                        CHICAGO IL 60620
                                       LOS ANGELES CA 90036



DIANN SHERROD                          DIANN STRAETER                                DIANNA ALBINO
10201 S. RACINE                        9 MALLARD DRIVE                               9714 SUNDERSON STREET
CHICAGO IL 60643                       PONTOON BEACH IL 62040                        ORLANDO FL 32825




DIANNA CAHN                            DIANNA DIETRICH                               DIANNA SCHWANKE
3260 DELRAY BAY DRIVE                  6 NAVAJO COURT                                35 LINDA DRIVE
APT. 509                               CORAM NY 11727                                NEWPORT NEWS VA 23608
DELRAY BEACH FL 33483



DIANNE A FIELDER                       DIANNE ALLAN                                  DIANNE DONOVAN
5400 LIDO ST                           7928 NARDIAN WAY                              212 WOODLAWN ROAD
ORLANDO FL 32807                       LOS ANGELES CA 90045                          BALTIMORE MD 21210




DIANNE FRAZER                          DIANNE KNAUSS                                 DIANNE MEJIA
11 PEPPERIDGE COURT                    221 SIXTH ST                                  1317 MILTON AVENUE
NORTH PATCHOGUE NY 11772               WHITEHALL PA 18052                            ALHAMBRA CA 91803




DIANNE ODAGAWA                         DIANNE PEIFFER                                DIANNE STEPHENS
800 KEMPTON AVENUE                     1423 N 26TH ST                                451 S. LUCAS AVENUE
MONTEREY PARK CA 91755                 ALLENTOWN PA 18104                            APT. #1
                                                                                     LOS ANGELES CA 90017



DIAS, EMILY                            DIAS, MIGUEL                                  DIAS, RYAN EMANUEL
78 ANDOVER ST                          28-31 46TH ST  APT 1                          PO BOX 320453
HARTFORD CT 06112                      ASTORIA NY 11103                              HARTFORD CT 06132




DIAS, SHANIEL K                        DIAZ, ANGELA                                  DIAZ, BARBARO JORGE
PO BOX 320453                          1307 LYDIA DRIVE                              200 NE 20TH STREET APT 136D
HARTFORD CT 06132                      DELTONA FL 32725                              BOCA RATON FL 33431




DIAZ, BRAULIO                          DIAZ, CESAR A                                 DIAZ, CHAD
20 S EDGEMOND AVENUE                   18810 NW 77 CT                                337 LONGSHADOW CT
WINTER SPRINGS FL 32708                HIALEAH FL 33015                              OCOEE FL 34761




                                              Page 592 of 2387
                         Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 593 of 800
DIAZ, CHARLES                         DIAZ, DANIEL H                                DIAZ, DIANA S
1029 NORTH AVENUE 67                  7960 AMBLESIDE WAY                            1630 NE 46TH ST
LOS ANGELES CA 90042-3070             LAKE WORTH FL 33467                           POMPANO BEACH FL 33069




DIAZ, EDRIC                           DIAZ, GEU                                     DIAZ, GEU
1307 LYDIA DRIVE                      9239 SAN ANTONIO AVE                          PO BOX 23062
DELTONA FL 32725                      SOUTH GATE CA 90023                           LOS ANGELES CA 90023-0062




DIAZ, HECTOR                          DIAZ, HUGO E                                  DIAZ, JAVIER
PO BOX 676                            1088 COURTLAND DR                             705 SONESTA
SANTA ROSA TX 78593                   BAY SHORE NY 11706                            APT 1
                                                                                    HARLINGEN TX 78550



DIAZ, JESUS                           DIAZ, JHEN                                    DIAZ, JOEL
2541 S SANDPIPER PL                   9440 SW 8 ST     APT 122                      120 ELM ST
ONTARIO CA 91761                      BOCA RATON FL 33428                           EMMAUS PA 18049




DIAZ, JOSE                            DIAZ, JOSE A                                  DIAZ, JUAN C
16416 SAPPHIRE BEND                   98 CHAMBERS ST                                3000 NE 9TH AVE
WESTON FL 33331                       MANCHESTER CT 06042                           POMPANO BEACH FL 33064




DIAZ, JUDITH                          DIAZ, JULIO                                   DIAZ, KIMBERLY
630 RENAISSANCE POINT NO.104          3227 S 54CT                                   2921 GEORGE WASHINGTON MEM HWY NO.6
ALTAMONTE SPRINGS FL 32714            CICERO IL 60804                               YORKTOWN VA 23692




DIAZ, LUIS                            DIAZ, MARIANELLA                              DIAZ, MARIO
448 HILLSIDE AVE APT 3                14241 SUMMERVILLE PL                          16328 KINGSIDE DR.
HARTFORD CT 06106                     DAVIE FL 33325                                COVINA CA 91722




DIAZ, PAULA                           DIAZ, PEDRO                                   DIAZ, RENE J
7602 E. 95TH TERRACE                  6820 INDIAN CREEK DR                          437 HYACINTH CT APT 303
KANSAS CITY MO 64134                  MIAMI BEACH FL 33141                          ALTAMONTE SPRINGS FL 32714




DIAZ, YVONNE                          DIAZ,CARMEN                                   DIAZO MACHINE SERVICE
711 N WINTER PARK DR                  45 LAYTON ST                                  24 STILL POND DRIVE
CASSELBERRY FL 32707                  W HARTFORD CT 06110-1133                      NEW FREEDOM PA 17349




DIBACCO, THOMAS V                     DIBATTISTA, LINDA MARIE                       DIBELLA, KARLY
1295 N LAKE WAY                       8615 SOUTH BAY DR                             17 OLD POST RD
PALM BEACH FL 33480                   ORLANDO FL 32819                              WETHERSFIELD CT 06109




                                             Page 593 of 2387
                           Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 594 of 800
DIBENDETTO, KIT                         DIBLASI MOTORS INC                            DIC ENTERTAINMENT
189 SIGWIN DRIVE                        112-21 NORTHERN BLVD                          303 N. GLENOAKS BLVD.
FAIRFIELD CT 06824                      CORONA NY 11368                               BURBANK CA 91520




DIC ENTERTAINMENT                       DIC ENTERTAINMENT                             DIC ENTERTAINMENT CORPORATION
4100 W. ALAMEDA AVE.                    ATTN: ERIN SWEETEN                            4100 W ALAMEDA AVE
SUITE 400                               220 EAST 42ND STREET                          BURBANK CA 91505
BURBANK CA 91505                        STE 400
                                        NEW YORK NY 10017


DIC ENTERTAINMENT CORPORATION           DICK LARSEN                                   DICK TURPIN
4939 COLLECTIONS CENTER DR              TREASURER - TAX COLLECTOR                     2411 MAHET LANE
CHICAGO IL 60693                        172 W THIRD STREET                            SIMI VALLEY CA 93063
                                        SAN BERNARDINO CA 92415-0360



DICKAL LLC                              DICKAL LLC                                    DICKENSON, CARLINGTON A
C/O SIERRA REALTY SERVICES INC          C/O SIERRA REALTY SERVICES, INC               8700 NW 38TH ST
905 CHATAM DRIVE                        1001 E OGDEN AVENUE, STE 201                  SUNRISE FL 33351
CARROLLSTREAM IL 60188                  NAPERVILLE IL 60563



DICKENSON, JEAN GILLES                  DICKENSON, STEVE                              DICKER, RON
5385 CEDAR LAKE ROAD NO.15-35           10099 MISSIONARY RIDGE ROAD                   325 W 45TH ST
BOYNTON BEACH FL 33437                  BON AQUA TN 37025                             APT 406A
                                                                                      NEW YORK NY 10036



DICKER, RON                             DICKERSON, BOBBY D                            DICKERSON, DAVID
81 OCEAN PARKWAY APT 2D                 112 MAYFIELD RD                               1965 W ANISLIE NO. 2
BROOKLYN NY 11218                       LAUREL MS 39443                               CHICAGO IL 60640




DICKERSON, MARLA                        DICKERSON, SUSAN                              DICKERSON,DIANE
MEXICO CITY BUREAU                      18900 MARTIN LINE 22500                       5505 NW 86TH TERRACE
LA TIMES FOREIGN DESK                   COUNTRY CLUB HILLS IL 60478                   CORAL SPRINGS FL 33071
202 W FIRST ST
LOS ANGELES CA 90012


DICKERSON,KATERRIS                      DICKEY, BETTY                                 DICKEY, RACHEL
2731 NW 11TH ST                         3538 OAK RIDGE DR                             1336 NORTHAMPTON ST APT 3
FORT LAUDERDALE FL 33311                SLATINGTON PA 18080                           EASTON PA 18042




DICKEY, WILL                            DICKEY, WILMA J                               DICKINSON, AMY
5015 BRADFORD ROAD                      236 EAGLE ESTATES DR                          2100 LINCOLN PARK WEST    NO.8CS
JACKSONVILLE FL 32217                   DEBARY FL 32713                               CHICAGO IL 60614




DICKINSON, CHRISTINE                    DICKINSON, RICHARD A                          DICKSON, BRAD
1353 W CATALPA AVE NO.2W                302 WEST LORAINE STREET NO 4                  4453 W SARAH ST
CHICAGO IL 60640                        GLENDALE CA 91202                             BURBANK CA 91505




                                               Page 594 of 2387
                         Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 595 of 800
DICKSTEIN, MORRIS                     DICON FIBEROPTICS INC                         DIDIER,BOB
230 WEST 105TH ST APT 11-D            1689 REGATTA BLVD                             544 SW 335TH STREET
NEW YORK NY 10025                     RICHMOND CA 94804                             FEDERAL WAY WA 98023




DIE SAHBI                             DIEDERICH, DALAYNA                            DIEDRE REDMAN
131 NUNNERY LANE                      6650 MUSTANG PONY WAY                         805 TWIN CIRCLE DRIVE
CATONSVILLE MD 21228                  COLORADO SPRINGS CO 80922                     SOUTH WINDSOR CT 06074




DIEDRE WARE                           DIEDRICH LOGISTIC SERVICES                    DIEDRICH LOGISTIC SERVICES
1800 SO. ROBERTSON                    16W475 S FRONTAGE ROAD SUITE 209              405 E 57TH ST
APT.# 71                              BURR RIDGE IL 60527                           HINSDALE IL 60521
LOS ANGELES CA 90035



DIEFENDERFER, GEORGE                  DIEFENDERFER, KENNETH                         DIEGEL, MILES MICHAEL
232 E CHURCH ST                       615 E LOCUST ST                               7420 ORLEANS STREET
SLATINGTON PA 18080                   BETHLEHEM PA 18018                            MIRAMAR FL 33023




DIEGO MERINO                          DIEHL, DIGBY                                  DIEHL, SPENCER
9771 VIA ZIBELLO                      788 S LAKE AVE                                2062 INDIAN HILL RD
BURBANK CA 91504                      PASADENA CA 91106                             LEHIGHTON PA 18235




DIELECTRIC COMMUNICATIONS             DIELECTRIC COMMUNICATIONS                     DIELECTRIC COMMUNICATIONS
PO BOX 277883                         22 TOWER RD                                   PO BOX 949
ATLANTA GA 30384-7883                 RAYMOND ME 04071                              RAYMOND ME 04071




DIELECTRIC COMMUNICATIONS             DIERINGER, MAURA E                            DIERKING, MADELINE SKY
226 WALT WHITMAN BLVD                 11206 MCGEE WAY                               5608 CRESTWOOD PLACE
CHERRY HILL NJ 08003                  ELLICOTT CITY MD 21042                        MADISON WI 53705




DIETER STANKO                         DIETER STORR                                  DIETRA BAYTOP
325 LAFAYETTE STREET                  803 DUNBARTON CIRCLE                          468 QUEENS CREEK ROAD
APT. #8306                            SACRAMENTO CA 95825                           WILLIAMSBURG VA 23185
BRIDGEPORT CT 06604



DIETRICH ZEIGLER                      DIETRICK GROUP LLC                            DIETZ PARK
1640 W. GREENLEAF                     5100 W TILGHMAN STREET SUITE 320              RE: DEKALB 328 DIETZ AVE.
CHICAGO IL 60626                      ALLENTOWN PA 18104                            120 N. ANNIE GLIDDEN RD.
                                                                                    DEKALB IL 60114



DIETZSCH, EUNICE                      DIETZSCH, JOSE AUGOSTO                        DIEUJUSTE, MICHELOT
4136 NW 78 LN                         4136 NW 78TH LANE                             642 SW 4TH AVE
CORAL SPRINGS FL 33065                CORAL SPRINGS FL 33065                        BOYNTON BEACH FL 33426




                                             Page 595 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 596 of 800
DIEUNE JONASSAINT                      DIFERDINANDO, MICHAEL                         DIGBY SOLOMON
3701 NW 21STREET                       9 STONE GATE SOUTH                            2080 HARPERS MILL ROAD
LAUDERDALE LAKES FL 33311              LONGWOOD FL 32779                             WILLIAMSBURG VA 23185




DIGGINS, MATTHEW                       DIGGS, EUGENE A                               DIGI KEY CORPORATION
235 E 15TH ST  APT 1301                4641 CHERYL DRIVE                             701 BROOKS AVE S
TUCSON AZ 85701                        BETHLEHEM PA 18017                            PO BOX 677
                                                                                     THIEF RIVER FALLS MN 56701-0677



DIGI KEY CORPORATION                   DIGIANNANTONIO, MICHAEL                       DIGIOIA, CHRISTOPHER
ACCOUNTS RECEIVABLE                    56 KING LANE                                  829 MURDOCK AVE
PO BOX 250                             DES PLAINES IL 60016                          MERIDEN CT 06450
THIEF RIVER FALLS MN 56701-0250



DIGIPIX INC                            DIGITAL EQUIPMENT                             DIGITAL EQUIPMENT
3224 BEVERLY BLVD                      DUNS 15-063-4061                              ATTN: CINDY BOLT
LOS ANGELES CA 90057                   PO BOX 100500                                 225 W. WASHINGTON BLVD
                                       ATLANTA GA 30384                              CHICAGO IL 60606



DIGITAL EQUIPMENT                      DIGITAL INFOLOGIC INC                         DIGITAL KITCHEN LLC
PO BOX 93831                           1752 3 AVE J STE 300                          35291 EAGLE WAY
CHICAGO IL 60673                       LANCASTER CA 93535                            CHICAGO IL 60678-1352




DIGITAL KITCHEN LLC                    DIGITAL MEDIA CLASSIFIEDS                     DIGITAL MEDIA CLASSIFIEDS
1114 E PIKE STREET SUITE 300           140 DUTCHMAN BLVD STE C                       401 WESTERN LN    STE 9B
SEATTLE WA 98122                       IRMO SC 29063                                 IRMO SC 29063




DIGITAL MOTORWORKS INC                 DIGITAL MOTORWORKS INC                        DIGITAL NETWORKS GROUP INC
24381 NETWORK PL                       JP MORGAN CHASE BANK                          11 GODDARD
CHICAGO IL 60673-1243                  ATTN LOCKBOX DEPT NO.24381                    IRVINE CA 92618
                                       525 W MONROE 8TH FLOOR
                                       CHICAGO IL 60661


DIGITAL RAIN FACTORY                   DIGITAL SYSTEM TECHNOLOGY INC                 DIGITAL SYSTEM TECHNOLOGY INC
872 MOUNTAIN VIEW ST                   16027 ARROW HWY NO. D                         1856 CORPORATE DR STE 120
ALTADENA CA 91001                      IRWINDALE CA 91706                            NORCROSS GA 30093




DIGITAL SYSTEM TECHNOLOGY INC          DIGITAL TECHNOLOGY INTERNATIONAL LLC          DIGITAL TECHNOLOGY INTERNATIONAL LLC
PO BOX 957143                          PO BOX 809347                                 1180 NORTH MOUNTAIN SPRING PKWY
DULUTH GA 30095                        CICERO IL 60680                               SPRINGVILLE UT 84663




DIGITAL WAVE PRODUCTIONS               DIGITAL WAVE PRODUCTIONS                      DIGRAVINA, TIMOTHY N
2114 N 40TH AVE                        5641 SW 58 COURT                              1418 GEORGIA BLVD
HOLLYWOOD FL 33021                     DAVIE FL 33314                                ORLANDO FL 32803




                                              Page 596 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 597 of 800
DIGREGORIO, ANTHONY J                  DIIACONI, DIANA                               DIKEN, CHRISTOPHER
1443 SW 158TH AVENUE                   5631 COACH HOUSE CIRCLE APT F                 371 CUMBERLAND STREET NO.3
PEMBROKE PINES FL 33027                BOCA RATON FL 33486                           BROOKLYN NY 11238




DILAURO, PETER                         DILAURO, PETER                                DILCHER, JOHN
65 KATHERINE ST                        C/O DIGITAL CONCEPTS PHOTO                    1445 KENNINGTON LN
PORT JEFFERSON STATION NY 11776        65 KATHERINE ST                               MACUNGIE PA 18062
                                       PORT JEFFERSON STATION NY 11776



DILELLO, CECILIA                       DILIBERTO, GIOIA                              DILL, HAROLD R
205 HUDSON ST    NO.205                2136 N FREMONT ST                             71 BYRAM ROAD
HOBOKEN NJ 07030                       CHICAGO IL 60614                              GREENWICH CT 06830




DILL, JOHN F.                          DILLARD, KENNETH                              DILLINGER, JAMES EDWARD
1001 ARBOR LAKE DR #408                214 STAG TERRACE                              1116 SYNDER ST     APT B
NAPLES FL 34110-7083                   NEWPORT NEWS VA 23602                         ATLANTA GA 30318




DILLMAN, SCOTT                         DILLON, JEFFERY                               DILLON, PATRICIA
241 N RAILROAD ST                      236 EAST MAIN ST                              236 E MAIN ST
ALLENTOWN PA 18102                     BRISTOL CT 06010                              BRISTOL CT 06010-7080




DILLON,SHARON                          DILTS, TYLER                                  DIMAGGIO, VANESSA
5008 LIZA LANE                         932 W 214TH ST                                3108 BURLINGTON DR
WILLIAMSBURG VA 23188                  TORRANCE CA 90502                             ORLANDO FL 32837




DIMARTINO JR, ROBERT                   DIMARTINO JR, ROBERT                          DIMARTINO, MICHAEL
460 OLD TOWN RD UNIT 18E               460 OLD TOWN RD UNIT 18E                      8276 CASSIA TERR
PORT JEFFERSON NY 11776                PORT JEFFERSON STATION NY 11776               TAMARAC FL 33321




DIMATTEO, BEN                          DIMITRIOS MITALAS                             DIMITRIOS TIANIS
47 CUMBERLAND ST                       4831 N WASHTENAW                              4334 W HIGHLAND AVE.
BROOKLYN NY 11205                      APT # 3N                                      CHICAGO IL 60646
                                       CHICAGO IL 60625



DIMITRIOS VLAHOS                       DIMITRY TETIN                                 DINA BORDINO
5768 UTRECHT RD                        2680 CONSTITIUTION DRIVE                      12 WALLINGFORD DR
BALTIMORE MD 21206                     LINDENHURST IL 60046                          MELVILLE NY 11747




DINA KLEINBERG                         DINA MORTON                                   DINA RUELAS
906 ASH STREET                         12 CEDAR HEIGHTS DRIVE                        333 WEST CALIFORNIA
WINNETKA IL 60093                      RIDGE NY 11961                                APT #202
                                                                                     PASADENA CA 91105




                                              Page 597 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 598 of 800
DINA STAVOLA                           DINA WHITE                                    DINAH DICKERSON
31 OLD FARMS CROSSING                  3800 PARKWOOD STREET                          329 LYONS ROAD
AVON CT 06111                          BRENTWOOD MD 20722                            BOLINGBROOK IL 60440




DINAMARIE CUCCIA                       DINEBERG, KARL                                DINEBERG, KURT
7 MERRICK ROAD                         6 BIRCH KNOLL RD                              10 BIRCH KNOLL RD
SHIRLEY NY 11967                       CANTON CT 06019                               COLLINSVILLE CT 06022-1200




DINEEN, TIMOTHY                        DINESH SHAH                                   DING, JI SHENG
5336 N OKETO                           7514 SULLIVAN PLACE                           1622 W LIBERTY ST
CHICAGO IL 60656                       BUENA PARK CA 90621                           APT 4J
                                                                                     ALLENTOWN PA 18104



DINH VONG                              DINKELSPIEL, FRANCES                          DINO ATHANS
3222 CHARLOTTE AVENUE                  971 ALVARADO ROAD                             12144 DEANA STREET
ROSEMEAD CA 91770                      BERKELEY CA 94705                             EL MONTE CA 91732




DINORAH HERRERO-BIRD                   DINORAH MORAN                                 DINS ALLEN
3777 NW 78 AVE.                        P.O. BOX 50944                                6621 NW 24TH COURT
UNIT 48D                               LOS ANGELES CA 90042                          SUNRISE FL 33313
HOLLYWOOD FL 33024



DINSMORE & SHOHL LLP                   DINSMORE & SHOHL LLP                          DINSMORE & SHOHL LLP
1400 PNC PLAZA 500 W JEFFERSON ST      ONE S MAIN STREET SUITE 1300                  PO BOX 640635
LOUISVILLE KY 40202                    DAYTON OH 45402                               CINCINNATI OH 45264-0635




DIOCESE OF ALLENTOWN                   DIOCESE OF ALLENTOWN                          DIOCESE/NEW ORLEANS
CATHOLIC DIRY PO BOX F                 OFFICE OF EDUCATION - ANN KOEMPEL             106 METAIRIE LAWN DRIVE
ALLENTOWN PA 18105-1538                PO BOX 20607                                  METAIRIE LA 70001
                                       LEHIGH VALLEY PA 18002



DION AND SONS INC                      DION BUZZARD                                  DION GREEN
1543 W 16TH ST                         1974 CHIPPER DRIVE                            542 WYANOKE AVENUE
LONG BEACH CA 90813                    EDGEWOOD MD 21040                             BALTIMORE MD 21218




DION YOUNG                             DIONISIO, JENNIFER                            DIONNA GRIFFIN
5219 WEST ADAMS                        4 SAMUELS PATH                                220 REVESTON DRIVE
CHICAGO IL 60644                       MILLER PLACE NY 11764                         BLOOMINGTON IL 61704




DIONNA SNIPE                           DIONNE PAGE                                   DIONNE PATE-DEARING
3320 EDMONDSON AVE                     6003 S. MICHIGAN AVENUE                       3301 MIDTOWN BLVD. UNIT 1502
BALTIMORE MD 21229                     UNIT #1                                       MIAMI FL 33137
                                       CHICAGO IL 60637




                                              Page 598 of 2387
                        Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 599 of 800
DIONNE RUIZ                            DIONNE, DONALD                              DIOUF, SOUKEYNA
1213 N. 34TH AVENUE                    125 LAUREL CT                               2020 BOLTON DR NO.5A
APT #12                                PLAINVILLE CT 06062                         ATLANTA GA 30318
MELROSE PARK IL 60160



DIPACIO, BONNIE J                      DIPACIO, RICHARD                            DIPAOLO, LINDA
698 N E 34TH ST                        698 NE 34TH STREET                          419 EGAB DR
OAKLAND PARK FL 33334                  OAKLAND PARK FL 33334                       ORLANDO FL 32822




DIPAOLO, LINDA                         DIPINO, DAVID                               DIRECT AVENUE INC
419 EGAN DR                            1518 LANCE RD                               2701 LOKER AVENUE WEST STE 40
ORLANDO FL 32822                       JUPITER FL 33469                            CARLSBAD CA 92008




DIRECT BUYING SERVICE INC              DIRECT CONSUMER MARKETING INC               DIRECT DATA SOLUTIONS INC
1749 FIRST AVE S                       14187 RAVEN ST                              306 BAY PLAZA
SEATTLE WA 98134                       SYLMAR CA 91342                             TREASURE ISLAND FL 33706




DIRECT DESIGNS                         DIRECT DESIGNS                              DIRECT ENERGY
10500 CHESTER WAY                      1400 ALICEANNA ST 2ND FL                    ACCT NO. 1123570375
WOODSTOCK MD 21163                     BALTIMORE MD 21231                          909 LAKE CAROLYN PARKWAY, SUITE 1100
                                                                                   IRVING TX 75039



DIRECT ENERGY                          DIRECT ENERGY                               DIRECT ENERGY
ACCT NO. 2037382004                    75 REMITTANCE DR     STE 6467               TWO GATEWAY CENTER 9TH FL
909 LAKE CAROLYN PARKWAY, SUITE 1100   CHICAGO IL 60675-6467                       PITTSBURGH PA 15222
IRVING TX 75039



DIRECT ENERGY BUSINESS SERVICES        DIRECT ENERGY BUSINESS SERVICES             DIRECT ENVELOPE
75 REMITTANCE DR     STE 6467          PO BOX 140968                               1011 COMMERCE COURT
CHICAGO IL 60675-6467                  IRVING TX 75014-0968                        BUFFALO GROVE IL 60089




DIRECT HOLDINGS AMERICAS INC           DIRECT LOGISTICS                            DIRECT LOGISTICS
8280 WILLOW OAKS CORP DR               C/O WELLS FARGO BUSINESS CREDIT             PO BOX 1024
FAIRFAX VA 22031-4511                  PO BOX 202056                               ADDISON TX 75001
                                       DALLAS TX 75320



DIRECT LOGISTICS                       DIRECT MAIL TELEVISION INC                  DIRECT MEDIA INC
PO BOX 612488                          DBA DMTV                                    53 PLAIN ST  STE 7
DEW TX 75261                           1240 INDIA STREET SUITE 603                 BRAINTREE MA 02184
                                       SAN DIEGO CA 92101



DIRECT MEDIA LLC                       DIRECT PRINTING MAILING SERVICES            DIRECT RESOURCES GROUP INC
200 PEMBERWICK ROAD                    45 DUTCH LANE                               311B OCCIDENTAL AVE S
GREENWICH CT 06830                     RINGOES NJ 08551                            SUITE 300
                                                                                   SEATTLE WA 98104




                                            Page 599 of 2387
                           Case 08-13141-BLS     Doc 17-1          Filed 12/08/08   Page 600 of 800
DIRECT SALES                              DIRECT SALES                                 DIRECT SALES
672 DURHAM LN UNIT E                      ACCT NO.885795314                            672 DURHAM LANE #E
VENTURA CA 93004                          PO BOX 942867                                VENTURA CA 93004
                                          SACRAMENTO CA 94267-0011



DIRECT SOLUTIONS INC                      DIRECTOR'S GUILD OF AMERICA (DIRECTORS)      DIRECTV
345 ROUTE 17 SOUTH                        110 WEST 57TH STREET                         ACCT. NO. T000000544
UPPER SADDLE RIVER NJ 07458               NEW YORK NY 10019                            PO BOX 100455
                                                                                       PASADENA CA 91189-0455



DIRECTV, INC                              DIRECTV, INC                                 DIRECTV, INC
PO BOX 78626                              2230 E IMPERIAL HWY                          PO BOX 100455
PHOENIX AZ 85062-8626                     EL SEGUNDO CA 90245                          PASADENA CA 91189-0455




DIRECTV, INC                              DIRECTV, INC                                 DIRECTV, INC
PO BOX 100746                             PO BOX 60036                                 PO BOX 915
PASADENA CA 91189-0746                    LOS ANGELES CA 90060-0036                    EL SEGUNDO CA 90245-0915




DIRECTV, INC                              DIRK ELDER                                   DIRKIN,ALAN J
PO BOX 9001069                            934 10TH STREET                              3018 CAMINO CAPISTRANO
LOUISVILLE KY 40290-1069                  WEST BABYLON NY 11704                        SAN CLEMENTE CA 92672




DIRWIN SATCHELL                           DISABILITY MANAGEMENT ALTERNATIVES LLC       DISCH, JAMES
25 PRINCESS AVENUE                        570 LAKE COOK ROAD SUITE 106                 1406 S. HICKORY DR.
BAY SHORE NY 11706                        DEERFIELD IL 60015                           MT PROSPECT IL 60056




DISCOUNTED NEWSPAPER SERVICES             DISH NETOWRK                                 DISH NETWORK
2450 LOUISIANA, STE 400-602               DEPT. 0063                                   PO BOX 7203
HOUSTON TX 77006                          PALATINE IL 60055-0063                       PASADENA CA 91109-7303




DISH NETWORK                              DISH NETWORK                                 DISH NETWORK
9601 SOUTH MERIDIAN BLVD                  PO BOX 17250                                 PO BOX 4034
ENGLEWOOD CO 80112                        DENVER CO 80217-0250                         WOBURN MA 01888-4034




DISH ON TIME                              DISPATCH                                     DISTEFANO, JEREMY JOHN
7842 CATALINA CIRCLE                      6400 MONTEREY                                8366 BOCA GARDENS BLVD E
TAMARAC FL 33321                          GILROY CA 95021                              BOCA RATON FL 33434




DISTILLED LIMITED                         DISTINCTIVE INTERIOR PLANTSCAPES             DISTRIBUTION MARKETING OF DELAWARE
10 MALTINGS PLACE 169 TOWER BRIDGE ROAD   PO BOX 853                                   1 MEDORI BLVD
LONDON SE1 3JB                            BRYN MAWR PA 19010                           APT A
                                                                                       WILMINGTON DE 19801




                                               Page 600 of 2387
                       Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 601 of 800
DISTRIBUTION PROS/EDWARD MARTINEZ   DISTRIBUTION PROS/EDWARD MARTINEZ             DISTRICT LITHOGRAPH CO
4405 N ELSTON AVE                   ACCT NO.185                                   4000 PENN BELT PL
ACCT 185                            4405 N ELSTON AVE                             FORESTVILLE MD 20747
CHICAGO IL 60630                    CHICAGO IL 60630



DISTRICT OF COLUMBIA                DISTRICT OF COLUMBIA SPORTS                   DISTRICT OF COLUMBIA TREASURER
PO BOX 92300                        AND ENTERTAINMENT COMMISSION                  717 14TH ST   NO.600
DCRA CORPORATION DIVISION           RFK STADIUM                                   WASHINGTON DC 20005
WASHINGTON DC 20090                 2400 E CAPITOL ST  SE
                                    WASHINGTON DC 20003


DISTRICT OF COLUMBIA TREASURER      DISTRICT OF COLUMBIA TREASURER                DISTRICT OF COLUMBIA TREASURER
DC GOVERNMENT                       DEPT OF CONSUMER & REGULATORY AFFAI           GOVERNMENT OF THE DISTRICT OF
CORPORATION ESTIMATED FRANCHISE     PO BOX 92300                                  COLUMBIA
PO BOX 96019                        WASHINGTON DC 20090                           PO BOX 7792
WASHINGTON DC 20090-6019                                                          WASHINGTON DC 20044-7792


DISTRICT OF COLUMBIA TREASURER      DISTRICT OF COLUMBIA TREASURER                DISTRICT OF COLUMBIA TREASURER
LEASE PAYMENT LOCKBOX               OFFICE OF TAX AND REVENUE                     OFFICE OF TAX AND REVENUE
DEPARTMENT 206                      PO BOX 96384                                  PO BOX 229
WASHINGTON DC 20055-0206            WASHINGTON DC 20090                           WASHINGTON DC 20044-0229



DISTRICT OF COLUMBIA TREASURER      DISTRICT OF COLUMBIA TREASURER                DISTRICT OF COLUMBIA TREASURER
OFFICE OF TAX AND REVENUE           PO BOX 14360                                  PO BOX 37135
PO BOX 7862                         GOVERNMENT OF THE DISTRICT COLU               WASHINGTON DC 20013
WASHINGTON DC 20044-7862            OFFICE OF TAX AND REVENUE
                                    WASHINGTON DC 20044-4360


DISTRICT OF COLUMBIA TREASURER      DITTMAR, LESLIE G                             DITTMAR, REBECCA A
PO BOX 679                          87 FARNAM RD                                  10077 NW 17TH STREET
BEN FRANKLIN STATION                LAKEVILLE CT 06039                            CORAL SPRINGS FL 33071
WASHINGTON DC 20044-0679



DIVAS OF DISH, LLC                  DIVERSIFIED PRINT GROUP                       DIVERSIFIED REALTY SERVICES
1399 RICHMOND RD                    358 W ARMY TRAIL ROAD NO.140-410              4805 MUNSON ST NW
WINTER PARK FL 32789                BLOOMINGDALE IL 60108                         CANTON OH 44718




DIVERSIFIED SPRING TECHNOLOGIES     DIVERSIFIED SYSTEMS                           DIVERSITY HEALTHCARE INC
9233 SANTA FE SPRINGS RD            363 MARKET STREET                             333 N MICHIGAN AVE   STE 932
SANTA FE SPRINGS CA 90670           KENILWORTH NJ 07033                           CHICAGO IL 60601




DIVINA TAMONDONG                    DIVYA CADAMBI                                 DIXIE COMEAU
2911 GIBSON ROAD                    3710 N. LAKEWOOD                              3 SHERRY LANE
APT # 10                            1N                                            HAUPPAUGE NY 11788
EVERETT WA 98204                    CHICAGO IL 60613



DIXIE CONVERTING CORPORATION        DIXIE CONVERTING CORPORATION                  DIXIE DIESEL & ELECTRIC INC
889 BLANDENBURG RD                  PO BOX 934011                                 11552 E WASHINGTON BLVD, UNIT EE
CARROLLTON GA 30116                 ATLANTA GA 31193                              WHITTIER CA 90606




                                           Page 601 of 2387
                             Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 602 of 800
DIXIE TATE                                DIXIELINE LUMBER INC                          DIXON, DIANA
209 W. LAKE FAITH DRIVE                   PO BOX 83399                                  1500 WOOD HEIGHTS AVE APT E
MAITLAND FL 32751                         SAN DIEGO CA 92138-3399                       BALTIMORE MD 21211




DIXON, DIANA                              DIXON, JAZMEN                                 DIXON, JEAN CHARLES
8000 YORK RD APT 519A                     2816 EDINA BLVD    APT NO.2                   192 HEMING WAY
TOWSON MD 21252                           ZION IL 60099                                 BOYNTON BEACH FL 33426




DIXON, KEVIN                              DIXON, LARRY                                  DIXON, LLOYD
205 PADDINGTON PL     APT 202             1332 WILLOW OAK CT                            5631 BLUEBERRY CT
HAMPTON VA 23669                          AVON IN 46123                                 FT. LAUDERDALE FL 33313




DIXON, PAMELA {PAM}                       DIXON, ROBYN                                  DIXON, SASHA
5025 WEZEL CIRC                           MOSCOW BUREAU                                 6861 SW 1ST COURT
COLORADO SPRINGS CO 80916                 LA TIMES FOREIGN DESK                         PEMBROKE PINES FL 33023
                                          202 W 1ST ST
                                          LOS ANGELES CA 90053


DIXON, TAHASHA                            DIXON, VIRGINIA                               DIXON-MEDLEY, BARABARA A
24 COLLEGE DRIVE                          1300 ARTHUR ST                                1405 BEAVER RUIN RD #1405
EAST HARTFORD CT 06108                    HOLLYWOOD FL 33019                            NORCROSS GA 30093




DIZIK, ALINA                              DIZON CUETO                                   DJ CHEF MARC WEISS
73 E 3RD ST APT D1                        4336 N. KEDVALE AVE.                          534 E PARK AVE
NEW YORK NY 10003                         UNIT F                                        LONG BEACH NY 11561
                                          CHICAGO IL 60641



DJUI LING LIE                             DKA CHARITIES INC                             DKP & ASSOCIATES INC
421 N. MARGUERITA AVENUE                  DBA DOWNTOWN KALAMAZOO INC                    7847 LOWELL AVE      STE 200
UNIT G                                    157 S KALAMAZOO MALL                          SKOKIE IL 60076-3535
ALHAMBRA CA 91801                         KALAMAZOO MI 49007



DL IMAGES INC                             DL IMAGES INC                                 DL MARKLEY & ASSOCIATES INC
6376 MORENCI TRAIL                        8555 CEDAR PL DR NO. 112                      2104 W MOSS AVE
INDIANAPOLIS IN 46268-2584                INDIANAPOLIS IN 46240                         PEORIA IL 61604




DLACY, MYISHA                             DLC INC                                       DLC INC
97 ARDWICK DRIVE                          21800 OXNARD STREET SUITE 980                 6303 OWENSMOUTH AVE     10TH FLR
PAT G2                                    WOODLAND HILLS CA 91367                       WOODLAND HILLS CA 91367
STONE MOUNTAIN GA 30087



DLI PROPERTIES LLC                        DLI PROPERTIES LLC                            DLT ENTERTAINMENT
2000 BRUSH STREET SUITE 200               311 E GRAND RIVER                             31 WEST 56TH STREET
DETROIT MI 48226                          DETROIT MI 48226                              NEW YORK NY 10019




                                                 Page 602 of 2387
                           Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 603 of 800
DLT ENTERTAINMENT LTD                   DLT ENTERTAINMENT LTD                         DLUGOKENCKY, PAUL
124 EAST 55TH STREET                    31 W 56TH STREET                              420 HARRISON DR
NEW YORK NY 10022                       NEW YORK NY 10019                             CENTERPORT NY 11721




DME ACCESS INC                          DME ACCESS INC                                DMITRIY BOLOTIN
1717 INDUSTRIAL DR                      2215 CORNELL AV                               960 BEAU DR.
MONTGOMERY IL 60538                     MONTGOMERY IL 60538-3201                      UNIT 110
                                                                                      DES PLAINES IL 60016



DMITRIY KROPIVNITSKIY                   DMITRIYEVA, YELENA                            DMITRY DEKHTYAR
70-01 113TH STREET                      6315 LA COSTA DR NO.L                         10 SUN VALLEY LANE
#2G                                     BOCA RATON FL 33433                           BELLPORT NY 11713
FOREST HILL NY 11375



DMITRY YEKELCHIK                        DMJM H & N INC                                DML DELIVERY SERVICE
28 CROSSWOOD RD                         1178 PAYSHERE CIRCLE                          112 2ND AVE
FARMINGTON CT 06032-1043                CHICAGO IL 60674                              BARTLETT IL 60103




DMT INVESTMENTS, LLC                    DMV RENEWAL                                   DMV RENEWAL
RE: BEL AIR 9 W COURTLAND ST            ACCOUNTS PROCESSING H221                      MOTOR CARRIER PERMIT BRANCH-MS-G875
P.O. BOX 61                             PO BOX 944231                                 PO BOX 932370
BEL AIR MD 21015                        SACRAMENTO CA 94244-2310                      SACRAMENTO CA 94232-3700



DMV RENEWAL                             DMV RENEWAL                                   DMV RENEWAL
PO BOX 825339                           PO BOX 932340                                 PO BOX 942839
SACRAMENTO CA 94232-5339                SACRAMENTO CA 94232-3400                      SACRAMENTO CA 94239-0840




DMV RENEWAL                             DMV RENEWAL                                   DMV RENEWAL
PO BOX 942869                           PO BOX 942894                                 PO BOX 942897
SACRAMENTO CA 94232                     SACRAMENTO CA 94294-0894                      SACRAMENTO CA 94294-0894




DNB VENTURES INC                        DNK REAL ESTATE LLC                           DNSP
7428 COUNTY RD 736                      11405 TALL FOREST CIRC                        632 CALIFORNIA AVE
CENTER HILL FL 33514                    GERMANTOWN MD 20876                           VENICE CA 90291




DO ALL INDUSTRIAL SUPPLY GROUP          DO ALL INDUSTRIAL SUPPLY GROUP                DO ALL INDUSTRIAL SUPPLY GROUP
236 LAUREL AVENUE                       4436 PAYSPHERE CIRCLE                         PO BOX 99011
DES PLAINES IL 60016                    CHICAGO IL 60674                              FILE 34043
                                                                                      CHICAGO IL 60693



DO KYUN KIM                             DO, QUYEN                                     DO-HAN ALLEN
1236 VALLEY VIEW RD                     369 S DOHENY DRIVE NO.1220                    4A ARTHUR STREET
APT#5                                   BEVERLY HILLS CA 90211                        EASTHAMPTON MA 01027
GLENDALE CA 91202




                                               Page 603 of 2387
                         Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 604 of 800
DOBBERSTEIN, JOHN J                   DOBBS, ROBERT                                 DOBKIN, KELLY
806 E GLEN AVE                        5090 A NESTING WAY                            189 WAVERLY PL NO 8
WHITEFISH BAY WI 53217                DELRAY BEACH FL 33484                         NEW YORK NY 10014




DOBRIN, ARTHUR                        DOBRIN, LYN                                   DOBRIN, MICHAEL JAY
613 DARTMOUTH ST                      613 DARTMOUTH ST                              1050 MARINA VILLAGE PKWY   NO.101
WESTBURY NY 11590                     WESTBURY NY 11590                             ALAMEDA CA 94501




DOCEO OFFICE SOLUTIONS LLC            DOCILE, FRITZ T                               DOCS MAINTENANCE
325 COTTAGE HILL ROAD                 38 LINGER ROUND ST                            5800 SUNSET BOULVARD
YORK PA 17401                         LAKE WORTH FL 33461                           LOS ANGELES CA 90028




DOCTORE, NOVIA                        DOCTOROW, EDGAR L                             DOCUMET, ANGELA
837 TRAMORE DR                        333 E 57TH ST                                 9943 THREE LAKES CIRCLE
STOCKBRIDGE GA 30281                  NEW YORK NY 10022                             BOCA RATON FL 33428




DODD, CONNIE RAE                      DODDS, SUSAN                                  DODDY PHOTOGRAPHY
2414 HARDING ST                       PO BOX 217                                    1441 KEILMAN AVENUE
HOLLYWOOD FL 33020                    NORTH WINDHAM CT 06256                        HELLERTOWN PA 18055-1130




DODGE, MARIE ANN                      DODGE, WALTER                                 DODGERS TICKETS LLC
2126 WILLIAMS AVE                     2126 WILLIAMS AVE                             1000 ELYSIAN PARK AVE
BETHLEHEM PA 18020                    BETHLEHEM PA 18020                            LOS ANGELES CA 90012




DODSON, A TIMOTHY                     DODSON, WALTER LENDELL                        DOE, CARY LEE
11256 NW 15TH ST                      3390 FAIRBURN RD APT 5156                     436 NW 17TH AVE
CORAL SPRINGS FL 33071                ATLANTA GA 30331                              FT LAUDERDALE FL 33311




DOGGETT, SCOTT                        DOGGRELL, LESLIE G                            DOGHAUS DESIGN INC
475 CASTANO AVE                       14 RACING WIND                                19493 40TH AVE
PASADENA CA 91107                     IRVINE CA 92614                               SUNNY ISLES FL 33160




DOGSTARR CAFE                         DOHERTY, BRIAN                                DOHERTY, PHILIP
29 N 6TH ST                           1300 N CURSON AVE   NO.2                      329 EAST MADISON STREET
ALLENTOWN PA 18101                    LOS ANGELES CA 90046                          ELMHURST IL 60126




DOLAN, ALEXANDER                      DOLAN, EMILY G                                DOLAN, JAY
3048 NW 27 AVE                        125 SOUTH ST APT 324                          8840 SEA OAKS WAY SOUTH APT 204
BOCA RATON FL 33434                   VERNON CT 06066                               VERO BEACH FL 32963




                                             Page 604 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 605 of 800
DOLAN, MIKE P                          DOLANDE, ALIS                                 DOLE, BARBARA
6531 W 82ND STREET                     1590 NW 128TH DR #107                         4105A FENWICK LANE
LOS ANGELES CA 90045                   SUNRISE FL 33323                              MOUNT LAUREL NJ 08054




DOLGIN, JANET L                        DOLINAR, LOUIS                                DOLIS, RAFAEL JOSE
775 EVERGREEN DR                       BOX 228                                       C/PANAMERICANA NO.11
W HEMPSTEAD NY 11552                   OCEAN BEACH NY 11770                          BARRIO PUERTO RICO CANSUELO
                                                                                     SAN PEDRO DE MACORIS



DOLL, ROBERT A                         DOLLAR, ELLEN PAINTER                         DOLLAWAY, CIARA
2300 LINCOLN RD                        51 OAK RIDGE LANE                             39 N 10TH ST
HATTIESBURG MS 39402                   WEST HARTFORD CT 06107                        ALLENTOWN PA 18102




DOLLIE MERRITT                         DOLLIE MOLINA                                 DOLLOWAY, CHAURTA
707 EAST 38TH PLACE                    228 BANDBRIDGE                                431 N 2ND ST FRONT APT
APT. #102                              LA PUENTE CA 91744                            ALLENTOWN PA 18102
CHICAGO IL 60653



DOLLY MARINELLO                        DOLMAN, JOSEPH                                DOLORES C MIERKIEWICZ
7360 NW 4TH STREET                     5800 ARLINGTON AVE        NO.15B              2618 HAWTHORNE
#102                                   RIVERDALE NY 10471                            FRANKLIN PARK IL 60131
PLANTATION FL 33317



DOLORES CHITTENDEN                     DOLORES DELAURENTIS                           DOLORES KOHL EDUCATION FOUNDATION
3 TANGLEWOOD DRIVE                     1120 WASHINGTON STREET                        1770 FIRST STREET SUITE 705
SOUTH GLENS FALLS NY 12803             ALLENTOWN PA 18102                            HIGHLAND PARK IL 60035




DOLORES MACKLIN                        DOLORES MARTINEZ                              DOLORES N. SINSKI
617 N. LOREL AVENUE                    3637 SCOTT                                    120 MICHAELIAN WAY
CHICAGO IL 60644                       FRANKLIN PARK IL 60131                        THE WATERFALLS
                                                                                     LAKE RONKONKOMA NY 11779



DOLS, TOM                              DOMANICK, JOE                                 DOMANN, KENNETH
224 N MAPLE ST                         8530 HOLLOWAY DRIVE NO.206                    4234 DORNEY PARK RD APT 406
ENFIELD CT 06082-2306                  W HOLLYWOOD CA 90069                          ALLENTOWN PA 18104




DOMAR GROUP INC                        DOMASH, ROCHELLE                              DOMBROSKI, JOSEPH
14742 BEACH BLVD NO.256                1924 PLYMOUTH DR                              3 CHUCK COURT
LA MIRADA CA 90638                     WESTBURY NY 11590                             PORT JEFFERSON NY 11777




DOME PRODUCTIONS INC                   DOMGAL, RYAN                                  DOMINE, LISA
1 BLUE JAY WAY STE 3400                6 IVY HILL CT                                 4511 POND CIRCLE
TORONTO ON M5V 1J3                     HUNTINGTON NY 11743                           PLAINFIELD IL 60586




                                              Page 605 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 606 of 800
DOMINGO PALACIOS                       DOMINGOS BARBOSA                              DOMINGUEZ, SAMUEL
2920 MARSH STREET                      1870 PARK STREET                              14424 HERTHA AVENUE
APT. 3                                 HARTFORD CT 06106                             ORLANDO FL 32826
LOS ANGELES CA 90039



DOMINGUEZ, VICTORIA E                  DOMINIC AMORE                                 DOMINIC ANTONELLI
1701 NW 13TH ST APT 102                43 AVERILL PLACE                              3299 TIMUCUA CIRCLE
BOCA RATON FL 33486                    BRANFORD CT 06405                             ORLANDO FL 32837




DOMINIC D'ANTONIO                      DOMINIC FOLINO                                DOMINIC LA SCHIAZZA
600 NORTH BROADWAY                     3539 S. EMERALD                               2312 P STREET
APT. 9                                 APT. #2                                       #14
AMITYVILLE NY 11701                    CHICAGO IL 60609                              SACRAMENTO CA 95816



DOMINIC PAPPALARDO                     DOMINIC SOLTERO                               DOMINIC T SIRIANN
5828 W. COLLEGE DRIVE                  1310 W. ADDISON                               13257 S OAK HILLS PK
UNIT H                                 APT. #1                                       PALOS HEIGHTS IL 60463
ALSIP IL 60803                         CHICAGO IL 60613



DOMINICK BOVE                          DOMINICK BRUNO                                DOMINICK D'ORAZIO
718 HYMAN AVENUE                       P.O. BOX 1347                                 85 LENORE LANE
WEST ISLIP NY 11795                    ISLAND HEIGHTS NJ 08732                       FARMINGVILLE NY 11738




DOMINICK GUIDA                         DOMINICK NATALIE                              DOMINICK STASI
342 PLAINVIEW DRIVE                    1102 PALISADO AVENUE                          1408 S. PROSPECT
BOLINGBROOK IL 60440                   WINDSOR CT 06095                              PARK RIDGE IL 60068




DOMINICK TRINGALI                      DOMINICKS FOUNDATION                          DOMINICKS FOUNDATION
1 WOODPECKER WAY                       3020 S WOLF ROAD                              711 JORIE BLVD
MARLBORO NJ 07746                      WESTCHESTER IL 60154                          OAK BROOK IL 60523-2246




DOMINICKS FOUNDATION                   DOMINION                                      DOMINION
ATTN MELISA ROBBINS                    ACCT NO. 6256310001                           P.O. BOX 26019
711 JORIE BLVD                         P.O. BOX 26019                                RICHMOND VA 23260-6019
OAK BROOK IL 60523                     RICHMOND VA 23260-6019



DOMINION DISTRIBUTION                  DOMINION DISTRIBUTION                         DOMINION DISTRIBUTION
10300 FOURTH STREET SUITE 240          ORANGE COUNTY                                 PO BOX 177
PO BOX 1018                            PO BOX 6069                                   CANOGA PARK CA 91305
RANCHO CUCAMONGA CA 91729              LAGUANA NIGUEL CA 92607



DOMINION DISTRIBUTION                  DOMINION DISTRIBUTION                         DOMINION DISTRIBUTION
1440 NORTH DAYTON SUITE 202            150 GRANBY STREET                             PO BOX 1040
CHICAGO IL 60622-2647                  NORFOLK VA 23501-1040                         NORFOLK VA 23501-1040




                                              Page 606 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 607 of 800
DOMINION POST                          DOMINION VIRGINIA POWER                       DOMINION VIRGINIA POWER
1251 EARL L CORE RD                    P.O. BOX 26543                                PO BOX 26019
MORGANTOWN WV 26505                    RICHMOND VA 23290-0001                        RICHMOND VA 23260-6019




DOMINION VIRGINIA POWER                DOMINIQUE BIGGS                               DOMINIQUE JOHNSON
PO BOX 26666                           1654 W. PAYPOLE                               17830 LASSEN ST
RICHMOND VA 23261                      CHICAGO IL 60612                              APT#213
                                                                                     NORTHRIDGE CA 91325



DOMINIQUE PALMER                       DOMINIQUE WELLS                               DOMINIX ELECTRIC INC
1304 34TH STREET                       2330 NE 1ST AVENUE                            2075 NE 154TH STREET
NEWPORT NEWS VA 23607                  POMPANO BEACH FL 33060                        NORTH MIAMI BEACH FL 33162




DOMINO'S PIZZA                         DOMINQUE BETTS                                DOMINQUE REED
155 MICKLEY RD                         323 GREGORY LANE                              189 NO. WISCONSIN AVENUE
WHITEHALL PA 18052                     PLANO IL 60545                                NO. MASSAPEQUA NY 11758




DON BURKE                              DON CRINKLAW                                  DON CUDNEY PHOTO
1007 HAMILTON STREET                   3100 NE 48TH STREET                           389 SOUTH BROADWAY
SHOREWOOD IL 60404                     FORT LAUDERDALE FL 33308                      DENVER CO 80209




DON DUBUC PRODUCTIONS LLC              DON FREDERICK                                 DON G JOHNSTON
PO BOX 753                             3012 HOMEWOOD PKWY                            3020 ROYAL PALM DR
ABITA SPRINGS LA 70420                 KENSINGTON MD 20895                           COSTA MESA CA 92626




DON GILBERT                            DON HAYN JR                                   DON ISRAELI
1006 SECRETARIAT CIRCLE                407 HAMLIN ST                                 8821 SHORE PARKWAY
COSTA MESA CA 92626                    PARK FOREST IL 60466                          HOWARD BEACH NY 11414




DON KELSEN                             DON KLEINSCHMIDT                              DON M LESHER
21081 WHITEBARK                        4915 W GRACE                                  2351 SOPHIA LANE
MISSION VIEJO CA 92692                 CHICAGO IL 60641                              KINGSBURG CA 93631




DON MACGREGOR                          DON MANN                                      DON MEEK
101 E WILSON                           208 KENMAR DRIVE                              1796 GLENNEYRE ST
ELMHURST IL 60126                      YORKTOWN VA 23692                             LAGUNA BEACH CA 92651




DON NEWCOMB                            DON PETERSEN PHOTOGRAPHY                      DON PETERSEN PHOTOGRAPHY
324 SOUTH HARVEY AVENUE                2524 HOLLOWDALE DR                            2524 HOLLOWDALE DR
OAK PARK IL 60302-3522                 ROANOKE VA 24108                              ROANOKE VA 24018-2640




                                              Page 607 of 2387
                         Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 608 of 800
DON QUEEN                             DON SAPANERO                                  DON SHIRLEY
1639 STONEWOOD ROAD                   RE: HAVRE DE GRACE 316 ST. JO                 5252 COLDWATER CYN #108
BALTIMORE MD 21239                    561 MARYLAND AVE, BOX 33                      SHERMAN OAKS CA 91401
                                      PERRYVILLE MD 21903



DON SPRAYER                           DON STACOM                                    DON TERRY
231 PINE ST                           8 FOOTE ROAD                                  1115 S. PLYMOUTH COURT
BEECHER IL 60401                      BURLINGTON CT 06013                           #511
                                                                                    CHICAGO IL 60605



DON VITALIS SERVICES                  DON WEINER ASSOCIATES                         DON WRIGHT INC
3301 NORTH PARK DRIVE NO.3211         156 HILLTOP DRIVE                             4917 S FLAGLER DRIVE
SACRAMENTO CA 95835                   CHURCHVILLE PA 18966-1370                     WEST PALM BEACH FL 33405




DON'T BLINK INC                       DONA BOLLING                                  DONA PRINDLE
1034 ROMONA                           1570 HARFORD SQ DR.                           83 KNOLLWOOD ROAD
ATTN: BOB SIROTT                      EDGEWOOD MD 21040                             MANCHESTER CT 06040
WILMETTE IL 60091



DONADIO, DAVID                        DONAHUE, ANN                                  DONAHUE, MICHAEL
4740 CONNECTICUT AVENUE NW NO.515     525 N SYCAMORE AVE                            63 BENHAM ST
WASHINGTON DC 20008                   LOS ANGELES CA 90036                          TORRINGTON CT 06790




DONAJI DE CASTRO                      DONALD AKERLUND                               DONALD ALBERT
1343 W. SAN BERNARDINO RD.            858 NW 45TH STREET                            D/B/A ALBERT LANDSCAPING
APT. 33                               POMPANO BEACH FL 33064                        531 LOUISE DRIVE
COVINA CA 91722                                                                     HINCKLEY IL 60520



DONALD ANDERSON                       DONALD ANGEL                                  DONALD B WOUTAT
103 MONTICELLO DR                     11376 LOCHLOMOND ROAD                         75 QUAIL TRAIL LANE
MANSFIELD TX 76063                    ROSSMOOR CA 90720                             COUPEVILLE WA 98239




DONALD BALLENGER                      DONALD BARTLETTI                              DONALD BIERMAN
8801 GLENDOVER WAY                    712 BERKELEY WAY                              9340 E. REDFIELD RD.
INGLEWOOD CA 90305                    VISTA CA 92084                                UNIT 1127
                                                                                    SCOTTSDALE AZ 85260



DONALD BLESER                         DONALD BOSTROM                                DONALD BOUIE
3579 E. FOOTHILL BLVD.                822 SALFORD STATION ROAD                      19609 SHERMAN WAY
#290                                  SCHWENKSVILLE PA 19473                        RESEDA CA 91335
PASADENA CA 91107



DONALD BREMNER                        DONALD BRENNAN AND ASSOCIATES INC             DONALD BROCK
1680 WALWORTH AVENUE                  PO BOX 823                                    1421 KENT AVENUE
PASADENA CA 91104                     WASHINGTON CROSSING PA 18977                  BALTIMORE MD 21207




                                             Page 608 of 2387
                        Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 609 of 800
DONALD BURGESS                       DONALD BURKART                                DONALD BURT
1702 WAYNE AVENUE                    24 ACME AVENUE                                4360 KANSAS STREET
SO PASADENA CA 91030                 BETHPAGE NY 11714                             APT#4
                                                                                   SAN DIEGO CA 92104



DONALD C BLOXHAM                     DONALD C MICHEL                               DONALD C PIERSON
15935 SAN ANTONIO AVENUE             3000 ADORNOS WAY                              1549 TELEGRAPH ROAD
LA MIRADA CA 90638                   BURBANK CA 91504                              LAKE FOREST IL 60045




DONALD CAMPBELL                      DONALD CAPPADONNA                             DONALD CARLIN
7150 FAIRBROOK ROAD                  24342 CHERYL KELTON PL                        3300 N. PALM AIRE DRIVE
BALTIMORE MD 21244                   SANTA CLARITA CA 91321-2371                   #304
                                                                                   POMPANO BEACH FL 33069



DONALD CASTO                         DONALD COOK                                   DONALD CYPHERS
501 NORTH CALVERT STREET             155 MONTEREY WAY                              203 BARBARA LANE
BALTIMORE MD 21278                   ROYAL PALM BEACH FL 33411                     STEGER IL 60475




DONALD DALEY                         DONALD DEAN ANDERSEN                          DONALD DECARLO
5900 NW 14TH PLACE                   1020 CONAN DOYLE                              4518 N AVENIDA RONCA
SUNRISE FL 33313                     NAPERVILLE IL 60564                           TUSCON AZ 85750




DONALD DELLERA                       DONALD DERLE                                  DONALD DICKER
332 MYRTLE AVE                       7094 TORREY PINES CIRCLE                      1427 E HILLSBORO BLVD
WEST ISLIP NY 11795                  PORT ST. LUCIE FL 34986                       APT 326
                                                                                   DEERFIELD BEACH FL 33441



DONALD DISCHNER                      DONALD DOMBROWSKI                             DONALD DORCIK
324 E CRYSTAL VIEW AVENUE            5231 TEMPLE STREET                            3241 LINCOLN STREET
ORANGE CA 92865                      OAK FOREST IL 60452                           HIGHLAND IN 46322




DONALD DRISCOLL                      DONALD E CRONBERG                             DONALD F SCHROEDER
926 GAMING SQUARE                    1908 HAWTHORNE CT.                            1519 SPYGLASS DR
HAMPSTEAD MD 21074                   GRAYSLAKE IL 60030                            UPLAND CA 91786




DONALD FERGUSON                      DONALD FISHER                                 DONALD FLAUMENBAUM
112 PUFFIN LANE                      1425 ROBERT ST                                1119 64TH STREET
WILLIAMSBURG VA 23188                WHITEHALL PA 18052                            BROOKLYN NY 11219




DONALD FORGER                        DONALD GOLM                                   DONALD GRAHAM
740 BELLMORE AVE                     4609 S MADISON STREET                         6722 S. RHODES
EAST MEADOW NY 11554                 BROOKFIELD IL 60513                           CHICAGO IL 60637




                                            Page 609 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 610 of 800
DONALD GRAVES                          DONALD GREEN-BEY                              DONALD GRENESKO
14724 CRICKETWOOD DRIVE                7503 STONES THROW COURT                       130 THORN TREE LANE
HOMER GLEN IL 60491                    BALTIMORE MD 21244                            WINNETKA IL 60093




DONALD HACKER                          DONALD HARRIS                                 DONALD HICKS
11673 RAMSDELL COURT                   62 ABERDEEN AVE                               13925 109TH COURT EAST
SAN DIEGO CA 92131                     ABERDEEN MD 21001                             PUYALLUP WA 98374




DONALD HIRST                           DONALD HOWARD                                 DONALD HUNT
107 OAKDALE AVENUE                     10705 DENKER AVE.                             683 W SIERRA MADRE BLVD
CATONSVILLE MD 21228                   LOS ANGELES CA 90047                          SIERRA MADRE CA 91024




DONALD HUNT                            DONALD J MALDONADO                            DONALD JEFFERSON
59 WILLIAM PENN DRIVE                  49-793 COACHELLA DR                           2704 ROSALEE DRIVE
STONY BROOK NY 11790                   LA QUINTA CA 92253                            HAMPTON VA 23661




DONALD JENNER                          DONALD JOHNSON                                DONALD KALLINICH
17840 GREENWOOD DRIVE                  16302 N. MIST DRIVE                           14 MADSEN ROAD
TINLEY PARK IL 60477                   HOUSTON TX 77073                              WEST HARTFORD CT 06110




DONALD KAYE                            DONALD KENT                                   DONALD KESSLER
5 NORTHGATE ROAD                       19236 PEBBLE BCH PL                           286 FOREST AVE
MASSAPEQUA NY 11762                    NORTHRIDGE CA 91326                           MASSAPEQUA NY 11758




DONALD KUBIDA                          DONALD KUSCH                                  DONALD L ALPERT
19512 ABBOT'S WAY                      1164 SHAWFORD WAY                             13854 PHILADELPHIA STREET
MOKENA IL 60448                        ELGIN IL 60120                                WHITTIER CA 90601




DONALD L SPETH                         DONALD L STROMING                             DONALD LAND
4640 LA CRESCENTA AVENUE               2702 CEDAR RIDGE PLACE                        1097 VIA CORDOVA
LA CRESCENTA CA 91214                  ONTARIO CA 91761                              SAN PEDRO CA 90732




DONALD LAPOINTE                        DONALD LEACH                                  DONALD LEE LUCE
256 INDIANA                            255 1/2 STREET ANNES DR #B                    17956 GALLINETA STREET
ELMHURST IL 60126                      LAGUNA BEACH CA 92651                         ROWLAND HEIGHTS CA 91748-4227




DONALD LEUN                            DONALD LIEBENTRITT                            DONALD LIGGINS
67 HALE STREET                         435 N MICHIGAN AVE                            2113 SINCLAIR LANE
BRENTWOOD NY 11717                     CHICAGO IL 60611                              BALTIMORE MD 21213




                                              Page 610 of 2387
                           Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 611 of 800
DONALD LIVINGSTON                       DONALD LORENZ                                 DONALD M CRAVEN PC
422 BELLEVUE ROAD                       1440 N STATE PKWY                             1005 N 7TH ST
RED LION PA 17356                       5C                                            SPRINGFIELD IL 62702
                                        CHICAGO IL 60610



DONALD MARGOLIN                         DONALD MARIUTTO                               DONALD MARKUS
626 E GRINNELL DR                       10931 NW 6TH COURT                            14712 DUNLEITH ST
BURBANK CA 91501                        PLANTATION FL 33324                           NORTH POTOMAC MD 20878




DONALD MC CONVILLE                      DONALD MCLAUGHLIN                             DONALD MCMULLEN
134 SAWGRASS LANE                       2632 NE 201ST AVENUE                          3835 JASMINE LN
DAYTON NV 89403                         UNIT 30                                       CORAL SPRINGS FL 33065
                                        FAIRVIEW OR 97024-8706



DONALD MEISTER                          DONALD MILLER                                 DONALD MILLER
2617 S HARVEY                           920 SOUTH POPLAR STREET                       1818 CLINTON ROAD
BERWYN IL 60402                         ALLENTOWN PA 18103                            NORRISTOWN PA 19403




DONALD MILLER                           DONALD MUNSON                                 DONALD N MARTIN & COMPANY INC
1635 SANTA SUSANA DR                    20 WENONAH PLACE                              355 LEXINGTON AVE 19TH FLOOR
HEMET CA 92543                          LONGMEADOW MA 01106                           NEW YORK NY 10017




DONALD NATHAN                           DONALD PAGANO                                 DONALD PATTERSON
650 NW 76TH TERRACE                     47-36 210TH ST.                               1115 GORDON COMBS RD
#207                                    BAYSIDE NY 11361                              MARIETTA GA 30064
MARGATE FL 33063



DONALD PENNINGTON                       DONALD POTTS JR.                              DONALD PRESCOTT
10533 WEST DARTMOUTH AVENUE             16530 E. MASELINE ST.                         705 NW 42 WAY
LAKEWOOD CO 80227                       COVINA CA 91722                               DEERFIELD BEACH FL 33442




DONALD R MACDONALD                      DONALD R NORWOOD                              DONALD R SRENASKI
9201 W. BROWARD BLVD.                   17514 CHOCTAW CIRCLE                          13833 KIRKLAND DRIVE
C-208                                   FOUNTAIN HILLS AZ 85268                       HUNTLEY IL 60142
PLANTATION FL 33324-2417



DONALD RAGLAND                          DONALD RANIERI                                DONALD RASK
933 LUCILE AVE.                         12 VOILA DRIVE                                17914 MARSHALL MILL RD.
LOS ANGELES CA 90026                    GLEN COVE NY 11542                            HAMPSTEAD MD 21074




DONALD REESE                            DONALD RICE                                   DONALD RICE
8223 ROSEMEAD BLVD                      510 GROVE LANE                                7260 NW 44TH PLACE
PICO RIVERA CA 90660                    LOMBARD IL 60148                              LAUDERHILL FL 33319




                                               Page 611 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 612 of 800
DONALD ROONEY                          DONALD S KELLERMANN                           DONALD S MAXWELL
7637 SOUTH ONEIDA COURT                2750 UNICORN LANE                             2160 LE FLORE DRIVE
CENTENNIAL CO 80112                    WASHINGTON DC 20015                           LA HABRA HEIGHT CA 90631




DONALD SALVITTI                        DONALD SANON                                  DONALD SCHILLER
21797 EAST MAIN STREET                 7244 WOODHILL PARK DRIVE                      639 OVERBROOK ROAD
P.O. BOX 1298                          APT. 1003                                     BALTIMORE MD 21212
CUTCHOGUE NY 11935                     ORLANDO FL 32818



DONALD SHAW                            DONALD SKROBAK                                DONALD SNYDER
22 ELM STREET                          316 HILLCREST AVENUE                          4334 LOWER SAUCON ROAD
APT. 28                                BETHLEHEM PA 18020                            HELLERTOWN PA 18055
HUNTINGTON NY 11743



DONALD SNYDER                          DONALD STAGGS                                 DONALD SYLVESTER
15 GRAPE LANE                          20961 CALLE CELESTE                           C/O LERNER & GUARINO LLC
HICKSVILLE NY 11801                    LAKE FOREST CA 92630                          112 PROSPECT STREET
                                                                                     STAMFORD CT 06901



DONALD SYLVESTER                       DONALD T USERY                                DONALD TERRY
LERNER & GUARINO LLC                   1622 LANCEWOOD AVENUE                         10636 SO LAFAYETTE
112 PROSPECT STREET                    HACIENDA HTS CA 91745                         CHICAGO IL 60628
STAMFORD CT 06901



DONALD THOMAS                          DONALD TRIMBLE                                DONALD TRIPP
9408 S PEORIA                          1424 ORCA ST                                  20405 LONDELIUS STREET
CHICAGO IL 60620                       APT #4                                        WINNETKA CA 91306
                                       ANCHORAGE AK 99501



DONALD TURNBAUGH                       DONALD VAN GELDEREN                           DONALD VANDERKOOI
18522 NW 6TH AVE                       32017 GREEN HILL DR                           5790 AVALON DRIVE
SHORELINE WA 98177                     CASTAIC CA 91384                              227
                                                                                     MUSKEGON MI 49444



DONALD W BRADY                         DONALD WATSON                                 DONALD WETZEL
4018 HARNETT                           7910 BANK STREET                              1009 BUSH RD.
EL MONTE CA 91732                      BALTIMORE MD 21224                            ABINGDON MD 21009




DONALD WHALEN                          DONALD WHITE                                  DONALD WHITE
397 SOUTH 16TH ST                      P.O. BOX 1326                                 485 WEST 187TH STREET
LINDENHURST NY 11757                   PUYALLUP WA 98371                             NEW YORK NY 10033




DONALD WHITMORE                        DONALD WILLIAMS                               DONALD WIRICK
6032 LAKEVILLE ROAD                    190 OVERPECK AVE                              855 WILLARD AVE.
ORLANDO FL 32818                       RIDGEFIELD NJ 07660                           BRANLEY CA 92227




                                              Page 612 of 2387
                         Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 613 of 800
DONALD Y IZUMIHARA                    DONALD YOUNG                                  DONALD, SYRIAQUE JEAN
18311 S WINSLOW PLACE                 253 AVENUE C                                  90 LARIAT CIRCLE
CERRITOS CA 90703                     RONKONKOMA NY 11779                           BOCA RATON FL 33487




DONALDSON, GORDON                     DONALDSON, JONATHAN                           DONALDSON, TAMMY
6 W AZTEC ST                          1824 SW 4TH CT                                2003 VISTA LN
ABERDEEN MD 21001                     FT LAUDERDALE FL 33312                        APOPKA FL 32703




DONALDSON, TRACY                      DONATHAN RICH                                 DONATO LAMBERTI
5231 4TH ST STE 2802                  10940 SCRIPPS RANCH BLVD                      77 DARTMOUTH DR
ORLANDO FL 32810-5209                 1E                                            HICKSVILLE NY 11801
                                      SAN DIEGO CA 92131



DONCEVIC, LOIS A                      DONCHELL THOMAS                               DONCIU, ANDREW JOHN
5737 SNOWY ORCHID LN.                 2417 HARRIET AVE                              251 LANCASTER ST
ALLENTOWN PA 18104                    BALTIMORE MD 21230                            BOCA RATON FL 33487




DONE DEAL PROMOTIONS                  DONEGAL, PATRICIA V                           DONELLE HALEY
7900 N NAGLE AVE  STE 500             2712 NW 47TH LN                               12445 S.W. 47TH ST
MORTON GROVE IL 60053                 LAUDERDALE LAKES FL 33313                     MIRAMAR FL 33027




DONER, JORDAN                         DONG LEE                                      DONGHIA, SUSAN
260 5TH AVE NO.3N                     202 WEST FIRST STREET                         1145 22ND COURT
NEW YORK NY 10001                     FOREIGN DESK                                  VERO BEACH FL 32960
                                      LOS ANGELES CA 90012



DONIA BENONS                          DONISHA EVANS                                 DONLEY, DONNETTE YEATON
15553 EUCALYPTUS                      603 CHERRYCREST ROAD                          118 HIDDEN OAKS DR
BELLFLOWER CA 90706                   APT. A                                        BARRINGTON IL 60010
                                      BALTIMORE MD 21225



DONNA ADAMCZYK                        DONNA AMORY                                   DONNA ARDINE
9116 S PRIMROSE CIRCLE                6288 CENTERVILLE ROAD                         1101 S SEACREST BLVD
BREINIGSVILLE PA 18031                WILLIAMSBURG VA 23188                         BOYNTON BEACH FL 33435




DONNA BAILEY                          DONNA BAKER                                   DONNA BECK
1445 WEST TILGHMAN STREET             5350 SINCLAIR LANE                            11 FEINER PLACE
ALLENTOWN PA 18102                    APT. F                                        IRVINGTON NJ 07111
                                      BALTIMORE MD 21206



DONNA BEDO                            DONNA BEST                                    DONNA BITLER
1 GALLERIA BLVD                       134 N HALL STREET                             309 MONTGOMERY AVENUE
SUITE 850                             ALLENTOWN PA 18102                            NORTH BABYLON NY 11703
METAIRIE LA 70001




                                             Page 613 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 614 of 800
DONNA BODKIN                           DONNA BOMBARD                                 DONNA BRADSHAW
54 FURMAN LANE                         25 QUARRY CROSSING                            2820 DEFOREST AVENUE
PATCHOGUE NY 11772                     HUDSON FALLS NY 12839                         LONG BEACH CA 90806




DONNA BROYLES                          DONNA CALDARULO                               DONNA COLBY
8006 VICKSBURG AVENUE                  1847 W. GRAND AVE.                            9601 S WINCHESTER
LOS ANGELES CA 90045                   UNIT 1                                        CHICAGO IL 60643
                                       CHICAGO IL 60622



DONNA COPPOLA                          DONNA CORDOVA HOMAN                           DONNA D ADAMS
1200 CREEKSIDE DR #1625                4 BATAVIA CRT.                                4225 VIA ARBOLADA #550
FOLSOM CA 95630                        SACRAMENTO CA 95835                           LOS ANGELES CA 90042




DONNA DEANE-VETRO                      DONNA DIMENICHI                               DONNA FENSTERMAKER TAX COLLECTOR
6140 MONTEREY ROAD                     17 E UNION BLVD                               5027 NOR BATH BLVD
APT #302                               BETHLEHEM PA 18018                            EAST ALLEN TOWNSHIP
LOS ANGELES CA 90042                                                                 NORTHAMPTON PA 18067



DONNA FINLON                           DONNA FLAGG                                   DONNA FOUTS
3755 WRIGHT TERRACE                    4255 CRYSTAL LAKE DRIVE                       8 PENDELLE COURT
SKOKIE IL 60076                        APT 74                                        FREELAND MD 21053
                                       POMPANO BEACH FL 33064



DONNA GLICK                            DONNA GUIDA                                   DONNA HAMMOND
2056 E 56 ST                           60 MAYBROOK ROAD                              14313 WOODED PATH LN.
1 FL                                   NORTH BABYLON NY 11703                        ORLAND PARK IL 60462
BROOKLYN NY 11234



DONNA HILL                             DONNA HOUSEWORTH, JULIAN DEMORA,              DONNA HUMPHREY
10908 CHANERA AVENUE                   JULIAN DEMORA JR., RE: DEBARY 842             4813 ROCHESTER CT
INGLEWOOD CA 90302                     DIPLOMAT RD; C/O DONNA HOUSEWORTH             NEWPORT NEWS VA 23607
                                       2833 BLUESTONE DR.
                                       DELTONA FL 32738


DONNA J VALENTI                        DONNA JABLONSKI                               DONNA JAMES
14998 CLOVERDALE ROAD                  851 MANGO DRIVE                               1648 STROUD LANE
ANDERSON CA 96007                      CASSELBERRY FL 32707                          MESQUITE TX 75150




DONNA JEBSON                           DONNA JOHNSON                                 DONNA KASTEN
3954 SHELLY RD.                        7447 S. SOUTHSHORE                            6348 DEVONSHIRE
HAYES VA 23072                         APT # 29J                                     ST. LOUIS MO 63109
                                       CHICAGO IL 60649



DONNA KELLY                            DONNA KIRBY                                   DONNA L FRAZIER GLYNN
27 OLD FOX HILL ROAD                   9039 BILLOW ROW                               639 S SPRING STREET
HAMPTON VA 23669                       COLUMBIA MD 21045                             7-B
                                                                                     LOS ANGELES CA 90014




                                              Page 614 of 2387
                         Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 615 of 800
DONNA LABOY                           DONNA LARCEN                                  DONNA LEBLANC
19525 EAST IOWA CIRCLE                32 GRANT HILL ROAD                            8451 S SANGAMON
AURORA CO 80017                       BLOOMFIELD CT 06002                           CHICAGO IL 60620




DONNA LONG                            DONNA LUCAS                                   DONNA M SWAYZE
7643 EAST END AVE.                    102 OGDEN ROAD                                1868 SAINT ALBANS ROAD
2W                                    STAMFORD CT 06905                             SAN MARINO CA 91108-2511
CHICAGO IL 60649



DONNA MADDAMMA                        DONNA MARIE STURDIVANT                        DONNA MCCAIN
621 RED MULBERRY DR                   6223 S. KENWOOD                               32 COUNTRY LANE
DELTONA FL 32725                      APT #1R                                       VERNON CT 06066
                                      CHICAGO IL 60637



DONNA MCCARTY                         DONNA MINNICOZZI                              DONNA NICOLOSI
616 CARROLLWOOD ROAD                  1545 14TH STREET                              20 SEQUAMS LANE E
APT C                                 WEST BABYLON NY 11704                         WEST ISLIP NY 11795
MIDDLE RIVER MD 21220



DONNA PIERCE                          DONNA POLIMENI                                DONNA PRASTARO
535 N MICHIGAN AVENUE                 2054 DECATUR AVENUE                           502 SOUTH 9TH STREET
# 3105                                NORTH BELLMORE NY 11710                       LINDENHURST NY 11757
CHICAGO IL 60611



DONNA PUNTOLILLO                      DONNA RIDDICK                                 DONNA RITTERMANN
39 WEST 76TH STREET                   26162 PONDVIEW LANE                           4210 ELSA TERRACE
APT. 5F                               WINDSOR VA 23487                              BALTIMORE MD 21211
NEW YORK NY 10023



DONNA ROMERO                          DONNA ROSENBLUM                               DONNA SADULA
818 SONORA COURT                      8750 AZALEA COURT                             10705 LANE STREET
SAN DIMAS CA 91773                    APT 103                                       CROWN POINT IN 46307
                                      TAMARAC FL 33321



DONNA SANDS                           DONNA SAUNDERS                                DONNA SCHEETT
7516 EAGLE POINT DR                   719 VINE STREET                               66 SANLUN LAKES DR
DELRAY BEACH FL 33446                 LOCKPORT IL 60441                             HAMPTON VA 23666




DONNA SCHULTHEIS                      DONNA SCHWEDER                                DONNA SLOAN
2713 MCCOMAS AVENUE                   585 FERN HILL ROAD                            2311 HIDALGO AVENUE
BALTIMORE MD 21222                    BRISTOL CT 06010                              LOS ANGELES CA 90039




DONNA SONDAY                          DONNA SPEAR                                   DONNA STILE
1804 BENT PINEHILLE                   P.O. BOX 807                                  50 BRUNSWICK ROAD
FOGELSVILLE PA 18051                  ROCKY POINT NY 11778                          LAKE RONKONKOMA NY 11779




                                             Page 615 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 616 of 800
DONNA STOKLEY                          DONNA SULESKI                                 DONNA TARZIAN
2223 LORAIN ROAD                       7505 RIVER ROAD                               330 MT WASHINGTON DR
SAN MARINO CA 91108                    APT #12C                                      LOS ANGELES CA 90065
                                       NEWPORT NEWS VA 23607



DONNA VAN BUREN                        DONNA WALKER                                  DONNA WALKER
751 E. BRADLEY AVE.                    2699 VISTA MONTE CIRCLE                       1345 WILLARD ST
9                                      CHINO HILLS CA 91709                          GARY IN 46404
EL CAJON CA 92021



DONNA WALP                             DONNA WALTON                                  DONNA WILLIAMS
3205 E COLUMBIA STREET                 4420 S MICHIGAN AVE.                          225 HARBOUR GDNS CT
WHITEHALL PA 18052                     #301                                          ORLANDO FL 32806
                                       CHICAGO IL 60653



DONNA WIREMAN                          DONNA YELTON                                  DONNA YOSHIMURA
16435 MYERS COURT                      2911 S. COPRA LANE                            33W086 RICHARDSON
CLERMONT FL 34711                      HOUSTON TX 77073                              EAST DUNDEE IL 60118




DONNA, GARRY                           DONNAJEAN CUTRONE                             DONNEL JACKSON
2256 ROME DRIVE                        39 43RD STREET                                64 THE BOULEVARD
INDIANAPOLIS IN 46228                  ISLIP NY 11751                                AMITYVILLE NY 11701




DONNELL SOMMERVILLE                    DONNELL, ALEXANDER                            DONNELLY, BRIAN
13 WATERWOOD COURT                     3723 DUNN DRIVE                               226 HARBORVIEW AVE
BALTIMORE MD 21221                     LOS ANGELES CA 90035                          BRIDGEPORT CT 06605




DONNELLY, JOSEPH L                     DONNELLY, MARY                                DONNELLY, MARY E
616 TUPELO DR APT 4C                   103 RYDER AVE                                 17525 FAIRWAY
LONGS SC 29568                         DIX HILLS NY 11746                            LIVONIA MI 48152




DONNELLY, SHANNON                      DONNER, PAIGE                                 DONNIE MCDANIEL
1916 MATHEWS AVE UNIT G                PO BOX 7486                                   227 N NORMANDY
REDONDO BEACH CA 90278                 SANTA MONICA CA 90406                         CHICAGO HEIGHTS IL 60411




DONNIE MILLER                          DONNIE SLAYTON                                DONOGHUE, DIANE
623 CELEY STREET                       160-23 121ST AVE                              4257 SUTRO AVENUE
HAMPTON VA 23661                       JAMAICA NY 11434                              LOS ANGELES CA 90008




DONOHUE, DANIEL                        DONOVAN FINLEY                                DONOVAN, CORY
730 N 2ND ST                           8000 S. MERRILL                               132 W LANVALE ST   STE 3
EMMAUS PA 18049                        CHICAGO IL 60617                              BALTIMORE MD 21217




                                              Page 616 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 617 of 800
DONOVAN, HARRIOTT                      DONOVAN, HELEN                                DONOVAN, MEGAN
2501 NW 36 AVENUE                      1703 GLOBE CT                                 3694 VALLEY PARK WAY
LAUDERDALE LKS FL 33311                BEL AIR MD 21015                              LAKE WORTH FL 33467




DONOVAN, PAIS                          DONTE DANGERFIELD                             DONTE GARDNER
33 PAERDEGAT 3RD STREET                305 EAST 29TH STREET                          1105 ANDOVER STREET
BROOKLYN NY 11236                      BALTIMORE MD 21218                            BALTIMORE MD 21218




DONTE PEOPLES                          DONTE WILLIAMS                                DOOBROW, IVAN
5702 VAN DYKE ROAD                     1019 N. 6TH AVENUE                            1300 W BROWARD BLVD
BALTIMORE MD 21206                     MAYWOOD IL 60153                              FORT LAUDERDALE FL 33312




DOODAD                                 DOODY HOME CENTER                             DOODY, JAMES M
PO BOX 643566                          2461 EAST 17TH STREET                         1165 ENFIELD STREET
PITTSBURGH PA 15264                    BROOKLYN NY 11235                             UNIT 12
                                                                                     ENFIELD CT 06082



DOOLEY, KAREN                          DOOLEY, KAREN                                 DOOLIN, JESSE
45 HIGHGATE APT C2                     45 HIGHGATE RD NO.C2                          2223 SE 6TH STREET APT. 1
*STOP & SHOP/WETH                      NEWINGTON CT 06111                            POMPANO BEACH FL 33062
NEWINGTON CT 06111-5249



DOOT RUSSELL INC                       DOPIRAK, BRIAN A                              DOPIRAK, BRIAN A
11 E HUBBARD                           122 SAGE RD                                   PO BOX 292
CHICAGO IL 60611                       CRYSTAL BEACH FL 34681                        CRYSTAL BEACH FL 34681




DOPPELT, STEVEN                        DOPSLAFF, WENDY                               DOR, SERGE
15 ABINGDON SQUARE NO.61               15 BROOK ST                                   12293 COLONY PRESERVE DR.
NEW YORK NY 10014                      WEST HARTFORD CT 06110                        BOYNTON BEACH FL 33436




DORA JACKSON                           DORA KEYS                                     DORA MONTOYA
2627 LOYOLA SOUTHWAY                   386 WAKEFIELD AVENUE                          1815 N 22ND AVE.
BALTIMORE MD 21215                     HAMPTON VA 23661                              MELROSE PARK IL 60160




DORA PATINO                            DORA PHILLIPS                                 DORA QUIROZ
1744 APPIAN WAY                        61 OAKFIELD AVE                               7248 SANTA CLARA
MONTEBELLO CA 90640                    FREEPORT NY 11520                             BUENA PARK CA 90620




DORA SANTOS                            DORA SEMENTILLI                               DORCE, ANDRECITE
48 LOCKWOOD AVENUE                     189 SMITH ST                                  211 SO. SWINTON AVE      APT 9
APT. 1                                 DEER PARK NY 11729                            DELRAY BEACH FL 33444
STAMFORD CT 06902




                                              Page 617 of 2387
                         Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 618 of 800
DORCELUS JULES, MARIANNE              DORCELY, ALINE                                DORCIUS, JHON
4191 NW 26TH STREET NO. 171           411 NE 3RD AVE                                1112 S SWINTON AVE
LAUDERHILL FL 33313                   DELRAY BEACH FL 33444                         DELRAY BEACH FL 33444




DOREA NOVAEZ                          DOREEN A ROSSI                                DOREEN BELL
9206 SHARPVIEW                        1169 VIA ARGENTINA                            18312 WILDFLOWER DRIVE
HOUSTON TX 77036                      VISTA CA 92081                                PENN VALLEY CA 95946




DOREEN CHRISTENSEN                    DOREEN GALLOWAY                               DOREEN GUERECA
4840 NE 13 TERR                       18 CEDAR STREET                               2400 N GROVE
OAKLAND PARK FL 33334                 CENTRAL ISLIP NY 11722                        RIVER GROVE IL 60171




DOREEN HANSEN                         DOREEN HEMLOCK                                DOREEN MADDEN
38 FISK RD                            1775 WASHINGTON AVE                           259 WARSAW STREET
HOLTSVILLE NY 11742                   APT 4-E                                       DEEP RIVER CT 06417
                                      MIAMI BEACH FL 33139



DOREEN MEARKLE                        DORENE METZLER                                DORESTAN, ANTOINE
1704 DEERWOOD CT.                     3834 W. 153RD STREET                          1532 NW 2ND AVE
EDGEWOOD MD 21040                     MIDLOTHIAN IL 60445                           FORT LAUDERDALE FL 33311




DORETHEA SMITH                        DORFMAN, DANIEL I                             DORIE S STEINBERG
5515 FORCE RD.                        4931 N CLAREMONT                              18915 KILFINAN STREET
BALTIMORE MD 21206                    CHICAGO IL 60625                              NORTHRIDGE CA 91326




DORINDA WEEKS                         DORIS BURTON                                  DORIS DIAMOND
8-C BENTLEY DRIVE                     3230 PINE BLUFF                               7350 KINGHURST DR. #405
HAMPTON VA 23666                      PARIS TX 75460                                DELRAY BEACH FL 33446




DORIS E SULLIVAN                      DORIS ELLIS                                   DORIS HERZIG
2158 PINE STREET                      140 BARBEY STREET                             C/O JOSEPH LIEB
WANTAGH NY 11793                      BROOKLYN NY 11207                             P.O.BOX 1039
                                                                                    PATCHOGUE NY 11772



DORIS HIGGS                           DORIS HIGHBERGER                              DORIS HOKE
716 6TH ST.                           1249 WINTER GREEN WAY                         54 HILLSIDE CT
ORLANDO FL 32820                      WINTER GARDEN FL 34787                        WESTMINSTER MD 21157




DORIS HORTON                          DORIS HOYLE                                   DORIS JEAN STOREY
3028 GRANDOLA DR                      4008 BUTTERFIELD ROAD                         1637 NORTH MAJOR
ORLANDO FL 32811                      BELLWOOD IL 60104                             CHICAGO IL 60639




                                             Page 618 of 2387
                            Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 619 of 800
DORIS JOHNSON                            DORIS JONES                                   DORIS LACOMBE
PO BOX 19488                             5035 WEST ADAMS                               4115 NW 22ND STREET
BALTIMORE MD 21206                       CHICAGO IL 60644                              COCONUT CREEK FL 33066




DORIS QUESADA                            DORIS SANTANA                                 DORIS SPRAGUE
1107 ANGELCREST DR.                      1110 TURNER LANE                              33 DUANE DRIVE
HACIENDA HEIGHTS CA 91745                ALTAMONTE SPRINGS FL 32714                    LAKE RONKONKOMA NY 11779




DORIS VELEZ                              DORIS WHITBECK                                DORITA PERRITT
500 GOODRIDGE LANE                       C/O ROBINSON & COLE ATTN: LJM                 PO BOX 3261
FERN PARK FL 32730                       280 TRUMBULL STREET                           TALLAHASSEE FL 32315
                                         HARTFORD CT 06103



DORMAN, MICHAEL                          DORMEN, LESLEY                                DORMEUS, HERMITE
47 TORREY PINE LANE                      ONE FIFTH AVENUE 6G                           7719 GREAT OAKS DR
BAY SHORE NY 11706                       NEW YORK NY 10003                             LAKE WORTH FL 33467




DORMEVIL, MAX                            DORN, JASON M                                 DORNA HODGE
4127 NW 88TH AVE, APT 206                1415 RHODE ISLAND AVE NW NO.914               16 MAPLE ROAD
CORAL SPRINGS FL 33065                   WASHINGTON DC 20005                           AMITYVILLE NY 11701




DORNAN, PAMELA                           DORNENBURG GROUP LLC                          DORNEVIL, JAMES
1510 W BRYN MAWR 2N                      45 S MAIN ST STE 305                          5110 SW 6TH ST
CHICAGO IL 60660                         W HARTFORD CT 06107                           MARGATE FL 33068




DORNEY, PAUL E                           DOROTHY A WILLIAMS                            DOROTHY ADDINGTON
1557 SEIDERSVILLE RD                     20405 STARSHINE ROAD                          2917 DILLON ST
BETHLEHEM PA 18015                       WALNUT CA 91789                               BALTIMORE MD 21224




DOROTHY AVERY                            DOROTHY BEEKMAN                               DOROTHY BONARDI
33875 KIELY DR.                          9 MADDER LAKE CIRCLE                          580 BALDWIN DRIVE
APT # 213                                COMMACK NY 11725                              WEST HEMPSTEAD NY 11552
CHESTERFIELD MI 48047



DOROTHY COALE                            DOROTHY COUGHLIN                              DOROTHY CRAIG
3825 B. MEMORY LANE                      3111 NE 51ST STREET                           327 PECONIC STREET
ABINGTON MD 21009                        #304                                          RONKONKOMA NY 11779
                                         FT. LAUDERDALE FL 33308



DOROTHY DEAVER                           DOROTHY DI TUSA                               DOROTHY DORTCH-BONNER
13 MCKENNA COURT                         8204 MILLSTONE DRIVE                          4036 W. MONROE
PARKVILLE MD 21234                       #71C                                          3RD FLOOR
                                         PALOS HILLS IL 60465                          CHICAGO IL 60624




                                                Page 619 of 2387
                           Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 620 of 800
DOROTHY DOUB                            DOROTHY DZIADZIO                              DOROTHY EDMONDS
9553 CLOCKTOWER LANE                    521 WEST BRIAR PALCE                          141 PATTERSON AVE
COLUMBIA MD 21046                       APT# 303                                      HEMPSTEAD NY 11550
                                        CHICAGO IL 60657



DOROTHY EGDAHL                          DOROTHY FLORY                                 DOROTHY G KINTZ
5434 QUEENSHIP COURT                    136 ELIZABETH HARRISON LANE                   18406 S WESTERN AVE
GREENACRES FL 33463                     WILLIAMSBURG VA 23188                         HOMEWOOD IL 60430




DOROTHY GREEBLE                         DOROTHY H REAGAN                              DOROTHY HERNANDEZ
115 EXECUTIVE CENTER DRIVE              323 WEST OAK STREET                           4818 N. OAKLEY
APT # 108                               TITUSVILLE PA 16354                           APT. 1
WEST PALM BEACH FL 33401                                                              CHICAGO IL 60625



DOROTHY HINES                           DOROTHY HOFSTETTER                            DOROTHY KALUZA
16918 ATASCOCITA BEND DR                3838 N. CLARK ST.                             612 HORSEBLOCK RD
HUMBLE TX 77396                         APT 1S                                        BROOKHAVEN NY 11719
                                        CHICAGO IL 60613



DOROTHY LEVIN                           DOROTHY M STOLLER                             DOROTHY MAE FULLINS
204 FIRST STREET                        LAKE BARRINGTON WOODS                         2886 NW 12TH STREET
ST JAMES NY 11780                       22320 CLASSIC COURT                           FORT LAUDERDALE FL 33311
                                        BARRINGTON IL 60010



DOROTHY NEAL                            DOROTHY NEELY                                 DOROTHY PLAIA
8205 NW 61ST STREET                     14820 E. 21ST AVENUE                          7 SUNRISE LANE
B 317                                   AURORA CO 80011                               LEVIITOWN NY 11756
TAMARAC FL 33321



DOROTHY RAMAGOS                         DOROTHY RYPEL                                 DOROTHY S FLEETWOOD
2050 NE 39TH STREET                     530 WEST 44TH STREET                          138 MURDOCK RD
APT. 109 SOUTH                          CHICAGO IL 60609                              BALTIMORE MD 21212
LIGHTHOUSE PT FL 33064



DOROTHY SHAPIRO                         DOROTHY SNYDER                                DOROTHY VANDERVELD
6556 LA MIRADA #302                     4521 VANKIRK ST.                              4167 WESLIN AVENUE
LOS ANGELES CA 90038                    PHILADELPHIA PA 19135                         SHERMAN OAKS CA 91423




DOROTHY WESCOE                          DOROTHY WILD                                  DOROTHY WOODS
235 CIRCLE DRIVE S E                    2711 CITRUS LAKE DRIVE                        919 RIDGEWOOD DRIVE
CATASAUQUA PA 18032                     APT F-305                                     CARY IL 60013
                                        NAPLES FL 34109



DORRIS, BETHY E                         DORSAINRRE, RODRIGUE                          DORSAINVIL, FRANTZ
4610 HINSDALE WAY                       1050 CYPRESS WAY E                            9696 SW 1ST PLACE
COLORADO SPRINGS CO 80917               WEST PALM BEACH FL 33406                      BOCA RATON FL 33428




                                               Page 620 of 2387
                         Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 621 of 800
DORSAINVIL,CHANTAL                    DORSAMA, ANDRE                                DORSEY GARDNER
330 SW 4TH AV                         10816 MADISON DR                              3334 LONGLEAF CIRCLE
DELRAY BEACH FL 33444                 BOYNTON BEACH FL 33437                        COLLEGE STATION TX 77845




DORSEY WILLIAMS                       DORSEY, BETTY                                 DORSEY, JAMES M
3939 ROLAND AVE                       1015 FLANDERS RD                              3034 REID AVE
612                                   PHILADELPHIA PA 19151                         CULVER CITY CA 90232
BALTIMORE MD 21211



DORSEY, JEFFREY K                     DORSEY, JENNIFER                              DORSEY, PATRICK
3100 SOUTH MARTIN LUTHER KING DRIVE   4 OLYMPIC VILLAGE DR APT 1C                   2616 SW GOLF VIEW DRIVE
APT. #1104                            CHICAGO HEIGHTS IL 60411                      TOPEKA KS 66614
CHICAGO IL 60616



DORSEY, ROBERT                        DORSEY, SONJA                                 DORSEY, STEPHANIE
1147 3RD ST                           2830 KAREN RIDGE SW                           1727 PALMETTO AVE
CATASAUQUA PA 18032                   CONYERS GA 30094                              STE 2530
                                                                                    DELAND FL 32724



DORSEY, STEPHANIE                     DORSEY, STEVE                                 DORSEY, SUSIE L
1727 PALMETTO AVE                     6506 GARDEN AVE                               220 BROOKWOOD DRIVE
DELAND FL 32724                       WEST PALM BEACH FL 33405                      WILLIAMSBURG VA 23185




DORT, CLAUDENA                        DORTCH, CARL                                  DORTHA WILLETTS
620 NW 13TH ST  APT 13                6049 CREEKFORD DRIVE                          74 CLARENCE COURT
BOCA RATON FL 33864                   LITHONIA GA 30058                             MIDDLETOWN CT 06457




DORVIL, MARTIAL                       DORVILUS, FENOL                               DORWARD, CHRISTOPHER
4550 NE 1ST AVE                       520 NORTH B STREET                            1525 EATON AVE
POMPANO BEACH FL 33064                LAKE WORTH FL 33460                           BETHLEHEM PA 18018




DORWARD, THOMAS W JR                  DORZIN,JEAN,E                                 DOS SANTOS MARTINS, ANDRE
1525 EATON AVE                        2115 SW 13TH STREET                           10190 BOCA ENTRADA BLVD APT 228
BETHLEHEM PA 18018                    DELRAY BEACH FL 33445                         BOCA RATON FL 33428




DOS SANTOS, ALISSA M                  DOS SANTOS, INALVA MARIA                      DOS SANTOS, LUIS
1602 GREY OWL CT                      4200 CRYSTAL LAKE DR. APT. 115                54 CRYSTAL BROOK RD
LOUISVILLE KY 40223                   POMPANO BEACH FL 33064                        WOLCOTT CT 06716




DOSHI, ARPIT                          DOSS, JIM W                                   DOSS, YVETTE C
18W271 KNOLLWOOD LANE                 PO BOX 176                                    115 HEMLOCK LANE
VILLA PARK IL 60181                   NEEDLES CA 92363                              CROWN POINT IN 46307




                                             Page 621 of 2387
                           Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 622 of 800
DOSTATNI, YVETTE MARIE                  DOSTER, DENISE                                DOT TWO ENTERTAINMENT
1231 W 31ST ST                          1720 SW 43RD AVE                              220 EAST 42ND STREET
CHICAGO IL 60608                        FT LAUDERDALE FL 33317                        SUITE 400
                                                                                      NEW YORK NY 10016



DOTEN, MARK                             DOTLYN JAMES                                  DOTSON, TEMESHA
535 W 113TH ST NO.4                     8305 NW 61ST STREET                           151 N LAPORTE
NEW YORK NY 10025                       TAMARAC FL 33321                              CHICAGO IL 60644




DOTSON, WINONA                          DOTTERWEICH, TIMOTHY J                        DOTY, CHERRIL
4640 SHULER ST                          288 E PADONIA ROAD                            1345 BLUEBIRD CYN
ALLENTOWN PA 18103                      TIMONIUM MD 21093                             LAGUNA BEACH CA 92651




DOTY, MARK                              DOTY, MERIAH                                  DOTY, RICK D
148 W 16 NO.4                           808 TULAROSA DR NO.10                         JACK'S TYING MACHINE CO
NEW YORK NY 10011                       LOS ANGELES CA 90026                          7850 AIRLANE AVE
                                                                                      LOS ANGELES CA 90045



DOTY, STEVEN                            DOUBLE DOOR LIQUORS INC                       DOUBLE DOOR LIQUORS INC
901 HANSON ST                           1321 N MILWAUKEE AVE NO.425                   1572 N MILWAUKEE AVE
BATAVIA IL 60510                        CHICAGO IL 60622                              CHICAGO IL 60622




DOUBLE R SERVICES                       DOUBLECLICK INC                               DOUBLECLICK INC
5918 LINCOLN CIRCLE WEST                111 EIGHT AVENUE 10TH FLOOR                   PO BOX 7247-7366
LAKE WORTH FL 33463                     NEW YORK NY 10011                             PHILADELPHIA PA 19170-7366




DOUBLEWOOD INVESTMENTS INC              DOUCETTE, CHRISTOPHER                         DOUD, JUNE
C/O LANDMARK EXCHANGE MANAGEMENT        306 LEE STREET                                659 WALNUT RD 729
111 PINE STREET                         LEESBURG FL 34748                             WAUCONDA IL 60084
SUTE 1425
SAN FRANCISCO CA 94111


DOUG DON & DAD WINDOW CLEAN             DOUG HUETE                                    DOUG HUMMEL
PO BOX 516                              9726 HAYVENHURST AVENUE                       39662 DOVER DRIVE
BENSALEM PA 19020                       NORTHRIDGE CA 91343                           PALMDALE CA 93551




DOUG KOOI                               DOUG PIEKARSKI                                DOUG SOUTHWORTH
11707 W. 105TH AVE.                     30 FRANKLIN RD                                102 CLAIBORNE ROAD
ST. JOHN IN 46373                       SOUND BEACH NY 11789                          STEVENSVILLE MD 21666




DOUG WOLCOTT                            DOUGALL, CECIL                                DOUGE, PATRICE
1323 K ST                               6340 WEDGEWOOD TERR                           11075 NW 40TH ST
WASHOUGAL WA 98671                      TAMARAC FL 33321                              SUNRISE FL 33351




                                               Page 622 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 623 of 800
DOUGHBOY'S INC                         DOUGHERTY, CATHERINE                          DOUGHTY, KEVIN
PO BOX 4643                            2020 N HALSTED   APT 3S                       71 NE 161ST ST
TIMONIUM MD 21094                      CHICAGO IL 60614                              MIAMI FL 33162




DOUGLAS ALLAN                          DOUGLAS APPLEBAUM                             DOUGLAS AUSTIN
4420 N. DOVER                          3104 N WINDSOR                                220 EAST BROADWAY
#1                                     ARLINGTON HEIGHTS IL 60004                    PORT JEFFERSON NY 11777
CHICAGO IL 60640



DOUGLAS B DRYSDALE                     DOUGLAS BAIN                                  DOUGLAS BARNACLE
212 S ELWOOD STREET                    2300 MONTAIR AVE                              504 BLACKHAWK DRIVE
GLENDORA CA 91741                      LONG BEACH CA 90815                           WESTMONT IL 60559




DOUGLAS BONNEAU                        DOUGLAS BRANTLEY                              DOUGLAS BROWN
2905 ALAMO DRIVE                       496 MANVILLE ST. CHARLES ROAD                 2294 CLEMENTINA DR
ORLANDO FL 32805                       BISHOPVILLE SC 29010                          HACIENDA HEIGHTS CA 91745




DOUGLAS BUCKMEIER                      DOUGLAS BURCHARDS                             DOUGLAS C HALES
702 SHARP'S CT                         77 NUTMEG DRIVE                               14352 TROPICANA LANE
FALLSTON MD 21047                      MANCHESTER CT 06040                           HUNTINGTON BCH CA 92647




DOUGLAS CHANDLER                       DOUGLAS COFFLAND                              DOUGLAS COUNTY TREASURER
P. O. BOX 3156                         4705 NARRAGANSETT AVENUE                      PO BOX 609
CRESTLINE CA 92325                     SAN DIEGO CA 92107                            WATERVILLE WA 98858




DOUGLAS CURREY                         DOUGLAS DALENA                                DOUGLAS DAVID
300 S MARIE                            35 WEST BROAD STREET                          651 OAK HOLLOW WAY
LA HABRA CA 90631                      UNIT #323                                     ALTAMONTE SPRINGS FL 32714
                                       STAMFORD CT 06902



DOUGLAS DONOVAN                        DOUGLAS DOUBLEDAY                             DOUGLAS DREW MEDIA
633 REGESTER AVE                       4556 NW 3 ST                                  12463 RANCHO BERNARDO RD NO.114
BALTIMORE MD 21212                     PLANTATION FL 33317                           SAN DIEGO CA 92128




DOUGLAS DREW MEDIA                     DOUGLAS DUBS                                  DOUGLAS DUTTON
14894 HUNTINGTON GATE DR               30 JACKSON DRIVE                              240 SOUTHPORT ST
POWAY CA 92064                         EAST BERLIN PA 17316                          RONKONKOMA NY 11779




DOUGLAS E WILSON                       DOUGLAS EMMETT 1997 LLC                       DOUGLAS EMMETT 1997 LLC
418 SEAWARD ROAD                       15821 VENTURA BLVD NO.462                     ENCINO TERRACE
CORONA DEL MAR CA 92625                ENCINO CA 91436                               15821 VENTURA BLVD, SUITE 462
                                                                                     ENCINO CA 91436




                                              Page 623 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 624 of 800
DOUGLAS GALAIDA                        DOUGLAS GEORGE                                DOUGLAS GROSSMAN
14 AVE C                               821 S. HIGHLAND AVE.                          839 N. JERICO DRIVE
HOLBROOK NY 11741                      OAK PARK IL 60304                             CASSELBERRY FL 32707




DOUGLAS GROUP INC                      DOUGLAS GULLEDGE                              DOUGLAS HICKS
317 N 11TH STREET SUITE 302            7019 SOLLERS POINT ROAD                       3580 BRAYTON AVENUE
ST LOUIS MO 63101                      BALTIMORE MD 21222                            LONG BEACH CA 90807




DOUGLAS HILDEMANN                      DOUGLAS HOWARD                                DOUGLAS HVIDSTON
268 38TH STREET                        15224 YORBA AVENUE                            6823 CRICKLEWOOD ROAD
LINDENHURST NY 11757                   CHINO HILLS CA 91709                          INDIANAPOLIS IN 46220




DOUGLAS JONES                          DOUGLAS KAHN                                  DOUGLAS KAPUSTIN
1511 NORTH MALLORY STREET              50-48 44TH STREET                             2105 CHAUCER WAY
HAMPTON VA 23664                       SUNNYSIDE NY 11377                            WOODSTOCK MD 21163




DOUGLAS KUNTZSCH                       DOUGLAS LARSON                                DOUGLAS LILES
6 DEERA LANE                           1836 OAK STREET                               207 IRVIN DR
FARMINGVILLE NY 11738                  SOUTH PASADENA CA 91030                       SMITHFIELD VA 23430




DOUGLAS LIST                           DOUGLAS LYONS                                 DOUGLAS M DATTOMA
1412 BEAUDRY BLVD                      6789 MANDARIN BLVD                            3309 SW SUNSET TRACE CIRCLE
GLENDALE CA 91208                      LOXAHATCHEE FL 33470                          PALM CITY FL 34990




DOUGLAS M. GUETZLOE                    DOUGLAS M. GUETZLOE                           DOUGLAS MCINNES
C/O FREDERIC B. O?NEAL, ESQ.           FREDERIC B. O'NEAL, ESQ.                      3601 DOVER ST
P.O. BOX 842                           PO BOX 842                                    LOS ANGELES CA 90039
WINDERMERE FL 34786                    WINDERMERE FL 34786



DOUGLAS MERWIN                         DOUGLAS MILLER                                DOUGLAS MOON
28 OAK RIDGE PLACE                     5437 ANTRIM CT.                               6346 PATHFINDER COURT
HADDAM CT 06438                        COLUMBIA MD 21045                             INDIANAPOLIS IN 46203




DOUGLAS MYERS                          DOUGLAS NOWAKOWSKI                            DOUGLAS PARKER
P. O. BOX 27421                        P.O. BOX 276                                  235 WEST 76 STREET
SANTA ANA CA 92799                     GOSHEN VA 24439                               2E
                                                                                     NEW YORK NY 10023



DOUGLAS PHILLIPS                       DOUGLAS RICCIO                                DOUGLAS RODGERS
12951 NW 5 CT                          39 DOUGLAS DRIVE                              100 S. EL MOLINO ST.
PEMBROKE PINES FL 33028                HAMDEN CT 06518                               ALHAMBRA CA 91801




                                              Page 624 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 625 of 800
DOUGLAS SCOTT                          DOUGLAS SCROGGIN                              DOUGLAS SEALS
2460 N. ALBANY                         849 HOLLY LANE                                718 MARSHALL STREET
#2                                     PLANTATION FL 33317                           HAMPTON VA 23669
CHICAGO IL 60647



DOUGLAS SMITH                          DOUGLAS SMITH                                 DOUGLAS STARKEY
336 N HOMEREST                         1209 LINDA RIDGE LANE                         6004 BLUE RIDGE DRIVE
WEST COVINA CA 91791                   PASADENA CA 91103                             UNIT A
                                                                                     HIGHLANDS RANCH CO 80130



DOUGLAS STERLING PHOTOGRAPHY           DOUGLAS STEVENS                               DOUGLAS STEWART
1035 LOMA VISTA DR                     10472 STERNWHEEL PLACE                        146 WELLS STREET
NAPA CA 94558                          COLUMBIA MD 210444140                         MANCHESTER CT 06040




DOUGLAS STOYNOFF                       DOUGLAS THOMAS                                DOUGLAS THOMAS
40 ROBIN HOOD ROAD                     8129 PARKHAVEN RD                             2144 CHESTNUT AVENUE
#424                                   BALTIMORE MD 21222                            WILMETTE IL 60091
HAVRE DE GRACE MD 21078



DOUGLAS TREDINNICK                     DOUGLAS TRUEBLOOD                             DOUGLAS VANCE
3 DEER VALLEY LANE                     1947 JOSHUA TREE PLACE                        716 PARADISE ISLE DR
#2                                     PALM SPRINGS CA 92264                         APOPKA FL 32712
VERNON NJ 07462



DOUGLAS VANNONI                        DOUGLAS WASHINGTON                            DOUGLAS WOLFSON
144 WEST TENTH STREET                  611 WEST LAUREL STREET                        11 CROFT PLACE
#3                                     COMPTON CA 90220                              HUNTINGTON NY 11743
NEW YORK NY 10014



DOUGLAS ZEPEDA-ORTIZ                   DOUGLAS, ANDRE                                DOUGLAS, BENJAMIN
12110 LUCKY MEADOW                     10108 SW 13TH STREET #104                     4315 MOUNTAIN CT
TOMBALL TX 77375                       PEMBROKE PINES FL 33025                       OREFIELD PA 18069




DOUGLAS, COLIN ANTHONY                 DOUGLAS, JENNIFER                             DOUGLAS, KAREN
7654 KISMET ST                         345 BUCKLAND HILLS DR NO.9133                 60 OLD TOWN RD
MIRAMAR FL 33023                       MANCHESTER CT 06042                           VERNON CT 06066




DOUGLAS, KEITH                         DOUGLAS, SCOTTY                               DOUGLASS, DEBORAH RENEE
730 MIDDLE ST     STE A                8087 TIDEMILL RD                              3027 CLUB VISTA PT
FT LAUDERDALE FL 33301                 HAYES VA 23072                                STONE MOUNTAIN GA 30088




DOUZINAS, NANCY RAUCH                  DOVE INTERNATIONAL                            DOVE, DAYNA
28 EAST GATE RD                        5900 PRINCESS GARDEN PKWY NO.400              8403 CAPRICORN DR
LLOYD HARBOR NY 11743                  LANHAM MD 20706                               UNIVERSAL CITY TX 78148




                                              Page 625 of 2387
                            Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 626 of 800
DOVE, KATINA                             DOVER FLEXO ELECTRONICS INC                   DOVER, JAMES
226 E COLORADO RD                        217 PICKERING ROAD                            766 N RIDGEWOOD PL
RIO HONDO TX 78583                       ROCHESTER NH 03867-4630                       LOS ANGELES CA 90038




DOVER, SANDRA K                          DOVETAIL BUSINESS SOLUTIONS INC               DOW JONES
PO BOX 211                               9137 S RIDGELINE BLVD NO.210                  200 BURNETT RD
TOANO VA 23168                           HIGHLANDS RANCH CO 80129                      CHICOPEE MA 01020-4615




DOW JONES                                DOW JONES                                     DOW JONES
84 2ND AVE                               O C R PROCESSING                              OCR PROCESSING
ATTN BRIAN GILMORE                       P O BOX 931                                   PO BOX 941
CHICOPEE MA 01020                        CHICOPEE MA 01021                             CHICOPEE MA 01021-0941



DOW JONES                                DOW JONES                                     DOW JONES
ADVERTISING CUST SERVICE                 C/O VIVIAN HEISLER CASTEL                     DOW JONES BUSINESS UNIT FINANCE
PO BOX 300                               PO BOX 300                                    ATTN MARGO GRANT
PRINCETON NJ 08543-0300                  PRINCETON NJ 08543-0300                       PO BOX 300
                                                                                       PRINCETON NJ 08540


DOW JONES                                DOW JONES                                     DOW JONES
C/O FRANK MIRANDI                        PO BOX 4137                                   WALL STREET JOURNAL OR BARRONS
200 OLD COUNTRY RD STE 435               CHURCH STREET STATION                         BOX 4137 CHURCH STREET STATION
MINEOLA NY 11501                         NEW YORK NY 10261                             NEW YORK NY 10249



DOW JONES                                DOW JONES & COMPANY                           DOW JONES & COMPANY
DJRBI, LLC                               2501 DAVIE RD                                 200 BURNETT ROAD
PO BOX 7247-0237                         SUITE 260                                     ATTN: ND-RPS
PHILADELPHIA PA 19170-0237               ATTN KEVIN MAFFETT                            CHICOPEE MA 01020-4615
                                         DAVIE FL 33317


DOW JONES & COMPANY                      DOW JONES & COMPANY                           DOW JONES & COMPANY
ATTN ND-RPS                              OCR PROCESSING                                PO BOX 300
200 BURNETT RD                           PO BOX 941                                    ATTN VIVIAN HEISLER
CHICOPEE MA 01020-4615                   CHICOPEE MA 01020-0941                        PRINCETON NJ 08543-0300



DOW JONES & COMPANY                      DOW JONES & COMPANY                           DOW JONES & COMPANY
4300 ROUTE 1 NORTH                       PO BOX 300                                    FACTIVA INC
MONMOUTH JUNCTION NJ 08852               PRINCETON NJ 08543-0300                       PO BOX 30994
                                                                                       NEW YORK NY 10261



DOW JONES & COMPANY                      DOWD, DANIEL                                  DOWD, JOHN J
PO BOX 7247-0237                         7 ROYAL PALM WAY APT. 209                     3807 N RIDGEWAY
PHILDELPHIA PA 19170-0237                BOCA RATON FL 33432                           CHICAGO IL 60618




DOWD, MICHAEL                            DOWD, MICHAEL B                               DOWD, RICHARD
162 EAST MEADOW STREET                   1928 MADISON ST                               107 BURBANK BLVD
CHICOPEE MA 01013                        RIDGEWOOD NY 11385                            SAVANNAH GA 31419




                                                Page 626 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 627 of 800
DOWELL, ROSEMARIE                      DOWIE, LARA J                                 DOWILCO ADVERTISING
1015 LINMAR AVENUE                     19206 NE 112TH AVE                            4438 W OAKTON
FRUITLAND PARK FL 34731                BATTLE GROUND WA 98604                        SKOKIE IL 60076




DOWNER, KATHERINE O                    DOWNER, PATRICIA                              DOWNER, PATRICIA
8 PRIVILEGE RD                         119 PINE LANE                                 119 PINE LN.
BLOOMFIELD CT 06002                    *WINDSOR SHOPPING CTR                         WINDSOR CT 06095-3500
                                       WINDSOR CT 06095-3500



DOWNER, PATRICIA                       DOWNES, BRIAN P                               DOWNES, JASON
8 PRIVILEGE RD                         PO BOX 518                                    966 SILAS DEANE HIGHWAY
BLOOMFIELD CT 06002                    WINTERSET IA 50273                            WETHERSFIELD CT 06109




DOWNES, MARY                           DOWNES, MARY M                                DOWNEY, MICHAEL P
96505 SHORE DR                         MAISON SUR MER NO.2202                        345 E. OHIO
MAISON SUR MER #2202                   9650 SHORE DR                                 #4712
MYRTLE BEACH SC 29572                  MYRTLE BEACH SC 29572                         CHICAGO IL 60611



DOWNEY, SARAH                          DOWNIE, ANDREW                                DOWNIE, MARGARET
1221 W GRANVILLE NO.3N                 RUA DES EMBARGADOR ALFREDO                    18 TANNER XING
CHICAGO IL 60660                       RUSSELL 188-102                               WETHERSFIELD CT 06109
                                       LEBLON, RJ 22431030



DOWNING, ANDREW J                      DOWNING, ANDREW J                             DOWNING, GREGORY
1261 W ARGYLE APT 305                  4435 N PAULINA NO.3S                          1029 NW 28TH AVE.
CHICAGO IL 60640                       CHICAGO IL 60640                              FT. LAUDERDALE FL 33311




DOWNING, STEVEN                        DOWNS, BESSIE                                 DOWNS, DARIN
356 TATER HILL RD                      6906 CASTILLO CT                              5124 BRIAN BLVD
EAST HADDAM CT 06423                   ORLANDO FL 32822                              BOYNTON BEACH FL 33437




DOWNS, DARIN                           DOWNS, LESLIE ANN                             DOWNS, RICHARD
5124 BRIAN BLVD                        170 TREASURE LANE                             15394 WET HILL ROAD
BOYTON BEACH FL 33437                  GREENACRES FL 33463                           NEVADA CITY CA 95959




DOWNS, ROBERT                          DOWNTOWN BUSINESS COUNCIL OF                  DOWNTOWN COLLEGE PARK PARTNERSHIP
1218 11TH ST NO.B                      CHAMBERSBURG INC                              722 VASSAR ST
SANTA MONICA CA 90401                  100 LINCOLN WAY EAST STE A                    COLLEGE PARK FL 32804
                                       CHAMBERSBURG PA 17201



DOWNTOWN COLLEGE PARK PARTNERSHIP      DOWNTOWN DEVELOPMENT AUTHORITY                DOWNTOWN MANCHESTER DISTRICT
PO BOX 547744                          305 SOUTH ANDREWS AVE SUITE 301               TANA PARSELITI, MANAGER
ORLANDO FL 32854                       FORT LAUDERDALE FL 33301                      983 MAIN ST
                                                                                     STE 10
                                                                                     MANCHESTER CT 06040




                                              Page 627 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 628 of 800
DOWNTOWN PARTNERSHIP                   DOWNTOWN ST CHARLES PARTNERSHIP               DOWNTOWN ST CHARLES PARTNERSHIP
217 N CHARLES ST                       213 WALNUT ST                                 213 WALNUT ST ATN DEBBIE TREUTLER
SUITE 100                              ST CHARLES IL 60174                           ST CHARLES IL 60174
BALTIMORE MD 21201-4101



DOYLE LYNN HOPPES                      DOYLE MCMANUS                                 DOYLE RESEARCH ASSOCIATES INC
1252 STONEHAVEN COURT                  7802 OLDCHESTER ROAD                          400 N MICHIGAN AVE
HEATHROW FL 32746                      BETHESDA MD 20817                             SUITE 800
                                                                                     CHICAGO IL 60611



DOYLE, CATHERINE                       DOYLE, CHRISTOPHER                            DOYLE, KENNETH
510 2ND AVE APT FL2                    211 GREAT POND RD                             14434 SE 63RD AVENUE
BETHLEHEM PA 18018                     SIMSBURY CT 06070                             SUMMERFIELD FL 34491-7736




DOYLE, PATRICK                         DOYLE, STEVEN L                               DOYLE, TIMOTHY T
1481 S PENNSYLVANIA ST                 381 CREEKSTONE COURT                          PO BOX 81272
DENVER CO 80210                        LONGWOOD FL 32779                             CHICAGO IL 60681




DOYLE, VICTORIA E                      DP FOX SPORTS & ENTERTAINMENT LLC             DPC III LLC
829 GRANT DR                           130 W FULTON ST                               RE: POMONA 701 CORP CENTER DR
MINOOKA IL 60447                       GRAND RAPIDS MI 49503                         ATTN: MR. JOHN S. OMEARA
                                                                                     567 SAN NICOLAS DR., SUITE 170
                                                                                     NEWPORT BEACH CA 92660


DPC III LLC                            DPC III LLC                                   DPC III, LLC
567 SAN NICOLAS DR NO. 340             ATTN: MR. JOHN S. O'MEARA                     RE: POMONA 701 CORP CENTER DR
NEWPORT BEACH CA 92660                 567 SAN NICOLAS DR.                           ATTN: JOHN S. OMEARA
                                       SUITE 207                                     567 SAN NICOLAS DRIVE, SUITE 170
                                       NEWPORT BEACH CA 92660                        NEWPORT BEACH CA 92660


DPM ARCHITECTURE PC                    DPT BUSINESS SCHOOL                           DR III INC
15 E 32ND ST 8TH FL                    405 S PLATTE RIVER NO.200                     PO BOX 336
NEW YORK NY 10016                      DENVER CO 80223                               EAST MEADOW NY 11554




DR. EDWARD ZAPANTA                     DRABELLE, DENNIS                              DRABICK, BONNIE L
53 OVERLOOK DRIVE                      3001 VEAZEY TERRACE NW NO.713                 2701 COLUMBIA ST
NEWPORT COAST CA 92657                 WASHINGTON DC 20008                           ALLENTOWN PA 18104




DRABINSKI, EMILY                       DRAGON TALENT INC                             DRAIZEN, DANIEL
993 PRESIDENT ST  NO.4D                4283 FOUNTAIN AVE                             15 DEERFIELD RUN
BROOKLYN NY 11225                      LOS ANGELES CA 90029                          ROCKY HILL CT 06067-1321




DRAIZEN, MIKE                          DRAKE JOHNSON                                 DRAKE JURRAS, SYLVIE
15 DEERFIELD RUN                       8650 S. MARQUETTE AVE.                        2068 STANLEY HILLS DRIVE
ROCKY HILL CT 06067                    CHICAGO IL 60617                              LOS ANGELES CA 90046-7763




                                              Page 628 of 2387
                           Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 629 of 800
DRAKE MINDER                            DRAKE, DONALD                                 DRAKE, HILEMAN & DAVIS
2121 BAKER DRIVE                        4809 TRINITY PLACE                            JONATHAN RUSSELL, ESQ.
ALLENTOWN PA 18103                      PHILADELPHIA PA 19104                         STE. 15, BAILIWICK OFFICE CAMPUS
                                                                                      PO BOX 1306
                                                                                      DOYLESTOWN PA 18901-1306


DRAKE, KIA N                            DRAKE, MICHAEL T                              DRAKE, TIFFANY
3207 DUNLEAF ARC WAY                    215 POPULAR RD                                405 W WILSON ST     APT 3
NORCROSS GA 30093                       LAKE FOREST IL 60045                          MADISON WI 53703




DRAKE, WESLEY                           DRAKES COMMERCIAL SERVICES LLC                DRAPALA, CLARA
1111 N WESTERN UNIT 4S                  636 REALM COURT WEST                          1155 LITTLE NECK AVE
CHICAGO IL 60622                        ODENTON MD 21113                              NORTH BELLMORE NY 11710




DRAPER, RUTH                            DRD ENTERPRISES OF SOUTH FLORIDA INC          DRD ENTERPRISES OF SOUTH FLORIDA, INC.
101 WHIPOORWILL LN                      7650 LAS CRUCES COURT                         (DAVID DICKER)
SALUDA VA 23149                         BOYNTON BEACH FL 33437                        7650 LAS CRUCES COURT
                                                                                      BOYNTON BEACH FL 33437



DREA, AMBER                             DREAM FUND                                    DREAM FUND
669 MEEKER AVE NO 4F                    3811 TURTLE CREEK BLVD                        PO BOX 600593
BROOKLYN NY 11222                       FOX TELEVISION SALES                          DALLAS TX 75360
                                        DALLAS TX 75219



DREAMWORKS LLC                          DRECHSLER, PHILIP A                           DREISINGER, BATSHEVA
5555 MELROSE AVENUE                     143 APGAR DR                                  510 W 55TH ST APT 505
HOLLYWOOD CA 90038                      LOVELAND OH 45140                             NEW YORK NY 10019




DRELLICH, EVAN                          DRENNER, DENNIS                               DRESS FOR SUCCESS HARTFORD
14 WALNUT ST                            3646 ELM AVENUE                               PO BOX 370201
BINGHAMTON NY 13905                     BALTIMORE MD 21211                            WEST HARTFORD CT 06137-0201




DRESSON, HOLLY                          DRETZKA, GARY                                 DREW AUTO CENTER
133 NOTTINGHAM RD                       1920 N SANTA ANITA                            C/O DREW FORD VOLKSWAGON HYUNDAI
WEST PALM BEACH FL 33411                SIERRA MADRE CA 91024                         8970 LA MESA BLVD
                                                                                      LA MESA CA 91944



DREW SHEAHAN                            DREW SMITH                                    DREW SOTTARDI
1368 AUGUSTA NATIONAL BLVD              412 BRETTON PLACE                             4707 NORTH HERMITAGE AVE
WINTER SPRINGS FL 32708                 BALTIMORE MD 21218                            APT 2
                                                                                      CHICAGO IL 60640



DREW, ELIZABETH                         DREWFS III, HENRY F                           DREWRY, DEBORAH
5018 ESKRIDGE TERRACE NW                2239 SUNDERIDGE                               84 EVERGREEN PARK
WASHINGTON DC 20016                     SAN ANTONIO TX 78260                          CLINTON CT 06413




                                               Page 629 of 2387
                           Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 630 of 800
DREWRY, ELIZABETH                       DREXLER, MADELINE                             DREY SR, DANIEL L
100 RIDGE PASS WAY                      57 MAGAZINE ST  NO.34                         1683 NEWPORT AVE
LANDRUM SC 29356                        CAMBRIDGE MA 02139                            NORTHAMPTON PA 18067-1449




DREY SR, DANIEL L                       DREY, CLARENCE                                DREY, NATASHA
1683 NEWPORT AVE                        622 MINOR STREET APT 3                        622 MONOR ST APT 3
NORTHAMPTON VA 18064                    EMMAUS PA 18049                               EMMAUS PA 18049




DREY, WAYLON                            DREZNER, DANIEL                               DRICA MORIN
2371 OLD POST RD APT NO.7               44 NEWELL ROAD                                162 ENSENADA
COPLAY PA 18037                         NEWTON MA 02466                               THOUSAND OAKS CA 91320




DRIES BUILDING SUPPLY CO                DRIESSEN PROPERTIES                           DRISCOLL, FLORENCE
3580 BROOKSIDE RD P O BOX 7             RE: ST. CHARLES 1920 DEAN ST                  560 MICHAEL IRVIN DRIVE
MACUNGIE PA 18062                       P.O. BOX 126                                  NEWPORT NEWS VA 23608
                                        36 W 886 DEAN STREET
                                        ST. CHARLES IL 60174


DRISCOLL, KEVIN                         DRIVECHICAGO LLC                              DRIVER, DAVID
4488 SUNDANCE CIRCLE                    18 W 200 BUTTERFIELD RD                       2338 BELLEVIEW AVENUE
HOFFMAN ESTATES IL 60192                OAKBROOK TERRACE IL 60181-4810                CHEVERLY MD 20785-3004




DROHOJOWSKA-PHILP, HUNTER               DROP SHIP DIRECT INC                          DROP SHIP DIRECT INC
9822 MILLBORO PL                        5600 AIRPORT BLVD                             9832 CURRIE DAVIS DR
BEVERLY HILLS CA 90210                  TAMPA FL 33634                                TAMPA FL 33619




DROP SHIP DIRECT INC                    DRORY YELIN                                   DROSU, ALEXANDRA
PO BOX 270687                           304 W. 104TH ST                               1954 TALMADGE STREET
TAMPA FL 33688                          APT #1F                                       LOS ANGELES CA 90027
                                        NEW YORK NY 10025



DROUGHT, MARK H                         DROZDOWSKI, RUSSEL                            DRS PRINCE & GRIFFITH
91 LEDGE LN                             5918 GABLE CT                                 853 IRVINGTON RD
STAMFORD CT 06905                       SLATINGTON PA 18080                           WEEMS VA 22576




DRU SANCHEZ                             DRUCKENMILLER, KEITH                          DRUCKENMILLER, RICHARD
4224 S. 103RD LN                        110 E ROBBINS AVE                             5502 WALNUT LANE
TOLLESON AZ 85353                       NEWINGTON CT 06111                            ZIONSVILLE PA 18092




DRUCKENMILLER, RUSSEL                   DRUCKER, BETH                                 DRUCKER, LEO
2952 ARCADIA AVENUE                     4821 N 31 CT                                  1088 SAVOY DR
ALLENTOWN PA 18103                      HOLLYWOOD FL 33021                            MELVILLE NY 11747




                                               Page 630 of 2387
                           Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 631 of 800
DRUCKERMAN, PAMELA                        DRUITT, MICHAEL                             DRUMMOND AMERICAN CORPORATION
12 RUE POPIN COURT                        506 ASHWOOD DRIVE                           135 SOUTH LASALLE
PARIS 75011                               NEWPORT NEWS VA 23602                       DEPT 2721
                                                                                      CHICAGO IL 60674-2721



DRUMMOND AMERICAN CORPORATION             DRUMMOND AMERICAN CORPORATION               DRUMMOND AMERICAN CORPORATION
2721 PAYSPHERE CIRCLE                     600 CORPORATE WOODS PARKWAY                 600 CORPORATE WOODS PARKWAY
CHICAGO IL 60674                          DES PLAINES IL 60018                        VERNON HILLS IL 60061




DRUMMOND, CLIFFORD                        DRURY LANE OAKBROOK                         DRURY, DAVID J
801 SW 15TH APT NO.23                     100 DRURY LANE                              207 LIMNER CIRCLE
FORT LAUDERDALE FL 33312                  OAKBROOK IL 60181                           ROCKY HILL CT 06067




DRUTMAN, LEE                              DRW ASSOCIATES                              DRYER, DENNIS
1717 Q ST NW                              28492 AVENIDA PLACIDA                       109 ALANO RD
WASHINGTON DC 20009                       SAN JUAN CAPISTRANO CA 92675                STE 2530
                                                                                      DEBARY FL 32713



DRYER, DENNIS                             DRYLIE,WARREN                               DS NEWS AGENCY
1539 LAKESIDE DR                          2110 S 7TH AVE                              54 N WILSON
SUITE 2530                                ARCADIA CA 91006                            HOBART IN 46342
DELAND FL 32720



DS NEWS SERVICE INC                       DS NEWS SERVICE INC                         DSI RF SYSTEMS INC
14 EWELER AVENUE                          PO BOX 260                                  26 H WORLDS FAIR DR
FLORAL PARK NY 11001                      BELLROSE NY 11426                           SOMERSET NJ 08873




DSI RF SYSTEMS INC                        DSI USERS GROUP                             DTB SERVICES LLC
PO BOX 5838                               14900 SWEITZER LN                           RR3 BOX 3389
SOMERSET NJ 08875-5838                    STE 200                                     SAYLORSBURG PA 18353
                                          LAUREL MD 20707



DTC 272 BRODHEAD, LLC; DUNNS; CENTURION   DTC HANOVER BUS. CTR                        DTC HANOVER BUSINESS CENTER EAST LLC
EAGLE,LLC, RE:BETHLEHEM 272 BROADHEAD R   RE: BETHLEHEM 272 BROADHEAD R               1665 VALLEY CENTER PARKWAY
C/O DUNN TWIGGAR COMPANY, LLC             1665 VALLEY CENTER PARKWAY STE 110          STE 110
1665 VALLEY CENTER PARKWAY, SUITE 110     BETHLEHEM PA 18017                          BETHLEHEM PA 18017
BETHLEHEM PA 18017


DTE ENERGY                                DTE ENERGY                                  DTE ENERGY
ACCT NO. 4672-654-0001-1                  ACCT NO. 4675-018-0001-6                    PO BOX 2859
P.O. BOX 2859                             P.O. BOX 2859                               DETROIT MI 48260-0001
DETROIT MI 48620-0001                     DETROIT MI 48620-0001



DTE ENERGY                                DTG MEDIA                                   DTV EXCHANGE LLC
P.O. BOX 2859                             757 THIRD AVENUE                            315 PORTSIDE LN  STE G
DETROIT MI 48620-0001                     3RD FLOOR                                   SIDELL LA 70458
                                          NEW YORK NY 10017




                                               Page 631 of 2387
                           Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 632 of 800
DTV EXCHANGE LLC                        DU TREIL LUNDIN & RACKLEY INC                 DUANA PATTERSON
315 PORTSIDE LN  STE G                  201 FLETCHER AVE                              254 NW 2 WAY
SLIDELL LA 70458                        SARASOTA FL 34237-6019                        DEERFIELD BEACH FL 33441




DUANE ATHER                             DUANE E MEYER                                 DUANE L STORHAUG
578 RICH MAR STREET                     22630 SUNNYBROOK DR                           1515 DALY ROAD
WESTMINSTER MD 21136                    WILDOMAR CA 92595                             OJAI CA 93023




DUANE O'CONNOR                          DUANE PERRIN                                  DUANY, HUMBERTO MARTIN
641 N HAMILTON AVE                      4836 W. POLK STREET                           2623 CREEKVIEW CIRCLE
LINDENHURST NY 11757                    CHICAGO IL 60644                              OVIEDO FL 32765




DUARTE, SUSANA M                        DUAYNE DRAFFEN                                DUBARRY, MIKE
6031 SUMMERLAKES DR NO. 304             147 LENA AVENUE                               55 STILLWATER AVE
DAVIE FL 33314                          FREEPORT NY 11520                             STAMFORD CT 06902




DUBE, GEORGE                            DUBE, GUILENE                                 DUBE, MATTHEW P
125 CHASE COMMON DR                     5944 NW 20 STREET                             21 BALLARD ST
NORCROSS GA 30071                       LAUDERHILL FL 33313                           EAST HAMPTON MA 01027




DUBINSKIY, ILYA                         DUBLIN HILL, INC                              DUBOIS, DANIEL
1577 OLYMPIC CIR   APT 6                85 DUBLIN HILL ROAD                           1358 RIVER SIDE CIRCLE
WHITEHALL PA 18052                      FORT ANNE NY 12827-9757                       WELLINGTON FL 33414




DUBOIS, MARCELINE                       DUBOIS,JASON                                  DUBON, BRYON
6846 ROYAL PALM BEACH BLVD              2204 LORD SEATON CIRCLE                       736 STONE RD
WEST PALM BEACH FL 33412                VIRGINIA BEACH VA 23454                       WINDSOR CT 06095-1037




DUBON, LINDA                            DUBON, MOLLY                                  DUBRIEL, DAWN
736 STONE RD.                           PO BOX 985                                    5901 NW 71ST AVE
WINDSOR CT 06095                        WINDSOR CT 06095                              TAMARAC FL 33321




DUC LY                                  DUC TRUONG                                    DUCASSI, NURI J
1022 N. MCKEEVER AVENUE                 5301 MOONGLOW DR                              1400 DE L'HERITAGE RUE
AZUSA CA 91702                          ORLANDO FL 32839                              SAINT- LAZARE QC J7T 2K6




DUCHARME MCMILLEN & ASSOCIATES INC      DUCHARME MCMILLEN & ASSOCIATES INC            DUCHARME, NANCY K
6610 MUTUAL DR                          PO BOX 691175                                 8045 APACHE TRAIL PO BOX 222
FORT WAYNE IN 46825                     CINCINNATI OH 45269-1175                      TINLEY PARK IL 60477




                                               Page 632 of 2387
                              Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 633 of 800
DUCHENE, PAUL                              DUCHESNEAU, DENNIS                            DUCKER, ERIC
6906 SW TERWILLIGER BLVD                   9 STANDISH DR                                 1445 ALLESANDRO ST
PORTLAND OR 97219                          MARLBOROUGH CT 06447                          LOS ANGELES CA 90026




DUCKER, GEORGE                             DUCKFACE INC                                  DUCKVISION INC
617 CORONADO TERRACE          APT 20       121 BROOKSIDE DR                              4676 S SHERMAN ST
LOS ANGELES CA 90026                       SAN ANSELMO CA 94960                          ENGLEWOOD CO 80113




DUCLERVIL, BRITNEY                         DUCOS, MARTIN                                 DUDLEY CASSANOVA
1266 S MILITARY TRAIL NO.548               4038 ETTORNIA DR                              P.O. BOX 4231
DEERFIELD BEACH FL 33442                   WALNUTPORT PA 18088                           HARTFORD CT 06147




DUDLEY DECARISH                            DUDLEY, CARLTON                               DUDLEY, STEVE
155 TRACY DRIVE                            7801 S WINCHESTER                             321 N 188TH ST
VERNON CT 06066                            CHICAGO IL 60620                              SHORELINE WA 98133




DUDONES, JILL                              DUDZINSKI, ANDRZEJ                            DUEBEN, ALEXANDER B
2310 S CANAL ST NO.305                     PO BOX 1                                      17830 MAGNOLIA BLVD NO.14
CHICAGO IL 60616                           GILBERTSVILLE NY 13776                        ENCINO CA 91316




DUEMAS DELIVERY SERVICE LLC                DUEN, BENJAMIN                                DUERSON, ADAM
2305 S MT PROSPECT RD                      1608 LAKE RHEA DR                             85 AVE A APT 5F
DES PLAINES IL 60018                       WINDERMERE FL 34786                           NEW YORK NY 10009




DUETSCH NEWS AGENCY                        DUFF, CYRUS                                   DUFFER, ROBERT T
115 MADONNA LA                             69 GRENNAN RD                                 4843 N TROY ST 2A
NEWBURY PARK CA 91320                      WEST HARTFORD CT 06107                        CHICAGO IL 60625




DUFFY, CATHRINE E                          DUFFY, KEVIN PETER                            DUFFY, LAURA
4 KEMSWICK DR                              8622 BEATRICE LN                              43 BOONE TRAIL
STONY BROOK NY 11790                       BATH PA 18014                                 SEVERNA PARK MD 21146




DUFFY, PATRICK                             DUFOUR, JEFF                                  DUFRESNE, BETHE
15153 BURBANK BLVD     NO.8                2120 VERMONT AVE NW NO 5                      PO BOX 93
VAN NUYS CA 91911                          WASHINGTON DC 20001                           OLD MYSTIC CT 06372




DUGAN, JUDITH                              DUGGAN, SEAN                                  DUGGAN, TIMOTHY J
403 N BRONSON AVE                          1471 MERIDIAN PL NW                           405 LONDON COMPANY WAY
LOS ANGELES CA 90004                       WASHINGTON DC 20010                           WILLIAMSBURG VA 23185




                                                  Page 633 of 2387
                            Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 634 of 800
DUGGINS, DAVID                             DUHANEY, SHAWN A                            DUHART, GEORGE
4805 SW 41ST STREET NO.204                 40 DANIEL BLVD                              45 PARKVIEW DR
HOLLYWOOD FL 33023                         BLOOMFIELD CT 06002                         SOUTH WINDSOR CT 06074




DUHART,EDMOND,J                            DUKE ENERGY                                 DUKE ENERGY
5445 NW 177 TERR                           ACCT NO. 2020-3047-01-1                     ACCT NO. 6260-2829-01-0
OPA LOCKA FL 33055                         P.O. BOX 9001076                            P.O. BOX 9001076
                                           LOUISVILE KY 40290-1076                     LOUISVILE KY 40290-1076



DUKE ENERGY                                DUKE ENERGY                                 DUKE ENERGY
1100 W 2ND ST                              PO BOX 9001076                              139 E FOURTH ST
BLOOMINGTON IN 47403                       LOUISVILLE KY 40290-1076                    CINCINNATI OH 45202




DUKE ENERGY                                DUKE ENERGY                                 DUKE ENERGY
PO BOX 740263                              PO BOX 740399                               PO BOX 740414
CINCINNATI OH 45274-0263                   CINCINNATI OH 45274-0399                    CINCINNATI OH 45274-0414




DUKE ENERGY                                DUKE REALTY CORPORATION                     DUKE REALTY LIMITED PARTNERSHIP
P.O. BOX 9001076                           RE: ST. LOUIS 2250 BALL DR.                 RE: ST. LOUIS 2250 BALL DR.
LOUISVILE KY 40290-1076                    600 E. 96TH STREET, SUITE 100               520 MARYVILLE CENTRE DRIVE, SUITE 200
                                           INDIANAPOLIS IN 46240                       ST. LOUIS MO 63141-5819



DUKE REALTY LP                             DUKE REALTY LP                              DUKE REALTY LP
6133 N RIVER RD SUITE 200                  75 REMITTANCE DRIVE STE 3205                75 REMITTANCE DRIVE STE 3205
ROSEMONT IL 60018                          LEASE LACMETEO1                             CHICAGO IL 60675-3205
                                           CHICAGO IL 60675-3205



DUKE REALTY LP                             DUKE REALTY, LP                             DUKE YORK ROAD, LLC C/O DUKE REALTY
600 E 96TH ST STE 100                      RE: ST. LOUIS 2250 BALL DR.                 CORP., RE: OAK BROOK 2000 YORK RD
LEASE LTRIBRE01                            75 REMITTANCE DR.                           ATTN: VICE PRESIDENT - PROPERTY MGMT
INDIANAPOLIS IN 46240                      SUITE 3205                                  6133 NORTH RIVER ROAD, SUITE 200
                                           CHICAGO IL 60675-3205                       ROSEMONT IL 60018


DUKE YORK ROAD, LLC C/O DUKE REALTY L.P.   DUKE-WRIGHT, CLEO                           DUKES, TIMOTHY
RE: OAK BROOK 2000 YORK RD                 8 JAY BEE DR                                1645 W. WOLFRAM STREET
ATTN: ACCOUNTS RECEIVABLE, PBYRK001        BLOOMFIELD CT 06002                         #1
600 E. 96TH STREET, SUITE 100                                                          CHICAGO IL 60657
INDIANAPOLIS IN 46240


DULANEY LEAHY & CURTIS                     DULANY, WILLIAM B                           DULIA JIMENO
RE: WESTMINISTER 121 E. MAIN               127 EAST MAIN STREET                        2013 ADDISON WAY
127 EAST MAIN ST.                          WESTMINSTER MD 21157                        EAGLE ROCK CA 90041
WESTMINSTER MD 21157



DULLAGHAN, PENELOPE                        DULUTH NEWS TRIBUNE                         DUMAINE, JOAN E
805 TERRACE DRIVE                          424 WEST FIRST STREET                       86 TRACY DRIVE
WINONA LAKE IN 46590                       DULUTH MN 55802                             MANCHESTER CT 06042




                                                Page 634 of 2387
                           Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 635 of 800
DUMAIS, MICHAEL                         DUMARSAIS, DAPHNE                             DUMARSAIS, JOHANE
255 HIGH ST                             9089 SW 1ST RD                                9089 SW 1ST RD
*PARTS AMERICA-NEWBRITE PLAZA           BOCA RATON FL 33428                           BOCA RATON FL 33428
NEW BRITAIN CT 06051-1021



DUMAS, DEVICA                           DUMAY, RAYNALD                                DUME, JONATHAN
1500 NW 77TH WAY                        6852 NW 29TH ST                               1071 NW 141ST STREET
PEMBROKE PINES FL 33024                 SUNRISE FL 33313                              NORTH MIAMI FL 33168




DUMERVIL, MOISE                         DUMOSTIL,YOLE                                 DUN & BRADSTREET
4001 NW 66TH AVE                        525 NW 48TH AVE                               ATTN: AMY SMITH
HOLLYWOOD FL 33024                      DELRAY BEACH FL 33445                         3445 PEACHTREE ROAD N.E.
                                                                                      ATLANTA GA 30326



DUN & BRADSTREET                        DUN & BRADSTREET                              DUN & BRADSTREET
BUSINESS EDUCATION SERVICES             BUSINESS EDUCATION SERVICES                   P O BOX 75542
PO BOX 71186                            PO BOX 95678                                  CHICAGO IL 60675-5542
CHICAGO IL 60694                        CHICAGO IL 60694-5678



DUN & BRADSTREET                        DUN & BRADSTREET                              DUN & BRADSTREET
PO BOX 75434                            PO BOX 75977                                  75 REMITTANCE DRIVE STE 1793
CHICAGO IL 60675-5434                   CHICAGO IL 60675-5977                         CHICAGO IL 60675-1793




DUN & BRADSTREET                        DUN & BRADSTREET                              DUNAGIN, R RALPH JR
BUSINESS REFERENCE SERVICES             RECEIVABLE MANAGEMENT SVCS                    609 WORTHINGTON DRIVE
PO OX 75918                             PO BOX 8500-55028                             WINTER PARK FL 32789
CHICAGO IL 60675-5918                   PHILADELPHIA PA 19178-5028



DUNAWAY, TIM                            DUNBAR, DERRICK                               DUNCAN, BARBARA
420 NE 45 COURT                         2920 NW 56TH AVE    APT 408                   7 FROG POND RD
FORT LAUDERDALE FL 33334                LAUDERHILL FL 33313                           HUNTINGTON STATION NY 11746




DUNCAN, CHERYL L                        DUNCAN, DONNA M                               DUNCAN, DWAYNE
145 SW 13TH AVENUE                      5776 NW 56TH MANOR                            49 VERNON PL
DELRAY BEACH FL 33444                   CORAL SPRINGS FL 33067                        STAMFORD CT 06902




DUNCAN, GREG J                          DUNCAN, LORI                                  DUNCAN, RONALDO A
2751 BROADWAY AV                        1349 W WOLFRAM                                5600 NW 16TH ST
EVANSTON IL 60201                       CHICAGO IL 60657                              LAUDERHILL FL 33313




DUNCAN, SCOTT H                         DUNCAN, SHAKIM L                              DUNCAN, TAMARA
6535 N GLEN DR                          1220 N. 57TH AVENUE                           2329 SAINT ELMO AVE
CUMMING GA 30028                        HOLLYWOOD FL 33021                            MEMPHIS TN 38127




                                               Page 635 of 2387
                        Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 636 of 800
DUNDALK EAGLE                        DUNDALK EAGLE                                 DUNDON, RIAN
4 NORTH CENTER PLACE                 PO BOX 8936                                   722 4TH AVE NO 3
DUNDALK MD 21222                     DUNDALK MD 21222                              BROOKLYN NY 11232




DUNFORD, DAVID                       DUNGCA, LAWRENCE C                            DUNHAM, MICHAEL BERNARD
5 E COTTON HILL RD                   3344 N TROY ST                                497 WILMOT AVE
NEW HARTFORD CT 06057-3507           CHICAGO IL 60618                              BRIDGEPORT CT 06607




DUNKERLEY, PATRICIA                  DUNKIN DONUTS                                 DUNKLEY, KENRICK OMAR
1 BURG AVE                           1750 W LAKE ST                                10037 WINDING LAKES RD APT 204
SANDWICH MA 02563                    ADDISON IL 60101                              SUNRISE FL 33351




DUNLEVY, LYNN L                      DUNLOP, DOMINIC PATRICK                       DUNMORE, SOLOMON
BOX 305                              177/62 NAKHON LUANG 1                         1809 SW 10TH ST. # 2
URBANNA VA 23175                     SOI AMON NANG LINCHEE                         FT. LAUDERDALE FL 33312
                                     BANGKOK 10120



DUNN EDWARDS PAINTS                  DUNN EDWARDS PAINTS                           DUNN EDWARDS PAINTS
2001 S HOOVER                        4885 E 52ND PLACE                             P O BOX 30389
LOS ANGELES CA 90007                 LOS ANGELES CA 90040                          LOS ANGELES CA 90030




DUNN SOLUTIONS GROUP                 DUNN SOLUTIONS GROUP                          DUNN TWIGGAR COMPANY LLC
4301 W TOUHY AVENUE                  5550 W TOUHY AVENUE                           1665 VALLEY CENTER PKWY STE 110
LINCOLNWOOD IL 60646                 SKOKIE IL 60077                               BETHLEHEM PA 18017




DUNN, ALAN                           DUNN, DANIEL J                                DUNN, ELAINE
624 VERSAILLES DRIVE                 934 2ND ST NO.4                               25 LONGFELLOW ROAD
HUNTSVILLE AL 35803                  SANTA MONICA CA 90403                         CAMBRIDGE MA 02138




DUNN, GABRIELLE                      DUNN, JOSEPH A                                DUNN, KARLA
11250 RENAISSANCE RD                 429 BENTWOOD DRIVE                            3008 W JACKSON
COOPER CITY FL 33026                 LEESBURG FL 34748                             CHICAGO IL 60612




DUNN, KIMBERLY C                     DUNN, LOUIS                                   DUNN, MATHEW L
4555 WASHINGTON RD APT 23E           281 WEST I STREET                             2421 SOUTH BROWN AVENUE
COLLEGE PARK GA 30349                BENICIA CA 94510                              ORLANDO FL 32806




DUNN, NANCY                          DUNN, ROBERT J                                DUNN, SAMANTHA E
3 BARGATE RD                         331 SE 6 CT                                   1204 SERVIER ROAD
CLINTON CT 06413-2401                POMPANO BEACH FL 33060                        COOL CA 95614




                                            Page 636 of 2387
                            Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 637 of 800
DUNN, SHARON                             DUNN, STEPHEN VINCENT                         DUNN, SUSAN
2575 TRACT ROAD                          1600 S JOYCE ST APT 1707                      71 BAXTER ROAD
FAIRFIELD PA 17320                       ARLINGTON VA 22202                            WILLIAMSTOWN MA 01267




DUNN, TERRENCE E                         DUNNE, LEO J                                  DUNNING, TINA L
1010 WASHINGTON AVE                      1343 BUCKINGHAM ROAD                          443 N FREDERIC STREET
SANTA MONICA CA 90403                    GROSSE POINTE MI 48230                        BURBANK CA 91505




DUNOIS, LUCKNER                          DUNPHY, ROSE MARIE                            DUNTON, DEBORAH
4200 NW 88TH AVE NO.414                  22 MARIA COURT                                216 N SAINT GEORGE ST
SUNRISE FL 33351                         HOLBROOK NY 11741                             ALLENTOWN PA 18104




DUONG PHAM                               DUPREE, HILMA                                 DUPUIS JR, RAYMOND J
5818 N. BERNARD STREET                   5 PURITAN DR                                  86 BALD HILL RD
CHICAGO IL 60659                         BLOOMFIELD CT 06002                           TOLLAND CT 06084




DUPUY, CHRISTINA                         DUPUY, LISA                                   DUPUY,JOSEPH
1644 1/2 MOHAWK ST                       6001 CANYONSIDE RD                            1862 N.W. 11 CIR
LOS ANGELES CA 90026                     LA CRESCENTA CA 91214                         POMPANO BEACH FL 33069




DUQUE, LEON                              DUQUE, LUCERO Q                               DURAN, JOSEPH
1305 PARK DR 2208                        PO BOX 453704                                 6439 ORANGE STREET NO.7
CASSELBERRY FL 32707                     KISSIMMEE FL 34741                            LOS ANGELES CA 90048




DURAN, SALVADOR                          DURAND, DEBRA L                               DURANT JR, DANIEL
6937 COLBATH AVE                         PO BOX 175                                    182 MCKEE STREET
VAN NUYS CA 91405                        QUINEBAUG CT 06262                            MANCHESTER CT 06040




DURANT JR, DANIEL                        DURANT, RENEE F                               DURANTE DELIVERY SERVICE
93 CLINIC DR APT B2                      7873 CARLTON ARMS RD APT D                    202 N POPLAR ST
*BROOKS DRUG ALLEN ST                    INDIANAPOLIS IN 46256                         N MASSAPEQUA NY 11758
NEW BRITAIN CT 06051-4009



DURAO, VICTOR P                          DURASOFT SYSTEMS INC                          DURBIN, LISA
100 SUNMEADOW DRIVE                      522 BRICK BLVD                                262 EASTWIND CT
EAST BERLIN CT 06023                     BRICK NJ 08723-6006                           WESTERVILLE OH 43081




DURBIN, WILLIAM LIAM                     DURBIN, WILLIAM LIAM                          DURELL, ROBERT
1432 BEAVER ST                           PO BOX 132                                    603 GEORGETOWN PLACE
SEWICKLEY PA 15143                       SEWICKLEY PA 15143                            DAVIS CA 95616




                                                Page 637 of 2387
                            Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 638 of 800
DURGA BHOJ                               DURGHA SEERLA                                 DURGIN, VANCE L
12199 N. MAIN STREET                     496 ROSE LANE                                 18881 JANE CIRCLE
UNIT # 2                                 BARTLETT IL 60103                             SANTA ANA CA 92705
RANCHO CUCAMONGA CA 91739



DURHAM MONSMA                            DURHAM, MICHAEL                               DURITSA, RYAN
31644 2ND AVE                            108 TOLEDO STREET                             1935 N FAIRFIELD AVE NO.312
LAGUNA BEACH CA 92651                    ROYAL PALM BEACH FL 33411                     CHICAGO IL 60647




DURKOT,RONALD                            DURKOT,RONALD                                 DUROCHIK, DAVID
19 LAKE VISTA TR NO.101                  19 LAKE VISTA TRAIL NO.101                    1130 W CORNELIA
PORT SAINT LUCIE FL 34952                PT ST LUCIE FL 34952                          CHICAGO IL 60657




DURQUE, VIVIANA FIGUEROA                 DURR, MICHAEL                                 DURR, SUZETTE
1018 COSTA MESA LANE                     237 N LINCOLN ST                              17543 BAKER AVENUE
KISSIMMEE FL 34744                       WESTMONT IL 60559                             COUNTRY CLUB HILLS IL 60478




DURRUM, KENNETH AVERY                    DURSIN, MARK R                                DUSENBERRY, KEITH
3716 NE 11ST                             111 FLOOD RD                                  424 S BROADWAY UNIT 301
HOMESTEAD FL 33033                       MARLBOROUGH CT 06447                          LOS ANGELES CA 90013




DUSHAWN ELLIS                            DUSSTEEN SCOTT                                DUSTBUSTERS SWEEPING SERVICE
7500 SOUTH HONORE                        4260 BOUNTIFUL CIRCLE                         2448 N BRIMHALL ST
CHICAGO IL 60620                         CASTLE ROCK CO 80109                          MESA AZ 85203




DUSTBUSTERS SWEEPING SERVICE             DUSTCATCHERS & A LOGO MAT INC                 DUSTIN DETORRES
617 N STAPLEY                            8801 S SOUTH CHICAGO AVENUE                   9124 SUMMIT CENTRE WAY
MESA AZ 85203                            CHICAGO IL 60617                              APT. 102
                                                                                       ORLANDO FL 32810



DUSTIN LANGLEY                           DUSTIN PRINCE                                 DUSTIN, JACLYN
3850 WIND DRIFT DR E                     701 FIRST ST                                  6415 N NEVA AVE
1B                                       MANHATTAN IL 60422                            CHICAGO IL 60631
INDIANAPOLIS IN 46254



DUSZA, BRIAN S                           DUSZYNSKI, THOMAS W                           DUTAN, MARIA ISABEL
24917 FRANKLIN LANE                      2706 N. NEW ENGLAND AVE                       10 RIVERE DRIVE APT 3
PLAINFIELD IL 60585                      CHICAGO IL 60707                              STAMFORD CT 06902




DUTCZAK, AMANDA                          DUTEAU II, RICHARD M                          DUTEL TELECOMMUNICATIONS INC
190 BIRCHWOOD DRIVE                      PO BOX 70761                                  7041 VINELAND AVENUE
BARRINGTON IL 60010                      FT LAUDERDALE FL 33307                        NORTH HOLLYWOOD CA 91605




                                                Page 638 of 2387
                           Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 639 of 800
DUTHU, MARK                             DUTKA, ELAINE                                 DUTKA, ELAINE
3443 N HALSTED NO.2A                    447 1/2 SOUTH MAPLE DRIVE                     447 1/2 SOUTH MAPLE DRIVE
CHICAGO IL 60657                        BEVERLY HILLS CA 90212                        BEVERLY HILLS CA 90012-4713




DUVA, EDELBERTO                         DUVAL DENIS                                   DUVAL, ANGELA
4500 NE 18TH AVE                        505 OXFORD ST                                 35 GILLETTE ST NO. 1ST FLOOR
POMPANO BEACH FL 33064                  WESTBURY NY 11590                             WEST HARTFORD CT 06119




DUVALL, LYNN J                          DUVALL, WYATT                                 DUVERNE, EGAINE
3634 EMANUEL DR                         15919 FORSYTHIA CIR                           500 SW 2ND AVE APT. NO. 117
GLENDALE CA 91208                       DELRAY BEACH FL 33484                         BOCA RATON FL 33432




DUVIGNEAVD, CHANTAL                     DUVNAK, NENAD                                 DUWAYNE MCPHERSON
1401 BANKHEAD HWY6                      10140 DARA CT                                 1209 W SHERWIN AVE.
ATLANTA GA 30318                        BOCA RATON FL 33428                           APT. #605
                                                                                      CHICAGO IL 60626



DVIR, BOAZ                              DVORAK, HEIDI                                 DWAIN D NILLES
1822 NW 6TH AVE                         9126 GRUNDY LANE                              3613 JUDY COURT
GAINESVILLE FL 32603                    CHATSWORTH CA 91311                           JOLIET IL 60431




DWAINE DUNCAN                           DWASS, EMILY                                  DWAYNE BELLER
4418 MARTINS WAY                        24696 CALLE LARGO                             2725 VALLEY VIEW DRIVE
ORLANDO FL 32808                        CALABASAS CA 91302                            BATH PA 18014




DWAYNE BROWN                            DWAYNE BUTLER                                 DWAYNE HICKSON
10244 7TH AVENUE                        345 N. LASALLE                                541 SOUTH OCEAN AVENUE
INGLEWOOD CA 90303                      2109                                          FREEPORT NY 11520
                                        CHICAGO IL 60610



DWAYNE MCDOUGAL                         DWAYNE MERRITT                                DWAYNE PALLANTI
5670 NE 8 AVE                           6730 S ABERDEEN                               6312 SCOTT COURT
FORT LAUDERDALE FL 33334                CHICAGO IL 60621                              TINLEY PARK IL 60477




DWAYNE QUINN                            DWAYNE ROGERS                                 DWAYNE ROSS
1538 NORTH AVERS                        5407 WALTON STREET                            635 CRESTA CIRCLE
CHICAGO IL 60651                        LONG BEACH CA 90815                           WEST PALM BEACH FL 33413




DWAYNE SHAW                             DWAYNE SIMPSON                                DWAYNE STEPHENSON
1365 SUSSEX DRIVE                       110-43 157TH STREET                           10907 OTSEGO STREET
NORTH LAUDERDALE FL 33069               JAMAICA NY 11433                              NORTH HOLLYWOOD CA 91601-3935




                                               Page 639 of 2387
                           Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 640 of 800
DWIGHT DAVIS                            DWIGHT DUNCAN                                 DWIGHT MOORE
930 E DAYTON CIR                        345 SKY VALLEY STREET                         18965 NORTHERN DANCER LANE
FORT LAUDERDALE FL 33312                CLERMONT FL 34711                             YORBA LINDA CA 92886




DWIGHT TROGDON                          DWIGHT, WILLIAM H                             DWORKIN, DOROTHY
17757 32ND LANE NORTH                   39 MYRTLE ST                                  5750 ROYAL LAKE CIRCLE
LOXAHATCHEE FL 33470                    NORTHAMPTON MA 01060                          BOYNTON BEACH FL 33437




DWORNICZAK, REGINA                      DWS INVESTMENTS                               DWYER,JIM
105-24 93RD ST                          ATTN: SARA SIMON                              4 COLONIAL LN
OZONE PARK NY 11417                     210 WEST 10TH ST                              OLD SAYBROOK CT 06475-4413
                                        KANSAS CITY MO 64105-1614



DWYER,JIM                               DYANA LEE BURKE                               DYANN STRONG
P O BOX 1085                            10125 SWEETLEAF ST.                           624 W MELROSE CIR
OLD SAYBROOK CT 06475-1085              ORLANDO FL 32827                              FORT LAUDERDALE FL 33312




DYBEK, STUART                           DYBEK, STUART                                 DYE, GERALD E
1630 CHICAGO AVE NO.1903                320 MONROE                                    7741 HYSSOP DR
CHICAGO IL 60201                        KALAMAZOO MI 49006                            ETIWANDA CA 91739




DYER ENTERPRISES INC                    DYER, CLEVELAND                               DYER, JOSHUA
23805 126TH ST                          2401 NW 41ST AVE APT NO.208                   RT 1 BPX 430-03
TREVOR WI 53179                         LAUDERHILL FL 33313                           MT CLARE WV 26408




DYER, SARAH                             DYER,GWYNNE                                   DYKE, WILLIAM
2011 WASHINGTON AVE                     32 LYME ST                                    135 CHESTNUT OAK TRAIL
NORTHAMPTON PA 18067-1319               ENGLAND NW10EE                                DELTA PA 17314




DYLAN HERNANDEZ                         DYLAN KRUSE                                   DYNA SYSTEMS
1612 FAIR OAKS AVE                      1309 MARSHALL STREET                          PO BOX 655326
APT 35                                  APT 309                                       ACCT FC DY132034
SOUTH PASADENA CA 91030                 REDWOOD CITY CA 94063                         DALLAS TX 75265-5326



DYNA SYSTEMS                            DYNAMEX INC                                   DYNAMEX INC
PO BOX 971342                           1763 COLUMBIA ROAD NW                         12837 COLLECTIONS CNTR DRIVE
DALLAS TX 75397-1342                    WASHINGTON DC 20009                           CHICAGO IL 60693




DYNAMEX INC                             DYNAMEX INC                                   DYNAMEX INC
875 W HURON ST                          PO BOX 4230                                   12837 COLLECTIONS CENTER DRIVE
CHICAGO IL 60622                        CAROL STREAM IL 60197                         CHICAGO IL 60693




                                               Page 640 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 641 of 800
DYNAMEX INC                            DYNAMEX INC                                   DYNAMEX INC
302 FIFTH ST                           PO BOX 101                                    PO BOX 20284
NEW YORK NY 10001                      NEW YORK NY 10156                             GREELEY SQUARE STATION
                                                                                     NEW YORK NY 10001



DYNAMEX INC                            DYNAMEX INC                                   DYNAMEX INC
PO BOX 1226                            PO BOX 20284                                  PO BOX 99188
MIDTOWN STATION                        GREEN SQUARE STATION                          PITTSBURGH PA 15233
NEW YORK NY 10018                      NEW YORK NY 10001



DYNAMEX INC                            DYNAMIC DESIGN                                DYNAMIC LOGIC INC
5429 LBJ FWY SUITE 1000                2244 NW 29TH ST                               UNION SQUARE
DALLAS TX 75240                        FT LAUDERDALE FL 33311                        30 IRVING PLACE 4TH FL
                                                                                     NEW YORK NY 10003



DYNAMIC LOGIC INC                      DYNAMIC RECOVERY SERVICES INC                 DYNAMIC RECOVERY SERVICES INC
PO BOX 8500 9465                       2775 VILLA CREEK 290                          4101 MCEWEN RD STE 150
PHILADELPHIA PA 19178-9465             FARMERS BRANCH TX 75234                       DALLAS TX 75244




DYNAMIC RECOVERY SERVICES INC          DYNARIC INC                                   DYNARIC INC
PO BOX 815808                          ATTN: LEN BROWN X:160                         PO BOX 15442FAX 201 692-7757
DALLAS TX 75381                        GLENPOINTE CENTRE W.                          MICHELLEX126/ BRIAN KOSKO
                                       500 FRANK W. BURR BLVD.                       TECH SERVICE 800-544-4391
                                       TEANECK NJ 07666                              NEWARK NJ 07192


DYNARIC INC                            DYNARIC INC                                   DYNARIC INC
PO BOX 74492                           PO BOX 8500-2231                              5740 BAYSIDE ROAD
CLEVELAND OH 44194-4492                PHILADELPHIA PA 19178-2231                    VIRGINIA BEACH VA 23455




DYNASTY MANAGEMENT SERVICES INC        DYNASTY MANAGEMENT SERVICES INC               DYNEL MATTES
8742 N ST LOUIS AV                     8742 N ST LOUIS AVE                           834 KOSSUTH STREET
SKOKIE IL 60076                        ALICIA M GREEN KING                           BETHLEHEM PA 18017
                                       319
                                       SKOKIE IL 60076


DYNERA CORPORATION                     DYRNESS, GRACE                                DZP VIDEO MULTMEDIA INC
3245 RIO VISTA STREET                  2097 N EL MOLINO AVENUE                       200 BETHLEHEM DR STE 108
COMMERCE TOWNSHIP MI 48382             ALTADENA CA 91001                             MORGANTOWN PA 19543




DZURILLA, MICHAEL KENNETH              E & L DIRECT MAIL SYSTEM INC                  E & M DISTRIBUTION LLC
57-42 229TH STREET                     PO BOX 1815                                   5464 ADDINGTON RD
BAYSIDE NY 11364                       NORWALK CA 90651-1815                         BALTIMORE MD 21229




E & S RING MANAGEMENT CORPORATION      E & S RING MANAGEMENT CORPORATION             E DOC COMMUNICATIONS
400 CORPORATE POINTE STE 400           5721 W SLAUSON AVE STE 200                    555 BUSINESS CENTER DR
CULVER CITY CA 90230                   CULVER CITY CA 90230                          MT PROSPECT IL 60056




                                              Page 641 of 2387
                           Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 642 of 800
E DOC COMMUNICATIONS                    E FLAT FEE REALTY ASSOC REALTY                E FRIEDBERG
DEPARTMENT 20-3022                      5555 GLEN OAKS PT                             5340 BELLINGHAM AVE
PO BOX 5977                             WEST DES MOINES IA 50266                      APT#10
CAROL STREAM IL 60197-5977                                                            VALLEY VILLAGE CA 91607



E G CUSTOM ENGINEERING                  E G NEWS                                      E JASON WAMBSGANS
931 S 350 E                             6403 DENDI RIDGE DR                           1821 S. HALSTED
TIPTON IN 46072-8713                    PLAINFIELD IL 60586                           APT. #2F
                                                                                      CHICAGO IL 60608



E LEROY OLLIGER                         E LIST STATE COM                              E LIST STATE COM
9846 SILVER BELL DR                     20001 PINE DRIVE WEST                         PO BOX 261
SUN CITY AZ 85351-3259                  VOLCANO CA 95689                              VOLCANO CA 95689




E N T INC                               E ROGER MAXFIELD                              E SCOTT RECKARD
1427 BONSAL ST                          18110 JUDICIAL WAY NORTH                      32106 VIRGINIA WAY
BALTIMORE MD 21224                      LAKEVILLE MN 55044                            LAGUNA BEACH CA 92651




E SCOTT SEELEY                          E SYMISTER                                    E THE PEOPLE
1353 BAYVILLE COURT                     163 TREET AVENUE                              244 FIFTH AVE NO.G262
APT. #3                                 CENTRAL ISLIP NY 11722                        NEW YORK NY 10001
NORFOLK VA 23503



E W BAUMANN                             E&E RIGHT CHOICES INC                         E&M ADVERTISING
7115 - 7TH AVE                          9881 NOB HILL LANE                            462 7TH AVE
KENOSHA WI 53143                        SUNRISE FL 33351                              NEW YORK NY 10018




E&M ADVERTISING INC                     E&M ADVERTISING INC                           E&M PRO DISTRIBUTORS
462 7TH AVE                             60 MADISON AVE                                36389 HAWTHORNE LANE
NEW YORK NY 10018                       ATTN PAT PALADINO                             INGLESIDE IL 60041
                                        NEW YORK NY 10010



E-DIALOG INC                            E-DIALOG INC                                  E2K
131 HARTWELL AVE                        PO BOX 414045                                 445 N WHISMAN RD STE 100
LEXINGTON MA 02421                      BOSTON MA 02241                               MOUNTAIN VIEW CA 94043




E2V TECHNOLOGIES INC                    E2V TECHNOLOGIES INC                          EACH, MOLLY
4 WESTCHESTER PLZA                      PO BOX 371020                                 1408 N PAULINA NO.2
ELMSFORD NY 10523                       PITTSBURGH PA 15251-7020                      CHICAGO IL 60622




EADES, JUSTIN                           EADES, TIMOTHY P                              EAGLE EYE MAPS
7334 RANDOLPH      APT 2                3839 N CUMBERLAND                             50 MERLHAM DR
FOREST PARK IL 60130                    CHICAGO IL 60634                              MADISON WI 53705




                                               Page 642 of 2387
                        Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 643 of 800
EAGLE FIRE PROTECTION INC            EAGLE FIRE PROTECTION INC                     EAGLE INDUSTRIES INC
1205 CROWN PARK CIRCLE               PO BOX 121091                                 67 TOM HARVEY RD
WINTER GARDEN FL 34787               CLERMONT FL 34712-1091                        WESTERLY RI 02891




EAGLE PROTECTION SERVICES INC        EAGLE PROTECTION SERVICES INC                 EAGLE TIMES
18436 HAWTHORNE BLVD                 PO BOX 1428                                   RR2 BOX 301
TORRANCE CA 90505                    TORRANCE CA 90505-1428                        CLAREMONT NH 03743




EAGLE, AMY                           EAGLES LANDING PHOTOGRAPHY                    EAIKLAN DAVIS
18232 HOMEWOOD AVE                   907 E MAIN ST                                 130 NE 56 ST
HOMEWOOD IL 60430                    NEWARK OH 43055                               FORT LAUDERDALE FL 33334




EAKIN, AISHA                         EALY-YOUNG, TRANEKA J                         EAMON FOSTER
3308 W MARQUETTE 3N                  2330 NW 32 TERRACE                            12 HILLVIEW AVENUE
CHICAGO IL 60629                     LAUDERDALE LAKES FL 33311                     FORT EDWARD NY 12828




EAR EVERYTHING INC                   EAR EVERYTHING INC                            EAR EVERYTHING INC
121 CROWN WOODS DR                   315 RIVER NORTH BLVD                          6006 ANDOVER RD
BIRMINGHAM AL 35244                  MACON GA 31211                                INDIANAPOLIS IN 46220




EAR EVERYTHING INC                   EARDLEY JR, FRANK C                           EARL DENNIS
6541 EVANSTON AV                     6711 GLEN KIRK RD                             89-19 171 ST
INDIANAPOLIS IN 46220                BALTIMORE MD 21239                            APT 5L
                                                                                   JAMAICA NY 11432



EARL GLAZIER                         EARL K WOOD                                   EARL K WOOD
156 WEST MAIN STREET                 PO BOX 1982                                   ORANGE COUNTY TAX COLLECTOR
APT. D-10                            SANTA ANA CA 92702                            PO BOX 2551
AVON CT 06001                                                                      ORLANDO FL 32802-2551



EARL K WOOD                          EARL LINO                                     EARL MAUCKER
TAX COLLECTOR                        6527 FOUNTAIN AVENUE                          3511 NE 26TH AVENUE
2110 W COLONIAL DRIVE                APT # 2                                       LIGHTHOUSE POINT FL 33064
ORLANDO FL 32804                     HOLLYWOOD CA 90028



EARL RODGERS                         EARL SNYDER                                   EARL SR, CHUCK
14426 SOUTH CALHOUN                  213 FRONT STREET                              315 UNION
BURNHAM IL 60633                     APARTMENT 3                                   SPRINGFIELD IL 62702
                                     CATASAUQUA PA 18032



EARL WOODY                           EARL, CRAIG                                   EARLE BEAMON
P.O. BOX 642                         3520 NW 26 ST.                                13 ALTON STREET
VERDUGO CITY CA 91046                FORTH LAUDERDALE FL 33311                     MANCHESTER CT 06040




                                            Page 643 of 2387
                         Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 644 of 800
EARLE J HILLIER                       EARLE, KARLENA A                              EARLE, PEGGY D
9568 HAMILTON STREET                  21375 NW 9TH CT NO.102                        51 EAST HILL RD
ALTA LOMA CA 91701                    MIAMI FL 33169                                CANTON CT 06019




EARLE-STEWART,GLORIA,D                EARLEEN MANAHAN                               EARLEY, PATRICK J
3030 SAN CARLOS DR                    322 KESSELRING AVENUE                         3951 HURON AVE NO.1
MARGATE FL 33063                      DOVER DE 19904                                CULVER CITY CA 90232




EARLEY, PAUL                          EARLEY, STEPHEN                               EARLY, MACEO E
100 CONCORD ST                        31 WENDY DR                                   11 OBRIEN LN
NEW BRITAIN CT 06053                  SOUTH WINDSOR CT 06074                        EAST HARTFORD CT 06108




EARNEST SUTTON                        EARNEST WATT                                  EARNEST, LESLIE
4810 W. SLIGO WAY                     922 E. 44TH ST.                               315 MILFORD DRIVE
COUNTRY CLUB HILLS IL 60478           CHICAGO IL 60653                              CORONA DEL MAR CA 92625




EARNSHAW, KAREN                       EARNSHAW, KAREN                               EARTHALEE M LAYNE
1 MAIN STREET                         PO BOX 3346                                   202 HORSESHOE DRIVE
MAJURO 96960                          MAJURO 96960                                  GOOSECREEK SC 29445




EARTHBORN INDOOR GARDENS              EARVIN, LAKITA                                EARWIG MUSIC COMPANY INC
590 COMMERCE ST                       837 CHAPMAN CIRCLE                            2054 W FARWELL AVE
THORNWOOD NY 10594                    STONE MOUNTAIN GA 30088                       CHICAGO IL 60645




EARWOOD,JUANITA C                     EASI INC                                      EASI INC
6721 E. 60TH PLACE                    2810 HIGHWAY 18 WEST                          355 AMERICAN HERITAGE RD
COMMERCE CITY CO 80022                WEST DELTA PARK, SUITE 200                    DE SOTO WI 54624
                                      CLEAR LAKE IA 50428



EASI INC                              EASLEY, JAMES                                 EASON, KIESIA
PO BOX 66                             2432 CORVETTE CT NO.C                         11731 S LASALLE AVE 2ND FL
DE SOTO WI 54624                      COLUMBUS OH 45232                             CHICAGO IL 60628




EASON, RICHARD W                      EAST ALLEN TOWNSHIP                           EAST ALLEN TOWNSHIP
183 16TH STREET                       5340 NOR-BATH BLVD                            ATTN: KAREN
WEST BABYLON NY 11704                 NORTHAMPTON PA 18067                          5344 NOR-BATH BLVD
                                                                                    NORTHAMPTON PA 18067



EAST ALLEN TOWNSHIP                   EAST ALLEN TOWNSHIP                           EAST COAST HOSPITAL INPATIENT SPECIALIST
RECREATION BOARD                      TOWNSHIP MUNICIPAL AUTHORITY                  2500 W LAKE MARY BLVD SUITE 101
5340 NORTHBATH BLVD                   5340 NORTHBATH BLVD                           LAKE MARY FL 32746
BATH PA 18014                         NORTHAMPTON PA 18067




                                             Page 644 of 2387
                        Case 08-13141-BLS         Doc 17-1        Filed 12/08/08   Page 645 of 800
EAST COAST HOSPITAL INPATIENT SPECIALIST   EAST END DELIVERY SERVICES CORP            EAST END SOCCER TOURNAMENT
PO BOX 953457                              46 PINELAWN AVE                            C/O MASTIC SPORTS CLUB
LAKE MARY FL 32795                         SHIRLEY NY 11967                           PO BOX 691
                                                                                      SHIRLEY NY 11967



EAST HAMPTON CHAMBER OF COMMERCE           EAST HARTFORD COMMUNITY PROJECT CO         EAST JEFFERSON
79 A MAIN ST                               33 CONNECTICUT BLVD                        2205 MAINE AVE
EAST HAMPTON NY 11937                      EAST HARTFORD CT 06108-3008                KENNER LA 70062




EAST JEFFERSON                             EAST LAKE VIEW NEIGHBORS                   EAST RIVER ENERGY
400 PHLOX ST                               3712 N BROADWAY    PMB 470                 PO BOX 388
METAIRIE LA 70001                          CHICAGO IL 60613                           GUILFORD CT 06437




EAST ROCKAWAY UFSD                         EAST SERVICE ROAD ASSOCIATES               EAST ST JOHN HIGH SCHOOL
443 OCEAN AVE                              153 ROSEMARY LANE                          1 WILDCAT DR
E ROCKAWAY NY 11518                        SOUTH WINDSOR CT 06074                     RESERVE LA 70084




EAST STROUDSBURG UNIVERSITY                EAST TOLEDO PRODUCTIONS                    EAST VALLEY TRIBUNE
FINANCIAL AIRD OFFICE                      PO BOX 893                                 120 W FIRST AVE
200 PROSPECT ST                            NEW YORK NY 10268                          MESA AZ 85210-1312
E STROUDSBURG PA 18301



EAST VALLEY TRIBUNE                        EAST WEST APPAREL                          EAST WEST VENTURES LLC
PO BOX 1547                                C/O GOODMAN FACTORS                        1806 FIELDBROOK LN
MESA AZ 85211                              PO BOX 29647                               MT AIRY MD 21771
                                           DALLAS TX 75229-9647



EAST WEST VENTURES LLC                     EAST, SHARON                               EASTER SEALS
DBA MIKE BUSCHER PHOTOGRAPHY               2841 GREENBRIAR PKWY                       230 WEST MONROE STREET
1808 FIELDBROOK LN                         ATLANTA GA 30331                           #1800
MT AIRY MD 21771                                                                      CHICAGO IL 60606



EASTERN FINANCIAL FLORIDA CREDIT UNION     EASTERN NAZARENE COLLEGE                   EASTERN SHORES PRINTING
3700 LAKESIDE DRIVE                        23 EAST ELM AVE                            4476 NW 128 STREET
MIRAMAR FL 33027                           QUINCY MA 02170                            OPA LOCKA FL 33054




EASTLAKE STUDIO                            EASTLAKE STUDIO INC                        EASTLAKE STUDIO, INC.
435 N MICHIGAN AVENUE                      435 N MICHIGAN AVENUE SUITE 3100           435 N. MICHIGAN AVE
SUITE 3100                                 CHICAGO IL 60611-4014                      SUITE 3100
CHICAGO IL 60611                                                                      CHICAGO IL 60611



EASTMAN KODAK COMPANY                      EASTMAN KODAK COMPANY                      EASTMAN KODAK COMPANY
1778 SOLUTIONS CTR                         2074 COLLECTION CTR DR                     3125 COLLECTION CTR DR
CHICAGO IL 60677-1007                      CHICAGO IL 60693-0020                      CHICAGO IL 60693-0031




                                               Page 645 of 2387
                            Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 646 of 800
EASTMAN KODAK COMPANY                    EASTMAN KODAK COMPANY                         EASTMAN KODAK COMPANY
PO BOX 5-0615                            343 STATE ST                                  SERVICE MARKETING OPERATION
WOBURN MA 01815                          BLDG 701                                      343 STATE ST 2ND FL
                                         ACCT 3243235                                  BLDG 20MC 01177
                                         ROCHESTER NY 14652-3512                       ROCHESTER NY 14650-1177


EASTMAN KODAK COMPANY                    EASTMAN KODAK COMPANY                         EASTMAN KODAK COMPANY
PO BOX 633069                            P O BOX 640448                                PO BOX 640350
CINCINNATI OH 45263-3069                 PITTSBURGH PA 15264                           PITTSBURGH PA 15264-0350




EASTMAN KODAK COMPANY                    EASTMAN, JANET L                              EASTMOND, MARGARET
11337 INDIAN TRAIL                       709 WASHINGTON ST                             7009 NW 72 AV
DALLAS TX 75229                          ASHLAND OR 97520                              TAMARAC FL 33321




EASTON, BENJAMIN B                       EASTON, BRANDY                                EASTON, DOMINIC ALLAN
23 RANDOLPH PLACE UNIT 101               511 SOUTH JOLIET                              10102 GLENMOOR DR.
NORTHAMPTON MA 01060                     HOBART IN 46342                               WEST PALM BEACH FL 33409




EASTWORKS LLP                            EASTWORKS LLP                                 EASY TECHNOLOGY GROUP INC
116 PLEASANT ST, NO. 3100                ATTN: WILL BUNDY                              700 1ST STREET
EASTHAMPTON MA 01027                     116 PLEASANT ST                               MANHATTAN IL 60442
                                         EASTHAMPTON MA 01027



EATON, CHAD                              EATON, CRAIG                                  EATON, JACK W
16902 MT FORREST BLVD                    9565 SW ADAMS ST                              12771 SR 821
MONROE WA 98272                          OKEECHOBEE FL 34974                           ELLENSBURG WA 98926




EAU CLAIRE PRESS COMPANY                 EAU CLAIRE PRESS COMPANY                      EAU CLAIRE PRESS COMPANY
701 S FARWELL ST                         ATTN: TIM ABRAHAM                             PO BOX 570
EAU CLAIRE WI 54701                      PO BOX 570                                    EAU CLAIRE WI 54702-0570
                                         EAU CLAIRE WI 54702-0570



EBA HAMID                                EBANKS, AUDREY                                EBBERT, MELISSA
308 CEC                                  5055 NW 96TH DR                               221 S 9TH STREET
HAMPTON VA 23668                         CORAL SPRINGS FL 33076                        LEHIGHTON PA 18235




EBBING, BERNARD                          EBBINK, RONALD H                              EBEID, PHILLIP
7002 W 40TH PL                           11209 TABBY CT                                29122 CORALES PLACE
STICKNEY IL 60402                        RIVERSIDE CA 92505                            CANYON COUNTRY CA 91387




EBENEZER OJEWUMI                         EBERLE, LOUIS                                 EBERT, BRUCE C
304 WEST BROAD STREET                    1 SOUTHERN CROSS LN APT 203                   327 MERRIMAC TRAIL NO.20-H
APT. 1                                   BOYNTON BEACH FL 33436                        WILLIAMSBURG VA 23185
QUAKERTOWN PA 18951




                                                Page 646 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 647 of 800
EBERT, WAYNE                           EBONI FARMER                                  EBONY HARVEY
266 E UNION ST                         57 VILLAGE GREEN DRIVE                        1120 N KENWOOD AVENUE
ALLENTOWN PA 18109                     NEW BRITAIN CT 06053                          BALTIMORE MD 21213




EBONY NASH                             EBONY STITH                                   EBONY THOMPSON
4101 PENHURST AVE.                     330 GOLF BROOK CIRCLE                         1829 S. AVERS
BALTIMORE MD 21215                     APARTMENT 202                                 CHICAGO IL 60623
                                       LONGWOOD FL 32779



EBRAHIM-SAID,FAWZY                     EBSCO SUBSCRIPTION SERVICES                   EBSCO SUBSCRIPTION SERVICES
7379 SANTA MONICA DR                   ATTN: BETSY GORDON                            PO BOX 2543
MARGATE FL 33063                       1 LOOSELEAF LANE                              BIRMINGHAM AL 35202
                                       VINCENT AL 35178-0029



EBSCO SUBSCRIPTION SERVICES            EBSCO SUBSCRIPTION SERVICES                   EBSCO SUBSCRIPTION SERVICES
PUBLISHERS SERVICES DEPT               PO BOX 92901                                  1140 SILVER LAKE RD
PO BOX 1943                            LOS ANGELES CA 90009-2901                     CARY IL 60013
BIRMINGHAM AL 35201



EBSCO SUBSCRIPTION SERVICES            EBSCO SUBSCRIPTION SERVICES                   EC RIZZI & ASSOCIATES INC
1163E SHREWSBURY AVE                   17-19 WASHINGTON ST                           31 W 310 SCHOGER DRIVE
SHREWSBURY NJ 07702                    TENAFLY NJ 07670-2084                         LANDSCAPING SUPPLIES & MATERIAL
                                                                                     NAPERVILLE IL 60564



ECCLESTON, JACQUELINE A                ECENBARGER, WILLIAM                           ECHEAGARAY, MARIE BENITEZ
9650 SUNSET STRIP                      20 WILSON POINT RD                            87C GOVERNOR ST
FT LAUDERDALE FL 33323                 CASTINE ME 04421                              EAST HARTFORD CT 06108




ECHEVARRIA, ANGEL S                    ECHEVARRIA, NASTA                             ECHO METAL WORKS
2340 NORTH AVE                         3505 ECCLESTON ST         NO.38-2             10727 FOREST ST
BRIDGEPORT CT 06604                    ORLANDO FL 32805                              SANTA FE SPRINGS CA 90670




ECHO POINT MEDIA                       ECHO POINT MEDIA                              ECHOSTAR
407 N FULTON ST                        409 MASSACHUSETTS AVE                         15085 COLLECTIONS CENTER DR
INDIANAPOLIS IN 46202                  INDIANAPOLIS IN 46204                         CHICAGO IL 60693




ECK, MICHAEL                           ECKER ENVELOPE INC                            ECKER, BOB
13 S 7TH ST                            6100 A WEST EXECUTIVE DR                      3212 JEFFERSON ST NO.261
EMMAUS PA 18049                        MEQUON WI 53092                               NAPA CA 94558




ECKERT, CHARLES                        ECKLAND CONSULTANTS INC                       ECKSTEIN, BENJAMIN LEE
5813 FRESH POND RD 2R                  75 TRI STATE INTERNATIONAL SUITE 100          1608 BROADMOOR CIRCLE
MASPETH NY 11378                       LINCOLNSHIRE IL 60069                         BOULDER CITY NV 89005




                                              Page 647 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 648 of 800
ECKWALL, JAMES                         ECLIPSE LIGHTING INC                          ECLIPSE LIGHTING INC
6624 HOWARD AVE                        4421 N CHERRY ST NO. 50                       4421 N CHERRY ST NO.20
LA GRANGE IL 60525                     WINSTON SALEM NC 27105                        WINSTON SALEM NC 27105




ECLIPSE TV & SPORTS MARKETING          ECLIPSE TV & SPORTS MARKETING                 ECO LOGIC LLC
319 JOHNSON ST.                        675 WEST LIONSHEAD MALL                       3940 W FARMER AVE
SAUSALITO CA 94965                     VAIL CO 81657                                 BLOOMINGTON IN 47403




ECO LOGIC LLC                          ECOLAB INC                                    ECOLAB INC
4901 E BETHEL LN                       PO BOX 100512                                 1060 THORNDALE AVENUE
BLOOMINGTON IN 47408                   PASADENA CA 91189-0512                        ELK GROVE VILLAGE IL 60007




ECOLAB INC                             ECOLAB INC                                    ECOLAB INC
PO BOX 70343                           370 WABASHA ST N                              PO BOX 905327
CHICAGO IL 60673-0343                  ST PAUL MN 55102                              CHARLOTTE NC 28290-5327




ECOLAB INC                             ECON, SUSAN                                   ECON, SUSAN W
PO BOX 6007                            6901 RAWHIDE RIDGE                            6901 RAWHIDE RIDGE
GRAND FORKS ND 58206-6007              COLUMBIA MD 21046                             COLUMBIA MD 21046




ECONATION                              ECONOMIC ALLIANCE OF GREATER BALTIMORE        ECONOMIC ALLIANCE OF GREATER BALTIMORE
11150 W OLYMPIC BLVD NO 870            111 S CALVERT ST SUITE 2220                   ATTN IOANNA T MORFESSIS
LOS ANGELES CA 90064                   BALTIMORE MD 21202                            111 S CALVERT ST SUITE 2220
                                                                                     BALTIMORE MD 21202



ECONOMIC ALLIANCE OF SAN FERNANDO      ECONOMIC ALLIANCE OF SAN FERNANDO             ECONOMIC CLUB OF CHICAGO
5121 VAN NUYS BLVD STE 200             FERNANDO VALLEY                               20 N CLARK STE 2720
SHERMAN OAKS CA 91403-1497             15205 BURBANK BLVD 2ND FL                     CHICAGO IL 60602
                                       VAN NUYS, CA 91411



ECONOMIC CLUB OF CHICAGO               ECONOMIC CLUB OF CHICAGO                      ECONOMIC CLUB OF CHICAGO
C/O AMER NAT'L BANK/ DEPT 77-2888      C/O BANK ONE                                  C/O BANK ONE LOCK BOX
CHICAGO IL 60678-2888                  DEPT 77-2888                                  2888 EAGLE WAY
                                       CHICAGO IL 60678-2888                         CHICAGO IL 60678-1028



ECONOMIC COUNCIL OF PALM BEACH         ECONOMIDES, ANASTASIA                         ECOUNT C BASE
COUNTY INC                             2241 36TH STREET                              555 N LANE  STE 5040
1555 PALM BEACH LAKES BOULVARD         ASTORIA NY 11105                              CONSHOHOCKEN PA 19428
SUITE 950
WEST PALM BEACH FL 33401-2375


ECPI COLLEGES                          ECPI COLLEGES                                 ECUADORIAN AMERICAN CLUB
1001 OMNI BLVD STE 1000                MCI SCHOOL OF HEALTH SCIENCE                  PO BOX 266304
NEWPORT NEWS VA 23656                  5555 GREENWICH RD                             WESTON FL 33326
                                       VIRGINIA BEACH VA 23462




                                              Page 648 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 649 of 800
ED BOND RADIO PRODUCTIONS              ED MURRAY SCHOLARSIP FUND                     ED MURRAY SCHOLARSIP FUND
1002 EAST KERR NO.108                  C/O PUEBLO CHIEFTAIN                          PO BOX 4040
URBANA IL 61802                        PO BOX 4040                                   PUEBLO CO 81003
                                       PUEBLO CO 81003



ED OHAN                                ED PENNY INC                                  ED REAHLE PRODUCTIONS INC
2415 CASA GRANDE                       96 KINGS WALK                                 504 BALTIMORE AVE
PASADENA CA 91104                      MASSAPEQUA PARK NY 11762                      TOWSON MD 21204




ED REAHLE PRODUCTIONS INC              ED STOCKLY                                    ED SWAN INC
7804 RUXWAY RD                         2633 PIEDMONT AVENUE                          PO BOX 433
BALTIMORE MD 21204                     MONTROSE CA 91020                             MASSAPEQUA PK NY 11762




EDAW INC                               EDCO DISPOSAL CORPORATIONS                    EDDIE BENN
515 S FLOWER ST 9TH FLR                PO BOX 6887                                   4419 CARTER ST.
LOS ANGELES CA 90071                   BUENA PARK CA 90622-6887                      ORLANDO FL 32811




EDDIE JO GASTON                        EDDIE JONES                                   EDDIE LEE SCOTT
1820 MAHONING DRIVE E                  2860 OAKLEY AVE.                              3385 NW 18 CT
LEHIGHTON PA 18235                     BALTIMORE MD 21215                            FORT LAUDERDALE FL 33311




EDDIE LICONA                           EDDIE MATTISON                                EDDIE ROMAN
17 WALNUT STREET                       19213 BUNA ST                                 4300 W. JACKSON BLVD
WEST HEMPSTEAD NY 11552                TRIANGLE VA 22172                             CHICAGO IL 60624




EDDIE TYNER                            EDDIE WEST                                    EDDIE WIGGINS
150 EAST ROBINSON STREET               51 STAFFORD STREET                            708 CHILDS AVENUE
UNIT #2405                             HARTFORD CT 06106                             HAMPTON VA 23661
ORLANDO FL 32801



EDDINGS, LAURIE                        EDDINS, WILLIAM N                             EDDITH SEVILLA
2422 WILSON STREET                     24792 HIDDEN HILLS RD NO.H                    1464 W 44TH STREET
HOLLYWOOD FL 33020                     LAGUNA NIGUEL CA 92677                        HIALEAH FL 33012




EDDY DUGASON                           EDDY HARTENSTEIN                              EDDY MONTIEL
1612 MONTVIEW STREET                   1515 HIDDEN VALLEY RD                         3160 HOLLYCREST
ORLANDO FL 32805                       THOUSAND OAKS CA 91361                        APT#8
                                                                                     HOLLYWOOD CA 90068



EDEE DALKE INC                         EDELHOFF, JUDY MARLENE                        EDELINE SIFFRAIN
2539 S PENINSULA DRIVE                 VIA GIULIA 141 INT 17                         5360 NE 9TH TERRACE
DAYTONA BEACH SHORES FL 32118-5524     ROME 186                                      POMPANO BEACH FL 33064




                                              Page 649 of 2387
                        Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 650 of 800
EDELSTEIN, MARK                       EDEMIR BELMONT                               EDEN FENIGSOHN
3909 TANBERK PL                       631 ANDERSON CIRCLE                          14 EMMAUS ROAD
LA CLESCENTA CA 91214                 APT 107                                      POQUOSON VA 23662
                                      DEERFIELD BEACH FL 33441



EDEN LAIKIN                           EDENS EXPRESS INC                            EDENS EXPRESS INC
29 N. PERSHING AVE                    1422 W WILLOW 102                            837 N MILWAUKEE NO. 104
BETHPAGE NY 11714                     CHICAGO IL 60622                             CHICAGO IL 60622




EDER, JULIE                           EDER, RICHARD                                EDES, JEAN L
2459 E SCENIC DR                      263 BLUE HILL PKWY                           9059 LAUREL RIDGE DRIVE
BATH PA 18014                         MILTON MA 02186-1542                         MOUNT DORA FL 32757




EDEXPERTS LLC                         EDGAR ALTAMIRANO                             EDGAR DEARTH
18102 CHESTERFIELD AIRPORT RD STE O   6309 HOME AVENUE                             558 HARPERSVILLE RD
CHESTERFIELD MO 63005                 BELL CA 90201                                NEWPORT NEWS VA 23601




EDGAR GODOY                           EDGAR MARRERO                                EDGAR N HUDGINS
15467 COLT AVENUE                     2304 ANLEY COURT                             2840 SW 12TH STREET
FONTANA CA 92337                      WINTER GARDEN FL 34787                       DEERFIELD BEACH FL 33442




EDGAR RIEBE                           EDGAR RUSSELL                                EDGAR TOBIAS
5403 42ND AVE SW                      12 ENSIGN CT                                 6918 S. WINCHESTER
SEATTLE WA 98136                      BALTIMORE MD 21221                           CHICAGO IL 60636




EDGAR VELEZ                           EDGAR WILBURN JR                             EDGARDO GARCIA
2357 W 235TH STREET                   LAW OFFICE OF EDWARD A TORRES                903 BENTON STREET
TORRANCE CA 90501                     EDWARD A TORRES                              ALLENTOWN PA 18103
                                      510 SOUTH MARENGO AVE
                                      PASADENA CA 91101


EDGARDO MARTINEZ                      EDGARDO RIVERA                               EDGARDO SIBAL
7010 AUTUMNVALE DR.                   30 FAIRFIELD AVENUE                          685 WITMER STREET
ORLANDO FL 32822                      3RD FLOOR                                    APT# 405
                                      HARTFORD CT 06114                            LOS ANGELES CA 90017



EDGE REPS LTD                         EDGE STUDIO, LLC                             EDGEWARE ASSOCIATES
596 BROADWAY 11TH FLR                 1817 BLACK ROCK TPKE SUITE 102               377 RECTOR PLACE APT 10H
NEW YORK NY 10012                     FAIRFIELD CT 06825                           NEW YORK NY 10280-1462




EDGEWATER NEWS AGENCY INC             EDGEWATER NEWS AGENCY INC                    EDGIL ASSOCIATES INC
161 PEMBROKE DR/ LINCOLNSHIRE 00144   EDGE WATER NEWS INC                          4553 GLENCO AVE NO.300
LAKE FOREST IL 60045                  161 PEMBROKE DRIVE                           MARINA DEL REY CA 90292
                                      LINCOLNSHIRE       00144
                                      LAKE FOREST IL 60045




                                            Page 650 of 2387
                        Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 651 of 800
EDGIL ASSOCIATES INC                 EDGIL ASSOCIATES INC                          EDGIL ASSOCIATES INC
PO BOX 51379                         15 TYNGSBORO RD.                              6 FORTUNE DRIVE SUITE 201
LOS ANGELES CA 90051-5679            NORTH CHELMSFORD MA 01863                     BILLERICA MA 01821




EDICONSULT INTERNAZIONALE SRL        EDIK HAGHVERDI                                EDIN BESLAGIC
PIAZZA FONTANE MAROSE 3              527 CYPRESS ROAD                              276 CENTER ROAD
GENOVA 16123                         NEWINGTON CT 06111                            SEVERNA PARK MD 21146




EDISON ENGLISH                       EDISON MEDIA RESEARCH                         EDISON, JOSHUA EUGENE
86 EAST 31ST STREET                  6 WEST CLIFF STREET                           LAKE SIDE VILLA DR
BROOKLYN NY 11226                    SOMERVILLE NJ 08876                           HAMPTON GA 30228




EDITH BUSH-IRELAND                   EDITH D'ESOPO                                 EDITH GOLDBERG
1310 SCOTTSDALE DR                   IN CARE OF MEADER                             7638 ASHMONT CIRCLE
UNIT N                               485 CROSBY DR                                 APT H
BEL AIR MD 21015                     BERMUDA RUN NC 27006                          TAMARAC FL 33321



EDITH JORDAN                         EDITH KRAUT                                   EDITH KRUPPE
1110 GRASSMERE TERR                  65 CIRCLE DRIVE                               4434 BOARDWALK LANE
FAR ROCKAWAY NY 11691                SYOSSET NY 11791                              SANTA MARIA CA 93455-6630




EDITH L MACCARY                      EDITH MARTINEZ                                EDITH RIVERA
160 OAKSIDE DRIVE                    436 N SIXTH STREET                            444 WEST 258TH ST
SMITHTOWN NY 11787                   APT K                                         BRONX NY 10471
                                     ALLENTOWN PA 18102



EDITH SAUNDERS                       EDITH TALLAS                                  EDITH WATHEY
8123 S. EMERALD                      13635 BRACKEN STREET                          8834 MAXWAY
CHICAGO IL 60620                     ARLETA CA 91331                               BREINIGSVILLE PA 18031




EDITH ZIMMERMAN                      EDITHA GARTHRIGHT                             EDITWARE
120 4TH PLACE                        33-21 167 STREET                              200 LITTON DRIVE
APT. #A4                             FLUSHING NY 11358                             SUITE 308
BROOKLYN NY 11231                                                                  GRASS VALLEY CA 95945



EDL & ASSOCIATES INC                 EDMOND CORRAL                                 EDMOND JOHNSON
9215 ROSE PARADE WAY                 1456 HEPNER AVENUE                            6341 SW 9TH PLACE
SACRAMENTO CA 95826                  LOS ANGELES CA 90041                          NORTH LAUDERDALE FL 33068




EDMOND SACKETT                       EDMOND, ANSON                                 EDMOND, GUY O
2636 BALMORAL CT                     949 RIVERSIDE DR APT 411                      1591 BRESEE ROAD
KISSIMMEE FL 34744                   CORAL SPRINGS FL 33071                        WEST PALM BEACH FL 33415




                                            Page 651 of 2387
                         Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 652 of 800
EDMONDS, JAMES P                      EDMONDS, WILLIAM                              EDMONDSON JR, JAMES B
114 HUNTERS GROVE                     658 FARMINGTON AVE         APT 205            2274 LAKE POINTE CIR
CREVE COEUR MO 63141                  HARTFORD CT 06105                             LEESBURG FL 34748




EDMONDSON, SHELIA                     EDMONIS, MIKERLINE                            EDMUND HANSEN
1101 S HARLEM AVE                     611 NE 24TH ST. APT A                         220 S HAMLIN
FOREST PARK IL 60130                  POMPANO BEACH FL 33064                        PARK RIDGE IL 60068




EDMUND MAHONY                         EDMUND MAILLET                                EDMUND PETERS
229 ROCK LANDING ROAD                 44 COLONIAL ROAD                              4 BAY GULL CT.
HADDAM NECK CT 06424                  MANCHESTER CT 06040                           DAYTONA BEACH FL 32119




EDMUND PUCHLIK                        EDMUND RYAN                                   EDMUND SANDERS
1182 MONTECITO DR                     4403 W. GEORGE                                895 HOOD DRIVE
LOS ANGELES CA 90031                  2ND FLOOR                                     CLAREMONT CA 91711
                                      CHICAGO IL 60641



EDMUND, HEATHER                       EDNA BROWDER                                  EDNA ELLIS
2213 SW 5TH PL                        1029 N. SHELBY                                415 NW 46TH AVE
FT LAUDERDALE FL 33312                GARY IN 46403                                 PLANTATION FL 33317




EDNA M MCINTOSH                       EDNA SIFRA                                    EDNA WINECOFF
ROUTE 2 BOX 853                       3083 N OAKLAND FOREST DRIVE                   66 SEABREEZE DRIVE
BURNSVILLE NC 28714                   APT E101                                      ORMOND BEACH FL 32176
                                      OAKLAND PARK FL 33309



EDNA ZAFRANCO                         EDNEY, CARAN                                  EDOUARD VALENTIN
450 W LEXINGTON DR #2                 3152 HAVENWOOD CT                             209 ELMWOOD AVE
GLENDALE CA 91203                     HAMPTON VA 23703                              ROOSEVELT NY 11575




EDOUARD, GERDINE                      EDP PRODUCTS INC                              EDQUARD, JOANEL
2411 NW 7TH ST # 412                  9750 APPALOOSA RD                             10160 SLEEPY BROOK WAY
FT LAUDERDALE FL 33311                SAN DIEGO CA 92131                            BOCA RATON FL 33428




EDRICE-FILS BAZILE                    EDSEL SAWYER                                  EDUARD CAUSHAJ
P O BOX 26810                         2A THISTLE LANE                               6825 W. LELAND AVENUE
TAMARAC FL 33320-6810                 ENFIELD CT 06082                              HARWOOD HEIGHTS IL 60706




EDUARD YUSIN                          EDUARDO ALMONTE                               EDUARDO ANICA
1909 QUENTIN ROAD                     8617 LA TREMOLINA LANE                        4118 OVERLAND STREET
APT 4C                                WHITTIER CA 90605                             RIVERSIDE CA 92503
BROOKLYN NY 11229




                                             Page 652 of 2387
                         Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 653 of 800
EDUARDO BALLESTER                     EDUARDO DIAZ                                  EDUARDO GARCIA
57 SPRING STREET                      13001 VANOWEN STREET                          1915 N SCREENLAND DR
SOUTH GLENS FALLS NY 12803            APT#17                                        BURBANK CA 91505
                                      NORTH HOLLYWOOD CA 91605



EDUARDO LAPUS                         EDUARDO MAYTORENA                             EDUARDO MORALES
9520 PARAMOUNT BLVD                   1159 HYPERION AVE.                            107 BLOOMINGDALE ROAD
DOWNEY CA 90240                       LOS ANGELES CA 90029                          LEVITTOWN NY 11756




EDUARDO OLIVERA                       EDUARDO PAVIA                                 EDUARDO SAINZ
3206 1/2 MADERA AVENUE                16825 E CYPRESS STREET                        3907 N. TRIPP
LOS ANGELES CA 90039                  COVINA CA 91722                               CHICAGO IL 60641




EDUARDO SANTOS                        EDUARDO VARGAS                                EDUARDO VIDANA
20111 ELKWOOD STREET                  28 AUDREY AVENUE                              5676 BUCHANA ST
CANOGA PARK CA 91306                  PLAINVIEW NY 11803                            LOS ANGELES CA 90042




EDUARDO ZUNIGA                        EDUARDO ZURBANO                               EDUCATION FOUNDATION OF
1747 MORNING SUN AVE.                 920 CENTRAL AVENUE                            3300 FOREST HILL BLVD
WALNUT CA 91789                       DOWNERS GROVE IL 60516                        S IBIS BUILDING SUITE 6017
                                                                                    WEST PALM BEACH FL 33406



EDUCATION FOUNDATION OF               EDUCATIONAL MARKETING SERVICES                EDUCATIONAL MARKETING SERVICES
PALM BEACH COUNTY                     1448 NE 55TH STREET                           C/O STEPHEN GOLDSTEIN
3300 FOREST HILL BLVD                 FORT LAUDERDALE FL 33334                      1448 NE 55 STREET
BLDG E STE NO.50-116                                                                FORT LAUDERDALE FL 33334
WEST PALM BEACH FL 33406


EDUISITO SALAS                        EDWARD AMANTIA                                EDWARD AMENTA
22 WYLAND STREET                      7 FENWICK STREET                              1021 MIDDLE ST
HARTFORD CT 06114                     GREENLAWN NY 11740                            MIDDLETOWN CT 06457




EDWARD ARGEROPLOS                     EDWARD ARNETT "EDDIE" JOHNSON                 EDWARD ARNETT "EDDIE" JOHNSON
5 LINCOLN ROAD                        C/O ROBERT H. ROSENFELD & ASSOCIATES,         C/O GOLD & COULSON
MEDFORD NY 11763                      LLC, ROBERT H. ROSENFELD                      WILLIAM R. COULSON
                                      33 N. DEARBORN STREET, SUITE 1030             11 S. LASALLE STREET, SUITE 2402
                                      CHICAGO IL 60602                              CHICAGO IL 60603


EDWARD AUGUST                         EDWARD BADER                                  EDWARD BARRETT
1110 OLD GATE ROAD                    18 CHARLES STREET                             10524 S. EBERHART
NORTHAMPTON PA 18067                  SELDEN NY 11784                               CHICAGO IL 60628




EDWARD BITLER                         EDWARD BOWLES                                 EDWARD BRABOY
309 MONTGOMERY AVENUE                 2453 WOODCROFT ROAD                           711 SO. CENTRAL PARK AVE.
NORTH BABYLON NY 11703                BALTIMORE MD 21234                            CHICAGO IL 60624




                                             Page 653 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 654 of 800
EDWARD BREMNER                         EDWARD BRUNNER                                EDWARD BUNYAN
4115 POSTGATE TERRACE                  320 NORTH PARK VISTA STREET                   2102 WHITEHALL ROAD
201                                    APT #194                                      2C
SILVER SPRING MD 20906                 ANAHEIM CA 92806                              FREDERICK MD 21702



EDWARD BUSHEY                          EDWARD CAVANAUGH                              EDWARD COLLEY
18 GREENWICH AVE                       2105 W. WALTON STREET                         404 HOLMES STREET
MELVILLE NY 11747                      CHICAGO IL 60622                              HANSON MA 02341




EDWARD CONNOLLY                        EDWARD CONWAY                                 EDWARD COOK
2905 FLORIDA AVENUE                    7641 W. PETERSON                              2617 CALUMET AVE
BALTIMORE MD 21227                     CHICAGO IL 60631                              DYER IN 46311




EDWARD D ANDREWS                       EDWARD D HEWITT                               EDWARD DANIELS
2053 TULIP AVENUE                      8315 OVERMONT RD                              8 RUE DIJON
SIMI VALLEY CA 93063                   BALTIMORE MD 21234                            KENNER LA 70065




EDWARD DEATH                           EDWARD DULANEY                                EDWARD DWYER
311 BENTON AVE                         33-25 76 ST                                   204 ORIOLES DRIVE
LINTHICUM MD 21090                     APT. 4G                                       MLEHIGHTON PA 18235
                                       JACKSON HEIGHTS NY 11372



EDWARD EICHORN                         EDWARD ELIAS                                  EDWARD ESTES
11 PATRICIA LANE                       21 COLTON DRIVE                               519 KOERPER COURT
SOUTH SETAUKET NY 11720                PLYMOUTH MEETING PA 19462                     WILMETTE IL 60091




EDWARD F HAYES                         EDWARD F VOTAW                                EDWARD FIESELER
3304 CLEMWOOD DR                       5057 OAKHURST                                 39 STEPHEN RD
ORLANDO FL 32803                       BANNING CA 92220                              BAYPORT NY 11705




EDWARD FOOTE                           EDWARD FOX                                    EDWARD FUNSTEN
50 WILLITS RD                          60 EDWARD STREET                              31 SPRING STREET
GLEN COVE NY 11542                     NEWINGTON CT 06111                            CHESTER CT 06412




EDWARD GANTT                           EDWARD GARCIA                                 EDWARD GARRETT
1325 CASA PARK CIRCLE                  2062 N. BINGHAM STREET                        517 DARTMOOR DRIVE
WINTER SPRINGS FL 32708                CHICAGO IL 60647                              APT. #102
                                                                                     NEWPORT NEWS VA 23608



EDWARD GIBNEY                          EDWARD GIULIOTTI                              EDWARD GONZALEZ
872 FRANKLIN AVE                       1600 SE 15 ST                                 1138 N. CAMPBELL
BOHEMIA NY 11716                       #302                                          CHICAGO IL 60622
                                       FORT LAUDERDALE FL 33316




                                              Page 654 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 655 of 800
EDWARD GOTTSMAN                        EDWARD GUNTS                                  EDWARD HAMMERBERG
235 EAST 22ND STREET,APARTMENT 3A      22 E MOUNT VERNON PLACE                       423 KING AVE.
NEW YORK NY 10010                      BALTIMORE MD 21202                            EAST DUNDEE IL 60118




EDWARD HAYES, PC                       EDWARD HINES VA HOSPITAL                      EDWARD HINTON
ATTORNEYS AT LAW                       5000 S 5TH AVENUE                             4190 BIRCH HAMMOCK DRIVE
EDWARD HAYES, REPRESENTING GUS         ATTN VOLUNTARY SERVICES                       GREENSBORO NC 27409
515 MADISON AVENUE, 30TH FL            HINES IL 60141-3030
NEW YORK NY 10022


EDWARD HOLLINGSWORTH                   EDWARD HUGH BEVAN                             EDWARD HUMPHREY
14419 BRIARSTONE STREET                4421 NW 9TH STREET                            2305 GLENDALE BLVD
SAN ANTONIO TX 78247                   COCONUT CREEK FL 33066                        APT #201
                                                                                     LOS ANGELES CA 90039



EDWARD J DUNSTEDTER JR                 EDWARD J LOWE JR                              EDWARD J MERCADO
308 19TH STREET                        237 NASSAU RD                                 P O BOX 4104
MANHATTAN BCH CA 90266                 HUNTINGTON NY 11743                           SUNNYSIDE NY 11104




EDWARD J ST JEAN                       EDWARD JOHNSON                                EDWARD JOHNSON/EDD ARNETT
19835 ARMINTA ST.                      7107 PLYMOUTH RD                              ROBERT H ROSENFELD & ASSOCIATES LLC
WINNETKA CA 91306                      BALTIMORE MD 21208                            ROBERT H ROSENFELD
                                                                                     33 N DEARBORN ST SUITE 1030
                                                                                     CHICAGO IL 60602


EDWARD JOHNSON/EDD ARNETT              EDWARD JUDKINS                                EDWARD KIRSCHBAUM
GOLD & COULSON                         P.O. BOX 326                                  102 N WOLFE ST
WILLIAM R COULSON                      ELLINGTON CT 06029                            BALTIMORE MD 21231
11 S LASALLE ST, SUITE 2402
CHICAGO IL 60603


EDWARD KOMIN                           EDWARD KORONA                                 EDWARD KOWLESSAR
11901 NW 20 ST                         30 COBBLE LANE                                104-09 142ND ST
PEMBROKE PINES FL 33026-1907           LEVITTOWN NY 11756                            JAMAICA NY 11435




EDWARD KRUGER                          EDWARD KRZANOWSKI                             EDWARD KUBICEK
17806 WESTBROOK DRIVE                  5654 S NEW ENGLAND AVE.                       3624 BRIDGEWATER DRIVE
ORLAND PARK IL 60462                   CHICAGO IL 60638                              WILLIAMSBURG VA 23188




EDWARD KUPKA                           EDWARD L MC DERMOTT                           EDWARD LAM
220 EAST MAXON LANE                    5039 LAUDERDALE AVENUE                        111 JAMIE STREET
STREAMWOOD IL 60107                    LA CRESCENTA CA 91214                         ISLIP TERRACE NY 11752




EDWARD LATHAM                          EDWARD LEBON                                  EDWARD LEE
1380 E. HYDE PARK BLVD                 145 RIVERSIDE RD                              10608 CLOVERBROOK DR.
119                                    BALTIMORE MD 21221                            POTOMAC MD 20854
CHICAGO IL 60615




                                              Page 655 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 656 of 800
EDWARD LIVOTE                          EDWARD LOOMIS                                 EDWARD LOPEZ
430 CLAY PITTS ROAD                    715 E. ORANGE ST.                             2546 N. BRIGHTON ST
EAST NORTHPORT NY 11731                APOPKA FL 32703                               BURBANK CA 91504




EDWARD M BROWN                         EDWARD M LAMB                                 EDWARD M SHELDON
P.O. BOX 3298                          140 HERMITAGE RD                              3 REVERE ROAD
OCEAN CITY MD 21843                    NEWPORT NEWS VA 23606                         DARIEN CT 06820




EDWARD MANKA                           EDWARD MARTIN                                 EDWARD MAST
7552 PALM COURT                        1704 CROWNSVILLE ROAD                         2354 YOST ROAD
ORLAND PARK IL 60462                   CROWNSVILLE MD 21032                          BATH PA 18014




EDWARD MC LAUGHLIN                     EDWARD MCCULLOUGH                             EDWARD MCNAMARA
1702 PEGASUS STREET                    12824 SURREY COURT                            4 FOX HOLLOW ROAD
SANTA ANA CA 92707                     PALOS PARK IL 60463                           SETAUKET NY 11733




EDWARD MEYER                           EDWARD MILLER                                 EDWARD MIRANTI
43 NORWOOD AVE                         12 HARRISON PLACE                             23 CONDOR RD
SELDEN NY 11784                        EAST HARTFORD CT 06108                        ROCKY POINT NY 11778




EDWARD MIRELES                         EDWARD MOCKUS                                 EDWARD MORRIS
7950 HONDO ST                          16508 GEORGE DRIVE                            521 SHIPPAN AVENUE
DOWNEY CA 90242                        OAK FOREST IL 60452                           APT. 608
                                                                                     STAMFORD CT 06902



EDWARD MORRIS                          EDWARD MOSCOVICI                              EDWARD MOSS
663 S NEWPORT                          719 SHALER BLVD                               9021 LAKE COVENTRY CT.
ROSELLE IL 60172                       RIDGEFIELD NJ 07657                           GOTHA FL 34734




EDWARD MURRAY                          EDWARD N LUTTWAK INC                          EDWARD NELSON
31 S. WESTMORE                         4510 DRUMMOND AVE NW                          63 WENTWORTH DRIVE
LOMBARD IL 60148                       CHEVY CHASE MD 20815                          SOUTH WINDSOR CT 06074




EDWARD NEWMAN                          EDWARD NICHOLS                                EDWARD NICOSIA
305 CHIPILI DR.                        3030 CHELSEA TERR.                            159 SMITH AVE
NORTHBROOK IL 60062                    BALTIMORE MD 21216                            HOLBROOK NY 11741




EDWARD NOSEK                           EDWARD O'DONNELL                              EDWARD OLIVER
9532 W LAWRENCE CT                     2144 SCHUSTER ROAD                            7427 W. 57TH STREET
SCHILLER PARK IL 60176                 JARRETTSVILLE MD 21084                        SUMMIT IL 60501




                                              Page 656 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 657 of 800
EDWARD OPIOLA                            EDWARD PADGETT                              EDWARD PAMER
2333 N NEVA                              928 ALLEGHANY CIRCLE                        C/O LINDA DEWARTZ
#302-C                                   SAN DIMAS CA 91773                          22792 BELQUEST
ELMWOOD PARK IL 60707                                                                LAKE FOREST CA 92630



EDWARD PARKER                            EDWARD PHILLIPPS                            EDWARD PINTO
C/O YVONNE PARKER                        902 COMPTON STREET                          5-12A, 115TH STREET
2840 HAROLDS CRESENT                     BALTIMORE MD 21230                          COLLEGE POINT NY 11356
FLOSSMOOR IL 60422-2006



EDWARD POLLACK                           EDWARD POLLARD                              EDWARD POPKINS
1128 ALBERT ROAD                         101 MARINE CIR                              2001 HARRISON AVENUE
NORTH BELLMORE NY 11710                  GRAFTON VA 23692                            ORLANDO FL 32804




EDWARD PRESTON                           EDWARD PRUDHOMME                            EDWARD R COLBERT
1131 WESTERN CHAPEL                      1728 RAYMOND HILL ROAD #4                   4555 WENTZ ROAD
NEW WINDSOR MD 21776                     SOUTH PASADENA CA 91030                     MANCHESTER MD 21102




EDWARD R SELDEN                          EDWARD RAMONETTI                            EDWARD RAMOS
8817 N. OZANAM                           230 PHYLLIS DRIVE                           10208 BRIAN COURT
NILES IL 60714-1709                      LINDENHURST NY 11757                        WHITTIER CA 90601




EDWARD REICH                             EDWARD REYNOLDS                             EDWARD RICHARDS
2509 INDIANS LAIR                        7 URSULAR COURT                             449 CHURCH STREET
EDGEWOOD MD 21040                        SMITHTOWN NY 11787                          WETHERSFIELD CT 06109




EDWARD ROEDER                            EDWARD ROEDER                               EDWARD ROEDER
WIGGINS, CHILDS, QUINN & PANTAZIS, LLC   JAMES B. WILCOX, JR. PLLC                   HALL ESTILL HARDWICK GABLE & GOLDEN, PC
THE KRESS BLDG                           JAMES B. WILCOX, JR.                        DONALD R. DINAN
301 19TH STREET NORTH                    2900 P. STREET N.W.                         1120 20TH STREET, NW, STE 700
BIRMINGHAM AL 35203                      WASHINGTON DC 20007                         WASHINGTON DC 20036


EDWARD ROWAN                             EDWARD RUSSELL                              EDWARD S ENRIQUEZ
2003 KENNICOTT ROAD                      25 DERING ROAD                              328 BANBRIDGE AVENUE
BALTIMORE MD 21244                       SOUND BEACH NY 11789                        LA PUENTE CA 91744




EDWARD SABATINI                          EDWARD SABEL                                EDWARD SANDERS
72 ABBINGTON LN.                         8062 KINGSBURY DRIVE                        8851 S LOWE AVENUE
SEWELL NJ 08080                          HANOVER PARK IL 60133                       CHICAGO IL 60620




EDWARD SATKOWSKI                         EDWARD SECCHI                               EDWARD SHERMAN
69 AUDUBON AVENUE                        22541 ARRIBA DRIVE                          3336 UNIVERSITY
NEWINGTON CT 06111                       SAUGUS CA 91350                             HIGHLAND PARK IL 60035




                                              Page 657 of 2387
                         Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 658 of 800
EDWARD SILVER                         EDWARD STASZESKI                              EDWARD STEPHENS
3139 OVERLAND AVENUE                  8226 NW 14TH STREET                           122 BRYAN DRIVE
APT, #3                               CORAL SPRINGS FL 33071                        MANCHESTER CT 06042
LOS ANGELES CA 90034



EDWARD SWINTON                        EDWARD T JENSEN                               EDWARD TALLAS
8005 WICKHAM AVENUE                   518 ROSEMARIE DR                              13635 BRACKEN STREET
NEWPORT NEWS VA 23605                 ARCADIA CA 91007                              ARLETA CA 91331




EDWARD TAR                            EDWARD THOMAS                                 EDWARD TILYOU
8223 BILLOWVISTA DR.                  516 1/2 RAILROAD ST                           P.O. BOX 2727
PLAYA DEL REY CA 90293                ALLENTOWN PA 18102                            BROOKLYN NY 11202




EDWARD VELOSA                         EDWARD WALSH                                  EDWARD WELLS
1318 SERVER AVENUE                    93 FIFTH STREET                               144-53 166TH STREET
LOS ANGELES CA 90022                  GARDEN CITY NY 11530                          JAMAICA NY 11434




EDWARD WILDER                         EDWARD WILK                                   EDWARD WILLIAMS
209 GLENEAGLES DR.                    1112 N. GROVE AVE.                            3401 SW 12TH COURT
ATLANTIS FL 33462                     OAK PARK IL 60302                             FORT LAUDERDALE FL 33312




EDWARD WISON                          EDWARD WOLF                                   EDWARD WOLF
1616 FOUR GEORGES COURT               9739 S. WINCHESTER AVENUE                     1503 MADRID DRIVE
APT. C-2                              CHICAGO IL 60643                              VISTA CA 92081
BALTIMORE MD 21222



EDWARD WONG                           EDWARD YASKO                                  EDWARD YOUNG
5530 SAGO PALM DRIVE                  1333 RIDGE ROAD                               19806 HARLAN AVENUE
ORLANDO FL 32819                      QUEENSBURY NY 12804                           CARSON CA 90746




EDWARD ZISKIND                        EDWARDS JR, JAMES R                           EDWARDS NEWS SERVICE
81 COLUMBIA HEIGHTS                   1700 TRUMAN RD                                1810 OXFORD SQ.
APT. 46                               CHARLOTTE NC 28205                            BEL AIR MD 21014
BROOKLYN NY 11201



EDWARDS OFFICE CLEANING               EDWARDS STEEL CONSTRUCTION COMPANY            EDWARDS, ANDRE
PO BOX 1011                           4009 W WARREN AVE                             2552 PLUNKETT STREET
EATON PARK FL 33840                   HILLSIDE IL 60162-1867                        HOLLYWOOD FL 33020




EDWARDS, CHRISTINA                    EDWARDS, CHRISTOPHER                          EDWARDS, CHRISTOPHER
5810 NW 12TH ST APT D                 41 POQUONOCK AVE APT C                        2552 PLUNKETT ST
SUNRISE FL 33313                      WINDSOR CT 06095                              HOLLYWOOD FL 33020




                                             Page 658 of 2387
                           Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 659 of 800
EDWARDS, DEBORAH A                      EDWARDS, EVELYN                               EDWARDS, FALONDA
1028 PREAKNESS DR                       1923 S HALL ST                                40 SW 7TH AVE
ALPHARETTA GA 30022                     ALLENTOWN PA 18103                            DELRAY BEACH FL 33444




EDWARDS, JEREMY J                       EDWARDS, JUSTIN                               EDWARDS, JUSTIN
4589 RIVER PARKWAY APT H                38 MOUNTAIN RD                                90 BEAVER TRL
ATLANTA GA 30339                        COVENTRY CT 06238                             CONVENTRY CT 06238




EDWARDS, KAREN                          EDWARDS, KOURTNEY                             EDWARDS, LYNN
3000 NW 48TH TERRACE NO.319             211 GOLDMINE LANE                             8721 W 167TH PL
LAUDERDALE LAKES FL 33313               OLD BRIDGE NJ 08857                           ORLAND PARK IL 60462




EDWARDS, MARCELLO                       EDWARDS, MICHAEL B                            EDWARDS, MONA SHAFER
75 BURLINGTON ST                        1040 N. WILSON AVENUE                         3143 NICHOLS CANYON ROAD
HARTFORD CT 06112-1702                  PASADENA CA 91104                             LOS ANGELES CA 90046




EDWARDS, PAULINE                        EDWARDS, PRESTON T                            EDWARDS, SHAMIA
259 IVY ST                              7605 CHEROKEE                                 3220 WALTON RD NO.820
WALLINGFORD CT 06492                    HARRISON AR 72601                             TYLER TX 75701




EDWARDS, VANESSA                        EDWARDS, VONDELL                              EDWARDS-SCOTT, PATRICIA
735 STONEBRIDGE CRESENT                 10350 OGLESBY                                 4048 NW 92ND AVE
LITHONIA GA 30058                       CHICAGO IL 60617                              SUNRISE FL 33351




EDWIN ARAGON                            EDWIN ESCOBAR                                 EDWIN FOARD
8700 WILLIAM SHARKEY ST.                219 STATE AVENUE                              2309 DALIB ROAD
ORLANDO FL 32818                        WYANDANCH NY 11798                            FINKSBURG MD 21048




EDWIN FRANZE                            EDWIN GARCIA                                  EDWIN GUTHRIE
211 OWINGS GATE COURT                   3332 N. CENTRAL PARK                          1366 VILLA ROAD
APT 104                                 CHICAGO IL 60618                              LANCASTER PA 17601
OWINGS MILLS MD 21117



EDWIN HUGHES                            EDWIN LOPERA                                  EDWIN M HALPIN
207 CAROLINE ST                         237 WESTGATE AVENUE                           1660 GLENVIEW ROAD
FREDERICKSBURG VA 22401                 LINDENHURST NY 11757                          #78H
                                                                                      SEAL BEACH CA 90740



EDWIN MELENDEZ                          EDWIN MILLOY                                  EDWIN MORALES
2607 N. MANGO                           250 GATE ROAD                                 4135 N. MARMORA AVE.
CHICAGO IL 60639                        APT 153                                       CHICAGO IL 60634
                                        HOLLYWOOD FL 33024




                                               Page 659 of 2387
                           Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 660 of 800
EDWIN MWENDA                            EDWIN SCHWARTZ                                EDWIN SEPULVEDA
984 CRABAPPLE DRIVE                     655 WICKLOW                                   9 LAFAYETTE AVENUE
APT# 302                                DEERFIELD IL 60015                            EAST HARTFORD CT 06118
PROSPECT HEIGHTS IL 60070



EDWIN SIERRA                            EDWIN TORRES                                  EDWIN W GOODPASTER
436 NORTH 6TH STREET                    10925 PINEWOOD COVE LN.                       100 W. UNIVERSITY PKWY
APT #H                                  ORLANDO FL 32817                              APT. 7A
ALLENTOWN PA 18102                                                                    BALTIMORE MD 21210



EDWIN WALDVOGEL                         EDWIN ZOLNIER                                 EDWINA LYNN
84-20 85TH DRIVE                        1407 MIDDLE ROAD                              2003 BRAEBURN COURT
WOODHAVEN NY 11421                      UNIT #14                                      ORLANDO FL 32826
                                        CALVERTON NY 11933



EDYTHE ZARETSKY                         EELLS,KENNETH                                 EFE NEWS SERVICES INC
1037 NEW CASTLE #B                      962 CARIBOU DRIVE WEST                        1252 NATIONAL PRESS BUILDING
BOCA RATON FL 33434                     MONUMENT CO 80132                             WASHINGTON DC 20045




EFE NEWS SERVICES INC                   EFE NEWS SERVICES INC                         EFE NEWS SERVICES INC
ATTN: MARIBEL ELHAMTI                   ATTN: ACCTS RECEIVABLE                        2655 LE JEUNE RD
529 14TH ST NW                          529 14TH ST NW                                STE 701
STE 1252                                SUITE 1252                                    CORAL GABLES FL 33134
WASHINGTON DC 20045                     WASHINGTON DC 20045


EFFECT SYSTEMS LTD                      EFFICIENT FRONTIER INC                        EFFINGHAM POSTOFFICE
UNIT D CASTLE INDUSTRIAL PARK           809 11TH AVENUE 2ND FLOOR                     210 N 3RD STREET
PEARL TREE LANE                         SUNNYVALE CA 94089                            BULK MAIL UNIT
NEWBURY, BERKS RG14 2EZ                                                               EFFINGHAM IL 62401



EFIGENIO, GUILLERMO                     EFRAIM SOSA                                   EFRAIN BARRAZA
150 EDENLAWN TERR                       104 PHILLIPS AVENUE                           709 MISSION BLVD
WEST PALM BEACH FL 33415                MAGNOLIA NJ 08049                             SAN FERNANDO CA 91340




EFRAIN CARABALLO                        EFRAIN HERNANDEZ                              EFRAIN NAVARRO
P.O. BOX 8665                           23112 VALERIO STREET                          706 W. OLIVE
ALLENTOWN PA 18105                      WEST HILLS CA 91307                           MONROVIA CA 91016




EFRAIN PEREZ                            EFRAIN RIVERA                                 EFRAIN SANTIAGO
316 MONTAUK DRIVE                       208 N. BOSTON AVENUE                          6923 SILVERADO TERR
STAMFORD CT 06902                       NORTH MASSAPEQUA NY 11758                     LAKE WORTH FL 33463




EFRAIN SOTO                             EFRAIN VASQUEZ                                EFRON, SONNI
5032 N. ELTON ST.                       12529 ROSE STREET                             5215 WORTHINGTON DRIVE
BALDWIN PARK CA 91706                   CERRITOS CA 90703                             BETHESDA MD 20816




                                               Page 660 of 2387
                            Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 661 of 800
EGAN, DANIEL L                           EGAN, PAUL                                    EGAN, SEAN
2507 WILLOW POND DRIVE                   5926 SE IRIS COURT                            SECOND FLOOR FLAT
RIVERHEAD NY 11901                       MILWAUKIE OR 97267-1851                       39 NORTHCOTE RD
                                                                                       ENGLAND SW11 1NJ



EGENDER, CHARLES                         EGIDIO, MICHELLE M                            EGLSEDER, ROSE M
613 HARTWOOD LN                          2609 TROTTER'S RUN                            810 NORTH 1ST STREET
EGDEWOOD MD 21040                        BLOOMINGTON IN 74701                          GUTTENBERG IA 52052




EGOROV, ROMAN                            EGOROV, ROMAN                                 EHLERS, CAROLINE CLAUSS
108 OAKWOOD AVE APT B7                   21 PROSPECT LN  APT A2                        515 MANHATTAN AVE
WEST HARTFORD CT 06119                   W HARTFORD CT 06119                           NEW YORK NY 10027




EHREDT, SAMANTHA L                       EHREDT, SAMANTHA L                            EHRENREICH, BENJAMIN
34184 HORSESHOE LANE                     34184 HOSESHOE LANE                           PO BOX 26448
GURNEE IL 60031                          GURNEE IL 60031                               LOS ANGELES CA 90026




EHRENSTEIN, DAVID                        EHRIG, DAVID A                                EHRMANN, RITA A
1544 SOUTH CURSON                        PO BOX 66                                     3847 BLUFF VIEW DR
LOS ANGELES CA 90019                     MERTZTOWN PA 19539-0066                       MARIETTA GA 30062




EHS SOLUTIONS LLC                        EHTESHAM SYED                                 EICHBERGER, AMANDA
2016 WILDWOOD LANE N                     18 GLOVER DRIVE                               1209 CORINTHIAN CT
DEERFIELD BEACH FL 33442                 DIX HILLS NY 11746                            BEL AIR MD 21014-6807




EICHENBAUM, RANDI                        EICHENTHAL, GAIL                              EICHHORN & EICHHORN
2112 BROADWAY                            2959 KELTON AVENUE                            200 RUSSELL ST PO BOX 6328
BURLINGAME CA 94010                      LOS ANGELES CA 90064                          HAMMOND IN 46325




EIG, JONATHAN                            EIGENMAN, ASHLEY                              EIGHT X TEN INC
444 W OAKDALE AVE     NO.2E              107 KING ROAD NO.3                            302A WEST 12TH ST NO.218
CHICAGO IL 60657                         ROSEVILLE CA 95678                            NEW YORK NY 10014




EIGHTH UTILITIES DISTRICT                EILEEN ALEXANDER                              EILEEN AMBROSE
18 MAIN ST                               35 DEVORE AVENUE                              1155 RIVERSIDE AVENUE
MANCHESTER CT 06040-3136                 HAMPTON VA 23666                              BALTIMORE MD 21230




EILEEN BYRNE                             EILEEN CANZIAN                                EILEEN COOK
87 BAYBERRY DRIVE                        329 E 30TH ST                                 3004 LITTLE CYPRESS COVE
BRISTOL CT 06010                         BALTIMORE MD 21218                            WINTER PARK FL 32792




                                                Page 661 of 2387
                           Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 662 of 800
EILEEN DUNNE                            EILEEN FREDES                                 EILEEN KENAH
9136 EAST GELDING DRIVE                 79 FAIRVIEW CIRCLE                            10844 S. TALMAN
C/O JOHN LEO LAETCH                     MIDDLE ISLAND NY 11953                        CHICAGO IL 60655
SCOTTSDALE AZ 85260-7047



EILEEN KOTAK                            EILEEN M WILLIAMS                             EILEEN MACKAY
11 NEWTON RD                            1620 MAYFLOWER COURT                          148 N. SYCAMORE AVE
HAUPPAUGE NY 11788                      A-215                                         LOS ANGELES CA 90036
                                        WINTER PARK FL 32792



EILEEN MATTHIAS                         EILEEN MCGUCKIN                               EILEEN O'DONNELL
P.O. BOX 608413                         176 GARTH RD., 3-O                            3311 W. WRIGHTWOOD AVE
ORLANDO FL 32860                        SCARSDALE NY 10583                            CHICAGO IL 60647




EILEEN REILLY                           EILEEN SAPOLSKY                               EILEEN SIEGFRIED
2118 WOODLANDS WAY                      9575 WELDON CIR                               3136 MORAVIAN AVENUE
DEERFIELD BEACH FL 33442                #305                                          ALLENTOWN PA 18103
                                        TAMARAC FL 33321



EILEEN SMITH                            EILEEN SNYDER                                 EILEN LI
43 ITHACA STREET                        143 OAK MANOR DR                              9588 E. BLACKLEY ST.
LINDENHURST NY 11757                    YORK PA 17402                                 TEMPLE CITY CA 91780




EINFALT, MICHELLE                       EINHORN, BRUCE JEFFREY                        EINHORN, BRUCE JEFFREY
1564 WHITE EAGLE DRIVE                  34 SAGE LANE                                  HONORABLE BRUCE J EINHORN
NAPERVILLE IL 60564                     BELL CANYON CA 91307                          23371 MULHOLLAND DRIVE NO.347
                                                                                      WOODLAND HILLS CA 91364



EISELE, DEVON SCHUYLER                  EISENBACH, HELEN                              EISENBERG, CAROL
2232 NW EVERETT ST NO.41                752 WEST END AVE NO.4F                        20 CONTINENTAL AVE APT 1-S
PORTLAND OR 97210                       NEW YORK NY 10025                             FOREST HILLS NY 11375-5222




EISENMANN, NANCY                        EISLER, RACHEL CHARLOTTE                      EISNER, RUTH
34 LINCOLN LANE                         215 SOUTHWAY                                  238 FRANKEL BLVD
SIMSBURY CT 06070-3014                  BALTIMORE MD 21218                            MERRICK NY 11566




EISNER,ROBERT                           EITHER ORB INC                                EJ COX
4 KANES LANE                            320 W 86TH ST NO.8A                           2321 S. 20TH AVENUE
HUNTINGTON BAY NY 11743                 NEW YORK NY 10024                             BROADVIEW IL 60153




EJAN, DERRICK                           EJD BUILDERS INC                              EKREK, NADINE
24151 ZANCON                            701 PAPWORTH AVE          STE 103             2200 W CARMEN AVE UNIT 3
MISSION VIEJO CA 92692                  METAIRIE LA 70005                             CHICAGO IL 60625




                                               Page 662 of 2387
                         Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 663 of 800
EKTRON INC                            EKUE-SMITH, ABIGAIL                           EL BIR, AMANDA
542 AMHERST ST                        464 EMPIRE BLVD                               2915 NOWAK DR
NASHUA NH 03063                       BROOKLYN NY 11225                             ORLANDO FL 32804




EL HOGAR DEL NINO                     EL RANCHO                                     EL RANCHO UNIFIED SCHOOL DISTRICT
2325 SO CALIFORNIA AVENUE             29260 US HWY 40                               RUBEN SALAZAR HIGH SCHOOL
CHICAGO IL 60608                      GOLDEN CO 80401                               9426 MARJORIE STREET
                                                                                    PICO RIVERA CA 90660



EL SHADDAI DISTRIBUTION INC           EL SHADDAI TEMPLE OF JESUS CHRIST             EL TAHAWI, ZEINAB
7733 PIVOT STREET                     7004-7006 GOLDEN RING ROAD                    87 UNION ST NO.1
DOWNEY CA 90241                       BALTIMORE MD 21237                            VERNON CT 06066-3130




EL TORO WATER DISTRICT                EL TORO WATER DISTRICT                        ELA COMMUNICATIONS LLC
PO BOX 4000                           PO BOX 70000                                  441 CHRISTINE CT
LAGUNA HILLS CA 92654                 ARTESIA CA 90702-7000                         FREEHOLD NJ 07728




ELAINE BACULIS-VATAKIS                ELAINE BERGSTROM                              ELAINE DUTKA
63 CONCH REEF                         2918 SOUTH WENTWORTH AVENUE                   447 1/2 S MAPLE DR
ALISO VIEJO CA 92656                  MILWAUKEE WI 53207                            BEVERLY HILLS CA 90212




ELAINE FRANCIS                        ELAINE GOLON                                  ELAINE HARKLESS
457 MICHIGAN DRIVE                    C/O RICHARD DORSEY                            166 TIMBERLINE DRIVE
HAMPTON VA 23669                      10 WESTCHESTER DRIVE                          BRENTWOOD NY 11717
                                      BRISTOL CT 06010



ELAINE HUDGINS                        ELAINE JOSEPH                                 ELAINE JUSTINO
1448 MAPLE AVE                        175 OLD SOUTH PATH                            110 GEORGETOWN DRIVE
BALTIMORE MD 21221                    MELVILLE NY 11747                             GLASTONBURY CT 06033




ELAINE L TATGE                        ELAINE LACKER                                 ELAINE M MCQUITTY
347 W. EXCHANGE STREET                22616 BLUE FIN TRAIL                          20332 LISA GAIL DR
CRETE IL 60417                        BOCA RATON FL 33428                           SAUGUS CA 91350




ELAINE MARKMAN                        ELAINE MARKSON AGENCY                         ELAINE MATSUSHITA
11120 HOLLOWBROOK RD                  WALTER RUSSELL MEAD                           431 BEL AIR DR
OWINGS MILLS MD 21117                 44 GREENWICH AVE                              GLENVIEW IL 60025
                                      NEW YORK NY 10011



ELAINE MELKO                          ELAINE MORRIS                                 ELAINE NEWBROUGH
3448 NORTH HARDING                    325 41ST STREET                               5211 UNIVERSITY AVE.
CHICAGO IL 60618                      COPAIGUE NY 11726                             SAN DIEGO CA 92105




                                             Page 663 of 2387
                           Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 664 of 800
ELAINE NICHOLS                          ELAINE OLSEN                                  ELAINE QUILICI
756 SHALLOW RIDGE COURT                 3840 DEBRA CT                                 95 WORTH STREET
ABINGDON MD 21009                       SEAFORD NY 11783                              APT 10H
                                                                                      NEW YORK NY 10013



ELAINE RIVERS                           ELAINE ROGERS                                 ELAINE STARKMAN
P.O. BOX 158                            231 FOREST STREET                             17 DAREMY CIRCLE
FORT ANN NY 12827                       EAST HARTFORD CT 06118                        MEDFORD NY 11763




ELAINE VARVATOS                         ELAINE WOO                                    ELAINE YEE
1512 W. THORNDALE                       4329 BELAIR DRIVE                             1704 DARCY DR
#2W                                     LA CANADA CA 91011                            MONTEBELLO CA 90640
CHICAGO IL 60660



ELAM, DOROTHY                           ELAM, PATRICIA                                ELANA SIMMS
620 SUMMERHAVEN DRIVE                   3000 FRANKLIN ST NE                           3095 N OAKLAND FOREST DRIVE
DEBARY FL 32713                         WASHINGTON DC 20018                           APT 102
                                                                                      OAKLAND PARK FL 33309



ELAYNE DAVID                            ELAYNE KLEIN                                  ELBA ALVIRA-RODRIGUEZ
306 S. FOREST AVE.                      847 S CLARENCE AVE                            2295 EAST MAIN STREET
ORLANDO FL 32803                        #2                                            BRIDGEPORT CT 06610
                                        OAK PARK IL 60304



ELBA ROJAS                              ELBERT E THOMAS                               ELBERT JENKINS
3139 S. KOMENSKY AVENUE                 4123 N RIO HONDO AVENUE                       1138 NW 18TH AVENUE
CHICAGO IL 60623                        ROSEMEAD CA 91770                             FT LAUDERDALE FL 33301




ELCOM CABLETEK                          ELDA P. WALKER                                ELDA WALKER
18386 MT LANGLEY STREET                 RE: LEHIGHTON 179 INTERCHANGE                 RE: LEHIGHTON 179 INTERCHANGE
FOUNTAIN VALLEY CA 92708                358 WALNUT STREET                             358 WALNUT ST
                                        LEHIGHTON PA 18235                            LEHIGHTON PA 18235



ELDER, JOHN                             ELDER, SUSAN                                  ELDERSVELD, DAVID P.
6500 RANDI AVENUE                       6 THIRD STREET                                155 NORTH MAIN STREET
CANOGA PARK CA 91303                    SAYVILLE NY 11782                             GLEN ELLYN IL 60137




ELDES TRAN                              ELDON JERRICK                                 ELDON SHAW
11585 LAKIA DRIVE                       122 PRINCETON STREET                          435 ALLEN STREET
CYPRESS CA 90630                        HARTFORD CT 06106                             APT. 101
                                                                                      NEW BRITAIN CT 06053



ELDRED SALTWELL                         ELDRIDGE, PATRICIA                            ELDRINA MOMPOINT
1621 SOUTH GRACE AVE                    848 TERRAZZA                                  5716 NW 19TH STREET
PARK RIDGE IL 60068                     IRVING TX 75039                               APT 211
                                                                                      LAUDERHILL FL 33313




                                               Page 664 of 2387
                         Case 08-13141-BLS        Doc 17-1        Filed 12/08/08   Page 665 of 800
ELEANDRA BAUBLITZ                          ELEANOR B. SMALL                           ELEANOR BURKE
1408 WOODBINE WAY                          115 SE 6 AVE                               2457 ST. STEPHENS GREEN
WOODBINE MD 21797                          BOYNTON BEACH FL 33435                     NORTHBROOK IL 60062




ELEANOR DE LOS SANTOS                      ELEANOR DELANEY                            ELEANOR DELOSCOBOS
958 NORDICA DRIVE                          53 FRANKLIN PARK WEST                      2436 ANGELA STREET
LOS ANGELES CA 90065                       VERNON CT 06066                            WEST COVINA CA 91792




ELEANOR DOOLEY                             ELEANOR FOOTE                              ELEANOR HALAMA
25756 SEIL ROAD                            3511 BAY FRONT DRIVE                       612 HUGHES ST
SHOREWOOD IL 60404                         BALDWIN NY 11510                           BELLMORE NY 11710




ELEANOR KOHEN                              ELEANOR M ALM                              ELEANOR PARKER
9537 WELDON CIR                            66 LESLIE STREET                           75 TOWNE SQUARE DR.
TAMARAC FL 33321                           WINDSOR LOCKS CT 06096                     NEWPORT NEWS VA 23607




ELEANOR R ANDERSON                         ELEANOR ROCHON                             ELEANOR SCHILLER
11315 HOUSTON ST                           1864 E. VISTA TERR                         639 OVERBROOK ROAD
NORTH HOLLYWOOD CA 91601                   LINDENHURST IL 60046                       BALTIMORE MD 21212




ELEANOR SMITH                              ELEANOR TAYLOR                             ELEANOR TROUSE
129-22 135TH STREET                        86 JOHN STREET                             320 W LAKEVIEW
SOUTH OZONE PARK NY 11420                  HUDSON FALLS NY 12839                      #106
                                                                                      ORLANDO FL 32804



ELEANOR WATKINS                            ELECTRIC CONNECTION LLC                    ELECTRIC CONNECTION LLC
1448 AVON LANE                             ELC TECHNOLOGIES                           PO BOX 247
APT 8-28 PLACE                             1921 STATE STREET                          SANTA BARBARA CA 93102
NORTH LAUDERDALE FL 33068                  SANTA BARBARA CA 93101



ELECTRICAL ASSOCIATES LLC                  ELECTRO KINETICS INCORPORATE               ELECTRONIC IMAGING
PO BOX 266                                 749 CREEL DR                               SYSTEMS OF AMERICA, INC.
RIVERSIDE CT 06878                         WOOD DALE IL 60191                         2260 HICKS ROAD
                                                                                      ROLLING MEADOWS IL 60008



ELECTRONIC IMAGING OF                      ELECTRONIC IMAGING SYSTEM OF               ELECTRONIC IMAGING SYSTEMS OF
AMERICA, INC.; COOK ALEX MCFARRON ET AL    AMERICA                                    AMERICA, INC.
DAVID LESHT                                2260 HICKS ROAD                            2260 HICKS RD
200 WEST ADAMS ST, STE 2850                SUITE 405                                  PRO SE
CHICAGO IL 60606                           ROLLING MEADOWS IL 60008                   ROLLING MEADOWS IL 60008


ELECTRONIC IMAGING SYSTEMS OF              ELECTRONIC REPAIR SERVICE                  ELECTRONIC REPAIR SERVICE
AMERICA, INC.; COOK ALEX MCFARRON ET AL.   310 W 3RD STREET                           827 RAILROAD AVENUE
EDWARD DAVID MANZO                         RIFLE CO 81650                             RIFLE CO 81650
200 W ADAMS ST; STE 2850
CHICAGO IL 60606




                                               Page 665 of 2387
                            Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 666 of 800
ELECTRONICS RESEARCH INC                 ELECTROVATIONS INC                            ELEMENTAL SYNERGY INC
7777 GARDNER ROAD                        40 S 4TH ST                                   1200 S CATALINA AVE NO.303
CHANDLER IN 47610                        WRIGHTSVILLE PA 17368                         REDONDO BEACH CA 90277




ELENA CHAMORRO                           ELENA CHING                                   ELENA HERNANDEZ
3619 FIFTH AVENUE                        4423 TOURMALINE STREET                        201 N. B STREET
LA CRESENTA CA 91214                     LOS ANGELES CA 90032                          LAKE WORTH FL 33460




ELENA HOWE                               ELENA SEIBERT PHOTOGRAPHY                     ELENA TALALAEVA
4717 WHITEWOOD AVENUE                    684 BROADWAY NO.11E                           4613 NORTH UNIVERSITY DRIVE
LONG BEACH CA 90808                      NEW YORK NY 10012                             # 431
                                                                                       CORRAL SPRINGS FL 33067



ELENA VILLANUEVA                         ELENA WHITEHEAD                               ELEONORA NOWAK
2803 WINTER STREET                       104 HURST STREET                              4976 N MILWAUKEE AVE
LOS ANGELES CA 90033                     WILLIAMSBURG VA 23185                         APT #503
                                                                                       CHICAGO IL 60630-2192



ELESPURU, EDWARD                         ELEUTERIO PACHECO                             ELEVATION INC
20868 NW 1ST ST                          512 MOROCCO AVE.                              12980 F STATE RD 23    NO.309
PEMBROKE PINES FL 33029                  ORLANDO FL 32807                              GRANGER IN 46530




ELEVATION OUTDOOR ADVERTISING INC        ELEVELD, MARK                                 ELEVENTH HOUR INC
PO BOX 202647                            305 BROOKS AVE                                2400 E MAIN ST SUITE NO.103
DENVER CO 80220                          JOLIET IL 60435                               ST CHARLES IL 60174




ELEY, DERRICK D                          ELEY, RENEE D                                 ELFERDINK, WILLIAM A
155 E MARKET ST SUITE 865                2725 N NANESMOND DR                           5634 EMBASSY ST.
INDIANAPOLIS IN 46204                    SUFFOLK VA 23435                              ORLANDO FL 32809




ELGENSON, DAVID G                        ELGIN AREA CHAMBER OF COMMERCE                ELGIN JONES
PO BOX 567                               31 S GROVE AVENUE                             1445 S. MANNHEIM RD
SAN FERNANDO CA 91341-0567               ELGIN IL 60120                                WESTCHESTER IL 60154




ELI KAPLAN                               ELI STOKOLS                                   ELIA BARTLEY
9337 REACH ROAD                          1438 LITTLE RAVEN STREET                      12012 ASHTON MANOR WAY
POTOMAC MD 20854                         #105                                          APARTMENT 210
                                         DENVER CO 80202                               ORLANDO FL 32828



ELIA ROBLES                              ELIACIN, EDDY                                 ELIACIN, ISNERT
830 S. AZUSA AVENUE                      210 ROSS DRIVE                                2020 SW 13TH STREET
SPACE 3                                  DELRAY BEACH FL 33445                         DELRAY BEACH FL 33445
AZUSA CA 91702




                                                Page 666 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 667 of 800
ELIAS CAMACHO                          ELIAS CLARKE                                  ELIAS ENGINEERING INC
2315 FLORIDA ST                        812 MAIN ST.                                  457 SW 125 TERRACE
HUNTINGTON BEACH CA 92648              EVANSTON IL 60202                             DAVIE FL 33325




ELIAS FRANCIS                          ELIAS JIMENEZ                                 ELIAS KRIMITSOS
3708 RUNNING DEER DRIVE                1518 S. FAIXFAX AVENUE                        2 2ND STREET
ORLANDO FL 32829-8401                  LOS ANGELES CA 90019                          WOODBURY NY 11797




ELIAS MARTINEZ                         ELIAS PATERAS                                 ELIAS SPORTS BUREAU INC
6185 RALEIGH ST.                       91 GREENWAY LANE                              500 FIFTH AVENUE
APT. 115                               RYE BROOK NY 10573-1513                       NEW YORK NY 10110
ORLANDO FL 32835



ELIAS, DIANE C                         ELIAS, GARY P                                 ELIAS, JULIANO
PO BOX 673                             PO BOX 673                                    4030 NEW BROAD CIRC     NO.104
GLOUCESTER POINT VA 23062              GLOUCESTER PT VA 23062                        OVIEDO FL 32765




ELIAS, PETER                           ELIDA DIOSES                                  ELIDA ESTRADA
156 RACE HILL RD                       4133 NW 88TH AVENUE                           3532 W. LEMOYNE
MADISON CT 06443                       APT 101                                       CHICAGO IL 60651
                                       CORAL SPRINGS FL 33065



ELIE, MACCEAU                          ELIEN, JONAS                                  ELIEZER REYES
3400 CHATELAINE BLV                    3861 NE 4TH AVE                               444 SCREVIN AVE
DELRAY BEACH FL 33445                  POMPANO BEACH FL 33064                        BRONX NY 10473




ELIJAH CLARK                           ELIJAH, MALACHI                               ELIJAH, MELCHIZEDEK
3517 WEST 81ST STREET                  166-05 88TH AVENUE, APT. A                    166-05 88TH AVENUE, APT. A
CHICAGO IL 60652                       JAMAICA NY 11432                              JAMAICA NY 11432




ELIN HERLOFSEN-NUTE                    ELINA SHATKIN                                 ELINDA DOBBS
809 E. 40TH ST.                        1022 S. SHENANDOAH STREET                     674 EAST 46 STREET
UNIT 5-2                               APT#1                                         APT 1
CHICAGO IL 60653                       LOS ANGELES CA 90035                          BROOKLYN NY 11203



ELINOR CHERNOK                         ELINOR KLIVANS INC                            ELINOR WEINSTEIN
68 THEODORE DRIVE                      PO BOX 883                                    2 JILL COURT
CORAM NY 11727                         CAMDEN ME 04843                               COMMACK NY 11725




ELIS CHEESECAKE COMPANY                ELISA FORD                                    ELISA NYE
1200 PAYSPHERE CIRCLE                  9 THRUSH DRIVE                                714 N. JUANITA
CHICAGO IL 60674                       BRENTWOOD NY 11717                            UNIT# A
                                                                                     REDONDO BEACH CA 90277




                                              Page 667 of 2387
                           Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 668 of 800
ELISA RODRIGUEZ                         ELISABETH ALLWELT                             ELISABETH ESQUIROL
2 GRANT STREET                          5244 MOUNT ROYAL DR                           8 WELWYN ROAD
HEMPSTEAD NY 11550                      LOS ANGELES CA 90041                          APT. 1H
                                                                                      GREAT NECK NY 11021



ELISABETH GILBERT                       ELISABETH HOFFMAN                             ELISABETH HOTCHKISS
24 RIVERSIDE DR                         5917 GENTLE CALL                              2055 WATERSEDGE DR.
APT. # 3R                               CLARKSVILLE MD 21029                          DELTONA FL 32738
NEW YORK NY 10023



ELISABETH SLY                           ELISABETH WASHBURN                            ELISE CASSEL
435 N MICHIGAN AVENUE                   2841 W. WILSON AVE.                           22228 SHADOW VALLEY CIRCLE
FOREIGN DEPARTMENT                      CHICAGO IL 60625                              CHATSWORTH CA 91311
CHICAGO IL 60611



ELISEO CARDONA                          ELISH, MADELEINE                              ELISHA STEELE
1250 WEST AVE                           315 RIVERSIDE DR  APT 3D                      5063 SW 168TH AVE
APT 4-E                                 NEW YORK NY 10025                             MIRAMAR FL 33027
MIAMI BEACH FL 33139



ELISSA ROSEN                            ELISTIN, EDGARD E                             ELISTIN, EMIL
4640 SW 25 AVE.                         522 LAWRENCE ROAD                             522 LAWRENCE RD
DANIA FL 33312                          DELRAY BEACH FL 33445                         DELRAY BEACH FL 33445




ELITE ADMINISTRATION AND INSURANCE      ELITE ADMINISTRATION AND INSURANCE            ELITE CASINO PORDOUCTIONS
1211 W 22ND STREET SUITE 820            INSURANCE                                     203 MAIN STREET
OAK BROOK IL 60523                      3 WESTBROOK CORPORATE CENTER                  BEECH GROVE IN 46107
                                        SUITE 540
                                        WESTCHESTER IL 60154


ELITE CASINO PORDOUCTIONS               ELITE MARKETING                               ELITE MARKETING & PROMOTIONS INC
82 N 15TH AVE                           204 E JOPPARD SUITE 1102                      204 E JOPPA ROAD SUITE 1102
BEECH GROVE IN 46107                    TOWSEND MD 21286                              TOWSON MD 21236




ELITE MODEL MGMT CORP                   ELITE MODEL MGMT CORP                         ELITE PAINTING AND PRESSURE CLEANING INC
212 W SUPERIOR SUITE 406                58 WEST HURON                                 581 NW 158TH AVE
CHICAGO IL 60610                        CHICAGO IL 60610                              PEMBROKE PINES FL 33028




ELITE PROPERTIES INC                    ELITE RACING                                  ELITE SIGN COMPANY
10012 W CAPITOL DR                      10569 VISTA SURROUND PARKWAY                  109 ADOLPH ST
MILWAUKEE WI 53222                      SUITE 102                                     FORT WORTH TX 76107
                                        SAN DIEGO CA 92121



ELITE STAFFING INC                      ELITE STAFFING INC                            ELIUS,MULER
3217 W NORTH AVE                        SLOT 302157                                   317 SOUTHRIDGE ROAD
CHICAGO IL 60647                        PO BOX 66973                                  DELRAY BEACH FL 33444
                                        CHICAGO IL 60666-0973




                                               Page 668 of 2387
                         Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 669 of 800
ELIUTH GUZMAN                         ELIZABETH A CONLEY                            ELIZABETH A LUKAS
1537 SOUTH AUSTIN BLVD                4 HUNT VLY VW TER                             2229 CHELSEA ROAD
CICERO IL 60804                       PHOENIX MD 21131                              PAL VRDS EST CA 90274




ELIZABETH APPLEGATE                   ELIZABETH ATWOOD                              ELIZABETH AYROSO
2318 HOLLY DR.                        2401 STONEWALL COURT                          82-85 164TH ST
LOS ANGELES CA 90068                  BALTIMORE MD 21228                            PVT
                                                                                    JAMAICA NY 11432



ELIZABETH BAIER                       ELIZABETH BARTOLAI                            ELIZABETH BAYLEN
14528 SW 107TH TERRACE                2873 TYCOLIA COURT                            32703 VIA PALACIO
MIAMI FL 33186                        OREFIELD PA 18069                             RACHO PALOS VERDES CA 90275




ELIZABETH BECK                        ELIZABETH BELLAMY                             ELIZABETH BENT
11514 WARWICK BLVD.                   3300 NW 95TH STREET                           65 PINE BROOK TERRACE
NEWPORT NEWS VA 23601                 MIAMI FL 33147                                APT. 8
                                                                                    BRISTOL CT 06010



ELIZABETH BINDER                      ELIZABETH BOTTS                               ELIZABETH BOWER
219 O'ROURKE STREET                   332 S WESLEY AVE                              12101 ORA STREET
BRENTWOOD NY 11717                    #2D                                           GARDEN GROVE CA 92840
                                      OAK PARK IL 60302



ELIZABETH BRISTOW                     ELIZABETH CAFFREY                             ELIZABETH CARMELLINI
195 ROXBURY ROAD                      3740 TUDOR ARMS AVE                           3747 CLARINGTON AVENUE
3RD FLOOR                             BALTIMORE MD 21211                            APT #35
NEW BRITAIN CT 06053                                                                LOS ANGELES CA 90034



ELIZABETH CHANDLER                    ELIZABETH CHANNON                             ELIZABETH COONEY FITZPATRICK
502 WASHINGTON AVENUE                 63 POST ST                                    44 FAIRMOUNT TERRACE
SANTA MONICA CA 90403                 NEWPORT NEWS VA 23601                         FAIRFIELD CT 06430




ELIZABETH CRANE                       ELIZABETH CUNNINGS                            ELIZABETH D'ALONZO
1244 N NOBLE ST                       130 W MAIN STREET                             212 FERRING COURT
CHICAGO IL 60622                      DALLASTOWN PA 17313                           ABINGDON MD 21009




ELIZABETH DELGADO                     ELIZABETH DIAZ                                ELIZABETH DIOGUARDI
1359 W. FULLERTON AVE.                510 CAMELLIA AVE.                             3 CAMPSITE LANE
UNIT 3-W                              ONTARIO CA 91762                              EAST SETAUKET NY 11733
CHICAGO IL 60614



ELIZABETH DOUGLASS                    ELIZABETH DOUP                                ELIZABETH DUFFY
1845 WILLOWHAVEN ROAD                 930 SW 16 ST                                  19 MINCHER PLACE
ENCINITAS CA 92024                    BOCA RATON FL 33486                           AMITYVILLE NY 11701




                                             Page 669 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 670 of 800
ELIZABETH DYSART-ELOSUA                ELIZABETH ECK                                 ELIZABETH EUFEMI
8 HEATHER CRESCENT                     68 BURKSHIRE RD.                              865 W. BUCKINGHAM PLACE
COMMACK NY 11725                       TOWSON MD 21286                               APT. #304
                                                                                     CHICAGO IL 60657



ELIZABETH FESPERMAN                    ELIZABETH FIGUEROA                            ELIZABETH FITZGERALD
7827 ELLENHAM AVE                      2071 UNION BOULEVARD                          553 W. WELLINGTON AVE.
BALTIMORE MD 21204                     APT 2A                                        APT 3N
                                       BAY SHORE NY 11706                            CHICAGO IL 60657-5418



ELIZABETH FLANLEY                      ELIZABETH FORBERG                             ELIZABETH FORTUNATE
1432 WIND HILL ROAD                    600 NORTH KINSBURY                            760 W. 30TH ST
COOPERSBURG PA 18306                   208                                           APT 1
                                       CHICAGO IL 60610                              SAN PEDRO CA 90731



ELIZABETH FOSTER                       ELIZABETH G ROSS                              ELIZABETH GEORGIOU
383 MAPLE HILL AVENUE                  2001 NE 32ND STREET                           15140 W TRANQUILITY LAKE DRIVE
NEWINGTON CT 06111                     LIGHTHOUSE POINT FL 33064-7657                DELRAY BEACH FL 33446




ELIZABETH GHRER-JONES                  ELIZABETH GLAZNER                             ELIZABETH GREGORY
17189 W. BERNARDO DRIVE                2479 RUE DE CANNES                            2 LARK STREET
APT # 206                              APT# B-1                                      HUDSON FALLS NY 12839
SAN DIEGO CA 92127                     COSTA MESA CA 92627



ELIZABETH GUEGUEN                      ELIZABETH HACKEN                              ELIZABETH HADDAD
2 NORTH STREET                         2648-50 MARYLAND AVENUE                       21 EAST VILLAGE DRIVE
COS COB CT 06807                       BALTIMORE MD 21218                            OVIEDO FL 32765




ELIZABETH HAIST                        ELIZABETH HALE                                ELIZABETH HAMILTON
308 DEAVEN ROAD                        5747 MATILIJA STREET                          5 SHORT HILLS ROAD
HARRISBURG PA 17111                    VALLEY GLEN CA 91401                          OLD LYME CT 06371




ELIZABETH HARTFIELD                    ELIZABETH HERNANDEZ                           ELIZABETH HOLMBERG
1014 MONTEGO BAY COURT                 4236 MONTEREY ST                              120 ASHTON BLUFF CIRCLE
ROMEOVILLE IL 60446                    BALDWIN PARK CA 91706                         MT. HOLLY NC 28120




ELIZABETH HOWARD                       ELIZABETH HUGHES                              ELIZABETH INNES
931 W. OAKDALE AVE.                    1 EAST CHASE ST #703                          23 W JACKSON AVE
CHICAGO IL 60657                       BALTIMORE MD 21202                            BABYLON NY 11702




ELIZABETH JURADO                       ELIZABETH KEANE-HILLER                        ELIZABETH KING
4521 POINCIANA STREET                  1960 LINCOLN PARK WEST #1910                  10545 THORNEDGE DR
APT 2                                  CHICAGO IL 60614                              ROCKFORD MI 49341
LAUDERDALE BY THE SEA FL 33308




                                              Page 670 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 671 of 800
ELIZABETH KNIGHT                       ELIZABETH KRYSIAK                             ELIZABETH LAMKIN
30 MADISON STREET                      1809 WYE MILLS LANE                           4 RICHARD ROAD
APT B                                  BEL AIR MD 21015                              SIMSBURY CT 06070
GLENS FALLS NY 12801



ELIZABETH LANG                         ELIZABETH LARGE                               ELIZABETH LEDGE
116 SUSQUEHANNA COURT                  2 E 39TH STREET                               3244 PONY DR
HAVRE DE GRACE MD 21078                BALTIMORE MD 21218                            ONTARIO CA 91761




ELIZABETH LEE                          ELIZABETH LEMPEREUR                           ELIZABETH LETZERICH
10011 KNOBOAK DR.                      1520 MASON STREET                             434 W. ROSCOE
#53                                    SAN FRANCISCO CA 94133                        #3C
HOUSTON TX 77080                                                                     CHICAGO IL 60657



ELIZABETH LINES                        ELIZABETH LONDEREE                            ELIZABETH M KOVAC
1114 W. ROYAL ST.                      716 MAYLAND DRIVE                             516 S SCHOOL ST
LEBANON IN 46052                       NEWPORT NEWS VA 23601                         LOMBARD IL 60148




ELIZABETH MACIK                        ELIZABETH MAGETTE                             ELIZABETH MALBY
858 WASHINGTON                         1518 CHELA AVENUE                             1518 PARK AVE #206N
APT. #3E                               APT. #D-1                                     BALTIMORE MD 21217
OAK PARK IL 60302                      NORFOLK VA 23503



ELIZABETH MALY                         ELIZABETH MANCUSO                             ELIZABETH MATTISON
1111 JENNIFER COURT                    10 PUBLIC HIGHWAY                             15 HIGHLAND COURT
LOCKPORT IL 60441                      BELLMORE NY 11710                             EASTON PA 18042




ELIZABETH MATULICH                     ELIZABETH MAUPIN                              ELIZABETH MCCURDY
5903 PLUM HARBOR CIRCLE                730 NOTTINGHAM STREET                         20 SPRUCE STREET
TAMARAC FL 33321                       ORLANDO FL 32803                              APT. #13
                                                                                     STAMFORD CT 06902



ELIZABETH MCKENZIE                     ELIZABETH MERCADO                             ELIZABETH MILLER
167 TOWER AVENUE                       11875 EL SOBRANTE RD                          6990 PIONEER DRIVE
1 FLAT                                 RIVERSIDE CA 92503                            MACUNGIE PA 18062
HARTFORD CT 06120



ELIZABETH MISIEWICZ                    ELIZABETH MITCHELL                            ELIZABETH MOORE
2 PARK PLACE                           2417 E. 73RD STREET                           75 SO PENATAQUIT AVE
APT. 3C                                #1                                            BAY SHORE NY 11706
HARTFORD CT 06106                      CHICAGO IL 60649-3416



ELIZABETH MOSQUERA-GARCIA              ELIZABETH NEEBLING                            ELIZABETH NICOLAI
13863 CAROLINA LAUREL DRIVE            10316 NORTHGLEN DRIVE                         179 RUDOLF RD
ORLANDO FL 32828                       CLERMONT FL 34711                             MINEOLA NY 11501




                                              Page 671 of 2387
                           Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 672 of 800
ELIZABETH NIELSEN                       ELIZABETH NOTTURNO                            ELIZABETH OZEMEBHOYA
634 ST NICHOLAS                         615 LAURELTON BLVD.                           80 EAST 93RD STREET
APT 3B                                  LONG BEACH NY 11561                           B620
NEW YORK NY 10030                                                                     BROOKLYN NY 11212



ELIZABETH PAULSEN                       ELIZABETH PETERS                              ELIZABETH PIERKOWSKI
120 DWIGHT STREET                       668 W. OAKDALE AVE.                           P.O. BOX 485
APT 102                                 APT. #3F                                      SOMERS CT 06071
NEW HAVEN CT 06511                      CHICAGO IL 60657



ELIZABETH POJE & ASSOCIATES             ELIZABETH QUINN                               ELIZABETH RAHMEL
6418 1/2 W OLYMPIC BLVD                 P.O. BOX 963                                  704-3 DIAMOND LAKE ROAD
LOS ANGELES CA 90048                    FOGELSVILLE PA 18051                          MUNDELEIN IL 60060




ELIZABETH RAMOS                         ELIZABETH REDMOND                             ELIZABETH REILLY
11 STANWOOD STREET                      2198 FAIRHURST DR                             P.O. BOX 437
HARTFORD CT 06106                       LA CANADA CA 91011                            WHEATLEY HEIGHTS NY 11798




ELIZABETH REYES                         ELIZABETH RILEY                               ELIZABETH RIVERA
19 OLYMPIC STREET                       5678 NORTHPOINTE LANE                         P. O. BOX 1153
KENNER LA 70065                         BOYNTON BEACH FL 33437                        STAMFORD CT 06904-1153




ELIZABETH ROBERTS                       ELIZABETH RODRIGUEZ                           ELIZABETH SASSO
524 NW 38TH TERRACE                     1429 GUERNSEY                                 3153 NORTH HUDSON AVENUE
DEERFIELD BEACH FL 33442                ORLANDO FL 32804                              CHICAGO IL 60657




ELIZABETH SAUNDERS                      ELIZABETH SCHAFFER                            ELIZABETH SEVENING
194 OAK STREET                          1454 W. HURON                                 1941 W. BELLE PLAINE
EAST HARTFORD CT 06118                  CHICAGO IL 60622                              APT 32
                                                                                      CHICAGO IL 60613



ELIZABETH SHAPIRO                       ELIZABETH SHEININ                             ELIZABETH SHILLIDAY
828 HILL STREET                         62 SOUTH BRUSH DR                             2128 S. BEVERLY GLEN BLVD
SANTA MONICA CA 90405                   VALLEY STREAM NY 11581                        LOS ANGELES CA 90025




ELIZABETH SMITH                         ELIZABETH SPRINGER                            ELIZABETH STEWART LIVING
1652 COLBY AVE.                         750 N. DEARBORN                               527 EUCLID STREET
APT# 202                                2106                                          SANTA MONICA CA 90402
LOS ANGELES CA 90025                    CHICAGO IL 60610



ELIZABETH STULL                         ELIZABETH SYLVIA                              ELIZABETH TAYLOR
700 ELM TREE LANE                       646 BARHAM RD                                 2821 N. PINE GROVE
BOCA RATON FL 33486                     HORNBECK LA 71439                             CHICAGO IL 60657




                                               Page 672 of 2387
                        Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 673 of 800
ELIZABETH TEJAN                      ELIZABETH TROY                                ELIZABETH TYRRELL
2525 N. ORCHARD                      1635 WAGNER STREET                            2049 N. LARRABEE STREET
APT. #3                              PASADENA CA 91106                             CHICAGO IL 60614
CHICAGO IL 60614



ELIZABETH ULLRICH                    ELIZABETH V LATIER                            ELIZABETH VEMPALA
628 TOULOUSE STREEET                 1210 EAST BROADWAY                            12147 SW 50TH STREET
APT. #5                              GLENDALE CA 91205                             COOPER CITY FL 33330
NEW ORLEANS LA 70130



ELIZABETH WAGNER                     ELIZABETH WEBER                               ELIZABETH WHITEMAN-WILLIAMS
1505 BONNIE DRIVE                    5820 LANDCASTER CIR                           6 WOODHULL LANE
BETHLEHEM PA 18018                   MCHENRY IL 60050-5988                         HOLTSVILLE NY 11742




ELIZABETH WILSON                     ELIZABETH WODOCK                              ELIZABETH YAGLA
4555 FORESTWOOD TRAIL                11888 ESTY WAY                                592 EAST STREET
SARASOTA FL 34241                    CARMEL IN 46033                               #2
                                                                                   NEW HAVEN CT 06511



ELIZABETH ZAZUETA                    ELIZABETH ZUHL                                ELIZARDO FERNANDEZ
6646 LINDY LANE                      161 BRACE ROAD                                460 BROOK RIDGE CIRCLE
HOUSTON TX 77023                     WEST HARTFORD CT 06108                        MINNEOLA FL 34715




ELIZARRARAS, KELLY                   ELKA WRIGHT                                   ELKE G CORLEY
3647 N NEWLAND AVE                   6809 ISLAND PARK CT                           1153 S HOLLENBECK
CHICAGO IL 60634                     COPUS CHRISTI TX 78414                        WEST COVINA CA 91791




ELKIN, COURTNEY                      ELKIN, STEVEN A                               ELLA HARDING
14 PRINCESS LANE NO.2                22415 TOUCHSTONE CT                           4935 W. 190TH PLACE
SAUSALITO CA 94965                   SANTA CLARITA CA 91390                        COUNTRY CLUB HILLS IL 60478




ELLEN A CHARPENTIER                  ELLEN ALPERSTEIN                              ELLEN BASTIAN
248 GRAHABER ROAD                    2730 2ND STREET                               6 WOODED HILL DRIVE
TOLLAND CT 06084                     SANTA MONICA CA 90405                         HAMPTON VA 23669




ELLEN BROWNING                       ELLEN CALLAHAN                                ELLEN CQ FANG
939 W WINONA NO.1E                   5014 TEN MILLS ROAD                           2431 BORDER AVENUE
CHICAGO IL 60640                     COLUMBIA MD 21044                             TORRANCE CA 90501




ELLEN FRANK                          ELLEN GLASSBERG                               ELLEN GOTTDANK
40 DALEY PL                          1422 N. ORLEANS                               29 ALMA LANE
APT 102                              #2S                                           PLAINVIEW NY 11803
LYNBROOK NY 11563                    CHICAGO IL 60610




                                            Page 673 of 2387
                            Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 674 of 800
ELLEN H MANKE                            ELLEN IRWIN                                   ELLEN KANNER
951 OBES BRANCH ROAD                     950 N MICHIGAN AVE                            109 DUMBARTON DRIVE
SEVIERVILLE TN 37876-6419                APT # 2303                                    HUNTINGTON NY 11743
                                         CHICAGO IL 60611



ELLEN LORENTZSON                         ELLEN LYNCH                                   ELLEN M SISTI
4231 GRAND AVE SOUTH                     2121 PACES FOREST COURT                       250 N. VILLAGE AVE.
MINNEAPOLIS MN 55409                     # 112                                         APT. 8B
                                         RALIEGH NC 27612                              ROCKVILLE CENTRE NY 11570



ELLEN MIKA-BROWN                         ELLEN PRESTON                                 ELLEN RAGLAND
3981 LONGHILL STATION RD                 4404 ROLAND SPRINGS DRIVE                     2030 NE 62ND STREET
WILLIAMSBURG VA 23188                    BALTIMORE MD 21210                            FORT LAUDERDALE FL 33308




ELLEN REYNOLDS                           ELLEN S SASLOVSKY                             ELLEN SPINDELL-JACOBUS
33 ONSLOW PLACE                          271-10 GRAND CENTRAL PKWY                     712 BUCHANAN ROAD
FREEPORT NY 11520                        APT 9U                                        EAST MEADOW NY 11554
                                         FLORAL PARK NY 11005-1209



ELLEN WARREN                             ELLEN WATSON PHOTOGRAPHY                      ELLEN YAN
941 BONNIE BRAE                          PO BOX 1595                                   61-20 GRAND CENTRAL PKWY
RIVER FOREST IL 60305                    E HAMPTON NY 11937                            B 1405
                                                                                       FOREST HILLS NY 11375



ELLEN ZAMICHOW                           ELLENSON, RUTH ANDREW                         ELLERY HALLOWELL
4 HUNTTING LANE                          1134 1/2 CARDIFF AVE                          25 SPRAGUE STREET
EAST ISLIP NY 11730                      LOS ANGELES CA 90035                          HARTFORD CT 06106




ELLIES, MICHAEL B                        ELLIN FORSCHNER                               ELLINGTON, DEAN
3547 LIGHTHOUSE WAY                      2 VICKSBURG CT                                582 LOWER LANE
CONYERS GA 30013                         CORAM NY 11727                                BERLIN CT 06037




ELLINGTON, DEREK                         ELLINGWOOD, KEN                               ELLIOT ABRAMS
4300 NW 18TH ST. # I 306                 JERUSALEM BUREAU                              1205 EAGLE DRIVE
LAUDERHILL FL 33313                      LA TIMES FOREIGN DESK                         EMMAUS PA 18049
                                         202 W FIRST STREET
                                         LOS ANGELES CA 90012


ELLIOT GOULD                             ELLIOT HILTON                                 ELLIOT LEUNG
48 ROCK CITY ROAD                        251 NORTH EL MOLINO AVENUE                    5 SENTION AVENUE
HUDSON FALLS NY 12839                    APT 8                                         NORWALK CT 06850
                                         PASADENA CA 91101



ELLIOT VILLIGER                          ELLIOTT NORTON                                ELLIOTT NORTON
5830 OAKWOOD DRIVE                       2663 COOPRS POST LANE                         2663 COOPERS POST LN
1A                                       SUGARLAND TX 77478                            SUGAR LAND TX 77478
LISLE IL 60532




                                                Page 674 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 675 of 800
ELLIOTT RIOS                           ELLIOTT, ADRIAN                               ELLIOTT, CHRISTOPHER
5104 W. ROSCOE ST                      20 IMLAY ST   3RD FLR                         760 SYBILWOOD CIRC
2F                                     HARTFORD CT 06105                             WINTER PARK FL 32708
CHICAGO IL 60641



ELLIOTT, CHRISTOPHER                   ELLIOTT, MICHAEL                              ELLIOTT, NORMAN P
760 SYBILWOOD CIRC                     2445 DOOLEY DR   APT F-401                    PO BOX 701013
WINTER SPRINGS FL 32708                DECATUR GA 30033                              LOUISVILLE KY 40270




ELLIOTT, VICTORIA PESCE                ELLIS COUNTY TAX OFFICE                       ELLIS HENICAN
2875 PINE TREE DR                      ATTN: JOHN BRIDGES                            71 HUDSON ST.
MIAMI BEACH FL 33140                   PO DRAWER 188                                 APT 5
                                       WAXAHACHIE TX 75618-0188                      NEW YORK NY 10013



ELLIS, CHRISTOPHER                     ELLIS, CHRISTOPHER                            ELLIS, DAVE
12 DAVID ST                            20 PEARSON COVE                               5204 MCMANUS DR
ENFIELD CT 06082                       BYHALIA MS 38611                              FREDERICKSBURG VA 22407




ELLIS, DEANA                           ELLIS, DEBORAH                                ELLIS, IAN A
4006 ROCHAMBEAU DR                     102 KENSINGTON CT         APT G               6201 NW 2 ST
WILLIAMSBURG VA 23188                  WINDSOR VA 23487                              MARGATE FL 33063




ELLIS, JAMES L                         ELLIS, JESSICA                                ELLIS, JOSEPH
74 GOLF ROAD                           906 GARDEN STREET NO.3                        356 STATION ROAD
#243                                   HOBOKEN NJ 07030                              AMHERST MA 01002
GOLF IL 60029-0243



ELLIS, KHALIAH                         ELLIS, LATHISHA                               ELLIS, MICHAEL D
1018 MADISON ST NO.2C                  2641 SW 64TH TERRACE                          4823 SILVER STAR ROAD NO.110
MAYWOOD IL 60153                       MIRAMAR FL 33023                              ORLANDO FL 32808




ELLIS, MILAGROS                        ELLIS, NICOLE RENEE                           ELLIS, ROBIN L
PO BOX 6758                            9417 DEWEY DR                                 574 SW 130 TER
BIG BEAR LAKE CA 92315                 CHAROLOTTE NC 28214                           DAVIE FL 33325




ELLIS, RUDOLPH                         ELLIS, SUSAN                                  ELLIS, TREY
5921 WASHINGTON STREET                 2709 TRADEWINDS TRAIL SUITE 2709              601 W 113TH ST NO.4B
HOLLYWOOD FL 33023                     ORLANDO FL 32805                              NEW YORK NY 10025




ELLIS, WILLIAM                         ELLIS,MIGUEL,A                                ELLSWORTH NORDBROOK
65-21 CABLES AVE                       4421 NW 41ST TER                              1907 RENCOS WAY
WATERBURY CT 06710                     LAUDERDALE LAKES FL 33319                     FORREST HILL MD 21105-2329




                                              Page 675 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 676 of 800
ELLSWORTH, TOM                         ELLWOOD, GREGORY                              ELLYN MARKS
59 INDIAN RUN                          9031 1/2 RANGELY AVE                          23 W 73RD ST #403A
ENFIELD CT 06082                       W HOLLYWOOD CA 90048                          NEW YORK NY 10023




ELMALIE MANGONA                        ELMEER, ANDREW                                ELMER PECK
1435 YOSEMITE DR.                      34 MCDIVITT DR                                1019 PLOVER WAY
LOS ANGELES CA 90041-2808              MANCHESTER CT 06042                           OCEANSIDE CA 92057




ELMER POLZIN                           ELMO D SONALIA                                ELMONT UFSD
901 NORTH LA GRANGE ROAD               1597 N. ALTADENA DRIVE                        C/O COVERT AVENUE SCHOOL
LA GRANGE PARK IL 60526-1524           PASADENA CA 91107                             ATTN ROBERT BAMBRICK
                                                                                     144 COVERT AVE
                                                                                     ELMONT NY 11003


ELOISA MASROR                          ELOISE DEHAAN                                 ELOISE JASPER
3533 BONAIRE BLVD                      612 NORTH 12TH STREET                         8125 S. BISHOP
APT 804                                ALLENTOWN PA 18102                            CHICAGO IL 60620
KISSIMMEE FL 34731



ELOISE KIRBY                           ELORRIAGA, ANDREW TODD                        ELORRIAGA, RICHARD
236 LAKEPOINTE DRIVE                   703 E HILLCREST STREET                        1761 VALLEY FALLS AVENUE
SOMERSET KY 42503                      ALTAMONTE SPRINGS FL 32701                    REDLANDS CA 92374




ELOUIDIEU LAMARRE                      ELOY GONZALEZ                                 ELPINIKI MESA
160 NW 20 CT                           5700 NORTH SHERIDAN ROAD                      522 N. BICYCLE PATH
POMPANO BEACH FL 33060                 708                                           PORT JEFFERSON STATION NY 11776
                                       CHICAGO IL 60660



ELRESA BURNS-PETERSON                  ELRICA ROBERTS                                ELROY BATES
11 GUENEVERE COURT                     641 CASTERTON CIRCLE                          9215 S. CONSTANCE
APT. B                                 DAVENPORT FL 33897                            CHICAGO IL 60617
NEWPORT NEWS VA 23601



ELSA ESPINO                            ELSA GOMEZ                                    ELSA LUNA
2062 N ROOSEVELT AVENUE                253-49 149TH AVE                              124 N MAPLE AVENUE #1
ALTADENA CA 91001                      ROSEDALE NY 11422                             MONTEBELLO CA 90640




ELSA MCBRIDE                           ELSA NARANJO                                  ELSA ROMERO
P.O. BOX 2828                          1025 MONTEREY COURT                           164-27 77TH AVENUE
SEQUIM WA 98382                        CHULA VISTA CA 91911                          FLUSHING NY 11366




ELSA VEISOR                            ELSA WHITEVILLE                               ELSASSER, RONALD
12 AHERN DRIVE                         3952 TOWNSHIP BLVD.                           2286 MUNCIPAL RD
SOUTH WINDSOR CT 06074                 #1211                                         LEHIGHTON PA 18235
                                       ORLANDO FL 32837




                                              Page 676 of 2387
                           Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 677 of 800
ELSHTAIN, JEAN BETHKE                   ELSIE BELTRAN                                 ELSIE HOLZWARTH
4010 WALLACE LN                         5712 W. PATTERSON                             1410 EAST 55TH
NASHVILLE TN 37215                      CHICAGO IL 60634                              CHICAGO IL 60615




ELSIE IRVING                            ELSIE JOHNSON                                 ELSIE SHIVE
44 HONEY HILL ROAD                      29 S EAST AVE                                 1945 KNIGHT STREET
ORINDA CA 94563                         BALTIMORE MD 21224                            PENN CREST GARDENS APT #4
                                                                                      ALLENTOWN, PA 18104



ELSTON, BETH                            ELTON, HUGH                                   ELVA TORRES
4935 HUNTERS RUN                        172 HOTCHKISS GROVE RD                        479 E. AVENUE 28
COLORADO SPRINGS CO 80911               BRANFORD CT 06405                             LOS ANGELES CA 90031




ELVIN MEDINA                            ELVIRA CARRERA                                ELVIRA MEDRANO
58 CRYSTAL STREET                       3136 VANE AVE.                                3644 W. MCLEAN AVENUE
WETHERSFIELD CT 06109                   EL MONTE CA 91733                             APT. #2
                                                                                      CHICAGO IL 60647



ELVIS FLORES                            ELVIS HOWARD                                  ELWOOD BEATY
1603 W SOUTH STREET                     3012 E. 15TH ST                               2623 WILKENS AVE.
APT 1                                   APT 302                                       BALTIMORE MD 21223
ALLENTOWN PA 18102                      LONG BEACH CA 90804



ELWOOD F ANDERSON                       ELWOOD THOMPSON                               ELY IV, WILLARD BRUCE
35543 CANTEEN                           1246 HAMPSHIRE DRIVE                          3806 SE 26TH AVE
THOUSAND PALMS CA 92276                 WHITEHALL PA 18052                            PORTLAND OR 97202




ELYSE ANDREWS                           ELYSE CALDERON                                ELYSE GOLDBERG
96 POWERS ROAD                          4122 SOUTH ROSEMARY WAY                       60 BIRCHWOOD PARK DR
MEREDITH NH 03253                       DENVER CO 80237                               SYOSSET NY 11791




ELYSE RANART                            ELYSSA HABER                                  ELYSSA RIZZUTO
3000 N OCEAN BLVD                       765 ASHSWAMP ROAD                             170 BENNETT AVENUE
APT 402                                 GLASTONBURY CT 06033                          STATEN ISLAND NY 10312
FORT LAUDERDALE FL 33308



ELZBIETA SZMAJDA                        EM VAN TRUONG                                 EMAD ASGHAR
4835 WEST BARRY                         4161 COGSWELL ROAD                            8 VANDERBILT PARKWAY
CHICAGO IL 60641                        EL MONTE CA 91732                             DIX HILLS NY 11746




EMALYN INOCENCIO GUZMAN                 EMANUEL BURGOS MORALES                        EMANUEL COUTO
11885 ROCHESTER AVENUE                  185 LAWRENCE STREET                           119 BRADEN ST
LOS ANGELES CA 90025                    HARTFORD CT 06106                             LULING LA 70070




                                               Page 677 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 678 of 800
EMANUEL SANCHEZ                        EMANUEL V FORNOTH                             EMANUEL, BRANDON
2523 UNIVERSITY AVENUE                 334 EAST FOOTHILL BLVD.                       351 WAHOO RD
APT 22                                 AZUSA CA 91702                                PANAMA CITY FL 32411
BRONX NY 10468



EMANUEL, EZEKIEL                       EMARKETER                                     EMBARKMEDIA
1037 MICHIGAN AVE                      75 BROADSTREET FLOOR 32                       333 E ONTARIO ST    NO.1904B
EVANSTON IL 60202                      NEW YORK NY 10004-3248                        CHICAGO IL 60611




EMBARQ                                 EMBRACE YOUR DREAMS                           EMBRACE YOUR DREAMS
P.O. BOX 96064                         424 CENTER ST   RM 300                        PO BOX 20082
CHARLOTTE NC 28296-0064                BETHLEHEM PA 18018                            LEHIGH VALLEY PA 18002-0082




EMBREY, WAYNE L                        EMBROIDERY EXPRESS                            EMDE, ZACHARY
433 LEGION RD                          18119 TOWN CENTER DR                          42235 PATTON PL
MILLINGTON MD 21651                    OLNEY MD 20632                                MURRIETA CA 92562




EMED COMPANY INC                       EMED COMPANY INC                              EMEKEUS ROBINSON
39209 TREASURY CENTER                  PO BOX 369                                    139 SECLUDED PLACE
CHICAGO IL 60694-9200                  BUFFALO NY 14240                              APT. # A
                                                                                     NEWPORT NEWS VA 23608



EMELDA ALEXANDER                       EMERGENCY POWER CONTROLS INC                  EMERGING SOLUTIONS
6 KELSEY PLACE                         PO BOX 545                                    20 N WACKER DRIVE SUITE 1870
BLOOMFIELD CT 06002                    YORBA LINDA CA 92686                          CHICAGO IL 60606




EMERGING SOLUTIONS                     EMERGING SOLUTIONS                            EMERI O'BRIEN
PO BOX 3516                            PO BOX 5020                                   651 S. WELLS STREET
OAKBROOK IL 60523                      LAKE FOREST IL 60045                          APT. 212
                                                                                     CHICAGO IL 60607



EMERICON LLC                           EMERSON HEFFNER                               EMERSON LEGO
7300 WEST 110TH STREET                 1481 SANBROOK COURT                           312 W 5TH ST
7TH FLOOR NO.7370                      BETHLEHEM PA 18015                            APT # 419
OVERLAND PARK KS 66210                                                               LOS ANGELES CA 90013



EMERSON, KEN                           EMERY CELLI BRINCKERHOFF & ABADY LLP          EMERY CELLI BRINCKERHOFF & ABADY LLP
140 BELLEVUE AVENUE                    545 MADISON AVE                               75 ROCKEFELLER PLAZA
MONTCLAIR NJ 07042                     NEW YORK NY 10022                             20TH FLOOR
                                                                                     NEW YORK NY 10019



EMERY CELLI BRINCKERHOFF & ABADY LLP   EMERY FILMER                                  EMERY, JACOB
ATTORNEYS AT LAW                       322 STONEHOUSE ROAD                           555 SPRING ST APT 508
75 ROCKERFELLEA PLAZA                  TRUMBULL CT 06611                             BETHLEHEM PA 18018
NEW YORK NY 10019




                                              Page 678 of 2387
                           Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 679 of 800
EMG INTERNATIONAL INC                   EMG MEDIA GROUP INC                           EMI ENDO
PO BOX 1600                             28 EAST 28TH ST    9TH FLR                    113 SCHUMACHER DRIVE
MEDIA PA 19063                          NEW YORK NY 10016-7922                        NEW HYDE PARK NY 11040




EMIGDIA CORRAL                          EMIGH, SHANE                                  EMIKO DANIELIAN
23 KING ARTHUR COURT                    117 FILLEY RD                                 10224 CONOVER DRIVE
APT 4                                   HADDAM CT 06438                               SILVER SPRING MD 20902
NORTHLAKE IL 60164



EMIL CHENDEA                            EMIL GARLATI II                               EMIL KRATOCHVIL
1131 NW 49 STREET                       3636 N RACINE AVENUE                          7233 SUNNYDIP TRAIL
DEERFIELD BEACH FL 33064                APT # 2                                       LOS ANGELES CA 90068
                                        CHICAGO IL 60613



EMIL, GLENN                             EMILCAR, FILOLIA D                            EMILCENT, MADECENE
1253 WEST BYRON                         1705 SW 11TH CT APT 2                         2120 NW 63RD AVE.
CHICAGO IL 60613                        FORT LAUDERDALE FL 33312                      SUNRISE FL 33313




EMILE, MARIE YOLETTE JEAN               EMILI BOGIN                                   EMILI VESILIND
1209 NW 7TH STREET                      8801 CLEARY BLVD                              4119 PERLITA AVENUE
BOYNTON BEACH FL 33426                  PLANTATION FL 33324                           APT A
                                                                                      LOS ANGELES CA 90039



EMILIA DE LAS CASAS                     EMILIA ORTIZ                                  EMILIE R PARMENTER
1 DEBERA LANE                           422 OAK STREET                                952 MONTECITO DR
STAMFORD CT 06902                       ALLENTOWN PA 18102                            LOS ANGELES CA 90031




EMILIE WELCH                            EMILIES CLEANING SERVICE                      EMILIO BELTRAN
2472 W FOSTER, APT 302                  P O BOX 1271                                  1303 N. 16TH AVE.
APT 302                                 BELCHERTOWN MA 01007                          MELROSE PARK IL 60160
CHICAGO IL 60625



EMILIO GUERRA                           EMILO CABRERA                                 EMILY ACHENBAUM
77-34 AUSTIN STREET                     28 COMMERCE BLVD                              311 COTTONWOOD ROAD
6-M                                     AMITYVILLE NY 11701                           NORTHBROOK IL 60062
FOREST HILLS NY 11375-6930



EMILY AMEZCUA                           EMILY BLINN                                   EMILY BRIGHTMAN
1620 LAUREL RD                          211 W. ST. PAUL                               945 N. HONORE
OCEANSIDE CA 92054                      APT. #1                                       APT # 2
                                        CHICAGO IL 60614                              CHICAGO IL 60622



EMILY DOOLEY                            EMILY FORD                                    EMILY FRANCES WOLK
301 VIRIGINIA ST                        12 COFFEEBERRY                                253 WEST 73RD STREET
APRT # 907                              ALISO VIEJO CA 92656                          APT 5N
RICHMOND VA 23219                                                                     NEW YORK NY 10023




                                               Page 679 of 2387
                           Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 680 of 800
EMILY HULME                             EMILY JACQUES                                 EMILY KAISER
1557 YORK AVENUE                        5495 HARRIS FARM LANE                         435 N. MICHIGAN AVE.
APT 2C                                  CLARKSVILLE MD 21029                          CHICAGO IL 60611
NEW YORK NY 10028



EMILY KOCHON                            EMILY LUKASIEWICZ                             EMILY LYTLE
505 CHERRY ST. SE                       86 PARKVIEW DRIVE                             1428 W. SUMMERDALE
604                                     AVON CT 06001                                 APT. #1
GRAND RAPIDS MI 49503                                                                 CHICAGO IL 60640



EMILY MCCLEAN                           EMILY MUELLER                                 EMILY NGO
1040 W. ADAMS                           5384 HANOVER DRIVE                            757 LINCOLN PLACE
423                                     WESCOSVILLE PA 18106                          BROOKLYN NY 11216
CHICAGO IL 60607



EMILY NOEL                              EMILY OESS                                    EMILY OLSON
241 OXFORD ST                           3734 N. SHEFFIELD AVENUE                      3750 GALT OCEAN DRIVE
HARTFORD CT 06105                       GS                                            FORT LAUDERDALE FL 33301
                                        CHICAGO IL 60613



EMILY PATTAVINA                         EMILY PETERSON                                EMILY PUTMAN MORROW
212 TAYLOR STREET                       728 W. IRVING PARK ROAD                       3 MURDOCK ROAD
VERNON CT 06066                         APT # 1                                       BALTIMORE MD 21212
                                        CHICAGO IL 60613



EMILY PYATT                             EMILY REES NUNN                               EMILY RICHETT
6712 VAN NOORD AVENUE                   130 N. GARLAND CT                             23 LAFAYETTE NE
NORTH HOLLYWOOD CA 91606                #2010                                         GRAND RAPIDS MI 49503
                                        CHICAGO IL 60602



EMILY ROBSON                            EMILY ROSENBAUM                               EMILY SINGRABER
219 KLINE STREET                        500 SOUTH CLINTON                             217 TONELL AVE.
BANGOR PA 18013                         # 330                                         LEW LENOX IL 60451
                                        CHICAGO IL 60607



EMILY WONG                              EMITIL, WILFRED                               EMKAY DESIGNS
1360 N. LAKE SHORE DRIVE                5637 BOYNTON COVE WAY                         46 COMMERCE DR
APT. #209                               BOYNTON BEACH FL 33437                        FARMINGDALE NY 11735
CHICAGO IL 60610



EMKAY DESIGNS                           EMKAY INC                                     EMKAY INC
82 FOREST DR                            805 W THORNDALE AVE                           PO BOX 92047
JERICHO NY 11753                        ITASCA IL 60143                               CHICAGO IL 60675-2047




EMMA CIERI                              EMMA DEL REAL                                 EMMA FITZSIMMONS
212 WYNDTRYST DR.                       23370 SEDAWIE DRIVE                           1716 N. NORTH PARK AVE.
WESTMINSTER MD 21158                    BOCA RATON FL 33433                           APT. #1
                                                                                      CHICAGO IL 60614




                                               Page 680 of 2387
                           Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 681 of 800
EMMA L BOWEN FOUNDATION                 EMMA L BOWEN FOUNDATION                       EMMA L BOWEN FOUNDATION
1299 PENNSYLVANIA AVE NW                524 WEST 57TH STREET                          C/O GRODSKY CAPORINO & KAUFMAN
WASHINGTON DC 20004                     NEW YORK NY 10019                             445 NORTHERN BLVD
                                                                                      GREAT NECK NY 11021



EMMA L BOWEN FOUNDATION                 EMMA L BOWEN FOUNDATION                       EMMA MALDONADO
FOR MINORITY INTERESTS IN MEDIA         GRODSKY CAPORRINO & KAUFFMAN                  22 SOUTH 13TH STREET
825 SEVENTH AVE 2ND FL                  300 JERICHO QUADRANGLE SUITE 110              ROOM 2
NEW YORK NY 10019                       JERICHO NY 11753                              ALLENTOWN PA 18102



EMMA MCKENZIE                           EMMA TRELLES                                  EMMANUEL CHIN
3811 NW 5TH COURT                       701 THREE ISLAND BLVD                         7320 SPRINGMAN STREET
FORT LAUDERDALE FL 33311                APT 515                                       SACRAMENTO CA 95822
                                        HALLANDALE BEACH FL 33009



EMMANUEL CRUZ                           EMMANUEL FRANCIS                              EMMANUEL JEAN
16 ROYAL PALM WAY                       500 ESCANABA AVE                              1331 S DIXIE HIGHWAY
#105                                    CALUMET CITY IL 60409                         UNIT 308
BOCA RATON FL 33432                                                                   DEERFIELD BEACH FL 33441



EMMANUEL JEAN-BAPTISTE                  EMMANUEL JONES                                EMMANUEL LAPOTERIE INC
411 NW 87TH DRIVE                       15322 S. BIRCH                                249 AFTON SQUARE NO.305
APT 101                                 MARKHAM IL 60426                              ALTAMONTE SPRINGS FL 32714
PLANTATION FL 33324



EMMANUEL MADRIGAL                       EMMANUEL SANTIAGO                             EMMANUEL TAMBAKAKIS
13013 6TH STREET                        518 WEST WASHINGTON STREET                    23-07 32ND STREET
CHINO CA 91710                          APT. 2                                        2A
                                        ALLENTOWN PA 18102                            ASTORIA NY 11105



EMMANUEL, FRANCIS JEAN                  EMMANUEL, PATRICIA                            EMMANUELA TAO
4131 NE 2ND TERR                        442 LOCK RD APT NO.107                        2962 N. ALLEN AVE
POMPANO BEACH FL 33064                  DEERFIELD BEACH FL 33442                      CHICAGO IL 60618




EMMAUS LACROSSE CLUB                    EMMELL, FRANK                                 EMMETT JAIME
PO BOX 145                              2031 VINE ST   APT 2                          36491 YAMAS DR
EMMAUS PA 18049                         ALLENTOWN PA 18103                            APT# 809
                                                                                      WILDOMAR CA 92595



EMMETT MILLER                           EMMETT, JAIME III                             EMMIS RADIO LLC
212 38TH ST.                            3532 CAMINO DE TEODOEO                        2600 W OLIVE AVE 8TH FLOOR
MANHATTAN BEACH CA 90266                WEST COVINA CA 91792                          BURBANK CA 91505




EMMIS RADIO LLC                         EMMIS RADIO LLC                               EMMIS RADIO LLC
KPWR POWER 106 FM                       WQHT                                          395 HUDSON STREET
FILE 53483                              1199 RELIABLE PARKWAY                         NEW YORK NY 10014
LOS ANGELES CA 90074                    CHICAGO IL 60686-0011




                                               Page 681 of 2387
                             Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 682 of 800
EMMITT WHITE                              EMMONS, WAYNE                                 EMORY, BARBARA
10 SANDPIPER ST                           94 OLD FARMS RD                               1520 CHAPEL HILLS DR, NO.B206
NEWPORT NEWS VA 23602                     WILLINGTON CT 06279-1721                      COLORADO SPRINGS CO 80920




EMPEREON                                  EMPEREON MARKETING                            EMPEREON MARKETING LLC
2953 S PEORIA ST, SUITE 22                3561 W. BELL ROAD                             2953 SOUTH PEORIA STREET
AURA CO 80014                             PHOENIX AZ 85053                              SUITE 200
                                                                                        AURORA CO 80014



EMPEREON MARKETING LLC                    EMPIRE INC                                    EMPIRE SERVICES
PO BOX 17173                              7999 HANSEN RD NO.115                         3510 N CAUSEWAY BLVD SUITE 505
DENVER CO 80217-0173                      HOUSTON TX 77061                              METAIRIE LA 70002




EMPIRE SERVICES                           EMPIRE STATE BUILDING CO LLC                  EMPIRE STATE BUILDING CO LLC
PO BOX 373                                350 FIFTH AVE  RM 3210                        JPMORGAN CHASE LOCKDOWN PROCESSING
GULPORT MS 39502-0373                     NEW YORK NY 10118                             LOCKBOX 30859
                                                                                        4 CHASE METRO CENTER 7TH FLOOR
                                                                                        BROOKLYN NY 11245


EMPIRE STATE BUILDING COMPANY, LLC        EMPLOYMENT DEVELOPMENT DEPT.                  EMPOWER GEOGRAPHICS INC
RE: NEW YORK 350 FIFTH AVENUE             800 CAPITOL MALL                              ATTN: ACCTS RECV
350 FIFTH AVENUE, ROOM 300                MIC 83                                        1000 EXECUTIVE WAY
NEW YORK NY 10118                         SACRAMENTO CA 95814                           DES PLAINES IL 60018



EMPOWER GEOGRAPHICS INC                   EMPOWERED MEDIA CORP                          EMPTY STOCKING FUND
PO BOX 1605                               481 8TH AVENUE SUITE 1530                     10 HAYS ST
ATTN: ACCTS RECV                          NEW YORK NY 10001                             BEL AIR MD 21014
DES PLAINES IL 60017-1605



EMPTY STOCKING FUND                       EMREY,DONALD                                  EMRICK BUSINESS
PO BOX 189                                952 E MACADA RD                               RE: BETHLEHEM 2420 EMRICK BLV
BEL AIR MD 21014                          BETHLEHEM PA 18017                            49 GLENDALE AVE
                                                                                        EDISON NJ 08817



EMRICK BUSINESS CENTER LLC                EMRICK BUSINESS CENTER, LLC                   EMYLUIS MARKETING INC
49 GLENDALE AVE                           RE: BETHLEHEM 2420 EMRICK BLV                 48-24 202ND ST
EDISON NJ 08817                           C/O H.A.F., INC.                              BAYSIDE NY 11361
                                          49 GLENDALE AVENUE
                                          EDISON NJ 08817


EMYLUIS MARKETING INC                     ENAYETALLAH, MAHMOUD                          ENAYETALLAH, MARWA
48-24 202ND ST                            135 UNION STREET                              135 UNION ST
BAYSIDE NY 11364                          VERNON CT 06066-3130                          VERNON CT 06066




ENCIN, STEPHANIE                          ENCIO, MARIA M                                ENCO SYSTEMS INC
12201 NW 27TH ST                          6630 COOLIDGE                                 29444 NORTHWESTERN HIGHWAY
PLANTATION FL 33323                       HOLLYWOOD FL 33024                            SOUTHFIELD MI 48034




                                                 Page 682 of 2387
                            Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 683 of 800
ENCORE TALENT AGENCY INC                 END RESULTS                                   END RESULTS
2635 W GRAND AVE                         120 CREMONA DRIVE NO.F                        1331 PORTESUELLO AVE
CHICAGO IL 60612                         GOLETA CA 93117-5564                          SANTA BARBARA CA 93105




END RESULTS                              END RESULTS                                   END RESULTS
5638 HOLLISTER AVE NO.210                62 TOURAN LANE                                PO BOX 61207
GOLETA CA 93117                          GOLETA CA 93117                               SANTA BARBARA CA 93160




END RESULTS                              ENDEAN, JUDITH E                              ENDERLE, RONALD
120 CREMONA DR #F                        506 BLUFF OAK COURT                           1208 N 17 AVENUE
GOLETA CA 93117                          APOPKA FL 32712                               HOLLYWOOD FL 33020




ENDERLEY, WALTER                         ENDY BRITO                                    ENEL JULIEN
5 SWAN COURT                             2264 SUBURBAN LANE                            241-25 MAYDA RD
OLD BETHPAGE NY 11804                    EFFORT PA 18330                               ROSEDALE NY 11422




ENERGEIA PARTNERSHIP                     ENERGY MANAGEMENT SYSTEMS INC                 ENERLON INC
7180 REPUBLIC AIRPORT                    PO BOX 538                                    26861 CUATRO MILPAS
E FARMINGDALE NY 11735                   MALVERN PA 19355                              VALENCIA CA 91354




ENFIELD LOAVES & FISHES                  ENG MOBILE SYSTEMS INC                        ENG OPTICAL SERVICES INC
PRISCILLA BRAYSON                        2245 VIA DE MERCADOS                          1811 E 1100 NORTH RD
PO BOX 544                               CONCORD CA 94520                              MILFORD IL 60953
ENFIELD CT 06082



ENG, DINAH YEP                           ENG, DINAH YEP                                ENG, FAY
4326 BABCOCK AVE     STE 203             4326 BARCOCK AVE NO.203                       248 ELGIN
STUDIO CITY CA 91604                     STUDIO CITY CA 91604                          FOREST PARK IL 60130




ENGELBERT CELIS                          ENGELIA MCCULLOUGH                            ENGELMANN, THOMAS J
5539 N WILLOWCREST AVENUE                3206 NORMANDY WOODS APT #E                    1706 WILSON POINT RD.
NORTH HOLLYWOOD CA 91601                 ELLICOTT CITY MD 21043                        BALTIMORE MD 21220




ENGELSMA BUILDING MAINTENANCE            ENGINE YARD INC                               ENGINE YARD INC
1310 KENOWA AV SW                        2795 E BIDWELL ST     NO.100-347              PO BOX 77130
GRAND RAPIDS MI 49534                    FOLSOM CA 95630                               SAN FRANCISCO CA 94107




ENGINEX ENVIRONMENTAL ENGINEERING LLC    ENGLANDER, JULIE                              ENGLE, SCOTT J
27834 N IRMA LEE CIRCLE                  3015 W SUNNYSIDE AVE       NO.2               17276 LINDA LANE
LAKE FOREST IL 60045                     CHICAGO IL 60625                              CONROE TX 77306-8346




                                                Page 683 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 684 of 800
ENGLE, SHAENA                          ENGLER, JOY                                   ENGLERT, MARK H
10916 MOORPARK ST NO.7                 RR 2 BOX 137                                  5463 HANSEL AVE H-10
TOLUCA LAKE CA 91602                   KUNKLETOWN PA 18058                           ORLANDO FL 32809




ENGLEWOOD ELECTRICAL SUPPLY            ENGLEWOOD ELECTRICAL SUPPLY                   ENGLEWOOD ELECTRICAL SUPPLY
16159 STAGG ST                         LOCKBOX 910465                                3939 S KARLOV AVE
VAN NUYS CA 91406                      PO BOX 31001-0465                             773-650-6188
                                       PASADENA CA 91110-0465                        376-8750 24 HOUR NUMBER
                                                                                     CHICAGO IL 60632


ENGLEWOOD ELECTRICAL SUPPLY            ENGLISH JR, RUBYNN M                          ENGLISH, MERLE
PO BOX 802578                          7430 S PRAIRIE AVENUE                         236 MONTGOMERY ST        APT 3-C
CHICAGO IL 60680                       CHICAGO IL 60619-1825                         BROOKLYN NY 11225




ENGLISH, PHIL                          ENGLISH,MIKE                                  ENGOREN, JAN
2122 W THOMAS STREET                   852 SUMMERWOOD DR                             5887A FOX HOLLOW DR
CHICAGO IL 60622                       JUPITER FL 33458                              BOCA RATON FL 33486




ENGRACIA BECKERS                       ENHANCED VISUAL IMAGES                        ENID LOWELL
340 SOUTH ANGELENO                     1911 SW CAMPUS DR NO.323                      95 FAIRFIELD WAY
AZUSA CA 91702                         FEDERAL WAY WA 98023                          #4
                                                                                     COMMACK NY 11725



ENID PORTUGUEZ                         ENLOW, JOSHUA                                 ENNIS, JERRY
10538 HAVERLY ST                       1226 WYNOOCHEE PL NE                          2351 PALM SPRINGS COURT
EL MONTE CA 91731                      LACEY WA 98516                                SPRING HILL FL 34606




ENNIS, JOHN                            ENOS, RANDALL                                 ENRICO RAMOS
2610 EMMY LN                           402 N PARK AVE                                4009 W. PALMER
CHARLOTTE NC 28226                     EASTON CT 06612                               CHICAGO IL 60639




ENRIQUE CASTANEDA                      ENRIQUE DIAZ                                  ENRIQUE ECHEVERRIA
5282 OAKMONT VILLAGE CIRCLE            4740 NE 18 AVE                                12843 ROSECLIFF CIRCLE
LAKE WORTH FL 33463                    POMPANO BEACH FL 33064                        CORONA CA 92880




ENRIQUE GONZALEZ                       ENRIQUE GUZMAN                                ENRIQUE MARRERO
3935 DURFEE AVE. APT. D                2915 W. 14TH STREET                           280 COLLINS STREET
EL MONTE CA 91732                      LOS ANGELES CA 90006                          HARTFORD CT 06105




ENRIQUE MENDEZ                         ENRIQUE PATINO                                ENRIQUE PAZ
66 BETHPAGE RD                         18354 FLINT HILL DR                           7656 LOREL AVE
HICKSVILLE NY 11801                    KATY TX 77449                                 BURBANK IL 60459




                                              Page 684 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 685 of 800
ENRIQUE TERRERO                        ENRIQUETA RUIZ                                ENRIQUEZ, BEATRIZ
2 DORCHESTER PLACE                     3920 N. ORANGE AVENUE                         820 WILD WOOD DR
GANSEVOORT NY 12831                    COVINA CA 91722                               WINTER SPRINGS FL 32708




ENRIQUEZ, LYDIA                        ENRIQUEZ, SAMUEL S                            ENSCO INC
1207 SACRAMENTO ST.                    MEXICO CIT BUREAU                             ATTN ACCOUNTS RECEIVABLE
DELTONA FL 32725                       LA TIMES FOREIGN DESK                         PO BOX 1780
                                       202 W FIRST ST                                SPRINGFIELD VA 22151-1780
                                       LOS ANGELES CA 90012


ENSOR, TY ALLAN                        ENSWORTH POWELL                               ENTELLIGENCE LLC
1624 MUIR CIRCLE                       36938 CALDRON STREET                          2800 POST OAK BLVD   NO.4350
CLERMONT FL 34711                      PALMDALE CA 93552                             HOUSTON TX 77056




ENTELLIGENCE LLC                       ENTERCOM COMMUNICATIONS                       ENTERCOM COMMUNICATIONS
C/O AMERY BANK OF TEXAS                5345 MADISON AV                               ENTERCOM NEW ORLEANS LLC
PO BOX 4652  DEPT 904                  SACRAMENTO CA 95841                           400 POYDRAS ST    STE 800
HOUSTON TX 77210-4652                                                                NEW ORLEANS LA 70130



ENTERCOM COMMUNICATIONS                ENTERCOM COMMUNICATIONS                       ENTERCOM COMMUNICATIONS
WEZB                                   WKBU-FM                                       WKZN
400 POYDRAS ST    STE 800              400 POYDRAS ST    STE 800                     400 POYDRAS ST    STE 800
NEW ORLEANS LA 70130                   NEW ORLEANS LA 70130                          NEW ORLEANS LA 70130



ENTERCOM COMMUNICATIONS                ENTERCOM COMMUNICATIONS                       ENTERCOM COMMUNICATIONS
WLMG                                   WSMB                                          WTKL
400 POYDRAS ST    STE 800              400 POYDRAS ST    STE 800                     400 POYDRAS ST    STE 800
NEW ORLEANS LA 70130                   NEW ORLEANS LA 70130                          NEW ORLEANS LA 70130



ENTERCOM COMMUNICATIONS                ENTERCOM COMMUNICATIONS                       ENTERCOM COMMUNICATIONS
WWL                                    PO BOX 34935                                  SEATTLE
400 POYDRAS ST    STE 800              DEPT 150                                      1820 EASTLAKE AVE E
NEW ORLEANS LA 70130                   SEATTLE WA 98124                              SEATTLE WA 98102-3711



ENTERCOM PORTLAND LLC                  ENTERCOM SACRAMENTO LLC                       ENTERGY
0700 SW BANCROFT ST                    5345 MADISON AVE STE 100                      PO BOX 61966
PORTLAND OR 97239                      SACRAMENTO CA 95841                           NEW ORLEANS LA 70167-1966




ENTERGY                                ENTERGY                                       ENTERGY
PO BOX 64001                           PO BOX 8106                                   PO BOX 8108
NEW ORLEANS LA 70164-4001              BATON ROUGE LA 70891-8106                     BATON ROUGE LA 70891-8108




ENTERGY LOUISIANA LLC                  ENTERPRISE GARAGE CORPORATION                 ENTERPRISE GARAGE CORPORATION
P.O. BOX 8108                          107 W 13TH STREET                             371 SEVENTH AV
BATON ROUGE LA 70891-8108              NEW YORK NY 10011                             NEW YORK NY 10001




                                              Page 685 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 686 of 800
ENTERPRISE OIL                         ENTERPRISE OIL                                ENTERPRISE RENT A CAR
3200 S WESTERN                         SLOT 303263                                   106 E MCKELLIPS RD STE 10
CHICAGO IL 60608                       PO BOX 66973                                  MESA AZ 85201-1628
                                       CHICAGO IL 60666-0973



ENTERPRISE RENT A CAR                  ENTERPRISE RENT A CAR                         ENTERPRISE VISION TECHNOLOGIES INC
1444 W AUTO DR                         6330 MARINDUSTRY DR                           PO BOX 28420
TEMPE AZ 85284                         SAN DIEGO CA 92121                            TEMPE AZ 85285-8420




ENTERPRISE VISION TECHNOLOGIES INC     ENTERTAINING FITNESS INC                      ENTERTAINMENT COMMUNICATIONS
201 WILSHIRE BLVD   A-9                827 CHAUTAUQUA BLVD                           NETWORK INCORPORATION
SANTA MONICA CA 90401                  PACIFIC PALISADES CA 90272                    4370 TUJUNGA AVENUE
                                                                                     2ND FLOOR
                                                                                     STUDIO CITY CA 91604


ENTERTAINMENT INDUSTRY                 ENTERTAINMENT INDUSTRY                        ENTERTAINMENT INDUSTRY
1201 WEST 5TH ST   T-700               401K PLAN                                     FOUNDATION
LOS ANGELES CA 90017-2019              PO BOX 60669                                  11132 VENTURA BLVD
                                       LOS ANGELES CA 90060-0669                     STE 401
                                                                                     STUDIO CITY CA 91604


ENTERTAINMENT INDUSTRY                 ENTERTAINMENT INDUSTRY                        ENTERTAINMENT NEWS CORP
401K PLAN                              FLEX PLAN                                     1281 NORTHWEST 101ST AVENUE
PO BOX 60669                           PO BOX 60669                                  PLANTATION FL 33322
LOS ANGELES CA 90060                   LOS ANGELES CA 90060



ENTERTAINMENT NEWS CORP                ENTERTAINMENT ONE                             ENTERTAINMENT PARTNERS SERVICES
132 SWAN AVE                           137 FLAT ROCK ROAD                            2835 N NAOMI STREET
FORT LAUDERDALE FL 33324               LAKE GEORGE NY 12845                          2ND FLOOR
                                                                                     BURBANK CA 91504



ENTERTAINMENT PUBLICATIONS, INC        ENTERTAINMENT PUBLICATIONS, INC               ENTERTAINMENT SECURITY PROTECTION
151 KALMUS DRIVE SUITE A101            PO BOX 51586                                  24307 MAGIC MTN PKWY NO.324
COSTA MESA CA 92626                    LOS ANGELES CA 90051                          VALENCIA CA 91355




ENTERTAINMENT SERVICES                 ENTERTAINMENT STUDIOS                         ENTICENT INC
302 WASHINGTON ST NO.1219              1925 CENTURY PARK EAST                        1349 OLD 41 HWY   STE 110
SAN DIEGO CA 92103                     SUITE 1025                                    MARIETTA GA 30060
                                       LOS ANGELES CA 90067



ENTICENT INC                           ENTRAVISION COMMUNICATIONS CORP               ENTRAVISION COMMUNICATIONS CORP
PO BOX 65202                           1436 AUBURN BLVD                              DBA KBMB
CHARLOTTE NC 28265-5202                SACRAMENTO CA 95815                           1436 AUBURN BLVD
                                                                                     SACRAMENTO CA 95815



ENTRAVISION COMMUNICATIONS CORP        ENTRAVISION COMMUNICATIONS CORP               ENTRAVISION COMMUNICATIONS CORP
INDIE 103.1                            INDIE 103.1                                   KMIX FM
5700 WILSHIRE BLVD NO 250              PO BOX 51807                                  6820 PACIFIC AVE
LOS ANGELES CA 90010                   LOS ANGELES CA 90051-6107                     STOCKTON CA 95207




                                              Page 686 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 687 of 800
ENTRAVISION COMMUNICATIONS CORP        ENTRAVISION COMMUNICATIONS CORP               ENTRAVISION COMMUNICATIONS CORP
KTSE FM                                PO BOX 57162                                  777 GRANT ST 5TH FLR
6820 PACIFIC AVE                       LOS ANGELES CA 90051-6062                     DENVER CO 80203
STOCKTON CA 95207



ENTRAVISION COMMUNICATIONS CORP        ENTRAVISION COMMUNICATIONS CORP               ENTRY MEDIA INC
UNIVISION WVEN TV26                    5307 E MOCKINGBIRD LAND STE 500               127 W FAIRBANKS AVE    NO.417
523 DOUGLAS AVE                        DALLAS TX 75206                               WINTER PARK FL 32789
ALTAMONTE SPRINGS FL 32714



ENTRY ONLY LISTING SERVICE             ENVELOPES UNLIMITED                           ENVELOPES UNLIMITED
304 NEWBURY ST NO.346                  649 N HORNERS LANE                            DBA EU SERVICES
BOSTON MA 02115                        ROCKVILLE MD 20850                            649 N HORNERS LANE
                                                                                     ROCKVILLE MD 20850



ENVELOPES UNLIMITED                    ENVIRONMENTAL ASSOCIATES CORP                 ENVIRONMENTAL CONSERVATION LAB
P O BOX 17164                          P O BOX 760                                   10775 CENTRAL PORT DR
BALTIMORE MD 21297-1164                BETHPAGE NY 11714-0760                        ORLANDO FL 32827




ENVIRONMENTAL CONSERVATION LAB         ENVIRONMENTAL CONSERVATION LAB                ENVIRONMENTAL CONSULTING &
9500 SATELLITE BLVD                    ATTN JOSE MORALES P E                         3701 NW 98TH ST
SUITE 190                              SUITE 200                                     GAINESVILLE FL 32606-5004
ORLANDO FL 32837-8466                  5405 CYPRESS CENTER DRIVE
                                       TAMPA FL 33609


ENVIRONMENTAL IRRIGATION               ENVIRONMENTAL MAINTENANCE SOLUTIONS           ENVIRONMENTAL NATURE CENTER
103 LEDGE LN                           199 TOMPKINS                                  1601 16TH ST
STAMFORD CT 06905                      PLEASANTVILLE NY 10570                        NEWPORT BEACH CA 92663




ENVIRONMENTAL PROTECTION AGENCY        ENVIRONMENTAL PROTECTION AGENCY               ENVIRONMENTAL PROTECTION AGENCY
HEADQUARTERS                           EPA - REGION 1                                EPA - REGION 2
ARIEL RIOS BLDG                        1 CONGRESS ST, STE 1100                       290 BROADWAY
1200 PENNSYLVANIA AVE NW               BOSTON MA 02114-2023                          NEW YORK NY 10007-1866
WASHINGTON DC 20460


ENVIRONMENTAL PROTECTION AGENCY        ENVIRONMENTAL PROTECTION AGENCY               ENVIRONMENTAL PROTECTION AGENCY
EPA - REGION 3                         EPA - REGION 4                                EPA - REGION 5
1650 ARCH ST                           ATLANTA FEDERAL CENTER                        77 W JACKSON BLVD
PHILADELPHIA PA 19103-2029             61 FORSYTH ST SW                              CHICAGO IL 60604-3507
                                       ATLANTA GA 30303-3104


ENVIRONMENTAL PROTECTION AGENCY        ENVIRONMENTAL PROTECTION AGENCY               ENVIRONMENTAL PROTECTION AGENCY
EPA - REGION 6                         EPA - REGION 7                                EPA - REGION 8
FOUNTAIN PLACE 12TH FL, STE 1200       901 N 5TH ST                                  999 18TH ST, STE 500
1445 ROSS AVE                          KANSAS CITY KS 66101                          DENVER CO 80202-2466
DALLAS TX 75202-2733


ENVIRONMENTAL PROTECTION AGENCY        ENVIRONMENTAL PROTECTION AGENCY               ENVIRONMENTAL PROTECTION AGENCY
EPA - REGION 10                        CARIBBEAN ENVIRONMENTAL PROTECTION DIV        EPA - REGION 9
1200 SIXTH AVE                         CENTRO EUROPA BLDG, STE 417                   75 HAWTHORNE ST
SEATTLE WA 98101                       1492 PONCE DE LEON AVE                        SAN FRANCISCO CA 94105
                                       SAN JUAN PR 00907-4127




                                              Page 687 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 688 of 800
ENVIRONMENTAL RECOVERY SERVICES INC    ENVIRONMENTAL RECOVERY SERVICES INC           ENVIRONMENTAL SERVICES& PRODUCTS INC
15902 SOUTH MAIN ST                    2650 LIME AVENUE                              1680 SACKETTS DR
GARDENA CA 90248                       SIGNAL HILL CA 90806                          LAWRENCEVILLE GA 30043




ENVIRONMENTAL SERVICES, INC            ENVIRONMENTAL SYSTEMS RESEARCH                ENVISION GRAPHICS LLC
90 BROOKFIELD ST                       380 NEW YORK ST                               225 MADSEN DRIVE
SOUTH WINDSOR CT 06074-1262            REDLANDS CA 92373                             BLOOMINGDALE IL 60108




ENVISION GRAPHICS LLC                  ENVOY PRODUCTIONS                             ENZ, CAITLIN E
717 THOMAS DR                          2185 HAMPTON AVE.                             2 HAMILTON ROAD
BENSENVILLE IL 60106                   ST. LOUIS MO 63139                            WHITEHOUSE STA NJ 08889




EOLIN, JENNIFER                        EP GRAPHICS                                   EPHRAIM CORSINO
11150 ACOMA ST NO.25                   169 S JEFFERSON                               1114 WASHINGTON STREET
STUDIO CITY CA 91602                   BERNE IN 46711                                EASTON PA 18042




EPHRAIM, SUNDIATA                      EPHRON, AMY                                   EPIC PRODUCTIONS
3220 GOLDEN CHAIN DR                   C/O MERLIS SOLTMAN                            4640 LANKERSHIM BLVD
LITHONIA GA 30038                      10390 SANTA MONICA BLVD       STE 270         SUITE #600
                                       LOS ANGELES CA 90049                          NORTH HOLLYWOOD CA 91602



EPIC/SAVAGE REALTY PARTNERS            EPISCOPO, RYAN                                EPLER, CHAD
RE: CHICAGO 4242 BRYN MAW              2509 SW WESTFIELD ST                          1161 WINDHAVEN CIR APT D
7449 NORTH NATCHEZ AVENUE              PORT ST LUCIE FL 34953                        BROWNSBURG IN 46112
SUITE 100
NILES IL 60174


EPLUS GROUP                            EPLUS GROUP INC INTL                          EPPERLY, LINDA F
400 HERNDON PARKWAY                    PO BOX 8500-5270                              4051 CLOSE CT
HERNDON VA 20170                       PHILADELPHIA PA 19178-5270                    MOUNT DORA FL 32757




EPPERLY, MARSHALL LAYNE                EPPERSON, PATTY L                             EPPIG, GLEN L
4051 CLOSE COURT                       144 CONVERSE COURT                            731 REEDY CIRCLE
MT DORA FL 32757                       NEWPORT NEWS VA 23608                         BEL AIR MD 21014




EPPS, PATRICIA A                       EPSEN FULLER & ASSOCIATES                     EPSILON DATA MANAGEMENT LLC
3407 HARDEE COURT                      10 N PARK PL STE 420                          2550 CRESCENT DRIVE
HAMPTON VA 23666                       MORRISTOWN NJ 07960                           LAFAYETTE CO 80026




EPSILON DATA MANAGEMENT LLC            EPSILON INTERACTIVE LLC                       EPSILON INTERACTIVE LLC
2550 CRESCENT DRIVE L 3116             16 WEST 20TH ST     9TH FLR                   315 PARK AVE SOUTH 18TH FL
COLUMBUS OH 43260                      NEW YORK NY 10011                             NEW YORK NY 10010




                                              Page 688 of 2387
                            Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 689 of 800
EPSILON INTERACTIVE LLC                  EPSTEIN BECKER & GREEN PC                     EPSTEIN BECKER & GREEN PC
ATTN ACCOUNTS PAYABLE                    1925 CENTURY PARK EAST SUITE 500              PO BOX 30036
16 WEST 20TH ST    9TH FLR               LOS ANGELES CA 90067                          NEW YORK NY 10087-0036
NEW YORK NY 10011



EPSTEIN, DANIEL                          EPSTEIN, DEBORAH                              EPSTEIN, EMILY
18305 E SAN JOSE AVE                     4145 RIA MAMMA   APT 122                      PO BOX 3227
CITY OF INDUSTRY CA 91748                MANNA DELREY CA 90292                         JERSEY CITY NJ 07302




EPSTEIN, HELEN                           EPSTEIN, RONALD                               EPSTEIN, SCOTT
129 BOERUM PL    APT 5A                  1913 WASHINGTON ST                            4201 MASSACHUSETTS AVE NW APT 4062W
BROOKLYN NY 11201                        ALLENTOWN PA 18104                            WASHINGTON DC 20016




EPSTEIN, TERRY                           EQUAL EMPLOYMENT OPPORTUNITY                  EQUI-LIBRIUM INC
28 BUCKNELL DRIVE                        131 M. STREET, NE                             PO BOX 305
PLAINVIEW NY 11803                       WASHINGTON DC 20507-0100                      SCIOTA PA 18354




EQUIFAX CREDIT INFORMATION SVC           EQUIFAX CREDIT INFORMATION SVC                EQUIFAX CREDIT INFORMATION SVC
PO BOX 105835                            PO BOX 4472                                   22086 NETWORK PL
ATLANTA GA 30348-5835                    ATLANTA GA 30302                              CHICAGO IL 60673-1220




EQUIFAX INFORMATION SERVICES LLC         EQUIFAX INFORMATION SERVICES LLC              EQUILAR INC
1550 PEACHTREE ST, NW                    PO BOX 105835                                 303 TWIN DOLPHIN DRIVE SUITE 201
ATLANTA GA 30309                         ATLANTA GA 30348-5835                         REDWOOD CITY CA 94065




EQUITY CORPORATE HOUSING                 EQUITY CORPORATE HOUSING                      EQUITY GROUP INVESTMENTS LLC
6525 MORRISON BLVD  STE 212              PO BOX 632272                                 2 N RIVERSIDE PLAZA STE 600
CHARLOTTE NC 28211                       CINCINNATI OH 45263-2272                      CHICAGO IL 60606




EQUITY OFFICE PROPERTIES                 EQUITY OFFICE PROPERTIES                      EQUITY OFFICE PROPERTIES
RE: SANTA MONICA 3340 OCEAN P            EQUITY OFFICE DEPT 15342-24076                PO BOX 60077
DEPT 15342                               PO BOX 601046                                 LOS ANGELES CA 90060
P.O. BOX 61046                           LOS ANGELES CA 90060-1046
LOS ANGELES CA 90061-0046


EQUITY OFFICE PROPERTIES                 EQUITY OFFICE PROPERTIES                      EQUITY OFFICE PROPERTIES
PO BOX 915308                            DEPT 10430-4731                               PO BOX 844576
ORLANDO FL 32891-5308                    PO BOX 730100                                 DALLAS TX 75284-4576
                                         DALLAS TX 75373-0100



EQUITY RESEARCH ASSOCIATES               EQUITY RESEARCH ASSOCIATES                    ER GRAPHICS
1236 ST ANDREWS RD                       PO BOX 189                                    515 W ALLEN AVE    NO.11
GIBBONS BC V0N 1V1                       SECHELT BC V0N 3A0                            SAN DIMAS CA 91773




                                                Page 689 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 690 of 800
ER GRAPHICS                            ERA                                           ERA
545 W ALLEN AVE UNIT 30                501 E JACKSON ST                              TOM GRIZZARD INC
SAN DIMAS CA 91773                     ORLANDO FL 32801                              C/O COMMERCIAL PROPERTY MGMT
                                                                                     1300 WEST NORTH BOULVARD
                                                                                     LEESBURG FL 34748


ERA FIRST CHOICE REALTY                ERA TOM GRIZZARD INC.                         ERA VALDIVIA CONTRACTORS INC
671 MAIN STREET                        RE: LEESBURG 411 N 14TH ST                    11909 S AVENUE O
NEW ROCHELLE NY 10801                  1300 W NORTH BLVD                             CHICAGO IL 60617
                                       LEESBURG FL 34748



ERA, TOM GRIZZARD, INC.                ERAM AHMAD                                    ERBELLA, MARIA V
RE: LEESBURG 411 N 14TH ST             728 NICOLLS ROAD                              5354 W 4TH LANE
1300 W. NORTH BLVD.                    DEER PARK NY 11729                            HIALEAH FL 33012
LEESBURG FL 34784



ERBIO, DIANA                           ERBURU, ROBERT F.                             ERCOLANI, RONALD
12 TUSA CT                             1518 BLUE JAY WAY                             4080 HAMPSHIRE CT
ST JAMES NY 11780                      LOS ANGELES CA 90069                          ALLENTOWN PA 18104




ERCOLANO, PATRICK A                    ERDMAN, LARRY                                 ERDMANS, MARY
220 GAYWOOD ROAD                       6206 GLEN COURT                               109 GIRARD AVE
BALTIMORE MD 21212                     GERMANSVILLE PA 18053                         HARTFORD CT 06105




ERDOS AND MORGAN INC                   ERDOSH, GEORGE                                ERGONOMIC GROUP
6400 JERICHO TURNPIKE STE 102          20949 WARNER ROAD EAST                        191 HERRICKS RD
PO BOX 9003                            PINE GROVE CA 95665                           GARDEN CITY PARK NY 11040
SYOSSET NY 11791



ERGONOMIC GROUP                        ERHA, KENNETH A                               ERIC BLACK
ATTN: MATT DOHERTY                     115 NUTMEG LN UNIT 209                        2344 W. FULLERTON AVE
191 HERRICKS RD                        EAST HARTFORD CT 06118                        CHICAGO IL 60647
GARDEN CITY PARK NY 11040



ERIC ALMENDRAL                         ERIC ASTACIO                                  ERIC BAILEY
6315 BEN AVE                           2450 RAVENDALE COURT                          6905 FILBERT AVENUE
LOS ANGELES CA 91606                   KISSIMMEE FL 34758                            ORANGEVALE CA 95662




ERIC BARNES                            ERIC BECKLER                                  ERIC BENDEROFF
3408 W. PARKER AVENUE                  23 BART DR                                    1925 W. ERIE
APT. #1                                SELDEN NY 11784                               CHICAGO IL 60622
CHICAGO IL 60647



ERIC BETTON                            ERIC BOYD                                     ERIC BROWN
14515 MANISTEE AVE.                    21103 DUMETZ ROAD                             1693 WEST JEFFERSON
APT. #3B                               WOODLAND HILLS CA 91364                       APT #112A
BURNHAM IL 60633                                                                     LOS ANGELES CA 90018




                                              Page 690 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 691 of 800
ERIC BUCKLEITNER                       ERIC CAREY                                    ERIC CAREY
28 LAFAYETTE AVE NE                    16131 SOUTH CARSE                             16131 S. CARSE
APT 9                                  HARVEY IL 60425                               HARVEY IL 60426
GRAND RAPIDS MI 49503



ERIC CHANG                             ERIC CHILES                                   ERIC COBARRUBIAS
3 HORSESHOE DRIVE                      1765 W UNION BLVD                             630 NORTH ISABEL STREET
NORTHPORT NY 11768                     BETHLEHEM PA 18018                            APT # 4
                                                                                     GLENDALE CA 91206



ERIC DANTON                            ERIC DAVIS                                    ERIC DEMICCO
47B CONGRESS STREET                    19 MORGAN ROAD                                3540 29TH STREET
HARTFORD CT 06114                      CANTON CT 06019                               2R
                                                                                     ASTORIA NY 11106



ERIC DENNIS                            ERIC DETTWILLER                               ERIC DINNEN
4860 NW 8TH DR                         113 PINE STREET                               P.O. BOX 1506
PLANTATION FL 33317                    YORKTOWN VA 23693                             TORRINGTON CT 06790




ERIC FERNANDEZ                         ERIC FLORENCE                                 ERIC FREEHLING
4167 APPLE CREEK DRIVE                 221 GRAND AVE SE                              6120 N. KENMORE
INDIANAPOLIS IN 46235                  GRAND RAPIDS MI 49503                         UNIT GE
                                                                                     CHICAGO IL 60660



ERIC GALE                              ERIC GEIPLE                                   ERIC GERSHON
1310 FORDHAM CT                        130 HAYWARD HEIGHTS                           19 PEPPERWOOD LANE
BEL AIR MD 21014                       GLEN ROCK PA 17327                            BRANFORD CT 06405




ERIC GIANDELONE                        ERIC GILLARD                                  ERIC GRANT
3345 N. SEMINARY AVE.                  135 PINE CHAPEL ROAD                          715 S. MILLS AVENUE
APT. #2                                APT. #5                                       ORLANDO FL 32801
CHICAGO IL 60657                       HAMPTON VA 23666



ERIC GREGORY                           ERIC GULOTTY                                  ERIC GWINN
1523 EAST MAPLE STREET                 150-25 GRAND CENTRAL PARKWAY                  5033 N. AVERS AVE
#B                                     APT. B                                        CHICAGO IL 60625
GLENDALE CA 91205                      JAMAICA NY 11432



ERIC HARRISON                          ERIC HEIMBERG                                 ERIC HERNANDEZ
848 N VALLEY STREET                    6233 S MAJOR                                  2630 ALVIRA STREET
BURBANK CA 91505                       CHICAGO IL 60638                              APT 3
                                                                                     LOS ANGELES CA 90034



ERIC HILL                              ERIC HOFFMAN                                  ERIC HOWERTON
1632 W. JUNEWAY TERRACE                7036 EAST PAYNE ROAD                          1360 N. LAKE SHORE DRIVE
APT. 1                                 INDIANAPOLIS IN 46239                         #318
CHICAGO IL 60626                                                                     CHICAGO IL 60610




                                              Page 691 of 2387
                           Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 692 of 800
ERIC JACKSON                            ERIC JANSEN                                   ERIC JASPER
765 NW 55TH TERRACE                     651 WATSON                                    4270 MADERA RD
MIAMI FL 33127                          GRAND RAPIDS MI 49504                         IRVING TX 75038




ERIC JOHN ZORN                          ERIC JOHNSON                                  ERIC JOHNSON
4140 NORTH SPRINGFIELD                  20151 RIVERSIDE DR.                           221BOOTH STREET
CHICAGO IL 60618                        SANTA ANA CA 92707                            BALTIMORE MD 21223




ERIC JOHNSON                            ERIC JONES                                    ERIC KARNES
3780 FAIRMONT CT.                       14528 S. EGGLESTON                            3811 CANTERBURY RD, APT. 1006
AURORA IL 60504                         RIVERDALE IL 60827                            BALTIMORE MD 21218




ERIC KENNEDY                            ERIC KRAUSE                                   ERIC KROL
11 FROST LANE                           2855 W. ARGYLE                                12529 W. MOORELAND DR.
WADING RIVER NY 11792                   #2W                                           HOMER GLEN IL 60491
                                        CHICAGO IL 60625



ERIC LACKEY                             ERIC LAIMINS                                  ERIC LAUGHLIN
7689 JADE COAST                         1237 N. HOYNE                                 3101 FERRY CIRCLE
SAN DIEGO CA 92126                      APT. 1                                        FOLSOM CA 95630
                                        CHICAGO IL 60622



ERIC LITT                               ERIC MACISSO                                  ERIC MANGAN
4525 N. BRUMMEL ST.                     22315 VICTORY BLVD                            5 LINCOLN AVENUE
SKOKIE IL 60076                         APT#137                                       SUMMIT NJ 07901
                                        WOODLAND HILLS CA 91303



ERIC MANNS                              ERIC MANNS                                    ERIC MARTINEZ
6010 BLACK FRIARS CIRCLE                6010 BLACK FRIARS CRICLE                      492 DIXON ROAD
BALTIMORE MD 21228                      CATONSVILLE MD 21228                          #3
                                                                                      QUEENSBURY NY 12804



ERIC MCGEE                              ERIC MELCHER                                  ERIC MENSAH
5010 W. WESTEND                         21 N HARRISON                                 1540 PENTRIDGE ROAD
CHICAGO IL 60644                        BATAVIA IL 60510                              APT. 305A
                                                                                      BALTIMORE MD 21239



ERIC MEYROWITZ                          ERIC MORRIS                                   ERIC MUSCARELLA
6016 WOODACRES DR.                      11451 KEARNEY WAY                             15308 MILLARD AVENUE
BETHESDA MD 20816                       GARDEN GROVE CA 92840                         MIDLOTHIAN IL 60445




ERIC NATHAN                             ERIC NUTE                                     ERIC OKUNEVICH
1616 PLANTATION WOODS WAY               809 E 40TH STREET                             5757 N. SHERIDAN
CHESAPEAKE VA 23320                     UNIT #5-2                                     APT. # 3D
                                        CHICAGO IL 60653                              CHICAGO IL 60660




                                               Page 692 of 2387
                           Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 693 of 800
ERIC PALM                               ERIC PANCER                                   ERIC PHILLIPS
30 W. HARVARD ST                        4407 NORTH GREENVIEW AVENUE                   1161 TYLER STREET
ORLANDO FL 32804                        APT # 3E                                      WHITEHALL PA 18052
                                        CHICAGO IL 60640



ERIC PIERCE                             ERIC POUNDER                                  ERIC PRICE
1765 HARDING AVE                        728 WEST JACKSON                              150 JEROME DRIVE
ALTADENA CA 91001                       APT# 223                                      BOLINGBROOK IL 60440
                                        CHICAGO IL 60661



ERIC PYLES                              ERIC REVESZ                                   ERIC ROSARIO
214 LIGHTHOUSE DRIVE                    3449 N. ELAINE                                370 CENTRAL PARK AVENUE
JONESTOWN PA 17038                      CHICAGO IL 60657                              #1K
                                                                                      SCARSDALE NY 10583



ERIC ROSEN                              ERIC RUCKER                                   ERIC RUDDY
6933 FULLBRIGHT AVE                     49 COURT STREET                               2205 WARREN WAY
WINNETKA CA 91306                       WEST BABYLON NY 11704                         MECHANICSBURG PA 17050




ERIC SAEGEBARTH                         ERIC SHINN                                    ERIC SONDHEIMER
927 PARKSIDE POINT BLVD.                1949 POINTVIEW                                18411 HATTERAS STREET #229
APOPKA FL 32712                         LOS ANGELES CA 90034                          TARZANA CA 91356




ERIC SPEEDE                             ERIC SPELLMAN                                 ERIC SPILLMAN
302 ANDOVER ROAD                        3258 OREGON AVENUE                            309 11TH STREET
BILLERICA MA 01821                      COSTA MESA CA 92626                           SANTA MONICA CA 90402




ERIC STATON                             ERIC STEPHENS                                 ERIC TALESNICK
90 MAPLE AVE                            17330 BILLINGS DR                             16 MCKINLEY PLACE
APT. L                                  CARSON CA 90746                               GLEN COVE NY 11542
HEMPSTEAD NY 11550



ERIC TAYLOR                             ERIC THORNTON                                 ERIC TRANKAR
5351 LEXINGTON AVE                      5605 ELEMENTARY DR.                           1528 S WABASH
LOS ANGELES CA 90029                    ELDERSBURG MD 21784                           UNIT 610
                                                                                      CHICAGO IL 60605



ERIC ULKEN                              ERIC VIERGUTZ                                 ERIC WEISKIRCH
1800 N NEW HAMPSHIRE AVENUE             3922 NORTH PINE GROVE AVE                     W 274 S 8415 BEAVER TRAIL
APT# 205                                UNIT # G                                      MUKWONAGO WI 53149
LOS ANGELES CA 90027                    CHICAGO IL 60613



ERIC WILLIAMS                           ERIC WILLIAMS                                 ERIC WOLTKAMP
590 FARMVIEW RD                         100 LAUREL STREET                             907 CRANBERRY LANE
UNIVERSITY PARK IL 60466                C                                             YORK PA 17402
                                        HARTFORD CT 06106




                                               Page 693 of 2387
                            Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 694 of 800
ERIC WOODS                               ERIC WRIGHT                                   ERIC YEAKEL
321 NORTH NARBERTH AVE.                  3917 WISCONSIN STREET                         1109 MAIN STREET
APT. E                                   LAKE WORTH FL 33461                           BETHLEHEM PA 18018
NARBERTH PA 19072



ERIC ZAGER                               ERIC ZURCHER                                  ERIC, D WILLIAMS
5 HIGHWOOD DRIVE                         6805 VETERANS BLVD.                           66 LURTON ST
AVON CT 06002                            APT. #N-6                                     NEW BRITIAN CT 06053-1306
                                         METAIRIE LA 70003



ERICA ABERNATHY                          ERICA ARMENDARIZ                              ERICA DASILVA
2821 CHAPMAN ROAD                        10639 S. AVE. C                               1 SYCAMORE WAY
PLANO TX 75093                           CHICAGO IL 60617                              WALLINGFORD CT 06492




ERICA GOLDENBERG                         ERICA HARRINGTON                              ERICA HENRY
28 DWIGHT STREET                         1341 N. HARLEM AVENUE                         1302 SE MALL STREET
WAYNE NJ 07470                           #5                                            PORTLAND OR 97202
                                         OAK PARK IL 60302



ERICA HILL                               ERICA HILL                                    ERICA HOM-YERN
10908 CHANERA AVE                        620 N 34TH                                    150-38 UNION TURNPIKE
INGLEWOOD CA 90303                       APT# 215                                      APT. 9G
                                         SEATTLE WA 98103                              FLUSHING NY 11367



ERICA LEE                                ERICA MARCUS                                  ERICA MARLOW
6 HUNTERS RIDGE                          88 WYCKOFF ST                                 30 EAST IROQUOIS STREET
WOLCOTT CT 06716                         APT 2I                                        MASSAPEQUA NY 11758
                                         BROOKLYN NY 11201



ERICA MORRIS                             ERICA SINGER                                  ERICA SUTLIFF
11169 NW 39TH STREET #105                1549 NW 103RD TERRACE                         207 CRONIN ROAD
SUNRISE FL 33351                         CORAL SPRINGS FL 33071                        QUEENSBURY NY 12804




ERICA TRUSTY                             ERICA WINTERGERST                             ERICA WORRELL
3211 WESTMONT AVENUE                     1207 WEAVER STREET                            8615 S. BISHOP
BALTIMORE MD 21216                       NEW ROCHELLE NY 10804                         CHICAGO IL 60620




ERICA WYSK                               ERICA-HOPE SCOTT                              ERICH HACKER
500 COLD SPRING ROAD                     7180 SOUTHGATE BLVD                           4545 W TOUHY AVE #110
APT. 208                                 TAMARAC FL 33321                              LINCOLNWOOD IL 60712
ROCKY HILL CT 06067



ERICK AGUILAR                            ERICK EADY                                    ERICK FERTIL
7164 TANGERINE PLACE                     P.O. BOX 607412                               530 SW 63RD TERRARCE
RANCHO CUCAMONGA CA 91701                ORLANDO FL 32860                              MARGATE FL 33068




                                                Page 694 of 2387
                         Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 695 of 800
ERICK ROJAS                           ERICK SANCHEZ                                 ERICKA BELL
3104 VIA LASTRE                       6203 N. TALMAN                                4742 W. FULTON
MONTEBELLO CA 90640                   CHICAGO IL 60659                              CHICAGO IL 60644




ERICKA BLACKWELL                      ERICKA CARSON                                 ERICKA DAVIS
180 BETHEL LOOP                       20218 HILLFORD AVENUE                         513 DOLPHIN STREET
12A                                   CARSON CA 90746                               BALTIMORE MD 21217
BROOKLYN NY 11239



ERICKA HUDSON                         ERICKA TORRENCE                               ERICKSON, BEN T
3340 WEST 22ND AVENUE                 14332 DREXEL AVENUE                           1066 NEW HAVEN AVE NO.38
GARY IN 46404                         DOLTON IL 60419                               MILFORD CT 06460




ERICKSON, CHAD                        ERICKSON, MELISSA A                           ERICKSON, STEPHEN MICHAEL
107 E EDGEWOOD BLVD APT 107B          235 HILL AVE                                  1755 ARTELQUE RD
LANSING MI 48911                      GLEN ELLYN IL 60137                           TOPANGA CA 90290




ERICKSON, STEPHEN MICHAEL             ERICSON, SCOTT                                ERIE, STEVEN P
1755 ARTELQUE RD                      8 WALTER AVE                                  7658 MAR AVE
TOPANGA CANYON CA 90290               NORWALK CT 06851                              LA JOLLA CA 92037




ERIK ANDERSON                         ERIK BOLAND                                   ERIK BURNS
424 BAYFRONT DRIVE                    312 CATSKILL AVENUE                           926 W CARMEN AVE
BOYNTON BEACH FL 33435                LINDENHURST NY 11757                          APT. #3
                                                                                    CHICAGO IL 60640



ERIK CHRISTOPHER ALVARADO             ERIK GERMAN                                   ERIK GUTIERREZ
13087 BEECHTREE AVENUE                751 MANHATTAN AVENUE                          318 CONCORD ST
CHINO CA 91710                        2R                                            APT#3
                                      BROOKLYN NY 11222                             EL SEGUNDO CA 90245



ERIK HAUGEN                           ERIK MANSUR                                   ERIK RHOADES
3202 CHARLEMAGNE LANE                 22D REDWOOD DRIVE                             1010 HOGAN WAY
ST CHARLES IL 60174                   EAST HAVEN CT 06513                           NORTHAMPTON PA 18067




ERIK SMIST                            ERIK TRENT                                    ERIK VAN SANT
15821 TRENTON RD                      6360 S. BAYSIDE DRIVE                         735 15TH STREET SW
UPPERCO MD 21155                      INDIANAPOLIS IN 46250                         EDMONDS WA 98020




ERIKA ARIAS                           ERIKA BARNAS                                  ERIKA BUDKE
59 THOMSON ROAD                       885 KINGSTON LANE                             856 LEOPARD TRAIL
WEST HARTFORD CT 06107                BARTLETT IL 60103                             WINTER SPRINGS FL 32708




                                             Page 695 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 696 of 800
ERIKA BUTLER                           ERIKA COOPER                                  ERIKA DUFOUR PHOTOGRAPHY
2191 CANTLEY CT                        1148 PHEASANT CIRCLE                          2140 W FULTON ST    UNIT E
FOREST HILL MD 21050                   WINTER SPRINGS FL 32708                       CHICAGO IL 60612




ERIKA FARRAR                           ERIKA HAYASAKI                                ERIKA HOBBS
52 BROWNS RIVER RD                     171 CLERMONT AVE.                             503 W. PRINCETON ST.
BAYPORT NY 11705                       6R                                            ORLANDO FL 32804
                                       BROOKLYN NY 11205



ERIKA HOSTETLER                        ERIKA JOHNSON                                 ERIKA LEON
1647 W. JULIAN ST.                     2033 N. AVENUE 52                             13350 EUSTACE ST.
CHICAGO IL 60622                       LOS ANGELES CA 90042                          PACOIMA CA 91331




ERIKA MUELLER                          ERIKA MYERS                                   ERIKA NIEDOWSKI
9417 BEVERLY PLACE                     252 E. 112TH ST.                              6 OLD DOMINION COURT
WAUWATOSA WI 53226                     1A                                            CATONSVILLE MD 21228
                                       NEW YORK NY 10029



ERIKA PESANTES                         ERIKA PIERSON                                 ERIKA SEGAL
101 BRINY AVENUE                       6130 SPRINGFORD DRIVE                         1631 N. WESTERN AVENUE
APT 505                                APT. G-4                                      APT #3S
POMPANO BEACH FL 33062                 HARRISBURG PA 17111                           CHICAGO IL 60647



ERIKA THURMOND                         ERIKA WILSON                                  ERIKA WUTHERICH
3942 WALNUT AVENUE                     7349 DEREXA DRIVE                             2536 248TH TERRACE NE
LONG BEACH CA 90807                    WINDERMERE FL 34786                           SAMMAMISH WA 98074




ERIKSON, DANIEL P                      ERIKSON, DANIEL P                             ERIN BLANDA
1211 CONNECTICUT AVE     STE 510       INTER AMERICAN DIALOGUE                       2102 N. SHEFFIELD AVE.
WASHINGTON DC 20009                    1211 CONNECTICUT AVE STE 510                  APT. #2R
                                       WASHINGTON DC 20036                           CHICAGO IL 60614



ERIN COLLAZO                           ERIN COLON                                    ERIN CUMMINS
11008 RIVER GROVE DR                   3428 BO JEREMY DRIVE                          613 CEDAR VILLAGE DRIVE
ORLANDO FL 32817                       ORLANDO FL 32822                              YORK PA 17406




ERIN CUNNINGHAM                        ERIN DALY                                     ERIN DILBER
1740 WESTERLY TERRACE                  720 W. RANDOLPH STREET                        222 E. PEARSON ST.
APT A                                  APT. #1007                                    1209
LOS ANGELES CA 90026                   CHICAGO IL 60661                              CHICAGO IL 60611



ERIN DOHERTY                           ERIN DUKE                                     ERIN FOLEY
503 HARVARD AVENUE                     118 W. WINTER PARK STREET                     4613 N. PAULINA
BALDWIN NY 11510                       ORLANDO FL 32804                              #1A
                                                                                     CHICAGO IL 60640




                                              Page 696 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 697 of 800
ERIN FREY                              ERIN GALLETTA                                 ERIN HAHN
4647 WILLIS AVE                        4424 N. WOLCOTT AVE                           8329 SILVER TRUMPET DRIVE
APT 305                                APT. #2B                                      COLUMBIA MD 21045
SHERMAN OAKS CA 91403                  CHICAGO IL 60640



ERIN HAYNES                            ERIN HUNT                                     ERIN KROLL
6497 D SILVER MESA DRIVE               7327 EAST CEDAR AVENUE                        425 MERRIMAC WAY
HIGHLANDS RANCH CO 80130               DENVER CO 80230                               APT. C203
                                                                                     COSTA MESA CA 92626



ERIN LEFFLER                           ERIN LYNCH                                    ERIN MENDELL
4234 HILARIA WAY                       2806 FAIRFIELD AVENUE                         28 E MOUNT VERNON PLACE
NEWPORT BEACH CA 92663                 #14                                           2F
                                       BRIDGEPORT CT 06606                           BALTIMORE MD 21202



ERIN MORAN                             ERIN OSMAN                                    ERIN PETERS
22525 SHERMAN WAY                      1900 W.CUYLER                                 3420 WATERFORD COURT
UNIT 704                               APT. #3                                       GRAND RAPIDS MI 49525
WEST HILLS CA 91307                    CHICAGO IL 60613



ERIN ROLL                              ERIN RUSS                                     ERIN SHACKELFORD
35290 COVE LANE                        6237 MIDDALE DRIVE                            2016 NORTH HOWE
BELLE HAVEN VA 23306                   BELMONT MI 49306                              CHICAGO IL 60614




ERIN SILVER                            ERIN TOM                                      ERIN VIDALES
2112 WHITE PINE CIRCLE                 2120 BENTWOOD CIR #1B                         2635 W. LAWRENCE AVENUE
UNIT C                                 COLUMBUS OH 43235-6968                        #4A
GREENACRES FL 33415                                                                  CHICAGO IL 60625



ERIN WALSH                             ERIN WEINGER                                  ERIN WHELAN
75 HADDON STREET                       1420 PEERLESS PL                              3761 N LAKEWOOD
UNIT #4                                APT 202                                       1F
BRIDGEPORT CT 06605                    LOS ANGELES CA 90035                          CHICAGO IL 60613



ERIN WOLF                              ERIN YOUNGQUIST                               ERINN HUTKIN
642 GOVERNORS HIGHWAY                  P.O. BOX 271348                               1225 W. OAKDALE
SOUTH WINDSOR CT 06074                 WEST HARTFORD CT 06127-1348                   CHICAGO IL 60657




ERLANDE LUBIN                          ERMA NORWOOD-VEENHUYZEN                       ERNEST BJORKMAN
421 NW 42ND COURT                      7041 S ARLINGTON AVENUE                       7820 INVERNESS BLVD.
APT 202                                LOS ANGELES CA 90043                          #401
POMPANO BEACH FL 33064                                                               ENGLEWOOD CO 80112



ERNEST BROCKSCHMIDT                    ERNEST CORPORATION                            ERNEST COVINGTON
THE REDWOODS, APT. 6105                3620 N CLARK                                  7506 S. MAY
40 CAMINO ALTO                         DBA MCDONALDS                                 CHICAGO IL 60620
MILL VALLEY CA 94941                   CHICAGO IL 60613




                                              Page 697 of 2387
                        Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 698 of 800
ERNEST F IMHOFF                      ERNEST FURGURSON                              ERNEST GARDNER
1626 BOLTON ST                       4812 TILDEN ST NW                             41539 N RIMFIELD AVENUE
BALTIMORE MD 21217                   WASHINGTON DC 20016                           QUARTZ HILL CA 93536




ERNEST GATES                         ERNEST GIBSON                                 ERNEST GONZALES
106 HOLLY ROAD                       707 MARYLAND AVENUE                           16534 WILKIE AVE.
WILLIAMSBURG VA 23185                YORK PA 17404                                 TORRANCE CA 90504




ERNEST GONZALEZ                      ERNEST JOGERST                                ERNEST KRAFT
2859 WEST 22ND PLACE                 1005 LINCOLN AVE                              1105 S MARSHVIEW ROAD
CHICAGO IL 60623                     DUBUQUE IA 52001                              STEWARTSTOWN PA 17363




ERNEST L KINCAID                     ERNEST L SAULSBURY                            ERNEST LONG
32 LYLISTON LN                       DBA PRINTING BY SAULSBURY                     5510 ROBERTS ROAD
NEWPORT NEWS VA 23601                4120 THE ALAMEDA                              SCHNECKSVILLE PA 18078
                                     BALTIMORE MD 21218



ERNEST M KUENZLI                     ERNEST MCCONNELL                              ERNEST PADILLA
330 JASMINE ROAD                     23 DAVID AVENUE                               7640 WENTWORTH
CASSELBERRY FL 32707                 PLAINVILLE CT 06062                           TUJUNGA CA 91042




ERNEST POSEY                         ERNEST R GREEN                                ERNEST R MOORE
5701 NORTH SHERIDAN ROAD             1420 DIVISION ST                              1911 ARMCO WAY
APT. #5B                             BALTIMORE MD 21217                            BALTIMORE MD 21222
CHICAGO IL 60660



ERNEST SCHAFF                        ERNEST TAIX                                   ERNEST TORRIERO
2620 LEVANS ROAD                     P.O. BOX 881593                               911 NORTH LOMBARD AVENUE
COPLAY PA 18037                      SAN DIEGO CA 92168                            OAK PARK IL 60302




ERNEST VALDEZ                        ERNEST WEST                                   ERNEST YOUNES
4952 N FIGUEROA                      12 EAST WOOD STREET                           449 ALLEN STREET
#A                                   WATERFORD CT 06385                            ALLENTOWN PA 18102
LOS ANGELES CA 90042



ERNEST, CHARLEMAGNE                  ERNEST, ROSE                                  ERNESTINE BROWN
8170 MYSTIC HARBOR CIRCLE            6010 SAILBOAT AVE                             27 ROCKVILLE STREET
BOYNTON BEACH FL 33436               TAVARES FL 32778                              2ND FLOOR
                                                                                   HARTFORD CT 06112



ERNESTINE LONA                       ERNESTINE MCCLOUD                             ERNESTINE MCCOLLUM
44 CORONA AVENUE                     RT 620 BOX 579                                7001 S. MERRILL
APT #3                               NORTH VA 23128                                1ST FLOOR
LONG BEACH CA 90803                                                                CHICAGO IL 60649




                                            Page 698 of 2387
                         Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 699 of 800
ERNESTO ALVAREZ                         ERNESTO CURIOSO                             ERNESTO HERNANDEZ
1620 NW 128TH DRIVE                     8503 RANCHITO AVENUE                        5825 E. BROOKFIELD ST
APT 307                                 PANORAMA CA 91402                           LOS ANGELES CA 90022
SUNRISE FL 33323



ERNESTO HINOJOSA                        ERNESTO MATUS                               ERNESTO OCHOA
5396 CONCHA DR                          3422 W ALVINA AVE                           119 S. EVERGREEN AVE.
MIRA LOMA CA 91752                      GREENFIELD WI 53221                         LOS ANGELES CA 90033




ERNESTO RAMIREZ                         ERNESTO RAMIREZ                             ERNESTO VAZQUEZ
3253 MAINE AVENUE                       2014 W. 101ST PLACE                         39549 RIVERBEND ST.
BALDWIN PARK CA 91706                   CHICAGO IL 60643                            PALMDALE CA 93551




ERNIE BANKS INTERNATIONAL INC           ERNIE BANKS LIVE ABOVE                      ERNIE BROWNING
578 WASHINGTON BLVD                     & BEYOND FOUNDATION                         906 DOEWOOD LANE
MARINA DEL REY CA 90242                 578 WASHINGTON BLVD NO.284                  NEWPORT NEWS VA 23608
                                        MARINA DEL RAY CA 90292



ERNIE WEBB                              ERNST & YOUNG LLP                           ERNST & YOUNG LLP
103 TILGHMAN COURT                      BANK OF AMERICA-CHIC 96550                  BANK OF AMERICA-CHIC. 91251
APT. #A                                 PO BOX 96550                                PO BOX 91251
WILLIAMSBURG VA 23188                   CHICAGO IL 60693                            CHICAGO IL 60693



ERNST & YOUNG LLP                       ERNST & YOUNG LLP                           ERNST & YOUNG LLP
PO BOX 96907                            SEARS TOWER                                 ONE NORTH CHARLES ST
CHICAGO IL 60693                        233 SOUTH WACKER DR                         BALTIMORE MD 21201
                                        CHICAGO IL 60608-6301



ERNST & YOUNG LLP                       ERNST & YOUNG LLP                           ERNST & YOUNG LLP
PO BOX 5980                             PNC BANK PHILADELPHIA 828135                PO BOX 828370
NEW YORK NY 10087-5980                  PO BOX 828135                               PHILADELPHIA PA 19182-8370
                                        PHILADELPHIA PA 19182-8135



ERNST & YOUNG LLP                       ERNST & YOUNG LLP                           ERNST, JONATHAN M
1221 MCKINNEY NO.2400 (TRISH LEWCHUK)   PO BOX 951457                               405 D STREET NE
HOUSTON TX 77010                        DALLAS TX 75395-1457                        WASHINGTON DC 20002




EROMENE MIDY                            ERON JACOBSON                               EROS RICE
41 LEBKAMPAR                            515 W. 4TH STREET                           3810 W. 59TH PLACE
HUNTINGTON NY 11743                     ONTARIO CA 91762                            LOS ANGELES CA 90043




ERRALD MILLER                           ERROL ARIS INC                              ERROL BENNETT
10223 SW 24TH COURT                     13870 ONEIDA DR                             99 LONG HILL ROAD
MIRAMAR FL 33025                        BLDG NO. 111 APT B2                         WINDSOR CT 06095
                                        DELRAY BEACH FL 33446




                                             Page 699 of 2387
                           Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 700 of 800
ERROL GERBER                            ERROL MYRIE                                   ERROL RAMSAY
1917 W. BARRY ST.                       6691 NW 29TH STREET                           219-25 133RD AVENUE
CHICAGO IL 60657                        SUNRISE FL 33313                              LAURELTON NY 11413




ERVIN LEASING COMPANY                   ERVIN OWENS                                   ERVIN, ANDREW
3893 RESEARCH PARK DRIVE                4397 HUNTING TRAIL                            1625 W UNIVERSITY AVE
ANN ARBOR MI 48108                      LAKE WORTH FL 33467                           CHAMPAIGN IL 61821




ERVIN, KEVIN                            ERVIN, THOMAS D                               ERVING, NATHANIEL
894 N GODFREY ST                        3543 SOUTH OCEAN BLVD NO.105                  1612 HAMPTON RD
ALLENTOWN PA 18103                      SOUTH PALM BEACH FL 33480                     STE 2432
                                                                                      LEESBURG FL 34748



ERWIN DRECHSLER                         ERWIN FOSTER                                  ERWIN GIRON
6633 ANDASOL AVENUE                     11419 PRUESS AVENUE                           62 ORCHARD ST.
VAN NUYS CA 91406                       DOWNEY CA 90241                               MANORVILLE NY 11949




ERWIN, STEVEN C                         ERYKA DE CASTRO                               ERYN BROWN
31 REDCOAT LN                           1343 W. SAN BERNARDINO RD.                    4231 GREENBUSH AVENUE
UNIONVILLE CT 06085                     APT. 33                                       SHERMAN OAKS CA 91423
                                        COVINA CA 91722



ESAM RABIE                              ESCALANTE, FIDEL                              ESCALONA, LORA D
14209 KITTRIDGE STREET                  4816 SARATOGA RD                              173 LOCHAVEN DR
VAN NUYS CA 91405                       WEST PALM BEACH FL 33415                      NEWPORT NEWS VA 23602




ESCANDON, ROSARIO                       ESCH, CAMILLE                                 ESCHBACHER, BRIAN
1189 HIAWATHA AVE STE 2104              902 48TH STREET                               1281 S ADAMS ST APT NO.19
ORLANDO FL 32825                        SACRAMENTO CA 95819                           BLOOMINGTON IN 47403




ESCHER, JAMES A                         ESCOBAR, IVAN                                 ESCOBAR, MARIA ISABEL
PO BOX 7540                             946 S ARMAR ST                                5260 NW 55TH BLVD NO.105
GARDEN CITY NY 11530                    ALLENTOWN PA 18103                            COCONUT CREEK FL 33073




ESCOBAR, MARIO                          ESCOBEDO, FREMIOT                             ESCORCIA, ALEXANDER
45 DAILY CIRCLE                         324 WASHINGTON ST 2FL                         9000 BERMUDA DR
VERNON CT 06066                         NEW BRITAIN CT 06051                          MIRAMAR FL 33025




ESCROIDIEU SAINTIL                      ESE INC                                       ESG LABORATORIES
401 SW 13TH PLACE                       142 SIERRA STREET                             5927 WEST 71ST STREET
APT 701                                 DBA MOD ELECTRONICS INC                       INDIANAPOLIS IN 46278
DEERFIELD BEACH FL 33441                EL SEGUNDO CA 90245




                                               Page 700 of 2387
                           Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 701 of 800
ESHAN PATEL                             ESHLEMAN, KATHY                               ESHWARPATIE CHOWBAY
722 SCARBROUGH CIRCLE                   35 S CHURCH ST                                501 NW 35TH COURT
HOFFMAN ESTATES IL 60194                MACUNGIE PA 18062                             POMPANO BEACH FL 33064




ESIEN, ANNA                             ESKENAZI, GERALD                              ESKIN, LEAH
1882 ASHWOOD GROVE DRIVE                400 E 56TH ST APT 19L                         4510 ROLAND AVENUE
SNELLVILLE GA 30078                     NEW YORK NY 10022-4147                        BALTIMORE MD 21210




ESLAVA, ALFREDO O                       ESLIE BURTON                                  ESMERALDA BERMUDEZ
1972 EDEN AVENUE                        3001 S. MICHIGAN                              8772 HARPER COURT
GLENDALE CA 91206                       #1007                                         RIVERSIDE CA 92503
                                        CHICAGO IL 60616



ESMERALDA RODRIGUEZ                     ESMERALDA T GIBSON                            ESMILLENNIUM LC
11128 LAMBERT AVE.                      251 S ORANGE GROVE BLVD                       22 RIVER ST NO.A2
APT. C                                  #6                                            BRAINTREE MA 02184-3235
EL MONTE CA 91731                       PASADENA CA 91105



ESMILLENNIUM LC                         ESP COMPUTER SERVICES INC                     ESPANOL, MARIA GIESA
22 RIVER STREET   BOX 2B                12444 VICTORY BLVD  STE 400                   248 PRESCOTT M
BRAINTREE MA 02184-3235                 NORTH HOLLYWOOD CA 91606                      DEERFIELD BEACH FL 33442




ESPARZA, ANITA                          ESPARZA, JESUS                                ESPARZA, MICHAEL J
11038 ARMINTA STREET UNIT 20            11038 ARMINTA STREET UNIT 20                  21150 N TATUM BLVD APT 1013
SUN VALLEY CA 91352                     SUN VALLEY CA 91352                           PHOENIX AZ 85050




ESPEJO, MICHAEL                         ESPERANZA HERNANDEZ                           ESPERANZA PERDOMO
8802 S ISLES CIRCLE                     5633 W. 22ND PLACE                            11170 PIGGOTT DRIVE
TAMARAC FL 33321                        CICERO IL 60804                               CULVER CITY CA 90232




ESPERANZA RIVERA                        ESPERENCE, JEAN                               ESPINAL, RAMON D
53 BLISS STREET                         8351 NW 50 ST                                 15 EISENHOWER CIR
HARTFORD CT 06114                       LAUDERHILL FL 33351                           WHITEHALL PA 18052




ESPINAL, RAMON D                        ESPINOSA, AURELIA                             ESPINOSA, MARGARITA
4438 STONEY BROOK CT                    1673 W PRATT APT 401                          14628 ROCKLEDGE GROVE ST
ALLENTOWN PA 18104                      CHICAGO IL 60626                              ORLANDO FL 32828




ESPINOSA, MIGUEL                        ESPINOSA, SHARON                              ESPINOZA, ALEX
2802 N 7TH ST APT 201                   17992 MONARCH WAY                             28344 N THORNE AVE
HARLINGEN TX 78550                      NAMPA ID 83687                                FRESNO CA 93704




                                               Page 701 of 2387
                         Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 702 of 800
ESPINOZA, DINA J                      ESPINOZA, LUISA                               ESPINOZA, MATTHEW JORDAN
2926 CABRILLO CIRCLE                  4623 EAST 8TH LANE                            45161 VIA QUIVERA
COLORADO SPRINGS CO 80910             HIALEAH FL 33013                              TEMECULA CA 92592




ESPINOZA, MOIRA MCCORMICK             ESPINOZA,LUVY                                 ESPINOZA,LUVY
1209 W SHERWYN AVENUE NO.801          3503 SW 12 ST                                 570 NW 43 AVE
CHICAGO IL 60626                      MIAMI FL 33155                                MIAMI FL 33126




ESPITIA,MARIA                         ESPITTIA, JENNA ROSE                          ESPN REGIONAL TELEVISION
8972 NW 23 ST                         12000 LAKE CYPRESS CIRCLE APT A201            11001 RUSHMORE DRIVE
CORAL SPRINGS FL 33065                ORLANDO FL 32828                              CHARLOTTE NC 28277




ESPN REGIONAL TELEVISION              ESPN REGIONAL TELEVISION                      ESPN REGIONAL TELEVISION
416 DOUGLAS AVE                       ESPN PLAZA                                    13057 COLLECTIONS CENTER DR
AMES IA 50010                         BRISTOL CT 06010                              CHICAGO IL 60693




ESPN REGIONAL TELEVISION              ESPN REGIONAL TELEVISION                      ESPOSITO, DOMINICK
56 HERITAGE CT                        PO BOX 911656                                 280 ROXBURY ROAD
TOWARO NJ 07082                       DALLAS TX 75391-1656                          SOUTH GARDEN CITY NY 11530




ESPOSITO, JOHN                        ESPOSITO, JOHN                                ESPOSITO, NICK
875 WHISKEY CREEK DR                  16 ALDEN ROAD                                 50 VICTOR ST
MARCO ISLAND FL 34145                 NEW PROVIDENCE NJ 07974                       EAST HAVEN CT 06512




ESPOSITO, NICK                        ESPOSITO, RUSSELL M                           ESQUIRE DEPOSITION SERVICES LLC
50 VICTOR ST                          4942 NW 107 AVE                               PO BOX 37227
HAMDEN CT 06517                       CORAL SPRINGS FL 33076                        BALTIMORE MD 21297-3227




ESQUIRE DEPOSITION SERVICES LLC       ESQUIRE DEPOSITION SERVICES LLC               ESQUIROL, ELISABETH
PO BOX 785751                         PO BOX 827829                                 8 WELWYN RD 1H
PHILADELPHIA PA 19178-5751            PHILADELPHIA PA 19182-7829                    GREAT NECK NY 11021




ESROCK, ROBIN                         ESSAY PRODUCTIONS INC                         ESSAY PRODUCTIONS INC
203-7580 COLUMBIA ST                  1740 BRDWAY 24TH FLR                          C/O N S BIENSTOCK INC
VANCOUVER BC V5X 4S8                  NEW YORK NY 10019                             1740 BROADWAY
                                                                                    24TH FLOOR
                                                                                    NEW YORK NY 10019


ESSE, JOE                             ESSEKS, HEFTER & ANGEL, LLP                   ESSENTIAL REPORTS INC
1618 MONROE STREET APT 6              RE: RIVERHEAD 633 E MAIN ST                   1311 EXECUTIVE CENTER DR
EVANSTON IL 60202                     108 EAST MAIN STREET                          SUITE 239
                                      RIVERHEAD NY 11901                            .
                                                                                    TALLAHASSEE FL 32301




                                             Page 702 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 703 of 800
ESSENTIAL REPORTS INC                  ESSEX BOARD OF TRADE INC                      ESSEX RISE CORPORATION
534 ELMONT ROAD                        PO BOX 322                                    4 FAIRFIELD CRESCENT
ELMONT NY 11003-3532                   ESSEX CT 06426                                973-575-7483 PARTS
                                                                                     WEST CALDWELL NJ 07006



ESSIE HENDRICKS                        ESSIG, MARK                                   ESSIG, MARK
4139 S. PRAIRIE                        19 AUSTIN AVE                                 19 AUSTIN AVE
CHICAGO IL 60609                       ASHEVILLE CA 90046                            ASHVILLE NC 90046




ESSOYAN, SUSAN                         ESTANCIA & TEWINKLE SCHOOLS FOUNDATION        ESTATE OF ARTHUR BUCHWALD
2541 PAUOA RD                          1700 ADAMS AVE    STE 212                     C/O STARR & COMPANY LLC
HONOLULU HI 96813                      COSTA MESA CA 92626                           850 THIRD AVE  15TH FLR
                                                                                     NEW YORK NY 10022



ESTATE OF ARTHUR DORSHIMER             ESTATE OF BERTRAM CHERNOW                     ESTATE OF BERTRAM NOTTAGE THE
HCR 1 BOX 47                           10 GABLES ROAD                                1912 LINCOLN ROAD
ROUTE 715                              HICKSVILLE NY 11801                           FOREST HILL MD 21050
BRODHEADSVILLE PA 18322



ESTATE OF BOSTON S. CORBETT THE        ESTATE OF DONALD PARISE                       ESTATE OF GARY MORRISON THE
797 TAYLOR HILL ROAD                   1064 WARRINGTON                               110 RIM ROCK ROAD
GRANVILLE NY 12832                     DEERFIELD IL 60015                            ALEDO TX 76008




ESTATE OF JESUS SANCHEZ, THE           ESTATE OF LOTTIE RODRIGUEZ                    ESTATE OF RAYMOND MALLORY
210 E. WALNUT AVENUE                   1908 TADCASTER ROAD                           538 LINCOLN STREET
RIALTO CA 92376                        BALTIMORE MD 21228                            NEW BRITAIN CT 06052




ESTATE OF RICHA BROOME                 ESTATE OF ROSELYN BAGATTI THE                 ESTATE OF VADA BLAIR THE
601 CALIFORNIA AVE #106                3523 PINEY WOODS PLACE                        C/O MARGARET BLAIR
SANTA MONICA CA 90403                  APT. G202                                     1335 JEFFERY ST
                                       LAUREL MD 20724                               BRADLEY IL 60915



ESTEBAN MANCO                          ESTELA NUNEZ                                  ESTELA PEREZ
55 WARDWELL STREET                     2727 NORTH PINEGROVE                          571 SAINT PAUL AVENUE
APT. A                                 APT. #311                                     1ST FL
STAMFORD CT 06902                      CHICAGO IL 60614                              CLIFFSIDE PARK NJ 07010



ESTELA TOMATANI                        ESTELLA MEDINA                                ESTELLE ASCH
1423 VANDERWELL AVENUE                 530 ADELYN DR.                                5251 W. RUNNING BROOK
LA PUENTE CA 91744                     SAN GABRIEL CA 91775                          COLUMBIA MD 21044




ESTENS, MARIANA MARTINEZ               ESTENS, MARIANA MARTINEZ                      ESTER SERNA
GEISER 9938-01                         PO BOX 1995                                   298 SW 6TH STREET
COLINAS DE AGUA CALIENTE               CHULA VISTA CA 91910                          APT 207B
TIJUANA, BCN CP20030                                                                 BOCA RATON FL 33432




                                              Page 703 of 2387
                           Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 704 of 800
ESTERHAMMER, KARIN K                    ESTEY, JOHN W                                 ESTEY, JOHN W
4219 E. VERMONT ST                      1741 W RIDGEWOOD LN                           C/O S&C ELECTRIC CO
LONG BEACH CA 90814                     GLENVIEW IL 60025                             6601 N RIDGE BLVD
                                                                                      CHICAGO IL 60626



ESTHER COOK                             ESTHER CRUZ                                   ESTHER LOPEZ
2113 HONOUR RD.                         233 STONERIDGE DRIVE                          2405 LOCUST STREET
ORLANDO FL 32839                        DYER IN 46311                                 PORTAGE IN 46368




ESTHER MONTGOMERY                       ESTHER WILLIAMS                               ESTHER YOUNG
6077 KOLOPUA STREET                     1945 GLEASON AVENUE                           1146 WESLEY MT DR 216
KAPAA HI 96746                          BRONX NY 10472                                BLAIRSVILLE GA 30512




ESTHUS, GREG                            ESTINFIL, JOSUE                               ESTRADA, JESUS N
358 BUSHY HILL RD                       15600 NW 7TH AVE APTNO. 107                   9993 MOROCCO CIRC
SIMSBURY CT 06070-2754                  MIAMI FL 33169                                EL PASO TX 79927




ESTRADA, JOSE A                         ESTRELA MARKETING SOLUTIONS INC               ESTUPINAN MALDONADO, MERCEDES
33 SW 98 AV                             101 SO CONGRESS AVE                           2882 NW 118TH DR
MIAMI FL 33174                          DELRAY BEACH FL 33445                         CORAL SPRINGS FL 33065




ET TU BRUTE COMMUNICATIONS INC          ETAN HOROWITZ                                 ETC CREATIVE INC
5308 SW 32 AVE                          800 EAST ANDERSON STREET                      1404 SEWARD STREET APT 1
FT LAUDERDALE FL 33312                  ORLANDO FL 32801                              EVANSTON IL 60202




ETC CREATIVE INC                        ETELVINA CASTELLANOS                          ETHAN GROVE
1445 W FARWELL NO.3                     3611 S. 53RD. CT.                             1650 W. BARRY AVENUE
CHICAGO IL 60626                        CICERO IL 60804                               APT #2
                                                                                      CHICAGO IL 60657



ETHAN SKOLNICK                          ETHEL ECHOLS                                  ETHEL HALL-LANGWORTHY
520 SE 5TH AVENUE                       2153 BUCHANANBAY CIRCLE                       812 EAST PERSHING ROAD
APT 1610                                #103                                          CHICAGO IL 60653
FORT LAUDERDALE FL 33301                ORLANDO FL 32839



ETHEL WALKER SCHOOL                     ETHEL YOUNG                                   ETHNIC TECHNOLOGIES LLC
ATTN SANDRA KAYE BAKER                  8020 FAIRVIEW DRIVE                           600 HUYLER ST
230 BUSHY HILL ROAD                     BLDG 20 APT 102                               SOUTH HACKENSACK NJ 07606
SIMSBURY CT 06070                       TAMARAC FL 33321



ETHRIDGE CHONG                          ETHRIDGE, PAUL G                              ETIENNE, HIDE
46 BELDON LANE                          12851 GLORIA STREET                           2800 NW 56TH AVE #303
BAY SHORE NY 11706                      GARDEN GROVE CA 92843                         LAUDERHILL FL 33313




                                               Page 704 of 2387
                           Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 705 of 800
ETIENNE, JEAN R                         ETORIA, ANN                                   ETTER, JESSICA N
130 NE 39TH ST                          3771 ENVIRON BLVD NO. 647                     2688 DEBANY RD
OAKLAND PARK FL 33334                   LAUDERHILL FL 33313                           KISSIMMEE FL 34744




ETTER, KENNY                            ETTIENNE MODESTE, DEXTER                      ETTINGER, BETH
2704 VERGILS COURT                      53 MERRIAM AVE                                7103 ENCINA LN
CROFTON MD 21114                        BLOOMFIELD CT 06002-3828                      BOCA RATON FL 33433




ETTINGER, ROBERT                        ETTLINGER, ZACHARIAH                          ETTRICK CAMPBELL
67 PARSONS DR                           104 LEWIS RD                                  931 NW 35TH TERRACE
WEST HARTFORD CT 06117                  NORTHPORT NY 11768                            FORT LAUDERDALE FL 33311




EUBANKS, FAIZA                          EUBANKS, LON C                                EUCHNER, CHARLES C
5036 N. SHERIDAN NO.411                 3305 NORTH 151ST DRIVE                        46 TURNER AVENUE
CHICAGO IL 60640                        GOODYEAR AZ 85338                             HAMDEN CT 06517




EUDELL, SHELIA                          EUGENA JENNETTE                               EUGENE BRAME
PO BOX 620158                           3547 GREAT NECK ROAD                          28417 OAK VALLEY ROAD
OVIEDO FL 32762                         APT 49D                                       CASTAIC CA 91384
                                        AMITYVILLE NY 11701



EUGENE BRAXTON                          EUGENE CLARK                                  EUGENE DRAGANOWSKI
3839 LOS FELIZ BLVD #106                452 WEST MIDDLE TPKE.                         3463 N PONTIAC
LOS ANGELES CA 90027                    APT. 47U                                      CHICAGO IL 60634
                                        MANCHESTER CT 06040



EUGENE G ROBINETTE                      EUGENE GATLIN                                 EUGENE GENOVESE
PO BOX 134                              712 POLK ST SOUTH                             818 BROOK STREET
MANORVILLE NY 11949                     TACOMA WA 98444                               WEST BABYLON NY 11704




EUGENE HOLZAPFEL                        EUGENE J MATTHEWS                             EUGENE J SITKO
8180 HICKORY RD                         81810 EAGLE CLAW DRIVE                        4284 LARKSPUR LANE
STEWARTSTOWN PA 17363                   LA QUINTA CA 92253                            LAKE IN HILLS IL 60156




EUGENE JOHNSON                          EUGENE L BANNISTER                            EUGENE L HICKS
4861 LENNOX BLVD.                       5303 WAGON SHED CIRCLE                        9014 CORD
NEW ORLEANS LA 70131                    OWINGS MILLS MD 21117                         DOWNEY CA 90240




EUGENE MATTHEWS INC                     EUGENE MC ILWAIN                              EUGENE MIKRUT
2041 W CARROLL                          P O BOX 1538                                  19327 BARON ROAD
CHICAGO IL 60612                        MAGALIA CA 95954                              MOKENA IL 60448




                                               Page 705 of 2387
                            Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 706 of 800
EUGENE MYSLENSKI                         EUGENE ORDWAY                                 EUGENE PEROSKO
2014 LINCOLN STREET                      8023 ORCHARD VIEW LANE                        209 HOFFMAN STREET
EVANSTON IL 60201                        FOGELSVILLE PA 18051                          CROWN POINT IN 46307




EUGENE PETERSON                          EUGENE PULEO                                  EUGENE S CUNY
2018 N ST AUGUSTINE                      488 DEER PARK ROAD                            1212 STONEWALL TRAIL
DALLAS TX 75217                          DIX HILLS NY 11746                            COVE RIDGE ESTATES
                                                                                       HEATH TX 75032



EUGENE SEYMOUR                           EUGENE STEPHENS                               EUGENE SULLIVAN
41 EASTERN PARKWAY                       81-10 ROCKAWAY BEACH BLVD                     74 COTTONWOOD LANE
APT 4D                                   5F                                            WESTBURY NY 11590
BROOKLYN NY 11238                        FAR ROCKAWAY NY 11693



EUGENE SWEENEY                           EUGENE TARASCO                                EUGENE TAUBER
7 LANTERN CIRCLE                         134 WEST SHORE DR                             850 FOURTH ST
PARKTON MD 21120                         MASSAPEQUA NY 11758                           WHITEHALL PA 18052-5834




EUGENE TURNER                            EUGENE URICK                                  EUGENE WASHINGTON
609 E. 76TH STREET                       1524 DENTON DR                                4972 QUAIL DR
CHICAGO IL 60619                         HAMPTON VA 23664                              LA PALMA CA 90623




EUGENE, MAX                              EUGENE,HEROLD                                 EUGENIA LAI
5421 MAYO STREET                         4211 NE 4 TERR                                13273 FIJI WAY
HOLLYWOOD FL 33020                       POMPANO BEACH FL 33064-4215                   #434
                                                                                       MARINA DEL REY CA 90292



EUGENIA LEE                              EUGENIA LITTLEJOHN                            EUGENIO VAZQUEZ
105 VANDERBILT ROAD                      2426 N. ELLAMONT STREET                       1150 BLACKWATER POND DR.
BRISTOL CT 06010                         BALTIMORE MD 21216                            ORLANDO FL 32828




EULALIO SANCHEZ                          EUNICE ALLEN                                  EUNICE BARNER
1536 PERRYMAN ROAD                       135 CLINTON STREET                            940 GARDEN LANE
ABERDEEN MD 21001                        #4E                                           HOMEWOOD IL 60430
                                         HEMPSTEAD NY 11550



EUNICE FEDERKO                           EUNICE WHITE                                  EUPHONIX INC
40 W BELMONT ST                          1101 BOSTON TURNPIKE                          220 PORTAGE AVE
BAY SHORE NY 11706                       COVENTRY CT 06238                             PALO ALTO CA 94306




EURO PACIFIC CAPITAL INC                 EURO RSCG BALTIMORE                           EURO RSCG BALTIMORE
10 CORBIN DRIVE SUITE 313                400 E PRATT ST 10TH FLR                       PO BOX 905230
DARIEN CT 06820                          BALTIMORE MD 21202                            CHARLOTTE NC 28290-5230




                                                Page 706 of 2387
                         Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 707 of 800
EURO RSCG DIRECT RESPONSE LLC         EURO RSCG DIRECT RESPONSE LLC                 EUROPAINTING
1808 ASTON AVE STE 150                2173 SALK AVE STE 300                         2902 TEXAS AVE APT 5
CARLSBAD CA 92008                     CARLSBAD CA 98009                             TEXAS CITY TX 77590




EUROPAINTING                          EUROPE THROUGH THE BACK DOOR                  EUROPEAN PRESSPHOTO AGENCY
PO BOX 518                            130 FOURTH AVE                                AM HAUPTBAHNOF 16
BACLIFF TX 77518                      PO BOX 2009                                   FRANKFURT, BE 60329
                                      EDMONDS WA 98020



EUROPEAN PRESSPHOTO AGENCY            EUROVISION AMERICAS INC                       EUSEBIO ROJAS
GUTLEUSTR 110                         2000 M STREET SUITE 300                       16311 CHATSWORTH STREET
FRANKFURT, BE 60327                   WASHINGTON DC 20036                           GRANADA HILLS CA 91344




EUSTACE, DAVID                        EUTIMIO RAMIREZ                               EVA BARAJAS
530 WEST 47TH STREET APT 1B           1536 W. 68TH ST                               4822 W BERENICE
NEW YORK NY 10036                     LOS ANGELES CA 90047                          CHICAGO IL 60641




EVA BLAND                             EVA HANSEN                                    EVA JONES
11430 JEFFERSON AVENUE                6332 W SAMPLE ROAD                            5352 KNIGHT WAY
APT. 208                              CORAL SPRINGS FL 33067                        PALMDALE CA 93552
NEWPORT NEWS VA 23601



EVA MAZURS                            EVA ROVILLOS                                  EVA WONG
1025 PARK AVENUE                      212 N KODIAK STREET                           1409 SUNFLOWER COURT
APT. 2D                               UNIT A                                        QUAKERTOWN PA 18951
NEW YORK NY 10028                     ANAHEIM CA 92807



EVALIS CARDONA                        EVAN ABERMAN                                  EVAN BEACH
385 JEFFRIES STREET                   9332 MAPLEVIEW WAY                            249 VALLEY SW
PERTH AMBOY NJ 08861                  ELK GROVE CA 95758                            GRAND RAPIDS MI 49404




EVAN FORRESTER                        EVAN GOEBEL                                   EVAN HALPER
225 KRIEDLER AVENUE                   71 WEST 12TH STREET                           1021 SWANSTON DRIVE
YORK PA 17402                         DEER PARK NY 11729                            SACRAMENTO CA 95818




EVAN KAFKA A PHOTOGRAPHER LLC         EVAN MARCUS                                   EVAN NEWMARK
245 EAST 25TH ST  APT 7B              3351 NW 47TH AVE                              54 ROSER DR
NEW YORK NY 10010                     COCONUT CREEK FL 33063                        GLASTONBURY CT 06033




EVAN OSNOS                            EVAN PETRIE                                   EVAN PINKUS PHOTOGRAPHY
C/O FOREIGN DESK -- CHICAGO TRIBUNE   2160 N. MOZART ST.                            850 BROADWAY
435 N. MICHIGAN AVE                   2                                             NORWOOD NJ 07618
CHICAGO IL 60611                      CHICAGO IL 60647




                                             Page 707 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 708 of 800
EVAN WELCH                              EVAN WRIGHT INC                              EVANGELICAL FREE CHURCH
3709 BROWNBROOK CT                      11347 ROSE AVE                               RE: HUNTINGTON BEACH 19895 BE
RANDALLSTOWN MD 21133                   LOS ANGELES CA 90066                         419 MAIN ST PMB NO.102
                                                                                     HUNTINGTON BEACH CA 92648



EVANGELICAL FREE CHURCH                 EVANGELICAL FREE CHURCH                      EVANGELICAL FREE CHURCH
419 MAIN ST PMB NO.102                  C/O SVN MANAGEMENT INC                       OF HUNGTINTON BEACH
HUNTINGTON BEACH CA 92648               EVANGEL - LATIMES                            19891 BEACH BLVD STE 205
                                        17305 VON KARMAN AVE #110                    HUNTINGTON BEACH CA 92648
                                        IRVINE CA 92614


EVANGELICAL FREE CHURCH OF HUNTINGTON   EVANGELINA DORSCHUTZ                         EVANGELINE P RAMOS
BEACH, RE: HUNTINGTON BEACH 19895 BE    211 E SEWELL AVE                             P.O. BOX 8866
19891 BEACH BLVD                        HAMPTON VA 23663                             AGAT 96928
SUITE 205
HUNTINGTON BEACH CA 92648


EVANGILE, CANES                         EVANS & ASSOCIATES                           EVANS FENELON
18842 CLOUD LAKE CIRCLE                 203 W HIGH STREET                            3308 SPANISH WELLS DRIVE
BOCA RATON FL 33496                     EDWARDSVILLE IL 62025                        UNIT 46A
                                                                                     DELRAY BEACH FL 33445



EVANS JR, ROBERT A                      EVANS, BARBARA M                             EVANS, CATHERINE
193 W QUEENS DR                         2848 HONEYSUCKLE RD                          41 S. NAPER BLVD. NO.29
WILLIAMSBURG VA 23185                   BETHLEHEM PA 18015                           NAPERVILLE IL 60540




EVANS, DANIEL L                         EVANS, DAVID                                 EVANS, DORA J
310 N HIGHLAND AVE                      38499 SNICKERSVILLE TURNPIKE                 6919 GREENLEAF DR APT C-1
INDIANAPOLIS IN 46202                   MIDDLEBURG VA 20117-3101                     REYNOLDSBURG OH 43068




EVANS, JANE                             EVANS, JEFFREY                               EVANS, JOHN E
4542 HERITAGE OAK DR                    115 W EUCLID ST                              890 ORANGE CAMP RD
ORLANDO FL 32808                        HARTFORD CT 06112-1118                       DELAND FL 32724




EVANS, JOSEPH C                         EVANS, KATHERINE                             EVANS, MARCUS
25 TENBURY RD                           11520 SHERIDAN STREET                        2969 COUNTLAND OAK TRAIL
LUTHERVILLE MD 21093                    PEMBROKE PINES FL 33026                      MARIETTA GA 30060




EVANS, MICHAEL                          EVANS, NATASHA D                             EVANS, NATASHA D
1550 S ALLISON ST                       244 E MASTERSON AVE                          7522 MILL RUN DR     APT B
LAKEWOOD CO 80232                       FORT WAYNE IN 46803                          FT WAYNE IN 46819




EVANS, RICHARD J                        EVANS, THOMAS A                              EVANS, VANESSA
2848 HONEYSUCKLE RD                     5201 THOR COURT                              1429 GARDEN AVE
BETHLEHEM PA 18015                      ROCKLIN CA 95765                             ALLENTOWN PA 18103




                                              Page 708 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 709 of 800
EVANS-HYLTON, JOHN PATRICK             EVANSKI, STEVE                                EVANSTON DAY NURSERY ASSOCIATION
205 34TH STREET APT 110                59 IRIQUOIS RD                                1835 GRANT STREET
VIRGINIA BEACH VA 23451                BRISTOL CT 06010                              EVANSTON IL 60201




EVANSTON NEWS                          EVANSTON NEWS                                 EVE HELMS
1111 N PINE CT                         4242 W BRYN MAWR                              1516 BEVERLY DRIVE
ARLINGTON HEIGHTS IL 60004             CHICAGO IL 60646                              APT.# 305
                                                                                     LOS ANGELES CA 90035



EVE ROSE ASSOCIATES                    EVEA BUCK                                     EVELAND HANNA
305 WEST 98TH STREET     STE 2-CS      14104 YUKON AVE.                              90 MADISON STREET
NEW YORK NY 10025                      APT. 1                                        AMITYVILLE NY 11701
                                       HAWTHORNE CA 90250



EVELYN ARNETT                          EVELYN ASH                                    EVELYN BEJCEK
4558 PT. LOOKOUT RD                    2681 DRISCOLL RD.                             106 N. ELM STREET
ORLANDO FL 32808                       B204                                          MT. PROSPECT IL 60056
                                       FREMONT CA 94539



EVELYN CONROY                          EVELYN CORPUZ                                 EVELYN CRUZ
15 CHUCK BLVD                          1029 MEADOWSIDE STREET                        2 BLOSSOM COURT
NORTH BABYLON NY 11703                 WEST COVINA CA 91792                          WALDEN NY 12586




EVELYN GROVER                          EVELYN HUBBS                                  EVELYN JORDAN
P.O. BOX 24900                         1158 BARGER AVE                               15935 W. BANFF LN.
CHICAGO IL 60624                       SPRING HILL FL 34608                          SURPRISE AZ 85379




EVELYN KONDASH                         EVELYN LARRUBIA                               EVELYN MANGUY
4145 HANOVER STREET                    1018 E. FAIRMONT ROAD                         19045 VISTA GRANDE WAY
BETHLEHEM PA 18017                     BURBANK CA 91501                              NORTHRIDGE CA 91326




EVELYN MILLAN                          EVELYN MYERS                                  EVELYN POLZAK
16680 SOUTH POST RD APT 101            9316 S. HARVARD AVE                           18802 S MORGAN STREET
WESTON FL 33331                        CHICAGO IL 60620                              HOMEWOOD IL 60430




EVELYN POSADA PHOTOGRAPHY              EVELYN PRICE-WILLIAMS                         EVELYN REED
1535 LENOX AVE NO.4                    7750 JORDAN AVENUE                            118 LILBURNE WAY
MIAMI BEACH FL 33139                   CANOGA PARK CA 91304                          YORKTOWN VA 23693




EVELYN ROMM                            EVELYN SAMUELS                                EVELYN SANTIAGO
2223 SIERRA STONE LANE                 25 IRVING AVENUE                              4402 RUNDLE ROAD
LAS VEGAS NV 89119                     WYANDANCH NY 11798                            ORLANDO FL 32810




                                              Page 709 of 2387
                         Case 08-13141-BLS      Doc 17-1        Filed 12/08/08    Page 710 of 800
EVELYN SCHULTZ                           EVELYNN CHERRY                              EVENSON, ROGER AARON
64 SPRINGDALE ROAD                       11801 S. EMERALD                            4460 FOOTHILLS DR
WETHERSFIELD CT 06109                    CHICAGO IL 60628                            BOISE ID 83703




EVENT CONSTRUCTION SPECIALISTS INC       EVENT CREATIVE LLC                          EVENT DEPOT
PO BOX 291                               311 W WALTON ST                             8306 MILLS DR    STE 294
ERIE CO 80516                            CHICAGO IL 60610                            MIAMI FL 33183




EVENT PRODUCERS                          EVENT PRODUCERS                             EVENT SPECIALISTS, INC.
4130 FLORIDA AVE                         5724 SALMEN ST                              IOWA OFFICE
KENNER LA 70065                          NEW ORLEANS LA 70123                        416 DOUGLAS
                                                                                     SUITE 202
                                                                                     AMES IA 50010


EVENTFUL INC                             EVENTS ETC                                  EVENTS ETC
9171 TOWNE CENTRE DR STE 180             384 OYNO.R POINT BLVD NO. 1                 384 OYSTER POINT BLVD
SAN DIEGO CA 92122                       SO SAN FRANCISCO CA 94080                   SUITE 1
                                                                                     SO SAN FRANCISCO CA 94080



EVENTWORKS INC                           EVERARD MORGAN                              EVERETT COLLECTION
340 WEST 131ST STREET                    3308 MIDLAKE TERRACE                        104 WEST 27TH STREET, 3RD FLR
LOS ANGELES CA 90061                     OCOEE FL 34761                              NEW YORK NY 10001




EVERETT COMMUNICATIONS INC               EVERETT MCEWAN                              EVERETT WILLIAMS
9369 SHERIDAN STREET SUITE 612           10800 WEST EVANS                            10014 S GREEN
COOPER CITY FL 33024                     UNIT 9                                      CHICAGO IL 60643
                                         LAKEWOOD CO 80229



EVERETT, AMY                             EVERETT, EUGENE B JR                        EVERETT, GARY
PO BOX 334                               12306 CLOVER AVENUE                         6 PLEASANTVIEW AVE
EAST HAMPTON CT 06424                    LOS ANGELES CA 90066                        BRISTOL CT 06010




EVERGREEN OAK ELECTRIC                   EVERGREEN OAK ELECTRIC                      EVERGREEN PRINTING & PUBLISHING CO INC
3300 N SHEFFIELD                         PO BOX 549                                  101 HAAG AV
CHICAGO IL 60657                         CRESTWOOD IL 60445-0549                     BELLMAWR NJ 08031




EVERGREEN PRINTING & PUBLISHING CO INC   EVERGREEN PRINTING & PUBLISHING CO INC      EVERTZ
PO BOX 786                               PO BOX 786                                  ACCT. NO. 090846
BELL MARIE NJ 08033                      BELL MAWR NJ 08033                          5288 JOHN LUCAS DR.
                                                                                     BURLINGTON ON L7L 5Z9



EVERTZ                                   EVERTZ MICROSYSTEMS LTD                     EVERYTHING NET INC
ACCT. NO. 091119                         5288 JOHN LUCAS DR                          27501 BOOTHILL CT
5288 JOHN LUCAS DR.                      BURLINGTON ON L7L 5Z9                       LAGUNA HILLS CA 92653
BURLINGTON ON L7L 5Z9




                                             Page 710 of 2387
                           Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 711 of 800
EVILLA, JOSUE R                         EVISON, ANNIE                                 EVITA TIMMONS
81 GREEN ST APT 36                      1508 N. KEDZIE, 1ST FLOOR                     1826 1/2 S. ORANGE DRIVE
BROOKLINE MA 02446                      CHICAGO IL 60651                              LOS ANGELES CA 90019




EVLITA MATILUS                          EVO INC                                       EVOLVE COMMUNICATIONS LLC
204 SE 25 AVENUE                        6540 WASHINGTON STREET                        4654 W OBERLIN PL
BOYNTON BEACH FL 33435                  YOUNTVILLE CA 94599                           DENVER CO 80236




EVONNE GELLER                           EVORA, PATRICIA                               EWART, DANYALE LANE
5808 E. MARITA ST.                      126 NO.B SYCAMORE LN                          522 W NEW HAMPSHIRE AVE
LONG BEACH CA 90815                     MANCHESTER CT 06040                           STE 2530
                                                                                      DELAND FL 32720



EWING, DIANE                            EWING, KATHLEEN                               EXADIGM INC
652 WEST GRAND AVENUE                   1934 SUE CREEK DR                             2871 PULLMAN ST
CHICAGO IL 60610                        BALTIMORE MD 21221                            SANTA ANA CA 92705




EXALANT, YVES                           EXALUS, DAVE                                  EXANTUS, ALINE
4820 NW 14TH ST                         1775 LINTON LAKES DR NO. B                    3421 NE 5TH AVE APT C
LAUDERHILL FL 33313                     DELRAY BEACH FL 33445                         POMPANO BEACH FL 33064




EXAUS,ERNASE                            EXCEL PARTNERS INC                            EXCLUSIVE ARTISTS MGMT INC
332 N. ""B"" STREET                     1177 SUMMER ST                                7700 SUNSET BLVD
LAKE WORTH FL 33460                     STAMFORD CT 06905                             LOS ANGELES CA 90046




EXECUTIVE ADVISORY LLC                  EXECUTIVE DIRECTIONS INTERNATIONAL INC        EXECUTIVE RISK INDEMNITY INC
16830 VENTURA BLVD   STE 210            1284 MAIN ST                                  32 LOOCKERMAN SQUARE
ENCINO CA 91436                         CRETE IL 60417-2145                           SUITE L100
                                                                                      DOVER DE 19901



EXECUTIVE RISK INDEMNITY INC            EXECUTIVE SEARCH PROFESSIONALS LLC            EXECUTIVE SQUARE HOUSE
THE PRENTICE-HALL CORPORATION SYSTEM,   3 DOE RUN                                     100 EXECUTIVE SQUARE
INC, 1013 CENTRE ROAD                   HAMPTON NJ 07860                              WETHERSFIELD CT 06109
WILLMINGTON DE 19805-1297



EXECUTIVE TECHNIQUE                     EXECUTIVE TECHNIQUE                           EXIL, MAXEAU
PO BOX 371                              PO BOX 75829                                  4005 N UNIVERSITY DR APT D204
GURNEE IL 60031-0371                    CHICAGO IL 60675-5829                         SUNRISE FL 33351




EXILHOMME, CLERMONT                     EXILHOMME, GUERDY                             EXILUS, CERESTE
934 32ND STREET                         934 32ND STREET APT B                         3603 OBERON AVENUE
WEST PALM BEACH FL 33407                WEST PALM BEACH FL 33407                      BOYNTON BEACH FL 33436




                                               Page 711 of 2387
                           Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 712 of 800
EXILUS, JONAS                           EXILUS, LUCNER                                EXIT AMERICAN EAGLE REALTY
200 NW 43RD PLACE                       705 S PINE STREET NO.C                        2331 E MARKET ST    UNIT A
POMPANO BEACH FL 33064                  LAKE WORTH FL 33460                           YORK PA 17402




EXPAND A SIGN USA INC                   EXPANDING & PERSERVING OUR CULTURAL           EXPANDING & PERSERVING OUR CULTURAL
621 SOUTHPARK DRIVE SUITE 1400          HERITAGE INC                                  PO BOX 3077
LITTLETON CO 80120                      170 NW 5TH AVE                                DELRAY BEACH FL 33444
                                        DELRAY BCH FL 33444



EXPERTISE STAFFING INC                  EXPRESS CAR WASH                              EXPRESS CARD AND LABEL CO INC
3710 S ROBERTSON BLVD NO.203            2111 WEST FULLERTON AVE                       PO BOX 4247
CULVER CITY CA 90232                    CHICAGO IL 60647                              TOPEKA KS 66604-0247




EXPRESS MAID                            EXPRESS SERVICES INC                          EXPRESS SERVICES INC
1101 LAKE STREET NO. 403                PO BOX 268951                                 PO BOX 3735
OAK PARK IL 60301                       OKLAHOMA CITY OK 73126-8951                   PORTLAND OR 97208-3735




EXPRESS SERVICES INC                    EXPRESS SERVICES INC                          EXPRESSWAY TRUCK REPAIR LTD
PO BOX 5037-261                         PO BOX 730039                                 19 CENTRAL AVE
PORTLAND OR 97208-5037                  DALLAS TX 75373-0039                          HAUPPAUGE NY 11788




EXTREMETIX INC                          EXUM, KIMBERLY                                EYDIE DODDATO
13111 NORTHWEST FREEWAY SUITE 520       578 GINGER TRL NO.202                         PO BOX 212
HOUSTON TX 77040                        NEWPORT NEWS VA 23608                         RONKONKOMA NY 11779




EYDIEMARIE MARTINEZ                     EYE MALL MEDIA USA LLC                        EYE PRODUCTIONS LLC
140 EINSTEIN LOOP                       901 S MOPAC EXPRESSWAY BLDG 111               648 BROADWAY NO.1000
#21C                                    STE 250                                       NEW YORK NY 10012
BRONX NY 10475                          AUSTIN TX 78746



EYE THINK                               EYEBLASTER LTD                                EYEBLASTER LTD
312 POPULAR AVENUE                      135 W 18TH ST 5TH FL                          135 W 18TH ST 5TH FL
SANTA CRUZ CA 95062                     NEW YORK NY 10011                             NEW YORK NY 10013




EYESCAPES                               EYESCAPES                                     EYEWITNESS KIDS NEWS
36476 EAGLE LANE                        36476 EAGLE LANE                              182 SOUND BEACH AVENUE
BEAUMONT CA 90012                       BEAUMONT CA 92223                             OLD GREENWICH CT 06870




EYEWONDER INC                           EYEWONDER INC                                 EYRE, SCOTT
1447 PEACHTREE ST     STE 900           233 PEACHTREE STREET NE                       7010 190TH ST EAST
ATLANTA GA 30309                        HARRIS TOWER SUITE 500                        BRADENTON FL 34211
                                        ATLANTA GA 30303




                                               Page 712 of 2387
                         Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 713 of 800
EZ FLAT FEE REALTY LLC                EZ FX INC                                     EZEKIEL BILLINGS
37 B ROSELAND AVE                     324 MAGUIRE RD                                3310 HUGHES RD
CALDWELL NJ 07006                     OCOEE FL 34761                                DARLINGTON MD 21034




EZEKIEL BINION                        EZEKIEL WRIGHT                                EZELL, JESSICA
840 W. ARGYLE ST                      588 HERRINGTON HILL ROAD                      1249 E 96TH ST
APT. #812                             GREENWICH NY 12834                            CHICAGO IL 60628
CHICAGO IL 60640



EZEQUIAS SANABRIA                     EZRA SAAVEDRA                                 EZZELL, JAMES W
25 E. BRANCH DRIVE                    505 W. ARLIGHT STREET                         PO BOX 295
QUEENSBURY NY 12804                   MONTEREY PARK CA 91754                        HAYES VA 23072




EZZELL, WENDY                         F & J COURIER SERVICE INC                     F ASHLEY ALLEN
3139 PROVIDENCE RD                    924 HIGH POINTE CIRCLE                        P.O. BOX 533427
HAYES VA 23072                        LANGHORNE PA 19047                            ORLANDO FL 32853




F H BAZALAR COMPANY                   F HOYT                                        F JUSTIN BARTON
3506 TAFT ST                          309 WISCONSIN AVENUE                          PO BOX 572
HOLLYWOOD FL 33021                    APT 114                                       BISHOP CA 93515
                                      WISCONSIN DEL WI 53965



F POFF                                F RUSSELL PINKERTON                           F SCOTT NORDHUES
5368 E COSTILLA DRIVE                 201 HOLLOW LANE                               1256 GENOA PLACE
DENVER CO 80122                       NORTHAMPTON PA 18067                          PLACENTIA CA 92870




F X SCHWIND WIN CONSULTING            F2 INTELLIGENCE GROUP                         FAB-TEX INDUSTRIES
PO BOX 464                            3790 W LAKE CALHOUN PARKWAY                   PO BOX 306
BEL AIR MD 21014                      MINNEAPOLIS MN 55410                          TERRA ALTA WV 26764




FABARA, IRMA                          FABARS, LEONELA                               FABBRE, ALICIA
10247 LEXINGTON E BLVD                6761 SW 88 ST APT D202                        701 KUNGS WAY
BOCA RATON FL 33428                   MIAMI FL 33156                                JOLIET IL 60435




FABEL, LEAH C                         FABIAN FERGUSON                               FABIAN JOHNSON
2177 W GIDDINGS ST   2ND FLR          546 GATES AVENUE                              1650 S. PULASKI
CHICAGO IL 60625                      APT 4B                                        CHICAGO IL 60623
                                      BROOKLYN NY 11221



FABIAN PEREZ                          FABIAN, FRANCES                               FABIO CAVALIERI
1238 UNION STREET                     2418 ROSENBERRY LANE                          556 SELBORNE RD
ALLENTOWN PA 18102                    GRAYSON GA 30017                              RIVERSIDE IL 60546




                                             Page 713 of 2387
                            Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 714 of 800
FABIO JARAMILLO                          FABIOLA FRANCO                                FACILICARE
3510 WEST HILLSBORO BLVD                 9307 NAGLE AVE                                2414 E JOPPA ROAD
APT 105                                  ARLETA CA 91331                               BALTIMORE MD 21234
COCONUT CREEK FL 33073



FACILITATION LLC                         FACILITY SERVICES GROUP INC                   FACILITY SERVICES GROUP INC
PO BOX 1636                              4850 S FORRESTVILLE                           5050 S LAKE SHORE DR NO.2212S
ROHNERT PARK CA 94927                    CHICAGO IL 60615                              CHICAGO IL 60615




FACIO, JUAN                              FACTOR,KEVIN D                                FACUSE, SAMIRA
1333 MAYFIELD AVE                        134 CEMETERY RD                               5114 TOMCIN TRAIL
GARLAND TX 75041                         GERMANTOWN NY 12526                           OAK LAWN IL 60453




FADDEN, CLAIRE                           FADELEY, RICHARD D                            FADI MAKHOUL
755 NEPTUNE CT                           1592 GABLE DR                                 41 WEST PRISCILLA STREET
CHULSA VISTA CA 91910                    COOPERSBURG PA 18036                          ALLENTOWN PA 18103




FAFARD, ELIZABETH A                      FAGAN, BRIAN M                                FAGAN, JEFFREY
40 BERKS CT                              170 HOT SPRINGS                               28 OLD FULTON STREET APT 7D
QUAKERTOWN PA 18951                      SANTA BARBARA CA 93108                        BROOKLYN NY 11201




FAGAN, OTIS                              FAGAN, ROWENA                                 FAGAN, VELDA M
111 BENJAMIN CT                          111 BENJAMIN COURT                            571 NW 194 TER
WINDSOR CT 06095                         WINDSOR CT 06095                              MIAMI FL 33169




FAGEN, FARAN                             FAGGEN, ROBERT                                FAGRE, JESSICA
2941 RIVERSIDE DR   NO.206               124 S MANSFIELD AVE                           2428 PENMAR AVE NO.2
CORAL SPRINGS FL 33065                   LOS ANGELES CA 90036                          VENICE CA 90291




FAHAR KHAN                               FAHEY, COLLEEN                                FAHEY, THOMAS
1636 N WELLS ST                          9421 S WINCHESTER                             9421 S WINCHESTER AVENUE
APT # 612                                CHICAGO IL 60620                              CHICAGO IL 60643
CHICAGO IL 60614



FAHLESON, DAVID                          FAIAZZA,ANTONIO                               FAIL, CONNIE D
PO BOX 34954                             108 BOHEMIA ST                                PO BOX 6208
SAN ANTONIO TX 78265-4954                PLAINVILLE CT 06067-2122                      NEWPORT NEWS VA 23606




FAILOO, MARIA                            FAIR MEDIA COUNCIL                            FAIR MEDIA COUNCIL
23 BELLCOURT NO.A2                       BRDCASTING INC                                BRIARCLIFFE COLLEGE
EAST HARTFORD CT 06118                   NASSAU COMMNO.Y COLLEGE                       1055 STEWART AVE
                                         ONE EDUCATION DR                              BETHPAGE NY 11714-3545
                                         GARDEN CITY NY 11530




                                                Page 714 of 2387
                         Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 715 of 800
FAIR, WILLIE                          FAIRBANKS, MARY JANE                          FAIRCHILD, DANIELLE
11 COTTAGE GREEN                      422 2ND ST                                    725 DAVID DR
ENFIELD CT 06082                      CATASAQUA PA 18032                            PEN ARGYL PA 18072




FAIRFAX COUNTY PUBLIC SCHOOLS         FAIRFAX COUNTY PUBLIC SCHOOLS                 FAIRFIELD AVENUE PARKING CORP
ANNANDALE HIGH SCHOOL                 LANGLEY HIGH SCHOOL                           100 LEETSDALE INDUSTRIAL AVE
4700 MEDFORD DR                       6520 GEORGETOWN PIKE                          LEETSDALE PA 15056
ANNANDALE VA 22003                    MCLEAN VA 22101



FAIRFIELD COUNTY INTERSCHOLASTIC      FAIRHALL, JOHN H                              FAIRPLEX
ATHLETIC CONFERENCE                   103 FAIRFIELD DR                              1101 WEST MCKINLEY AVE
464 NEWTON AVE                        BALTIMORE MD 21228                            POMONA CA 91768
NORWALK CT 06851



FAIRPLEX                              FAISON AND ASSOCIATES, INC. D/B/A             FAISON, SETH
PO BOX 2250                           RE: ORLANDO 7101 PRESIDENT DR                 221 SHADYBROOK LANE
POMONA CA 91769                       SOUTHLAND MANAGEMENT COMPANY                  PRINCETON NJ 08540
                                      6220 S. ORANGE BLOSSOM TRAIL, SUITE 160
                                      ORLANDO FL 32809


FAITH DONOVAN                         FAITH KARIMI                                  FAITH WRIGHT
600 NASH ST. NE                       303 COPPERMILL COURT                          503 CHESTNUT ST
PALM BAY FL 32907                     APT. #103                                     DELTA PA 17314
                                      OWINGS MILLS MD 21117



FAITH, ANDREW D                       FAITHE HEITZMAN                               FAJARDO, ANGELA
1002 BOGART CIRCLE                    1908 FREEMANSBURG AVENUE                      P O BOX 4104
BEL AIR MD 21014                      EASTON PA 18042                               SUNNYSIDE NY 11104




FAJARDO, IVAN                         FAKEYE, OLUWATOLA G                           FALBY, PATRICK
38 CAMDEN LN                          5306 LANGSTON ROAD                            196 WYCKOFF ST   APT 2F
BOYNTON BEACH FL 33426                NORCROSS GA 30071                             BROOKLYN NY 11217




FALCI, MATEUS                         FALCI, PEDRO                                  FALCIGNO, MICHAEL T
10859 NW 14 ST                        10859 NW 14TH ST                              105 BENJAMIN HTS DR
CORAL SPRINGS FL 33071                CORAL SPRINGS FL 33071                        MILFORD CT 06460




FALCON CREATIVE INC                   FALCON GARCIA, JAQUELINE                      FALCON, ALBERTO
28 HIGHFIELDS DR                      15 DONALD ST                                  25 WESTLAND ST 1F
CATONSVILLE MD 21228                  HARTFORD CT 06120                             HARTFORD CT 06120




FALCON, ALBERTO                       FALCON, MANUEL                                FALERO, CARLOS
25 WESTLAND ST 1FL                    66 HEYWOOD DR                                 298 VELVETEEN PLACE
HARTFORD CT 06120                     GLASTONBURY CT 06033                          CHULUOTA FL 32766




                                             Page 715 of 2387
                            Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 716 of 800
FALERO, MARGARET                         FALK, JAMES                                   FALK, JOANNE K.
298 VELVETEEN PL                         3701 SUMMERSET WAY         NO.4               161 ROYAL LONDON COURT
CHULUOTA FL 32766                        OSHKOSH WI 54901                              THOUSAND OAKS CA 91361




FALKNER, BARBARA                         FALL, STEVE                                   FALLAH, KIRK
1903 CONTINENTAL AVE, APT. 302           1724 FOUR MILE DR NO.1-B                      18728 CENTER AVE
NAPERVILLE IL 60563                      WILLIAMSPORT PA 17701                         HOMEWOOD IL 60430




FALLAN PATTERSON                         FALLER, MARY BETH                             FALLON GREER
412 N. 57TH AVE                          27453 N 47TH ST                               2219 N. CLIFTON
HOLLYWOOD FL 33021                       CAVE CREEK AZ 85331                           APT 3E
                                                                                       CHICAGO IL 60614



FALLON, TERENCE                          FALLON, TERENCE                               FALLON, TERENCE
426 S MAPLE AVE                          1079 POND BROOK RD                            1079 POND BROOK RD
NO.3S                                    HINESBURG VT 05461                            HINESBURG VT 05481
OAK PARK IL 60302



FALSANI, CATHLEEN                        FALTER, KELSEY                                FALTO, DISNEY
300 WISCONSIN AVE                        7041 SW 5TH ST                                1467 SW 85TH TERRACE
OAK PARK IL 60302                        PLANTATION FL 33317                           PEMBROKE PINES FL 33025




FALUDI, SUSAN                            FALZONE, CATHERINE                            FALZONE, CATHERINE
1380 TAYLOR ST NO 19                     44 OLD CHURCH RD                              44 OLD COACH RD
SAN FRANCISCO CA 94108                   RIVERTON CT 06065                             RIVERTON CT 06065




FAME PICTURES INC                        FAMILIAS EN LA ESCUELA                        FAMILY NEWS AGENCY INC
9903 SANTA MONICA BLVD   NO.1102         919 W BARRY                                   719 WOODCREEK COURT
BEVERLY HILLS CA 90212                   CHICAGO IL 60657                              ISLAND LAKE IL 60042




FAMILY SUCCESS BY DESIGN INC             FAMILY TIME INC                               FAMU FOUNDATION
174 W FOOTHILL BLVD SUITE 191            401 NW 10TH COURT                             FAMU CAREER EXPO 2001
MONROVIA CA 91016-2171                   BOCA RATON FL 33486                           STUDENT UNION PLAZA, STE 100
                                                                                       MARTIN LUTHER KING BLVD
                                                                                       TALLAHASSEE FL 32307


FAMU FOUNDATION                          FAMU FOUNDATION                               FAMU FOUNDATION, SCHOOL OF JOURNALISM
LEE HALL                                 SCHOOL OF JOURNALISM & GRAPHIC COMM           & MASS COMMUNICATIONS
SUITE 203                                ROOM 108 TUCKER HALL                          FLORIDA A & M UNIVERSITY
TALLAHASSEE FL 32307-3100                ATTN DIANE HALL DIRECTOR                      510 ORR DRIVE SUITE 4038
                                         TALLAHASSEE FL 32307-4800                     TALLAHASSEE FL 32307


FANCHER, JOSEPH                          FANDANGO INC                                  FANDEL, GARY P
10097 CR 1111                            PO BOX 100412                                 578 NORTHVIEW DR
TYLER TX 75704                           PASADENA CA 91189-0412                        WEST DES MOINES IA 50266-2829




                                                Page 716 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 717 of 800
FANDEL, GARY P                         FANDELL, RICHARD                              FANELLI, CHRISTINE M
5781 NORTHVIEW DR                      9 EAGLE COURT                                 133 SEVENTH AVE
WEST DES MOINES IA 50266-2829          STORRS CT 06268-1816                          ROEBLING NJ 08554




FANELLI, JAMES                         FANELLI, JAMES                                FANELLI, JOSEPH J
363 RICE CIRCLE                        650 MANHATTAN AVE APT 12                      777 E ATLANTIC AVENUE C2174
GARDEN CITY NY 11530                   BROOKLYN NY 11222                             DELRAY BEACH FL 33483




FANG, TON-MING                         FANNIE EDWARDS                                FANTASY SPORTS SERVICES INC
1855 CALVERT STREET, NW                1730 N. LUNA AVE.                             3044 BLOOR ST WEST BOX 1000
APT. #503                              FLOOR 2                                       TORONTO ON M8X 2Y8
WASHINGTON DC 20009                    CHICAGO IL 60639



FANTASY SPORTS SERVICES INC            FANTAZIA, JOAN M                              FANZONE, CARMEN
ONE YOUNG ST 7TH FL                    3594 VERDUGO VISTA TERRACE                    5114 RANCHITO AVE
TORONTO ON M5E 1E6                     LOS ANGELES CA 90065                          SHERMAN OAKS CA 91423




FAR EAST AUTO SERVICES                 FARACI, PETER                                 FARAGO, ALAN
1289 W SUNSET BLVD                     5858 NORTH MELVINA                            534 MENENDEZ AVE
LOS ANGELES CA 90026                   CHICAGO IL 60646                              CORAL GABLES FL 33146




FARAH SHALLWANI                        FARAH, JOSEPH                                 FARAHANI, HADI
350 W. BELDEN AVENUE                   16830 SUDLEY ROAD                             1875 ROBSON STREET APT 907
505                                    CENTREVILLE VA 20120                          VANCOUVER BC V6G 1E5
CHICAGO IL 60614



FARAHANI, HADI                         FARAHANI, HADI                                FARAHANI, HADI
106 EVELYN CRESCENT                    3221 OVERLAND AVE APT 5214                    ACCT 6453093462 CENTURA BANK
TORONTO ON M6P 3E1                     LOS ANGELES CA 90034-4509                     FOR DEPOSIT ONLY ATTN CCMD
                                                                                     PO BOX 300
                                                                                     ROCKY MOUNT NC 27802-9899


FARAONE, CHRIS                         FARBER INDUSTRIAL LLC                         FARBER INDUSTRIAL LLC
1822 RIVER STREET                      RE: BRENTWOOD 7 GRAND BLVD.                   P O BOX 113
HYDE PARK MA 02136                     P.O. BOX 113                                  MEDFORD NY 11763
                                       MEDFORD NY 11763



FARBER, JOHN MICHAEL                   FARBER, STEVE                                 FARELLA, NICHOLAS J
1600 MARKER ROAD                       143 AUGUSTA DRIVE                             1265 BISCAYNE DR
MIDDLETOWN MD 21769                    DEERFIELD IL 60015                            ELK GROVE VILLAGE IL 60007




FARENA SADIQ                           FARFAN, PATRICIA                              FARFONE, LILLIAN
14389 QUAIL POND CT.                   821 N HERMITAGE NO.2R                         32742 ALIPAZ ST NO.2
CENTREVILLE VA 20120                   CHICAGO IL 60622                              SAN JUAN CAPO CA 92675




                                              Page 717 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 718 of 800
FARIA, JORGE                           FARIAS, ZENAIDE                               FARID HADDAD
1255 E. MAIN ST                        1383 N E 27 CT                                5703 REVELSTOK DRIVE
WATERBURY CT 06705                     POMPANO BEACH FL 33064                        SACRAMENTO CA 95842




FARIMINGDALE LANES LLC                 FARKAS, GREGORY P                             FARKAS, KELLY
999 CONKLIN ST                         2191 MAIN ST                                  1530 PINE TOP LN
FARMINGDALE NY 11735                   NORTHAMPTON PA 18067                          EMMAUS PA 18049




FARKAS, NEUSA V                        FARLEY, BARRY                                 FARLEY, CAROL
483 BURGUNDY K                         200 BRYAN STREET                              5752 BROOKWOOD PLACE
DELRAY BEACH FL 33484                  EUSTIS FL 32726                               LUDINGTON MI 49431




FARLEY, JEAN                           FARLEY, JEAN                                  FARLEY, MARGARET
3542 CLEAR FORK CREED RD               3542 CLEAR FORK CREEK RD                      576 4TH ST.
BASTIAN VA 24314                       BASTIAN VA 24314                              BROOKLYN NY 11215




FARLEY, MICHAEL                        FARLEY, TYRONE                                FARLEY, VAUGHN
165 SPRING STREET                      8360 SANDS POINT BLVD NO.G109                 PO BOX 1099
ENFIELD CT 06082                       TAMARAC FL 33321                              STE 5334
                                                                                     DUNDEE FL 33838



FARM & HOME OIL CO                     FARM & HOME OIL CO                            FARM & HOME OIL CO
3115 STATE ROAD                        PO BOX 246                                    PO BOX 270
TELFORD PA 18969                       EMMAUS PA 18049                               3115 STATE RD
                                                                                     TELFORD PA 18969



FARM & HOME OIL CO                     FARM JOURNAL ELECTRONIC MEDIA                 FARM JOURNAL ELECTRONIC MEDIA
PO BOX 389                             25 EXECUTIVE DR.                              3725 ROME DRIVE
TELFORD PA 18969                       SUITE A                                       SUITE B
                                       LAFAYETTE IN 47905                            LAFAYETTE IN 47905



FARMER, AQUINO I                       FARMER, CRAIG                                 FARMINGDALE CHAMBER OF COMMERCE
3444 N DRUID HILLS RD APT F            19 CONGRESS CT                                457 MAIN ST PMB 126
DECATUR GA 30033                       QUAKERTOWN PA 18951                           FARMINGDALE NY 11735




FARMINGDALE CHAMBER OF COMMERCE        FARMINGTON TAX COLLECTOR                      FARMINGTON VALLEY SYMPHONY ORCHESTRA
PO BOX 1166                            1 MONTEITH DRIVE                              ATTN ROBERT H LINDAUER JR TREASURER
FARMINGDALE NY 11735                   TOWN HALL                                     222 MAIN STREET SUITE 273
                                       FARMINGTON CT 06032-1053                      FARMINGTON CT 06032



FARMSTEAD TELEPHONE GROUP INC          FARMSTEAD TELEPHONE GROUP INC                 FARNAM, TIMOTHY W
22 PRESTIGE PARK CIRC                  PO BOX 40000 DEPT 0057                        345 ELDERT ST APT 205
E HARTFORD CT 06108                    HARTFORD CT 06151-0057                        BROOKLYN NY 11237




                                              Page 718 of 2387
                        Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 719 of 800
FARNHAM, RACHELL LAUREENA            FARNSWORTH, BARBARA J                         FARQUHARSON-HOSEIN, BARBARA
95 WEST STREET                       4434 TITLEIST DRIVE                           3904 SW 58TH AVENUE
ROCKY HILL CT 06067                  AMELIA ISLAND FL 32034                        HOLLYWOOD FL 33023




FARRAR NICHOLS ASSOCIATES            FARRAR, DANA GLAD                             FARREL, FREDRICK
15 MICHIGAN AVE                      4935 HARRIMAN AVENUE                          21320 SUMMERTREE CR.
ATTN: MARSHA MASSA                   SOUTH PASADENA CA 91030                       BOCA RATON FL 33428
HUDSON MA 01749



FARRELL, BRIDGET                     FARRELL, CYNTHIA LYNN                         FARRELL, DIANE
4954 SW 91 AVE                       111 S 3RD ST   MORRIS PARK                    9 RENSHAW RD
COOPER CITY FL 33328                 PHILLIPSBURG NJ 08865                         DARIEN CT 06820




FARRELL, FRANK                       FARRELL, GILLIAN PATRICIA                     FARRELL, JAMES F
1150 NORTHEAST OCEAN BLVD            7712 NW 5TH ST APT 2A                         24 LOOKOUT MOUNTAIN DRIVE
APT 304A                             PLANTATION FL 33324                           MANCHESTER CT 06040
STUART FL 34996



FARRELL, MELVONE                     FARRELL, MICHELE                              FARREN, MICHAEL A
PO BOX 56868                         426 TIMOTHY DR                                930 N MARTEL AVE  NO.104
SHERMAN OAKS CA 91431                BETHLEHEM PA 18017                            LOS ANGELES CA 90046




FARRIELLA, JOSEPH T                  FARRIS, GOLA DAVID                            FARRISH, AMANDA C
156 RICHMOND AVE                     15 OSPREY AVENUE                              423 OLD POST RD
MEDFORD NY 11763                     HAMPTON VA 23661                              TOLLAND CT 06084




FARROW, ANNE                         FARROW, MIA                                   FARROW, RONAN
381 SAYBROOK RD                      124 HENRY SANFORD RD                          124 HENRY SANFORD RD
HIGGANUM CT 06441                    BRIDGEWATER CT 06752                          BRIDGEWATER CT 06752




FARSCAPE TECHNOLOGIES INC            FARSCAPE TECHNOLOGIES INC                     FARUZZO, DONNA K
3108 S RT 59 STE 124-289             4747 SNAPJACK CIRCLE                          208 EASTWOOD AVENUE
NAPERVILLE IL 60564                  NAPERVILLE IL 60564                           DEER PARK NY 11729




FASASI, TAIWO                        FASCHING, JOSEPH                              FASCHING,JOHN
DBA DELUXE BUILDING MAINTENANCE      5921 CHAPMAS RD                               327 6TH STREET
16595 SW IVY GLEN STREET             OREFIELD PA 18069                             WHITEHALL PA 18052
BEAVERTON OR 97007



FASCIONE, CHRIS                      FASHIONTALK BV                                FAST SEARCH & TRANSFER INC
528 WOODBINE AVE                     NAZARETHSTRAAT 6                              PO BOX 932979
OAK PARK IL 60302                    5021 VX                                       ATLANTA GA 31193-2979
                                     TILBURG




                                            Page 719 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 720 of 800
FATHOM ONLINE INC                      FATIMA AVDIC                                  FATIMA JONES
71 STEVENSON ST STE 400                48 DEAN STREET                                5243 W. HIRSCH
SAN FRANCISCO CA 94105                 APT. 302                                      2ND FLOOR
                                       HARTFORD CT 06114                             CHICAGO IL 60651



FATZINGER, TODD                        FAUBERT, MARK                                 FAULKERSON, LAURIE
238 2ND ST                             1644 SHERBOURNE ST                            635 A BURNING TREE LN
CATASAQUA PA 18032                     WINTER GARDEN FL 34787                        CHESTERFIELD MO 63017




FAULKNER, JOANNA A                     FAULKNER, LEEANN                              FAULKS BROS CONSTRUCTION INC
712 PAMELA RD                          82 HICKORY RD                                 E3481 HWY 22 & 54
GLEN BURNIE MD 21061                   OCALA FL 34472                                WAUPACA WI 54981




FAUST, DARVIN                          FAUSTINO NAVA                                 FAUSTO CRUZ
100 POND DR                            159 W. 85TH PLACE                             PO BOX 331703
ADNREAS PA 18211                       LOS ANGELES CA 90003                          WEST HARTFORD CT 06133




FAUSTO LOPEZ                           FAUX, JUDY ANN                                FAUZIA ARAIN
1638 S. 50TH COURT                     211 EAST 8TH STREET                           3550 N. LAKE SHORE DRIVE
CICERO IL 60804                        ALTOONA KS 66710                              #1823
                                                                                     CHICAGO IL 60657



FAVRE, FRANCOIS                        FAWCETT, DIANE                                FAY CRAIGHEAD
7 ELTON PL                             14 PEARL ST                                   148 PEMBROKE ST
BOYNTON BEACH FL 33426                 PLAINVILLE CT 06062                           HARTFORD CT 06112




FAY ENG                                FAY LANDE                                     FAY PRICE
248 ELGIN                              6349 BRIGHT PLUME                             9800 RIVER CREST COURT
FOREST PARK IL 60130                   COLUMBIA MD 21044                             ORLANDO FL 32825




FAY, KEVIN                             FAY, STEVEN                                   FAYE A DAVIS
8340 BRITTON AVE APT 4J                2720 W WINNEMAC                               5748 LINDEN LANE
ELMHURST NY 11373                      CHICAGO IL 60625                              BOKEELIA FL 33922




FAYE C FLYTHE                          FAYE FIORE                                    FAYE TURCHIANO
4957 EDGEMERE AVENUE                   4733 N 24TH ROAD                              271 ADIRONDACK DRIVE
BALTIMORE MD 21215                     ARLINGTON VA 22207                            SELDEN NY 11784




FAYETTEVILLE OBSERVER                  FBC TELEVISION AFFILIATES ASSOCIATION         FBC TELEVISION AFFILIATES ASSOCIATION
458 WHITFIELD ST                       WCOV-TV                                       C/O BRADY MARTZ & ASSOCIATES
PO BOX 849                             ONE WCOV AVENUE                               PO BOX 1297
FAYETTEVILLE NC 28302                  MONTGOMERY AL 36111                           BISMARCK ND 58502-1297




                                              Page 720 of 2387
                           Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 721 of 800
FBM DISTRIBUTION INC                    FCB WORLDWIDE INC                             FCB WORLDWIDE INC
2906 BANYAN BLVD CIRC NW                C/O FOOTE CONE & BELDING                      C/O FOOTE CONE & BELDING
BOCA RATON FL 33431                     PO BOX 100544                                 101 E ERIE
                                        ATLANTA GA 30384-0544                         CHICAGO IL 60611



FCP NY                                  FCP NY                                        FCWRD
C/O LAKE COUNTY PENNYSAVER              PO BOX 11279                                  ACCT NO. 023355-000
170 N MAIN ST PO BOX 231                SYRACUSE NY 13218                             7001 FRONTAGE ROAD
ALBION NY 14411                                                                       BURR RIDGE IL 60527



FE FUNG HUNG                            FEACHER, JANICE                               FEACHER, JANICE
2611 LUISS DEANE DR.                    1104 N BUENA VISTA AVE                        1104 N BUENA VISTA AVE
BALTIMORE MD 21234                      ORLANDO FL 32818                              WINTER PARK FL 32818




FEARLESS UNITED INC                     FEARLESS UNITED INC                           FEATURE GROUP INC
C/O ABRAMS ARTISTS AGENCY               F/S/O ROSS KING                               785 F ROCKVILLE PIKE NO.510
9200 SUNSET BLVD STE 1130               3087 HOLLYRIDGE DRIVE                         ROCKVILLE MD 20852
LOS ANGELES CA 90069                    LOS ANGELES CA 90068



FEATURE GROUP INC                       FEATUREWELL.COM INC                           FEATUREWELL.COM INC
C/O EDWIN BLACK                         238 W 4TH ST                                  238 W 4TH ST NO. 5B
113 N WASHINGTON ST NO.315              SUITE 5B                                      NEW YORK NY 10014
ROCKVILLE MD 20850                      NEW YORK NY 10014



FEDERAL AVIATION ADMINISTRATION (FAA)   FEDERAL COMMUNICATIONS COMMISSION             FEDERAL COMMUNICATIONS COMMISSION
GENERAL ACCOUNTING AMZ-350              445 12TH ST  SW ROOM 1-A625                   PO BOX 73482
PO BOX 25082                            WASHINGTON DC 20554                           CHICAGO IL 60673-7482
OKLAHOMA CITY OK 73125



FEDERAL COMMUNICATIONS COMMISSION       FEDERAL COMMUNICATIONS COMMISSION             FEDERAL COMMUNICATIONS COMMISSION
COMMISSION 3 MELLON BANK CENTER         FCC                                           PO BOX 358165
525 WILLIAM PENN WAY                    PO BOX 358001                                 MASS MEDIA SERVICES
27TH FLOOR ROOM 153-2713                PITTSBURGH PA 15251-5001                      PITTSBURGH PA 15251-5165
PITTSBURGH PA 15259-0001


FEDERAL COMMUNICATIONS COMMISSION       FEDERAL COMMUNICATIONS COMMISSION             FEDERAL COMMUNICATIONS COMMISSION
PO BOX 358245                           PO BOX 358340                                 445 12TH STREET, SW
BILLINGS & COLLECTIONS BRANCH           PITTSBURGH PA 15251-8340                      WASHINGTON DC 20554
PITTSBURGH PA 15251-5335



FEDERAL TRADE COMMISSION                FEDERICO GUADARRAMA                           FEDERICO HERNANDEZ
600 PENNSYLVANIA AVENUE, NW             212 S. HAROLD AVE.                            10012 VALLEY BLVD
OFFICE 0721                             NORTHLAKE IL 60164                            APT #40
WASHINGTON DC 20580                                                                   EL MONTE CA 91731



FEDERICO ROSAS                          FEDERKO, PAUL                                 FEDERSPIEL, RICK
320 S. MANHATTAN PL                     40 W BELMONT ST                               27815 S US HWY 27
APT#211                                 BAY SHORE NY 11706                            LEESBURG FL 34748
LOS ANGELES CA 90020




                                               Page 721 of 2387
                           Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 722 of 800
FEDEX                                    FEDEX                                        FEDEX
RETAIL PROGRAMS DROP BOX                 PO BOX 7221                                  101 CONSTITUTION AVE NW
6625 LENOX PARK DRIVE                    PASADENA CA 91109-7321                       SUITE 801 EAST
SUITE 400                                                                             WASHINGTON DC 20001
MEMPHIS TN 38115


FEDEX                                    FEDEX                                        FEDEX
4103 COLLECTION CENTER DR                PO BOX 10306                                 PO BOX 94515
CHICAGO IL 60693                         PALATINE IL 60005-0306                       PALATINE IL 60094-4515




FEDEX                                    FEDEX                                        FEDEX
PO BOX 360353                            PO BOX 360911                                PO BOX 371461
PITTSBURGH PA 15250-6353                 PITTSBURGH PA 15250-6911                     PITTSBURGH PA 15250-7461




FEDEX                                    FEDEX                                        FEDEX
2003 CORPORATE PLZA   2ND FLR            ATTN MILLIE WILSON US COLLECTION             COLLECTION DEPT.
MEMPHIS TN 38132                         2650 THOUSAND OAKS BLVD                      BOX 727, DEPT B
                                         STE 1400                                     MEMPHIS TN 38194
                                         MEMPHIS TN 38118


FEDEX                                    FEDEX                                        FEDEX KINKOS OFFICE AND PRINT SERVICES
PO BOX 1140                              PO BOX 660481                                2180 ATLANTIC BLVD
DEPT A                                   DALLAS TX 75266-0481                         MONTEREY PARK CA 91754
MEMPHIS TN 38101



FEDEX KINKOS OFFICE AND PRINT SERVICES   FEDEX KINKOS OFFICE AND PRINT SERVICES       FEDEX KINKOS OFFICE AND PRINT SERVICES
ATTN: DEBBIE YOUNG-NATL ACCTS MGR        CUSTOMER ADMINISTRATIVE SERVICE              PO BOX 105522
CUSTOMER ADMINISTRATIVE SERVICE          PO BOX 530257                                ATLANTA GA 30348-5522
1000 TOWN CENTER DR SUITE 400            ATLANTA GA 30353-0257
OXNARD CA 93030


FEDEX KINKOS OFFICE AND PRINT SERVICES   FEDEX KINKOS OFFICE AND PRINT SERVICES       FEDEX KINKOS OFFICE AND PRINT SERVICES
762 ST CHARLES                           13155 NOEL ROAD   STE 1600                   PO BOX 262682
NEW ORLEANS LA 70130                     DALLAS TX 75240                              PLANO TX 75026-2682




FEDEX KINKOS OFFICE AND PRINT SERVICES   FEDEX TRADE NETWORKS                         FEDEX TRADE NETWORKS
PO BOX 672085                            LOCKBOX NO.73301                             PO BOX 406226
CUSTOMER ADMINISTRATIVE SERVICE          PO BOX 6000                                  ATLANTA GA 30384-6226
DALLAS TX 75267-2085                     SAN FRANCISCO CA 94160-3301



FEDEX TRADE NETWORKS                     FEDEX TRADE NETWORKS                         FEDOROVA, IVETTA
128 DEARBORN ST                          PO BOX 4590                                  640 BROADWAY NO.3E
BUFFALO NY 14207                         BUFFALO NY 14240                             NEW YORK NY 10012




FEDRYNE BOLIVAR                          FEEHAN, SEAN T                               FEENEY, RICHARD S
159 FRANKLIN STREET                      500 NE 2ND STREET APT 311                    46 CARIBOU DRIVE
ELMONT NY 11003                          DANIA FL 33004                               NORWICH CT 06360




                                               Page 722 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 723 of 800
FEGELY SIGNS                           FEGELY SIGNS                                  FEGELY, TAMMY
15869 KUTZTOWN RD                      PO BOX 23                                     5594 WEDGE LN
RTE 222                                MAXATAWNY PA 19538                            ALLENTOWN PA 18106
MAXATAWNY PA 19538



FEHER JR, JAMES F                      FEHNEL PRESS SERVICE & SUPPLY                 FEHNEL, JAMES D
2958 VICTORIA LANE                     1841 BOX ELDER RD                             1238 W. FLETCHER STREET
ALLENTOWN PA 18104                     ALLENTOWN PA 18103                            UNIT F
                                                                                     CHICAGO IL 60657-3272



FEHNEL, JONATHAN                       FEHR, JAMIE                                   FEIEREISEN, SHARON
1203 ZORBA DR APT 1                    812 RIDGE RD                                  320 E 65TH ST NO.317
WHITEHALL PA 18052                     SELLERSVILLE PA 18960                         NEW YORK NY 10065




FEIERMAN, RACHEL                       FEIGE, DAVID                                  FEILINGER, BRIAN
126 RIVINGTON ST NO.5                  224 WEST 72ND STREET NO.2R                    13220 STATE ROUTE 144
NEW YORK NY 10002                      NEW YORK NY 10023                             WEST FRIENDSHIP MD 21794




FEIN, EDWARD                           FEIN,LEONARD                                  FEINBERG, SCOTT A
32 HEMING WAY                          134 BEACH ST                                  26 WESTWARD ROAD
STAMFORD CT 06903-1135                 BOSTON MA 02111                               WOODBRIDGE CT 06525




FEINSOD, ROBERT                        FEINSTEIN, AMY MICHELLE                       FEINSTEIN, BETH
PO BOX 125                             16709 SINGLE TREE LN                          1105 N 62 AVENUE
GREENVALE NY 11548                     PARKTON MD 21120                              HOLLYWOOD FL 33024




FEIRING, ALICE                         FEIT, CANDACE                                 FEITEL, JESSE
250 ELIZABETH ST                       676A 9TH AVE NO.127                           2 LEWIS COURT
NEW YORK NY 10012                      NEW YORK NY 10036                             EAST NORTHPORT NY 11731




FELCH, CASSIE LYNN                     FELDANS DELIVERIES INC                        FELDBERG, SARAH M
2510 THOMPSON DRIVE                    2640 S UNIVERSITY DRIVE APT 206               18 WRIGHT ST FL 1
MARRIOTTSVILLE MD 21104                DAVIE FL 33328                                EASTHAMPTON MA 01027




FELDER, QIANA                          FELDMAN, BRIAN                                FELDMAN, ROBERT
3959 SHADOWBROOK PL                    22940 IRONWEDGE DR                            10 FLOYD LANE
DECATUR GA 30034                       BOCA RATON FL 33433                           COMMACK NY 11725




FELDMAN, RYAN                          FELECE HOLLANDER-LOOS                         FELECIA FRANKLIN-MIXON
568 VALLEY VIEW RD                     15 NORTH MEADOW LANE                          21836 PETERSON AVENUE
LONGHORNE PA 19047                     PUTNAM VALLEY NY 10579                        SAUK VILLAGE IL 60411




                                              Page 723 of 2387
                            Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 724 of 800
FELECIA SULLIVAN                         FELI WONG                                     FELICE DUMAS
2106 E. 98TH PLACE                       1209 BIRDSALL STREET                          374 N. AVERS
CHICAGO IL 60617                         HOUSTON TX 77007                              CHICAGO IL 60624




FELICE RIZZITANO                         FELICE, CHRISTINA M                           FELICE, NANCY
50 ABBOT RD                              2056 RODNEY DR NO.3                           125 WEST ST
SMITHTOWN NY 11787                       LOS ANGELES CA 90027                          BRISTOL CT 06010




FELICE, NANCY                            FELICIA BRADLEY                               FELICIA MASON
125 WEST ST UNT 3                        1604 OLD BUCKROE ROAD                         406 ARABIAN CR.
*200 BLAKESLEE ST                        APT. #4                                       YORKTOWN VA 23693
BRISTOL CT 06010-5709                    HAMPTON VA 23664



FELICIA MATTSON                          FELICIA MOORE                                 FELICIA RAIA BLANSKI
80 PARK AVENUE                           1665 W. LINDEN RD.                            3241 ARTHUR STREET
APT #3C                                  HOMEWOOD IL 60430                             HOLLYWOOD FL 33021
HOBOKEN NJ 07030



FELICIA WOODS                            FELICIANO VAZQUEZ                             FELICIANO, GISELLE
39 LAVENDER TRACE                        996 CARNATION AVENUE                          61 YALE ST
HAMPTON VA 23663                         COSTA MESA CA 92626                           HARTFORD CT 06114




FELICIANO, KING                          FELICIANO, TONI                               FELICIDAD BALBON, INDIV. & AS P/L/G OF
353 E 141ST NO.8C                        8711 SW 14TH ST                               HER MINOR SON DYLAN FREDERICK BALBON
BRONX NY 10454                           PEMBROKE PINES FL 33025                       GLORIOSO; E.ERICK GUIRARD INJURY
                                                                                       STEVEN DEBOSIER; 1075 GOVERNMENT ST
                                                                                       BATON ROUGE LA 70802-4803


FELICITA PORRATA                         FELICITAS DIAZ                                FELICITAS REBOLLEDO
1255 W. BRYN MAWR                        4120 CANTO DRIVE                              2812 S. KEELER
305                                      LOS ANGELES CA 90032                          CHICAGO IL 60623
CHICAGO IL 60660



FELIPE, FANTINE                          FELIPE, FRANCIS D                             FELITTI, JORGE
1288 W 29TH ST NO.31                     10 BETHEL RD                                  3243 CORAL LAKE WAY BLDG 14
HIALEAH FL 33012                         NEWPORT NEWS VA 23608                         CORAL SPRINGS FL 33065




FELITTI, MARILUZ                         FELIX ALVAREZ                                 FELIX ARAUJO
103 SE 14TH COURT                        4987 SW 94TH AVENUE                           11327 LAS CASAS CT.
DEERFIELD BEACH FL 33441                 COOPER CITY FL 33328                          FONTANA CA 92337




FELIX AYBAR                              FELIX CRUZ                                    FELIX KUBIK
35-31 10TH ST                            1818 N. 14TH AVE.                             9121 S ALBANY AV
LONG ISLAND CITY NY 11106                MELROSE PARK IL 60160                         EVERGREEN PARK IL 60805




                                                Page 724 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 725 of 800
FELIX MARQUEZ                          FELIX PACHECO                                 FELIX RUBERT
3037 RUTH                              4319 W CRYSTAL                                41 HOPKINS DRIVE
APT. #4                                BASEMENT APT                                  NEWINGTON CT 06111
FRANKLIN PARK IL 60131                 CHICAGO IL 60651



FELIX TIRADO                           FELIZARDO BINSOL                              FELIZE, RUT
4450 SW 153RD AVENUE                   75 BAGATELLE RD                               310 RIUNITE CIR
MIRAMAR FL 33027                       MELVILLE NY 11747                             STE 2603
                                                                                     WINTER SPRINGS FL 32708



FELIZE, RUT                            FELLNER, PATRICIA                             FELSHER, JOHN N
310 RIUNITE CIR                        211 WEST 18TH ST NO.7                         434 SOUTH ALDERWOOD STREET
WINTER SPRINGS FL 32708                NEW YORK NY 10011                             WINTER SPRINGS FL 32708




FELTON GRAHAM                          FELTON SMITH GRAHAM                           FELTON SMITH GRAHAM INC
RE: GLOUCESTER 6425 MAIN ST            RE: GLOUCESTER 6425 MAIN ST                   POST OFFICE BOX 2155
P.O. BOX 2155                          PO BOX 2155                                   GLOUCESTER VA 23061
GLOUCESTER VA 23061                    GLOUCESTER VA 23061



FELTON, DAVINA                         FENCES ETC INC                                FENCES ETC INC
249 W 109TH PLACE                      23 BROWN HOUSE RD                             28 N WATER ST
CHICAGO IL 60628                       STAMFORD CT 06902                             GREENWICH CT 06830




FENELUS, HEBREUX                       FENER JEFFRIES, ADRIANNE                      FENIVAFE SAVECKI CORP
6960 NW 5TH PLACE                      1045 TOTTENHAM LN                             2255 CORDOBA BEND
MARGATE FL 33063                       VIRGINIA BEACH VA 23454                       WESTON FL 33327




FENSTERMACHER, PETER D.                FENSTERMACHER, STANLEY                        FENSTERMACHER, STANLEY
87 CHURCH ST                           2505 5TH ST                                   4100 FERNCROFT LN
EAST HARTFORD CT 06108                 BETHLEHEM PA 18020                            BETHLEHEM PA 18020




FENSTERMAKER, ANGELA                   FENSTERMAKER, MORIA                           FENTON, BRENDA
1118 SHERWOOD DR                       2333 COOLIDGE ST                              30 CORPORAL PATTERSON LANE
LAURYS STATION PA 18059-1120           ALLENTOWN PA 18104                            NEWCASTLE ON L1B 0A7




FENTON, BRENDA                         FENTON, HILLARY                               FENTON, MICHAEL
11300 SANDERS DRIVE SUITE 19           5235 N RAVENWOOD          NO.30               3001 W 143RD ST
RANCHO CORDOVA CA 95742                CHICAGO IL 60640                              284
                                                                                     BLUE ISLAND IL 60406



FENTON, MICHAEL                        FENTON, MICHAEL                               FENTON, WILSON A
3001 W 143RD ST                        MIKES NEWS                                    12404 NE BRIGANTINE CT
BLUE ISLAND IL 60406                   2820 W 48TH PL                                KINGSTON WA 98346
                                       CHICAGO HEIGHTS IL 60652




                                              Page 725 of 2387
                        Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 726 of 800
FENWICK HIGH SCHOOL                  FENWICK, PAT                                  FENWICK, PAT
505 WEST WASHINGTON BLVD             8000 MAIN ST                                  PETTY CASH CUSTODIAN
OAK PARK IL 60302                    ELLIOTT CITY MD 21043                         8000 MAIN ST
                                                                                   ELLICOTT CITY MD 21043



FERA, SUSANNA FITLER                 FERDINAND ALVIZ                               FERDINAND RANIAG
1609 ROYAL OAK DRIVE                 2236 PARK VISTA LANE                          57 LINDEN AVENUE
SEWICKLEY PA 15143                   CHINO HILLS CA 91709                          APT #23
                                                                                   LONG BEACH CA 90802



FERDINAND RIONDA                     FERDINAND, ABEL                               FERDINAND, NADIA M
16620 DEVONSHIRE STREET #6           379 SW 30 TERRACE                             745 NW 131ST STREET
GRANADA HILLS CA 91344               DEERFIELD BEACH FL 33442                      MIAMI FL 33168




FERGERSON, CECIL                     FERGUSON JR, LEO                              FERGUSON TRUCK CENTER
1417 S OGDEN DRIVE                   5324 NW 48 ST                                 3625 JENSEN DR
LOS ANGELES CA 90019                 COCONUT CREEK FL 33073                        HOUSTON TX 77026




FERGUSON, CHARLES D                  FERGUSON, ERNEST                              FERGUSON, FERGO
513 SIXTH STREET NE                  [ADDRESS UNAVAILABLE AT TIME OF FILING]       17 RIVERLANDS DR APT G
WASHINGTON DC 20002                                                                NEWPORT NEWS VA 23605




FERGUSON, GARY                       FERGUSON, GARY                                FERGUSON, JANET
25412 SPRING ST                      PO BOX 1490                                   37 LOVELAND ST
MANHATTAN IL 60442                   RED LODGE MT 59068                            MIDDLETOWN CT 06457




FERGUSON, JULIE A                    FERGUSON, JULIE M                             FERGUSON, MICHAEL
1123 N EUTAW STREET APT 102          3603 KIMBLE ROAD                              156 W CENTRAL AVE
BALTIMORE MD 21201                   BALTIMORE MD 21218                            BANGOR PA 18013




FERGUSON, MICHAEL L                  FERGUSON, MILLICENT                           FERIOLI, ROBIN LYNN
37 MOUNTAINVIEW AVE                  677 DREW ST   APT NO.3                        5132 STONE TERRACE DR
BRISTOL CT 06010                     BROOKLYN NY 11208                             WHITEHALL PA 18052




FERMIN CAMACHO                       FERN COUTURE                                  FERNALD, PETER
95 BARKER STREET                     274 CHURCH STREET                             1338 GLEN OAKS BLVD
HARTFORD CT 06114                    APT. #5A                                      PASADENA CA 91105
                                     GUILFORD CT 06437



FERNANDES, ALTON                     FERNANDES, DIANE M                            FERNANDES, HELES A
9166 W ATLANTIC BLVD APT 1638        199 LYON STREET                               8031 NW 66 WAY
CORAL SPRINGS FL 33071               LUDLOW MA 01056                               PARKLAND FL 33067




                                            Page 726 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 727 of 800
FERNANDEZ, ALBERTO R                   FERNANDEZ, ALEXANDER JULIAN                   FERNANDEZ, BRUCE J
6 NOSTROM RD                           6607 WINFIELD BLVD APT NO. 37                 387 HAWTHORNE DR
NORWALK CT 06850                       MARGATE FL 33063                              APT 9
                                                                                     FOND DU LAC WI 54935



FERNANDEZ, DAVID                       FERNANDEZ, GLORIA                             FERNANDEZ, HENRY
5052 CARNEGIE DR                       6040 CATALPA AVE                              865 ADOUR DRIVE    STE 2314
FRISCO TX 75034                        RIDGEWOOD NY 11385                            KISSIMMEE FL 34759




FERNANDEZ, JAY                         FERNANDEZ, JOHANNA                            FERNANDEZ, KELLY
2445 WALGROVE AVE                      1935 WASHINGTON ST                            142-41 41ST AVENUE APT 112
LOS ANGELES CA 90066                   HOLLYWOOD FL 33020                            FLUSHING NY 11355




FERNANDEZ, MARIA                       FERNANDEZ, MIGDALIA P                         FERNANDEZ, RUBEN
660 IRIS RD STE 2104                   826 SKY LAKE CIRCLE APT C                     1702 WESTMORELAND BOULEVARD
CASSELBERRY FL 32707                   ORLANDO FL 32809                              LOS ANGELES CA 90007




FERNANDEZ, SERGIO                      FERNANDEZ, YENNY                              FERNANDEZ, YOLANDA
818 S HALL ST                          1169 CALLE DEL REY UNIT D                     18634 NE 18TH AVENUE #241
ALLENTOWN PA 18103                     CASSELBERRY FL 32707                          NORTH MIAMI BEACH FL 33179




FERNANDEZ-RANA, PAOLA                  FERNANDINI, GIULLIANA                         FERNANDINI, JOSEPH
803 CHIMNEY ROCK RD                    2884 CLIPPER COVE LN        NO.201            4931 BRIGHTMOUR CIR
WESTON FL 33327                        KISSIMMEE FL 34741                            ORLANDO FL 32837




FERNANDO ALONSO                        FERNANDO ARANCIBIA                            FERNANDO BARRAZA
1807 NE 27 DR                          1749 SE JOY HAVEN ST.                         5224 SHEARIN AVE
WILTON MANORS FL 33306                 PORT SAINT LUCIE FL 34983                     LOS ANGELES CA 90041




FERNANDO BROWN                         FERNANDO CAMACHO                              FERNANDO CARRANZA
1555 N. VINE ST                        11842 NW 53 COURT                             928 W 68TH STREET
APT 388V                               CORAL SPRINGS FL 33076                        LOS ANGELES CA 90044
LOS ANGELES CA 92008



FERNANDO CASTILLO                      FERNANDO DOMINGUEZ                            FERNANDO GONZALEZ
2424 S SCOVILLE                        17310 HAMLIN STREET                           8116 LANGDON AVENUE #310
BERWYN IL 60402                        VAN NUYS CA 91406                             VAN NUYS CA 91406




FERNANDO H GONZALEZ                    FERNANDO HOYOS-CAMARGO                        FERNANDO OLMO
19421 MAUNA LANE                       6103 NW 8TH STREET                            621 WEST TURNER STREET
HUNTINGTON BCH CA 92646                MARGATE FL 33063                              APT 2
                                                                                     ALLENTOWN PA 18102




                                              Page 727 of 2387
                        Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 728 of 800
FERNANDO PEREZ                       FERNANDO QUINTERO                             FERNANDO RIVAS
7930 W. ADDISON ST                   1223 W. PRINCETON ST.                         7701 W. ADDISON
CHICAGO IL 60634                     ORLANDO FL 32804                              CHICAGO IL 60634




FERNANDO ROJAS                       FERNANDO VILLEGAS                             FERRAGAMO, KHRIS
7750 NW 50TH STREET                  5543 S. TRUMBULL                              6919 HARBOR TOWN BLVD APT. A14
#308                                 CHICAGO IL 60629                              BOCA RATON FL 33433
LAUDERHILL FL 33351



FERRARA, EMILY                       FERREIRA, DAVID                               FERREIRA, ISABEL C
10301 ARETHUSA LANE                  38 COTTAGE ST   APT 3                         574 E 21 ST
UPPER MARLBORO MD 20772              NEW HAVEN CT 06511                            HIALEAH FL 33013




FERRELL, PAULETTE                    FERRETTI, JORGE LUIS                          FERRIS, SUZANNE
956 W GREEN ST                       5214 SW 91 ST AVE # 1                         521 NE 14TH AVENUE
ALLENTOWN PA 18102                   COOPER CITY FL 33328                          FT LAUDERDALE FL 33301




FERRUFINO, YAJAIRA                   FERRY,BRIAN                                   FERSHLEISER, RACHEL
715 HERTZOG AVE                      8350 BROOKWOOD RD                             202 MOTT STREET APT 34
BETHLEHEM PA 18015                   MILLERSVILLE MD 21108-1235                    NEW YORK NY 10012




FERSHTMAN, AARON                     FESTIVAL FLEA MARKET MALL                     FETEWI ABDELKADER
31 YOUNGS HILL RD                    2900 W SAMPLE RD                              6753 LUMBERJACK LANE
HUNTINGTON NY 11743                  POMPANO BEACH FL 33073                        OCOEE FL 34761




FETTA, CESAR                         FETTA, CESAR                                  FETTER, MORGAN R
55 WRIGHTS LN                        98 FRANCIS DRIVE                              265 RIM VIEW DR APT G
GLASTONBURY CT 06033                 GLASTONBURY CT 06033                          COLORADO SPRINGS CO 80919




FETTING, BRIAN                       FETTY, KELLY                                  FEUDIN PRODUCTIONS INC
1588 S LORRAINE RD                   216 CORONE ST                                 4000 WEST ALAMEDA AVE
WHEATON IL 60187                     WINSTON-SALEM NC 27103                        3RD FLOOR
                                                                                   BURBANK CA 91505



FEVRIN, RENE F                       FEVRIUS ROCHNER                               FEWELL, RICHARD
3701 NW 21ST STREET NO.311           1121 NW 3RD AVENUE                            89A YAREMICH DRIVE
LAUDERDALE LAKES FL 33311            APT R                                         BRIDGEPORT CT 06606
                                     POMPANO BEACH FL 33060



FEYEN-ZYLSTRA                        FGP WEST STREET LLC                           FGP WEST STREET LLC
210 FRONT AVENUE SW                  4333 EDGEWOOD ROAD NE                         ATTN GRACE BELLINO
GRAND RAPIDS MI 49504                CEDAR RAPIDS IA 52499                         COLLIERS ABR INC A/A/F FGP WEST STREET
                                                                                   LLC, 40 EAST 52ND STREET 15TH FL
                                                                                   NEW YORK NY 10022




                                            Page 728 of 2387
                         Case 08-13141-BLS        Doc 17-1        Filed 12/08/08   Page 729 of 800
FIALHO, JUSSARA CONCALVES                  FIALKOV, SARAH                             FIANCHETTO LIMITED
2421 NE 1ST WAY                            7324 SW 9 CT                               633 S PLYMOUTH CT NO.1008
POMPANO BEACH FL 33064                     PLANTATION FL 33317                        CHICAGO IL 60605




FIBER CORPORATION OF AMERICA INC           FIBERTECH NETWORKS LLC                     FICA LANDING LLC
52 FOREST AVE                              ATTN ACCOUNTS RECEIVABLE                   18781 SW 28TH COURT
PARAMUS NJ 07652                           300 MERIDIAN CENTRE                        MIRAMAR FL 33029
                                           ROCHESTER NY 14618



FICHT, JULIE                               FIDALGO, FERNANDO                          FIDEL TUANAMA
C/O BRIAN LACIEN                           1044 S MILITARY TRL APT 206                139 THOMAS STREET
POWER, ROGERS & SMITH, P.C.                DEERFIELD BEACH FL 33442                   WEST HARTFORD CT 06119
3 1ST NATIONAL PLZ,70 W. MADISON ST,55FL



FIDEL VALDEZ                               FIDELITY INVESTMENTS INSTITUTIONAL         FIDLER, MELANIE
4913 W FLIGHT AVENUE                       SERVICES COMPANY, INC.                     21 PONDEROSA DRIVE
SANTA ANA CA 92704                         ATTN: PAT LABRIOLA                         MELVILLE NY 11747
                                           500 SALEM STREET OS1N2
                                           SMITHFIELD RI 02917


FIEDLER, JOSEPH D                          FIEDLER, MARY L                            FIEDLER, MORGAN BEA
2730 8TH ST                                115 SATSUMA DRIVE                          540 PRAIRIE AVE
BERKELEY CA 94710                          ALTAMONTE SPRINGS FL 32714                 BARRINGTON IL 60010




FIELD STEVENSON M S                        FIELD TOWER SYSTEMS                        FIELD, HANA S
925 BELOIT                                 PO BOX 504                                 108 W CHARLES APT 1001
FOREST PARK IL 60130                       ELVERTA CA 95626                           CHAMPAIGN IL 61820




FIELD, HANA S                              FIELD, STUART J                            FIELDER, THOMAS ANDREW
540 W ALDINE APT F                         54 BUCKTHORN DR                            14120 HIDDEN DRIVE
CHICAGO IL 60657                           LITTLETON CO 80127                         LANEXA VA 23089




FIELDS, JILL                               FIELDS, JOSHUA CARL                        FIELDS, JOYA
2025 N WILSON AVENUE                       884 BLACK WALNUT DR                        3015 STATE ROUTE 32
FRESNO CA 93704                            SUGAR GROVE IL 60554                       WEST FRIENDSHIP MD 21794




FIELDS, LAUREN                             FIELDS, SAVADRA MONITA                     FIELDS, TERENCE
527 S LUCERNE BLVD                         13715 S STEWART AVE NO.A1 WEST             1172 NW 45TH TER
LOS ANGELES CA 90020                       RIVERDALE IL 60827                         LAUDERHILL FL 33313




FIELDS, TERESA A                           FIELDS, WINSTON                            FIENBERG, DANIEL
8 MIDDLETOWN AVE                           1532 W 20TH ST                             3700 S SEPULVEDA BLVD    APT 410
WETHERSFIELD CT 06109-3406                 RIVIERA BEACH FL 33404                     LOS ANGELES CA 90034




                                               Page 729 of 2387
                            Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 730 of 800
FIERRO, DINA                             FIERRO-CLARKE, ALEXANDER NICHOLAS             FIFTH STREET PRODUCTIONS
31-25 28TH RD                            430 SEA TURTLE TERRACE                        PO BOX 700
ASTORIA NY 11102                         PLANTATION FL 33324-2814                      403 FRONT ST
                                                                                       GREENPORT NY 11944



FIFTH STREET PRODUCTIONS                 FIG, MARY ANN                                 FIGEROUX, JAMES
PO BOX 700, ATTN: JOHN WILLIAMS          4 TEXAS DR                                    909 S EDWARD ST
GREENPORT NY 11944                       OAKDALE CT 06370                              ALLENTOWN PA 18103-4657




FIGUEIREDO, UBIRACY                      FIGUEROA DUQUE, JULIAN                        FIGUEROA DUQUE, JULIAN
2301 N CONGRESS AVE APT 24               1911 REEF CLUB DR APT 103                     PO BOX 453704
BOYNTON BEACH FL 33426                   KISSIMMEE FL 34741                            KISSIMMEE FL 34745




FIGUEROA, CARMEN A                       FIGUEROA, EDUARDO                             FIGUEROA, GRET G
3100 RIVERSIDE DR APT 311                CALLE 38 ENTRE 31 Y 32 CASA 31-98             10240 BOCA WEST BEND
CORAL SPRINGS FL 33065                   BARQUISMETO LARA                              BOCA RATON FL 33428




FIGUEROA, GRISELLE                       FIGUEROA, LOURDES                             FIGUEROA, LOURDES A DUPREY
37 GILLETTE ST                           12850 SR84 LOT NO.4-14                        4417 RAVINNIA DR
W HARTFORD CT 06119                      DAVIE FL 33325                                ORLANDO FL 32809




FIGUEROA, MICHELE                        FIGUEROA-GARCIA, DANNY                        FIKE, CHERYL A
2483 OAK GARDENS LANE                    946 S ARMOUR ST                               37861 N NORTHERN
HOLLYWOOD FL 33020                       ALLENTOWN PA 18103                            BEACH PARK IL 60087




FIKE, CHERYL A                           FILA, MICHAEL                                 FILA, ROBERT
DIST 0711                                1715 UNDERWOOD RD                             8941 W 100TH STREET
37861 N NORTHERN AVE                     SYKESVILLE MD 21784                           PALOS HILLS IL 60465
BEACH PARK IL 60087



FILAMON BANKS                            FILICE, PETER D                               FILICKO, SANDI
3455 ELM AVENUE #112                     9456 BURNS COURT                              108 YARDARM CT
LONG BEACH CA 90807                      GRANITE BAY CA 95746                          WILLIAMSBURG VA 23185




FILIPPAZZO, JOSEPH                       FILLMAN, KENNETH JR                           FILM INDEPENDENT
342 PARK ST                              205 LONE LN                                   9911 WEST PICO BLVD
STATEN ISLAND NY 10306                   ALLENTOWN PA 18104                            LOS ANGELES CA 90035




FILM INVESTMENT CORP.                    FILM PAYMENT SERVICES INC                     FILOMENA BERTINE
C/O WEISS GLOBAL                         500 S SEPULVEDA BLVD 4TH FLR                  211 BRENDAN AVE
2055 SAVIER ROAD SUITE 12                LOS ANGELES CA 90049                          MASSAPEQUA PARK NY 11762
OXNARD CA 93033




                                                Page 730 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 731 of 800
FILON, DAVID                           FILUSCH, NICOLE                               FINANCIAL TEMPS
9 PEBBLE CT                            10140 NW 10TH ST                              200 S PROSPECT
NEWINGTON CT 06111                     PLANTATION FL 33322                           PARK RIDGE IL 60068




FINANCIAL TIMES                        FINANCIAL TIMES                               FINANCIAL TIMES
ATN SARAH JEZZARD                      1330 AVENUE OF THE AMERICAS                   PO BOX 1329
NUMBER ONE SOUTHWARK BRIDGE            NEW YORK NY 10019                             CUSTOMER SERVICE
ENGLAND SE1PHL                                                                       SUBSCRIPTION CENTER
                                                                                     NEWBURGH NY 12551-1329


FINANCIAL TIMES                        FINCH, DANIEL W                               FINCOR AUTOMATION INC
PO BOX 1627                            830 HANNAH AVENUE                             P O BOX 502910
NEWBURGH NY 12551-9970                 FOREST PARK IL 60130                          ST LOUIS MO 63150-2910




FINCOR AUTOMATION INC                  FINCOR AUTOMATION INC                         FINCOR ELECTRONICS DIVISION
3750 EAST MARKET STREET                PO BOX 8500-54828                             PO BOX 502910
YORK PA 17402                          PHILADELPHIA PA 19178-4828                    ST LOUIS MO 63150-2910




FINCOR ELECTRONICS DIVISION            FINDLEY SAMPSON, KIMONE S                     FINDLEY, DELROY
ATTN: FRED KLINEDINST                  148 COLLINS ST B12                            2770 SUMMERSET DR     R114
3750 E. MARKET STREET                  HARTFORD CT 06105                             FT LAUDERDALE FL 33311
YORK PA 17402



FINDLEY, PAUL                          FINE FIRE EQUIPMENT CO INC                    FINE SIGNS & GRAPHICS INC
1040 W COLLEGE                         PO BOX 630003                                 5682 MOORETOWN ROAD
JACKSONVILLE IL 62650                  NORTH MIAMI BEACH FL 33163                    WILLIAMSBURG VA 23188




FINE, DANA                             FINE, DANIEL J                                FINE, JOHN C
79 W GREENBRIAR                        76 BIRCH LN                                   1006 OCEAN DRIVE
DEERFIELD IL 60015                     NAUGATUCK CT 06770                            BOYNTON BEACH FL 33426




FINE, TODD M                           FINEBERG, TINA R                              FINFER, LEWIS
245 BURCHELL AVE                       250 EAST 73 ST                                1119 ADAMS STREET
HIGHWOOD IL 60040                      NEW YORK NY 10021                             DORCHESTER MA 02124




FINGER FURNITURE COMPANY               FINGER FURNITURE COMPANY                      FINGER POST
PO BOX 194                             PO BOX 3298                                   11 NORTHINGTON ST
HOUSTON TX 77001                       SUGARLAND TX 77487                            LONDON, WC1N 2JF




FINGERWORKS TELESTRATORS               FINHOLM, VALERIE J                            FINHOLM, VALERIE J
904 WALKING STICK LANE                 51 OUTLOOK AVENUE                             51 OUTLOOK AVE
VICTORIA BC V8Y 3H6                    WEST HARTFORD CT 06119                        WEST HARTFORD CT 06119-1431




                                              Page 731 of 2387
                        Case 08-13141-BLS       Doc 17-1        Filed 12/08/08   Page 732 of 800
FINISHING COMPANY                        FINISHING COMPANY                          FINK, GREGORY
136 COMMERCIAL AVENUE                    1925 N 25TH AVE                            918 TYLER ST
POWDER DIVISION                          FRANKLIN PARK IL 60131                     HOLLYWOOD FL 33019
ADDISON IL 60101



FINK, JAMIE S                            FINK, LEON                                 FINK, SANDRA
918 TYLER ST                             3430 N ELAINE PLACE                        124 N BROAD ST
HOLLYWOOD FL 33019                       CHICAGO IL 60657                           NAZARETH PA 18064




FINKE, THOMAS S                          FINKELSTEIN, ARDEN                         FINKLE, KELSEY
682 GROVE                                6557 LASAINE AVENUE                        44 LAUREL DRIVE
GLENCOE IL 60022                         VAN NUYS CA 91406                          WALLINGFORD CT 06492




FINN, MAEVE                              FINN, RACHEL MONET                         FINNEKE, RYAN P
83 WILLOW PATH CT                        2341 W SUPERIOR ST NO.2A                   6950 N OSCEOLA
NOTTINGHAM MD 21236                      CHICAGO IL 60612-1239                      CHICAGO IL 60631




FINNIGAN, THOMAS                         FINNIMORE, ERIKA                           FINORA, JOSEPH
1033 N PUTNAM AVE                        2811 EINSTIEN WAY      APT 8204            375 WELLS RD
LINDENHURST NY 11757                     ORLANDO FL 32826                           LAUREL NY 11948




FIONA VO                                 FIORITO, ERIN                              FIOROT, KRISTEN
3928 ROWLAND AVENUE                      717 ANDERSON ST                            905 WYANDOTTE STREET
EL MONTE CA 91731                        MANHATTAN BEACH CA 90266                   BETHLEHEM PA 18015




FIORUCCI, MICHAEL                        FIORUCCI, MICHAEL                          FIORVANTI, TIMOTHY
205 EVELYN ST                            63 HUTCHINSON ST                           40 SMITHS LANE
OAKVILLE CT 06779                        WATERBURY CT 06708                         COMMACK NY 11725




FIRE LINE VIDEO PRODUCTIONS              FIRE SAFETY FIRST                          FIRECLICK INC
PO BOX 432                               1170 E FRUIT ST                            DIGITAL RIVER INC
LITTLE NECK NY 11363                     SANTA ANA CA 92701                         ATTN ACCTS RECV LOCKBOX 88278
                                                                                    88278 EXPEDITE WAY
                                                                                    CHICAGO IL 60695-0001


FIROE, FRED                              FIRST CASH FINANCIAL SERVICES INC          FIRST FITNESS CONSULTANTS
7330 W 153RD PLACE                       690 E LAMAR BLVD STE 400                   120 PARK ST
ORLAND PARK IL 60462                     ARLINGTON TX 76011                         SAUGATUCK MI 49453




FIRST GENERATION VIDEO PRODUCTIONS INC   FIRST IN VIDEO PRODUCTIONS                 FIRST INDUSTRIAL REALTY TRUST, INC.
5 KACEY CT     STE 201                   PO BOX 58301                               RE: FARMINGDALE 360 SMITH ST.
MECHANICSBURG PA 17055                   VERNON CA 90058                            ATTN: REGIONAL DIRECTOR
                                                                                    575 UNDERHILL BLVD. SUITE 125
                                                                                    SYOSSET NY 11791




                                             Page 732 of 2387
                           Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 733 of 800
FIRST LOOK TELEVISION                   FIRST MEDIA                                   FIRST MEDIA OF MIAMI INC
2000 AVENUE OF THE STARS                530 KIPLING AVE                               530 KIPLING AVENUE
SUITE 410                               TORONTO ON M8Z 5E3                            TORONTO ON M8Z 5E3
CENTURY CITY CA 90067



FIRST NATIONAL BANK OF OTTAWA           FIRST NIGHT HARTFORD INC                      FIRST NIGHT HARTFORD INC
RE: STREATOR 1004 1/2 E. BRID           750 MAIN ST S514                              942 MAIN ST     STE 300
701 LASALLE ST.                         HARTFORD CT 06103                             HARTFORD CT 06103
OTTAWA IL 61350



FIRST PLACE USA INC                     FIRST QUALITY MAINTENANCE II LLC              FIRST QUALITY MAINTENANCE LP
GUTKIN ENTERPRISES                      70 W 36TH ST 3RD FLOOR                        70 W 36TH ST   STE 301
1349 DIXWELL AVENUE PO BOX 4254         PO BOX 500                                    NEW YORK NY 10018
HAMDEN CT 06514                         NEW YORK NY 10018



FIRST REAL ESTATE SERVICES LTD          FIRST REAL ESTATE SERVICES LTD                FIRST RESPONSE INC
120 W MADISON ST STE 1200               30 NORTH LASALLE STREET                       4970 SW GRIFFITH DRIVE SUITE 100
CHICAGO IL 60602                        SUITE 2624                                    BEAVERTON OR 97005-3039
                                        CHICAGO IL 60602-2584



FIRST RUN COMMUNICATIONS                FIRST SOUTH ASSOCIATES, LLC                   FIRST SOUTH ASSOCIATES, LLC
1123 EMERSON ST STE 208                 RE: WEST HARTFORD 141 SOUTH S                 RE: WEST HARTFORD 141 SOUTH S
EVANSTON IL 60201                       C/O GEOMETRY REALTY, INC.                     C/O THE WINDSOR MANAGEMENT COMPANY
                                        110 EAST 59TH STREET, 18TH FLOOR              100 CORPORATE DRIVE SUITE 104
                                        NEW YORK NY 10022                             WINDSOR CT 06095


FIRST STATES INVESTORS DB I SP LP       FIRST STATES INVESTORS DB I SP LP             FIRST STATES INVESTORS DB I SP LP
C/O LASALLE BANK NA TRUST 7205341       680 OLD YORK ROAD                             PO BOX 8500-2321
135 SOUTH LASALLE ST STE 1625           SUITE 200                                     PHILADELPHIA PA 19178-2321
CHICAGO IL 60603                        JENKINTOWN PA 19046



FIRST STATES INVESTORS DB SP LP         FIRST STATES INVESTORS DB/SP, LP              FIRST TEE OF CONNECTICUT
RE: WILLIAMSBURG 1006 RICHMON           RE: WILLIAMSBURG 1006 RICHMON                 525 BROOK ST SUITE 206
LASALLE BANK, N.A.                      LASALLE BANK N.A., TRUST 720534.1             ROCKY HILLS CT 06067
135 S. LA SALLE ST., SUITE 1625         135 S. LASALLE STREET, SUITE 1625
CHICAGO IL 60603                        CHICAGO IL 60603


FIRST TEE OF CONNECTICUT                FIRST UNION INVESTMENT COMPANY                FIRST UNION INVESTMENT COMPANY
DISH BAR & GRILL                        RE: SIMI VALLEY 2250 UNION PL                 23945 CALABASAS RD STE 102
900 MAIN ST                             C/O ARTHUR BECKER                             CALABASAS CA 91302-1590
HARTFORD CT 06103                       23945 CALABASAS RD, SUITE 102
                                        CALABASAS CA 91302-1590


FIRST UNION INVESTMENT COMPANY          FIRST UNION INVESTMENT COMPANY                FIRST UNITED BANK
C/O ARTHUR BECKER                       C/O MR. ARTHUR BECKER                         RE: JOLIET 2115 OAK LEAF ST.
23945 CALABASAS RD                      16650 SCHOENBORN ST                           700 EXCHANGE STREET
STE 102                                 SEPULVEDA CA 91343                            ABA# 138924; ROUTING # 071923750
CALABASAS CA 91302-1590                                                               CRETE IL 60417


FIRST UNITED BANK                       FIRST UNITED BANK                             FIRST UNITED BANK; ILLINOIS BANKING
RE: ROMEOVILLE 320 ROCBAAR DR           C/O BRUGGEMAN, HURST & ASSOCIATES             CORPORATE
700 EXCHANGE STREET                     400 EAST LINCOLN HIGHWAY                      BRUGGEMAN HURST & ASSOC
ROUTING #: 071923750 ABA#: 138924       NEW LENOX IL 60451                            2001 S WOLF RD #200
CRETE IL 60417                                                                        MOKENA IL 60448




                                               Page 733 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 734 of 800
FIRST VIEW INC                         FIRSTCOM MUSIC                                FIRSTCOM MUSIC INC
101 W 23RD AVE  NO.2303                PO BOX 31001-1699                             P.O. BOX 31001-1699
NEW YORK NY 10011                      PASADENA CA 91110-1699                        PASADENA CA 91110-1699




FIRSTCOM MUSIC INC                     FIRSTCOM MUSIC INC                            FIRSTENBERG, VICKI
1325 CAPITAL PARKWAY                   PO BOX 971417                                 445 N ROSSMORE AVE NO.408
SUITE 109                              DALLAS TX 75397-1417                          LOS ANGELES CA 90004
CARRLTON TX 75006



FIRSTLOGIC INC                         FIRSTLOGIC INC                                FISCH, PAUL J
33128 TREASURY COURT                   100 HARBORVIEW PLAZA                          5111 COFFEE TREE LANE
CHICAGO IL 60694-3100                  LA CROSSE WI 54601-4051                       N SYRACUSE NY 13212




FISCHA, OLIVIA CHANELLE                FISCHER, BLAIR                                FISCHER, BRADLEY
309 N ARDEN BLVD                       PO BOX 220119                                 2040 W MAIN ST APT 1536 STE 210
LOS ANGELES CA 90004                   CHICAGO IL 60622                              RAPID CITY SD 57702




FISCHER, BRODWYN                       FISCHER, D ARTAGNAN                           FISCHER, DENISE A
5407 S GREENWOOD AVE                   C/O FISCHER COMPUTER SERVICES                 12438 NW 50TH PLACE
CHICAGO IL 60615                       1178 DEL PRADO CT                             CORAL SPRINGS FL 33076
                                       CHULA VISTA CA 91910



FISCHER, DONALD C                      FISCHER, JARED T                              FISCHER, KEVIN
4838 AUBURN FORD                       2 PLACID WOODS CT                             2725 REEVE CIR APT 825
GREENWOOD IN 46142                     BALTIMORE MD 21234                            COLORADO SPRINGS CO 80906




FISCHER, MICHAEL R                     FISCHER, SOPHIA                               FISCHER, THOMAS G
384 ALDER SPRINGS DR                   384 ALDER SPRINGS DR                          95 ROLLING MEADOW ROAD
OAK PARK CA 91377                      OAK PARK CA 91377                             MADISON CT 06443




FISCHKIN, BARBARA                      FISCHLER, MARCELLE                            FISCHMAN, JOSH
85 DALTON ST                           80 VALENTINES LN                              3541 39TH ST NW
LONG BEACH NY 11561                    OLD BROOKVILLE NY 11545                       WASHINGTON DC 20016




FISERV SOLUTION                        FISERV SOLUTION                               FISH, NICHOLAS
15375 SE 30TH PL                       DBA FISERV DIRECT SOURCE                      2735 NE 39TH
BELLEVUE VA 48007-6500                 PO BOX 34960                                  PORTLAND OR 97212
                                       SEATTLE WA 98124-1960



FISH, NICHOLAS                         FISHBURN, SCOTT                               FISHER BROADCASTING
C/O MEYER & WYSE LLP                   7 YIA BARCELONA                               9101 WILSHIRE BLVD 10TH FL
621 SW MORRISON ST STE 1300            RANCHO SANTA MARGARITA CA 92688               ENDEAVOR TALENT AGENCY
PORTLAND OR 97205                                                                    BEVERLY HILLS CA 90212




                                              Page 734 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 735 of 800
FISHER BROADCASTING                    FISHER BROADCASTING                           FISHER BROADCASTING
2000 SW 1ST AVE STE 300                KOMO - TV                                     KPLZ PO BOX 34935
PORTLAND OR 97201                      140 - 4TH AVE NORTH                           DEPT 144
                                       SEATTLE WA 98109                              SEATTLE WA 98124-1935



FISHER BROADCASTING                    FISHER BROADCASTING                           FISHER PRINTING INC
PO BOX 34935 DEPT 144                  PO BOX 94394                                  2257 N PACIFIC ST
SEATTLE WA 98124-1935                  SEATTLE WA 98124                              ORANGE CA 92868




FISHER PRINTING INC                    FISHER PRINTING INC                           FISHER PRINTING INC
2063 SOLUTIONS CENTER                  8640 S OKETO AVE                              PO BOX 97778
CHICAGO IL 60677-2000                  BRIDGEVIEW IL 60455                           CHICAGO IL 60678-7778




FISHER, BRUCE L                        FISHER, CAROL                                 FISHER, CATHERINE
420 LINWOOD AVENUE                     75 NE 5TH AVE N                               604 DYCHES DR
BUFFALO NY 14209                       DELRAY BEACH FL 33483                         SAVANNAH GA 31406




FISHER, DEBBIE                         FISHER, FREDERICK                             FISHER, FREDERICK
6304 SW 27TH ST. APT D                 1148 N 20TH ST                                1148 N 20TH ST
MIRAMAR FL 33023                       ALLENTOWN PA 18102                            ALLENTOWN PA 18104




FISHER, HAROLD T                       FISHER, JENNIFER                              FISHER, JESSICA G
4606 CROSSWOOD AVE                     68 MURASAKI ST                                15352 S DICE LANE
BALTIMORE MD 21214                     IRVINE CA 92617                               OLATHE KS 66062




FISHER, MARK                           FISHER, RALPH                                 FISHER, SARAH B
2871 SUNRISE LAKES DR                  1911 ECHO RD                                  6018 EL MIO DR
EAST NO. 210                           SLATINGTON PA 18080                           LOS ANGELES CA 90042
SUNRISE FL 33322



FISHER, SHAVAUN                        FISHER, VERNA                                 FISHER/TERRELL COMMUNICATIONS
22 N 5TH ST                            3616 STRAUSS AVE                              429 SANTA MONICA BLVD.
COPLAY PA 18037                        BETHLEHEM PA 18015                            STE 300
                                                                                     SANTA MONICA CA 90401



FISHMAN,GERALD                         FISK CAMERA SHOP                              FISKE, KALIOPEE
6564 SHERBROOK DR                      2115 BIRCH ST                                 4200 N MARINE DR    NO.306
BOYNTON BCH FL 33437                   EASTON PA 18042                               CHICAGO IL 60613




FISKE, PHINEAS                         FIT TO GO INC                                 FITCHMAN, CRAIG
10 MCKINNEY AVE                        7 BOWDOIN STREET                              5954 NEWPORT VILLAGE WAY
NORTHPORT NY 11768                     ARLINGTON MA 02474                            LAKE WORTH FL 33463




                                              Page 735 of 2387
                        Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 736 of 800
FITE, JOSEPH                         FITE, ROBERT COTTON                           FITE, ROBERT COTTON
453 N WARMINSTER RD                  212 WOOD CT                                   212 WOOD CT
HARBORO PA 19040                     WILMETTE IL 60091                             WILMETTE IL 90091




FITTS, ALEXIS                        FITZELL, PATRICK                              FITZGERALD, BRIAN
70 HOWE PLACE APT 408                9425 LAWNDALE AVE                             19777 N 76TH ST   UNIT 2215
NEW HAVEN CT 06511                   EVANSTON IL 60203                             SCOTTSDALE AZ 85255




FITZGERALD, HELEN                    FITZGERALD, JAMES                             FITZGERALD, PATRICK
22239 WOODBORN DRIVE                 93 FIFTH STREET                               222 WILLIAMS ST E UNIT 309
BOCA RATON FL 33428                  GARDEN CITY NY 11530                          GLASTONBURY CT 06033




FITZGERALD, PAUL                     FITZGERALD, STEVEN                            FITZGERALD, THOMAS
25 REDWING RD                        2810 GUILFORD STREET                          16 MAPLE ST
ENFIELD CT 06082-5714                PHILADELPHIA PA 19152                         TORRINGTON CT 06790




FITZGERALD, THOMAS                   FITZGERALD, THOMAS                            FITZGERALD, VENISE R
202 VILLAGE DR                       202 VILLAGE DR                                9238 S BISHOP
GOSHEN CT 06790-4247                 TORRINGTON CT 06790-4247                      CHICAGO IL 60620




FITZPATRICK, ELLEEN                  FITZPATRICK, MAUREEN O                        FITZPATRICK, MICHELLE
60 PINNEY ST APT 195                 70 BAYBERRY DR                                2696 QUANTUM LAKES DR
ELLINGTON CT 06029                   STAMFORD CT 06902                             BOYNTON BEACH FL 33426




FITZPATRICK, SHANNON                 FITZSIMONS, DENNIS J                          FITZWATER, GREGORY A
25 SUNNYVALE CT                      72 WOODLEY ROAD                               8602 SADDLER ROAD
COCKEYVILLE MD 21030                 WINNETKA IL 60093                             BALTIMORE MD 21234




FIVE ACES DELIVERY                   FIVE ACES DELIVERY                            FIVE ALARM MUSIC
1100 REMINGTON                       FRED MOSIMAN                                  35 W DAYTON ST
SCHAUMBURG IL 60173                  1100 REMINGTON      25985                     PASADENA CA 91105
                                     SCHAUMBURG IL 60173



FIVE CONTINENTS MUSIC INC            FIVE CONTINENTS MUSIC INC                     FIVE STAR PARKING
20700 VENTURA BLVD STE 328           PO BOX 50417                                  515 S FLOWER ST   STE 3200
C/O SAFER BERNSTEIN AND FLINT        LOS ANGELES CA 90050                          LOS ANGELES CA 90071
WOODLAND HILLS CA 91364



FIVE STAR PRODUCTIONS                FIX-IT ENTERPRISES                            FIXED IMPRESSIONS
430 S. CONGRESS AVE.                 6136 N KNOX                                   1636 SE TAYLOR NO.8
SUITE 4                              CHICAGO IL 60646                              PORTLAND OR 97214
DELRAY BEACH FL 33445




                                            Page 736 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 737 of 800
FLADGER, RENE D                        FLAG CONTAINER SERVICES INC                   FLAHERTY MD, JOHN
481 BRYSON CT                          11 FERRY ST                                   28 CHESTNUT CT WEST
NEWPORT NEWS VA 23608                  STATEN ISLAND NY 10302                        BUFFALO GROVE IL 60089




FLAHERTY, DAVID                        FLAHERTY, MICHAEL                             FLAHERTY, RYAN
475 FDR DR NO.2107                     43 CHEEVER PLACE                              3104 LANGLEY DR
NEW YORK NY 10002                      BROOKLYN NY 11231                             FRANKLIN TN 37064




FLAHERTY, TERRI                        FLAISHER, MARK                                FLAKE, DORON
101 MANSFIELD AVE                      MARK FLAISHER ENTERTAINMENT                   150 FOUNTAIN TERR
DARIEN CT 06820                        230 PACIFIC ST SUITE NO.206                   NEW HAVEN CT 06515
                                       SANTA MONICA CA 90405



FLAKE, EMILY                           FLAMBERT LA FRANCE                            FLAMINGO LIQUORS
380 8TH ST NO.3                        7396 LAZY HILL DR.                            3101 W BROWARD BLVD
BROOKLYN NY 11215                      ORLANDO FL 32818                              FT LAUDERDALE FL 33312




FLANAGAN LIEBERMAN HOFFMAN & SWAIM     FLANAGAN, DENNIS W                            FLANAGAN, JENNIFER
318 W FOURTH ST                        2953 HIGHBRIDGE CT                            808 W HARRIET ST
DAYTON OH 45402                        BETHLEHEM PA 18020                            ALTADENA CA 91001




FLANAGIN, DAVID                        FLANIGAN,JAMES                                FLASH CAB COMPANY
61 VISCONTI AVE                        501 VIA MEDIA                                 709 N MAIN STREET
SOUTHINGTON CT 06489                   PALOS VERDES ESTATES CA 90274                 MT PROSPECT IL 60056




FLASH CAB COMPANY                      FLASH FLOOD PRODUCTIONS INC                   FLASH POINT COMMUNICATIONS, LLC
C/O UNITED DISPATCH LLC                8034 MOONLIGHT LANE                           3300 IRVINE AVE STE 105
709 N MAIN ST                          NEW PORT RICHEY FL 34654                      NEWPORT BEACH CA 92660
MT PROSPECT IL 60056



FLASHING 12:00 PRODUCTION INC          FLASHING 12:00 PRODUCTION INC                 FLASHNICK, BRETT
130 FIELDCREST DRIVE                   812 N RIVER RD NO. 2B                         PO BOX 210762
BARTLETT IL 60103                      MT PROSPECT IL 60056                          COLUMBIA SC 29221




FLAT IRON PROPERTY HOLDING LLC         FLAT LISTING FEE REAL ESTATE                  FLATOTEL INTERNATIONAL
PO BOX 29392                           ATTN STACIE WHITFIELD                         135 W 52ND ST
PHOENIX AZ 85038-9392                  321 9TH STREET SUITE 203B                     NEW YORK NY 10019
                                       LEAVENWORTH WA 98826



FLATTUM, BENJAMIN CHRISTOPHER          FLAVIA GREENBERGER                            FLAX, KAREN H
1308 5TH STREET SE NO.1                115 CEDARVIEW LANE                            5716 S. KIMBARK AVENUE
MINNEAPOLIS MN 55414                   WATERVLIET NY 12189                           CHICAGO IL 60637




                                              Page 737 of 2387
                           Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 738 of 800
FLAXEN DESIGN COMPANY INC               FLECHA, MARIA                                 FLEEGER-ROSSUM, ADINA A
116 ORANGE AVE                          17320 SW 48TH ST                              8606 GREAT COVE DR
LEESBURG FL 34748                       SW RANCHES FL 33331                           ORLANDO FL 32819




FLEET BUSINESS CREDIT, LLC              FLEET FUELING                                 FLEET FUELING
ONE SOUTH WACKER DRIVE                  PO BOX 6293                                   PO BOX 98180
CHICAGO IL 60606                        CAROL STREAM IL 60197-6293                    LOUISVILLE KY 40298-8180




FLEET FUELING                           FLEET FUELING                                 FLEET FUELING
PO BOX 390024                           P O BOX 75071                                 P O BOX 639
BOSTON MA 02241-0924                    BALTIMORE MD 21275-5071                       PORTLAND ME 04104




FLEET MANAGEMENT                        FLEET MANAGEMENT                              FLEETCOR TECHNOLOGIES
17809 BONIELLO DRIVE                    PO BOX 9010                                   PO BOX 105080
BOCA RATON FL 33496                     DES MOINES IA 50368-9010                      ATLANTA GA 30348-5080




FLEETCOR TECHNOLOGIES                   FLEETCOR TECHNOLOGIES                         FLEETCOR TECHNOLOGIES
109 NORTHPACK BLVD                      PO BOX 54397                                  PO BOX 790183
STE 500                                 NEW ORLEANS LA 70154-4397                     ST LOUIS MO 63179-0183
COVINGTON LA 70433



FLEETWASH INC                           FLEETWASH INC                                 FLEETWASH INC
273 PASSAIC AVE                         PO BOX 1577                                   PO BOX 19370A
FAIRFIELD NJ 07004                      W CALDWELL NJ 07007-1577                      NEWARK NJ 07195-0370




FLEETWASH INC                           FLEISCHER, JEFF                               FLEISCHER, JOAN
PO BOX 36014                            1265 KNOLLWOOD RD                             512 ANN LANE
NEWARK NJ 07188-6014                    DEERFIELD IL 60015                            WANTAGH NY 11793




FLEISHMAN, CLAIRE AIGNER                FLEISHMAN, DANIEL                             FLEISHMAN,JEFFREY
2045 WASHINGTON ST                      357 HUBBS AVE                                 BERLIN BUREAU
ALLENTOWN PA 18104                      HAUPPAUGE NY 11788                            LA TIMES FOREIGN DESK
                                                                                      202 W 1ST ST
                                                                                      LOS ANGELES CA 90053


FLEITAS-OTANO, SANTIAGO                 FLEMING, CAROLE                               FLEMING, CHARLES
3500 NW 15 STREET                       9095 TAVERNA WAY                              3567 CARNATION AVE
MIAMI FL 33125                          BOYNTON BEACH FL 33472                        LOS ANGELES CA 90026




FLEMING, DOLORES M                      FLEMING, JOHN R                               FLEMING, KARL
421 E MOORESTOWN RD                     233 N 10TH ST                                 210 MEDIO DRIVE
WIND GAP PA 18091                       ALLENTOWN PA 18102                            LOS ANGELES CA 90049




                                               Page 738 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 739 of 800
FLEMMING, MICHELE                      FLENOR VERGE III                              FLESHER, VIVIENNE
93 GREEN VALLEY DR                     5436 W. FOURNOY                               630 PENNSYLVANIA
ENFIELD CT 06082-4957                  CHICAGO IL 60644                              SAN FRANCISCO CA 94107




FLETCHER CHICAGO INC                   FLETCHER CHICAGO INC                          FLETCHER CHICAGO INC
1062 W HURON                           12141 COLLECTION CENTER DR                    PO BOX 5020
CHICAGO IL 60622                       CHICAGO IL 60693                              LAKE FOREST IL 60045




FLETCHER CHICAGO INC                   FLETCHER, DAVID                               FLETCHER, REGINALD
PO BOX 95982                           138 JORDANS JOURNEY                           904 W RUSSELL CT
CHICAGO IL 60694-5982                  WILLIAMSBURG VA 23185                         HAMPTON VA 23605




FLETCHER, WILLIAM M                    FLEURIDOR, MERIDA                             FLEURINOR, GILBERT
4250 N MARINE DRIVE                    850 BLUE RIDGE CIRCLE                         1190 N STATE RD 7 LOT #319
APT 1921                               WEST PALM BEACH FL 33409                      LAUDERHILL FL 33313
CHICAGO IL 60613



FLEURINORD, CHYLET                     FLEURINORD, JEAN SHUVEUR                      FLEURY, MICHELE
2700 RIVERSIDE DR APT B 306            441 NW 39TH ST                                1310 N BENTON WAY
CORAL SPRINGS FL 33065                 POMPANO BEACH FL 33064                        LOS ANGELES CA 90026




FLEX SOL PACKAGING CORP                FLEX SOL PACKAGING CORP                       FLEXER, ROBERT C
1650 E 95TH ST                         36015 EAGLE WY                                2315 SUMMER MT ROAD
CHICAGO IL 60617                       CHICAGO IL 60678-1360                         PALMERTON PA 18071




FLICK, DIANE                           FLICK, JOHN E.                                FLICKER, JONAH
2244 LOWER SOUTH MAIN ST               31 SEAVIEW DR                                 3230 GRIFFITH PARK BLVD      NO.3
BANGOR PA 18013                        SANTA BARBARA CA 93108                        LOS ANGELES CA 90027




FLICKINGER, DONALD                     FLIGHTVIEW INC                                FLINT ARIZAGA
854 BLUE RIDGE TRAIL                   214 LINCOLN ST STE 213                        3800 CROSS BEND DRIVE
GARDEN CITY BEACH SC 29576             ALLSTON MA 02134                              ARLINGTON TX 76016




FLINT GROUP NORTH AMERICA CORP         FLINT GROUP NORTH AMERICA CORP                FLINT GROUP NORTH AMERICA CORP
13055 E TEMPLE AVENUE                  ATTN: ORDER PROCESSING                        1455 PAYSPHERE CIRCLE
CITY OF INDUSTRY CA 91746-1479         98 ANNEX                                      CHICAGO IL 60674
                                       5409 HIGHWAY AVENUE
                                       JACKSONVILLE FL 32205


FLINT GROUP NORTH AMERICA CORP         FLINT GROUP NORTH AMERICA CORP                FLINT GROUP NORTH AMERICA CORP
1524 DAVIS ROAD                        PO BOX 92300                                  4600 ARROWHEAD DR
ELGIN IL 60123                         CHICAGO IL 60675-2300                         ARBOR MI 48105-2773




                                              Page 739 of 2387
                           Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 740 of 800
FLINT GROUP NORTH AMERICA CORP          FLINT GROUP NORTH AMERICA CORP                FLINT GROUP NORTH AMERICA CORP
PO BOX 557                              2 CROWNMARK DR                                40 ALBION RD
DAYTON NJ 08810                         LINCOLN RI 02865                              LINCOLN RI 02865




FLINT MARX, REBECCA                     FLINT, CAROL                                  FLINT, ELIZABETH LAYNE
261 BROOME ST NO.3A                     13 ARWOOD ROAD                                114 SAVANNAH CIRCLE
NEW YORK NY 10002                       FARMINGTON CT 06032                           O FALLON MO 63368




FLINT, MANDY                            FLINT, PAUL F                                 FLINTOIL BERGER
1847 W OHIO ST UNIT NO.1                13 ARWOOD RD                                  140 EAST BARBOUR STREET
CHICAGO IL 60622                        FARMINGTON CT 06032                           2ND FLOOR
                                                                                      WINDSOR CT 06095



FLINTRIDGE PARK INC                     FLISZAR, FELICIA                              FLMPA ENDOWMENT CARE FUND
1039 FOOTHILL BLVD                      2120 ALLWOOD DR                               RE: LOS ANGELES 3333 SAN FERN
LA CANADA CA 91011                      BETHLEHEM PA 18018                            C/O JD PROPERTY MANAGEMENT INC
                                                                                      3520 CADILLAC AVE STE B
                                                                                      COSTA MESA CA 92626


FLMPA ENDOWMENT CARE FUND               FLMPA ENDOWMENT CARE FUND                     FLODYNE INCORPORATION
C/O CORELAND CARLSON                    C/O JD PROPERTY MANAGEMENT INC                1000 MUIRFIELD DR
PO BOX 807 91110-0400                   3520 CADILLAC AVE STE B                       HANOVER PARK IL 60103-5468
TUSTIN CA 92781-0807                    COSTA MESA CA 92626



FLODYNE INCORPORATION                   FLOMO, JUNIOR                                 FLOOD, THOMAS C
1000 MUIRFIELD DRIVE                    4 TORHAT CT APT NO L                          PO BOX 181
INGRID                                  BALTIMORE MD 21221                            MIDDLETOWN CT 06457
HANOVER PARK IL 60103



FLOOD,LESLIE                            FLOOR SPACE DESIGN INC                        FLOORING RESOURCES CORPORATION
P.O. BOX 225 (10 FREEDOM WAY)           499 BANTAN RD                                 600 WEST PRATT BLVD
PORTLAND CT 06480-0225                  LITCHFIELD IL 6759                            ELK GROVE VILLAGE IL 60007




FLORA GOLDSTEIN                         FLORA JOHNSON                                 FLORA SCAPE
9320 VERDA POINTE LANE                  3301 ROUND ROAD                               2719 W MONROE
BOCA RATON FL 33496                     BALTIMORE MD 21225                            SPRINGFIELD IL 62704




FLOREK, DONALD                          FLORENCE JONES                                FLORENCE LAMONICA
24 HALL ROAD                            3138 W. MARQUETTE                             59 HUNTINGTON RD
STAFFORD SPRINGS CT 06076-3327          CHICAGO IL 60629                              GARDEN CITY NY 11530




FLORENCE MALONE                         FLORENCE MATTSON                              FLORENCE MOELLER
1460 N SANDBURG TERR                    8 LAKE FOREST DRIVE                           254 EDMUNTON DRIVE
APT 2011A                               APT 101                                       APT. K1
CHICAGO IL 60610                        PLATTSBURGH NY 12903                          NORTH BABYLON NY 11703




                                               Page 740 of 2387
                           Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 741 of 800
FLORENCE SCHULTZ                        FLORENCE SIEMSEN                              FLORENCE, RICHARD W
2529 SPRUCE RD.                         30 RALPH AVENUE                               4725 WEST 102ND PLACE
034 RIDGE ROAD                          BABYLON NY 11702                              WESTMINSTER CO 80031
HOMEWOOD IL 60430



FLORENCE, SHAUMIKA                      FLORENCE, STEPHANIE                           FLORENZ, ANA
5409 SW 21ST STREET                     9040 S PLEASANT AVE                           11923 CITRUSWOOD DR
HOLLYWOOD FL 33023                      CHICAGO IL 60643                              ORLANDO FL 32832




FLORES HERNANDEZ, JUAN C                FLORES RODRIGUEZ, DANIEL                      FLORES, ADRIAN
10074 WOODALE AVE                       10825 ROYAL PALM BLV #1                       1529 SW 20TH AVE
ARLETA CA 91331                         CORAL SPRINGS FL 33065                        MIAMI FL 33145




FLORES, ANTONIO                         FLORES, ANTONIO                               FLORES, BERTHA M
2601 W LUTHER ST 2F                     3526 SOUTH 54TH AVENUE                        7310 ANDRESS COURT
CHICAGO IL 60608                        CICERO IL 60804                               FONTANA CA 92336




FLORES, DANNY                           FLORES, EMILIO                                FLORES, JAVIER
9802 CAMINITO BOLSA                     173 SPRUCE ST NO.22                           22-15 80TH ST
SAN DIEGO CA 92129                      MANCHESTER CT 06040                           EAST ELMHURST NY 11370




FLORES, JENNY                           FLORES, PAUL C                                FLORES, REINALDA
26 MCLEAN ST                            5306 SAN SABASTIAN WAY NO.308                 4392 NW 79 TERR
HARTFORD CT 06114                       VIERA FL 32955                                POMPANO BEACH FL 33065




FLORES, VITO J                          FLORESTAL, PYFECSONE                          FLORESTAL, WADNER
303 E PLANFIELD RD                      593 NW 47 AVE                                 593 NW 47 AVE
LAGRANGE IL 60525                       DELRAY BEACH FL 33445                         DELRAY BEACH FL 33445




FLORETTA LINTON                         FLOREZ, DIANA                                 FLORIAN PYREK
780 PARK PLACE                          9480 POINCIANA PL NO. 404                     385 KAY STREET
UNIONDALE NY 11553                      DAVIE FL 33324                                CRYSTAL LAKE IL 60014-3953




FLORIAN, NORA                           FLORICK KAWALEY                               FLORIDA BAR
1738 S IDAHO S APT 7                    P.O. BOX 617                                  650 APALACHEE PKWY
ALLENTOWN PA 18103                      NEW YORK NY 10009                             TALLAHASSE FL 32399-2300




FLORIDA BAR                             FLORIDA CABLE TELECO                          FLORIDA CABLE TELECO
651 E JEFFERSON ST                      246 E 6TH AVE                                 ASSOCIATION
TALLAHASSE FL 32399-2300                TALLAHASSEE FL 32303                          310 NORTH MONROE STREET
                                                                                      TALLAHASSEE FL 32301




                                               Page 741 of 2387
                         Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 742 of 800
FLORIDA CITRUS SPORT                  FLORIDA CITRUS SPORT                          FLORIDA CITRUS SPORT
C/O OLYMPIC SOCCER                    ONE CITRUS BOWL CENTRE                        ONE CITRUS BOWL PLACE
ATTN: DEAN O'KEEFE / SUITE 200        ORLANDO FL 32805-2451                         ORLANDO FL 32808
ONE CITRUS BOWL PLACE
ORLANDO FL 32805-2451


FLORIDA CITRUS SPORTS EVENTS, INC.    FLORIDA COUNCIL ON ECONOMIC EDUCATION         FLORIDA COUNCIL ON ECONOMIC EDUCATION
RE: ORLANDO FLORIDA CITRUS BO         1211 N WESTSHORE BLVD STE 305                 1311 N WESTSHORE BLVD S101
ONE CITRUS BOWL PLACE                 TAMPA FL 33607                                TAMPA FL 33607
ORLANDO FL 82805



FLORIDA DACHSHUND RESCUE INC          FLORIDA DEPARTMENT OF AGRICULTURE             FLORIDA DEPARTMENT OF AGRICULTURE
1638 BALIHAI CT                       AND CONSUMER SERVICES                         MAYO BUILDING RM 121
GULF BREEZE FL 32563                  407 S CALHOUN MS-M5                           407 S CALHOUN ST
                                      TALLAHASSE FL 32399-0800                      TALLAHASSEE FL 32399



FLORIDA DEPARTMENT OF AGRICULTURE     FLORIDA DEPARTMENT OF AGRICULTURE             FLORIDA DEPARTMENT OF ENVIRONMENTAL
PO BOX 147100                         PO BOX 6700                                   PROTECTION
GAINESVILLE FL 32614                  TALLAHASSE FL 32314                           3900 COMMONWEALTH BOULEVARD
                                                                                    M.S. 49
                                                                                    TALLAHASSEE FL 32399


FLORIDA DEPARTMENT OF HEALTH          FLORIDA DEPARTMENT OF HEALTH                  FLORIDA DEPARTMENT OF HEALTH
4052 BALD CYPRESS WAY BIN C21         500 S BRONOUGHT                               705 WELLS ROAD   STE 300
TALLAHASSEE FL 32399-1741             TALLAHASSEE FL 32399                          ORANGE PARK FL 32073-2982




FLORIDA DEPARTMENT OF HEALTH          FLORIDA DEPARTMENT OF HEALTH                  FLORIDA DEPARTMENT OF HEALTH
CONTROL                               EMPLOYMENT SECURITY                           OSCEOLA COUNTY HEALTH DEPT
PO BOX 210                            1321 EXECUTIVE CENTER DRIVE                   ATTN CAMILLE BISSAINTTE
JACKSONVILLE FL 32231                 100 ASHLEY BUILDING                           1875 BOGGY CREEK RD
                                      TALLAHASSEE FL 32399-6512                     KISSIMMEE FL 34744


FLORIDA DEPARTMENT OF REVENUE         FLORIDA DEPARTMENT OF REVENUE                 FLORIDA DEPARTMENT OF REVENUE
1379 BLOUNTSTOWN HWY                  ATTN ANNETTE LOPEZ                            CARLTON BUILDING
TALLAHASEE FL 32304                   5401 SOUTH KIRKMAN RD SUITE 500               TALLAHASSEE FL 32399-0125
                                      ORLANDO FL 32819



FLORIDA DEPARTMENT OF REVENUE         FLORIDA DEPARTMENT OF REVENUE                 FLORIDA DEPARTMENT OF REVENUE
COLLECTION AGENCY UNIT PMB 392        HOLLYWOOD SERVICE CENTER                      PO BOX 6417
4244 W TENNESEE ST                    6565 TAFT ST STE 300                          TALLAHASSEE FL 32314-6417
TALLAHASSEE FL 32304-1033             HOLLYWOOD FL 33024-4044



FLORIDA DEPARTMENT REVENUE            FLORIDA DEPARTMENT REVENUE                    FLORIDA DEPARTMENT REVENUE
325 W GAINES STREET                   409 EAST GAINES ST                            5050 W TENNESSEE ST
C/O MS PATRICA FROHE                  DIVISION OF CORPORTATIONS                     TALLAHASSEE FL 32399-0128
EIAS SUITE 852                        TALLAHASSEE FL 32399
TALLAHASSEE FL 32399-0400


FLORIDA DEPARTMENT REVENUE            FLORIDA DEPARTMENT REVENUE                    FLORIDA DEPARTMENT REVENUE
DEPT OF LAW ENFORCEMENT               DIVISION OF CORPORATIONS                      DIVISION OF CORPORATIONS
2331 PHILLIPS RD                      ANNUAL REPORTS SECTION                        UNIFORM BUSINESS REPORT FILINGS
TALLAHASSEE FL 32308                  PO BOX 1500                                   PO BOX 1500
                                      TALLHASSEE FL 32302-1500                      TALLHASSEE FL 32302-1500




                                             Page 742 of 2387
                        Case 08-13141-BLS      Doc 17-1        Filed 12/08/08   Page 743 of 800
FLORIDA DEPARTMENT REVENUE              FLORIDA DEPARTMENT REVENUE                 FLORIDA DEPARTMENT REVENUE
DIVISION OF CORPORATONS                 DIVISIONO OF LICENSING                     ENFORCEMENT
PO BOX 6327                             PO BOX 6687                                P O BOX 1489
TALLAHASSEE FL 32314                    TALLAHASSEE FL 32314-6687                  TALLAHASSEE FL 32302



FLORIDA DEPARTMENT REVENUE              FLORIDA DEPT OF ENVIRONMENTAL              FLORIDA DEPT OF REVENUE
PO BOX 3000                             RECYCLING PROGRAM MS 4555                  5050 WEST TENNESSEE STREET
PROPERTY TAX ADMINISTRATION             2600 BLAIR STONE RD                        TALLAHASSEE FL 32399-0135
TALLAHASSEE FL 32315-3000               TALLAHASSEE FL 32399-2400



FLORIDA DEPT OF STATE                   FLORIDA DIGITAL GALLERY                    FLORIDA FLAME
DIVISION OF CORPORATIONS                5521 NE 19TH AVE                           2651 NE 186TH TERR
PO BOX 1698                             FT LAUDERDALE FL 33308                     NORTH MIAMI BEACH FL 33180
TALLAHASSEE FL 32314



FLORIDA MARLINS BASEBALL LTD            FLORIDA MARLINS BASEBALL LTD               FLORIDA MEDIA DISTRIBUTION LLC
2267 DAN MARINO BLVD                    2267 NW 199 STREET                         432 SE 11TH ST NO.B-107
MIAMI FL 33056                          ATT: JEFF TANZER                           DEERFIELD BEACH FL 33441
                                        MIAMI FL 33056



FLORIDA NEWSPAPER ADVERTISING &         FLORIDA NEWSPAPER ADVERTISING &            FLORIDA NEWSPAPER ADVERTISING &
801 S TAMIAMI TRAIL                     C/O NAPLES DAILY NEWS                      C/O STUART NEWS (MIKE BALLINGER)
SARASOTA FL 34236                       1075 CENTRAL AVE                           1939 S FEDERAL HWY
                                        NAPLES FL 34102                            STUART FL 34994



FLORIDA NEWSPAPER ADVERTISING &         FLORIDA NEWSPAPER ADVERTISING &            FLORIDA NEWSPAPER ADVERTISING &
MARKETING EXECUTIVES                    MARKETING EXECUTIVES                       MARKETING EXECUTIVES
% SANDY OSTEEN                          8759 BAY POINTE DRIVE                      2751 SOUTH DIXIE HWY
8759 BAY PONTE DRIVE                    TAMPA FL 33615                             WEST PALM BEACH FL 33405
TAMPA FL 33615


FLORIDA NEWSPAPER ADVERTISING &         FLORIDA NEWSPAPER ADVERTISING &            FLORIDA NEWSPAPER IN EDUC COORDINATOR
ONE HERALD PLZA                         THE PALM BEACH POST -                      2636 MITCHAM DR
MIAMI FL 33132                          CAROL VON FEILITZSCH                       TALLAHASSEE FL 32308
                                        2751 S DIXIE HWY
                                        WEST PALM BCH FL 33405


FLORIDA NEWSPAPER IN EDUC COORDINATOR   FLORIDA NEWSPSPER AGENCY LLC               FLORIDA POWER & LIGHT
333 SW 12TH AVE                         2701 EAGLE LAKE DR                         ACCT NO. 04054-50602
DEERFIELD BEACH FL 33442                CLERMONT FL 34711                          P.O. BOX 025576
                                                                                   MIAMI FL 33188-0001



FLORIDA POWER & LIGHT                   FLORIDA POWER & LIGHT                      FLORIDA POWER & LIGHT
ACCT NO. 47532-55415                    ACCT NO. 57089-60017                       GENERAL MAIL FACILITY
P.O. BOX 025576                         P.O. BOX 025576                            P.O. BOX 025576
MIAMI FL 33102                          MIAMI FL 33188-0001                        MIAMI FL 33102-5576



FLORIDA POWER & LIGHT                   FLORIDA POWER AND LIGHT                    FLORIDA POWER AND LIGHT COMPANY
P.O. BOX 025576                         700 UNIVERSE BLVD.                         700 UNIVERSE BLVD
MIAMI FL 33102                          JUNO BEACH FL 33408                        JUNO BEACH FL 33480




                                            Page 743 of 2387
                           Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 744 of 800
FLORIDA POWER AND LIGHT COMPANY         FLORIDA PREPAID COLLEGE PROGRAM               FLORIDA PRESS ASSOCIATION
PO BOX 025576                           PO BOX 31088                                  RE: TALLAHASSEE BUREAU
MIAMI FL 33102                          TAMPA FL 33631-3088                           2636 MITCHAM DRIVE
                                                                                      TALLAHASSEE FL 32308



FLORIDA PRESS ASSOCIATION               FLORIDA PRESS ASSOCIATION                     FLORIDA PRESS ASSOCIATION
RE: TALLAHASSEE TRIBUNE                 122 S CALHOUN STREET                          2636 MITCHAM ROAD
2636 MITCHAM DRIVE                      TALLAHASSEE FL 32301                          TALLAHASSEE FL 32308
TALLAHASSEE FL 32308



FLORIDA PRESS ASSOCIATION, INC.         FLORIDA PRESS ASSOCIATION, INC.               FLORIDA RECYCLING
RE: TALLAHASSEE BUREAU                  RE: TALLAHASSEE BUREAU                        [ADDRESS UNAVAILABLE AT TIME OF FILING]
ATTN: ACCOUNTS RECEIVABLE               ATTN: CORINNA SCHMIDT
2636 MITCHAM DRIVE                      2636 MITCHAM DRIVE
TALLAHASSEE FL 32308                    TALLAHASSEE FL 32308


FLORIDA SAFETY LINKS INC                FLORIDA STATE UNIVERSITY                      FLORIDA STATE UNIVERSITY
PO BOX 933                              EVENT COORDINATOR THE CAREER CTR              OFFICE OF TELECOMMUNICATIONS
GOTHA FL 34734                          UNIVERSITY CENTER, STE 4100A                  105 ROD K SHAW BLDG
                                        TALLASHASSEE FL 32306-2490                    TALLAHASSEE FL 32306-1120



FLORIDA STATE UNIVERSITY                FLORIDA STATE UNIVERSITY                      FLORIDA STATE UNIVERSITY
OFFICE OF TELECOMMUNICATIONS            STUDENT FINANCIAL SERVICES                    WFSU TV
644 WEST CALL STREET                    1500 UCA                                      1600 RED BARBER PLZA
TALLAHASSEE FL 32306-1120               TALLAHASSEE FL 32306                          TALLAHASSEE FL 32310-1021



FLORIDA TRADE GRAPHICS INC              FLORISCA, DAVID                               FLORITA REALIN
4305 NE 11TH AVE                        3412 CHANTELAINE BLVD                         817 IRMA AVE.
POMPANO BEACH FL 33064                  DELRAY BEACH FL 33445                         #1
                                                                                      ORLANDO FL 32803



FLORIVAL, SORAYA                        FLORY, PAT                                    FLOURNOY, ARINIAN
6231 GRANT CT                           34 GIFFORD LN                                 1502 W 79TH ST
HOLLYWOOD FL 33024                      BOZRAH CT 06334                               CHICAGO IL 60620




FLOW PRODUCTS INC                       FLOW PRODUCTS INC                             FLOWERS, KEVIN
2626 W ADDISON ST                       PO BOX 128                                    5817 N KENANSVILLE RD
CURTIS/DOROTHY                          C/O GLENVIEW STATE BANK                       ST CLOUD FL 34773
CHICAGO IL 60618                        GLENVIEW IL 60025



FLOWERS, PERLA                          FLOWERS, REGINALD L                           FLOWERS, WILLIE
215 PARKSIDE CT NO. F                   6280 EDWARDS CIRCLE                           P.O. BOX 1419
KIMBERLY WI 54136                       SMITHFIELD VA 23430                           2709
                                                                                      APOPKA FL 32704



FLOYD L RUSSELL                         FLOYD, ALYSHA ANN                             FLOYD, CHRISTOPHER V
702 B MAIN STREET                       21551 BROOKHURST ST APT 200                   155 E 36TH STREET
HUNTINGTON BCH CA 92648                 HUNTINGTON BEACH CA 92646                     BUENA VISTA VA 24416




                                               Page 744 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 745 of 800
FLOYD, CLIFF                           FLOYD, GARY                                   FLOYD, GARY
3283 BIRCH TERRACE                     ACCT NO 563847646                             PO BOX 1240
DAVIE FL 33330                         PO BOX 942840                                 WOODBRIDGE CA 95258
                                       SACRAMENTO CA 94240-0040



FLOYD, GARY                            FLOYD, JOHN PATRICK                           FLOYD, KIM S
417 EDGAR LN                           4808 FRANKFORD AVENUE                         2632 GAYOSA ST
SURRY VA 23846                         BALTIMORE MD 21206                            BATON ROUGE LA 70802




FLOYD, PETRINA                         FLOYD, PRICE                                  FLUELLEN II, JOHN S
3313 PEPPERTREE CIRCLE, NO.A           CENTER FOR A NEW AMER SECURITY                10588 SW 6TH STREET
DECATUR GA 30034                       1301 PENNSYLVANIA AVE NW STE 403              PEMBROKE PINES FL 33025
                                       WASHINGTON DC 20004



FLUID POWER ENGINEERING INC            FLUID POWER ENGINEERING INC                   FLUMAN, JEFFREY ERIC
110 GORDON                             110 GORDON                                    28 LUNETTE AVE
JEFFPARKER                             ELK GROVE VILLAGE IL 60007-1120               FOOTHILL RANCH CA 92610
ELK GROVE VILLAGE IL 60007



FLUX CONSULTING INC                    FLY BY MORNING DIST., INC                     FLY BY MORNING DIST., INC
307 7TH AVE   STE 2204                 169 SAN JUAN AVE                              169 SAN JUAN AVE
NEW YORK NY 10001                      ALBERTON NY 11507                             ALBERTSON NY 11507




FLYING FISH HELICOPTERS                FLYING LION PRODUCTIONS                       FLYNET PICTURES LLC
PO BOX 3471                            PO BOX 90364                                  8491 SUNSET BLVD NO.425
KIRKLAND WA 98083-3471                 CITY OF INDUSTRY CA 91715-0364                WEST HOLLYWOOD CA 90069




FLYNN MCROBERTS                        FLYNN, CAROLYN                                FLYNN, CAROLYN
5545 S. DORCHESTER AVE.                70 ORCHARD ST                                 PO BOX 335
CHICAGO IL 60637                       VERNON CT 06066                               VERNON CT 06066




FLYNN, DAVID                           FLYNN, DAVID                                  FLYNN, HOWARD
111 W 154TH ST                         1228 BRANDYWINE RD ACCT NO.784                50 MIDDLE ISLAND AVE
SOUTH HOLLAND IL 60473                 CROWN POINT IN 46307                          MEDFORD NY 11763




FLYNN, JESSICA                         FLYNN, MICHAEL                                FLYNN, OWEN G
7405 COON CLUB RD                      18 JUDE LANE                                  34 CARNEY RD
MEDINA OH 44256                        MANSFIELD CT 06250                            ENFIELD CT 06082




FLYNN, STEPHEN E                       FLYNN, TAMMI S                                FLYNN, THOMAS V
3 SWANSWOOD LN                         37 ASNUNTUCK STREET APT 2                     1008 OCEAN AVE
OLD LYME CT 06371                      ENFIELD CT 06082                              BOYNTON BEACH FL 33426




                                              Page 745 of 2387
                         Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 746 of 800
FM GLOBAL                             FM GLOBAL                                     FMC TECHNOLOGIES INC
FACTORY MUTUAL INSURANCE COMPANY      300 SOUTH NORTHWEST HWY                       PO BOX 945615
PO BOX 7500                           PARK RIDGE IL 60068                           ATLANTA GA 30394-5615
JOHNSTON RI 02919



FMC TECHNOLOGIES INC                  FMC TECHNOLOGIES INC                          FMC TECHNOLOGIES INC
14048 COLLECTION DR                   MATERIAL HANDLING DIV                         MATERIAL HANDLING SYSTEMS DIVISION
CHICAGO IL 60693                      13866 COLLECTIONS CENTER DR                   P O BOX 96138
                                      CHICAGO IL 60693                              CHICAGO IL 60693



FMC TECHNOLOGIES INC                  FMC TECHNOLOGIES INC                          FMC TECHNOLOGIES INC
400 HIGHPOINT WAY                     57 COOPER AVE                                 PO BOX 8500-1585
CHALFONT PA 18914                     HOMER CITY PA 15748-1306                      PHILADELPHIA PA 19178-1585




FMC TECHNOLOGIES INC                  FMP STRATFORD LLC                             FNU ARUN
PO BOX 904(HIGHPOINT DRIVE)           STRATFORD SQUARE MALL                         9946 NOB HILL LANE
ATTN: JOE CAMPBELL                    152 STRATFORD SQUARE                          SUNRISE FL 33351
JOHN HARPER                           BLOOMINGDALE IL 60108
CHALFONT PA 18914-0904


FOARD III, EDWIN M                    FOARD, CYNTHIA ROSE                           FOARD, WILLIAM ALBERT
2309 DALIB ROAD                       4121 DORIS AVE                                904 PUNJAB CIRCLE
FINKSBURG MD 21048                    BROOKLYN MD 21225                             ESSEX MD 21221




FOCAL POINT VIDEO NEWS SERVICE        FOCAL POINT VIDEO NEWS SERVICE                FOCHT, WALTER M
PO BOX 2704                           PO BOX 93884                                  RR#2
GARDEN GROVE CA 92842                 LOS ANGELES CA 90093                          BOX 194
                                                                                    HOLLIDAYSBURG PA 16648



FOCUS ON THE FAMILY                   FOCUSCOPE INC                                 FOGARTY, NADIA
BOX 998                               1100 LAKE STREET SUITE 60                     2643 LINCOLN ST APT 31
COLORADO SPRINGS CO 80901             OAK PARK IL 60301                             HOLLYWOOD FL 33020




FOGEL, ROBERTA A.                     FOGELSON, DOUGLAS                             FOGELSON, JASON
20920 ORCHARD LAKE                    DBA DOUGLAS REID FOGELSON                     5760 LEMP AVE
FARMINGTON HILLS MI 48336             PHOTOGRAPHY (DRFP)                            NORTH HOLLYWOOD CA 91601
                                      437 N WOLCOTT NO.101
                                      CHICAGO IL 60622


FOINTNO, JENNIFER                     FOLASADE,JOHN                                 FOLEY, F KATHLEEN
229 DENNA DR                          1562 NW 157TH AVE                             13826 HAYNES ST
TYLER TX 75702                        PEMBROKE PINES FL 33028                       VAN NUYS CA 91401




FOLEY, JEFF                           FOLEY, MAUREEN                                FOLEY, SMIT, O'BOYLE & WEISMAN
3 CAMBRIDGE CT                        3905 FOOTHILL RD                              HUGH O'BOYLE
MECHANICVILLE NY 12118                CARPINTERIA CA 93013                          100 WILLIAM ST.
                                                                                    SUITE 901-902
                                                                                    NEW YORK NY 10038




                                             Page 746 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 747 of 800
FOLEY, SMIT, O'BOYLE & WEISMAN         FOLEY, SMIT, O'BOYLE & WEISMAN                FOLEY, THOMAS
LISA TORTORA                           WARREN FECKETT                                7270 ASHFORD PLACE UNIT 308
175 FULTON AVE.                        175 FULTON AVE.                               DELRAY BEACH FL 33446
SUITE 307                              SUITE 307
HEMPSTEAD NY 11550                     HEMPSTEAD NY 11550


FOLIAGE DESIGN SYSTEMS                 FOLIO, KENNETH                                FOLISI, KELLY
324 N EISENHOWER LANE                  1214 62ND STREET                              300 PARKER PL
LOMBARD IL 60148                       BALTIMORE MD 21237                            OSWEGO IL 60543




FOLKS, CHRIS                           FOLLETTS                                      FOLLETTS
15403 CLAYBURN DRIVE                   1818 SWIFT DR                                 PURDUE WEST BOOKSTORE
LAUREL MD 20707                        OAKBROOK IL 60523                             1400 W STATE ST
                                                                                     WEST LAFAYETTE IN 47906



FOLSOM, CHANDRA N                      FONDO, DENISE                                 FONG JR, PHILLIP
52-A KINGS HIGHWAY NORTH               508 SOUTH GENESEE AVENUE                      8419 GRAND AVE
WESTPORT CT 06880                      LOS ANGELES CA 90036                          ROSEMEAD CA 91770




FONG, CLIFFORD                         FONG, LISA S                                  FONS, MARY E
855 S SERRINO AVE NO.53                105 MONTEREY ROAD                             1922 W PALATINE RD
LOS ANGELES CA 90005                   SOUTH PASADENA CA 91030                       INVERNESS IL 60067




FONSECA, CYNTHIA M                     FONSECA, JASON                                FONSECA, SHEILA N
11145 SW 138 STREET                    26 RYEFIELD DR                                26 RYEFIELD DR
MIAMI FL 33176                         ENFIELD CT 06082-3923                         ENFIELD CT 06082-3923




FONSECA-JIMENEZ, ROSA                  FONT, FRANKLIN                                FONT, FRANKLIN
3430 SUMMERCOURT DRIVE                 PARROQUIA 23 EL OBSERVATORIA                  PARROQUIA 23 EL OBSERVATORIA
JONESBORO GA 30236                     CALLE LIBERTAD #1                             CALLE LIBERTAD NO.1
                                       CARACAS                                       CARACAS



FONT, OMAR                             FONTAINE, EDGAR                               FONTAINE, FABRICE
352 BRIAR BAY CIRCLE                   3020 ANDERSON DRIVE                           946 SW 102ND TERRACE
ORLANDO FL 32825                       DIGHTON MA 02715                              PEMBROKE PINES FL 33025




FONTAN, PEDRO                          FONTANEZ, JOSE                                FONTANEZ, JULIE
957 ISLANDER AVE                       6401 SW 30TH STREET                           1312 N 23RD AVE
ORLANDO FL 32825                       MIRAMAR FL 33023                              MELROSE PARK IL 60150




FONTECCHIO, CLIFFORD                   FONTENOT, AIDAH                               FONTENOT, MICHAEL E
217 C GEORGETOWN DR                    209 19TH STREET NE APT 2                      107 CARRIE ST
CASSELBERRY FL 32707                   WASHINGTON DC 20002                           LAFAYETTE LA 70503




                                              Page 747 of 2387
                           Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 748 of 800
FOOD 4 LESS                             FOOD CREW INC                                 FOOD FOR THOUGHT CATERING
ATTN DENISE MKTG DEPT                   8205 SANTA MONICA BLVD  NO.1-398              7001 N RIDGEWAY AVE
1100 W ARTESIA BLVD                     WEST HOLLYWOOD CA 90046                       LINCOLNWOOD IL 60645
COMPTON CA 90220-5108



FOOD FOR THOUGHT CATERING               FOOD SERVICE DEPARTMENT                       FOOKSMAN, LEON
PROFESSIONALS LTD                       HARTFORD PUBLIC SCHOOLS                       11211 NW 17TH PL
7001 RIDGEWAY                           270 MURPHY RD                                 CORAL SPRINGS FL 33071
LINCOLNWOOD IL 60645                    HARTFORD CT 06114



FOONG, LIVIA                            FOOTE JR, KEVIN M                             FOOTHILL INDUSTRIAL MEDICAL CLINIC IN
501 ARBOLES ST                          3943 RIVERSIDE PKWY                           FOOTHILL MEDICAL CENTER
MONTEREY PARK CA 91754                  DECATUR GA 30034                              6520 N IRWINDALE AVE
                                                                                      IRWINDALE CA 91702



FOOTHILLS PAVING & MAINTENANCE INC      FOR SALE BY OWNER MAGAZINE                    FOR SALE BY OWNER MAGAZINE
15485 W 44TH AVE                        3735 LAKE ASPEN WEST                          4407 A VETERANS BLVD
GOLDEN CO 80403                         GRETNA LA 70056                               METAIRIE LA 70006




FOR SALE BY OWNER MAGAZINE              FOR SALE BY OWNER REALTY LLC                  FOR SALE BY OWNER REALTY LLC
PO BOX 1841                             2890 WILSON AVE                               4920 BROADMOOR SE
HARVEY LA 70059                         GRANDVILLE MI 49418                           GRAND RAPIDS MI 49512




FOR SALE BY OWNER SERVICES LLC          FORAN, STEPHEN                                FORBES, CYNTHIA
7720 CHAPEL HILL RD                     1050 AVERY STREET                             5232 NE 5 AVE
RALEIGH NC 27607                        SOUTH WINDSOR CT 06074-2301                   FT LAUDERDALE FL 33334




FORBES, JACKIE                          FORBES, LORRAINE                              FORBES, SCOTT R
21 KENTUCKY AVE APT 18                  138 SW 24TH AVE                               9 FARNER AVE
FORT LAUDERDALE FL 33312                FT. LAUDERDALE FL 33312                       SELDEN NY 11784




FORBIN-CLORAIN, JUDY                    FORCE                                         FORCI, FRANCO
118 SUMPTER STREET                      [ADDRESS UNAVAILABLE AT TIME OF FILING]       VIA CIMABUE 45
BROOKLYN NY 11233                                                                     GROSSETO 58100




FORD MODELS INC                         FORD MODELS INC                               FORD MODELS INC
ATTN EMILIE BARTOLOME                   111 5TH AVE 9TH FLOOR                         PO BOX 29629
1017 W WASHINGTON SUITE 2C              NEW YORK NY 10003                             GENERAL POST OFFICE
CHICAGO IL 60607                                                                      NEW YORK NY 10087-9629



FORD MOTOR CREDIT COMPANY               FORD MOTOR CREDIT COMPANY                     FORD MOTOR CREDIT COMPANY
PO BOX 105332                           PO BOX 88306 JK                               PO BOX 94380
ATLANTA GA 30348-5332                   CHICAGO IL 60680-1306                         PALATINE IL 60094-4380




                                               Page 748 of 2387
                           Case 08-13141-BLS      Doc 17-1        Filed 12/08/08   Page 749 of 800
FORD MOTOR CREDIT COMPANY                  FORD MOTOR CREDIT COMPANY                  FORD MOTOR CREDIT COMPANY
PO BOX 55000                               PO BOX 220555                              PO BOX 220564
DETROIT MI 48255-0694                      PITTSBURGH PA 15257-2555                   PITTSBURGH PA 15257-2564




FORD MOTOR CREDIT COMPANY D/B/A PRIMUS     FORD, AMY L                                FORD, ANN
FINANCIAL SERVICES, C/O MARCUS C AQUIRE,   2130 ALLENTOWN RD                          1435 W BALMORAL AVE    NO.2-S
ESQ; MOODY, JONES, & MONTEFUSCO, PA        SOUDERTON PA 18964                         CHICAGO IL 60640
1333 S UNIVERSITY DRIVE, SUITE 201
PLANTATION FL 33324


FORD, DALE                                 FORD, DALE                                 FORD, LARRY M
67 WHEELER LN                              694 MAIN ST                                DBA TEXAS PRIME PLBG
TORRINGTON CT 06790                        TORRINGTON CT 06790-3603                   1636 BROOME ROAD
                                                                                      BARTONVILLE TX 76226



FORD, MARCHIA F                            FORD, RANDY                                FORD, REBECCA
5757 GODWIN BLVD APT 406                   3130 FERN VALLEY DR                        334 AMHERST DR APT D
SUFFOLK VA 23434                           MARIETTA GA 30008                          BURBANK CA 91504




FORD-CARTHER, JULIA                        FORD-CARTHER, JULIA                        FORD-DAUGHTREY, DANIELLE
3042 LIVONIA AVE APT B4                    3042 LIVONIA AVE APT B4                    6310 ROBERTSON LANE
LOS ANGELES CA 90034                       LOS ANGELES CA 90084                       SMITHFIELD VA 23430




FORDE III, THOMAS J                        FORDE, NYA CHRISTINE                       FORDYCE A BEACH
1868 HIGHBROOK ST                          9793 NOB HILL CT                           1010 RENMAR DRIVE SW
YORKTOWN HEIGHTS NY 10598                  SUNRISE FL 33351                           PLANTATION FL 33317




FOREMAN, JUDY                              FOREMAN, YVONNE                            FORER INC
4 BRATTLE ST STE 301                       2210 DE SOTO DR                            6815 SW 81ST TER
CAMBRIDGE MA 02138                         MIRAMAR FL 33023                           MIAMI FL 33143




FORER INC                                  FORESIGHT GROUP                            FORESIGHT INTERNATIONAL
DAN FORER                                  65 OAKWOOD DRIVE                           ATTN: LISA MODGLIN
6815 SW 81ST TERRACE                       LAKE ZURICH IL 60047                       711 ROSE ROAD
MIAMI FL 33143                                                                        LAKE ZURICH IL 60047



FOREST HILLS CHAMBER OF COMMERCE           FOREST LAWN CEMETERY ASSOCIATION           FOREST PARK CHAMBER OF COMMERCE
OF QUEENS                                  RE: LOS ANGELES 3333 SAN FERN              7344 W MADISON ST
PO BOX 751123                              1712 SOUTH GLENDALE AVENUE                 FOREST PARK IL 60130
FOREST HILLS NY 11375                      GLENDALE CA 91205



FOREST PARK CHAMBER OF COMMERCE            FORESTAL, JULIANA                          FORESTT A DAIL
PO BOX 617                                 1501 STONEHAVEN DR NO. 7                   955 HARPERSVILLE ROAD
FOREST PARK IL 60130                       BOYNTON BEACH FL 33436                     # 2036
                                                                                      NEWPORT NEWS VA 23601




                                               Page 749 of 2387
                         Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 750 of 800
FORGE MARKETING COMMUNICATIONS        FORGES, JONATHAN                              FORGIONE, MICHAEL
4283 CHESTNUT ST 1ST FLR              3469 CLUSTER RD                               185 CAMBRIDGE DRIVE
EMMAUS PA 18049                       MIRAMAR FL 33025                              COPIAQUE NY 11726




FORGOSTON, JEFFREY C                  FORHAN, ABIGAIL GREEN                         FORHAN, ABIGAIL GREEN
516 NE 28TH ST                        3500 PARKDALE AVE NO.18                       6303 BLACKBURN CT
WILTON MANORS FL 33334                BALTIMORE MD 21211                            BALTIMORE MD 21212




FORKERWAY, GEORGE                     FORMAN, ELLEN                                 FORMAN, JAMES M
7607 SANDYGATE LANE                   10309 NW 5TH STREET                           424 MANVILLE RD APT 8
HOUSTON TX 77095                      PLANTATION FL 33324                           PLEASANTVILLE NY 10570




FORMAN, MELISSA                       FORMAN, ROSS                                  FORNOLES, RALPH
360 VINE AVE                          564 LEPARC CIR                                453 RAY ST
HIGHLAND PARK IL 60035                BUFFALO GROVE IL 60089                        FREEPORT NY 11520




FORR'S KEYPUNCHING SVC INC            FORREST LEE                                   FORREST, BRENDA ANN
PO BOX 201                            1175 E. OCEAN BLVD.                           404 NW 9TH AVE.
MILFORD SQUARE PA 18935               NO. 311                                       POMPANO BEACH FL 33060
                                      LONG BEACH CA 90802



FORREST, FRANCIS                      FORRESTER RESEARCH I                          FORRESTER, JUNE A
2303 MAHONEY AVE                      PO BOX 11036                                  13 CURTIS DRIVE
STE 2432                              BOSTON MA 02211                               NEWPORT NEWS VA 23603
LEESBURG FL 34748



FORSHT, CARLY D                       FORST, DONALD                                 FORSTONE 350 LLC
5336 SILVERHEART AVE                  P O BOX 2                                     1 MARSHALL STREET SUITE 208
LAS VEGAS NV 89142                    LIVINGSTON NY 12541                           SOUTH NORWALK CT 06854




FORSTONE 350 LLC                      FORSYTHE SOLUTIONS GROUP INC                  FORSYTHE SOLUTIONS GROUP INC
MANAGEMENT OFFICE                     39219 TREASURY CENTER                         7440 NORTH LONG AVE
360 FAIRFIELD AVE                     CHICAGO IL 60694                              SKOKIE IL 60077
BRIDGEPORT CT 06606



FORSYTHE SOLUTIONS GROUP INC          FORSYTHE, DONNA J                             FORSYTHE/MCARTHUR ASSOCIATES, INC.
75 REMITTANCE DRIVE STE 1134          870 N MILWAUKEE NO.304                        7770 FRONTAGE ROAD
CHICAGO IL 60675-1134                 CHICAGO IL 60622                              SKOKIE IL 60077




FORT BEND COUNTY TAX ASSESSOR         FORT BEND COUNTY TAX ASSESSOR                 FORT WAYNE NEWSPAPERS INC
COLLECTOR                             PO BOX 1028                                   600 W MAIN STREET
PO BOX 399                            SUGARLAND TX 77487-1028                       PO BOX 100
RICHMOND TX 77406-0399                                                              FORT WAYNE IN 46801-0100




                                             Page 750 of 2387
                        Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 751 of 800
FORT WORTH STAR TELEGRAM             FORT WORTH STAR TELEGRAM                      FORT WORTH STAR TELEGRAM
400 W SEVENTH ST                     PO BOX 1870                                   PO BOX 901051
FORT WORTH TX 76102                  FT WORTH TX 76101                             FT WORTH TX 76107




FORT, MICHAEL                        FORTIN, CASSANDRA                             FORTIN, JOHN
17 AUTUMNBREEZE WAY                  4802 LARKIN RD                                99 GOLF ST
WINTER PARK FL 32792                 FORT MEADE MD 20755                           NEWINGTON CT 06111-3403




FORTNER ENTERPRISES                  FORTSON, AKILAH I                             FORTSON, ANGELIA
335 RIVER RIDGE ROAD                 115-44 LINCOLN ST                             7500 S SOUTH SHORE DR APT 514
PACOLET SC 29372                     SOUTH OZONE PARK NY 11420                     CHICAGO IL 60649




FORTUNATO RAYGOZA                    FORTUNATO, PHYLLIS                            FORTUNE, CRYSTAL NICOLE
22882 HICKORY HILLS AVENUE           5830 SW 32ND ST.                              615 HILLCREST ST
EL TORO CA 92630                     DAVIE FL 33314                                ORLANDO FL 32802




FORTUNE,FRANTZ                       FORUM ANALYTICS LLC                           FORUM COMMUNICATION CORP
2101 DORSON WAY                      1608 N MILWAUKEE AVE STE 1003                 1226 OGDEN AVE
DELRAY BEACH FL 33445                CHICAGO IL 60647                              SUPERIOR WI 54880




FOSCO, KIMBERLY A                    FOSCO, KIMBERLY A                             FOSLER, LAWRENCE R
536 CREEKSIDE DR                     ACCT 348746993                                411 N 6TH ST  NO.778
LOWELL IN 46356                      ACS SUPPORT STOP 813G                         EMERY SD 57332
                                     PO BOX 145566
                                     CINCINNATI OH 45250-5566


FOSS, JAMESON                        FOSSAS, KEILA N                               FOSSAS, MARK A
1620 BAY ROAD NO 1                   11302 NW 9TH ST                               11302 NW 9TH STREET
MIAMI BEACH FL 33139                 PLANTATION FL 33325                           PLANTATION FL 33325




FOSSAS, PURISIMA C                   FOSSETT, HEATHER                              FOSSUM, KAREN
11302 NW 9TH STREET                  12 MERRILL ST APT B-1                         VESTSIDEVEIEN 527
PLANTATION FL 33325                  HARTFORD CT 06106                             SYLLING 3410




FOSTER, EVERTON A                    FOSTER, JOHN J                                FOSTER, JOHN J
5 PURITAN DR                         6 CENTURY DR                                  FOX COMMUNICATIONS
BLOOMFIELD CT 06002                  TRUMBULL CT 06611                             PO BOX 1185
                                                                                   FAIRFIELD CT 06825



FOSTER, KENDRICK                     FOSTER, ROBERT                                FOSTER, SUSAN J
1821 KINGSLAND AVE                   3760 MOUND VIEW AVE                           PO BOX 152
ORLANDO FL 32808                     STUDIO CITY CA 91604                          EAST WOODSTOCK CT 06244




                                            Page 751 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 752 of 800
FOSTER, THEODORE                       FOSTER, THOMAS W                              FOSTER, WENDY M
2832 W AMELIA ST                       666 N DIXIE HWY                               1640 PLUM CT
STE 2005                               HOLLYWOOD FL 33020                            DOWNERS GROVE IL 60515
ORLANDO FL 32805



FOSTER-BREWINGTON, ERNA                FOTAGRAPHY                                    FOTHERGILL, MICHAEL J
9262 WEDGEWOOD LA                      1935 FERNWAY AVE                              107 CHESTNUT DR
TAMARAC FL 33321                       BETHLEHEM PA 18018                            QUAKERTOWN PA 18951




FOTHERGILL, PAMELA LYNN                FOTO KEM INDUSTRIES INC                       FOTO KEM INDUSTRIES INC
107 CHESTNUT DR                        2801 W ALAMEDA AVE                            PO BOX 7755
QUAKERTOWN PA 18951                    BURBANK CA 91510                              BURBANK CA 91510-7755




FOTOWORKS                              FOTOWORKS                                     FOUND MAGAZINE
5069 EXPOSITION BLVD                   8885 VENICE BLVD STE 103                      320 S MAIN STREET SUITE A
LOS ANGELES CA 90016                   LOS ANGELES CA 90034                          ANN ARBOR MI 48104




FOUNDATION ASSOCIATES INC              FOUNDATION ASSOCIATES INC                     FOUNDATION FOR EARLY CHILDHOOD
187 MONROE STREET                      5 ROCKLEDGE ROAD                              3360 FLAIR DRIVE SUITE 100
PASSAIC NJ 07055                       MONTVILLE NJ 07045                            EL MONTE CA 91731




FOUNDATION FOR LI STATE PARKS INC      FOUNDATION III                                FOUNDATION III
PO BOX 247                             RE: WEST PALM BEACH 324 DATUR                 5601 CORP WAY NO. 404
BABYLON NY 11702                       C/O APPLEFIELD WAXMAN                         WEST PALM BEACH FL 33407
                                       2801 PGA BLVD., SUITE 220
                                       PALM BEACH GARDENS FL 33410


FOUNDATION III                         FOUNDATION III                                FOUNDATION III, LLC D/B/A DATURA PLACE
C/O APPLEFIELD WAXMAN                  C/O WAXMAN PROPERTY GROUP                     RE: WEST PALM BEACH 324 DATUR
2801 PGA BLVD   STE 220                5601 CORPORATE WAY SUITE 404                  5601 CORPORATE WAY
PALM BEACH GARDEN FL 33401             WEST PALM BEACH FL 33407                      SUITE 404
                                                                                     WEST PALM BEACH FL 33407


FOUNDATION OF LAW FOR YOUTH INC        FOUR SEASONS HOTEL                            FOUR SEASONS HOTEL
100 N LASALLE    STE 1520              120 E DELAWARE PL                             160 EAST PEARSON STREET
CHICAGO IL 60602                       CHICAGO IL 60611                              AT WATER TOWER PLACE
                                                                                     CHICAGO IL 60611



FOUR SEASONS SCOTTSDALE                FOURMONT, ELISABETH                           FOURNIER, JOE
10600 E CRESENT MOON DR                2267 MAGANS OCEAN WALK                        170 N RIDGELAND
SCOTTSDALE AZ 85262                    VERO BEACH FL 32963                           OAK PARK IL 60302




FOURTH OF JULY TOWN CELEBRATION        FOUX, MICHAEL C                               FOWLER KEEGAN, SELENA
COMMITTEE INC                          4898 WATERFORD DRIVE                          9433 COLLINGDALE WAY
SCOTT KAUPIN                           MACUNGIE PA 18062                             RALEIGH NC 27617
PO BOX 2803
ENFIELD CT 06083-3203




                                              Page 752 of 2387
                         Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 753 of 800
FOWLER, ADRA                          FOWLER, ANDREW SCOTT                          FOWLER, CHARLES D
655 JEFFREY ST NO.9                   1209 WESTMINSTER AVE                          7025 SUNSHINE AVE
BOCA RATON FL 33487                   WASHINGTON IL 61571                           KINGSVILLE MD 21087




FOWLER, JAMES                         FOWLER, JAMES E                               FOWLER, RUTH H
1811 LYNDON RD                        1977 ESCARPA DR                               264 PORT DELMARVA
SAN DIEGO CA 92103                    LOS ANGELES CA 90041                          REHOBOTH BE DE 19971




FOX BECKER GRANITE CO                 FOX BROADCASTING COMPANY                      FOX BROADCASTING COMPANY
PO BOX 439                            10201 W PICO BLVD                             10201 W PICO BOULEVARD
10 RAPALLO AVE                        BLDG 100 ROOM 2260                            BLDG 101 RM 5290
MIDDLETOWN CT 06457                   LOS ANGELES CA 90035                          C/O MAUREEN P DALEY
                                                                                    LOS ANGELES CA 90035


FOX BROADCASTING COMPANY              FOX BROADCASTING COMPANY                      FOX BROADCASTING COMPANY
10201 WEST PICO BLVD                  10201 WEST PICO BOULEVARD                     PO BOX 900
BLDG 100 ROOM 3600                    BLDG 743 ROOM 5                               BEVERLY HILLS CA 90213-0900
LOS ANGELES CA 90035                  LOS ANGELES CA 90035



FOX BROADCASTING COMPANY              FOX BROADCASTING COMPANY                      FOX BROADCASTING COMPANY
96616 COLLECTIONS CENTER DRIVE        C/O ERNST YOUNG                               PO BOX 96616
CHICAGO IL 60693                      7576 COLLECTION CENTER DRIVE                  840 S CANAL STREET
                                      CHICAGO IL 60693-6616                         CHICAGO IL 60693-6616



FOX DELIVERY                          FOX INSTITUTE OF BUSINESS                     FOX IV TECHNOLOGIES INC
EDS DELIVERY                          99 SOUTH STREET                               6011 ENTERPRISE DR
PO BOX 11137                          WEST HARTFORD CT 06110                        EXPORT PA 15032
NEWPORT NEWS VA 23601



FOX METRO                             FOX NETWORK DISTRIBUTION                      FOX NEWS EDGE
ACCT NO. S06-2697                     ATTN: JON HOOKSTRATTEN, EVP                   5731 COLLECTION CENTER DR
682 STATE ROUTE 31                    10201 W. PICO BLVD.                           ATTN JUDY SLATER
OSWEGO IL 60543                       100/2480                                      CHICAGO IL 60693
                                      LOS ANGELES CA 90035


FOX NEWS EDGE                         FOX NEWS NETWORK LLC                          FOX NEWS NETWORK LLC
1211 AVENUE OF THE AMERICAS           400 N CAPITAL ST NW STE 550                   BANK OF AMERICA
SECOND FLOOR                          WASHINGTON DC 20001                           5731 COLLECTION CT DR
NEW YORK NY 10036                                                                   CHICAGO IL 60693



FOX NEWS NETWORK LLC                  FOX NEWS NETWORK LLC                          FOX PAC BOARD
PO BOX 19400                          1211 AVENUE OF THE AMERICAS                   ATN TIM HESS WZDX TV
ATTN JUDY SLATER                      2ND FLOOR                                     PO BOX 3889
NEWARK NJ 07195                       NEW YORK NY 10036                             HUNTSVILLE AL 35810



FOX PAC BOARD                         FOX PAC BOARD                                 FOX PAC BOARD
5111 E MCKINLEY AVENUE                ATTN ED SAUTTER                               DAN ZIMMERMAN WPGH
MATT HUNTER                           WSYT/WNYS                                     750 IVORY AVE
KMPH FOX 26                           1000 JAMOS STREET                             PITTSBURGH PA 15214
FRESNO CA 93727                       SYRACUSE NY 13203




                                             Page 753 of 2387
                           Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 754 of 800
FOX PAC BOARD                           FOX SPILLANE SHAEFFER LLP                     FOX SPORTS NET
RAMAR COMMUNICATIONS                    1880 CENTURY PARK EAST SUITE 1004             1440 SOUTH SEPULVEDA BOULEVARD
ATTN MARCIE RENO                        LOS ANGELES CA 90067                          SUITE #257
9800 UNIVERSITY                                                                       LOS ANGELES CA 90025
LUBBOCK TX 79423


FOX SPORTS NET ROCKY MOUNTAIN LLC       FOX SPORTS NET ROCKY MOUNTAIN LLC             FOX SPORTS PRODUCTION
10000 SANTA MONICA BLVD                 15154 COLLECTIONS CENTER DR                   10201 W PICO BLVD
LOS ANGELES CA 90067                    CHICAGO IL 60693                              TRAILER 743 ROOM 4
                                                                                      LOS ANGELES CA 90035



FOX SPORTS PRODUCTION                   FOX SPORTS PRODUCTION                         FOX SPORTS PRODUCTION
10201 W PICO BLVD                       ATTN CIRO J ABATE                             PO BOX 900
BLDG 100, ROOM 2525                     10201 WEST PICO BLVD                          ATTN: CRAIG BURGNER
LOS ANGELES CA 90035                    BLDG 100 /ROOM 2260                           BEVERLY HILLS CA 90213-0900
                                        LOS ANGELES CA 90035


FOX TELEVISION STATIONS INC             FOX TELEVISION STATIONS INC                   FOX TELEVISION STATIONS INC
FOX DIGITAL                             4640 COLLECTION CENTER DR                     WJW - TV
10201 W PICO BLVD MAIL CODE 101 3102    ACCT 3752152821 BOX 4640                      5800 SOUTH MARGINEL RD
LOS ANGELES CA 90035                    CHICAGO IL 60693                              CLEVELAND OH 44103



FOX TELEVISION STATIONS INC             FOX TRANSPORTATION INC                        FOX VALLEY FORMS CORPORATION
FOX 13 KSTU                             PO BOX 3119                                   719 S. MAIN STREET SUITE B
5020 W AMELIA EARHART DR                RANCHO CUCAMONGA CA 91729                     LOMBARD IL 60148
SALT LAKE CITY UT 84116



FOX VALLEY MALL LLC                     FOX VALLEY MALL LLC                           FOX VALLEY MALL LLC
ATTN SHELLY MCKEAN                      BANK OF AMERICA                               LOCKBOX 99029
195 FOX VALLEY CENTER DR                LOCKBOX99029/PO BOX 99029                     PO BOX 99029
AURORA IL 60504                         CHICAGO IL 60693                              CHICAGO IL 60693



FOX VALLEY RIVER OAKS PARTNERSHIP       FOX VALLEY RIVER OAKS PARTNERSHIP             FOX, AUBREY
96 RIVER OAKS CENTER                    96 RIVER OAKS CTR                             1831 MADISON AVE NO 6A
ATTN: LINDA MOJICA                      CALUMET CITY IL 60409                         NEW YORK NY 10035
CALUMET CITY IL 60409



FOX, CARIESSA L                         FOX, JACOB Q                                  FOX, JAMES A
2802 ROSALEE DR                         2677 N FORTVILLE PIKE                         15A UPTON ST
HAMPTON VA 23661                        GREENFIELD IN 46140                           BOSTON MA 02118




FOX, JON G                              FOX, PENNY L                                  FOX, SUSAN
8 CONANT RD                             35 KEMPER AVE APT B                           PO BOX 55185
HANOVER NH 03755-2215                   WESTMINSTER MD 21157                          PORTLAND OR 97238




FOX, TRACY G                            FOXMAN, ABRAHAM                               FOYE, CHERRILYN ELAINE
48 HARVEST LANE                         ANIT DEFAMATION LEAGUE                        9999 SUMMERBREEZE DR APT 418
COLCHESTER CT 06415                     605 THIRD AVE                                 SUNRISE FL 33322
                                        NEW YORK NY 10158




                                               Page 754 of 2387
                         Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 755 of 800
FP MAILING SOLUTIONS                  FP MAILING SOLUTIONS                          FP MAILING SOLUTIONS
140 N MITCHELL CT  NO.200             CMRS-FP                                       PO BOX 4272
ADDISON IL 60101                      PO BOX 0505                                   CAROL STREAM IL 60197
                                      CAROL STREAMS IL 60132-0505



FRACISCO CASAS                        FRADENBURGH, AMY                              FRADKIN, PHILIP
303 E. NORTH AVENUE                   7586 GREEN DR                                 PO BOX 817
NORTHLAKE IL 60164                    GLOUCESTER POINT VA 23062                     PT REYES STATION CA 94956




FRAGNITO, ANTHONY                     FRAGNITO, CARMEN                              FRAINIE, MICHAEL
5460 SUMMIT ST                        35 JORDAN DR APT 5                            7 GREENVIEW AVE
WHITEHALL PA 18052                    WHITEHALL PA 18052                            REISTERSTOWN MD 21136




FRAIZER, FRANCINE                     FRAKES, WILLIAM                               FRAME DESIGN
233 WEST CENTER ST                    803 NEPTUNE ROAD                              4610 N WILDWOOD AVE
MANCHESTER CT 06040                   KISSIMMEE FL 34744                            WHITEFISH BAY WI 53211




FRAN ONETO                            FRAN SZCZUCKI                                 FRANCE, KIMBERLY
3259 ALDER AVE.                       809 SUNFLOWER LANE                            315 PANAMA CIR
MERCED CA 95340                       DYER IN 46311                                 SUITE 2603
                                                                                    WINTER SPRINGS FL 32708



FRANCEEN SHELBY                       FRANCES ASKEY                                 FRANCES BARTOLOMEO
4500 N FEDERAL HWY                    120 SETH COURT                                73-17 PENELOPE AVENUE
#137                                  WRIGHTSVILLE PA 17368                         MIDDLE VILLAGE NY 11379
LIGHTHOUSE POINT FL 33064



FRANCES BIEDRONSKI                    FRANCES BRADY                                 FRANCES DEMORETCKY
2828 HUDSON STREET                    179 CARPENTER AVE.                            2008 HAYWOOD RD
BALTIMORE MD 21224                    SEACLIFF NY 11579                             HENDERSONVILLE NC 28791




FRANCES EMBRY                         FRANCES ESPINO                                FRANCES FERRARO
602 FAIRWAY DRIVE                     2425 WOODWAY DRIVE                            1030 HICKSVILLE RD
BALTIMORE MD 21204                    ORLANDO FL 32837                              MASSAPEQUA NY 11758




FRANCES HAVILAND                      FRANCES HUBBARD                               FRANCES MARCINKOWSKI
98 S FRANKLIN AVE #6                  1256 HALLIEFORD ROAD                          318 WEST PAR STREET
VALLEY STREAM NY 11580                COBBS CREEK VA 23035                          ORLANDO FL 32804




FRANCES MCNAMARA                      FRANCES MICK                                  FRANCES MYLES
78 MARVIN LANE                        618 N. PINEHURST AVENUE                       10131 SOPHIA AVENUE
COMMACK NY 11725                      SALISBURY MD 21801                            NORTH HILLS CA 91343




                                             Page 755 of 2387
                        Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 756 of 800
FRANCES O JAHMELIK                   FRANCES O'DONNELL                             FRANCES PALADINI
1659 N CLIFFORD AVE                  3033 KIMBERLY DR.                             22 HOLLYCREST CT
RIALTO CA 92376                      E NORRITON PA 19401                           GREENSBORO NC 27410




FRANCES PARKER                       FRANCES RUDNER                                FRANCES SCARLETT
1833 FOX HILLS DR.                   2637 MOUNT CARMEL ROAD                        2810 EAST OVERLOOK ROAD
LOS ANGELES CA 90025                 PARKTON MD 21120                              CLEVELAND HEIGHTS OH 44118




FRANCES SHOEMAKER                    FRANCES SMITH                                 FRANCES TAGLIOLI
2539 PEACHTREE RD                    13545 EAGLE RIDGE DR                          3436 COLONIAL COURT
ALLENTOWN PA 18104                   APT # 812                                     ALLENTOWN PA 18104
                                     FT. MYERS FL 33912-6801



FRANCES TENLEY                       FRANCES XAVIER WARDE SCHOOL                   FRANCES XAVIER WARDE SCHOOL
8181 IMBER STREET                    120 S DES PLAINES ST                          751 N STATE ST
ORLANDO FL 32825                     CHICAGO IL 60661                              CHICAGO IL 60610




FRANCESCA CONWAY                     FRANCESCA GOODING                             FRANCESCA JATTAN
10 BEAL STREET                       20 BEDFORD AVENUE                             249 HAVILANDS LANE
STAMFORD CT 06902                    FREEPORT NY 11520                             WHITE PLAINS NY 10605




FRANCESCA PROCHAZKA                  FRANCESCHINI, ROSANNA                         FRANCESCO LA PIETRA
4 KENNEDY AVENUE                     1650 EAST HILL RD                             39 WOODSIDE AVE.
FARMINGVILLE NY 11738                WILITIS CA 95490                              BROCKTON MA 02301




FRANCESCO LATERZA                    FRANCESKA CLARK                               FRANCHISE TAX BOARD
968 INDIGO COURT                     2728 N HAMPDEN CT                             ACCT NO.563847646
HANOVER PARK IL 60133                APT 808                                       PO BOX 942840
                                     CHICAGO IL 60614                              SACRAMENTO CA 94240-0040



FRANCHISE TAX BOARD                  FRANCHISE TAX BOARD                           FRANCHISE TAX BOARD
CHILD SUPPORT COLLECTIONS            PO BOX 1237                                   PO BOX 2952
PO BOX 460                           RANCHO CORDOVA CA 95741-1237                  SACRAMENTO CA 95812-2952
RANCHO CORDOV CA 95741



FRANCHISE TAX BOARD                  FRANCHISE TAX BOARD                           FRANCHISE TAX BOARD
PO BOX 419001                        PO BOX 942857                                 PO BOX 942867
RANCHO CORDOVA CA 95741              SACRAMENTO CA 94257-0500                      SACRAMENTO CA 94267-2021




FRANCIE BERNS                        FRANCIE LEADER                                FRANCINE BROWN
4328 GENTRY AVE                      180 TURN OF RIVER RD #14A                     27-19 SCHLEIGEL BLVD
APT # 4                              STAMFORD CT 06905                             NORTH AMITYVILLE NY 11701
STUDIO CITY CA 91604




                                            Page 756 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 757 of 800
FRANCINE KWAK                          FRANCINE ORR                                  FRANCIS B KENT
109 12TH AVE E                         4280 VIA ARBOLADA                             12252 CALVERT STREET
SEATTLE WA 98102                       # 311                                         NORTH HOLLYWOOD CA 91606
                                       LOS ANGELES CA 90042



FRANCIS BAUMMER                        FRANCIS BELYEA                                FRANCIS BIANCA
P.O. BOX 49                            52 HENDRICK STREET                            20 LONG MEADOW PLACE
UPPER FALLS MD 21156                   APT 10                                        ROTONDA WEST FL 33947
                                       LAKE GEORGE NY 12845



FRANCIS BIGGIO                         FRANCIS BISCHOFF                              FRANCIS D ORBIN
7 BUNKER LANE                          170 TREASURE LN                               2055 BIGGS HIGHWAY
HICKSVILLE NY 11801                    GREEN ACRES FL 33463                          RISING SUN MD 21911




FRANCIS E O'TOOLE                      FRANCIS GIORGETTI                             FRANCIS HARVEY
10141 OVERHILL DR                      267 KELSEY STREET                             6847 B&A BOULEVARD
SANTA ANA CA 92705                     NEW BRITAIN CT 06051                          LINTHICUM MD 21090




FRANCIS HUGHES                         FRANCIS JORDAN                                FRANCIS KITTEK
283 WEST SHORE ROAD                    3013 MICHIGAN AVE                             5574 OHL'S LANE
OAKDALE NY 11769                       BALTIMORE MD 21227                            COOPERSBURG PA 18036




FRANCIS LEWIS                          FRANCIS MAGGITTI                              FRANCIS O'BRIEN
3 FALLWOOD LANE                        2215 QUEENSBURY RD                            3161 APPLEBUTTER RD
PALM COAST FL 32137                    FALLSTON MD 21047                             DANIELSVILLE PA 18038-9406




FRANCIS O'HERN                         FRANCIS ONORATO                               FRANCIS PIERRE
3342 N. BELL AVE.                      279 VILLAGE GREEN DRIVE                       64A MIDDLE ISLAND AVENUE
#2                                     PORT JEFFERSON STATION NY 11776               MEDFORD NY 11763
CHICAGO IL 60618



FRANCIS RAZURI                         FRANCIS RIZZI                                 FRANCIS RIZZO
20 VILLAGE GREEN DRIVE                 11 LISO DRIVE                                 323 GREENE ST #1
PORT JEFFERSON NY 11776                MOUNT SINAI NY 11766                          NEW HAVEN CT 06511




FRANCIS ROCKWELL                       FRANCIS STAWICKI                              FRANCIS WALSH
7112 SOUTH NEWPORT COURT               1226 W. WINONA                                2045 GRANTHAM GREENS DRIVE
ENGLEWOOD CO 80112                     APT #2N                                       SUN CITY CENTER FL 33573
                                       CHICAGO IL 60640



FRANCIS ZAKRZEWSKI                     FRANCIS, ARTHUR                               FRANCIS, CHRISTINE Y
52 ST. JAMES AVENUE                    940 NW 34TH WAY                               9945 NOB HILL LANE
ENFIELD CT 06082                       FT LAUDERDALE FL 33311                        SUNRISE FL 33351




                                              Page 757 of 2387
                           Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 758 of 800
FRANCIS, NAKESHA                        FRANCIS, PAUL L                               FRANCIS, SEAN
915 SW 20TH COURT                       7331 NW 36TH ST                               3740 W CORNELIA AVE NO.1
DELRAY BEACH FL 33445                   LAUDERHILL FL 33319                           CHICAGO IL 60618




FRANCIS, SHAWN                          FRANCIS, SIDNEY D                             FRANCIS, TRINA B
3898 NW 37TH ST                         2305 RUTHERFORD GLEN CIR                      1109 SUMMIT CREEK DRIVE
LAUDERDALE LAKES FL 33309               DORAVILLE GA 30340                            STONE MOUNTAIN GA 30083




FRANCIS,ALECIA                          FRANCIS,LAURA                                 FRANCISCA ESPINOSA
7950 HAMPTON BLVD.                      7449 NW 34 ST                                 2752 S. RIDGEWAY
APT. NO. 507                            LAUDERHILL FL 33319                           CHICAGO IL 60623
NORTH LAUDERDALE FL 33068



FRANCISCA ROMAN                         FRANCISCA SANCHEZ                             FRANCISCO BENAVIDES
1921 N. ST. LOUIS                       415 MANSFIELD CARDINAL                        102 GREENWOOD COURT
CHICAGO IL 60647                        RT 19                                         ROYAL PALM BEACH FL 33411-8007
                                        KENNEDALE TX 76060



FRANCISCO BUSTOS                        FRANCISCO C DIAZ                              FRANCISCO CANTU
2019 SW 15TH STREET                     4107 BARRY KNOLL DRIVE                        1773 ENGLISH DR.
APT 159                                 LOS ANGELES CA 90065                          GLENDALE HEIGHTS IL 60139
DEERFIELD BEACH FL 33442



FRANCISCO CASTRO                        FRANCISCO CEDENO                              FRANCISCO DEZAYAS
11150 GLENOAKS BLVD                     11408 ELMCREST ST.                            4495 FOXTAIL LANE
270                                     EL MONTE CA 91732                             WESTON FL 33331
PACOIMA CA 91331



FRANCISCO DIAZ                          FRANCISCO GARCIA                              FRANCISCO GAYTAN
214 ABBOTS FORD AVENUE                  4419 S. HOMAN                                 8724 MENLO AVE
WEST HARTFORD CT 06110                  CHICAGO IL 60632                              LOS ANGELES CA 90044




FRANCISCO GOMEZ                         FRANCISCO RAMIREZ                             FRANCISCO TORRES
2829 SW 4TH STREET                      14727 ORO GRANDE ST.                          402 S 15TH ST
BOYNTON BEACH FL 33435                  SYLMAR CA 91342                               APT 613
                                                                                      ALLENTOWN PA 18102



FRANCISCO VARA-ORTA                     FRANCISCO ZEPEDA                              FRANCISCO, KRISTINA
1301 HAVENHURST DR                      2819 2ND AVENUE                               2757 N TROY ST NO.1
APT 119                                 LOS ANGELES CA 90018                          CHICAGO IL 60647
WEST HOLLYWOOD CA 90046



FRANCK JEAN-BAPTISIE                    FRANCK, VALIZDEH                              FRANCO TOMAINO
255-28 148TH DRIVE                      86-32 109 ST                                  48 SOMERSET STREET
2ND FLOOR                               RICHMOND HILL NY 11418                        WETHERSFIELD CT 06109
ROSEDALE NY 11422




                                               Page 758 of 2387
                           Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 759 of 800
FRANCO, ANTONIO S                       FRANCO, CARLOS E                              FRANCO, JOHN J.
51 GENE ST                              7815 NW 40TH CT                               30 FOREST AVENUE
EAST HAVEN CT 06512                     CORAL SPRINGS FL 33065                        OLD GREENWICH CT 06870




FRANCO, MARTHA                          FRANCO, MASSIMO                               FRANCO, MELISSA A
430 LAKEVIEW DR # 201                   VIA SAVOIA 80                                 10788 NW 83RD COURT
WESTON FL 33326                         ROME 198                                      PARKLAND FL 33076




FRANCO, RUSSKAYA                        FRANCOIS JOSEPH                               FRANCOIS, EDNER
863 SPRING CIR. APT. 106                2004 N. 44TH AVENUE                           20585 NW 11TH CT
DEERFIELD BEACH FL 33441                HOLLYWOOD FL 33021                            MIAMI GARDENS FL 33169




FRANCOIS, JEAN                          FRANCOIS, JEAN AGENER                         FRANCOIS, KERSONLEY
16266 PEACH WAY                         591 NW 47TH AVE                               521 NE 44TH ST
DELRAY BEACH FL 33484                   DELRAY BEACH FL 33445                         BOCA RATON FL 33431




FRANCOIS, MATHE CINDIE                  FRANCOIS,EVENS                                FRANCOIS,EVENS
2651 NE 1ST STREET                      13600 NE 13 AVE NO.2                          13600 NE 13 AVE NO.2
BOYNTON BEACH FL 33435                  MIAMI FL 33161                                NORTH MIAMI FL 33161




FRANCOIS,MYRLANDE,JN-                   FRANCONERI, LOUIS                             FRANDSEN, ROBYN
1421 NE 118TH TER                       [ADDRESS UNAVAILABLE AT TIME OF FILING]       1215 ANCHORS WAY NO.241
MIAMI FL 33161                                                                        VENTURA CA 93001




FRANGELLA, NICHOLAS J                   FRANGOULIS PHOTOGRAPHY INC                    FRANK A STRONG JR
6305 W DOLORES                          1313 W RANDOLPH NO.209                        51 BUCKLAND ROAD
OAK FOREST IL 60452                     CHICAGO IL 60607                              WETHERSFIELD CT 06109




FRANK AMON                              FRANK ANSELMO                                 FRANK BASIL
8666 W. 86TH CIRCLE                     113 VERMONT AVENUE                            145 38TH ST
ARVADA CO 80005                         WEST BABYLON NY 11704                         LINDENHURST NY 11757




FRANK BIRGELES                          FRANK BLANEY                                  FRANK BONFIGLIO
1563 LINCOLN AVENUE                     378 AVALON PLACE                              210 LIBERTY ST
BOHEMIA NY 11716                        EAST MEADOW NY 11554                          DEER PARK NY 11729




FRANK BUCKLEY                           FRANK BUSBY                                   FRANK C DUDEK
4356 LEMP AVE.                          949 VERSAILLES CR                             13141 EAKIN CREEK COURT
STUDIO CITY CA 91604                    MAITLAND FL 32751                             HUNTLEY IL 60142




                                               Page 759 of 2387
                         Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 760 of 800
FRANK CALLEA                          FRANK CAVATAIO                                FRANK CAVOTO
4010 N. CLARK STREET                  5305 PATTON DRIVE                             9410 S TURNER AVE
UNIT Q                                WONDER LAKE IL 60097                          EVERGREEN PAR IL 60642
CHICAGO IL 60613



FRANK CHOMA                           FRANK CINCOTTA                                FRANK COLES
CASSATA COURT                         13 CAVAN DR.                                  6 DORSEY ROAD
APT 173                               LUTHERVILLE MD 21093                          APT. #E
WEST BABYLON NY 11704                                                               NEWPORT NEWS VA 23606



FRANK CUTRONE                         FRANK D BUMCROT                               FRANK D ROSSI
11 ASTOR AVENUE                       1142 EL PASO DR                               17 FIRST STREET
ST. JAMES NY 11780                    LOS ANGELES CA 90065                          LEBANON CT 06249




FRANK D'AMATO                         FRANK DAVIS                                   FRANK DORIA
2327 W. MEDILL                        700 HALSTEAD AVE                              805 TOLEDO DRIVE
#2                                    ROMEOVILLE IL 60446                           ALTAMONTE SPRINGS FL 32714
CHICAGO IL 60647



FRANK E TONER                         FRANK EDGE                                    FRANK FARINA
14 MAUREEN DRIVE                      668 DUNBLANE DR.                              62 BURLEIGH DR
MOUNT SINAI NY 11766                  WINTER PARK FL 32792                          HOLBROOK NY 11741




FRANK FARRELL                         FRANK FAVALORO                                FRANK FAZIO
C/O PAMELA O'CONOR                    171 STERLING STREET                           5 RICHARD AVE
36 HATHAWAY DRIVE                     PORT JEFFERSON STATION NY 11776               RONKONKOMA NY 11779
GARDEN CITY NY 11530



FRANK FISHER                          FRANK FLANNERY                                FRANK FORESTIERI
36 CEDAR WAY                          934 WILSHIRE AVENUE                           8030 LYON VALLEY ROAD
COOPER CITY FL 33026                  ELK GROVE VILLAGE IL 60007                    NEW TRIPOLI PA 18066




FRANK FRISINA                         FRANK GALLAGHER                               FRANK GIORDANO
25 KNOLLWOOD AVENUE                   384 SALT CREEK PKWY                           238 SPRUCE DRIVE
APT H                                 VALPARAISO IN 46385                           BRICK NJ 08723
HUNTINGTON NY 11743



FRANK GIULIANO                        FRANK GLIONNA                                 FRANK GRANDINETTE
170 CEDAR HEIGHTS ROAD                4354 EL PRIETO ROAD                           443 PAGE STREET
STAMFORD CT 06905                     ALTADENA CA 91001                             ORLANDO FL 32806




FRANK GUIDA                           FRANK HANES                                   FRANK HARDWICK
421 GRAND BLVD                        7933 S KILDARE                                P.O. BOX 483
MASSAPEQUA PARK NY 11762              CHICAGO IL 60652                              BEVERLY SHORES IN 46301




                                             Page 760 of 2387
                         Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 761 of 800
FRANK HERNANDEZ                       FRANK HOYTE                                   FRANK J BARTUSEK JR
3307 S. UNION                         1 DARIUS COURT                                1410 N MONITOR AVE
CHICAGO IL 60616                      DIX HILLS NY 11746                            CHICAGO IL 60651-1022




FRANK JAMES                           FRANK K CHU                                   FRANK KEHOE
8400 BLACK STALLION                   16524 ABASCAL DR                              6726 LAKE SHORE
VIENNA VA 22182                       HACIENDA HTS CA 91745                         GARLAND TX 75044




FRANK KOLODZIEJ                       FRANK L FREITAS                               FRANK L FREITAS
120 W MADISON                         SAN LUIS OBISPO CNTY TAX COLLECTO             SAN LUIS OBISPO COUNTY TAX COLLECTO
VILLA PARK IL 60181                   RM 203, CNTY GOVERNMENT CTR                   ROOM D-290, COUNTY GOVERNMENT CENTER
                                      SAN LUIS OBISPO CA 93408-2060                 SAN LUIS OBISPO CA 93408-2060



FRANK L MCTAGUE JR                    FRANK L PICERNO                               FRANK LEDESMA
83 PINEWILD DRIVE                     1687 35TH AVENUE                              6730 DELTA AVENUE
PINEHURST NC 28374                    EAST MOLINE IL 61244-3820                     LONG BEACH CA 90805




FRANK LEONE                           FRANK LIND                                    FRANK LOPEZ
727 PROSPECT ST.                      40161 BECKY LANE                              916 RUSSELL PLACE
ELMHURST IL 60126                     PALMDALE CA 93551                             POMONA CA 91767




FRANK M MCLAUGHLIN                    FRANK MAGID ASSOCIATES INC                    FRANK MAGID ASSOCIATES INC
2506 KINGS DRIVE                      ONE RESEARCH CENTER                           NW 5535
LEWES DE 19958                        MARION IA 52302                               P O BOX 1450
                                                                                    MINNEAPOLIS MN 55485-5535



FRANK MAIDA                           FRANK MANAGEMENT LLC                          FRANK MAXWELL
5834 S. OAK PARK AVE.                 337 SUMAC LN                                  600 BROADWAY
CHICAGO IL 60638                      SANTA MONICA CA 90402                         APT 4
                                                                                    AMITYVILLE NY 11701



FRANK MAZZONE                         FRANK MELLI                                   FRANK MINCH
4249 ATLANTIC                         86-02 PARK LANE SOUTH                         C/O KAREN CUNNINGS
SCHILLER PARK IL 60176                APT. # 6B5                                    130 WEST MAIN ST
                                      WOODHAVEN NY 11421                            DALLASTOWN PA 17313



FRANK MONTALBANO                      FRANK MONTE                                   FRANK MOSONO
1126 E. ALGONQUIN ROAD                4527 1/2 HUDDART AVE.                         424 SALEM ROAD
#3-E                                  EL MONTE CA 91731                             VALLEY STREAM NY 11580
SCHAUMBURG IL 60173



FRANK MOTTEK                          FRANK MYERS                                   FRANK N MEGARGEE
600 S. CURSON AVE.                    11621 SAMOLINE                                1109 S. SCHUMAKER DRIVE
APT # 353                             DOWNEY CA 90241                               APT 305
LOS ANGELES CA 90036                                                                SALISBURY MD 21804




                                             Page 761 of 2387
                         Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 762 of 800
FRANK NITKIEWICZ                      FRANK P CELENZA                               FRANK P SOMERVILLE
24047 N. VALLEY ROAD                  159 IVY STREET                                118 W LAFAYETTE AVENUE
LAKE ZURICH IL 60047                  W HEMPSTEAD NY 11552                          BALTIMORE MD 21217




FRANK PACE                            FRANK PATERNO                                 FRANK PEPE
22 WILLOW AVE                         1706 N 76TH COURT                             261 TREE ROAD
HICKSVILLE NY 11801                   ELMWOOD PARK IL 60707                         CENTEREACH NY 11720




FRANK PISTORIO                        FRANK PROCHOT                                 FRANK PROVINZONO
7435 KENLEA AVENUE                    4633 WOLF ROAD                                1911 CUIRE DRIVE
NOTTINGHAM MD 21236                   WESTERN SPRINGS IL 60558                      SEVERN MD 21144




FRANK R FRANCHINI                     FRANK R SOJKA                                 FRANK RAGUSA
3794 WOODFIELD DR                     7721 W GROVEWOOD LANE                         1920 LAUREL OAK DR
COCONUT CREEK FL 33073                FRANKFORT IL 60423                            BEL AIR MD 21015




FRANK ROCCO                           FRANK ROMEO                                   FRANK ROSE
1814 S PEORIA ST                      4012 OLD POST ROAD                            19048 SOUTH LAKE RD.
CHICAGO IL 60608                      SEAFORD NY 11783                              TAFT CA 93268




FRANK ROYLANCE                        FRANK RUGGIERO                                FRANK RUIZ
1034 HIDDEN MOSS DRIVE                263 ELIZABETH AVE                             11706 W. ALTADENA AVENUE
HUNT VALLEY MD 21030                  OCEANSIDE NY 11572                            ELMIRAGE AZ 85335




FRANK RUIZ                            FRANK SALETTA                                 FRANK SAPP
447 ORANGE DR.                        32 FORBES ROAD                                2 EAST COURT
ALTAMONTE SPRINGS FL 32701            RIVERSIDE IL 60546                            HANOVER PA 17331




FRANK SEIDL                           FRANK SERRUTO                                 FRANK SEZATE
850 SAYVILLE AVE                      4764 AMOS RD                                  5939 RUGBY AVENUE
BOHEMIA NY 11716                      WHITE HALL MD 21161                           HUNTINGTON PARK CA 90255




FRANK SIGISMONDI                      FRANK SOTTILE                                 FRANK TORREZ
3 HUNTERS TRAIL                       905 JACKSON AVE                               10475 GRETA AVENUE
WADING RIVER NY 11792                 LINDENHURST NY 11757                          BUENA PARK CA 90620




FRANK TRAINA                          FRANK TRIBUZIO                                FRANK USHER
9432 VILLAGIO WAY                     5728 S. PARKSIDE AVE                          29 DOUGLAS AVE
SAINT JOHN IN 46373                   CHICAGO IL 60638                              GLENS FALLS NY 12801




                                             Page 762 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 763 of 800
FRANK VIRGA                            FRANK VOLINSKY                                FRANK WAGNER
21 SYDNEY AVE                          550 RIVER OAK LANE                            1007 THOMPSON BLVD
FARMINGVILLE NY 11738                  DEERFIELD BEACH FL 33441                      BALTIMORE MD 21221




FRANK WALKER                           FRANK WALKER                                  FRANK WARNER
5424 WEATHERSIDE RUN                   1846 GLENNS GREEN COURT                       565 KLINE AVENUE
COLUMBIA MD 21045                      GRAYSON GA 30017                              POTTSTOWN PA 19464




FRANK WIESE                            FRANK WILLIAMS                                FRANK WOOD
1922 BRIAR CLIFF ROAD                  817 NW 4 AVENUE                               C/O TRIBUNE COMPANY
ABINGTON PA 19046                      BOYNTON BEACH FL 33426                        435 N. MICHIGAN AVENUE
                                                                                     CHICAGO IL 60611



FRANK, BARBARA                         FRANK, CHRISTOPHER                            FRANK, DANIEL
569 N ROSSMORE AVE SUITE NO.206        816 LEGACY OAKS CIRCLE                        7800 FORESTHILL LANE
LOS ANGELES CA 90004                   ROSWELL GA 30076                              PALOS HEIGHTS IL 60463




FRANK, NATHANIEL                       FRANK, THOMAS                                 FRANK, THOMAS M
118 GATES AVE                          947 S BEDFORD ST                              1005 GREENFIELD LANE
BROOKLYN NY 11238                      LOS ANGELES CA 90035                          MT PROSPECT IL 60056




FRANK,SANDRA ROTHSTEIN                 FRANKEL, ALEX                                 FRANKEN, ELIZABETH L
9715 NW 18TH STREET                    843 SOUTH VAN NESS AVENUE NO.2                1111 HAYES AVE
CORAL SPRINGS FL 33071                 SAN FRANCISCO CA 94110                        OAK PARK IL 60302




FRANKENTHAL, KIMBERLY G                FRANKFURT KURNIT KLEIN & SELZ PC              FRANKIE THOMPSON
266 PARK AVE                           488 MADISON AVE                               743 BIG DALTON STREET
HIGHLAND PARK IL 60035                 NEW YORK NY 10022                             LA PUENTE CA 91744




FRANKIE WILSON                         FRANKLIN A CARROLL                            FRANKLIN AVENUE MERCHANTS ASSOCIATION
2003 CECIL AVENUE                      431 RED COAT LANE                             432 FRANKLIN AVE  STE 201
BALTIMORE MD 21218                     ORLANDO FL 32825                              HARTFORD CT 06114




FRANKLIN BISHOP                        FRANKLIN BISHOP                               FRANKLIN D DEAN
2700 PALM ISLE WAY                     2275 GEORGIA AVE.                             18830 US HIGHWAY 441
ORLANDO FL 32829                       TITUSVILLE FL 32796                           MC INTYRE GA 31054-2204




FRANKLIN ENGBERG                       FRANKLIN FORD                                 FRANKLIN GARDEN NEWS INC
1367 DARTMOUTH ROAD                    1500 W. VERMONT                               9602 158TH AVENUE
FLOSSMOOR IL 60422                     CALUMET PARK IL 60827                         HOWARD BEACH NY 11414




                                              Page 763 of 2387
                         Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 764 of 800
FRANKLIN GEDEON                       FRANKLIN HECHT                                FRANKLIN II, PERRY M
41 NW 46 AVENUE                       276E HERITAGE HILLS                           1708 SAWYER WAY NO.279
PLANTATION FL 33317                   SOMERS NY 10589                               COLORADO SPRINGS CO 80915




FRANKLIN MAY                          FRANKLIN NAVA                                 FRANKLIN SCHANTZ ASSOC
8511 NW 59TH COURT                    1302 MALONE                                   RE: ALLENTOWN 7035 SCHANTZ RD
TAMARAC FL 33321                      HOUSTON TX 77007                              PO BOX 1487
                                                                                    BLUE BELL PA 19422



FRANKLIN SCHANTZ ASSOCIATES           FRANKLIN SCHANTZ ASSOCIATES, L.P.             FRANKLIN SPORTS INC
PO BOX 1487                           RE: ALLENTOWN 7035 SCHANTZ RD                 17 CAMPANELLI PKWY
BLUE BELL PA 19422                    ATTN: PETER H. GEBERT, PRESIDENT              STOUGHTON MA 02072
                                      PO BOX 1487
                                      BLUE BELL PA 19422


FRANKLIN TABER                        FRANKLIN TOWNSHIP SUPERVISORS                 FRANKLIN WALTER
13413 FOREST RIVER                    900 FAIRYLAND RD                              911 BETHEL MINE ROAD
LOWELL MI 49331                       LEHIGHTON PA 18235                            CASEYVILLE IL 62232




FRANKLIN WILSON                       FRANKLIN ZWEIBAN                              FRANKLIN, CHARLES K
1940 NELSON MILL RD.                  4760 NE 4TH AVENUE                            1351 WASHINGTON ST NO.18
JARRETTSVILLE MD 21084                FORT LAUDERDALE FL 33334                      DENVER CO 80203




FRANKLIN, CORY                        FRANKLIN, DARREL                              FRANKLIN, DEMETRICE
905 OTTAWA LANE                       207 EAST OAK STREET                           2259 SANDERLING CT
WILMETTE IL 60091                     TUSKEGEE AL 36083                             SAN LEANDRO CA 94579




FRANKLIN, DIXIE F                     FRANKLIN, DUANE                               FRANKLIN, MARILYN
257 CANBERRA STREET                   107-H MARSHALL WAY                            4503 WOODLAND FOREST DR
GWINN MI 49841                        WILLIAMSBURG VA 23185                         STONE MOUNTAIN GA 30083




FRANKLIN, SARAH                       FRANKLIN, SHANA                               FRANKLIN, STEPHEN I
PO BOX 456                            1616 TUSCAN RIDGE CIRCLE                      703 WEST BUENA
PORT HAYWOOD VA 23138                 SOUTHLAKE TX 76092                            APT. 1A
                                                                                    CHICAGO IL 60613



FRANKLIN, THOMAS                      FRANKLIN, TIMOTHY                             FRANKLIN, VON
16604 DUBBS ROAD                      3709 PARK OVERLOOK COURT                      5898 SHADY SIDE RD
SPARKS MD 21152                       ELLICOTT CITY MD 21042                        CHURCHTON MD 20733




FRANKLIN, VON                         FRANKS AUTO GLASS                             FRANKS, JOHN A
PO BOX 853                            1066 NW 53RD STREET                           958 LOGENBERRY TRAIL
CHURCHTON MD 20733                    POMPANO BEACH FL 33064                        WINTER SPRINGS FL 32708




                                             Page 764 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 765 of 800
FRANKS, MARTIN V                       FRANKS, VICTORIA                              FRANKSON, JERMIE
110 VIA D'ESTE NO. 303                 4381 S ATLANTIC AVE NO.404                    3821 BUTTON GATE CT.
DELRAY BEACH FL 33445                  NEW SMYRNA BEACH FL 32169                     LITHONIA GA 30038




FRANSISCUS KORSTJENS                   FRANTZ JR, CHARLES                            FRANTZ MAILROOM SERVICES
141 SONADA WAY                         640 BANKS ST                                  4618 MULBERRY ST
CENTERVILLE MD 21617                   NORTHAMPTON PA 18067                          COPLAY PA 18037




FRANTZ PELISSIER                       FRANTZ PIERRE                                 FRANTZ, LEO
175 LUMBERBACH                         8230 NW 52ND COURT                            1935 MOLINARO DRIVE
WYANDANCH NY 11798                     LAUDERHILL FL 33351                           ALLENTOWN PA 18104




FRANTZ, STACEY                         FRANZ O PERFECT                               FRANZ SCHNEIDERMAN
1038 3RD ST                            5623 N MENARD                                 2920 ST. PAUL STREET APT.5
CATASAUQUA PA 18032                    CHICAGO IL 60646                              BALTIMORE MD 21218




FRANZ, JANET                           FRANZESE, PHIL                                FRANZINO, JAMES
5506 N MAGNOLIA AVE                    55 OCEANVIEW DR                               16250 WINNERS CIRCLE DR
CHICAGO IL 60640                       MASTIC BEACH NY 11951                         DELRAY BEACH FL 33446




FRANZKE ENTERTAINMENT INC              FRANZKEN, STEVEN                              FRANZOSA, NICHOLAS
6206 LANGDON AVE                       15 TIMOTHY HEIGHTS                            1745 PEACHTREE CIRC
VAN NUYS CA 91411                      PLEASANT VALLEY NY 12569                      WHITEHALL PA 18052




FRASCA, SUSAN                          FRASCINELLA, MARK                             FRASCO, FIDEL
3833 NW 59TH STREET                    7 BISCAYNE DR                                 6505 W BELLE PLAINE
COCONUT CREEK FL 33073                 MT SINAI NY 11766                             CHICAGO IL 60634




FRASE, BRIGITTE                        FRASER, CHRISTOPHER                           FRASER, COLLIS
2831 JAMES AVENUE SOUTH                8520 N SHERMAN CIRCLE APT NO. B106            947 ST. MARKS AVENUE
MINNEAPOLIS MN 55408                   MIRAMAR FL 33025                              BROOKLYN NY 11215




FRASER, ESTHER N                       FRASER, HENRIETTA                             FRASER, JOHN
2707 SUMMERVIEN DRIVE                  505 SW 9TH STREET APT. 2                      7 ELM CORNER
STONE MOUNTAIN GA 30083                BELLE GLADE FL 33430                          WINDSOR LOCKS CT 06096




FRASER, LINDSAY                        FRASER, MICHAEL B                             FRASER, STEVE
115 N HAMPTON AVE                      565 ADAMS DRIVE APT 1A                        25 INDIAN ROAD
ORLANDO FL 32801                       NEWPORT NEWS VA 23601                         APT 6C
                                                                                     NEW YORK NY 10034




                                              Page 765 of 2387
                           Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 766 of 800
FRASER, TREVOR                          FRAUSTO, JOEY E                               FRAVA BURGESS
439 DOLPHIN ST                          BOX 9017                                      7337 SOUTH WOODWARD AVENUE
MELBOURNE BEACH FL 32951                LA FERIA TX 78559                             #305
                                                                                      WOODRIDGE IL 60517



FRAZEE INDUSTRIES INC                   FRAZIER, CHERYL                               FRAZIER, HERBERT L
6625 MIRAMAR ROAD                       1640 N. MENARD                                1643-B SAVANNAH HWY     STE 203
SAN DIEGO CA 92121                      CHICAGO IL 60639                              CHARLESTON SC 29407




FRAZIER, JEANNETTE                      FRED A GEYER                                  FRED A KRAMER
2903 NW 60 AVE NO.220                   3648 DAMON ST                                 542 THORN STREET
SUNRISE FL 33313                        EAU CLAIRE WI 54701                           IMPERIAL BEACH CA 91932




FRED A SMITH CO                         FRED AIKENS                                   FRED B CURTIS ROOFING
PO BOX 58130                            2918 HALIFAX                                  7475 14TH AVE
WASHINGTON DC 20037                     WESTCHESTER IL 60154                          SACRAMENTO CA 95820




FRED BISGER TRUSTEE                     FRED BLACKSHIRE                               FRED CATALANO
4912 W BROAD STREET                     5464 VILLAGE GREEN                            16 SWARTHMORE LANE
SUITE 203                               LOS ANGELES CA 90016                          DIX HILLS NY 11746
RICHMOND VA 23230



FRED DELFINO                            FRED EISENHAMMER                              FRED J SCHABOWSKI
13 SPRUCEBROOK TRAIL                    5739 MIDDLE CREST                             26534 SUN CITY BLVD.
MONROE CT 06468                         AGOURA HILLS CA 91301                         SUN CITY CA 92586




FRED J WILLIAMS                         FRED JOST                                     FRED KIRBY
14014 PANAY WAY #248                    4734 N KARLOV                                 19200 NORDHOFF
MARINA DEL REY CA 90292                 CHICAGO IL 60630                              APT # 206
                                                                                      NORTHRIDGE CA 91324



FRED LIMPREVIL                          FRED MESSINA                                  FRED MOORE
220 ELMWOOD STREET                      6433 W 126TH PLACE                            8001 JOHN CARPENTER FREEWAY
VALLEY STREAM NY 11581                  PALOS HEIGHTS IL 60463                        DALLAS TX 75247




FRED MUTZ                               FRED OLSHAN                                   FRED PENFIELD
18272 PARKVIEW LANE #101                2161 NW 76TH TERRACE                          127 BAILEY DR.
HUNTINGTON BCH CA 92648                 MARGATE FL 33063                              YORKTOWN VA 23692




FRED PETERSEN                           FRED PETTIJOHN                                FRED RADIE
556 E SHORELINE DRIVE                   1564 MARION AVE                               1811 MARINER PLACE
LONG BEACH CA 90802                     TALLAHASSEE FL 32303                          DEERFIELD BEACH FL 33442




                                               Page 766 of 2387
                            Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 767 of 800
FRED SANCHEZ                             FRED SCHULTZE                                 FRED TURNER
1120 SO. LILAC AVE.                      19215 FOXTREE LN                              4000 NW 103RD DRIVE
RIALTO CA 92376                          HOUSTON TX 77094                              CORAL SPRINGS FL 33065




FRED VIOLA                               FRED W DINGMAN                                FRED W STANDIFORD
8782-B S.W. 93RD PLACE                   5500 CARRIAGE WAY DR. #311-C                  9509 JENE DRIVE
OCALA FL 34481                           THREE FOUNTAINS ON THE LAKE                   SANDY UT 84070
                                         ROLLING MEADOWS IL 60008



FREDA MESIDOR                            FREDA MOON                                    FREDDIE ANDERSON
7288 WILLOW SPRING CIRCLE NORTH          25201 NORTH HIGHWAY 1                         1801 S. WABASH
BOYNTON BEACH FL 33436                   FORT BRAGG CA 95437                           CHICAGO IL 60616




FREDDIE JACKSON                          FREDDIE LEE                                   FREDDIE SMITH
21000 NW 30TH CT.                        8823 S DANTE                                  15027 S ASHLAND AVE
MIAMI GARDENS FL 33056                   CHICAGO IL 60619                              HARVEY IL 60426




FREDDY BARAJAS                           FREDDY CASSINELLI                             FREDDY CASTILLO
2300 N LINCOLN PARK WEST #1214           41-90 FRAME PLACE                             4847 SABRE LN
CHICAGO IL 60614                         NO.1B                                         IRWINDALE CA 91706
                                         FLUSHING NY 11355



FREDDY HERNANDEZ                         FREDERIC COOK & CO INC                        FREDERIC PEUVREL
5012 S HARBOR ISLES DRIVE                90 PARK AV                                    359 MOONEY POND ROAD
FORT LAUDERDALE FL 33312                 NEW YORK NY 10016                             SELDEN NY 11784




FREDERICK ALBERTS                        FREDERICK BAINHAUER                           FREDERICK BONEBERG
454 WEST 46TH STREET                     1620 HIDDEN VALLEY ROAD                       203 EDGESTONE DRIVE
APT. 4BN                                 ALLENTOWN PA 18103                            IRVING TX 75063
NEW YORK NY 10036



FREDERICK BOWLES                         FREDERICK BURGESS                             FREDERICK CIARDI
6604 RAPID WATER WAY                     191 OLD NECK ROAD                             54 WASHINGTON COURT
GLEN BURNIE MD 21060                     CENTER MORICHES NY 11934                      TOWACO NJ 07082




FREDERICK E HAEDT                        FREDERICK EHMSEN                              FREDERICK FORD
5965 E COCHRAN STREET                    58 PROSPECT STREET                            8334 WEST CLINTON AVENUE
SIMI VALLEY CA 93063                     APT. 2                                        APT #6
                                         HUNTINGTON NY 11743                           WEST HOLLYWOOD CA 90048



FREDERICK GARRICK                        FREDERICK GARY                                FREDERICK GASKINS
605 IVANHOE WAY                          608 HODENCAMP RD.                             535 KRISTY COURT
CASSELBERRY FL 32707                     THOUSAND OAKS CA 91360                        NEWPORT NEWS VA 23602




                                                Page 767 of 2387
                           Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 768 of 800
FREDERICK HUNT                          FREDERICK K HIRSCHBECK                        FREDERICK MATTHEWS
P.O. BOX 369171                         760 WILLOW DRIVE                              1229 SW 29TH TERRACE
CHICAGO IL 60636                        NORTH CATASAUQUA PA 18032                     FORT LAUDERDALE FL 33312




FREDERICK MATTHIS                       FREDERICK MITCHELL                            FREDERICK NEWS-POST
40 SUNNYSIDE AVENUE                     3003 N. OAKLEY AVE                            PO BOX 578
OAKVILLLE CT 06779                      CHICAGO IL 60618                              FREDERICK MD 21705-0578




FREDERICK POLIK                         FREDERICK RASMUSSEN                           FREDERICK ROBINSON
7 SCARBOROUGH DR                        634 ROUND OAK ROAD                            28023 RIDGEBLUFF COURT
SMITHTOWN NY 11787                      TOWSON MD 21204                               RANCHO PALOS VERDES CA 90275




FREDERICK SCHULTE                       FREDERICK SHADRACH                            FREDERICK SNYDER
601 WOODSIDE PARKWAY                    829 SUFFOLK AVENUE                            2150 W. IRVING PARK RD.
SILVER SPRING MD 20910                  APT 11                                        #E
                                        BRENTWOOD NY 11717                            CHICAGO IL 60618



FREDERICK THOMAS                        FREDERICK UVENA                               FREDERICK VAN ALLEN
643 GORDON                              2 SUE CIRCLE                                  845 N GAREY AVENUE
CALUMET CITY IL 60409                   HUNTINGTON NY 11743                           POMONA CA 91767




FREDERICK VANRIJN                       FREDERICK WOLPERT                             FREDERICK YOST
621 BRIARFIELD ROAD                     20 LA BONNE VIE DRIVE                         13337 SOUTH STREET
NEWPORT NEWS VA 23605                   APT. G                                        APT#581
                                        PATCHOGUE NY 11772                            CERRITOS CA 90703



FREDERICK ZEITLER                       FREDERICK, AMY                                FREDERICK, DON
901 OAKWOOD                             1254 N MANSFIELD AVE       NO.6               3012 HOMEWOOD PKWY
ROUND LAKE BEACH IL 60073               LOS ANGELES CA 90038                          KENSINGTON MD 20895




FREDERICK, MYRTHA                       FREDERICKS, MARIAH                            FREDERICKS, STEPHANIE
401 NW 13TH PL   APT 703                33-15 80TH ST APT 41                          160 BRIARWOOD DRIVE
DEERFIELD BEACH FL 33441                JACKSON HEIGHTS NY 11372                      CAPE MAY NJ 08204




FREDRICK BARNHILL                       FREDRICK BUDD                                 FREDRICK CHARLES CHRISTIAN
PO BOX 190929                           1701 WEST CAROLINE STREET                     3640 ROSE AVENUE
DALLAS TX 75219                         BALTIMORE MD 21213                            LONG BEACH CA 90807




FREDRICK SAVAGE                         FREDRICK, WILLIE                              FREDRICK, WILLIE
761 N BRIERWOOD AVENUE                  4760 NW 6 AVE                                 639 NW 14 TER
RIALTO CA 92376                         POMPANO FL 33064                              FT LAUDERDALE FL 33311




                                               Page 768 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 769 of 800
FREDRICKSON, JACK M                    FREDRIK SCIMONE                               FREE, WILLIAM K
230 N WASHINGTON ST                    2 COUNTRY WAY                                 706 EARLTON RD
HINSDALE IL 60521                      WALLINGFORD CT 06492                          REISTERSTOWN MD 21136




FREEBY, KIM                            FREED, BABETTE                                FREED, DAVID
146 S KITTATINNY RD                    12756 CORAL LAKES DR                          2001 GRAND AVE
LEHIGHTON PA 18235                     BOYNTON BEACH FL 33437                        SANTA BARBARA CA 93103




FREED, DESIREE                         FREED, LISA                                   FREED, MICHAEL
305 WINDSOR CT                         22301 TIMBERLY DR                             716 RACE ST
RICHLANDTOWN PA 18955                  BOCA RATON FL 33428                           CATASAQUA PA 18032




FREEDMAN, DAVID                        FREEDMAN, LISA                                FREEDOM OF EXPRESSION FOUNDATN
1451 CAMPANELLI DR W                   237 SULLIVAN ST 2B                            171B CLAREMONT AVENUE
PLANTATION FL 33322                    NEW YORK NY 10012                             LONG BEACH CA 90803




FREEDOM PERSONAL DEVELOPMENT           FREELS, CHARLES                               FREEMAN LEACH, GLORIA
2424 AMERICAN LANE                     10274 NW 36 ST                                2214 N SACRAMENTO
MADISON WI 53704                       CORAL SPRINGS FL 33065                        CHICAGO IL 60647




FREEMAN, ANNETTE                       FREEMAN, DANIEL                               FREEMAN, DANIEL
541 NW 23RD AVE                        36 SURREY LANE                                36 SURREY LANE
FT LAUDERDALE FL 33311                 *505 CHURCH ST                                P.O.BOX 25 KENS. CT 060370025
                                       BERLIN CT 06037-2754                          *MATSON RUG-BERLIN
                                                                                     BERLIN CT 06037-2754


FREEMAN, DANIEL                        FREEMAN, DANIEL                               FREEMAN, DENISE
36 SURREY LN                           36 SURREY LN                                  510 E CUMBERLAND ST
P.O. BOX 25                            KENSINGTON CT 06037                           ALLENTOWN PA 18103
KENSINGTON, CT. 06037-0025
BERLIN CT 06037-2754


FREEMAN, HEATHER                       FREEMAN, JAMES M                              FREEMAN, JOHN D
3295 E MOUND ST                        W1678 DECATUR ALBANY RD                       143 WEST 27TH ST 4F
COLUMBUS OH 43227                      BRODHEAD WI 53520                             NEW YORK NY 10001




FREEMAN, JUDITH                        FREEMAN, JUDITH                               FREEMAN, KEITH
255 1/2 S CARONDELET ST                2552 1/2 S CARONDELET ST                      3051 KISHNER DR NO.202
LOS ANGELES CA 90057                   LOS ANGELES CA 90057                          LAS VEGAS NV 89109




FREEMAN, PHILIP                        FREEMAN, SHIRLEY                              FREEPORT CHAMBER OF COMMERCE
PO BOX 274                             PO BOX 506                                    300 WOODCLEFT AVE
ELIZABETH NJ 07207-0274                RIVERSIDE CA 92502                            FREEPORT NY 11520




                                              Page 769 of 2387
                           Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 770 of 800
FREER JR, KENNETH                       FREER, ANDREA L                               FREER, TIFFANY A
706 S CALDON ST                         706 CARLDON ST                                706 CARLDON ST
ALLENTOWN PA 18103                      ALLENTOWN PA 18103                            ALLENTOWN PA 18103




FREESBERG, ERNEST                       FREEWAY DISTRIBUTION CENTER #3                FREI, TERRY
2838 GASTON AVE                         RE: MONTEBELLO 1539 GREENWOOD                 2900 29TH AVE
KNOXVILLE TN 37917                      1539-1541 GREENWOOD AVENUE                    DENVER CO 80211
                                        MONTEBELLO CA 90640



FREI, TERRY                             FREIDA FRISARO                                FREIDENREICH, MARCIA
PO BOX 12610                            11260 ROCKINGHORSE RD                         4081 N 43RD AVE
DENVER CO 80212                         COOPER CITY FL 33026                          HOLLYWOOD FL 33021




FREIFELD, KAREN                         FREIRE, PEDRO E                               FREISS-MCSPARRAN, MARIE
520 CROTON FALLS RD                     187 HERITAGE HILL RD                          281 ELM ST
CARMEL NY 10512                         NEW CANAAN CT 06840                           NEW LONDON CT 06320




FREITAS, KLEBER                         FREMANTLE MEDIA NORTH AMERICA                 FREMANTLE MEDIA NORTH AMERICA INC
10007 NW 83 ST NO.5                     1330 AVENUE OF THE AMERICAS                   7190 COLLECTION CENTER DRIVE
TAMARAC FL 33321                        10TH FLOOR                                    CHICAGO IL 60693
                                        NEW YORK NY 10019



FREMANTLE MEDIA NORTH AMERICA INC       FREMANTLE MEDIA NORTH AMERICA INC             FREMANTLE MEDIA NORTH AMERICA, INC.
1330 AVENUE OF THE AMERICAS             1540 BROADWAY 35TH FL                         2700 COLORADO AVENUE
10TH FLR                                NEW YORK NY 10036                             SANTA MONICA CA 90404
NEW YORK NY 10019



FREMON, CELESTE                         FRENCH, BRIAN J                               FRENCH, CYNTHIA
20561 CHENEY DRIVE                      934 N HAMILTON STREET APT 1                   940 LARSON RD
TOPANGA CA 90290                        RICHMOND VA 23221                             SUITE 2603
                                                                                      ALTAMONTE SPRINGS FL 32714



FRENCH, DAVID                           FRENCH, MICHAEL                               FRENCH, PAUL
35 48 80TH ST NO.31                     3780 NW 78 TERRACE                            117 NORTH MAIN ST
JACKSON HEIGHTS NY 11372                CORAL SPRINGS FL 33065                        WEST HARTFORD CT 06107




FRENCH, SUZAN                           FRENDT, TRANCE                                FRENSON RENELUS
1839 TROUT POND COURT                   334 COAL ST                                   2813 NW 95TH AVENUE
HELLERTOWN PA 18055                     LEHIGHTON PA 18235                            CORAL SPRINGS FL 33065




FRESCH, WILLIAM E                       FRESCO, ROBERT                                FRESE, NATHAN
1620 1/2 W WALLEN AVE   NO.3S           30 CARNEGIE AVE                               230 5TH AVENUE WEST
CHICAGO IL 60626                        HUNTINGTON NY 11743                           WALFORD IA 52351




                                               Page 770 of 2387
                         Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 771 of 800
FRESE, NATHAN                         FRESH FOREST LTD                              FRESNEL LIMAGE
230 5TH AVENUE WEST                   18 HARDWICK DR                                1291 NW 45TH STREET
WALFORD IA 52361                      S HUNTINGTON STATION NY 11746                 DEERFIELD BEACH FL 33064-1949




FRESNO BEE                            FRESNO BEE                                    FREUDENHEIM CORE, SUSAN P
1626 E STREET                         ATTN: BOB DELUCA                              1983 GLENCOE WAY
FRESNO CA 93706-2006                  1626 E STREET                                 LOS ANGELES CA 90068
                                      FRESNO CA 93786-0001



FREVELE, JAMIE JOAN                   FREY, ANNE C                                  FREY, HILLARY
7 ERITA LN                            120 E ELIZABETH AVENUE                        125 WILLOUGHBY AVE
SMITHTOWN NY 11787                    BETHLEHEM PA 18018                            GARDEN APT
                                                                                    BROOKLYN NY 11205



FREY, KAREN M                         FREY, RONALD                                  FREY, RONALD
123 HILL RD                           505 SNYDER RD                                 630 FRANKLIN AVE
BARTO PA 19504                        PALMERTON PA 18071                            PALMERTON PA 18071




FREY, WILLIAM H                       FREYMAN, FALYN                                FRIAS, ALBY (A)
765 ROCKY VALLEY RD                   11440 NW 26 ST                                15037 SW 89TH TERRACE RD
QUAKERTOWN PA 18951                   PLANTATION FL 33323                           MIAMI FL 33196




FRIAS, OSCAR S                        FRIAS, SERGIO                                 FRICK WRIGHT, PETER
17 A NEW ST                           16546 SW 51 TERR                              6818 SE CLACKAMAS RD
PORT WASHINGTON NY 11050              MIAMI FL 33185                                MILWAUKIE OR 97267




FRICKE, CHRIS L                       FRICKER, CONNIE                               FRIDELL, DANIEL A
6107 STONE WOLFE                      2920 PLACID DR                                1600 SPRING GATES DR APT 2213
GLEN CARBON IL 62034                  BALDWIN MD 21013                              MCLEAN VA 22102




FRIED, KERRY                          FRIED, RONALD K                               FRIEDA METCALFE
720 GREENWICH ST                      12 EAST 86 ST NO.537                          RR 3 BOX 244
APT 7-F                               NEW YORK NY 10028                             SUSQUEHANNA PA 18847
NEW YORK NY 10014



FRIEDLAND, BRUCE                      FRIEDLAND, JUSTIN M                           FRIEDLANDER, ANDREW
1255 PINE HILL DR                     29 CRADLE ROCK ROAD                           5509 LANSINGFORD TRAIL
ANNAPOLIS MD 21401                    POUND RIDGE NY 10576                          ARLINGTON TX 76014




FRIEDLANDER, ANDREW                   FRIEDLANDER, EDWARD                           FRIEDMAN, ANDREW
5509 LANSINGFORD TRAIL                64 HAVEMEYER ST NO.4                          155 WHITNEY ST
ARLINGTON TX 76017                    BROOKLYN NY 11211                             HARTFORD CT 06105




                                             Page 771 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 772 of 800
FRIEDMAN, ANDY                         FRIEDMAN, ANDY                                FRIEDMAN, DOROTHY
261 PROSPECT PLACE NO.2                1130 RALEIGH ROAD                             40 WEST GLEN AVENUE
BROOKLYN NY 11238                      GLENVIEW IL 60025                             PORT CHESTER NY 18031




FRIEDMAN, GABRIELLE                    FRIEDMAN, LAURA                               FRIEDMAN, MARY ELLEN
1409 BARLOW COURT                      300 BROCKMONT DR                              8 COVENTRY RD
PALM BEACH GARDENS FL 33410            GLENDALE CA 91202                             SYOSSET NY 11791




FRIEDMAN, PAUL                         FRIEDMAN, ROBYN                               FRIEDMAN, SALLY
1123 ASBURY AVE                        19628 BISCAYNE BAY DRIVE                      420 WINDROW CLUSTERS DRIVE
EVANSTON IL 60202                      BOCA RATON FL 33498                           MOORESTOWN NJ 08257




FRIEDMAN, SAUL                         FRIEDRICH, CAROL BETH                         FRIEDRICH, IRA
4237 KINGS RD                          413 SW 71 AVE                                 10512 CHESTER WAY
EDGEWATER MD 21037                     N LAUDERDALE FL 33068                         WOODSTOCK MD 21163




FRIENDS OF DRUMMOND INC                FRIENDS OF NORTHWEST PARK INC                 FRIERSON, LASHAWNA
1836 N HONORE                          ATTN RANDOLPH M LEE TREASURER                 1910 WEST 23RD STREET
CHICAGO IL 60622                       145 LANG ROAD PO BOX 773                      RIVIERA BEACH FL 33404
                                       WINDSOR CT 06095



FRIESS, STEVEN                         FRIESS, STEVEN                                FRISKICS-WARREN, WILLIAM T
2132 GLEN HEATHER WAY                  3351 CLANDARA AVE                             1719 HOLLY ST
LAS VEGAS NV 89102                     LAS VEGAS NV 89121                            NASHVILLE TN 32706




FRISMAN, PETER                         FRISTOE, DOIREANN M                           FRITJOF PAMEIJER
282 NEIPSIC RD                         595 W CHURCH ST                               283 OXFORD STREET
GLASTONBURY CT 06033                   ORLANDO FL 32805                              HARTFORD CT 06105




FRITZ GASTON                           FRITZ ROY SADDLER                             FRITZ, BRIAN ROBERT
1321 NE 41ST DRIVE                     17 FOURTH STREET                              840 JAMESTOWN DR
POMPANO BEACH FL 33064                 NORWALK CT 06855                              WINTER PARK FL 32792




FRITZ, JACKIE                          FRITZ, MICHAEL                                FRITZ, PIERRE
1004 BOGART CIRCLE                     704 S CARLDON ST                              6854 NW 1 COURT
BEL AIR MD 21014                       ALLENTOWN PA 18103                            MARGATE FL 33063




FRITZ, SAMUEL                          FRITZE, BRIANNE                               FRITZINGER, DAWN
416 N 2ND ST  APT 1                    268 COURT STREET APT 3L                       937 S 10TH ST
ALLENTOWN PA 18102                     BROOKLYN NY 11231                             ALLENTOWN PA 18103




                                              Page 772 of 2387
                           Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 773 of 800
FRITZNER ANAXE                          FRITZNER NOEL                                 FRIZ, CHRISTIAN D
620 NW 42ND COURT                       2710 SEBASTIAN CT.                            PO BOX 423
POMPANO BEACH FL 33064                  KISSIMMEE FL 34743                            TREXLERTOWN PA 18087




FROBERG, WILLIAM BENJAMIN               FROETSCHEL, SUSAN                             FROKER, MARSHALL
JACOB VAN CAMPEN KWARTIER 29            628 LAKE DRIVE                                210 E PEARSON
BILTHOVEN 3723 AJ                       GUILFORD CT 06437-1150                        APT 5B
                                                                                      CHICAGO IL 60611



FROMMER, ED                             FRONAPFEL, DAVID IAN                          FRONHEISER, LAMAR
5257 WEST AVENUE NO.M4                  1110 FIDLER LANE APT 420                      1050 DINKEY RD
QUARTZ HILL CA 93536                    SILVER SPRING MD 20910                        LEHIGHTON PA 18235




FRONT                                   FRONT MANAGEMENT LLC                          FRONTIER COMMUNICATIONS
276 CARLAW AVE SUITE 101                1560 LENOX AVE    STE 306                     P.O. BOX 20550
TORONTO ON M4M 3L1                      MIAMI BEACH FL 33139                          ROCHESTER NY 14602-2550




FRONTIER COMMUNICATIONS                 FRONTIER COMMUNICATIONS OF CALIFORNIA         FRONTIER COMMUNICATIONS OF CALIFORNIA
P.O. BOX 20550                          PO BOX 79146                                  PO BOX 20550
ROCHESTER NY 14602-0550                 PHOENIX AZ 85062-9146                         ROCHESTER NY 14602-0550




FRONTIER ELECTRIC SUPPLY INC            FRONTIER ELECTRIC SUPPLY INC                  FRONTLINE COMMUNICATIONS CORP
DEPARTMENT 59                           PO BOX 92170                                  12770 44TH STREET NORTH
PO BOX 1546                             ELK GROVE VILLAGE IL 60009                    CLEARWATER FL 33762-4713
BENSENVILLE IL 60106



FRONTLINE COMMUNICATIONS CORP           FROST LIGHTING INC                            FROST, CHERYL E
14488 COLLECTIONS CENTER DR             BOX 146576                                    2740 NE 15TH TERRACE
CHICAGO IL 60693                        CHICAGO IL 60614-6576                         WILTON MANORS FL 33334




FROST, F DANIEL                         FROST, LAURA                                  FRUIN, THOMAS
PO BOX 7285                             270 CHATTANOOGA STREET                        83 LONGVIEW AVE
KENNEWICK WA 99336-0617                 SAN FRANCISCO CA 94114                        BRISTOL CT 06010-9415




FRUIT STORE INC                         FRUIT, FIRMAN H                               FRUM, DAVID
26 W 1ST ST                             2665 CAYMAN CIRCLE                            3111 FOXHALL ROAD NW
HINSDALE IL 60521                       ZELLWOOD FL 32798                             WASHINGTON DC 20016




FRY COMMUNICATIONS, INC.                FRY REVERE, SIGRID                            FRY'S ELECTRONICS
800 W CHURCH RD.                        40357 FEATHERBED LN                           600 EAST BROKAW ROAD
MECHANICSBURG PA 17055                  LOVETTSVILLE VA 20180                         SAN JOSE CA 95112




                                               Page 773 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 774 of 800
FRY, KAYLEIGH                          FRY, SOLVAY                                   FRY, SUSAN
5406 PENNSYLVANIA ST                   3894 NW 73RD TERRACE                          123 S 7TH STREET
WHITEHALL PA 18052                     CORAL SPRINGS FL 33065                        EASTON PA 18042




FRYBARGER, THOMAS                      FRYD, LEE                                     FRYE ELECTRIC
2153 RENAISSANCE BLVD NO.306           335 GREENWICH ST NO.11A                       8403 E US HWY 36
MIRAMAR FL 33025                       NEW YORK NY 10013                             AVON IN 46123




FRYE JR, ROGER W                       FRYXELL, ALVIN                                FTD ENTERPRISES INC
1539 GROVE ST                          53 A ELM CORNER                               226 52ND ST
HAMPTON VA 23664                       WINDSOR LOCKS CT 06096                        LINDENHURST NY 11757




FTI CONSULTING INC                     FTI CONSULTING INC                            FUCHS, VICTOR R
909 COMMERCE RD                        PO BOX 630391                                 796 CEDRO WAY
ANNAPOLIS MD 21401                     BALTIMORE MD 21263-0391                       STANFORD CA 94305




FUDGE, RONALD                          FUEHRING, JAMES R                             FUENTES, GABRIEL A
5 WEST ST                              300 W. INWOOD RD                              PO BOX 606
MANCHESTER CT 06040                    APT # 110                                     CARY IL 60013
                                       WHEELING IL 60090



FUENTES, OSCAR                         FUENTES,FERNANDO                              FUGARD, LISA
8891 SUNRISE BLV APT NO.102            1015 S 63 AVE                                 119 N EL CAMINO REAL NO 131
SUNRISE FL 33322                       HOLLYWOOD FL 33023                            ENCINITAS CA 92024




FUGATE, JENNA CATHERINE                FUGNETTI, RICK                                FUGON, GUILLERMO
785 CEDAR COVE RD                      20592 FARNSWORTH                              7311 SW 82ND ST NO.4
WELLINGTON FL 33414                    HUNTINGTON BEACH CA 92646                     MIAMI FL 33143




FUITH, RICHARD A                       FUJI HUNT PHOTOGRAPHIC CHEMICALS INC          FUJI HUNT PHOTOGRAPHIC CHEMICALS INC
5429 N. LINDER                         PO BOX 30693                                  50 INDUSTRIAL LOOP NORTH
CHICAGO IL 60630                       HARTFORD CT 06150                             ORANGE PARK FL 32073




FUJI HUNT PHOTOGRAPHIC CHEMICALS INC   FUJI PHOTO FILM USA INC                       FUJI PHOTO FILM USA INC
40 BOROLINE RD                         PO BOX 85526                                  1285 HAMILTON PKWY.
ALLENDALE NJ 07401                     SAN DIEGO CA 92138                            ITASCA IL 60143




FUJI PHOTO FILM USA INC                FUJI PHOTO FILM USA INC                       FUJI PHOTO FILM USA INC
P O BOX 74060                          400 COMMERCE BLVD                             200 SUMMIT LAKE DRIVE
CHICAGO IL 60690                       CARLSTADT NJ 07072                            VALHALLA NY 10595




                                              Page 774 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 775 of 800
FUJI PHOTO FILM USA INC                FUJI PHOTO FILM USA INC                       FUJIFILM GRAPHIC SYSTEMS USA INC
555 TAXTER ROAD                        PO BOX 1875                                   4425 SHEILA STREET
ELMSFORD NY 10523                      NEW YORK, NY 10116                            LOS ANGELES CA 90023




FUJIFILM GRAPHIC SYSTEMS USA INC       FUJIFILM GRAPHIC SYSTEMS USA INC              FUJIFILM GRAPHIC SYSTEMS USA INC
PO BOX 31001-0371                      (PHILLIPS & JACOBS)                           1900 ALDEN RD
PASADENA CA 91110-0371                 3800 COMMERCE LOOP                            ORLANDO FL 32803
                                       ORLANDO FL 32808



FUJIFILM GRAPHIC SYSTEMS USA INC       FUJIFILM GRAPHIC SYSTEMS USA INC              FUJIFILM GRAPHIC SYSTEMS USA INC
PO BOX 740902                          700 DISTRICT DR                               850 CENTRAL AVE
ATLANTA GA 30374-0902                  ITASCA IL 60143                               HANOVER PARK IL 60133




FUJIFILM GRAPHIC SYSTEMS USA INC       FUJIFILM GRAPHIC SYSTEMS USA INC              FUJIFILM GRAPHIC SYSTEMS USA INC
301 COMMERCE DR                        PO BOX 23519                                  200 SUMMIT LAKE DRIVE
PO BOX 1019                            NEWARK NJ 07189                               VALHALLA NY 10595
MOORESTOWN NJ 08057-0019



FUJIFILM GRAPHIC SYSTEMS USA INC       FUJIFILM GRAPHIC SYSTEMS USA INC              FUJIFILM GRAPHIC SYSTEMS USA INC
123 W AIRPORT RD                       P O BOX 642587                                PO BOX 200308
LITITZ PA 17543                        PITTSBURGH PA 15264-2587                      PITTSBURGH PA 15251-0308




FUJINON INC                            FUJINON INC                                   FUJINON INC
2621A MANHATTAN BEACH BLVD             10 HIGH POINT DRIVE                           BROADCAST & COMM. PROD. DIV.
REDONDO BEACH CA 90278                 WAYNE NJ 07470-7434                           ATTN VALERIE A. SPROTT
                                                                                     10 HIGH POINT DRIVE
                                                                                     WAYNE NJ 07470-7434


FUKADA, SHIHO                          FUKUDOME, KOSUKE                              FUKUYAMA, YOSHIHIRO FRANCIS
111 E 31ST ST APT NO.3B                1 16 505 MITSUKE CHO                          7732 BRIDLE PATH LN
NEW YORK NY 10016                      CHIKUSA KU NAGOYA SHI                         MCLEAN VA 22102
                                       AICHI KEN 464-0817



FULCHER, GREGORY                       FULCO, ADRIENNE                               FULD, SAMUEL B
620 SW 7TH ST NO.5                     9 COBBLESTONE RD                              8 MEADOW RD
FT. LAUDERDALE FL 33315                GLASTONBURY CT 06033                          DURHAM NH 03824




FULD, SAMUEL B                         FULDA, THOMAS                                 FULFILLMENT XCELLENCE INC
8 MEADOWS RD                           27 FERN ST                                    5235 THATCHER RD
DURHAM NH 03824                        ROCKY HILL CT 06067-2014                      DOWNERS GROVE IL 60515-4019




FULHAM, PETER W                        FULKERSON, JONE S                             FULL HOUSE SPORTS & ENT.
801 LEBRUN RD                          30 WHITMAN AVENUE                             190 QUEEN ANNE AVE. N.
AMHERST NY 14226                       W. HARTFORD CT 06107                          #200
                                                                                     SEATTLE WA 98109




                                              Page 775 of 2387
                         Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 776 of 800
FULLARTON, DAVID                      FULLER & OBRIEN INC                           FULLER & OBRIEN INC
1401 14TH AVENUE                      677 BROADWAY                                  PO BOX 1099
SAN FRANCISCO CA 94122                ALBANY NY 12212                               ALBANY NY 12201




FULLER, ALYCE                         FULLER, BRUCE                                 FULLER, GRAHAM
2525 HARTZELL ST                      6 BRIDGEROAD                                  596 2ND ST
EVANSTON IL 60203                     KENTFIELD CA 94904                            BROOKLYN NY 11215




FULLER, GRAHAM E                      FULLER, JACK                                  FULLER, KEVIN
PO BOX 2791                           505 N LAKE SHORE DR        NO.1715            2915 NW 60 AVE        APT 409
GARIBALDI HIGHLANDS BC V0N 1T0        CHICAGO IL 60611                              SUNRISE FL 33313




FULLER, LISA                          FULLER, PETER M                               FULLER, RUTH
13747 SUNFLOWER CT                    6152 N SPRINGFIELD AVE                        407 CLEARVIEW LN
WELLINGTON FL 33414                   CHICAGO IL 60659                              LAKE VILLA IL 60046




FULLER, STEVE                         FULLER, STEVE                                 FULLER, TRAVIS B
1821 BLOSSOM PLACE                    925 CENTRAL AVE UNIT A                        1758 N. ORANGE
BREA CA 92821                         SEAL BEACH CA 90740                           #6
                                                                                    LOS ANGELES CA 90028



FULLER,GRACE                          FULLERTON COLLEGE BOOKSTORE                   FULLERTON, GEORGE
4071 CREED AVE.                       330 E CHAPMAN AVE                             1310 W ROSEMONT DR
LOS ANGELES CA 90008                  FULLERTON CA 92801                            BETHLEHEM PA 18018




FULLILOVE, MICHAEL                    FULLILOVE, MICHAEL                            FULLMOON CREATIONS
88 PEROUSE ROAD RANDWICK NSW 2031     C/O LOWY INSTITUTE FOR INT'L POLICY           100 MECHANICS ST
LOWY INSTITUTE FOR INTL POLICY        31 BLIGH STREET                               DOYLESTOWN PA 18901
31 BLIGH STREET                       SYDNEY, NSW 2000
SYDNEY, NSW 2000


FULMER, MELINDA                       FULTON, LAUREN M                              FULTON, LESLIE A
1530 HIGHGATE AVE                     3901 LOS FELTZ BLVD APT 210                   5486 VIA DE MANSION
LOS ANGELES CA 90042                  LOS ANGELES CA 90027                          LA VERNE CA 91750




FULTON, SARAH                         FULTON, WILLIAM                               FULVIO CAPRA
958 W WALNUT ST                       95 ANACAPA STREET                             37 ANDREA LANE
ALLENTOWN PA 18102                    VENTURA CA 93001                              SAYVILLE NY 11796




FULVIO CATIVO                         FUN EXPRESS                                   FUN FACTORY BOUNCE-N-PARTY
839 MAIN STREET                       26141 MARGUERITE PKY                          1400 SW 10TH AVE
UNIT 23                               SUITE B                                       POMPANO BEACH FL 33069
TORRINGTON CT 06790                   MISSION VIEJO CA 92692




                                             Page 776 of 2387
                         Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 777 of 800
FUN FACTORY ENTERTAINMENT             FUN INC                                       FUNCHESS, DOMINIQUE
1761 PINE BAY DR                      DBA RELIABLE SPORTS                           1954 THOMAS STREET
LAKE MARY FL 32746                    254 S RIVER AVE                               HOLLYWOOD FL 33020
                                      HOLLAND MI 49424



FUNDERFUL WORLD OF TRAVEL             FUNDING ARTS BROWARD INC                      FUNERAL DIRECTORS SERVICES ASSOCIATION
100 BELLEVUE PLACE NO.25B             401 E LAS OLAS BLVD STE 2200                  OF GREATER CHICAGOLAND
CHICAGO IL 60611                      FT LAUDERDALE FL 33301                        140 N BLOOMINGDALE RD
                                                                                    BLOOMINGDALE IL 60108-1017



FUNG, RAYMOND                         FUNK, BRYAN                                   FUNK, BRYAN
2119 S. HAIDER AVENUE                 155 MANSFIELD RD                              AND PLYMOUTH STATE UNIVERISITY
NAPERVILLE IL 60564                   ASHFORD CT 06278                              ATTN: BURSARS OFFICE
                                                                                    17 HIGH ST/MSC #19
                                                                                    PLYMOUTH NH 03264


FUNK, ELIZABETH                       FUNK, KAYLA                                   FUNK, STEPHEN
192 WOODSEDGE COURT                   519 FURNACE ST                                1531 NW 79TH TERRACE
VOORHEESVILLE NY 12186                EMMAUS PA 18049                               PEMBROKE PINES FL 33024




FUNT, PETER                           FUNT, PETER                                   FURIMSKY, NATASHA A
1270 LISBON LANE                      3132 SPRVANCE ROAD                            11544 SW 127TH CT
PEBBLE BEACH CA 93953                 PEBBLE BEACH CA 93953                         MIAMI FL 33186




FURLONG, THOMAS C                     FURMAN, JASON                                 FURNESS, IAN
3700 MARIGOLD STREET                  1775 MASSACHUSETTS AVENUE NW                  26830 227TH PL SE
SEAL BEACH CA 90740                   WASHINGTON DC 20015                           MAPLE VALLEY WA 98038




FURNITURE SHOP INC                    FURTAK, DANIEL                                FURTERER, JAMIE ROSE
4259 S WESTERN BLVD                   6 AYRESHIRE CT                                471 LINCOLN PL   APT 1
CHICAGO IL 60609                      SUFFIELD CT 06078                             BROOKLYN NY 11238




FUSCO, SALVATORE                      FUTTERMAN, LISA                               FUTURE ENDEAVORS INC
32 FELICIA ST                         1431 N BOSWORTH NO.3                          19360 RINALDI ST STE 319
SPRINGFIELD MA 01104                  CHICAGO IL 60622                              PORTER RANCH CA 91326




FUTURE MARKET ENTERTAINMENT           FYFE,JOHN A                                   FYI TELEVISION INC
2550 CATTLEMAN WAY                    31424 ARROW POINT DRIVE                       1901 N STATE HWY 360 3RD FLOOR STE 300
PASO ROBLES CA 93446                  CASTAIC CA 91384                              GRAND PRARIE TX 75050




FYI TELEVISION INC                    G & H VENDING                                 G & M REPRESENTATIONS INC
1901 STATE HWY 360 STE 300            6210 PILGRIM RD                               616 NW 13 ST, NO.16
GRAND PRARIE TX 75050                 BALTIMORE MD 21214                            BOCA RATON FL 33486




                                             Page 777 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 778 of 800
G & P NEWS SERVICE INC                 G & P NEWS SERVICE INC                        G BRYAN SKODA
1773 W ARTHUR                          ACCT NO.0276                                  5445 GRAND AVE.
CHICAGO IL 60626                       1773 W ARTHUR                                 WESTERN SPRINGS IL 60558
                                       CHICAGO IL 60626



G CLAUDE ALBERT                        G F RETAIL & SERVICES                         G M BUILDERS
39 TIMMS HILL ROAD                     169 KESINGTON WAY                             1183 WENTWORTH RD
HADDAM CT 06438                        WEST PALM BEACH FL 33414                      YORK PA 17403-9113




G R SPORTS INC                         G R SPORTS INC                                G RENE STUTZMAN
25 CAMPO TERRACE                       40 BARKER STREET                              1316 GEORGIA BLVD
RED BANK NJ 07701                      STATEN ISLAND NY 10310                        ORLANDO FL 32803




G ROLLINS                              G SCHELL INDUSTRIES INC                       G W CLOUSE
4135 CHULUOTA RD                       656 WEST NEWPORT RD                           638 BROOKFIELD LOOP
ORLANDO FL 32820                       PO BOX 25                                     LAKE MARY FL 32746
                                       ELM PA 17521



G WEB ROSS                             G&E ENTERPRISES INC                           G&JP NEWS AGENCY
707 PLEASANT VALLEY DR.                3350 SOUTHWEST 15 STREET                      1322 BURNS LANE
#2                                     DEERFIELD BEACH FL 33442                      MINOOKA IL 60447
LITTLE ROCK AR 72227



G&JP NEWS AGENCY                       G&R DELIVERY INC                              G&R DELIVERY INC
1575 LAVENDER DR                       37 N WASHINGTON AVE                           PO BOX 1438
ROMEOVILLE IL 60446                    RONKONKOMA NY 11779                           LAKEGROVE NY 11755




G&R LOEB FOUNDATION                    G&R LOEB FOUNDATION                           G&R LOEB FOUNDATION, MARY ANN LOEH,
110 WESTWOOD PLAZA                     GERALD LOEB AWARDS UCLA ANDERSON              PROG MGR, UCLA ANDERSON SCHOOL OF
SUITE F412                             SCHOOL OF MGMT 110 WESTWOOD PLZ               110 WESTWOOD PLAZA
LOS ANGELES CA 90095-1481              ENTREPRENEURS HALL STE C310                   MULLIN MGMT COMMONS SUITE F 321 B
                                       LOS ANGELES CA 90095-1481                     LOS ANGELES CA 90095-1481


G-WIZ PRODUCTIONS INC                  GAA ENTERPRISES INC                           GAAL,RUSSELL
2100 SOUTH CHESANING SE                4211 OLD BOYNTON ROAD                         THE FAIRWAYS
GRAND RAPIDS MI 49506                  BOYNTON BEACH FL 33436                        12801 FAIR OAKS BLVD. NO.146
                                                                                     CITRUS HEIGHTS CA 95610



GAALCA GROUP INC                       GAALCA GROUP INC                              GABARA, STEVE
2517 SYCAMORE DR       NO.339          4212 E LOS ANGELES AVE APT 3285               2025 RESEARCH PKWY, STE D
SIMI VALLEY CA 93065                   SIMI VALLEY CA 93063-3308                     COLORADO SPRINGS CO 80920




GABARRON, ANGELICA                     GABBIDON, NORDIA                              GABCO VH2 LLC
6500 SW 41ST COURT                     8020 HAMPTON BLVD NO.510                      333 SKOKIE BLVD STE 111
DAVIE FL 33314                         N LAUDERDALE FL 33068                         NORTHBROOK IL 60062




                                              Page 778 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 779 of 800
GABCO VH2 LLC                          GABCO VH2, LLC                                GABCO VH2, LLC
BERKSON & SONS LTD                     RE: VERNON HILLS 536 ATRIUM                   RE: VERNON HILLS 536 ATRIUM
333 SKOKIE BLVD STE 111                C/O BERKSON & SONS LTD.                       % BERKSON & SONS LTD. AS MANAGING
NORTHBROOK IL 60062                    333 SKOKIE BLVD., SUITE 111                   333 SKOKIE BLVD., SUITE 111
                                       NORTHBROOK IL 60062                           NORTHBROOK IL 60062


GABE WALLACE                           GABERT, SHELLEY                               GABLE, JILL E
1211 PICO BLVD                         4925 1/2 WIOTA ST                             PO BOX 463
APT 20                                 LOS ANGELES CA 90041                          WINTER PARK FL 32790
SANTA MONICA CA 90405



GABLE, STEVE                           GABLER, NEAL                                  GABOR & GABOR
435 N MICHIGAN AVE                     P O BOX 1516                                  400 GARDEN CITY PLAZA      STE 406
CHICAGO IL 60611                       AMAGANSETT NY 11930                           GARDEN CITY NY 11530




GABOR & GABOR                          GABRIEL AVALOS                                GABRIEL BARAJAS
ATTORNEYS AT LAW                       9731 QUARTZ AVENUE                            2065 WESTVIEW DR.
400 GARDEN CITY PLAZA     STE 406      CHATSWORTH CA 91311                           DES PLAINES IL 60018
GARDEN CITY NY 11530



GABRIEL GABARRON                       GABRIEL GUZMAN                                GABRIEL GUZMAN
17820 NW 74TH COURT                    1015 E. CAMERON AVENUE                        1736 QUIET TRAIL DRIVE
MIAMI LAKES FL 33015                   WEST COVINA CA 91791                          CHULA VISTA CA 91915




GABRIEL JUAREZ                         GABRIEL REYES                                 GABRIEL RIZK
540 N LAKE SHORE DRIVE                 681 SW SARAZEN AVE                            888 N. ALAMEDA ST
APT # 203                              PORT ST LUCIE FL 34953                        228E
CHICAGO IL 60611                                                                     LOS ANGELES CA 91101



GABRIEL RODRIGUEZ                      GABRIEL ROSE                                  GABRIEL, CHRISTINE
2508 W. 46TH PLACE                     1027 CATHEDRAL ST.                            67 LOVE LANE
CHICAGO IL 60632                       10B                                           MANCHESTER CT 06040-2678
                                       BALTIMORE MD 21201



GABRIEL, ILAIR C                       GABRIEL, JACQUELIN                            GABRIEL, JAMES
2451 NW 1ST STREET                     6417 SW 20TH CT                               2538 VALENTINE AVE NO.B
BOYNTON BEACH FL 33435                 MIRAMAR FL 33023                              BRONX NY 10458




GABRIEL, JAMES                         GABRIEL,JAMES                                 GABRIELA RIVAS
PO BOX 559                             67 LOVE LANE                                  234 W. GLEN LYN DRIVE
NEW YORK NY 10116                      MANCHESTER CT 06040-2678                      GLENDORA CA 91740




GABRIELA STOPYRA                       GABRIELE, TONY                                GABRIELLE BOYKIN
900 BRYN MAWR ST.                      404 LINK RD                                   4505 PLUM ORCHARD AVE.
ORLANDO FL 32804                       YORKTOWN VA 23692                             NEW ORLEANS LA 70126




                                              Page 779 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 780 of 800
GABRIELLE FINLEY                       GABRIELLE LAVALLE                             GABRIELLE RODRIGUEZ
5956 BENT PINE DRIVE                   811 ANDERSON AVE                              1805 CHERYL LANE
#358                                   FORT LEE NJ 07024                             KISSIMMEE FL 34744
ORLANDO FL 32822



GABRIELLE ROMIG                        GABRIELS, TAYLOR                              GABRYSIAK,VALLORI K
92 MCKINLEY STREET                     468 MYRTLE AVE NO.3                           415 HAMPTON ROADS AVE
KENNER LA 70065                        BROOKLYN NY 11205                             HAMPTON VA 23661




GACC VIDEO ELECTRONICS                 GACHOT, PAUL                                  GAD, VICTOR
125 S RACINE                           2278 W LIVE OAK DRIVE                         21 SCOLLARD ST NO. 208
CHICAGO IL 60607                       LOS ANGELES CA 90068                          TORONTO , CANADA ON M5R 1G1




GADI DECHTER                           GAEL SHANNON                                  GAFFER BARON LTD
1314 RUTTER STREET                     3241 44TH AVENUE WEST                         1715 GREEN VALLEY ROAD
BALTIMORE MD 21217                     SEATTLE WA 98199                              HAVERTOWN PA 19083




GAFFIGAN, SANDRA S                     GAGE SPENCER & FLEMING LLP                    GAGNE, BEVERLY
10365 TRIPPLEFEATHER CT                410 PARK AVE   STE 900                        34 HELENA RD
COLUMBIA MD 21044                      NEW YORK NY 10022                             AVON CT 06001




GAGNON, SCOTT                          GAGNON, WENDY                                 GAHAN, NICOLE MARIE
67 PICKENS DR                          135 OLD TOWN ROAD                             5209 S LECLAIRE AVE UNIT 1A
NEWINGTON CT 06111                     EAST HARTLAND CT 06027                        CHICAGO IL 60638




GAHR, DAVID                            GAIGE, AMITY                                  GAIL ANDERSON
49 8TH AVENUE                          20 CLIFTON AVE                                740 NORTH ORLANDO AVE
PARK SLOPE                             AMHERST MA 01002                              APT #201
BROOKLYN NY 11217                                                                    LOS ANGELES CA 90069



GAIL ANGELO                            GAIL BRINKMAN                                 GAIL BROWN
15 LINCOLN DRIVE                       4178 GATESWALK DRIVE                          305 - 157 STREET
LINDENHURST NY 11757                   SMYRNA GA 30080                               CALUMET CITY IL 60409




GAIL DE GEORGE                         GAIL FINE                                     GAIL GABLE
872 TANGLEWOOD CIR                     10 STRATFORD GREEN                            2846 HILLCREST DRIVE, EAST
WESTON FL 33327                        FARMINGDALE NY 11735                          COPLAY PA 18037




GAIL GEDAN                             GAIL GLASER                                   GAIL GREENE
1540 SW 68 AVE                         1725 W. GLENLAKE AVE.                         402 HIGHLAND AVE
PLANTATION FL 33317                    #1W                                           TOWSON MD 21204
                                       CHICAGO IL 60660




                                              Page 780 of 2387
                           Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 781 of 800
GAIL HAGOPIAN                           GAIL HANNAN BULFIN                            GAIL HARPER
23043 PARK PRIVADO                      3640 NE 16 TERR                               472 FRANKLIN BLVD
CALABASAS CA 91302                      OAKLAND PARK FL 33334                         ELGIN IL 60120




GAIL HARRISON                           GAIL KARLOVSKY                                GAIL LASKOWSKI
985 SILVER COLT ROAD                    551 LAVINA DRIVE                              53 BAY AVE
CUTCHOGUE NY 11935                      BOLINGBROOK IL 60440                          BAYPORT NY 11705




GAIL MARKSJARVIS                        GAIL MITCHELL                                 GAIL PAUGH
70 W. HURON ST.                         7936 SOUTH MICHIGAN AVENUE                    841 GARDEN GROVE AVENUE
#2105                                   CHICAGO IL 60619                              NORCO CA 92860
CHICAGO IL 60610



GAIL SCOTT                              GAIL SCUDDER                                  GAIL SLOTNICK
1865 WA KEE NA DRIVE                    930 LEHIGH STREET                             4 FLORENCE AVE
COCONUT GROVE FL 33133                  EASTON PA 18042                               APT 4B
                                                                                      FREEPORT NY 11520



GAIL SMITH                              GAIL SPIER                                    GAIL STITH
4796 E. MICHIGAN ST.                    10904 GOLDEN EAGLE CT                         112 EAST PENNYWOOD AVE
#2                                      PLANTATION FL 33324                           ROOSEVELT NY 11578
ORLANDO FL 32812



GAIL WILLIAMS                           GAILEY ASSOCIATES INC                         GAIMO ASSOCIATES LLP
10 CORNELIUS WAY                        PO BOX 5277                                   JOSEPH O GIAIMO
NEW BRITAIN CT 06051                    GARDEN GROVE CA 92846-0277                    80-02 KEW GARDENS RD
                                                                                      KEW GARDENS NY 11415



GAINER, ELDON J                         GAINER, TAMMY R                               GAINES, CRAIG
106 BREEZY POINT DR                     106 BREEZY POINT DR                           1976 N HILLHURST AVE    NO 1
YORKTOWN VA 23692                       GRAFTON VA 23692                              LOS ANGELES CA 90027




GAINES, PENNY                           GAINEY, SETH                                  GAIT,CHUCK
4101 CANDLEWOOD DR                      201 TAM O SHANTER BLVD       APT 12A          7964 BROWNS BRIDGE RD
HAMPTON VA 23666                        WILLIAMSBURG VA 23185                         HIGHLAND MD 20777




GAITOR, VERA                            GAJEWSKI, JOSH                                GAL, JACQUELINE
1144 NW 18TH AVE.                       511 SE 5TH AVE NO.1908                        201 E 21ST ST  NO.18G
FORT LAUDERDALE FL 33311                FT LAUDERDALE FL 33301                        NEW YORK NY 10010




GALAMBOS, KATHRYN                       GALANT, RICHARD L                             GALANT,RAYMOND
108 WINCHESTER CIRCLE                   3 DUNCAN LANE                                 23298 TORRE CIRCLE
OAK RIDGE TN 37830                      HUNTINGTON NY 11743                           BOCA RATON FL 33433




                                               Page 781 of 2387
                           Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 782 of 800
GALAUSKAS, JAMES                        GALDAMEZ, LUIS ARMANDO RIVERA                 GALE BYRD
14 N ORCHARD                            CENTRE COMERCIAL LA                           2515 YACHT CLUB BOULEVARD
ROUND LAKE IL 60073                     MASCOTA SEGUNDO NIVEL LOCAL NO.5; CALLE       FT. LAUDERDALE FL 33304
                                        MANUEL ENRIQUE ARAVJO Y CALLE LA
                                        SAN SALVADOR


GALE CAMPATO                            GALE HOLLAND                                  GALE NELSON
18324 CLARK                             2230 LEMOYNE STREET                           15932 ALWOOD STREET
APT #103                                LOS ANGELES CA 90026                          LA PUENTE CA 91744
TARZANA CA 91356



GALE, AMY                               GALEANO, CORINNE                              GALESVILLE PHARMACY
35 W 90TH ST APT 10 H                   2003 N 46 AVE                                 AKA HOGDEN ENTERPRISES INC
NEW YORK NY 10024                       HOLLYWOOD FL 33021                            C/O CONNIE ANDERSON
                                                                                      PO BOX 8
                                                                                      GALESVILLE WI 54630


GALESVILLE PHARMACY                     GALINDO, FELIPE                               GALINDO, JOSE
PO BOX 8 - HOGDEN ENTERPRISES INC       3810 BROADWAY NO.5G                           546 GILLMAN AVE
GALESVILLE WI 54630                     NEW YORK NY 10032                             MERCEDES TX 78570




GALL, MARK                              GALLAGHER BASSETT SERVICES INC                GALLAGHER BASSETT SERVICES INC
533 LAKE AVE                            PO BOX 30840                                  ACCOUNTING DEPARTMENT 5TH FL
ORLANDO FL 32801                        LAGUNA HILLS CA 92654                         TWO PIERCE PL
                                                                                      ITASCA IL 60143-3141



GALLAGHER BASSETT SERVICES INC          GALLAGHER BASSETT SERVICES INC                GALLAGHER BASSETT SERVICES INC
1630 DES PERES RD SUITE 200             111 WALL ST                                   ONE HUNTINGTON QUADRANGLE
ST LOUIS MO 63131-1849                  NEW YORK NY 10043                             SUITE 1310
                                                                                      MELVILLE NY 11747



GALLAGHER SAFETY & ENVIRONMENTAL SRVC   GALLAGHER, BRIAN                              GALLAGHER, BRIAN B
1530 S WESTERN AVE                      11360 TOOKS WAY                               21 LINDEN TERRACE
PARK RIDGE IL 60068                     COLUMBIA MD 21044                             TOWSON MD 21286




GALLAGHER, DANIEL P                     GALLAGHER, EUGENE V                           GALLAGHER, JOHN
1500 ELDORADO PKWY      NO.328          19 MONEY POINT RD                             303 BIDDLE ST
MCKINNEY TX 75069                       MYSTIC CT 06355                               TAMAQUA PA 18252




GALLAGHER, NORA                         GALLAGHER, SEAN                               GALLANT, JOHN A
2510 ORELLA STREET                      4434 NW 99TH TERR                             788 WISHARD AVENUE
SANTA BARBARA CA 93105                  SUNRISE FL 33351                              SIMI VALLEY CA 93065




GALLARDAY, CVLELIA N                    GALLARDO, MAYRA                               GALLARDO, MAYRA
6870 FILLMORE STREET                    60-31 75TH AVE                                60-31 75TH AVE
HOLLYWOOD FL 33024                      GLENDALE NY 11385                             GLENDALE NY 13185




                                               Page 782 of 2387
                           Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 783 of 800
GALLAUGHER, MAUREEN                     GALLEGO, CLAUDIA PATRICIA                     GALLEGOS, JORGE
1211 HERITAGE WAY                       104 RUSSELL STREET                            216 SW 11TH STREET
COVINA CA 91724                         ALTAMONTE SPRINGS FL 32701                    HALLANDALE FL 33009




GALLEGOS, MARIA                         GALLERIA OPERATING CO LLC                     GALLERIA OPERATING CO LLC
3707 S WENONAH AVE                      ATTN MICHAEL J CAMPBELL                       C/O CHASE
BERWYN IL 60402                         PO BOX 6401                                   PO BOX 62600 DPT 1208
                                        METAIRIE LA 70009                             NEW ORLEANS LA 70162-2600



GALLERIA OPERATING CO., LLC             GALLERIA OPERATING CO., LLC                   GALLI, REBECCA FAYE
RE: NEW ORLEANS GALLERIA                RE: NEW ORLEANS GALLERIA                      10903 TONY DR
C/O THE FEIL ORGANIZATION               PO BOX 6401                                   LUTHERVILLE MD 21093
7 PENN PLAZA, SUITE 618                 METAIRIE LA 70009
NEW YORK NY 10001


GALLION, AMANDEUS                       GALLMEIER CREATIVE GROUP INC                  GALLO, CHRISTOPHER JOSEPH
9750 S MAPLEWOOD                        2% 20 DAYS, NET 30 VENTURA BLVD NO.126        8317 LOCH RAVEN BLVD APT B
EVERGREEN PARK IL 60805                 WOODLAND HILLS CA 91364                       TOWSON MD 21286




GALLO, LINDA L                          GALLO, STEVEN VITO                            GALLO, WILLIAM WARREN
35 CHAPIN AVE                           9180 PINE SPRINGS DRIVE                       827 N MARSHFIELD CH1
ROCKY HILL CT 06067-2303                BOCA RATON FL 33428-1457                      CHICAGO IL 60622




GALLOWAY, CORDELIA F                    GALLOWAY, JOSEPH L                            GALLOWAY, JOSEPH L
1625 W 71ST STREET                      KNIGHT-RIDDER                                 PO BOX 399
CHICAGO IL 60636                        700 NATIONAL PRESS BUILDING                   BAYSIDE TX 78340
                                        WASHINGTON DC 20005



GALLUCCI, ANGELA                        GALLUZZ0, STEPHEN A                           GALMONT CONSULTING LLC
19144 WINSLOW TERR                      20184 GILBERT DRIVE                           70 WEST MADISON STE 1400
BOCA RATON FL 33434                     CANYON COUNTRY CA 91351                       CHICAGO IL 60602




GALMONT CONSULTING LLC                  GALMONT CONSULTING LLC                        GALVAN, ARMANDO
PO BOX 88264 DEPT H                     THREE FIRST NATIONAL PLAZA                    6301 BISSELL ST
CHICAGO IL 60680-1264                   70 W MADISON STE 1400                         HUNTINGTON PARK CA 90255
                                        CHICAGO IL 60602



GALVEZ, CARLOS ALBERTO                  GALVEZ, MARCO A                               GALVIN, MARIA E
CARRETT MELLA NO.34 KM4                 55 WARDWELL ST NO. 2                          702 N 3RD AVE
HATO MAYOR                              STAMFORD CT 06902                             MAYWOOD IL 60153




GALVIN, RACHEL                          GAMARRA, LUIS F                               GAMBINO, CARMELLA
PO BOX 970847                           11480 NW 39TH ST APT B                        4745 SATTINWOOD TRAIL
COCONUT CREEK FL 33097                  CORAL SPRINGS FL 33065                        COCONUT CREEK FL 33063




                                               Page 783 of 2387
                        Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 784 of 800
GAMBLE, CAROL J                      GAMBLE, RICHARD G                             GAME CREEK VIDEO
4801 NW 7TH DR                       1255 SOUTH STATE STREET                       23 EXECUTIVE DR
PLANTATION FL 33317                  UNIT #505                                     HUDSON NH 03051
                                     CHICAGO IL 60605



GAME ON PRODUCTIONS                  GAMEPLAN CREATIVE LLC                         GAMEZ, MATIAS
2180 CEDARHURST DRIVE                220 W HURON ST STE 2001                       7580 STIRLING RD NO.115
LOS ANGELES CA 90027                 CHICAGO IL 60610                              DAVIE FL 33024




GAMEZ, PEDRO                         GAMMERLER CORPORATION                         GAMMERLER CORPORATION
921 SW 131 WAY                       930 MUIRFIELD DRIVE                           P O BOX 95109
DAVIE FL 33325                       HANOVER PARK IL 60103-5457                    PALATINE IL 60095-0109




GAMMON, JERRY W                      GANAN & SHAPIRO                               GANAN & SHAPIRO
121 HORSLEY DR                       JERRY WEBB (CUBS)                             CLIFF GANAN
HAMPTON VA 23666                     210 W. ILLINOIS ST.                           210 W. ILLINOIS ST.
                                     CHICAGO IL 60610                              CHICAGO IL 60610



GANAPATI, SHARAT                     GANCARSKI, ANTHONY                            GANDELMAN, CHAD
5220 S ELLIS AVE NO.3                2259-15 COLLEGE ST                            2633 MONTEBELLO DR
CHICAGO IL 60615                     JACKSONVILLE FL 32204                         COLORADO SPRINGS CO 80918




GANDHI, ANGELA                       GANDOLFO, KURT                                GANESH HARRINARAINE
813 E PLUMWOOD DRIVE                 11 NORTH ROAD                                 6335 PLUNKETT STREET
SCHAUMBURG IL 60173                  LAKE RONKONKOMA NY 11779                      HOLLYWOOD FL 33023




GANESHRAM, RAMIN                     GANNETT MEDIA TECHNOLOGIES INTL               GANNETT NEWS SERVICE
9 ARCHER DRIVE                       151 WEST FOURTH STREET                        1000 WILSON BLVD
STONY BROOK NY 11790                 SUITE 201                                     ARLINGTON VA 22229
                                     CINCINNATI OH 45202



GANNETT NEWS SERVICE                 GANNETT NEWS SERVICE                          GANS, JANESSA
7950 JONES BRANCH DR                 ATTN: CAESAR ANDREWS                          1 MAYBECK PL
ATTN: MARIE MARINO                   1000 WILSON BLVD                              ELSAH IL 62028
MCLEAN VA 22107-0320                 ARLINGTON VA 22229



GANT, JOHN JR                        GANT, SCOTT E                                 GANZERMILLER, ANTHONY
400 ARBORETUM WAY APT 20             1530 KEY BLVD APT 515                         636 FALCONER RD
NEWPORT NEWS VA 23602                ARLINGTON VA 22209                            JOPPA MD 21085




GAOUETTE, KATHERINE N                GARABED KOPOOSHIAN                            GARAY, ART
4009 FESSENDEN STREET NW             1128 E MAPLE STREET #3                        19789 EMERALD CREEK DR
WASHINGTON DC 20016                  GLENDALE CA 91205                             SANTA CLARITA CA 91351




                                            Page 784 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 785 of 800
GARAY, DAVID                           GARBACZ, CHRISTINA                            GARBEE, JENNIFER
51 LOS COYOTES DRIVE                   1751 W GRANVILLE AVE NO.1                     1538 STANFORD ST NO.6
PHILLIPS RANCH CA 91766                CHICAGO IL 60660                              SANTA MONICA CA 90404




GARBEE, R KEVIN                        GARBEY, BARBARO                               GARCES, JAIME
1538 STANFORD STREET NO.6              14094 WOODSIDE                                42-07 ELBERTSON ST     6C
SANTA MONICA CA 90404                  LIVONIA MI 48154                              ELMHURST NY 11373




GARCIA & CASTIELLO                     GARCIA GOMEZ, JOSE LAZARO                     GARCIA JR, JORGE
4321 SOUTHWEST 15TH STREET             6369 LANDIGS TERR                             9633 KINGBIRD DR
MIAMI FL 33134                         TAMARAC FL 33321                              HARLINGEN TX 78552




GARCIA OVEJERO, VIRGINIA NOBERTA       GARCIA, ALBERTO                               GARCIA, ALVIN W
1233 OGDEN ST APT 209                  CALLE SAN PABLO NO.36                         11542 NW 4 MANOR
DENVER CO 80218                        ENSANCHE LIBERTAD                             CORAL SPRINGS FL 33071
                                       BONAO



GARCIA, AMANDA E                       GARCIA, ANDRIANA                              GARCIA, ANGEL
8501 NW 9TH PLACE                      70 KANE ST APT B3                             5660 PINE CHASE DR   NO.7
PLANTATION FL 33324                    WEST HARTFORD CT 06119                        ORLANDO FL 32808




GARCIA, ANTHONY                        GARCIA, CARDIFF                               GARCIA, DAISY M
6640 SEPULVEDA BLVD NO.101             298 ECKFORD ST APT 1R                         6118 N SHERIDAN UNIT 1207
VAN NUYS CA 91411                      BROOKLYN NY 11222                             CHICAGO IL 60660




GARCIA, DANUSA                         GARCIA, DAVID                                 GARCIA, DAVID
320 HATFIELD STREET                    3223 GOLF COURSE DR                           721 S DOWNEY RD
NORTHAMPTON MA 01060                   VENTURA CA 93003                              LOS ANGELES CA 90023




GARCIA, EDUARDO                        GARCIA, EDWIN                                 GARCIA, EDWIN R
2712 S EUCLID                          940 PICARDY DR    STE 2314                    11242 WORLEY AVENUE
BERWYN IL 60406                        KISSIMMEE FL 34759                            ORLANDO FL 32837




GARCIA, ELEANA                         GARCIA, ELISE                                 GARCIA, ELIZABETH
3031 N MONITOR AVE                     857 ARGUS CT                                  8406 DIMARE DR
CHICAGO IL 60634                       BETHLEHEM PA 18015                            STE 2802
                                                                                     ORLANDO FL 32822



GARCIA, ELIZABETH                      GARCIA, ELVIRA                                GARCIA, FELIPE
8406 DIMARE DR                         825 W. CURTIS                                 1861 EVERHART DR
ORLANDO FL 32822                       HARLINGEN TX 78550                            ORLANDO FL 32806




                                              Page 785 of 2387
                         Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 786 of 800
GARCIA, GERARDO                        GARCIA, HECTOR                               GARCIA, HIPOLITO
4550 SW 30TH ST                        953 ANDERSON AVE APT 2E                      11242 WORLEY AVE
HOLLYWOOD FL 33023                     BRONX NY 10452                               STE 2314
                                                                                    ORLANDO FL 32837



GARCIA, INDIANA Y                      GARCIA, ISRAEL                               GARCIA, JAIRO
2097 NW 22 CT NO.7                     50 CATHERINE ST                              4991 PALM BROOKE CIRCLE
MIAMI FL 33142                         HARTFORD CT 06106                            WEST PALM BEACH FL 33417




GARCIA, JANET                          GARCIA, JEREMIAH                             GARCIA, JUAN
1301 SW 67TH AVE APT 4                 12714 SHORT AVE                              1847 FUNSTON ST
MIAMI FL 33144                         LOS ANGELES CA 90066                         HOLLYWOOD FL 33020




GARCIA, JULIO                          GARCIA, LEONEL                               GARCIA, LILIA
PO BOX 216                             182 ORLANDO ST APT 15                        2412 N BREEDLOVE
1072 MAIN ST                           EL CAJON CA 92021-7172                       HARLINGEN TX 78550
INDUSTRY TX 78944



GARCIA, LUIS A                         GARCIA, MARCELINO                            GARCIA, MARIA
175 EAST NEW YORK AVE                  4421 NE 15 AVE                               7756 HARBOR BEND CIRC
VALLEY STREAM NY 11580                 POMPANO BEACH FL 33064                       STE 2005
                                                                                    ORLANDO FL 32822



GARCIA, MARIA                          GARCIA, MARIO T                              GARCIA, MATHEW R
1110 S. MENARD AVE                     1016 VIA MERANO                              949 GREENWAY LANE
CHICAGO IL 60644                       SANTA BARBARA CA 93111                       CASTLE ROCK CO 80108




GARCIA, MELISSA R                      GARCIA, MIGUEL                               GARCIA, NORMAN
909 E WILLIAMSON AVE                   901 WINDROSE DR                              12 AUTUMN BREEZE WAY
HARLINGEN TX 78550                     ORLANDO FL 32824                             WINTER PARK FL 32792




GARCIA, RAMON JUNIOR                   GARCIA, REYNA                                GARCIA, RICHARD
BARRIO COMOMBIA NORTE CALLE 2 CASA 2   383 PROSPECT AVE                             4353 HILLTOP CIRC
GUANARE EDO PORTUGUESA                 WEST HARTFORD CT 06105-4105                  BETHLEHEM PA 18020




GARCIA, ROBERTO                        GARCIA, ROSE LINDA                           GARCIA, SANDRA
9633 KINGBIRD DR                       1218 EAST VAN BUREN                          3586D PARKMOOR VILLAGE DR
HARLINGEN TX 78552                     HARLINGEN TX 78550                           COLORADO SPRINGS CO 80917




GARCIA, SANDRA                         GARCIA, SANTIAGO                             GARCIA, VERONICA
5134 REBECCA CT                        576 W CASMALIA ST                            3220 GRIFFITH PARK BLVD
ORLANDO FL 32810                       RIALTO CA 92377                              LOS ANGELES CA 90027




                                             Page 786 of 2387
                           Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 787 of 800
GARCIA, WILLY RAFAEL                    GARCIA,MARIO                                  GARCIA,VICENTE
C/O SANCHEZ ARRIBA CALLEJON NO.3        5507 NW 37TH TER                              320 SW 65 AVE
NO.17 ARROYO SECO                       FORT LAUDERDALE FL 33309                      PEMBROKE PINES FL 33023
TENARES



GARCIA-VAZQUEZ, LUIS B                  GARCONNET, JOSEPH A                           GARDELLA, MICHELLE B
8223 GOLDEN CHICKASAW CIRCLE            608 ASBURY WAY                                32 SHERRY CIRCLE
ORLANDO FL 32825                        BOYNTON BEACH FL 33426                        TOLLAND CT 06084




GARDELS, NATHAN                         GARDEN CITY PARK WATER/ FIRE DISTRICT         GARDEN FRESH MARKET
23334 MARIANO ST                        333 MARCUS AVE                                7150 CAPITOL DR
WOODLAND HILLS CA 91367                 GARDEN CITY PARK NY 11040                     WHEELING IL 60090




GARDENER, CECIL E                       GARDETTE, DAVE                                GARDINER, JOHN
2833 SW 11TH PL                         4517 MONT EAGLE PLACE                         53 CARROLL ST
DEERFIELD BEACH FL 33442                LOS ANGELES CA 90041                          BROOKLYN NY 11231




GARDNER BISSAINTHE                      GARDNER LAW FIRM PC                           GARDNER, CHARLES F
14815 LOWE COURT                        745 E MULBERRY AVE   STE 100                  202 E ROBERTA AVE
APT. 6E                                 SAN ANTONIO TX 78212                          WAUKESHA WI 53186
JAMAICA NY 11435



GARDNER, ERNEST K                       GARDNER, HOWARD                               GARDNER, KATHRYN E
41539 N RIMFIELD AVENUE                 C/O HARVARD UNIVERSITY                        7737 TILGHMAN ST.
QUARTZ HILL CA 93536                    14 APPLAN WAY    LARSEN 201                   FULTON MD 20759
                                        CAMBRIDGE MA 02138



GARDNER, NATASHA                        GARDNER, PAUL                                 GARDNER, ROBERT
227 W MAIN ST                           536 W ADDISON NO.485                          1133 ROSSELL
PLAINVILLE CT 06062                     CHICAGO IL 60613                              OAK PARK IL 60302




GARDNER, ROBERT                         GARDNER, SAMUEL                               GARDNER, SEAN
1133 ROSSELL                            1014 W CHEW ST                                1025 TRANSCONTINENTAL DR
ROSSELL IL 60302                        ALLENTOWN PA 18102                            METAIRIE LA 70001




GARDNER, TERRY LYNN                     GARELICK, RHONDA                              GARETH HARTENSTEIN
1920 6TH ST   NO.353                    15 PARK ROW NO.25P                            244 CURTIS STREET
SANTA MONICA CA 90405                   NEW YORK NY 10038                             MERIDEN CT 06450




GARETT ALLISON                          GARETT ARGIANAS                               GARETT SLOANE
42 TUNXIS VILLAGE                       1 LINDEN PLACE                                1074 MORA PLACE
FARMINGTON CT 06032                     200                                           WOODMERE NY 11598
                                        HARTFORD CT 06106




                                               Page 787 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 788 of 800
GAREY, LISA R                          GARFIELD ARCHER                               GARFIELD FORBES
235 WEST 102ND ST 9H                   8720 N. SHERMAN CIRCLE                        7 LINCOLN ROAD
NEW YORK NY 10025                      APT 201                                       WEST HEMPSTEAD NY 11552
                                       MIRAMAR FL 33025



GARGIULO JR, ANTHONY W                 GARI COMMUNICATIONS INC                       GARI COMMUNICATIONS INC
635 WOODBINE                           1532 FALLING STAR AVE                         2660 TOWNSGATE RD NO.300
OAK PARK IL 60302                      WESTLAKE VILLAGE CA 91362                     W GATE VILLAGE CA 91361




GARIAN MCNEAL                          GARIP, EMILIO                                 GARLAND BEAUCHAMP
PO BOX 21176                           736 PEAKS LANDING                             25111 VESPUCCI ROAD
ROANOKE VA 24018                       CONYERS GA 30013                              LAGUNA HILLS CA 92653




GARLAND FIRE SYSTEMS INC               GARLAND FIRE SYSTEMS INC                      GARLAND NEALY
2280 CONVENTRY ROAD                    499 SOUTH MAIN STREET                         960 EAST PACES FERRY RD NE
BALDWIN NY 11510                       FREEPORT NY 11520                             APT 657
                                                                                     ATLANTA GA 30326



GARLAND, GREGORY D                     GARLICKI, DEBORAH J                           GARNER, ALLERSON
1240 TAYLOR AVENUE                     7805 CROSS CREEK CIRCLE                       613 MICHIGAN DR  APT O
ARNOLD MD 21012                        BREINIGSVILLE PA 18031                        HAMPTON VA 23669




GARNES, KATHRYN                        GARNETT HART                                  GARNETT, RONDA
12404 RADNOR LANE                      138 KENT STREET                               4501 MARCOURT LANE
LAUREL MD 20708                        HARTFORD CT 06112                             WEST DES MOINES IA 50266




GARNIER, ELPENORD                      GAROFALO, JOSEPH                              GAROFALO, MEREDITH
11765 SE 16TH ST                       6 MAPLE MALL                                  2140 JACQUELINE DR
PEMBROKE PINES FL 33025                COMMACK NY 11725                              PARMA OH 44134




GARR, KRISTIE                          GARRETT BAGGS                                 GARRETT BOVA
116 S PINE ST                          922 PHYLLIS DRIVE                             8S270 PALOMINO DRIVE
NAZARETH PA 18064                      NEW CASTLE IN 47362                           NAPERVILLE IL 60540




GARRETT FERMOYLE                       GARRETT FOSTER                                GARRETT HEYNS
2990 BRIDGEHAMPTON LANE                7742 BELMONT DRIVE                            152 E. 24TH ST
ORLANDO FL 32812                       LAKE WORTH FL 33467                           HOLLAND MI 49423




GARRETT THEROLF                        GARRETT, EDWARD JR                            GARRETT, ELIZABETH
1412 EAST 1ST STREET                   517 DARTMOUR DR   APT 102                     2512 N BOSWORTH AVE APT 205
LONG BEACH CA 90802                    NEWPORT NEWS VA 23608                         CHICAGO IL 60614




                                              Page 788 of 2387
                        Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 789 of 800
GARRETT, JAMES W                     GARRETT, JANET                                GARRETT, LAURIE
2236 BURGUNDY DR                     12010 S WENTWORTH                             111 HICKS STREET NO.25E
MACUNGIE PA 18062                    CHICAGO IL 60628                              BROOKLYN NY 11201




GARRINGER, KIM                       GARRISON, DAVID S                             GARRISON, JOSEPH CHRISTOPHER
962 SWAIN                            1864 STONE CANYON DRIVE                       4 BURNHAM ST
ELMHURST IL 60126                    ROSEVILLE CA 95661                            ENFIELD CT 06082




GARRISON, RENEE L                    GARRITY, PATRICK                              GARRITY, PEGGY
3848 ETHAN LANE                      754 OLD EAGLEVILLE RD                         LAW OFFICES OF PEGGY GARRITY
ORLANDO FL 32814                     COVENTRY CT 06238                             233 WILSHIRE BLVD   STE 400
                                                                                   SANTA MONICA CA 90401



GARROW, DAVID J                      GARRY HOLLAND                                 GARRY SCHNITZER
56 DEVONSHIRE ROAD                   4928 E. 62ND STREET                           6515 KENSINGTON LANE #206
CAMBRIDGE, CAMBS CB1 2BL             D                                             DELRAY BEACH FL 33446
                                     INDIANAPOLIS IN 46220



GARRY SOUTH GROUP INC                GARRY, SANDY                                  GARSON, BARBARA
1223 WILSHIRE BLVD NO.1620           27 ROE ST                                     55 BETHUNE STREET NO.1108
SANTA MONICA CA 90403                MELVILLE NY 11747                             NEW YORK NY 10014




GART, MICHAEL                        GARTH MARTIN                                  GARTH YOUNG
2126 ELMWOOD AVENUE                  5710 SEAGRAPE DRIVE                           11300 EXPOSITION BLVD
WILMETTE IL 60091                    FORT PIERCE FL 34982                          APT#203
                                                                                   LOS ANGELES CA 90064



GARTH, RICHELLE                      GARTH, VALDIS LYDELL                          GARTNER, SCOTT
4916 W KINZIE                        4240 WALDROP HILLS TER                        545 OAK AVENUE
CHICAGO IL 60644                     DECATUR GA 30034                              DAVIS CA 95616




GARVINE CHAMBERS                     GARY AMBROSE                                  GARY ANDREOTTI
2141 HOMEWOOD AVENUE                 7251 HAVENROCK DR                             128 FORSYTHE AVENUE
BALTIMORE MD 21218                   HUNTINGTON BEACH CA 92648                     LINDENHURST NY 11757




GARY ANDREWS                         GARY ARNOLD                                   GARY ATCHLEY
765 FETTERS LANE                     910 FAR OAKS DR                               907 S CARDIFF
WESCOSVILLE PA 18106                 CASEYVILLE IL 62232                           ANAHEIM CA 92806




GARY BABBITT                         GARY BALOGH                                   GARY BARTON
703 S. SPENCER ST.                   121 FALL EAST                                 P.O. BOX 572
AURORA IL 60505                      WILLIAMSBURG VA 23188                         1518 CHEROKEE DRIVE
                                                                                   ROUND LAKE BEACH IL 60073




                                            Page 789 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 790 of 800
GARY BLOCKUS                           GARY BORG                                     GARY BOSTROM
1159 WELLINGTON CIRCLE                 1133 W. PRATT                                 2311 VINA DEL MAR
LAURYS STATION PA 18059                #2                                            OXNARD CA 93035
                                       CHICAGO IL 60626



GARY BUNCH                             GARY BUTTICE                                  GARY CLAIRMONT
5712 GOLDEN STREET                     1116 W WELLINGTON AVE                         11 EXETER
RIVERSIDE CA 92505                     CHICAGO IL 60657-4338                         IRVINE CA 92612




GARY COBB                              GARY COHEN                                    GARY CONFORTI
4 RIEGEL OAKS LANE                     1057 WELLINGTON AVENUE                        96 WESTWOOD AVE
HOMEWOOD IL 60430                      CHICAGO IL 60657                              DEER PARK NY 11729




GARY COOK                              GARY CRUZ                                     GARY DAMATO, PRO SE
22051 SUNDOWNERS LANE                  236 EAST 118TH STREET                         PRISONER #218196
LAKE FOREST CA 92630                   APT. 5                                        MACDOUGAL-WALKER CORRECTIONAL INST.
                                       NEW YORK NY 10035                             1153 EAST STREET SOUTH
                                                                                     SUFFIELD CT 06080


GARY DE VINE                           GARY DEVANEY                                  GARY DILEONE
1662 PEGASUS STREET                    6 YARMOUTH LANE                               140 RULAND RD NO.
SANTA ANA HEIGHTS CA 92707             NESCONSET NY 11767                            SELDEN NY 11784




GARY DUCHANE                           GARY DYMSKI                                   GARY E BURCHFIELD
2701 E. GRAND RESERVE CIRCLE           14 SWEETBRIAR PATH                            3843 WINCHESTER AVENUE
APT. 1527                              LAKE GROVE NY 11755                           LOS ANGELES CA 90032
CLEARWATER FL 33759



GARY E NICKEL                          GARY EMRICK                                   GARY EMRICK PRODUCTION
669 CLUBHOUSE DR                       24438 LEONARD TREE LANE                       24438 LEONARD TREE LN
APTOS CA 95003                         APT #204                                      NO.204
                                       NEWHALL CA 91321                              NEWHALL CA 91321



GARY ENGLISH                           GARY FAIN                                     GARY FARRAR
4837 ALPHONSE DR.                      4171 LOMA STREET                              18715 88TH AVENUE WEST
METAIRIE LA 70006                      IRVINE CA 92604-2205                          EDMONDS WA 98026




GARY FONG                              GARY FORD                                     GARY FRIEDMAN
1048 W ROSES ROAD                      90 SOUTH 29TH ST                              705 N. STONEMAN #5
SAN GABRIEL CA 91775                   WYANDANCH NY 11798                            ALHAMBRA CA 91801




GARY FULTZ                             GARY GRAVES                                   GARY GREEN
9019 A 18TH AVE SW                     17350 E TEMPLE #440                           340 W. HORNBEAM DRIVE
SEATTLE WA 98106                       LA PUENTE CA 91744                            LONGWOOD FL 32779




                                              Page 790 of 2387
                        Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 791 of 800
GARY GRIFFIN                         GARY HAHN                                     GARY HAPPICH
14707 CEDAR POINT DR                 3333 SASSAFRAS CT.                            27 WOODBRIDGE COURT
HOUSTON TX 77070                     ORLANDO FL 32810                              WEST BABYLON NY 11704




GARY HIGGINS                         GARY INTERRANT                                GARY JOHNSON
7280 SE 120TH STREET                 10 CONRAN COURT                               816 S. MAIN STREET
BELLEVIEW FL 34420                   ST JAMES NY 11780                             BEL AIR MD 21014




GARY KLEIN                           GARY L EVANS                                  GARY L NOWLIN
1415 N CHESTER AVENUE                1618 ROUTE 9                                  1692 CROWNWOOD STREET
PASADENA CA 91104                    LOT 15                                        ALLENTOWN PA 18103
                                     FORT EDWARD NY 12828



GARY LAIRD                           GARY LEDESMA                                  GARY LEE WEAVER
377 N 6TH ST                         3392 DEER LANE DRIVE                          15771 LAS NUBES
LINDENHURST NY 11757                 DURATE CA 91010                               WESTMINSTER CA 92683




GARY LIBOW                           GARY LIBOW                                    GARY LUMPKIN
122 ANDERSON AVENUE                  MADSEN PRESTLEY & PARENTEAU, LLC              19416 REINHART AVENUE
WEST HAVEN CT 06516                  JACQUES PARENTEAU, ESQ                        CARSON CA 90746
                                     111 HUNTINGTON ST PO BOX 1631
                                     NEW LONDON CT 06320


GARY M HANSON                        GARY MANTZ                                    GARY MARTIN MALLO
239 LAKE RD                          309 SOUTH WHITEOAK STREET                     3908 WILCOX AVE.
ANDOVER CT 06232-1710                KUTZTOWN PA 19530                             BELLWOOD IL 60104




GARY MARX                            GARY MATTHEWS                                 GARY MCCALL
515 W. OAKDALE                       1542 W JACKSON                                SOUTH 28TH ST
CHICAGO IL 60657                     CHICAGO IL 60607                              APT 84
                                                                                   WYANDANCH NY 11798



GARY MCCASKILL                       GARY MCGANN                                   GARY MELLO
8907 S. EUCLID AVE.                  7632 W LAWRENCE AVENUE                        5416 U STREET
CHICAGO IL 60617                     APT 1B                                        SACRAMENTO CA 95817
                                     HARWOOD HEIGHTS IL 60656



GARY METZ                            GARY METZKER                                  GARY MIDDLETON
14032 MILAN                          116 SANTA ANA AVENUE                          130 BARLOW LAKE
WESTMINSTER CA 92683                 LONG BEACH CA 90803-3459                      MIDDLEVILLE MI 49333




GARY MIDDLETON                       GARY MILLER                                   GARY MORRIS
1609 MANITOU LN                      1705 ROTARY DRIVE                             1388 FLATBUSH AVENUE
MIDDLEVILLE MI 49333                 LOS ANGELES CA 90026                          APT. 1 (1ST FLOOR)
                                                                                   BROOKLYN NY 11226




                                            Page 791 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 792 of 800
GARY MURPHY                            GARY NAPOLEAN                                 GARY OLSZEWSKI
9 RISLEY ROAD                          400 4TH STREET                                657 GENESSEE STREET
VERNON CT 06066                        LINDENHURST NY 11757                          ANNAPOLIS MD 21401




GARY PEACH                             GARY PONTICIAN                                GARY POPADOWSKI
5707 DEER FLAG DR                      760 SECOND STREET                             1908 S. AUSTRIAN PINE STREET
LAKELAND FL 33811                      CATASAUQUA PA 18032                           LOCKPORT IL 60441




GARY POTTER                            GARY QUINLAN                                  GARY R REINMUTH
15122 DANDELION LANE                   P.O BOX 485                                   4537 CENTRAL
FONTANA CA 92336                       DEERFIELD BEACH FL 33443                      WESTERN SPRINGS IL 60558




GARY R STURDIVAN                       GARY RADMER                                   GARY RATCLIFFE
P.O. BOX 1979                          111 FERNWOOD DRIVE                            1250 MAJESTIC PALM CT.
VANCOUVER WA 98668-1979                NAPERVILLE IL 60540                           APOPKA FL 32712




GARY RAYMOND                           GARY REYES                                    GARY RIEWER
2867 WOODBROOK AVE                     5753 MAMMOTH AVE                              3601 RADCLIFFE ROAD
BALTIMORE MD 21217                     VAN NUYS CA 91401                             THOUSAND OAKS CA 91360




GARY ROGERS                            GARY RUBIN                                    GARY SAMEK
282 WOODBINE AVE                       19912 AVENIDA DESEO                           56 NOVELLI PLACE
NORTHPORT NY 11768                     WALNUT CA 91789                               COLCHESTER CT 06415




GARY SAPOLSKY                          GARY SCHEIRER                                 GARY SCHLEICHER
2 BAY CLUB DRIVE.                      391 N. GRANGER ROAD                           2435 BIRCH STREET
APT 5U                                 NORTHAMPTON PA 18067                          EASTON PA 18042
BAYSIDE NY 11360



GARY SPIECKER                          GARY STARK                                    GARY STEIN
339 SAN JUAN WAY                       21130 PLACERITA CYN ROAD                      4614 NW 99TH LANE
LA CANADA CA 91011                     NEWHALL CA 91321                              CORAL SPRINGS FL 33076




GARY SUN                               GARY SUSIENKA                                 GARY TAYLOR
25 CARY ROAD                           80 NANTUCKET LANE                             304 W. 24TH STREET
GREAT NECK NY 11021                    ALISO VIEJO CA 92656                          SANFORD FL 32771




GARY VANDEN HEUVEL                     GARY VANDERWALL                               GARY VISGAITIS
2351 MAPLE ST                          17050 WILLIAMS HWY                            112 EAST GREEN STREET
SEAFORD NY 11783                       WILLIAMS OR 97544                             HAZLETON PA 18201




                                              Page 792 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 793 of 800
GARY VISKUPIC                          GARY W. GARCIA                                GARY WARE
7 WESTFIELD DRIVE                      SIBEN & SIEBEN, LLP                           986 ROLLINGWOOD LOOP
CENTERPORT NY 11721                    90 EAST MAIN STREET                           APT. 110
                                       BAY SHORE NY 11706                            CASSELBERRY FL 32707



GARY WASHBURN                          GARY WEILAND                                  GARY WEITMAN
1937 W 101ST PLACE                     4159 WILSON AVENUE                            835 FOREST AVENUE
CHICAGO IL 60643                       BETHLEHEM PA 18020                            WILMETTE IL 60091




GARY WHITFIELD                         GARY WINTERS                                  GARY WONG
21 SCHENCK AVE                         331 HORMIGAS STREET                           207 S MOODY AVENUE
GREAT NECK NY 11021                    OCOEE FL 34761                                FULLERTON CA 92831




GARY WURZBACHER                        GARY YODER                                    GARY ZIETLOW
27 DUBLIN DRIVE                        2120 CEDAR DRIVE                              13547 VENTURA BLVD.
LUTHERVILLE MD 21093                   APT. G                                        APT# 255
                                       EDGEWOOD MD 21040                             SHERMAN OAKS CA 91423



GARY, RACHEL F                         GARYS MOBILE WASH                             GARYS MOBILE WASH
914 MILLBROOK RD                       1155 MAIN STREET                              1370 COLD SPRING ROAD
MIDDLETOWN CT 06457                    UPLAND PA 19015                               NEWTOWN SQUARE PA 19073




GARZA, ADOLFO LEE                      GARZA, ELIZABETH                              GARZA, LETICIA
16678 W WILSON RD NO.39                8400 S. LOCKWOOD                              100 HELEN MOORE RD NO.512
HARLINGEN TX 78552                     BURBANK IL 60459                              SAN BENITO TX 78586




GARZONE, MARIA E                       GARZONE, PETER                                GARZONE, PETER
73 FOREST DR                           73 FOREST DR                                  73 FOREST ST
ROCKY HILL CT 06067                    ROCKY HILL CT 06067-3721                      ROCKY HILL CT 06067




GARZONE, PETER                         GASKILL, DAVID L                              GASKINS, BERNADINE
73 FOREST ST                           3170 LANARK ROAD                              776 SEATONS LN
*COST CUTTER LIQUOR                    COOPERSBURG PA 18036                          WEST POINT VA 23181
ROCKY HILL CT 06067



GASKINS, RICHARD H                     GASPARD, ANTHONY                              GASTON ADVERTISING INC
105 NO.B CANDLEWOOD WAY                2554 ANGLER DRIVE                             730 W RANDOLPH    STE 4
NEWPORT NEWS VA 23606                  DELRAY BEACH FL 33445                         CHICAGO IL 60661




GASTON, EDDIE JO                       GASTON, MARIA                                 GATE TRANSPORTATION INC
1820 MAHONING DRIVE E                  62 WARD PL                                    1111 SW 2ND AVE
LEHIGHTON PA 18235                     HARTFORD CT 06106                             DEERFIELD BEACH FL 33441




                                              Page 793 of 2387
                           Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 794 of 800
GATES SOUND                             GATES, ERNEST C                               GATES, GARY J
8542 KENDOR DRIVE                       106 HOLLY ROAD                                2888 NICHOLAS CANYON ROAD
BUENA PARK CA 90620-4019                WILLIAMSBURG VA 23185                         LOS ANGELES CA 90046




GATES, NICHOLAS J                       GATES, VALERIE                                GATEWAY FITNESS SERVICE LLC
7632 SADDLEGATE RD                      1035 BELLWOOD AVE APT 3                       5427 CHARGLOW CT
KNOXVILLE TN 37920                      BELLWOOD IL 60104                             ST LOUIS MO 63129




GATEWAY MARKETING INTERNATIONAL         GATEWAY NEWSTAND                              GATEWAY NEWSTAND YORKTOWN
3350 SALT CREEK LANE SUITE 117          3800 E MAIN ST NO.206C                        157 G YORKTOWN CENTER
ARLINGTON HTS IL 60005                  ST CHARLES IL 60174                           LOMBARD IL 60148




GATEWAY PACIFIC PROPERTIES, INC.        GATEWAY PACIFIC PROPERTIES, INC.              GATHA HAYES
RE: EL MONTE 9852 BALDWIN PLA           RE: EL MONTE 9852 BALDWIN PLA                 4033 W 21ST STREET
C/O RREEF MANAGEMENT COMPANY            FILE 55109                                    LOS ANGELES CA 90018
10044 S. PIONEER COMPANY                LOS ANGELES CA 90074-5109
SANTA FE SPRINGS CA 90670


GATLEY PHOTOGRAPHY                      GATLING, LASHAUN N                            GATOR LEASING INC
14341 AEDAN CT                          116 BAYHAVEN DR                               10900 NW 25TH ST        STE 200
POWAY CA 92064                          HAMPTON VA 23666                              MIAMI FL 33172-1922




GATORADE QUAKER OATS CO                 GATTEGNO, PERRY                               GATTON, STEPHANIE
ATTN SUSIE CRUZ                         401 NW 111 AVE                                23-20 23RD ST 2ND FLOOR
555 W MONROE ST STE 10-13               CORAL SPRINGS FL 33071                        ASTORIA NY 11105
CHICAGO IL 60661



GAUDIN, CHAD E                          GAUDIO, ROSELANE                              GAULDEN, STACI R
7612 STONELEIGH DR                      546 NW 55TH TERRACE                           2744 MUNDCREST ST
HARAHAN LA 70123                        BOCA RATON FL 33487                           COLUMBUS OH 43232




GAULT MILLAN INC                        GAUNT, CAROLE                                 GAVELDA, MEGHAN
4311 WILSHIRE BLVD STE 405              993 PARK AVENU NO.1E                          1105 N MILL STREET UNIT 223
LOS ANGELES CA 90010                    NEW YORK NY 10028                             NAPERVILLE IL 60563




GAVIC, GLENN                            GAVIN MALISKA                                 GAVIN, PATRICK J
401 E ACRE DRIVE                        1080 CAVENDISH DRIVE                          4033 OSBORN ROAD
PLANTATION FL 33317                     CARMEL IN 46032                               RESITERSTOWN MD 21136




GAWEL, JASON                            GAWRONSKI, JACQUELINE M                       GAY, MARSHA ANN
8-4 COUNTRYSIDE LN                      328 PENNSYLVANIA AVE                          15714 PEDLAR MILLS RD
MIDDLETOWN CT 06457-5551                KUTZTOWN PA 19530                             CHARLOTTE NC 28278




                                               Page 794 of 2387
                           Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 795 of 800
GAY, MAURICE                            GAY, MICHAEL S                                GAY, TASHONDA M
5505 BROOKLYN AVE                       3109 NW 107TH DRIVE                           6943 ROSWELL RD NE APT D
KANSAS CITY MO 64130                    SUNRISE FL 33351                              ATLANTA GA 30328




GAYANNA RASZKIEWICZ                     GAYATHRI RAJENDRAN                            GAYHART, RHONDA
13180 LEACH STREET                      935 WINNERS CUP COURT                         2316 SANDEL LANE
SYLMAR CA 91342                         NAPERVILLE IL 60565                           WESTMINSTER MD 21157




GAYHEAD, MICHELE Z                      GAYLA JAUCH                                   GAYLE BURNS
24 WOODBURY FORREST DR                  8950 NW 8 ST                                  3751 SPRING LAKE LANE
HAMPTON VA 23666                        PEMBROKE PINES FL 33024                       OWINGS MILLS MD 21117




GAYLE JENKINS                           GAYLE LUCAS                                   GAYLE MARQUARDT
1320 CULVER STREET                      3602 DUXBURY CT                               632 BROADWAY
NORTH CATASAUQUA PA 18032               JARRETTSVILLE MD 21084                        BETHLEHEM PA 18015




GAYLE MCALEENAN                         GAYLE POLLARD                                 GAYLE WALTHERS
3412 E DOBSON PLACE                     4446 DON MIGUEL DRIVE                         776 WHEATLAND LANE
ANN ARBOR MI 48105                      LOS ANGELES CA 90008                          BOLINGBROOK IL 60490




GAYLE, ANGELIQUE                        GAYLE, ARNOLD                                 GAYLE, ASHLEY ELISABETH
1031 NW 196TH TERRACE                   37 GRANDVIEW TER                              6657 BRANCH ROAD
MIAMI GARDENS FL 33169                  HARTFORD CT 06114                             HAYES VA 23072




GAYLE, DANA T                           GAYLE, DONNESHA                               GAYLE, DONNESHA
7165 WASHINGTON AVENUE                  2639 NW 47 TER                                2639 NW 47 TER
LANTANA FL 33462                        FORT LAUDERDALE FL 33313                      LAUDERDALELAKES FL 33313




GAYLE, LOCKSLEY OWEN                    GAYLE, RICHARD                                GAYLOR, CARL
3990 NW 30 TERR.                        2916 NW 60 TERRACE APT 132                    324 MULBERRY RD
FORT LAUDERDALE FL 33309                SUNRISE FL 33313                              MANSFIELD CT 06250




GAYLORD F DAVIDSON                      GAYNOR HALL                                   GAYNOR, CLIFFORD ELLISTON
459 CAMINO SAN CLEMENTE                 12227 S. BISHOP ST.                           3771 N.W. 115TH AVENUE
SAN CLEMENTE CA 92672                   CHICAGO IL 60643                              CORAL SPRINGS FL 33065




GAYNOR, ROBERT                          GAYOSO, LUIS FERNANDO                         GAYTON, ROSA MARIA
20 ORCHARD HILL DR                      2340 N 66TH TERRACE                           2316 S 16TH AV
WETHERSFIELD CT 06109-2421              HOLLYWOOD FL 33024                            BROADVIEW IL 60155




                                               Page 795 of 2387
                         Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 796 of 800
GAZETTE COMMUNICATIONS INC            GAZETTE COMMUNICATIONS INC                    GAZZANO, JONATHAN EDWARD
500 3RD AVENUE SE                     PO BOX 511                                    2545 CORNERSTONE LN
CEDAR RAPIDS IA 52401                 CEDAR RAPIDS IA 52406-0511                    COSTA MESA CA 92626




GAZZOLO, MICHELE B                    GBC LLC                                       GBC, LLC
658 LYNWOOD DR                        9901 EXPRESS DR      STE B                    RE:GRIFFITH 1940 N. LAFAYETT
BENTON HARBOR MI 49022                HIGHLAND IN 46322                             410 PARK AVE.
                                                                                    SUITE 1530
                                                                                    NEW YORK NY 10022


GBH LLC                               GBR TECHNOLOGIES                              GBS-GIESLER BROADCASTING SUPPLY INC
153 WEST 27TH ST  NO.1107             7204 WEBSTER ST                               5914 MAPLE
NEW YORK NY 10001                     DOWNERS GROVE IL 60516                        HOUSTON TX 77074




GBS-GIESLER BROADCASTING SUPPLY INC   GBUR, MARK                                    GCI ALASKA ACADEMIC DECATHLON
PO BOX 416                            4245 GREENWOOD CT                             2550 DENALI ST STE 1000
ALVIN TX 77512                        BETHLEHEM PA 18020                            ANCHORAGE AK 99503




GCIU EMPLOYER RETIREMENT FUND         GCIU EMPLOYER RETIREMENT FUND                 GCIU EMPLOYER RETIREMENT FUND
PO BOX 30549                          PO BOX 900300549                              13191 CROSSROADS PARKWAY N STE 205
LOS ANGELES CA 90030-0549             LOS ANGELES CA 90030-0549                     CITY OF INDUSTRY CA 91746




GCIU EMPLOYER RETIREMENT FUND         GCR TILE & MARBLE INC                         GE AUTOMATION SERVICES
PO BOX 13265                          1601 NE 4TH ST                                ATTN KEN JONES
NEWARK NJ 07101                       DEERFIELD BEACH FL 33064                      2420 HIGHWAY 29 SOUTH
                                                                                    P O BOX 7126
                                                                                    PENSACOLA FL 32534


GE AUTOMATION SERVICES                GE AUTOMATION SERVICES                        GE CAPITAL
PO BOX 7126                           PO BOX 281997                                 PO BOX 31001-0275
PENSACOLA FL 32534                    ATLANTA GA 30384-1997                         PASADENA CA 91110-0275




GE CAPITAL                            GE CAPITAL                                    GE CAPITAL
201 LONG RIDGE RD                     44 OLD RIDGEBURY RD                           PO BOX 740420
STAMFORD CT 06927-5100                DANBURY CT 06810                              ATLANTA GA 30374-0420




GE CAPITAL                            GE CAPITAL                                    GE CAPITAL
PO BOX 740423                         PO BOX 740434                                 PO BOX 740441
ATLANTA GA 30374-0423                 ATLANTA GA 30374-0434                         ATLANTA GA 30374-0441




GE CAPITAL                            GE CAPITAL                                    GE CAPITAL
PO BOX 3083                           1415 WEST 22ND STREET                         ASCOM HASLER LEASING
CEDAR RAPIDS IA 52406-3083            OAK BROOK IL 60521                            PO BOX 802585
                                                                                    CHICAGO IL 60680-2585




                                             Page 796 of 2387
                           Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 797 of 800
GE CAPITAL                              GE CAPITAL                                    GE CAPITAL
PO BOX 1075                             PO BOX 640387                                 PO BOX 641595
DEVON PA 19333-0975                     PITTSBURGH PA 15264-0387                      PITTSBURGH PA 15264-1595




GE CAPITAL                              GE CAPITAL                                    GE CAPITAL
PO BOX 642333                           PO BOX 642444                                 PO BOX 642111
PITTSBURGH PA 15264-2333                PITTSBURGH PA 15264-2444                      PITTSBURGH PA 15264-2111




GE CAPITAL                              GE CAPITAL                                    GE CAPITAL FLEET SERVICES
PO BOX 644207                           PO BOX 747016                                 PO BOX 100363
PITTSBURGH PA 15264-4207                PITTSBURGH PA 15274-7016                      ATLANTA GA 30384-0363




GE CONSUMER & INDUSTRIAL                GE FLEET SERVICES                             GE FLEET SERVICES
PO BOX 402497                           2988 CAMPUS DR                                LOCK BOX 6479
ATLANTA GA 30384-2497                   SAN MATEO CA 94403                            PO BOX 60000
                                                                                      SAN FRANCISCO CA 94160



GE FLEET SERVICES                       GE FLEET SERVICES                             GE FLEET SERVICES
PO BOX 100363                           PO BOX 841841                                 PO BOX 844457
ATLANTA GA 30384-0363                   DALLAS TX 75284-1841                          DALLAS TX 75284-4457




GE SUPPLY                               GE SUPPLY                                     GE SUPPLY
PO BOX 100275                           777 CHURCH ROAD                               PO BOX 840040
ATLANTA GA 30384                        SANDY X3525                                   DALLAS TX 75284
                                        KENDALL X3586
                                        ELMHURST IL 60126


GEARHART, DANIEL                        GEARHOUSE BROADCAST LLC                       GEBEL, JASON
919 S 10TH ST                           2522 N ONTARIO ST                             8 TURTLE CREEK APT C6
ALLENTOWN PA 18103                      BURBANK CA 91504                              EAST HARTFORD CT 06108




GECK, SUSAN M                           GEDDES, AL                                    GEDDES, JULIE K
18741 CAPENSE STREET                    740 NE 34TH PLACE                             15 MERILINE AVE
FOUNTAIN VALLEY CA 92708                CANBY OR 97013                                PLAINVILLE CT 06062




GEDDIS, BRUCE A                         GEDDIS, LARRY                                 GEDEON, GUERIDO
3281 NW 13TH CT                         424 SW NANCY CIRCLE                           8239 NW 8 PLACE
LAUDERHILL FL 33311                     GRESHAM OR 97030                              PLANTATION FL 33324




GEDNEY, DAVID                           GEDRO, HERMAN                                 GEDWELLAS, JAMES A
1002 KENNON CT                          PO BOX 1338                                   136 CLASSIC OAKS CIRCLE
ROCKVILLE MD 20851                      WEST POINT VA 23181                           HENDERSONVILLE NE 28792




                                               Page 797 of 2387
                         Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 798 of 800
GEE, DEBORAH                          GEE, SUSAN D                                  GEE, SUSAN D
2877 THOREAU CT                       3000 TUDOR DR                                 3000 TUDOR DR
COLUMBUS OH 43232                     MCDONOUGH GA 30053                            MCDONOUGH GA 30253-8626




GEER, JOHN G                          GEFFNER, MARCIE                               GEFFNER, MARCIE
5875 E ASHLAND DR                     10969 ROCHESTER AVE NO.403                    3551 TILDEN AVE
NASHVILLE TN 37215                    LOS ANGELES CA 90024                          LOS ANGELES CA 90034




GEFFRARD, VASSELIE                    GEHMAN, CATHERINE                             GEHMAN, STEVEN W
630 SW 28TH DRIVE                     6843 LINCOLN DR                               6843 LINCOLN DR
FT LAUDERDALE FL 33312                MACUNGIE PA 18062                             MACUNGIE PA 18062




GEHRING, JESSICA                      GEHRING, JESSICA                              GEHRKE, ADAM E
6005 SHIRLEY AVE                      846 S CATALINA ST UNITE NO.4                  214 13TH AVE E NO.8
TARZANA CA 91356                      LOS ANGELES CA 90005                          SEATTLE WA 98102




GEIGER, DEBORAH J                     GEIGER, RAYMOND C                             GEINOSKY, DONNA
5612 HIGHCROFT DR                     5050 W TILGHMAN STREET SUITE 130              253 8TH AVE
CARY NC 27519                         ALLENTOWN PA 18104                            BETHLEHEM PA 18018




GEINOSKY, GLEN                        GEISER SCHWARTZ, ASHLEE                       GEISLER, ELIEZER
253 8TH AVE                           210 LINDEN CT                                 2714 WOODBINE AVE
BETHLEHEM PA 18018                    APT A                                         EVANSTON IL 60201-1566
                                      LOMIRA WI 53048



GEISSINGER, MICHAEL                   GELAZIS, KRISTINA                             GELBERT, LARRY
113 NORTH HENRY ST                    6442 CAVALLERI RD                             807 N ALPINE DR
ALEXANDRIA VA 22314                   MALIBU CA 90265                               BEVERLY HILLS CA 90210-2901




GELCO CORPORATION DBA GE CAPITAL      GELFAND, ALEXANDER                            GELLES, DAVID
FLEET SERVICES                        37-22 85TH ST NO.1                            660 EL BOSQUE
3 CAPITAL DRIVE                       JACKSON HEIGHTS NY 11372                      SANTA BARBARA CA 93108
EDEN PRAIRIE MN 55344



GELLOCK, JOSHUA                       GELSTON, MORTIMER                             GEM BUSINESS FORMS INC
1010 SPRING GARDEN                    445 TOWN ST                                   5942 S CENTRAL AVE
ALLENTOWN PA 18102                    EAST HADDAM CT 06423-1329                     CHICAGO IL 60638




GEMIGNANI, KATRINA                    GEMIGNANI, STEVEN J                           GEMINI COMPUTER GROUP
6554 NW 98TH TERRACE                  6554 NW 98TH TERRACE                          111 AVENIDA DEL MAR NO.220C
TAMARAC FL 33321                      TAMARAC FL 33321                              SAN CLEMENTE CA 92672




                                             Page 798 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 799 of 800
GEMINI COMPUTER GROUP                  GEMINI GROUP                                  GEMINI GROUP
1220 LINDA VISTA AVENUE                6516 HERSEY CIRC                              PO BOX 39088
PASADENA CA 91103                      NORTH RIDGEVILLE OH 44039                     NORTH RIDGEVILLE OH 44039




GEMINI MEDIA                           GEMINI MEDIA INC                              GEMINI MEDIA INC
3835 R EAST THOUSAND OAKS BLVD         560 SYLVAN AVE                                69 N LYLE AVE
THOUSAND OAKS CA 91362                 ENGLEWOOD NJ 07632                            TEANAFLY NJ 07670




GEMSTAR DEVELOPMENT CORP               GEN ART                                       GEN2 MEDIA CORPORATION
LICENSING DEPARTMENT                   133 WEST 25TH ST 6TH FL                       146 W PLANT  3RD FLR
6922 HOLLYWOOD BLVD 2ND FLOOR          NEW YORK NY 10001                             WINTER GARDEN FL 34787
HOLLYWOOD CA 90028



GENARA ALMANZAR                        GENARO MOLINA                                 GENCO ENTERTAINMENT INC
7950 W. MCNAB ROAD                     4037 BEETHOVEN STREET                         11777 SAN VICENTE BLVD STE 601
APT 202                                LOS ANGELES CA 90066                          LOS ANGELES CA 90049
TAMARAC FL 33321



GENDRON, BOB                           GENDRON, ROBERT                               GENE KINZER
2076 W GREENLEAF AVE                   23 CLOVER STREET                              PO BOX 534
CHICAGO IL 60645                       HAMPTON VA 23669                              LAKE ARROWHEAD CA 92352-0534




GENE MAZUR                             GENE PACHELLI                                 GENE R KRUCKEMYER
33 CRESTRIDGE DRIVE                    32905 SCENIC HILLS DRIVE                      608 ELM AVE.
VERNON CT 06066                        MOUNT DORA FL 32757                           SANFORD FL 32771




GENE SZOSTAK                           GENE TRAVAGLINE                               GENE, OLIVIER
732 BRADLEY                            1028 STIRRUP RUN                              3 BENT WATER CIRCLE
MATTESON IL 60443                      JARRETTSVILLE MD 21084                        BOYTON BEACH FL 33426




GENE, OLIVIER                          GENECA LLC                                    GENER CANILAO
6394 PINESTEAD DR APT 1720             1815 S MEYERS RD  STE 950                     P.O. BOX 57272
LANTANA FL 33463                       OAKBROOK TERRACE IL 60181                     LOS ANGELES CA 90057




GENERAL COMMUNICATIONS & ELECTRONICS   GENERAL ELECTRIC CAPITAL CORPORATION          GENERAL ELECTRIC CAPITAL CORPORATION
2851 3 MILE ROAD NW                    10 RIVERSIDE DRIVE                            1010 THOMAS EDISON BLVD. SW
GRAND RAPIDS MI 49544                  DANBURY CT 06810                              CEDAR RAPIDS IA 52404




GENERAL ELECTRIC INVESTMENT CORP.      GENERAL GROWTH PROPERTIES                     GENERAL LABOR STAFFING SERVICES
RE: SANTA MONICA 1717 4TH STR          RE: COLUMBIA 10440 LITTLE TRI                 1801 N DIXIE HWY
ATTN: MR. MARK KNAPP                   C/O COLUMBIA MANAGEMENT, INC.                 POMPANO BCH FL 33060
2029 CENTURY PARK EAST, SUITE 1230     SDS-12-2737, P.O. BOX 86
LOS ANGELES CA 90067                   MINNEAPOLIS MN 55486-2737




                                              Page 799 of 2387
                          Case 08-13141-BLS     Doc 17-1         Filed 12/08/08   Page 800 of 800
GENERAL MOTORS ACCEPTANCE              GENERAL NEWSPRINT INC                         GENERAL PERSONNEL OF ORLANDO
MICHAEL J INGINO, ESQ                  888 W CROWTHER AVE                            PO BOX 550738
MOODY, JONES, & MONTEFUSCO PA          PLACENTIA CA 92870                            TAMPA FL 33655-0738
1333 S UNIVERSITY DRIVE, SUITE 201
PLANTATION FL 33301


GENERAL PERSONNEL OF ORLANDO           GENERAL SWEEPING SERVICE INC                  GENERATION III LLC
PO BOX 863454                          PO BOX 291026                                 6709 A WHITESTONE RD
ORLANDO FL 32886-3454                  LOS ANGELES CA 90029                          BALTIMORE MD 21207




GENERATION III LLC                     GENERATION III, LLC                           GENERATION III, LLC
6709 B WHITESTONE RD                   RE: BALTIMORE 6709 WHITESTONE                 RE: BALTIMORE 6709 WHITESTONE
BALTIMORE MD 21207                     6709 A WHITESTONE ROAD                        6709-B WHITESTONE ROAD
                                       BALTIMORE MD 21207                            BALTIMORE MD 21207



GENESYS CONFERENCE INC                 GENESYS CONFERENCE INC                        GENESYS CONFERENCE INC
2863 FAIRLANE DR                       9139 S RIDGELINE BLVD                         32 CROSBY DR
MONTGOMERY AL 36116                    HIGHLANDS RANCH CO 80129                      BEDFORD MA 01730




GENESYS CONFERENCE INC                 GENESYS CONFERENCE INC                        GENETRIC BROWN
PO BOX 845446                          PO BOX 845512                                 534 WEST 17TH STREET
BOSTON MA 02284-5446                   BOSTON MA 02284-5512                          APT 7
                                                                                     SAN PEDRO CA 90731



GENETTA ADAMS                          GENEUS, BENSON                                GENEVA HOBBS
582 VANDERBILT AVENUE                  2085 NW 46TH AVE NO. H 103                    1467 W 73RD STREET
APT 1                                  LAUDERHILL FL 33313                           CHICAGO IL 60636
BROOKLYN NY 11238



GENEVA MACK                            GENEVIEVE AMBROZEWSKI                         GENEVIEVE HINES
841 NE 51 CT                           2306 MILLSWOOD ROAD                           606 W. CORNELIA
POMPANO BEACH FL 33064                 PICAYUNE MS 39466                             APT. #593
                                                                                     CHICAGO IL 60657



GENEVIEVE MARSHALL                     GENG WANG                                     GENGO, LORRAINE M
733 NORTH 21ST STREET                  6325 N SHERIDAN RD                            65 GRANDVIEW RD
ALLENTOWN PA 18104                     APT. 1506                                     SOUTH SALEM NY 10590
                                       CHICAGO IL 60660



GENGRAS CHRYSLER DODGE JEEP            GENIA LOWRY                                   GENICE PARKER
460 CONNECTICUT BLVD                   141 NORTH THIRD STREET                        6610 BOWMAN HILL DR
EAST HARTFORD CT 06108                 ALLENTOWN PA 18102                            BALTIMORE MD 21207




GENN, ROMAN                            GENNETH GORDON                                GENOVA NEWS CO INC
1810 HARIDSON PLACE                    1470 NW 80TH AVENUE                           589 W GRAND RIVER
NO.10                                  MARGATE FL 33063                              OKEMOS MI 48864
SOUTH PASADENA CA 91030




                                              Page 800 of 2387
